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                                       EXHIBIT 1

                                      APA Schedules




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                    Schedule 1.1(b)
                                Purchased Contracts
    (Includes Purchased Contracts, Software Licenses, ȱȱȱȱȱȱȱȱȱȱȱȱȱȱȱȱȱȱȱȱȱ
ȱȱȱȱȱȱȱȱȱȱȱȱȱȱȱȱȱȱȱȱȱȱȱȱȱȱȱȱȱȱȱȱand Microsoft Licenses)
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Purchased contracts

  ID     Store Number               Debtor                     Contract Counter Party                 Type of Contract           Description of Contract
                        TENT RESTAURANT OPERATIONS,
  2         65009                                      CLEANENERGY BIOFUELS                SERVICE AGREEMENT               GREASE REMOVAL SERVICE
                        INC
                        FOX & HOUND ENGLISH PUB &
  3         65004                                      DARLING INTERNATIONAL, INC.         SERVICE AGREEMENT               GREASE REMOVAL SERVICE
                        GRILLE
                        FOX & HOUND ENGLISH PUB &
  4         65008                                      DARLING INTERNATIONAL, INC.         SERVICE AGREEMENT               GREASE REMOVAL SERVICE
                        GRILLE
                        FOX & HOUND ENGLISH PUB &
  5         65042                                      DARLING INTERNATIONAL, INC.         SERVICE AGREEMENT               GREASE REMOVAL SERVICE
                        GRILLE
                        FOX & HOUND ENGLISH PUB &
  7         65052                                      DARLING INTERNATIONAL, INC.         SERVICE AGREEMENT               GREASE REMOVAL SERVICE
                        GRILLE
                        CHAMPPS OPERATING
  8         65216                                      DARLING INTERNATIONAL, INC.         SERVICE AGREEMENT               GREASE REMOVAL SERVICE
                        CORPORATION
                        CHAMPPS OPERATING
  9         65221                                      DARLING INTERNATIONAL, INC.         SERVICE AGREEMENT               GREASE REMOVAL SERVICE
                        CORPORATION
                        CHAMPPS OPERATING
  10        65224                                      DARLING INTERNATIONAL, INC.         SERVICE AGREEMENT               GREASE REMOVAL SERVICE
                        CORPORATION
                        TENT RESTAURANT OPERATIONS,
  11        65047                                      ERCO                                SERVICE AGREEMENT               GREASE REMOVAL SERVICE
                        INC
                        TENT RESTAURANT OPERATIONS,
  13        65093                                      ERCO                                SERVICE AGREEMENT               GREASE REMOVAL SERVICE
                        INC
                        TENT RESTAURANT OPERATIONS,    GREEN EARTH OPTIONS OF
  14        65013                                                                          SERVICE AGREEMENT               GREASE REMOVAL SERVICE
                        INC                            TENNESSEE, LLC
                        CHAMPPS OPERATING
  15        65213                                      GREENWAVE OIL COMPANY               SERVICE AGREEMENT               GREASE REMOVAL SERVICE
                        CORPORATION
                        FOX & HOUND RESTAURANT
  16        65005                                      GRIFFIN INDUSTRIES                  SERVICE AGREEMENT               GREASE REMOVAL SERVICE
                        GROUP
  17        65007       BAILEY'S SPORTS GRILL          GRIFFIN INDUSTRIES                  SERVICE AGREEMENT               GREASE REMOVAL SERVICE

  18        65014       BAILEY'S SPORTS GRILLE         GRIFFIN INDUSTRIES                  SERVICE AGREEMENT               GREASE REMOVAL SERVICE
                        TENT RESTAURANT OPERATIONS,
  20        65028                                      GRIFFIN INDUSTRIES                  SERVICE AGREEMENT               GREASE REMOVAL SERVICE
                        INC
                        FOX & HOUND RESTAURANT
  22        65036                                      GRIFFIN INDUSTRIES                  SERVICE AGREEMENT               GREASE REMOVAL SERVICE
                        GROUP
  24        65041       BAILEY'S PUB & GRILLE          GRIFFIN INDUSTRIES                  SERVICE AGREEMENT               GREASE REMOVAL SERVICE
                        FOX & HOUND RESTAURANT
  25        65056                                      GRIFFIN INDUSTRIES                  SERVICE AGREEMENT               GREASE REMOVAL SERVICE
                        GROUP
  28        65015       FOX & HOUND                    KCI RESTAURANT SERVICES             SERVICE AGREEMENT               GREASE REMOVAL SERVICE

  29        65016       FOX & HOUND                    MAHONEY ENVIRONMENTAL               SERVICE AGREEMENT               GREASE REMOVAL SERVICE

  30        65049       FOX & HOUND OF COLORADO, INC RECYCOIL                              SERVICE AGREEMENT               GREASE REMOVAL SERVICE

  31        65059       FOX & HOUND OF COLORADO, INC RECYCOIL                              SERVICE AGREEMENT               GREASE REMOVAL SERVICE

  33        65076       FOX & HOUND                    TORVAC                              SERVICE AGREEMENT               GREASE REMOVAL SERVICE
                        TENT RESTAURANT OPERATIONS,
  35        65089                                      VALLEY PROTEINS                     SERVICE AGREEMENT               GREASE REMOVAL SERVICE
                        INC
                        CHAMPPS OPERATING
  38        65253                                      VALLEY PROTEINS                     SERVICE AGREEMENT               GREASE REMOVAL SERVICE
                        CORPORATION
                        TENT RESTAURANT OPERATIONS,                                                                        HVAC PREVENTATIVE MAINTENANCE
  39        65033                                      A COMFORT SERVICE INC               SERVICE AGREEMENT
                        INC.                                                                                               CONTRACT
                                                                                                                           HVAC PREVENTATIVE MAINTENANCE
  40        65091       FOX & HOUND OF OHIO, INC.      AIR TECH MECHANICAL SVS INC         SERVICE AGREEMENT
                                                                                                                           CONTRACT
                                                                                                                           HVAC PREVENTATIVE MAINTENANCE
  42        65016       FOX & HOUND OF ILLINOIS        ALLIANCE MECHANICAL SERVICES        SERVICE AGREEMENT
                                                                                                                           CONTRACT
                                                                                                                           HVAC PREVENTATIVE MAINTENANCE
  43        65055       FOX & HOUND OF ILLINOIS        ALLIANCE MECHANICAL SERVICES        SERVICE AGREEMENT
                                                                                                                           CONTRACT
                                                                                                                           HVAC PREVENTATIVE MAINTENANCE
  45        65076       FOX & HOUND OF ILLINOIS        ALLIANCE MECHANICAL SERVICES        SERVICE AGREEMENT
                                                                                                                           CONTRACT
                        CHAMPPS OPERATING                                                                                  HVAC PREVENTATIVE MAINTENANCE
  46        65215                                      ALLIANCE MECHANICAL SERVICES        SERVICE AGREEMENT
                        CORPORATION                                                                                        CONTRACT
                        CHAMPPS OPERATING                                                                                  HVAC PREVENTATIVE MAINTENANCE
  47        65222                                      ALLIANCE MECHANICAL SERVICES        SERVICE AGREEMENT
                        CORPORATION                                                                                        CONTRACT
                                                                                                                           HVAC PREVENTATIVE MAINTENANCE
  49        65035       FOX & HOUND OF INDIANA, INC.   ALLIANCE MECHANICAL SERVICES        SERVICE AGREEMENT
                                                                                                                           CONTRACT
                        CHAMPPS OPERATING                                                                                  HVAC PREVENTATIVE MAINTENANCE
  52        65212                                      AMERICAN MECHANICAL GROUP INC       SERVICE AGREEMENT
                        CORPORATION                                                                                        CONTRACT
                        CHAMPPS OPERATING                                                                                  HVAC PREVENTATIVE MAINTENANCE
  53        65218                                      AMERICAN MECHANICAL GROUP INC       SERVICE AGREEMENT
                        CORPORATION                                                                                        CONTRACT
                                                                                                                           HVAC PREVENTATIVE MAINTENANCE
  54        65035       FOX & HOUND OF INDIANA, INC.   BRYANT HEATING & AIR CO INC         SERVICE AGREEMENT
                                                                                                                           CONTRACT
                        TENT RESTAURANT OPERATIONS,    COMMERCIAL MAINTENANCE                                              HVAC PREVENTATIVE MAINTENANCE
  55        65007                                                                          SERVICE AGREEMENT
                        INC.                           SERVICES                                                            CONTRACT
                        TENT RESTAURANT OPERATIONS,    COMMERCIAL MAINTENANCE                                              HVAC PREVENTATIVE MAINTENANCE
  56        65014                                                                          SERVICE AGREEMENT
                        INC.                           SERVICES                                                            CONTRACT



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Purchased contracts

  ID     Store Number               Debtor                     Contract Counter Party                  Type of Contract          Description of Contract
                        TENT RESTAURANT OPERATIONS,    COMMERCIAL MAINTENANCE                                              HVAC PREVENTATIVE MAINTENANCE
  57        65041                                                                          SERVICE AGREEMENT
                        INC.                           SERVICES                                                            CONTRACT
                        CHAMPPS OPERATING                                                                                  HVAC PREVENTATIVE MAINTENANCE
  63        65216                                      DENNYS HEATING AND COOLING          SERVICE AGREEMENT
                        CORPORATION                                                                                        CONTRACT
                        TENT RESTAURANT OPERATIONS,                                                                        HVAC PREVENTATIVE MAINTENANCE
  66        65031                                      FILTER SERVICE INTERNATIONAL        SERVICE AGREEMENT
                        INC.                                                                                               CONTRACT
                        TENT RESTAURANT OPERATIONS,                                                                        HVAC PREVENTATIVE MAINTENANCE
  67        65077                                      FILTER SERVICE INTERNATIONAL        SERVICE AGREEMENT
                        INC.                                                                                               CONTRACT
                        TENT RESTAURANT OPERATIONS,                                                                        HVAC PREVENTATIVE MAINTENANCE
  69        65066                                      G&R MECHANICAL INC                  SERVICE AGREEMENT
                        INC.                                                                                               CONTRACT
                        FOX & HOUND OF NEW JERSEY,                                                                         HVAC PREVENTATIVE MAINTENANCE
  70        65073                                      G&R MECHANICAL INC                  SERVICE AGREEMENT
                        INC.                                                                                               CONTRACT
                        CHAMPPS OPERATING                                                                                  HVAC PREVENTATIVE MAINTENANCE
  71        65203                                      G&R MECHANICAL INC                  SERVICE AGREEMENT
                        CORPORATION                                                                                        CONTRACT
                                                                                                                           HVAC PREVENTATIVE MAINTENANCE
  75        65015       FOX & HOUND OF NEBRASKA, INC. GOODWIN TUCKER                       SERVICE AGREEMENT
                                                                                                                           CONTRACT
                        CHAMPPS OPERATING                                                                                  HVAC PREVENTATIVE MAINTENANCE
  76        65213                                      GREYSTONE REFRIGERATION             SERVICE AGREEMENT
                        CORPORATION                                                                                        CONTRACT
                        CHAMPPS OPERATING              INDUSTRIAL MECHANICAL                                               HVAC PREVENTATIVE MAINTENANCE
  78        65220                                                                          SERVICE AGREEMENT
                        CORPORATION                    CONTRACTORS INC                                                     CONTRACT
                        CHAMPPS OPERATING              KAROLYIS HEATING COOLING &                                          HVAC PREVENTATIVE MAINTENANCE
  79        65217                                                                          SERVICE AGREEMENT
                        CORPORATION                    REFRIGERATION                                                       CONTRACT
                        TENT RESTAURANT OPERATIONS,                                                                        HVAC PREVENTATIVE MAINTENANCE
  80        65023                                      KEEP HEATING & COOLING INC          SERVICE AGREEMENT
                        INC.                                                                                               CONTRACT
                                                                                                                           HVAC PREVENTATIVE MAINTENANCE
  81        65008       F & H RESTAURANT OF TEXAS, INC. MY TECH TEXAS LLC                  SERVICE AGREEMENT
                                                                                                                           CONTRACT
                                                                                                                           HVAC PREVENTATIVE MAINTENANCE
  82        65042       F & H RESTAURANT OF TEXAS, INC. MY TECH TEXAS LLC                  SERVICE AGREEMENT
                                                                                                                           CONTRACT
                                                                                                                           HVAC PREVENTATIVE MAINTENANCE
  84        65052       F & H RESTAURANT OF TEXAS, INC. MY TECH TEXAS LLC                  SERVICE AGREEMENT
                                                                                                                           CONTRACT
                        CHAMPPS OPERATING                                                                                  HVAC PREVENTATIVE MAINTENANCE
  85        65242                                      NORTH WINDS HEATING & COOLING       SERVICE AGREEMENT
                        CORPORATION                                                                                        CONTRACT
                        TENT RESTAURANT OPERATIONS,                                                                        HVAC PREVENTATIVE MAINTENANCE
  86        65009                                      PREMIER SERVICES GROUP INC          SERVICE AGREEMENT
                        INC                                                                                                CONTRACT
                        TENT RESTAURANT OPERATIONS,                                                                        HVAC PREVENTATIVE MAINTENANCE
  87        65009                                      PREMIER SERVICES GROUP INC          SERVICE AGREEMENT
                        INC.                                                                                               CONTRACT
                        TENT RESTAURANT OPERATIONS,                                                                        HVAC PREVENTATIVE MAINTENANCE
  89        65093                                      PUTNAM MECHANICAL INC               SERVICE AGREEMENT
                        INC.                                                                                               CONTRACT
                        TENT RESTAURANT OPERATIONS,                                                                        HVAC PREVENTATIVE MAINTENANCE
  90        65002                                      PUTNAM MECHANICAL INC               SERVICE AGREEMENT
                        INC.                                                                                               CONTRACT
                        TENT RESTAURANT OPERATIONS,                                                                        HVAC PREVENTATIVE MAINTENANCE
  92        65047                                      PUTNAM MECHANICAL INC               SERVICE AGREEMENT
                        INC.                                                                                               CONTRACT
                        CHAMPPS OPERATING                                                                                  HVAC PREVENTATIVE MAINTENANCE
  93        65221                                      RAYFORD MECHANICAL                  SERVICE AGREEMENT
                        CORPORATION                                                                                        CONTRACT
                        FOX & HOUND OF COLORADO,                                                                           HVAC PREVENTATIVE MAINTENANCE
  95        65059                                      RK MECHANICAL INC                   SERVICE AGREEMENT
                        INC.                                                                                               CONTRACT
                        TENT RESTAURANT OPERATIONS,                                                                        HVAC PREVENTATIVE MAINTENANCE
  96        65092                                      RK MECHANICAL INC                   SERVICE AGREEMENT
                        INC.                                                                                               CONTRACT
                        FOX & HOUND OF COLORADO,                                                                           HVAC PREVENTATIVE MAINTENANCE
  97        65049                                      RK MECHANICAL INC                   SERVICE AGREEMENT
                        INC.                                                                                               CONTRACT
                        FOX & HOUND OF OKLAHOMA,                                                                           HVAC PREVENTATIVE MAINTENANCE
  98        65075                                      SEWELL MECHANICAL INC               SERVICE AGREEMENT
                        INC.                                                                                               CONTRACT
                        TENT RESTAURANT OPERATIONS,                                                                        HVAC PREVENTATIVE MAINTENANCE
  99        65010                                      SPEARS SERVICES INC                 SERVICE AGREEMENT
                        INC.                                                                                               CONTRACT
                        CHAMPPS OPERATING              STEINGASS MECHANICAL                                                HVAC PREVENTATIVE MAINTENANCE
  100       65210                                                                          SERVICE AGREEMENT
                        CORPORATION                    CONTRACTING INC                                                     CONTRACT
                        TENT RESTAURANT OPERATIONS,    TEMPERATURE CONTROL MECHANICAL                                      HVAC PREVENTATIVE MAINTENANCE
  111       65051                                                                          SERVICE AGREEMENT
                        INC.                           SERVICES INC                                                        CONTRACT
                        CHAMPPS ENTERTAINMENT OF       TOWN EAST HEATING & AIR                                             HVAC PREVENTATIVE MAINTENANCE
  112       65219                                                                          SERVICE AGREEMENT
                        TEXAS, INC.                    CONDITIONING COMPANY                                                CONTRACT
                        TENT RESTAURANT OPERATIONS,    WARWICK PLUMBING & HTG CORP &                                       HVAC PREVENTATIVE MAINTENANCE
  113       65089                                                                          SERVICE AGREEMENT
                        INC.                           HEAT                                                                CONTRACT
                        TENT RESTAURANT OPERATIONS,                                                                        HVAC PREVENTATIVE MAINTENANCE
  115       65006                                      YAMAS                               SERVICE AGREEMENT
                        INC.                                                                                               CONTRACT
  116       65035       FOX AND HOUND OF INDIANA       CENTERPOINT ENERGY SERVICES INC     NATURAL GAS ENGERGY CONTRACT

  117       65232       FOX AND HOUND OF INDIANA       CENTERPOINT ENERGY SERVICES INC     NATURAL GAS ENGERGY CONTRACT

  118       65205       FOX AND HOUND OF INDIANA       CENTERPOINT ENERGY SERVICES INC     NATURAL GAS ENGERGY CONTRACT
                                                                                                                           LOCATION OF CONTRACT: 1827
  119       65212       CHAMPPS ENTERTAINMENT, INC     CHAMPION ENERGY SERVICES, LLC       ELECTRICITY ENGERGY CONTRACT
                                                                                                                           OLENTANGY RIVER RD, COLUMBUS, OH
                        FOX AND HOUND RESTAURANT                                                                           LOCATION OF CONTRACT: 250
  122       65023                                      CHAMPION ENERGY SERVICES, LLC       ELECTRICITY ENGERGY CONTRACT
                        GROUP                                                                                              MILLCREEK PLAZA, ERIE, PA 16565
                                                                                                                           LOCATION OF CONTRACT: 4320 E NEW
  151       65016       FOX & HOUND OF ILLINOIS INC    DIRECT ENERGY                       NATURAL GAS ENGERGY CONTRACT
                                                                                                                           YORK ST, AURORA, IL 60504
                                                                                                                           LOCATION OF CONTRACT: 370 W ARMY
  152       65076       FOX & HOUND OF ILLINOIS INC    DIRECT ENERGY                       NATURAL GAS ENGERGY CONTRACT
                                                                                                                           TRAIL RD, BLOOMINGDALE, IL 60108



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  ID     Store Number               Debtor                   Contract Counter Party                    Type of Contract           Description of Contract
                                                                                                                           LOCATION OF CONTRACT: 1416 N
  153       65055       FOX & HOUND OF ILLINOIS INC   DIRECT ENERGY                        NATURAL GAS ENGERGY CONTRACT
                                                                                                                           ROSELLE RD, SCHAUMBURG, IL 60195
                        FOX & HOUND OF INDIANA, INC                                                                        LOCATION OF CONTRACT: 955 E. GOLF
  155       65215                                     DIRECT ENERGY                        NATURAL GAS ENGERGY CONTRACT
                        DBA CHAMPPS OPERATING                                                                              ROAD, SCHAUMBURG, IL 60173
                        FOX & HOUND OF INDIANA, INC                                                                        LOCATION OF CONTRACT: 2301
  156       65222                                     DIRECT ENERGY                        NATURAL GAS ENGERGY CONTRACT
                        DBA CHAMPPS OPERATING                                                                              FOUNTAIN SQUARE DRIVE, LOMBARD, IL
                        CHAMPPS OPERATING                                                                                  LOCATION OF CONTRACT: 2301
  160       65222                                     DIRECT ENERGY                        ELECTRICITY ENGERGY CONTRACT
                        CORPORATION                                                                                        FOUNTAIN SQUARE DR, LOMBARD, IL
                        CHAMPPS OPERATING                                                                                  LOCATION OF CONTRACT: 955 EAST
  161       65215                                     DIRECT ENERGY                        ELECTRICITY ENGERGY CONTRACT
                        CORPORATION                                                                                        GOLF RD, SCHAUMBURG, IL 60173
                        FOX & HOUND RESTAURANT                                                                             LOCATION OF CONTRACT: 55
  163       65073                                     DIRECT ENERGY                        ELECTRICITY ENGERGY CONTRACT
                        GROUP                                                                                              PARSONAGE RD, EDISON, NJ 08837
                        TENT RESTAURANT OPERATIONS,                                                                        LOCATION OF CONTRACT: 8000
  366       65033                                     EQT                                  NATURAL GAS ENGERGY CONTRACT
                        INC DBA FOX & HOUND                                                                                MCKNIGHT RD, STE 1000, PITTSBURGH,
                        FOX & HOUND RESTAURANT                                                                             LOCATION OF CONTRACT: 2661
  369       65088                                     FIRST ENERGY                         ELECTRICITY ENGERGY CONTRACT
                        GROUP                                                                                              FAIRFIELD COMMONS, DAYTON, OH
                        FOX & HOUND RESTAURANT                                                                             LOCATION OF CONTRACT: 5113 BOWEN
  370       65091                                     FIRST ENERGY                         ELECTRICITY ENGERGY CONTRACT
                        GROUP                                                                                              DRIVE, CINCINNATI, OH 45040
                        CHAMPPS ENTERTAINMENT, INC                                                                         LOCATION OF CONTRACT: 5835
  371       65210                                     FIRST ENERGY                         ELECTRICITY ENGERGY CONTRACT
                        DBA CHAMPPS OPERATING                                                                              LANDERBROOK DRIVE, LYNDHURST, OH
                        FOX & HOUND RESTAURANT                                                                             LOCATION OF CONTRACT: 1479 S.O.M.
  373       65018                                     FIRST ENERGY                         ELECTRICITY ENGERGY CONTRACT
                        GROUP                                                                                              CENTER ROAD, MAYFIELD HEIGHTS, OH
                        FOX & HOUND RESTAURANT                                                                             LOCATION OF CONTRACT: 8735 DAY
  374       65039                                     FIRST ENERGY                         ELECTRICITY ENGERGY CONTRACT
                        GROUP                                                                                              DRIVE, PARMA, OH 44129
                                                                                                                           LOCATION OF CONTRACT: 6401 N.
  375       65213       CHAMPPS ENTERTAINMENT INC     FLORIDA NATURAL GAS                  NATURAL GAS ENGERGY CONTRACT
                                                                                                                           ANDREWS AVE, FORT LAUDERDALE, FL
                        CHAMPPS OPERATING                                                                                  LOCATION OF CONTRACT: 1827
  380       65212                                     IGS                                  NATURAL GAS ENGERGY CONTRACT
                        CORPORATION                                                                                        OLENTANGY RIVER RD, COLUMBUS, OH
                        CHAMPPS OPERATING                                                                                  LOCATION OF CONTRACT: 5113 BOWEN
  385       65091                                     IGS                                  NATURAL GAS ENGERGY CONTRACT
                        CORPORATION                                                                                        DR, MASON, OH 45040
                        FOX & HOUND RESTAURANT                                                                             LOCATION OF CONTRACT: 1479 SOM
  388       65018                                     IGS                                  NATURAL GAS ENGERGY CONTRACT
                        GROUP                                                                                              CENTER RD, MAYFIELD HEIGHTS, OH
                                                                                                                           LOCATION OF CONTRACT: 2661
  389       65088       FOX AND HOUND OF OHIO, INC    IGS                                  NATURAL GAS ENGERGY CONTRACT
                                                                                                                           FAIRFIELD COMMONS, DAYTON, OH
                        FOUND & HOUND RESTAURANT                                                                           LOCATION OF CONTRACT: 250
  392       65023                                     NATIONAL FUEL AND GAS                NATURAL GAS ENGERGY CONTRACT
                        GROUP                                                                                              MILLCREEK PLAZA, ERIE, PA 16565
                        FOX & HOUND RESTAURANT        PROTECTION ONE ALARM                                                 BURGULAR & FIRE ALARM MONITORING
  393    CORPORATE                                                                         SERVICE AGREEMENT
                        GROUP                         MONITORING                                                           & SERVICES
                                                                                                                           LOCATION OF CONTRACT: 1421
  395       65069       FOX AND HOUND PUB AND GRILLE SEMINOLE ENERGY SERVICES LLC          NATURAL GAS ENGERGY CONTRACT
                                                                                                                           WATERFRONT PARKWAY, WICHITA, KS
                                                                                                                           LOCATION OF CONTRACT: 7001
  396       65075       FOX AND HOUND PUB AND GRILLE SEMINOLE ENERGY SERVICES LLC          NATURAL GAS ENGERGY CONTRACT
                                                                                                                           GARNETT, BROKEN ARROW, OK 74012
                        CHAMPPS OPERATING                                                                                  LOCATION OF CONTRACT: 1 PARSONAGE
  402       65073                                     SPRAGUE ENERGY CORP                  NATURAL GAS ENGERGY CONTRACT
                        CORPORATION                                                                                        ROAD, #F15, EDISON, NJ 08837
                        FOX AND HOUND RESTAURANT                                                                           LOCATION OF CONTRACT: 55
  404       65073                                     SPRAGUE ENERGY CORP                  NATURAL GAS ENGERGY CONTRACT
                        GROUP                                                                                              PARSONAGE RD, EDISON, NJ 08837
                        FOX & HOUND OF NEW MEXICO,                                                                         LOCATION OF CONTRACT: 4301 THE 25
  406       65063                                     TIGER INC                            NATURAL GAS ENGERGY CONTRACT
                        INC                                                                                                WAY NE, ALBUQUERQUE, NM 87109
                                                      CONSOLIDATED CONCEPTS AND                                            FRESH PRODUCE ACQUISITION
  421    CORPORATE      F&H ACQUISITION CORP.                                              SERVICE AGREEMENT
                                                      NATIONAL PRODUCE CONSULTANTS,                                        AGREEMENT
                                                      DISTRIBUTION MARKET ADVANTAGE                                        FOODSERVICE DISTRIBUTION
  422    CORPORATE      CHAMPS ENTERTAINMENT, INC                                          SERVICE AGREEMENT
                                                      INC                                                                  AGREEMENT
                        FOX & HOUND RESTAURANT        DISTRIBUTION MARKET ADVANTAGE                                        FOODSERVICE DISTRIBUTION
  423    CORPORATE                                                                         SERVICE AGREEMENT
                        GROUP                         INC                                                                  AGREEMENT
                        FOX & HOUND RESTAURANT                                                                             PRICING CONFIRMATION AND SUPPLY
  425    CORPORATE                                    THE C.F. SAUER COMPANY               SERVICE AGREEMENT
                        GROUP                                                                                              AGREEMENT
  426    CORPORATE                                    A ZEREGAS SONS INC                   PRICING AGREEMENT

  427    CORPORATE                                    AMERICAN BEVERAGE MARKETERS          PRICING AGREEMENT

  428    CORPORATE                                    AMERICAN ROLAND FOOD CORP            PRICING AGREEMENT

  429    CORPORATE                                    ANCHOR PACKAGING INC                 PRICING AGREEMENT

  430    CORPORATE                                    ASA TRADING CO (IMPORTER)            PRICING AGREEMENT

  431    CORPORATE                                    ASTRA FOODS                          PRICING AGREEMENT

  432    CORPORATE                                    AZAR NUT COMPANY                     PRICING AGREEMENT

  433    CORPORATE                                    BARON SPICES                         PRICING AGREEMENT

  434    CORPORATE                                    BEN E KEITH                          PRICING AGREEMENT

  435    CORPORATE                                    BERRY PLASTICS                       PRICING AGREEMENT

  436    CORPORATE                                    BURNETT & SON MEAT CO                PRICING AGREEMENT



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  437    CORPORATE                               BUTTERBALL LLC (POULTRY)             PRICING AGREEMENT

  438    CORPORATE                               C F SAUER COMPANY                    PRICING AGREEMENT

  439    CORPORATE                               CAMPBELL SOUP COMPANY                PRICING AGREEMENT

  440    CORPORATE                               CENTRAL SEAWAY CO (IMPORTER)         PRICING AGREEMENT
                                                 CHEF PAUL PRUDHOMME MAGIC
  441    CORPORATE                                                                    PRICING AGREEMENT
                                                 SPICES
  442    CORPORATE                               COCA COLA USA                        PRICING AGREEMENT

  443    CORPORATE                               COMMAND PACKAGING                    PRICING AGREEMENT

  444    CORPORATE                               CONAGRA FOODS INC                    PRICING AGREEMENT

  445    CORPORATE                               CONTINENTAL MILLS INC                PRICING AGREEMENT

  446    CORPORATE                               DAISY BRAND INC                      PRICING AGREEMENT

  447    CORPORATE                               DIRECT SOURCE                        PRICING AGREEMENT

  448    CORPORATE                               DOLE FOOD COMPANY INC                PRICING AGREEMENT

  449    CORPORATE                               DR PEPPER SNAPPLE GROUP              PRICING AGREEMENT

  450    CORPORATE                               DURO BAG MFG CO                      PRICING AGREEMENT

  451    CORPORATE                               ECOLAB INC                           PRICING AGREEMENT

  452    CORPORATE                               FLOWERS FOOD SPECIALTY GROUP         PRICING AGREEMENT

  453    CORPORATE                               FOODHANDLER INC                      PRICING AGREEMENT

  454    CORPORATE                               GENPAK LLC                           PRICING AGREEMENT

  455    CORPORATE                               GEORGIA PACIFIC                      PRICING AGREEMENT

  456    CORPORATE                               GIELOW PICKLES INC                   PRICING AGREEMENT

  457    CORPORATE                               HANDGARDS INC                        PRICING AGREEMENT

  458    CORPORATE                               HANDI FOIL OF AMERICA                PRICING AGREEMENT

  459    CORPORATE                               HANDY WACKS INC                      PRICING AGREEMENT

  460    CORPORATE                               HEINZ USA                            PRICING AGREEMENT

  461    CORPORATE                               HERSHEY COMPANY                      PRICING AGREEMENT

  462    CORPORATE                               HIGHLAND BAKING COMPANY              PRICING AGREEMENT

  463    CORPORATE                               HILLSHIRE BRANDS CO                  PRICING AGREEMENT

  464    CORPORATE                               HORMEL FOODS CORPORATION             PRICING AGREEMENT

  465    CORPORATE                               HUHTAMAKI FOODSERVICE INC            PRICING AGREEMENT
                                                 INTERNATIONAL SEAFOOD VENTURES
  466    CORPORATE                                                                    PRICING AGREEMENT
                                                 LLC
  467    CORPORATE                               JENNIE O TURKEY STORE INC            PRICING AGREEMENT

  468    CORPORATE                               JOHN MORRELL & COMPANY               PRICING AGREEMENT

  469    CORPORATE                               JOSEPHS GOURMET PASTAS               PRICING AGREEMENT

  470    CORPORATE                               JR SIMPLOT CO                        PRICING AGREEMENT

  471    CORPORATE                               KELLOGGS FOODSERVICE                 PRICING AGREEMENT

  472    CORPORATE                               KENS FOODS INC                       PRICING AGREEMENT
                        FOX & HOUND RESTAURANT
  473    CORPORATE                               LAMB WESTON INC                      PRICING AGREEMENT
                        GROUP
  474    CORPORATE                               LAWLER FOODS LTD                     PRICING AGREEMENT

  475    CORPORATE                               LEOS FOODS                           PRICING AGREEMENT



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  ID     Store Number              Debtor                 Contract Counter Party                  Type of Contract           Description of Contract

  476    CORPORATE                                 LYONS MAGNUS                        PRICING AGREEMENT

  477    CORPORATE                                 MCCAIN FOODS LIMITED                PRICING AGREEMENT

  478    CORPORATE                                 MICHAEL FOODS INC                   PRICING AGREEMENT

  479    CORPORATE                                 MISSION FOODS INC                   PRICING AGREEMENT

  480    CORPORATE                                 MONIN INC                           PRICING AGREEMENT

  481    CORPORATE                                 NATHAN'S FAMOUS                     PRICING AGREEMENT

  482    CORPORATE                                 NESTLE BRANDS FOODSERVICE           PRICING AGREEMENT

  483    CORPORATE                                 OZIAMA INC                          PRICING AGREEMENT

  484    CORPORATE                                 PACTIV CORP                         PRICING AGREEMENT

  485    CORPORATE                                 PANAPESCA USA CORP                  PRICING AGREEMENT

  486    CORPORATE                                 PROCESSED FOODS CORP.               PRICING AGREEMENT

  487    CORPORATE                                 PRODUCERS RICE MILL                 PRICING AGREEMENT

  488    CORPORATE                                 RECKITT BENCKISER INC               PRICING AGREEMENT

  489    CORPORATE                                 RED GOLD LLC                        PRICING AGREEMENT

  490    CORPORATE                                 RICH PRODUCTS CORP                  PRICING AGREEMENT

  491    CORPORATE                                 RON SON FOODS INC                   PRICING AGREEMENT

  492    CORPORATE                                 ROTELLA'S ITALIAN BAKERY            PRICING AGREEMENT

  493    CORPORATE                                 ROYAL PAPER PRODUCTS INC            PRICING AGREEMENT

  494    CORPORATE                                 RUPRECHT COMPANY                    PRICING AGREEMENT

  495    CORPORATE                                 S&D COFFEE                          PRICING AGREEMENT
                        FOX AND HOUND RESTAURANT
  496    CORPORATE                                 SAPUTO INC                          PRICING AGREEMENT
                        GROUP
  497    CORPORATE                                 SARGENTO FOOD SERVICE CORP          PRICING AGREEMENT

  498    CORPORATE                                 SCA TISSUE NORTH AMERICA            PRICING AGREEMENT

  499    CORPORATE                                 SCHREIBER FOODS INTL (IMPORTER)     PRICING AGREEMENT

  500    CORPORATE                                 SCHWAN'S FOOD SERVICE               PRICING AGREEMENT

  501    CORPORATE                                 SOLO CUP CO                         PRICING AGREEMENT

  502    CORPORATE                                 SOUP BASES LOADED, INC.             PRICING AGREEMENT

  503    CORPORATE                                 SOUTH STREAM SEAFOOD                PRICING AGREEMENT

  504    CORPORATE                                 SPECIALTY ROLL PRODUCTS             PRICING AGREEMENT
                        FOX AND HOUND RESTAURANT
  505    CORPORATE                                 STRATAS FOODS                       PRICING AGREEMENT
                        GROUP
  506    CORPORATE                                 SUGAR FOODS CORP                    PRICING AGREEMENT

  507    CORPORATE                                 SUGARDALE FOOD SERVICE              PRICING AGREEMENT

  508    CORPORATE                                 TRONEX HEALTHCARE INDUSTRY          PRICING AGREEMENT

  509    CORPORATE                                 TYSON FOODS INC                     PRICING AGREEMENT

  510    CORPORATE                                 ULTRA THIN PIZZA SHELLS             PRICING AGREEMENT

  511    CORPORATE                                 VENTURA FOODS LLC                   PRICING AGREEMENT

  512    CORPORATE                                 WELLS ENTERPRISES INC               PRICING AGREEMENT
                        FOX & HOUND RESTAURANT
  513    CORPORATE                                 WOLVERINE PACKING CO                PRICING AGREEMENT
                        GROUP
                                                   STANLEY CONVERGENT SECURITY
  518    CORPORATE      F&H ACQUISITION CORP                                           SERVICE AGREEMENT               SECURITY AGREEMENT
                                                   SOLUTIONS INC



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  519       65028       FOX & HOUND / MEMPHIS         AC BEVERAGE INC                       SERVICE AGREEMENT               CO2 SERVICE AGREEMENT

  521       65205       CHAMPP'S                      AC BEVERAGE INC                       SERVICE AGREEMENT               CO2 SERVICE AGREEMENT

  524       65212       CHAMPPS SPORTS BAR            AC BEVERAGE INC                       SERVICE AGREEMENT               CO2 SERVICE AGREEMENT

  525       65215       CHAMPPS SPORTS BAR            AC BEVERAGE INC                       SERVICE AGREEMENT               CO2 SERVICE AGREEMENT

  526       65218       CHAMPPS SPORTS BAR            AC BEVERAGE INC                       SERVICE AGREEMENT               CO2 SERVICE AGREEMENT

  527       65222       CHAMPP'S                      AC BEVERAGE INC                       SERVICE AGREEMENT               CO2 SERVICE AGREEMENT

  528       65224       CHAMPPS SPORTS BAR            AC BEVERAGE INC                       SERVICE AGREEMENT               CO2 SERVICE AGREEMENT
                        TENT RESTAURANT
  541       65066                                     AC BEVERAGE INC                       SERVICE AGREEMENT               NITROGEN GENERATOR AGREEMENT
                        OPERATIONS,INC
                        TENT RESTAURANT OPERATIONS,
  542       65002                                     ACFN                                  SERVICE AGREEMENT               ATM AGREEMENT
                        INC
                        F & H RESTAURANTS OF TEXAS,
  543       65005                                     ACFN                                  SERVICE AGREEMENT               ATM AGREEMENT
                        INC
                        TENT RESTAURANT OPERATIONS,
  544       65007                                     ACFN                                  SERVICE AGREEMENT               ATM AGREEMENT
                        INC
                        TENT RESTAURANT OPERATIONS,
  545       65013                                     ACFN                                  SERVICE AGREEMENT               ATM AGREEMENT
                        INC
                        TENT RESTAURANT OPERATIONS,
  548       65028                                     ACFN                                  SERVICE AGREEMENT               ATM AGREEMENT
                        INC
                        F & H RESTAURANTS OF TEXAS,
  549       65036                                     ACFN                                  SERVICE AGREEMENT               ATM AGREEMENT
                        INC
                        TENT RESTAURANT OPERATIONS,
  551       65041                                     ACFN                                  SERVICE AGREEMENT               ATM AGREEMENT
                        INC
                        F & H RESTAURANTS OF TEXAS,
  554       65052                                     ACFN                                  SERVICE AGREEMENT               ATM AGREEMENT
                        INC
                        F & H RESTAURANTS OF TEXAS,
  555       65056                                     ACFN                                  SERVICE AGREEMENT               ATM AGREEMENT
                        INC
                        FOX & HOUND
  562       65063                                     ADVANCED ATM SYSTEMS                  SERVICE AGREEMENT               ATM AGREEMENT
                        RESTAURANT/TOTAL
                        FOX & HOUND
  563       65069                                     ADVANCED ATM SYSTEMS                  SERVICE AGREEMENT               ATM AGREEMENT
                        RESTAURANT/TOTAL
                                                      ADVANTAGE WATER CONDITIONING                                          WATER CONDITIONER RENTAL
  565       65035       FOX & HOUND OF INDIANA, INC                                         SERVICE AGREEMENT
                                                      INC                                                                   AGREEMENT
                        TENT RESTAURANT
  591       65051                                     ARCET EQUIPMENT COMPANY               SERVICE AGREEMENT               CO2 SERVICE AGREEMENT
                        OPERATIONS,INC
                        TENT RESTAURANT OPERATIONS,
  595       65077                                     CAPITAL GAMES LLC                     SERVICE AGREEMENT               ATM AGREEMENT
                        INC
                        FOX & HOUND RESTAURANT
  596       65003                                     CASH TECHNOLOGIES                     SERVICE AGREEMENT               ATM AGREEMENT
                        GROUP/TOTAL ENTERTAINMENT
                        FOX & HOUND RESTAURANT
  597       65004                                     CASH TECHNOLOGIES                     SERVICE AGREEMENT               ATM AGREEMENT
                        GROUP/TOTAL ENTERTAINMENT
                        FOX & HOUND RESTAURANT
  598       65010                                     CASH TECHNOLOGIES                     SERVICE AGREEMENT               ATM AGREEMENT
                        GROUP/TOTAL ENTERTAINMENT
                        FOX & HOUND RESTAURANT
  599       65042                                     CASH TECHNOLOGIES                     SERVICE AGREEMENT               ATM AGREEMENT
                        GROUP/TOTAL ENTERTAINMENT
                        TENT RESTAURANT OPERATIONS,
  600       65009                                     CHALLENGE ENTERTAINMENT               SERVICE AGREEMENT               ENTERTAINMENT - TRIVIA CONTRACT
                        INC
                        FOX & HOUND RESTAURANT
  601       65023                                     CHOICE ATM ENTERPRISES                SERVICE AGREEMENT               ATM AGREEMENT
                        GROUP/TOTAL ENTERTAINMENT
  615       65074       FOX & HOUND OF TENNESSEE, INC COMCAST CABLEVISION OF THE SOUTH SERVICE AGREEMENT                    CABLE SERVICE AGREEMENT

  623       65077       FOX AND THE HOUND             CYBER DISH INC.                       SERVICE AGREEMENT               ATM AGREEMENT
                        TENT RESTAURANT OPERATIONS,
  624       65028                                     DARLING INTERNATIONAL, INC.           SERVICE AGREEMENT               GREASE TRAP / HAULING AGREEMENT
                        INC
  625    CORPORATE      F&H ACQUISITIONS CORP.        DEALERS LEASING INC DBA               AUTOMOBILE LEASE AGREEMENT      2008 FORD FUSION SE -

  627    CORPORATE      F&H ACQUISITIONS CORP.        DEALERS LEASING INC DBA               AUTOMOBILE LEASE AGREEMENT      2008 FORD EXPLORER S -- DM

  629    CORPORATE      F&H ACQUISITION CORP.         DEALERS LEASING INC DBA               AUTOMOBILE LEASE AGREEMENT      2010 CHEVROLET MALIBU 2010LS

  631    CORPORATE      F&H ACQUISITIONS CORP.        DEALERS LEASING INC DBA               AUTOMOBILE LEASE AGREEMENT      2011 HONDA ACCORD - DM

  632    CORPORATE      F&H ACQUISITIONS CORP.        DEALERS LEASING INC DBA               AUTOMOBILE LEASE AGREEMENT      2013 FORD FUSION - DM
                                                                                                                            KITCHEN EXHAUST CLEAINNG SERVICE
  633       65039       FOX & HOUND                   DELTA INDUSTRIAL SERVICES INC.        SERVICE AGREEMENT
                                                                                                                            AGREEMENT
  634       65059       FOX & HOUND OF COLORADO, INC DENVER DARTS, INC.                     SERVICE AGREEMENT               ATM AGREEMENT

  643       65074       FOX & HOUND OF TENNESSEE, INC EPB                                   SERVICE AGREEMENT               ELECTRIC SERVICE AGREEMENT



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                        TENT RESTAURANT OPERATIONS,
  644       65093                                      FOODIE CALL, INC.                     SERVICE AGREEMENT             DELIVERY SERVICE AGREEMENT
                        INC
  648       65066       FOX & HOUND/KING OF PRUSSIA    GM HOLDINGS LLC                       SERVICE AGREEMENT             ATM AGREEMENT

  649       65004       N. COLLINS ENTERTAINMENT, LTD. GMR MARKETING LLC                     ENTERTAINMENT AGREEMENT       MARLBORO PROMOTION NIGHTS
                        TENT RESTAURANT OPERATIONS,
  650       65007                                      GMR MARKETING LLC                     ENTERTAINMENT AGREEMENT       MARLBORO PROMOTION NIGHTS
                        INC
                        F & H RESTAURANTS OF TEXAS,
  651       65008                                      GMR MARKETING LLC                     ENTERTAINMENT AGREEMENT       MARLBORO PROMOTION NIGHTS
                        INC
                        TENT RESTAURANT OPERATIONS,
  652       65013                                      GMR MARKETING LLC                     ENTERTAINMENT AGREEMENT       MARLBORO PROMOTION NIGHTS
                        INC
                        TENT RESTAURANT OPERATIONS,
  653       65014                                      GMR MARKETING LLC                     ENTERTAINMENT AGREEMENT       MARLBORO PROMOTION NIGHTS
                        INC
                        TENT RESTAURANT OPERATIONS,
  654       65028                                      GMR MARKETING LLC                     ENTERTAINMENT AGREEMENT       MARLBORO PROMOTION NIGHTS
                        INC
                        TENT RESTAURANT OPERATIONS,
  655       65028                                      GMR MARKETING LLC                     ENTERTAINMENT AGREEMENT       MARLBORO PROMOTION NIGHTS
                        INC
                        TENT RESTAURANT OPERATIONS,
  657       65041                                      GMR MARKETING LLC                     ENTERTAINMENT AGREEMENT       MARLBORO PROMOTION NIGHTS
                        INC
                        F & H RESTAURANTS OF TEXAS,
  658       65042                                      GMR MARKETING LLC                     ENTERTAINMENT AGREEMENT       MARLBORO PROMOTION NIGHTS
                        INC
  661       65049       FOX & HOUND OF COLORADO, INC GMR MARKETING LLC                       ENTERTAINMENT AGREEMENT       MARLBORO PROMOTION NIGHTS
                        F & H RESTAURANTS OF TEXAS,
  662       65052                                      GMR MARKETING LLC                     ENTERTAINMENT AGREEMENT       MARLBORO PROMOTION NIGHTS
                        INC
  663       65059       FOX & HOUND OF COLORADO, INC GMR MARKETING LLC                       ENTERTAINMENT AGREEMENT       MARLBORO PROMOTION NIGHTS
                        FOX & HOUND OF NEW MEXICO,
  664       65063                                      GMR MARKETING LLC                     ENTERTAINMENT AGREEMENT       MARLBORO PROMOTION NIGHTS
                        INC
                        TENT RESTAURANT OPERATIONS,
  666       65088                                      GMR MARKETING LLC                     ENTERTAINMENT AGREEMENT       MARLBORO PROMOTION NIGHTS
                        INC
  667       65091       FOX & HOUND OF OHIO, INC       GMR MARKETING LLC                     ENTERTAINMENT AGREEMENT       MARLBORO PROMOTION NIGHTS

  669       65055       FOX & HOUND OF ILLINOIS, INC   HELGET GAS PRODUCTS INC               SERVICE AGREEMENT             CO2 SERVICE AGREEMENT

  673       65216       CHAMPPS AMERICANA              LEONARDS SYRUPS INC                   SERVICE AGREEMENT             CO2 SERVICE AGREEMENT

  674       65217       CHAMPPS AMERICANA              LEONARDS SYRUPS INC                   SERVICE AGREEMENT             CO2 SERVICE AGREEMENT

  683       65069       FOX & HOUND PUB                M & H GAS, INC.                       SERVICE AGREEMENT             CO2 SERVICE AGREEMENT

  684       65016       FOX & HOUND OF ILLINOIS, INC   MACCARB INC                           SERVICE AGREEMENT             CO2 SERVICE AGREEMENT

  685       65077       FOX & HOUND PUB & GRILLE       MACHINE & WELDING SUPPLY INC          SERVICE AGREEMENT             CO2 SERVICE AGREEMENT

  686       65030       FOX & HOUND OF OHIO, INC       MATCH.COM EVENTS LLC                  SERVICE AGREEMENT             EVENT AGREEMENT

  692       65035       FOX & HOUND OF INDIANA, INC    MEDIA STAR PROMOTIONS                 ENTERTAINMENT AGREEMENT       CAMEL PROMOTION NIGHTS
                        PENNSYLVANIA FOX & HOUND,
  694       65066                                      MOPAC                                 SERVICE AGREEMENT             GREASE REMOVAL SERVICE AGREEMENT
                        INC
  695       65047       FOX & HOUND, INC               NATIONAL WELDERS SUPPLY CO INC        SERVICE AGREEMENT             CO2 SERVICE AGREEMENT
                        FOX & HOUND
  699       65083                                      NATIONAL WELDERS SUPPLY CO INC        SERVICE AGREEMENT             CO2 SERVICE AGREEMENT
                        RESTAURANT/TOTAL
                        TENT RESTAURANT
  701       65088                                      NEXAIR                                SERVICE AGREEMENT             CO2 SERVICE AGREEMENT
                        OPERATIONS,INC
  702       65091       FOX & HOUND OF OHIO, INC       NEXAIR                                SERVICE AGREEMENT             CO2 SERVICE AGREEMENT
                        TENT RESTAURANT OPERATIONS,                                                                        ENTERTAINMENT - GAME PADS
  703    CORPORATE                                     NTN BUZZTIME INC                      SERVICE AGREEMENT
                        INC                                                                                                AGREEMENT
                                                                                                                           ENTERTAINMENT - GAME PADS
  704       65042       F&H RESTAURANTS OF TEXAS, INC NTN BUZZTIME INC                       SERVICE AGREEMENT
                                                                                                                           AGREEMENT
                        FOX & HOUND OF NEW MEXICO,                                                                         ENTERTAINMENT - GAME PADS
  705       65063                                      NTN BUZZTIME INC                      SERVICE AGREEMENT
                        INC                                                                                                AGREEMENT
                        TENT RESTAURANT OPERATIONS,                                                                        ENTERTAINMENT - GAME PADS
  707       65010                                      NTN BUZZTIME INC                      SERVICE AGREEMENT
                        INC                                                                                                AGREEMENT
                        TENT RESTAURANT OPERATIONS,                                                                        ENTERTAINMENT - GAME PADS
  708       65007                                      NTN BUZZTIME INC                      SERVICE AGREEMENT
                        INC                                                                                                AGREEMENT
                        TENT RESTAURANT OPERATIONS,                                                                        ENTERTAINMENT - GAME PADS
  709       65014                                      NTN BUZZTIME INC                      SERVICE AGREEMENT
                        INC                                                                                                AGREEMENT
                        TENT RESTAURANT OPERATIONS,                                                                        ENTERTAINMENT - GAME PADS
  712       65092                                      NTN BUZZTIME INC                      SERVICE AGREEMENT
                        INC                                                                                                AGREEMENT
                                                                                                                           ENTERTAINMENT - GAME PADS
  713       65049       FOX & HOUND OF COLORADO, INC NTN BUZZTIME INC                        SERVICE AGREEMENT
                                                                                                                           AGREEMENT
                                                                                                                           ENTERTAINMENT - GAME PADS
  714       65059       FOX & HOUND OF COLORADO, INC NTN BUZZTIME INC                        SERVICE AGREEMENT
                                                                                                                           AGREEMENT



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                        FOX & HOUND OF HOUSTON #2,                                                                        ENTERTAINMENT - GAME PADS
  715       65056                                      NTN BUZZTIME INC                     SERVICE AGREEMENT
                        LTD.                                                                                              AGREEMENT
                                                                                                                          ENTERTAINMENT - GAME PADS
  718       65004       N. COLLINS ENTERTAINMENT, LTD. NTN BUZZTIME INC                     SERVICE AGREEMENT
                                                                                                                          AGREEMENT
                        FOX & HOUND OF RICHARDSON,                                                                        ENTERTAINMENT - GAME PADS
  721       65052                                      NTN BUZZTIME INC                     SERVICE AGREEMENT
                        LTD.                                                                                              AGREEMENT
                                                                                                                          ENTERTAINMENT - GAME PADS
  722       65036       F&H RESTAURANTS OF TEXAS, INC NTN BUZZTIME INC                      SERVICE AGREEMENT
                                                                                                                          AGREEMENT
                                                                                                                          ENTERTAINMENT - GAME PADS
  725       65008       F&H RESTAURANTS OF TEXAS, INC NTN BUZZTIME INC                      SERVICE AGREEMENT
                                                                                                                          AGREEMENT
                        TENT RESTAURANT OPERATIONS,                                                                       ENTERTAINMENT - GAME PADS
  726       65010                                      NTN BUZZTIME INC                     SERVICE AGREEMENT
                        INC                                                                                               AGREEMENT
  727       65005       505 ENTERTAINMENT, LTD.        NUCO2 LLC                            SERVICE AGREEMENT             CO2 SERVICE AGREEMENT
                        TENT RESTAURANT
  728       65009                                      NUCO2 LLC                            SERVICE AGREEMENT             CO2 SERVICE AGREEMENT
                        OPERATIONS,INC
  729       65015       FOX & HOUND OF NEBRASKA, INC NUCO2 LLC                              SERVICE AGREEMENT             CO2 SERVICE AGREEMENT
                        TENT RESTAURANT
  731       65023                                      NUCO2 LLC                            SERVICE AGREEMENT             CO2 SERVICE AGREEMENT
                        OPERATIONS,INC
                        TENT RESTAURANT
  733       65031                                      NUCO2 LLC                            SERVICE AGREEMENT             CO2 SERVICE AGREEMENT
                        OPERATIONS,INC
  734       65035       FOX & HOUND OF INDIANA, INC    NUCO2 LLC                            SERVICE AGREEMENT             CO2 SERVICE AGREEMENT

  737       65049       FOX & HOUND OF COLORADO, INC NUCO2 LLC                              SERVICE AGREEMENT             CO2 SERVICE AGREEMENT

  738       65049       FOX & HOUND OF COLORADO, INC NUCO2 LLC                              SERVICE AGREEMENT             CO2 SERVICE AGREEMENT
                        TENT RESTAURANT
  743       65092                                      NUCO2 LLC                            SERVICE AGREEMENT             CO2 SERVICE AGREEMENT
                        OPERATIONS,INC
  747       65212       CHAMPPS ENTERTAINMENT, INC     NUCO2 LLC                            SERVICE AGREEMENT             CO2 SERVICE AGREEMENT

  748       65218       CHAMPPS ENTERTAINMENT, INC     NUCO2 LLC                            SERVICE AGREEMENT             CO2 SERVICE AGREEMENT

  749       65219       CHAMPPS ENTERTAINMENT, INC     NUCO2 LLC                            SERVICE AGREEMENT             CO2 SERVICE AGREEMENT

  751       65221       CHAMPPS ENTERTAINMENT, INC     NUCO2 LLC                            SERVICE AGREEMENT             CO2 SERVICE AGREEMENT

  753       65232       CHAMPPS ENTERTAINMENT, INC     NUCO2 LLC                            SERVICE AGREEMENT             CO2 SERVICE AGREEMENT

  760       65005       FOX & HOUND                    ORKIN PEST CONTROL                   SERVICE AGREEMENT             PEST CONTROL
                                                                                                                          ENTERTAINMENT - POKER
  762       65035       FOX & HOUND OF INDIANA, INC    POKER PLAYERS INC                    SERVICE AGREEMENT
                                                                                                                          TOURNAMENTS AGREEMENT
  763       65016       FOX & HOUND                    QUALITY TEMP HEATING & AIR INC       SERVICE AGREEMENT             HVAC AGREEMENT

  765       65055       FOX & HOUND OF ILLINOIS, INC   RESTAURANT TECHNOLOGIES INC          SERVICE AGREEMENT             COOKING OIL SERVICE
                        NORTH CAROLINA FOX & HOUND,                                                                       ENTERTAINMENT - COIN-OP
  768       65077                                   RGB INC DBA RALEIGH AMUSEMENTS          SERVICE AGREEMENT
                        INC                                                                                               AMUSEMENTS
  776       65253       CHAMPPS ENTERTAINMENT          ROBERTS OXYGEN CO INC                SERVICE AGREEMENT             CO2 SERVICE AGREEMENT
                                                       RTI SUPPLY AND FILTRATION
  778       65055       FOX & HOUND OF ILLINOIS, INC                                        SERVICE AGREEMENT             GREASE REMOVAL SERVICE
                                                       MONITORING
                        FOX & HOUND OF NEW JERSEY,     RTI SUPPLY AND FILTRATION
  779       65073                                                                           SERVICE AGREEMENT             GREASE REMOVAL SERVICE
                        INC                            MONITORING
                        TENT RESTAURANT OPERATIONS,
  780    CORPORATE                                   SCHOLFIELD AUTO PLAZA                  AUTOMOBILE LEASE AGREEMENT    2011 ACURA MDX - Jim
                        INC
                        PENNSYLVANIA FOX & HOUND,
  781       65033                                    TCI                                    SERVICE AGREEMENT             ENTERTAINMENT - VIDEO AGREEMENT
                        INC
                        F&H OF KENNESAW INC MARTIN J
  783    CORPORATE                                   TOYOTA LEASE TRUST                     AUTOMOBILE LEASE AGREEMENT    2012 LEXUS ES350 - -Harry Decker
                        FAYETTE
                                                                                                                          COOKING EQUIPMENT SERVICE
  788       65008       FOX & HOUND, DALLAS, TX 75287 WISE ALTERNATIVE SERVICES INC         SERVICE AGREEMENT
                                                                                                                          EQUIPMENT
  790       65030       FOX & HOUND OF OHIO, INC       WRG SERVICES INC                     SERVICE AGREEMENT             ATM AGREEMENT

  791       65030       FOX & HOUND CANTON             WRG SERVICES INC                     SERVICE AGREEMENT             ATM AGREEMENT

  792       65039       FOX & HOUND OF OHIO, INC       WRG SERVICES INC                     SERVICE AGREEMENT             ATM AGREEMENT

  793    CORPORATE      CHAMPPS ENTERTAINMENT, INC     ADVANCE RESOURCES                    FEE AGREEMENT                 RECRUITER FEE AGREEMENT
                        FOX & HOUND RESTAURANT
  794    CORPORATE                                     ADVANCE RESOURCES                    FEE AGREEMENT                 RECRUITER FEE AGREEMENT
                        GROUP
                        FOX & HOUND RESTAURANT
  795    CORPORATE                                     AKR RECRUITING                       FEE AGREEMENT                 RECRUITER FEE AGREEMENT
                        GROUP
  796    CORPORATE      CHAMPPS ENTERTAINMENT, INC     ATLANTIC PERSONNEL                   FEE AGREEMENT                 CONTINGENCY SEARCH AGREEMENT



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                        FOX & HOUND RESTAURANT
  797    CORPORATE                                     AXIOM                                 LETTER AGREEMENT                   TRAVEL BOOKING TOOL
                        GROUP
                        FOX & HOUND RESTAURANT
  798    CORPORATE                                     BEST RESTAURANT JOBS                  FEE AGREEMENT                      RECRUITER FEE AGREEMENT
                        GROUP
                        FOX & HOUND RESTAURANT
  799    CORPORATE                                     BEST WESTERN TUCSON                   CORPORATE RATE AGREEMENT           HOTEL RATE AGREEMENT
                        GROUP
  800    CORPORATE      CHAMPPS ENTERTAINMENT, INC     BILL REBER & ASSOCIATES               FEE AGREEMENT                      RECRUITER FEE AGREEMENT
                        FOX & HOUND RESTAURANT
  801    CORPORATE                                     BUSINESS EXTRA                        AA REWARDS PROGRAM                 AIRLINE REWARDS PROGRAM
                        GROUP
                        FOX & HOUND RESTAURANT
  802    CORPORATE                                     COMFORT INN CANTON                    CORPORATE RATE AGREEMENT           HOTEL RATE AGREEMENT
                        GROUP
                        FOX AND HOUND RESTAURANT
  803    CORPORATE                                     DIGITAL OFFICE SYSTEMS INC            RENTAL AGREEMENT                   COPY MACHINES - WICHITA OFFICE
                        GROUP
  804    CORPORATE      CHAMPPS ENTERTAINMENT, INC     EHS HOSPITALITY                       SEARCH AGREEMENT                   EHS SEARCH AGREEMENT
                        FOX AND HOUND RESTAURANT
  805    CORPORATE                                     ENTERPRISE HOLDINGS                   RATE AGREEMENT                     RENTAL CAR COMPANY
                        GROUP
                        FOX & HOUND RESTAURANT
  806    CORPORATE                                     GECKO HOSPITALITY                     FEE AGREEMENT                      RECRUITER FEE AGREEMENT
                        GROUP
                        FOX & HOUND RESTAURANT
  807    CORPORATE                                     GECKO HOSPITALITY                     FEE AGREEMENT                      RECRUITER FEE AGREEMENT
                        GROUP
                        FOX & HOUND RESTAURANT
  808    CORPORATE                                     GECKO HOSPITALITY                     FEE AGREEMENT                      RECRUITER FEE AGREEMENT
                        GROUP
                        FOX & HOUND RESTAURANT
  809    CORPORATE                                     GECKO HOSPITALITY, SDB CONSULTING FEE AGREEMENT                          RECRUITER FEE AGREEMENT
                        GROUP
                        FOX & HOUND RESTAURANT
  810    CORPORATE                                     HOLIDAY INN EXPRESS                   CORPORATE RATE AGREEMENT           HOTEL RATE AGREEMENT
                        GROUP
                        FOX & HOUND RESTAURANT
  811    CORPORATE                                     HOLIDAY INN EXPRESS PALATINE          CORPORATE RATE AGREEMENT           HOTEL RATE AGREEMENT
                        GROUP
                        FOX & HOUND RESTAURANT
  812    CORPORATE                                     INTECONTINENTAL HOTELS GROUP          HOTEL DISCOUNT PROGRAM AGREEMENT
                        GROUP
                        FOX & HOUND RESTAURANT
  813    CORPORATE                                     JACK GERALD HOSPITALITY               FEE AGREEMENT                      RECRUITER FEE AGREEMENT
                        GROUP
                        FOX & HOUND RESTAURANT
  814    CORPORATE                                     MARTIN PEOPLE SOURCE                  FEE AGREEMENT                      RECRUITER FEE AGREEMENT
                        GROUP
  815    CORPORATE      CHAMPPS ENTERTAINMENT, INC     MINNSTAR INC                          FEE AGREEMENT                      RECRUITER FEE AGREEMENT
                        FOX & HOUND RESTAURANT
  816    CORPORATE                                     PATRICE & ASSOCIATES                  FEE AGREEMENT                      RECRUITER FEE AGREEMENT
                        GROUP
                        FOX & HOUND RESTAURANT
  817    CORPORATE                                     PIPER JORDAN                          SERVICE AGREEMENT                  HOURLY INSURANCE BROKER
                        GROUP
                        FOX & HOUND RESTAURANT         PROFESSIONAL SEARCH & RECRUITING
  818    CORPORATE                                                                      FEE AGREEMENT                           RECRUITER FEE AGREEMENT
                        GROUP                          COMPANY
                                                       PROFESSIONAL SEARCH & RECRUITING
  819    CORPORATE      CHAMPPS ENTERTAINMENT, INC                                      SEARCH AGREEMENT                        CONTINGENCY SEARCH AGREEMENT
                                                       COMPANY
                        FOX & HOUND RESTAURANT
  820    CORPORATE                                     PROGRESSIVE PERSONNEL                 FEE AGREEMENT                      RECRUITER FEE AGREEMENT
                        GROUP
                        FOX & HOUND RESTAURANT
  821    CORPORATE                                     RESOURCE ONE                          FEE AGREEMENT                      RECRUITER FEE AGREEMENT
                        GROUP
                        FOX & HOUND RESTAURANT
  822    CORPORATE                                     RESOURCES IN FOOD CHICAGO             FEE AGREEMENT                      RECRUITER FEE AGREEMENT
                        GROUP
                        FOX & HOUND RESTAURANT
  823    CORPORATE                                     SELECTIVE RESTAURANT RECRUITERS       FEE AGREEMENT                      RECRUITER FEE AGREEMENT
                        GROUP
                        FOX & HOUND RESTAURANT
  824    CORPORATE                                     THRIFTY RENT-A-CAR SYSTEM, INC.       RATE AGREEMENT                     RENTAL CAR COMPANY
                        GROUP
                                                                                                                                HS CONNECT APPLICATION SERVICE
  827    CORPORATE      CHAMPS OPERATING CORP.         HOTSCHEDULES HOLDINGS INC             SERVICE AGREEMENT
                                                                                                                                AGREEMENT
                        FOX & HOUND RESTAURANT                                                                                  HS CONNECT APPLICATION SERVICE
  828    CORPORATE                                     HOTSCHEDULES HOLDINGS INC             SERVICE AGREEMENT
                        GROUP                                                                                                   AGREEMENT
                                                                                                                                EMAIL MARKETING SERVICE
  829    CORPORATE      F&H ACQUISITION CORP           PAYTRONIX SYSTEMS INC                 SERVICE AGREEMENT
                                                                                                                                AGREEMENT
  830    CORPORATE      CHAMPS ENTERTAINMENT, INC      WESTEC INTELLIGNCE SURVEILLANCE       SERVICE AGREEMENT                  SECURITY AGREEMENT
                        TENT RESTAURANT OPERATIONS,                                                                             LOCATION: 5113 BOWEN DRIVE,
  833       65091                                      451 LUDLOW LIMITED PARTNERSHP         REAL ESTATE LEASE
                        INC                                                                                                     MASON, OH
                                                                                                                                LOCATION: 505 UNIVERSITY EAST,
  834       65005       N. COLLINS ENTERTAINMENT, LTD. 505 CENTER LP                         REAL ESTATE LEASE
                                                                                                                                COLLEGE STATION, TX
                        TENT RESTAURANT OPERATIONS,                                                                             LOCATION: 15235 JOHN J. DELANEY
  837       65047                                      AMCAP BALLATYNE, LLC                  REAL ESTATE LEASE
                        INC                                                                                                     DRIVE, CHARLOTTE, NC
                        CHAMPPS ENTERTAINMENT OF                                                                                LOCATION: 1211 UPTOWN PARK BLVD.,
  838       65221                                      AMREIT UPTOWN PARK LP                 REAL ESTATE LEASE
                        TEXAS, INC                                                                                              SUITE A, HOUSTON TX 77056
                        CHAMPPS ENTERTAINMENT OF                                                                                LOCATION: 1211 UPTOWN PARK BLVD.,
  839       65221                                      AMREIT UPTOWN PARK LP                 REAL ESTATE LEASE
                        TEXAS, INC                                                                                              SUITE A, HOUSTON TX 77056
                        TENT RESTAURANT OPERATIONS,                                                                             LOCATION: 5316 MT. VIEW ROAD,
  840       65014                                      NAI NASHVILLE                         REAL ESTATE LEASE
                        INC                                                                                                     ANTIOCH, TN
                        F & H RESTAURANTS OF TEXAS,                                                                             LOCATION: 12802 GULF
  842       65056                                      BFO45, LTD.                           REAL ESTATE LEASE
                        INC                                                                                                     FREEWAY,HOUSTON TX



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  ID     Store Number               Debtor                     Contract Counter Party                      Type of Contract           Description of Contract
                                                                                                                               LOCATION: 9239 PARK MEADOWS
  843       65059       FOX & HOUND OF COLORADO, INC BGN VENTURES LTD LP                      REAL ESTATE LEASE
                                                                                                                               DRIVE, LONE TREE, CO
                                                                                                                               LOCATION: 270-420 W ARMY TRAIL RD,
  845       65076       FOX & HOUND OF ILLINOIS, INC   BLOOMINGDALE COURT, LLC                REAL ESTATE LEASE
                                                                                                                               410A, BLOOMINGDALE, IL 60108
                        CHAMPPS OPERATING                                                                                      LOCATION: 2301 FOUNTAIN SQUARE
  849       65222                                      BUIKEMA #21 LLC                        REAL ESTATE LEASE
                        CORPORATION                                                                                            DRIVE, LOMBARD IL 60148
                        CHAMPPS OPERATING                                                                                      LOCATION: 49 W. MARYLAND ST.,
  854       65232                                      CIRCLE CENTRE DEVELOPMENT CO           REAL ESTATE LEASE
                        CORPORATION                                                                                            CIRCLE CENTER MALL, INDIANAPOLIS IN
                                                                                                                               LOCATION: 1479 SOM CENTER ROAD,
  856       65018       FOX & HOUND OF OHIO, INC       COSMO-EASTGATE, LTD                    REAL ESTATE LEASE
                                                                                                                               MAYFIELD HEIGHTS, OH
                        TENT RESTAURANT OPERATIONS,                                                                            LOCATION: 8500 PINEVILLE MATTHEWS,
  861       65002                                      C'SIDE, LLC                            REAL ESTATE LEASE
                        INC                                                                                                    PINEVILLE, NC
                        CHAMPPS OPERATING                                                                                      LOCATION: 6401 N. ANDREWS AVE.,
  863       65213                                      CYPRESS CREEK ASSOCIATES LP            REAL ESTATE LEASE
                        CORPORATION                                                                                            FORT LAUDERDALE, FL 33309
                        CHAMPPS OPERATING                                                                                      LOCATION: 6401 N. ANDREWS AVE.,
  864       65213                                      CYPRESS CREEK ASSOCIATES LP            REAL ESTATE LEASE
                        CORPORATION                                                                                            FORT LAUDERDALE, FL 33309
                        TENT RESTAURANT OPERATIONS,                                                                            LOCATION: 408 BROADWAY, NASHVILLE,
  870       65041                                      DEVILLE CORP                           REAL ESTATE LEASE
                        INC                                                                                                    TN
                        CHAMPPS OPERATING                                                                                      LOCATION: 2800 PREYDE BLVD, LANSING
  873       65242                                      EASTWOOD, LLC                          REAL ESTATE LEASE
                        CORPORATION                                                                                            MI 48912
                        CHAMPPS OPERATING                                                                                      LOCATION: 2800 PREYDE BLVD, LANSING
  874       65242                                      EASTWOOD, LLC                          REAL ESTATE LEASE
                        CORPORATION                                                                                            MI 48912
                        TENT RESTAURANT OPERATIONS,    EDUCATIONAL SERVICES OF AMERICA,                                        LOCATION: 250 SEVEN OAKS DRIVE
  877       65009                                                                       REAL ESTATE LEASE
                        INC                            INC.                                                                    NORTH, KNOXVILLE, TN
                                                                                                                               LOCATION: 2661 FAIRFIELD COMMONS,
  881       65088       FOX & HOUND OF OHIO, INC       FAIRFIELD VILLAGE, LLC                 REAL ESTATE LEASE
                                                                                                                               BEAVERCREEK OH
                        TENT RESTAURANT OPERATIONS,                                                                            LOCATION: 3101 NEW CENTER POINT
  882       65092                                      FIRST & MAIN, LLC                      REAL ESTATE LEASE
                        INC                                                                                                    DRIVE, COLORADO SPRINGS, CO
                        FOX & HOUND OF OKLAHOMA,       FRANK C. ROBSON & LUDMILLA                                              LOCATION: 7001 S. GARNETT ROAD,
  883       65075                                                                             REAL ESTATE LEASE
                        INC                            ROBSON, COTRUSTEES OF THE FRANK                                         BROKEN ARROW, OK 74102
                                                                                                                               LOCATION: 4770 EVERHARD ROAD,
  884       65030       FOX & HOUND OF OHIO, INC       GARRISON CENTRAL CANTON LLC            REAL ESTATE LEASE
                                                                                                                               CANTON, OH
                                                                                                                               LOCATION: 4770 EVERHARD ROAD,
  885       65030       FOX & HOUND OF OHIO, INC       GARRISON CENTRAL CANTON LLC            REAL ESTATE LEASE
                                                                                                                               CANTON, OH
                        CHAMPPS OPERATING                                                                                      LOCATION: 7410 ORCHARD LAKE RD.,
  886       65224                                      GATEWAY CENTER ASSOCIATES,LTD.         REAL ESTATE LEASE
                        CORPORATION                                                                                            WEST BLOOMFIELD MI 48322
                        CHAMPPS OPERATING                                                                                      LOCATION: 7410 ORCHARD LAKE RD.,
  887       65224                                      GATEWAY CENTER ASSOCIATES,LTD.         REAL ESTATE LEASE
                        CORPORATION                                                                                            WEST BLOOMFIELD MI 48322
                                                                                                                               LOCATION: 1001 NE GREEN OAKS BLVD
  888       65004       505 ENTERTAINMENT, LTD.        GREENWAY-GREEN OAKS, LP                REAL ESTATE LEASE
                                                                                                                               #138, ARLINGTON, TX
                        TENT RESTAURANT OPERATIONS,    JIM KALOGEROS & ALEXANDRIA                                              LOCATION: 2101 PARKWAY CENTER,
  894       65010                                                                             REAL ESTATE LEASE
                        INC                            KALOGEROS                                                               ROAN STREET, JOHNSON CITY, TN
                        TENT RESTAURANT OPERATIONS,    JMAR PROPERTIES GP, A TN GENERAL                                        LOCATION: 786 TWO MILE PARKWAY,
  896       65007                                                                             REAL ESTATE LEASE
                        INC                            PARTNERSHIP                                                             SUITE 12, GOODLETSVILLE, TN
                                                                                                                               LOCATION: 1416 N. ROSELLE ROAD,
  897       65055       FOX & HOUND OF ILLINOIS, INC   KASIM PIRLANT                          REAL ESTATE LEASE
                                                                                                                               UNITS 30-32, SCHAUMBURG, IL
                        TENT RESTAURANT OPERATIONS,                                                                            LOCATION: 211 MALL BOULEVARD, KING
  901       65066                                      KING OF PRUSSIA ASSOCIATES             REAL ESTATE LEASE
                        INC                                                                                                    OF PRUSSIA, PA
                        TENT RESTAURANT OPERATIONS,                                                                            LOCATION: 211 MALL BOULEVARD, KING
  902       65066                                      KING OF PRUSSIA ASSOCIATES             REAL ESTATE LEASE
                        INC                                                                                                    OF PRUSSIA, PA
                        F & H RESTAURANTS OF TEXAS,                                                                            LOCATION: 112 WEST CAMPBELL ROAD,
  903       65052                                      KIR RICHARDSON, LP                     REAL ESTATE LEASE
                        INC                                                                                                    RICHARDSON TX
                        F & H RESTAURANTS OF TEXAS,                                                                            LOCATION: 112 WEST CAMPBELL ROAD,
  904       65052                                      KIR RICHARDSON, LP                     REAL ESTATE LEASE
                        INC                                                                                                    RICHARDSON TX
                        TENT RESTAURANT OPERATIONS,    LAKEWOOD VILLAGE SHOPPING                                               LOCATION: 2800 LAKEWOOD VILLAGE
  908       65003                                                                             REAL ESTATE LEASE
                        INC                            CENTER LLC                                                              DRIVE, N. LITTLE ROCK, AR
                        CHAMPPS OPERATING                                                                                      LOCATION: 1827 OLENTANGY RIVER RD.,
  909       65212                                      LENNOX TOWN CENTER LIMITED             REAL ESTATE LEASE
                        CORPORATION                                                                                            COLUMBUS OH 43212
                        CHAMPPS OPERATING                                                                                      LOCATION: 1827 OLENTANGY RIVER RD.,
  910       65212                                      LENNOX TOWN CENTER LIMITED             REAL ESTATE LEASE
                        CORPORATION                                                                                            COLUMBUS OH 43212
                                                       LONE TREE PALM GARYLLC AND LONE                                         LOCATION: 8735 DAY DRIVE, PARMA,
  911       65039       FOX & HOUND OF OHIO, INC                                              REAL ESTATE LEASE
                                                       TREE PALM CYNTHIA LLC                                                   OH
                        TENT RESTAURANT OPERATIONS,                                                                            LOCATION: 2002 N. WAY MALL,
  912       65033                                      LRC REALTY, INC.                       REAL ESTATE LEASE
                        INC                                                                                                    MCKNIGHT ROAD, PITTSBURGH, PA
                        TENT RESTAURANT OPERATIONS,                                                                            LOCATION: 2002 N. WAY MALL,
  913       65033                                      LRC REALTY, INC.                       REAL ESTATE LEASE
                        INC                                                                                                    MCKNIGHT ROAD, PITTSBURGH, PA
                                                                                                                               LOCATION: 605 N. 120TH ST., WESTERN
  921       65015       FOX & HOUND OF NEBRASKA, INC MENARD, INC.                             REAL ESTATE LEASE
                                                                                                                               CROSSING S/C, OMAHA, NE
                        TENT RESTAURANT OPERATIONS,                                                                            LOCATION: 920 TOWNE CENTER DRIVE,
  922       65083                                      MF3, LLC                               REAL ESTATE LEASE
                        INC                                                                                                    WILMINGTON, NC 28405
                        TENT RESTAURANT OPERATIONS,                                                                            LOCATION: 250 MILLCREEK PLAZA,
  923       65023                                      MILLCREEK PLAZA COMPANY LP             REAL ESTATE LEASE
                        INC                                                                                                    KEARSARGE, PA
                        CHAMPPS ENTERTAINMENT OF                                                                               LOCATION: 855 W. JOHN W. CARPENTER
  925       65219                                      NATIONAL RETAIL PROPERTIES, LP         REAL ESTATE LEASE
                        TEXAS, INC                                                                                             FRWY., IRVING, TX 75039
                        F & H RESTAURANTS OF TEXAS,                                                                            LOCATION: 18918 MIDWAY ROAD, SUITE
  926       65008                                      NAVIKA CAPITAL GROUP, LLC              REAL ESTATE LEASE
                        INC                                                                                                    200, DALLAS, TX
                        TENT RESTAURANT OPERATIONS,                                                                            LOCATION: 4158 MAIN @ NORTH HILLS
  927       65077                                      NHM OWNER-1, LLC                       REAL ESTATE LEASE
                        INC                                                                                                    ST. #111, RALEIGH NC 27609



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  ID     Store Number               Debtor                    Contract Counter Party                    Type of Contract                 Description of Contract
                                                     NORMAN L & CAROL A. COWDEN                                                   LOCATION: 4750 W. 120TH AVENUE,
  928       65049       FOX & HOUND OF COLORADO, INC                                       REAL ESTATE LEASE
                                                     REVOCABLE TRUST LLC                                                          SUITE 900, WESTMINSTER, CO
                        TENT RESTAURANT OPERATIONS,                                                                               LOCATION: 9325 CENTER LAKE DRIVE,
  929       65093                                    NORTHLAKE COMMONS, LLC                REAL ESTATE LEASE
                        INC                                                                                                       SUITE 200, CHARLOTTE NC 28216
                        TENT RESTAURANT OPERATIONS,                                                                               LOCATION: 819 EXOCET DRIVE,
  934       65013                                    PATRIOT SQUAREGP                      REAL ESTATE LEASE
                        INC                                                                                                       CORDOVA, TN
                                                                                                                                  LOCATION: 4901 E. 82ND STREET #900,
  935       65035       FOX & HOUND OF INDIANA, INC    PK CLEARWATER SPRINGS, LLC          REAL ESTATE LEASE
                                                                                                                                  INDIANAPOLIS, IN
                        CHAMPPS OPERATING                                                                                         LOCATION: 8711 N. RIVER CROSSING,
  936       65205                                      PK RIVER SHOPS NORTH LLC            REAL ESTATE LEASE
                        CORPORATION                                                                                               INDIANAPOLIS, IN 46240
                        CHAMPPS OPERATING                                                                                         LOCATION: 8711 N. RIVER CROSSING,
  937       65205                                      PK RIVER SHOPS NORTH LLC            REAL ESTATE LEASE
                        CORPORATION                                                                                               INDIANAPOLIS, IN 46240
                        TENT RESTAURANT OPERATIONS,                                                                               LOCATION: 12300 JEFFERSON AVE,
  939       65089                                      PR PATRICK HENRY LLC                REAL ESTATE LEASE
                        INC                                                                                                       SUITE 110, NEWPORT NEWS VA
                        CHAMPPS OPERATING                                                                                         LOCATION: 51 TOWN CENTER DRIVE,
  941       65253                                      PROVIDENCE TOWN CENTRE, L.P.        REAL ESTATE LEASE
                        CORPORATION                                                                                               STORE G-5, COLLEGEVILLE, PA 19426
                        TENT RESTAURANT OPERATIONS,                                                                               LOCATION: 151 RAMS PLAZA, CHAPEL
  942       65031                                      RAMS PLAZA ASSOCIATES, LLC          REAL ESTATE LEASE
                        INC                                                                                                       HILL, NC
                        F & H RESTAURANTS OF TEXAS,                                                                               LOCATION: 6051 SW LOOP 820, FORT
  943       65042                                      RPI BRYANT IRVIN, LTD.              REAL ESTATE LEASE
                        INC                                                                                                       WORTH, TX
                        TENT RESTAURANT OPERATIONS,                                                                               LOCATION: 5101 SANDERLIN AVENUE,
  944       65028                                      SANDERLIN CENTER PARTNERS           REAL ESTATE LEASE
                        INC                                                                                                       SUITE 100, MEMPHIS, TN
                        FOX & HOUND OF NEW MEXICO,                                                                                LOCATION: 4301 THE LANE @25 N.E.,
  945       65063                                      SAWICKI REALTY CO.                  REAL ESTATE LEASE
                        INC                                                                                                       ALBUQUERQUE, NM
                        TENT RESTAURANT OPERATIONS,                                                                               LOCATION: 418 MENLO PARK MALL,
  946       65203                                      SHOPPING CENTER ASSOCIATES          REAL ESTATE LEASE
                        INC                                                                                                       EDISON, NJ 08837
                        TENT RESTAURANT OPERATIONS,                                                                               LOCATION: 6565 TOWNE CENTER
  947       65087                                      SOUTHAVEN TOWNE CENTER II, LLC      REAL ESTATE LEASE
                        INC                                                                                                       CROSSING, SOUTHAVEN, MS
                        TENT RESTAURANT OPERATIONS,                                                                               LOCATION: 7502 W. BROAD STREET,
  950       65051                                      SPECTRUM PROPERTIES FUND I, LTD.    REAL ESTATE LEASE
                        INC                                                                                                       RICHMOND, VA
                        CHAMPPS OPERATING              TENANT IN COMMON CO-OWNERS                                                 LOCATION: 19470 HAGGERTY RD.,
  958       65216                                                                          REAL ESTATE LEASE
                        CORPORATION                    C/O AEI FUND MANAGEMENT, INC.                                              LIVONIA, MI 48152
                        TENT RESTAURANT OPERATIONS,    THE SHOPPES AT HAMILTON PLACE,                                             LOCATION: 2040 HAMILTON PLACE
  962       65074                                                                          REAL ESTATE LEASE
                        INC                            LLC                                                                        BLVD #150 CHATTANOOGA TN
                                                       THE WATERFRONT COMMERCIAL                                                  LOCATION: 1421 WATERFRONT
  963       65069       FOX & HOUND OF KANSAS,INC                                          REAL ESTATE LEASE
                                                       PROPERTIES, LLC                                                            PARKWAY, WICHITA, KS 67206
                        TENT RESTAURANT OPERATIONS,                                                                               LOCATION: 2409 LAURENS ROAD,
  970       65006                                      VERDAE PROPERTIES, LLC              REAL ESTATE LEASE
                        INC                                                                                                       GREENVILLE, SC
                        TENT RESTAURANT OPERATIONS,                                                                               LOCATION: 2409 LAURENS ROAD,
  971       65006                                      VERDAE PROPERTIES, LLC              REAL ESTATE LEASE
                        INC                                                                                                       GREENVILLE, SC
                        F & H RESTAURANTS OF TEXAS,                                                                               LOCATION: 11470 WESTHEIMER,
  973       65036                                      WOODLAND PARK ENTERPRISES INC       REAL ESTATE LEASE
                        INC                                                                                                       HOUSTON, TX
                                                                                                                                  LOCATION: 4320 E. NEW YORK AVENUE,
  975       65016       FOX & HOUND OF ILLINOIS, INC   YORKSHIRE PLAZA PARTNERS LLC        REAL ESTATE LEASE
                                                                                                                                  AURORA, IL
                                                       DISTRIBUTION MARKET ADVANTAGE
  982    CORPORATE      CHAMPPS ENTERTAINMENT, INC                                         FOOD DISTRIBUTION AGREEMENT
                                                       INC.
                        FOX & HOUND RESTAURANT         DISTRIBUTION MARKET ADVANTAGE
  983    CORPORATE                                                                         FOOD DISTRIBUTION AGREEMENT
                        GROUP                          INC.
  992    CORPORATE      CHAMPPS ENTERTAINMENT, INC     FISHBOWL INC.                       SERVICE AGREEMENT                      EMAIL BROADCAST
                        FOX & HOUND RESTAURANT
  993    CORPORATE                                     FISHBOWL INC.                       SERVICE AGREEMENT                      EMAIL BROADCAST
                        GROUP
                                                       INTERACTIVE COMMUNICATIONS
  994    CORPORATE      F&H ACQUISITION CORP                                               GIFT CARD DISTRIBUTION AGREEMENT
                                                       INTERNATIONAL INC.
                        CHAMPPS OPERATING                                                                                         ELECTRONIC SCHEDULING SYSTEM FOR
  995    CORPORATE                                     HOTSCHEDULES HOLDINGS INC           SERVICE AGREEMENT
                        CORPORATION                                                                                               RESTAURANT
                        FOX & HOUND RESTAURANT                                                                                    ELECTRONIC SCHEDULING SYSTEM FOR
  996    CORPORATE                                     HOTSCHEDULES HOLDINGS INC           SERVICE AGREEMENT
                        GROUP                                                                                                     RESTAURANT
                                                       IRON MOUNTAIN INFORMATION
  997    CORPORATE      CHAMPPS ENTERTAINMENT, INC                                         STORAGE AGREEMENT
                                                       MANAGEMENT
 1000    CORPORATE      F&H ACQUISITION CORP           NATIONAL WASTE ASSOCIATES LLC       NATIONAL TRASH CONTRACT

 1001    CORPORATE      F&H ACQUISITION CORP           PAYTRONIX SYSTEMS INC               GIFT CARD AND LOYALTY CARD AGREEMENT
                        FOX & HOUND RESTAURANT
 1003    CORPORATE                                     RECORDS CENTER OF WICHITA           STORAGE AGREMEENT
                        GROUP
                        FOX & HOUND RESTAURANT
 1005    CORPORATE                                     COCA COLA OF NORTH AMERICA          COCA COLA CONTRACT
                        GROUP
                        FOX & HOUND RESTAURANT
 1006    CORPORATE                                     JOE HAND PROMOTIONS, INC.           SERVICE AGREEMENT                      PAY PER VIEW FIGHTS
                        GROUP/CHAMPPS
 1007       65055       FOX & HOUND OF ILLINOIS, INC   RESTAURANT TECHNOLOGIES, INC.       SERVICE AGREEMENT                      RECYCLE GREASE SYSTEM
                        FOX & HOUND OF NEW JERSEY,
 1008       65073                                      RESTAURANT TECHNOLOGIES, INC.       SERVICE AGREEMENT                      RECYCLE GREASE SYSTEM
                        INC
                        CHAMPS OPERATING
 1014    CORPORATE                                     SCOTT A WINER                       FRANCHISE AGREEMENT                    LOCATION: BURNSVILLE, MINNESOTA
                        CORPORATION
                        CHAMPS OPERATING
 1015    CORPORATE                                     SCOTT A WINER                       FRANCHISE AGREEMENT                    LOCATION: MAPLE GROVE, MINNESOTA
                        CORPORATION



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  ID     Store Number              Debtor                      Contract Counter Party                 Type of Contract           Description of Contract
                        CHAMPS OPERATING              MIDFIELD CONCESSION ENTERPRISES,                                   LOCATION: DETROIT AIRPORT,
 1017    CORPORATE                                                                         FRANCHISE AGREEMENT
                        CORPORATION                   INC.                                                               MICHIGAN
                        CHAMPS OPERATING
 1018    CORPORATE                                    DODGE STREET ENTERTAINMENT, INC. FRANCHISE AGREEMENT               LOCATION: DUBUQUE, IOWA
                        CORPORATION
                        CHAMPS OPERATING
 1020    CORPORATE                                    BLUEMOUND RESTAURANT GROUP           FRANCHISE AGREEMENT           LOCATION: BROOKFIELD, WISCONSIN
                        CORPORATION
                        CHAMPS OPERATING                                                                                 LOCATION: INDIANAPOLIS AIRPORT,
 1022    CORPORATE                                    AREAS USA INC LLC                    FRANCHISE AGREEMENT
                        CORPORATION                                                                                      INDIANA
                        CHAMPS OPERATING                                                                                 LOCATION: NEWARK AIRPORT, NEW
 1023    CORPORATE                                    AREAS USA EWR LLC                    FRANCHISE AGREEMENT
                        CORPORATION                                                                                      JERSEY
 1122       65008       F&H RESTAURANTS OF TEXAS, INC ARAMARK UNIFORM SERVICES             SERVICE AGREEMENT             LINEN SERVICES AGREEMENT
                        FOX & HOUND RESTAURANT
 1150    CORPORATE                                    PITNEY BOWES                         USE AGREEMENT                 POSTAGE METER - WICHITA OFFICE
                        GROUP
                        CHAMPPS OPERATING
 1151       65253                                     STARLIGHT DIGITAL MEDIA LLC          SERVICE AGREEMENT             ADVERTISING AGREEMENT
                        CORPORATION
                        CHAMPPS OPERATING
 1152       65253                                     VALLEY PROTEINS                      USE AGREEMENT                 COOKING OIL SMART TANK
                        CORPORATION
                        CHAMPPS OPERATING
 1160       65205                                     ADT SECURITY SYSTEMS                 SERVICE AGREEMENT             SECURITY AGREEMENT
                        CORPORATION
 1162       65901       F&H ACQUISITION CORP          ALLSTATE (AHL/AWD)                   COBRA GUARD AGREEMENT         USER SERVICE ORDER FORM

 1163       65901       F&H ACQUISITION CORP          ALLSTATE (AHL)                       EYEMED VISION AGREEMENT       APPLICATION FOR VISION CARE

 1164       65901       F&H ACQUISITION CORP          ALLSTATE (AHL)                       UNDERWRITING OFFER            UNDERWRITING OFFER

 1165       65901       F&H ACQUISITION CORP          ALLSTATE (AHL)                       4040 AGREEMENT
                        CHAMPPS ENTERTAINMENT OF
 1215       65219                                     AVANT DESIGN                         PROPOSAL AGREEMENT            $8,975 DESIGN FEE PATIO
                        TEXAS, INC.
                        CHAMPPS OPERATING                                                                                ALOHA HOSTED SOLUTIONS
 1217    CORPORATE                                    RADIANT SYSTEMS INC.                 SERVICE AGREEMENT
                        CORPORATION                                                                                      AGREEMENT
 1219    CORPORATE      F&H ACQUISITION CORP          JOBAPP                               SERVICE AGREEMENT             HUMAN RESOURCES SYSTEM
                        CHAMPPS OPERATING             GREEN GALLON SOLUTIONS OF NORTH
 1221       65213                                                                     SERVICE AGREEMENT                  GREASE RECYCLING SERVICE
                        CORPORATION                   AMERICA
 1222    CORPORATE      CHAMPPS ENTERTAINMENT, INC.   AVISTA ADVANTAGE INC.                SERVICE AGREEMENT             UTILITY BILLING SERVICE
                        CHAMPPS OPERATING
 1223    CORPORATE                                    RESTAURANT GUARD                     TERMINAL SECURITY AGREEMENT   SOFTWARE
                        CORPORATION
                        FOX & HOUND RESTAURANT
 1224       65002                                     BIRCH COMMUNICATIONS                 PHONE SERVICE AGREEMENT
                        GROUP
                        FOX & HOUND RESTAURANT
 1225       65003                                     BIRCH COMMUNICATIONS                 PHONE SERVICE AGREEMENT
                        GROUP
                        FOX & HOUND RESTAURANT
 1226       65004                                     BIRCH COMMUNICATIONS                 PHONE SERVICE AGREEMENT
                        GROUP
                        FOX & HOUND RESTAURANT
 1227       65005                                     BIRCH COMMUNICATIONS                 PHONE SERVICE AGREEMENT
                        GROUP
                        FOX & HOUND RESTAURANT
 1228       65006                                     BIRCH COMMUNICATIONS                 PHONE SERVICE AGREEMENT
                        GROUP
                        FOX & HOUND RESTAURANT
 1229       65007                                     BIRCH COMMUNICATIONS                 PHONE SERVICE AGREEMENT
                        GROUP
                        FOX & HOUND RESTAURANT
 1230       65009                                     BIRCH COMMUNICATIONS                 PHONE SERVICE AGREEMENT
                        GROUP
                        FOX & HOUND RESTAURANT
 1231       65010                                     BIRCH COMMUNICATIONS                 PHONE SERVICE AGREEMENT
                        GROUP
                        FOX & HOUND RESTAURANT
 1232       65013                                     BIRCH COMMUNICATIONS                 PHONE SERVICE AGREEMENT
                        GROUP
                        FOX & HOUND RESTAURANT
 1233       65014                                     BIRCH COMMUNICATIONS                 PHONE SERVICE AGREEMENT
                        GROUP
                        FOX & HOUND RESTAURANT
 1234       65015                                     BIRCH COMMUNICATIONS                 PHONE SERVICE AGREEMENT
                        GROUP
                        FOX & HOUND RESTAURANT
 1235       65016                                     BIRCH COMMUNICATIONS                 PHONE SERVICE AGREEMENT
                        GROUP
                        FOX & HOUND RESTAURANT
 1236       65018                                     BIRCH COMMUNICATIONS                 PHONE SERVICE AGREEMENT
                        GROUP
                        FOX & HOUND RESTAURANT
 1238       65023                                     BIRCH COMMUNICATIONS                 PHONE SERVICE AGREEMENT
                        GROUP
                        FOX & HOUND RESTAURANT
 1241       65028                                     BIRCH COMMUNICATIONS                 PHONE SERVICE AGREEMENT
                        GROUP
                        FOX & HOUND RESTAURANT
 1243       65030                                     BIRCH COMMUNICATIONS                 PHONE SERVICE AGREEMENT
                        GROUP
                        FOX & HOUND RESTAURANT
 1244       65031                                     BIRCH COMMUNICATIONS                 PHONE SERVICE AGREEMENT
                        GROUP
                        FOX & HOUND RESTAURANT
 1246       65033                                     BIRCH COMMUNICATIONS                 PHONE SERVICE AGREEMENT
                        GROUP
                        FOX & HOUND RESTAURANT
 1248       65035                                     BIRCH COMMUNICATIONS                 PHONE SERVICE AGREEMENT
                        GROUP



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  ID     Store Number             Debtor                Contract Counter Party                  Type of Contract         Description of Contract
                        FOX & HOUND RESTAURANT
 1250       65039                                BIRCH COMMUNICATIONS               PHONE SERVICE AGREEMENT
                        GROUP
                        FOX & HOUND RESTAURANT
 1251       65041                                BIRCH COMMUNICATIONS               PHONE SERVICE AGREEMENT
                        GROUP
                        FOX & HOUND RESTAURANT
 1252       65042                                BIRCH COMMUNICATIONS               PHONE SERVICE AGREEMENT
                        GROUP
                        FOX & HOUND RESTAURANT
 1254       65047                                BIRCH COMMUNICATIONS               PHONE SERVICE AGREEMENT
                        GROUP
                        FOX & HOUND RESTAURANT
 1255       65049                                BIRCH COMMUNICATIONS               PHONE SERVICE AGREEMENT
                        GROUP
                        FOX & HOUND RESTAURANT
 1256       65051                                BIRCH COMMUNICATIONS               PHONE SERVICE AGREEMENT
                        GROUP
                        FOX & HOUND RESTAURANT
 1257       65055                                BIRCH COMMUNICATIONS               PHONE SERVICE AGREEMENT
                        GROUP
                        FOX & HOUND RESTAURANT
 1258       65056                                BIRCH COMMUNICATIONS               PHONE SERVICE AGREEMENT
                        GROUP
                        FOX & HOUND RESTAURANT
 1260       65059                                BIRCH COMMUNICATIONS               PHONE SERVICE AGREEMENT
                        GROUP
                        FOX & HOUND RESTAURANT
 1263       65063                                BIRCH COMMUNICATIONS               PHONE SERVICE AGREEMENT
                        GROUP
                        FOX & HOUND RESTAURANT
 1265       65069                                BIRCH COMMUNICATIONS               PHONE SERVICE AGREEMENT
                        GROUP
                        FOX & HOUND RESTAURANT
 1267       65073                                BIRCH COMMUNICATIONS               PHONE SERVICE AGREEMENT
                        GROUP
                        FOX & HOUND RESTAURANT
 1268       65074                                BIRCH COMMUNICATIONS               PHONE SERVICE AGREEMENT
                        GROUP
                        FOX & HOUND RESTAURANT
 1269       65076                                BIRCH COMMUNICATIONS               PHONE SERVICE AGREEMENT
                        GROUP
                        FOX & HOUND RESTAURANT
 1270       65077                                BIRCH COMMUNICATIONS               PHONE SERVICE AGREEMENT
                        GROUP
                        FOX & HOUND RESTAURANT
 1275       65083                                BIRCH COMMUNICATIONS               PHONE SERVICE AGREEMENT
                        GROUP
                        FOX & HOUND RESTAURANT
 1278       65087                                BIRCH COMMUNICATIONS               PHONE SERVICE AGREEMENT
                        GROUP
                        FOX & HOUND RESTAURANT
 1279       65088                                BIRCH COMMUNICATIONS               PHONE SERVICE AGREEMENT
                        GROUP
                        FOX & HOUND RESTAURANT
 1280       65089                                BIRCH COMMUNICATIONS               PHONE SERVICE AGREEMENT
                        GROUP
                        FOX & HOUND RESTAURANT
 1281       65092                                BIRCH COMMUNICATIONS               PHONE SERVICE AGREEMENT
                        GROUP
                        FOX & HOUND RESTAURANT
 1282       65093                                BIRCH COMMUNICATIONS               PHONE SERVICE AGREEMENT
                        GROUP
                        FOX & HOUND RESTAURANT
 1287       65205                                BIRCH COMMUNICATIONS               PHONE SERVICE AGREEMENT
                        GROUP
                        FOX & HOUND RESTAURANT
 1291       65212                                BIRCH COMMUNICATIONS               PHONE SERVICE AGREEMENT
                        GROUP
                        FOX & HOUND RESTAURANT
 1292       65213                                BIRCH COMMUNICATIONS               PHONE SERVICE AGREEMENT
                        GROUP
                        FOX & HOUND RESTAURANT
 1293       65215                                BIRCH COMMUNICATIONS               PHONE SERVICE AGREEMENT
                        GROUP
                        FOX & HOUND RESTAURANT
 1294       65217                                BIRCH COMMUNICATIONS               PHONE SERVICE AGREEMENT
                        GROUP
                        FOX & HOUND RESTAURANT
 1295       65218                                BIRCH COMMUNICATIONS               PHONE SERVICE AGREEMENT
                        GROUP
                        FOX & HOUND RESTAURANT
 1296       65219                                BIRCH COMMUNICATIONS               PHONE SERVICE AGREEMENT
                        GROUP
                        FOX & HOUND RESTAURANT
 1298       65221                                BIRCH COMMUNICATIONS               PHONE SERVICE AGREEMENT
                        GROUP
                        FOX & HOUND RESTAURANT
 1299       65224                                BIRCH COMMUNICATIONS               PHONE SERVICE AGREEMENT
                        GROUP
                        FOX & HOUND RESTAURANT
 1305       65232                                BIRCH COMMUNICATIONS               PHONE SERVICE AGREEMENT
                        GROUP
                        FOX & HOUND RESTAURANT
 1312       65242                                BIRCH COMMUNICATIONS               PHONE SERVICE AGREEMENT
                        GROUP
                        FOX & HOUND RESTAURANT
 1318       65253                                BIRCH COMMUNICATIONS               PHONE SERVICE AGREEMENT
                        GROUP
 1320       65007       FOX & HOUND              COMCAST                            CABLE AND INTERNET AGREEMENT   TV AND INTERNET W/CABLE MODEM

 1321       65002       FOX & HOUND              AT&T                               ADSL AGREEMENT                 INTERNET W/DSL MODEM

 1322       65013       FOX & HOUND              AT&T                               ADSL AGREEMENT                 INTERNET W/DSL MODEM

 1323       65093       FOX & HOUND              AT&T                               INTERNET SERVICES AGREEMENT    INTERNET W/DSL MODEM
                        FOX & HOUND RESTAURANT
 1324       65047                                AT&T                               INTERNET SERVICES AGREEMENT    INTERNET W/DSL MODEM
                        GROUP
                        FOX & HOUND RESTAURANT
 1325       65087                                AT&T                               INTERNET SERVICES AGREEMENT    INTERNET W/DSL MODEM
                        GROUP



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Purchased contracts

  ID     Store Number               Debtor                     Contract Counter Party                  Type of Contract          Description of Contract

 1326       65036       FOX & HOUND                   AT&T                                 PHONE SERVICE AGREEMENT

 1327       65217       F&H ACQUISITION CORP.         LEVEL3                               INTERNET SERVICES AGREEMENT    INTERNET T1 W/CISCO1700
                        FOX & HOUND RESTAURANT                                                                            FIXED WIRELESS INTERNET W/CISCO
 1329       65030                                     CANNET                               INTERNET SERVICES AGREEMENT
                        GROUP                                                                                             AIRONET
 1331       65216       CHAMPPS                       AT&T                                 PHONE SERVICE AGREEMENT

 1332       65077       FOX & HOUND PUB & GRILL       TIME WARNER                          CABLE AND INTERNET AGREEMENT   TV AND INTERNET W/CABLE MODEM
                        CHAMPPS OPERATING
 1334       65253                                     ENVYSION                             VIDEO RECORDING AGREEMENT      VIDEO RECORDER AND CAMERAS
                        CORPORATION
 1339       65213       FOX & HOUND                   COMCAST                              CABLE AND INTERNET AGREEMENT   TV AND INTERNET W/CABLE MODEM

 1343       65055       FOX & HOUND OF ILLINOIS INC   COMCAST                              CABLE AND INTERNET AGREEMENT   TV AND INTERNET W/CABLE MODEM
                        CHAMPPS OPERATING
 1344       65222                                     ELITE LANDSCAPE GROUP                SNOW REMOVAL AGREEMENT
                        CORPORATION
                        CHAMPPS OPERATING
 1345       65215                                     ELITE LANDSCAPE GROUP                SNOW REMOVAL AGREEMENT
                        CORPORATION
 1346       65041       BAILEY'S SPORTS GRILLE        COMCAST                              CABLE AND INTERNET AGREEMENT   TV AND INTERNET W/CABLE MODEM
                                                                                                                          PHONE, TV, AND INTERNET W/CABLE
 1348       65075       FOX & HOUND                   COX COMMUNICATIONS                   PHONE, CABLE, INTERNET
                                                                                                                          MODEM
 1350       65224       FOX & HOUND                   COMCAST                              CABLE AND INTERNET AGREEMENT   TV AND INTERNET W/CABLE MODEM
                        FOX & HOUND RESTAURANT
 1352       65002                                     SCREENCAST                           VIDEO STREAMING SERVICE        VIDEO PLAYING PC
                        GROUP
                        FOX & HOUND RESTAURANT
 1353       65003                                     SCREENCAST                           VIDEO STREAMING SERVICE        VIDEO PLAYING PC
                        GROUP
                        FOX & HOUND RESTAURANT
 1354       65004                                     SCREENCAST                           VIDEO STREAMING SERVICE        VIDEO PLAYING PC
                        GROUP
                        FOX & HOUND RESTAURANT
 1355       65005                                     SCREENCAST                           VIDEO STREAMING SERVICE        VIDEO PLAYING PC
                        GROUP
                        FOX & HOUND RESTAURANT
 1356       65006                                     SCREENCAST                           VIDEO STREAMING SERVICE        VIDEO PLAYING PC
                        GROUP
                        FOX & HOUND RESTAURANT
 1357       65007                                     SCREENCAST                           VIDEO STREAMING SERVICE        VIDEO PLAYING PC
                        GROUP
                        FOX & HOUND RESTAURANT
 1358       65008                                     SCREENCAST                           VIDEO STREAMING SERVICE        VIDEO PLAYING PC
                        GROUP
                        FOX & HOUND RESTAURANT
 1359       65009                                     SCREENCAST                           VIDEO STREAMING SERVICE        VIDEO PLAYING PC
                        GROUP
                        FOX & HOUND RESTAURANT
 1360       65010                                     SCREENCAST                           VIDEO STREAMING SERVICE        VIDEO PLAYING PC
                        GROUP
                        FOX & HOUND RESTAURANT
 1361       65013                                     SCREENCAST                           VIDEO STREAMING SERVICE        VIDEO PLAYING PC
                        GROUP
                        FOX & HOUND RESTAURANT
 1362       65014                                     SCREENCAST                           VIDEO STREAMING SERVICE        VIDEO PLAYING PC
                        GROUP
                        FOX & HOUND RESTAURANT
 1363       65015                                     SCREENCAST                           VIDEO STREAMING SERVICE        VIDEO PLAYING PC
                        GROUP
                        FOX & HOUND RESTAURANT
 1364       65016                                     SCREENCAST                           VIDEO STREAMING SERVICE        VIDEO PLAYING PC
                        GROUP
                        FOX & HOUND RESTAURANT
 1365       65018                                     SCREENCAST                           VIDEO STREAMING SERVICE        VIDEO PLAYING PC
                        GROUP
                        FOX & HOUND RESTAURANT
 1367       65023                                     SCREENCAST                           VIDEO STREAMING SERVICE        VIDEO PLAYING PC
                        GROUP
                        FOX & HOUND RESTAURANT
 1370       65028                                     SCREENCAST                           VIDEO STREAMING SERVICE        VIDEO PLAYING PC
                        GROUP
                        FOX & HOUND RESTAURANT
 1372       65030                                     SCREENCAST                           VIDEO STREAMING SERVICE        VIDEO PLAYING PC
                        GROUP
                        FOX & HOUND RESTAURANT
 1373       65031                                     SCREENCAST                           VIDEO STREAMING SERVICE        VIDEO PLAYING PC
                        GROUP
                        FOX & HOUND RESTAURANT
 1375       65033                                     SCREENCAST                           VIDEO STREAMING SERVICE        VIDEO PLAYING PC
                        GROUP
                        FOX & HOUND RESTAURANT
 1377       65035                                     SCREENCAST                           VIDEO STREAMING SERVICE        VIDEO PLAYING PC
                        GROUP
                        FOX & HOUND RESTAURANT
 1378       65036                                     SCREENCAST                           VIDEO STREAMING SERVICE        VIDEO PLAYING PC
                        GROUP
                        FOX & HOUND RESTAURANT
 1380       65039                                     SCREENCAST                           VIDEO STREAMING SERVICE        VIDEO PLAYING PC
                        GROUP
                        FOX & HOUND RESTAURANT
 1381       65041                                     SCREENCAST                           VIDEO STREAMING SERVICE        VIDEO PLAYING PC
                        GROUP
                        FOX & HOUND RESTAURANT
 1382       65042                                     SCREENCAST                           VIDEO STREAMING SERVICE        VIDEO PLAYING PC
                        GROUP
                        FOX & HOUND RESTAURANT
 1384       65047                                     SCREENCAST                           VIDEO STREAMING SERVICE        VIDEO PLAYING PC
                        GROUP
                        FOX & HOUND RESTAURANT
 1385       65049                                     SCREENCAST                           VIDEO STREAMING SERVICE        VIDEO PLAYING PC
                        GROUP



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Purchased contracts

  ID     Store Number              Debtor                      Contract Counter Party                    Type of Contract              Description of Contract
                        FOX & HOUND RESTAURANT
 1386       65051                                     SCREENCAST                           VIDEO STREAMING SERVICE              VIDEO PLAYING PC
                        GROUP
                        FOX & HOUND RESTAURANT
 1387       65052                                     SCREENCAST                           VIDEO STREAMING SERVICE              VIDEO PLAYING PC
                        GROUP
                        FOX & HOUND RESTAURANT
 1388       65055                                     SCREENCAST                           VIDEO STREAMING SERVICE              VIDEO PLAYING PC
                        GROUP
                        FOX & HOUND RESTAURANT
 1389       65056                                     SCREENCAST                           VIDEO STREAMING SERVICE              VIDEO PLAYING PC
                        GROUP
                        FOX & HOUND RESTAURANT
 1391       65059                                     SCREENCAST                           VIDEO STREAMING SERVICE              VIDEO PLAYING PC
                        GROUP
                        FOX & HOUND RESTAURANT
 1395       65063                                     SCREENCAST                           VIDEO STREAMING SERVICE              VIDEO PLAYING PC
                        GROUP
                        FOX & HOUND RESTAURANT
 1397       65066                                     SCREENCAST                           VIDEO STREAMING SERVICE              VIDEO PLAYING PC
                        GROUP
                        FOX & HOUND RESTAURANT
 1399       65069                                     SCREENCAST                           VIDEO STREAMING SERVICE              VIDEO PLAYING PC
                        GROUP
                        FOX & HOUND RESTAURANT
 1402       65073                                     SCREENCAST                           VIDEO STREAMING SERVICE              VIDEO PLAYING PC
                        GROUP
                        FOX & HOUND RESTAURANT
 1403       65074                                     SCREENCAST                           VIDEO STREAMING SERVICE              VIDEO PLAYING PC
                        GROUP
                        FOX & HOUND RESTAURANT
 1404       65075                                     SCREENCAST                           VIDEO STREAMING SERVICE              VIDEO PLAYING PC
                        GROUP
                        FOX & HOUND RESTAURANT
 1405       65076                                     SCREENCAST                           VIDEO STREAMING SERVICE              VIDEO PLAYING PC
                        GROUP
                        FOX & HOUND RESTAURANT
 1406       65077                                     SCREENCAST                           VIDEO STREAMING SERVICE              VIDEO PLAYING PC
                        GROUP
                        FOX & HOUND RESTAURANT
 1410       65083                                     SCREENCAST                           VIDEO STREAMING SERVICE              VIDEO PLAYING PC
                        GROUP
                        FOX & HOUND RESTAURANT
 1411       65087                                     SCREENCAST                           VIDEO STREAMING SERVICE              VIDEO PLAYING PC
                        GROUP
                        FOX & HOUND RESTAURANT
 1412       65088                                     SCREENCAST                           VIDEO STREAMING SERVICE              VIDEO PLAYING PC
                        GROUP
                        FOX & HOUND RESTAURANT
 1413       65089                                     SCREENCAST                           VIDEO STREAMING SERVICE              VIDEO PLAYING PC
                        GROUP
                        FOX & HOUND RESTAURANT
 1414       65091                                     SCREENCAST                           VIDEO STREAMING SERVICE              VIDEO PLAYING PC
                        GROUP
                        FOX & HOUND RESTAURANT
 1415       65092                                     SCREENCAST                           VIDEO STREAMING SERVICE              VIDEO PLAYING PC
                        GROUP
                        FOX & HOUND RESTAURANT
 1416       65093                                     SCREENCAST                           VIDEO STREAMING SERVICE              VIDEO PLAYING PC
                        GROUP
                        TENT RESTAURANT OPERATIONS,
 1418       65041                                     NUCO2, LLC                           NITROGEN GENERATOR & CO2             NITROGEN GENERATOR AND CO2
                        INC.
                        FOX & HOUND RESTAURANT
 1420       65901                                     AT&T                                 INTERNET SERVICES AGREEMENT          FIBER CONNECTION
                        GROUP
 1421    CORPORATE      F&H ACQUISITION CORP.         WOLERINE PACKING COMPANY             SUPPLY AGREEMENT                     SUPPLY AGREEMENT

 1425    CORPORATE      F&H ACQUISITION CORP.         INFOSYNC SERVICES, LLC               SERVICE AGREEMENT                    OUTSOURCING SERVICES AGREEMENT
                        F & H RESTAURANTS OF TEXAS,                                        MANAGEMENT AND CONCESSION
 1430       65008                                     FOX & HOUND CLUB
                        INC.                                                               AGREEMENT
                        F & H RESTAURANTS OF TEXAS,                                        MANAGEMENT AND CONCESSION
 1433       65036                                     ROCKET BEVERAGE CORP.
                        INC.                                                               AGREEMENT
                        F & H RESTAURANTS OF TEXAS,                                        MANAGEMENT AND CONCESSION
 1434       65042                                     BRYANT BEVERAGE CORP.
                        INC.                                                               AGREEMENT
                        F & H RESTAURANTS OF TEXAS,                                        MANAGEMENT AND CONCESSION
 1436       65052                                     CAMPBELL BEVERAGE CORP
                        INC.                                                               AGREEMENT
                        F & H RESTAURANTS OF TEXAS,                                        MANAGEMENT AND CONCESSION
 1437       65056                                     FUQUA BEVERAGE CORP.
                        INC.                                                               AGREEMENT
                        FOX & HOUND OF NEW JERSEY,                                                                              LOCATION: 251 MENLO PARK DRIVE,
                                                      SHOPPING CENTER ASSOCIATES           REAL ESTATE LEASE
 1441       65073       INC.                                                                                                    EDISON, NJ
                        CHAMPS OPERATING              TENANT IN COMMON CO-OWNERS                                                LOCATION: 301 W. BIG BEAVER ROAD,
                                                                                           REAL ESTATE LEASE
 1443       65217       CORPORATION                   C/O AEI FUND MANAGEMENT, INC.                                             TROY, MI
                        CHAMPS OPERATING              TENANT IN COMMON CO-OWNERS                                                LOCATION: 3993 MORSE CROSSING,
                                                                                           REAL ESTATE LEASE
 1444       65218       CORPORATION                   C/O AEI FUND MANAGEMENT, INC.                                             COLUMBUS, OH
                        CHAMPS OPERATING              TENANT IN COMMON CO-OWNERS                                                LOCATION: 955 E. GOLF ROAD,
                                                                                           REAL ESTATE LEASE
 1447       65215       CORPORATION                   C/O AEI FUND MANAGEMENT, INC.                                             SCHAUMBURG, IL
                        F&H ACQUISITION CORP          EMPOWER / FAMILY HEALTH              INS: FLEXIBLE SPENDING ACCOUNT       SECURITY AGREEMENT
 1451    CORPORATE
                        F&H ACQUISITION CORP          J&J Snack Foods Corp                 PRICING AGREEMENT
 1453    CORPORATE
                        F&H ACQUISITION CORP          Johnsonville Sausage Company         PRICING AGREEMENT
 1454    CORPORATE
                                                                                           INS: BLANKET BUILDING AND PERSONAL
                        F&H ACQUISITION CORP          LIBERTY MUTUAL                                                            INSURANCE
 1455    CORPORATE                                                                         PROPERTY
                        F&H ACQUISITION CORP          ZURICH                               INS: GENERAL LIABILITY               INSURANCE
 1456    CORPORATE
                        F&H ACQUISITION CORP          ZURICH                               INS: LIQUOR LIABILITY                INSURANCE
 1457    CORPORATE



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  ID     Store Number               Debtor                Contract Counter Party                      Type of Contract           Description of Contract

                        F&H ACQUISITION CORP     ZURICH                                  INS: EMPLOYEE BENEFIT LIABILITY   INSURANCE
 1458    CORPORATE
                        F&H ACQUISITION CORP     ZURICH                                  INS: AUTO PHYSICAL DAMAGE         INSURANCE
 1459    CORPORATE
                        F&H ACQUISITION CORP     ZURICH                                  INS: WORKERS COMP                 INSURANCE
 1460    CORPORATE
                        F&H ACQUISITION CORP     MIDWEST EMPLOYERS                       INS: EXCESS OH WORK COMP          INSURANCE
 1461    CORPORATE
                        F&H ACQUISITION CORP     FIREMAN'S FUND                          INS: UMBRELLA                     INSURANCE
 1462    CORPORATE
                        F&H ACQUISITION CORP     TRAVELERS                               INS: CORP CRIME / FIDUCIARY       INSURANCE
 1463    CORPORATE
                        F&H ACQUISITION CORP     TRAVELERS                               INS: FIDUCIARY                    INSURANCE
 1464    CORPORATE
                        F&H ACQUISITION CORP     TRAVELERS                               INS: CRIME / RETIAL LOCATIONS     INSURANCE
 1465    CORPORATE
                        F&H ACQUISITION CORP     HARTFORD INS CO                         INS: FLOOD POLICY                 INSURANCE
 1468    CORPORATE
                        F&H ACQUISITION CORP     HARTFORD INS CO                         INS: FLOOD POLICY                 INSURANCE
 1469    CORPORATE
                        F&H ACQUISITION CORP     TRAVELERS                               INS: FLOOD POLICY                 INSURANCE
 1470    CORPORATE
                        F&H ACQUISITION CORP     NATIONAL FLOOD INS PROG                 INS: FLOOD POLICY                 INSURANCE
 1471    CORPORATE
                                                                                                                           ENTERTAINMENT - GAME PADS
                        BAILEY'S SPORTS GRILLE   NTN BUZZTIME INC                        SERVICE AGREEMENT
 1473       65010                                                                                                          AGREEMENT
                        F&H ACQUISITION CORP     Syracuse Sausge Company                 PRICING AGREEMENT
 1474    CORPORATE
                        F&H ACQUISITION CORP     Teti Bakery, Inc.                       PRICING AGREEMENT
 1475    CORPORATE


 Count       600




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                                              Software Licenses

Product Description                    Quantity                     License Version
Adobe Acrobat Pro                                               4                      9
Adobe Acrobat Standard                                          7                      8
Adobe Acrobat Standard                                          3                      6
Adobe Create Suite                                              1                      4
Adobe Create Suite                                              1                      9
Adobe Create Suite                                              1                     11
Adobe Creative Cloud Subscription                               6                      ‐
Aloha                                                          53                 6.5.24
Asset Keeper Pro                                                1              2012r2.1
Dell Open Manager                                             225                    6.2
Fishbowl Micros Integration                                    66             1.1.26345
Hot Schedules Connect                                         101                  1.0.0
Mac OS X                                                       22                      ‐
Micros Res POS                                                 91           4.11.5.3839
Microsoft Visual Studio                                         1                  2005
Microsoft Visual Studio                                         1                  2008
Microsoft Visual Studio                                         2                  2010
Microsoft Visual Studio                                         2                  2012
Microsoft Windows OEM                                          55                     XP
Microsoft Windows OEM                                          95                      7
Microsoft Windows OEM                                          10                      8
Office for Mac                                                 20                      4
Office for Mac                                                  4                      8
Office for Mac                                                  9                     11
Paytronix (Aloha)                                              66               13.5.0.0
Paytronix (Micros)                                             35               13.3.0.0
Red Hat Enterprise Linux                                        1                      4
Screenplay                                                     66                      ‐
Steller Phoenix                                                 2                      ‐
Symantec Endpoint Protection                                  200       12.1.2015.2015
Transaction Vault                                              91           4.14.0.2481
TurboTax Business                                               1                  2012

Highlighted Items Identify Software Agreements that allow for Software Updates
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                                                                                                               Microsoft License Statement Name: Newcastle Partners LP (Partial)


         Microsoft           Volume                                                                                                      Request ID: 66A6F2F2-CAF7-482E-B42A-
                                                                                                                                                     7DD0CF7882C4
                             Licensing
                                                                                                                  Calculation Date (YYYY/MM/DD): 2014/1/7


                                                                     Microsoft License Statement
                                                                                                                                                                               0
Organization Summary
NFAQ and Glossary
  The Organization Summary tab represents the scope of the license agreements and associated transactions included in this Microsoft License Statement. The scope should be reviewed
  according to the Microsoft License Statement Type, the Organizations included, the Agreement Names Found, and the Search Keywords used.

  Top Level Group Type                                       The Top Level Group represents the topmost level of a customer's organization hierarchy; organizations within the hierarchy
                                                             have associated Volume License Agreements. For more information please view the FAQ and Glossary tab.
  Included in Microsoft License Statement                    If the Included in Microsoft License Statement column on the Organization Summary indicates ‘No’ then the organization has no
                                                             directly attached agreements. In this case please review the Agreement Count column on the LicenseIQ view of this
                                                             organization. Although there are no directly attached agreements, all indirectly attached agreements will be included in the scope
                                                             of the MLS through their direct attachment to the child organization.

  Agreement Names Found                                      The names of the agreements found are listed for each organization included in this Microsoft License Statement. Please refer
                                                             to the License Agreements tab for a detailed listing of agreements included in the scope of this statement. "No Agreements
                                                             Found" is returned when the search keywords did not return any agreements matching the same name in the Microsoft
                                                             databases.
  Search Keywords                                            Search keywords may include all relevant subsidiaries, historic / current trading names, abbreviations, and wildcards (e.g., "%"
                                                             or "_"). If no search keywords exist, please refer to the Agreement Names Found column and the License Agreements tab to
                                                             verify the scope of this Microsoft License Statement.



  The scope of this Microsoft License Statement is based on the following information:
  Top Level Group Type: Manually Reviewed
   Included in Microsoft                                                                                                                                                        Organization
     License Statement              Organization                 Parent Organization           Subsidiaries           Agreement Names Found             Search Keywords         Hierarchy ID
  No                       Newcastle Partners LP                                           Fox & Hound                                                                         238037077
                                                                                           Restaurant Group


                                                                                                                                                      %FOX%HOU% ;
                                                                                                                                                      Bail%rest% ; Bailey%
                                                                                                                                                      ; Bailey's restaurants
                                                                                                                                                      ; Cham%Ent% ;
                                                                                                                                                      Champps
                                                                                                                                                      Entertainment ;
                                                                                                                                                      Champps
                                                                                                                                                      Entertainment, Inc ;
                                                                                                                                                      Fox & Hound English
                                                                                                                                                      ; Fox & Hound English
                                                                                                                                                      Pub ; Fox & Hound
                                                                                                                                                      English Pub Grille ;
                                                                                                                                                      FOX ACQUISITION ;
                                                                                                                                                      FOX ACQUISITION
                                                                                                                                                      COMPANY ; FOX
                                                                                                                                                      AND HOUND ; FOX
                                                                                                                                                      AND HOUND
                                                                                                                                                      RESTAURANT ;
                                                                                                                                                      FOX AND HOUND
                                                                                                                                                      RESTAURANT
                                                                                                                   FOX & HOUND RESTAURANT             GROUP ;
                                                                                                                   GR; FOX &AMP HOUND                 FOX%ACQ% ;
                                                                                                                   RESTAURANT GRO; FOX AND            FOX%HOU% ;
                                                                                                                   HOUND RESTAURANT; FOX              Fox%Hou%Eng% ;
                                                                                                                   AND HOUND RESTAURANT               FOX%HOU%RES% ;
                                                                                                                   GROUP; TOTAL                       Tot%Ent%Res% ;
                                                                                                                   ENTERTAINMENT &                    Total Entertainment
                                                                                                                   RESTAURANT; TOTAL                  Restaurant ; Total
                                                                                                                   ENTERTAINMENT                      Entertainment
  Yes                      Fox & Hound Restaurant Group      Newcastle Partners LP         Champps Americana       RESTAURANT                         Restaurant Corporation 238037078




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   Included in Microsoft                                                                                                                       Organization
     License Statement             Organization      Parent Organization        Subsidiaries     Agreement Names Found     Search Keywords     Hierarchy ID

                                                                                                                             %Champps%
                                                                                                                             %Uni%st% ;
                                                                                                                             Cha%%Entertai%nmen
                                                                                                                             ; Cha%Ame% ;
                                                                                                                             Cham%Enter% ;
                                                                                                                             CHAM_P% ;
                                                                                                                             Champ% ; Champ%
                                                                                                                             %uni%st% ; Champps
                                                                                                                             Americana ;
                                                                                                                             Champps Americana
                                                                                                                             Inc ; Champps
                                                                                                                             Entertainment ;
                                                                                                                             Champps
                                                                                               CHAMPPS AMERICANA;            Entertainment Inc ;
                                                                                               CHAMPPS BURNSVILLE;           CHAMPPS
                                                                                               Champps Entertainment;        OPERATING CORP
                                                                                               Champps Entertainment (SPLA); ;
                                                                                               CHAMPPS ENTERTAINMENT         Champps%Entertainm
                                                                                               INC; CHAMPPS                  ent% ; CHAMPS
                                                                                               ENTERTAINMENT INT;            BURNSVILLE ;
                                                                                               CHAMPP'S MAPLE GROVE;         CMPP ; Concourse 7
                                                                                               CHAMPPS MAPLEWOOD;            %uni%st% ;
                                                                                               CHAMPPS ST. PAUL;             Min%Rest% ;
                                                                                               CHAMPPSENTERTAINMENT          Minnesota Restaurant
                                                                                               TERRACE TO; CHAMPS            Group ; UNIQUE
                                                  Fox & Hound Restaurant                       BURNSVILLE; UNIQUE CASUAL CASUAL ;
  Yes                      Champps Americana      Group                                        RESTAURANTS INC               UNIQUE%CASUAL% 238044593




Organization Summary                                                       2 of 2                                                © 2008 Microsoft Corporation
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                                                                                                                                                        Microsoft License Statement Name: Newcastle Partners LP (Partial)

          Microsoft          Volume                                                                                                                                            Request ID: 66A6F2F2-CAF7-482E-B42A-7DD0CF7882C4

                             Licensing
                                                                                                                                                             Calculation Date (YYYY/MM/DD): 2014/1/7

                                                                                   Microsoft License Statement
                                                                                                                   1
                                                                                                        License Summary Data
FAQ and Glossary



The License Summary Data tab is simply the source behind the License Summary pivot table. Please refer to License Summary tab for your analysis.


                                                                                                  Upgrade
                                                                           Effective Upgrade      License
                                                                           License     License    Quantity (w/                                                        Expiring SA 0 - 12       Expiring SA 12 - 24
Product Pool               License Product Family      License Version     Quantity Quantity      Maintenance) Active SA Quantity              Country of Usage       Months                   Months                Expiring SA > 24 Months
Applications               Lync                        2010                29                   0              0                           0   All Countries          0                        0                                               0
Applications               Office Professional         97                           45         22              0                           0   All Countries                               0   0                                               0
Applications               Office Professional         Plus 2007                     5          0              0                           0   All Countries                               0   0                                               0
Applications               Office Standard             2003                         40          0              0                           0   All Countries                               0   0                                               0
Applications               Office Standard             2010                        136          0              0                           0   All Countries                               0   0                                               0
                           Office Standard for
Applications               Macintosh                   2011                          3             0               0                       0 All Countries                                 00                                                  0
Applications               Project                     2003                          5             0               0                       0 All Countries                                 00                                                  0
Applications               Publisher                   2003                          1             0               0                       0 All Countries                                 00                                                  0
                           Visual Studio
Applications               Professional Edition        2008                          1             0               0                       0 All Countries                                 00                                                  0
                           Exchange Enterprise CAL
                           without Services - Device
Servers                    CAL                         2010                        129             0               0                       0 All Countries                                 00                                                  0
                           Exchange Enterprise CAL
                           without Services - User
Servers                    CAL                         2010                         53             0               0                       0 All Countries                                 00                                                  0
                           Exchange Server -
Servers                    Standard                    2007                          1             0               0                       0 All Countries                                 00                                                  0
                           Exchange Server -
Servers                    Standard                    2010                          3             0               0                       0 All Countries                                 00                                                  0
                           Exchange Server
                           Standard CAL - Device
Servers                    CAL                         2010                        129             0               0                       0 All Countries                                 00                                                  0

                           Exchange Server
Servers                    Standard CAL - User CAL 2003                             21             0               0                       0 All Countries                                 00                                                  0

                           Exchange Server
Servers                    Standard CAL - User CAL 2007                             50             0               0                       0 All Countries                                 00                                                  0

                           Exchange Server
Servers                    Standard CAL - User CAL 2010                             53             0               0                       0 All Countries                                 00                                                  0
                           Forefront Threat
                           Management Gateway
                           Standard Edition - Per
Servers                    Processor                2010                             1             0               0                       0 All Countries                                 00                                                  0
                           ISA Server Standard - 1
Servers                    Processor                2000                             1             0               0                       0 All Countries                                 00                                                  0
                           Lync Server Enterprise -
Servers                    User CAL                 2010                             1             0               0                       0 All Countries                                 00                                                  0
                           Lync Server Plus - User
Servers                    CAL                      2010                             4             0               0                       0 All Countries                                 00                                                  0
Servers                    Lync Server Standard     2010                             1             0               0                       0 All Countries                                 00                                                  0
                           Lync Server Standard -
Servers                    User CAL                 2010                            29             0               0                       0 All Countries                                 00                                                  0
                           Operations Manager -
Servers                    Client ML                2007                           500             0               0                       0 All Countries                                 00                                                  0
                           Operations Manager
Servers                    Server                   2007                             1             0               0                       0 All Countries                                 00                                                  0
Servers                    SQL - User CAL           2005                             5             0               0                       0 All Countries                                 00                                                  0
Servers                    SQL Server - Enterprise 2005                              1             0               0                       0 All Countries                                 00                                                  0
                           SQL Server Standard - 1
Servers                    Processor                2008                             2             0               0                       0 All Countries                                 00                                                  0
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Servers        SQL Server Web Edition      2008 Release 2         1    0       0          0 All Countries           00               0
               System Management
Servers        Server - Enterprise         1.2                    1    0       0          0 All Countries           00               0
               System Management
Servers        Server Client ML            1.2                    5    0       0          0 All Countries           00               0
               Windows Server - Device
Servers        CAL                         2003                  387   0       0          0 All Countries           00               0
               Windows Server -
Servers        Enterprise                  2003                   1    0       0          0 All Countries           00               0
               Windows Server -
Servers        Enterprise                  2008 Release 2         1    0       0          0 All Countries           00               0
               Windows Server -
Servers        Standard                    2000                   7    0       0          0 All Countries           00               0
               Windows Server -
Servers        Standard                    2003                   2    0       0          0 All Countries           00               0
               Windows Server -
Servers        Standard                    2008                   3    0       0          0 All Countries           00               0
               Windows Server -
Servers        Standard                    2008 Release 2        99    0       0          0 All Countries           00               0
               Windows Server - User
Servers        CAL                         2003                   5     0      0          0 All Countries           00               0
               Windows Server - User
Servers        CAL                         2008                  753   0       0          0 All Countries           00               0
Servers        Windows Server CAL          2000                  169   0       0          0 All Countries           00               0
Servers        Windows Server CAL          4.0                    55   0       0          0 All Countries           00               0
               Windows Server
Servers        Datacenter                  2008 Release 2         6    0       0          0 All Countries           00               0
               Windows Terminal
Servers        Server - Device CAL         2003                  40    0       0          0 All Countries           00               0
               Windows Terminal
Servers        Server - User CAL           2003                    5    0      0          0   All Countries         0   0            0
Systems        Windows                     7 Professional          0    1      0          0   All Countries         0   0            0
Applications   Lync                        2010                   29    0      0          0   UNITED STATES         0   0            0
Applications   Office Professional         97                     45   22      0          0   UNITED STATES         0   0            0
Applications   Office Professional         Plus 2007               5    0      0          0   UNITED STATES         0   0            0
Applications   Office Standard             2003                   40    0      0          0   UNITED STATES         0   0            0
Applications   Office Standard             2010                  136    0      0          0   UNITED STATES         0   0            0
               Office Standard for
Applications   Macintosh                   2011                   3    0       0          0 UNITED STATES           00               0
Applications   Project                     2003                   5    0       0          0 UNITED STATES           00               0
Applications   Publisher                   2003                   1    0       0          0 UNITED STATES           00               0
               Visual Studio
Applications   Professional Edition        2008                   1    0       0          0 UNITED STATES           00               0
               Exchange Enterprise CAL
               without Services - Device
Servers        CAL                         2010                  129   0       0          0 UNITED STATES           00               0
               Exchange Enterprise CAL
               without Services - User
Servers        CAL                         2010                  53    0       0          0 UNITED STATES           00               0
               Exchange Server -
Servers        Standard                    2007                   1    0       0          0 UNITED STATES           00               0
               Exchange Server -
Servers        Standard                    2010                   3    0       0          0 UNITED STATES           00               0
               Exchange Server
               Standard CAL - Device
Servers        CAL                         2010                  129   0       0          0 UNITED STATES           00               0

               Exchange Server
Servers        Standard CAL - User CAL 2003                      21    0       0          0 UNITED STATES           00               0

               Exchange Server
Servers        Standard CAL - User CAL 2007                      50    0       0          0 UNITED STATES           00               0

               Exchange Server
Servers        Standard CAL - User CAL     2010                  53    0       0          0 UNITED STATES           00               0
               Forefront Threat
               Management Gateway
               Standard Edition - Per
Servers        Processor                   2010                   1    0       0          0 UNITED STATES           00               0
               ISA Server Standard - 1
Servers        Processor                   2000                   1    0       0          0 UNITED STATES           00               0
               Lync Server Enterprise -
Servers        User CAL                    2010                   1     0      0          0 UNITED STATES           00               0
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          Lync Server Plus - User
Servers   CAL                       2010                   4    0       0          0 UNITED STATES        00               0
Servers   Lync Server Standard      2010                   1    0       0          0 UNITED STATES        00               0
          Lync Server Standard -
Servers   User CAL                  2010                  29    0       0          0 UNITED STATES        00               0
          Operations Manager -
Servers   Client ML                 2007                  500   0       0          0 UNITED STATES        00               0
          Operations Manager
Servers   Server                    2007                   1    0       0          0 UNITED STATES        00               0
Servers   SQL - User CAL            2005                   5    0       0          0 UNITED STATES        00               0
Servers   SQL Server - Enterprise   2005                   1    0       0          0 UNITED STATES        00               0
          SQL Server Standard - 1
Servers   Processor                 2008                   2    0       0          0 UNITED STATES        00               0
Servers   SQL Server Web Edition    2008 Release 2         1    0       0          0 UNITED STATES        00               0
          System Management
Servers   Server - Enterprise       1.2                    1    0       0          0 UNITED STATES        00               0
          System Management
Servers   Server Client ML          1.2                    5    0       0          0 UNITED STATES        00               0
          Windows Server - Device
Servers   CAL                       2003                  387   0       0          0 UNITED STATES        00               0
          Windows Server -
Servers   Enterprise                2003                   1    0       0          0 UNITED STATES        00               0
          Windows Server -
Servers   Enterprise                2008 Release 2         1    0       0          0 UNITED STATES        00               0
          Windows Server -
Servers   Standard                  2000                   7    0       0          0 UNITED STATES        00               0
          Windows Server -
Servers   Standard                  2003                   2    0       0          0 UNITED STATES        00               0
          Windows Server -
Servers   Standard                  2008                   3    0       0          0 UNITED STATES        00               0
          Windows Server -
Servers   Standard                  2008 Release 2        99    0       0          0 UNITED STATES        00               0
          Windows Server - User
Servers   CAL                       2003                   5    0       0          0 UNITED STATES        00               0
          Windows Server - User
Servers   CAL                       2008                  753   0       0          0 UNITED STATES        00               0
Servers   Windows Server CAL        2000                  169   0       0          0 UNITED STATES        00               0
Servers   Windows Server CAL        4.0                    55   0       0          0 UNITED STATES        00               0
          Windows Server
Servers   Datacenter                2008 Release 2         6    0       0          0 UNITED STATES        00               0
          Windows Terminal
Servers   Server - Device CAL       2003                   40   0       0          0 UNITED STATES        00               0
          Windows Terminal
Servers   Server - User CAL         2003                   5    0       0          0 UNITED STATES        00               0
Systems   Windows                   7 Professional         0    1       0          0 UNITED STATES        00               0
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                                                                                                            Microsoft License Statement Name: Newcastle Partners LP (Partial)


    Microsoft            Volume                                                                                                       Request ID: 66A6F2F2-CAF7-482E-B42A-
                                                                                                                                                  7DD0CF7882C4
                         Licensing
                                                                                                               Calculation Date (YYYY/MM/DD): 2014/1/7

                                                                       Microsoft License Statement

Frequently Asked Questions (FAQ) / Glossary of Terms

  Glossary of Terms

  FAQ Topics


  What are the Benefits of the Microsoft License Statement?

  What's Included in the Microsoft License Statement?

  How do I Use the Microsoft License Statement?

  How do I Get More Help?


  Frequently Asked Questions

  What Are The Benefits Of The Microsoft License Statement?


  The Microsoft License Statement can provide you the following benefits as a Microsoft Volume Licensing customer:
       - Improves your ability to manage Microsoft software licenses by providing a consolidated view of license entitlements across all Volume License agreements/programs for a given
       organization.
       - Helps you get the most out of your Volume License agreements by identifying upgrade opportunities.
       - Provides license entitlement information to support your Software Asset Management programs.
       - Assists in determining license surpluses and/or shortfalls by product and version where software "in-use" quantities are known.
                                                                                                                                                                                back to top

  What's Included In The Microsoft License Statement?


  Why doesn't my Microsoft License Statement include my Original Equipment Manufacturer (OEM) or retail license information?


       The Microsoft License Statement only contains information for Microsoft licenses acquired through volume licensing programs and does not reflect information for licenses acquired via
       retail and/or OEM. Microsoft is currently investigating options to incorporate customer OEM and retail data into the Microsoft License Statement.


  Why is my current Microsoft License Statement different than my previous one?
  A Microsoft License Statement calculated at a more recent date may contain new agreements associated with an organization and/or new transactions under existing agreements.
  Additionally, Microsoft is continuously updating the calculation methods according to new license program rules to ensure that the Microsoft License Statement calculated is as complete,
  accurate, and favorable to the customer as possible.


  How current is my Microsoft License Statement?
       The Calculation Date (shown at the top of each of the tabs) is the date that your Microsoft License Statement was calculated. Licenses acquired 45 days before this date may not be
       included in this Microsoft License Statement, due to reseller reporting timeframes.

       It is recommended to request an updated Microsoft License Statement periodically as the information may change over time.


  Where do I find information relating to my Software Assurance (SA) Benefits?

       The information contained within the Active SA Quantity column on the License Summary tab is specific to upgrade protection benefits only.


  Does my Volume License Agreement cover full licenses of the Microsoft Windows® Client Operating System?

       No. A Volume License Agreement does not entitle you to the full version of the Windows Client Operating System (OS); your Volume License Agreement only covers upgrades to
       already existing Windows Client OS full licenses. The Windows Client OS (as part of a Volume License Agreement) may only be installed under the following conditions:

           The PC has a qualifying operating system license and a Windows XP Professional upgrade license (volume license) has been acquired

           -- Or --

           A full license of Windows XP Professional has been acquired via OEM or retail channels

       Installation of the Windows Client OS on a PC without an underlying qualifying licensed OS is in violation of your Volume License Agreement.

  Does my Microsoft License Statement include non-perpetual buy outs?
       No. The Microsoft License Statement currently does not contain details related to a non-perpetual buy out. Microsoft is currently investigating options to include this information in the
       license statement.

  How is my Core CAL bundle represented in the License Summary tab of the Microsoft License Statement?
       The Core CAL bundle is broken out in the License Summary tab into a line item for each component product of the Core CAL. You will not see a separate line item for the Core CAL
       bundle itself. To see the transaction detail related to Core CAL purchases, refer to the Transaction Data tab.



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  What products are included in a Core CAL bundle?
      The following products are currently included in a Core CAL bundle: Microsoft Windows Server™ CAL, Microsoft Exchange Server CAL, Microsoft Sharepoint® Portal Server CAL,
      and Microsoft Systems Management Server CML.

  How is my Desktop Professional bundle represented in the License Summary tab of the Microsoft License Statement?

       The Desktop Professional bundle is broken out in the License Summary tab into a line item for each component product of the Desktop Professional. You will not see a separate line
       item for the Desktop Professional bundle itself. To see the transaction detail related to Desktop Professional purchases, refer to the Transaction Data tab.

  What products are included in a Desktop Professional bundle?
      The following products are currently included in a Desktop Professional bundle: Office Professional, Core CAL (formerly referred to as "Backoffice CAL"), Windows Desktop
      Operating System.

  Are acquisitions, divestitures and license transfers included in the Microsoft License Statement?

       In the case of both acquisitions and divestitures, the Microsoft License Statement assumes that the licenses are retained by the company that was either acquired or divested. For
       example, if one company acquires another company, the licenses of the acquired are credited toward the new parent/holding company.

       At this time, the Microsoft License Statement is unable to reflect license transfers initiated by the customer. For example, if the holding company divests a subsidiary but retains the
       licenses via a license transfer, the Microsoft License Statement will not reflect this transfer.

  Are hosting type licenses or partner product type licenses included in the Microsoft License Statement?

       The Microsoft License Statement does not contain any hosting-type licenses such as SPLA, ASP, VSIP, and VBA.


  Why are there non-perpetual agreements listed in the Microsoft License Statement but the product transacted under them does not appear in the License Summary?

       If the coverage period for these non-perpetual license acquisitions has expired, then there will be are no effective license quantities included in the License Summary.

  How far back in time does the Microsoft License Statement agreement data go?

       The Microsoft License Statement includes agreements commencing from 1993 onward that were purchased under the following Programs: Open Business, Open Volume, Select, and
       Enterprise. The Microsoft License Statement does not include licenses acquired through OEM pre-installed or retail packaged products

                                                                                                                                                                                        back to top

  How Do I Use The Microsoft License Statement?


  Does the Microsoft License Statement represent a proof of license?
       The Microsoft License Statement does not represent a proof of license. Please continue to retain the necessary documentation for proof of license. The Microsoft License Statement
       is intended for license management and analysis purposes only.


  How is my Microsoft License Statement calculated?

       To create the Microsoft License Statement, all license transactions for agreements associated with all organizations included in this Microsoft License Statement are collected. All full
       licenses are counted and all upgrade and maintenance type licenses are applied to these full licenses using rules designed to produce the most favorable license summary for you.
       This means that upgrades are applied to produce the best possible outcome in terms of total number of most current version and most valuable product licensed.

       Note: the Effective Quantity column on the License Summary tab shows the most current versions of products you are entitled to use. License downgrade rights enable deployment of
       lower versions.


  What is the difference between Product Family and License Product Family?
       Product Family data is presented in the Transaction Data tab only. It is a grouping of individual products detailed in transactions made under your license agreements. For example,
       Microsoft Office 2000 French and Microsoft Office XP German are both in the product family of Microsoft Office Standard.
       License Product Family data is presented on the Transaction Summary, Transaction Data, and License Summary tabs. It is a grouping of Product Families and is used to facilitate
       Microsoft License Statement calculation. For example, the Windows Server 2000 product family and Windows NT® product family are part of the license product family Windows
       Server Standard.



  Why is my Customer Purchase Order Number blank on the Transaction Data tab?
       The Customer Purchase Order Number is supplied to Microsoft by the reseller. If the reseller does not report the information to Microsoft, then the information is not included in the
       Transaction Data tab.


  Why does it say “No Agreements Found” on the Organization Summary tab when I know my organization is included?

       If your organization is part of a centralized acquisition process, Microsoft does not have visibility into how the licenses are distributed within the organization.

       For example, if your organization is a subsidiary and your parent organization acquires and distributes the licenses, Microsoft only has visibility into the acquisition of the licenses by
       your parent organization and associates those agreements/transactions with that organization.

       Microsoft is currently investigating options for customers to incorporate license allocation information into the Microsoft License Statement.
                                                                                                                                                                                        back to top

  How Do I Get More Help?


  What do I do if I have questions related to my Organization Summary?
       If you have questions related to the information contained in the Organization Summary, please contact your Microsoft representative (or use your original request channel) to request
       an updated Microsoft License Statement that best reflects your organization needs.


  What do I do if I have a question about the data contained within this Microsoft License Statement?




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         If there are questions regarding this statement, please contact your Microsoft representative and provide the following information:
              - Name of the organization for which the Microsoft License Statement was prepared.
              - Contact name, email, and phone number for follow-up questions.
              - Detailed explanation of the question and any supporting information.


  What do I do if there are unresolved quantities in the License Summary tab?

         The Unresolved Quantities column will include values if upgrade or maintenance type licenses have been acquired and Microsoft does not have any record of the corresponding full
         license.
         For example, assume an organization with 50 Microsoft Office Professional 2000 standard licenses (10 of them acquired via a retail store and the other 40 through an Open
         agreement) and 50 Microsoft Office Professional XP Version Upgrades.
         The Microsoft License Statement would show a result of an effective quantity of 40 Office Professional XP full licenses and an unresolved quantity of 10 Office Professional XP
         licenses. These licenses are unresolved due to a lack of visibility into the retail purchases of the organization.

         For any questions about the unresolved quantity, please take the following steps:
            - Check if the full licenses were acquired via retail or Original Equipment Manufacturer (OEM).
            - Make sure all appropriate agreements are included in the License Agreements tab.
            - Contact the resellers to validate transactions.
            - Contact your Microsoft representative for further assistance.


  How do I obtain an updated copy of my Microsoft License Statement?

         Requests should be made through your Microsoft representative (or use your original request channel).
                                                                                                                                                                                      back to top

  Glossary

  The following glossary contains definitions for terms that can be found within this Microsoft License Statement.


  Term                   Definition

  Active EA              An Enterprise Agreement that has not expired as of the calculation date of this Microsoft License Statement.

  Active SA              A Software Assurance license that has not expired as of the calculation date of this Microsoft License Statement. This Microsoft License Statement does not include
                         detail on other software assurance benefits.

  Active SA Quantity On the License Summary tab, Active SA Quantity displays the sum of Software Assurance (version upgrade protection) that has not expired as of the Calculation Date
                     of this Microsoft License Statement. The Active SA column represents Software Assurance purchased under all programs (Enterprise Agreement (EA), Select, Open
                     Business, Open Volume, etc.) and includes all Software Assurance types (License and Software Assurance (LS&A) , Software Assurance (SA), SA Step-Up, etc).




  Agreement End   The expiration date of the volume license agreement.
  Date
  Agreement Names This column of the Organization Summary tab lists each organization included in this Microsoft License Statement. These names are also referenced in the Customer
  Found           Name on Agreement column of the Transaction Data tab. Please refer to the License Agreements tab for a detailed listing of agreements included in the scope of this
                  license statement. "No Agreements Found" can be returned because the search keywords did not return any agreements matching the same name in the Microsoft
                  databases.


  Agreement Start        The beginning date of the volume license agreement.
  Date
  Agreement Status       Valid values in the Agreement Status column in the License Agreements and Transaction Data tabs are Active, Expired, or Terminated. Transactions under all
                         agreements are used in the calculation of the license summary regardless of the Agreement Status.

  Authorization /  For Open agreements, this is the Authorization Number. For Select, Select Plus and Enterprise agreements, this is the Agreement Number. There may be multiple
  Agreement Number Enrollment Numbers under a single Agreement Number.

  Agreement Type
                         Indicates the hierarchy of agreements as Microsoft Business Agreement (MBA), Master, Enrollment, Enterprise Enrollment for three year agreements and
                         Authorization Number and License Confirmation for two year agreements.
  Calculation Date       The Calculation Date that appears at the top of every tab of this Microsoft License Statement refers to the date, shown in YYYY/MM/DD format, that this Microsoft
                         License Statement was generated.

  City                   The city of the primary customer on the agreement.

  Country on             The country of the primary customer on the agreement.
  Agreement
  Country of Usage       A transaction may be designated for a specific country of usage; however, licenses do not have to be used only in that country. This designation may be useful for
                         customer license tracking.
  Coverage End Date The Coverage End Date on the Transaction Data tab indicates the date that upgrade protection coverage (Maintenance, Upgrade Advantage, Software Assurance)
                    ends for the given transaction.

  Coverage Start         The Coverage Start Date on the Transaction Data tab indicates the date that upgrade protection coverage (Maintenance, Upgrade Advantage, Software Assurance)
  Date                   starts for the given transaction.

  Customer Name on Refers to the primary organization name listed on the agreement. It may reflect historic trading names under which agreements were signed. To request changes to
  Agreement        this customer name contact your reseller.

  Customer Number Identifies the customer organization in the Select Plus program.

  Date Reseller          Date that the reseller's order is received by Microsoft. This date may be later than the date the customer submitted their purchase order to the reseller.
  Submitted to
  Effective Quantity     The Effective Quantity column in the License Summary tab represents the estimated number of volume license entitlements Microsoft understands your company is
                         entitled to use at the time this statement was generated. These totals are based on applying all upgrade and maintenance type licenses to full licenses acquired under
                         two and three year volume license agreements.



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  Enterprise           The Enterprise Agreement is designed for customers with centralized purchasing that want to standardize their entire organization on Microsoft technology and
  Agreement (EA)       maintain an information technology infrastructure on a standard platform of Microsoft software.

  Included in          If the Included in Microsoft License Statement column on the Organization Summary indicates ‘No’ then the organization has no directly attached agreements. In this
  Microsoft License    case please review the Agreement Count column on the LicenseIQ view of this organization. Although there are no directly attached agreements, all indirectly attached
  Statement            agreements will be included in the scope of the MLS through their direct attachment to the child organization.
  License Agreement Indicates the type of volume license agreements. For example, for three year agreements: Corporate, Government, Academic, Local Government, Non-specific, and
  Type              Unknown. For two year agreements: Academic, Government, Local Government, National Government, Non-profit, Standard, and Unknown.


  License /       For Open agreements, this is the License Confirmation Number. For Select and Enterprise agreements, this is the Enrollment Number. For Select Plus agreements
  Enrollment /    this is the Customer Number . There may be multiple Enrollment Numbers under a single Agreement Number.
  Customer Number

  License              The right to install / use the software acquired based on the licenses acquired. License entitlement for a product / version is determined through calculation of full
  Entitlement          licenses and application of upgrade and maintenance type licenses.

  License Version      A specific release of a Microsoft product.

  License Product      A grouping of Product Families, License Product Family is used to facilitate Microsoft License Statement calculation. For example, the "Office" product family is part of
  Family               the License Product Family "Office Standard".


  License Program      Microsoft has different software licensing programs. Examples include: Open License, Select, Select Plus, Enterprise Agreement, and Enterprise Subscription.

  Microsoft License    This Microsoft License Statement is an estimate of license entitlements by product and version based on the Volume License agreements and purchase transactions
  Statement            under those agreements (as reported by resellers to Microsoft).

  Microsoft License    There are various types of Top Level Groups which can be used to generate a Microsoft License Statement. Please refer to the LicenseIQ Application Help for an
  Statement Type       explanation of each type



  Objective            Represents Microsoft's understanding of the full, legal view of a customer's organization. This would include the parent company and any legal subsidiaries.
  Organizational
  Hierarchy
  Open Business        Under the two year Open Business and Open Volume programs, a customer may acquire licenses at a lower price point than retail products. The customer (and its
  and Open Volume      qualified affiliates, where applicable) may submit reorders under the same Open Licenses authorization number at anytime during the two years following the initial
  Agreements           order.

                       The two year Open Business and Open Volume programs are designed for customers who don’t need the full set of media and documents with each license
                       purchase. It is also for customers who want the flexibility of acquiring licenses from a broad reseller channel that only requires an initial acquisition of five licenses.

                       NOTE: The above description does not pertain to the three year Open Value and Open Subscription Licenses.




  Organization       Unique, numeric identifier assigned to each corporate entity in the organizational hierarchy.
  Hierarchy ID
  Original Equipment Refers to PC and Server manufacturers that license certain Microsoft software for pre-installation on the computer hardware they sell. A Certificate of Authenticity
  Manufacturers      (COA) sticker on the hardware identifies that the pre-installed software is licensed.
  (OEM)
  Part Number          Sometimes known as a SKU, the unique identifier for a particular item produced by Microsoft.

  Product              The full description of a Microsoft produced item. This includes information about the product family, version, language, and product type.
  Description
  Product Family       A grouping of like items into one family, e.g. Office 2000 French and Office XP German are both in the product family of Office.

  Product Pool         Microsoft software is categorized into pools (groups) of similar types based on functionality. There are three pools:

                       Applications - An application is software you use on your desktop to perform tasks. Examples of applications include Microsoft Excel, Microsoft Project, and Microsoft
                       Visio®.

                       Systems - System software consists of versions of the Microsoft Windows operating system such as Microsoft Windows XP.

                       Servers - Server software is deployed on network servers. Examples of server software include Microsoft SQL™ Server and Microsoft Exchange Serve




  Product Type         Indicates the type of license acquired, e.g. standard (or full, base license), version upgrade, software assurance, upgrade advantage, etc.

  Promotions           An offer designed to provide customers software licenses at no charge.

  Reseller Name        An entity authorized to resell Microsoft software.

  Search Keywords      Search keywords on the Organization Summary tab may include all relevant subsidiaries, historic / current trading names, abbreviations, and wildcards (e.g., "%" or
                       "_"). If no search keywords exist, please refer to the agreement names found and the License Agreements tab to verify the scope of this Microsoft License Statement.


  Select Agreement     The Select License is a three year agreement for organizations that want a volume discount based on the ability to forecast their acquisitions.

  Select Plus          A new volume licensing agreement that's based on organization vs. agreement centric transactions aimed at enterprise and mid market customers.
  Agreement
  Software             Microsoft's Software Assurance gives you automatic access to new technology and provides productivity benefits, support, tools, and training to help deploy and use
  Assurance (SA)       software efficiently.
  State/Region         The state/region of the primary customer on the agreement.




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  Top Level Group   The Top Level Group represents the topmost level of a customer's organization hierarchy; organizations within the hierarchy have associated Volume License
  Type              Agreements. “Type” indicates the source of this information either: Microsoft Sales Organizational Hierarchies (GPIDs, TPIDs, and IPIDs), License Profiling Tool
                    Profiles (Manually Reviewed and Customized), MS Public Customer Number (PCN) types, MIO Ultimate Parent ID's, or those derived from LicenseIQ sources (user-
                    created profiles produced by this system).
  Transaction       Indicates whether transactions under this agreement are included.
  Associated with
  Transaction       The Transaction Quantity shown in the Transaction Data tab indicates the number of licenses acquired for that purchase order.
  Quantity
  Unresolved        The Unresolved Quantity column in the License Summary tab will only include values when one or both of the following two scenarios occur:
  Quantity
                    1) If the quantity of upgrade type licenses (e.g. Maintenance, Upgrade Advantage, Software Assurance, Version Upgrade, Product Upgrade) is greater than the
                    quantity of qualifying underlying full licenses for a given product, the difference will appear in the Unresolved Quantity column.
                    The discrepancy between the quantities of full licenses and upgrade type licenses may be attributed to full licenses being acquired via non-volume license channels
                    (e.g., OEM, retail). If this is the case, and if there is proof of a full underlying license aquired via OEM or retail, then the Unresolved Quantity can be added to the
                    Effective Quantity (up to the quantity for which proof of license exists) to result in a total Effective Quantity.

                    2) There may be coverage type licenses (e.g. Maintenance, Upgrade Advantage, Software Assurance) that were not or have not yet been used to upgrade one
                    product version to the next because no new product versions were released by Microsoft during the coverage period of the license. In this case, it would not be
                    appropriate to add any of the Unresolved quantities to the Effective Quantity column.

                    Follow the steps below to reconcile Unresolved Quantities:

                    - Check if the full licenses were acquired via retail or OEM.
                    - Make sure all appropriate agreements are included in the License Agreements tab.
                    - Contact the resellers to validate transactions.
                    - Contact a Microsoft representative for further assistance.




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                                                                                                                                                                                                     Microsoft License Statement Name: Newcastle Partners LP (Partial)
                        Microsoft             Volume                                                                                                                                                                        Request ID: 66A6F2F2-CAF7-482E-B42A-7DD0CF7882C4

                                              Licensing
                                                                                                                                                                                                       Calculation Date (YYYY/MM/DD): 2014/1/7

                                                                                                                           Microsoft License Statement                                                                                                                                                     4

Transaction Data
  FAQ and Glossary

  The Transaction Data tab provides data for every order transaction identified under the included volume license agreements, as received by Microsoft from its resellers.
  Each column of data can be filtered by using the drop down menus on each column heading.

                                                                    License /                                                                                                                                                                                                                                                                                                   Date Reseller   Customer                                                                                   Included in
                                            Authorization /         Enrollment /          Agreement       Agreement       Agreement     Coverage         Coverage End                                                                                                                       Transaction                                                                         Submitted to    Purchase Order   License    License          Country on      Country of                    License
  Customer Name on Agreement                Agreement Number        Customer Number       Start Date      End Date        Status        Start Date       Date         License Product Family           Product Family                  Product Description                                  Quantity           Product Type       License Version   Reseller Name               Microsoft       Number           Program    Agreement Type   Agreement       Usage         Part Number     Summary?
                                                                                                                                                                                                                                                                                                                                                                                                20090915_WINSQ
  Fox and Hound Restaurant Group            01S6Q994                4742202               9/22/2009       9/30/2012       Expired       9/22/2009        9/30/2012       Windows Server - Standard     Windows Server Standard         WinSvrStd 2008 SNGL MVL                                              2 Standard            2008              CDW Corporation             9/23/2009       LBESAV           Select 6   Corporate        United States   UNITED STATES P73-04241       Yes
                                                                                                                                                                         SQL Server Standard - 1                                                                                                                                                                                                20090915_WINSQ
  Fox and Hound Restaurant Group            01S6Q994                4742202               9/22/2009       9/30/2012       Expired       9/22/2009        9/30/2012       Processor                     SQL Server Standard Edition     SQLSvrStd 2008 SNGL MVL 1Proc                                        2 Standard            2008              CDW Corporation             9/23/2009       LBESAV           Select 6   Corporate        United States   UNITED STATES 228-08649       Yes

  Fox and Hound Restaurant Group            01S6Q994                58836361              2/28/2011       9/30/2012       Expired       2/28/2011        9/30/2012       Lync Server Standard          Lync Server Std                 LyncSvrStd 2010 SNGL MVL                                             1 Standard            2010              CDW Corporation             7/17/2012       65901.20120405   Select 6   Corporate        United States   UNITED STATES 6NH-00246       Yes

                                                                                                                                                                         Forefront Threat Management
  Fox and Hound Restaurant Group            01S6Q994                58836361              2/28/2011       9/30/2012       Expired       2/28/2011        9/30/2012       Gateway Standard Editi      Forefront TMG Standard            FrFrntTMGStd 2010 SNGL MVL 1Proc                                     1 Standard            2010              CDW Corporation             7/17/2012       65901.20120405  Select 6    Corporate        United States   UNITED STATES 4WD-00296       Yes
                                                                                                                                                                                                                                                                                                                                                                                                                Open
                                                                                                                                                                                                                                                                                                              License/Software                                                                  IT052005MS2003S License
  CHAMPPS ENTERTAINMENT INC                 2736047                 2736047               5/23/2005       5/31/2008       Expired       5/27/2005        5/31/2008       Windows Server - Standard     Windows Server Standard         WinSvrStd SNGL LicSAPk MVL                                           1 Assurance Pack      Non-specific      PC Connection, Inc.         5/27/2005       J               Value       Corporate        United States   UNITED STATES P73-00205       Yes
                                                                                                                                                                                                                                                                                                                                                                                                                Open
                                                                                                                                                                                                                                                                                                              License/Software                                                                  IT052005MS2003S License
  CHAMPPS ENTERTAINMENT INC                 2736047                 2736047               5/23/2005       5/31/2008       Expired       5/27/2005        5/31/2008       Windows Server - User CAL     Windows Server CAL              WinSvrCAL SNGL LicSAPk MVL UsrCAL                                   90 Assurance Pack      Non-specific      PC Connection, Inc.         5/27/2005       J               Value       Corporate        United States   UNITED STATES R18-00130       Yes

  Fox and Hound Restaurant Group            01S6Q994                58836361              2/28/2011       9/30/2012       Expired       2/28/2011        9/30/2012       Office Standard               Office Standard                 OfficeStd 2010 SNGL MVL                                            131 Standard            2010              Dell Inc.                   3/14/2011       20110303SOFTW    Select 6   Corporate        United States   UNITED STATES 021-09744       Yes
                                                                                                                                                                         Exchange Server Standard
  Fox and Hound Restaurant Group            01S6Q994                58836361              2/28/2011       9/30/2012       Expired       2/28/2011        9/30/2012       CAL - Device CAL              Exchange Standard CAL           ExchgStdCAL 2010 SNGL MVL DvcCAL                                   129 Standard            2010              Dell Inc.                   3/14/2011       20110303SOFTW    Select 6   Corporate        United States   UNITED STATES 381-04224       Yes

  Fox and Hound Restaurant Group            01S6Q994                58836361              2/28/2011       9/30/2012       Expired       2/28/2011        9/30/2012       Windows Server - User CAL     Windows Server CAL              WinSvrCAL 2008 SNGL MVL UsrCAL                                     663 Standard            2008              Dell Inc.                   3/14/2011       20110303SOFTW    Select 6   Corporate        United States   UNITED STATES R18-02804       Yes

  Fox and Hound Restaurant Group            01S6Q994                58836361              2/28/2011       9/30/2012       Expired       2/28/2011        9/30/2012       Windows Server - Standard     Windows Server Standard         WinSvrStd 2008R2 SNGL MVL                                           99 Standard            2008 R2           Dell Inc.                   3/14/2011       20110303SOFTW    Select 6   Corporate        United States   UNITED STATES P73-05005       Yes

  Fox and Hound Restaurant Group            01S6Q994                58836361              2/28/2011       9/30/2012       Expired       2/28/2011        9/30/2012       Windows Server Datacenter     Windows Server Datacenter       WinSvrDataCtr 2008R2 SNGL MVL 1Proc                                  6 Standard            2008 R2           Dell Inc.                   3/14/2011       20110303SOFTW    Select 6   Corporate        United States   UNITED STATES P71-06392       Yes

  Fox and Hound Restaurant Group            01S6Q994                58836361              2/28/2011       9/30/2012       Expired       2/28/2011        9/30/2012       Windows Server - Enterprise   Windows Server Enterprise       WinSvrEnt 2008R2 SNGL MVL                                            1 Standard            2008 R2           Dell Inc.                   3/14/2011       20110303SOFTW    Select 6   Corporate        United States   UNITED STATES P72-04242       Yes
                                                                                                                                                                         Exchange Server Standard
  Fox and Hound Restaurant Group            01S6Q994                58836361              2/28/2011       9/30/2012       Expired       2/28/2011        9/30/2012       CAL - User CAL                Exchange Standard CAL           ExchgStdCAL 2010 SNGL MVL UsrCAL                                    53 Standard            2010              Dell Inc.                   3/14/2011       20110303SOFTW    Select 6   Corporate        United States   UNITED STATES 381-04225       Yes
                                                                                                                                                                         Exchange Enterprise CAL
  Fox and Hound Restaurant Group            01S6Q994                58836361              2/28/2011       9/30/2012       Expired       2/28/2011        9/30/2012       without Services - User CA    Exchange Enterprise CAL         ExchgEntCAL 2010 SNGL MVL UsrCAL woSrvcs                            53 Standard            2010              Dell Inc.                   3/14/2011       20110303SOFTW    Select 6   Corporate        United States   UNITED STATES PGI-00020       Yes

  Fox and Hound Restaurant Group            01S6Q994                58836361              2/28/2011       9/30/2012       Expired       2/28/2011        9/30/2012       Exchange Server - Standard    Exchange Server - Standard      ExchgSvrStd 2010 SNGL MVL                                            3 Standard            2010              Dell Inc.                   3/15/2011       20110303SOFTW    Select 6   Corporate        United States   UNITED STATES 312-04070       Yes
                                                                                                                                                                         Exchange Enterprise CAL
  Fox and Hound Restaurant Group            01S6Q994                58836361              2/28/2011       9/30/2012       Expired       2/28/2011        9/30/2012       without Services - Device     Exchange Enterprise CAL         ExchgEntCAL 2010 SNGL MVL DvcCAL woSrvcs                           129 Standard            2010              Dell Inc.                   3/15/2011       20110303SOFTW    Select 6   Corporate        United States   UNITED STATES PGI-00019       Yes

  Fox and Hound Restaurant Group            01S6Q994                58836361              2/28/2011       9/30/2012       Expired       2/28/2011        9/30/2012       SQL Server Web Edition        SQL Server Web Edition          SQLSvrWeb 2008R2 SNGL MVL 1Proc                                      1 Standard            2008 R2           Dell Inc.                   3/19/2012       20120319SQLSVR Select 6     Corporate        United States   UNITED STATES TFA-00470       Yes

  Fox and Hound Restaurant Group            01S6Q994                58836361              2/28/2011       9/30/2012       Expired       2/28/2011        9/30/2012       Office Standard               Office Standard                 OfficeStd 2010 SNGL MVL                                              5 Standard            2010              CDW Corporation             7/17/2012       65901.20120517   Select 6   Corporate        United States   UNITED STATES 021-09744       Yes

  Fox and Hound Restaurant Group            01S6Q994                58836361              2/28/2011       9/30/2012       Expired       2/28/2011        9/30/2012       Office Standard for Macintosh Office Mac Standard             OfficeMacStd 2011 SNGL MVL                                           3 Standard            2011              CDW Corporation             7/17/2012       65901.20120517   Select 6   Corporate        United States   UNITED STATES 3YF-00303       Yes
                                                                                                                                                                         Lync Server Standard - User
  Fox and Hound Restaurant Group            01S6Q994                58836361              2/28/2011       9/30/2012       Expired       2/28/2011        9/30/2012       CAL                           Lync Server Std CAL             LyncSvrStdCAL 2010 SNGL MVL UsrCAL                                  29 Standard            2010              CDW Corporation             7/17/2012       65901.20120405   Select 6   Corporate        United States   UNITED STATES 6ZH-00418       Yes
                                                                                                                                                                         Lync Server Enterprise - User
  Fox and Hound Restaurant Group            01S6Q994                58836361              2/28/2011       9/30/2012       Expired       2/28/2011        9/30/2012       CAL                           Lync Server Ent CAL             LyncSVrEnCAL 2010 SNGL MVL UsrCAL                                    1 Standard            2010              CDW Corporation             7/17/2012       65901.20120405   Select 6   Corporate        United States   UNITED STATES 7AH-00324       Yes

  Fox and Hound Restaurant Group            01S6Q994                58836361              2/28/2011       9/30/2012       Expired       2/28/2011        9/30/2012       Lync                          Lync                            Lync 2010 Sngl MVL                                                  29 Standard            2010              CDW Corporation             7/17/2012       65901.20120405   Select 6   Corporate        United States   UNITED STATES 6YH-00595       Yes

  Fox and Hound Restaurant Group            01S6Q994                58836361              2/28/2011       9/30/2012       Expired       2/28/2011        9/30/2012       Lync Server Plus - User CAL   Lync Server Plus CAL            LyncSvrPlusCAL 2010 SNGL MVL UsrCAL                                  4 Standard            2010              CDW Corporation             7/17/2012       65901.20120405   Select 6   Corporate        United States   UNITED STATES YEG-00424       Yes

  UNIQUE CASUAL RESTAURANTS INC 11497237AAS0106                     11521506              6/29/1999       6/30/2001       Active        6/29/1999        6/30/2001       Office Professional           Office Professional             Office Pro 97 Win32 English VUP OLP A /Prev Ver/1                   67 Version Upgrade     97                INSIGHT DIRECT INC          6/29/1999                        Open       Standard         United States   UNITED STATES 269-01353       Yes

  CHAMPS BURNSVILLE                         12806119ZZS0209         12843021              9/27/2000       9/30/2002       Active        9/27/2000        9/30/2002       Windows Server CAL            Windows NT CAL                  WinNT CAL 4.0 English OLP NL                                         5 Standard            4.0               P O S BUSINESS SYSTEM INC   9/27/2000                        Open       Standard         United States   UNITED STATES 351-00758       Yes

  CHAMPPS AMERICANA                         14639055ZZS0402         14689713              2/8/2002        2/29/2004       Active        2/8/2002         2/29/2004       Windows Server CAL            Windows 2000 CAL                Windows CAL 2000 English OLP NL                                      9 Standard            2000              SYSTEMS TECHNOLOGY          2/8/2002                         Open       Standard         United States   UNITED STATES C78-00480       Yes

  CHAMPPS ST. PAUL                          15066234ZZS0406         15132190              6/4/2002        6/30/2004       Active        6/4/2002         6/30/2004       Windows Server CAL            Windows 2000 CAL                Windows CAL 2000 English OLP NL                                      5 Standard            2000              P O S BUSINESS SYSTEM INC   6/4/2002                         Open       Standard         United States   UNITED STATES C78-00480       Yes

  CHAMPPS ENTERTAINMENT INC                 15205483ZZS0406         15257556              6/28/2002       6/30/2004       Active        6/28/2002        6/30/2004       Windows Server CAL            Windows 2000 CAL                Windows CAL 2000 English OLP NL                                     80 Standard            2000              SOFTCHOICE CORPORATION      6/28/2002                        Open       Standard         United States   UNITED STATES C78-00480       Yes

 CHAMPPS ENTERTAINMENT INC                  14560607ZZS0401         15314491              1/18/2002       1/31/2004       Active        1/18/2002        1/31/2004       Windows Server - Standard     Windows 2000 Server             Windows Svr 2000 English OLP NL                                      1 Standard            2000              SOFTCHOICE CORPORATION      7/12/2002                        Open       Standard         United States   UNITED STATES C11-00821       Yes

 CHAMPPS AMERICANA                          15336582ZZS0407         15387172              7/27/2002       7/31/2004       Active        7/27/2002        7/31/2004       Windows Server - Standard     Windows 2000 Server             Windows Svr 2000 English OLP NL                                      2 Standard            2000              DELL MARKETING LP           7/27/2002                        Open       Standard         United States   UNITED STATES C11-00821       Yes

 CHAMPPS AMERICANA                          15336582ZZS0407         15387172              7/27/2002       7/31/2004       Active        7/27/2002        7/31/2004       Windows Server CAL            Windows 2000 CAL                Windows CAL 2000 English OLP NL                                     26 Standard            2000              DELL MARKETING LP           7/27/2002                        Open       Standard         United States   UNITED STATES C78-00480       Yes

 CHAMPPS AMERICANA                          15561392ZZS0409         15613849              9/23/2002       9/30/2004       Active        9/23/2002        9/30/2004       Windows Server CAL            Windows 2000 CAL                Windows CAL 2000 English OLP NL                                     26 Standard            2000              DELL MARKETING LP           9/23/2002                        Open       Standard         United States   UNITED STATES C78-00480       Yes

 CHAMPPS AMERICANA                          15561392ZZS0409         15613849              9/23/2002       9/30/2004       Active        9/23/2002        9/30/2004       Windows Server - Standard     Windows 2000 Server             Windows Svr 2000 English OLP NL                                      2 Standard            2000              DELL MARKETING LP           9/23/2002                        Open       Standard         United States   UNITED STATES C11-00821       Yes

 CHAMPPS AMERICANA                          16113970ZZS0503         16162865              3/5/2003        3/31/2005       Active        3/5/2003         3/31/2005       Windows Server - Standard     Windows 2000 Server             Windows Svr 2000 English OLP NL                                      1 Standard            2000              DELL MARKETING LP           3/5/2003                         Open       Standard         United States   UNITED STATES C11-00821       Yes
                                                                                                                                                                         Windows Terminal Server -
 CHAMPPS AMERICANA                          17073237ZZS0512         17121099              12/9/2003       12/31/2005      Active        12/9/2003        12/31/2005      Device CAL                    Windows Terminal Server CAL     Windows Terminal Svr CAL 2003 WinNT Sngl OLP NL De                  20 Standard            2003              DELL MARKETING LP           12/9/2003                        Open       Standard         United States   UNITED STATES R19-00134       Yes
                                                                                                                                                                         Windows Terminal Server -
 CHAMPPS AMERICANA                          17873218ZZS0607         17922884              7/9/2004        7/31/2006       Active        7/9/2004         7/31/2006       Device CAL                    Windows Terminal Server CAL     Windows Terminal Svr CAL 2003 WinNT Sngl OLP NL De                  20 Standard            2003              DELL MARKETING LP           7/9/2004                         Open       Standard         United States   UNITED STATES R19-00134       Yes

 CHAMPPS AMERICANA                          17874161ZZS0607         17987075              7/27/2004       7/31/2006       Active        7/27/2004        7/31/2006       Office Standard               Office Standard                 Office 2003 Win32 English OLP NL                                    40 Standard            2003              DELL MARKETING LP           7/27/2004                        Open       Standard         United States   UNITED STATES 021-06280       Yes

 CHAMPPS BURNSVILLE                         18005068ZZS0608         18054230              8/16/2004       8/31/2006       Active        8/16/2004        8/31/2006       Windows Server - Device CAL Windows Server CAL                Windows Server CAL 2003 Sngl OLP NL Device CAL                       5 Standard            2003              P O S BUSINESS SYSTEM INC   8/16/2004                        Open       Standard         United States   UNITED STATES R18-00134       Yes

 CHAMPPS AMERICANA                          17874161ZZS0607         18413718              7/27/2004       7/31/2006       Active        7/27/2004        7/31/2006       Publisher                     Publisher                       Publisher 2003 Win32 English OLP NL                                  1 Standard            2003              DELL MARKETING LP           11/18/2004                       Open       Standard         United States   UNITED STATES 164-02824       Yes
 TOTAL ENTERTAINMENT                                                                                                                                                     Exchange Server Standard
 RESTAURANT                                 18536543ZZS0612         18584161              12/30/2004      12/31/2006      Active        12/30/2004       12/31/2006      CAL - User CAL                Exchange Standard CAL           Exchange Standard CAL 2003 All Lng OLP NL User CAL                  10 Standard            2003              DELL MARKETING LP           12/30/2004                       Open       Standard         United States   UNITED STATES 381-01891       Yes
 TOTAL ENTERTAINMENT
 RESTAURANT                                 18536543ZZS0612         18584161              12/30/2004      12/31/2006      Active        12/30/2004       12/31/2006      Windows Server - Device CAL Windows Server CAL                Windows Server CAL 2003 Sngl OLP NL Device CAL                      20 Standard            2003              DELL MARKETING LP           12/30/2004                       Open       Standard         United States   UNITED STATES R18-00134       Yes
 FOX &AMP HOUND RESTAURANT                                                                                                                                               Exchange Server Standard
 GRO                                        19401282ZZS0708         19439744              8/3/2005        8/31/2007       Active        8/3/2005         8/31/2007       CAL - User CAL              Exchange Standard CAL             Exchange Standard CAL 2003 All Lng OLP NL User CAL                  11 Standard            2003              DELL MARKETING LP           8/3/2005                         Open       Standard         United States   UNITED STATES 381-01891       Yes
 FOX &AMP HOUND RESTAURANT
 GRO                                        19401282ZZS0708         19439744              8/3/2005        8/31/2007       Active        8/3/2005         8/31/2007       Windows Server - Device CAL Windows Server CAL                Windows Server CAL 2003 Sngl OLP NL Device CAL                      35 Standard            2003              DELL MARKETING LP           8/3/2005                         Open       Standard         United States   UNITED STATES R18-00134       Yes
                                                                                                                                                                                                                                                                                                              License/Software
 CHAMPPS AMERICANA                          19661123ZZS0710         19704180              10/11/2005      10/31/2007      Active        10/11/2005       10/31/2007      SQL Server - Enterprise       SQL Server Enterprise Edition   SQL Svr Enterprise Edtn English Lic/SA Pack OLP NL                   1 Assurance Pack      Non-specific      DELL MARKETING LP           10/11/2005                       Open       Standard         United States   UNITED STATES 810-01547       Yes

 CHAMPPS AMERICANA                          19661123ZZS0710         19704180              10/11/2005      10/31/2007      Active        10/11/2005       10/31/2007      Windows Server - Enterprise   Windows Server Enterprise       Windows Svr Ent 2003 English OLP NL                                  1 Standard            2003              DELL MARKETING LP           10/11/2005                       Open       Standard         United States   UNITED STATES P72-00264       Yes

 CHAMPPS AMERICANA                          19661123ZZS0710         19704180              10/11/2005      10/31/2007      Active        10/11/2005       10/31/2007      Windows Server - User CAL     Windows Server CAL              Windows Server CAL 2003 Sngl OLP NL User CAL                         5 Standard            2003              DELL MARKETING LP           10/11/2005                       Open       Standard         United States   UNITED STATES R18-00133       Yes
 FOX AND HOUND RESTAURANT                                                                                                                                                Operations Manager - Client                                                                                                                                                MERRIMACK SERVICES
 GROUP                                      62807105ZZS0910         42820212              10/2/2007       10/31/2009      Active        10/2/2007        10/31/2009      ML                            Sys Ctr Ops Mgr Clt Mgmt Lic    SysCtrOpsMgrCltML 2007 SNGL OLP NL PerUsr                          500 Standard            2007              CORPORATION                 10/2/2007                        Open       Standard         United States   UNITED STATES 9TX-00101       Yes
                                                                                                                                                                         Visual Studio Professional
 FOX AND HOUND RESTAURANT                   62806807ZZS0910         45779712              10/2/2007       10/31/2009      Active        10/2/2007        10/31/2009      Edition                       Visual Studio Professional      VSPro 2008 SNGL OLP NL                                               1 Standard            2008              CDW LOGISTICS INC.          8/10/2009                        Open       Standard         United States   UNITED STATES C5E-00324       Yes

 CHAMPPS AMERICANA                          16113970ZZS0503         16162865              3/5/2003        3/31/2005       Active        3/5/2003         3/31/2005       Windows Server CAL            Windows 2000 CAL                Windows CAL 2000 English OLP NL                                     13 Standard            2000              DELL MARKETING LP           3/5/2003                         Open       Standard         United States   UNITED STATES C78-00480       Yes

 CHAMPPS ENTERTAINMENT INC                  15205483ZZS0406         15257556              6/28/2002       6/30/2004       Active        6/28/2002        6/30/2004       Windows Server - Standard     Windows 2000 Server             Windows Svr 2000 English OLP NL                                      1 Standard            2000              SOFTCHOICE CORPORATION      6/28/2002                        Open       Standard         United States   UNITED STATES C11-00821       Yes
 CHAMPPSENTERTAINMENT
 TERRACE TO                                 11903611ARS0111         11933435              11/22/1999      11/30/2001      Active        11/22/1999       11/30/2001      Windows Server CAL            Windows NT CAL                  WinNT CAL 4.0 English OLP A                                         50 Standard            4.0               DEERFIELD DATA SYSTEMS      11/22/1999                       Open       Standard         United States   UNITED STATES 351-00220       Yes

 FOX AND HOUND RESTAURANT                   63508061ZZS1002         46392131              2/20/2008       2/28/2010       Active        2/20/2008        2/28/2010       Windows                       Win Pro                         WinPro 7 SNGL Upgrd OLP NL Promo                                     1 Upgrade             7                 CDW LOGISTICS INC.          1/14/2010                        Open       Standard         United States   UNITED STATES FQC-02633       Yes
                                                                                                                                                                                                                                                                                                              License/Software
 CHAMPPS AMERICANA                          19661123ZZS0710         19704180              10/11/2005      10/31/2007      Active        10/11/2005       10/31/2007      SQL - User CAL                SQL CAL                         SQLCAL SNGL LicSAPk OLP NL UsrCAL                                    5 Assurance Pack      Non-specific      DELL MARKETING LP           10/11/2005                       Open       Standard         United States   UNITED STATES 359-01005       Yes

 CHAMPPS AMERICANA                          17364014ZZS0603         17416907              3/1/2004        3/31/2006       Active        3/1/2004         3/31/2006       Windows Server - Device CAL Windows Server CAL                Windows Server CAL 2003 Sngl OLP NL Device CAL                      10 Standard            2003              DELL MARKETING LP           3/1/2004                         Open       Standard         United States   UNITED STATES R18-00134       Yes

 CHAMPPS ENTERTAINMENT INC                  17300109ZZS0602         17347909              2/11/2004       2/28/2006       Active        2/11/2004        2/28/2006       Windows Server - Device CAL Windows Server CAL                Windows Server CAL 2003 Sngl OLP NL Device CAL                      10 Standard            2003              DELL MARKETING LP           2/11/2004                        Open       Standard         United States   UNITED STATES R18-00134       Yes

  CHAMPPS AMERICANA                         16873700ZZS0510         16897060              10/15/2003      10/31/2005      Active        10/15/2003       10/31/2005      Windows Server - Device CAL Windows Server CAL                Windows Server CAL 2003 Sngl OLP NL Device CAL                      10 Standard            2003              DELL MARKETING LP           10/15/2003                       Open       Standard         United States   UNITED STATES R18-00134       Yes

  CHAMPPS ENTERTAINMENT INT                 16597366ZZS0507         16649458              7/23/2003       7/31/2005       Active        7/23/2003        7/31/2005       Windows Server - Standard     Windows Server Standard         Windows Svr Std 2003 English OLP NL                                  2 Standard            2003              DREW TEK ENTERPRISES        7/24/2003                        Open       Standard         United States   UNITED STATES P73-00295       Yes
                                                                                                                                                                         ISA Server Standard - 1
  CHAMPPS ENTERTAINMENT INT                 16597366ZZS0507         16647585              7/23/2003       7/31/2005       Active        7/23/2003        7/31/2005       Processor                     ISA Server Standard Edtn        ISA Server Std Ed 2000 English OLP NL 1 Processor                    1 Standard            2000              DREW TEK ENTERPRISES        7/23/2003                        Open       Standard         United States   UNITED STATES E84-00042       Yes

 CHAMPPS ENTERTAINMENT INC                  15068939ZZS0405         15131246              5/31/2002       5/31/2004       Active        5/31/2002        5/31/2004       Project                       Project                         Project Win32 English UpgAdv OLP NL                                  1 Upgrade Advantage   Non-specific      SOFTCHOICE CORPORATION      5/31/2002                        Open       Standard         United States   UNITED STATES 076-01443       Yes
                                                                                                                                                                                                                                                                                                              License/Software
 CHAMPPS ENTERTAINMENT INC                  15068939ZZS0405         15131246              5/31/2002       5/31/2004       Active        5/31/2002        5/31/2004       Project                       Project                         Prjct SNGL LicSAPk OLP NL                                            4 Assurance Pack      Non-specific      SOFTCHOICE CORPORATION      5/31/2002                        Open       Standard         United States   UNITED STATES 076-01866       Yes

 CHAMPP'S MAPLE GROVE                       14566324ZZS0401         14615281              1/21/2002       1/31/2004       Active        1/21/2002        1/31/2004       Windows Server CAL            Windows 2000 CAL                Windows CAL 2000 English OLP NL                                      5 Standard            2000              P O S BUSINESS SYSTEM INC   1/21/2002                        Open       Standard         United States   UNITED STATES C78-00480       Yes
 TOTAL ENTERTAINMENT &
 RESTAURANT                                 11095698AAS0011         11110093              11/24/1998      11/30/2000      Active        11/24/1998       11/30/2000      Office Standard               Office Standard                 Office 97 Win32 English OLP A                                       45 Standard            97                VALUE EXPRESS               11/24/1998                       Open       Standard         United States   UNITED STATES 021-01443       Yes




Transaction Data                                                                                                                                                                                                                                                             1 of 2                                                                                                                                                                                                © 2008 Microsoft Corporation
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                                                  License /                                                                                                                                                                                                                                                                              Date Reseller   Customer                                                                                    Included in
                               Authorization /    Enrollment /      Agreement    Agreement    Agreement   Coverage     Coverage End                                                                                                                   Transaction                                                                        Submitted to    Purchase Order   License   License          Country on      Country of                      License
  Customer Name on Agreement   Agreement Number   Customer Number   Start Date   End Date     Status      Start Date   Date         License Product Family     Product Family                   Product Description                                   Quantity          Product Type       License Version   Reseller Name               Microsoft       Number           Program   Agreement Type   Agreement       Usage           Part Number     Summary?
                                                                                                                                    System Management Server -
  CHAMPPS ENTERTAINMENT        10613049ARS9903    10789683          1/6/1997     3/31/1999    Active      1/6/1997     3/31/1999    Enterprise                 System Mgmt Server Enterprise Ed Sys Mgmt Svr Ent Ed 1.2 English OLP A                                 1 Standard           1.20              ASAP SOFTWARE EXPRESS       1/3/1997                         Open      Standard         United States   UNITED STATES 271-00177         Yes
                                                                                                                                    System Management Server
  CHAMPPS ENTERTAINMENT        10613049ARS9903    10789683          1/6/1997     3/31/1999    Active      1/6/1997     3/31/1999    Client ML                  System Mgmt CAL                  Sys Mgmt CAL 1.2 English OLP A                                        5 Standard           1.20              ASAP SOFTWARE EXPRESS       1/3/1997                         Open      Standard         United States   UNITED STATES 355-00126         Yes
  FOX AND HOUND RESTAURANT                                                                                                                                                                                                                                                                                   MERRIMACK SERVICES
  GROUP                        62807105ZZS0910    42820212          10/2/2007    10/31/2009   Active      10/2/2007    10/31/2009    Operations Manager Server    Sys Ctr Ops Mgr Svr            SysCtrOpsMgrSvr 2007 SNGL OLP NL                                     1 Standard           2007              CORPORATION                 10/2/2007                        Open      Standard         United States   UNITED STATES UAR-00172         Yes

  FOX & HOUND RESTAURANT GR    61553322ZZS0812    41562716          12/27/2006   12/31/2008   Active      12/27/2006   12/31/2008    Office Professional          Office Professional Plus       OfficeProPlus 2007 SNGL OLP NL                                       5 Standard           2007              INSIGHT DIRECT USA, INC.    12/27/2006                       Open      Standard         United States   UNITED STATES 79P-00123         Yes

  CHAMPPS AMERICANA            17097433ZZS0512    17145932          12/15/2003   12/31/2005   Active      12/15/2003   12/31/2005    Windows Server - Device CAL Windows Server CAL              Windows Server CAL 2003 Sngl OLP NL Device CAL                      10 Standard           2003              DELL MARKETING LP           12/15/2003                       Open      Standard         United States   UNITED STATES R18-00134         Yes

 CHAMPPS ENTERTAINMENT INC     15205483ZZS0406    16106590          6/28/2002    6/30/2004    Active      6/28/2002    6/30/2004     Project                      Project                        Project 2002 Win32 English OLP NL w/1 ProjectSvr C                   1 Standard           2002              SOFTCHOICE CORPORATION      2/18/2003                        Open      Standard         United States   UNITED STATES 076-02343         Yes
 FOX AND HOUND RESTAURANT                                                                                                            Exchange Server Standard                                                                                                                                                MERRIMACK SERVICES
 GROUP                         62806807ZZS0910    42820196          10/2/2007    10/31/2009   Active      10/2/2007    10/31/2009    CAL - User CAL               Exchange Standard CAL          ExchgStdCAL 2007 SNGL OLP NL UsrCAL                                 50 Standard           2007              CORPORATION                 10/2/2007                        Open      Standard         United States   UNITED STATES 381-03097         Yes
 FOX AND HOUND RESTAURANT                                                                                                                                                                                                                                                                                    MERRIMACK SERVICES
 GROUP                         62806807ZZS0910    42820196          10/2/2007    10/31/2009   Active      10/2/2007    10/31/2009    Exchange Server - Standard   Exchange Server - Standard     ExchgSvrStd 2007 SNGL OLP NL                                         1 Standard           2007              CORPORATION                 10/2/2007                        Open      Standard         United States   UNITED STATES 312-03545         Yes

 CHAMPPS AMERICANA             16339902ZZS0505    16388744          5/9/2003     5/31/2005    Active      5/9/2003     5/31/2005     Windows Server - Device CAL Windows Server CAL              Windows Server CAL 2003 Sngl OLP NL Device CAL                      10 Standard           2003              DELL MARKETING LP           5/9/2003                         Open      Standard         United States   UNITED STATES R18-00134         Yes

 CHAMPPS MAPLEWOOD             15596797ZZS0410    15649541          10/2/2002    10/31/2004   Active      10/2/2002    10/31/2004    Windows Server CAL           Windows 2000 CAL               Windows CAL 2000 English OLP NL                                      5 Standard           2000              P O S BUSINESS SYSTEM INC   10/2/2002                        Open      Standard         United States   UNITED STATES C78-00480         Yes
 FOX AND HOUND RESTAURANT                                                                                                            Windows Terminal Server -                                                                                                                                               MERRIMACK SERVICES
 GROUP                         63508061ZZS1002    43518376          2/20/2008    2/28/2010    Active      2/20/2008    2/28/2010     User CAL                     Windows Terminal Server CAL    Windows Terminal Svr CAL 2003 WinNT Sngl OLP NL Us                   5 Standard           2003              CORPORATION                 2/20/2008                        Open      Standard         United States   UNITED STATES R19-00133         Yes

 FOX & HOUND RESTAURANT GR     61348389ZZS0811    41361802          11/17/2006   11/30/2008   Active      11/17/2006   11/30/2008    Windows Server - Device CAL Windows Server CAL              Windows Server CAL 2003 Sngl OLP NL Device CAL                     277 Standard           2003              INSIGHT DIRECT USA, INC.    11/17/2006                       Open      Standard         United States   UNITED STATES R18-00134         Yes
 CHAMPPS ENTERTAINMENT INC     14560607ZZS0401    14608667          1/18/2002    1/31/2004    Returned    1/18/2002    1/31/2004                                 Exchange Standard CAL           Exchange CAL 2000 All Languages OLP NL                             100 Standard           2000              SOFTCHOICE CORPORATION      1/18/2002                        Open      Standard         United States   United States 381-01419         No
 CHAMPPS ENTERTAINMENT INC     14560607ZZS0401    14608667          1/18/2002    1/31/2004    Returned    1/18/2002    1/31/2004                                 Exchange Server - Standard      Exchange Svr 2000 English OLP NL                                     1 Standard           2000              SOFTCHOICE CORPORATION      1/18/2002                        Open      Standard         United States   United States 312-01426         No
                                                                                                                                                                                                                                                                        License/Software
 CHAMPPS AMERICANA             18536266ZZS0612    18583434          12/30/2004   12/31/2006   Active      12/30/2004   12/31/2006                                 Press eLearning - IT Pro       Press eLearning - IT Pro Win32 English Lic/SA Pack                   3 Assurance Pack     Non-specific      DELL MARKETING LP           12/30/2004                       Open      Standard         United States   United States   M70-00093       No




Transaction Data                                                                                                                                                                                                                       2 of 2                                                                                                                                                                                                © 2008 Microsoft Corporation
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                                                                                                                                                                                      Microsoft License Statement Name: Newcastle Partners LP (Partial)


                             Microsoft             Volume                                                                                                                                                       Request ID: 66A6F2F2-CAF7-482E-B42A-
                                                                                                                                                                                                                            7DD0CF7882C4
                                                   Licensing
                                                                                                                                                                                         Calculation Date (YYYY/MM/DD): 2014/1/7
                                                                                                        Microsoft License Statement

License Agreements
  FAQ and Glossary

  The License Agreements tab lists all historical and current volume license agreements (e.g. Open Business, Open Volume, Select, Enterprise), associated with the organizations identified within the Organization Summary.
  The agreement list can be filtered by using the drop down menus on each column heading. This agreement list should be checked to ensure all agreements are included. If you wish to modify the list of agreements below, please create a LicenseIQ User
  Modified Top Level Group to reflect the changes required, or alternatively, request these changes to be made by a License Profiling Specialist.

                                                                                                                                   License /
                                                                                                                                   Enrollment /                                                                                                 Transaction
                                                 License             Agreement      License       Agreement       Authorization /  Customer              Agreement       Agreement                                             Country on       Associated with
  Customer Name on Agreement                     Agreement Type      Status         Program       Type            Agreement Number Number                Start Date      End Date         City             State/Region        Agreement        Agreement?
                                                                                                  License
                                                                                                  Confirmation
  CHAMPPS AMERICANA                              Standard            Active         OPEN          Number          14639055ZZS0402        14689713        02/08/2002      02/29/2004       DURHAM           NC                  United States    Yes
                                                                                                  License
                                                                                                  Confirmation
  CHAMPPS AMERICANA                              Standard            Active         OPEN          Number          15336582ZZS0407        15387172        07/27/2002      07/31/2004       MAPLEWOOD        MN                  United States    Yes
                                                                                                  License
                                                                                                  Confirmation
  CHAMPPS AMERICANA                              Standard            Active         OPEN          Number          15561392ZZS0409        15613849        09/23/2002      09/30/2004       MAPLEWOOD        MN                  United States    Yes
                                                                                                  License
                                                                                                  Confirmation
  CHAMPPS AMERICANA                              Standard            Active         OPEN          Number          16113970ZZS0503        16162865        03/05/2003      03/31/2005       MAPLEWOOD        MN                  United States    Yes
                                                                                                  License
                                                                                                  Confirmation
  CHAMPPS AMERICANA                              Standard            Active         OPEN          Number          16339902ZZS0505        16388744        05/09/2003      05/31/2005       LITTLETON        CO                  United States    Yes
                                                                                                  License
                                                                                                  Confirmation
  CHAMPPS AMERICANA                              Standard            Active         OPEN          Number          16873700ZZS0510        16897060        10/15/2003      10/31/2005       LITTLETON        CO                  United States    Yes
                                                                                                  License
                                                                                                  Confirmation
  CHAMPPS AMERICANA                              Standard            Active         OPEN          Number          17073237ZZS0512        17121099        12/09/2003      12/31/2005       LITTLETON        CO                  United States    Yes
                                                                                                  License
                                                                                                  Confirmation
  CHAMPPS AMERICANA                              Standard            Active         OPEN          Number          17097433ZZS0512        17145932        12/15/2003      12/31/2005       LITTLETON        CO                  United States    Yes
                                                                                                  License
                                                                                                  Confirmation
  CHAMPPS AMERICANA                              Standard            Active         OPEN          Number          17364014ZZS0603        17416907        03/01/2004      03/31/2006       LITTLETON        CO                  United States    Yes
                                                                                                  License
                                                                                                  Confirmation
  CHAMPPS AMERICANA                              Standard            Active         OPEN          Number          17873218ZZS0607        17922884        07/09/2004      07/31/2006       LITTLETON        CO                  United States    Yes
                                                                                                  License
                                                                                                  Confirmation
  CHAMPPS AMERICANA                              Standard            Active         OPEN          Number          17874161ZZS0607        17987075        07/27/2004      07/31/2006       LITTLETON        CO                  United States    Yes
                                                                                                  License
                                                                                                  Confirmation
  CHAMPPS AMERICANA                              Standard            Active         OPEN          Number          17874161ZZS0607        18413718        07/27/2004      07/31/2006       LITTLETON        CO                  United States    Yes
                                                                                                  License
                                                                                                  Confirmation
  CHAMPPS AMERICANA                              Standard            Active         OPEN          Number          18536266ZZS0612        18583434        12/30/2004      12/31/2006       LITTLETON        CO                  United States    Yes
                                                                                                  License
                                                                                                  Confirmation
  CHAMPPS AMERICANA                              Standard            Active         OPEN          Number          19661123ZZS0710        19704180        10/11/2005      10/31/2007       LITTLETON        CO                  United States    Yes
                                                                                                  License
                                                                                                  Confirmation
  CHAMPPS BURNSVILLE                             Standard            Active         OPEN          Number          18005068ZZS0608        18054230        08/16/2004      08/31/2006       BURNSVILLE       MN                  United States    Yes




License Agreements                                                                                                            1 of 3                                                                                                   © 2008 Microsoft Corporation
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                                                                                                                License /
                                                                                                                Enrollment /                                                                            Transaction
                                        License          Agreement   License    Agreement      Authorization /  Customer        Agreement     Agreement                                Country on       Associated with
  Customer Name on Agreement            Agreement Type   Status      Program    Type           Agreement Number Number          Start Date    End Date     City         State/Region   Agreement        Agreement?
                                                                                License
                                                                                Confirmation
  CHAMPPS ENTERTAINMENT                 Standard         Active      OPEN       Number         10613049ARS9903       10789683   01/06/1997    03/31/1999   WAYZATA      MN             United States    Yes
                                                                     Open
                                                                     License
  CHAMPPS ENTERTAINMENT INC             Corporate        Expired     Value      Agreement      2736047               2736047    05/23/2005    05/31/2008   LITTLETON    CO             United States    Yes
                                                                                License
                                                                                Confirmation
  CHAMPPS ENTERTAINMENT INC             Standard         Active      OPEN       Number         14560607ZZS0401       15314491   01/18/2002    01/31/2004   ENGLEWOOD    CO             United States    Yes
                                                                                License
                                                                                Confirmation
  CHAMPPS ENTERTAINMENT INC             Standard         Active      OPEN       Number         15068939ZZS0405       15131246   05/31/2002    05/31/2004   ENGLEWOOD    CO             United States    Yes
                                                                                License
                                                                                Confirmation
  CHAMPPS ENTERTAINMENT INC             Standard         Active      OPEN       Number         15205483ZZS0406       15257556   06/28/2002    06/30/2004   ENGLEWOOD    CO             United States    Yes
                                                                                License
                                                                                Confirmation
  CHAMPPS ENTERTAINMENT INC             Standard         Active      OPEN       Number         15205483ZZS0406       16106590   06/28/2002    06/30/2004   LETTLETON    CO             United States    Yes
                                                                                License
                                                                                Confirmation
  CHAMPPS ENTERTAINMENT INC             Standard         Active      OPEN       Number         17300109ZZS0602       17347909   02/11/2004    02/28/2006   LETTLETON    CO             United States    Yes
                                                                                License
                                                                                Confirmation
  CHAMPPS ENTERTAINMENT INC             Standard         Returned    OPEN       Number         14560607ZZS0401       14608667   01/18/2002    01/31/2004   ENGLEWOOD    CO             United States    Yes
                                                                                License
                                                                                Confirmation
  CHAMPPS ENTERTAINMENT INT             Standard         Active      OPEN       Number         16597366ZZS0507       16647585   07/23/2003    07/31/2005   LITTLETON    CO             United States    Yes
                                                                                License
                                                                                Confirmation
  CHAMPPS ENTERTAINMENT INT             Standard         Active      OPEN       Number         16597366ZZS0507       16649458   07/23/2003    07/31/2005   LITTLETON    CO             United States    Yes
                                                                                License
                                                                                Confirmation
  CHAMPP'S MAPLE GROVE                  Standard         Active      OPEN       Number         14566324ZZS0401       14615281   01/21/2002    01/31/2004   MAPLE GROVE MN              United States    Yes
                                                                                License
                                                                                Confirmation
  CHAMPPS MAPLEWOOD                     Standard         Active      OPEN       Number         15596797ZZS0410       15649541   10/02/2002    10/31/2004   MAPLEWOOD    MN             United States    Yes
                                                                                License
                                                                                Confirmation
  CHAMPPS ST. PAUL                      Standard         Active      OPEN       Number         15066234ZZS0406       15132190   06/04/2002    06/30/2004   ST. PAUL     MN             United States    Yes
                                                                                License
  CHAMPPSENTERTAINMENT        TERRACE                                           Confirmation                                                               GREENWOD
  TO                                    Standard         Active      OPEN       Number         11903611ARS0111       11933435   11/22/1999    11/30/2001   VIL          CO             United States    Yes
                                                                                License
                                                                                Confirmation
  CHAMPS BURNSVILLE                     Standard         Active      OPEN       Number         12806119ZZS0209       12843021   09/27/2000    09/30/2002   BURNSVILLE   MN             United States    Yes
                                                                                License
                                                                                Confirmation
  FOX & HOUND RESTAURANT GR             Standard         Active      OPEN       Number         61348389ZZS0811       41361802   11/17/2006    11/30/2008   WICHITA      KS             United States    Yes
                                                                                License
                                                                                Confirmation
  FOX & HOUND RESTAURANT GR             Standard         Active      OPEN       Number         61553322ZZS0812       41562716   12/27/2006    12/31/2008   WICHITA      KS             United States    Yes
                                                                                License
                                                                                Confirmation
  FOX &AMP HOUND RESTAURANT GRO         Standard         Active      OPEN       Number         19401282ZZS0708       19439744   08/03/2005    08/31/2007   WICHITA      KS             United States    Yes
                                                                                License
                                                                                Confirmation
  FOX AND HOUND RESTAURANT              Standard         Active      OPEN       Number         62806807ZZS0910       45779712   10/02/2007    10/31/2009   WICHITA      KS             United States    Yes
                                                                                License
                                                                                Confirmation
  FOX AND HOUND RESTAURANT              Standard         Active      OPEN       Number         63508061ZZS1002       46392131   02/20/2008    02/28/2010   WICHITA      KS             United States    Yes
                                                                                Standard
  Fox and Hound Restaurant Group        Corporate        Expired     Select 6   Enrollment     01S6Q994              4742202    09/22/2009    09/30/2012   Wichita      KS             United States    Yes
                                                                                Standard
  Fox and Hound Restaurant Group        Corporate        Expired     Select 6   Enrollment     01S6Q994              58836361   02/28/2011    09/30/2012   WICHITA      KS             United States    Yes


License Agreements                                                                                        2 of 3                                                                               © 2008 Microsoft Corporation
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                                                                                                            License /
                                                                                                            Enrollment /                                                                          Transaction
                                     License          Agreement   License   Agreement      Authorization /  Customer       Agreement     Agreement                               Country on       Associated with
  Customer Name on Agreement         Agreement Type   Status      Program   Type           Agreement Number Number         Start Date    End Date     City        State/Region   Agreement        Agreement?
                                                                            License
                                                                            Confirmation
  FOX AND HOUND RESTAURANT GROUP     Standard         Active      OPEN      Number         62806807ZZS0910      42820196   10/02/2007    10/31/2009   WICHITA     KS             United States    Yes
                                                                            License
                                                                            Confirmation
  FOX AND HOUND RESTAURANT GROUP     Standard         Active      OPEN      Number         62807105ZZS0910      42820212   10/02/2007    10/31/2009   WICHITA     KS             United States    Yes
                                                                            License
                                                                            Confirmation
  FOX AND HOUND RESTAURANT GROUP     Standard         Active      OPEN      Number         63508061ZZS1002      43518376   02/20/2008    02/28/2010   WICHITA     KS             United States    Yes
                                                                            License
                                                                            Confirmation
  TOTAL ENTERTAINMENT & RESTAURANT   Standard         Active      OPEN      Number         11095698AAS0011      11110093   11/24/1998    11/30/2000   WICHITA     KS             United States    Yes
                                                                            License
                                                                            Confirmation
  TOTAL ENTERTAINMENT RESTAURANT     Standard         Active      OPEN      Number         18536543ZZS0612      18584161   12/30/2004    12/31/2006   WICHITA     KS             United States    Yes
                                                                            License
                                                                            Confirmation
  UNIQUE CASUAL RESTAURANTS INC      Standard         Active      OPEN      Number         11497237AAS0106      11521506   06/29/1999    06/30/2001   DANVERS     MA             United States    Yes
                                                                            Standard
  Champps Entertainment              Corporate        Expired     HVMS      Enrollment     8496337              9843567    03/27/2007    03/31/2010   Englewood   CO             United States    No
                                                                            Standard
  Champps Entertainment (SPLA)       Corporate        Expired     HVMS      Enrollment     5125558              4355658    05/30/2007    05/31/2010   Littleton   CO             United States    No
                                                                            Standard
  Champps Entertainment (SPLA)       Corporate        Expired     SPLA      Enrollment     3535284              3894794    11/19/2004    11/30/2007   Littleton   CO             United States    No
                                                                            Standard
  Champps Entertainment              Corporate        Expired     SPLA      Enrollment     7095829              3275410    12/01/2001    11/30/2004   Englewood   CO             United States    No




License Agreements                                                                                   3 of 3                                                                              © 2008 Microsoft Corporation
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                                                                                                                    Microsoft License Statement Name: Newcastle Partners LP (Partial)


                               Microsoft              Volume                                                                                    Request ID: 66A6F2F2-CAF7-482E-B42A-
                                                                                                                                                            7DD0CF7882C4
                                                      Licensing
                                                                                                                        Calculation Date (YYYY/MM/DD): 2014/1/7
                                                                           Microsoft License Statement

Transaction Summary
  FAQ and Glossary

  The Transaction Summary tab provides a tabular summary of the Transaction Data tab contents. By default this tab is categorized by Product Family, License Version, Product Type,
  and License Program. The pivot table format allows you to organize the information into a customized format.


  The data contained is a summary ONLY of the Transaction Data tab information. Please refer to the License Summary tab for the calculated quantity of effective licenses.
  Pivot Table Filter options are available to enable additional filtering of the transaction quantities by License/Enrollment/Customer Number, Authorization/Agreement Number, Agreement
  Status, Customer Name, and Country of Usage.

       Using This Tab
       If there are questions about the quantities associated with a product version on the License Summary, the Transaction Summary pivot table can be used to quickly navigate to the
       relevant transaction data associated with that product version.
       For example: if there were an Unresolved Quantity of 10 Office Professional 2000 on the License Summary tab, the Transaction Summary tab could be used to navigate to all
       Office Professional 2000 transaction quantities. From the Transaction Summary tab, double clicking on a specific quantity causes a new tab (e.g. Sheet 1) to open with all relevant
       transaction data supporting that quantity. This detailed transaction data view may provide additional insight into the original transactions that were not resolved in the license
       summary calculation.
       Additionally, the Transaction Summary may be useful in reviewing past license acquisitions by subsidiary, country of usage, and agreement numbers. Use the Pivot Table Filter
       options to change the views of the transaction summaries.

       About Pivot Tables
                - A pivot table is an interactive table that quickly combines and compares data. The numerical data represents a sum of transaction quantities for the given column/row
                associated with that cell.
                - To view the details of that sum of transaction quantities, double click on the quantity within the cell. This will open a new tab with the transaction data details specific to that
                cell. This information is a filtered view of the Transaction Data tab.

                - To close the new tab that was launched, right click on the tab name and select Delete. For additional help on Pivot tables, refer to the Help within Microsoft Excel.

  Pivot Table Filter

  License / Enrollment / Customer Number            (All)
  Authorization / Agreement Number                  (All)
  Agreement Status                                  (All)
  Customer Name on Agreement                        (All)
  Country of Usage                                  (All)
                                                                                                                           License
  Sum of Transaction Quantity                                                                                              Program
                                                                                                                                               Open
                                                                                                                                               License
  License Product Family                    Product Family                   License Version Product Type                  Open                Value         Select 6
    Exchange Enterprise CAL without Services Exchange
    - Device                                  Enterprise CAL                    2010              Standard                                                                   129
    Exchange Enterprise CAL without Services Exchange
    - User CA                                 Enterprise CAL                    2010              Standard                                                                    53
                                              Exchange Server -
    Exchange Server - Standard                Standard                         2010               Standard                                                                      3
                                                                               2007               Standard                                 1
    Exchange Server Standard CAL - Device              Exchange Standard
    CAL                                                CAL                      2010              Standard                                                                   129
    Exchange Server Standard CAL - User                Exchange Standard
    CAL                                                CAL                     2010               Standard                                                                    53
                                                                               2007               Standard                                50
                                                                               2003               Standard                                21
    Forefront Threat Management Gateway               Forefront TMG
    Standard Editi                                    Standard                  2010              Standard                                                                      1
                                                      ISA Server
    ISA Server Standard - 1 Processor                 Standard Edtn            2000              Standard                                  1
    Lync                                              Lync                     2010              Standard                                                                     29
    Lync Server Enterprise - User CAL                 Lync Server Ent          2010              Standard                                                                      1
                                                      Lync Server Plus
    Lync Server Plus - User CAL                       CAL                      2010              Standard                                                                      4
    Lync Server Standard                              Lync Server Std          2010              Standard                                                                      1
    Lync Server Standard - User CAL                   Lync Server Std          2010              Standard                                                                     29
    Office Professional                               Office Professional      97                Version Upgrade                          67
                                                      Office Professional
                                                      Plus                     2007              Standard                                  5
    Office Standard                                   Office Standard          97                Standard                                 45
                                                                               2010              Standard                                                                    136
                                                                               2003              Standard                                 40
    Office Standard for Macintosh                     Office Mac Standard      2011              Standard                                                                       3
                                                      Sys Ctr Ops Mgr Clt
    Operations Manager - Client ML                    Mgmt Lic                 2007              Standard                                500
    Operations Manager Server                         Sys Ctr Ops Mgr Svr      2007              Standard                                  1
                                                                                                 License/Software
    Project                                            Project                  Non-specific     Assurance Pack                            4
                                                                                                 Upgrade Advantage                         1
                                                                               2002              Standard                                  1
    Publisher                                         Publisher                2003              Standard                                  1



Transaction Summary                                                                                 1 of 2                                                                   © 2008 Microsoft Corporation
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                                                                               License/Software
    SQL - User CAL                         SQL CAL              Non-specific   Assurance Pack              5
                                           SQL Server                          License/Software
    SQL Server - Enterprise                Enterprise Edition   Non-specific   Assurance Pack              1
                                           SQL Server
    SQL Server Standard - 1 Processor      Standard Edition     2008           Standard                                         2
                                           SQL Server Web
    SQL Server Web Edition                 Edition              2008 R2        Standard                                         1
                                           System Mgmt
   System Management Server - Enterprise   Server Enterprise    1.20           Standard                    1
   System Management Server Client ML      System Mgmt CAL      1.20           Standard                    5
                                           Visual Studio
   Visual Studio Professional Edition      Professional         2008           Standard                 1
   Windows                                 Win Pro              7              Upgrade                  1
   Windows Server - Device CAL             Windows Server       2003           Standard               387
                                           Windows Server
    Windows Server - Enterprise            Enterprise           2008 R2        Standard                                         1
                                                                2003           Standard                   1
   Windows Server - Standard               Windows 2000         2000           Standard                   7
                                           Windows Server                      License/Software
                                           Standard             Non-specific   Assurance Pack                       1
                                                                2008 R2        Standard                                      99
                                                                2008           Standard                                       2
                                                                2003           Standard                   2
                                           Windows Server                      License/Software
    Windows Server - User CAL              CAL                  Non-specific   Assurance Pack                       90
                                                                2008           Standard                                     663
                                                                2003           Standard                 5
   Windows Server CAL                      Windows 2000 CAL     2000           Standard               169
                                           Windows NT CAL       4.0            Standard                55
                                           Windows Server
    Windows Server Datacenter              Datacenter           2008 R2        Standard                                         6
                                           Windows Terminal
    Windows Terminal Server - Device CAL   Server CAL           2003           Standard                   40
                                           Windows Terminal
    Windows Terminal Server - User CAL     Server CAL           2003           Standard                   5




Transaction Summary                                                             2 of 2                                      © 2008 Microsoft Corporation
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                                                                                                Microsoft License Statement Name: Newcastle Partners LP (Partial)

           Microsoft             Volume                                                                                Request ID: 66A6F2F2-CAF7-482E-B42A-
                                                                                                                                   7DD0CF7882C4
                                 Licensing
                                                                                                      Calculation Date (YYYY/MM/DD): 2014/1/7


                                                                      Microsoft License Statement

License Summary
 FAQ and Glossary
 This License Summary tab provides the estimated volume license entitlements by product and version, any unresolved quantities, and the number of products covered by
 unexpired Software Assurance (SA) for your organization. The estimated license entitlements are based on the transaction details in the Transaction Data tab and the
 application of licensing rules and algorithms which apply the upgrade and maintenance type licenses to full base licenses. For, more information, please refer to the FAQ and
 Glossary tab.

      Country of Usage:
      Used to view the license summary for the specific country of usage of your choice. The table will automatically recalculate to show the estimated volume licen
      entitlements by product and version for the transactions associated with the selected country of usage. The default setting will be for all countries of usage.

      Effective License
                      p Quantity:                                                      y        p y                                                 g
      based on applying all upgrade and maintenance type licenses to full licenses acquired under two (2) and (3) year volume license agreements. This total is also comprised
      of Full License Types that do not require an underlying Base License for it's use. Examples of Full License Types are (Standard, License/Software Assurance, License
      Advantage)

      Upgrade License Quantity:
      These totals represent the number of Upgrade License Types that have not been applied against underlying licenses. An Upgrade License typically provides access to a specific version
      (e.g. Office 97, Exchange Server 2007) and does not provide floating version rights like Upgrade Licenses with Maintenance do. Quantities may exist in this column because there were
      underlying base licenses that were purchased outside of Volume Licensing Channel (e.g OEM, Retails). If that is the case the Upgrade License can be added to the Effective License

      Upgrade License Quantity (with Maintenance):

      These totals represent the number of Maintenance Type Licenses that have not been applied to underlying licenses. The License Types that comprise this Column provide
      new version rights to the Licensed Product Family throughout the term of the customer's Volume Licensing Agreement with Microsoft. Upgrade Licenses with Maintenance
      License Types include the following: (Maintenance, Software Assurance, Software Assurance Step Up, Upgrade Advantage). Quantities may be present in this column
      because there may be underlying Licenses that were acquired outside the Volume Licensing Channel (e.g OEM, Retail). If this is the case the Upgrade License with
      Maintenance Quantity can be added to the Effective License Quantity Column (up to the amount for which proof of the underlying license exists)

      For additional steps to reconcile these quantities, please refer to the FAQ and Glossary tab.

      Active SA Quantity:
      Shows the total Software Assurance (version upgrade protection) that has not expired at the date of this Microsoft License Statement. For more information on this
      column, please refer to the FAQ and Glossary.

 Country of Usage              All Countries

                                                                                                                                                                    Expiring SA

                                                                                    Effective     Upgrade             Upgrade License
                                                                                    License       License             Quantity (w/    Active SA     0 - 12          12 - 24
 Product Pool                  License Product Family               License Version Quantity      Quantity            Maintenance)    Quantity      Months          Months        > 24 Months
 Applications                  Lync                                 2010                       29                 0                 0             00                0                       0
                               Office Professional                  Plus 2007                   5                 0                 0             0             0   0                       0
                                                                    97                         45                22                 0             0             0   0                       0
                               Office Standard                      2010                      136                 0                 0             0             0   0                       0
                                                                    2003                       40                 0                 0             0             0   0                       0
                               Office Standard for Macintosh        2011                        3                 0                 0             0             0   0                       0
                               Project                              2003                        5                 0                 0             0             0   0                       0
                               Publisher                            2003                        1                 0                 0             0             0   0                       0

                               Visual Studio Professional Edition   2008                          1               0                 0             0             00                         0
                               Exchange Enterprise CAL without
 Servers                       Services - Device CAL                2010                        129               0                 0             0             00                         0
                               Exchange Enterprise CAL without
                               Services - User CAL                  2010                         53               0                 0             0             00                         0
                               Exchange Server - Standard           2010                          3               0                 0             0             00                         0
                                                                    2007                          1               0                 0             0             00                         0
                               Exchange Server Standard CAL -
                               Device CAL                     2010                              129               0                 0             0             00                         0
                               Exchange Server Standard CAL -
                               User CAL                       2010                               53               0                 0             0             00                         0
                                                              2007                               50               0                 0             0             00                         0
                                                              2003                               21               0                 0             0             00                         0
                               Forefront Threat Management
                               Gateway Standard Edition - Per
                               Processor                      2010                                1               0                 0             0             00                         0

                               ISA Server Standard - 1 Processor 2000                             1               0                 0             0             00                         0

                               Lync Server Enterprise - User CAL 2010                             1               0                 0             0             00                         0
                               Lync Server Plus - User CAL       2010                             4               0                 0             0             00                         0
                               Lync Server Standard              2010                             1               0                 0             0             00                         0

                               Lync Server Standard - User CAL 2010                              29               0                 0             0             0   0                      0
                               Operations Manager - Client ML 2007                              500               0                 0             0             0   0                      0
                               Operations Manager Server        2007                              1               0                 0             0             0   0                      0
                               SQL - User CAL                   2005                              5               0                 0             0             0   0                      0
                               SQL Server - Enterprise          2005                              1               0                 0             0             0   0                      0
                               SQL Server Standard - 1
                               Processor                        2008                              2               0                 0             0             00                         0
                               SQL Server Web Edition           2008 Release 2                    1               0                 0             0             00                         0
                               System Management Server -
                               Enterprise                       1.2                               1               0                 0             0             00                         0
                               System Management Server Client
                               ML                               1.2                               5               0                 0             0             0   0                      0
                               Windows Server - Device CAL      2003                            387               0                 0             0             0   0                      0
                               Windows Server - Enterprise      2008 Release 2                    1               0                 0             0             0   0                      0
                                                                2003                              1               0                 0             0             0   0                      0
                               Windows Server - Standard        2008 Release 2                   99               0                 0             0             0   0                      0
                                                                2008                              3               0                 0             0             0   0                      0
                                                                2003                              2               0                 0             0             0   0                      0
                                                                2000                              7               0                 0             0             0   0                      0
                               Windows Server - User CAL        2008                            753               0                 0             0             0   0                      0
                                                                2003                              5               0                 0             0             0   0                      0
                               Windows Server CAL               2000                            169               0                 0             0             0   0                      0
                                                                4.0                              55               0                 0             0             0   0                      0
                               Windows Server Datacenter        2008 Release 2                    6               0                 0             0             0   0                      0
                               Windows Terminal Server - Device
                               CAL                              2003                             40               0                 0             0             00                         0
                               Windows Terminal Server - User
                               CAL                              2003                              5               0                 0             0             00                         0
 Systems                       Windows                          7 Professional                    0               1                 0             0             00                         0




License Summary                                                                                                       1 of 1                                                                    © 2008 Microsoft Corporation
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               Schedule 2.1(t)
           Additional Purchased Assets
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                                         Schedule 2.1(t)

                                  Additional Purchased Assets

1. The assets of Sellers’ 401(k) plans will be transferred to the administrators of Buyer’s 401(k)
plan in a customary trustee-to-trustee transfer.

2. All inventory, supplies, Furniture and Equipment at the corporate offices located at (i) 19111
N. Dallas Parkway, Suite 120, Dallas, TX and (ii) 1551 N. Waterfront Parkway, Suite 310,
Wichita, KS.




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               Schedule 2.2(h)
            Additional Excluded Assets
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                                            Schedule 2.2(h)

                                       Additional Excluded Assets

1.         All Inventory, supplies, Furniture and Equipment at Restaurants (as defined in the
           Management Agreement) other than the Purchased Restaurants and Designation Rights
           Restaurants (as defined in the Management Agreement) and all such Inventory, supplies,
           Furniture and Equipment at the Designation Rights Restaurants that Buyer does not sell
           or remove prior to declaring the Designation Rights Restaurants as an Excluded Asset.

2.         The certain promissory notes issued by each of Steve Johnson, James Zielke, Kenneth
           Syvarth and Fran Vavala, in favor of the Company on March 15, 2012, in the principal
           amounts of $240,539, $155,139, $52,894 and $8,827, respectively.

3.         Any and all buildings, structures, related improvements, and personal property located at
           20021 Century Blvd., Germantown, MD 20874.

4.         See attached spreadsheet.

5.         Any contract not set forth in Schedule 1.1(b) (Purchased Contracts) or Schedule 2.7(c)
           (Designation Rights Contracts) shall be an Excluded Contract.




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FOX HOUND RESTAURANT GROUP                       BOND LIST




       Bond #              Obligee
    674012290   Arkansas Comm. of Rev.
    674013199   Orland Park, IL
    674013185   City of Aurora, IL
    674012291   KS Dept. of Revenue
    674012294   KS Dept. of Revenue
    674012295   State of Mississippi
    674013177   State of Tennessee
    674013184   State of Tennessee
    674013183   State of Tennessee
    674013198   State of Tennessee
    674013178   State of Tennessee
    674013180   State of Tennessee
    674013181   State of Tennessee
    674013179   State of Tennessee
    674015267   Texas Comptroller
    674013196   City of Richfield, Mn
    674013227   ABC-NY
    674013165   State of Oklahoma
    674012333   State of Oklahoma
    674012292   State of Oklahoma
    674012329   Nicor Gas
    674013173   Atmos Energy Corp.
    674012348   Progress Energy Carolina
    674013182   Duke Power
    674013176   EPB
    674015246   MidAmerica Energy Co
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               Schedule 2.4(a)
                   Assumed Liabilities
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                                             Schedule 2.4(a)

                                          Assumed Liabilities

1.         Accrued and unpaid postpetition trade payables of Sellers solely with respect to
           Purchased Assets or Designation Rights Assets.

2.         Accrued and unpaid postpetition rent of Sellers solely with respect to Real Property
           Leases that are Purchased Contracts or Designation Rights Assets.

3.         Accrued and unpaid postpetition utilities payable by Sellers solely with respect to
           Purchased Assets or Designation Rights Assets.

4.         Accrued and unpaid postpetition real estate taxes payable by Sellers solely with respect to
           Real Property Leases that are Purchased Contracts or Designation Rights Assets, but
           excluding Pre-Closing Property Reconciliation Costs.

5.         Accrued and unpaid postpetition credit card fees payable by Sellers solely to the extent
           deducted from outstanding deposits received post-Closing by Buyer.

6.         Accrued and unpaid workers compensation liabilities of Sellers.

7.         Accrued and unpaid vacation, sick leave and other paid time off solely for Buyer
           Employees.

8.         Outstanding uncleared checks of Sellers for the month of Closing solely for rent on Real
           Property Leases that are Purchased Assets or Designation Rights Assets.

9.         All obligations of Sellers to provide continuation health care coverage, to the extent
           required by and in accordance with Section 4980B of the Code and Sections 601 to 608,
           inclusive, of ERISA (“COBRA”), to Employees and former employees of Sellers (and
           their qualified beneficiaries) who left employment or otherwise experienced a COBRA
           qualifying event on or prior to the Closing Date and who retain a right to a benefit under
           any of the Benefit Plans subject to COBRA.




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                 Schedule 2.7(c)
              Designation Rights Assets
(Includes Designation Rights Contracts and Additional
              Designation Rights Assets)
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Designation rights contracts

  ID     Store Number               Debtor                    Contract Counter Party                     Type of Contract           Description of Contract
                        FOX & HOUND ENGLISH PUB &
   6        65043                                      DARLING INTERNATIONAL, INC.           SERVICE AGREEMENT               GREASE REMOVAL SERVICE
                        GRILLE
                        TENT RESTAURANT OPERATIONS,
  12        65071                                      ERCO                                  SERVICE AGREEMENT               GREASE REMOVAL SERVICE
                        INC
                        F & H RESTAURANTS OF TEXAS,
  19        65022                                      GRIFFIN INDUSTRIES                    SERVICE AGREEMENT               GREASE REMOVAL SERVICE
                        INC
                        TENT RESTAURANT OPERATIONS,
  23        65038                                      GRIFFIN INDUSTRIES                    SERVICE AGREEMENT               GREASE REMOVAL SERVICE
                        INC
                        FOX & HOUND OF OKLAHOMA,
  26        65064                                      GRIFFIN INDUSTRIES                    SERVICE AGREEMENT               GREASE REMOVAL SERVICE
                        INC
                        CHAMPPS OPERATING
  36        65233                                      VALLEY PROTEINS                       SERVICE AGREEMENT               GREASE REMOVAL SERVICE
                        CORPORATION
                                                                                                                             HVAC PREVENTATIVE MAINTENANCE
  44        65060       FOX & HOUND OF ILLINOIS        ALLIANCE MECHANICAL SERVICES          SERVICE AGREEMENT
                                                                                                                             CONTRACT
                        CHAMPPS OPERATING                                                                                    HVAC PREVENTATIVE MAINTENANCE
  50        65250                                      ALLIANCE MECHANICAL SERVICES          SERVICE AGREEMENT
                        CORPORATION                                                                                          CONTRACT
                                                                                                                             HVAC PREVENTATIVE MAINTENANCE
  58        65057       FOX & HOUND OF ARIZONA, INC.   COOL BREEZE AIR SOLUTIONS LLC         SERVICE AGREEMENT
                                                                                                                             CONTRACT
                        TENT RESTAURANT OPERATIONS,                                                                          HVAC PREVENTATIVE MAINTENANCE
  59        65080                                      CSI                                   SERVICE AGREEMENT
                        INC.                                                                                                 CONTRACT
                        TENT RESTAURANT OPERATIONS,                                                                          HVAC PREVENTATIVE MAINTENANCE
  60        65027                                      DENNYS HEATING AND COOLING            SERVICE AGREEMENT
                        INC.                                                                                                 CONTRACT
                        TENT RESTAURANT OPERATIONS,                                                                          HVAC PREVENTATIVE MAINTENANCE
  61        65038                                      DENNYS HEATING AND COOLING            SERVICE AGREEMENT
                        INC.                                                                                                 CONTRACT
                        TENT RESTAURANT OPERATIONS,                                                                          HVAC PREVENTATIVE MAINTENANCE
  62        65070                                      DENNYS HEATING AND COOLING            SERVICE AGREEMENT
                        INC.                                                                                                 CONTRACT
                                                                                                                             HVAC PREVENTATIVE MAINTENANCE
  65        65029       FOX & HOUND OF KANSAS, INC.    DT MECHANICAL SERVICE CO INC          SERVICE AGREEMENT
                                                                                                                             CONTRACT
                        CHAMPPS OPERATING                                                                                    HVAC PREVENTATIVE MAINTENANCE
  72        65204                                      G&R MECHANICAL INC                    SERVICE AGREEMENT
                        CORPORATION                                                                                          CONTRACT
                        CHAMPPS OPERATING                                                                                    HVAC PREVENTATIVE MAINTENANCE
  73        65230                                      G&R MECHANICAL INC                    SERVICE AGREEMENT
                        CORPORATION                                                                                          CONTRACT
                                                                                                                             HVAC PREVENTATIVE MAINTENANCE
  83        65043       F & H RESTAURANT OF TEXAS, INC. MY TECH TEXAS LLC                    SERVICE AGREEMENT
                                                                                                                             CONTRACT
                        TENT RESTAURANT OPERATIONS,                                                                          HVAC PREVENTATIVE MAINTENANCE
  88        65071                                      PUTNAM MECHANICAL INC                 SERVICE AGREEMENT
                        INC.                                                                                                 CONTRACT
                        TENT RESTAURANT OPERATIONS,    TEMPERATURE CONTROL MECHANICAL                                        HVAC PREVENTATIVE MAINTENANCE
  104       65067                                                                     SERVICE AGREEMENT
                        INC.                           SERVICES INC                                                          CONTRACT
                        CHAMPPS OPERATING              TEMPERATURE CONTROL MECHANICAL                                        HVAC PREVENTATIVE MAINTENANCE
  109       65226                                                                     SERVICE AGREEMENT
                        CORPORATION                    SERVICES INC                                                          CONTRACT
                        TENT RESTAURANT OPERATIONS,    WEST CHESTER MECHANICAL                                               HVAC PREVENTATIVE MAINTENANCE
  114       65061                                                                     SERVICE AGREEMENT
                        INC.                           CONTRACTORS INC                                                       CONTRACT
                                                                                                                             LOCATION OF CONTRACT: 9424 CIVIC
  121       65244       CHAMPPS ENTERTAINMENT, INC     CHAMPION ENERGY SERVICES, LLC         ELECTRICITY ENGERGY CONTRACT
                                                                                                                             CENTER BLVD, WEST CHESTER, OH 45069
                                                                                                                             LOCATION OF CONTRACT: 301 W BIG
  123       65217       CHAMPPS ENERTAINMENT INC       CONSTELLATION NEWENERGY GAS           NATURAL GAS ENGERGY CONTRACT
                                                                                                                             BEAVER RD, TROY, MI 48084
                        FOX AND HOUND RESTAURANT                                                                             LOCATION OF CONTRACT: 22099
  124       65038                                      CONSTELLATION NEWENERGY GAS           NATURAL GAS ENGERGY CONTRACT
                        GROUP                                                                                                MICHIGAN AVE, CANTON, MI 48124
                        FOX AND HOUND RESTAURANT                                                                             LOCATION OF CONTRACT: 1777 N
  125       65027                                      CONSTELLATION NEWENERGY GAS           NATURAL GAS ENGERGY CONTRACT
                        GROUP                                                                                                CANTON CENTER RD, DEARBORN, MI
                        FOX & HOUND RESTAURANT                                                                               LOCATION OF CONTRACT: 4320 E NEW
  127       65016                                      CONSTELLATION NEWENERGY INC           ELECTRICITY ENGERGY CONTRACT
                        GROUP                                                                                                YORK AVE, AURORA, IL 60504
                        FOX & HOUND RESTAURANT                                                                               LOCATION OF CONTRACT: 916 W
  128       65060                                      CONSTELLATION NEWENERGY INC           ELECTRICITY ENGERGY CONTRACT
                        GROUP                                                                                                DUNDEE RD, ARLINGTON HEIGHTS, IL
                        FOX & HOUND RESTAURANT                                                                               LOCATION OF CONTRACT: 918 W
  129       65060                                      CONSTELLATION NEWENERGY INC           ELECTRICITY ENGERGY CONTRACT
                        GROUP                                                                                                DUNDEE RD, ARLINGTON HEIGHTS, IL
                        FOX & HOUND RESTAURANT                                                                               LOCATION OF CONTRACT: 910 W
  130       65060                                      CONSTELLATION NEWENERGY INC           ELECTRICITY ENGERGY CONTRACT
                        GROUP                                                                                                DUNDEE RD, ARLINGTON HEIGHTS, IL
                        FOX & HOUND RESTAURANT                                                                               LOCATION OF CONTRACT: 1416 N
  131       65055                                      CONSTELLATION NEWENERGY INC           ELECTRICITY ENGERGY CONTRACT
                        GROUP                                                                                                ROSELLE RD, SCHAUMBURG, IL 60195
                        FOX & HOUND RESTAURANT                                                                               LOCATION OF CONTRACT: 370-420 W
  132       65076                                      CONSTELLATION NEWENERGY INC           ELECTRICITY ENGERGY CONTRACT
                        GROUP                                                                                                ARMY TRAIL RD, BLOOMINGDALE, IL
                        CHAMPPS OPERATING                                                                                    LOCATION OF CONTRACT: 819 EASTVIEW
  133       65248                                      CONSTELLATION NEWENERGY INC           ELECTRICITY ENGERGY CONTRACT
                        CORPORATION                                                                                          MALL, VICTOR, NY 14564
                        CHAMPPS OPERATING                                                                                    LOCATION OF CONTRACT: 330
  136       65230                                      CONSTELLATION NEWENERGY INC           ELECTRICITY ENGERGY CONTRACT
                        CORPORATION                                                                                          GODDARD, KING OF PRUSSIA, PA 19406
                                                                                                                             LOCATION OF CONTRACT: 1121
  137       65221       CHAMPPS ENTERTAINMENT INC      CONSTELLATION NEWENERGY INC           ELECTRICITY ENGERGY CONTRACT
                                                                                                                             UPTOWN PARK BLVD #1, HOUSTON, TX
                                                                                                                             LOCATION OF CONTRACT: 855 W JOHN
  138       65219       CHAMPPS ENTERTAINMENT INC      CONSTELLATION NEWENERGY INC           ELECTRICITY ENGERGY CONTRACT
                                                                                                                             CARPENTER FWY, IRVING, TX 75039
                                                                                                                             LOCATION OF CONTRACT: 1121
  139       65221       CHAMPPS ENTERTAINMENT INC      CONSTELLATION NEWENERGY INC           ELECTRICITY ENGERGY CONTRACT
                                                                                                                             UPTOWN PARK BLVD #1, HOUSTON, TX
                                                                                                                             LOCATION OF CONTRACT: 855 W JOHN
  140       65219       CHAMPPS ENTERTAINMENT INC      CONSTELLATION NEWENERGY INC           ELECTRICITY ENGERGY CONTRACT
                                                                                                                             CARPENTER FWY, IRVING, TX 75039
                        FOX AND HOUND RESTAURANT                                                                             LOCATION OF CONTRACT: 112 W
  142       65052                                      CONSTELLATION NEWENERGY INC           ELECTRICITY ENGERGY CONTRACT
                        GROUP                                                                                                CAMPBELL RD, RICHARDSON, TX 75080

                                                                         Designate_v3_to_print
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Designation rights contracts

  ID     Store Number               Debtor                   Contract Counter Party                   Type of Contract           Description of Contract
                        FOX AND HOUND RESTAURANT                                                                          LOCATION OF CONTRACT: 6051 SW
  143       65042                                     CONSTELLATION NEWENERGY INC         ELECTRICITY ENGERGY CONTRACT
                        GROUP                                                                                             LOOP 820, FORT WORTH, TX 76132
                        FOX AND HOUND RESTAURANT                                                                          LOCATION OF CONTRACT: 18918
  144       65008                                     CONSTELLATION NEWENERGY INC         ELECTRICITY ENGERGY CONTRACT
                        GROUP                                                                                             MIDWAY RD, DALLAS, TX 75287
                        FOX AND HOUND RESTAURANT                                                                          LOCATION OF CONTRACT: 1001 NE
  145       65004                                     CONSTELLATION NEWENERGY INC         ELECTRICITY ENGERGY CONTRACT
                        GROUP                                                                                             GREEN OAKS BLVD, STE 139,
                        FOX AND HOUND RESTAURANT                                                                          LOCATION OF CONTRACT: 11470
  147       65036                                     CONSTELLATION NEWENERGY INC         ELECTRICITY ENGERGY CONTRACT
                        GROUP                                                                                             WESTHEIMER RD, HOUSTON, TX 77077
                        FOX AND HOUND RESTAURANT                                                                          LOCATION OF CONTRACT: 12802 GULF
  148       65056                                     CONSTELLATION NEWENERGY INC         ELECTRICITY ENGERGY CONTRACT
                        GROUP                                                                                             FWY F, HOUSTON, TX 77034
                        FOX AND HOUND RESTAURANT                                                                          LOCATION OF CONTRACT: 12802 GULF
  149       65056                                     CONSTELLATION NEWENERGY INC         ELECTRICITY ENGERGY CONTRACT
                        GROUP                                                                                             FWY A, HOUSTON, TX 77034
                                                                                                                          LOCATION OF CONTRACT: 910 W
  150       65060       FOX & HOUND OF ILLINOIS INC   DIRECT ENERGY                       NATURAL GAS ENGERGY CONTRACT
                                                                                                                          DUNDEE RD, ARLINGTON HEIGHTS, IL
                        FOX & HOUND OF INDIANA, INC                                                                       LOCATION OF CONTRACT: 16165 S
  157       65250                                     DIRECT ENERGY                       NATURAL GAS ENGERGY CONTRACT
                        DBA CHAMPPS OPERATING                                                                             LAGRANGE RD, ORLAND PARK, IL 60467
                        CHAMPPS OPERATING                                                                                 LOCATION OF CONTRACT: 16165
  158       65250                                     DIRECT ENERGY                       ELECTRICITY ENGERGY CONTRACT
                        CORPORATION                                                                                       LAGRANGE RD, ORLAND PARK, IL 60467
                        CHAMPPS OPERATING                                                                                 LOCATION OF CONTRACT: 25 ROUTE 73
  162       65204                                     DIRECT ENERGY                       ELECTRICITY ENGERGY CONTRACT
                        CORPORATION                                                                                       S, MARLTON, NJ 08035
                                                                                                                          DIRECTV NATIONAL ACCOUNT
  164     CORPORATE     CHAMPS ENTERTAINMENT, INC     DIRECTV, LLC                        SERVICE AGREEMENT
                                                                                                                          COMMERCIAL VIEWING AGREEMENT
                        FOX & HOUND RESTAURANT                                                                            DIRECTV NATIONAL ACCOUNT
  165     CORPORATE                                   DIRECTV, LLC                        SERVICE AGREEMENT
                        GROUP                                                                                             COMMERCIAL VIEWING AGREEMENT
                                                                                                                          ECOLAB ACCT 014785992, COMPONENT
  166       65005       F&H RESTAURANTS OF TEXAS      ECOLAB INC                          EQUIPMENT LEASE AGREEMENT
                                                                                                                          ID ES2000, SERIAL NBR ES29032
                                                                                                                          ECOLAB ACCT 018086033, COMPONENT
  167       65003       TENT RESTAURANT OPERATIONS    ECOLAB INC                          EQUIPMENT LEASE AGREEMENT
                                                                                                                          ID ES2000, SERIAL NBR ES28321
                                                                                                                          ECOLAB ACCT 018086116, COMPONENT
  168       65007       TENT RESTAURANT OPERATIONS    ECOLAB INC                          EQUIPMENT LEASE AGREEMENT
                                                                                                                          ID ES2000, SERIAL NBR ES23498
                                                                                                                          ECOLAB ACCT 018086132, COMPONENT
  169       65009       TENT RESTAURANT OPERATIONS    ECOLAB INC                          EQUIPMENT LEASE AGREEMENT
                                                                                                                          ID ES2000, SERIAL NBR ES30537
                                                                                                                          ECOLAB ACCT 018086165, COMPONENT
  170       65010       TENT RESTAURANT OPERATIONS    ECOLAB INC                          EQUIPMENT LEASE AGREEMENT
                                                                                                                          ID ES2000, SERIAL NBR ES22946
                                                                                                                          ECOLAB ACCT 018086066, COMPONENT
  171       65002       N. COLLINS ENTERTAINMENT, LTD. ECOLAB INC                         EQUIPMENT LEASE AGREEMENT
                                                                                                                          ID ES2000, SERIAL NBR ES28049
                                                                                                                          ECOLAB ACCT 017993403, COMPONENT
  172       65027       TENT RESTAURANT OPERATIONS    ECOLAB INC                          EQUIPMENT LEASE AGREEMENT
                                                                                                                          ID ES2000, SERIAL NBR ES27258
                                                                                                                          ECOLAB ACCT 014660328, COMPONENT
  173       65004       N. COLLINS ENTERTAINMENT, LTD. ECOLAB INC                         EQUIPMENT LEASE AGREEMENT
                                                                                                                          ID ES2000, SERIAL NBR ES28745
                                                                                                                          ECOLAB ACCT 018465435, COMPONENT
  174       65039       FOX & HOUND OF OHIO           ECOLAB INC                          EQUIPMENT LEASE AGREEMENT
                                                                                                                          ID ES2000, SERIAL NBR ES22366
                                                                                                                          ECOLAB ACCT 017748732, COMPONENT
  175       65023       N. COLLINS ENTERTAINMENT, LTD. ECOLAB INC                         EQUIPMENT LEASE AGREEMENT
                                                                                                                          ID ES2000, SERIAL NBR ES11060
                                                                                                                          ECOLAB ACCT 018720086, COMPONENT
  176       65042       F&H RESTAURANTS OF TEXAS      ECOLAB INC                          EQUIPMENT LEASE AGREEMENT
                                                                                                                          ID ES2000, SERIAL NBR ES30559
                                                                                                                          ECOLAB ACCT 017560038, COMPONENT
  178       65035       FOX & HOUND OF INDIANA        ECOLAB INC                          EQUIPMENT LEASE AGREEMENT
                                                                                                                          ID ES2000, SERIAL NBR ES9012
                                                                                                                          ECOLAB ACCT 018993972, COMPONENT
  179       65231       CHAMPPS OF MARYLAND           ECOLAB INC                          EQUIPMENT LEASE AGREEMENT
                                                                                                                          ID WH44, SERIAL NBR J8195WH
                                                                                                                          ECOLAB ACCT 019039007, COMPONENT
  180       65205       CHAMPPS OPERATING CORP        ECOLAB INC                          EQUIPMENT LEASE AGREEMENT
                                                                                                                          ID WH44, SERIAL NBR J8378WH
                                                                                                                          ECOLAB ACCT 019039007, COMPONENT
  181       65205       CHAMPPS OPERATING CORP        ECOLAB INC                          EQUIPMENT LEASE AGREEMENT
                                                                                                                          ID BOOSTER, SERIAL NBR 3128910643
                                                                                                                          ECOLAB ACCT 019392950, COMPONENT
  184       65049       FOX & HOUND OF COLORADO       ECOLAB INC                          EQUIPMENT LEASE AGREEMENT
                                                                                                                          ID ES2000, SERIAL NBR ES140845
                                                                                                                          ECOLAB ACCT 018116921, COMPONENT
  185       65016       FOX & HOUND OF ILLINOIS       ECOLAB INC                          EQUIPMENT LEASE AGREEMENT
                                                                                                                          ID ES2000, SERIAL NBR ES23534
                                                                                                                          ECOLAB ACCT 015404254, COMPONENT
  186       65205       CHAMPPS OPERATING CORP        ECOLAB INC                          EQUIPMENT LEASE AGREEMENT
                                                                                                                          ID WH44, SERIAL NBR J9166WH
                                                                                                                          ECOLAB ACCT 018105262, COMPONENT
  187       65014       TENT RESTAURANT OPERATIONS    ECOLAB INC                          EQUIPMENT LEASE AGREEMENT
                                                                                                                          ID ES2000, SERIAL NBR ES28514
                                                                                                                          ECOLAB ACCT 019486729, COMPONENT
  188       65052       F&H RESTAURANTS OF TEXAS      ECOLAB INC                          EQUIPMENT LEASE AGREEMENT
                                                                                                                          ID ES2000, SERIAL NBR ES141923
                                                                                                                          ECOLAB ACCT 019557842, COMPONENT
  191       65055       FOX & HOUND OF ILLINOIS       ECOLAB INC                          EQUIPMENT LEASE AGREEMENT
                                                                                                                          ID ES2000, SERIAL NBR ES142473
                                                                                                                          ECOLAB ACCT 017407495, COMPONENT
  192       65036       F&H RESTAURANTS OF TEXAS      ECOLAB INC                          EQUIPMENT LEASE AGREEMENT
                                                                                                                          ID ES2000, SERIAL NBR ES38572
                                                                                                                          ECOLAB ACCT 019585896, COMPONENT
  193       65057       FOX & HOUND OF ARIZONA        ECOLAB INC                          EQUIPMENT LEASE AGREEMENT
                                                                                                                          ID ES4000, SERIAL NBR ES56377
                                                                                                                          ECOLAB ACCT 019303882, COMPONENT
  194       65043       F&H RESTAURANTS OF TEXAS      ECOLAB INC                          EQUIPMENT LEASE AGREEMENT
                                                                                                                          ID OMEGA 5, SERIAL NBR GW2249
                                                                                                                          ECOLAB ACCT 019599493, COMPONENT
  195       65056       F&H RESTAURANTS OF TEXAS      ECOLAB INC                          EQUIPMENT LEASE AGREEMENT
                                                                                                                          ID ES2000, SERIAL NBR ES26128
                                                                                                                          ECOLAB ACCT 017501230, COMPONENT
  200       65028       TENT RESTAURANT OPERATIONS    ECOLAB INC                          EQUIPMENT LEASE AGREEMENT
                                                                                                                          ID ES2000, SERIAL NBR ES145744

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  ID     Store Number               Debtor                   Contract Counter Party                  Type of Contract          Description of Contract
                                                                                                                        ECOLAB ACCT 019633674, COMPONENT
  201       65063       FOX & HOUND OF NEW MEXICO     ECOLAB INC                          EQUIPMENT LEASE AGREEMENT
                                                                                                                        ID ES2000, SERIAL NBR ES5176
                                                                                                                        ECOLAB ACCT 019664990, COMPONENT
  203       65250       CHAMPPS OPERATING CORP        ECOLAB INC                          EQUIPMENT LEASE AGREEMENT
                                                                                                                        ID WH44, SERIAL NBR J11218WH
                                                                                                                        ECOLAB ACCT 019662815, COMPONENT
  204       65070       TENT RESTAURANT OPERATIONS    ECOLAB INC                          EQUIPMENT LEASE AGREEMENT
                                                                                                                        ID ES4000, SERIAL NBR ES53226
                                                                                                                        ECOLAB ACCT 019668657, COMPONENT
  205       65073       FOX & HOUND OF NEW JERSEY     ECOLAB INC                          EQUIPMENT LEASE AGREEMENT
                                                                                                                        ID ES4000, SERIAL NBR ES54248
                                                                                                                        ECOLAB ACCT 019662813, COMPONENT
  206       65074       TENT RESTAURANT OPERATIONS    ECOLAB INC                          EQUIPMENT LEASE AGREEMENT
                                                                                                                        ID ES4000, SERIAL NBR ES52235
                                                                                                                        ECOLAB ACCT 019666475, COMPONENT
  207       65075       FOX & HOUND OF OKLAHMA        ECOLAB INC                          EQUIPMENT LEASE AGREEMENT
                                                                                                                        ID ES4000, SERIAL NBR ES57332
                                                                                                                        ECOLAB ACCT 019681953, COMPONENT
  208       65076       FOX & HOUND OF ILLINOIS       ECOLAB INC                          EQUIPMENT LEASE AGREEMENT
                                                                                                                        ID ES4000, SERIAL NBR ES57563
                                                                                                                        ECOLAB ACCT 019691827, COMPONENT
  210       65077       TENT RESTAURANT OPERATIONS    ECOLAB INC                          EQUIPMENT LEASE AGREEMENT
                                                                                                                        ID ES4000, SERIAL NBR ES55156
                                                                                                                        ECOLAB ACCT 016972671, COMPONENT
  213       65217       CHAMPPS OPERATING CORP        ECOLAB INC                          EQUIPMENT LEASE AGREEMENT
                                                                                                                        ID WH44, SERIAL NBR J10082WH
                                                                                                                        ECOLAB ACCT 017820390, COMPONENT
  216       65030       FOX & HOUND OF OHIO           ECOLAB INC                          EQUIPMENT LEASE AGREEMENT
                                                                                                                        ID ES2000, SERIAL NBR ES18565
                                                                                                                        ECOLAB ACCT 019713164, COMPONENT
  217       65080       TENT RESTAURANT OPERATIONS    ECOLAB INC                          EQUIPMENT LEASE AGREEMENT
                                                                                                                        ID ES4000, SERIAL NBR ES57706
                                                                                                                        ECOLAB ACCT 019725708, COMPONENT
  218       65083       TENT RESTAURANT OPERATIONS    ECOLAB INC                          EQUIPMENT LEASE AGREEMENT
                                                                                                                        ID ES4000, SERIAL NBR ES57804
                                                                                                                        ECOLAB ACCT 015176233, COMPONENT
  222       65203       CHAMPPS OPERATING CORP        ECOLAB INC                          EQUIPMENT LEASE AGREEMENT
                                                                                                                        ID WH44, SERIAL NBR J13277WH
                                                                                                                        ECOLAB ACCT 012634432, COMPONENT
  224       65209       CHAMPPS OPERATING CORP        ECOLAB INC                          EQUIPMENT LEASE AGREEMENT
                                                                                                                        ID WH44, SERIAL NBR J9269WH
                                                                                                                        ECOLAB ACCT 012634432, COMPONENT
  225       65209       CHAMPPS OPERATING CORP        ECOLAB INC                          EQUIPMENT LEASE AGREEMENT
                                                                                                                        ID BOOSTER, SERIAL NBR 8460421106
                                                                                                                        ECOLAB ACCT 016701054, COMPONENT
  227       65015       FOX & HOUND OF NEBRASKA       ECOLAB INC                          EQUIPMENT LEASE AGREEMENT
                                                                                                                        ID ES2000, SERIAL NBR ES25866
                                                                                                                        ECOLAB ACCT 018086066, COMPONENT
  229       65002       N. COLLINS ENTERTAINMENT, LTD. ECOLAB INC                         EQUIPMENT LEASE AGREEMENT
                                                                                                                        ID OMEGA 5, SERIAL NBR GW4443
                                                                                                                        ECOLAB ACCT 019762776, COMPONENT
  230       65087       TENT RESTAURANT OPERATIONS    ECOLAB INC                          EQUIPMENT LEASE AGREEMENT
                                                                                                                        ID ES4000, SERIAL NBR ES58243
                                                                                                                        ECOLAB ACCT 019761013, COMPONENT
  231       65088       TENT RESTAURANT OPERATIONS    ECOLAB INC                          EQUIPMENT LEASE AGREEMENT
                                                                                                                        ID ES4000, SERIAL NBR ES58206
                                                                                                                        ECOLAB ACCT 019764626, COMPONENT
  232       65089       TENT RESTAURANT OPERATIONS    ECOLAB INC                          EQUIPMENT LEASE AGREEMENT
                                                                                                                        ID ES4000, SERIAL NBR ES58086
                                                                                                                        ECOLAB ACCT 019768031, COMPONENT
  233       65091       FOX & HOUND OF OHIO           ECOLAB INC                          EQUIPMENT LEASE AGREEMENT
                                                                                                                        ID ES4000, SERIAL NBR ES54171
                                                                                                                        ECOLAB ACCT 018223149, COMPONENT
  235       65219       CHAMPPS ENTERTAINMENT OF TX ECOLAB INC                            EQUIPMENT LEASE AGREEMENT
                                                                                                                        ID WH44, SERIAL NBR J9000WH
                                                                                                                        ECOLAB ACCT 018223149, COMPONENT
  236       65219       CHAMPPS ENTERTAINMENT OF TX ECOLAB INC                            EQUIPMENT LEASE AGREEMENT
                                                                                                                        ID BOOSTER, SERIAL NBR 4339770739
                                                                                                                        ECOLAB ACCT 019779601, COMPONENT
  237       65093       FOX & HOUND PUB & GRILL       ECOLAB INC                          EQUIPMENT LEASE AGREEMENT
                                                                                                                        ID ES4000, SERIAL NBR ES55046
                                                                                                                        ECOLAB ACCT 017289281, COMPONENT
  238       65031       TENT RESTAURANT OPERATIONS    ECOLAB INC                          EQUIPMENT LEASE AGREEMENT
                                                                                                                        ID OMEGA 5, SERIAL NBR 06F205643
                                                                                                                        ECOLAB ACCT 019807571, COMPONENT
  239       65093       TENT RESTAURANT OPERATIONS    ECOLAB INC                          EQUIPMENT LEASE AGREEMENT
                                                                                                                        ID ES2000, SERIAL NBR ES25271
                                                                                                                        ECOLAB ACCT 019725708, COMPONENT
  240       65083       TENT RESTAURANT OPERATIONS    ECOLAB INC                          EQUIPMENT LEASE AGREEMENT
                                                                                                                        ID OMEGA 5, SERIAL NBR GW4140
                                                                                                                        ECOLAB ACCT 019302520, COMPONENT
  241       65047       TENT RESTAURANT OPERATIONS    ECOLAB INC                          EQUIPMENT LEASE AGREEMENT
                                                                                                                        ID OMEGA 5, SERIAL NBR GW2887
                                                                                                                        ECOLAB ACCT 019691827, COMPONENT
  242       65077       TENT RESTAURANT OPERATIONS    ECOLAB INC                          EQUIPMENT LEASE AGREEMENT
                                                                                                                        ID OMEGA 5, SERIAL NBR GW3805
                                                                                                                        ECOLAB ACCT 019662815, COMPONENT
  243       65070       TENT RESTAURANT OPERATIONS    ECOLAB INC                          EQUIPMENT LEASE AGREEMENT
                                                                                                                        ID OMEGA 5, SERIAL NBR 07A216907
                                                                                                                        ECOLAB ACCT 015327547, COMPONENT
  244       65204       N. COLLINS ENTERTAINMENT, LTD. ECOLAB INC                         EQUIPMENT LEASE AGREEMENT
                                                                                                                        ID WH44, SERIAL NBR 06G207646
                                                                                                                        ECOLAB ACCT 019302520, COMPONENT
  245       65047       TENT RESTAURANT OPERATIONS    ECOLAB INC                          EQUIPMENT LEASE AGREEMENT
                                                                                                                        ID ES2000, SERIAL NBR ES22691
                                                                                                                        ECOLAB ACCT 019768031, COMPONENT
  248       65091       FOX & HOUND OF OHIO           ECOLAB INC                          EQUIPMENT LEASE AGREEMENT
                                                                                                                        ID OMEGA 5, SERIAL NBR 07G223781
                                                                                                                        ECOLAB ACCT 017723644, COMPONENT
  249       65006       TENT RESTAURANT OPERATIONS    ECOLAB INC                          EQUIPMENT LEASE AGREEMENT
                                                                                                                        ID ES2000, SERIAL NBR 07G225154
                                                                                                                        ECOLAB ACCT 019644310, COMPONENT
  252       65066       TENT RESTAURANT OPERATIONS    ECOLAB INC                          EQUIPMENT LEASE AGREEMENT
                                                                                                                        ID ES4000CD, SERIAL NBR ES57584
                                                                                                                        ECOLAB ACCT 018086215, COMPONENT
  254       65022       F&H RESTAURANTS OF TEXAS      ECOLAB INC                          EQUIPMENT LEASE AGREEMENT
                                                                                                                        ID ES2000, SERIAL NBR ES145015
                                                                                                                        ECOLAB ACCT 019661356, COMPONENT
  256       65071       TENT RESTAURANT OPERATIONS    ECOLAB INC                          EQUIPMENT LEASE AGREEMENT
                                                                                                                        ID ES4000, SERIAL NBR 06F206421
                                                                                                                        ECOLAB ACCT 018245191, COMPONENT
  257       65224       CHAMPPS OPERATING CORP        ECOLAB INC                          EQUIPMENT LEASE AGREEMENT
                                                                                                                        ID ES4400, SERIAL NBR J4488

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  ID     Store Number               Debtor                 Contract Counter Party                  Type of Contract          Description of Contract
                                                                                                                      ECOLAB ACCT 017876780, COMPONENT
  258       65222       CHAMPPS OPERATING CORP       ECOLAB INC                         EQUIPMENT LEASE AGREEMENT
                                                                                                                      ID ES4400 CS, SERIAL NBR 08F238301
                                                                                                                      ECOLAB ACCT 016751513, COMPONENT
  260       65216       CHAMPPS OPERATING CORP       ECOLAB INC                         EQUIPMENT LEASE AGREEMENT
                                                                                                                      ID WH44D, SERIAL NBR 08J243406
                                                                                                                      ECOLAB ACCT 016583494, COMPONENT
  262       65215       CHAMPPS OPERATING CORP       ECOLAB INC                         EQUIPMENT LEASE AGREEMENT
                                                                                                                      ID OMEGA 5, SERIAL NBR 07C218517
                                                                                                                      ECOLAB ACCT 016185407, COMPONENT
  263       65213       CHAMPPS OPERATING CORP       ECOLAB INC                         EQUIPMENT LEASE AGREEMENT
                                                                                                                      ID WH44D, SERIAL NBR 09E248477
                                                                                                                      ECOLAB ACCT 016185407, COMPONENT
  264       65213       CHAMPPS OPERATING CORP       ECOLAB INC                         EQUIPMENT LEASE AGREEMENT
                                                                                                                      ID BOOSTER, SERIAL NBR 8480671107
                                                                                                                      ECOLAB ACCT 019653860, COMPONENT
  265       65069       FOX & HOUND OF KANSAS        ECOLAB INC                         EQUIPMENT LEASE AGREEMENT
                                                                                                                      ID OMEGA 5, SERIAL NBR 06D201953
                                                                                                                      ECOLAB ACCT 019603656, COMPONENT
  267       65059       FOX & HOUND OF COLORADO      ECOLAB INC                         EQUIPMENT LEASE AGREEMENT
                                                                                                                      ID ES2000, SERIAL NBR ES149267
                                                                                                                      ECOLAB ACCT 017876780, COMPONENT
  268       65222       CHAMPPS OPERATING CORP       ECOLAB INC                         EQUIPMENT LEASE AGREEMENT
                                                                                                                      ID OMEGA 5, SERIAL NBR 07D219568
                                                                                                                      ECOLAB ACCT 018086132, COMPONENT
  269       65009       TENT RESTAURANT OPERATIONS   ECOLAB INC                         EQUIPMENT LEASE AGREEMENT
                                                                                                                      ID OMEGA 5, SERIAL NBR 08D236525
                                                                                                                      ECOLAB ACCT 018086033, COMPONENT
  270       65003       TENT RESTAURANT OPERATIONS   ECOLAB INC                         EQUIPMENT LEASE AGREEMENT
                                                                                                                      ID OMEGA 5, SERIAL NBR 07K230773
                                                                                                                      ECOLAB ACCT 016289902, COMPONENT
  271       65212       CHAMPPS OPERATING CORP       ECOLAB INC                         EQUIPMENT LEASE AGREEMENT
                                                                                                                      ID WH44D, SERIAL NBR J9100WH
                                                                                                                      ECOLAB ACCT 019666475, COMPONENT
  272       65075       FOX & HOUND                  ECOLAB INC                         EQUIPMENT LEASE AGREEMENT
                                                                                                                      ID OMEGA 5, SERIAL NBR 08C235299
                                                                                                                      ECOLAB ACCT 018086199, COMPONENT
  273       65029       FOX & HOUND OF KANSAS        ECOLAB INC                         EQUIPMENT LEASE AGREEMENT
                                                                                                                      ID OMEGA 5, SERIAL NBR GW3846
                                                                                                                      ECOLAB ACCT 019661356, COMPONENT
  274       65071       TENT RESTAURANT OPERATIONS   ECOLAB INC                         EQUIPMENT LEASE AGREEMENT
                                                                                                                      ID OMEGA 5, SERIAL NBR 09G249442
                                                                                                                      ECOLAB ACCT 017378738, COMPONENT
  275       65033       TENT RESTAURANT OPERATIONS   ECOLAB INC                         EQUIPMENT LEASE AGREEMENT
                                                                                                                      ID ES4000, SERIAL NBR ES52729
                                                                                                                      ECOLAB ACCT 019612930, COMPONENT
  277       65242       CHAMPPS OPERATING CORP       ECOLAB INC                         EQUIPMENT LEASE AGREEMENT
                                                                                                                      ID WH44D, SERIAL NBR J12803WH
                                                                                                                      ECOLAB ACCT 019612930, COMPONENT
  278       65242       CHAMPPS OPERATING CORP       ECOLAB INC                         EQUIPMENT LEASE AGREEMENT
                                                                                                                      ID BOOSTER, SERIAL NBR 7266381007
                                                                                                                      ECOLAB ACCT 018768655, COMPONENT
  279       65226       CHAMPPS OPERATING CORP       ECOLAB INC                         EQUIPMENT LEASE AGREEMENT
                                                                                                                      ID WH44D, SERIAL NBR J12611WH
                                                                                                                      ECOLAB ACCT 018768655, COMPONENT
  280       65226       CHAMPPS OPERATING CORP       ECOLAB INC                         EQUIPMENT LEASE AGREEMENT
                                                                                                                      ID BOOSTER, SERIAL NBR 3618470711
                                                                                                                      ECOLAB ACCT 019779601, COMPONENT
  281       65092       TENT RESTAURANT OPERATIONS   ECOLAB INC                         EQUIPMENT LEASE AGREEMENT
                                                                                                                      ID OMEGA 5, SERIAL NBR 07I227749
                                                                                                                      ECOLAB ACCT 019603565, COMPONENT
  282       65060       FOX & HOUND OF ILLINOIS      ECOLAB INC                         EQUIPMENT LEASE AGREEMENT
                                                                                                                      ID ES2000, SERIAL NBR ES20640
                                                                                                                      ECOLAB ACCT 018086199, COMPONENT
  284       65029       FOX & HOUND OF KANSAS        ECOLAB INC                         EQUIPMENT LEASE AGREEMENT
                                                                                                                      ID ES2000, SERIAL NBR ES8035A
                                                                                                                      ECOLAB ACCT 017501230, COMPONENT
  285       65028       TENT RESTAURANT OPERATIONS   ECOLAB INC                         EQUIPMENT LEASE AGREEMENT
                                                                                                                      ID OMEGA 5, SERIAL NBR 08I241962
                                                                                                                      ECOLAB ACCT 018469098, COMPONENT
  287       65038       TENT RESTAURANT OPERATIONS   ECOLAB INC                         EQUIPMENT LEASE AGREEMENT
                                                                                                                      ID ES2000, SERIAL NBR ES147781
                                                                                                                      ECOLAB ACCT 019392950, COMPONENT
  288       65049       FOX & HOUND OF COLORADO      ECOLAB INC                         EQUIPMENT LEASE AGREEMENT
                                                                                                                      ID OMEGA 5, SERIAL NBR 23OK100140
                                                                                                                      ECOLAB ACCT 019611235, COMPONENT
  289       65244       CHAMPPS OPERATING CORP       ECOLAB INC                         EQUIPMENT LEASE AGREEMENT
                                                                                                                      ID EC44, SERIAL NBR 85DM100035
                                                                                                                      ECOLAB ACCT 018469098, COMPONENT
  290       65038       TENT RESTAURANT OPERATIONS   ECOLAB INC                         EQUIPMENT LEASE AGREEMENT
                                                                                                                      ID ET1-30, SERIAL NBR 07D220563
                                                                                                                      ECOLAB ACCT 015404254, COMPONENT
  292       65205       CHAMPPS OPERATING CORP       ECOLAB INC                         EQUIPMENT LEASE AGREEMENT
                                                                                                                      ID OMEGA 5, SERIAL NBR 23OM100344
                                                                                                                      ECOLAB ACCT 019764626, COMPONENT
  293       65089       TENT RESTAURANT OPERATIONS   ECOLAB INC                         EQUIPMENT LEASE AGREEMENT
                                                                                                                      ID OMEGA 5, SERIAL NBR GW2748
                                                                                                                      ECOLAB ACCT 019599493, COMPONENT
  294       65056       F&H RESTAURANTS OF TEXAS     ECOLAB INC                         EQUIPMENT LEASE AGREEMENT
                                                                                                                      ID OMEGA 5, SERIAL NBR 23OL100255
                                                                                                                      ECOLAB ACCT 016583494, COMPONENT
  296       65215       CHAMPPS OPERATING CORP       ECOLAB INC                         EQUIPMENT LEASE AGREEMENT
                                                                                                                      ID WH44, SERIAL NBR 08C235528
                                                                                                                      ECOLAB ACCT 016583494, COMPONENT
  297       65215       CHAMPPS OPERATING CORP       ECOLAB INC                         EQUIPMENT LEASE AGREEMENT
                                                                                                                      ID BOOSTER, SERIAL NBR 8510371108
                                                                                                                      ECOLAB ACCT 012634432, COMPONENT
  303       65209       CHAMPPS OPERATING CORP       ECOLAB INC                         EQUIPMENT LEASE AGREEMENT
                                                                                                                      ID OMEGA 5, SERIAL NBR 23OC110559
                                                                                                                      ECOLAB ACCT 019761013, COMPONENT
  305       65088       TENT RESTAURANT OPERATIONS   ECOLAB INC                         EQUIPMENT LEASE AGREEMENT
                                                                                                                      ID OMEGA 5, SERIAL NBR 23OC110595
                                                                                                                      ECOLAB ACCT 019662813, COMPONENT
  306       65074       TENT RESTAURANT OPERATIONS   ECOLAB INC                         EQUIPMENT LEASE AGREEMENT
                                                                                                                      ID OMEGA 5, SERIAL NBR 23OC110573
                                                                                                                      ECOLAB ACCT 019259654, COMPONENT
  307       65233       CHAMPPS OPERATING CORP       ECOLAB INC                         EQUIPMENT LEASE AGREEMENT
                                                                                                                      ID WH44D, SERIAL NBR J11259WH
                                                                                                                      ECOLAB ACCT 019259654, COMPONENT
  308       65233       CHAMPPS OPERATING CORP       ECOLAB INC                         EQUIPMENT LEASE AGREEMENT
                                                                                                                      ID BOOSTER, SERIAL NBR 2208871225
                                                                                                                      ECOLAB ACCT 017491960, COMPONENT
  309       65225       CHAMPPS OPERATING CORP       ECOLAB INC                         EQUIPMENT LEASE AGREEMENT
                                                                                                                      ID WH44D, SERIAL NBR J11371WH

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  ID     Store Number               Debtor                   Contract Counter Party                  Type of Contract          Description of Contract
                                                                                                                        ECOLAB ACCT 017491960, COMPONENT
  310       65225       CHAMPPS OPERATING CORP        ECOLAB INC                          EQUIPMENT LEASE AGREEMENT
                                                                                                                        ID BOOSTER, SERIAL NBR 5087800813
                                                                                                                        ECOLAB ACCT 015481989, COMPONENT
  311       65210       CHAMPPS OPERATING CORP        ECOLAB INC                          EQUIPMENT LEASE AGREEMENT
                                                                                                                        ID ET44, SERIAL NBR 7123403
                                                                                                                        ECOLAB ACCT 018768655, COMPONENT
  312       65226       CHAMPPS OPERATING CORP        ECOLAB INC                          EQUIPMENT LEASE AGREEMENT
                                                                                                                        ID U-LT, SERIAL NBR W110626158
                                                                                                                        ECOLAB ACCT 017851494, COMPONENT
  315       65018       FOX & HOUND OF OHIO           ECOLAB INC                          EQUIPMENT LEASE AGREEMENT
                                                                                                                        ID ES2000, SERIAL NBR ES20346
                                                                                                                        ECOLAB ACCT 019585896, COMPONENT
  316       65057       FOX & HOUND OF ARIZONA        ECOLAB INC                          EQUIPMENT LEASE AGREEMENT
                                                                                                                        ID OMEGA 5, SERIAL NBR 23OE110863
                                                                                                                        ECOLAB ACCT 019603567, COMPONENT
  318       65061       TENT RESTAURANT OPERATIONS    ECOLAB INC                          EQUIPMENT LEASE AGREEMENT
                                                                                                                        ID ES2000 CS, SERIAL NBR C2166
                                                                                                                        ECOLAB ACCT 019713164, COMPONENT
  319       65080       TENT RESTAURANT OPERATIONS    ECOLAB INC                          EQUIPMENT LEASE AGREEMENT
                                                                                                                        ID OMEGA 5E, SERIAL NBR 23OB120134
                                                                                                                        ECOLAB ACCT 019557842, COMPONENT
  320       65055       FOX & HOUND OF ILLINOIS       ECOLAB INC                          EQUIPMENT LEASE AGREEMENT
                                                                                                                        ID OMEGA 5, SERIAL NBR 06I211365
                                                                                                                        ECOLAB ACCT 019630892, COMPONENT
  321       65064       FOX & HOUND OF OKLAHOMA       ECOLAB INC                          EQUIPMENT LEASE AGREEMENT
                                                                                                                        ID ES2000, SERIAL NBR ES11906
                                                                                                                        ECOLAB ACCT 019762776, COMPONENT
  322       65087       TENT RESTAURANT OPERATIONS    ECOLAB INC                          EQUIPMENT LEASE AGREEMENT
                                                                                                                        ID OMEGA 5, SERIAL NBR 07A216361
                                                                                                                        ECOLAB ACCT 019303882, COMPONENT
  323       65043       F&H RESTAURANTS OF TEXAS      ECOLAB INC                          EQUIPMENT LEASE AGREEMENT
                                                                                                                        ID XL2000, SERIAL NBR 11B261469
                                                                                                                        ECOLAB ACCT 018790311, COMPONENT
  324       65041       N. COLLINS ENTERTAINMENT, LTD. ECOLAB INC                         EQUIPMENT LEASE AGREEMENT
                                                                                                                        ID ES4000, SERIAL NBR ES52584
                                                                                                                        ECOLAB ACCT 018790311, COMPONENT
  325       65041       TENT RESTAURANT OPERATIONS    ECOLAB INC                          EQUIPMENT LEASE AGREEMENT
                                                                                                                        ID BOOSTER, SERIAL NBR 2066701220
                                                                                                                        ECOLAB ACCT 018790311, COMPONENT
  326       65041       TENT RESTAURANT OPERATIONS    ECOLAB INC                          EQUIPMENT LEASE AGREEMENT
                                                                                                                        ID OMEGA 5, SERIAL NBR GW2629
                                                                                                                        ECOLAB ACCT 019603656, COMPONENT
  327       65059       FOX & HOUND OF COLORADO       ECOLAB INC                          EQUIPMENT LEASE AGREEMENT
                                                                                                                        ID OMEGA 5E, SERIAL NBR 23OD120313
                                                                                                                        ECOLAB ACCT 018086165, COMPONENT
  328       65010       TENT RESTAURANT OPERATIONS    ECOLAB INC                          EQUIPMENT LEASE AGREEMENT
                                                                                                                        ID OMEGA 5, SERIAL NBR 10A252187
                                                                                                                        ECOLAB ACCT 019392927, COMPONENT
  329       65051       TENT RESTAURANT OPERATIONS    ECOLAB INC                          EQUIPMENT LEASE AGREEMENT
                                                                                                                        ID ES2000, SERIAL NBR ES21091A
                                                                                                                        ECOLAB ACCT 019681953, COMPONENT
  331       65076       FOX & HOUND OF ILLINOIS       ECOLAB INC                          EQUIPMENT LEASE AGREEMENT
                                                                                                                        ID OMEGA 5E, SERIAL NBR 23OG120651
                                                                                                                        ECOLAB ACCT 018086116, COMPONENT
  334       65007       TENT RESTAURANT OPERATIONS    ECOLAB INC                          EQUIPMENT LEASE AGREEMENT
                                                                                                                        ID OMEGA 5, SERIAL NBR GW3660
                                                                                                                        ECOLAB ACCT 019603567, COMPONENT
  335       65061       TENT RESTAURANT OPERATIONS    ECOLAB INC                          EQUIPMENT LEASE AGREEMENT
                                                                                                                        ID OMEGA 5E, SERIAL NBR 23OH120709
                                                                                                                        ECOLAB ACCT 018806182, COMPONENT
  336       65230       CHAMPPS OPERATING CORP        ECOLAB INC                          EQUIPMENT LEASE AGREEMENT
                                                                                                                        ID WH44D, SERIAL NBR 06E204076
                                                                                                                        ECOLAB ACCT 018806182, COMPONENT
  337       65230       CHAMPPS OPERATING CORP        ECOLAB INC                          EQUIPMENT LEASE AGREEMENT
                                                                                                                        ID BOOSTER, SERIAL NBR 8884551123
                                                                                                                        ECOLAB ACCT 019668657, COMPONENT
  338       65073       FOX & HOUND OF NEW JERSEY     ECOLAB INC                          EQUIPMENT LEASE AGREEMENT
                                                                                                                        ID DIEBEL, SERIAL NBR G121015165
                                                                                                                        ECOLAB ACCT 019259654, COMPONENT
  339       65233       CHAMPPS OPERATING CORP        ECOLAB INC                          EQUIPMENT LEASE AGREEMENT
                                                                                                                        ID OMEGA 5, SERIAL NBR 09B246126A
                                                                                                                        ECOLAB ACCT 019638429, COMPONENT
  340       65248       CHAMPPS OPERATING CORP        ECOLAB INC                          EQUIPMENT LEASE AGREEMENT
                                                                                                                        ID WH44D, SERIAL NBR 09I250406
                                                                                                                        ECOLAB ACCT 019653860, COMPONENT
  342       65069       FOX & HOUND OF KANSAS         ECOLAB INC                          EQUIPMENT LEASE AGREEMENT
                                                                                                                        ID ES2000, SERIAL NBR 10J258075
                                                                                                                        ECOLAB ACCT 017385220, COMPONENT
  344       65218       CHAMPPS OPERATING CORP        ECOLAB INC                          EQUIPMENT LEASE AGREEMENT
                                                                                                                        ID EC44, SERIAL NBR 85DL121376
                                                                                                                        ECOLAB ACCT 019486729, COMPONENT
  346       65052       F&H RESTAURANTS OF TEXAS      ECOLAB INC                          EQUIPMENT LEASE AGREEMENT
                                                                                                                        ID OMEGA 5E, SERIAL NBR 23OL120959
                                                                                                                        ECOLAB ACCT 019630892, COMPONENT
  347       65064       FOX & HOUND OF OKLAHOMA       ECOLAB INC                          EQUIPMENT LEASE AGREEMENT
                                                                                                                        ID OMEGA 5E, SERIAL NBR 23OM120978
                                                                                                                        ECOLAB ACCT 019603565, COMPONENT
  348       65060       FOX & HOUYND OF ILLINOIS      ECOLAB INC                          EQUIPMENT LEASE AGREEMENT
                                                                                                                        ID OMEGA 5, SERIAL NBR 06I211363
                                                                                                                        ECOLAB ACCT 015800956, COMPONENT
  349       65008       F&H RESTAURANTS OF TEXAS      ECOLAB INC                          EQUIPMENT LEASE AGREEMENT
                                                                                                                        ID OMEGA 5E, SERIAL NBR 23OA130024
                                                                                                                        ECOLAB ACCT 015800956, COMPONENT
  350       65008       F&H RESTAURANTS OF TEXAS      ECOLAB INC                          EQUIPMENT LEASE AGREEMENT
                                                                                                                        ID ES2000, SERIAL NBR 12J276691
                                                                                                                        ECOLAB ACCT 017289281, COMPONENT
  351       65031       TENT RESTAURANT OPERATIONS    ECOLAB INC                          EQUIPMENT LEASE AGREEMENT
                                                                                                                        ID ES2000, SERIAL NBR 13A278546
                                                                                                                        ECOLAB ACCT 019653267, COMPONENT
  355       65067       TENT RESTAURANT OPERATIONS    ECOLAB INC                          EQUIPMENT LEASE AGREEMENT
                                                                                                                        ID ES2000, SERIAL NBR ES145986
                                                                                                                        ECOLAB ACCT 017065236, COMPONENT
  356       65201       CHAMPPS OPERATING CORP        ECOLAB INC                          EQUIPMENT LEASE AGREEMENT
                                                                                                                        ID OMEGA 5E, SERIAL NBR 23OC130118
                                                                                                                        ECOLAB ACCT 016471351, COMPONENT
  358       65013       TENT RESTAURANT OPERATIONS    ECOLAB INC                          EQUIPMENT LEASE AGREEMENT
                                                                                                                        ID ES2000, SERIAL NBR 13D281031
                                                                                                                        ECOLAB ACCT 017065236, COMPONENT
  359       65201       CHAMPPS OPERATING CORP        ECOLAB INC                          EQUIPMENT LEASE AGREEMENT
                                                                                                                        ID EC44HH, SERIAL NBR 85DE110289
                                                                                                                        ECOLAB ACCT 019611235, COMPONENT
  360       65244       CHAMPPS OPERATING CORP        ECOLAB INC                          EQUIPMENT LEASE AGREEMENT
                                                                                                                        ID OMEGA 5E, SERIAL NBR 23OF130389

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  ID     Store Number               Debtor                    Contract Counter Party                     Type of Contract           Description of Contract
                                                                                                                             ECOLAB ACCT 019486729, COMPONENT
  361       65052       F&H RESTAURANTS OF TEXAS       ECOLAB INC                            EQUIPMENT LEASE AGREEMENT
                                                                                                                             ID OMEGA 5, SERIAL NBR 08A232487
                                                                                                                             ECOLAB ACCT 019653267, COMPONENT
  362       65067       TENT RESTAURANT OPERATIONS     ECOLAB INC                            EQUIPMENT LEASE AGREEMENT
                                                                                                                             ID OMEGA 5, SERIAL NBR 08L244881
                                                                                                                             ECOLAB ACCT 017385220, COMPONENT
  363       65218       CHAMPPS OPERATING CORP         ECOLAB INC                            EQUIPMENT LEASE AGREEMENT
                                                                                                                             ID OMEGA 5E, SERIAL NBR 23OG130492
                                                                                                                             ECOLAB ACCT 017401795, COMPONENT
  364       65032       FOX & HOUND OF LOUISIANA       ECOLAB INC                            EQUIPMENT LEASE AGREEMENT
                                                                                                                             ID ES2000, SERIAL NBR 13G283679
                                                                                                                             ECOLAB ACCT 017259052, COMPONENT
  365       65025       F&H RESTAURANTS OF TEXAS       ECOLAB INC                            EQUIPMENT LEASE AGREEMENT
                                                                                                                             ID ES2000, SERIAL NBR 13H284530
                                                                                                                             LOCATION OF CONTRACT: 819 EASTVIEW
  379       65248       CHAMPPS ENTERTAINMENT, INC     HESS CORP                             NATURAL GAS ENGERGY CONTRACT
                                                                                                                             MALL, VICTOR, NY 14564
                        CHAMPPS OPERATING                                                                                    LOCATION OF CONTRACT: 9424 CIVIC
  386       65244                                      IGS                                   NATURAL GAS ENGERGY CONTRACT
                        CORPORATION                                                                                          CENTER BLVD, WEST CHESTER, OH 45069
                        FOX & HOUND RESTAURANT                                                                               LOCATION OF CONTRACT: 4770
  387       65230                                      IGS                                   NATURAL GAS ENGERGY CONTRACT
                        GROUP                                                                                                EVERHARD RD NW, CANTON, OH 44718
                        FOX & HOUND RESTAURANT                                                                               LOCATION OF CONTRACT: 11581
  390       65067                                      IGS                                   NATURAL GAS ENGERGY CONTRACT
                        GROUP                                                                                                ROBIOUS RD, MIDLOTHIAN, VA 23113
                                                                                                                             LOCATION OF CONTRACT: 10428
  394       65029       FOX AND HOUND PUB AND GRILLE SEMINOLE ENERGY SERVICES LLC            NATURAL GAS ENGERGY CONTRACT
                                                                                                                             METCALF AVENUE, OVERLAND PARK, KS
                                                                                                                             LOCATION OF CONTRACT: 3031
  397       65064       FOX AND HOUND PUB AND GRILLE SEMINOLE ENERGY SERVICES LLC            NATURAL GAS ENGERGY CONTRACT
                                                                                                                             MEMORIAL, OKLAHOMA CITY, OK 73134
  398       65230       CHAMPPS OPERATING CORP         SPRAGUE ENERGY CORP                   NATURAL GAS ENGERGY CONTRACT
                        TENT RESTAURANT OPERATIONS,                                                                          LOCATION OF CONTRACT: 1501 SPRUCE
  399       65061                                      SPRAGUE ENERGY CORP                   NATURAL GAS ENGERGY CONTRACT
                        INC DBA THE FOX AND HOUND                                                                            ST, PHILADELPHIA, PA 19102
                        CHAMPPS OPERATING                                                                                    LOCATION OF CONTRACT: 330 GODDARD
  401       65230                                      SPRAGUE ENERGY CORP                   NATURAL GAS ENGERGY CONTRACT
                        CORPORATION                                                                                          BLVD, KING OF PRUSSIA, PA 19406
                                                                                                                             LOCATION OF CONTRACT: 25 ROUTE 73
  403       65204       CHAMPPS ENTERTAINMENT          SPRAGUE ENERGY CORP                   NATURAL GAS ENGERGY CONTRACT
                                                                                                                             SOUTH, EVESHAM TOWNSHIP, NJ 08053
                                                                                                                             LOCATION OF CONTRACT: 1201 S JOYCE
  408       65226       CHAMPPS OPERATING CORP         TIGER INC                             NATURAL GAS ENGERGY CONTRACT
                                                                                                                             ST #C10, PENTAGON, VA 22202
                        CHAMPPS OPERATING                                                                                    LOCATION OF CONTRACT: 10300 LITTLE
  414       65231                                      WGES                                  NATURAL GAS ENGERGY CONTRACT
                        CORPORATION                                                                                          PATUXENT PKWY, STE 3040, COLUMBIA,
                        CHAMPPS OPERATING                                                                                    LOCATION OF CONTRACT: 10300 LITTLE
  415       65231                                      WGES                                  ELECTRICITY ENGERGY CONTRACT
                        CORPORATION                                                                                          PATUXENT PKWY, STE 3040, COLUMBIA,
                                                                                                                             PURCHASING, WAREHOUSING &
  424     CORPORATE     F&H ACQUISITION CORP           EDWARD DON & COMPANY                  SERVICE AGREEMENT
                                                                                                                             DISTRIBUTION AGREEMENT
  520       65201       CHAMPPS SPORTS BAR             AC BEVERAGE INC                       SERVICE AGREEMENT               CO2 SERVICE AGREEMENT

  523       65209       CHAMPP'S                       AC BEVERAGE INC                       SERVICE AGREEMENT               CO2 SERVICE AGREEMENT

  529       65225       CHAMPP'S                       AC BEVERAGE INC                       SERVICE AGREEMENT               CO2 SERVICE AGREEMENT

  530       65226       CHAMPP'S                       AC BEVERAGE INC                       SERVICE AGREEMENT               CO2 SERVICE AGREEMENT

  531       65226       CHAMPP'S                       AC BEVERAGE INC                       SERVICE AGREEMENT               CO2 SERVICE AGREEMENT

  533       65231       CHAMPP'S                       AC BEVERAGE INC                       SERVICE AGREEMENT               CO2 SERVICE AGREEMENT

  534       65233       CHAMPP'S / NC                  AC BEVERAGE INC                       SERVICE AGREEMENT               CO2 SERVICE AGREEMENT

  540       65244       CHAMPP'S                       AC BEVERAGE INC                       SERVICE AGREEMENT               CO2 SERVICE AGREEMENT
                        F & H RESTAURANTS OF TEXAS,
  546       65022                                      ACFN                                  SERVICE AGREEMENT               ATM AGREEMENT
                        INC
                        F & H RESTAURANTS OF TEXAS,
  547       65025                                      ACFN                                  SERVICE AGREEMENT               ATM AGREEMENT
                        INC
                        TENT RESTAURANT OPERATIONS,
  550       65038                                      ACFN                                  SERVICE AGREEMENT               ATM AGREEMENT
                        INC
                        F & H RESTAURANTS OF TEXAS,
  552       65043                                      ACFN                                  SERVICE AGREEMENT               ATM AGREEMENT
                        INC
  556       65057       FOX & HOUND OF ARIZONA, INC    ACFN                                  SERVICE AGREEMENT               ATM AGREEMENT
                        FOX & HOUND ENGLISH PUB &     ADMIRAL LINEN & UNIFORM SERVICE
  559       65036                                                                            SERVICE AGREEMENT               LINEN SERVICES AGREEMENT
                        GRILLE                        INC
                                                      ADMIRAL LINEN & UNIFORM SERVICE
  560       65056       F&H RESTAURANTS OF TEXAS, INC                                        SERVICE AGREEMENT               LINEN SERVICES AGREEMENT
                                                      INC
                        NORTH CAROLINA FOX & HOUND,
  564       65071                                     ADVANCED ATM SYSTEMS                   SERVICE AGREEMENT               ATM AGREEMENT
                        INC
                        CHAMPPS OPERATING
  567       65213                                     ALSCO INC                              SERVICE AGREEMENT               LINEN SERVICES AGREEMENT
                        CORPORATION
                        CHAMPPS OPERATING
  569       65233                                     ALSCO INC                              SERVICE AGREEMENT               LINEN SERVICES AGREEMENT
                        CORPORATION
  572       65055       FOX & HOUND OF ILLINOIS, INC   ARAMARK UNIFORM SERVICES              SERVICE AGREEMENT               LINEN SERVICES AGREEMENT


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  ID     Store Number               Debtor                    Contract Counter Party                   Type of Contract           Description of Contract

  573       65060       FOX & HOUND OF ILLINOIS, INC   ARAMARK UNIFORM SERVICES            SERVICE AGREEMENT               LINEN SERVICES AGREEMENT

  574       65016       FOX & HOUND OF ILLINOIS, INC   ARAMARK UNIFORM SERVICES            SERVICE AGREEMENT               LINEN SERVICES AGREEMENT
                        FOX & HOUND OF OKLAHOMA,
  575       65064                                      ARAMARK UNIFORM SERVICES            SERVICE AGREEMENT               LINEN SERVICES AGREEMENT
                        INC
  576       65015       FOX & HOUND OF NEBRASKA, INC ARAMARK UNIFORM SERVICES              SERVICE AGREEMENT               LINEN SERVICES AGREEMENT

  578       65057       FOX & HOUND OF ARIZONA, INC    ARAMARK UNIFORM SERVICES            SERVICE AGREEMENT               LINEN SERVICES AGREEMENT

  580       65029       FOX & HOUND OF KANSAS, INC     ARAMARK UNIFORM SERVICES            SERVICE AGREEMENT               LINEN SERVICES AGREEMENT

  581       65069       FOX & HOUND OF KANSAS, INC     ARAMARK UNIFORM SERVICES            SERVICE AGREEMENT               LINEN SERVICES AGREEMENT

  582       65032       FOX & HOUND OF LOUISIANA, INC ARAMARK UNIFORM SERVICES             SERVICE AGREEMENT               LINEN SERVICES AGREEMENT
                        FOX & HOUND OF OKLAHOMA,
  583       65075                                      ARAMARK UNIFORM SERVICES            SERVICE AGREEMENT               LINEN SERVICES AGREEMENT
                        INC
  585       65049       FOX & HOUND OF COLORADO, INC ARAMARK UNIFORM SERVICES              SERVICE AGREEMENT               LINEN SERVICES AGREEMENT

  586       65059       FOX & HOUND OF COLORADO, INC ARAMARK UNIFORM SERVICES              SERVICE AGREEMENT               LINEN SERVICES AGREEMENT

  587       65092       FOX & HOUND OF COLORADO, INC ARAMARK UNIFORM SERVICES              SERVICE AGREEMENT               LINEN SERVICES AGREEMENT
                        CHAMPPS OPERATING
  588       65219                                      ARAMARK UNIFORM SERVICES            SERVICE AGREEMENT               LINEN SERVICES AGREEMENT
                        CORPORATION
  589       65043       F&H RESTAURANTS OF TEXAS, INC ARAMARK UNIFORM SERVICES             SERVICE AGREEMENT               LINEN SERVICES AGREEMENT
                        TENT RESTAURANT OPERATIONS,
  593       65070                                      ATM OF AMERICA INC                  SERVICE AGREEMENT               ATM AGREEMENT
                        INC
                        FOX & HOUND RESTAURANT
  602       65029                                      CHOICE ATM ENTERPRISES              SERVICE AGREEMENT               ATM AGREEMENT
                        GROUP/TOTAL ENTERTAINMENT
                        FOX & HOUND
  603       65061                                      CHOICE ATM ENTERPRISES              SERVICE AGREEMENT               ATM AGREEMENT
                        RESTAURANT/TOTAL
                        TENT RESTAURANT OPERATIONS,
  604       65067                                      CHOICE ATM ENTERPRISES              SERVICE AGREEMENT               ATM AGREEMENT
                        INC
  608       65039       FOX & HOUND                    CINTAS CORPORATION                  SERVICE AGREEMENT               LINEN SERVICES AGREEMENT
                        TENT RESTAURANT OPERATIONS,
  609       65041                                      CINTAS CORPORATION                  SERVICE AGREEMENT               LINEN SERVICES AGREEMENT
                        INC
                        TENT RESTAURANT OPERATIONS,
  611       65070                                      CINTAS CORPORATION                  SERVICE AGREEMENT               LINEN SERVICES AGREEMENT
                        INC
                        FOX & HOUND OF NEW JERSEY,
  612       65073                                      CINTAS CORPORATION                  SERVICE AGREEMENT               LINEN SERVICES AGREEMENT
                        INC
                        FOX & HOUND OF SA DBA FOX &    CITY PUBLIC SERVICE OF SAN ANTONIO,
  614       65022                                                                          SERVICE AGREEMENT               NATURAL GAS AGREEMENT
                        HOUND ENGLISH PUB              TX
                        FOX & HOUND OF OKLAHOMA,
  616       65064                                      COMMERCIAL LINEN SUPPLY INC         SERVICE AGREEMENT               LINEN SERVICES AGREEMENT
                        INC
                        CHAMPPS OPERATING
  618       65215                                      COSMOPOLITAN TEXTILE                SERVICE AGREEMENT               LINEN SERVICES AGREEMENT
                        CORPORATION
                        CHAMPPS OPERATING
  619       65222                                      COSMOPOLITAN TEXTILE                SERVICE AGREEMENT               LINEN SERVICES AGREEMENT
                        CORPORATION
                        CHAMPPS OPERATING
  622       65250                                      COSMOPOLITAN TEXTILE                SERVICE AGREEMENT               LINEN SERVICES AGREEMENT
                        CORPORATION
  635       65038       FOX & HOUND OF MICHIGAN, INC DETROIT EDISON                        SERVICE AGREEMENT               ELECTRIC SERVICE AGREEMENT

  638       65007       FOX & HOUND                    ECOLAB INC                          SERVICE AGREEMENT               PEST CONTROL
                        TENT RESTAURANT OPERATIONS,
  639       65032                                      ECOLAB INC                          SERVICE AGREEMENT               PEST CONTROL
                        INC
  640       65061       FOX & HOUND                    ECOLAB INC                          SERVICE AGREEMENT               PEST CONTROL
                        TENT RESTAURANT OPERATIONS,
  642       65027                                      ELITE BANK CARD SOLUTIONS           SERVICE AGREEMENT               ATM AGREEMENT
                        INC
                        CHAMPPS OPERATING
  645       65201                                      G&K SERVICES                        SERVICE AGREEMENT               LINEN SERVICES AGREEMENT
                        CORPORATION
                        CHAMPPS OPERATING
  646       65209                                      G&K SERVICES                        SERVICE AGREEMENT               LINEN SERVICES AGREEMENT
                        CORPORATION
                        CHAMPPS OPERATING
  647       65225                                      G&K SERVICES                        SERVICE AGREEMENT               LINEN SERVICES AGREEMENT
                        CORPORATION
                        F & H RESTAURANTS OF TEXAS,
  659       65043                                      GMR MARKETING LLC                   ENTERTAINMENT AGREEMENT         MARLBORO PROMOTION NIGHTS
                        INC
                        TENT RESTAURANT
  670       65080                                      KMD LINEN SERVICE CO INC            SERVICE AGREEMENT               LINEN SERVICES AGREEMENT
                        OPERATIONS,INC
  672       65070       FOX & HOUND OF MICHIGAN, INC LEONARDS SYRUPS INC                   SERVICE AGREEMENT               CO2 SERVICE AGREEMENT


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  ID     Store Number               Debtor                    Contract Counter Party                    Type of Contract          Description of Contract
                        CHAMPPS OPERATING
  675       65204                                      LINENS OF THE WEEK                  SERVICE AGREEMENT               LINEN SERVICES AGREEMENT
                        CORPORATION
                        CHAMPPS OPERATING
  677       65226                                      LINENS OF THE WEEK                  SERVICE AGREEMENT               LINEN SERVICES AGREEMENT
                        CORPORATION
                        CHAMPPS OPERATING
  678       65230                                      LINENS OF THE WEEK                  SERVICE AGREEMENT               LINEN SERVICES AGREEMENT
                        CORPORATION
                        CHAMPPS OPERATING
  682       65253                                      LINENS OF THE WEEK                  SERVICE AGREEMENT               LINEN SERVICES AGREEMENT
                        CORPORATION
                        CHAMPPS OPERATING              MAURER'S TEXTILE RENTAL SERVICES
  687       65216                                                                          SERVICE AGREEMENT               LINEN SERVICES AGREEMENT
                        CORPORATION                    INC
                        CHAMPPS OPERATING              MAURER'S TEXTILE RENTAL SERVICES
  688       65217                                                                          SERVICE AGREEMENT               LINEN SERVICES AGREEMENT
                        CORPORATION                    INC
                        CHAMPPS OPERATING              MAURER'S TEXTILE RENTAL SERVICES
  689       65224                                                                          SERVICE AGREEMENT               LINEN SERVICES AGREEMENT
                        CORPORATION                    INC
                        CHAMPPS OPERATING              MAURER'S TEXTILE RENTAL SERVICES
  691       65242                                                                          SERVICE AGREEMENT               LINEN SERVICES AGREEMENT
                        CORPORATION                    INC
                        TENT RESTAURANT
  696       65071                                      NATIONAL WELDERS SUPPLY CO INC      SERVICE AGREEMENT               CO2 SERVICE AGREEMENT
                        OPERATIONS,INC
  697       65233       CHAMPPS AMERICANA              NATIONAL WELDERS SUPPLY CO INC      SERVICE AGREEMENT               CO2 SERVICE AGREEMENT
                                                                                                                           ENTERTAINMENT - GAME PADS
  706       65060       FOX & HOUND OF ILLINOIS, INC   NTN BUZZTIME INC                    SERVICE AGREEMENT
                                                                                                                           AGREEMENT
                        FOX & HOUND OF SAN ANTONIO,                                                                        ENTERTAINMENT - GAME PADS
  717       65022                                      NTN BUZZTIME INC                    SERVICE AGREEMENT
                        LTD.                                                                                               AGREEMENT
                        FOX & HOUND OF FORT WORTH,                                                                         ENTERTAINMENT - GAME PADS
  720       65043                                      NTN BUZZTIME INC                    SERVICE AGREEMENT
                        LTD.                                                                                               AGREEMENT
                        F & H RESTAURANTS OF TEXAS,
  730       65022                                      NUCO2 LLC                           SERVICE AGREEMENT               CO2 SERVICE AGREEMENT
                        INC
  732       65029       FOX & HOUND OF KANSAS, INC     NUCO2 LLC                           SERVICE AGREEMENT               CO2 SERVICE AGREEMENT
                        F & H RESTAURANTS OF TEXAS,
  735       65043                                      NUCO2 LLC                           SERVICE AGREEMENT               CO2 SERVICE AGREEMENT
                        INC
                        F & H RESTAURANTS OF TEXAS,
  736       65043                                      NUCO2 LLC                           SERVICE AGREEMENT               CO2 SERVICE AGREEMENT
                        INC
  740       65057       FOX & HOUND OF ARIZONA, INC    NUCO2 LLC                           SERVICE AGREEMENT               CO2 SERVICE AGREEMENT
                        FOX & HOUND OF OKLAHOMA,
  741       65064                                      NUCO2 LLC                           SERVICE AGREEMENT               CO2 SERVICE AGREEMENT
                        INC
  756       65244       CHAMPPS ENTERTAINMENT          NUCO2 LLC                           SERVICE AGREEMENT               CO2 SERVICE AGREEMENT

  759       65248       CHAMPPS ENTERTAINMENT          NUCO2 LLC                           SERVICE AGREEMENT               CO2 SERVICE AGREEMENT

  764       65248       CHAMPPS                        RED DIAMOND DRY ICE & CO2 CORP      SERVICE AGREEMENT               CO2 SERVICE AGREEMENT
                                                                                                                           COLLECTION ON
  767       65025       FOX & HOUND                    RETAIL MERCHANTS ASSOCIATION        SERVICE AGREEMENT
                                                                                                                           OUTSTANDING/RETURNED CHECKS
  771       65226       CHAMPPS ENTERTAINMENT          ROBERTS OXYGEN CO INC               SERVICE AGREEMENT               CO2 SERVICE AGREEMENT

  772       65230       CHAMPPS ENTERTAINMENT          ROBERTS OXYGEN CO INC               SERVICE AGREEMENT               CO2 SERVICE AGREEMENT

  773       65231       CHAMPPS ENTERTAINMENT          ROBERTS OXYGEN CO INC               SERVICE AGREEMENT               CO2 SERVICE AGREEMENT
                        TENT RESTAURANT OPERATIONS,
  784       65009                                      UNIFIRST CORPORATION                SERVICE AGREEMENT               LINEN SERVICES AGREEMENT
                        INC
  785       65033       FOX & HOUND                    UNIFIRST CORPORATION                SERVICE AGREEMENT               LINEN SERVICES AGREEMENT
                        TENT RESTAURANT
  786       65089                                      UNIFIRST CORPORATION                SERVICE AGREEMENT               LINEN SERVICES AGREEMENT
                        OPERATIONS,INC
                        CHAMPPS OPERATING                                                                                  LOCATION: 16165 LAGRANGE ROAD,
  832       65250                                      16165 LA GRANGE ROAD LLC            REAL ESTATE LEASE
                        CORPORATION                                                                                        ORLAND PARK IL 60467
                                                                                                                           LOCATION: 910-918 W. DUNDEE ROAD,
  847       65060       FOX & HOUND OF ILLINOIS, INC   BRIXMOR GA ARLINGTON HEIGHTS, LLC REAL ESTATE LEASE
                                                                                                                           ARLINGTON HEIGHTS, IL
                                                       BROOKWOOD INTERCHANGE OFFICE I,                                     LOCATION: 19111 N. DALLAS PARKWAY,
  848       65923       F&H ACQUISITION CORP.                                          REAL ESTATE LEASE
                                                       LLC AND BROOKWOOD INTERCHANGE                                       SUITE 120, DALLAS, TX
                        TENT RESTAURANT OPERATIONS,                                                                        LOCATION: 1777 CANTON CENTER, N.
  852       65027                                      CENTRE VILLAGE LLC                  REAL ESTATE LEASE
                        INC                                                                                                CANTON, MI
                        TENT RESTAURANT OPERATIONS,                                                                        LOCATION: 1551 N. WATERFRONT
  855       65901                                      COMMERCE BANK                       REAL ESTATE LEASE
                        INC                                                                                                PARKWAY, SUITE 310, WICHITA, KS
                        CHAMPPS OPERATING              CSM BONAVENTURE LIMITED                                             LOCATION: 1641 PLYMOUTH ROAD,
  862       65201                                                                          REAL ESTATE LEASE
                        CORPORATION                    PARTNERSHIP                                                         MINNETONKA MN 55305
                        TENT RESTAURANT OPERATIONS,                                                                        LOCATION: 8711 LINDLHOM
  867       65071                                      DDRTC BIRKDALE VILLAGE LLC          REAL ESTATE LEASE
                        INC                                                                                                DR,HUNTERSVILLE, NC 28018
                        CHAMPPS OPERATING              DDRTC OVERLOOK AT KING OF                                           LOCATION: 330 GODDARD BOULEVARD,
  868       65230                                                                          REAL ESTATE LEASE
                        CORPORATION                    PRUSSIA, LLC                                                        KING OF PRUSSIA PA 19406
                        CHAMPPS OPERATING                                                                                  LOCATION: 819 EASTVIEW MALL,
  872       65248                                      EASTVIEW MALL, LLC                  REAL ESTATE LEASE
                        CORPORATION                                                                                        VICTOR, NY 14564

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                                                                                                                                   LOCATION: 1200 S. CLEARVIEW
  878       65032       FOX & HOUND OF LOUISIANA, INC ELMWOOD SOUTH, LLC                      REAL ESTATE LEASE
                                                                                                                                   PARKWAY, HARAHAN, LA
                                                                                                                                   LOCATION: 10428 METCALF, OVERLAND
  891       65029       FOX & HOUND OF KANSAS,INC     INDIAN CREEK SHOPPING CENTER CO         REAL ESTATE LEASE
                                                                                                                                   PARK, KS
                                                                                                                                   LOCATION: 7625 LACHOLLA BLVD,
  895       65057       FOX & HOUND OF ARIZONA,INC    JIRAR ORFALI                            REAL ESTATE LEASE
                                                                                                                                   TUCSON, AZ
                        F & H RESTAURANTS OF TEXAS,                                                                                LOCATION: 4210 82ND STREET, SUITE
  898       65025                                     KG NORTH 2012, LLC                      REAL ESTATE LEASE
                        INC                                                                                                        240, LUBBOCK, TX 79423
                        F & H RESTAURANTS OF TEXAS,                                                                                LOCATION: 4210 82ND STREET, SUITE
  899       65025                                     KG NORTH 2012, LLC                      REAL ESTATE LEASE
                        INC                                                                                                        240, LUBBOCK, TX 79423
                        TENT RESTAURANT OPERATIONS,                                                                                LOCATION: 22091 MICHIGAN AVENUE,
  900       65038                                     KING INVESTMENT COMPANY                 REAL ESTATE LEASE
                        INC                                                                                                        DEARBORN, MI
                        F & H RESTAURANTS OF TEXAS,                                                                                LOCATION: 604 MAIN STREET, FORT
  906       65043                                     KRESS FT WORTH LLC                      REAL ESTATE LEASE
                        INC                                                                                                        WORTH, TX
                        F & H RESTAURANTS OF TEXAS,                                                                                LOCATION: 604 MAIN STREET, FORT
  907       65043                                     KRESS FT WORTH LLC                      REAL ESTATE LEASE
                        INC                                                                                                        WORTH, TX
                        CHAMPPS OPERATING                                                                                          LOCATION: 9424 CIVIC CENTRE BLVD.,
  916       65244                                     MADISON PARTNERS, LP                    REAL ESTATE LEASE
                        CORPORATION                                                                                                WEST CHESTER OH 45069
                        CHAMPPS OPERATING                                                                                          LOCATION: 9424 CIVIC CENTRE BLVD.,
  917       65244                                     MADISON PARTNERS, LP                    REAL ESTATE LEASE
                        CORPORATION                                                                                                WEST CHESTER OH 45069
                        CHAMPPS OPERATING                                                                                          LOCATION: 790 W. 66TH ST., RICHFIELD,
  918       65209                                     MARKET PLAZA COMMERCIAL LTD             REAL ESTATE LEASE
                        CORPORATION                                                                                                MN 55423
                        CHAMPPS OPERATING                                                                                          LOCATION: MARLTON CR. 25 RT. 73 S.,
  919       65204                                     MARLTON PLAZA ASSOCIATES II LP          REAL ESTATE LEASE
                        CORPORATION                                                                                                MARLTON, NJ 08053
                        CHAMPPS OPERATING                                                                                          LOCATION: MARLTON CR. 25 RT. 73 S.,
  920       65204                                     MARLTON PLAZA ASSOCIATES II LP          REAL ESTATE LEASE
                        CORPORATION                                                                                                MARLTON, NJ 08053
                        CHAMPPS OPERATING                                                                                          LOCATION: 8010 GLEN LANE, EDEN
  940       65225                                     PRAIRIE ENTERTAINMENT ASSOCIATES        REAL ESTATE LEASE
                        CORPORATION                                                                                                PRAIRIE MN 55344
                        CHAMPPS OPERATING                                                                                          LOCATION: 8030 RENAISSANCE PKWY,
  948       65233                                     SOUTHPOINT MALL, LLC                    REAL ESTATE LEASE
                        CORPORATION                                                                                                SUITE 885, DURHAM NC 27713
                        CHAMPPS OPERATING                                                                                          LOCATION: 8030 RENAISSANCE PKWY,
  949       65233                                     SOUTHPOINT MALL, LLC                    REAL ESTATE LEASE
                        CORPORATION                                                                                                SUITE 885, DURHAM NC 27713
                        TENT RESTAURANT OPERATIONS,                                                                                LOCATION: 1501 SPRUCE STREET,
  951       65061                                     SPRUCE PARKING ASSOCIATES LP            REAL ESTATE LEASE
                        INC                                                                                                        PHILADELPHIA, PA
                        CHAMPPS OPERATING                                                                                          LOCATION: 1201 S. JOYCE ST., #C-10,
  954       65226                                     STREET RETAIL INC                       REAL ESTATE LEASE
                        CORPORATION                                                                                                ARLINGTON VA 22202
                        TENT RESTAURANT OPERATIONS,                                                                                LOCATION: 1965 W. MAPLE RD, TROY,
  955       65070                                     SUSO 1 CAMBRIDGE, LP                    REAL ESTATE LEASE
                        INC                                                                                                        MI 48084
                        FOX & HOUND OF OKLAHOMA,                                                                                   LOCATION: 3031 WEST MEMORIAL
  959       65064                                     THE JOHN L. HALL TRUST                  REAL ESTATE LEASE
                        INC                                                                                                        ROAD, OKLAHOMA CITY, OK
                        CHAMPPS OPERATING             THE MALL IN COLUMBIA BUSINESS                                                LOCATION: 10300 LITTLE PATUXENT
  960       65231                                                                             REAL ESTATE LEASE
                        CORPORATION                   TRUST                                                                        PKWY, SUITE 3040, COLUMBIA MD
                        CHAMPPS OPERATING             THE MALL IN COLUMBIA BUSINESS                                                LOCATION: 10300 LITTLE PATUXENT
  961       65231                                                                             REAL ESTATE LEASE
                        CORPORATION                   TRUST                                                                        PKWY, SUITE 3040, COLUMBIA MD
                        TENT RESTAURANT OPERATIONS,   THF CHESTERFIELD FOUR                                                        LOCATION: 17416 CHESTERFIELD
  964       65080                                                                             REAL ESTATE LEASE
                        INC                           DEVELOPMENT, LLC                                                             AIRPORT RD, CHESTERFIELD, MO 63005
                        TENT RESTAURANT OPERATIONS,                                                                                LOCATION: 11581 ROBIOUS RD.,
  969       65067                                     TUCCIARONE REALTY, LP                   REAL ESTATE LEASE
                        INC                                                                                                        RICHMOND, VA 23235
                        F & H RESTAURANTS OF TEXAS,                                                                                LOCATION: 12651 VANCE JACKSON
  974       65022                                     WRI FIESTA TRAILS, LP                   REAL ESTATE LEASE
                        INC                                                                                                        #110, SAN ANTONIO TX 78249
  979       65233       CHAMPPS ENTERTAINMENT, INC    TARHEEL SPORTS PROPERTIES LLC           SERVICE AGREEMENT                    ADVERTISING AGREEMENT

  980       65215       CHAMPPS ENTERTAINMENT, INC    DIRECT TV LLC                           SERVICE AGREEMENT                    DIRECT TV BROADCASTING
                        FOX & HOUND RESTAURANT
  981       65217                                     DIRECT TV LLC                           SERVICE AGREEMENT                    DIRECT TV BROADCASTING
                        GROUP
  986     CORPORATE     CHAMPPS ENTERTAINMENT, INC    ECOLAB INC                              DISH WASHING MACHINE AND CHEMICALS
                        FOX & HOUND RESTAURANT
  987     CORPORATE                                   ECOLAB INC                              DISH WASHING MACHINE AND CHEMICALS
                        GROUP
  988     CORPORATE     CHAMPPS ENTERTAINMENT, INC    EDWARD DON & COMPANY                    SMALL WARES AGREEMENT

  989     CORPORATE     F&H ACQUISITION CORP          EDWARD DON & COMPANY                    SMALL WARES AGREEMENT

  999     CORPORATE     CHAMPPS ENTERTAINMENT, INC    MUZAK LLC                               SERVICE AGREEMENT                    MUSIC FOR RESTAURANT

 1004     CORPORATE     CHAMPPS ENTERTAINMENT, INC    XEROX CORPORATION                       EQUIPMENT LEASE AGREEMENT            COPIER LEASE - DALLAS OFFICE
                        TENT RESTAURANT OPERATIONS,
 1116       65002                                     UNIFIRST CORPORATION                    SERVICE AGREEMENT                    LINEN SERVICES AGREEMENT
                        INC
                        TENT RESTAURANT OPERATIONS,
 1117       65003                                     ARAMARK UNIFORM SERVICES                SERVICE AGREEMENT                    LINEN SERVICES AGREEMENT
                        INC
 1118       65004       F&H RESTAURANTS OF TEXAS, INC ARAMARK UNIFORM SERVICES                SERVICE AGREEMENT                    LINEN SERVICES AGREEMENT

 1119       65005       F&H RESTAURANTS OF TEXAS, INC ARAMARK UNIFORM SERVICES                SERVICE AGREEMENT                    LINEN SERVICES AGREEMENT


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  ID     Store Number               Debtor                    Contract Counter Party                    Type of Contract           Description of Contract
                        TENT RESTAURANT OPERATIONS,
 1120       65006                                      G&K SERVICES                         SERVICE AGREEMENT               LINEN SERVICES AGREEMENT
                        INC
                        TENT RESTAURANT OPERATIONS,
 1121       65007                                      CINTAS CORPORATION                   SERVICE AGREEMENT               LINEN SERVICES AGREEMENT
                        INC
                        TENT RESTAURANT OPERATIONS,
 1123       65010                                      COYNE TEXTILE SERVICE, INC           SERVICE AGREEMENT               LINEN SERVICES AGREEMENT
                        INC
                        TENT RESTAURANT OPERATIONS,
 1124       65014                                      CINTAS CORPORATION                   SERVICE AGREEMENT               LINEN SERVICES AGREEMENT
                        INC
 1125       65018       FOX & HOUND OF OHIO, INC       ARAMARK UNIFORM SERVICES             SERVICE AGREEMENT               LINEN SERVICES AGREEMENT

 1127       65022       F&H RESTAURANTS OF TEXAS, INC CINTAS CORPORATION                    SERVICE AGREEMENT               LINEN SERVICES AGREEMENT
                        TENT RESTAURANT OPERATIONS,
 1128       65023                                      UNIFIRST CORPORATION                 SERVICE AGREEMENT               LINEN SERVICES AGREEMENT
                        INC
                        TENT RESTAURANT OPERATIONS,
 1129       65028                                      ARAMARK UNIFORM SERVICES             SERVICE AGREEMENT               LINEN SERVICES AGREEMENT
                        INC
                        TENT RESTAURANT OPERATIONS,
 1130       65031                                      ARAMARK UNIFORM SERVICES             SERVICE AGREEMENT               LINEN SERVICES AGREEMENT
                        INC
 1131       65035       FOX & HOUND OF INDIANA, INC    ARAMARK UNIFORM SERVICES             SERVICE AGREEMENT               LINEN SERVICES AGREEMENT
                        TENT RESTAURANT OPERATIONS,
 1132       65038                                      CINTAS CORPORATION                   SERVICE AGREEMENT               LINEN SERVICES AGREEMENT
                        INC
 1133       65042       F&H RESTAURANTS OF TEXAS, INC ARAMARK UNIFORM SERVICES              SERVICE AGREEMENT               LINEN SERVICES AGREEMENT
                        TENT RESTAURANT OPERATIONS,
 1135       65047                                      UNIFIRST CORPORATION                 SERVICE AGREEMENT               LINEN SERVICES AGREEMENT
                        INC
                        TENT RESTAURANT OPERATIONS,
 1136       65051                                      ARAMARK UNIFORM SERVICES             SERVICE AGREEMENT               LINEN SERVICES AGREEMENT
                        INC
 1137       65052       F&H RESTAURANTS OF TEXAS, INC ARAMARK UNIFORM SERVICES              SERVICE AGREEMENT               LINEN SERVICES AGREEMENT
                        FOX & HOUND OF NEW MEXICO,
 1139       65063                                      A-1 LINENE                           SERVICE AGREEMENT               LINEN SERVICES AGREEMENT
                        INC
                        TENT RESTAURANT OPERATIONS,
 1140       65067                                      ARAMARK UNIFORM SERVICES             SERVICE AGREEMENT               LINEN SERVICES AGREEMENT
                        INC
                        TENT RESTAURANT OPERATIONS,
 1141       67071                                      UNIFIRST CORPORATION                 SERVICE AGREEMENT               LINEN SERVICES AGREEMENT
                        INC
                        TENT RESTAURANT OPERATIONS,
 1142       65074                                      CINTAS CORPORATION                   SERVICE AGREEMENT               LINEN SERVICES AGREEMENT
                        INC
 1143       65076       FOX & HOUND OF ILLINOIS, INC   ARAMARK UNIFORM SERVICES             SERVICE AGREEMENT               LINEN SERVICES AGREEMENT
                        TENT RESTAURANT OPERATIONS,
 1144       65077                                      ARAMARK UNIFORM SERVICES             SERVICE AGREEMENT               LINEN SERVICES AGREEMENT
                        INC
                        TENT RESTAURANT OPERATIONS,
 1145       65083                                      ARAMARK UNIFORM SERVICES             SERVICE AGREEMENT               LINEN SERVICES AGREEMENT
                        INC
                        TENT RESTAURANT OPERATIONS,
 1146       65087                                      ARAMARK UNIFORM SERVICES             SERVICE AGREEMENT               LINEN SERVICES AGREEMENT
                        INC
 1147       65088       FOX & HOUND OF OHIO, INC       ARAMARK UNIFORM SERVICES             SERVICE AGREEMENT               LINEN SERVICES AGREEMENT

 1148       65091       FOX & HOUND OF OHIO, INC       ARAMARK UNIFORM SERVICES             SERVICE AGREEMENT               LINEN SERVICES AGREEMENT
                        TENT RESTAURANT OPERATIONS,
 1149       65093                                      UNIFIRST CORPORATION                 SERVICE AGREEMENT               LINEN SERVICES AGREEMENT
                        INC
                        CHAMPPS OPERATING              THE LEGENDARY KINGS OF KARAOKE
 1157       65231                                                                           SERVICE AGREEMENT               KARAOKE ENTERTAINMENT SERVICES
                        CORPORATION                    AND DJ ENTERTAINMENT, INC.
                        CHAMPPS OPERATING              AMERICAN CONSUMER FINANCIAL
 1158       65226                                                                           SERVICE AGREEMENT               ATM AGREEMENT
                        CORPORATION                    NETWORK
                        CHAMPPS OPERATING
 1216       65201                                      AJ INDOOR                            SERVICE AGREEMENT               ADVERTISING AGREEMENT
                        CORPORATION
                        FOX & HOUND RESTAURANT
 1237       65022                                      BIRCH COMMUNICATIONS                 PHONE SERVICE AGREEMENT
                        GROUP
                        FOX & HOUND RESTAURANT
 1239       65025                                      BIRCH COMMUNICATIONS                 PHONE SERVICE AGREEMENT
                        GROUP
                        FOX & HOUND RESTAURANT
 1240       65027                                      BIRCH COMMUNICATIONS                 PHONE SERVICE AGREEMENT
                        GROUP
                        FOX & HOUND RESTAURANT
 1242       65029                                      BIRCH COMMUNICATIONS                 PHONE SERVICE AGREEMENT
                        GROUP
                        FOX & HOUND RESTAURANT
 1245       65032                                      BIRCH COMMUNICATIONS                 PHONE SERVICE AGREEMENT
                        GROUP
                        FOX & HOUND RESTAURANT
 1249       65038                                      BIRCH COMMUNICATIONS                 PHONE SERVICE AGREEMENT
                        GROUP
                        FOX & HOUND RESTAURANT
 1253       65043                                      BIRCH COMMUNICATIONS                 PHONE SERVICE AGREEMENT
                        GROUP
                        FOX & HOUND RESTAURANT
 1259       65057                                      BIRCH COMMUNICATIONS                 PHONE SERVICE AGREEMENT
                        GROUP
                        FOX & HOUND RESTAURANT
 1261       65060                                      BIRCH COMMUNICATIONS                 PHONE SERVICE AGREEMENT
                        GROUP

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  ID     Store Number                Debtor                    Contract Counter Party                    Type of Contract           Description of Contract
                        FOX & HOUND RESTAURANT
 1264       65067                                     BIRCH COMMUNICATIONS                   PHONE SERVICE AGREEMENT
                        GROUP
                        FOX & HOUND RESTAURANT
 1266       65071                                     BIRCH COMMUNICATIONS                   PHONE SERVICE AGREEMENT
                        GROUP
                        FOX & HOUND RESTAURANT
 1273       65080                                     BIRCH COMMUNICATIONS                   PHONE SERVICE AGREEMENT
                        GROUP
                        FOX & HOUND RESTAURANT
 1285       65201                                     BIRCH COMMUNICATIONS                   PHONE SERVICE AGREEMENT
                        GROUP
                        FOX & HOUND RESTAURANT
 1286       65204                                     BIRCH COMMUNICATIONS                   PHONE SERVICE AGREEMENT
                        GROUP
                        FOX & HOUND RESTAURANT
 1288       65209                                     BIRCH COMMUNICATIONS                   PHONE SERVICE AGREEMENT
                        GROUP
                        FOX & HOUND RESTAURANT
 1300       65225                                     BIRCH COMMUNICATIONS                   PHONE SERVICE AGREEMENT
                        GROUP
                        FOX & HOUND RESTAURANT
 1301       65226                                     BIRCH COMMUNICATIONS                   PHONE SERVICE AGREEMENT
                        GROUP
                        FOX & HOUND RESTAURANT
 1303       65230                                     BIRCH COMMUNICATIONS                   PHONE SERVICE AGREEMENT
                        GROUP
                        FOX & HOUND RESTAURANT
 1304       65231                                     BIRCH COMMUNICATIONS                   PHONE SERVICE AGREEMENT
                        GROUP
                        FOX & HOUND RESTAURANT
 1306       65233                                     BIRCH COMMUNICATIONS                   PHONE SERVICE AGREEMENT
                        GROUP
                        FOX & HOUND RESTAURANT
 1316       65250                                     BIRCH COMMUNICATIONS                   PHONE SERVICE AGREEMENT
                        GROUP
 1330       65070       BAILEY'S PUB N'GRILLE         AT&T                                   PHONE SERVICE AGREEMENT

 1333       65248       CHAMPPS RESTAURANT & BAR      TIME WARNER                            CABLE AND INTERNET AGREEMENT    TV AND INTERNET W/CABLE MODEM
                        CHAMPPS OPERATING
 1335       65225                                     ENVYSION                               VIDEO RECORDING AGREEMENT       VIDEO RECORDER AND CAMERAS
                        CORPORATION
 1337       65244       CHAMPPS                       CINCINNATTI BELL                       PHONE SERVICE AGREEMENT

 1342       65060       FOX & HOUND OF ILLINOIS INC   COMCAST                                CABLE AND INTERNET AGREEMENT    TV AND INTERNET W/CABLE MODEM
                        FOX & HOUND RESTAURANT
 1349       65032                                     COX COMMUNICATIONS                     CABLE AND INTERNET AGREEMENT    TV AND INTERNET W/CABLE MODEM
                        GROUP
 1351       65225       CHAMPPS AMERICANA             COMCAST                                INTERNET SERVICES AGREEMENT     INTERNET W/CABLE MODEM
                        FOX & HOUND RESTAURANT
 1366       65022                                     SCREENCAST                             VIDEO STREAMING SERVICE         VIDEO PLAYING PC
                        GROUP
                        FOX & HOUND RESTAURANT
 1368       65025                                     SCREENCAST                             VIDEO STREAMING SERVICE         VIDEO PLAYING PC
                        GROUP
                        FOX & HOUND RESTAURANT
 1369       65027                                     SCREENCAST                             VIDEO STREAMING SERVICE         VIDEO PLAYING PC
                        GROUP
                        FOX & HOUND RESTAURANT
 1371       65029                                     SCREENCAST                             VIDEO STREAMING SERVICE         VIDEO PLAYING PC
                        GROUP
                        FOX & HOUND RESTAURANT
 1374       65032                                     SCREENCAST                             VIDEO STREAMING SERVICE         VIDEO PLAYING PC
                        GROUP
                        FOX & HOUND RESTAURANT
 1379       65038                                     SCREENCAST                             VIDEO STREAMING SERVICE         VIDEO PLAYING PC
                        GROUP
                        FOX & HOUND RESTAURANT
 1383       65043                                     SCREENCAST                             VIDEO STREAMING SERVICE         VIDEO PLAYING PC
                        GROUP
                        FOX & HOUND RESTAURANT
 1390       65057                                     SCREENCAST                             VIDEO STREAMING SERVICE         VIDEO PLAYING PC
                        GROUP
                        FOX & HOUND RESTAURANT
 1392       65060                                     SCREENCAST                             VIDEO STREAMING SERVICE         VIDEO PLAYING PC
                        GROUP
                        FOX & HOUND RESTAURANT
 1393       65061                                     SCREENCAST                             VIDEO STREAMING SERVICE         VIDEO PLAYING PC
                        GROUP
                        FOX & HOUND RESTAURANT
 1396       65064                                     SCREENCAST                             VIDEO STREAMING SERVICE         VIDEO PLAYING PC
                        GROUP
                        FOX & HOUND RESTAURANT
 1398       65067                                     SCREENCAST                             VIDEO STREAMING SERVICE         VIDEO PLAYING PC
                        GROUP
                        FOX & HOUND RESTAURANT
 1400       65070                                     SCREENCAST                             VIDEO STREAMING SERVICE         VIDEO PLAYING PC
                        GROUP
                        FOX & HOUND RESTAURANT
 1401       65071                                     SCREENCAST                             VIDEO STREAMING SERVICE         VIDEO PLAYING PC
                        GROUP
                        FOX & HOUND RESTAURANT
 1408       65080                                     SCREENCAST                             VIDEO STREAMING SERVICE         VIDEO PLAYING PC
                        GROUP
                        CHAMPPS OPERATING             JD LAWN CARE LANDSCAPING AND
 1419       65250                                                                            SNOW REMOVAL AGREEMENT
                        CORPORATION                   SNOW REMOVAL SERVICES
                        FOX & HOUND OF COLORADO,
 1422       65049                                     ECOLAB                                 DISHWASHING MACHINE             DISHMACHINE FOR 65049
                        INC.
                        FOX & HOUND OF COLORADO,
 1428       65049                                     ECOLAB                                 SERVICE AGREEMENT               DISHMACHINE CONTRACT
                        INC.
                        TENT RESTAURANT OPERATIONS,
 1429       65030                                     MORGAN SERVICES, INC.                  SERVICE AGREEMENT               LINEN SERVICE AGREEMENT
                        INC.

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  ID     Store Number               Debtor                  Contract Counter Party                   Type of Contract                 Description of Contract
                        F & H RESTAURANTS OF TEXAS,
 1431       65022                                     JACKSON BEVERAGE CORP.             MANAGEMENT AND CONCESSION AGREEMENT
                        INC.
                        F & H RESTAURANTS OF TEXAS,
 1432       65025                                     RAIDER BEVERAGE CORP.              MANAGEMENT AND CONCESSION AGREEMENT
                        INC.
                        F & H RESTAURANTS OF TEXAS,
 1435       65043                                     DOWNTOWN BEVERAGE CORP.            MANAGEMENT AND CONCESSION AGREEMENT
                        INC.
 1450       65007       TOTAL ENTERTAINMENT           ECOLAB INC                         SERVICE AGREEMENT                     PEST CONTROL

 1467       65007       BAILEY'S SPORTS GRILLE        ECOLAB INC                         SERVICE AGREEMENT                     PEST CONTROL



 Count       423




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Additional Designation Rights Assets
Designation Rights Restaurants and Offices (including all Inventory, supplies, Furniture and Equipment at such Restaurants)
 Store  #              Name            Street Address           Concept         Brand             License Issues

 65022      San Antonio        12651 Vance Jackson Road,       F&H        F&H
                               Suite 110, San Antonio, TX 
                               78230
 65025      Lubbock            4210 82nd Street, Unit 240,     F&H        F&H
                               Lubbock, TX 79423
 65027      Detroit            1777 Canton Center North,       Baileys    F&H
                               Canton, MI 48187
 65029      K.C.               10428 Metcalf,  Overland Park,  F&H        F&H
                               KS 66212
 65032      New Orleans        1200 S. Clearview Parkway,      F&H        F&H           Liquor License Approval 
                               Harahan, LA 70123                                        requirement
 65038      Detroit #2         22091 Michigan Ave.,            Baileys    F&H
                               Dearborn, MI 48124
 65043      Ft. Worth #2       604 Main Street, Fort Worth,  F&H          F&H
                               TX 76102
 65057      Tucson             7625 N LaCholla Blvd., Tucson,  F&H        F&H
                               AZ 85741
 65060      Chicago #3         910‐918 W Dundee Rd., Ste       F&H        F&H
                               A01‐A03, Arlington Heights, IL 
                               60004
 65061      Philadelphia       1501 Spruce Street,             F&H        F&H
                               Philadelphia, PA 19102
 65064      Oklahoma City      3031 W Memorial Road,           F&H        F&H
                               Oklahoma City, OK 73134
 65067      Richmond #2        11581 Robious Road,             Baileys    F&H
                               Richmond, VA 23235
 65070      Troy, MI           1965 West Maple Road, Troy,  Baileys       F&H
                               MI 48084
 65071      Charlotte #5       8711 Lindholm Drive,            F&H        F&H
                               Huntersville, NC 28078
 65080      Chesterfield, MO   17416 Chesterfield Airport      F&H        F&H
                               Road, Chesterfield, MO 63005

 65201      Minnetonka         1641 Plymouth Road,             Champps    Champps
                               Minnetonka, MN 55305
 65204      Marlton            Marlton Cr. 25 Rt 73 S.,        Champps    Champps
                               Marlton, NJ 08053
 65209      Richfield          790 W. 66th Street, Richfield,  Champps    Champps       Liquor License Approval 
                               MN 55423                                                 requirement
 65225      Eden Prairie       8010 Glen Lane, Eden Prairie,  Champps     Champps       Liquor License Approval 
                               MN 55344                                                 requirement
 65226      Pentagon           1201 S. Joyce Street, C‐10,     Champps    Champps
                               Arlington, VA 22202
 65230      KOP                330 Goddard Blvd, King of       Champps    Champps
                               Prussia, PA 19406
 65231      Columbia           10300 Little Patuxent Parkway,  Champps    Champps       Liquor License Approval 
                               Suite 3040, Columbia, MD                                 requirement
                               21044
 65233      Durham             8030 Renaissance Parkway,       Champps Champps
                               Suite 885, Durham, NC 27713

 65244      West Chester       9424 Civic Center Blvd., West  Champps Champps
                               Chester, OH 45069
 65248      Rochester          819 Eastview Mall, Victor, NY  Champps Champps
                               14564
 65250      Orland Park        16165 LaGrange Road, Orland  Champps Champps
                               Park, IL  60467
 Corp       Dallas             19111 N. Dallas Parkway,
 Office                        Suite 120, Dallas, TX
 Corp       Wichita            1551 N. Waterfront Parkway
 Office                        Suite 310, Wichita, KS
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              Schedule 8.10(a)
                   Buyer Employees
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                         Last Call Operating Co. I, Inc. Employees


       Cost     EmpID         Name                       Title             Hr/Sl
       Center
          65002 327709        CASAS, CARLOS              Prod/Food Prep    H
         65002 507507         WREN, JOE                  Prod/Food Prep    H
         65002 797491         WELLER, ADAM S.            Prod/Food Prep    H
         65002 716065         EVANS, CHRIS               GM Salary         S
         65002 269707         DANTZLER, ANTHONY A.       MGR Salary        S
         65002 932307         SANBORN, DUSTIN C.         MGR Salary        S
         65002 282343         GAMMACK, RHIANNON L.       MGR Salary        S
         65002 029922926      BECHTHOLD, CRAIG           Prod/Food Prep    H
         65002 526428         BROWN, AUTUMN              Night Bar         H
         65002 029923317      DUONG, DANIEL              Prod/Food Prep    H
         65002 392646         D'AGOSTINO, JILLIAN        Night Bar         H
         65002 029922996      MOLIZON, TAYLOR            Server            H
         65002 410870         CONFER, RIKKI              Host/Hostess      H
         65002 647857         PATTERSON, COLLEEN         Server            H
         65002 782374         SHAUM, MELISSA A.          Night Bar         H
         65002 114968         THOMPSON, AJA              Server            H
         65002 564012         HAAS, MEGAN E.             Server            H
         65002 029924154      GAY, LINDSAY               Server            H
         65002 433550         RAY, JONATHAN S.           Prod/Food Prep    H
         65002 029922040      TOWNSEND, JULIA T.         Server            H
         65002 338245         CALLAHAM, KYLEE            Server            H
         65002 029924151      DOMAS, JESSICA             Trainee           H
         65002 807029         BARTLEY, ALLYSON           Server            H
         65002 381474         CARDER, KAYLA              Server            H
         65002 029923075      RAMIREZ, LIANA             Host/Hostess      H
         65002 850577         WALDEN, ALEAH              Server            H
         65002 029923942      BRETH, CHRISTIA            Host/Hostess      H
         65002 233795         HARMAN, AZIA               Server            H
         65002 857521         PAGE, SARA                 Server            H
         65002 029922600      MOSHER, SHELBY             Host/Hostess      H
         65002 686600         MARTIN, KEVIN              Store Admin       H
         65002 785879         RICK, ALEXANDR             Server            H
         65002 125419         THOMPSON, AVERY            Prod/Food Prep    H
         65002 029924150      BROWN, NICOLE              Server            H
         65003 029924253      MARKEY, THOR W.            MIT #2            S
         65003 177983         WINKLER, TALIA R.          Server            H
         65003 892021         FLASHNER, DAVID F.         GM Salary         S
         65003 360975         MOORE, PATRICIA            MGR Salary        S
         65003 800373         BUTLER, STEPHEN P.         MGR Salary        S
         65003 029923891      SHIPMAN, RUSSELL           Prod/Food Prep    H
         65003 957490         PYLE, JENNIFER             Host/Hostess      H
         65003 029923899      CARROCCIO, DANIEL          Night Bar         H
         65003 8952998A       MONTOYA, ADRIAN            Prod/Food Prep    H
         65003 029921789      HATCHETT, COREY            Prod/Food Prep    H
         65003 029924126      HAYES, SIMONE              Server            H
         65003 029924128      WILSON, EBONY              Prod/Food Prep    H
         65003 029923900      DUNLAP, ELIZABET           Host/Hostess      H
         65003 925088         COLLINS, BETTY             Server            H
         65003 029921961      FALK-GOODWIN, MANDA        Server            H
         65003 319513         KENT, CANDY                Host/Hostess      H
         65003 029924127      COTNER, DANIELLE           Server            H
         65003 692468         CARY, WAKITA               Host/Hostess      H
         65003 029923177      FOSTER, DELANNA            Server            H
         65003 029923023      WADE, TERRY                Prod/Food Prep    H
         65003 355862         NELSON, RACHEL             Trainee           H
         65003 029924020      ARCHER, JACOB              Prod/Food Prep    H
         65003 029924192      PHILLIPS, SABRA            Server            H
         65003 399231         FOWLER, BRITTANY           Server            H
         65003 634086         GADD, JULIA                Trainee           H
         65003 029922490      WOOLBRIGHT, DESIREE        Server            H
         65003 029923024      HORTON, KALIEE             Server            H
         65003 029924246      WARREN, JESSICA            Host/Hostess      H
         65003 029924247      RANDOLPH, KAYLN            Host/Hostess      H
         65003 029924053      POLDO, JENNIFER            Trainee           H
         65003 029921788      GILL, ALEXIS               Prod/Food Prep    H
         65003 029923612      RINKER, JULIA              Host/Hostess      H
         65003 029924039      PAINTER, HEATHER           Server            H
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                         Last Call Operating Co. I, Inc. Employees


       Cost     EmpID         Name                      Title             Hr/Sl
       Center
          65003 304442        WARD, ASHLEY              Night Bar         H
         65003 029923792      MODLIN, RYAN              Night Bar         H
         65003 687882         JONES, MICHELLE           Server            H
         65003 029924211      CURRIER, ANNA             Trainee           H
         65003 029923319      ENGLEHART, JILLIAN        Server            H
         65003 279037         LIEBHARDT, CORY           Host/Hostess      H
         65004 4335788U       DISNEY, LEIGH A.          Server            H
         65004 085518315      MENDOZA, LUIS             Prod/Food Prep    H
         65004 085518336      MENDOZA, GERHARD          MGR Salary        S
         65004 085518338      BUNCH, SEAN H.            MGR Salary        S
         65004 085518337      MIKESKA, BRIAN A.         GM Salary         S
         65004 974051         PERSINGER, LANETTE K.     Server            H
         65004 332058         SHRADER, LAURA            Server            H
         65004 085518328      SMITH, RAQUEL             Server            H
         65004 36458          GARAY, JOSE N.            Prod/Food Prep    H
         65004 136841         LOPEZ, ALFREDO F.         Night Bar         H
         65004 085518324      ABERNATHY, KIMBERLY       Server            H
         65004 72897          LOPEZ, FORTINO            Prod/Food Prep    H
         65004 929957         HERNANDEZ, MARCIAL C.     Prod/Food Prep    H
         65004 085518317      KOPPLIN, BECKIE           Server            H
         65004 640836         MARQUEZ, NATALIE          Server            H
         65004 085518339      ESTRADA, JESSICA          Trainee           H
         65004 085518334      BUTLER, JESSICA E.        Server            H
         65004 085518346      RANGEL, DESTINEE          Server            H
         65004 085518311      RACIOPPA, KYLEE           Server            H
         65004 085518343      WHITE, ALEX               Host/Hostess      H
         65004 876175         FREDETTE, LEAH M.         Server            H
         65004 085518347      BUTLER, RILEY             Server            H
         65004 178125         RANGEL, ROGELIO           Prod/Food Prep    H
         65004 085518329      SEAY, SANKESHA            Trainee           H
         65004 906128         RODRIGUEZ, ALBERTO        Prod/Food Prep    H
         65005 086124853      MOSS, MICHELLE            Host/Hostess      H
         65005 665931         WORRALL, ROBERT           GM Salary         S
         65005 9728798T       HARRIS, MATTHEW E.        MGR Salary        S
         65005 086124832      KEMP, GLEN                MGR Salary        S
         65005 167753         HOWELL, MADELEINE K.      MGR Salary        S
         65005 824396         ROBERTS, KALLI            Host/Hostess      H
         65005 336447         HERNANDEZ, OSCAR          Trainee           H
         65005 086124833      CASTRO, KALEY             Server            H
         65005 662224         GONZALES-SALAZAR, JULIO   Prod/Food Prep    H
         65005 086124862      LOPEZ, SANTOS             Prod/Food Prep    H
         65005 416966         BOYD, THOMAS              Trainee           H
         65005 086124851      LAUGHLIN, AMY             Host/Hostess      H
         65005 456983         GARCIA, BALVINO           Trainee           H
         65005 255452         FAZ, MODESTO              Trainee           H
         65005 086124843      BENTON, JOSHUA            Bar Back          H
         65005 784925         BUCK, KERSTEN             Trainee           H
         65005 086124849      KELLY, SHARA              Host/Hostess      H
         65005 086124847      MAYBERRY, HAVEN           Host/Hostess      H
         65005 981058         CRAWFORD, DANNAN          Host/Hostess      H
         65005 278989         SIC, JOSE                 Prod/Food Prep    H
         65005 086124837      CANTRELL, NATALIE         Host/Hostess      H
         65005 727132         HYATT, SAMUEL H.          Prod/Food Prep    H
         65005 086124852      BINDER, AMBER             Host/Hostess      H
         65005 086124827      MCPHERSON, MCKENZIE       Host/Hostess      H
         65005 547005         NICHOLS, LEXIE            Host/Hostess      H
         65005 086124846      CRONE, MAKAYLEE           Host/Hostess      H
         65005 086124861      MAXWELL, MCKENZIE         Host/Hostess      H
         65005 086124863      STEGER, KATELYN           Host/Hostess      H
         65005 636254         VASYLYEVA, ANASTASIYA     Server            H
         65005 086124860      RODRIGUEZ, BRITTANY       Host/Hostess      H
         65005 247610         WALL, ERIC                Trainee           H
         65005 086124836      MEDINA, DAVID             Bar Back          H
         65005 192564         RIOS, KARLIE              Trainee           H
         65005 086124845      MCCASKILL, JAMIE          Server            H
         65005 145749         SCHNEIDER, RANDI          Host/Hostess      H
         65005 318663         SOHAIL, SABAH             Server            H
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       Cost     EmpID        Name                       Title             Hr/Sl
       Center
          65005 086124859    WOODS, HALEY               Host/Hostess      H
         65005 609390        DEPAUL, TAYLOR             Host/Hostess      H
         65006 297154        VANDONKELAAR, WILLIAM G.   MGR Salary        S
         65006 694629        O'BRIEN, NEIL W.           MGR Salary        S
         65006 6230498A      COOPER, CHRISTOPHER R.     GM Salary         S
         65006 5047508A      BRUMLEY, JENNA             MGR Salary        S
         65006 882776        DOUGLASS, JEREMY H.        Prod/Food Prep    H
         65006 518017        HIGHFIELD, JOESPH          Prod/Food Prep    H
         65006 207997        PRUITT, CHRISTOP           Prod/Food Prep    H
         65006 981151        BATES, KRISTIAN            Trainee           H
         65006 332480        PADGETT, ANGELA D.         Server            H
         65006 029922821     PITMON, JOURDAN            Server            H
         65006 669683        PONCE, NATHANIE            Prod/Food Prep    H
         65006 029924224     SCOTT, BRIANA              Host/Hostess      H
         65006 443578        ROACH, APRIL               Night Bar         H
         65006 029923910     SLOAN, BRIELEE             Server            H
         65006 029923909     PARRISH, JASMINE           Server            H
         65006 117115        CARRIER, COURTNEY          Server            H
         65006 25940         BAYNE, DIANA L.            Prod/Food Prep    H
         65006 029923842     MASON, ADRIENNE            Server            H
         65006 988380        ADAMS, KAMIAYA             Server            H
         65006 346148        FIRMSTONE, BAILEY          Host/Hostess      H
         65006 794169        PADGETT, ASHLEY            Host/Hostess      H
         65006 876933        BRELAND, WENDY M.          Night Bar         H
         65006 718609        BENNETT, LOGAN             Server            H
         65006 820989        MCBROOM, SONYA             Prod/Food Prep    H
         65006 029923943     WIDENER, JORDAN            Server            H
         65006 029922345     CHANEY, MADISON            Server            H
         65006 029923840     BERGWERFF, CLAIRE          Host/Hostess      H
         65006 029923965     HUTCHINSON, CELESTE        Trainee           H
         65006 029923847     COLSON, EMILY              Host/Hostess      H
         65006 029922960     MEYER, JOSHUA              Prod/Food Prep    H
         65006 029922788     ROBINSON, BRITTANY         Host/Hostess      H
         65006 288120        WISNEWSKI, MORGAN          Host/Hostess      H
         65006 029924228     CANN, AMBER                Server            H
         65006 922215        GARCIA, FEDRICO            Prod/Food Prep    H
         65006 029923736     JOHNSON, MEGAN             Server            H
         65006 029922254     HOFFMAN, STEPHANI          Server            H
         65007 029924135     BROOKS, STEPHANI           Host/Hostess      H
         65007 525661        WHITE, BETHANY M.          Server            H
         65007 029924088     MCKENZIE, BRITTNEY         Trainee           H
         65007 177192        HATCHER, HEATHER           Night Bar         H
         65007 029923624     DAWSON, TERRY              Trainee           H
         65007 801206        HILL, ADAM                 GM Salary         S
         65007 356386        COOK, RYAN C.              MGR Salary        S
         65007 517491        MARX, RUSSELL              MGR Salary        S
         65007 444321        TEMPLEMAN, JAMES           MGR Salary        S
         65007 634660        CAROUTHERS, TAMMY          Trainee           H
         65007 029924221     PILLOW, DEAMBER            Host/Hostess      H
         65007 642578        AUCOIN, RONALD             Trainee           H
         65007 029923883     DRAPER, MELISSA            Host/Hostess      H
         65007 029923735     BROCKMAN, EMILEE           Host/Hostess      H
         65007 564559        WOODWARD, NORMAN           Prod/Food Prep    H
         65007 029923721     PATTERSON, LAWRENCE        Trainee           H
         65007 305621        SANDLIN, BRANDI            Server            H
         65007 323997        RIDGE, ASHLEY              Server            H
         65007 261231        HUDSON, KELSEY             Server            H
         65007 593529        MEEKS, KIMBERLY            Host/Hostess      H
         65007 029924179     BASS, MISTI                Trainee           H
         65007 029922152     MARBUT, TAMARA             Trainee           H
         65007 398601        RUTH, MEGHAN J.            Trainee           H
         65007 029923885     HAGER, SARAH               Host/Hostess      H
         65007 029923045     MOSS, JANIE                Host/Hostess      H
         65007 029924047     SLEDD, BRITTANY            Host/Hostess      H
         65007 528562        ANDRE, AMANDA              Host/Hostess      H
         65007 029923986     CONSTANTINO, MICHAEL       Trainee           H
         65007 868028        RAMIREZ, PAUL              Prod/Food Prep    H
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       Cost     EmpID        Name                       Title               Hr/Sl
       Center
          65007 029923806    SCHMIDT, NICHOLAS          Trainee             H
         65007 029923143     HARDIN, NICOLE             Host/Hostess        H
         65007 029924185     SPAGNUOLO, AMBER           Host/Hostess        H
         65007 602691        WALLER, ANTWAN D.          Prod/Food Prep      H
         65007 160469        ROWE, ALEXANDR             Trainee             H
         65007 029923211     HARP, SYNTHA               Host/Hostess        H
         65007 325412        REBOSO, MELISSA            Server              H
         65008 000376103     WRIGHT, KALEIGH            Server              H
         65008 000376115     SHELTON, CASEY             Server              H
         65008 000375645     GAFFORD, GEOFFREY          Host/Hostess        H
         65008 785630        DOWNS, FELICIA             Host/Hostess        H
         65008 81179         VILLANUEVA, JOSE L.        Prod/Food Prep      H
         65008 000375822     WHITE, TIMOTHY U.          GM Salary           S
         65008 992193        VAN FLEET, MARCIE M.       MGR Salary          S
         65008 689215        HAMM, ASHTON W.            MGR Salary          S
         65008 489588        MILLER, MICHAEL R.         MGR Salary          S
         65008 245639        CONTRERAS, BROOKE          Server              H
         65008 708185        PEREZ, ANTONIO             Prod/Food Prep      H
         65008 000375912     ATKINSON, CHRISTIN         Night Bar           H
         65008 95377         VILLANUEVA, LUIS           Prod/Food Prep      H
         65008 000375657     KIM, KATIE                 Server              H
         65008 000375877     PENTILLA, SHILOH           Server              H
         65008 665663        CRISP, DEREK M.            Server              H
         65008 000375535     AKIVA-BASHAM, CHRISTIN     Server              H
         65008 762594        BURN, BRITTNEY             Host/Hostess        H
         65008 000375482     ALMEIDA-RAMOS, GAMALIEL    Trainee             H
         65008 416741        HAMPTON, MELLISA           Host/Hostess        H
         65008 581570        PHILLIPS, KACI             Server              H
         65008 757303        SYMONS, LIESEL             Server              H
         65008 000376070     KENNEDY, NICOLE            Host/Hostess        H
         65008 162576        LUIS, PAUL A.              Prod/Food Prep      H
         65008 85536514      CANO, VICENTE              Bartender           H
         65008 000375514     FRAZER, KATHRYN            Server              H
         65008 172216        CASTRO, JESUS              Prod/Food Prep      H
         65008 4657869P      GALLARDO, CAROL            Host/Hostess        H
         65008 000376137     VELA, VICTORIA             Host/Hostess        H
         65008 85531037      LOYALA, CESAR              Prod/Food Prep      H
         65008 514466        ALBRACHT, TIFFANY M.       Server              H
         65008 000376010     EDWARDS, NICHOLLE          Trainee             H
         65008 665389        HAGER, DASHA               Trainee             H
         65008 000376058     ASHTON, CHELSIE            Server              H
         65008 149674        SAMPLES, TARA M.           Host/Hostess        H
         65008 000376131     MACIAS, TANISHA            Trainee             H
         65008 586063        GOMEZ, BROOKE              Trainee             H
         65008 000375711     PLATE, LELA                Server              H
         65008 000375484     COCHRAN, SARAH             Server              H
         65008 000375452     BASSEY, PRECIOUS           Host/Hostess        H
         65009 943602        SLATTON, GRIFFIN           MGR Salary          S
         65009 182346        KEITH, EDWINNA             MGR Salary          S
         65009 606072        WEAVER, ERICH B.           MGR Salary          S
         65009 6323718A      WHITE, JEREMY T.           GM Salary           S
         65009 408762        HELDMAN, ANDREW L.         MGR Salary          S
         65009 663135        WILSON III, WILLIAM W.     Prod/Food Prep      H
         65009 029924129     DUNN, CHELSEA              Night Bar           H
         65009 977112        EVERETT, KEVIN             Trainee             H
         65009 982317        EVERETTE, KIP S.           Prod/Food Prep      H
         65009 706967        CAIN, JESSICA              Server              H
         65009 54924348      THOMPSON, JENNIFER         Hrly Event Coord    H
         65009 029923801     HARBICK, STEVEN            Prod/Food Prep      H
         65009 029922847     GILMER, MICHAEL            Host/Hostess        H
         65009 029923088     MILLER, TARYN              Night Bar           H
         65009 029923590     OLMSTED, JEFF              Prod/Food Prep      H
         65009 029924012     MCGINNIS, AMY              Server              H
         65009 245485        FOWLER, TANYA              Server              H
         65009 029923867     MILLER, HALEY              Night Bar           H
         65009 941300        MCCLOUD, LAUREN R.         Trainee             H
         65009 029923408     KOON, VERONICA             Server              H
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       Cost     EmpID        Name                      Title               Hr/Sl
       Center
          65009 029922071    ROSS, ARTEMAS             Prod/Food Prep      H
         65009 029924079     COOK, ANDREW              Host/Hostess        H
         65009 029924021     RILEY, SHANNA             Server              H
         65009 984951        KAUFFMAN, LINDSAY S.      Server              H
         65009 029923183     PARTIN, AUBRY             Server              H
         65009 717697        LOWRY, ABBY M.            Server              H
         65009 029923542     KIRKLAND, MEGAN           Server              H
         65009 029922742     THIGPEN, ASHLEY           Night Bar           H
         65009 758555        MORGAN, TIFFANY           Server              H
         65009 029924158     REAGAN, DESIREE           Server              H
         65009 029924013     REAGAN, AUDREY            Server              H
         65009 029923925     PETIT-BEAU, DELIUS        Prod/Food Prep      H
         65009 320594        TACEY, AVALON             Server              H
         65009 141439        DENNISON, CRYSTAL M.      Server              H
         65009 029924130     WINDLE, ELIZABET          Server              H
         65009 029924078     KING, AMANDA              Server              H
         65009 322292        COCUZZA, TAYLER M.        Server              H
         65009 029923964     BRANNER, MARKETTA         Server              H
         65009 312978        CATALINE, STEPHEN         Trainee             H
         65009 983443        BECKNER, LEINA            Server              H
         65009 029923219     MASHBURN, BRECKLAN        Host/Hostess        H
         65009 771636        HICKS, TOSHA              Server              H
         65009 029924210     SNIPES, ELISHA            Host/Hostess        H
         65009 029924159     WEBB, LARRISSA            Server              H
         65009 865139        BEAVER, TINA              Server              H
         65009 029924144     MENEESE, ALEXIS           Host/Hostess        H
         65009 811629        JOHNSON, BRANDON          Prod/Food Prep      H
         65009 645501        WEBB, KAYTY               Trainee             H
         65009 029924248     BEAL, SAMANTHA            Server              H
         65009 029923410     VAN BUREN, JACOB          Prod/Food Prep      H
         65009 683941        PHAM, JENNIFER T.         Trainee             H
         65009 029923977     LUCAS, JALEESA            Server              H
         65009 895734        MILLIKEN, AMANDA          Trainee             H
         65010 489916        GILLIN, JOHN              Prod/Food Prep      H
         65010 322620        EXUM, BAKARI              Prod/Food Prep      H
         65010 764932        PARKHILL, TYLER K.        MGR Salary          S
         65010 639459        TOOMBS, JASON D.          GM Salary           S
         65010 029923634     PAIT, CHRISTOPHER R.      MGR Salary          S
         65010 913437        ROSE, RHIANNON            Server              H
         65010 029923350     YOUNG, ZACHARIA           Prod/Food Prep      H
         65010 423624        JONES, SHANNA             Server              H
         65010 999108        HEADRICK, LACEY           Server              H
         65010 029924019     TURNER, KIRSTEN           Server              H
         65010 029922594     WEISE, TAYLOR             Prod/Food Prep      H
         65010 029923869     GULAMERIAN, KALYN A.      Server              H
         65010 762522        TREADWAY, STEPHANI        Server              H
         65010 029922592     WILSON, CHANDLER          Prod/Food Prep      H
         65010 029922043     ARNETT, KATIE             Server              H
         65010 604240        EMMERT, WILMA D.          Prod/Food Prep      H
         65010 668969        CAMPBELL, STEVEN D.       Host/Hostess        H
         65010 348103        GENTRY, ALLISON           Server              H
         65010 371090        CARSON, MARY              Host/Hostess        H
         65010 12363         REICHENBACH, SIMONE       Server              H
         65010 995925        STRICKLAND, CHELSEA       Server              H
         65010 029924153     SMITH, KATIE              Server              H
         65010 029924152     GENTRY, ASHLEY            Server              H
         65010 371638        STURGILL, AIMEE           Server              H
         65010 029923870     ROBERTS, SHELBY L.        Server              H
         65013 813165        WALKER, KRISTEN A.        Hrly Event Coord    H
         65013 223863        HUNLEY, WESTON R.         MGR Salary          S
         65013 943702        HOLLAWAY, CHERIE L.       MGR Salary          S
         65013 100629        CLARKE, JOSEPH            GM Salary           S
         65013 279062        JOHNSON, GINA M.          MGR Salary          S
         65013 029923961     RAY, JERMAINE             Prod/Food Prep      H
         65013 029923301     NEAL, CHRISTOP            Prod/Food Prep      H
         65013 952036        HARRIS, JUSTIN            Prod/Food Prep      H
         65013 029923904     WILKERSON, MICHAEL        Prod/Food Prep      H
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       Cost     EmpID         Name                      Title                Hr/Sl
       Center
          65013 543396        OWENS, REBECCA            Server               H
         65013 648727         ANITO, ERIKA              Server               H
         65013 956091         HANNAN, LAUREN            Server               H
         65013 463663         JOHNSON, JAMES            Trainee              H
         65013 126050         WINGATE, LAUREN           Server               H
         65013 362651         CROCITTO, DOMINIQU        Server               H
         65013 630160         BUCKALEW, ASHLEY          Server               H
         65013 409075         GRAHAM, STACY L.          Host/Hostess         H
         65013 368208         BEACH, LAUREN             Server               H
         65013 984285         RUSSO, BREANNA M.         Server               H
         65013 503448         SCOTT, MICHAEL            Night Bar            H
         65013 912130         ALDRIDGE, SHAVETTE        Server               H
         65013 029922400      FITZ, JENNIFER            Server               H
         65013 569427         PORTER, ALEX              Night Bar            H
         65013 491761         DICK, SABRINA             Server               H
         65013 532731         JONES, DARRIN             Prod/Food Prep       H
         65013 415011         WALTON, CHELSEY           Server               H
         65013 029923052      YOON, BRENDA              Server               H
         65013 239933         KNIGHT, CHELSEA           Server               H
         65013 622180         UNDERWOOD, CHELSEA        Host/Hostess         H
         65013 728900         OLDHAM, ELIZABET          Host/Hostess         H
         65013 713240         NAIDOO, RENEE             Trainee              H
         65013 029923303      GOVAR, LUCILLE            Server               H
         65013 422650         BURBULES, SARAH           Shift/Hrly Leader    H
         65013 352654         COOPER, GREGORY D.        Prod/Food Prep       H
         65013 029924229      HIBLER, BRIAN             Prod/Food Prep       H
         65013 525592         LOVING, ANTHONY L.        Prod/Food Prep       H
         65013 029921798      GOODMAN, LYNDA            Host/Hostess         H
         65013 341561         KOONCE, MARIA             Server               H
         65013 42391          STANLEY, CHRISTY M.       Host/Hostess         H
         65013 400805         PRINCE, CHELSEA B.        Server               H
         65013 421531         WOOD, LINDIE              Server               H
         65013 029922060      WADE, ADAM                Prod/Food Prep       H
         65013 139732         BYRD, SAMANTHA            Server               H
         65013 029923596      BABB, CATHERIN            Server               H
         65013 650775         NORTON, SEAN              Trainee              H
         65013 462376         MOOR, HANNAH              Server               H
         65013 626119         GAINES, BRITTANY          Server               H
         65013 893778         THORNE, MARGARET F.       Server               H
         65013 158995         PIDGEON, JORDAN           Server               H
         65013 029924225      RUSH, JANELL              Host/Hostess         H
         65014 779519         MATSON, ASHLEY            Host/Hostess         H
         65014 874737         THORTON, REGINALD         Prod/Food Prep       H
         65014 861938         GIDDIS, RONALD L.         GM Salary            S
         65014 976382         JONES, JEREMY W.          MGR Salary           S
         65014 129097         BOMBOY, VIVIAN            MGR Salary           S
         65014 982967         BODMAN, PATRICK           MGR Salary           S
         65014 843323         COSTA-HERNANDEZ, CORINA Server                 H
         65014 27615          BOBO, STEVEN K.           Night Bar            H
         65014 738508         KIDDER, LINDZY J.         Server               H
         65014 975004         MCGUIRE, MELODY           Server               H
         65014 029923828      GUZMAN, SYLIVA            Server               H
         65014 029923830      HENDERSON, ANDREA         Host/Hostess         H
         65014 513798         SMITH, CRYSTAL            Server               H
         65014 270709         SIDEBOTTOM, RYAN          Prod/Food Prep       H
         65014 749304         MEEKS, RACHEL             Server               H
         65014 329012         FLORES, SAI               Trainee              H
         65014 187011         BLAKEMORE, JULIA          Host/Hostess         H
         65014 029922681      BURTON, BRANDON           Prod/Food Prep       H
         65014 029923171      WATKINS, MARK             Prod/Food Prep       H
         65014 029923829      DURRETT, AMANDA           Host/Hostess         H
         65014 646348         BLAKEMORE, MICHAEL        Prod/Food Prep       H
         65014 853817         BROWN, DAVID              Prod/Food Prep       H
         65014 885186         KNIGHT, ANGELA            Server               H
         65014 920312         SMILEY, JEFFERY           Prod/Food Prep       H
         65014 029923866      TERRY, CHARRIA            Server               H
         65014 029924204      CLARDY, COURTNEY          Server               H
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       Center
          65014 029923585    SETTLES, BETHANI          Server              H
         65014 474198        BRUNSWICK, JAY            Trainee             H
         65014 588412        BLACKBURN, DONNESHA       Trainee             H
         65014 029923931     DURHAM, SHADAJA           Host/Hostess        H
         65014 029921803     BISHOP, SHANTEL           Server              H
         65014 154820        WATERS, SENITA            Host/Hostess        H
         65014 760386        SORRELL, JESSICA          Server              H
         65015 008502171     HOSKINSON, ANTHONY        Prod/Food Prep      H
         65015 008502204     MURRY, SHONTE             Trainee             H
         65015 704762        STOCKTON, KELSEY          Server              H
         65015 7234438H      WHITE, KYLE C.            MGR Salary          S
         65015 16220         ULRICH, JESSICA M.        GM Salary           S
         65015 543516        MILLER, TODD A.           MGR Salary          S
         65015 505434        EDMONDS, BYRON J.         MGR Salary          S
         65015 008502188     AUGUSTINE, SHAY           Server              H
         65015 008502172     KINGSTON, KIRSTEN         Host/Hostess        H
         65015 268344        HOEMANN, JASON            Server              H
         65015 574033        DIERINGER, ANGELA         Hrly Event Coord    H
         65015 961988        CABRERA, KARLA            Prod/Food Prep      H
         65015 008502219     COBBS, ZIEKO              Server              H
         65015 008502201     SCHLEGEL, TAMRA           Server              H
         65015 353103        GIGER, DESHAWN            Server              H
         65015 008502196     BRANDOM, ANH              Host/Hostess        H
         65015 008502189     RADEWAHN, MALIA           Server              H
         65015 653947        STIDD, KAYLA              Server              H
         65015 008502200     ROGEL, ROLANDO            Prod/Food Prep      H
         65015 215187        CARRILLO, BLASHA          Server              H
         65015 008502157     BOCKMAN, HANNAH           Server              H
         65015 567904        RITTERBUSH, KIMBER        Server              H
         65015 008502165     GIGER, NIKIYA             Host/Hostess        H
         65015 008502202     HOWARD, JAMES             Prod/Food Prep      H
         65015 008502224     HAN, HYE-YEON             Server              H
         65015 008502222     CARSON, CARA              Server              H
         65015 63519644      CABRERA, MARTIN C.        Prod/Food Prep      H
         65015 875966        BOOKER, SHYKEERA          Server              H
         65015 008502161     WALLS, CANDICE            Server              H
         65015 614381        TAMES, STEPHANIE          Server              H
         65015 008502155     HEREK, JESSICA            Server              H
         65015 262318        TRUONG, JESSICA           Server              H
         65015 008502139     CONTRERAS, RODOLFO        Prod/Food Prep      H
         65015 008502225     BOTHWELL, CODY            Prod/Food Prep      H
         65015 008502218     MILLER, SARA              Server              H
         65015 737007        JESSEN, KENDRA            Server              H
         65015 008502166     BORJA, VALERIA            Prod/Food Prep      H
         65015 008502208     TOLIVER, JATAYA           Host/Hostess        H
         65015 008502210     HUDSON, SHAYLA            Host/Hostess        H
         65015 008502209     KENDALL, CARISSA          Host/Hostess        H
         65015 008502211     MAY, TAYLR                Host/Hostess        H
         65015 008502198     WATERMAN, TIMOTHY         Prod/Food Prep      H
         65015 008502162     MCCLUSKY, REBECKA         Server              H
         65015 214979        SIME, JERUS               Prod/Food Prep      H
         65015 008502227     BACON, MELISSA            Server              H
         65015 008502151     STEPANEK, ABIGAYLE        Host/Hostess        H
         65015 927703        ETHEREDGE, SAMANTHA       Host/Hostess        H
         65015 008502160     CAHILL, CHAD              Prod/Food Prep      H
         65015 008502215     VANDETTA-SMITHER,         Server              H
                             CARLEIGH
         65015 617518        GORMAN, ALEXANDRA         Server              H
         65015 008502192     ANDERSON, JAMIE           Night Bar           H
         65015 008502223     CAPPS, PHOENIX            Host/Hostess        H
         65015 008502226     GRIFFIN, AURIEL           Server              H
         65015 008502150     O'LEARY, DEIDRE           Server              H
         65015 008502212     CARMICHAEL, MARY          Host/Hostess        H
         65016 921426        MACALUSO, LAUREN E.       MGR Salary          S
         65016 934858        CEDERBLAD, ERIK C.        MGR Salary          S
         65016 630443        NOSAL, ALLISON R.         MGR Salary          S
         65016 842700        NAVARRO, JOSE             Prod/Food Prep      H
         65016 753360        TARGGART, BRANDY          Server              H
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       Cost     EmpID         Name                        Title             Hr/Sl
       Center
          65016 712633        THORNBURG, MARY             Trainee           H
         65016 457425         KANIUGA, ANDREA             Server            H
         65016 503542         JONES, LINDSEY              Trainee           H
         65016 494547         AIMI, SHEILA                Server            H
         65016 058520094      HOCHSTETLER, MICHAEL        Server            H
         65016 76860          NAVARRO, MARGARITO          Prod/Food Prep    H
         65016 058520155      MORENO, MATTHEW             Server            H
         65016 058520120      WOODWARD, MICHAEL           Server            H
         65016 757533         JAQUEZ, ALEJANDO            Prod/Food Prep    H
         65016 058520063      RUSSO, SASHA                Server            H
         65016 058519960      GRISCH, CHERYL              Server            H
         65016 576248         DAVALOS, MARTIN             Trainee           H
         65016 058520025      PROBST, CHELSEA             Host/Hostess      H
         65016 473426         HEDLER, BROCK               Trainee           H
         65016 058519973      BUCKLEY, MELANIE            Server            H
         65016 058520142      EISEL, AUBREY               Host/Hostess      H
         65016 648157         HERNANDEZ, DIMAS            Prod/Food Prep    H
         65016 475944         SCHMITT, EVAN               Prod/Food Prep    H
         65016 058520138      HARRIS, AIMEE               Server            H
         65016 742851         WARNER, BRITTANY            Server            H
         65016 058520092      HAGAN, CHRISTOP             Prod/Food Prep    H
         65016 058520093      MILLER, NATALIE             Server            H
         65016 296131         TIFFANY, GENNA L.           GM Salary         S
         65016 058520170      EASTWOOD, ROBIN             Server            H
         65016 547073         KING, KATLYN                Host/Hostess      H
         65016 058519953      MCBRIDE, JANELLE            Host/Hostess      H
         65016 058520161      ALBRECHT, BRITTANY          Server            H
         65016 058520045      GUSTAFSON, MARY             Server            H
         65016 058520052      MONGE, EDITH                Server            H
         65016 058520163      TOKAR, LAUREN               Server            H
         65016 058520165      KING, LATRICE               Host/Hostess      H
         65016 348333         BLUMENSTEIN, CLARE          Trainee           H
         65016 058519990      RENWICK, MELANIE            Server            H
         65016 058520147      MUSSON, RONIE               Server            H
         65016 239185         NAVARRO, JUAN               Prod/Food Prep    H
         65016 058520050      RANDOLPH, CHARNELL          Server            H
         65016 058520171      CARSON, AMANDA              Server            H
         65016 058520160      WISE, ALEXANDR              Server            H
         65016 058520047      MUKENSCHNABL, KATHLEEN      Server            H
         65016 058520053      BRUNO, VICTORIA             Host/Hostess      H
         65016 598422         MACALUSO, AUDREY            Host/Hostess      H
         65016 058520156      WOODWARD, JASMINE           Host/Hostess      H
         65016 175151         THOMAS, REBECCA             Server            H
         65016 599783         ALBRECHT, AMANDA            Server            H
         65016 144115         HAY, KIMBERLY               Server            H
         65018 000962580      DELIA II, ANTHONY L.        MIT #2            S
         65018 106782         STALLWORTH, REGINALD        Prod/Food Prep    H
         65018 191697         GREGORY, JOSHUA A.          MGR Salary        S
         65018 266013         BROWN, MIKE                 MGR Salary        S
         65018 000962529      FERNANDEZ, KYAH             MGR Salary        S
         65018 410448         FOUSEK, CHRISTOPHE          GM Salary         S
         65018 526471         FULKROAD, JAMES R.          Server            H
         65018 000962548      WILLIAMS, ISAIAH            Trainee           H
         65018 616459         WADKINS, CHRISTIN           Host/Hostess      H
         65018 000962568      MONTE, WILSON               Trainee           H
         65018 347438         ROBERSON, MALCOLM           Prod/Food Prep    H
         65018 000962370      CARTER, EDDIE               Prod/Food Prep    H
         65018 000962486      WEINDEL, MICHELLE           Trainee           H
         65018 000962508      UNGRADY, ASHLEE             Trainee           H
         65018 835001         LIGHT, ROXANNE              Server            H
         65018 000962518      WHITE, HANNAH               Trainee           H
         65018 851455         HACKNEY, DANIELLE           Server            H
         65018 811936         SPRINGER, JULIENNE          Night Bar         H
         65018 544931         PISZCZOR, HEATHER           Server            H
         65018 000962437      POTTER, ALISHA              Server            H
         65018 972514         YOUNG, JAMES                Prod/Food Prep    H
         65018 000962439      ADKINS, RONNIE              Trainee           H
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       Cost     EmpID        Name                       Title             Hr/Sl
       Center
          65018 000962371    LOTT, WARREN               Trainee           H
         65018 438933        SPETZ, AMANDA              Server            H
         65018 113282        WALLACE, AMANDA            Server            H
         65018 000962459     BROUGHTON, KATHERIN        Server            H
         65018 000962547     CURTIS, REBECCA            Trainee           H
         65018 747363        LINDSTROM, SARAH           Server            H
         65018 000962569     DANIEL, KELSIE             Server            H
         65018 304005        NORRIS, COLLEEN            Server            H
         65018 000962585     REESE, KRISTIAN            Server            H
         65018 573885        CUMMING, PHILLIP           Trainee           H
         65018 788192        WASHINGTON, ALEXIS         Trainee           H
         65018 000962513     ROSS, SHARI                Trainee           H
         65018 768330        LEWICKI, BRADLEY           Trainee           H
         65018 000962491     CIVITARESE, NINA           Trainee           H
         65018 000962512     OLSON, MARTIN              Trainee           H
         65018 000962361     GILCHRIST, RYAN            Trainee           H
         65018 779406        MARKIEWICZ, AMANDA         Server            H
         65018 000962367     BEAVERS, JACQULYN          Trainee           H
         65018 976885        ANDRES, RODNEY             Prod/Food Prep    H
         65018 000962417     CLINTON, ADAM              Prod/Food Prep    H
         65018 462051        ENGERT, MELANIE            Server            H
         65018 000962515     PISTININZI, VANESSA        Trainee           H
         65018 000962575     KNOX, OLIVIA               Host/Hostess      H
         65018 490190        CARNEY, SARAH              Server            H
         65018 000962510     HAAS, REBECCA              Trainee           H
         65018 617197        MARINE, AMANDA             Server            H
         65018 000962316     WALSH, COURTNEY            Server            H
         65018 000962373     MERKEL, ELIZABET           Trainee           H
         65018 440448        MCGILL, STEVEN             Trainee           H
         65018 000962516     BARON, KARA                Trainee           H
         65018 71051         WALSH, KRISTEN             Bartender         H
         65018 549305        WRAY, MARY J.              Server            H
         65018 000962576     MEYER, GABRIELL            Trainee           H
         65018 000962566     HOPE, TURRIYA              Host/Hostess      H
         65022 970369        GARCIA, CARLOS             Prod/Food Prep    H
         65022 280987        FLORES-ALVARADO,           Prod/Food Prep    H
                             FERNANDO
         65022 000376002     MARTINEZ, ROSEIDA          Server            H
         65022 406514        PICHARD, AMIE E.           Server            H
         65022 277498        MUIR, LAUREN               Trainee           H
         65022 865251        MOSES, MICHAEL             MGR Salary        S
         65022 705187        MIRELES, DAVID A.          MGR Salary        S
         65022 55390         EPP, JENNY C.              MGR Salary        S
         65022 171034        GILLISPIE, MICHAEL S.      GM Salary         S
         65022 000375777     RANDAL, ADEENA             Server            H
         65022 423369        ANGULO, MONICA             Server            H
         65022 126249        VALDERAZ, ASHLEY           Server            H
         65022 909251        DECKER, KEITH              Server            H
         65022 721282        ACEVEDO, ALYSSA            Host/Hostess      H
         65022 000375537     TIEU, NGUYEN               Prod/Food Prep    H
         65022 285917        ST. JOHN, GENEVA           Host/Hostess      H
         65022 000375799     VARGAS, ALBERT             Prod/Food Prep    H
         65022 473711        VAN FLEET, AUSTIN D.       Prod/Food Prep    H
         65022 000376126     ARRIAGA, AMBER             Server            H
         65022 000376083     GONZALEZ, FRANK            Prod/Food Prep    H
         65022 000376064     RICHIE, JENEVA             Server            H
         65022 185777        ZAVALA, ANASTASI           Server            H
         65022 000376066     LASLEY, DOMINQUE           Prod/Food Prep    H
         65022 201770        FINKE, JENNA               Server            H
         65022 000375649     GRANADO, JACLYN            Trainee           H
         65022 000375967     JOHNSON, KRISTA            Server            H
         65022 651527        LUCIO, GERARDO             Prod/Food Prep    H
         65022 000376074     MCELLIGOTT, AVERY          Server            H
         65022 000376129     ORTIZ-REYES, HERMELIN      Prod/Food Prep    H
         65022 000375914     EDIRISINGHE, TATHYANA      Server            H
         65022 000375461     SANCHEZ, CARMEN            Trainee           H
         65022 000375795     CUCINOTTA, KATHERIN        Server            H
         65022 000375490     ZIMMERMAN, ZACHERY         Trainee           H
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       Cost     EmpID        Name                      Title             Hr/Sl
       Center
          65022 000375575    ORR, PATRICIA             Server            H
         65022 000375800     ESPINOSA, PAMELA          Host/Hostess      H
         65022 963814        HOOD, JESSICA L.          Host/Hostess      H
         65022 000375819     ONGKIKO, RICHA            Host/Hostess      H
         65022 000375917     ROSALES, OLIVIA           Host/Hostess      H
         65022 000376147     OLIVO, CHRISTIA           Host/Hostess      H
         65022 918099        MARES, LUIS               Host/Hostess      H
         65022 000376096     FRALICK, AMBER            Server            H
         65022 000376025     PINA, URSELLA             Host/Hostess      H
         65022 000376148     CUELLAR, CLARISSA         Server            H
         65023 916096        TABATCHER, LAURA J.       MGR Salary        S
         65023 36520032      CACCAMO, KATRINA          GM Salary         S
         65023 4505468A      MCGILL, NICHOLAS          MGR Salary        S
         65023 36521269      PORTER, EDWARD M.         MGR Salary        S
         65023 765704        KOVACS, GREGORY           Trainee           H
         65023 640286        STANTON, DONALD           Trainee           H
         65023 029923682     BRICHER, COURTNEY         Trainee           H
         65023 799269        STEELE, THOMAS            Prod/Food Prep    H
         65023 029923702     KOHL, JACOB               Trainee           H
         65023 029923333     RUIZ, VICTOR              Trainee           H
         65023 286762        ILGEN, EMILY              Server            H
         65023 115036        GRIFFIN, TRAVIS           Trainee           H
         65023 029923818     WEISENSEEL, BRAD          Trainee           H
         65023 585692        TROTT, BRITTANY           Trainee           H
         65023 029922990     BROWN, KATELYN            Trainee           H
         65023 029922135     BOWER, BRITNEY            Trainee           H
         65023 198282        WASHOWICH, TAYLOR         Trainee           H
         65023 029922993     VICKERY, MATTHEW          Trainee           H
         65023 376486        KERN, CHRISTOP            Trainee           H
         65023 987929        NICKELS, AMBER            Server            H
         65023 029924097     FESTA, AMBER              Trainee           H
         65023 029923636     CAVARRETTA, JOSEPH        Trainee           H
         65023 029924000     WEAVER, ABBY              Trainee           H
         65023 029923684     HUGHES, JENNIFER          Trainee           H
         65023 315680        HASSELL, TARA             Trainee           H
         65023 029923383     PRINCE, HELENE            Trainee           H
         65023 029924139     LEUSCHEN, STEFFANY        Trainee           H
         65023 983291        WILKERSON, CHRISTA J.     Server            H
         65023 029924005     YUKEVICH, SHELBY          Trainee           H
         65023 029924100     RAHNER, RICHARD           Trainee           H
         65023 029923996     DYLEWSKI, JESSICA         Trainee           H
         65023 768712        BARTASAVICH, ALICIA       Trainee           H
         65023 029922546     KINTER-SHAFER, KRISTINE   Trainee           H
         65023 1131588A      LUSKIN, CAITLIN           Server            H
         65023 029923637     BURCKHARTTE, ALYSSA       Trainee           H
         65023 958952        BLONDALE, BRITTANY        Host/Hostess      H
         65023 029922544     CROCKETT, SYMONE          Trainee           H
         65023 029923958     CORNFIELD, STEPHEN        Trainee           H
         65023 029922881     TRYPHONAS, JUSTIN         Trainee           H
         65023 766937        MEZACAPA, TANNA           Server            H
         65023 029924056     RYAN, KELSEY              Trainee           H
         65023 457549        SAMICK, BRIAN             Trainee           H
         65023 029923482     UHL, DYLAN                Trainee           H
         65023 029922872     SIMONSEN, KELSEY          Trainee           H
         65023 029922981     MACINA, KADIDJA           Host/Hostess      H
         65023 029923578     ROHM, TROY                Trainee           H
         65023 029922378     MIKOLAJCZAK, LISA         Trainee           H
         65023 677232        BENNETT, DANIELLE         Night Bar         H
         65023 029922983     GLOVER, SETH              Trainee           H
         65023 928796        NUNEZ, STEPHANI           Host/Hostess      H
         65023 029924137     BRUTTO, SAMANTHA          Trainee           H
         65023 029924098     BENDEN, EMILY             Trainee           H
         65023 134465        GANSKA, LEANNE            Host/Hostess      H
         65023 783294        BOLTZ, ASHLEY             Trainee           H
         65023 283741        VICKERY, ELIZABET         Server            H
         65023 029923681     COCCARELLI, KAILA         Trainee           H
         65023 029924096     MCMICHAEL, COURTNEY       Trainee           H
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       Cost     EmpID         Name                      Title                Hr/Sl
       Center
          65025 259433        MC, HANEY R.              Prod/Food Prep       H
         65025 259703         TOMLINSON, JOHN           Prod/Food Prep       H
         65025 000375788      CALDWELL, APRIL           Host/Hostess         H
         65025 285531         THAMES, SHELBIE           Server               H
         65025 398606         RAYMOND, SHEA F.          Shift/Hrly Leader    H
         65025 907147         KRUSE-MOORE, KIRSTIE C.   GM Salary            S
         65025 000376013      LOUIS, CHRIS L.           MGR Salary           S
         65025 629299         ADAMS, WILL J.            MGR Salary           S
         65025 457419         TOMLINSON, DOUG E.        Prod/Food Prep       H
         65025 000375951      DELEON, DESIREE           Server               H
         65025 000375950      RODRIGUEZ, LAUREN         Server               H
         65025 000376110      SMITH, HAYDEN             Trainee              H
         65025 000376097      ASHTON, TANNER            Prod/Food Prep       H
         65025 000376092      MONTEMAYOR, SASHA         Server               H
         65025 000376059      RAY, KYLE                 Hrly Event Coord     H
         65025 000376003      GONZALES, ANDRES          Host/Hostess         H
         65025 000376035      HOHBEIN, KATIE            Server               H
         65025 275077         FLORENCE, MEAGAN          Server               H
         65025 000376146      FREYERMUTH, STEPHEN       Host/Hostess         H
         65025 000376121      ADAMS, DARBY              Server               H
         65025 000376133      ROBERTS, KATHERIN         Server               H
         65025 119339         ANDERS, JORDYN            Server               H
         65025 000376132      VALDEZ, JENNIFER          Server               H
         65025 691150         BAGNALL, LISA             Server               H
         65025 000376102      COOK, PARKER              Server               H
         65025 000376093      WADE, COURTNEY            Trainee              H
         65025 000376124      EARHART, CATHY            Host/Hostess         H
         65025 000375865      GIBBS, ANTIONET           Host/Hostess         H
         65025 000376145      WIMBERLY, STEVEN          Prod/Food Prep       H
         65025 28788          NICHOLS, PAMELA K.        Server               H
         65025 000376101      MONSCHEIN, CHELSEA        Server               H
         65025 279186         KOSTRZEWA, KELSEY         Host/Hostess         H
         65025 000376144      LESLIE, ASHLEY            Prod/Food Prep       H
         65025 375587         COOPER, BRIA              Trainee              H
         65025 000376134      WOMACK, SARAH             Server               H
         65025 000376122      GARY, BETHANIE            Server               H
         65025 000376140      MINYARD, KRIS             Night Bar            H
         65025 000376094      LUNA, CLAUDIA             Host/Hostess         H
         65025 000375559      MENDEZ, MIA               Server               H
         65025 000376105      HILLGARTNER, ALLYSSEN     Host/Hostess         H
         65025 000375469      JONES, ALLISON            Server               H
         65025 000376061      OCHOA, GABRIEL            Prod/Food Prep       H
         65025 000375669      HEMPHILL, ALEXANDR        Server               H
         65025 109460         MEIWES, GELENA            Server               H
         65025 000376149      MARTINEZ, JONATHAN        Prod/Food Prep       H
         65027 029922553      VARGAS, JAIME             Prod/Food Prep       H
         65027 645253         KEENEY, REBECCA D.        MGR Salary           S
         65027 029922734      SALO, JEFFREY R.          GM Salary            S
         65027 347097         NUGENT, MELISSA           MGR Salary           S
         65027 916664         EMOND, RAYMOND D.         MGR Salary           S
         65027 292471         BRICKEY, NICHOLAS         Prod/Food Prep       H
         65027 153740         BROWN, ALEXUS             Server               H
         65027 411382         DELGADO, ERIK             Server               H
         65027 029922776      LARKIN, ELISE             Hrly Event Coord     H
         65027 420814         BOROWSKI, BRITTANY        Server               H
         65027 029923528      KNIGHT, BRIAN             Prod/Food Prep       H
         65027 461146         JACKSON, REBECCA          Host/Hostess         H
         65027 029923989      SMITH, XAIVER             Prod/Food Prep       H
         65027 029923950      MANNER-BROWN, PAIGE       Trainee              H
         65027 948071         FRANCIS, BRANDY           Night Bar            H
         65027 029922640      SMITH, DEVIN              Host/Hostess         H
         65027 029921859      LIGHTNER, AUSTIN          Prod/Food Prep       H
         65027 029923254      BOVIA, CHASE              Host/Hostess         H
         65027 029923993      HARTGE, ABIGAIL           Server               H
         65027 798048         HALL, SAMANTHA            Server               H
         65027 404539         BROWN, SIERRA             Host/Hostess         H
         65027 029923777      BERG, JOHANNA             Server               H
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       Cost     EmpID         Name                      Title             Hr/Sl
       Center
          65027 137167        BOVIA, JOCELYN            Night Bar         H
         65027 486055         KRUPA, GENEVIEV           Server            H
         65027 029923178      ROGERS, DELNISHI          Prod/Food Prep    H
         65027 029923991      QUILLEN, DAWN             Server            H
         65027 029922081      ZENTZ, LAUREN             Host/Hostess      H
         65027 029923493      BELANGER, ERIC            Server            H
         65027 029923494      GRAVES, MARISA            Server            H
         65027 029922963      VALLEE, BRADEN            Prod/Food Prep    H
         65027 029923711      BALSIS, KATE              Server            H
         65027 029922009      LYNCH, BRANDY             Host/Hostess      H
         65027 029924231      ROSE, CARLTON A.          Host/Hostess      H
         65027 430704         WELDEN, JOANN             Server            H
         65027 029922894      COUGHLIN, CHELSEA         Server            H
         65027 029924008      STUART, DANI              Host/Hostess      H
         65027 029924258      SCHIMMEL, SAMUEL          Prod/Food Prep    H
         65027 029922893      MCKINDLES, KATELYN        Server            H
         65027 029923990      BROCKMAN, HOLLY           Server            H
         65027 106104         POLGAR, MAGEN             Server            H
         65027 029923992      MARSHALL, CHRISTOP        Server            H
         65027 029924071      WARREN, NICOLE            Host/Hostess      H
         65027 029923495      MAPES, AMANDA             Trainee           H
         65027 029922917      DHAKAL, RACHHYATA         Server            H
         65027 029923839      MCGUIRE, SCOTT            Prod/Food Prep    H
         65027 956520         SMITH, AMANDA             Server            H
         65027 029922114      CLEMENTS, TONI            Prod/Food Prep    H
         65028 871776         PROMISEL, CHELISE         Server            H
         65028 970387         BARNETT, ASHLEY N.        Server            H
         65028 277493         JOHNSON JR, TERRY O.      Prod/Food Prep    H
         65028 143730         GAVITO, LAURA L.          MGR Salary        S
         65028 689536         LAVECK, BRIAN K.          MGR Salary        S
         65028 741806         ENTEZARI, RONNA           MGR Salary        S
         65028 893536         PEDRICK, BRIAN B.         GM Salary         S
         65028 814595         JONES, JOE C.             MGR Salary        S
         65028 81513          TODD, CARLOS              Prod/Food Prep    H
         65028 450611         JARVIS, MARY              Server            H
         65028 029922587      JONES, AMBER              Server            H
         65028 029923768      HEARN, STEPHANI           Server            H
         65028 029923827      GOSSETT, ELAYNA           Server            H
         65028 029923488      RICHARDSON, ERICA         Server            H
         65028 029923823      BOWDEN, BRANDI L.         Server            H
         65028 646351         WILSON, AMANDA L.         Server            H
         65028 54522567       SAVARIN, ELEANOR          Trainee           H
         65028 029924141      KESHAV, TANISHA           Server            H
         65028 029923924      INMAN, STEVEN             Prod/Food Prep    H
         65028 029922394      CREASY, KALEB             Prod/Food Prep    H
         65028 029923955      HARRIS, KENDRA            Server            H
         65028 894644         RUSSELL, JULIE            Server            H
         65028 126075         HORTON, EDDIE             Prod/Food Prep    H
         65028 910027         STANLEY, ASHLEY           Server            H
         65028 029924015      WELCH, CRYSTAL            Host/Hostess      H
         65028 491898         MACK, DANIESHA            Server            H
         65028 029924014      CHAMBERLAIN, BRITTANY     Server            H
         65028 029923770      MCCOLLUM, AMBERLY         Server            H
         65028 029924183      ELLIS, VICTORIA           Server            H
         65028 029924182      TEMPLETON, CORY           Server            H
         65028 33835          WEBB, WILLIE J.           Prod/Food Prep    H
         65028 029923216      BARNETT, ALLISON          Server            H
         65028 029923772      ROBILIO, CHRISTOP         Prod/Food Prep    H
         65028 029923826      MCFADDEN, AUSTIN          Server            H
         65028 029924207      DILDAY, AJA               Server            H
         65028 029923011      DEAN, GINGER              Host/Hostess      H
         65028 943544         MORGAN, KATOYA            Host/Hostess      H
         65028 1107378A       SMITH, NISA               Server            H
         65028 029922222      HITE, MOLLY               Host/Hostess      H
         65028 029923580      BROOKS, BRIANA            Server            H
         65028 623143         WATTS, AMBER              Server            H
         65028 029923206      CAMPBELL, ADRIAN          Prod/Food Prep    H
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       Cost     EmpID        Name                      Title               Hr/Sl
       Center
          65028 029923962    HARRELL, JESSE            Prod/Food Prep      H
         65028 425265        BRUNER, ALEXIA            Server              H
         65028 683901        BAYLES, FAUN              Server              H
         65028 361630        BELSHAN, EMILY            Server              H
         65028 029923773     CONWAY, KHADIJA           Host/Hostess        H
         65028 029923524     TILTON, ANDREW            Host/Hostess        H
         65028 029924184     FEUERSTACKE, CARA         Server              H
         65028 386353        BLAIR, SHADA              Host/Hostess        H
         65028 406052        MOORE, DURAN              Prod/Food Prep      H
         65028 530259        BROWN, JASON              Prod/Food Prep      H
         65028 876947        AVERY, TOSHIBA            Prod/Food Prep      H
         65028 54522650      SEIBERT, JOSEPH           Prod/Food Prep      H
         65029 048510469     STAVELY, RYAN J.          MIT #2              S
         65029 876197        MCGARR, DEREK             Trainee             H
         65029 048510445     LITTRELL, TANNER          Server              H
         65029 048510386     RILEY, JOSHUA             Server              H
         65029 048510390     KEETON, JENNIFER          Hrly Event Coord    H
         65029 984922        IGNOWSKI, DAVID P.        MGR Salary          S
         65029 8502128J      MAYO, JENNIFER L.         MGR Salary          S
         65029 311221        PERKINS, JENNIFER J.      GM Salary           S
         65029 048510463     RALSTON, MOLLY L.         MIT #2              S
         65029 048510361     ARNOLD, BROOKE            Prod/Food Prep      H
         65029 473329        FELKINS, AMBER            Host/Hostess        H
         65029 73029         SAUCEDO, BETEL            Prod/Food Prep      H
         65029 956125        KARCH, JOSHUA J.          Night Bar           H
         65029 279264        ALBARRAN, ROGELIO B.      Prod/Food Prep      H
         65029 693958        BELL, DENA                Host/Hostess        H
         65029 113662        VAUGHAN, ALEXIS           Server              H
         65029 048510440     METSCHER, TIFFANY         Server              H
         65029 653002        BARNES, NATALIE           Host/Hostess        H
         65029 048510384     GREEN, JORDAN             Server              H
         65029 853801        REED, LACEY J.            Server              H
         65029 048510404     PALMER, MCKENZI           Server              H
         65029 327771        STOY, BRITNEY             Server              H
         65029 327060        POOL, RANDALL             Server              H
         65029 048510455     EDELMAN, BRITTNEE         Server              H
         65029 048510444     FULLER, LISA              Server              H
         65029 048510446     WILLIAMS, VIRGINA         Server              H
         65029 048510350     DIAZ, SANDRA              Prod/Food Prep      H
         65029 93154209      RATTERREE, CRYSTAL L.     Server              H
         65029 109131        ALBARRAN, PABLO           Prod/Food Prep      H
         65029 958551        MERCIER, BRIANNE          Night Bar           H
         65029 048510441     GRUBE, CHEYENNE           Server              H
         65029 048510413     PENBERTHY, ALEXA          Server              H
         65029 736749        GUTIERREZ, PAULINA        Prod/Food Prep      H
         65029 048510466     HARSTAD, JODIE            Host/Hostess        H
         65029 048510475     LOPEZ GOMEZ, ADONIS       Prod/Food Prep      H
         65029 897892        EVEN, JONATHAN            Prod/Food Prep      H
         65029 048510454     LUBESKI, JANESSA          Server              H
         65029 048510388     BERRY, EMILY              Server              H
         65029 048510349     SCHLEGEL, LAURA           Server              H
         65029 048510468     SHEPERD, CANDACE          Server              H
         65029 109919        BURGARD, BRADLEY          Server              H
         65029 048510476     CALIK, KIMBERLY           Host/Hostess        H
         65029 048510377     SHANER, JESSICA           Server              H
         65029 48516671      MURPHY, ANDREW M.         Prod/Food Prep      H
         65029 048510419     WILSON, JENNIFER          Server              H
         65029 048510417     PARKER-WARD, COLYN        Server              H
         65029 835385        TABARES, NATALIE          Server              H
         65030 000962425     SPEAKS, KEVIN             Prod/Food Prep      H
         65030 616774        HEIDY, ROBERT             Prod/Food Prep      H
         65030 000962344     HOLDEN, LYNN              Server              H
         65030 472619        BAIR, RACHAEL             Host/Hostess        H
         65030 000962466     DRAIME, CHELSEA           Server              H
         65030 273274        SMITH, ERIC T.            GM Salary           S
         65030 000962500     RUHL, LINDSAY E.          MGR Salary          S
         65030 296122        HALLER, JEFF S.           MGR Salary          S
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       Cost     EmpID         Name                      Title             Hr/Sl
       Center
          65030 609759        STICKEL, BRIAN D.         MGR Salary        S
         65030 927081         HARPER, ROBIN             Server            H
         65030 508118         WILLIAMS, JAMES           Prod/Food Prep    H
         65030 6181528B       CALABRO, ALYESE           Server            H
         65030 000962528      HOSKINSON, JOSHUA         Prod/Food Prep    H
         65030 000962561      KILLION, STEPHANI         Host/Hostess      H
         65030 000962503      DUKE, VERONICA            Server            H
         65030 000962395      KOHL, JERRY               Prod/Food Prep    H
         65030 000962535      SANDERS, ELIZABET         Server            H
         65030 917176         WEHRENBERG, JAMIE         Server            H
         65030 000962505      REIS, BRITTANY            Host/Hostess      H
         65030 905818         LINT, AMANDA              Server            H
         65030 869124         BUTLER, ANDREA            Host/Hostess      H
         65030 000962475      PETROFF, ALEXANDR         Server            H
         65030 000962309      RICE, PATRICIA            Host/Hostess      H
         65030 000962527      SPEARS, AMANDA            Host/Hostess      H
         65030 000962552      SHANKLIN, DANIELLE        Host/Hostess      H
         65030 000962563      HILL, SAMANTHA            Host/Hostess      H
         65030 000962487      SZYMONIAH, SHAINA         Server            H
         65030 000962526      GALLIMORE, CASSANDR       Server            H
         65030 000962574      VALENTINE, CASEY          Host/Hostess      H
         65030 415831         CRABLE, LYNDSAY           Server            H
         65030 000962488      ZAGER, BROOK              Server            H
         65030 486234         BEARD, KATELYN            Server            H
         65030 000962572      GREEN, LAMARR             Prod/Food Prep    H
         65030 426631         WALBORN, TAILYN           Server            H
         65030 000962562      DISS, BREANNA             Host/Hostess      H
         65030 000962587      DUKE, DARYL               Host/Hostess      H
         65030 000962593      HEARD, JESSICA            Server            H
         65030 000962571      MCCARTY, JAMIE            Host/Hostess      H
         65030 000962573      YOUNG, BROOK              Host/Hostess      H
         65031 317818         MARQUEZ, OLVERA J.        Prod/Food Prep    H
         65031 519403         BRUNO, KUBILAI            Trainee           H
         65031 175969         BURGESS, KENNETH          Host/Hostess      H
         65031 9220828A       KJELSON, KENNETH P.       MGR Salary        S
         65031 360570         FOGG, TAYLOR K.           MGR Salary        S
         65031 941836         BASWELL, KEATS            GM Salary         S
         65031 999592         CRAFT, BRYAN W.           MGR Salary        S
         65031 57600611       LABELLE, SEAN M.          MGR Salary        S
         65031 822225         BRUNO, ANDROS             Prod/Food Prep    H
         65031 556088         COOPER, JAMES             Server            H
         65031 365877         VAUGHAN, MEGAN            Trainee           H
         65031 029921950      BENEDICT, ALEXIUS         Server            H
         65031 932321         MCKNIGHT, CHRISTEN A.     Server            H
         65031 029922837      CAHILL, KRISTEN           Server            H
         65031 929335         MOTLEY, KENNETH J.        Trainee           H
         65031 029923945      STRASSBERG, CALEB         Server            H
         65031 491634         ADAMS, ASHLEY             Server            H
         65031 029922790      CZERNIAK, ERIC            Trainee           H
         65031 029924113      VANDIVIER, NICHOLAS R.    MIT #2            S
         65031 029923892      RAGLAND, ALEX             Prod/Food Prep    H
         65031 253987         RAINS, LILY               Trainee           H
         65031 029923796      MCNULTY, LUKE             Host/Hostess      H
         65031 029923355      PIERCE, MICHAEL           Prod/Food Prep    H
         65031 029922964      SHANNON, NICHOLAS         Prod/Food Prep    H
         65031 447710         WRIGHT, LYDIA             Server            H
         65031 665466         HAUGLE, REBECCA           Server            H
         65031 029923947      PEARCE, MADDY             Server            H
         65031 029923374      PATE, LAUREN              Server            H
         65031 029923873      AKKARI, AIDAN             Host/Hostess      H
         65031 029921907      SUGG, ELIZABET            Trainee           H
         65031 029923944      HOEVELER, VICTORIA        Host/Hostess      H
         65031 029923750      SANCHEZ, MANUEL A.        Server Trainee    H
         65031 029924082      DALRYMPLE, MARY           Server            H
         65031 399764         SQUIRES, JADE             Server            H
         65031 998577         BURROUGHS, HANNAH         Host/Hostess      H
         65031 029924084      SHON, JANICE              Server            H
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       Cost     EmpID        Name                       Title             Hr/Sl
       Center
          65031 029922913    COURTNEY, JOELLE           Server            H
         65031 397825        THAW, KAYLN                Server            H
         65031 029924025     GADDY, COURTNEY            Server            H
         65031 873491        FOSTER, CHELSEA            Host/Hostess      H
         65031 029923932     HOLLEY, TATYANNA           Server            H
         65031 029924083     MCCLUSKEY, MEGAN           Server            H
         65031 029922406     AGE, ROSELLA               Server            H
         65031 029922912     ACCIANI, MARISSA           Server            H
         65031 029921997     PARKER, LYDIA              Server            H
         65031 029924024     MCCALL, SAVANNA            Host/Hostess      H
         65031 148973        CHAVEZ, PEDRO              Trainee           H
         65031 029924023     AMERSON, VICTORIA          Host/Hostess      H
         65031 876717        ADKINS, SARA               Host/Hostess      H
         65031 424240        CRANDALL, MEGAN            Server            H
         65031 029924026     MIDTHUN, ALEXANDR          Server            H
         65032 033519305     RUIZ, BRADLEY              Trainee           H
         65032 948785        MCCLURE, JEREMIAH          Prod/Food Prep    H
         65032 51427         HOPKINS, PRISCILLA         Prod/Food Prep    H
         65032 511531        ELLZEY, MICHELLE M.        GM Salary         S
         65032 20400         SMITH, MARVIN              MGR Salary        S
         65032 546001        KAPPLER, NICOLE T.         MGR Salary        S
         65032 912664        SHIELDS, TAMMY B.          MGR Salary        S
         65032 216770        TALTON, CHANA M.           Prod/Food Prep    H
         65032 379534        SHELDON, CHRISTI           Trainee           H
         65032 033519179     JACOBS, WHITNEY            Trainee           H
         65032 033519297     BAUMGARTNER, LISA          Trainee           H
         65032 033519292     GRANGER, CASSANDR          Server            H
         65032 033519308     DEBOSE, SHELBIE            Server            H
         65032 501942        SHELDON, WENDI             Server            H
         65032 727274        HAMBURG NOAH, BELINDA A.   Prod/Food Prep    H
         65032 033519295     AMOS, TAYLOR               Host/Hostess      H
         65032 965151        BROWN, CEOLIA M.           Prod/Food Prep    H
         65032 033519296     HANKTON, GIERRA            Host/Hostess      H
         65032 033519317     WARE, AMBER                Trainee           H
         65032 033519300     RELEFORD, JASMINE          Host/Hostess      H
         65032 316179        LANDRY, NICOLE             Trainee           H
         65032 033519302     HARDY, GLENNIECE           Trainee           H
         65032 033519315     FERRARA, ANGELO            Trainee           H
         65032 212422        GRAB, JULIE                Trainee           H
         65032 464448        JOSEPH, KENYON T.          Trainee           H
         65032 033519180     STAUFFER, STEPHANI         Server            H
         65032 033519214     SPEED, LAMAR               Prod/Food Prep    H
         65032 447635        BIRO, STEPHANI             Host/Hostess      H
         65032 033519313     PARLANTE, ALICIA           Server            H
         65032 598466        SCHAFFER, DEMI             Host/Hostess      H
         65032 033519271     RANKER, BYRON              Prod/Food Prep    H
         65032 033519288     SPEED, KENDRICK            Trainee           H
         65032 408462        ZITO, RYAN                 Server            H
         65032 982213        HUVAL, CHRISTINE E.        Trainee           H
         65032 033519259     NEAL, MADISON              Server            H
         65032 033519304     FERGUSON, KAILYN           Trainee           H
         65032 033519286     THOMAS, BYRON              Trainee           H
         65032 113922        SOLERA, ELLEN              Trainee           H
         65032 545448        BARLAAN, AMBER             Server            H
         65032 033519268     PERCLE, ERIN               Host/Hostess      H
         65032 033519267     CUBAS, LIZABETH            Trainee           H
         65032 982449        WHITE, BYRON A.            Prod/Food Prep    H
         65032 366477        LOVE, KEILIA               Trainee           H
         65032 828344        NUGENT, RACHEL             Trainee           H
         65032 033519299     HARRISON, LESTER           Prod/Food Prep    H
         65032 033519252     REED, KASEY                Trainee           H
         65032 033519227     MIGLIORE, MALLORY          Trainee           H
         65032 268471        WILLIAMS, BRANDON          Trainee           H
         65033 76660         ROSEN, BARRY L.            MIT #2            S
         65033 029924189     DONOFRIO, ANTHONY A.       MIT #2            S
         65033 2939698A      BOGGESS, PETER A.          MGR Salary        S
         65033 433034        SCHOLL, LINDSAY            MGR Salary        S
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       Cost     EmpID         Name                      Title               Hr/Sl
       Center
          65033 915861        LIPSCOMB, ROBERT B.       GM Salary           S
         65033 577129         DEBALDO, KELLY            Host/Hostess        H
         65033 029923461      RICHEY, CHARTEL           Server              H
         65033 751562         YAKEMAWIZ, DANIEL         Prod/Food Prep      H
         65033 9838798A       HUSAK, STACI E.           Server              H
         65033 029923438      KERR, ANDREW              Prod/Food Prep      H
         65033 822401         HUSAK, CHRIS              Prod/Food Prep      H
         65033 618797         MARTIN, JASON             Trainee             H
         65033 029923631      BURKHART, ALESHIA         Server              H
         65033 029922240      SMITH, DANIEL             Prod/Food Prep      H
         65033 581556         GODKIN, DEVON             Host/Hostess        H
         65033 029923163      MASTIC, MADDIE            Hrly Event Coord    H
         65033 985032         STOKES, KATIE             Server              H
         65033 029924107      MCCLEMENS, HEATHER        Host/Hostess        H
         65033 727287         ANTONUCCI, ANTHONY        Prod/Food Prep      H
         65033 029924106      MARTIN, JAMES             Prod/Food Prep      H
         65033 029923917      MYSZAK, REBECCA           Host/Hostess        H
         65033 029923703      HOOD, NATALIE             Server              H
         65033 225023         RAMUS, JENNIFER           Server              H
         65033 36518410       MONTEVERDE, DEBORAH       Server              H
         65033 479363         HALEY, LAURA              Server              H
         65033 029924235      COPPOLA, CLAUDIA          Server              H
         65033 337239         SHAPERT, SHEA             Prod/Food Prep      H
         65033 029924109      SERRANO, JESSICA          Server              H
         65033 676543         SCHONBACHLER, ERICA       Server              H
         65033 990708         SANDRY, KATHERIN          Server              H
         65033 029922186      CRIPPEN, ALEXA            Server              H
         65033 668681         MCINTYRE, KRISTEN L.      Night Bar           H
         65033 029924149      BRUBAKER, KARLEY          Server              H
         65033 029924003      YEAGER, KALSEY            Server              H
         65033 857241         RYNKIEWICZ, LYNNE         Server              H
         65033 029922645      WOODS, VERONICA           Host/Hostess        H
         65033 256721         CONTE, CAITLIN R.         Server              H
         65033 029923995      COOK, ERICA               Server              H
         65033 470201         NIEHAUS, CHELSEA          Server              H
         65033 029922562      PETERSON, EMILY           Server              H
         65033 659022         BRASILE, ALLISON          Server              H
         65033 247788         LAMPASI, MARIA            Server              H
         65033 454238         HENDERSON, MICHELE        Server              H
         65033 521235         RUBY, JONATHAN            Prod/Food Prep      H
         65033 029924111      LUC, NIKKI                Server              H
         65033 783020         KRISTUFEK, STEPHEN        Prod/Food Prep      H
         65033 891575         SCHERLING, KRISTEN        Server              H
         65033 227080         PHAN, JACLYN              Host/Hostess        H
         65033 029922242      VALENTINO, KRISTIN        Server              H
         65033 029924197      LITTLE, TAYLOR            Host/Hostess        H
         65033 029924110      CAPAROSO, GABRIELA        Server              H
         65033 445308         DEHARO, SARAH             Host/Hostess        H
         65033 299554         BICKERT, JESSICA          Server              H
         65033 029922727      COOK, DIANA               Host/Hostess        H
         65033 741006         SMITH, JERMAINE           Trainee             H
         65035 259234         ROWE, EMILY               Hrly Event Coord    H
         65035 008574116      HOOVER, DEREK L.          MGR Salary          S
         65035 008574047      SIMONS, CHARLES A.        MGR Salary          S
         65035 9535958C       PRATHER, LISA M.          MGR Salary          S
         65035 008574102      ARMSTRONG, ALAN S.        MGR Salary          S
         65035 824737         GLEMBIN, BREANNA N.       Server              H
         65035 836198         GALINDO, ANGEL A.         Prod/Food Prep      H
         65035 907242         BARNES, CAITLIN           Trainee             H
         65035 504543         ADESSO, DANIELLE          Server              H
         65035 008574084      RESLER, AMY               Server              H
         65035 46725          MARTINEZ, ALEJANDRO F.    Prod/Food Prep      H
         65035 008574154      VILLA, SIERRA             Server              H
         65035 907294         DURANT, JONATHAN          Server              H
         65035 008574137      ALEXANDER, BLAKE          Server              H
         65035 904207         HOLLINGSWORTH, ERIC       Trainee             H
         65035 008574140      DENNEY, ASHLEY            Server              H
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       Center
          65035 915048        KAZMIERZAK, JENNIFER        Server            H
         65035 008574041      PEREZ DE LA LUZ, JULIO C.   Prod/Food Prep    H
         65035 008574133      MARTINEZ, MARIO             Prod/Food Prep    H
         65035 765070         BRYAN, DENA-MAR             Server            H
         65035 008574142      BALTAZAR, ALFREDO           Prod/Food Prep    H
         65035 008574147      JUAREZ, OMAR                Prod/Food Prep    H
         65035 008574161      CRICK, KEITH                Server            H
         65035 276482         CAPARELLA, ERIN             Server            H
         65035 866311         LOPEZ, VICTOR               Trainee           H
         65035 751405         SHRODE, MELINDA             Night Bar         H
         65035 008574149      HARRA, CANNA                Server            H
         65035 008574144      POLLARD, TATYANNA           Server            H
         65035 782231         THOMPSON, PHIL A.           Server            H
         65035 008574143      BIGGS, ZACHARY              Server            H
         65035 008574157      LEMONDS, CRAIG              Host/Hostess      H
         65035 008574158      LETHIG, LAUREN              Trainee           H
         65035 008574156      ALEXANDER, CAROLINE         Host/Hostess      H
         65035 008574092      PURK, AMY                   Server            H
         65035 478854         MELIN, JOSHUA               Server            H
         65035 008574083      SMITH, JOHN                 Night Bar         H
         65035 591235         WILLIAMS, KAMI A.           Server            H
         65035 008574155      MCKENZIE, ALEXIS            Host/Hostess      H
         65035 948033         MILLER, RYAN J.             Bartender         H
         65035 814125         LARNER, JOCELIN             Night Bar         H
         65035 640557         MILLS, MALLORY              Server            H
         65035 934777         SHIFFLETT, TIFFANY          Night Bar         H
         65035 008574159      FLEISCHAUER, MATT           Trainee           H
         65035 008574114      WATSON, DENISE              Server            H
         65035 008574076      OGG, KIRSTEN                Server            H
         65036 202392         MATZAR, HENRY               Prod/Food Prep    H
         65036 000375538      THOMPSON, TODD              Server            H
         65036 612274         MCDOWELL, SAMANTHA          Server            H
         65036 312075         SIFUENTES, MICHELLE L.      GM Salary         S
         65036 481152         STAPLES, JEFF S.            MGR Salary        S
         65036 720201         MATTHEWS, WILLIAM B.        MGR Salary        S
         65036 230952         CERDA, JILLIAN              MGR Salary        S
         65036 804432         IMANA, JESIKA A.            MGR Salary        S
         65036 85566190       GARCIA, TOMAS               Prod/Food Prep    H
         65036 165140         TZUL, GEOVANY               Prod/Food Prep    H
         65036 000376098      PITMAN, SAMANTHA            Trainee           H
         65036 370416         TAX, CESAR                  Prod/Food Prep    H
         65036 777019         ALI, ALISHA                 Server            H
         65036 000376027      GEIER, YANA                 Trainee           H
         65036 000376085      GAMEZ, NANCY                Trainee           H
         65036 894370         TRAN, THUY L.               Server            H
         65036 967814         TILLMAN, JAMES A.           Host/Hostess      H
         65036 138997         MATZAR, ANDRES              Prod/Food Prep    H
         65036 000376075      CARL, ALYSSA                Server            H
         65036 000376063      BREAUX, JONATHON            Trainee           H
         65036 000375760      JONES, SHEARYNN             Trainee           H
         65036 000375935      CARTER, DJONA               Trainee           H
         65036 358885         MCLELLAN, KELSEY            Host/Hostess      H
         65036 204379         WILT, KIMBERLY              Host/Hostess      H
         65036 000376077      QUINTANA, IRIS              Server            H
         65036 371597         PENALOZA, MANUEL            Prod/Food Prep    H
         65036 000375805      ANDERSON, ALEXANDE          Host/Hostess      H
         65036 848227         WALLACE, SARALYN            Server            H
         65036 272407         SANTANA, PASTOR             Prod/Food Prep    H
         65036 000376104      CARROLL, CANDICE            Trainee           H
         65036 767341         CUMMINS, HEATHER            Host/Hostess      H
         65036 000375710      HAARER, BRITTANY            Server            H
         65036 530946         AYALA, LUCY                 Trainee           H
         65036 000376076      GRIFFIN, PERRY              Night Bar         H
         65036 000376071      FITTS, SYDNIE               Trainee           H
         65036 180037         CONRAD, TORI                Trainee           H
         65036 934634         SANDOVAL, ARMANDO C.        Prod/Food Prep    H
         65036 000375919      GREEN, ANTOINET             Trainee           H
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       Cost     EmpID         Name                       Title             Hr/Sl
       Center
          65036 496127        SCOTT, JESSICA             Host/Hostess      H
         65036 295163         SCARMARDI, VICTORIA        Server            H
         65038 029922634      BOJANOWSKI, RENEE          Server            H
         65038 029923939      WEGELA, MITCHELL           Trainee           H
         65038 9492858A       GAGNON, JASON H.           GM Salary         S
         65038 331395         TOLSMA, SARA               MGR Salary        S
         65038 181987         LIND, ERIN                 MGR Salary        S
         65038 542903         GRIGGS, RICHARD E.         Prod/Food Prep    H
         65038 169590         LAARKAMP, KARI             Server            H
         65038 731769         FURNISS, MICHAEL           Prod/Food Prep    H
         65038 515707         GUZMAN, MIGUEL             Prod/Food Prep    H
         65038 493616         SARWARSKI, ELISE           Server            H
         65038 029922919      MCCAULEY, JESSICA          Trainee           H
         65038 160383         DRABNIG, JESSICA           Trainee           H
         65038 029924086      LELAND, JAMES              Prod/Food Prep    H
         65038 228419         BAZZARELLE, BREANNE        Server            H
         65038 527634         REAMER, KRISTEN            Trainee           H
         65038 111748         MINK, CANDICE              Trainee           H
         65038 029922633      LA JOICE, JASON            Prod/Food Prep    H
         65038 434041         FURNISS, TRISTAN L.        Trainee           H
         65038 029923314      PARKS, KRISTINA            Server            H
         65038 516979         KASSIS, MANAL              Server            H
         65038 029923454      KELLEY, ASHLEE             Server            H
         65038 029922229      LASTER, KRISTINA           Server            H
         65038 891651         DRABING, KAITLYN           Host/Hostess      H
         65038 029923544      HARDAWAY, CHARLES          Server            H
         65038 029924169      HUBERT, HOLLI              Host/Hostess      H
         65038 474842         WILLIAMS, EARNEST          Prod/Food Prep    H
         65038 029922044      WECLOWSKI, LINDSAY         Host/Hostess      H
         65038 729824         TENNESON, ALISSA           Server            H
         65038 195253         STEPHENS, ERICA            Server            H
         65038 737878         TRUESDELL, KATELYN         Host/Hostess      H
         65038 029922454      DULMAN, CHRISTOP           Night Bar         H
         65038 029922072      WALKER, DEVON              Server            H
         65038 951495         HEIL, BRITTENY             Trainee           H
         65038 809736         MCCALLUM, MARIAH           Host/Hostess      H
         65038 029924170      FOODY, PATRICK             Day Bar           H
         65038 029923312      OUILLETTE, ASHLEY          Host/Hostess      H
         65038 029923517      BALLUFF, FRANCES           Server            H
         65038 029924046      WILK, ERIC                 Host/Hostess      H
         65038 029922010      JARVIS, PAYGE              Host/Hostess      H
         65038 029922228      HANSARD, ANGEL             Server            H
         65038 029923105      MATIGIAN, ALEXIS           Server            H
         65038 122356         SAMUELS, DANIELLE          Server            H
         65038 291237         NESTOR, DOMINQUE           Host/Hostess      H
         65038 029924045      KOLLER, EMILY              Host/Hostess      H
         65038 029922122      BRADLEY, RACHEL            Server            H
         65038 029923652      HARDOIN, ELIZABET          Server            H
         65038 447062         CHARGE, BRITTNI            Host/Hostess      H
         65038 029923920      ARIAS, ESCELY              Trainee           H
         65038 029923455      RUOKOLAINEN, JENNA         Server            H
         65038 029923543      MILLER, ASHLEY             Server            H
         65038 029924168      ZAMARRON, SAMANTHA         Host/Hostess      H
         65038 029922514      SLATER, LEIGH              Host/Hostess      H
         65038 799369         CLAYDON, MORIAH            Host/Hostess      H
         65038 556619         CIFALDI, SARAH             Trainee           H
         65038 029921985      MOORE, MEGAN               Server            H
         65038 029924167      ALEXANDER-JONES, PRENTIS Trainee             H
         65038 922028         BARC, EMILY                Server            H
         65039 000962570      DRAGOVICH, RACHEL          MIT #2            S
         65039 190961         SPELLACY, MATTHEWS         Trainee           H
         65039 514827         PERKINS, CORY              Prod/Food Prep    H
         65039 906784         BUTRYM, JONATHAN           GM Salary         S
         65039 915887         DALTON, AMANDA M.          MGR Salary        S
         65039 165885         CASSIDY, PATRICK S.        MGR Salary        S
         65039 000962567      BROWN, JASMINE             Server            H
         65039 000962565      YELSIK, JOE                Server            H
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       Cost     EmpID         Name                       Title               Hr/Sl
       Center
          65039 947515        GRIFFIE, MELISSA J.        Hrly Event Coord    H
         65039 000962368      SPOHN, SHANE               Prod/Food Prep      H
         65039 737770         FORSYTH, RYAN              Prod/Food Prep      H
         65039 813636         MANCINI, MELANIE           Host/Hostess        H
         65039 898957         NEMEC, AMY                 Host/Hostess        H
         65039 000962482      PIERCE, JOESEPH            Server              H
         65039 000962519      SPERRAZZA, DEBBIE          Server              H
         65039 000962534      NEWMAN, CHRISTOP           Trainee             H
         65039 897433         KABO, JULIA                Server              H
         65039 000962517      VLAHOPOULOS, MARIA         Server              H
         65039 108683         MUNNINGS, KATIE            Server              H
         65039 167140         RUFFNER, NICHOLAS          Trainee             H
         65039 000962362      BROWN, ANDREW              Host/Hostess        H
         65039 000962357      JONES, JEFF                Prod/Food Prep      H
         65039 000962532      WANKOWSKI, AMANDA          Trainee             H
         65039 671118         FOOR, KRISTA               Server              H
         65039 556788         MARTIN, JENNIFER           Night Bar           H
         65039 000962483      VELIU, KLEJTA              Host/Hostess        H
         65039 000962560      SPERRAZZA, BRANDON         Host/Hostess        H
         65039 284403         HALE, SHANNAON             Trainee             H
         65039 668222         BOLLINGER, JOSEPH          Prod/Food Prep      H
         65039 000962578      YOUNG, KIERSTEN            Server              H
         65039 000962531      DELL, AMBER                Host/Hostess        H
         65039 653990         BICAN, MARIAH              Trainee             H
         65039 000962579      KINZEL, AMBER              Server              H
         65039 000962520      KUDRYK, ALICIA             Server              H
         65039 629726         BORRERO, BIANCA            Server              H
         65039 906256         LOPARO, NICOLE             Trainee             H
         65039 000962577      KOMPIER, GIANNA            Server              H
         65039 000962591      SMOLINSKI, ALEXANDR        Server              H
         65039 597359         NAPOLITANO, MEGAN          Host/Hostess        H
         65039 617511         ORAHOSKE, COLLEEN          Server              H
         65039 000962592      HALL, JOSHUA               Bar Back            H
         65039 554057         BURKE, CAITLIN             Host/Hostess        H
         65039 238501         TORRES, NYISHA             Host/Hostess        H
         65039 159274         HEARN, CAROLINE            Host/Hostess        H
         65039 000962590      MILLER, ALANA              Host/Hostess        H
         65039 855225         HAKAL, MATTHEW             Prod/Food Prep      H
         65041 725028         SMITH, AMANDA              Server              H
         65041 63713          TAYLOR, JENNIFER L.        MGR Salary          S
         65041 029922995      HENNEMAN, JOSHUA           MGR Salary          S
         65041 889597         PUTMAN, ANDREW R.          MGR Salary          S
         65041 54926241       HENSLEY, ADAM              GM Salary           S
         65041 481074         ANDERSON, BRYAN            MGR Salary          S
         65041 683602         FARROW, ALONZO             Prod/Food Prep      H
         65041 029922099      CRUMP, REGINALD            Trainee             H
         65041 489841         KOGLIN, REBECCA            Server              H
         65041 029924016      ROSENBAUM, ERIK            Host/Hostess        H
         65041 029922171      GROVES, TABITHA            Server              H
         65041 029923619      KEPHART, ROBERT            Prod/Food Prep      H
         65041 383410         BADER, JARIN J.            Host/Hostess        H
         65041 611356         STOKES, ALICIA M.          Server              H
         65041 029923335      WINEGER, MELISSA D.        Server              H
         65041 179614         HOLMES, DAVID              Trainee             H
         65041 029921945      MOORE, LINDSAY             Server              H
         65041 029922939      ADDINGTON, AFTON           Server              H
         65041 119475         HITZELBERGER, BRITANEY     Server              H
         65041 029923363      FREITAG, ANNA              Host/Hostess        H
         65041 483317         NEVILS, CRAIGE             Prod/Food Prep      H
         65041 996291         BIDSTRUP, BRANDON          Prod/Food Prep      H
         65041 029921807      FARRIS, TIM                Prod/Food Prep      H
         65041 482192         DAVIDSON, DOMINIQUE        Server              H
         65041 249125         MITCHELL, ADAM             Server              H
         65041 310030         VARNADO, ADRIAN            Prod/Food Prep      H
         65041 343632         MEEKS, LACEY               Server              H
         65041 441438         ACOSTA, JENNIFER           Server              H
         65041 029923026      KRUSO, ANTHONY             Host/Hostess        H
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       Cost     EmpID        Name                      Title             Hr/Sl
       Center
          65041 029922271    WESTERKAMP, TONYA         Server            H
         65041 029924161     BERGH, ADAM               Host/Hostess      H
         65041 029922744     PEARSON, CALLIE           Server            H
         65041 029922940     GIESE, TERA               Server            H
         65041 888654        BUSTAMANTE, TAUNYA        Night Bar         H
         65041 169138        PERRY, DEMARCO            Prod/Food Prep    H
         65041 029923392     FEDELL, LORI              Server            H
         65041 029922304     ATWATER, KATHRYN          Server            H
         65041 029922269     GARZA, BRANDON            Server            H
         65041 559508        SIZEMORE, TIFFANY         Server            H
         65041 029923647     WAFFORD, KRYSTAL          Server            H
         65041 755626        SETTLES, PHILLIP          Prod/Food Prep    H
         65041 029923445     CLARK, LAUREN             Server            H
         65041 838191        GUTSALOVA, KRISTINA       Host/Hostess      H
         65041 029923025     COX, MORGAN               Server            H
         65041 029923620     ROBERTS, AMBER            Server            H
         65041 029924037     SYKES, SHAUNA             Server            H
         65041 029924160     BOLTER, LAURA             Server            H
         65041 879892        COVINGTON, KATHLEEN       Host/Hostess      H
         65041 486240        SPENCE, DENNIS            Server            H
         65041 029923790     DENNIS, AMBER             Host/Hostess      H
         65041 523795        TUFFILLARO, JILL          Server            H
         65041 029923733     KELLY, ASHLEE             Server            H
         65041 577934        POWELL, CLARENCE M.       Prod/Food Prep    H
         65041 029924260     WEBB, FRED                Trainee           H
         65041 029924257     MCDONALD, KAYLA           Server            H
         65041 029924256     COLLINS, KORRY            Server            H
         65041 029924038     FARRANT, TAYLOR           Server            H
         65041 609718        HARRIS, GLORIA            Prod/Food Prep    H
         65042 136770        GARCIA, JUAN              Prod/Food Prep    H
         65042 000375601     SHRUM, AMETHYST A.        MGR Salary        S
         65042 587876        TYREE, AARON J.           MGR Salary        S
         65042 000375933     SKIPPER, ANDREA G.        MGR Salary        S
         65042 10080920      COSBY, CORY A.            GM Salary         S
         65042 000375489     STAMPER, ELIZABETH W.     MGR Salary        S
         65042 283306        PEREA, HERIBERTO          Prod/Food Prep    H
         65042 480240        ANDREWS, MEAGAN           Server            H
         65042 000375880     POMPONIO, JILL            Server            H
         65042 000375763     GREER, KRISTA             Host/Hostess      H
         65042 000375981     MCELVANY, JESSICA         Host/Hostess      H
         65042 538281        CERVANTEZ, STEPHANI       Trainee           H
         65042 839276        KNAPP, SUMMER             Trainee           H
         65042 000376100     VILLANUEVA, BRITTANY      Server            H
         65042 276578        MEYER, DREW               Server            H
         65042 000375937     LEE, CAITLIN              Server            H
         65042 248278        PEREZ, ERNESTO            Trainee           H
         65042 535330        BUBEN, RYAN               Trainee           H
         65042 000375636     MARTINEZ, ADRIANA         Host/Hostess      H
         65042 000375543     VASQUEZ, MARCO            Prod/Food Prep    H
         65042 000376047     MC QUITTY, HOLLY          Host/Hostess      H
         65042 000376128     REDDING, CHRISTOP         Trainee           H
         65042 353336        YOUNG, KATIE              Server            H
         65042 000376078     VO, CORRIN                Server            H
         65042 000375987     LEE, ANTRICE              Server            H
         65042 845590        HICKEY, ALYSSA G.         Trainee           H
         65042 645130        CROWSON, TAYLOR           Server            H
         65042 188951        CHAIREZ, LAUREN           Trainee           H
         65042 000376004     ROLDEN, JACQUELI          Trainee           H
         65042 529774        ROBERTSON, STACEY         Server            H
         65042 902584        CHESNEY, AMBER            Server            H
         65042 000376034     EDWARDS, JOSH             Server            H
         65042 000376099     VASQUEZ, MARIA            Server            H
         65042 000375815     NGUYEN, QUYNH-NHU         Server            H
         65042 000376138     HANSHEW, TAYLOR           Server            H
         65042 000375898     HINES, AMBREIA            Server            H
         65042 515062        LOVE, AMIE                Server            H
         65042 000375975     PARKER, CHLOE             Server            H
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       Cost     EmpID        Name                       Title               Hr/Sl
       Center
          65042 000375989    HALLMARK, HALEY            Server              H
         65042 000376135     MOLINA, ELISA              Host/Hostess        H
         65042 222105        CHRISTIAN, GABRIELL        Server              H
         65043 000376151     OMLOR, STEPHANIE L.        GM Salary           S
         65043 642080        GRAHAM, KATHRYN            Trainee             H
         65043 000376020     BENNETT, KRISTYN           Trainee             H
         65043 000375945     CALOZ, SAMANTHA            MGR Salary          S
         65043 298302        JOHNSON, ZACHARY E.        GM Salary           S
         65043 000375896     CEDILLO, FELIPE D.         MGR Salary          S
         65043 000375983     HAWKES, ANDREW N.          MGR Salary          S
         65043 633869        CLARK, MARK                MGR Salary          S
         65043 518996        HARTMAN, LAURA             Hrly Event Coord    H
         65043 000376026     EVERHART, KATIE            Server              H
         65043 000375681     ROBERTSON, RONI            Trainee             H
         65043 000375713     CANTU, SIERRA              Trainee             H
         65043 963548        LITTLES, DALE              Bar Back            H
         65043 862160        GONZALEZ, FERNANDO         Prod/Food Prep      H
         65043 000376040     OHMAN, STEPHANI            Trainee             H
         65043 000375641     GRAHAM, ROSS               Trainee             H
         65043 000376127     MILLER, CELICA             Server              H
         65043 000376139     POWELL, DAVID              Trainee             H
         65043 000375622     LUNA, EFRAIN               Trainee             H
         65043 000376116     CRAIG, BROOKE              Trainee             H
         65043 000376051     TANNER, TANDY              Server              H
         65043 413267        WALLS, PATRICK             Server              H
         65043 948672        ROMERO, ALFREDO            Prod/Food Prep      H
         65043 000375982     LOPEZ, ALBERT              Prod/Food Prep      H
         65043 952488        QUINTANA, ANTONIO          Prod/Food Prep      H
         65043 140191        BRINKLEY, BRANDON          Bar Back            H
         65043 451368        AVILES, BENITO             Prod/Food Prep      H
         65043 000376141     WELLER, MELISSA            Server              H
         65043 000375990     KHALIL, ELIZABET           Server              H
         65043 000376152     CARGILL, CAILIEGH          Trainee             H
         65043 000376117     HEFELFINGER, CELESTE       Trainee             H
         65043 000375577     MCPHERSON, KELSEY          Trainee             H
         65043 000376107     SHARP, STORMIE             Trainee             H
         65043 577533        PEASTER, RICHARD           Prod/Food Prep      H
         65043 000376142     ROBICHAUX, LINDSEY         Server              H
         65047 812672        BEASLEY, LEROY A.          Prod/Food Prep      H
         65047 173312        CLINE, SHARON L.           MGR Salary          S
         65047 837056        TIMMONS, JASON T.          GM Salary           S
         65047 149513        SMITH, JASON L.            MGR Salary          S
         65047 871156        VAN DER MALLIE, DOUGLAS B. MGR Salary          S

         65047 384733        FITZGERALD, MICHELLE       MGR Salary          S
         65047 029922840     PFEIFFER, MATTHEW          Server              H
         65047 029924142     BIXLER, AUSTIN             Host/Hostess        H
         65047 029922671     MACHADO, MONIQUE           Server              H
         65047 029923774     FELLER, VICTORIA           Server              H
         65047 029924216     MILLER, MELANIE            Server              H
         65047 029923929     SANCHEZ, DANIEL            Server              H
         65047 319418        SOBIESKI, DAVE O.          Prod/Food Prep      H
         65047 029922184     DUMEZ, JAMES               Trainee             H
         65047 204601        WASHINGTON, DAVION         Prod/Food Prep      H
         65047 029922947     DESLAURIERS, THOMAS        Prod/Food Prep      H
         65047 029922529     DUMEZ, LEROY               Prod/Food Prep      H
         65047 132758        SEYE, BIRAME               Prod/Food Prep      H
         65047 443633        MOONEY, JESSALYN M.        Server              H
         65047 029923291     VANVOORHIS, BRENNA         Server              H
         65047 029922055     RIOS, FALLON               Server              H
         65047 869249        BUMGARDNER, SABRINA        Server              H
         65047 774108        JOHNSON, CAITLIN           Server              H
         65047 029923575     RIVERA, CLAUDIA            Server              H
         65047 029923838     CANUPP, KATHRYN            Server              H
         65047 354430        GONZALEZ, STEPHANI         Server              H
         65047 612970        PURRAZZELLA, TONY          Server              H
         65047 029924214     LUMETTA, CAROLINE          Host/Hostess        H
         65047 199975        MOORE, STAN                Prod/Food Prep      H
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       Center
          65047 029924215    HARMON, MIYA              Host/Hostess        H
         65047 029923836     SUTTON, EMORI             Host/Hostess        H
         65047 336992        HEBERT, ABIGAIL L.        Host/Hostess        H
         65047 029922530     CARMECI, MICHELE          Server              H
         65047 029923699     CHAPRASTIAN, NICOLE       Host/Hostess        H
         65047 029921861     SASKO, SPENCER            Host/Hostess        H
         65047 202269        CATAROUCH, KYLE           Server              H
         65047 029923573     BRIZENDINE, KIMBERLY      Server              H
         65047 029922445     NEHLSEN, STEPHANIE        Server              H
         65047 029923040     FREEMAN, CHELSEA          Server              H
         65047 936438        TIVOLI, JESSICA           Night Bar           H
         65047 029923172     MORSE, CALEB              Prod/Food Prep      H
         65047 389447        MADSEN, JOHN              Prod/Food Prep      H
         65047 653130        TORRES, BRIANA            Host/Hostess        H
         65047 029923574     LIACHOFF, AMBER           Server              H
         65047 727579        ABRAMS, MATT              Night Bar           H
         65049 008572993     GRAMM, SUZI J.            GM Salary           S
         65049 348497        MANNION, JOHN             MGR Salary          S
         65049 008572926     WADLEY, BETH              MGR Salary          S
         65049 862227        WHITE, COURTNEY N.        MGR Salary          S
         65049 008572895     SMITH, JON                Trainee             H
         65049 008573020     HOWELL, ZACHERY           Prod/Food Prep      H
         65049 008572904     BRADLEY, SHEA             Trainee             H
         65049 008573051     MYLES, ASHLEY             Server              H
         65049 822275        DRAKE, ANGEL              Trainee             H
         65049 008573050     HARRIS, BRANDI            Server              H
         65049 008572967     GONZALES, JONATHAN        Prod/Food Prep      H
         65049 008572976     HOWELL, AUSTIN            Server              H
         65049 008573062     STRICKLER, JOSH           Server              H
         65049 281326        SYDOW, NICOLE             Trainee             H
         65049 008573053     HERBERT, ALEXANDR         Hrly Event Coord    H
         65049 008572980     MELTON, MICHAEL           Server              H
         65049 993090        SHANKSTER, TORRI          Trainee             H
         65049 008572932     BUCKLEY, JOE              Host/Hostess        H
         65049 008572936     MAYS, ALEXANDR            Server              H
         65049 839596        DAVENPORT, MICHELLE       Trainee             H
         65049 957758        LUCERO, ERIC              Trainee             H
         65049 008573012     PENA, CHEYANNE            Host/Hostess        H
         65049 008573057     STEENWERTH-GILL, CHRISTA Server               H
         65049 008573031     NUNEMAKER, ARIANNA        Host/Hostess        H
         65049 008572981     REAGAN, AUSTIN            Host/Hostess        H
         65049 008572889     KESSLER, DAKOTAH B.       Host/Hostess        H
         65049 991764        HALL, ALISON              Trainee             H
         65049 008573042     HYLTON, HANNAH            Trainee             H
         65049 008573040     HUFF, KAYLA               Trainee             H
         65049 008573072     ALLEN, DESIREE            Server              H
         65049 008573075     JOHNSON, DALE             Prod/Food Prep      H
         65049 008572937     FOWLER, TAYLOR            Server              H
         65049 911387        WIPOLT, CHELSEA           Server              H
         65049 008572968     POSTON, SAMANTHA          Server              H
         65049 233548        GILBERT, AMANDA L.        Server              H
         65049 008572952     SERGENT, MEGAN            Trainee             H
         65049 008573076     STRICKLER, DANIEL         Prod/Food Prep      H
         65049 008573077     YUSTE, IRENE              Host/Hostess        H
         65049 008572969     EWALD, CAITLYN            Server              H
         65049 008573071     BERRY, PHILLIP            Prod/Food Prep      H
         65049 008573030     MCFALLS, MAURICE          Prod/Food Prep      H
         65049 008573074     LUBITSKY, STEPHANI        Server              H
         65049 669761        NICOLETTI, AMBER          Server              H
         65051 385404        HOLTMAN, ERIC             MIT #2              S
         65051 803101        SCHMIDT, BRYAN            MGR Salary          S
         65051 393493        TAYLOR, TRENT R.          GM Salary           S
         65051 483580        ESSIG, AUSTIN C.          MGR Salary          S
         65051 958559        ALLEN, ANNLYNN            Bartender           H
         65051 029923880     ARMES, CARA               Server              H
         65051 029924148     LADSON, SHANIA            Server              H
         65051 712311        STATON, KEIRSTEN          Server              H
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       Cost     EmpID         Name                       Title               Hr/Sl
       Center
          65051 853036        LONG, MELISSA K.           Trainee             H
         65051 029922647      CAIN, KIMBERLY             Server              H
         65051 029922853      ALLEN, SHAWNA              Trainee             H
         65051 029923957      FORTIER, DANIELLE          Server              H
         65051 186486         HAMILTON, WILLIE L.        Prod/Food Prep      H
         65051 029923015      WRIGHT, ADAM               Prod/Food Prep      H
         65051 437856         RIDENOUR, JESSICA          Server              H
         65051 998239         BALDRIDGE, CATIE           Server              H
         65051 029923653      ORELLANA, JOHNNY           Prod/Food Prep      H
         65051 029923400      TURNBOW, BILLY             Host/Hostess        H
         65051 579578         CONKLIN, SEAN              Prod/Food Prep      H
         65051 029923616      BLUNT, JAMES               Prod/Food Prep      H
         65051 876781         CORNETT, CARLEY A.         Server              H
         65051 029923431      PEREZ, FELIPE              Prod/Food Prep      H
         65051 913109         SHERWOOD, JESSICA M.       Server              H
         65051 911117         MARCUCCI, NICOLE           Host/Hostess        H
         65051 029923621      GRYDER, MARGARET           Server              H
         65051 849046         MEKURIA, NATAN             Server              H
         65051 029923401      SHARP, EMILY               Host/Hostess        H
         65051 029924241      GARCIA, NICOLE             Server              H
         65051 526488         JACOBS, VINGERABLE         Prod/Food Prep      H
         65051 816916         THORNTON, ZEDRIC           Host/Hostess        H
         65051 497068         SPRADLIN, KAYLA            Server              H
         65051 569941         GROAT, ERIN M.             Server              H
         65051 921387         MERCER, TONYA M.           Server              H
         65051 717920         HAYES, MEAGAN              Server              H
         65051 029922617      ZACHARY, KHORTNEY          Server              H
         65051 029923509      FULLER, TERI               Server              H
         65051 029924073      MELTON, ASHLEY             Server              H
         65051 029922745      BROWN, BRITTANY            Server              H
         65051 247841         BURNS, TIFFANY N.          Host/Hostess        H
         65051 029922582      SHAMBRY, DARRYL            Trainee             H
         65051 029923510      STANLEY, LAURA             Server              H
         65051 029924147      GRIMALDO, EMILY            Server              H
         65052 155775         GONZALEZ, RIGOBERTO        Prod/Food Prep      H
         65052 971759         SMART, MEREDITH M.         Server              H
         65052 45161234       LINDLEY, DANIEL            MGR Salary          S
         65052 6599439P       PATTERSON, MICHELLE L.     MGR Salary          S
         65052 000375528      ROARK, KAILA               MGR Salary          S
         65052 000375823      DUPREE, COREY              MGR Salary          S
         65052 85564134       TIMMS, ROYCE               GM Salary           S
         65052 807606         VILCHIS, SERGIO            Prod/Food Prep      H
         65052 746270         JONES, STEPHEN             Server              H
         65052 000376095      COSBY, NIKKI               Server              H
         65052 000376088      TAYLOR, MOLLY              Server              H
         65052 000375786      WEEKS, KASSANDR            Hrly Event Coord    H
         65052 872361         BALL, RICHARD              Prod/Food Prep      H
         65052 000375857      WARREN, ERIN               Server              H
         65052 702118         SWAN, TABITHA              Server              H
         65052 303294         BARNHARDT, ERIN            Server              H
         65052 585593         JUAREZ, DIANA              Host/Hostess        H
         65052 577840         CHEUN, ERICA               Night Bar           H
         65052 000376001      THOMPSON, BREA C.          Host/Hostess        H
         65052 000376018      SOLANO, LORENA             Trainee             H
         65052 977045         SANCHEZ, JULIO C.          Prod/Food Prep      H
         65052 832599         SAVOY, SHELBY              Server              H
         65052 000376067      HALL, KORI                 Server              H
         65052 000376111      ZARAGOZA, CHELSEA          Server              H
         65052 000375842      CABA-YUBI, ANGELA          Server              H
         65052 000375533      HARTIL, MORGAN             Server              H
         65052 000376069      FRITCHIE, ABIGAIL          Server              H
         65052 665694         SPRADLIN, DELANIE          Server              H
         65052 000376054      MASSEY, KEARSTIN           Server              H
         65052 000375776      THOMPSON, MALLORY          Server              H
         65052 328219         HANDY, SYLVIA              Server              H
         65052 000375848      PLANT, NICOLE              Server              H
         65052 000375887      CALLEJAS, RENE             Prod/Food Prep      H
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       Cost     EmpID         Name                      Title             Hr/Sl
       Center
          65052 475771        FONTANILLAS, LINDSAY      Trainee           H
         65052 000376053      GREEN, ALLISON            Server            H
         65052 000375729      RIVERA, INGRID            Trainee           H
         65052 161387         ALVARENGA, SERGIO         Prod/Food Prep    H
         65052 689130         WREH, TUNYENOH            Host/Hostess      H
         65052 000375976      BROWNLEE, KINSEY          Server            H
         65052 430595         MANCILLA, MARIBEL         Prod/Food Prep    H
         65052 363745         ALVAREZ, NANCY            Server            H
         65052 000376068      STAGGS, APRIL             Server            H
         65052 425239         GIUNTA, KAYLA             Server            H
         65052 972876         PHELAN, TAYLOR C.         Host/Hostess      H
         65052 976840         WILLIAMSON, TERRY R.      Server            H
         65052 000376106      OWEN, ROSANNA             Trainee           H
         65052 000375726      GILMORE, CARA             Host/Hostess      H
         65052 969980         DOLLARD, JENNA R.         Server            H
         65052 000375719      BURN, CHELSEY             Server            H
         65052 971605         SMITH, REBECCA            Trainee           H
         65052 000375849      GARCIA, MARTHA            Host/Hostess      H
         65052 368427         MCMAHEN, SHELBY           Server            H
         65052 866178         TIERNEY, SARAH            Server            H
         65052 855061         CARLSON, MARISA N.        Server            H
         65055 939191         ADAME, LUIS               Prod/Food Prep    H
         65055 809345         COTOSMAN, COURTNEY        Trainee           H
         65055 058519959      WITZ, GARY                MGR Salary        S
         65055 824684         SVIZZERO, PATRICIA D.     MGR Salary        S
         65055 922612         PESCE, CHRISTOPHER A.     GM Salary         S
         65055 832051         LIEDTKE, MEGAN K.         MGR Salary        S
         65055 828618         FALSEY, TIMOTHY W.        MGR Salary        S
         65055 058520035      JENNINGS, MELISSA         Server            H
         65055 578564         MARQUEZ, MARKIE           Server            H
         65055 058520076      HOXIE, BRYAN              Server            H
         65055 058520166      DOMINGUEZ, EDWIN          Prod/Food Prep    H
         65055 355055         RICE, JESSICA             Night Bar         H
         65055 058520095      LACSON, MICHAEL           Trainee           H
         65055 986007         RANGEL, HUGO              Prod/Food Prep    H
         65055 393844         CAMPOS, SABINO            Prod/Food Prep    H
         65055 058519998      OH, CRAY                  Host/Hostess      H
         65055 058520149      CASTELLANOS, DENISSE      Host/Hostess      H
         65055 8804578D       WEILER, KAREN             Server            H
         65055 058519978      THOMPSON, BRIANA          Server            H
         65055 151419         TATE, SHANNON             Night Bar         H
         65055 058520008      BARTEE, ALEXIS            Server            H
         65055 659235         JAYKO, BAILEY             Server            H
         65055 876895         MENDEZ, FRANCISC          Trainee           H
         65055 058520009      OKIGAWA, SARAH            Trainee           H
         65055 329521         KASPER, KELSEY            Server            H
         65055 058520106      RUSHING, LISA             Server            H
         65055 255512         MCKAY, ERIK               Host/Hostess      H
         65055 058519921      SUBALA, ASHLEY            Server            H
         65055 058520125      KRAMER, REBECCA           Server            H
         65055 058520113      BALUCATING, GABRIELA      Trainee           H
         65055 058520148      JOHNSON, DYMANDI          Host/Hostess      H
         65055 990672         BAHENA, ANTONIO           Trainee           H
         65055 058520126      SIHARATH, STELLA          Server            H
         65055 275006         HILDEBRANDT, SAMANTHA     Server            H
         65055 058520000      RODRIGUEZ, DENISE         Server            H
         65055 058519929      GALVAN, FERNANDO          Prod/Food Prep    H
         65055 965169         AGUILAR, OMAR             Prod/Food Prep    H
         65055 375359         ACOSTA, ABRAHAM           Trainee           H
         65055 332066         PESAVENTO, ALYSSA         Server            H
         65055 058520078      COZZI, NATASHA            Server            H
         65055 456592         MOREY, KIMMI              Trainee           H
         65055 619385         BOUCHER, DALTON           Server            H
         65055 771854         CEGIELSKI, BRITTANY       Trainee           H
         65055 573598         MITCHELL, PAIGE           Server            H
         65055 825052         MENDEZ, JUAN              Trainee           H
         65055 058520115      MATLOW, EMILY             Host/Hostess      H
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       Cost     EmpID         Name                      Title                Hr/Sl
       Center
          65055 925427        JENSEN, ERIC              Server               H
         65055 954253         WINE, JAMIE               Server               H
         65055 820512         JOYCE, KAYLA              Trainee              H
         65055 058520021      VELLER, LAUREN            Server               H
         65055 412842         ROGALA, LINDSEY           Host/Hostess         H
         65055 058520069      FITT, ASHLEY              Server               H
         65055 058519965      LUSZCZ, AGNIESZK          Host/Hostess         H
         65055 058520123      HARVERY, CARRISA          Server               H
         65055 058520174      PALMER, JACLEEN           Server               H
         65055 058519985      VOGTRITTER, ANTHONY       Host/Hostess         H
         65055 058520022      VELLER, LINDSEY           Server               H
         65055 058520158      HARWELL, AMANDA           Server               H
         65055 058519932      MURPHY, CHANDRA           Server               H
         65055 859177         KINGSBURY, ELIZABETH      Server               H
         65056 632553         MURTISHAW, BRYNDA M.      Prod/Food Prep       H
         65056 923436         HERNANDEZ, JUAN M.        Trainee              H
         65056 000375961      MILLER, ALAN L.           GM Salary            S
         65056 000375476      GRIFFIN, DONOVAN L.       GM Salary            S
         65056 000375940      WILKES, CULLEN H.         MGR Salary           S
         65056 756078         BROWN, CHRISTINE M.       MGR Salary           S
         65056 407555         MARTINEZ, CHRISTIA        Trainee              H
         65056 643411         GARCIA, MELINDA           Server               H
         65056 525454         MARTINEZ, JUAN            Trainee              H
         65056 801524         JOHNSTON, ROXANNE         Trainee              H
         65056 955561         AJTUN, ANTONIO O.         Prod/Food Prep       H
         65056 521012         SOLIS, MALISSA            Night Bar            H
         65056 469546         PECINA, EDUARDO           Trainee              H
         65056 128727         WIXSON, CLARISSA          Trainee              H
         65056 000375826      RICHARD, LA'SHAY          Trainee              H
         65056 293021         REYES, SANDY              Trainee              H
         65056 000375706      DOMINGUEZ, LLIANE         Trainee              H
         65056 983865         FLORES, MARIE A.          Server               H
         65056 000375745      FLORES, MARINA            Server               H
         65056 837122         REYES, LASLY              Trainee              H
         65056 000375871      GARCIA, LEIANESS          Trainee              H
         65056 000375727      THOMPSON, MELANIE         Server               H
         65056 800255         PECINA, ADRIAN            Trainee              H
         65056 000376086      RICHARDSON, AMBER         Server               H
         65056 000376118      PEREZ, ANNA               Server               H
         65056 000376150      ROBERTSON, ASHLEY         Server               H
         65056 656084         VALLEJO, ANNMARIE         Host/Hostess         H
         65056 000376113      VILLANUEVA, KATE          Host/Hostess         H
         65056 000375739      SOLIS, CRYSTAL            Host/Hostess         H
         65056 000375728      JONES, JASON              Trainee              H
         65056 000376052      HANSEN, DESTINEE          Trainee              H
         65056 290389         HOWARD, NAIYA             Trainee              H
         65056 000375688      SAGREDO, DESTINY          Server               H
         65056 000375783      PAREDES, SAMANTHA         Server               H
         65056 000375714      GRIFFIN, PERRY O.         Shift/Hrly Leader    H
         65056 000375891      ARREDONDO, ERIKA          Trainee              H
         65056 000375923      GRAY, LASHONDA            Trainee              H
         65056 000376112      CUEVA, YESSENIA           Host/Hostess         H
         65056 523036         RODRIQUEZ, KAREN          Server               H
         65056 000375992      SCHNEIDER, SAVANNAH       Trainee              H
         65056 595364         DELAROSA, TONI            Server               H
         65056 597044         EL-WARD, JAKE             Night Bar            H
         65056 157074         FRANSAW, ASHLEY D.        Server               H
         65056 000375775      HITE, AMANDA              Trainee              H
         65056 889337         SMITH, SHADAY D.          Server               H
         65057 810190         SNAPP, HEATHER            Hrly Event Coord     H
         65057 212835         MURPHY, MICHAEL J.        GM Salary            S
         65057 384011         HERNANDEZ, CARLOS         MGR Salary           S
         65057 267606         GILLIAM, CHRISTOPHER A.   MGR Salary           S
         65057 000865454      HOLDEN, MELISA A.         MGR Salary           S
         65057 829897         NEGRON, FELIX             Trainee              H
         65057 897565         SUMMERS, TINA M.          Server               H
         65057 393747         GARCIA, JESUS             Prod/Food Prep       H
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       Cost     EmpID         Name                      Title             Hr/Sl
       Center
          65057 277393        CHAVEZ, DANIEL            Trainee           H
         65057 708058         HALL, MATTHEW             Night Bar         H
         65057 656732         DEMUTH, SHANNON           Trainee           H
         65057 000865475      JENKINSON, ASHTYN         Trainee           H
         65057 341642         HARREL, AIMEE             Server            H
         65057 684568         ANWAY, LAKEN              Host/Hostess      H
         65057 341831         VAZQUEZ, OSCAR            Prod/Food Prep    H
         65057 965177         WELCH, ALYSSA             Trainee           H
         65057 150676         ROSATO, VICTORIA          Trainee           H
         65057 371035         PARTIDA, ASHLEY           Host/Hostess      H
         65057 000865477      REYNOSO, ANDREA           Prod/Food Prep    H
         65057 251745         GIOE, BRIANA              Server            H
         65057 748094         CHAVEZ, JACEY             Host/Hostess      H
         65057 000865052      ARAGON, BRITTANY          Trainee           H
         65057 985580         SILVA, KRISTAL N.         Server            H
         65057 000865449      LACAN, BYRON              Prod/Food Prep    H
         65057 000865451      MILLYARD, SYLVIA          Server            H
         65057 162151         LIZARRAGA, CARLOS         Prod/Food Prep    H
         65057 477179         RAMSEY, SEAN              Night Bar         H
         65057 344057         URREA, MICHAEL            Trainee           H
         65057 000865478      BULLOCK, KIM              Host/Hostess      H
         65057 391666         LAGUNA, CHRISTOP          Prod/Food Prep    H
         65057 000865476      SUAREZ, JOSE              Prod/Food Prep    H
         65057 934970         SANDERS, ALLYSE           Trainee           H
         65057 546702         TORRES, JENNIFER          Trainee           H
         65057 135669         ROLEKE, ALEXANDR          Host/Hostess      H
         65057 000865474      BRANZ, ALYIAH             Trainee           H
         65057 686417         GONZALES, BRITTANY        Trainee           H
         65057 410773         GREEN, KALIFA             Trainee           H
         65057 000865481      SELLERS, CHELSEA          Server            H
         65057 000865467      YATES-WORLEY, SEDONA      Host/Hostess      H
         65057 000865468      LEAR, MIKAYLE             Host/Hostess      H
         65057 000865472      GOMEZ, ANGELA             Prod/Food Prep    H
         65057 454866         GONZALEZ, BRENDA          Host/Hostess      H
         65057 000865367      MOLINA, MELISSA           Trainee           H
         65057 000865480      JOHNSON, KELSY            Server            H
         65057 175924         LINDQUIST, VALERIE        Host/Hostess      H
         65057 000865470      HUNT, JUSTIN              Prod/Food Prep    H
         65057 000865479      BESABE, BRIANNE           Server            H
         65057 000865200      DANIELS, GERMAINE         Trainee           H
         65057 000865482      HANSEN, TAWNNI            Server            H
         65059 008573068      PALAZZOLO, DAMIANO        MIT #2            S
         65059 008573019      SALAZAR, ERIK             Trainee           H
         65059 008573063      ROUNDTREE, BRIAN          Server            H
         65059 195272         LEAN, SHARON              MGR Salary        S
         65059 008572954      GONZALES, LAWRENCE        GM Salary         S
         65059 9457878R       GSTALDER, BRIAN           MGR Salary        S
         65059 330248         KING, JONATHAN W.         MGR Salary        S
         65059 978161         PRANGLEY, BENJAMIN J.     Prod/Food Prep    H
         65059 008573065      NGUYEN, BREANNE           Server            H
         65059 008573043      MUQUIZ, CARLO             Prod/Food Prep    H
         65059 008573055      MCCLURKIN, KALI           Server            H
         65059 008572990      PETROV, VIKTORIA          Trainee           H
         65059 139592         CAROTHERS, SARAH          Server            H
         65059 008572944      PLATT, TIMOTHY            Night Bar         H
         65059 977475         LOVE, KELLEY              Host/Hostess      H
         65059 008573069      CLARK, MALLORY            Host/Hostess      H
         65059 008573000      JORDAN, GARY              Trainee           H
         65059 102782         GNADT, PAUL               Trainee           H
         65059 008573046      REYES, FELIPE             Prod/Food Prep    H
         65059 235059         BOHNE, ANNIE              Host/Hostess      H
         65059 384028         IVORY, DARRELL            Prod/Food Prep    H
         65059 008572947      SALAZAR, JESSICA          Trainee           H
         65059 903261         RIVAS, JUANA              Prod/Food Prep    H
         65059 008573060      GUTIERREZ, ALEX           Trainee           H
         65059 831817         NELSON, CHAD              Host/Hostess      H
         65059 341474         PARZIALE, NICOLE          Server            H
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       Cost     EmpID         Name                     Title               Hr/Sl
       Center
          65059 843507        STOUT, JESSICA           Night Bar           H
         65059 008573067      GEDDES, CIARA            Server              H
         65059 008573001      WILSON, KODY             Trainee             H
         65059 008572995      JOHNSON, JENNIFER        Trainee             H
         65059 008573073      ANTON, CAMERON           Trainee             H
         65059 008573048      GARRISON, CANDACE        Trainee             H
         65059 008572999      IVIE, ERIN               Trainee             H
         65059 371024         AABAK, CODI-REA          Server              H
         65059 155773         GLEASON, SHANNON         Server              H
         65059 400382         GIMADEYEVA, ALEKSAND     Host/Hostess        H
         65059 008573064      BIXLER, DAVID            Prod/Food Prep      H
         65059 671537         SANCHEZ, GISEL           Prod/Food Prep      H
         65059 008572996      FOSTER, JADE             Trainee             H
         65059 132860         PARSONS, ANNE            Bartender           H
         65059 008573007      THORP, JULIANA           Trainee             H
         65059 008572994      KAPUSTENSKY, AMY         Trainee             H
         65059 892049         WORTHINGTON, AMANDA      Server              H
         65059 008572965      SITA, ERIN               Trainee             H
         65059 008573025      OWEN, PARKER             Trainee             H
         65059 008572985      KIDD, AMBER              Trainee             H
         65059 224690         BECK, KAILEY             Host/Hostess        H
         65059 008572962      PLANKEY, JACOB           Night Bar           H
         65059 008572917      FAIRSERVICE, HALEY W.    Server              H
         65059 008572906      BRUCE, ALEXANDR          Server              H
         65059 930867         ALVIS, MEGHAN            Server              H
         65059 188542         DOBBINS, JORDAN          Server              H
         65059 270721         BALKEMA, HANNAH          Server              H
         65059 008573070      STOPKA, JAMIE            Trainee             H
         65059 008572899      MORIN, MARCO             Prod/Food Prep      H
         65060 058520071      WEGNER, CHARLES          Server              H
         65060 058519943      ERDENEBAT, ENKHSOLO      Server              H
         65060 058520066      URBANOWICZ, NICOLE       Host/Hostess        H
         65060 212676         PARSONS, WESLEY L.       MGR Salary          S
         65060 5742958D       WENDT, TIMOTHY C.        GM Salary           S
         65060 424393         MESERVEY, COURTNEY M.    MGR Salary          S
         65060 460896         REYES, BRIAN             MGR Salary          S
         65060 408595         GEOULEKAS, DEBORAH       Server              H
         65060 605482         SOLIS, ANGEL             Prod/Food Prep      H
         65060 988549         GUIJON, MARIA            Host/Hostess        H
         65060 549938         COLI, JOEL               Prod/Food Prep      H
         65060 058520177      ROSEN, AMBER             Host/Hostess        H
         65060 671863         HOXIE, DEBRA             Server              H
         65060 058520020      DAGGETT, JESSICA         Server              H
         65060 926412         GONZALEZ, RAUL           Prod/Food Prep      H
         65060 058520154      LIPP, ARIONA             Server              H
         65060 945175         HANSEN, NATHANIE         Server              H
         65060 995767         JOHNSON, HOPE            Hrly Event Coord    H
         65060 268086         MUELLER, COURTNEY        Host/Hostess        H
         65060 127189         ANDERSON, ANTHONY        Host/Hostess        H
         65060 582425         ORTIZ, JUAN              Prod/Food Prep      H
         65060 825035         KRAMER, NORA             Server              H
         65060 058520011      TACCONA, MICHAEL         Server              H
         65060 902161         KLOEPFFER, MEAGAN        Server              H
         65060 058520036      VILLEGAS, JOSE           Trainee             H
         65060 430071         KAZHDAN, VIKTORIYA       Host/Hostess        H
         65060 058520062      NIETO, DANIEL            Prod/Food Prep      H
         65060 058520100      BATCHULUUN, NOMUNDAR     Server              H
         65060 058520086      SERGETEN, MINJIN         Server              H
         65060 827852         GERARDO, ESTROBER        Prod/Food Prep      H
         65060 058520029      WHALEN, MELISSA          Server              H
         65060 782275         LOZANO, EMMANUEL S.      Server              H
         65060 058520099      BURGESS, OLIVIA          Host/Hostess        H
         65060 058520102      POZNIAK, SARAH           Server              H
         65060 058520168      VITALE, DANIELLE         Server              H
         65060 058520072      CROWELL, KARI            Server              H
         65060 058520058      TOLENTINO, NICOLE        Host/Hostess        H
         65060 058519931      PRADO, BEMEX             Prod/Food Prep      H
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       Cost     EmpID         Name                      Title                Hr/Sl
       Center
          65060 828493        SHULT, JESSICA            Server               H
         65060 058519930      CASTILLO, CESAR           Prod/Food Prep       H
         65060 382321         ALVAREZ, RODOLFO          Prod/Food Prep       H
         65060 489257         TACCONA, LIZA             Server               H
         65060 432153         KLOEPFFER, LAURAN         Server               H
         65060 058520176      REYES, JASMINE            Host/Hostess         H
         65060 058519974      CHAMBERS, JAMIE           Server               H
         65060 898893         DELGADO, LISETTE          Server               H
         65060 058520059      TITKOVA, MARIA            Server               H
         65060 962173         CASTILLO, JACQUELI        Server               H
         65060 058520037      SIERAKOWSKI, ANNE         Server               H
         65060 342181         KENDALL, KATE             Server               H
         65061 029921787      RYANT-BROWN, HANIF H.     MGR Salary           S
         65061 201160         DEVLIN, TIMOTHY S.        GM Salary            S
         65061 953822         CASPERSON, KEITH          MGR Salary           S
         65061 173445         URION, MICHAEL M.         MGR Salary           S
         65061 849884         SMITH, SAM                Host/Hostess         H
         65061 528577         MILLER, NAFIS             Prod/Food Prep       H
         65061 596207         FRASIER, ATIIM D.         Prod/Food Prep       H
         65061 600034         JONES, DARNELL            Trainee              H
         65061 807104         HANNAH, ELIZABETH         Host/Hostess         H
         65061 029923278      WILLIAMS, KENNETH         Trainee              H
         65061 469796         PATTERSON, MARCUS         Trainee              H
         65061 254446         AMIR, MARYUM              Trainee              H
         65061 620677         TOMLIN, ROBERT            Shift/Hrly Leader    H
         65061 951276         HILS, SAMANTHA            Shift/Hrly Leader    H
         65061 363382         CRAWFORD, LACEY           Server               H
         65061 029922559      COOPER, AMANDA            Server               H
         65061 029923685      MARTIN, PARIS             Trainee              H
         65061 169620         SIVERS, DANIELLA          Trainee              H
         65061 029923133      BONAPARTE, DASHANAE       Trainee              H
         65061 029923687      FORSHEY, OLIVIA           Trainee              H
         65061 029922098      HERNANDEZ, JOSHUA         Trainee              H
         65061 029923815      FULTON, ALESIA            Trainee              H
         65061 029923124      STYLES, GRACE             Host/Hostess         H
         65061 029923723      RIDDICK, ERIC             Trainee              H
         65061 215304         KUNKLE, STEPHEN           Bar Back             H
         65061 776336         COHEN, KRISTI             Trainee              H
         65061 182536         BOYLE, ERIN               Trainee              H
         65061 912908         HAWKINS, RONALD           Prod/Food Prep       H
         65061 029921829      CRAWFORD, BRITTANY        Trainee              H
         65061 351643         SARACINO, ALEXANDR        Trainee              H
         65061 029924099      GRIGLEY, ELIZABET         Trainee              H
         65061 029924065      STEINBERG, RACHEL         Trainee              H
         65061 342041         TAYLOR, MCKENNA           Trainee              H
         65061 029924112      BARNES, RAQUELL           Trainee              H
         65061 029924203      DIMOU, EVANGELE           Host/Hostess         H
         65061 029923129      SZKLANKA, DEVON           Trainee              H
         65061 029923117      GETACHEW, SARA            Trainee              H
         65061 029924117      ESMOND, JESSICA           Trainee              H
         65061 029924134      WHEELER, JORDYN           Trainee              H
         65061 029923136      COBB, SAVANAH             Trainee              H
         65061 531628         DONOGHUE, MEGHAN D.       Server               H
         65061 029923135      JERRELL, GOODSON          Trainee              H
         65061 029922433      SILLIMAN, KIA             Trainee              H
         65061 981953         BRUNDAGE, BRITTNEY        Trainee              H
         65061 029923134      FISHER, ANTONIA           Trainee              H
         65061 029923119      SYKES, MALLORY            Trainee              H
         65061 029922176      CHANDLER, FAWZIYYA        Trainee              H
         65061 029923274      MCCABE, BREANNE           Trainee              H
         65061 215917         STEIN, DANIELLE           Trainee              H
         65061 029924186      KANE, KIMBERLY            Server               H
         65061 485110         WITTER, AMBAR             Trainee              H
         65061 029923298      CASPER, PRESTON           Bar Back             H
         65063 967669         MONTIEL, MOISES           Prod/Food Prep       H
         65063 438199         SANCHEZ, MARIO F.         MGR Salary           S
         65063 000000038      GARCIA, GEORGE            MGR Salary           S
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       Center
          65063 197308        LEYBOLD, JESSICA          MGR Salary        S
         65063 1650579E       BLACKSTONE, STEPHEN A.    GM Salary         S
         65063 960616         RODRIGUEZ, SILVERIO       Prod/Food Prep    H
         65063 000000071      VERMILION, NOELLE         Trainee           H
         65063 000000016      MOLLOY, BRENDA L.         Server            H
         65063 945795         SALDNANA, SERGIO          Prod/Food Prep    H
         65063 000000053      COCHRAN, MONICA           Trainee           H
         65063 532224         PINO, JOEL                Prod/Food Prep    H
         65063 000000072      GIBSON, DANIEL            Server            H
         65063 956319         BILLINGS, TERRY           Server            H
         65063 505199         GUZMAN, JOSE              Prod/Food Prep    H
         65063 309962         VIGIL, KATRINA            Server            H
         65063 283168         BRYAN, MARIA              Server            H
         65063 000000041      DOUGLAS, NATALIE E.       Trainee           H
         65063 7986619E       LOPEZ, JENNIFER R.        Trainee           H
         65063 640743         GONZALES, LATASHA         Host/Hostess      H
         65063 911833         WEBER, JOYCE              Host/Hostess      H
         65063 000000063      BYRNE, ALANNA             Server            H
         65063 000000059      LITTLEPAGE, CHELSEA       Trainee           H
         65063 000000064      TRUJILLO, ERIN            Server            H
         65063 000000056      GONZALEZ, ANNICA          Trainee           H
         65063 000000057      LOPEZ, NICOLE             Trainee           H
         65063 962933         HILL, JESSICA J.          Host/Hostess      H
         65063 000000033      RHUTASEL, MARIAH A.       Trainee           H
         65063 000000008      CANTRELL, ERIN F.         Server            H
         65063 000000067      STUART, CAITLIN           Trainee           H
         65063 000000004      CHAVEZ, GABRIELL S.       Server            H
         65063 000000054      MEDINA, CANDICE           Trainee           H
         65063 293240         LUNNEBERG, JUSTINE        Server            H
         65063 100069         CAREY, AMBER              Trainee           H
         65063 000000051      LIVINGSTON, SHELBY        Host/Hostess      H
         65063 434307         LOVATO, TABITHA           Server            H
         65063 000000030      LOVATO, JORDYNN           Trainee           H
         65063 000000044      YAZZIE, CHRISTIAN         Trainee           H
         65063 867247         DOMINGUEZ-ARDON,          Server            H
                              VICTORIA
         65063 000000060      VEGA, JAIME               Trainee           H
         65063 422738         MYERS, JULIANA E.         Trainee           H
         65063 460889         GUTIERREZ, MARIA          Host/Hostess      H
         65063 000000068      FERNANDO, CLAIRE          Trainee           H
         65063 908941         WRIGHT, SYDNEY            Host/Hostess      H
         65063 531084         RUTTINGER, EMILY          Server            H
         65063 000000003      VEGA, BETUEL              Trainee           H
         65063 000000046      YAZZIE, KYLE J.           Trainee           H
         65063 513780         SANCHEZ, HUGO             Prod/Food Prep    H
         65063 000000019      FERRELL-LOVATO, ELIZABETH Server            H

         65063 000000050      MARQUEZ, DEVIN            Trainee           H
         65063 446039         ARNESON, BRITTANY R.      Server            H
         65063 000000035      SCHUETTE, STEPHANI        Server            H
         65063 296355         NANTAIS, KERRI            Trainee           H
         65063 000000048      CROWSON, CRISTINA M.      Trainee           H
         65063 000000066      SANDERS, DANIELLE         Trainee           H
         65063 562347         ROCKWELL, HEATHER R.      Trainee           H
         65063 288903         SEGERER, JESSICA          Host/Hostess      H
         65063 491153         AMAYA, JENNA M.           Trainee           H
         65064 001439511      CARROLL, GRETCHEN         MIT #2            S
         65064 974541         ROSE, REBECCA             Server            H
         65064 001439513      VERHULST, JESSICA         Trainee           H
         65064 858163         WITT, TERESA              Server            H
         65064 001439514      JONES, TANESHIA           Server            H
         65064 9195569F       CLARK, MELODY             MGR Salary        S
         65064 001439447      SAMPLES, JARROD           MGR Salary        S
         65064 001439473      BELL, BROCK               GM Salary         S
         65064 546460         PATTON, MIRANDA           Trainee           H
         65064 242238         GORDON, BRONY             Server            H
         65064 001439472      COLEY, TEYONNA            Server            H
         65064 410003         JONES, THOMAS C.          Night Bar         H
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       Cost     EmpID        Name                      Title             Hr/Sl
       Center
          65064 001439462    JACKSON, KYLIE J.         Server            H
         65064 697237        BARRIOS, MARIO            Prod/Food Prep    H
         65064 001439489     BOGARD, RYAN              Host/Hostess      H
         65064 001439503     QUILLING, CHELSY          Prod/Food Prep    H
         65064 001439507     KHADIJA, KHAN             Trainee           H
         65064 001439478     HERNANDEZ, OMAR           Prod/Food Prep    H
         65064 001439515     ANDERSON, MICHEAL         Trainee           H
         65064 001439501     APPLEYARD, KELSEY         Server            H
         65064 001439510     SANDERS, ALEXANDR         Trainee           H
         65064 001439441     KUNZ, ANGELA              Server            H
         65064 001439518     BALLA, GREG               Trainee           H
         65064 001439452     WILLIAMS, LONNIE          Prod/Food Prep    H
         65064 485651        CROCKETT, STEFFINY        Server            H
         65064 001439387     SANDERS, KRISTINA         Server            H
         65064 915962        ROBERTS, BRITTANY N.      Server            H
         65064 153156        DITTIES, TIA              Server            H
         65064 711866        SMITH, TRACEY             Server            H
         65064 001439398     SNEED, MORGAN             Night Bar         H
         65064 001439520     KIESTER, AMANDA           Server            H
         65064 001439502     CAMPOS, ESTEFANI          Trainee           H
         65064 001439516     LOUGHMILLER, LAUREN       Trainee           H
         65066 029924059     KIRN, FRANK               Server            H
         65066 419948        KREBS, RYAN               Server            H
         65066 500989        SOMERVILLE, NASUDEEN      Prod/Food Prep    H
         65066 029924062     WAGNER, REGIS             Server            H
         65066 672247        ELLIS, EDWARD             Night Bar         H
         65066 029924206     GREGORY, LAURA            Trainee           H
         65066 537006        MAUTINO, JOANA            Prod/Food Prep    H
         65066 029924202     LINTOT, RICHATD           Prod/Food Prep    H
         65066 029923635     RYSAK, RAYMOND C.         MGR Salary        S
         65066 161745        CRISPI, GINO              MGR Salary        S
         65066 178483        MCCARLEY, JIMMY L.        GM Salary         S
         65066 736425        KINSELLA JR, WILLIAM J.   MGR Salary        S
         65066 782910        MCINTYRE, LAUREN          MGR Salary        S
         65066 029921934     LARSON, JENA              MGR Salary        S
         65066 436666        MINCEY, ARNIE J.          Bartender         H
         65066 029923126     MAGNUM, EAN               Trainee           H
         65066 029924116     MCCROSSIN, MICHELLE       Server            H
         65066 029922876     CONLEY, KEVIN             Trainee           H
         65066 499711        SANDOVAL, PEDRO           Prod/Food Prep    H
         65066 029923785     NELSON, MARK              Prod/Food Prep    H
         65066 455389        RENZULLI, MICHAEL         Trainee           H
         65066 806972        BLEES, KIRSTEN            Server            H
         65066 029924063     KERN, KELLIANN            Host/Hostess      H
         65066 029923137     SANDOVAL, ALBERTA         Prod/Food Prep    H
         65066 397135        ROQUE, MIGUEL             Prod/Food Prep    H
         65066 445136        SANTORO, BRANDOLYN K.     Server            H
         65066 029922361     HENNING, TIFFANY          Trainee           H
         65066 563434        MAZIARZ, THERESA          Day Bar           H
         65066 029924058     CASSETT, LAMONT           Server            H
         65066 029924060     YATSO, JACQUELINE         Server            H
         65066 029923680     DEPROPHETIS, GIULIA       Server            H
         65066 029923283     MADEIRA, SADE             Host/Hostess      H
         65066 711316        STUARDI, JUSTIN           Server            H
         65066 029924094     CHESTNUT, BREXTON         Server            H
         65066 920009        GALLAGHER, LAURA          Server            H
         65066 656470        LOPEZ, MARIO              Server            H
         65066 029923440     KESSLER, NDAUNTAS         Server            H
         65066 029922545     CRUZ, JOSE                Server            H
         65066 029923959     BRIGMAN, SAMANTHA         Server            H
         65066 536951        SALMORAN, GUILLERMO       Prod/Food Prep    H
         65066 029924132     REILLY, REBECCA           Server            H
         65066 436617        CREA, STEFANIE            Bartender         H
         65066 029924064     FUENTES, JULIO            Prod/Food Prep    H
         65066 913129        GOMEZ, ELIAS              Prod/Food Prep    H
         65066 029924133     NINO, MATTHEW             Server            H
         65066 903086        WHITE, DANIELLE           Trainee           H
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       Cost     EmpID        Name                     Title               Hr/Sl
       Center
          65066 029924162    ANELLO, GABRIELL         Server              H
         65066 029921839     MAYBIN, NATHANIE         Prod/Food Prep      H
         65066 387048        TROJAN, ANNA             Server              H
         65066 029923479     CABANAS, ISRAEL          Trainee             H
         65066 029923998     BAKER, MALAYSIA          Host/Hostess        H
         65066 961902        JONES, CHASTITY          Trainee             H
         65066 029923327     HERNANDEZ, GABRIELA      Prod/Food Prep      H
         65066 409168        ADAMKIEWICZ, KASEY       Host/Hostess        H
         65066 958381        HASHAMY, MARIA           Server              H
         65066 029922574     NICHOLS, NICOLE          Server              H
         65066 888322        DOUGHERTY, SARAH         Server              H
         65066 373276        VOTTA, MICHELE           Host/Hostess        H
         65066 912065        SALVADOR, HUMBERTO       Prod/Food Prep      H
         65066 127062        CASINO, MEREDETH         Server              H
         65066 806220        ANDERSON, KATIE          Server              H
         65066 126418        COLE, CHELSEA            Server              H
         65066 029924102     DAVIS, DAIJA             Host/Hostess        H
         65066 029924190     JACKSON-ROBERTS, BRYNNE Server               H
         65067 029924187     GALLAWAY, THOMAS B.      MIT #2              S
         65067 456266        EVANS, AMANDA            Prod/Food Prep      H
         65067 481694        DOUGHERTY, MATTHEW L.    MGR Salary          S
         65067 902577        TANTILLO, KRISTINA M.    MGR Salary          S
         65067 029921786     DELANO, TIM              MGR Salary          S
         65067 772031        SCHMID, CHRISTINA M.     MGR Salary          S
         65067 838305        HART, DAVID              GM Salary           S
         65067 029922456     DOMYAN, MICHAEL          Server              H
         65067 400873        DRAYTON, SENTEL D.       Prod/Food Prep      H
         65067 029922591     SHELDON, BRITTNEY        Server              H
         65067 029923745     PIERSON, JODAN           Host/Hostess        H
         65067 932018        GOODWIN, JESSIE          Hrly Event Coord    H
         65067 849617        LEE, LOWELL              Prod/Food Prep      H
         65067 029924072     BURCH, LAURA             Server              H
         65067 199118        HOPKINS, LYLE            Prod/Food Prep      H
         65067 783570        TACKETT, MADALYN         Server              H
         65067 559742        ST, JOHN M.              Server              H
         65067 803594        CROWLEY, SARAH           Host/Hostess        H
         65067 963287        WOLF, SHELBY             Server              H
         65067 985107        HAYMAKER, MATTHEW        Night Bar           H
         65067 590243        LYON, ASHLEY             Server              H
         65067 130045        ALBRIGHT, JAMES          Prod/Food Prep      H
         65067 691375        PERKINS, REBECCA         Server              H
         65067 432573        CASSELL, KATIE           Server              H
         65067 938495        HOYLE, TELITHA           Trainee             H
         65067 029922626     SCOTT, JASON             Host/Hostess        H
         65067 029924120     MONTGOMERY, TRAVIS       Prod/Food Prep      H
         65067 764846        BELLO, STEPHANI          Host/Hostess        H
         65067 559365        DORTON, KARISSA          Day Bar             H
         65067 029923848     BRUNO, KATHERIN          Server              H
         65067 709416        ROBERTSON, ERIN          Trainee             H
         65067 029922627     FERREIRA, WILLIAM        Night Bar           H
         65067 029923475     WIDNER, MELISSA          Trainee             H
         65067 029921783     GREENE, HEATHER          Server              H
         65067 930668        JANSEN, KAYLA            Server              H
         65067 214564        SUGGS, BRANDI            Server              H
         65067 155913        NIEMELA, MELANIE         Server              H
         65067 551864        ROSSI, TAYLOR            Host/Hostess        H
         65067 029922083     BRYANT, CREED            Prod/Food Prep      H
         65067 029923233     BROWN, JOSH              Prod/Food Prep      H
         65067 492473        CRAWFORD, ABBEY          Night Bar           H
         65067 029924178     CLARKE, AMANDA           Host/Hostess        H
         65067 308352        RENFRO, KRYSTIN          Server              H
         65067 029923094     OLIVER, EMILY            Host/Hostess        H
         65067 029922784     VO, DUONG                Host/Hostess        H
         65067 029922540     KOSAKOWSKI, ALEXANDR     Server              H
         65067 029923092     CLEMMONS, JORDAN         Host/Hostess        H
         65067 029923093     OLEY, TAYLOR             Host/Hostess        H
         65067 029923256     DOUGHERTY, ANDREW        Trainee             H
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       Center
          65067 832430        BURKEY, KATHRYN           Host/Hostess        H
         65067 729495         SHEEHAN, EMMA             Host/Hostess        H
         65069 684226         ACEYTUNO, FRANCISCO       Prod/Food Prep      H
         65069 048510405      AWAN, ALLISON             Host/Hostess        H
         65069 728430         SCHMIDT, LAUREN           Server              H
         65069 514457         BONCZYK, ANDREW J.        MGR Salary          S
         65069 1862588J       MCLACHLAN, SEAN K.        GM Salary           S
         65069 509382         URBANEK, MATT             MGR Salary          S
         65069 365879         MARTINDALE JR, GARY D.    MGR Salary          S
         65069 048510453      STEWART, TRAVON           Prod/Food Prep      H
         65069 048510343      NIKOLAS, KIM              Hrly Event Coord    H
         65069 048510428      OWENS, ABIGAIL            Server              H
         65069 048510426      ADAMS, LAIKEN             Server              H
         65069 048510458      REQUENA, TONYA            Trainee             H
         65069 664187         STONER, STEPHANI          Server              H
         65069 048510416      LEE, SHANNON              Server              H
         65069 511034         SIDDIQI, AISHA            Server              H
         65069 101223         THURMAN, TRACI            Host/Hostess        H
         65069 268992         JOHNSON, KRISTINA         Server              H
         65069 048510427      KOEHLER, MARIAH           Server              H
         65069 048510471      TURNER, ANTONIO           Prod/Food Prep      H
         65069 048510425      ECKELS, JEROME            Prod/Food Prep      H
         65069 048510434      AVALOS, JUAN              Prod/Food Prep      H
         65069 048510448      GRUNDEMAN, MICHELLE       Server              H
         65069 048510452      ROLLINS, THOMAS           Prod/Food Prep      H
         65069 048510342      KORTE, JORDAN             Trainee             H
         65069 048510464      OSWALT, KAYLEE            Server              H
         65069 048510341      ISSA, HANNAH              Host/Hostess        H
         65069 525216         QUICK, SARAH              Server              H
         65069 048510411      MASON, SUMMER             Server              H
         65069 048510442      DEAVER, KIMBERLE          Server              H
         65069 048510402      MORRIS, ANTHONY           Prod/Food Prep      H
         65069 048510353      SUTTON, VICTORIA          Server              H
         65069 048510459      DANDU, MAYA               Host/Hostess        H
         65069 451909         TRUMPP, ALLISON           Server              H
         65069 048510460      VALDEZ-CARNEY, NATASHA    Host/Hostess        H
         65069 048510449      HARRIS, KYLIE             Server              H
         65069 048510410      ADKINS, ALYYSA            Server              H
         65069 710307         LAW, MAEGHEN              Server              H
         65069 048510435      MERCADO, LUIS             Prod/Food Prep      H
         65069 156059         HAIDER, BARBIE            Server              H
         65069 048510389      MENDOZA, JUAN             Prod/Food Prep      H
         65069 048510433      CHAIREZ, EDUARDO          Prod/Food Prep      H
         65069 048510421      MACIAS, KYLIE             Host/Hostess        H
         65069 048510473      CHEATER, FALLON           Server              H
         65069 048510401      VERGARA, ROBERTO          Trainee             H
         65069 048510451      CINOTTO, ABBY             Server              H
         65069 048510383      MAIDA, GABRIELL           Host/Hostess        H
         65069 048510467      WEBER, GRETCHEN           Server              H
         65069 048510461      GEORGE, KEELEY            Host/Hostess        H
         65070 029923633      SOAVE, BENEDETTO A.       MGR Salary          S
         65070 804337         KLANN, ROBERT E.          MGR Salary          S
         65070 029922283      MCILMURRAY-WYKES,         MGR Salary          S
                              PATRICK L.
         65070 950828         SZAFRAN, THOMAS E.        GM Salary           S
         65070 274287         BUGENSKE, JOHNATHON F.    MGR Salary          S
         65070 029922741      SYROCKI, CODY             MGR Salary          S
         65070 909626         BRIDGER, DAYNA            Server              H
         65070 029923938      HENRY, DANIEL             Night Bar           H
         65070 611402         LOPEZ, ENRIQUE M.         Prod/Food Prep      H
         65070 626385         LOPEZ, CHAVELO M.         Prod/Food Prep      H
         65070 029923193      MENZIES, ERIC             Prod/Food Prep      H
         65070 029922284      CRUME, NICK               Server              H
         65070 755995         MARTINEZ-LOPEZ,           Prod/Food Prep      H
                              CRISOFORO
         65070 029923419      DEMATTEI, CHRISTIN        Server              H
         65070 602692         LOPEZ, RAMON M.           Server              H
         65070 029922049      MAKI, BRYNN               Server              H
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       Center
          65070 688139        SHAW, JENNIFER            Hrly Event Coord    H
         65070 029924044      CUPER, KONSTANC           Server              H
         65070 029923915      SULLIVAN, MEAGAN          Prod/Food Prep      H
         65070 029922249      SMITH, SARA               Server              H
         65070 029922140      FISCHER, RACHEL           Host/Hostess        H
         65070 029924043      SAXER, AMANDA             Server              H
         65070 029923966      EGGERS, CHET              Prod/Food Prep      H
         65070 029922663      EVANS, BENJAMIN           Night Bar           H
         65070 338080         GILMAN, KATHERIN          Server              H
         65070 029923937      MAIURI, MARLENA           Night Bar           H
         65070 529787         ARMSTEAD, JEANINE V.      Host/Hostess        H
         65070 029923758      SMITH, KIMBERLY           Trainee             H
         65070 029923615      ALLEN, SUSAN              Host/Hostess        H
         65070 029923191      HEATH, ALLISON            Server              H
         65070 029923315      ALLEN, AUDREY             Trainee             H
         65070 029924081      BROWN, DAVID              Prod/Food Prep      H
         65070 659714         KURZAWA, THERESA          Night Bar           H
         65070 029924157      TARGOSZ, DANIELLE         Server              H
         65070 029924244      THOMAS, KRISTIN           Server              H
         65070 578090         WALKER, ASHLEY            Server              H
         65070 029923759      BRUSCH, AMANDA            Trainee             H
         65070 029923418      PARKER, ROBERT            Prod/Food Prep      H
         65070 135893         WINKLER, DAVID            Prod/Food Prep      H
         65070 029922886      GIROUX, TAMARA            Trainee             H
         65070 815289         WARDROPE, JESSICA         Server              H
         65070 029923255      CICERI, ALEXANDR          Trainee             H
         65070 029924143      SHULER, MEAGAN            Server              H
         65070 444026         FOURNIER, HEATHER         Server              H
         65070 636547         GAUTHIER, CHANTELL        Trainee             H
         65070 029924261      DUBAY, LYNNETE            Night Bar           H
         65070 029922726      PIERCE, JESSICA           Trainee             H
         65070 106192         SIMMONS, LEAH             Server              H
         65071 671611         NIGRO, KIMBER             Server              H
         65071 878148         HOLTON, TYLER             Prod/Food Prep      H
         65071 466228         JINWRIGHT, ANTHONY        Prod/Food Prep      H
         65071 801413         JOHNSON, BRITTANY         Prod/Food Prep      H
         65071 705770         DANIEL, RUSSELL           MGR Salary          S
         65071 029924255      PETERSON, NICK            GM Salary           S
         65071 348428         QUEEN, RACHEL             MGR Salary          S
         65071 201270         EVANS, DANIEL S.          MGR Salary          S
         65071 968263         LEONE, MICHAEL B.         MGR Salary          S
         65071 807121         NEWCOMB, SCOTT            GM Salary           S
         65071 213382         ROBERTSON, BETH L.        MGR Salary          S
         65071 494075         MARIN-NAVA, JUANA         Prod/Food Prep      H
         65071 420240         SIPPEL, ANDREW            Prod/Food Prep      H
         65071 029923302      HEWEY, JACLYN             Prod/Food Prep      H
         65071 636039         YANOCHKO, GARY            Server              H
         65071 972072         WARD, AMY M.              Hrly Event Coord    H
         65071 029923356      JONES, CURTIS             Prod/Food Prep      H
         65071 201374         BIANCHI, PETER            Server              H
         65071 960621         SAILORS, MEGAN            Server              H
         65071 783450         HENDRICKS, CONNIE         Prod/Food Prep      H
         65071 510928         GRASSLEY, JESSICA L.      Server              H
         65071 029923933      WILLIS, ABIGAIL           Server              H
         65071 334614         PACZA, BARAK              Prod/Food Prep      H
         65071 029923803      GRANDSTAFF, KYLIE         Host/Hostess        H
         65071 438938         KYNARD, ALYSSA            Host/Hostess        H
         65071 029923299      HAVEL, KELLY              Server              H
         65071 147984         ALLEN, MARY               Server              H
         65071 029923601      RUMBURG, JAKE             Server              H
         65071 029924145      VISSERING, SHELBY         Server              H
         65071 029922628      VIRGA, CHRISTOPHER        Prod/Food Prep      H
         65071 029923065      BAILEY, MORGAN            Server              H
         65071 029923600      KENNEDY-COVELL, ASHLEIGH Server               H

         65071 494522         JONES, BRIANA M.          Host/Hostess        H
         65071 029924121      BRIGMAN, KENDYL           Server              H
         65071 325880         TAGGART, STEPHANI         Server              H
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       Cost     EmpID         Name                      Title               Hr/Sl
       Center
          65071 152444        RUMBURG, CAROLINE         Server              H
         65071 029923972      LEAR, TABITHA             Server              H
         65071 029923727      WHEELER, REBECCA          Server              H
         65071 029923221      MCMASTERS, KRISTIN        Server              H
         65071 868566         BICKFORD-WEBB, ALICIA     Server              H
         65071 989335         WILLIAMS, JULIET          Server              H
         65071 029922766      SMOSARSKI, KAYLA          Host/Hostess        H
         65071 029923512      ZIMMER, MOLLIE            Host/Hostess        H
         65071 029924029      RUSSELL, LAUREN           Server              H
         65071 454415         SCHWAB, SARAH             Host/Hostess        H
         65071 029921910      PALMER, TOCCARA           Server              H
         65071 748735         KUIPER, ARIELLE           Server              H
         65071 346726         NIEMIEC, NICHOLE          Server              H
         65071 029924146      BUMPERS, ANDREW           Host/Hostess        H
         65071 863449         HUTCHINS, RAJNI           Server              H
         65071 029922535      COLE, CHARLES             Prod/Food Prep      H
         65071 029922767      VILIS, MARIA              Host/Hostess        H
         65071 262593         MOGELBERG, TIFFANY F.     Server              H
         65071 029923728      KLEIN, MADISON            Host/Hostess        H
         65071 806380         STORACE, RACHEL           Server              H
         65071 633105         THOMPSON, ASHLEY          Server              H
         65071 029924057      FAULKENBERRY, CALEB M.    Prod/Food Prep      H
         65071 897399         SCHLEGEL, KARRI L.        Night Bar           H
         65071 029922413      BABCOCK, CARMEN           Host/Hostess        H
         65071 456107         DEDIEMAR, ANNA            Server              H
         65071 029922527      HEITZMAN, BREANNA         Server              H
         65071 029923173      CORBIN, KODY              Server              H
         65071 293593         THEEL, LINDA              Prod/Food Prep      H
         65071 029923941      LARREUR, HALEY            Host/Hostess        H
         65071 945817         HULCE, BRIANNE L.         Server              H
         65073 945741         WILNER, MATTHEW           MIT #2              S
         65073 830891         SKOYEC, COLLEEN           Server              H
         65073 008617366      BAEZ-ROSAS, HUGO          Prod/Food Prep      H
         65073 798441         SCOFIELD, MICHAEL         GM Salary           S
         65073 925435         MASARIK, NICHOLE          MGR Salary          S
         65073 008617351      TORRES-BARNEY, JOSE       Prod/Food Prep      H
         65073 912920         LAWLOR, JESSICA A.        MGR Salary          S
         65073 334901         MENDITTO, JAMES           MGR Salary          S
         65073 507199         QUINN, ALICIA M.          Hrly Event Coord    H
         65073 812674         HERRERA, HEINER           Prod/Food Prep      H
         65073 874440         MORA, DENNIS              Trainee             H
         65073 545178         IRSLINGER, SAMANTHA       Server              H
         65073 008617363      BALDOCCHI, MICHAEL        Server              H
         65073 529768         JIMENEZ, MINOR            Prod/Food Prep      H
         65073 720481         ROCHA, FRANCISC           Prod/Food Prep      H
         65073 342916         TORRES, REYNALDO          Prod/Food Prep      H
         65073 893821         FERRARO, DANIELE          Bartender           H
         65073 008617382      ALLEN, ABAGAIL            Server              H
         65073 557570         ORTIZ, LLUNIOR            Prod/Food Prep      H
         65073 008617367      VAZQUEZ, ANTONIO          Prod/Food Prep      H
         65073 008617383      GREENE, AMOI              Server              H
         65073 008617370      CARTWRIGHT, ELIZABET      Server              H
         65073 817678         BRAMOWICZ, HANNAH         Host/Hostess        H
         65073 626942         PIEDRA, ALLAN             Prod/Food Prep      H
         65073 008617380      GARVIN, DAVID             Server              H
         65073 979912         BRAMOWICZ, SARAH          Host/Hostess        H
         65073 008617369      VAZQUEZ, MELCHOR          Prod/Food Prep      H
         65073 491902         JOYCE, KRISTYN            Trainee             H
         65073 593187         HOEPEL, ALYSSA            Server              H
         65073 508885         RUIZ, FABIAN              Prod/Food Prep      H
         65073 008617331      DEMIRJAN, AUDREY          Host/Hostess        H
         65073 538512         RODRIGUEZ, ALEXSAND       Host/Hostess        H
         65073 008617355      DEBENEDETTO, ALESSAND     Server              H
         65073 514899         MORA, ROY                 Prod/Food Prep      H
         65073 243126         STONE, CHANTAE            Trainee             H
         65073 354720         BAST, JORDYN              Server              H
         65073 731035         BARATUCCI, DINA           Server              H
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       Cost     EmpID        Name                      Title             Hr/Sl
       Center
          65073 008617332    KOPKE, CAROLINE           Server            H
         65073 008617379     HORVATH, MELANIE          Server            H
         65073 008617344     GONZALES, DAMIAN          Prod/Food Prep    H
         65073 306623        FRENKEL, ERICA            Server            H
         65073 641377        BARAKATE, LOUBNA          Server            H
         65073 008617362     HUNTER, DARIA             Host/Hostess      H
         65073 764605        LAWLOR, CORRINE           Server            H
         65073 008617346     BONILLA, JESSICA          Server            H
         65073 008617353     CICCONE, AMANDA           Server            H
         65073 288000        VALVO, SAMANTHA           Server            H
         65073 008617330     CARUSO, THERESA           Server            H
         65073 008617385     ROCCO, GIANNA             Trainee           H
         65073 305097        PAZMINO, CYNTHIA          Server            H
         65073 008617371     MAYFIELD, NADIRAH         Server            H
         65073 008617375     FACCONE, JOSEPH           Server            H
         65073 008617374     LUZZI, JUSTINE            Server            H
         65073 008617377     VELASCO, MILITZA          Server            H
         65073 008617384     SINSKY, LEANN             Host/Hostess      H
         65073 680805        SULLIVAN, MARY            Trainee           H
         65073 431280        BRENNAN, COLLEEN          Host/Hostess      H
         65073 556391        SAJADIAN, TARA            Server            H
         65073 100502        GOLDMAN, EMILY            Host/Hostess      H
         65073 958961        PINAHA, MARIANNA          Server            H
         65073 008617345     FARRIELLA, BRIANA         Host/Hostess      H
         65073 264176        SARRA, DANIELLA           Server            H
         65073 628299        LOWLES, MEGAN             Server            H
         65073 008617376     SZKOLA, MELISSA           Server            H
         65073 402330        JASTREBSKI, ALICIA        Server            H
         65073 008617320     SAMET, LISA               Host/Hostess      H
         65073 008617350     FOSTER, ASHLEY            Server            H
         65073 008617381     MARINEZ, KAYLA            Server            H
         65073 008617354     ALVAREZ, JESENIA          Server            H
         65073 008617347     CSELOVSZKY, RACHAEL       Server            H
         65073 981136        MARIN, BEJARANO L.        Prod/Food Prep    H
         65073 565715        MILLROY, JAMES            Host/Hostess      H
         65073 920012        BARNES, JENNIFER          Host/Hostess      H
         65073 151751        DEAN, DEANNA              Trainee           H
         65073 856917        PLASSE, BRITTANY          Server            H
         65073 008617359     PAQUETTE, AMBER           Server            H
         65073 008617337     PEREZ, JOSE               Host/Hostess      H
         65073 958731        BARRETO, NICOLE           Trainee           H
         65073 008617372     BARATTUCCI, LISA          Host/Hostess      H
         65073 397712        GAMARRA, VANESSA          Server            H
         65073 899559        PROVENCE, CHRISTIN        Server            H
         65073 866834        SILVA, JULIANNE           Server            H
         65073 008617341     BUCHER, SHANA             Server            H
         65073 008617323     SNYDER, JACLYN            Server            H
         65074 029924093     GOODINE, CHRISTOPER J.    Server            H
         65074 113910        DOWNEN, HALEY             Server            H
         65074 029923987     MEASE, DAVID B.           MIT #2            S
         65074 029922653     YAKOVLEV, DMITRIY         Prod/Food Prep    H
         65074 398934        MCNEAL, CARL B.           GM Salary         S
         65074 468959        JOHNSON, COURTNEY D.      MGR Salary        S
         65074 029923808     BRAYMAN, CECILIA          MGR Salary        S
         65074 029922458     GOFORTH, TAYLOR           Host/Hostess      H
         65074 964452        KRICK, ANDY D.            Server            H
         65074 029924212     JEFFERSON, TERRANCE       Prod/Food Prep    H
         65074 029923586     NEWBERRY, NICOLETT        Trainee           H
         65074 029922462     BOOKER, RICHARD           Trainee           H
         65074 029923351     CLARK, NATALIE            Trainee           H
         65074 029922143     WAGAR, KYLIE              Trainee           H
         65074 865234        PENDERGRASS, DUSTIN       Trainee           H
         65074 951867        EDWARDS, AMEE             Trainee           H
         65074 029924123     BURSE, GINO               Prod/Food Prep    H
         65074 029923692     FARRELL, ADAM             Server            H
         65074 029923536     DANKERT, KARA             Night Bar         H
         65074 029924155     JONES, DALONTAE           Trainee           H
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       Cost     EmpID         Name                      Title             Hr/Sl
       Center
          65074 537388        BORSKI, KYLE              Server            H
         65074 439107         BEENE, TIFFANY N.         Server            H
         65074 029922593      MOON, STEPHANI            Host/Hostess      H
         65074 029923587      BLALOCK, ERICA            Trainee           H
         65074 029924213      STROMBERG, MICHAEL        Prod/Food Prep    H
         65074 029923513      SCHULZ, RYAN              Host/Hostess      H
         65074 029923936      FARREL, BRIAN             Host/Hostess      H
         65074 029923864      MAYNOR, JOSHUA            Host/Hostess      H
         65074 029924138      ALEXANDER, JOHN           Prod/Food Prep    H
         65074 029922051      BRASEL, JOANNA            Trainee           H
         65074 029924092      REED, PEYTON O.           Server            H
         65074 029923969      ANDERSON, CASSIE          Server            H
         65074 029923927      WITT, RYAN                Prod/Food Prep    H
         65074 029923967      TINKER, EMILY             Server            H
         65074 029922187      BRITT, JOHNATHA           Trainee           H
         65074 714010         SMALLWOOD, TIFFANY        Trainee           H
         65074 029924032      KOCH, RACHEL              Trainee           H
         65075 001439378      CAMPBELL, DONOVAN         Trainee           H
         65075 001439500      PALACIO, SHALIE           Server            H
         65075 001439499      KNIGHT, TRAVIS            Server            H
         65075 001439485      FRYHOVER, MAYSON          Trainee           H
         65075 001439435      GUAGLIARDO, NICK          MGR Salary        S
         65075 958940         REMINGTON, JOSHUA W.      MGR Salary        S
         65075 001439490      CASWELL, JASON S.         GM Salary         S
         65075 001439389      ROGERS, JOANNA L.         MGR Salary        S
         65075 404318         GARCIA, MIGUEL            Prod/Food Prep    H
         65075 258129         MINCOLLA, MARC            Prod/Food Prep    H
         65075 001439428      MANNON, KATHERIN          Server            H
         65075 507816         RESENDIZ, SAUL            Prod/Food Prep    H
         65075 600680         IBARRA, KARLA             Host/Hostess      H
         65075 200289         BOISEY, LISA              Server            H
         65075 418407         BECK, ERIN                Server            H
         65075 909230         MARTINEZ, JOSE            Prod/Food Prep    H
         65075 001439464      MANNON, TIMOTHY           Prod/Food Prep    H
         65075 001439509      RODRIGUEZ, MARY           Host/Hostess      H
         65075 438414         DAVIS, CHRISTOP           Day Bar           H
         65075 429917         MORTON, AMANDA            Day Bar           H
         65075 513533         CANNON, JOHN              Day Bar           H
         65075 001439418      DARDEN, JEREMY            Day Bar           H
         65075 326320         MIRANDO, SERGIO           Prod/Food Prep    H
         65075 193051         HARRIS, HAILEY            Server            H
         65075 511217         PEERY, JIM T.             Server            H
         65075 330834         TYGART, TASHA             Server            H
         65075 001439491      FLORENTINO, GUSTAVO       Server            H
         65075 650333         ADAMS, MIRANDA            Server            H
         65075 001439505      DANIEL, MITCHELL          Server            H
         65075 001439471      MARTIN, KIRSTEN           Server            H
         65075 755529         GOMEZ, TEODORO            Prod/Food Prep    H
         65075 782044         MURILLO, EDUARDO          Prod/Food Prep    H
         65075 001439496      LAMUNYON, BRITTANY        Host/Hostess      H
         65075 001439506      SARVER, APRIL             Server            H
         65075 001439394      HERNDON, JENNIFER         Server            H
         65075 001439466      IRONS, AMANDA             Server            H
         65075 001439412      RUSH, SEVEN               Server            H
         65075 001439465      DENNIS, KELSIE            Server            H
         65075 001439475      GRAY, BRENDA              Server            H
         65075 001439521      PORTER, KYLIE             Server            H
         65075 344317         COLLINS, ERIN             Host/Hostess      H
         65075 940730         WALKER, CHELSEA           Server            H
         65075 001439519      DUNN, BRANDI              Server            H
         65075 537823         KELLER, EMMA              Server            H
         65075 789878         HEIDENREITER, DEVON       Host/Hostess      H
         65075 001439517      SALDIVAR, JENNA           Server            H
         65075 833260         TYGART, NASTOSHA          Host/Hostess      H
         65076 982532         BENSEN, TIFFANY A.        MIT #2            S
         65076 058519977      STABILE, GREG             GM Salary         S
         65076 112378         KILLUS, BRET              MGR Salary        S
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       Cost     EmpID         Name                     Title             Hr/Sl
       Center
          65076 558775        MORAVEC, BRIAN           MGR Salary        S
         65076 058519947      BEHNING, MICHAEL         Prod/Food Prep    H
         65076 466888         CIELO, JESSICA           Server            H
         65076 534085         ROMERO, RAMIRO           Prod/Food Prep    H
         65076 058520032      DESIDERIO, LUIS          Trainee           H
         65076 986005         FATO, ANGELA             Server            H
         65076 058519928      HOURSELT, REBECCA M.     Trainee           H
         65076 058520003      SIMMON, COURTNEY         Host/Hostess      H
         65076 058519924      MALEK, COURTNEY          Host/Hostess      H
         65076 174992         GEORGULOS, LISA          Host/Hostess      H
         65076 829757         JAROSZ, KATHERIN         Trainee           H
         65076 058520030      BOSCHELLI, OLIVIA        Server            H
         65076 112085         ABRAHAM, JENNY           Host/Hostess      H
         65076 058520164      DINOVO, DEANNA           Server            H
         65076 658981         FATO, ANGELINA           Trainee           H
         65076 058520118      BONNEVIER, DANA          Host/Hostess      H
         65076 753241         CRAIG, KELSEA            Server            H
         65076 852061         JANCIK, KATIE            Server            H
         65076 730434         BIANCO, STEPHANI         Server            H
         65076 058520178      GALANTE, JESSICA         Server            H
         65076 058520169      WILLIAMS, AMANDA         Trainee           H
         65076 058520140      GRAY, JORDAN             Server            H
         65076 058520109      MELENDEZ, MELQUIAD       Prod/Food Prep    H
         65076 058520181      GIUSTI, WHITNEY          Host/Hostess      H
         65076 058520133      ABERNETHY, TAYLOR        Host/Hostess      H
         65076 058520146      TORRES, DANIEL           Prod/Food Prep    H
         65076 058520119      STERN, RYAN              Server            H
         65076 058520105      BARRERA, ENRIQUE         Prod/Food Prep    H
         65076 874944         MURPHY, CADY             Server            H
         65076 058520013      LUMP, SAMANTHA           Server            H
         65076 484279         HOLDREN, STEPHANI        Server            H
         65076 058520068      CLAPPER, MEGHAN          Server            H
         65076 058520104      PEREZ, AGRIPIN           Prod/Food Prep    H
         65076 488125         MCLAIN, KRISTINA         Server            H
         65076 058520012      KRUK, KIMBERLY           Server            H
         65076 976804         PEREZ, MICHAEL V.        Night Bar         H
         65076 058520033      DESIDERIO, ALFREDO       Trainee           H
         65076 983983         SORIANO, JUAN            Trainee           H
         65076 058519916      RODRIGUEZ, FRANCISC      Trainee           H
         65076 058520179      PATTEN, TRACY            Server            H
         65076 245826         KRZEMIEN, KAROLINA       Trainee           H
         65076 058520098      RAMIREZ, AMANDA          Server            H
         65076 058520150      MELSON, BRITTANY         Host/Hostess      H
         65076 866196         WATSON, TARA             Server            H
         65076 058520172      DESOUZA, ROBERTO         Host/Hostess      H
         65077 753203         CROSSON, ALEX            Prod/Food Prep    H
         65077 576048         RAY, PHILLIP C.          Prod/Food Prep    H
         65077 581205         RUEDAS, JOSE             Trainee           H
         65077 728610         MORRISSEY, DAVID         Prod/Food Prep    H
         65077 545948         HERNANDEZ, ARWEN         MGR Salary        S
         65077 134216         DEAN, THOMAS T.          MGR Salary        S
         65077 484577         BREWER, MICHAEL B.       MGR Salary        S
         65077 510971         JONES, PRESTON           MGR Salary        S
         65077 518990         HAUGHT, NATHAN W.        GM Salary         S
         65077 029924051      BAKER, TRISTAN           Trainee           H
         65077 029923593      HARMSEN, AMANDA          Trainee           H
         65077 946598         DICKERSON, MARK          Server            H
         65077 381926         MCMILLAN, MELISSA        Host/Hostess      H
         65077 565723         POORMAN, TRINA J.        Server            H
         65077 029922468      RIGGS, WHITNEY           Server            H
         65077 797811         BAUMLIN, ANNA            Prod/Food Prep    H
         65077 363858         MAULTSBY, TAMATHA        Host/Hostess      H
         65077 029921872      BURNS, JILLIAN           Host/Hostess      H
         65077 029921947      MCGOUGAN, WILLIAM        Prod/Food Prep    H
         65077 029923338      STEWART, PAUL            Prod/Food Prep    H
         65077 029922899      BROWN, CHRISTPH          Prod/Food Prep    H
         65077 327922         FACTEAU, REBECCA         Server            H
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       Center
          65077 745777        WOOD, LAURA               Server            H
         65077 717925         ELLIOTT, TED M.           Trainee           H
         65077 029923386      SWAIN-WHITE, HASSON       Trainee           H
         65077 029924205      SCOGGINS, JORDAN          Server            H
         65077 029923337      AYSCUE, BRITTANY          Host/Hostess      H
         65077 756564         WAJERSKI, SARA            Host/Hostess      H
         65077 029924075      HARMSEN, STEPHANI         Server            H
         65077 793451         MOORE, MALLORY            Server            H
         65077 425043         SCHULTZ, MEGAN            Server            H
         65077 029923984      WEINER, TIARA             Server            H
         65077 029924048      SNARZYK, SARA             Server            H
         65077 029922466      SPITZLEY, JESSIE          Server            H
         65077 770191         BASHIR, KARAM             Prod/Food Prep    H
         65077 029924068      TRADER, ELIZABET          Trainee           H
         65077 390323         GREENSTEIN, JESSICA       Server            H
         65077 029924250      ROSAS, JOSE               Prod/Food Prep    H
         65077 029924249      ROSAS, ORLANDO            Trainee           H
         65077 990541         FESPERMAN, SHELBIE        Host/Hostess      H
         65077 713114         HANSEN, AMANDA            Night Bar         H
         65077 029922293      COWAND, SARAH             Server            H
         65077 029923339      SCHUFF, SAMANTHA          Host/Hostess      H
         65077 184557         DELONG, HUNTER            Prod/Food Prep    H
         65077 029923155      AMONSO, ASHLEY            Server            H
         65077 029923832      CURTIS, NATALIE           Host/Hostess      H
         65077 029923153      BURNS, MADISON            Host/Hostess      H
         65077 822224         WILLIAMS, REVONDA         Host/Hostess      H
         65077 029922169      PADELKOVA, MARTINA        Server            H
         65077 029924208      ONORATI, KATHRYN          Server            H
         65077 029924069      VANDERWEIFF, LITTON       Trainee           H
         65077 979032         JORDAN, TERRY L.          Prod/Food Prep    H
         65077 029923504      WEHNER, LAUREN            Server            H
         65077 983308         ROBERTSON, ALICE L.       Server            H
         65077 252204         CHAPEL, TAYLOR            Server            H
         65077 923329         CORRIVEAU, MICHELLE       Server            H
         65077 347974         SAWDEY, ASHLEY            Server            H
         65077 775710         SARADADELL, DHARSHYA      Server            H
         65077 029923896      MORISI, ALYSSA            Trainee           H
         65077 433179         MARTIN, ADAM              Night Bar         H
         65077 850024         MAULTSBY, MICHAEL H.      Host/Hostess      H
         65080 4754758A       GUNTER, MEGHAN E.         MGR Salary        S
         65080 322596         CERON, CHRISTA            MGR Salary        S
         65080 9725838A       RICHARDSON, AMANDA        GM Salary         S
         65080 587990         BUDD, JAMIE               Trainee           H
         65080 029922657      AGUILAR, BALTAZAR         Trainee           H
         65080 604021         REYES, GUSTAVE            Prod/Food Prep    H
         65080 029923341      AGUILAR, AVERTANO         Prod/Food Prep    H
         65080 029922967      STEINGER, JENNIFER        Server            H
         65080 508526         GONZALEZ, LORENA          Trainee           H
         65080 029922761      HARRELL, JULIANA          Trainee           H
         65080 029923756      MILLER, DANIELLE          Trainee           H
         65080 029922810      LIM, CATHERIN             Server            H
         65080 916334         ALVAREZ, SALOMON          Prod/Food Prep    H
         65080 604514         CRUZ, DAGOBERTO M.        Prod/Food Prep    H
         65080 029922711      NAVOR, MARIANA            Prod/Food Prep    H
         65080 980854         MARTINEZ, OSCAR R.        Prod/Food Prep    H
         65080 260985         VOSKUIL, ALEXANDR         Server            H
         65080 029923675      QUICKSILL, MORGAN         Trainee           H
         65080 818793         ALVEREZ, URIEL            Prod/Food Prep    H
         65080 986035         HUTTON, PATSY R.          Host/Hostess      H
         65080 578199         LUCCHESI, JENNIFER        Trainee           H
         65080 029922697      YATES, KYLE               Night Bar         H
         65080 029924164      BEHR, KYLE                Server            H
         65080 283197         EISEN, MOLLIE             Host/Hostess      H
         65080 029923983      REYNOLDS, TABATHA         Trainee           H
         65080 029923906      CHILDERS, MELISSA         Server            H
         65080 459204         BARNHART, MOLLI           Server            H
         65080 029923444      MILLS, CHELSEA            Server            H
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       Center
          65080 029923971    KEIM, CHRISTOP            Trainee           H
         65080 029924165     KISSEL, RACHEL            Trainee           H
         65080 029923921     FARRAR, KELLY             Server            H
         65080 614794        SINGLER, MARIAH           Night Bar         H
         65080 029924166     SUTHERLAND, PAYTON        Server            H
         65080 982558        WYNE, JESSICA             Host/Hostess      H
         65080 029923922     TOLAND, STEPHANI          Trainee           H
         65080 639835        CURRISTON, KATIE          Server            H
         65080 029924089     BARKLAGE, ANDREA          Server            H
         65080 029923443     GOODE, BROOKE             Host/Hostess      H
         65080 551693        REILLY, COLLEEN           Server            H
         65080 029923982     MCCLAFFERTY, CHELSEA      Trainee           H
         65080 029922479     BLAIR, STEPHANI           Server            H
         65080 029923201     ALVAREZ, DINORA           Prod/Food Prep    H
         65080 029922503     MILNER, KERI              Night Bar         H
         65080 029923754     GELB, SHANNA              Trainee           H
         65080 029922338     MEYER, ALEXIS             Server            H
         65080 029922968     MCCANE, LILLY             Server            H
         65080 361682        RUSSELL, MEAGAN           Host/Hostess      H
         65080 029923340     BUCH, SAVANNAH            Server            H
         65080 029922096     HUGHES, ASHLEY            Server            H
         65080 029923757     PRUITT, OMARI             Prod/Food Prep    H
         65080 866108        MICHAELS, SARAH           Server            H
         65080 203426        CONNELY, ALLISON          Server            H
         65080 029922689     POWELL, MACKENZI          Server            H
         65083 439971        RUIZ, ALEX                Prod/Food Prep    H
         65083 731958        GARRISON, KEVIN J.        GM Salary         S
         65083 029924188     BRAUNE Jr., STEVEN L.     MGR Salary        S
         65083 802813        ROSTHOLDER, SCOTT         MGR Salary        S
         65083 805843        HELMS, DAREN F.           MGR Salary        S
         65083 820932        TOMS, EDGAR S.            MGR Salary        S
         65083 029922802     EBERHARD, AMBER           Server            H
         65083 751406        MARTINEZ, ROSARIO         Prod/Food Prep    H
         65083 461338        HANEY, ELIZABET           Server            H
         65083 029923761     STOTTLEMYER, LEONARD      Prod/Food Prep    H
         65083 029922751     DREW, TIMOTHY             Prod/Food Prep    H
         65083 029923640     DEWEY, TYLER              Host/Hostess      H
         65083 742820        DRAKE, AARON              Prod/Food Prep    H
         65083 331062        JONES, BEN                Server            H
         65083 029923833     BOYER, BRAD               Prod/Food Prep    H
         65083 029923550     SHEARER, MELISSA          Server            H
         65083 029923642     VINCOLI, JESSICA          Host/Hostess      H
         65083 833855        FAIRCLOTH, ZACHARY        Prod/Food Prep    H
         65083 029923451     SMITH, MATTHEW            Prod/Food Prep    H
         65083 926935        THOMPSON, ALSTON          Trainee           H
         65083 977176        TURNER, BETHANY           Server            H
         65083 148426        RIOS, LUCIO               Trainee           H
         65083 447637        GREEN, BRITTANY           Trainee           H
         65083 979336        MOOSE, AMANDA             Server            H
         65083 612108        WATSON, CHANEY            Server            H
         65083 326020        HORTON, REBECCA           Host/Hostess      H
         65083 029923199     BATISTA, JANEY            Server            H
         65083 189423        HORNE, MARLY              Server            H
         65083 029922220     GARDNER, LINDSEY          Server            H
         65083 029923705     WARNER, CYNNAMON          Trainee           H
         65083 029923261     BEGIER, KENDALL           Host/Hostess      H
         65083 144896        MARTEL, BRITTLEY          Server            H
         65083 029923198     TAYLOR, RYAN              Server            H
         65083 029923491     COOPER, JEFFREY           Prod/Food Prep    H
         65083 029924067     DOMINGUEZ, ALLISON        Host/Hostess      H
         65083 970423        WILLIAMS, MARISSA         Trainee           H
         65083 029924066     DAVIS, KAYLA              Server            H
         65083 611082        REVILLA, LUIS             Prod/Food Prep    H
         65083 174557        JAMES, JESSICA            Server            H
         65083 029923240     POOLE, LESLIE             Server            H
         65083 875036        BRAILSFORD, BRODY         Trainee           H
         65083 486354        WOODWARD, PAIGE           Host/Hostess      H
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        Cost     EmpID         Name                       Title              Hr/Sl
        Center
           65083 985417        MACDANIEL, KELSEY L.       Host/Hostess       H
          65083 029922147      DEACON, CASEY              Server             H
          65083 332959         UNGER, HALEY               Server             H
          65083 217643         DOHERTY, EVAN              Server             H
          65083 029923641      FRY, COURTNEY              Host/Hostess       H
          65083 707051         CORREIA, BRUNA             Host/Hostess       H
          65083 610278         VANBUHLER, AMBER           Server             H
          65083 029922635      HOUCK, JAKE                Trainee            H
          65083 029923791      VESELY, MALLORI L.         Server Trainee     H
          65083 188831         RYAN, KATELIN              Trainee            H
          65083 029923598      PROCTOR, BRITTNEY          Host/Hostess       H
          65083 455567         JOHNSON, AMBER             Host/Hostess       H
          65083 598761         LOPEZ, ILSE                Trainee            H
          65083 726585         WILHELMY, ALYSSA R.        Server             H
          65083 029923551      LAYRER, GREYSON            Host/Hostess       H
          65083 451351         INGOLD, BRADLY             Trainee            H
          65083 579622         OGDEN, MARY                Server             H
          65083 029923304      KELLY, STACI               Host/Hostess       H
          65083 029922297      GAUVREAU, GRETCHEN         Server             H
          65083 029923239      LANE, SARAH                Host/Hostess       H
          65083 029923007      JEFFERSON, CHELSEA         Server             H
          65083 029923851      WEBB, REBECCA              Host/Hostess       H
          65083 029923497      SUMMERS, BRANDEN           Server             H
          65083 843247         GURGANUS, RACHEL           Host/Hostess       H
          65087 21206          MIDDLETON, MIKE            GM Salary          S
          65087 837090         GUNN, FREDERICK            MGR Salary         S
          65087 967805         REED, OWEN G.              MGR Salary         S
          65087 967854         DEMSTER, JESSICA M.        MGR Salary         S
          65087 850044         SPENCER, SHARON            Prod/Food Prep     H
          65087 158949         DICKENS, AMANDA            Host/Hostess       H
          65087 902828         WINDOWS, VLADIMIR          Prod/Food Prep     H
          65087 029922432      ANDERSON, MELODY           Server             H
          65087 686374         OTT, JANELLE               Server             H
          65087 029923548      JENNINGS, KENNETH          Prod/Food Prep     H
          65087 551229         BAKER, MARIA L.            Server             H
          65087 029923390      NEWCOMB, JULIE             Host/Hostess       H
          65087 818143         WARDLAW, DEVIN             Prod/Food Prep     H
          65087 029922350      SMITH, HANNAH              Server             H
          65087 029922861      SORRELL, HALEY             Host/Hostess       H
          65087 367477         HILLIARD, LEE              Prod/Food Prep     H
          65087 029923764      WICKER, JEANNE             Server             H
          65087 893815         HAYNES, JIMMY              Prod/Food Prep     H
          65087 975630         REDMON, JACLYN             Server             H
          65087 029923765      WICKER, ALEXIS             Server             H
          65087 930735         RIDER, HOLLY               Host/Hostess       H
          65087 029923960      MONTOYA, ALESHIEA          Server             H
          65087 962874         COLLUMS, TONI              Server             H
          65087 029922563      HENDERSON, ANGELO          Prod/Food Prep     H
          65087 029923210      CARTER, ELKIN              Prod/Food Prep     H
          65087 029923780      SANDERS, BROOKLYN          Server             H
          65087 673113         JOHNSON, CHRISTOP          Trainee            H
          65087 903255         ESCOVEDO, JASMINE          Host/Hostess       H
          65087 029923213      CHUNN, KAYLA               Server             H
          65087 464368         MILLS, MARSHA              Server             H
          65087 573838         KNEISLEY, KATIE            Server             H
          65087 029924050      HURST, BRITTANY            Host/Hostess       H
          65087 417681         ROBINSON, HEATHER          Server             H
          65087 029923215      TAYLOR, AMANDA             Server             H
          65087 029921894      TYE, AIYETORA              Server             H
          65087 029922097      LEWIS, JESSICA             Host/Hostess       H
          65087 029922754      MITCHELL, CLARENCE         Prod/Food Prep     H
          65087 678550         HUCKABY, AMANDA            Server             H
          65087 029924108      HUNT, HEATHER              Server             H
          65087 029923472      BAYLES, SASHA              Prod/Food Prep     H
          65087 029924219      POSEY, SUMMER              Host/Hostess       H
          65087 882493         REAK, COURTNEY             Host/Hostess       H
          65087 977004         CANIZARO, SAMANTHA         Host/Hostess       H
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        Cost     EmpID         Name                      Title              Hr/Sl
        Center
           65087 310243        ESKRIDGE, ANDRIA          Server             H
          65088 713259         DURON, BETO               Trainee            H
          65088 029923610      SMITH, LAWRENCE           Trainee            H
          65088 95434          DEDONEKER, DANIEL T.      MGR Salary         S
          65088 953836         SCHORSTEN, WALTER E.      MGR Salary         S
          65088 116075         PALLOTTA, NICHOLAS        GM Salary          S
          65088 325477         ANDERSON, KORI            MGR Salary         S
          65088 958329         MONTUFAR, HERIBERTO       Prod/Food Prep     H
          65088 720606         EBRIGHT, NICHOLAS         Prod/Food Prep     H
          65088 199579         BRINGARDNER, SARA         Server             H
          65088 899871         MCCAULEY, JAMES           Trainee            H
          65088 029923730      SEGEBART, KERRY           Bar Back           H
          65088 568935         GIEST, CIERRA             Trainee            H
          65088 029923795      MADISON, HALEY            Host/Hostess       H
          65088 029923103      SMITH III, ALBERT         Prod/Food Prep     H
          65088 029923558      NEWMAN, CHELSEA           Host/Hostess       H
          65088 029923608      SAUNDERS, COLLIN          Trainee            H
          65088 964287         HADJIYANNIS, GENEVA       Trainee            H
          65088 029923912      MENDENHALL, ROBERT        Trainee            H
          65088 897048         BAUER, TREY               Prod/Food Prep     H
          65088 868513         SATURLEY, MICHELLE L.     Server             H
          65088 029922280      KING, TAYLOR              Server             H
          65088 797828         RENFRO, PHILLIP           Server             H
          65088 578322         DEALDERETE, TINA          Server             H
          65088 029923168      SWITZER, SEAN             Server             H
          65088 029922656      DAVIS, ANAKA              Trainee            H
          65088 981241         RUNYON, DANIELLE          Trainee            H
          65088 029922666      STEWART, ZACH             Trainee            H
          65088 029922654      STURM, NICOLE             Trainee            H
          65088 029923552      WARD, LAUREN              Host/Hostess       H
          65088 472647         OWENS, ERICA              Host/Hostess       H
          65088 288139         CARROLL, NATASHA          Host/Hostess       H
          65088 858704         SHAW, DANIELLE            Host/Hostess       H
          65088 029923709      WATSON, URMAH             Trainee            H
          65088 029923609      RODRIGUEZ, ALVIN          Trainee            H
          65088 029923376      SIX, CALLIE               Trainee            H
          65088 029923660      CUZICK, CHASE             Host/Hostess       H
          65088 029922669      LYKINS, KATIE             Host/Hostess       H
          65088 029924191      WHITE, HOLLY              Host/Hostess       H
          65088 389912         THARP, MARISSA            Host/Hostess       H
          65088 029924176      ATKINS, JERRY             Server             H
          65088 845029         CREVISTON, MEGAN          Trainee            H
          65088 029922668      KERSEY, NICK              Trainee            H
          65088 029923654      DEIS, STACI               Host/Hostess       H
          65088 029923378      ROCKFIELD, AMANDA         Trainee            H
          65088 029923708      FETTERMAN, WILLIAM        Prod/Food Prep     H
          65088 029924125      SLAGA, DORIA              Host/Hostess       H
          65088 229140         CLIFT, RENEE              Host/Hostess       H
          65088 029922903      EASON, MARSHANA           Trainee            H
          65088 029924251      DARDING, CASEY            Host/Hostess       H
          65088 691476         RESLER, KEVIN             Trainee            H
          65088 731572         WELLING, JILLIAN          Server             H
          65088 497560         WILSON, JORDAN            Server             H
          65088 1718118A       BROWN, CHRISTINE R.       Night Bar          H
          65088 029923348      MENDIOLA, SILVANO         Prod/Food Prep     H
          65088 687310         GILBERT, STEPHANIE M.     Host/Hostess       H
          65088 029923379      BROWN, DESTINY            Trainee            H
          65088 029923553      DIAZ, TAYLOR              Trainee            H
          65088 029924245      BROWNE, VAN               Trainee            H
          65088 777948         ERBAUGH, JESSICA          Server             H
          65088 029924175      SWISHER, KEVIN            Trainee            H
          65089 727136         BRITT, TIMOTHY            Prod/Food Prep     H
          65089 029922429      CRAIG, CHRISTOP           Prod/Food Prep     H
          65089 656354         JENNINGS, SHEILA          MGR Salary         S
          65089 343602         WELLS, DARRELL A.         MGR Salary         S
          65089 434638         HOLLOMAN, DOUGLAS L.      MGR Salary         S
          65089 744728         SAUNDERS, THOMAS          Prod/Food Prep     H
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        Center
           65089 462254        MORRISON, JILLIAN         Trainee            H
          65089 029923000      HOWELL, JANSEEN           Trainee            H
          65089 029922957      PETERNEL, STEVEN          Trainee            H
          65089 029923072      BOTELHO, CHRISTIN         Trainee            H
          65089 937896         KUZNIATSOVA, ALENA N.     Server             H
          65089 029923973      KELLY, JOSEPHINE          Host/Hostess       H
          65089 371768         TOWNES, JOSHUA            Trainee            H
          65089 029923974      LUKASIEWICZ, MARY         Server             H
          65089 933888         HARBERT, CASEY            Host/Hostess       H
          65089 029923793      WASHINGTON, DENZEL        Prod/Food Prep     H
          65089 029923360      RUCKER, MACY              Host/Hostess       H
          65089 138754         ANDREWS, MICHAEL          Server             H
          65089 989561         HUGHES IV, JAMES H.       Server             H
          65089 738019         HARDEN, MATTHEW           Host/Hostess       H
          65089 029923844      HERON, ANTHONY            Server             H
          65089 172487         JAMISON, SHAINA           Server             H
          65089 029924201      LANE, CONNER              Trainee            H
          65089 330229         HOWELL, SAMANTHA          Server             H
          65089 785613         GOLLA, JESSICA            Server             H
          65089 029923663      FERNANDEZ, MARIA          Server             H
          65089 828903         LONG, VIRGINIA            Server             H
          65089 029923300      DELEON, ANGELICA          Host/Hostess       H
          65089 029924036      WASHINGTON, JESSICA       Server             H
          65089 436445         DEZERO, ANDREA N.         Server             H
          65089 915765         TURNER, GEORGE            Prod/Food Prep     H
          65089 496530         TERRY, AHMAD              Host/Hostess       H
          65089 029923074      NGUYEN, MARLINA           Trainee            H
          65089 029923845      GEARY, KLARISSA           Server             H
          65089 029923843      BOOKER, JASMINE           Server             H
          65089 530292         MCKNEW, EMILY             Server             H
          65089 029924200      JACKSON, TIFFANY          Server             H
          65089 272599         GILBERT, NINA             Prod/Food Prep     H
          65089 029923913      HOWARD, CJ                Prod/Food Prep     H
          65089 029923975      FENTON, AUBREY            Prod/Food Prep     H
          65089 029923361      BALLINGALL, DEREK         Server             H
          65089 747940         GOTT, JESSICA             Host/Hostess       H
          65089 029924199      FRANKLIN, PAIGE           Server             H
          65089 029924174      MONTESDEOCA, MELANIE      Server             H
          65089 029924171      BOYD, WILBUR              Host/Hostess       H
          65089 029924172      BURGE, MARIAH             Host/Hostess       H
          65089 029922630      WATFORD, DANA             Server             H
          65089 434507         HOWARD, KELLY             Host/Hostess       H
          65089 029923976      TABB, SHAQUEL             Prod/Food Prep     H
          65089 029922631      WILSON, SHAWN             Prod/Food Prep     H
          65089 029924198      MASON, SHERRI             Server             H
          65091 000962597      MORY, JOE                 GM Salary          S
          65091 361460         COLEBROOK, RACHAEL B.     MGR Salary         S
          65091 534191         TAYLOR, BRIAN             MGR Salary         S
          65091 000962484      RICE, JEFFREY A.          MGR Salary         S
          65091 151732         RODRIGUEZ, ADRIAN         Trainee            H
          65091 000962399      PIERCY, JEANNIE           Trainee            H
          65091 938200         GARCIA, ROBELIO           Prod/Food Prep     H
          65091 000962556      SALVADOR, RODRIGUEZ       Trainee            H
          65091 000962540      AUSTIN, STEPHANI          Night Bar          H
          65091 309154         LOPEZ, JESUS              Trainee            H
          65091 000962582      SAMANO, BRAVLIO           Trainee            H
          65091 881920         OLIVER, KARLA             Trainee            H
          65091 448351         ALVAREZ, JAVIER           Prod/Food Prep     H
          65091 000962497      CORONA, OMAR              Trainee            H
          65091 000962545      WILSON, AMANDA            Trainee            H
          65091 925447         LEE, TIARA                Server             H
          65091 000962467      MUHLENKAMP, KATHERIN      Night Bar          H
          65091 339307         MORA, DANIEL              Prod/Food Prep     H
          65091 537274         CALABRESE, LINDSEY        Server             H
          65091 000962349      ABOLFATHZADEH, RAHEEM     Server             H
          65091 000962538      LYNCH, TORI               Trainee            H
          65091 000962461      GREENBERG, HANNAH         Trainee            H
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        Center
           65091 000962354    ROGERS, KELLY            Server             H
          65091 000962584     KANCHY, JENNIFER         Trainee            H
          65091 922281        FLOURNOY, DOUGLAS        Server             H
          65091 000962468     GHOLZ, HALI              Trainee            H
          65091 000962583     REYES, RAFAEL            Trainee            H
          65091 000962424     COLLINS, SYDNEY          Trainee            H
          65091 000962348     DANG, TRANG              Trainee            H
          65091 000962464     BRISCOE, DILLON          Trainee            H
          65091 000962549     GUILLAMS, TIEKA          Server             H
          65091 357907        AGRICOLA, CARLY          Server             H
          65091 000962385     ERION, DANIEL            Trainee            H
          65091 000962586     NORMAN, CHELSEA          Trainee            H
          65091 000962589     SHREVE, JOHNATHA         Server             H
          65091 976335        AGRICOLA, EMILY          Trainee            H
          65091 704608        LANCASTER, MARCUS        Server             H
          65091 829569        CROUSE, BRITTNEY         Host/Hostess       H
          65091 000962544     BERLINGER, BRIAN         Trainee            H
          65091 133551        CRONIN, SAMANTHA         Server             H
          65091 000962553     STONE, ANDREW            Trainee            H
          65091 000962421     MARTINEZ, ASHLEY         Trainee            H
          65091 000962588     MILES, DYLLON            Trainee            H
          65091 000962379     GRABLE, TEAGAN           Trainee            H
          65091 000962477     MURRELL, NATHAN          Server             H
          65091 000962306     LAYER, CASEY             Trainee            H
          65091 000962581     REPASKY, ALEX            Trainee            H
          65091 000962430     JUSTICE, TASHA           Trainee            H
          65091 000962499     BROWN, KRISTEN           Server             H
          65092 029923425     OSBURN, MATTHEW          Prod/Food Prep     H
          65092 689075        HARRINGTON, TIMOTHY P.   MGR Salary         S
          65092 722414        BERNAL, DEBRA            MGR Salary         S
          65092 2051568A      DALEY, SAMANTHA K.       MGR Salary         S
          65092 029924011     HINCHCLIFF, ZACHARY      Trainee            H
          65092 029923001     PISARUK, ERIK            Trainee            H
          65092 915644        OLIPHANT, BURTON P.      Prod/Food Prep     H
          65092 669339        RISLEY, JESSICA          Trainee            H
          65092 029922706     LAIR, BLAKE              Trainee            H
          65092 029924009     CUEVAS, ELGA             Trainee            H
          65092 260180        MOON, COURTNEY           Server             H
          65092 029923174     SZAREK, KANDICE          Trainee            H
          65092 029922782     POLACK, SIERRA           Server             H
          65092 143693        OEHLERKING, RACHEL       Server             H
          65092 029922189     SORROWS, JIMMIE          Prod/Food Prep     H
          65092 284417        WILLIAMS, RICH           Trainee            H
          65092 029922395     OLMOS, JACY              Server             H
          65092 029923734     MADELINE, KAYLA          Server             H
          65092 254632        CUSHING, HANNAH          Server             H
          65092 029923209     MUZZY, JUSTIN            Prod/Food Prep     H
          65092 231644        SWEENEY, JAMIE           Night Bar          H
          65092 664480        SPOTO, MARIE             Server             H
          65092 029923882     PASSARO, AUDREY          Server             H
          65092 627028        MORRISON, HALEY          Trainee            H
          65092 029923395     VIRION, STEPHANI         Server             H
          65092 849486        ROOT, LANA               Server             H
          65092 029924010     KRIKAC, ROBERT           Trainee            H
          65092 748974        SMITH, KAITLYN           Host/Hostess       H
          65092 029923554     VOLKMAN, MALLERI         Server             H
          65092 029924085     ENGLAND, ERIN C.         Host/Hostess       H
          65092 029922006     HORN, ANDREW             Trainee            H
          65092 162289        LUDWIG, LACIE            Server             H
          65092 029922714     ROBERTS, TAYLOR          Trainee            H
          65092 029923180     PACHECO, JENNIFER C.     Server             H
          65092 029923556     HOWEY, JASMINE           Host/Hostess       H
          65092 029924195     FELTS, CORI              Host/Hostess       H
          65092 283214        MANSELL, CAITLIN         Host/Hostess       H
          65092 029923184     SWEAT, REBECCA J.        Server             H
          65092 992536        THOMPSON, JESSICA        Server             H
          65092 029922518     SCHMELZER, ERIN          Night Bar          H
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        Cost     EmpID         Name                      Title              Hr/Sl
        Center
           65092 029922102     PARRY, KRISTIN            Trainee            H
          65092 870829         NOTESTINE, ELIZABET       Server             H
          65092 238691         THOMPSON, CHELSEA         Trainee            H
          65092 185090         DAVIES, OLIVIA            Host/Hostess       H
          65092 029924236      HINTON, ERIC              Prod/Food Prep     H
          65092 029923362      JONES, ASHLEY             Night Bar          H
          65092 029924196      PROFFIT, AMANDA           Server             H
          65092 029924052      QUINTANA, MARLENE         Server             H
          65092 029923010      ZID, JESSICA              Trainee            H
          65092 029923459      IRWIN, MELISSA            Host/Hostess       H
          65092 029923890      CLAY, ANTONY              Prod/Food Prep     H
          65092 029922247      SHIVE, KRISTIAN           Prod/Food Prep     H
          65092 029923394      GRIFFITH, AMANDA          Server             H
          65093 146964         PHILLIPS, DEVIN           Prod/Food Prep     H
          65093 029922070      GAMMACK, IAN              Prod/Food Prep     H
          65093 029921976      PHUNTEK, JEREMY           Trainee            H
          65093 029922974      PLACE, RYAN S.            MGR Salary         S
          65093 918708         REED, JASON S.            MGR Salary         S
          65093 850645         FLOREA, JONATHAN J.       MGR Salary         S
          65093 746969         BROZZETTI, ALDO           GM Salary          S
          65093 029923901      CLAYTON, KELLEY           Server             H
          65093 932297         HOLDREN, JESSICA N.       Server             H
          65093 029922069      FRANKLIN, DAVON           Trainee            H
          65093 362878         SUTHERLAND, BEKA          Host/Hostess       H
          65093 029924140      MARTIN, JESSICA           Server             H
          65093 589708         SCHOONOVER, SUSAN         Server             H
          65093 029923187      HANSEN, SUSAN             Prod/Food Prep     H
          65093 029923212      DEESE, KENZI              Server             H
          65093 156827         ANTONIO, JOSEFINA         Prod/Food Prep     H
          65093 715697         STOUDT, VANESSA           Server             H
          65093 029923716      SALVADOR, SCARLETT        Host/Hostess       H
          65093 029921929      HALL, MEAGAN              Host/Hostess       H
          65093 029923719      WARD, DANA                Server             H
          65093 029924181      FOWLER, ALEXA             Server             H
          65093 029923500      SNODERLY, JUSTIN          Prod/Food Prep     H
          65093 367848         PHUNTEK, MARGARET         Host/Hostess       H
          65093 029924180      SIKLER, SAMARA            Server             H
          65093 387177         MANNO, NIKKI              Host/Hostess       H
          65093 398123         BLANCHARD, TESSA          Host/Hostess       H
          65093 029923898      LIZZIO, RILEY             Host/Hostess       H
          65093 029923897      SERRANO-CRUZ, EVA         Host/Hostess       H
          65093 589109         HAHN, KARLI J.            Server             H
          65093 138590         MUNOS, ALDO               Prod/Food Prep     H
          65093 829659         HULFORD, FRANCESCA        Server             H
          65093 873001         SCHELHORN, TRACY M.       Server             H
          65093 029923165      NORMENT, JULIANA          Host/Hostess       H
          65093 029921824      BARBER, KIARA             Host/Hostess       H
          65093 817746         HEATH, SHANIQUA D.        Server             H
          65093 700400         VARONA, ADRIAN            Trainee            H
          65093 029923503      LISENBY, EMILEY           Server             H
          65093 029921825      CALCAGNO, ALEXANDR        Host/Hostess       H
          65093 212210         MARTINEZ, LUIS A.         Prod/Food Prep     H
          65093 344160         MUNSKY, KAYLA             Host/Hostess       H
          65402 90327311       SAN MARTANO, HUGO         DM                 S
          65404 9097128A       WHITE, ERICH              DM                 S
          65405 029924252      FORBUSH, RICHARD T.       MIT #2             S
          65405 1710608A       DAVIS, JONATHAN H.        DM                 S
          65406 029923903      LOMBARDI, DAVID           DM                 S
          65409 6841708A       HALES, KURT               DM                 S
          65410 029923807      SNIDER, JAMES S.          DM                 S
          65410 464648A        CREEKMUR, TODD B.         DM                 S
          65413 365100358      SIMPSON, MICHAEL S.       DM                 S
          65416 029922452      DUPREE, WILLIAM           DM                 S
          65416 4538238A       EBERLE, CRAIG T.          DM                 S
          65417 1865818A       DECKER JR, HARRY          DM                 S
          65420 008574119      MCCASLAND, EDWARD         DM                 S
          65424 970005         FORTNEY, ERIC G.          MIT #2             S
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        Cost     EmpID         Name                        Title                     Hr/Sl
        Center
           65424 1292788A      FATHI, AMIR                 DM                        S
          65461 029922971      JONES, MICHAEL C.           Training                  S
          65462 596060         FEIGHNER, KIMBERLY          Regional EC               S
          65463 155208F        SCHAFER, ANGELA M.          Regional EC               S
          65501 155168A        STACK, DON                  Chiel Operating Officer   S
          65701 6715728A       CHALOUPKA, RENEE            HR                        H
          65701 5944678A       COSTNER, LINDA D.           Legal                     H
          65701 185289         COOK, NATALIE N.            HR                        H
          65701 1861848A       ROBERTS, TIMOTHY J.         IT                        S
          65701 1189698A       LIPPOLDT, CHAD W.           Finance                   S
          65701 237098A        GEORGE, TISHA L.            HR                        S
          65701 029923147      RICHMEIER, JASON S.         IT                        S
          65701 752498A        FOWLES, KIMBERLY K.         Legal                     S
          65701 4888098A       HUYETT, DAVID               Construction              S
          65701 029922972      HOWARD, AARON G.            Finance                   S
          65701 029923729      TRIVITT, WESLEY S.          IT                        S
          65701 6806098A       BURKEY, JORDAN N.           IT                        S
          65701 310797         TRUMPP, AUSTIN F.           Construction              S
          65701 6194888A       BUCKINGHAM, JASON           Finance                   S
          65701 029923863      SCHWEITZER II, TIMOTHY J.   IT                        S
          65701 029922648      POTTS, COLTER L.            IT                        S
          65701 105059658      ZIELKE, JAMES               CFO                       S
          65701 7149288A       DAVIS, BROCK H.             IT                        S
          65701 029923146      HANKINS, LINDSEY D.         HR                        H
          65921 826097         BUEHLER, MARC A.            CEO                       S
          65921 4454098A       HALL, MICHAEL S.            HR                        S
          65923 029923860      MANWARING, STEPHANIE G.     Marketing                 S
          65923 029923861      STEINBRENNER, FRANCIS J.    Marketing                 S
          65923 346779P        BURRUS, JEFF                Purchasing                S
          65923 029923858      COSTANZA, LINDSAY J.        Marketing                 S
          65923 029923859      HARKLESS, ADAM R.           Culinary                  S
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     Cost     EmpID      Name                                Title              Hr/Sl
     Center
       065201 532631     RODRIGUEZ, WILSON                   Cook               H
      065201 955516      MCNELLY, JEFFREY                    Cook               H
      065201 330060      LUDWINSKI, BRANDI                   Dr Server          H
      065201 285757      CHRISTENSON, LES                    Dr Server          H
      065201 927725      TETAMORE, KEVIN B.                  FOH Mgr Salary     S
      065201 315999      RICKBERG, INGRID                    FOH Mgr Salary     S
      065201 315594      WARREN, ROBERT                      EKM Salary         S
      065201 300133      RITENOUR, JARRETT                   GM Salary          S
      065201 281965      ARIAS, GUSTAVO                      Cook               H
      065201 255120      MENDOZA, JOSE                       Dr Server          H
      065201 007678      SANISACA, FERNANDO                  Dishwasher         H
      065201 756422      VALENTINE, ATANZA                   Dr Server          H
      065201 658872      GONZALEZ, HENRY                     Cook               H
      065201 001129813   SOLORIO, EDGAR                      Dishwasher         H
      065201 001130731   RODRIGUEZ, CARLOS                   Trainee            H
      065201 263059      HILL, MARTHA M.                     Bartender          H
      065201 789517      STAYE, BRIANNA                      Dr Server          H
      065201 419703      RODRIGUEZ, SARA                     Dr Server          H
      065201 685892      NAULA, MARIA                        Cook               H
      065201 230151      SANCHEZ, ROSARIO                    Busser             H
      065201 729472      CABRERA, HILDALGO                   Cook               H
      065201 652802      MUNSON, HOLLY R.                    Dr Server          H
      065201 264551      FLAKE, JAIME M.                     Cook               H
      065201 274999      EDMUNDSON, LAUREN                   Server             H
      065201 822368      FRELICH, KIMBERLY                   Host               H
      065201 230117      NAULA, CLEMENTE                     Dr Server          H
      065201 001128968   HERNANDEZ, JUAN                     Cook               H
      065201 212597      BASIC, WILLIAM                      Dr Server          H
      065201 001128866   MONTERO, ANGEL                      Dishwasher         H
      065201 286888      ENCALADA, GILBER                    Cook               H
      065201 001130319   BLOCK, CORY                         Cook               H
      065201 283651      LANDIS, REBECCA                     Server             H
      065201 825836      HUGHES, ASHLEY                      Host               H
      065201 388046      RITENOUR, BRANDON                   Dishwasher         H
      065201 001130427   PINOS, CARLOS                       Cook               H
      065201 330494      DIAZ, JOEL                          Cook               H
      065201 001129708   ARELLANO, HERIBERTO                 Cook               H
      065201 001130452   MEDINA, ROBERTO                     Cook               H
      065201 001130840   LINDHOLM, REBECCA                   Dr Server          H
      065201 161011      DALE, CAROLYN                       Host               H
      065201 246165      CASEY, MATTHEW                      Host               H
      065201 001130819   YOUNG, DYLAN                        Host               H
      065201 001130763   REMACHE, NEY                        Dishwasher         H
      065201 009459      BIORN, PETER                        Dr Server          H
      065201 001130569   GONZALEZ, LUIS                      Cook               H
      065201 274701      PERRINE, CHASE                      Host               H
      065201 230032      PEARSON, KATHRYN A.                 Server             H
      065201 839597      YOUNG, NICK                         Dr Server          H
      065201 155071      RECK, TORI                          Host               H
      065201 001130839   STEWARD, KAITLYN                    Dr Server          H
      065201 430256      BENSON, MARJORIE                    Dr Server          H
      065201 006846      MORRISSON, SCOTT                    Cook               H
      065201 001130096   MACKLING, JENNIFER                  Dr Server          H
      065201 928765      MIX, CASSANDRA                      Dr Server          H
      065201 001130098   JOHNSON, RIMANTE                    Dr Server          H
      065201 453220      USSELMAN, DANIELLE                  Host               H
      065201 001130102   CHETNEY, MICHAEL                    Dr Server          H
      065201 764500      JONES, RIHANA                       Host               H
      065201 329381      HEGGESTUEN, DANIEL                  Dr Server          H
      065201 280862      SIEVERT, LAURA                      Dr Server          H
      065201 230143      MOROCHO, NESTER R.                  Maintenance        H
      065201 001130508   HALSTEAD, IZABELLA                  Host               H
      065201 721701      NELSON, ANDREA                      Dr Server          H
      065201 230183      NELSON, KELLY                       Server             H
      065201 332950      HOLMAN, MARK                        Dr Server          H
      065201 001130099   MCCABE, MOLLY                       Dr Server          H
      065201 001130104   WOODS, LATOYA                       Host               H
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     Cost     EmpID      Name                                Title               Hr/Sl
     Center
       065201 286278     RICE, MATTHEW                       Dr Server           H
      065201 001130728   TRAN, TIFFANY                       Host                H
      065201 279854      HOLLAND, HEATHER L.                 Server              H
      065201 912929      PICKERING, AMY                      Dr Server           H
      065201 284539      SHACKELTON, KELLIE N.               Server              H
      065201 012329      PERRINE, ALEXCIS                    Cook                H
      065201 862007      HANKEY-BROWN, AUSTIN                Dr Server           H
      065201 286051      KOSHIOL, ANDREW M.                  Server              H
      065201 230206      HOBBS, JAMES                        Server              H
      065201 001130818   CONDON, ZACHARY                     Host                H
      065201 001130890   LOJA, JUAN                          Maintenance         H
      065201 924715      REHSCHUH, ROSS                      Dr Server           H
      065203 001131015   POTTER, JEFFREY M.                  Mgmt Trainee        S
      065203 267012      LUNA, VICTOR                        Dr Server           H
      065203 001130894   LAPENTA, VICTORIA                   Runner              H
      065203 001128778   RAMIREZ, JOSE                       Cook                H
      065203 001130886   PONCE, CESAR                        Dishwasher          H
      065203 014188      MARTINEZ, JOSE L.                   Dr Server           H
      065203 361741      LOPEZ, JOSE                         Cook                H
      065203 749600      TIRADO, DANIEL                      Host                H
      065203 282006      ROJAS, JORGE                        Dr Server           H
      065203 860841      PINKERTON, CHRISTOPHER              GM Salary           S
      065203 315666      FREEMAN, CASSANDRA L.               FOH Mgr Salary      S
      065203 166307      PASTMAN, JASON I.                   EKM Salary          S
      065203 315901      FLOREZ, DENA M.                     FOH Mgr Salary      S
      065203 973701      DULAK, MARTIN W.                    Runner              H
      065203 832461      GIL-HERNANDEZ, JORGE                Dishwasher          H
      065203 001130606   MERCED, NICOLE                      Host                H
      065203 283692      MOLOUGHNEY, JERMEY                  Server              H
      065203 219660      CONCHA, DYLAN                       Busser              H
      065203 485260      FINLEY, SEAN                        Runner              H
      065203 675111      BASSO, ARIEL                        Runner              H
      065203 001130895   DIGIROLAMO, JOSEPH                  Runner              H
      065203 278785      JIMENEZ, ALVARO                     Dishwasher          H
      065203 284940      RAMIREZ, ELEAZAR                    Cook                H
      065203 001128924   ESCAMILLA, VANESA                   Ck Trainee          H
      065203 001130957   RIVERA, NESTOR                      Dishwasher          H
      065203 658979      FUENTES, JUAN                       Dishwasher          H
      065203 271915      ARIAS, EDUARDO                      Dr Server           H
      065203 100447      RODRIGUEZ, HUMBERTO                 Dr Server           H
      065203 100369      BENITEZ, ERNESTO                    Dr Server           H
      065203 279949      MORA, ROY                           Maintenance         H
      065203 001128680   BASSO, STEPHANIE                    Runner              H
      065203 001130362   TRENT, JENNA                        Bartender           H
      065203 001130827   RIVAS PLATA, VICTOR                 Cook                H
      065203 001129503   HUGGINS, SHANICE                    Runner              H
      065203 001130893   BARBATO, BRITTANY                   Runner              H
      065203 100242      RODRIGUEZ, LUISA                    Dr Server           H
      065203 953661      SOW, AMADOU                         Host                H
      065203 793134      SANTILLANA, ADOLFO                  Busser              H
      065203 001129539   KING, JULIA                         Bartender           H
      065203 912112      SCULLY, HEATHER                     Runner              H
      065203 927992      PEREZ, CARLOS                       Runner              H
      065203 001130971   AZIZE, MELANIE                      Host                H
      065203 268142      RODRIGUEZ, GABY                     Server              H
      065203 638219      CONCHA, JENNIFER                    Runner              H
      065203 574306      SEGAL, ALEXANDER                    Runner              H
      065203 001130755   SHIELDS, CAITLIN                    Bartender           H
      065203 877934      ORTIZ, MELISSA                      Runner              H
      065203 001130935   PARMANN, ALEXA                      Host                H
      065203 471847      LEON, KARINA                        Runner              H
      065203 001130335   SILVA, MARIA                        Host                H
      065203 100433      CAMPBELL, CLINTON                   Bartender           H
      065203 130251      CHESLEY, MARY                       Host                H
      065203 001130504   MENDOZA, EDWARD                     Bartender           H
      065203 001130092   O'NEILL, MATTHEW                    Barback             H
      065203 001129605   PEREZ TLACZANI, MAURICIO            Cook                H
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     Center
       065203 375668     PUGH, ALEX                          Runner              H
      065203 998840      MALONE, SHEALYN                     Host                H
      065203 277810      NEY, SASHA                          Server              H
      065203 100390      SOLANO, ISAAC                       Barback             H
      065203 001129626   HAYDU, ASHLEY                       Host                H
      065203 115459      ALFARO, CAROLYN P.                  Bartender           H
      065203 580706      DETORO, SHANNA                      Host                H
      065203 001130186   RUBINO, JEANNA                      Bartender           H
      065203 265713      CARR, JADE M.                       Bartender           H
      065203 328863      CZAPLA, LAUREN                      Runner              H
      065203 285081      CARMONA, FRANCISCO                  Cook                H
      065204 280431      WYNN, ANTHONY J.                    Server              H
      065204 593462      BRAUN, ROBERT                       Dr Server           H
      065204 109327      CARRUOL, MATTHEW                    BussTrainee         H
      065204 001130383   TONER, JAZMINE                      Serv Trainee        H
      065204 001942      POPOCA, AARON                       Maintenance         H
      065204 278146      MILEWSKI, EDWARD                    Server              H
      065204 275881      ROSAS, ZENAYDA                      Dr Server           H
      065204 280254      RODRIGUES, ISRAEL                   Dishwasher          H
      065204 011374      POPOCA, MAXIMO                      Dishwasher          H
      065204 006160      LOPRETE, JEANNE L.                  FOH Mgr Salary      S
      065204 309483      SKIDMORE, MICHAEL                   GM Salary           S
      065204 315760      RIVERA, MIGUEL                      BOH Mgr Salary      S
      065204 300456      HUBALLA, MOHAMED                    EKM Salary          S
      065204 001130515   WRIGHT, DENNIS M.                   EKM Salary          S
      065204 001130332   HARTKORN, SANDRA                    FOH Mgr Salary      S
      065204 758942      SEVILLA, DANIEL                     Cook                H
      065204 867131      CLARK, AUBREY                       Dr Server           H
      065204 100943      BUSH, KIMBERLY A.                   Dr Server           H
      065204 615601      FERNANDEZ, PATRICIA                 Cook                H
      065204 277949      POPOCA, IGNACIO                     Dr Server           H
      065204 008038      ANALCO, MERCEDES                    Dishwasher          H
      065204 388539      HERNANDEZ, HELADIO                  Cook                H
      065204 211955      BOLGER, BRANDON                     Busser              H
      065204 897556      ATENCO, ENRIQUE                     Cook                H
      065204 466036      READ-DEVITO, KELLY                  Server              H
      065204 118176      LOPEZ, FRANCISCO                    Cook                H
      065204 281110      KRAMER, JAMIE                       Host                H
      065204 472260      JIMINEZ, FABIAN                     Dishwasher          H
      065204 001129343   BROWN, DAVID                        Serv Trainee        H
      065204 011470      LANDIS, ROXANNE M.                  Cook                H
      065204 001130879   TEMICH, SERGIO                      Cook                H
      065204 316257      DAMIAN, JOSE DE JUSUS               Entertain           H
      065204 729758      KRAMER, KYLIE                       Dr Server           H
      065204 780535      KONRAD, KATIE                       Host Trainee        H
      065204 001130044   RAMOS, ALEXANDRA                    Host                H
      065204 380721      YAKIMOV, NIKODIM                    Busser              H
      065204 001129934   GOMEZ, MAURICIO                     Dishwasher          H
      065204 268906      LOATMAN, WILLIAM                    Busser              H
      065204 005737      JONES, JENNIFER                     Cook                H
      065204 347441      FIDAN, OYKU                         Serv Trainee        H
      065204 812019      MEXICA, ENRIQUE                     Dishwasher          H
      065204 001130311   CLEMMONS, ANTONIO                   Expo                H
      065204 001130378   CAMPBELL, LEXIS                     Host                H
      065204 561601      SEMPTIMTHELTER, PATRICK             Bartender           H
      065204 001130001   HARING, AIMEE                       Dr Server           H
      065204 001130821   PRETO, ANTHONY                      Dr Server           H
      065204 263200      SANCHEZ-BENITO, TOMAS               Cook                H
      065204 540643      SIMS, JASON                         Busser              H
      065204 395662      ANALCO, LEO                         Dr Server           H
      065204 001128610   ZARCO, JUAN                         Dishwasher          H
      065204 761554      HARRUM, DANIEL                      Serv Trainee        H
      065204 100907      SMITH, SUSAN                        Server              H
      065204 265164      MORGAN, ZACH                        Server              H
      065204 100442      COSTELLO, JEANA A.                  Server              H
      065204 282055      DE, AQUINO I.                       Dr Server           H
      065204 400556      WILK, MICHAEL                       Dr Server           H
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     Cost     EmpID      Name                                Title               Hr/Sl
     Center
       065204 100754     GODFREY, DANIEL                     Entertain           H
      065204 453662      KING, GABRIELLA                     Host Trainee        H
      065204 280244      WELLS, BRIAN                        Serv Trainee        H
      065204 001129857   MCLEOD, IAN                         BBK Trainee         H
      065204 870270      GALLO, GINA                         Serv Trainee        H
      065204 280673      STONE, EVAN                         Busser              H
      065204 654022      NICOLOSI, ALI                       Host                H
      065204 001129856   WHITTAKER, JOHN                     Barback             H
      065204 633553      GREENE, MELISSA                     Serv Trainee        H
      065204 449828      DESANTIS, ANGELA                    Host                H
      065204 001130224   NESTOR, DAMASO                      Dishwasher          H
      065204 702373      LEVY, NIKKI                         Dr Server           H
      065204 001129002   ELSKAMP, VINCENT                    Busser              H
      065204 001130642   COATES, JAMIE                       Host                H
      065204 000224      WELLS, MICHAEL R.                   Dr Server           H
      065204 274881      HERING, KYLE                        Busser              H
      065204 828838      ADAMO, RACHEL                       Serv Trainee        H
      065204 448073      COYLE, BRIAN                        Busser              H
      065204 925042      D'AMICO, DANIELLE                   Serv Trainee        H
      065204 279494      TERREGINO, BRIANNE N.               Dr Server           H
      065204 001130991   GALLO, CAYCE                        Host                H
      065204 001129935   COLUCCI, CYDNEY                     Host                H
      065204 263995      GOTTA, JASON L.                     Server              H
      065204 100847      MARSHALL, TIMOTHY                   Entertain           H
      065204 502843      SHERMAN, KRISTEN                    Host Trainee        H
      065204 001129884   LAZARUS, MICHAEL                    Busser              H
      065204 001129933   FAIELLA, ANTHONY                    Busser              H
      065204 265212      HIRSHORN, JEFF                      Cook                H
      065204 433391      MATTIE, MICHAEL                     Busser              H
      065204 703848      ASHMAN, GABRIELLE                   Host                H
      065204 872125      WOOSTER, JENNEL                     Server              H
      065205 147022      SCHWINN, RENEE                      Host                H
      065205 271691      LUNA, ROGELIO                       Dr Server           H
      065205 001129335   ERIK, PEREZ                         Cook                H
      065205 194788      CANTOR, MARIA                       Cook                H
      065205 629405      CARVER, NOLAN                       Dr Server           H
      065205 927017      TOLBERT, KYLE                       Dr Server           H
      065205 205783      BALL, ERIC                          Dr Server           H
      065205 454855      VEGA, JOSE                          Maintenance         H
      065205 264946      KAVANAUGH, JASON                    BOH Mgr Salary      S
      065205 315189      QUERY, NICHOLAS R.                  BOH Mgr Salary      S
      065205 001130649   FARIS, JORDON C.                    FOH Mgr Salary      S
      065205 315866      OTT, CHRISTOPHER P.                 EKM Salary          S
      065205 001128622   DAUGHERTY, TRAVIS                   Dr Server           H
      065205 106153      GALVAN, MARTIN                      Dr Server           H
      065205 001129234   EUSEBIO, ZEFERINO G.                Cook                H
      065205 001129828   WOODALL, KYLA                       Bartender           H
      065205 001130823   HASTINGS, ASHLEY                    Dr Server           H
      065205 284103      KOTHE, WILLIAM                      Dr Server           H
      065205 125116      MATEO, ROBERTO                      Dishwasher          H
      065205 001130363   TINSLEY, CHANEL                     Host                H
      065205 001128621   MORRISEY, ERICA                     Dr Server           H
      065205 104948      DEANDA, OSCAR                       Dr Server           H
      065205 125279      SANCHEZ, MARIA                      Dr Server           H
      065205 001130876   EDWARDS, BRANDON                    Host                H
      065205 172517      HERNANDEZ LOPEZ, JOSE               Dishwasher          H
      065205 315185      QUEBRADO, JUAN                      Cook                H
      065205 275758      GASPAR, JOSE L.                     Busser              H
      065205 328711      CUACHOCA, SANDRO                    Ck Trainee          H
      065205 001130992   DIMAS, MARIO                        Dishwasher          H
      065205 001130789   MCCABE, LAURA                       Dr Server           H
      065205 001130396   BROSIUS, ROSE                       Dr Server           H
      065205 001129185   SANCHEZ, JOSE T.                    Cook                H
      065205 001130433   MORALES, HECTOR                     Cook                H
      065205 698534      MILES, DAVID                        Dr Server           H
      065205 284883      ZARATE-DOMINGUEZ, RICARDO           Cook                H
      065205 001131038   HIRSTY, KASEY                       Dr Server           H
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     Cost     EmpID      Name                                Title               Hr/Sl
     Center
       065205 548235     MIXQUITL, ARTURO                    Cook                H
      065205 285532      TROCHEZ, MARIO                      Busser              H
      065205 256103      RODRIGUEZ, JOSE                     Dishwasher          H
      065205 001130788   SEAN, HALUSKA                       Dr Server           H
      065205 001129824   BAKER, ALLYSON                      Dr Server           H
      065205 002126      CASTILLO, VICTOR                    Dr Server           H
      065205 453381      BABB, JERRREL                       Dr Server           H
      065205 001130703   DOMINGUEZ, GILBERTO                 Maintenance         H
      065205 001129235   SLOAN, EMMA                         Host                H
      065205 001130536   SATIISON, EMILY                     Dr Server           H
      065205 201022      TINSLEY, CARA                       Dr Server           H
      065205 965093      HENRY, PAUL                         Dr Server           H
      065205 603623      KIRK, VANESSA                       Dr Server           H
      065205 001130600   MARTINEZ, JOSE                      Dishwasher          H
      065205 001130708   SCOTT, ANGELA                       Host                H
      065205 462445      MARTINEZ, MARGARITO                 Cook                H
      065205 844049      MEDJESKI, ERIN                      Dr Server           H
      065205 001130983   BLACK, MADELINE                     Host                H
      065205 904731      SWARTZELL, KAYLA                    Host                H
      065205 001130493   QUEBRADO, GEOVANNI                  Dr Server           H
      065205 001129164   BUCKLEY III, JOHN                   Dr Server           H
      065205 817045      METZGER, DARLENE                    Dr Server           H
      065205 260284      DOMINQUEZ, ANGEL                    Dr Server           H
      065205 286255      GRIFFITH, JOSEPH                    Server              H
      065205 001131013   KINDRED, EMILIE                     Host                H
      065205 398304      DECKER, SAVANAH                     Dr Server           H
      065205 273829      GOFF, CHRISTOPHER                   Dr Server           H
      065209 001129085   JAVANA, ENRUQUE                     Dishwasher          H
      065209 289550      CLARK, TYLER                        Dr Server           H
      065209 912713      MICHACA, ROJELIO                    Cook                H
      065209 303741      BARKER, BILL                        BOH Mgr Salary      S
      065209 163549      LARSON, SCOTT R.                    GM Salary           S
      065209 641495      GIANDALIA, JOSEPH                   EKM Salary          S
      065209 001131010   GALICIA, JUAN                       Dishwasher          H
      065209 389797      MOROCHO, ANGEL                      Cook                H
      065209 568796      ORTIZ, SERGIO                       Cook                H
      065209 001130429   PAINTER, JOSHUA                     Dr Server           H
      065209 283996      MARTINEZ, ISMAEL                    Dishwasher          H
      065209 320949      GALICIA, PAULINO                    Dishwasher          H
      065209 001130444   WIERNASZ, ANTHONY                   Dishwasher          H
      065209 222699      PENAFIEL, LEON M.                   Cook                H
      065209 584643      DRAEGER, ERIN                       Dr Server           H
      065209 284294      CABRERA, MAURICE                    Dr Server           H
      065209 001130424   DOHENY, AVRIEL                      Dr Server           H
      065209 508548      FOSS, MEKENA                        Host Trainee        H
      065209 001128970   GUFFIN, ELLIE                       Dr Server           H
      065209 145020      VIVAS-MENDOZA, ENRIQUE              Dr Server           H
      065209 109915      JONES, MELISSA                      Dr Server           H
      065209 919650      STEGER, JOSHUA                      Dr Server           H
      065209 265851      SANCHEZ, EISENHAWER                 Dr Server           H
      065209 001129174   GILLEN, THOMAS                      Bar Server          H
      065209 282876      GONZALEZ, AVILA E.                  BOH Super Hrly      H
      065209 760015      WARD, KRYSTAL                       Dr Server           H
      065209 523984      SANCHEZ, TRINIDAD                   Cook                H
      065209 266571      CHRISTENSEN, DANA                   Dr Server           H
      065209 285988      MADISON, SHANNON O.                 Server              H
      065209 844882      VIVAR, ELINTON                      Cook                H
      065209 001129559   HELGREN, BRITTANY                   Dr Server           H
      065209 001130111   DUNLAP, DAVID                       Host                H
      065209 653696      YARTZ, HALEY                        Dr Server           H
      065209 001130455   ARNETT, LAQUANDRA                   Dr Server           H
      065209 001130112   WEIGLE, JAMIE                       Host                H
      065209 001130718   WIENANDT, TIFFANIE                  Dr Server           H
      065209 001128971   THOMPSON, JOSHUA                    Dr Server           H
      065209 169087      NIELSEN, HAEKYUNG                   Host                H
      065209 522646      LAKEDON, TONY                       Dr Server           H
      065209 001129137   SCHENDEL, TRENT                     Host                H
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     Center
       065209 978989     PLIEGO-HERNANDEZ, CARLOS            Cook                H
      065209 581003      DUNN, KAITLIN                       Host                H
      065209 178352      CANEEN, CARLO                       Dr Server           H
      065209 304091      MAY, SCOTT                          Serv Trainee        H
      065209 414088      ST., PIERRE T.                      Dr Server           H
      065209 262391      KNACK, LISA M.                      Server              H
      065209 001129845   STAGE, ELISE                        Host                H
      065209 286827      GUERNSEY, JANE                      Server              H
      065209 900347      BACH, KERRY                         Host                H
      065209 001130989   MATHEWSON, MARGARET                 Host                H
      065209 001130592   POLLEI-BROOKS, MOLLY                Dr Server           H
      065209 001130945   VALENTINO, JULIAN                   Host                H
      065209 001129713   COLLAZO, NELYANGE                   Host                H
      065209 001130297   NELSON, MICHELLE                    Dr Server           H
      065209 296772      WALTER, LAURA                       Host                H
      065209 286619      RHONE, LISA                         Server              H
      065209 001128637   LATTERELL, BRITTANY                 Host                H
      065209 001129885   HUSPENI, RACHEL                     Pract Host          H
      065209 471298      OLSON, ELLEN                        Host                H
      065209 001130511   SEVERSON-KELLEY, MIRANDA            Dr Server           H
      065209 578631      LONG, LAURIE                        Serv Trainee        H
      065209 273461      GROSSKURTH, RACHEL L.               Dr Server           H
      065209 001130083   BAYER, SAMANTHA                     Dr Server           H
      065212 280329      LINDSEY, NATASHA E.                 Cook                H
      065212 257483      CRUZ, SALVADOR                      Dishwasher          H
      065212 008429      FRANCISCO, DAVID V.                 Dishwasher          H
      065212 820877      BRATTON, CHELSEA                    Dr Server           H
      065212 254850      FRANCISCO, ESPERANZA                Dr Server           H
      065212 267618      ARAUJO, RAMIRO                      Cook                H
      065212 302492      KLUNK, TIMOTHY                      GM Salary           S
      065212 315686      TRACY, MIKE                         FOH Mgr Salary      S
      065212 623914      DUDLEY, SHAWN                       BOH Mgr Salary      S
      065212 315240      ORTON, ANDREW B.                    EKM Salary          S
      065212 006548      BERISTAIN, ELEAZAR S.               Dr Server           H
      065212 001130841   HARMON, RASHAAD                     Dr Server           H
      065212 104836      VALLADARES, ISAAC                   Dr Server           H
      065212 858488      MATTHEWS, MARCELLUS                 Busser              H
      065212 001129538   SALA, CESAR                         Dishwasher          H
      065212 001130066   MACRE, BRITTANY                     Serv Trainee        H
      065212 160147      FRANCISCO, ISRAEL                   Dishwasher          H
      065212 408660      VARGAS, RAMIRO                      Cook                H
      065212 525184      HERMENEJIDO, BAUTISTA               Maintenance         H
      065212 001130279   SCHWEINEFUS, KATHRYN                Classroom           H
      065212 405425      HOUCHINS, JAMES                     Host Trainee        H
      065212 200089      CROOKS, BRAD                        Busser              H
      065212 001130295   DOMINGUEZ, ELIEL                    Cook                H
      065212 272504      WELLS, BRITTANY                     Prod/Food Prep      H
      065212 278302      ANASTASIA, JASON W.                 Dr Server           H
      065212 102503      KNIGHT, JENNIFER L.                 Server              H
      065212 768933      MONJARAS, SERGIO                    Cook                H
      065212 284768      BAUTISTA, MIGUEL                    Cook                H
      065212 001128784   ZARAZUA, DANIEL                     Cook                H
      065212 279768      ARAUJO, MANUEL                      Dr Server           H
      065212 265005      VALLADARES, PETRA F.                Dr Server           H
      065212 978775      GOMEZ, DANIEL                       Ck Trainee          H
      065212 277324      BRENT, JOI                          Dr Server           H
      065212 001130684   SMITH, JORDAN                       Busser              H
      065212 001129493   WILLIAMS, CHRISTOPHER               BussTrainee         H
      065212 013699      PECH, MONICA                        Server              H
      065212 759633      DOMINGUEZ, AZAEL                    Dishwasher          H
      065212 263602      JIMENEZ, EDGAR                      Dishwasher          H
      065212 001129858   ZAMBRANA, RAFAEL                    Maintenance         H
      065212 970861      PIPER, ALEXANDRA                    Host Trainee        H
      065212 259370      TENNY, STEPHANIE                    Serv Trainee        H
      065212 616816      VALLADARES, EMELIAI                 Cook                H
      065212 001130666   WOOSLEY, SEAN                       Expo                H
      065212 257680      VALLADARES, ELIAS F.                Dr Server           H
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     Cost     EmpID      Name                                Title               Hr/Sl
     Center
       065212 280953     SLOEY, DEBORAH A.                   Dr Server           H
      065212 274991      JIMINEZ, ERICKA                     Dr Server           H
      065212 667812      DURR, TIANNA                        Host Trainee        H
      065212 278998      ARAUJO, MARTINEZ J.                 Cook                H
      065212 278896      VALLADARES, YELIA-FRANCIS           Dr Server           H
      065212 987741      MARTIN, ALEXANDER J.                Expo                H
      065212 001130116   SCHOTT, DERRICK                     Dr Server           H
      065212 001129814   MYERS, WILL                         Host Trainee        H
      065212 001128598   OSKINS, ROBERT                      Dr Server           H
      065212 390157      BUI, GABRIELLE T.                   Host                H
      065212 257115      KETTER, MARAH                       Host                H
      065212 161143      WILLIS, KRISTEN                     Host                H
      065212 001130922   SHAFFER, KERRI                      Host                H
      065212 520751      DAVIS-BURTON, FELICIA               Dr Server           H
      065212 274728      POWELL, MICHAEL                     Server              H
      065212 001130906   WILLIAMS, AMY                       BussTrainee         H
      065212 710811      FERGUSON, TAYLOR                    Host                H
      065212 725526      VITALE, JAMES                       Serv Trainee        H
      065212 001129888   HALKO, CHELSEA                      Dr Server           H
      065212 789588      FLANAGAN, MORGAN E.                 Dr Server           H
      065212 280590      SPEAKMON, KYLE                      Server              H
      065212 273590      FRANCISCO, EMERARI                  Dr Server           H
      065212 001130431   HIMES, ANDREW                       BussTrainee         H
      065212 893195      CREMA, ELLEN                        Host                H
      065212 001130985   ANGELOTTA, DESIREE                  Dr Server           H
      065212 832837      COPE, GENTRY                        Dr Server           H
      065212 001130944   FRENCH, MELISSA                     Dr Server           H
      065212 001130709   COFFING, JORDAN                     Host                H
      065212 288467      TURNER, AMBER                       Host                H
      065212 001130117   BROWN, ALLISON                      Serv Trainee        H
      065212 102640      MAINS, FELICIA                      Cook                H
      065212 477752      STRICKLAND, JEREMY                  Busser              H
      065212 625500      ROBINSON, ALICIA                    Host                H
      065212 718847      CLOUSE, LAUREN                      Host Trainee        H
      065212 001129999   LUKSIC, TAYLOR                      BussTrainee         H
      065212 979667      KENDRICK, HOLLY A.                  Dr Server           H
      065212 868812      LEDERMEIER, JENNIFER                BussTrainee         H
      065212 296948      REID, BROCK                         Host                H
      065212 124093      MILLER, AMANDA                      Host                H
      065212 597061      PORADA, MYRANDA                     Dr Server           H
      065212 101851      WESLEY, VELLENA E.                  Dr Server           H
      065212 001129334   BERHE, MAYLAT                       Host                H
      065212 001129287   BENNETT, ALISSA                     BussTrainee         H
      065212 330468      GERLACH, ALISON                     Host                H
      065212 994395      BODEN, JESSICA                      Dr Server           H
      065212 001130131   MARTIN, ASHLEY                      Host Trainee        H
      065212 001130853   SENSEL, JOSEPH                      Host                H
      065212 429790      KESTER, SABRINA                     Dr Server           H
      065212 001129939   KUNTZ, KAITLIN                      Dr Server           H
      065212 975636      BRATSBERG, GEOFF                    Dr Server           H
      065212 269289      MASTERS, LINDSEY                    Dr Server           H
      065212 673581      NELSON, NATALIE                     Host                H
      065212 001129494   MCKOWN, REBECCA                     Host Trainee        H
      065212 001129123   MILLER, MICHAELA                    Host                H
      065212 001129316   KRIEG, STEPHANIE                    Host Trainee        H
      065212 260036      KANE, JESSICA                       Dr Server           H
      065212 001130937   BAYAT, TODD                         Serv Trainee        H
      065212 788925      KONTUL, CARLY                       Dr Server           H
      065212 285472      WYERS, DAVIDA A.                    Server              H
      065212 001129549   BROOKS, JOSLYN                      Host                H
      065212 001129938   BRINDLEY, CHRISTINA                 BussTrainee         H
      065212 439572      OBERNDORFER, JORDAN                 Dr Server           H
      065213 001129642   ANTONETTI, HOLAM                    Event Coordinator   H
      065213 001128586   MARCHESANI, CARMEN                  Cook                H
      065213 604352      WILSON, WILLIAM                     Serv Trainee        H
      065213 001128670   ESTINPHON, TASSY                    Cook                H
      065213 315905      MEDINA, CARLOS G.                   EKM Salary          S
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     Cost     EmpID      Name                                Title             Hr/Sl
     Center
       065213 171282     PRIGAL, JAMIE S.                    FOH Mgr Salary    S
      065213 315911      KERSEY, JOSHUA                      GM Salary         S
      065213 315922      STEELE, MARK D.                     FOH Mgr Salary    S
      065213 315903      COMPEAU, BECKFORD E.                BOH Mgr Salary    S
      065213 109905      ORISME, JOSEPH                      Dishwasher        H
      065213 101881      MOSCHETTE, ELISA                    Server            H
      065213 014979      LOUIS, JULIENNE                     Dr Server         H
      065213 902595      PAYOUTE, ELIZE                      Dishwasher        H
      065213 735886      MULLIGAN, SARAH                     Dr Server         H
      065213 005684      O'NEILL, CHAZ                       Dr Server         H
      065213 469757      HINES, GREGORY                      Cook              H
      065213 165108      KUHLEWIND, JENNIFER                 Bartender         H
      065213 484068      DEIDA, KARIN                        Dr Server         H
      065213 285371      NOEL, SAINT C.                      Busser            H
      065213 164609      RIVERA, LILIANA                     Host              H
      065213 101859      CERISIER, WILNE E.                  Dr Server         H
      065213 745602      LOUISSAINT, JUNIOR                  Cook              H
      065213 001130724   GUSTAFSON, MATTHEW                  Cook              H
      065213 469064      SAINTIL, MANDARLINNE                Cook              H
      065213 193651      BROWN, ROGER                        Dr Server         H
      065213 277827      SKAMLERA, VICTOR                    Dr Server         H
      065213 233417      MASON, STEFANIE                     Dr Server         H
      065213 284374      PETERS, VINCE                       Busser            H
      065213 001130665   COFFMAN, CORIN                      Runner            H
      065213 109847      NOEL, YVON                          Dr Server         H
      065213 678469      BREWER, KELSEY                      Dr Server         H
      065213 356326      MELENDEZ, KAREN                     Dr Server         H
      065213 282600      BORDENAVE, EMMANUEL                 Cook              H
      065213 419133      JEAN, JAMESON                       Cook              H
      065213 272492      CADET, ADLINE                       Cook              H
      065213 285342      BJORSVIK, BJARNE                    Dr Server         H
      065213 001130943   LIKIC, HEATHER                      Dr Server         H
      065213 468150      FORTNER, GERALD                     Dr Server         H
      065213 277478      FRANCOIS, ISMITH                    Dr Server         H
      065213 001130671   MERLINO, ALEXANDER                  Dr Server         H
      065213 766208      BLANCO, ANGELA                      Host              H
      065213 001129124   GARCIA, KARLA                       Dr Server         H
      065213 001130289   ANITA, LUISA                        Dr Server         H
      065213 911704      MCKENLEY, FRANZ                     Cook              H
      065213 269988      FRANCOIS, NANNEDI                   Dr Server         H
      065213 926142      RIVERA, SABRINA                     Dr Server         H
      065213 285245      LUPETIN, LAURA                      Server            H
      065213 282957      TORTORA, TARA                       Server            H
      065213 001130834   MOSLEY, HOLLEY                      Cook              H
      065213 284816      ELIE, JACGUES                       Dr Server         H
      065213 001130668   EZZO, GIANNA                        Host              H
      065213 001130644   SUMMERS, ANGELA                     Dr Server         H
      065213 285975      CAST, CORRINA                       Dr Server         H
      065213 001130192   COMPEAU, LAUREN                     Host              H
      065213 001130962   BRINSON, AMBER                      Host              H
      065213 271608      SWERTFAGER, LISA                    Server            H
      065213 278026      AMMONS, DEONDRIA L.                 Expo              H
      065213 001130079   VARSALONA, LIZA                     Dr Server         H
      065213 686978      ATKINS, WILLIE                      Dishwasher        H
      065213 001129150   SEIDE, MELISSA                      Host              H
      065213 001130970   ROBLES, AIMEE                       Dr Server         H
      065213 001130969   GARCIA, ALBERTO                     Dr Server         H
      065213 001130643   RODRIGUEZ, CAROL                    Dr Server         H
      065213 256430      PAZ, EDGAR                          Bartender         H
      065213 283767      ZIEGLER, SAMUEL                     Server            H
      065213 286386      THURMOND, ASHLEY                    Host              H
      065215 110692      MORENO, REFUGIO                     Dr Server         H
      065215 306704      BRITO, JORGE                        EKM Salary        S
      065215 951889      LOZANO, RUY                         FOH Mgr Salary    S
      065215 315705      SHLACHTER, JOSHUA D.                GM Salary         S
      065215 315319      HERRERA, CESAR                      EKM Salary        S
      065215 655670      FLORES, HUMBERTO                    Cook              H
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     Cost     EmpID      Name                                Title               Hr/Sl
     Center
       065215 181307     WANASKI, ADAM                       Dr Server           H
      065215 133198      NATZKE, ALEXANDER                   Dr Server           H
      065215 001129125   GARCIA, FILADELFO                   Dish Trainee        H
      065215 268157      ARIAS, CECILIO                      Dr Server           H
      065215 817099      MAYA, MANUEL                        Ck Trainee          H
      065215 108530      BARRON, NEMORIO                     Dr Server           H
      065215 104951      REYES, JOSE B.                      Dishwasher          H
      065215 975842      GARCIA, ADOLFO                      Dishwasher          H
      065215 282764      CRUZ, BASILIDES                     Busser              H
      065215 495937      DIAZ, MANUEL                        Maintenance         H
      065215 579398      BEBIS, EUGENIA                      Dr Server           H
      065215 182413      GARCIA, EVERARDO                    Ck Trainee          H
      065215 001130566   SMITH, BRYAN                        Serv Trainee        H
      065215 001128871   POLECKA, ANETA                      Host Trainee        H
      065215 001128627   CERNY, VICTORIA                     Host Trainee        H
      065215 105143      MARIN, JAIME                        Dishwasher          H
      065215 001130602   CUELLO, MANUEL                      Ck Trainee          H
      065215 180350      LOSTER, ANDREA                      Prod/Food Prep      H
      065215 001129678   PADILLA, EDUARDO                    Ck Trainee          H
      065215 286814      ROSAS, VICTOR                       Cook                H
      065215 783317      BARREIRO, HECTOR                    Ck Trainee          H
      065215 001130129   PEREZ, VANESSA                      Host Trainee        H
      065215 001129203   HUSPEN, SKYLER                      Serv Trainee        H
      065215 001130357   ROMERO, MARITZA                     Host Trainee        H
      065215 001129088   RIVERA, SABRINA                     Serv Trainee        H
      065215 282413      BERNAL, RUBICEL                     Cook                H
      065215 001130870   LESKE, RACHEL                       Dr Server           H
      065215 286653      SALGADO VELEZ, CRISTHIAN B.         Busser              H
      065215 001129550   SORIANO, ALEXIS                     BussTrainee         H
      065215 001129336   DECARLO, CAROLINE                   Serv Trainee        H
      065215 001129823   IANNELLI, ANNA                      Serv Trainee        H
      065215 001128825   GURIN, CRISTIE                      Serv Trainee        H
      065215 001130949   KOLOCH, JORDAN                      Classroom           H
      065215 941355      PFEFFERKORN, EMILY                  Bartender           H
      065215 001130198   FLORES, ALONDRA                     Ck Trainee          H
      065215 001129623   TORELLI, JESSICA                    Host Trainee        H
      065215 001130436   LOMELI, JOSE                        Ck Trainee          H
      065215 001128567   DERCOLE, BRITTANY                   Serv Trainee        H
      065215 001130856   PETERSON, MORGAN                    Dr Server           H
      065215 001130629   NEAHRING, KRISTINA                  Serv Trainee        H
      065215 001130778   MACNEAL, CYNTHIA                    Host                H
      065215 859512      MICELI, NICHOLAS                    Dr Server           H
      065215 449390      MARTINEZ, ALEXANDRA                 Host Trainee        H
      065215 001128686   GODINEZ, JESSICA                    Host Trainee        H
      065215 193119      TORELLI, DANIELLE                   Host                H
      065215 165661      RODRIGUEZ, MAURICIO                 Serv Trainee        H
      065215 272476      JALOVEC, TAMMY                      Server              H
      065215 278074      WALTHALL, JILLIAN                   Cook                H
      065216 261178      WILLIAMS, REGINALD                  Dr Server           H
      065216 651990      PLASCENSIA, HORACIO                 Cook                H
      065216 213039      WEBER, KENJI                        Cook                H
      065216 305947      GUTIERREZ, INGRID                   Cook                H
      065216 764771      PLANTS, JOHN W.                     Cook                H
      065216 393028      CABRERA DELGADO, JOSE G.            Dishwasher          H
      065216 001130008   SHUNNARAH, RICHARD G.               Dr Server           H
      065216 499415      ESCOBAR, JOSE R.                    Cook                H
      065216 001128550   GLANTON, DEIDRE S.                  Dr Server           H
      065216 315051      MORENO, FRANCISCO A.                EKM Salary          S
      065216 285420      SANDBERG, FREDERICK                 FOH Mgr Salary      S
      065216 306179      HANLEY, ROBERT                      GM Salary           S
      065216 301005      FAGAN, LORI L.                      FOH Mgr Salary      S
      065216 257263      TERRY, BRIAN                        BOH Mgr Salary      S
      065216 001130590   HASSETT, JESSICA                    Dr Server           H
      065216 269784      CARTER, ELIZABETH                   Bartender           H
      065216 001130142   KISH, MAEGEN                        Host                H
      065216 815526      MITSCH, JAMES                       Ck Trainee          H
      065216 001130469   SMITH, CLYDE                        Cook                H
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     Cost     EmpID       Name                                Title               Hr/Sl
     Center
       065216 001130558   MILLS, ZACHARY                      Cook                H
      065216 564961       LINDSTROM, DEREK                    Cook                H
      065216 001130607    GILSHIRE, JOHN                      Dr Server           H
      065216 828353       KAZEN, WILLIAM                      Dr Server           H
      065216 138655       GRESHAM, JORDAN                     Serv Trainee        H
      065216 380835       HAYNER, CHRISTOPHER                 Dishwasher          H
      065216 160994       BOUCHER, PETER                      Host                H
      065216 001130132    BERTRAU, KARLY                      Host                H
      065216 001130165    GARCIA, ABIMAEL                     Cook                H
      065216 928941       BOOTH, ANTHONY                      Cook                H
      065216 268186       DUZIAN, ARAM                        Server              H
      065216 001129973    JOHNSON, JASMINE                    Host                H
      065216 474024       LAWRENCE, KRYSTAL                   Dr Server           H
      065216 001130700    GIBSON, SARAH                       Host                H
      065216 001128549    OSBORN, ANNA                        Dr Server           H
      065216 001130918    MCNAMARA, ANTHONY                   Dr Server           H
      065216 286293       WILLIAMS, DA'JUAN                   Dishwasher          H
      065216 001130275    BENAGLIO, JAMIE L.                  Dr Server           H
      065216 412368       HOFFMAN, DEREK J.                   Dr Server           H
      065216 001130900    MILLROSS, MADELINE                  Bartender           H
      065216 705250       LISZKIEWICZ, STEPHEN                Dishwasher          H
      065216 001130206    FREIJ, SAM                          Dr Server           H
      065216 297065       HAGGERTY, MEGAN                     Serv Trainee        H
      065216 690801       DECAPITE, SAMANTHA                  Dr Server           H
      065216 014917       SANTIAGO, FRANSISCO                 Dr Server           H
      065216 001130415    BECERRIL, JOAQUIN                   Maintenance         H
      065216 001130451    MORALES-HERNANDEZ, OSVALDO          Maintenance         H
      065216 001130207    MEMA, ETLEVA                        Dr Server           H
      065216 001129664    EARLEY, CHELSEA                     Cook                H
      065216 001130609    STRIDIRON, BRIANA                   Dr Server           H
      065216 627029       STOREY, JERAD                       Dr Server           H
      065216 001128812    CHAPIN, MACKENZIE F.                Dr Server           H
      065216 001129865    DANNO, ZINA                         Cook                H
      065216 001130189    FURDERO, TAYLOR L.                  Host                H
      065216 001129084    TURNER, ADAM C.                     Cook                H
      065216 120985       GRAHAM, ANDREW                      Host                H
      065216 284730       SIMMONS, JAMES J.                   Server              H
      065216 286859       CROSBY, MEGAN A.                    Cook                H
      065216 277594       LANGLOIS, STEPHANIE M.              Server              H
      065216 827344       MURSCH, JOHN                        Maintenance         H
      065216 001129663    MORRIS, BRIAN                       Cook                H
      065216 453690       JONES, NATHANIEL                    Cook                H
      065216 180258       CARBOTT, LORI                       Server              H
      065216 001130974    DECARLO, TRAVIS                     Dr Server           H
      065216 768653       WINKLER, LUCAS                      Dr Server           H
      065216 001130631    ALCALA, OLIVIA                      Host                H
      065216 443796       LEPAK, JENNA                        Serv Trainee        H
      065216 392503       SCHEMANSKE, MEGHAN K.               Dr Server           H
      065216 001130164    FULTON, ALEXANDER D.                Dr Server           H
      065216 286349       COLBY, MENDY                        Bartender           H
      065216 495140       BERGQUIST, AMANDA                   Dr Server           H
      065216 001130901    SAYO, ABIGAIL                       Bartender           H
      065216 001131017    KURIAN, CHARLES                     Busser              H
      065216 105895       PAYTON, BARBARA A.                  Server              H
      065216 001129189    AGUILAR, LISA                       Dr Server           H
      065216 674671       JUDD, ALLYSSA                       Host                H
      065216 001131034    RENNAKER, MANDY                     Dr Server           H
      065216 001129977    SCHMIDT, NATHAN R.                  Busser              H
      065216 001131035    ROBBINS, RACHEL                     Dr Server           H
      065216 001131047    TOURAY, OUSAINOUE                   Busser              H
      065216 269618       KISH, NAOMI                         Server              H
      065216 254796       FUTRELL, ANDREW                     BussTrainee         H
      065216 847085       BEER, ASHLEY                        Dr Server           H
      065216 001128638    GROSS, COLIN                        Cook                H
      065216 281722       HARRIS, BRIDGETTE                   Cook                H
      065216 001131048    TOURAY, ASSAN                       Busser              H
      065217 271597       GONZALEZ, HUMBERTO                  Dr Server           H
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     Cost     EmpID      Name                                Title               Hr/Sl
     Center
       065217 315033     HOWELL, MICHAEL D.                  GM Salary           S
      065217 665964      SOWELL, JOSHUA A.                   BOH Mgr Salary      S
      065217 316016      SHANER, MAGGIE M.                   FOH Mgr Salary      S
      065217 861788      BIRKETT, MATTHEW                    FOH Mgr Salary      S
      065217 315833      MACHESKE, NATHANIEL R.              EKM Salary          S
      065217 283234      RODRIGUEZ, JOSE                     Dishwasher          H
      065217 285557      NUNO, CISNEROS H.                   Dr Server           H
      065217 503033      PINKES, KRISTEN                     Bar Server          H
      065217 014221      CARRANZA, YESICA                    Dr Server           H
      065217 596741      CEA, JORGE                          Cook                H
      065217 013266      AGUILAR-GRANADOS, JORGE             Busser              H
      065217 257419      JIMENEZ, AUDELIZ                    Dr Server           H
      065217 286297      CINTRON, ISVI                       Cook                H
      065217 284094      GOODFELLOW, JORDAN                  Dr Server           H
      065217 001130312   YOUNG, ROBERT                       Busser              H
      065217 105403      SPEARMAN, MARY A.                   Dr Server           H
      065217 602755      SWAN, JENNIFER                      Dr Server           H
      065217 605101      ANDREWS, ROBERT                     Barback             H
      065217 001130220   GAINES, JAMES                       Cook                H
      065217 259527      MARTINEZ, JOANNA M.                 Cook                H
      065217 105621      GARDINER, DAVID R.                  Dr Server           H
      065217 278556      MCCURDY, DEBORAH S.                 Server              H
      065217 001130717   CHACON, HUMBERTO                    Dishwasher          H
      065217 736678      KUEBER, MARISSA                     Host                H
      065217 001128847   HERNANDEZ, SELVIN                   Ck Trainee          H
      065217 285792      RAYNER, AMBER                       Cook                H
      065217 201275      CUSMANO, CHELSEY                    Host Trainee        H
      065217 612070      GUERRERO, ALEJANDRINO               Dishwasher          H
      065217 001129414   JIMENES, ARTURO                     Cook                H
      065217 283355      SANCHEZ, AURORA                     Dr Server           H
      065217 282739      DEDVUKAJ, AGRON                     Dr Server           H
      065217 195746      GARSTECKI, CARI                     Host Trainee        H
      065217 264015      URBANEK, LAURA                      Server              H
      065217 286511      SIWA, NATALIE                       Cook                H
      065217 001128797   HEATH, ABIGAL                       Host                H
      065217 001128511   HERRERA, ABRAHAM                    Busser              H
      065217 185025      PAYNE, SELENA M.                    Server              H
      065217 277665      FAHLEN, COURTNEY                    Server              H
      065217 593412      BANOS, LOPEZ E.                     Cook                H
      065217 009953      BONOS, FRANCISCO                    Dishwasher          H
      065217 725466      WILBANKS, NICOLE                    Dr Server           H
      065217 844974      URBANEK, JOHN                       Cook                H
      065217 001130869   CRUZ, EDUARDO                       Cook                H
      065217 105461      HOKE, ANDREW J.                     Bartender           H
      065217 001128864   ESCOBAR, JUAN                       Cook                H
      065217 632555      WEBB, CHARLES                       Dr Server           H
      065217 553974      GIRARD, ADAM                        Dr Server           H
      065217 185233      CABALLERO, ELMER E.                 Busser              H
      065217 574423      SAMAYOA, JOSE M.                    Cook                H
      065217 001130958   HASTINGS, TIFFANY                   Dr Server           H
      065217 442121      DANHAUSEN, MARKIE                   Host                H
      065217 001130679   SMITH, KELLY                        Busser              H
      065217 001130959   SHAW, MICHELLE                      Dr Server           H
      065217 001130313   LEONARD, WILHELMINA                 Busser              H
      065217 001130512   MASON, ADRIAN                       Dr Server           H
      065217 309918      RALSTON, CLEO B.                    Host                H
      065217 001130618   LIS, NICOLE                         Dr Server           H
      065217 673081      BROWN, JACKIE                       Dr Server           H
      065217 001130960   MESSINA, SAMANTHA                   Host                H
      065217 871332      FOJAN, LINDSEY                      Host                H
      065217 285230      HERING, ROBERT                      Dr Server           H
      065217 702284      BROGOWICZ, GAYLE                    Dr Server           H
      065217 743585      AIRIESS, SAMANTHA                   Host                H
      065217 266777      GONZALEZ, NANCY                     Host                H
      065217 285015      BOEHM, MICHELLE                     Dr Server           H
      065217 286029      GIGLIOTTI, DEVON                    Dr Server           H
      065217 917867      CUSMANO, KRISTEN                    Host                H
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     Cost     EmpID      Name                                Title               Hr/Sl
     Center
       065217 113178     GONZALEZ, MARIA                     Maintenance         H
      065217 271410      HAMOOD, LENA                        Dr Server           H
      065217 001130062   ZUNIGA, FERNANDO                    Busser              H
      065217 001129413   CARUSO, NINA                        Dr Server           H
      065217 001129513   MONTERROSO, WILBER                  Cook                H
      065217 277663      CRISCENTI, KATHERINE                Server              H
      065218 001130442   BLACK, DAVID                        Cook                H
      065218 155126      HOLDREN, CHRIS                      Busser              H
      065218 702772      DENNIS, HEATHER                     Serv Trainee        H
      065218 001130568   ADKINS, ASHLEY                      Dr Server           H
      065218 014500      ESPINOZA-BENITEZ, EPIFANI           Busser              H
      065218 122479      SCHREIBER, KELSEY                   Host                H
      065218 001130634   ADAMS, JESSICA                      Host                H
      065218 445839      MACHADO, JOSE                       Maintenance         H
      065218 190235      SMITH, JONATHAN W.                  Dr Server           H
      065218 001130567   BROOKE, DAILEY                      Dr Server           H
      065218 404388      MOSS, ANTHONY                       Dr Server           H
      065218 200861      HUANTES, ROGELIO                    Dishwasher          H
      065218 704026      PEREZ, RUBEN G.                     Cook                H
      065218 300440      ELDER, DAN                          FOH Mgr Salary      S
      065218 002770      BURTON, JOHN D.                     FOH Mgr Salary      S
      065218 001129681   HARRIS, NICHOLAS J.                 BOH Mgr Salary      S
      065218 300108      ALLEN, ANDREW L.                    GM Salary           S
      065218 300255      BARNES, DAVID                       EKM Salary          S
      065218 006163      BROWN, HEATHER M.                   BOH Mgr Salary      S
      065218 786367      AWLS, LONEY                         Dr Server           H
      065218 160060      SALINAS, JOEL                       Dishwasher          H
      065218 190367      CALVARIO, ALBERTO                   Cook                H
      065218 001128513   LOAIZA, ANGELO                      Cook                H
      065218 286461      RIVERA, MARCO A.                    Dr Server           H
      065218 284070      MARTINEZ, JOSE M.                   Maintenance         H
      065218 001128798   MAY, KELSEY                         Serv Trainee        H
      065218 192873      CRUZ, DENIS A.                      Ck Trainee          H
      065218 155137      JEFFERSON, HARRY                    Entertain           H
      065218 001130745   RUBIO, MONICA                       Host                H
      065218 285365      KEENAN, ANNA                        Server              H
      065218 842758      MARQUEZ, MARCELINO                  Dishwasher          H
      065218 282729      SALYERS, KEITH E.                   Expo                H
      065218 001130866   RIVERA, IVAN                        Cook                H
      065218 957615      RUSSELL, FRANKIE                    Host Trainee        H
      065218 001130924   FLORES, ERNESTO                     Cook                H
      065218 890812      SAFFEL, MELISSA                     Dr Server           H
      065218 283466      CRUZ, SALVADOR                      Busser              H
      065218 277345      CAMPOS, MARTIN                      Dr Server           H
      065218 001130080   HANNA, DONALD                       Host                H
      065218 001130166   HORN, DAVID                         Dr Server           H
      065218 642971      ZARAGOZA, GUILLERMO                 Cook                H
      065218 472125      MCCAMBRIDGE, JENNIFER               Host Trainee        H
      065218 285163      MONTIVERO, NELSON                   Dr Server           H
      065218 001129847   AGUILAR, ERNESTINA                  Cook                H
      065218 001130379   SMITH, SUE                          Serv Trainee        H
      065218 178748      JACINTO, S L.                       Dishwasher          H
      065218 001129492   SHABO, LAILA                        Host                H
      065218 001130707   SMITH, MADISON                      Dr Server           H
      065218 001129152   GUEVARA DIAZ, MARLENI               Busser              H
      065218 274829      ALLMAN, SCOTT                       Serv Trainee        H
      065218 609841      LITTLE, MEGAN                       Host                H
      065218 147765      PEARSALL, BRANDY                    Host Trainee        H
      065218 215496      MATTHEWS, AMIAH                     Host Trainee        H
      065218 102000      LOVETT, NICOLE                      Server              H
      065218 275946      KEGLER, LYRIE                       Serv Trainee        H
      065218 001130390   KARRAS, BLAKE                       Dr Server           H
      065218 001130140   KRAUT, EMILY                        Host Trainee        H
      065218 001131052   FORTE, BRIAN                        Dr Server           H
      065218 269283      IANNARINO, TAMMI                    Server              H
      065218 001130687   BAILEY, CHELSEA                     Host                H
      065218 001131053   DICKERSON, BRYAN                    Dr Server           H
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     Cost     EmpID      Name                                Title               Hr/Sl
     Center
       065218 395819     MCBEE, TAYLOR                       Dr Server           H
      065218 627043      BUCKWALTER, MOLLIE                  Dr Server           H
      065218 285314      ARTH, EMILY                         Dr Server           H
      065218 878061      MCGOWAN, AMANDA                     Serv Trainee        H
      065218 001131054   BANNING, WHITTNEY                   Dr Server           H
      065218 001130559   RIVERS, DOMONIQUE                   Dr Server           H
      065218 394112      CHAVEZ, JOSE                        Dishwasher          H
      065218 269725      CREVAR, ANTHONY                     Server              H
      065218 001129815   ROCK, ANDREA                        Dr Server           H
      065218 001129515   BAKER, JOEL                         Dr Server           H
      065219 195374      PANTOJA, ALBERTO                    Dr Server           H
      065219 001130733   BEEGLE, TARA                        Serv Trainee        H
      065219 001128572   EVANS, ROBERT                       Dr Server           H
      065219 719548      HERNANDEZ, MANUEL                   Cook                H
      065219 001129272   TAFINI, GLEN                        Serv Trainee        H
      065219 118956      MCKISSICK, MATTHEW                  Serv Trainee        H
      065219 523829      HEITMAN, CHASE                      Bar Trainee         H
      065219 789202      HUBER, BRIAN                        Serv Trainee        H
      065219 001131000   DIAZ, JORGE                         Barback             H
      065219 003920      FELTON, ZACHARY J.                  Server              H
      065219 285734      RODRIGUEZ, CELIA                    Dr Server           H
      065219 274883      LOPEZ, JESUS                        Busser              H
      065219 343886      RYAN, VICTORIA                      Dr Server           H
      065219 315536      SANFORD, JERIMY D.                  FOH Mgr Salary      S
      065219 315426      MORGAN, WILLIAM W.                  FOH Mgr Salary      S
      065219 278800      HERNANDEZ, GABRIEL                  BOH Mgr Salary      S
      065219 308411      JAMES, BRIAN                        GM Salary           S
      065219 270242      PIENDAK, DEVON M.                   FOH Mgr Salary      S
      065219 930168      LOPEZ, VERONICA                     Dr Server           H
      065219 268738      LOPEZ, JOSE                         Dr Server           H
      065219 009123      TAYLOR, SARAH                       Bartender           H
      065219 227928      FOX, AMANDA                         Serv Trainee        H
      065219 001130621   MATA, DANIEL                        Serv Trainee        H
      065219 267022      WAGGONER, JONATHAN N.               Server              H
      065219 281745      HELLMAN, BRENT                      Server              H
      065219 443527      OLALDE, GERARDO                     Busser              H
      065219 280243      CARLOS, ELIAS                       Ck Trainee          H
      065219 382966      DELFIN, SAMUEL                      Cook                H
      065219 108367      PANTOJA, ANGEL                      Dr Server           H
      065219 998472      BUICE, JORDAN                       Serv Trainee        H
      065219 811110      WEEL, JENNIFER                      Serv Trainee        H
      065219 215472      MERCADO, GREGORIO                   Dishwasher          H
      065219 279950      VELASQUEZ, JOSE                     Barback             H
      065219 195418      ROCHA, FRANCISCO                    Dr Server           H
      065219 556417      CARDWELL JR, THOMAS                 Serv Trainee        H
      065219 286353      WILLIS, ANDREA N.                   Cook                H
      065219 279981      FIGUEROA, LUIS                      Cook                H
      065219 847282      SWAIN, SHOSHANA                     Bar Trainee         H
      065219 867031      LAFARGE, SPENCER                    Cook                H
      065219 977962      FERNANDEZ, JOSE                     Dishwasher          H
      065219 001131014   TADEO, LANDIN                       Ck Trainee          H
      065219 563936      ARGUETA, JUAN                       Dishwasher          H
      065219 279980      WILLIAMS, JOHN                      Dr Server           H
      065219 001131042   BRAYFIELD II, THEODORE              Serv Trainee        H
      065219 900060      FRANCISCO, CATARINO                 Dishwasher          H
      065219 473142      PARSON, MICHAEL                     Dr Server           H
      065219 255472      VELASQUEZ, ALEJANDRO                Dr Server           H
      065219 001130103   DICKERSON, AMY                      Serv Trainee        H
      065219 272054      JAMES JR, BRIAN                     Bartender           H
      065219 473836      LESCHBER, JEFFREY S.                FOH Super           H
      065219 721825      MIDDLEBROOKS, BRANDEE               Host Trainee        H
      065219 001129762   STRICKLAND, MARCUS                  Serv Trainee        H
      065219 138012      SORIANO, ANGEL                      Dishwasher          H
      065219 157584      VENEGAS, GADIRA                     Maintenance         H
      065219 870011      ALVARADO, CESAR                     Maintenance         H
      065219 108712      GREER, SARAH                        Serv Trainee        H
      065219 001131008   GARCIA, LEONEL                      Host Trainee        H
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     Cost     EmpID       Name                                Title               Hr/Sl
     Center
       065219 001130930   CORDOVA, SHELDON                    Dr Server           H
      065219 121065       VILLATORO, ARTURO                   Cook                H
      065219 001130800    MARTINEZ, MOISES                    Dish Trainee        H
      065219 001130063    ORELLANA, JUAN                      Serv Trainee        H
      065219 001131058    NZALI, DANIELA                      Serv Trainee        H
      065219 286287       ALFARO, OSCAR                       Dishwasher          H
      065219 713288       VENTURA, ALEJANDRA                  Host Trainee        H
      065219 127001       PEPSNY, ASHLEY                      Serv Trainee        H
      065219 001129848    TEEKA-SINGH, KELVIN                 Host Trainee        H
      065219 863881       LEWIS, REBECCA                      Serv Trainee        H
      065219 001129979    GHORBANI, ROYA                      Dr Server           H
      065219 001130638    WALLACE, LINDSEY                    Host Trainee        H
      065219 001129978    VERA, HOLLIS                        Dr Server           H
      065219 173556       AVILES, EZEQUIEL                    Cook                H
      065219 121284       GUEVARA, HECTOR                     Cook                H
      065219 798045       PEREZ, SERGIO                       Ck Trainee          H
      065219 195396       SIMS, MATTHEW J.                    Server              H
      065219 645447       CHARLES, JEREMEY D.                 Host Trainee        H
      065219 001129722    HOHENBERGER, SHELBY                 Host Trainee        H
      065219 001130147    HAMPTON, DEERIKA                    Dr Server           H
      065219 269990       CARRELL, HAYLEY                     Server              H
      065219 001129094    HEIN, LACY                          Host                H
      065219 282047       HACK, DANIEL                        Server              H
      065219 513976       BUCHANAN, ROBERT                    Bartender           H
      065219 629224       WOOD, HEATHER L.                    Bartender           H
      065219 693379       JOHNSTON, MELISSA A.                Dr Server           H
      065219 001131007    FOWLER, JARED                       Host Trainee        H
      065219 259008       MEINHART, CRAIG                     Dr Server           H
      065219 001129273    VASQUEZ, DAVID                      Cook                H
      065219 001129206    WEEL, JAMES                         Dr Server           H
      065219 282592       MCGUINN, MEGAN A.                   Server              H
      065221 449302       JACQUIN, ANGELIQUE                  Serv Trainee        H
      065221 600848       TAYLOR, WESTON                      Dr Server           H
      065221 648108       SEDALL III, JAMES                   Dr Server           H
      065221 001130807    MELCHOR, VANESSA                    Dr Server           H
      065221 001129893    CARCAMO, ROBERTO                    Dr Server           H
      065221 315145       WILSON, ROY                         EKM Salary          S
      065221 3158877B     HAYDEN, KIMBERLY V.                 GM Salary           S
      065221 468171       PRICE, JESSICA                      FOH Mgr Salary      S
      065221 282665       WOOD, JEREMY S.                     BOH Mgr Salary      S
      065221 001128568    MOORE, SAMANTHA S.                  FOH Mgr Salary      S
      065221 285465       TIZOL, JUAN                         Dr Server           H
      065221 725034       OLMOS, EVER                         Host                H
      065221 268310       BATZ, DAVID                         Dr Server           H
      065221 011783       MENDOZA, JAIRO                      Dishwasher          H
      065221 001465       JAIMES, JORGE                       Dr Server           H
      065221 001130329    FOSTER, JERMAINE                    Cook                H
      065221 413603       OLMOS, OSCAR                        Barback             H
      065221 001128929    CASTEEL, BYRON                      Serv Trainee        H
      065221 282470       MARQUEZ, SALVADOR                   Dishwasher          H
      065221 338905       TORRES, ANAVIL                      Serv Trainee        H
      065221 001129242    OLIVER, MUJAHED                     Serv Trainee        H
      065221 790226       MORENO, ADRIANNE                    Serv Trainee        H
      065221 505091       SOLIS, FRANCISCO                    Dishwasher          H
      065221 001130217    RANDOLPH, KRISTALL                  Serv Trainee        H
      065221 013203       MORALES, ISMAEL                     Dr Server           H
      065221 001130636    RODRIGUEZ, RAUL                     Busser              H
      065221 354017       STEVENS, SAMUEL                     Serv Trainee        H
      065221 013172       VELASQUEZ, DANIEL                   Dr Server           H
      065221 001131036    HARRELL, VERNICIA                   Serv Trainee        H
      065221 001129896    WALKER, REGINALD                    Dr Server           H
      065221 001128934    AKUJOR, NKERIVKA                    Serv Trainee        H
      065221 001128569    MORAN, CARLOS                       Serv Trainee        H
      065221 001129406    PACHECO, PEDRO W.                   Barback             H
      065221 001130209    GREEN, DONOVAN                      Serv Trainee        H
      065221 001130765    PU, DIEGO                           Dish Trainee        H
      065221 583378       LEWIS, OMAR                         Serv Trainee        H
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     Cost     EmpID      Name                                Title               Hr/Sl
     Center
       065221 849487     TIZOL, JUAN                         Busser              H
      065221 001130809   BRANCH, JUANITA                     Host                H
      065221 326767      HERNANDEZ, OSCAR                    Cook                H
      065221 269325      ZAPETA, JOSE                        Cook                H
      065221 520724      VALTIERRA, ISRAEL                   Cook                H
      065221 001129593   MOTEN, AARON                        Serv Trainee        H
      065221 694018      RICHARD, CALVIN                     Dr Server           H
      065221 258555      GUTIERREZ, ERASMO                   Cook                H
      065221 003166      COB, FELIPE                         Dr Server           H
      065221 001130764   GARCIA, MARTHA                      Ck Trainee          H
      065221 783891      SALGADO, MARCELO                    Dishwasher          H
      065221 001131033   DEPRADO, KHELSE                     Dr Server           H
      065221 205232      VILLEDA, MIRNA                      Dr Server           H
      065221 107655      MARTINEZ, JESUS                     Dr Server           H
      065221 001129667   SIMS, ARIEL                         Host Trainee        H
      065221 001131032   SABBAGH, JESSICA                    Dr Server           H
      065221 982203      BORJA, JACKIE                       Bartender           H
      065221 605963      CHAN, MARIA                         Cook                H
      065221 189225      MORENO, ZACHARY                     Serv Trainee        H
      065221 001131037   OKORIE, CHIAMAKA                    Serv Trainee        H
      065221 154095      LEWIS, KIMBERLY                     Serv Trainee        H
      065221 881046      GARCIA, IGNACIO                     Dr Server           H
      065221 001129895   FONTENOT, SHELLSEA                  Dr Server           H
      065221 001130808   RUSSELL, STEPHANIE                  Dr Server           H
      065221 001130210   TORRES, LUZMARIA                    Serv Trainee        H
      065221 001130249   PEDRAZA, YESSENIA                   Host                H
      065221 001130811   RICHARDS, JESSICA                   Dr Server           H
      065221 278503      TORRES, JUANA                       Busser              H
      065221 001130812   NUNEZ, VALERIA                      Host                H
      065221 001129346   THORNS, TAISHA                      Host                H
      065221 001130261   VALTIERRA, CARLOS                   BussTrainee         H
      065221 268051      SIMS, SAMANTHA                      Host                H
      065221 001130425   TAYLOR, MARK                        Dr Server           H
      065221 001130994   GOMEZ, CARLOS                       Cook                H
      065222 260195      VIOLANTE, MARIO                     Dr Server           H
      065222 565776      HADLEY, KELLY S.                    FOH Mgr Salary      S
      065222 315226      PADILLA-PEREZ, PILAR                BOH Mgr Salary      S
      065222 001129097   DAVIS, SETH JOHN                    FOH Mgr Salary      S
      065222 315202      ALVAREZ, ARMANDO                    EKM Salary          S
      065222 315102      DAVALOS, ISIDRO                     BOH Mgr Salary      S
      065222 316051      POLICH, JOSEPH                      GM Salary           S
      065222 001130555   FERNANDEZ, CARLOS                   Dr Server           H
      065222 304621      MARTINEZ, ERNESTO                   Ck Trainee          H
      065222 608637      KRAUSE, CHRISTOPHER                 Serv Trainee        H
      065222 280648      SANTILLAN, PEDRO                    Cook                H
      065222 754732      STREETT, RUSSELL                    Dr Server           H
      065222 001758      DAVALOS, DANIEL                     Dr Server           H
      065222 001129801   CHARIF, NESRINE                     Dr Server           H
      065222 285382      ADAMONYTE, EGLE M.                  Dr Server           H
      065222 001426      MENDOZA, LONGINO                    Dr Server           H
      065222 373966      DIAZ, FELIPE                        Dish Trainee        H
      065222 001130287   MICALETTI, NICOLE                   Host                H
      065222 278153      SARYCHOFF, NICOLE C.                Server              H
      065222 001129293   CHAIRES, ANTONIO                    Dishwasher          H
      065222 326384      RESENDIZ, CATARINO                  Dish Trainee        H
      065222 739555      RODRIGUEZ, ALEXANDER                Ck Trainee          H
      065222 001129294   TAYLOR, SEAN                        Dr Server           H
      065222 001128636   VALLE, JOSEPH                       Dr Server           H
      065222 001130652   ESPINOZA, SANTIAGO                  Ck Trainee          H
      065222 002775      OJEDA, JUAN                         Cook                H
      065222 286729      LICAVOLI, ELENA                     Server              H
      065222 624803      BOYES, JEFF                         Dr Server           H
      065222 001130713   DURAN, MAURICIO                     Dish Trainee        H
      065222 001130519   GARABITO, SALVADOR                  Ck Trainee          H
      065222 012848      BARRERA, PEDRO                      Dr Server           H
      065222 649234      PITELLO, SAMANTHA                   Host                H
      065222 001128671   GATZ, ASHLY L.                      Serv Trainee        H
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     Cost     EmpID      Name                                Title               Hr/Sl
     Center
       065222 521461     COVARRUBIAS, EDUARDO                Ck Trainee          H
      065222 001130157   ZEMAN, STEPHANIE                    Dr Server           H
      065222 001129209   WARNER, JENNIFER                    Dr Server           H
      065222 010226      DERAS, ERNESTO                      Busser              H
      065222 285793      MUNUZ, JAVIER                       Ck Trainee          H
      065222 001130353   FRANCISCO, HUGO                     Ck Trainee          H
      065222 001129799   LIESER, ALESHA                      Host                H
      065222 001130155   GUTIERREZ, JOSHUA                   Dr Server           H
      065222 319231      BOATMAN, ROBERT                     Dr Server           H
      065222 945545      GUSMAN, RAFAEL                      Ck Trainee          H
      065222 210511      DURAN, EDUARDO                      Dr Server           H
      065222 519796      RAMIREZ, XAVIER                     Ck Trainee          H
      065222 100600      MEYER, MADELINE                     Dr Server           H
      065222 909510      WRENN, TYLER                        Dr Server           H
      065222 463980      RAJCEVICH, ALANA                    Host                H
      065222 623148      RICO, GUADENCIO                     Ck Trainee          H
      065222 690259      SWEARSON, REBECCA                   Host Trainee        H
      065222 001130306   PUSATERI-DEAN, ROCHELLE             Dr Server           H
      065222 001130556   MCVEIGH, KELLY                      Dr Server           H
      065222 278825      NAVA, JOSE                          Cook                H
      065222 001936      CASTREJON, ALFREDO                  Busser              H
      065222 265797      LLANOS, AGUSTINA                    Maintenance         H
      065222 001131061   WALLACH, PATRICK                    Dr Server           H
      065222 001128956   FORBES, ROSELYN                     Dr Server           H
      065222 001128703   DUSZA, MATTHEW                      Dr Server           H
      065222 745681      MARIN, FERNANDO                     Ck Trainee          H
      065222 001130902   CHARIF, SARA                        Host                H
      065222 001129798   GALINDO, BIANCA                     Dr Server           H
      065222 001130347   STROUD, SYDNEY                      Serv Trainee        H
      065222 365504      TYNAN, KYLE                         Dr Server           H
      065222 974004      JANDT, SABRINA                      Serv Trainee        H
      065222 340498      DILL, TERESA                        Serv Trainee        H
      065222 001130878   GONZALEZ, SAIGE                     Host Trainee        H
      065222 001129803   KOESTER, ALEXONDRIA                 Host                H
      065222 559211      VALERIO, MICHELE                    Serv Trainee        H
      065222 693870      KELLY, SHANNON                      Dr Server           H
      065222 001130471   BRABEC, JONATHON                    Busser              H
      065222 001129292   BRABEC, REBECCA                     Dr Server           H
      065222 001130605   MILLETT, ERIN                       Host                H
      065222 344936      TATE, MICHAEL                       Busser              H
      065222 159663      POLIT, ADRIANNA                     Dr Server           H
      065222 001131056   SLAGLE, JORDAN                      Busser              H
      065222 001131021   LAMBERT, REBECCA                    Host                H
      065222 331734      HILARIO, NICOLE                     Host                H
      065222 001129793   OJEDA, JONATHAN                     Busser              H
      065222 001129743   CARLSON, DANA                       Host                H
      065222 001130108   SLAGLE, GABRIELLA                   Host                H
      065222 757888      HOWARD, LAUREN                      Host                H
      065224 684780      HERTY, MOLLIE B.                    Serv Trainee        H
      065224 262289      FORTUNE-BALL, JESSICA K.            FOH Mgr Salary      S
      065224 315613      GRAYER, GRANT D.                    EKM Salary          S
      065224 279410      GOLAK, DALE                         BOH Mgr Salary      S
      065224 264286      RICHTER, BRYAN                      FOH Mgr Salary      S
      065224 630916      RANGEL, VALENTIN S.                 BOH Mgr Salary      S
      065224 315277      MARSHALL, BRYAN A.                  GM Salary           S
      065224 001129481   MBACKE, ELHADJ                      Cook                H
      065224 862803      HERTY, SHOSHANA                     Host Trainee        H
      065224 122158      RAMIREZ-RAMOS, FELIPE               Cook                H
      065224 280164      SANCHEZ, MARTHA C.                  Dr Server           H
      065224 281864      BAUTISTA, LUIS                      Drawer-Host         H
      065224 001129733   CULPEPPER, LIONEL                   Dishwasher          H
      065224 001129782   GOMEZ, JUAN                         Cook                H
      065224 270039      RIVERA, RUBEN S.                    Dr Server           H
      065224 220205      KELLS, DUANE                        Server              H
      065224 278486      HERNANDEZ, FLORES O.                Dr Server           H
      065224 170127      BOOTH, CURTIS                       Busser              H
      065224 502190      CRUZ-HERNANDEZ, JULIO               Dishwasher          H
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     Cost     EmpID       Name                                Title               Hr/Sl
     Center
       065224 001130273   BUCKNER JR, HERMAN                  Serv Trainee        H
      065224 001129579    HERRING, RYAN                       Cook                H
      065224 003165       CALDERON, RICARDO                   Cook                H
      065224 905185       SHORTT, LAURA E.                    Serv Trainee        H
      065224 001130277    PICKARD SR., RICARDO                Host Trainee        H
      065224 001129646    SIERRA-REYNOSO, ESTEBAN             Cook                H
      065224 273257       SANTIAGO, ANTONIO                   Dishwasher          H
      065224 756778       LARKINS, TIFFANY                    Dr Server           H
      065224 001129614    WEST, KAITLYN                       Serv Trainee        H
      065224 191036       SANTOYO, JOSE                       Cook                H
      065224 258911       CISNEROS, JOSE                      Dr Server           H
      065224 001129420    TURNER, GIRARD                      Ck Trainee          H
      065224 916961       ROSSI, CHRISTINE                    Serv Trainee        H
      065224 941665       THOMSON, HANNAH                     Serv Trainee        H
      065224 001130855    LORENGER, KENNETH                   Host Trainee        H
      065224 001130276    CZINDER, TAYLOR                     Host Trainee        H
      065224 974843       GAPPY, STEPHANIE A.                 Serv Trainee        H
      065224 001130278    LALONDE, ASHLEY                     Serv Trainee        H
      065224 708279       KURYLO, ASHLEY                      Serv Trainee        H
      065224 178253       SMITH, KARIEL                       Cook                H
      065224 001130612    GARRETT, JEREMY                     Serv Trainee        H
      065224 457511       SUTTLES, DOMINIQUE                  Dr Server           H
      065224 001129613    HOLLAND, ALEXANDER                  Serv Trainee        H
      065224 001130214    DIXON, JOHN                         Ck Trainee          H
      065224 001130432    THORNBURG, ASHLEY                   BussTrainee         H
      065224 993127       SMITH, TERILYNN                     Serv Trainee        H
      065224 001131039    SEKULIVSKI, BRANDON                 Serv Trainee        H
      065224 001129735    PARKER, NICO                        Maintenance         H
      065224 001128962    SCHULMAN, CARYN                     Cook                H
      065224 001130302    MARTIN, JOURDAN                     Host Trainee        H
      065224 685421       MITCHELL, MAKINA                    Host                H
      065224 285880       OLSZEWSKI, JESSICA                  Server              H
      065224 283993       GARRETT, TEMPLE M.                  Server              H
      065224 001129717    CUMMING, JOHN                       Serv Trainee        H
      065224 968838       BOURASSA, DANIEL                    BussTrainee         H
      065224 001129788    NICHOLS, CALEB                      Maintenance         H
      065224 490084       JACOBS, MARC                        Busser              H
      065224 001130737    HAYS, JOHN                          Maintenance         H
      065224 284085       COLEMAN, MYRON                      Cook                H
      065224 001129615    PATTON, LAWRENCE                    Serv Trainee        H
      065224 283242       FRICKS, LISA                        Dr Server           H
      065224 273742       MORGAN, ASHLEY                      Bar Trainee         H
      065224 001131016    KIRKLAND, DAVID                     Maintenance         H
      065224 762622       KURYLO, KATHERINE                   Dr Server           H
      065224 814626       FRICKS, PHILLIP                     Serv Trainee        H
      065224 520375       ELLIS, MICHELLE                     Host Trainee        H
      065224 001130613    COCKFIELD, CRYSTAL                  Serv Trainee        H
      065224 001129716    LUMAJ, CIARA                        Serv Trainee        H
      065224 001131050    ESSA, CHRISTY                       Host Trainee        H
      065224 001130936    NELSON, APRIL                       Host Trainee        H
      065224 282147       LEWIS, LAWRENCE                     Dr Server           H
      065224 001131040    MC ATAMNEY, DESIREE                 Serv Trainee        H
      065224 001128887    OPPERTHAUSER, BRANDON               Host                H
      065224 001131046    STEVENS, ANTHONY                    BussTrainee         H
      065224 001130227    FRICKS, SARAH                       Host                H
      065224 544833       HOWARD, VENUS D.                    Serv Trainee        H
      065224 765891       GRADIN, CARLI J.                    Serv Trainee        H
      065224 001129783    STATEN, JOI                         Host Trainee        H
      065224 618054       FOX, ADAM                           Host                H
      065224 001129691    GLENN, ALISSA                       Host Trainee        H
      065224 301394       ROWE, LINDSAY                       Dr Server           H
      065224 282580       BENNETT, JENNIFER L.                Dr Server           H
      065224 280360       AGIUS, CALLIE                       Serv Trainee        H
      065224 316450       GARCIA, ULISES                      Busser              H
      065225 315715       MOLTER, RAYMOND D.                  BOH Mgr Salary      S
      065225 307896       HEIKKILA, NEAL D.                   GM Salary           S
      065225 315746       KING, MELISSA D.                    FOH Mgr Salary      S
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     Cost     EmpID      Name                                Title               Hr/Sl
     Center
       065225 704914     OLSEN, ROBERT A.                    EKM Salary          S
      065225 285478      PALMER, MICHAEL J.                  FOH Mgr Salary      S
      065225 235138      BUNAY, MILTON                       Dishwasher          H
      065225 266068      SOLIS, LUIS                         Dr Server           H
      065225 235046      HOEBEN, ISABEL K.                   Bartender           H
      065225 235328      VARGAS, ROSARIO                     Dr Server           H
      065225 001130184   CASTILLO, FREDDY                    Ck Trainee          H
      065225 235120      LARGO, JOSE H.                      Dishwasher          H
      065225 260155      MOROCHO, NANCY                      Dishwasher          H
      065225 572135      FLORES, EVELIN                      Maintenance         H
      065225 270865      MINCHALA, MANUEL                    Dishwasher          H
      065225 001128573   CABRERA, SEBASTIAN G.               Maintenance         H
      065225 348341      ZHINA, ROMEL                        Cook                H
      065225 001130587   LUND, MICK                          Serv Trainee        H
      065225 280381      BIEVER, JORDAN                      Dr Server           H
      065225 235234      SCHENCK, CHAD                       Server              H
      065225 740402      GONZALEZ, GARCIA E.                 Cook                H
      065225 197681      GILMER, MEGAN                       Serv Trainee        H
      065225 276668      SWANSON, CHELSEA                    Serv Trainee        H
      065225 524014      ALMEIDA, PAULO                      Cook                H
      065225 001128885   EBNER, JEFFREY                      Serv Trainee        H
      065225 776838      SAETEROS, LENIN L.                  Dishwasher          H
      065225 335926      RIVERA II, MARCOS V.                Cook                H
      065225 278867      JENSEN, CHRISTINE                   Serv Trainee        H
      065225 278488      HERNANDEZ-ARELLANO, JESUS           Cook                H
      065225 274570      SANDERSON, MATTHEW                  Dr Server           H
      065225 001128590   LASCHKEWITSCH, APRIL                Serv Trainee        H
      065225 827702      CALLE PENAFIEL, ROMEL A.            Cook                H
      065225 011851      OLEJNICAK, DAVE A.                  Door                H
      065225 006989      MARCATOMA, LIVIA B.                 Cook                H
      065225 164947      RAMIREZ, ERASMO                     Cook                H
      065225 107873      EHLERS, CANDACE                     Host                H
      065225 271746      TOEDT, CASSI                        Host                H
      065225 001130946   MARTINEZ, JOSE                      Cook                H
      065225 001130517   MERCADO-HERNANDEZ, JOSE             Dishwasher          H
      065225 001130203   MINICK, JASMINE                     Serv Trainee        H
      065225 108896      MCRENOLDS, KRISTIN                  Serv Trainee        H
      065225 280380      PHILLIPS, JAMES                     Server              H
      065225 001129247   RAKUN, ELIZABETH                    Serv Trainee        H
      065225 274989      DORAN, ANGELA                       Server              H
      065225 337248      DAHLER, ERIKA L.                    Dr Server           H
      065225 001129831   SABOTTA, MATTHEW                    Serv Trainee        H
      065225 001129026   GARCIA, DAVID                       Ck Trainee          H
      065225 001130585   KNUTSON, JESSICA                    Serv Trainee        H
      065225 692923      UHLENHAKE, MELISSA S.               Serv Trainee        H
      065225 235017      LLAPA, JOSE                         Cook                H
      065225 108598      SCHWARZ, NICOLE                     Host                H
      065225 132438      EDWARDS, JORDAN                     Serv Trainee        H
      065225 284739      HEGMAN, DANA                        Server              H
      065225 283613      RICE, OLIVIA                        Host                H
      065225 001129259   FISHER, ANDREW                      Host Trainee        H
      065225 001130586   SCHMIT, JENNIFER                    Serv Trainee        H
      065225 001130830   KLASSEN, KEVIN                      Serv Trainee        H
      065225 001130831   ERICKSEN, LISA                      Serv Trainee        H
      065225 001128558   BARNES, ANNA                        Host                H
      065225 464261      FISCHER, KRISTINE                   Dr Server           H
      065225 129092      YOUNGS, JENNIFER A.                 Dr Server           H
      065225 001130832   UHLEAHAKE, LOGAN                    Serv Trainee        H
      065225 577230      GRANT, NATALIE                      Host Trainee        H
      065225 001130740   MICHAEL, SARA                       Host Trainee        H
      065225 340918      JONES, DAWN R.                      Serv Trainee        H
      065225 409925      GRANDA, DARWIN                      Maintenance         H
      065225 001130022   HAGEN, DARCY                        Host Trainee        H
      065225 413475      HAGEN, KELLY                        Serv Trainee        H
      065225 001129028   KLEIN, ALEXANDER                    Serv Trainee        H
      065225 001130021   RITENOUR, TAYLOR                    Host Trainee        H
      065225 347802      UNER, DANIEL                        Host Trainee        H
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     Cost     EmpID       Name                                Title               Hr/Sl
     Center
       065225 001128768   GLAESER, SOPHIA                     Host                H
      065225 274039       HARMS, KACIE                        Dr Server           H
      065225 272342       ROBERTS, LAUREN                     Server              H
      065225 001129025    BULYGO, KATHERINE                   Host Trainee        H
      065225 001130453    KLINKER, MADELINE                   Host Trainee        H
      065225 834764       HESS, CASSI                         Serv Trainee        H
      065225 001130630    KURVERS, RUBIE                      Host Trainee        H
      065225 001130741    MERTZ, ABBEY                        Host Trainee        H
      065225 001130202    BROWN, ASHLEY                       Serv Trainee        H
      065225 001130204    MEYER, AMBER                        Serv Trainee        H
      065225 001128790    SHELEY, MADOLYN                     Host                H
      065225 270951       SOMMERS, AMANDA                     Serv Trainee        H
      065225 414173       COHEN, ELIZABETH                    Dr Server           H
      065225 673637       BERGHORST, COURTNEY                 Dr Server           H
      065225 661375       PUCKETT, AMANDA                     Dr Server           H
      065225 274222       DVORAK, LISA                        Server              H
      065225 001130581    HAMMOND, ABBY                       Serv Trainee        H
      065225 001129258    DAVISON, MALLORY                    Host Trainee        H
      065225 696278       ADAIR, CAROLYN                      Dr Server           H
      065225 184957       WOOD, KATHERINE E.                  Dr Server           H
      065225 001130739    DIAMOND, DALTON                     Host Trainee        H
      065225 266000       PAULSON, BETH                       Bartender           H
      065225 120614       TIERNEY, SARAH                      Serv Trainee        H
      065226 188089       MCBEE, MYEISHA                      Host                H
      065226 001128791    VARGAS CALIX, ESTEVAN               Cook                H
      065226 261122       MONTOYA, DALIA                      Cook                H
      065226 273230       RAMIRES, JOSE                       Dr Server           H
      065226 945742       TEKLE, SAMUEL                       Dr Server           H
      065226 001130061    SPIOCH, ERIC                        Bar Server          H
      065226 015142       NAVARRETE, REGULO                   Dr Server           H
      065226 001130060    BERUELE, DESIREE                    Bar Server          H
      065226 512481       LOPEZ, MAYNOR                       Cook                H
      065226 989836       MEMBRENO, ALEXANDER                 Dishwasher          H
      065226 211766       STRATMAN, LAURA                     Bar Server          H
      065226 277528       ZILEMBA, EVANS                      Server              H
      065226 261579       RIVERA, JOSE                        Dr Server           H
      065226 315758       VALENZUELA, JORGE E.                EKM Salary          S
      065226 315919       SONGSTER, KEVIN T.                  GM Salary           S
      065226 001129684    OWENS, MICHAEL A.                   BOH Mgr Salary      S
      065226 255089       SHERROD, KEVIN                      FOH Mgr Salary      S
      065226 508158       FLANIGAN, EMILY M.                  FOH Mgr Salary      S
      065226 369110       JORDAN, MICHAEL E.                  BOH Mgr Salary      S
      065226 275487       BROOKS, THEODORE A.                 FOH Mgr Salary      S
      065226 001130934    ZAHRAN, ISHAQ                       Serv Trainee        H
      065226 284757       AVILA, PEDRO                        Dishwasher          H
      065226 285732       HENDERSON, DAVAUGHN                 Entertain           H
      065226 001129850    ORTEZ, BESSY                        Cook                H
      065226 001130127    WILSON, KEYO                        Dr Server           H
      065226 286043       THOMAS, DUANE                       Bar Server          H
      065226 001130954    CARDONA, TATRIANA                   Serv Trainee        H
      065226 935187       AVILA, JOSE F.                      Cook                H
      065226 524538       HERNANDEZ, HECTOR M.                Cook                H
      065226 001130367    NICHOLSON, ANTOINE                  Runner              H
      065226 643431       DENT, MICHAEL                       Cook                H
      065226 654224       LOPEZ, GABRIEL J.                   Cook                H
      065226 001129852    MIRANDA RAMIREZ, WILLIAM            Dr Server           H
      065226 001130637    MCKELLER, MELVIN                    Runner              H
      065226 285570       CEESAY, TIJAN                       Server              H
      065226 582001       VENTURA, JOSE                       Dishwasher          H
      065226 009625       ALVAREZ, MARTA                      Dr Server           H
      065226 001129390    BAUGHAM, BRANDON L.                 Bar Server          H
      065226 001128724    QUINTEROS, ANGELA I.                Busser              H
      065226 001130564    GOSS, RAQUIS                        Bar Server          H
      065226 001130491    JOYNER, JOSEPH                      Bar Server          H
      065226 275845       ALEXANDER, JONATHAN D.              Bartender           H
      065226 001129867    PORTILLO, MARIA                     Busser              H
      065226 001130565    JAYE, CRYSTALLE                     Bar Server          H
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     Cost     EmpID       Name                                Title               Hr/Sl
     Center
       065226 001130055   BUSHEHRI, FATEN                     Bar Server          H
      065226 001130059    MATAS, WUILRMER                     Cook                H
      065226 001130952    THOMAS, TYNESHA                     Host Trainee        H
      065226 764062       WALLER, LAKIESHA A.                 Host                H
      065226 001130977    THOMAS, CYNESHA                     Host                H
      065226 591008       EDWARDS, WILLIAM                    Busser              H
      065226 001130685    AI, SIDUO                           Bar Server          H
      065226 858424       JONES, CEIRA N.                     Host                H
      065226 001130976    SWANN, JUDA                         Host                H
      065226 001130984    LA CAPRA, QUINTANA                  Dr Server           H
      065226 353420       LYNCH, JANELLE                      Bar Server          H
      065226 501657       COLEMAN, ZACHERY                    Dr Server           H
      065226 001130534    BARNES, QIANA                       Host Trainee        H
      065226 001130781    WILLIAMS, APRIL                     Bar Server          H
      065226 001130673    DUENAS, HERMAN                      Dr Server           H
      065226 001130867    DAMRON, TAMI                        Serv Trainee        H
      065226 001130505    ABDUSH-SHAKUR, AISHA                Host                H
      065226 286272       GRANT-MANNING, BRITTANEY            Cook                H
      065226 444846       JIMENEZ, EMMYLYSHKA                 Host                H
      065230 260584       GARCIA, DIEGO C.                    Cook                H
      065230 822589       MENSICK, JOSEPH                     Dr Server           H
      065230 283856       RESENDIZ, JESUS                     Dr Server           H
      065230 649347       HAMPTON, THOMAS                     Dishwasher          H
      065230 001130726    GLEASON-MACK, AMANDA                Serv Trainee        H
      065230 636913       MENDEZ, CIRILO                      Dishwasher          H
      065230 001129670    YOST, ASHLEY                        Serv Trainee        H
      065230 697279       KISSLING, KALIKA                    Host                H
      065230 001129602    MCKEE, NICOLE                       Serv Trainee        H
      065230 004116       ZUNIGA, SAUL                        Dr Server           H
      065230 604547       BOTTO, CAITLYN                      Dr Server           H
      065230 595263       FILANDINO, THOMAS                   Serv Trainee        H
      065230 866089       DEMUL, MICHAEL                      Serv Trainee        H
      065230 001128819    JIMENEZ, SERGIO                     Cook                H
      065230 001130887    RAMIREZ, ROTMAN                     Ck Trainee          H
      065230 001130727    SHABAZZ, AMIR                       FOH Mgr Salary      S
      065230 301121       FEINBERG, DONALD M.                 GM Salary           S
      065230 001129822    SABINO, DOMENIC A.                  FOH Mgr Salary      S
      065230 001130213    MACCORMICK, SHANNON P.              FOH Mgr Salary      S
      065230 830691       CONICELLI, RICHARD J.               EKM Salary          S
      065230 002118       GABR, REBECCA                       Server              H
      065230 001128635    LORD, STEVEN                        Dr Server           H
      065230 001130824    JACKSON, STEVEN                     Ck Trainee          H
      065230 268193       LYNCH, DANIEL R.                    Server              H
      065230 265386       LONG, MAURICE                       Dr Server           H
      065230 591708       THOMAS, RACHEL                      Serv Trainee        H
      065230 001130965    AGUILLARD, GABRIELLE                Host Trainee        H
      065230 001129383    CARLIN, STEVEN                      Serv Trainee        H
      065230 589000       ANTONELLI, DANIELLE                 Dr Server           H
      065230 284529       MARSHALL, JACLYN                    Dr Server           H
      065230 566726       CASTRO, OCTAVIO                     Ck Trainee          H
      065230 369795       GARCIA, CARLOS                      Cook                H
      065230 001131030    BARASHA, ASHLEY                     Host Trainee        H
      065230 001129902    FANELLI, ANGELINA                   Serv Trainee        H
      065230 330988       CARREON, ISABELLA                   Busser              H
      065230 001129198    GREEN, TAUSHA                       Prod/Food Prep      H
      065230 001129674    SALDANA, SOCORRO                    Dishwasher          H
      065230 594083       GARCIA, PEDRO                       Dish Trainee        H
      065230 916431       LUCAS, NICHOLAS                     Ck Trainee          H
      065230 269542       PINTOR, JUAN CARLOS                 Cook                H
      065230 001129436    ALTOMARE, LISA                      Serv Trainee        H
      065230 001130554    GARCIA, EMMANUEL                    Trainee             H
      065230 261701       JOHNSON, KIMBERLY                   Dr Server           H
      065230 433272       SIERRA, ANAYELI                     Busser              H
      065230 001130069    GOVE, MADELINE                      Host                H
      065230 529343       MENDEZ, ESMERALDA                   Cook                H
      065230 001130751    COLYER, LAUREN                      Host                H
      065230 272161       LOPEZ, ADAN                         Dr Server           H
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     Cost     EmpID       Name                                Title               Hr/Sl
     Center
       065230 001129994   PARSON, DONNA                       Serv Trainee        H
      065230 001130489    WOJCIK, CHRISTINA                   Host Trainee        H
      065230 126149       PICCOLO, SARAH                      Serv Trainee        H
      065230 001130884    BLEAM, JEREMY                       Host Trainee        H
      065230 001130883    CANDITO, LIUBOU                     Bar Trainee         H
      065230 350212       SEAWRIGHT, FRED                     Cook                H
      065230 001128665    TINSLEY, ANDRE                      Dishwasher          H
      065230 234304       MACGREGOR, IAN                      Busser              H
      065230 001129303    COLE, MARK                          Host                H
      065230 001130553    CAMPOS, LUIS                        Ck Trainee          H
      065230 001129304    CAGLIA, AMELIA                      Serv Trainee        H
      065231 134390       DAVILA, LUIS                        Dishwasher          H
      065231 278612       BROSCHART, CHELSEA                  Dr Server           H
      065231 300126       BAYNE, MARCY L.                     FOH Mgr Salary      S
      065231 271659       FINNEY, TRINIDAD V.                 FOH Mgr Salary      S
      065231 001130160    SAFFIELD, HEATHER L.                GM Salary           S
      065231 001130579    DIVVER, RACHEL B.                   FOH Mgr Salary      S
      065231 315907       SALAZAR, CECILIA D.                 EKM Salary          S
      065231 005200       CACERES, FRANKLIN                   BOH Mgr Salary      S
      065231 001129443    CURRY, JEREEN                       Dr Server           H
      065231 257436       MONTALVO, JUDITH                    Busser              H
      065231 937461       MORALES, DAVID                      Cook                H
      065231 258858       CERVERA, FLOR                       Dr Server           H
      065231 001129871    WILSON, TARA                        Dr Server           H
      065231 001130403    COLLISON, BRITTANY                  Dr Server           H
      065231 734148       JONES, PETER                        Host                H
      065231 244810       MARTINEZ, ROBERTO                   Cook                H
      065231 001130682    MITCHELL, BRANDON                   Serv Trainee        H
      065231 008855       CASTELLANOS, DARLIN                 Dr Server           H
      065231 360295       CASTRO, VICTOR                      Cook                H
      065231 525112       ORTEGA, DANIEL                      Ck Trainee          H
      065231 444733       BROWN, CIERA                        Host                H
      065231 253466       GIRON-, FUENTES R.                  Dishwasher          H
      065231 001130091    FLINT, STEVE                        Serv Trainee        H
      065231 007180       HERNANDEZ, OSVALDO                  Dishwasher          H
      065231 001129425    LEYVA, JUAN                         Cook                H
      065231 001130987    PEREZ, MARIO                        Dish Trainee        H
      065231 001130670    FIX, COURTNEY                       Dr Server           H
      065231 001129635    LOPEZ, GUSTAVO                      Dishwasher          H
      065231 001130024    MCNEY, MATTHEW                      Host                H
      065231 001130955    FLINT, CHRISTOPHER                  Bartender           H
      065231 001130804    ATCHISON, JENNIFER                  Bartender           H
      065231 271445       BARDALES, SOFIA                     Dr Server           H
      065231 001130392    ARGO, KRISTEN                       Dr Server           H
      065231 001130689    FARMER, TYLER                       Host                H
      065231 001128912    JOHNS, MELANIE                      Host                H
      065231 001129573    MOYA, ANTONIO                       Cook                H
      065231 001128982    RIVERA, ARIANA                      Cook                H
      065231 509834       LEON, JUAN                          Dishwasher          H
      065231 901076       AGUIREE, JESUS                      Cook                H
      065231 001130387    RIZZI, ANTHONY                      Host                H
      065231 694226       LOPEZ, ROSA                         Cook                H
      065231 001130909    ALTENE, BENJAMIN                    Bar Server          H
      065231 990210       FIGUEROA, CRYSTAL                   Serv Trainee        H
      065231 283191       WATKINS, ASHLEY                     Serv Trainee        H
      065231 001130882    BLACKMON, TORY                      Serv Trainee        H
      065231 278202       DIAZ, MARTA                         Busser              H
      065231 892891       SOSA, MARIBEL                       Busser              H
      065231 283280       KLESSIG, KRISTEN                    Dr Server           H
      065231 001130292    CAMPOS, CARLOS                      Cook                H
      065231 717838       FORBESS, KAORU                      Dr Server           H
      065231 879828       MENDEZ, OSCAR                       Cook                H
      065231 001128981    GONZALEZ, ALEX                      Dishwasher          H
      065231 001130980    JAMES, AMRITA                       Host Trainee        H
      065231 001130947    GONZALEZ, JOSE                      Maintenance         H
      065231 955822       PHILLIPS, JESSICA                   Dr Server           H
      065231 001130941    GIL, HILLARY                        Host Trainee        H
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     Cost     EmpID      Name                                Title               Hr/Sl
     Center
       065231 014997     WIDODO, RACHMAD                     Dr Server           H
      065231 284947      SEEL, KIMBERLY                      Server              H
      065231 768835      FLORES, ALICIA                      Ck Trainee          H
      065231 281530      FINNEY, KAMERON                     Cook                H
      065231 341210      GORMLEY, NICOLE                     Host Trainee        H
      065231 687853      SOSA, ALDA                          BussTrainee         H
      065232 645285      MONTES, RUBEN                       Cook                H
      065232 001066      VALVERDE, MARIA                     Cook                H
      065232 450039      MARTINEZ, EDUARDO                   Cook                H
      065232 001128779   KAUR, HARSIMRANJOT                  Host                H
      065232 956502      WEAVER, CURTIS                      Dr Server           H
      065232 546503      GARCIA, JUAN                        Busser              H
      065232 315220      ALCAUTER, AGUSTIN                   BOH Mgr Salary      S
      065232 315572      STIPEK, GREGORY M.                  FOH Mgr Salary      S
      065232 001130799   HATFIELD, KENNETH S.                BOH Mgr Salary      S
      065232 315813      PEREZ, RAMIRO                       AGM Salary          S
      065232 001129682   HILL, RANDY B.                      FOH Mgr Salary      S
      065232 009000      MARTINEZ, MIGUEL                    Dishwasher          H
      065232 258762      CANEN, KRISTIE                      Server              H
      065232 350866      CORNEJO, MARIO                      Cook                H
      065232 008642      OATTS, LAURIE C.                    Cook                H
      065232 856178      CRUZ-ACEVEDO, JOSE                  Cook                H
      065232 285251      PEREZ, JOSE                         Cook                H
      065232 001130767   BOWLES, FRANK                       Classroom           H
      065232 012956      YEAGY, AMANDA                       Server              H
      065232 780051      ADAMS, ANGELIKA P.                  Dr Server           H
      065232 001130786   HAYNES, BRADLEY                     Classroom           H
      065232 001129249   ROSAS-JUARES, FRANCISCO             Cook                H
      065232 296451      DENTON, KYLE                        Classroom           H
      065232 449484      ABOYTES, JESUS                      Cook                H
      065232 001129263   RINEHART, AUBREY                    Dr Server           H
      065232 573073      UROZA, ARTEMIO                      Cook                H
      065232 001129553   HENRY, TAYLOR                       Classroom           H
      065232 199010      NIETO, HERIBERTO                    Cook                H
      065232 001130861   STUTZ, MICHAEL                      Dr Server           H
      065232 269934      TOVAR, MIGUEL A.                    Dr Server           H
      065232 008999      FLOREZ, JUAN                        Dishwasher          H
      065232 008392      SANCHEZ, CARMEN                     Dr Server           H
      065232 001129872   VELAZQUEZ, ARTURO                   Dishwasher          H
      065232 632430      TRINIDAD, JERLIN                    Dishwasher          H
      065232 001129564   MONTGOMERY, JOSHUA                  Cook                H
      065232 001130982   GARCIA, JORGE                       Ck Trainee          H
      065232 001130706   GONZALEZ, BEATRIZ                   Ck Trainee          H
      065232 403668      HERNANDEZ, CRISTIAN                 Busser              H
      065232 116288      WILSON, DANIELLE                    Host                H
      065232 001130862   YEOMANS, CORY                       Dr Server           H
      065232 124249      SUAREZ, MARIA                       Cook                H
      065232 645089      VICENTE, CESAR                      Dishwasher          H
      065232 001130787   SHARP, DEANNA                       Classroom           H
      065232 001129874   REYNOLDS, CLARISSA                  Dr Server           H
      065232 716363      LAMBERT, SAMANTHA                   Host                H
      065232 180045      FENOGLIO, MICHAEL                   Dr Server           H
      065232 271179      HOLT, ALLISON                       Classroom           H
      065232 001129233   COON, REBECCA                       Dr Server           H
      065232 001130766   COLE, MICHAEL                       Classroom           H
      065232 298336      ENGLE, JENNIFER                     Classroom           H
      065232 660755      MROTEK, MORGAN                      Dr Server           H
      065232 001130854   LEISURE, ANGIE                      Dr Server           H
      065232 424876      MORAN, MOLLY                        Host                H
      065232 279628      HIMSEL, KATY                        Server              H
      065232 001130124   O'DONNELL, MIKE                     Busser              H
      065232 330703      BURCH, KAYLA                        Dr Server           H
      065232 001129851   CRUZ, JOSE                          Cook                H
      065232 286493      JACKOWCZYK, RYAN                    Server              H
      065232 001131031   BALCH, ASHTON                       Host                H
      065232 001130770   MARLEY, CIARA                       Classroom           H
      065232 001129898   TREECE, MEKHILA                     Host                H
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     Cost     EmpID      Name                                Title               Hr/Sl
     Center
       065232 007865     GRAVES, RONALD                      Expo                H
      065232 001129840   CATHCART, NICOLE                    Classroom           H
      065232 001128935   GAMBILL, KATRINA                    Classroom           H
      065232 433504      CARLTON, AMANDA                     Expo                H
      065232 001130768   PHELPS, MARCUS                      Classroom           H
      065232 001130782   AMOS, BRANDON                       Classroom           H
      065232 001131019   SMOCK, HANNAH                       Host                H
      065232 001129841   GRAHAM, JACQUELINE                  Classroom           H
      065232 004049      NAFTZGER, EMILY                     Server              H
      065232 001129496   MILES, LAKESHIA                     Host                H
      065232 001065      SANCHEZ, GABRIEL                    Dr Server           H
      065232 001130863   FRUIT-RETELLE, KANDICE              Dr Server           H
      065232 001130769   GUZMAN, BROCK                       Classroom           H
      065233 001130238   DEMPSEY, ROBERT                     Dr Server           H
      065233 788203      POTOCKI, COLLEEN                    Host                H
      065233 001130028   RAINES, GARRY                       Dr Server           H
      065233 407851      MARTINEZ, OSCAR                     Cook                H
      065233 277342      ALEJANDRO, MARIA                    Busser              H
      065233 406681      HOCHMAN, SHANNON                    Serv Trainee        H
      065233 285542      DE LOS SANTOS, JOSE                 Dr Server           H
      065233 001130716   MAY, CHRIS                          Dr Server           H
      065233 677788      CORTEZ, ALBIN                       Dishwasher          H
      065233 258238      VEGA, DURAN G.                      Busser              H
      065233 315415      GLINES, BRIAN J.                    EKM Salary          S
      065233 315712      HERNLY, JOHN F.                     GM Salary           S
      065233 349602      WEBER, AMANDA L.                    BOH Mgr Salary      S
      065233 698961      GRADY, JOHN D.                      FOH Mgr Salary      S
      065233 436244      WILLOUGHBY, MATTHEW                 FOH Mgr Salary      S
      065233 286784      STONE, SARAH A.                     AGM Salary          S
      065233 284884      BERNAL, ADELA                       Dr Server           H
      065233 279957      PRUDENCIO ARIAS, GLENDA Y.          Cook                H
      065233 006101      MENDOZA, MANUEL                     Dr Server           H
      065233 758998      GUZMAN, ROSAISELA                   Cook                H
      065233 001130880   VAZQUEZ, STEVEN                     Serv Trainee        H
      065233 001130114   PAZ ALBA, ALDO                      Dr Server           H
      065233 137133      KORMAN, ADDISON                     Dr Server           H
      065233 753985      DELGADO, GONZALEZ D.                Cook                H
      065233 431093      MENDOZA, JOSE                       Cook                H
      065233 280995      GONZALEZ, JESUS                     Cook                H
      065233 959876      GUZMAN, CASTILLEJOS J.              Cook                H
      065233 256346      HERNANDEZ, CARLOS                   Dr Server           H
      065233 001129960   AGUILAR, CHRISTOPHER                Dishwasher          H
      065233 823777      ESPINOSA, MARCO                     Cook                H
      065233 001130625   CORREA, HUGO                        Cook                H
      065233 485446      WEBB, RANDY                         Serv Trainee        H
      065233 001129561   SINGH, AKARSH                       Host                H
      065233 944693      REEVES, REBEKAH                     Serv Trainee        H
      065233 001129037   COOPER, ANTOINETTE                  Serv Trainee        H
      065233 001129497   LANE, JESSICA                       Serv Trainee        H
      065233 001130715   ALLEN, GIOVANNI                     Dr Server           H
      065233 359161      SOTO, ROSALVA                       Serv Trainee        H
      065233 001130785   VELEZ, JOHNATHAN                    Busser              H
      065233 001130973   HERNANDEZ, DIMAS                    BussTrainee         H
      065233 001129790   HILL, JASMINE                       Dr Server           H
      065233 592489      BENITEZ-TRUJILLO, ANGEL             Cook                H
      065233 449799      SOTO, CARMEN                        Serv Trainee        H
      065233 258075      HERNANDEZ, YASER                    Cook                H
      065233 678942      SALAZAR, DAVID                      Barback             H
      065233 001129876   WILLIAMS, GERARD                    Dish Trainee        H
      065233 001130291   SOTO, ANDREA                        Dr Server           H
      065233 001129958   SMITH, MARCUS                       Dr Server           H
      065233 868513      ORDONEZ, LILIAN                     Runner              H
      065233 001130851   EAGLE, SARA                         Dr Server           H
      065233 121198      YAMADA, PAMELLA                     Dr Server           H
      065233 630311      FLOYD, BRIDGER                      Serv Trainee        H
      065233 283628      KAUR, NAB                           Dr Server           H
      065233 955381      RODRIGUEZ, BERENICE                 Cook                H
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     Cost     EmpID       Name                                Title               Hr/Sl
     Center
       065233 001129560   QUINTANILLA-LOPEZ, CRISTIAN         Busser              H
      065233 001130881    HOOD, EDRIANA                       Serv Trainee        H
      065233 001128913    PORTER, JESSICA                     Dr Server           H
      065233 001130560    ABDULLAH, HUSSEIN                   Cook                H
      065233 261810       RIVAS, JOHN                         Server              H
      065233 280275       ORDONEZ, JUAN                       Busser              H
      065233 001129118    EDSON, LEANNE                       Dr Server           H
      065233 001130552    POKKI, ERIKA                        Host                H
      065233 001131022    SHAH, SYEDA                         Host Trainee        H
      065233 942154       KUDLICK, CHRISTOPHER                Serv Trainee        H
      065233 001129875    AGUILAR VILLANUEVA, URIEL           Bartender           H
      065233 001131023    PORTILLO, LILLIAN                   Host Trainee        H
      065233 001129703    JOHNSON, MEGAN                      Dr Server           H
      065233 001131025    SALAZAR, CINDY                      Host Trainee        H
      065233 001131024    SALAZAR, JACQUELINE                 Host Trainee        H
      065233 541689       HALL, JACQUELYN                     Dr Server           H
      065233 998375       SKALOS, STEPHANIE                   Host                H
      065242 367275       MARTINEZ, JASON                     GM Salary           S
      065242 315336       PUGH, ROB L.                        BOH Mgr Salary      S
      065242 001129158    HAYS, JASON                         BOH Mgr Salary      S
      065242 289819       SANDBERG, CELIA J.                  FOH Mgr Salary      S
      065242 337636       HOOPER, JUSTIN M.                   FOH Mgr Salary      S
      065242 315971       DAVIDOSKI, COLIN                    EKM Salary          S
      065242 001129430    ADAIR, JEFFREY                      Ck Trainee          H
      065242 263736       BABINEAU, ANDREW                    Dr Server           H
      065242 253311       ROCANO, KLEBER                      Dishwasher          H
      065242 907136       HANNAN, KOURTNEY L.                 Dr Server           H
      065242 369392       GONZALEZ, IRENE                     Cook                H
      065242 134328       CRUZ, BRITTNEY                      BussTrainee         H
      065242 001130158    MARTIN, TRACY D.                    Ck Trainee          H
      065242 875933       CONKLIN, DAVID M.                   Cook                H
      065242 282955       HOWELL, BRAD                        Busser              H
      065242 284982       ROKUSKI, BAYLEE                     Server              H
      065242 277602       DELGADO, JOSE                       Dishwasher          H
      065242 431981       RIVERS, JAMAINE                     Cook                H
      065242 675203       KOWALSKI, ALISA                     Dr Server           H
      065242 001130167    BURKE, DEREK A.                     Ck Trainee          H
      065242 001130495    MESLER, SABRAH                      Serv Trainee        H
      065242 520557       MCLAURIN, MOLLY                     Host                H
      065242 001130660    BACON JR, GARY                      Ck Trainee          H
      065242 001130916    REED, TAMMY                         Dr Server           H
      065242 343668       SHEPARD, JENNIFER                   Serv Trainee        H
      065242 466287       BAKER, DANIEL A.                    Dr Server           H
      065242 466193       GARCIA-TORRES, JUAN C.              Maintenance         H
      065242 734187       URIAS-VELAZQUEZ, WILMER             Cook                H
      065242 279672       GONZALEZ, SABINO                    Dr Server           H
      065242 748284       WHITE, SARAH                        Serv Trainee        H
      065242 429669       EK, XAVIER                          Dishwasher          H
      065242 001130133    CROWN, JENNIFER L.                  Dr Server           H
      065242 521734       VULGARIS, ANTHONY T.                Expo                H
      065242 001130950    LA PAUGH, LINDSEY                   Dr Server           H
      065242 811873       LENARDON, RACHEL                    Serv Trainee        H
      065242 754016       ROEBUCK, MARK                       Serv Trainee        H
      065242 802859       POISSON, MELISSA                    Host                H
      065242 001130106    DENMAN, MADELYN L.                  Host                H
      065242 796303       SUHR, JOHNATHON L.                  Busser              H
      065242 001128704    LESENEY, CHRISTOPHER J.             Busser              H
      065242 001130479    VAN WAGNEN, RYAN                    Dr Server           H
      065242 013985       DORAN, JEREMY                       Server              H
      065242 290878       DEHANN, KYLE P.                     Busser              H
      065242 001129838    GONZALEZ SANCHEZ, MARTIN            Dishwasher          H
      065242 283004       ERICKSON, MATT                      Dr Server           H
      065242 277906       GAINES, LINDSEY A.                  Cook                H
      065242 642457       OSWALD JR, ROBERT L.                Dr Server           H
      065242 525027       HEYSER, DENISE L.                   Dr Server           H
      065242 111816       MARTINEZ, REUBEN K.                 Busser              H
      065242 386482       CROWN, LAUREN                       Dr Server           H
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     Cost     EmpID      Name                                Title               Hr/Sl
     Center
       065242 947848     WESTFALL, MANDY                     Dr Server           H
      065242 279673      LOJANO, LUIS                        Dishwasher          H
      065242 001129932   GARZA, FREDRICK G.                  Ck Trainee          H
      065242 001130693   CICHOCKI, WHITNEY                   Dr Server           H
      065242 001130780   BUDD, KALON                         Ck Trainee          H
      065242 255980      COSTILLA, JULIO                     Dr Server           H
      065242 267732      ZOPF, CARRIE                        Dr Server           H
      065242 001131027   LOVCHUK, JAMIE                      Dr Server           H
      065242 813166      ROUSSEAU, CELESTE M.                Dr Server           H
      065242 001129329   BADNER, WILLIAM R.                  Host                H
      065242 001130488   GARCIA, ANTONIO                     Busser              H
      065242 001129949   LASLO, KYLE S.                      Host                H
      065242 151217      BAKER, CHRISTOPHER A.               Busser              H
      065242 001130868   LAMB, RAIME L.                      Host                H
      065242 736027      BATCHELOR, MICHELLE                 Dr Server           H
      065242 001130915   GREEN, EDDIE                        Dr Server           H
      065242 001130850   ABRAMS, EDWARD                      Host                H
      065242 279683      SINIOROPI, STASIA                   Server              H
      065242 159785      VERTIN, HANNAH E.                   Host                H
      065242 001130719   DEWEY, ERIN                         Host                H
      065242 662562      MAROCCO, TIARA                      Serv Trainee        H
      065242 001131044   CHAMBERLAIN, CLARISSA               Dr Server           H
      065242 001129408   MCELFRESH, JESSICA                  Host                H
      065242 407731      SWANSON, JANELL                     Host                H
      065242 976605      ZIMMERMAN, MICHAELA A.              Host                H
      065242 001130482   DAVIS, COURTNEY                     Dr Server           H
      065242 001130118   POISSON, ERIC J.                    Busser              H
      065244 259865      QUINTANA, SUZANNA                   Server              H
      065244 001131062   OWENS, JASON P.                     Mgmt Trainee        S
      065244 013810      SEILER, ADAM                        Server              H
      065244 013786      GARCIA, EUGENIO                     Dr Server           H
      065244 272804      CORDELL, KEITH A.                   BOH Mgr Salary      S
      065244 315765      HATCH, ADAM J.                      MGR Salary          S
      065244 514304      SOMMERS, DENNIS B.                  EKM Salary          S
      065244 001130798   STEEL, JUSTIN                       GM Salary           S
      065244 001129948   DESAUTELS, JAMIE                    Classroom           H
      065244 013844      KELLER, AMBER                       Server              H
      065244 736320      VARGAS, JUAN                        Dishwasher          H
      065244 281695      GARCIA, FERNANDO                    Dr Server           H
      065244 013787      GARCIA, VICENTE                     Dr Server           H
      065244 281783      THEIS, SHAWN                        Dr Server           H
      065244 001129229   MITSOFF, KATHY                      Dr Server           H
      065244 830778      CHAVEZ, ALFREDO                     Busser              H
      065244 001129853   TOLBERT, KAIRI                      Dish Trainee        H
      065244 284892      SCHMETZER, KALLI                    Server              H
      065244 904460      HOWARD, TRYAN                       Cook                H
      065244 385856      SEILER, SARAH E.                    Host                H
      065244 253850      JONES, TERRILL                      Cook                H
      065244 693916      CORTES, ARMANDO                     Dishwasher          H
      065244 013783      GARCIA, ANDRES                      Dr Server           H
      065244 001128761   BROWN, LANCE                        Ck Trainee          H
      065244 267759      ORTIZ, IVAN                         Dr Server           H
      065244 654952      DUNN, MICHAEL                       Cook                H
      065244 001130815   RODRIGUEZ, JORGE                    Cook                H
      065244 001130268   MONTGOMERY, ANASTASIA               Dr Server           H
      065244 277553      CABRERA, MANUEL                     Cook                H
      065244 001129046   WILLIAMS, TODD                      Ck Trainee          H
      065244 001130646   YORK, KATHLEEN                      Classroom           H
      065244 001130645   FITZGERALD, JOHN                    Classroom           H
      065244 001129693   VENTURINO, ALEXIS                   Serv Trainee        H
      065244 001129842   KRAUSS, REBECCA                     Classroom           H
      065244 001130474   HOWSE, ANGELA                       Classroom           H
      065244 001130647   POWERS, KELLY                       Server              H
      065244 888925      ANGST, CASSIE                       Dr Server           H
      065244 253766      BUSS, STACY                         Server              H
      065244 717440      MORENO, SERGIO                      Cook                H
      065244 173503      BERLINGER, CHANDLER                 Host                H
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                         Last Call Operating Co. II, Inc. Employees


     Cost     EmpID      Name                                Title               Hr/Sl
     Center
       065244 717541     HANLIN, SARA                        Serv Trainee        H
      065244 001130588   SEILER, ANDREW                      BussTrainee         H
      065244 716654      WARMOTH, CYNTHIA                    Dr Server           H
      065244 280798      KONNAGAN, KENDRA                    Cook                H
      065244 406746      AHLERS, ANDREW                      Serv Trainee        H
      065244 373187      SUTO, DANIELLE                      Expo                H
      065244 854612      FREEMAN, SARA                       Host                H
      065244 848408      HAGAMAN, SYDNEY                     Host                H
      065244 001129843   WASHINGTON, ALYSSA                  Host Trainee        H
      065244 262403      CLARK, SANDRA                       Server              H
      065244 001129774   MUZZARELLI, HANNAH                  Host                H
      065244 165697      CLARK, BRYNN                        Host Trainee        H
      065244 852175      MERKLE, LEAH R.                     Server              H
      065244 559463      DUNN, MACHELLE                      Exp Trainee         H
      065244 001130438   WILSON, BETHANY                     Host Trainee        H
      065244 001130956   RUIZ, JOSE                          Ck Trainee          H
      065244 001129950   PHILLIPS, RACHEL                    Host Trainee        H
      065244 517017      COX, KAITLIN                        Host Trainee        H
      065244 001130107   WARMOTH, ZACHARY                    BussTrainee         H
      065244 001130746   RASK, MARJORIE                      Host Trainee        H
      065244 001130487   HOFFMAN, SIERRA                     Host Trainee        H
      065248 242089      BARNEY, JORDAN                      Cook                H
      065248 274970      DAVY, CARL A.                       Dr Server           H
      065248 284708      CURD, DREW                          Dr Server           H
      065248 001130773   RIVERA AQUINO, XIOMAYA BRENDALI     Dishwasher          H
      065248 274264      DAVIS, JEFFERY                      BOH Super Hrly      H
      065248 257242      MARTIN, AMY L.                      Dr Server           H
      065248 001129817   LARGE, ASHLEY                       Host                H
      065248 280746      BELLIS, ANTHONY                     Dr Server           H
      065248 315389      LANE, JAMES                         EKM Salary          S
      065248 255863      FAIX, CHRISTOPHER J.                BOH Mgr Salary      S
      065248 315381      GRISWOLD, MICHAEL R.                GM Salary           S
      065248 310005      SANTONASTASO, GENNARO               FOH Mgr Salary      S
      065248 734627      DESTINO, KRISTEN                    Dr Server           H
      065248 001129487   RICE, AIMEE                         Dr Server           H
      065248 987527      FRENCH, BRITTANY                    Host                H
      065248 255906      MCCLAIN, MARSHALL                   Server              H
      065248 001129472   GRAHAM, TOMMY                       Dr Server           H
      065248 297084      LIEDTKE, MYRA                       Dr Server           H
      065248 884326      YANUS, RYAN                         Ck Trainee          H
      065248 996987      LEGG, JOHN                          Ck Trainee          H
      065248 377170      WINGATE, JOSEPH A.                  Ck Trainee          H
      065248 256354      MAIURI, MATTHEW                     Busser              H
      065248 001129695   BRYANT, KENNETH                     Cook                H
      065248 324046      MANZI, DANIELLE                     Host Trainee        H
      065248 286158      ELVIN, MICHELLE                     Server              H
      065248 255910      VANNORMAN, CHRISTOPHER              Server              H
      065248 977965      ZAZZARA, RYAN                       Cook                H
      065248 001128631   LENGYEL, VIRGINIA                   Serv Trainee        H
      065248 001130640   DOYLE, WILLIAM                      Dr Server           H
      065248 114733      GUZMAN, ERIKA                       Serv Trainee        H
      065248 269472      LUCCA, LYNN                         Bartender           H
      065248 255828      HABOON, AMY                         Cook                H
      065248 604823      SPENCER, KATHRYN                    Bar Trainee         H
      065248 578554      SICILIANO, JOSEPH                   Busser              H
      065248 280984      DOLAN, ASHLEY                       Server              H
      065248 843798      PASCHKE, LEAH                       Dr Server           H
      065248 271793      LECLEAR, KRISTIN N.                 Server              H
      065248 001129222   DIFRANCO, CASEY                     Dr Server           H
      065248 292998      FELDSTEIN, BENJAMIN                 Cook                H
      065248 796796      BEECHLER, SHAINA                    Dr Server           H
      065248 267489      VIGLIOTTI, DAVID                    Dr Server           H
      065248 001130386   SCHAFER, ZACHARY                    Dishwasher          H
      065248 651018      KIBBLE, LANE                        Busser              H
      065248 001130542   ANDRES, MATTHEW                     Dr Server           H
      065248 611467      ROGEL, PABLO                        Ck Trainee          H
      065248 910857      PLATT, KIRSTEN                      Host                H
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     Cost     EmpID      Name                                Title               Hr/Sl
     Center
       065248 107070     JOHNSON JR, DANIEL B.               Cook                H
      065248 609863      KEYS, EMILEY                        Host                H
      065248 261301      DOSSIER, LISA                       Server              H
      065248 712713      BOYLAN, MARIE                       Host                H
      065248 001130376   DAVIS, VICTORIA                     Host                H
      065248 255868      MUNDELL, STEVEN E.                  BOH Super Hrly      H
      065248 001130907   RIVERA, MELISSA                     Dr Server           H
      065248 730219      DECANN, KYLE                        Busser              H
      065248 001130194   DREY, ANDREW                        Dr Server           H
      065248 275381      VANLAEKEN, KELLY                    Dr Server           H
      065248 001130094   LABORDE, NATHANIEL                  Dishwasher          H
      065248 001129740   DEPPEN, BRITTANI                    Dr Server           H
      065248 001130543   ZISPER, REBECCA                     Dr Server           H
      065248 695701      LOPEZ, JOSEPH                       Dishwasher          H
      065248 001130072   KORING, TODD                        Cook                H
      065248 001129714   LITTLE, VINCENT                     Dishwasher          H
      065248 375575      ACQUILANO, BROOKE                   Serv Trainee        H
      065248 230961      SPRINGER, STEPHANIE                 Expo                H
      065248 274675      BECKMAN, JUSTIN                     Dishwasher          H
      065248 001129221   HO, TIFFANY                         Dr Server           H
      065248 277756      VANLAEKEN, KURAN                    Dr Server           H
      065248 215779      DELORME, JAKE                       Busser              H
      065248 952948      SMITH, LINDSEY A.                   Dr Server           H
      065248 274960      MULLEY, MEGHAN                      Dr Server           H
      065248 255808      RENEE, PATRICIA                     Bartender           H
      065248 181717      GRISWOLD, JAMES                     Entertain           H
      065248 001130423   EDGAR, NICHOLAS                     Busser              H
      065248 283308      MUNGENAST, RACHEL                   Dr Server           H
      065248 001130604   PRINCE, HUDSON                      Busser              H
      065248 286624      BEN, SALAMA M.                      Dr Server           H
      065248 001129521   LIOUDIS, RACHEL                     Host                H
      065248 001129522   BRILL, TANNER                       Busser              H
      065248 422023      AMATI, ALESSIA                      Host                H
      065248 279153      KOLOLSSOVSKY, VALERIE               Host                H
      065248 001128973   BOWEN, LAUREN                       Dr Server           H
      065248 989928      ILLES, CHRISTIAN                    Busser              H
      065248 280116      LUCCA, JUSTYN                       Cook                H
      065248 001130908   GATTELAO, JENNIFER                  Dr Server           H
      065248 001130797   OHERON, JESSICA                     Prod/Food Prep      H
      065248 001129725   DAVY, ANTHONY                       Dishwasher          H
      065248 261308      HELTEMES, JEREMY                    Bartender           H
      065248 124365      LEW, KATHRYN                        Dr Server           H
      065248 267259      PFENDLER, KELLY                     Maintenance         H
      065250 270944      SOBBE, VALERIE                      Server              H
      065250 259444      XIQUE, ALVARO                       Dr Server           H
      065250 271637      FLORES, ROBERTO                     Cook                H
      065250 315795      SOTO, RUBEN                         BOH Mgr Salary      S
      065250 316044      VACCARO, BENEDETTA                  FOH Mgr Salary      S
      065250 316038      SHIBOVICH, DAVID                    GM Salary           S
      065250 315330      GOERS, DAVID E.                     EKM Salary          S
      065250 794310      ESCALANTE, PEDRO                    EKM Salary          S
      065250 001130857   JUAREZ, FRUTOSO                     Dishwasher          H
      065250 259239      ROJAS, CUPERTINO                    Cook                H
      065250 001130265   CALDERONE, KATHERINE                Dr Server           H
      065250 227161      CALDERON, LUIS                      Dr Server           H
      065250 270392      ANGULO, FELIPE                      Cook                H
      065250 440552      XIQUE, JULIO                        Ck Trainee          H
      065250 303436      BELOUSEK, MATTHEW                   Dr Server           H
      065250 803806      HATHAWAY, LAUREN                    Dr Server           H
      065250 285432      SALAS, GLORIA                       Server              H
      065250 401447      CAHUE, REGINA                       Dr Server           H
      065250 259235      MORALES, AURELIO                    Dr Server           H
      065250 001129432   BETTENHAUSEN, STEPHANIE             Bartender           H
      065250 259154      HOWLEY, DANIELLE                    Server              H
      065250 286787      CRUZ, GUADALUPE                     Maintenance         H
      065250 713127      JANIS, SAMANTHA                     Host                H
      065250 581104      MSTOWSKI, STEFANIE                  Dr Server           H
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     Cost     EmpID      Name                                Title               Hr/Sl
     Center
       065250 259438     GARCIA, MANUEL                      Busser              H
      065250 001128606   VUKOVICH, ANDREW                    Dr Server           H
      065250 904604      KALKER, ALYSSA                      Host                H
      065250 001130304   GARCIA, DANIEL                      Cook                H
      065250 734768      ROJAS, EVERARDO                     Dishwasher          H
      065250 803060      SOLIMAN, ELEUTERIO                  Dishwasher          H
      065250 001130694   RAMIREZ, MIGUEL                     Cook                H
      065250 708913      XIQUE, OSCAR                        Ck Trainee          H
      065250 001130417   VERA, VERONICA                      Dr Server           H
      065250 452881      ANGULO, PEDRO                       Cook                H
      065250 263679      GARCIA, PEDRO                       Cook                H
      065250 001130948   GARCIA-CARDOZO, ROBERTO             Maintenance         H
      065250 001130045   KOTULSKI, NATALIE                   Host                H
      065250 264741      PEREJDA, DAWN                       Server              H
      065250 977040      HERNANDEZ, MIGUEL                   Cook                H
      065250 521628      CASTILLO, DIEGO                     Cook                H
      065250 397476      APONTE, ESTEBAN                     Cook                H
      065250 001130339   LOPEZ, JOSE                         Cook                H
      065250 001130384   FERNANDEZ, OVET                     Busser              H
      065250 001130340   MENDEZ, JULIAN                      Dishwasher          H
      065250 270943      OOSTEMA, TRICIA                     Server              H
      065250 001130576   BARLIEAU-ZAMORA, SAMANTHA           Host                H
      065250 311467      SWIDERSKI, MATTHEW                  Dr Server           H
      065250 001128916   HOVING, STACIE                      Host                H
      065250 848598      BEAVERS, MELANIE                    Dr Server           H
      065250 001130056   GARCIA, RAFAEL                      Busser              H
      065250 280322      HYJEK, ANNA                         Server              H
      065250 001130154   NOVAK, STACY                        Dr Server           H
      065250 001128605   FOX, MARY                           Dr Server           H
      065250 001129771   KEATY, ALEXIS                       Host                H
      065250 880598      MARQUEZ, STEVEN                     Host                H
      065250 001131028   RAMIREZ, MARITZA                    Host                H
      065250 001130494   ROHEAD, TAYLOR                      Host                H
      065250 924752      SCHULTZ, JOSHUA                     Host                H
      065250 995169      PIRONTI, MICHAEL                    Dr Server           H
      065250 494960      ADLER, COURTNEY                     Dr Server           H
      065250 001131029   KLEE, MEGAN                         Dr Server           H
      065250 001130305   BREEN, RYAN                         Bartender           H
      065250 001129433   ROGERS, MATTHEW                     Dr Server           H
      065250 559887      CAMPAGNA, KARI                      Dr Server           H
      065250 516765      MUELLER, MARISA M.                  Host                H
      065250 001129883   DASBACH, MARY                       Host                H
      065250 001130418   THAVISOUK, ALEXANDER                Dr Server           H
      065250 286233      MARQUEZ, IVAN                       Cook                H
      065250 001130961   SCHERL, RICHARD                     Dr Server           H
      065250 734085      KIPP, RAYMOND                       Dr Server           H
      065253 114769      CORNETTO, CHRIS                     Serv Trainee        H
      065253 992738      KOCHEL, LAUREN                      Cook                H
      065253 271583      RAMOS, GUILLERMO                    Cook                H
      065253 001128701   DURAN ORELLANA, ADALBERTO           Cook                H
      065253 633908      ROMERO, ALEJANDRO                   Ck Trainee          H
      065253 389825      PILCICKI, BRYAN J.                  BOH Mgr Salary      S
      065253 315970      HERNANDEZ, JUAN A.                  EKM Salary          S
      065253 001129685   HAYDEN, STEVEN M.                   FOH Mgr Salary      S
      065253 852864      LEACH, ROBERT T.                    GM Salary           S
      065253 376872      VANBUSKIRK, AARON M.                FOH Mgr Salary      S
      065253 000864      RESENDIZ, JOSE                      Cook                H
      065253 001129675   RAMOS, DANIEL                       Cook                H
      065253 157330      ROMERO, LUIS                        Ck Trainee          H
      065253 001128854   ISABELLA, ASHLEY                    Serv Trainee        H
      065253 001128821   DUENES, AURORA                      Ck Trainee          H
      065253 001130330   REBOLLO, ARTEMIO                    Dishwasher          H
      065253 001129053   GULOTTA, NICOLAS                    Ck Trainee          H
      065253 001129907   SHOEMAKER, JILL                     Serv Trainee        H
      065253 001130407   NISSLEY, BRIAN                      Dr Server           H
      065253 557902      PILCICKI, IAN                       Dishwasher          H
      065253 001130968   CATALAN, JOSE                       Busser              H
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     Cost     EmpID       Name                                Title               Hr/Sl
     Center
       065253 001130725   MOLINA, BRIELLE                     Host Trainee        H
      065253 110088       RODRIGUEZ, BEATRIZ                  Cook                H
      065253 001130225    STILLMAN, AL                        Serv Trainee        H
      065253 001129931    CABALLERO, MARGARITA                Dishwasher          H
      065253 001129916    MUELLER, ROBIN                      Serv Trainee        H
      065253 542410       GRILLO, JULIE                       Dr Server           H
      065253 001130697    RODRIGUEZ, IVELISSE                 Ck Trainee          H
      065253 178733       DIEHL, KATIE                        Cook                H
      065253 492580       ANDRADE, MIGUEL                     Ck Trainee          H
      065253 799753       KIRCHER, ELIZABETH                  Serv Trainee        H
      065253 001130963    CATALAN, IGNACIO                    Busser              H
      065253 636031       SCHMALE, JEREMY                     Dr Server           H
      065253 454915       ZERBE, SEAN                         Serv Trainee        H
      065253 416720       ORTIZ, EDGAR                        Ck Trainee          H
      065253 001130085    HELWIG, CHRISTINA                   Serv Trainee        H
      065253 308126       ROSALES, MARCO                      Dishwasher          H
      065253 788399       MURTIN, CHRISTOPHER                 Dr Server           H
      065253 609741       STRICKLER, CHARLES                  Host                H
      065253 001130998    HERNANDEZ, JOSE                     Ck Trainee          H
      065253 150984       MICHAELS, GRAHAM                    Busser              H
      065253 001130162    THOMAS, MITCHELL                    Busser              H
      065253 001129908    ISABELLA, ALYSE                     Host                H
      065253 001130520    GARCIA, NAHUN                       Cook                H
      065253 001129918    MANN, CARRIE                        Host                H
      065253 636984       PETERS, KENDALL M.                  Serv Trainee        H
      065253 001130087    ROMBERGER, ALEXANDER                Serv Trainee        H
      065253 001129909    FRYER, ALEX                         Busser              H
      065253 001130331    QAWASMY, DAVID                      Serv Trainee        H
      065253 652243       CAMPISI, JENNIFER                   Host                H
      065253 102270       SIU, GREG                           Host                H
      065253 827072       HAMMOND, LEAH                       Cook                H
      065253 001129306    DANEKE, LAUREN                      Serv Trainee        H
      065253 571364       SWARTZENTRUBER, LISA                Server              H
      065253 173868       SCHAPPELL, MELANIE M.               Host                H
      065253 899317       SANDERSON, EILEEN                   Cook                H
      065253 588087       BELLANO, STEFANIE                   Cook                H
      065253 183329       FEHR, OLIVIA                        Server              H
      065253 749732       LYONS, KOLE                         Host                H
      065253 948853       EVERLY, RACHEL                      Host                H
      065253 001129143    DISHMAN, MADISON                    Host Trainee        H
      065253 162377       FIEO, OLIVIA                        Cook                H
      065253 678429       KAPRALICK, KAITLYN                  Dr Server           H
      065253 255439       CATAGNUS, CASEY                     Dr Server           H
      065253 834806       CAMUSO, JAMES                       Host                H
      065443 315205       O'HARE, KEVIN M.                    DO                  S
      065444 300306       RYBACK, STAN                        DO                  S
      065445 301135       GARCIA, DENNIS                      DO                  S
      065447 305891       RENNIE, JAMES E.                    DO                  S
      065448 316021       KENDALL, JAMES                      DO                  S
      065464 300114       MELTON, KRISTA L.                   Training            S
      065931 303777       CHILDRESS, HELENA C.                Internal Auditor    S
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                    Seller’s
                   schedules
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                            SELLER DISCLOSURE SCHEDULE

                                                to

                             ASSET PURCHASE AGREEMENT

                                         by and among:

                                 F&H ACQUISITION CORP.,

                  EACH SUBSIDIARY OF F&H ACQUISITION CORP.
                  SET FORTH ON THE SIGNATURE PAGES HERETO

                                               and

                        CERBERUS BUSINESS FINANCE, LLC
   (as Prepetition Second Lien Agent on behalf of the Prepetition Second Lien Lenders
  under the Prepetition Second Lien Credit Agreement and not in its individual capacity)



                                 Dated as of February 7, 2014
                                         (as updated)

         Reference is hereby made to that certain Asset Purchase Agreement (the “Purchase
Agreement”), dated as of February 7, 2014 by and among F&H Acquisition Corp., a Delaware
corporation; Fox & Hound Restaurant Group, a Delaware corporation; TENT Finance, Inc., a
Delaware corporation; Fox & Hound of Littleton, Inc., a Colorado corporation; TENT Restaurant
Operations, Inc., a Delaware corporation; Alabama Fox & Hound, Inc., an Alabama corporation;
Fox & Hound of Arizona, Inc., an Arizona corporation; Fox & Hound of Colorado, Inc., a
Colorado corporation; F & H Restaurant of Georgia, Inc., a Georgia corporation; Fox & Hound
of Illinois, Inc., an Illinois corporation; Fox & Hound of Indiana, Inc., an Indiana corporation; F
& H of Iowa, Inc., an Iowa corporation; Fox & Hound of Kansas, Inc., a Kansas corporation;
Fox & Hound of Kentucky, Inc., a Kentucky corporation; Fox & Hound of Louisiana, Inc., a
Louisiana corporation; Fox & Hound of Nebraska, Inc., a Nebraska corporation; Fox & Hound
of Maryland, Inc., a Maryland corporation; Fox & Hound of New Jersey, Inc., a New Jersey
corporation; Fox & Hound of New Mexico, Inc., a New Mexico corporation; Fox & Hound of
Ohio, Inc., an Ohio corporation; Fox & Hound of Oklahoma, Inc., an Oklahoma corporation;
Winston-Salem Fox & Hound, Inc., a Delaware corporation; Champps Entertainment, Inc., a
Delaware corporation; Champps Operating Corporation, a Minnesota corporation; Champps of
Maryland, Inc., a Maryland corporation; F & H Restaurants of Texas, Inc., a Texas corporation;
F & H Restaurant Corp., a Delaware corporation; Fox & Hound of Texas, Inc., a Delaware
corporation; Fox & Hound, Inc., a Texas corporation; Fox & Hound II, Inc., a Texas corporation;
F & H of Kennesaw, Inc., a Georgia corporation; N. Collins Entertainment, Ltd., a Texas limited
partnership; 505 Entertainment, Ltd., a Texas limited partnership; Raider Beverage Corporation,
a Texas corporation; Rocket Beverage Corporation, a Texas corporation; Fuqua Beverage Corp.,
a Texas corporation; Jackson Beverage Corporation, a Texas corporation; Shenandoah Beverage
Corp., a Texas corporation; Bryant Beverage Corporation, a Texas corporation; Downtown



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Beverage Corp., a Texas corporation; and Willowbrook Beverage Corp., a Texas corporation;
Champps Entertainment of Texas, Inc., a Texas corporation (collectively, “Sellers”), and
Cerberus Business Finance, LLC, a Delaware limited liability company, as Prepetition Second
Lien Agent on behalf of the Prepetition Second Lien Lenders under the Prepetition Second Lien
Credit Agreement and not in its individual capacity (“Buyer”). Capitalized terms that are used in
this Seller Disclosure Schedule but are not defined herein shall have the meanings assigned to
such terms in the Purchase Agreement.

       The Seller Disclosure Schedule has been prepared and delivered by Seller in accordance
with the Purchase Agreement. No disclosure in the Seller Disclosure Schedule relating to any
possible breach or violation of any agreement, law or regulation shall be construed as an
admission or indication that any such breach or violation exists or has occurred.

       The Seller Disclosure Schedule consists of individual sections, each of which are
numbered and lettered in the same manner as the section or subsection of the Purchase
Agreement to which such section relates. Disclosures made under one section of the Seller
Disclosure Schedule are deemed as a disclosure relating to one or more other sections only if
such disclosure is specifically cross-referenced to such other section.

        The bold-faced headings contained in the Seller Disclosure Schedule are included for
convenience only, and are not intended to limit the effect of the disclosures contained in the
Seller Disclosure Schedule or to expand the scope of the information required to be disclosed in
the Seller Disclosure Schedule.




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                                                             Schedule 1.1(a)

                                                                 Contracts
Real Property Leases


                                                                                                                          CURRENT
      STORE   DEBTOR                                        LOCATION                             LANDLORD                    LEASE
                                                                                                                        EXPIRATION
                                                  8500 Pineville Matthews,
  1   65002   TENT Restaurant Operations, Inc.    Pineville, NC                      C'SIDE, LLC                          6/30/2015
                                                  2800 Lakewood Village Drive, N.    Lakewood Village Shopping Center
  2   65003   TENT Restaurant Operations, Inc.    Little Rock, AR                    LLC                                  2/28/2015
                                                  1001 NE Green Oaks Blvd #138,
  3   65004   North Collins Entertainment, Ltd.   Arlington, TX                      Greenway-Green Oaks, LP              3/31/2019
                                                  505 University East, College
  4   65005   505 Entertainment, Ltd.             Station, TX                        505 Center LP                        3/31/2017
                                                  2409 Laurens Road, Greenville,
  5   65006   TENT Restaurant Operations, Inc.    SC                                 Verdae Properties, LLC               5/23/2014
                                                  786 Two Mile Parkway, Suite 12,    JMar Properties GP, a TN General
  6   65007   TENT Restaurant Operations, Inc.    Goodletsville, TN                  Partnership                          1/31/2016
                                                  18918 Midway Road, Suite 200,
  7   65008   F&H Restaurants of Texas, Inc.      Dallas, Tx                         Navika Capital Group, LLC            12/1/2015
                                                  250 Seven Oaks Drive North,        Educational Services of America,
  8   65009   TENT Restaurant Operations, Inc.    Knoxville, TN                      Inc.                                 8/31/2015
                                                  2101 Parkway Center, Roan          Jim Kalogeros & Alexandria
  9   65010   TENT Restaurant Operations, Inc.    Street, Johnson City, TN           Kalogeros                            6/30/2014
 10   65013   TENT Restaurant Operations, Inc.    819 Exocet Drive, Cordova, TN      Patriot SquareGP                     9/30/2017
 11   65014   TENT Restaurant Operations, Inc.    5316 Mt. View Road, Antioch, TN    CIII, Bell Forge Square             10/31/2017
                                                  605 N. 120th St., Western
 12   65015   Fox & Hound of Nebraska, Inc.       Crossing S/C, Omaha, NE            Menard, Inc.                         4/30/2018
                                                  4320 E. New York Avenue,
 13   65016   Fox & Hound of Illinois, Inc.       Aurora, IL                         Yorkshire Plaza Partners LLC        12/31/2017
                                                  1479 SOM Center Road, Mayfield
 14   65018   Fox & Hound of Ohio, Inc.           Heights, OH                        Cosmo-Eastgate, LTD                 11/30/2018
                                                  12651 Vance Jackson #110,
 15   65022   F&H Restaurants of Texas, Inc.      San Antonio TX 78249               WRI Fiesta Trails, LP                8/31/2018
                                                  250 Millcreek Plaza, Kearsarge,
 16   65023   TENT Restaurant Operations, Inc.    PA                                 Millcreek Plaza Company LP          12/31/2019
                                                  4210 82nd Street, Suite 240,
 17   65025   F&H Restaurants of Texas, Inc.      Lubbock, TX 79423                  KG North 2012, LLC                  11/30/2018
                                                  1777 Canton Center, N. Canton,
 18   65027   TENT Restaurant Operations, Inc.    MI                                 Centre Village LLC                  11/30/2018
                                                  5101 Sanderlin Avenue, Suite
 19   65028   TENT Restaurant Operations, Inc.    100, Memphis, TN                   Sanderlin Center Partners           12/31/2018
 20   65029   Fox & Hound of Kansas, Inc.         10428 Metcalf, Overland Park, KS   Indian Creek Shopping Center CO     11/30/2018
 21   65030   Fox & Hound of Ohio, Inc.           4770 Everhard Road, Canton, OH     Garrison Central Canton LLC          2/28/2019
 22   65031   TENT Restaurant Operations, Inc.    151 Rams Plaza, Chapel Hill, NC    Rams Plaza Associates, LLC          12/31/2018
                                                  1200 S. Clearview Parkway,
 23   65032   Fox & Hound of Louisiana, Inc.      Harahan, LA                        Elmwood South, LLC                  12/31/2018
                                                  2002 N. Way Mall, McKnight         LRC Northway Mall Acquisitions,
 24   65033   TENT Restaurant Operations, Inc.    Road, Pittsburgh, PA               LLC                                  1/31/2019
                                                  367 Lower Mall Drive, Winston
 25   65034   Winston-Salem Fox & Hound, Inc.     Salem, NC                          Thruway Shopping Center LLC          1/31/2014
                                                  4901 E. 82nd Street #900,
 26   65035   Fox & Hound of Indiana, Inc.        Indianapolis, IN                   PK Clearwater Springs, LLC          12/12/2018
 27   65036   F&H Restaurants of Texas, Inc.      11470 Westheimer, Houston, Tx      Woodland Park Enterprises Inc        9/30/2015
                                                  22091 Michigan Avenue,
 28   65038   TENT Restaurant Operations, Inc.    Dearborn, MI                       King Investment Company             11/30/2015
                                                                                     Lone Tree Palm GaryLLC and Lone
 29   65039   Fox & Hound of Ohio, Inc.           8735 Day Drive, Parma, OH          Tree Palm Cynthia LLC                8/31/2018
 30   65041   TENT Restaurant Operations, Inc.    408 Broadway, Nashville, TN        Deville Corp                        11/30/2015
                                                  6051 SW Loop 820, Fort Worth,
 31   65042   F&H Restaurants of Texas, Inc.      TX                                 RPI Bryant Irvin, Ltd.               3/31/2019
 32   65043   F&H Restaurants of Texas, Inc.      604 Main Street, Fort Worth, TX    Kress Ft. Worth, LLC                 1/31/2017
                                                  15235 John J. Delaney Drive,
 33   65047   TENT Restaurant Operations, Inc.    Charlotte, NC                      AMCAP Ballatyne, LLC                  3/5/2017
                                                  4750 W. 120th Avenue, Suite        Norman L & Carol A. Cowden
 34   65049   Fox & Hound of Colorado, Inc.       900, Westminster, CO               Revocable Trust LLC                  9/30/2015
                                                  7502 W. Broad Street, Richmond,
 35   65051   TENT Restaurant Operations, Inc.    VA                                 Spectrum Properties Fund I, Ltd.     3/31/2016
                                                  112 West Campbell Road,
 36   65052   F&H Restaurants of Texas, Inc.      Richardson TX                      KIR Richardson, LP                   8/31/2017
                                                  1416 N. Roselle Road, Units 30-
 37   65055   Fox & Hound of Illinois, Inc.       32, Schaumburg, IL                 Kasim Pirlant                        9/30/2017
 38   65056   F&H Restaurants of Texas, Inc.      12802 Gulf Freeway,Houston TX      BFO45, Ltd.                          1/31/2018
 39   65057   Fox & Hound of Arizona, Inc.        7625 LaCholla Blvd, Tucson, AZ     Jirar Orfali                        11/19/2022




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                                                 9239 Park Meadows Drive, Lone
 40   65059   Fox & Hound of Colorado, Inc.      Tree, CO                             BGN Ventures Ltd LP                   4/30/2023
                                                 910-918 W. Dundee Road,
 41   65060   Fox & Hound of Illinois, Inc.      Arlington Heights, IL                Brixmor GA Arlington Heights, LLC     2/28/2018
                                                 1501 Spruce Street, Philadelphia,
 42   65061   TENT Restaurant Operations, Inc.   PA                                   Spruce Parking Associates, LP         6/30/2018
                                                 4238 Wilson Blvd., Arlington, VA
 43   65062   TENT Restaurant Operations, Inc.   22203                                Ballston Acquisition Company, LLC     7/31/2018
                                                 4301 The Lane @25 N.E.,
 44   65063   Fox & Hound of New Mexico, Inc.    Albuquerque, NM                      Sawicki Realty Co.                    9/30/2023
                                                 3031 West Memorial Road,
 45   65064   Fox & Hound of Oklahoma, Inc.      Oklahoma City, OK                    The John L. Hall Trust                9/30/2023
                                                 211 Mall Boulevard, King of
 46   65066   TENT Restaurant Operations, Inc.   Prussia, PA                          King of Prussia Associates           12/31/2017
                                                 11581 Robious Rd., Richmond,
 47   65067   TENT Restaurant Operations, Inc.   VA 23235                             Tucciarone Realty, LP                 7/31/2028
                                                 1421 Waterfront Parkway,             The Waterfront Commercial
 48   65069   Fox & Hound of Kansas, Inc.        Wichita, KS 67206                    Properties, LLC                       3/31/2019
                                                 1965 W. Maple Rd, Troy, MI
 49   65070   TENT Restaurant Operations, Inc.   48084                                SUSO 1 Cambridge, LP                  1/31/2019
                                                 8711 Lindlhom Dr,Huntersville,
 50   65071   TENT Restaurant Operations, Inc.   NC 28018                             DDRTC Birkdale Village LLC            5/11/2019
                                                 250 Menlo Park Drive, Edison, NJ
 51   65073   Fox & Hound of New Jersey, Inc.    08837                                Shopping Center Associates             7/6/2019
                                                 2040 Hamilton Place Blvd #150        The Shoppes at Hamilton Place,
 52   65074   TENT Restaurant Operations, Inc.   Chattanooga TN                       LLC                                   7/31/2016
                                                                                      Frank C. Robson & Ludmilla
                                                                                      Robson, CoTrustees of the Frank C.
                                                 7001 S. Garnett Road, Broken         Robson Revocable Trust, Dated
 53   65075   Fox & Hound of Oklahoma, Inc.      Arrow, OK 74102                      2/17/1992                             7/31/2019
                                                 270-420 W Army Trail Rd, 410A,
 54   65076   Fox & Hound of Illinois, Inc.      Bloomingdale, IL 60108               Bloomingdale Court, LLC               9/30/2014
                                                 4158 Main @ North Hills St. #111,
 55   65077   TENT Restaurant Operations, Inc.   Raleigh NC 27609                     NHM Owner-1, LLC                     10/31/2014
                                                 14490 Lowes Way, Carmel, IN
 56   65079   Fox & Hound of Indiana, Inc.       46033                                Kite Greyhound, LLC                   1/31/2015
                                                 17416 Chesterfield Airport Rd,       THF Chesterfield Four
 57   65080   TENT Restaurant Operations, Inc.   Chesterfield, MO 63005               Development, LLC                      1/31/2015
                                                 20021 Century Blvd, Germantown
 58   65082   Fox & Hound of Maryland, Inc.      MD                                   Bellemead Development Corp            6/30/2017
                                                 920 Towne Center Drive,
 59   65083   TENT Restaurant Operations, Inc.   Wilmington, NC 28405                 MF3, LLC                              5/31/2020
                                                 6565 Towne Center Crossing,
 60   65087   TENT Restaurant Operations, Inc.   Southaven, MS                        Southaven Towne Center II, LLC        12/6/2020
                                                 2661 Fairfield Commons,
 61   65088   TENT Restaurant Operations, Inc.   Beavercreek OH                       Fairfield Village, LLC               12/31/2015
                                                 12300 Jefferson Ave, Suite 110,
 62   65089   TENT Restaurant Operations, Inc.   Newport News VA                      PR Patrick Henry LLC                  1/31/2016
 63   65091   Fox & Hound of Ohio, Inc.          5113 Bowen Drive, Mason, OH          451 Ludlow Limited Partnershp         2/29/2016
                                                 3101 New Center Point Drive,
 64   65092   TENT Restaurant Operations, Inc.   Colorado Springs, CO                 First & main, LLC                     8/31/2016
                                                 9325 Center Lake Drive, Suite
 65   65093   TENT Restaurant Operations, Inc.   200, Charlotte NC 28216              Northlake Commons, LLC               10/31/2016
                                                 2625 Brindle Drive, Harrisburg
 66   65095   TENT Restaurant Operations, Inc.   East, PA                             Stanbery Harrisburg, LLP              4/30/2021
                                                 1641 Plymouth Road, Minnetonka       CSM BONAVENTURE LIMITED
 67   65201   Champps Operating Corp.            MN 55305                             PARTNERSHIP                           5/31/2015
                                                 418 Menlo Park Mall, Edison, NJ
 68   65203   Champps Operating Corp.            08837                                Shopping Center Associates            1/30/2015
                                                 Marlton Cr. 25 Rt. 73 S., Marlton,
 69   65204   Champps Operating Corp.            NJ 08053                             Marlton Plaza Associates II LP        8/31/2015
                                                 8711 N. River Crossing,
 70   65205   Champps Operating Corp.            Indianapolis, IN 46240               PK RIVER SHOPS NORTH LLC             10/16/2015
                                                 790 W. 66th St., Richfield, MN       MARKET PLAZA COMMERCIAL
 71   65209   Champps Operating Corp.            55423                                LTD                                    4/1/2016
                                                                                      TENANT IN COMMON CO-
                                                 161 Campus View Blvd E,              OWNERS c/o AEI FUND
 72   65211   Champps Operating Corp.            Columbus OH 43235                    MANAGEMENT, INC.                      8/30/2016
                                                 1827 Olentangy River Rd.,
 73   65212   Champps Operating Corp.            Columbus OH 43212                    Lennox Town Center Limited            3/31/2017
                                                 6401 N. Andrews Ave., Fort           CYPRESS CREEK ASSOCIATES
 74   65213   Champps Operating Corp.            Lauderdale, FL 33309                 LP                                    3/31/2017
                                                                                      TENANT IN COMMON CO-
                                                 955 East Golf Road,                  OWNERS c/o AEI FUND
 75   65215   Champps Operating Corp.            Schaumburg, IL 60173                 MANAGEMENT, INC.                     12/31/2017
                                                                                      TENANT IN COMMON CO-
                                                 19470 Haggerty Rd., Livonia, MI      OWNERS c/o AEI FUND
 76   65216   Champps Operating Corp.            48152                                MANAGEMENT, INC.                      5/31/2018
                                                                                      TENANT IN COMMON CO-
                                                 301 W. Big Beaver Road, Troy MI      OWNERS c/o AEI FUND
 77   65217   Champps Operating Corp.            48084                                MANAGEMENT, INC.                     10/31/2018




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                                                                                       TENANT IN COMMON CO-
                                                   3993 Morse Crossing, Columbus       OWNERS c/o AEI FUND
  78   65218    Champps Operating Corp.            OH 43219                            MANAGEMENT, INC.                     4/30/2019
                Champps Entertainment of Texas,    855 W. John W. Carpenter Frwy.,
  79   65219    Inc.                               Irving, TX 75039                    National Retail Properties, LP      12/31/2020
                                                                                       TENANT IN COMMON CO-
                                                   7880 Washington Village Dr.,        OWNERS c/o AEI FUND
  80   65220    Champps Operating Corp.            Centerville, OH 45459               MANAGEMENT, INC.                     1/31/2019
                Champps Entertainment of Texas,    1211 Uptown Park Blvd., Suite A,
  81   65221    Inc.                               Houston TX 77056                    AMREIT UPTOWN PARK LP                 8/5/2019
                                                   2301 Fountain Square Drive,
  82   65222    Champps Operating Corp.            Lombard IL 60148                    BUIKEMA #21 LLC                     11/30/2023
                                                   7410 Orchard Lake Rd., West
  83   65224    Champps Operating Corp.            Bloomfield MI 48322                 Gateway Center Associates,Ltd.       6/26/2015
                                                   8010 Glen Lane, Eden Prairie MN
  84   65225    Champps Operating Corp.            55344                               Prairie Entertainment Associates     1/31/2019
                                                   1201 S. Joyce St., #C-10,
  85   65226    Champps Operating Corp.            Arlington VA 22202                  Street Retail, Inc.                  1/31/2016
                                                                                       TENANT IN COMMON CO-
                                                                                       OWNERS c/o AEI FUND
  86   65229    Champps Operating Corp.            12515 Hall Road, Utica, MI 48315    MANAGEMENT, INC.                     2/28/2022
                                                   330 Goddard Boulevard, King of      DDRTC Overlook at King of
  87   65230    Champps Operating Corp.            Prussia PA 19406                    Prussia, LLC                         6/30/2016
                                                   10300 Little Patuxent Pkwy, Suite   The Mall in Columbia Business
  88   65231    Champps Operating Corp.            3040, Columbia MD 21044             Trust                               11/30/2016
                                                   49 W. Maryland St., Circle Center
  89   65232    Champps Operating Corp.            Mall, Indianapolis IN 46204         Circle Centre Development Co        11/30/2016
                                                   8030 Renaissance Pkwy, Suite
  90   65233    Champps Operating Corp.            885, Durham NC 27713                Southpoint Mall, LLC                 2/28/2017
                                                   275 Parkway Drive, Suite 311,
  91   65235    Champps Operating Corp.            Lincolnshire, IL 60069              ECD-Lincolnshire Retail, LLC         8/30/2017
                                                   3741 Sumner Blvd, Suite OBA1,
  92   65238    Champps Operating Corp.            Raleigh NC 27616                    TRIANGLE TOWN CENTER LLC            12/31/2017
                                                   9202 Stony Point Parkway,           Stony Point Fashion Park
  93   65240    Champps Operating Corp.            Richmond VA 23235                   Associates, LLC                      9/30/2018
                                                   11724U Fair Oaks, Fairfax, VA
  94   65241    Champps Operating Corp.            22033                               Fairfax Company of Virginia, LLC    12/31/2018
                                                   2800 Preyde Blvd, Lansing MI
  95   65242    Champps Operating Corp.            48912                               Eastwood, LLC                        6/30/2023
                                                   9424 Civic Centre Blvd., West
  96   65244    Champps Operating Corp.            Chester OH 45069                    Madison Partners, LP                 1/31/2024
                                                   2223 North West Shore #B221,
  97   65246    Champps Operating Corp.            Tampa FL 33607                      Tampa West Shore Associates, LP      5/31/2018
                                                   819 Eastview mall, Victor, NY
  98   65248    Champps Operating Corp.            14564                               Eastview Mall, LLC                  11/30/2018
                                                   16165 LaGrange Road, Orland
  99   65250    Champps Operating Corp.            Park IL 60467                       16165 LA GRANGE ROAD LLC             6/30/2024
                                                   2100 S. Christopher Columbus        DELAWARE EAST ASSOCIATES
 100   65252    Champps Operating Corp.            Blvd, Philadelphia PA 19148         LP                                  11/29/2019
                                                   51 Town Center Drive, Store G-5,    Providence Towne Center Limited
 101   65253    Champps Operating Corp.            Collegeville, PA 19426              Partnership                          6/30/2021
                                                                                       Brookwood Interchange Office I,
                                                   19111 N. Dallas Parkway, Suite      LLC and Brookwood Interchange
 102   Office   F&H Acquisition Corp.              120, Dallas, TX                     Office II, LLC, Tenants in Common    1/31/2016
                                                   1551 N. Waterfront Parkway,
 103   Office   TENT Restaurant Operations, Inc.   Suite 310, Wichita, KS              Commerce Bank                        4/30/2015




**Landlord of Unit 65033 in Pittsburgh, PA issued a notice that it had terminated our Lease on 9/20/2013. Tenant disputes the
termination. Landlord has not pursued eviction of Tenant or any litigation related to such termination. Tenant continues to
occupy the premises.

Indemnification Agreements

           Fox & Hound Restaurant Agreement
                       Ken Syvarth
                       Jim Zielke
                       Steve Johnson
                       Kim Fowles

           F&H Acquisition Corp.
                        Kim Fowles
                        Ryan Zink




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Additional Contracts

         “Forester Agreement” – Master Agreement between Champ’s Restaurants, Inc., a Texas Corporation and Champps
         Entertainment, Inc., a Minnesota corporation and f/k/a Champp’s International, Inc., dated February 1, 1994.

         InfoSync – Outsourcing Services Agreement between InfoSync Services, LLC and F&H Acquisition Corp., dated October
         28, 2008.

                  Coke – Beverage Marketing Agreement between Coca-Cola North America and Total Entertainment
                   Restaurant Corp nka Fox & Hound Restaurant Group, dated February 23, 2005, as amended.
                  DMA – Distribution Agreement between Distribution Marketing Advantage, Inc. and Champps
                   Entertainment, Inc., dated December 5, 2011
                  DMA - Distribution Agreement between Distribution Marketing Advantage, Inc. and Fox & Hound Restaurant
                   Group, dated December 5, 2011
                  DirectTV – Commercial Viewing Agreement between Direct TV, LLC and Champps Entertainment, Inc., dated
                   April 15, 2010.
                  DirectTV – Commercial Viewing Agreement between Direct TV, LLC and Fox & Hound Restaurant Group,
                   dated April 15, 2010.
                  Ecolab – Product Services Supply Agreement between Ecolab, Inc. and Champps Entertainment, Inc., dated
                   August 1, 2013.
                  Ecolab – Product Services Supply Agreement between Ecolab, Inc. and Fox & Hound Restaurant Group, dated
                   August 1, 2013.
                  Ecova – Client Services Agreement between Avista Advantage, Inc. nka ECOVA and Champps Entertainment,
                   Inc., dated November 16, 2005
                  Fishbowl – Client Services Agreement between Fishbowl, Inc. and Champps Entertainment, Inc., dated May
                   15, 2007
                  Fishbowl – Client Services Agreement between Fishbowl, Inc. and Total Entertainment Restaurant Corp. nka
                   Fox & Hound Restaurant Group dated November 25, 2003
                  Gift Card – Distribution Agreement between Interactive Communications International, Inc. and F&H
                   Acquisition Corp, dated July 18, 2012
                  HotSchedules – Agreement between HotSchedules Holdings, Inc. and Champps Operating Corporation, dated
                   February 15, 2013
                  HotSchedules – Agreement between HotSchedules Holdings, Inc. and Fox & Hound Restaurant Group, dated
                   February 15, 2013
                  National Waste – Agreement between National Waste Associates, LLC and F&H Acquisition Corp., dated
                   January 29, 2013




All Contracts

(See attached excel spreadsheet)




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Insurance Agreements 1.1.2014 to 1.1.2015

                                                          1/1/2014-15
                        Exposure/Limit          Carrier         Term       Policy Number    Premium

 Property                                    Liberty Mutual   1/1/14-15   YU2L4L004237074   $328,320
 Blanket
 Buildings &
 Personal               $100,000,000 Loss    6800 College
 Property                            Limit   Blvd, Ste 600
                                                 Overland
                                                 Park, KS
 TIV                         $282,374,255           66211
 Equipment
 Breakdown                        Included

 General                                            Zurich
 Liability                                       American     1/1/14-15     GL0427984906    $438,314
                                                     10 S.
                                             Riverside Dr.,
 Limit               $1,000,000/$2,000,000         Ste 600
                                               Chicago, IL
 Policy Aggregate             $40,000,000           60606

 Liquor Liability
                                                    Zurich
 Limit               $1,000,000/$5,000,000       American     1/1/14-15     GL0427984906    Included
                                                     10 S.
                                             Riverside Dr.,
                                                   Ste 600
                                               Chicago, IL
                                                    60606

 Employee                                           Zurich
 Benefit Liability                               American     1/1/14-15     GL0427984906    Included
                                                     10 S.
                                             Riverside Dr.,
 Each Claim                    $1,000,000          Ste 600
                                               Chicago, IL
 Aggregate                     $2,000,000           60606

                                                    Zurich
 Automobile                                      American     1/1/14-15     BAP591811208     $38,843
                                                     10 S.
 Combined                                    Riverside Dr.,
 Single Limit                  $1,000,000          Ste 600
 Physical                                      Chicago, IL
 Damage                        1,000/1,000          60606

 Workers                                            Zurich
 Compensation                                    American     1/1/14-15      WC930809311    $298,825
                                                     10 S.
                                             Riverside Dr.,
 Limits                  1,000/1,000/1,000         Ste 600
                                               Chicago, IL
                                                    60606



 Excess Ohio
 Workers                                          Midwest
 Compensation                  $1,000,000       Employers     7/1/13-14        EWC006924     $37,221


                                                 Firemans
 Umbrella                     $25,000,000            Fund     1/1/14-15   SUO00048752026    $113,345
                                                1 Progress




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                                                   Point
                                               Parkway
                                           O'Fallon, MO
                                                  63368
                         Travelers
 Crime/Fiduciary
 - Corporate                 $1,000,000       Travelers     1/1/14-15       105544182      $10,995
                                                 6060 S.
                                              Willow Dr
                                            Greenwood
                                            Village, CO
                                                  80111

 Fiduciary                   $1,000,000       Travelers     1/1/14-15       105544182      Included
                                                 6060 S.
                                              Willow Dr
                                            Greenwood
                                            Village, CO
                                                  80111

 Crime - Retail
 Locations                     $500,000       Travelers     1/1/14-15       105544250      $15,000
                                                 6060 S.
                                              Willow Dr
                                            Greenwood
                                            Village, CO
                                                  80111

                     Carolina Casualty
 Employment                                         Arch
 Practices                                Intermediaries
 Liability                   $1,000,000         /Beazley    1/1/14-15      AC1300873       $77,910
                                                   52-54
                                            Gracechurch
                                                      St.
                                                 London,
                                             EC3V 0EH

 Contract Fee                                  IMA Inc.     1/1/14-15                      $25,000
                                           8200 E 32nd
                                                St. No,
                                            Wichita, KS
                                                 67226
 SUBTOTAL
 EXCLUDING
 FLOOD                                                                                   $1,383,773

 Flood Policies


                                500,000
 4210 82nd St.,           Bldg/$500,000                     10/24/13-
 Lubbock, TX                   Contents        NFIP (1)            14   99015082452013      $1,350
 1200 S. Clearview              500,000
 Pkwy, New                Bldg/$500,000                     10/15/13-
 Orleans, LA                   Contents        NFIP (3)            14       RL00035752      $4,255
 4750 W. 120th                  500,000
 Ave, Westminster,        Bldg/$500,000
 CO                            Contents        NFIP (1)     4/3/13-14   99015612712013      $4,726
                                500,000
 5989 Canal St,           Bldg/$500,000
 Valley View, OH               Contents        NFIP (2)     9/9/13-14   60100811392013      $2,412
 6401 N. Andrews                500,000
 Ave, Ft.                 Bldg/$500,000                     10/26/13-
 Lauderdale, FL                Contents        NFIP (2)            14   60100859532013      $4,435

 TOTAL                                                                                   $1,400,951




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                                             Flood     1) Hartford
                                             Policy    Insurance Company
                                           Carriers:   of the Midwest
                                                       PO Box 2057
                                                       Kalispell, MT 59903
                                                       2) Travelers
                                                       Insurance /Standard
                                                       Fire Insurance Co
                                                       PO Box 7775
                                                       Kalispell, MT 59904
                                                       3)     National Flood
                                                       Insurance Program
                                                       PO Box 2965
                                                       Shawnee Mission, KS
                                                       66201 – 1365




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     ID            Epiq Contract No    Store Number        Case                                       Debtor                                       Responsible Person                        Contract Counter Party
             2 NO COPY                65009           13-13259    TENT RESTAURANT OPERATIONS, INC                                                AUSTIN TRUMPP          CLEANENERGY BIOFUELS
                                                                  FOX & HOUND ENGLISH PUB & GRILLE (for the benefit of N. COLLINS
             3 NO COPY                65004           13-13254                                                                                   AUSTIN TRUMPP          DARLING INTERNATIONAL, INC.
                                                                  ENTERTAINMENT, LTD.)
                                                                  FOX & HOUND ENGLISH PUB & GRILLE (for the benefit of F&H RESTAURANTS OF
             4 NO COPY                65008           13-13233                                                                                   AUSTIN TRUMPP          DARLING INTERNATIONAL, INC.
                                                                  TEXAS, INC.)
                                                                  FOX & HOUND ENGLISH PUB & GRILLE (for the benefit of F&H RESTAURANTS OF
             5 NO COPY                65042           13-13233                                                                                   AUSTIN TRUMPP          DARLING INTERNATIONAL, INC.
                                                                  TEXAS, INC.)
                                                                  FOX & HOUND ENGLISH PUB & GRILLE (for the benefit of F&H RESTAURANTS OF
             6 NO COPY                65043           13-13233                                                                                   AUSTIN TRUMPP          DARLING INTERNATIONAL, INC.
                                                                  TEXAS, INC.)
                                                                  FOX & HOUND ENGLISH PUB & GRILLE (for the benefit of F&H RESTAURANTS OF
             7 NO COPY                65052           13-13233                                                                                   AUSTIN TRUMPP          DARLING INTERNATIONAL, INC.
                                                                  TEXAS, INC.)
             8 NO COPY                65216           13-13227    CHAMPPS OPERATING CORPORATION                                                  AUSTIN TRUMPP          DARLING INTERNATIONAL, INC.
             9   NO COPY              65221           13-13227    CHAMPPS OPERATING CORPORATION                                                  AUSTIN TRUMPP          DARLING INTERNATIONAL, INC.
            10   NO COPY              65224           13-13227    CHAMPPS OPERATING CORPORATION                                                  AUSTIN TRUMPP          DARLING INTERNATIONAL, INC.
            11   NO COPY              65047           13-13259    TENT RESTAURANT OPERATIONS, INC                                                AUSTIN TRUMPP          ERCO
            12   NO COPY              65071           13-13259    TENT RESTAURANT OPERATIONS, INC                                                AUSTIN TRUMPP          ERCO
            13   NO COPY              65093           13-13259    TENT RESTAURANT OPERATIONS, INC                                                AUSTIN TRUMPP          ERCO
            14 NO COPY                65013           13-13259    TENT RESTAURANT OPERATIONS, INC                                                AUSTIN TRUMPP          GREEN EARTH OPTIONS OF TENNESSEE, LLC

            15 NO COPY                65213           13-13227    CHAMPPS OPERATING CORPORATION                                                  AUSTIN TRUMPP          GREENWAVE OIL COMPANY

            16 NO COPY                65005           13-13249    FOX & HOUND RESTAURANT GROUP                                                   AUSTIN TRUMPP          GRIFFIN INDUSTRIES

            17 NO COPY                65007           13-13259    BAILEY'S SPORTS GRILL (for the benefit of TENT RESTAURANT OPERATIONS, INC.)    AUSTIN TRUMPP          GRIFFIN INDUSTRIES

            18 NO COPY                65014           13-13259    BAILEY'S SPORTS GRILLE (for the benefit of TENT RESTAURANT OPERATIONS, INC.)   AUSTIN TRUMPP          GRIFFIN INDUSTRIES

            19 NO COPY                65022           13-13248    F & H RESTAURANTS OF TEXAS, INC                                                AUSTIN TRUMPP          GRIFFIN INDUSTRIES
            20 NO COPY                65028           13-13259    TENT RESTAURANT OPERATIONS, INC                                                AUSTIN TRUMPP          GRIFFIN INDUSTRIES
                                                                  TENT RESTAURANT OPERATIONS, INC (for the benefit of WINSTON-SALEM FOX &
            21 NO COPY                65034           13-13259                                                                                   AUSTIN TRUMPP          GRIFFIN INDUSTRIES
                                                                  HOUND, INC.)
            22 NO COPY                65036           13-13249    FOX & HOUND RESTAURANT GROUP                                                   AUSTIN TRUMPP          GRIFFIN INDUSTRIES

            23 NO COPY                65038           13-13259    TENT RESTAURANT OPERATIONS, INC                                                AUSTIN TRUMPP          GRIFFIN INDUSTRIES

            24 NO COPY                65041           13-13259    BAILEY'S PUB & GRILLE (for the benefit of TENT RESTAURANT OPERATIONS, INC.)    AUSTIN TRUMPP          GRIFFIN INDUSTRIES

            25 NO COPY                65056           13-13249    FOX & HOUND RESTAURANT GROUP                                                   AUSTIN TRUMPP          GRIFFIN INDUSTRIES

            26 NO COPY                65064           13-13247    FOX & HOUND OF OKLAHOMA, INC                                                   AUSTIN TRUMPP          GRIFFIN INDUSTRIES
            27   NO COPY              65240           13-13227    CHAMPPS OPERATING CORPORATION                                                  AUSTIN TRUMPP          GRIFFIN INDUSTRIES
            28   NO COPY              65015           13-13250    FOX & HOUND                                                                    AUSTIN TRUMPP          KCI RESTAURANT SERVICES
            29   NO COPY              65016           13-13250    FOX & HOUND                                                                    AUSTIN TRUMPP          MAHONEY ENVIRONMENTAL
            30   NO COPY              65049           13-13235    FOX & HOUND OF COLORADO, INC                                                   AUSTIN TRUMPP          RECYCOIL



2455538-1                                                                                                                       1.1(a) - 1
                                                                Case 13-13220-KG                 Doc 506-1     Filed 03/17/14    Page 146 of 362


     ID                         Type of Contract                            Description of Contract                     Assume             Reject   Cure Amount   Contract No Date of ContractTermination Date
             2 SERVICE AGREEMENT                   GREASE REMOVAL SERVICE                                                                                         65009             3/7/2012        3/7/2013

             3 SERVICE AGREEMENT                   GREASE REMOVAL SERVICE                                                                                         65004            7/17/2008       7/17/2009

             4 SERVICE AGREEMENT                   GREASE REMOVAL SERVICE                                                                                         65008            7/17/2008       7/17/2009

             5 SERVICE AGREEMENT                   GREASE REMOVAL SERVICE                                                                                         65042            7/17/2008       7/17/2009

             6 SERVICE AGREEMENT                   GREASE REMOVAL SERVICE                                                                                         65043            7/17/2008       7/17/2009

             7 SERVICE AGREEMENT                   GREASE REMOVAL SERVICE                                                                                         65052            7/17/2008       7/17/2009

             8 SERVICE AGREEMENT                   GREASE REMOVAL SERVICE                                                                                         65216             4/2/2012        4/2/2014
             9   SERVICE AGREEMENT                 GREASE REMOVAL SERVICE                                                                                         65221             9/1/2011        9/1/2012
            10   SERVICE AGREEMENT                 GREASE REMOVAL SERVICE                                                                                         65224            7/15/2013       7/15/2014
            11   SERVICE AGREEMENT                 GREASE REMOVAL SERVICE                                                                                         65047            6/24/2013       6/24/2016
            12   SERVICE AGREEMENT                 GREASE REMOVAL SERVICE                                                                                         65071            6/24/2013       6/24/2016
            13   SERVICE AGREEMENT                 GREASE REMOVAL SERVICE                                                                                         65093            5/14/2013       5/14/2016
                                                                                                                                                                                                  M/M AFTER
            14 SERVICE AGREEMENT                   GREASE REMOVAL SERVICE                                                                                         65013            3/27/2012
                                                                                                                                                                                                     4/27/12
            15 SERVICE AGREEMENT                   GREASE REMOVAL SERVICE                                                                                         65213             6/7/2013        6/7/2014

            16 SERVICE AGREEMENT                   GREASE REMOVAL SERVICE                                                                                         65005            9/26/2008       9/26/2009
                                                                                                                                                                                                  M/M AFTER
            17 SERVICE AGREEMENT                   GREASE REMOVAL SERVICE                                                                                         65007            4/21/2009
                                                                                                                                                                                                   4/21/2013
            18 SERVICE AGREEMENT                   GREASE REMOVAL SERVICE                                                                                         65014

            19 SERVICE AGREEMENT                   GREASE REMOVAL SERVICE                                                                                         65022            9/12/2011       9/12/2012
            20 SERVICE AGREEMENT                   GREASE REMOVAL SERVICE                                                                                         65028             9/7/2012        9/7/2013
            21 SERVICE AGREEMENT                   GREASE REMOVAL SERVICE                                                                                         65034            12/7/2011       12/7/2012

            22 SERVICE AGREEMENT                   GREASE REMOVAL SERVICE                                                                                         65036            10/1/2008       10/1/2009

            23 SERVICE AGREEMENT                   GREASE REMOVAL SERVICE                                                                                         65038             3/6/2013        3/6/2014

            24 SERVICE AGREEMENT                   GREASE REMOVAL SERVICE                                                                                         65041             9/5/2008        9/5/2009

            25 SERVICE AGREEMENT                   GREASE REMOVAL SERVICE                                                                                         65056            9/26/2008       9/26/2009

            26 SERVICE AGREEMENT                   GREASE REMOVAL SERVICE                                                                                         65064            4/21/2010       4/21/2011
            27   SERVICE AGREEMENT                 GREASE REMOVAL SERVICE                                                                                         65240            3/29/2011       3/29/2012
            28   SERVICE AGREEMENT                 GREASE REMOVAL SERVICE                                                                                         65015            9/16/2010       9/16/2011
            29   SERVICE AGREEMENT                 GREASE REMOVAL SERVICE                                                                                         65016             8/6/2008        8/6/2009
            30   SERVICE AGREEMENT                 GREASE REMOVAL SERVICE                                                                                         65049           10/24/2011      10/23/2013



2455538-1                                                                                                1.1(a) - 2
                                                              Case 13-13220-KG        Doc 506-1         Filed 03/17/14        Page 147 of 362


     ID             Attention                    Address 1    Address 2   Address 3   Address 4          City         State           Zip   Country   Email   Phone   Fax
             2 MICAH REYNOLDS 250 ARIZONA AVE, NE                                                 ATLANTA        GA           30307

             3                    1240 SARGENT ROAD                                               DALLAS         TX           75203

             4                    1240 SARGENT ROAD                                               DALLAS         TX           75203

             5                    1240 SARGENT ROAD                                               DALLAS         TX           75203

             6                    1240 SARGENT ROAD                                               DALLAS         TX           75203

             7                    1240 SARGENT ROAD                                               DALLAS         TX           75203

             8 WARREN COPPLE 3350 GREENFIELD RD.                                                  MELVINDALE     MI           48122
             9   GEORGE BAKER     3701 SCHALKER STREET                                            HOUSTON        TX           77026
            10   VON DORJEVSKI    3350 GREENFIELD RD.                                             MELVINDALE     MI           48122
            11   JENNIFER FLOYD   28821 BETHLEHEM CHURCH RD                                       OAKBORO        NC           28129
            12   JENNIFER FLOYD   28821 BETHLEHEM CHURCH RD                                       OAKBORO        NC           28129
            13   JENNIFER FLOYD   28821 BETHLEHEM CHURCH RD                                       OAKBORO        NC           28129
            14                    2227 DEADRICK AVE                                               MEMPHIS        TN           38114
                                                                                                  FORT
            15 ERIC LESPERANCE 420 W MCNAB ROAD                                                                  FL           33309
                                                                                                  LAUDERDALE
            16 BRIAN PAPROCKI 264 FM 2336                                                         BASTROP        TX           78602

            17                    3080 CONCORD RD                                                 RUSSELLVILLE   KY           42276

            18                    3080 CONCORD RD                                                 RUSSELLVILLE   KY           42276
                 RICARDO
            19                    8423 QUINTANA ROAD                                              SAN ANTONIO    TX           78211
                 CANSECO
            20                    3026 S CENTER ROAD                                              MEMPHIS        TN           38109
            21                    5805 HWY 74 EAST                                                NASHVILLE      TN           27103

            22 BRIAN PAPROCKI 264 FM 2336                                                         BASTROP        TX           78602
               JEFFREY S.
            23                    3350 GREENFIELD RD                                              MELVINDALE     MI           48122
               MARSHALL
               DWAYNE
            24                    3080 CONCORD RD                                                 RUSSELLVILLE   KY           44276
               MCKINNEY
            25 BRIAN PAPROCKI 264 FM 2336                                                         BASTROP        TX           78602

            26 KEITH WENDORFF HWY 59 SOUTH                                                        WATTS          OK           74964
            27   DAVE BRYANT      16375 DOSWELL PARK ROAD                                         DOSWELL        VA           23047
            28   MATT KEYES       4125 DAHLMAN AVE                                                OMAHA          NE           68107
            29   PAUL BULFER      1819 MOEN AVE                                                   JOLIET         IL           60436
            30   AARON PERRY      1708 WALNUT STREET                                              BOULDER        CO           80302



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                                                                          Case 13-13220-KG                  Doc 506-1            Filed 03/17/14     Page 148 of 362


     ID          Epiq Contract No    Store Number      Case                                       Debtor                                   Responsible Person                     Contract Counter Party
            31 NO COPY              65059         13-13235    FOX & HOUND OF COLORADO, INC                                               AUSTIN TRUMPP          RECYCOIL
            32 NO COPY              65095         13-13259    TENT RESTAURANT OPERATIONS, INC                                            AUSTIN TRUMPP          RESTAURANT TECHNOLOGIES, INC.
            33 NO COPY              65076         13-13250    FOX & HOUND                                                                AUSTIN TRUMPP          TORVAC
            34 NO COPY              65082         13-13242    BAILEY'S PUB & GRILLE (for the benefit of FOX & HOUND OF MARYLAND, INC.)   AUSTIN TRUMPP          VALLEY PROTEINS

            35 NO COPY              65089         13-13259    TENT RESTAURANT OPERATIONS, INC                                            AUSTIN TRUMPP          VALLEY PROTEINS

            36 NO COPY              65233         13-13227    CHAMPPS OPERATING CORPORATION                                              AUSTIN TRUMPP          VALLEY PROTEINS

            37 NO COPY              65238         13-13227    CHAMPPS OPERATING CORPORATION                                              AUSTIN TRUMPP          VALLEY PROTEINS
            38   NO COPY            65253         13-13227    CHAMPPS OPERATING CORPORATION                                              AUSTIN TRUMPP          VALLEY PROTEINS
            39   NO COPY            65033         13-13259    TENT RESTAURANT OPERATIONS, INC.                                           DAVID HUYETT           A COMFORT SERVICE INC
            40   NO COPY            65091         13-13246    FOX & HOUND OF OHIO, INC.                                                  DAVID HUYETT           AIR TECH MECHANICAL SVS INC
            41   NO COPY            65079         13-13237    FOX & HOUND OF INDIANA, INC.                                               DAVID HUYETT           AIRMASTER
            42   NO COPY            65016         13-13236    FOX & HOUND OF ILLINOIS                                                    DAVID HUYETT           ALLIANCE MECHANICAL SERVICES
            43   NO COPY            65055         13-13236    FOX & HOUND OF ILLINOIS                                                    DAVID HUYETT           ALLIANCE MECHANICAL SERVICES
            44   NO COPY            65060         13-13236    FOX & HOUND OF ILLINOIS                                                    DAVID HUYETT           ALLIANCE MECHANICAL SERVICES
            45   NO COPY            65076         13-13236    FOX & HOUND OF ILLINOIS                                                    DAVID HUYETT           ALLIANCE MECHANICAL SERVICES
            46   NO COPY            65215         13-13227    CHAMPPS OPERATING CORPORATION                                              DAVID HUYETT           ALLIANCE MECHANICAL SERVICES
            47   NO COPY            65222         13-13227    CHAMPPS OPERATING CORPORATION                                              DAVID HUYETT           ALLIANCE MECHANICAL SERVICES
            48   NO COPY            65228         13-13227    CHAMPPS OPERATING CORPORATION                                              DAVID HUYETT           ALLIANCE MECHANICAL SERVICES
            49   NO COPY            65035         13-13237    FOX & HOUND OF INDIANA, INC.                                               DAVID HUYETT           ALLIANCE MECHANICAL SERVICES
            50   NO COPY            65250         13-13227    CHAMPPS OPERATING CORPORATION                                              DAVID HUYETT           ALLIANCE MECHANICAL SERVICES
            51   NO COPY            65211         13-13227    CHAMPPS OPERATING CORPORATION                                              DAVID HUYETT           AMERICAN MECHANICAL GROUP INC
            52   NO COPY            65212         13-13227    CHAMPPS OPERATING CORPORATION                                              DAVID HUYETT           AMERICAN MECHANICAL GROUP INC
            53   NO COPY            65218         13-13227    CHAMPPS OPERATING CORPORATION                                              DAVID HUYETT           AMERICAN MECHANICAL GROUP INC
            54   NO COPY            65035         13-13237    FOX & HOUND OF INDIANA, INC.                                               DAVID HUYETT           BRYANT HEATING & AIR CO INC
            55   NO COPY            65007         13-13259    TENT RESTAURANT OPERATIONS, INC.                                           DAVID HUYETT           COMMERCIAL MAINTENANCE SERVICES
            56   NO COPY            65014         13-13259    TENT RESTAURANT OPERATIONS, INC.                                           DAVID HUYETT           COMMERCIAL MAINTENANCE SERVICES
            57   NO COPY            65041         13-13259    TENT RESTAURANT OPERATIONS, INC.                                           DAVID HUYETT           COMMERCIAL MAINTENANCE SERVICES
            58   NO COPY            65057         13-13234    FOX & HOUND OF ARIZONA, INC.                                               DAVID HUYETT           COOL BREEZE AIR SOLUTIONS LLC
            59   NO COPY            65080         13-13259    TENT RESTAURANT OPERATIONS, INC.                                           DAVID HUYETT           CSI
            60   NO COPY            65027         13-13259    TENT RESTAURANT OPERATIONS, INC.                                           DAVID HUYETT           DENNYS HEATING AND COOLING
            61   NO COPY            65038         13-13259    TENT RESTAURANT OPERATIONS, INC.                                           DAVID HUYETT           DENNYS HEATING AND COOLING
            62   NO COPY            65070         13-13259    TENT RESTAURANT OPERATIONS, INC.                                           DAVID HUYETT           DENNYS HEATING AND COOLING
            63   NO COPY            65216         13-13227    CHAMPPS OPERATING CORPORATION                                              DAVID HUYETT           DENNYS HEATING AND COOLING
            64   NO COPY            65234         13-13227    CHAMPPS OPERATING CORPORATION                                              DAVID HUYETT           DIVINE MECHANICAL INC
            65   NO COPY            65029         13-13238    FOX & HOUND OF KANSAS, INC.                                                DAVID HUYETT           DT MECHANICAL SERVICE CO INC
            66   NO COPY            65031         13-13259    TENT RESTAURANT OPERATIONS, INC.                                           DAVID HUYETT           FILTER SERVICE INTERNATIONAL
            67   NO COPY            65077         13-13259    TENT RESTAURANT OPERATIONS, INC.                                           DAVID HUYETT           FILTER SERVICE INTERNATIONAL
            68   NO COPY            65238         13-13227    CHAMPPS OPERATING CORPORATION                                              DAVID HUYETT           FILTER SERVICE INTERNATIONAL
            69   NO COPY            65066         13-13259    TENT RESTAURANT OPERATIONS, INC.                                           DAVID HUYETT           G&R MECHANICAL INC
            70   NO COPY            65073         13-13244    FOX & HOUND OF NEW JERSEY, INC.                                            DAVID HUYETT           G&R MECHANICAL INC
            71   NO COPY            65203         13-13227    CHAMPPS OPERATING CORPORATION                                              DAVID HUYETT           G&R MECHANICAL INC
            72   NO COPY            65204         13-13227    CHAMPPS OPERATING CORPORATION                                              DAVID HUYETT           G&R MECHANICAL INC
            73   NO COPY            65230         13-13227    CHAMPPS OPERATING CORPORATION                                              DAVID HUYETT           G&R MECHANICAL INC



2455538-1                                                                                                                  1.1(a) - 4
                                                              Case 13-13220-KG                 Doc 506-1     Filed 03/17/14    Page 149 of 362


     ID                       Type of Contract                            Description of Contract                     Assume             Reject   Cure Amount   Contract No Date of ContractTermination Date
            31 SERVICE AGREEMENT                 GREASE REMOVAL SERVICE                                                                                         65059           10/24/2011      10/23/2013
                                                                                                                                                                                                  Y/Y AFTER
            32 SERVICE AGREEMENT                 GREASE REMOVAL SERVICE                                                                                         65095            2/21/2011
                                                                                                                                                                                                    2/21/16
            33 SERVICE AGREEMENT                 GREASE REMOVAL SERVICE                                                                                         65076            8/10/2004
            34 SERVICE AGREEMENT                 GREASE REMOVAL SERVICE                                                                                         65082              5/1/2015       5/1/2006

            35 SERVICE AGREEMENT                 GREASE REMOVAL SERVICE                                                                                         65089             2/21/2012      2/21/2013

            36 SERVICE AGREEMENT                 GREASE REMOVAL SERVICE                                                                                         65233             4/23/2013      4/23/2017

            37 SERVICE AGREEMENT                 GREASE REMOVAL SERVICE                                                                                         65238             4/23/2013      4/23/2017
            38   SERVICE AGREEMENT               GREASE REMOVAL SERVICE                                                                                         65253             4/21/2011      4/21/2014
            39   SERVICE AGREEMENT               HVAC PREVENTATIVE MAINTENANCE CONTRACT
            40   SERVICE AGREEMENT               HVAC PREVENTATIVE MAINTENANCE CONTRACT
            41   SERVICE AGREEMENT               HVAC PREVENTATIVE MAINTENANCE CONTRACT
            42   SERVICE AGREEMENT               HVAC PREVENTATIVE MAINTENANCE CONTRACT
            43   SERVICE AGREEMENT               HVAC PREVENTATIVE MAINTENANCE CONTRACT
            44   SERVICE AGREEMENT               HVAC PREVENTATIVE MAINTENANCE CONTRACT
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            48   SERVICE AGREEMENT               HVAC PREVENTATIVE MAINTENANCE CONTRACT
            49   SERVICE AGREEMENT               HVAC PREVENTATIVE MAINTENANCE CONTRACT
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            64   SERVICE AGREEMENT               HVAC PREVENTATIVE MAINTENANCE CONTRACT
            65   SERVICE AGREEMENT               HVAC PREVENTATIVE MAINTENANCE CONTRACT
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            68   SERVICE AGREEMENT               HVAC PREVENTATIVE MAINTENANCE CONTRACT
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            70   SERVICE AGREEMENT               HVAC PREVENTATIVE MAINTENANCE CONTRACT
            71   SERVICE AGREEMENT               HVAC PREVENTATIVE MAINTENANCE CONTRACT
            72   SERVICE AGREEMENT               HVAC PREVENTATIVE MAINTENANCE CONTRACT
            73   SERVICE AGREEMENT               HVAC PREVENTATIVE MAINTENANCE CONTRACT



2455538-1                                                                                              1.1(a) - 5
                                                               Case 13-13220-KG         Doc 506-1         Filed 03/17/14        Page 150 of 362


     ID           Attention                   Address 1         Address 2   Address 3   Address 4         City          State           Zip   Country   Email   Phone   Fax
            31 AARON PERRY     1708 WALNUT STREET                                                   BOULDER        CO           80302
                                                                                                    MENDOTA
            32 GREG S.         2250 PILOT KNOB ROAD       SUITE 100                                                MN           55120
                                                                                                    HEIGHTS
            33                 3000 W WHETON ROAD                                                   BLUE ISLAND    IL           60406
            34 TED HALL        151 VALPRO DRIVE                                                     WINCHESTER     VA           22603
               DAVID
            35                 151 VALPRO DRIVE                                                     WINCHESTER     VA           22603
               SPONAUGLE
               VAN W.
            36                 151 VALPRO DRIVE                                                     WINCHESTER     VA           22603
               KLOEMPKEN
               VAN W.
            37                 151 VALPRO DRIVE                                                     WINCHESTER     VA           22603
               KLOEMPKEN
            38 DAVE SCHAIBLE   151 VALPRO DRIVE                                                     WINCHESTER     VA           22603
            39                 8600 PERRY HWY                                                       PITTSBURG      PA           15237
            40                 7010 RIPPLE RD                                                       CLEVES         OH           45002
            41                 5416 N COLLEGE AVE                                                   INDIANAPOLIS   IN           46220
            42                 100 FRONTIER WAY                                                     BENSENVILLE    IL           60106
            43                 100 FRONTIER WAY                                                     BENSENVILLE    IL           60106
            44                 100 FRONTIER WAY                                                     BENSENVILLE    IL           60106
            45                 100 FRONTIER WAY                                                     BENSENVILLE    IL           60106
            46                 100 FRONTIER WAY                                                     BENSENVILLE    IL           60106
            47                 100 FRONTIER WAY                                                     BENSENVILLE    IL           60106
            48                 100 FRONTIER WAY                                                     BENSENVILLE    IL           60106
            49                 100 FRONTIER WAY                                                     BENSENVILLE    IL           60106
            50                 100 FRONTIER WAY                                                     BENSENVILLE    IL           60106
            51                 5729 WESTBOURNE AVE                                                  COLUMBUS       OH           43213
            52                 5729 WESTBOURNE AVE                                                  COLUMBUS       OH           43213
            53                 5729 WESTBOURNE AVE                                                  COLUMBUS       OH           43213
            54                 3908 NORTH COLLEGE AVE                                               INDIANAPOLIS   IN           46205
            55                 701 HIGHLAND DR                                                      WHITE HOUSE    TN           37188
            56                 701 HIGHLAND DR                                                      WHITE HOUSE    TN           37188
            57                 701 HIGHLAND DR                                                      WHITE HOUSE    TN           37188
            58                 2626 S 4TH AVE                                                       TUCSON         AZ           85713
            59                 18405 EDISON AVE                                                     CHESTERFIELD   MO           63005
            60                 3166 MARTIN RD                                                       WALLED LAKE    MI           48390
            61                 3166 MARTIN RD                                                       WALLED LAKE    MI           48390
            62                 3166 MARTIN RD                                                       WALLED LAKE    MI           48390
            63                 3166 MARTIN RD                                                       WALLED LAKE    MI           48390
            64                 P.O. BOX 280549                                                      LAKEWOOD       CO           80228
            65                 P.O. BOX 964                                                         OLATHA         KS           66051
            66                 9900 TWO ROBINS CT                                                   RALIEGH        NC           27613
            67                 9900 TWO ROBINS CT                                                   RALIEGH        NC           27613
            68                 9900 TWO ROBINS CT                                                   RALIEGH        NC           27613
            69                 311 RUTH ROAD                                                        HARLEYSVILLE   PA           19438
            70                 311 RUTH ROAD                                                        HARLEYSVILLE   PA           19438
            71                 311 RUTH ROAD                                                        HARLEYSVILLE   PA           19438
            72                 311 RUTH ROAD                                                        HARLEYSVILLE   PA           19438
            73                 311 RUTH ROAD                                                        HARLEYSVILLE   PA           19438



2455538-1                                                                                           1.1(a) - 6
                                                                          Case 13-13220-KG                Doc 506-1            Filed 03/17/14       Page 151 of 362


     ID          Epiq Contract No    Store Number      Case                                      Debtor                                    Responsible Person                     Contract Counter Party
            74 NO COPY              65252         13-13227    CHAMPPS OPERATING CORPORATION                                              DAVID HUYETT           G&R MECHANICAL INC
            75 NO COPY              65015         13-13243    FOX & HOUND OF NEBRASKA, INC.                                              DAVID HUYETT           GOODWIN TUCKER
            76 NO COPY              65213         13-13227    CHAMPPS OPERATING CORPORATION                                              DAVID HUYETT           GREYSTONE REFRIGERATION
                                                              TENT RESTAURANT OPERATIONS, INC. (for the benefit of WINSTON-SALEM FOX &
            77 NO COPY              65034         13-13259                                                                               DAVID HUYETT           GWYN INC
                                                              HOUND, INC.)
            78 NO COPY              65220         13-13227    CHAMPPS OPERATING CORPORATION                                              DAVID HUYETT           INDUSTRIAL MECHANICAL CONTRACTORS INC
            79 NO COPY              65217         13-13227    CHAMPPS OPERATING CORPORATION                                              DAVID HUYETT           KAROLYIS HEATING COOLING & REFRIGERATION
            80 NO COPY              65023         13-13259    TENT RESTAURANT OPERATIONS, INC.                                           DAVID HUYETT           KEEP HEATING & COOLING INC
            81 NO COPY              65008         13-13233    F & H RESTAURANT OF TEXAS, INC.                                            DAVID HUYETT           MY TECH TEXAS LLC

            82 NO COPY              65042         13-13233    F & H RESTAURANT OF TEXAS, INC.                                            DAVID HUYETT           MY TECH TEXAS LLC

            83 NO COPY              65043         13-13233    F & H RESTAURANT OF TEXAS, INC.                                            DAVID HUYETT           MY TECH TEXAS LLC

            84 NO COPY              65052         13-13233    F & H RESTAURANT OF TEXAS, INC.                                            DAVID HUYETT           MY TECH TEXAS LLC
           85   NO COPY             65242         13-13227    CHAMPPS OPERATING CORPORATION                                              DAVID HUYETT           NORTH WINDS HEATING & COOLING
           86   NO COPY             65009         13-13259    TENT RESTAURANT OPERATIONS, INC                                            DAVID HUYETT           PREMIER SERVICES GROUP INC
           87   NO COPY             65009         13-13259    TENT RESTAURANT OPERATIONS, INC.                                           DAVID HUYETT           PREMIER SERVICES GROUP INC
           88   NO COPY             65071         13-13259    TENT RESTAURANT OPERATIONS, INC.                                           DAVID HUYETT           PUTNAM MECHANICAL INC
           89   NO COPY             65093         13-13259    TENT RESTAURANT OPERATIONS, INC.                                           DAVID HUYETT           PUTNAM MECHANICAL INC
           90   NO COPY             65002         13-13259    TENT RESTAURANT OPERATIONS, INC.                                           DAVID HUYETT           PUTNAM MECHANICAL INC
           91   NO COPY             65045         13-13235    FOX & HOUND OF COLORADO, INC.                                              DAVID HUYETT           PUTNAM MECHANICAL INC
           92   NO COPY             65047         13-13259    TENT RESTAURANT OPERATIONS, INC.                                           DAVID HUYETT           PUTNAM MECHANICAL INC
           93   NO COPY             65221         13-13227    CHAMPPS OPERATING CORPORATION                                              DAVID HUYETT           RAYFORD MECHANICAL
           94   NO COPY             65084         13-13222    ALABAMA FOX & HOUND, INC.                                                  DAVID HUYETT           REGIONS HEATING AND AIR LLC
           95   NO COPY             65059         13-13235    FOX & HOUND OF COLORADO, INC.                                              DAVID HUYETT           RK MECHANICAL INC
           96   NO COPY             65092         13-13259    TENT RESTAURANT OPERATIONS, INC.                                           DAVID HUYETT           RK MECHANICAL INC
           97   NO COPY             65049         13-13235    FOX & HOUND OF COLORADO, INC.                                              DAVID HUYETT           RK MECHANICAL INC
           98   NO COPY             65075         13-13247    FOX & HOUND OF OKLAHOMA, INC.                                              DAVID HUYETT           SEWELL MECHANICAL INC
           99   NO COPY             65010         13-13259    TENT RESTAURANT OPERATIONS, INC.                                           DAVID HUYETT           SPEARS SERVICES INC
          100   NO COPY             65210         13-13227    CHAMPPS OPERATING CORPORATION                                              DAVID HUYETT           STEINGASS MECHANICAL CONTRACTING INC
          101   NO COPY             65037         13-13241    FOX & HOUND OF LOUISIANA, INC.                                             DAVID HUYETT           STEINGASS MECHANICAL CONTRACTING INC
          102   NO COPY             65245         13-13227    CHAMPPS OPERATING CORPORATION                                              DAVID HUYETT           STEINGASS MECHANICAL CONTRACTING INC
          103   NO COPY             65062         13-13259    TENT RESTAURANT OPERATIONS, INC.                                           DAVID HUYETT           TEMPERATURE CONTROL MECHANICAL SERVICES INC
          104   NO COPY             65067         13-13259    TENT RESTAURANT OPERATIONS, INC.                                           DAVID HUYETT           TEMPERATURE CONTROL MECHANICAL SERVICES INC

          105 NO COPY               65078         13-13259    TENT RESTAURANT OPERATIONS, INC.                                           DAVID HUYETT           TEMPERATURE CONTROL MECHANICAL SERVICES INC

          106   NO COPY             65082         13-13242    FOX & HOUND OF MARYLAND, INC.                                              DAVID HUYETT           TEMPERATURE CONTROL MECHANICAL SERVICES INC
          107   NO COPY             65086         13-13259    TENT RESTAURANT OPERATIONS, INC.                                           DAVID HUYETT           TEMPERATURE CONTROL MECHANICAL SERVICES INC
          108   NO COPY             65207         13-13227    CHAMPPS OPERATING CORPORATION                                              DAVID HUYETT           TEMPERATURE CONTROL MECHANICAL SERVICES INC
          109   NO COPY             65226         13-13227    CHAMPPS OPERATING CORPORATION                                              DAVID HUYETT           TEMPERATURE CONTROL MECHANICAL SERVICES INC
          110   NO COPY             65241         13-13227    CHAMPPS OPERATING CORPORATION                                              DAVID HUYETT           TEMPERATURE CONTROL MECHANICAL SERVICES INC
          111   NO COPY             65051         13-13259    TENT RESTAURANT OPERATIONS, INC.                                           DAVID HUYETT           TEMPERATURE CONTROL MECHANICAL SERVICES INC
          112   NO COPY             65219         13-13225    CHAMPPS ENTERTAINMENT OF TEXAS, INC.                                       DAVID HUYETT           TOWN EAST HEATING & AIR CONDITIONING COMPANY




2455538-1                                                                                                                1.1(a) - 7
                                                               Case 13-13220-KG                Doc 506-1     Filed 03/17/14    Page 152 of 362


     ID                       Type of Contract                            Description of Contract                     Assume             Reject   Cure Amount   Contract No Date of ContractTermination Date
            74 SERVICE AGREEMENT                 HVAC PREVENTATIVE MAINTENANCE CONTRACT
            75 SERVICE AGREEMENT                 HVAC PREVENTATIVE MAINTENANCE CONTRACT
            76 SERVICE AGREEMENT                 HVAC PREVENTATIVE MAINTENANCE CONTRACT

            77 SERVICE AGREEMENT                 HVAC PREVENTATIVE MAINTENANCE CONTRACT
            78 SERVICE AGREEMENT                 HVAC PREVENTATIVE MAINTENANCE CONTRACT
            79 SERVICE AGREEMENT                 HVAC PREVENTATIVE MAINTENANCE CONTRACT
            80 SERVICE AGREEMENT                 HVAC PREVENTATIVE MAINTENANCE CONTRACT
            81 SERVICE AGREEMENT                 HVAC PREVENTATIVE MAINTENANCE CONTRACT

            82 SERVICE AGREEMENT                 HVAC PREVENTATIVE MAINTENANCE CONTRACT

            83 SERVICE AGREEMENT                 HVAC PREVENTATIVE MAINTENANCE CONTRACT

            84 SERVICE AGREEMENT                 HVAC PREVENTATIVE MAINTENANCE CONTRACT
           85   SERVICE AGREEMENT                HVAC PREVENTATIVE MAINTENANCE CONTRACT
           86   SERVICE AGREEMENT                HVAC PREVENTATIVE MAINTENANCE CONTRACT                                                                         65009           11/13/2013      11/13/2014
           87   SERVICE AGREEMENT                HVAC PREVENTATIVE MAINTENANCE CONTRACT
           88   SERVICE AGREEMENT                HVAC PREVENTATIVE MAINTENANCE CONTRACT
           89   SERVICE AGREEMENT                HVAC PREVENTATIVE MAINTENANCE CONTRACT
           90   SERVICE AGREEMENT                HVAC PREVENTATIVE MAINTENANCE CONTRACT
           91   SERVICE AGREEMENT                HVAC PREVENTATIVE MAINTENANCE CONTRACT
           92   SERVICE AGREEMENT                HVAC PREVENTATIVE MAINTENANCE CONTRACT
           93   SERVICE AGREEMENT                HVAC PREVENTATIVE MAINTENANCE CONTRACT
           94   SERVICE AGREEMENT                HVAC PREVENTATIVE MAINTENANCE CONTRACT
           95   SERVICE AGREEMENT                HVAC PREVENTATIVE MAINTENANCE CONTRACT
           96   SERVICE AGREEMENT                HVAC PREVENTATIVE MAINTENANCE CONTRACT
           97   SERVICE AGREEMENT                HVAC PREVENTATIVE MAINTENANCE CONTRACT
           98   SERVICE AGREEMENT                HVAC PREVENTATIVE MAINTENANCE CONTRACT
           99   SERVICE AGREEMENT                HVAC PREVENTATIVE MAINTENANCE CONTRACT
          100   SERVICE AGREEMENT                HVAC PREVENTATIVE MAINTENANCE CONTRACT
          101   SERVICE AGREEMENT                HVAC PREVENTATIVE MAINTENANCE CONTRACT
          102   SERVICE AGREEMENT                HVAC PREVENTATIVE MAINTENANCE CONTRACT
          103   SERVICE AGREEMENT                HVAC PREVENTATIVE MAINTENANCE CONTRACT
          104   SERVICE AGREEMENT                HVAC PREVENTATIVE MAINTENANCE CONTRACT

          105 SERVICE AGREEMENT                  HVAC PREVENTATIVE MAINTENANCE CONTRACT

          106   SERVICE AGREEMENT                HVAC PREVENTATIVE MAINTENANCE CONTRACT
          107   SERVICE AGREEMENT                HVAC PREVENTATIVE MAINTENANCE CONTRACT
          108   SERVICE AGREEMENT                HVAC PREVENTATIVE MAINTENANCE CONTRACT
          109   SERVICE AGREEMENT                HVAC PREVENTATIVE MAINTENANCE CONTRACT
          110   SERVICE AGREEMENT                HVAC PREVENTATIVE MAINTENANCE CONTRACT
          111   SERVICE AGREEMENT                HVAC PREVENTATIVE MAINTENANCE CONTRACT
          112   SERVICE AGREEMENT                HVAC PREVENTATIVE MAINTENANCE CONTRACT




2455538-1                                                                                              1.1(a) - 8
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     ID          Attention                   Address 1       Address 2   Address 3   Address 4         City          State           Zip   Country       Email      Phone   Fax
            74               311 RUTH ROAD                                                       HARLEYSVILLE   PA           19438
            75               7535 D ST.                                                          OMAHA          NE           68124
                                                                                                 POMPANO
            76               1025 NORTHWEST 31ST AVE                                                            FL           33069
                                                                                                 BEACH
                                                                                                 WINSTON-
            77               3941 WESTPOINT BLVD                                                                NC           27103
                                                                                                 SALEM
            78               4838 DUFF DR STE A                                                  CINCINNATI     OH           45246
            79               24521 DALE AVE                                                      EASTPOINTE     MI           48021
            80               141 E 26TH ST                                                       ERIE           PA           16504
                                                                                                 FLOWER
            81               2201 LONG PRAIRIE RD #107-153                                                      TX           75022
                                                                                                 MOUND
                                                                                                 FLOWER
            82               2201 LONG PRAIRIE RD #107-153                                                      TX           75022
                                                                                                 MOUND
                                                                                                 FLOWER
            83               2201 LONG PRAIRIE RD #107-153                                                      TX           75022
                                                                                                 MOUND
                                                                                                 FLOWER
            84               2201 LONG PRAIRIE RD #107-153                                                      TX           75022
                                                                                                 MOUND
           85                2861 JOLLY RD                                                       OKENOS         MI           48864
           86                333 TROY CIRCLE #P                                                  KNOXVILLE      TN           37919                   865-558-5711
           87                333 TROY CIRCLE                                                     KNOXVILLE      TN           37919
           88                P.O. BOX 3606                                                       MOORESVILLE    SC           28117
           89                P.O. BOX 3606                                                       MOORESVILLE    SC           28117
           90                P.O. BOX 3606                                                       MOORESVILLE    SC           28117
           91                P.O. BOX 3606                                                       MOORESVILLE    SC           28117
           92                P.O. BOX 3606                                                       MOORESVILLE    SC           28117
           93                3520 ALDINE BENDER SUITE A                                          HOUSTON        TX           77032
           94                9018 SPARKS DRIVE                                                   WARRIOR        AL           35180
           95                3800 XANTHIA ST                                                     DENVER         CO           80238
           96                3800 XANTHIA ST                                                     DENVER         CO           80238
           97                3800 XANTHIA ST                                                     DENVER         CO           80238
           98                4813 S 101ST E AVE                                                  TULSA          OK           74146
           99                P.O. BOX 3428 CRS                                                   JOHNSON CITY   TN           37602
          100                754 PROGRESS DRIVE                                                  MEDINA         OH           44256
          101                754 PROGRESS DRIVE                                                  MEDINA         OH           44256
          102                754 PROGRESS DRIVE                                                  MEDINA         OH           44256
          103                11197 LEADBETTER RD                                                 ASHLAND        PA           23005
          104                11197 LEADBETTER RD                                                 ASHLAND        PA           23005
                                                                                                 11197
          105                11197 LEADBETTER RD                                                               PA            23005
                                                                                                 LEADBETTER RD
          106                11197 LEADBETTER RD                                                 ASHLAND        PA           23005
          107                11197 LEADBETTER RD                                                 ASHLAND        PA           23005
          108                11197 LEADBETTER RD                                                 ASHLAND        PA           23005
          109                11197 LEADBETTER RD                                                 ASHLAND        PA           23005
          110                11197 LEADBETTER RD                                                 ASHLAND        PA           23005
          111                11197 LEADBETTER RD                                                 ASHLAND        VA           23005
          112                P.O. BOX 850803                                                     MESQUITE       TX           75185




2455538-1                                                                                        1.1(a) - 9
                                                                          Case 13-13220-KG                 Doc 506-1    Filed 03/17/14     Page 154 of 362


     ID         Epiq Contract No    Store Number        Case                                      Debtor                          Responsible Person                     Contract Counter Party
          113 NO COPY              65089           13-13259    TENT RESTAURANT OPERATIONS, INC.                                 DAVID HUYETT           WARWICK PLUMBING & HTG CORP & HEAT
          114 NO COPY              65061           13-13259    TENT RESTAURANT OPERATIONS, INC.                                 DAVID HUYETT           WEST CHESTER MECHANICAL CONTRACTORS INC
          115 NO COPY              65006           13-13259    TENT RESTAURANT OPERATIONS, INC.                                 DAVID HUYETT           YAMAS


          116 NO COPY              65035           13-13237    FOX AND HOUND OF INDIANA                                         GREG WALDO             CENTERPOINT ENERGY SERVICES INC




          117 NO COPY              65232           13-13237    FOX AND HOUND OF INDIANA                                         GREG WALDO             CENTERPOINT ENERGY SERVICES INC




          118 NO COPY              65205           13-13237    FOX AND HOUND OF INDIANA                                         GREG WALDO             CENTERPOINT ENERGY SERVICES INC




          119 NO COPY              65212           13-13224    CHAMPPS ENTERTAINMENT, INC                                       GREG WALDO             CHAMPION ENERGY SERVICES, LLC




          120 NO COPY              65211           13-13224    CHAMPPS ENTERTAINMENT, INC                                       GREG WALDO             CHAMPION ENERGY SERVICES, LLC




          121 NO COPY              65244           13-13224    CHAMPPS ENTERTAINMENT, INC                                       GREG WALDO             CHAMPION ENERGY SERVICES, LLC




          122 NO COPY              65023           13-13249    FOX AND HOUND RESTAURANT GROUP                                   GREG WALDO             CHAMPION ENERGY SERVICES, LLC




          123 NO COPY              65217           13-13224    CHAMPPS ENERTAINMENT INC                                         GREG WALDO             CONSTELLATION NEWENERGY GAS




          124 NO COPY              65038           13-13249    FOX AND HOUND RESTAURANT GROUP                                   GREG WALDO             CONSTELLATION NEWENERGY GAS




          125 NO COPY              65027           13-13249    FOX AND HOUND RESTAURANT GROUP                                   GREG WALDO             CONSTELLATION NEWENERGY GAS




          126 NO COPY              65249           13-13227    CHAMPPS OPERATING CORPORATION                                    GREG WALDO             CONSTELLATION NEWENERGY INC




2455538-1                                                                                                         1.1(a) - 10
                                                              Case 13-13220-KG                  Doc 506-1         Filed 03/17/14    Page 155 of 362


     ID                      Type of Contract                              Description of Contract                         Assume             Reject   Cure Amount   Contract No Date of ContractTermination Date
          113 SERVICE AGREEMENT                 HVAC PREVENTATIVE MAINTENANCE CONTRACT
          114 SERVICE AGREEMENT                 HVAC PREVENTATIVE MAINTENANCE CONTRACT
          115 SERVICE AGREEMENT                 HVAC PREVENTATIVE MAINTENANCE CONTRACT


          116 NATURAL GAS ENGERGY CONTRACT                                                                                                                                             1/1/2013      12/31/2014




          117 NATURAL GAS ENGERGY CONTRACT                                                                                                                                             1/1/2013      12/31/2014




          118 NATURAL GAS ENGERGY CONTRACT                                                                                                                                             1/1/2013      12/31/2014




          119 ELECTRICITY ENGERGY CONTRACT      LOCATION OF CONTRACT: 1827 OLENTANGY RIVER RD, COLUMBUS, OH 43212                                                                      7/1/2011      12/31/2013




          120 ELECTRICITY ENGERGY CONTRACT      LOCATION OF CONTRACT: 161 E. CAMPUS VIEW BLVD., COLUMBUS, OH 43235                                                                     7/1/2011      12/31/2013




          121 ELECTRICITY ENGERGY CONTRACT      LOCATION OF CONTRACT: 9424 CIVIC CENTER BLVD, WEST CHESTER, OH 45069                                                                   4/1/2013       10/1/2013




          122 ELECTRICITY ENGERGY CONTRACT      LOCATION OF CONTRACT: 250 MILLCREEK PLAZA, ERIE, PA 16565                                                                              1/1/2011      12/31/2013




          123 NATURAL GAS ENGERGY CONTRACT      LOCATION OF CONTRACT: 301 W BIG BEAVER RD, TROY, MI 48084                                                                              1/1/2013      12/31/2014




          124 NATURAL GAS ENGERGY CONTRACT      LOCATION OF CONTRACT: 22099 MICHIGAN AVE, CANTON, MI 48124                                                                             1/1/2013      12/31/2014




          125 NATURAL GAS ENGERGY CONTRACT      LOCATION OF CONTRACT: 1777 N CANTON CENTER RD, DEARBORN, MI 48187                                                                      1/1/2013      12/31/2014




          126 ELECTRICITY ENGERGY CONTRACT      LOCATION OF CONTRACT: 4737 CONCORD PIKE, STE 455, WILMINGTON, DE 19803                                                                12/7/2010       12/4/2013




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                                                              Case 13-13220-KG        Doc 506-1         Filed 03/17/14       Page 156 of 362


     ID          Attention                   Address 1        Address 2   Address 3   Address 4        City          State           Zip   Country   Email   Phone   Fax
                                                                                                  NEWPORT
          113                11048 WARWICK BLVD                                                                 VA           23601
                                                                                                  NEWS
          114                201 FULTON ST                                                        CHESTER       PA           19013
          115                157-A BROZZINI CT                                                    GREENVILLE    SC           29615
              TRADITION
                                                         CENTRAL TOWER,
          116 ENERGY, MICHAEL 5215 N O'CONNOR BLVD                                                LAS COLINAS   TX           75039
                                                         SUITE 470
              AYALA, CEC

              TRADITION
                                                         CENTRAL TOWER,
          117 ENERGY, MICHAEL 5215 N O'CONNOR BLVD                                                LAS COLINAS   TX           75039
                                                         SUITE 470
              AYALA, CEC

              TRADITION
                                                         CENTRAL TOWER,
          118 ENERGY, MICHAEL 5215 N O'CONNOR BLVD                                                LAS COLINAS   TX           75039
                                                         SUITE 470
              AYALA, CEC

              TRADITION
                                                         CENTRAL TOWER,
          119 ENERGY, MICHAEL 5215 N O'CONNOR BLVD                                                LAS COLINAS   TX           75039
                                                         SUITE 470
              AYALA, CEC

              TRADITION
                                                         CENTRAL TOWER,
          120 ENERGY, MICHAEL 5215 N O'CONNOR BLVD                                                LAS COLINAS   TX           75039
                                                         SUITE 470
              AYALA, CEC

              TRADITION
                                                         CENTRAL TOWER,
          121 ENERGY, MICHAEL 5215 N O'CONNOR BLVD                                                LAS COLINAS   TX           75039
                                                         SUITE 470
              AYALA, CEC

              TRADITION
                                                         CENTRAL TOWER,
          122 ENERGY, MICHAEL 5215 N O'CONNOR BLVD                                                LAS COLINAS   TX           75039
                                                         SUITE 470
              AYALA, CEC

              TRADITION
                                                         CENTRAL TOWER,
          123 ENERGY, MICHAEL 5215 N O'CONNOR BLVD                                                LAS COLINAS   TX           75039
                                                         SUITE 470
              AYALA, CEC

              TRADITION
                                                         CENTRAL TOWER,
          124 ENERGY, MICHAEL 5215 N O'CONNOR BLVD                                                LAS COLINAS   TX           75039
                                                         SUITE 470
              AYALA, CEC

              TRADITION
                                                         CENTRAL TOWER,
          125 ENERGY, MICHAEL 5215 N O'CONNOR BLVD                                                LAS COLINAS   TX           75039
                                                         SUITE 470
              AYALA, CEC

              TRADITION
                                                         CENTRAL TOWER,
          126 ENERGY, MICHAEL 5215 N O'CONNOR BLVD                                                LAS COLINAS   TX           75039
                                                         SUITE 470
              AYALA, CEC




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                                                                         Case 13-13220-KG               Doc 506-1    Filed 03/17/14     Page 157 of 362


     ID         Epiq Contract No    Store Number        Case                                   Debtor                          Responsible Person                    Contract Counter Party


          127 NO COPY              65016           13-13249    FOX & HOUND RESTAURANT GROUP                                  GREG WALDO             CONSTELLATION NEWENERGY INC




          128 NO COPY              65060           13-13249    FOX & HOUND RESTAURANT GROUP                                  GREG WALDO             CONSTELLATION NEWENERGY INC




          129 NO COPY              65060           13-13249    FOX & HOUND RESTAURANT GROUP                                  GREG WALDO             CONSTELLATION NEWENERGY INC




          130 NO COPY              65060           13-13249    FOX & HOUND RESTAURANT GROUP                                  GREG WALDO             CONSTELLATION NEWENERGY INC




          131 NO COPY              65055           13-13249    FOX & HOUND RESTAURANT GROUP                                  GREG WALDO             CONSTELLATION NEWENERGY INC




          132 NO COPY              65076           13-13249    FOX & HOUND RESTAURANT GROUP                                  GREG WALDO             CONSTELLATION NEWENERGY INC




          133 NO COPY              65248           13-13227    CHAMPPS OPERATING CORPORATION                                 GREG WALDO             CONSTELLATION NEWENERGY INC




          134 NO COPY              65252           13-13227    CHAMPPS OPERATING CORPORATION                                 GREG WALDO             CONSTELLATION NEWENERGY INC




          135 NO COPY              65252           13-13227    CHAMPPS OPERATING CORPORATION                                 GREG WALDO             CONSTELLATION NEWENERGY INC




          136 NO COPY              65230           13-13227    CHAMPPS OPERATING CORPORATION                                 GREG WALDO             CONSTELLATION NEWENERGY INC




          137 NO COPY              65221           13-13224    CHAMPPS ENTERTAINMENT INC                                     GREG WALDO             CONSTELLATION NEWENERGY INC




          138 NO COPY              65219           13-13224    CHAMPPS ENTERTAINMENT INC                                     GREG WALDO             CONSTELLATION NEWENERGY INC




2455538-1                                                                                                      1.1(a) - 13
                                                              Case 13-13220-KG                  Doc 506-1           Filed 03/17/14    Page 158 of 362


     ID                      Type of Contract                              Description of Contract                           Assume             Reject   Cure Amount   Contract No Date of ContractTermination Date


          127 ELECTRICITY ENGERGY CONTRACT      LOCATION OF CONTRACT: 4320 E NEW YORK AVE, AURORA, IL 60504                                                                            12/15/2010      12/16/2013




          128 ELECTRICITY ENGERGY CONTRACT      LOCATION OF CONTRACT: 916 W DUNDEE RD, ARLINGTON HEIGHTS, IL 60004                                                                     12/14/2010      12/13/2013




          129 ELECTRICITY ENGERGY CONTRACT      LOCATION OF CONTRACT: 918 W DUNDEE RD, ARLINGTON HEIGHTS, IL 60004                                                                     12/14/2010      12/13/2013




          130 ELECTRICITY ENGERGY CONTRACT      LOCATION OF CONTRACT: 910 W DUNDEE RD, ARLINGTON HEIGHTS, IL 60004                                                                     12/14/2010      12/13/2013




          131 ELECTRICITY ENGERGY CONTRACT      LOCATION OF CONTRACT: 1416 N ROSELLE RD, SCHAUMBURG, IL 60195                                                                          12/21/2010      12/20/2013




          132 ELECTRICITY ENGERGY CONTRACT      LOCATION OF CONTRACT: 370-420 W ARMY TRAIL RD, BLOOMINGDALE, IL 60108                                                                  12/27/2010      12/26/2013




          133 ELECTRICITY ENGERGY CONTRACT      LOCATION OF CONTRACT: 819 EASTVIEW MALL, VICTOR, NY 14564                                                                                2/1/2011      12/31/2013




          134 ELECTRICITY ENGERGY CONTRACT      LOCATION OF CONTRACT: 2100 COLUMBUS, PHILIDELPHIA, PA 19148                                                                              1/1/2011      12/31/2013




          135 ELECTRICITY ENGERGY CONTRACT      LOCATION OF CONTRACT: 51 TOWN CENTER DR, COLLEGEVILLE, PA 19426                                                                        11/14/2011       12/1/2013




          136 ELECTRICITY ENGERGY CONTRACT      LOCATION OF CONTRACT: 330 GODDARD, KING OF PRUSSIA, PA 19406                                                                             1/1/2011      12/31/2013




          137 ELECTRICITY ENGERGY CONTRACT      LOCATION OF CONTRACT: 1121 UPTOWN PARK BLVD #1, HOUSTON, TX 77056                                                                       9/28/2011      12/31/2013




          138 ELECTRICITY ENGERGY CONTRACT      LOCATION OF CONTRACT: 855 W JOHN CARPENTER FWY, IRVING, TX 75039                                                                        9/29/2011      12/31/2013




2455538-1                                                                                                     1.1(a) - 14
                                                             Case 13-13220-KG        Doc 506-1         Filed 03/17/14       Page 159 of 362


     ID          Attention                  Address 1        Address 2   Address 3   Address 4          City        State           Zip   Country   Email   Phone   Fax
              TRADITION
                                                        CENTRAL TOWER,
          127 ENERGY, MICHAEL 5215 N O'CONNOR BLVD                                               LAS COLINAS   TX           75039
                                                        SUITE 470
              AYALA, CEC

              TRADITION
                                                        CENTRAL TOWER,
          128 ENERGY, MICHAEL 5215 N O'CONNOR BLVD                                               LAS COLINAS   TX           75039
                                                        SUITE 470
              AYALA, CEC

              TRADITION
                                                        CENTRAL TOWER,
          129 ENERGY, MICHAEL 5215 N O'CONNOR BLVD                                               LAS COLINAS   TX           75039
                                                        SUITE 470
              AYALA, CEC

              TRADITION
                                                        CENTRAL TOWER,
          130 ENERGY, MICHAEL 5215 N O'CONNOR BLVD                                               LAS COLINAS   TX           75039
                                                        SUITE 470
              AYALA, CEC

              TRADITION
                                                        CENTRAL TOWER,
          131 ENERGY, MICHAEL 5215 N O'CONNOR BLVD                                               LAS COLINAS   TX           75039
                                                        SUITE 470
              AYALA, CEC

              TRADITION
                                                        CENTRAL TOWER,
          132 ENERGY, MICHAEL 5215 N O'CONNOR BLVD                                               LAS COLINAS   TX           75039
                                                        SUITE 470
              AYALA, CEC

              TRADITION
                                                        CENTRAL TOWER,
          133 ENERGY, MICHAEL 5215 N O'CONNOR BLVD                                               LAS COLINAS   TX           75039
                                                        SUITE 470
              AYALA, CEC

              TRADITION
                                                        CENTRAL TOWER,
          134 ENERGY, MICHAEL 5215 N O'CONNOR BLVD                                               LAS COLINAS   TX           75039
                                                        SUITE 470
              AYALA, CEC

              TRADITION
                                                        CENTRAL TOWER,
          135 ENERGY, MICHAEL 5215 N O'CONNOR BLVD                                               LAS COLINAS   TX           75039
                                                        SUITE 470
              AYALA, CEC

              TRADITION
                                                        CENTRAL TOWER,
          136 ENERGY, MICHAEL 5215 N O'CONNOR BLVD                                               LAS COLINAS   TX           75039
                                                        SUITE 470
              AYALA, CEC

              TRADITION
                                                        CENTRAL TOWER,
          137 ENERGY, MICHAEL 5215 N O'CONNOR BLVD                                               LAS COLINAS   TX           75039
                                                        SUITE 470
              AYALA, CEC

              TRADITION
                                                        CENTRAL TOWER,
          138 ENERGY, MICHAEL 5215 N O'CONNOR BLVD                                               LAS COLINAS   TX           75039
                                                        SUITE 470
              AYALA, CEC




2455538-1                                                                                        1.1(a) - 15
                                                                          Case 13-13220-KG               Doc 506-1    Filed 03/17/14     Page 160 of 362


     ID         Epiq Contract No    Store Number        Case                                    Debtor                          Responsible Person                    Contract Counter Party


          139 NO COPY              65221           13-13224    CHAMPPS ENTERTAINMENT INC                                      GREG WALDO             CONSTELLATION NEWENERGY INC




          140 NO COPY              65219           13-13224    CHAMPPS ENTERTAINMENT INC                                      GREG WALDO             CONSTELLATION NEWENERGY INC




          141 NO COPY              65040           13-13249    FOX AND HOUND RESTAURANT GROUP                                 GREG WALDO             CONSTELLATION NEWENERGY INC




          142 NO COPY              65052           13-13249    FOX AND HOUND RESTAURANT GROUP                                 GREG WALDO             CONSTELLATION NEWENERGY INC




          143 NO COPY              65042           13-13249    FOX AND HOUND RESTAURANT GROUP                                 GREG WALDO             CONSTELLATION NEWENERGY INC




          144 NO COPY              65008           13-13249    FOX AND HOUND RESTAURANT GROUP                                 GREG WALDO             CONSTELLATION NEWENERGY INC




          145 NO COPY              65004           13-13249    FOX AND HOUND RESTAURANT GROUP                                 GREG WALDO             CONSTELLATION NEWENERGY INC




          146 NO COPY              65094           13-13249    FOX AND HOUND RESTAURANT GROUP                                 GREG WALDO             CONSTELLATION NEWENERGY INC




          147 NO COPY              65036           13-13249    FOX AND HOUND RESTAURANT GROUP                                 GREG WALDO             CONSTELLATION NEWENERGY INC




          148 NO COPY              65056           13-13249    FOX AND HOUND RESTAURANT GROUP                                 GREG WALDO             CONSTELLATION NEWENERGY INC




          149 NO COPY              65056           13-13249    FOX AND HOUND RESTAURANT GROUP                                 GREG WALDO             CONSTELLATION NEWENERGY INC




          150 NO COPY              65060           13-13236    FOX & HOUND OF ILLINOIS INC                                    GREG WALDO             DIRECT ENERGY




2455538-1                                                                                                       1.1(a) - 16
                                                              Case 13-13220-KG                  Doc 506-1          Filed 03/17/14      Page 161 of 362


     ID                      Type of Contract                              Description of Contract                            Assume             Reject   Cure Amount   Contract No Date of ContractTermination Date


          139 ELECTRICITY ENGERGY CONTRACT      LOCATION OF CONTRACT: 1121 UPTOWN PARK BLVD #1, HOUSTON, TX 77056                                                                        12/9/2013       12/9/2015




          140 ELECTRICITY ENGERGY CONTRACT      LOCATION OF CONTRACT: 855 W JOHN CARPENTER FWY, IRVING, TX 75039                                                                          1/2/2014      12/31/2015




          141 ELECTRICITY ENGERGY CONTRACT      LOCATION OF CONTRACT: 1640 S STEMMONS FWY, LEWISVILLE, TX 75067                                                                         11/29/2013      12/31/2013




          142 ELECTRICITY ENGERGY CONTRACT      LOCATION OF CONTRACT: 112 W CAMPBELL RD, RICHARDSON, TX 75080                                                                           12/16/2013      12/15/2014




          143 ELECTRICITY ENGERGY CONTRACT      LOCATION OF CONTRACT: 6051 SW LOOP 820, FORT WORTH, TX 76132                                                                            12/11/2013      12/11/2014




          144 ELECTRICITY ENGERGY CONTRACT      LOCATION OF CONTRACT: 18918 MIDWAY RD, DALLAS, TX 75287                                                                                  12/9/2013       12/8/2014




          145 ELECTRICITY ENGERGY CONTRACT      LOCATION OF CONTRACT: 1001 NE GREEN OAKS BLVD, STE 139, ARLINGTON, TX 76006                                                              12/5/2013       12/5/2014




          146 ELECTRICITY ENGERGY CONTRACT      LOCATION OF CONTRACT: 17575 TOMBALL PKWY, HOUSTON, TX 77064                                                                             11/25/2013      11/25/2014




          147 ELECTRICITY ENGERGY CONTRACT      LOCATION OF CONTRACT: 11470 WESTHEIMER RD, HOUSTON, TX 77077                                                                             12/3/2013       12/3/2014




          148 ELECTRICITY ENGERGY CONTRACT      LOCATION OF CONTRACT: 12802 GULF FWY F, HOUSTON, TX 77034                                                                                1/14/2013        1/3/2014




          149 ELECTRICITY ENGERGY CONTRACT      LOCATION OF CONTRACT: 12802 GULF FWY A, HOUSTON, TX 77034                                                                                1/14/2013        1/3/2014




          150 NATURAL GAS ENGERGY CONTRACT      LOCATION OF CONTRACT: 910 W DUNDEE RD, ARLINGTON HEIGHTS, IL 60004                                                                        1/1/2013      12/31/2014




2455538-1                                                                                                   1.1(a) - 17
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     ID          Attention                  Address 1        Address 2   Address 3   Address 4          City        State           Zip   Country   Email   Phone   Fax
              TRADITION
                                                        CENTRAL TOWER,
          139 ENERGY, MICHAEL 5215 N O'CONNOR BLVD                                               LAS COLINAS   TX           75039
                                                        SUITE 470
              AYALA, CEC

              TRADITION
                                                        CENTRAL TOWER,
          140 ENERGY, MICHAEL 5215 N O'CONNOR BLVD                                               LAS COLINAS   TX           75039
                                                        SUITE 470
              AYALA, CEC

              TRADITION
                                                        CENTRAL TOWER,
          141 ENERGY, MICHAEL 5215 N O'CONNOR BLVD                                               LAS COLINAS   TX           75039
                                                        SUITE 470
              AYALA, CEC

              TRADITION
                                                        CENTRAL TOWER,
          142 ENERGY, MICHAEL 5215 N O'CONNOR BLVD                                               LAS COLINAS   TX           75039
                                                        SUITE 470
              AYALA, CEC

              TRADITION
                                                        CENTRAL TOWER,
          143 ENERGY, MICHAEL 5215 N O'CONNOR BLVD                                               LAS COLINAS   TX           75039
                                                        SUITE 470
              AYALA, CEC

              TRADITION
                                                        CENTRAL TOWER,
          144 ENERGY, MICHAEL 5215 N O'CONNOR BLVD                                               LAS COLINAS   TX           75039
                                                        SUITE 470
              AYALA, CEC

              TRADITION
                                                        CENTRAL TOWER,
          145 ENERGY, MICHAEL 5215 N O'CONNOR BLVD                                               LAS COLINAS   TX           75039
                                                        SUITE 470
              AYALA, CEC

              TRADITION
                                                        CENTRAL TOWER,
          146 ENERGY, MICHAEL 5215 N O'CONNOR BLVD                                               LAS COLINAS   TX           75039
                                                        SUITE 470
              AYALA, CEC

              TRADITION
                                                        CENTRAL TOWER,
          147 ENERGY, MICHAEL 5215 N O'CONNOR BLVD                                               LAS COLINAS   TX           75039
                                                        SUITE 470
              AYALA, CEC

              TRADITION
                                                        CENTRAL TOWER,
          148 ENERGY, MICHAEL 5215 N O'CONNOR BLVD                                               LAS COLINAS   TX           75039
                                                        SUITE 470
              AYALA, CEC

              TRADITION
                                                        CENTRAL TOWER,
          149 ENERGY, MICHAEL 5215 N O'CONNOR BLVD                                               LAS COLINAS   TX           75039
                                                        SUITE 470
              AYALA, CEC

              TRADITION
                                                        CENTRAL TOWER,
          150 ENERGY, MICHAEL 5215 N O'CONNOR BLVD                                               LAS COLINAS   TX           75039
                                                        SUITE 470
              AYALA, CEC




2455538-1                                                                                        1.1(a) - 18
                                                                          Case 13-13220-KG              Doc 506-1         Filed 03/17/14     Page 163 of 362


     ID         Epiq Contract No    Store Number        Case                                   Debtor                               Responsible Person                   Contract Counter Party


          151 NO COPY              65016           13-13236    FOX & HOUND OF ILLINOIS INC                                        GREG WALDO             DIRECT ENERGY




          152 NO COPY              65076           13-13236    FOX & HOUND OF ILLINOIS INC                                        GREG WALDO             DIRECT ENERGY




          153 NO COPY              65055           13-13236    FOX & HOUND OF ILLINOIS INC                                        GREG WALDO             DIRECT ENERGY




          154 NO COPY              65235           13-13237    FOX & HOUND OF INDIANA, INC DBA CHAMPPS OPERATING CORPORATION      GREG WALDO             DIRECT ENERGY




          155 NO COPY              65215           13-13237    FOX & HOUND OF INDIANA, INC DBA CHAMPPS OPERATING CORPORATION      GREG WALDO             DIRECT ENERGY




          156 NO COPY              65222           13-13237    FOX & HOUND OF INDIANA, INC DBA CHAMPPS OPERATING CORPORATION      GREG WALDO             DIRECT ENERGY




          157 NO COPY              65250           13-13237    FOX & HOUND OF INDIANA, INC DBA CHAMPPS OPERATING CORPORATION      GREG WALDO             DIRECT ENERGY




          158 NO COPY              65250           13-13227    CHAMPPS OPERATING CORPORATION                                      GREG WALDO             DIRECT ENERGY




          159 NO COPY              65235           13-13227    CHAMPPS OPERATING CORPORATION                                      GREG WALDO             DIRECT ENERGY




          160 NO COPY              65222           13-13227    CHAMPPS OPERATING CORPORATION                                      GREG WALDO             DIRECT ENERGY




          161 NO COPY              65215           13-13227    CHAMPPS OPERATING CORPORATION                                      GREG WALDO             DIRECT ENERGY




          162 NO COPY              65204           13-13227    CHAMPPS OPERATING CORPORATION                                      GREG WALDO             DIRECT ENERGY




2455538-1                                                                                                           1.1(a) - 19
                                                              Case 13-13220-KG                  Doc 506-1          Filed 03/17/14    Page 164 of 362


     ID                      Type of Contract                              Description of Contract                          Assume             Reject   Cure Amount   Contract No Date of ContractTermination Date


          151 NATURAL GAS ENGERGY CONTRACT      LOCATION OF CONTRACT: 4320 E NEW YORK ST, AURORA, IL 60504                                                                              1/1/2013      12/31/2014




          152 NATURAL GAS ENGERGY CONTRACT      LOCATION OF CONTRACT: 370 W ARMY TRAIL RD, BLOOMINGDALE, IL 60108                                                                       1/1/2013      12/31/2014




          153 NATURAL GAS ENGERGY CONTRACT      LOCATION OF CONTRACT: 1416 N ROSELLE RD, SCHAUMBURG, IL 60195                                                                           1/1/2013      12/31/2014




          154 NATURAL GAS ENGERGY CONTRACT      LOCATION OF CONTRACT: 275 PARKWAY DR., LINCOLNSHIRE, IL 60069                                                                           1/1/2014      12/31/2015




          155 NATURAL GAS ENGERGY CONTRACT      LOCATION OF CONTRACT: 955 E. GOLF ROAD, SCHAUMBURG, IL 60173                                                                            1/1/2014      12/31/2015




          156 NATURAL GAS ENGERGY CONTRACT      LOCATION OF CONTRACT: 2301 FOUNTAIN SQUARE DRIVE, LOMBARD, IL 60148                                                                     1/1/2014      12/31/2015




          157 NATURAL GAS ENGERGY CONTRACT      LOCATION OF CONTRACT: 16165 S LAGRANGE RD, ORLAND PARK, IL 60467                                                                        1/1/2014      12/31/2015




          158 ELECTRICITY ENGERGY CONTRACT      LOCATION OF CONTRACT: 16165 LAGRANGE RD, ORLAND PARK, IL 60467                                                                         10/1/2011      12/31/2013




          159 ELECTRICITY ENGERGY CONTRACT      LOCATION OF CONTRACT: 275 PARKWAY DR, LINCOLNSHIRE, IL 60069                                                                           10/1/2011      12/31/2013




          160 ELECTRICITY ENGERGY CONTRACT      LOCATION OF CONTRACT: 2301 FOUNTAIN SQUARE DR, LOMBARD, IL 60148                                                                       10/1/2011      12/31/2013




          161 ELECTRICITY ENGERGY CONTRACT      LOCATION OF CONTRACT: 955 EAST GOLF RD, SCHAUMBURG, IL 60173                                                                           10/1/2011      12/31/2013




          162 ELECTRICITY ENGERGY CONTRACT      LOCATION OF CONTRACT: 25 ROUTE 73 S, MARLTON, NJ 08035                                                                                 10/1/2011       7/31/2013




2455538-1                                                                                                    1.1(a) - 20
                                                             Case 13-13220-KG        Doc 506-1         Filed 03/17/14       Page 165 of 362


     ID          Attention                  Address 1        Address 2   Address 3   Address 4          City        State           Zip   Country   Email   Phone   Fax
              TRADITION
                                                        CENTRAL TOWER,
          151 ENERGY, MICHAEL 5215 N O'CONNOR BLVD                                               LAS COLINAS   TX           75039
                                                        SUITE 470
              AYALA, CEC

              TRADITION
                                                        CENTRAL TOWER,
          152 ENERGY, MICHAEL 5215 N O'CONNOR BLVD                                               LAS COLINAS   TX           75039
                                                        SUITE 470
              AYALA, CEC

              TRADITION
                                                        CENTRAL TOWER,
          153 ENERGY, MICHAEL 5215 N O'CONNOR BLVD                                               LAS COLINAS   TX           75039
                                                        SUITE 470
              AYALA, CEC

              TRADITION
                                                        CENTRAL TOWER,
          154 ENERGY, MICHAEL 5215 N O'CONNOR BLVD                                               LAS COLINAS   TX           75039
                                                        SUITE 470
              AYALA, CEC

              TRADITION
                                                        CENTRAL TOWER,
          155 ENERGY, MICHAEL 5215 N O'CONNOR BLVD                                               LAS COLINAS   TX           75039
                                                        SUITE 470
              AYALA, CEC

              TRADITION
                                                        CENTRAL TOWER,
          156 ENERGY, MICHAEL 5215 N O'CONNOR BLVD                                               LAS COLINAS   TX           75039
                                                        SUITE 470
              AYALA, CEC

              TRADITION
                                                        CENTRAL TOWER,
          157 ENERGY, MICHAEL 5215 N O'CONNOR BLVD                                               LAS COLINAS   TX           75039
                                                        SUITE 470
              AYALA, CEC

              TRADITION
                                                        CENTRAL TOWER,
          158 ENERGY, MICHAEL 5215 N O'CONNOR BLVD                                               LAS COLINAS   TX           75039
                                                        SUITE 470
              AYALA, CEC

              TRADITION
                                                        CENTRAL TOWER,
          159 ENERGY, MICHAEL 5215 N O'CONNOR BLVD                                               LAS COLINAS   TX           75039
                                                        SUITE 470
              AYALA, CEC

              TRADITION
                                                        CENTRAL TOWER,
          160 ENERGY, MICHAEL 5215 N O'CONNOR BLVD                                               LAS COLINAS   TX           75039
                                                        SUITE 470
              AYALA, CEC

              TRADITION
                                                        CENTRAL TOWER,
          161 ENERGY, MICHAEL 5215 N O'CONNOR BLVD                                               LAS COLINAS   TX           75039
                                                        SUITE 470
              AYALA, CEC

              TRADITION
                                                        CENTRAL TOWER,
          162 ENERGY, MICHAEL 5215 N O'CONNOR BLVD                                               LAS COLINAS   TX           75039
                                                        SUITE 470
              AYALA, CEC




2455538-1                                                                                        1.1(a) - 21
                                                                             Case 13-13220-KG                  Doc 506-1          Filed 03/17/14     Page 166 of 362


     ID           Epiq Contract No    Store Number        Case                                      Debtor                                  Responsible Person                   Contract Counter Party


          163 NO COPY                65073           13-13249    FOX & HOUND RESTAURANT GROUP                                             GREG WALDO             DIRECT ENERGY




          164 11.00                  CORPORATE       13-13224    CHAMPS ENTERTAINMENT, INC                                                GREG WALDO             DIRECTV, LLC




          165 12.00                  CORPORATE       13-13249    FOX & HOUND RESTAURANT GROUP                                             GREG WALDO             DIRECTV, LLC


          166   NO COPY              65005           13-13248    F&H RESTAURANTS OF TEXAS                                                 GREG WALDO             ECOLAB INC
          167   NO COPY              65003           13-13259    TENT RESTAURANT OPERATIONS                                               GREG WALDO             ECOLAB INC
          168   NO COPY              65007           13-13259    TENT RESTAURANT OPERATIONS                                               GREG WALDO             ECOLAB INC
          169   NO COPY              65009           13-13259    TENT RESTAURANT OPERATIONS                                               GREG WALDO             ECOLAB INC
          170   NO COPY              65010           13-13259    TENT RESTAURANT OPERATIONS                                               GREG WALDO             ECOLAB INC
                                                                 N. COLLINS ENTERTAINMENT, LTD. (for the benefit of TENT RESTAURANT
          171 NO COPY                65002           13-13259                                                                             GREG WALDO             ECOLAB INC
                                                                 OPERATIONS, INC.)
          172 NO COPY                65027           13-13259    TENT RESTAURANT OPERATIONS                                               GREG WALDO             ECOLAB INC
          173 NO COPY                65004           13-13254    N. COLLINS ENTERTAINMENT, LTD.                                           GREG WALDO             ECOLAB INC
          174 NO COPY                65039           13-13246    FOX & HOUND OF OHIO                                                      GREG WALDO             ECOLAB INC
                                                                 N. COLLINS ENTERTAINMENT, LTD. (for the benefit of TENT RESTAURANT
          175 NO COPY                65023           13-13259                                                                             GREG WALDO             ECOLAB INC
                                                                 OPERATIONS, INC.)
          176   NO COPY              65042           13-13248    F&H RESTAURANTS OF TEXAS                                                 GREG WALDO             ECOLAB INC
          177   NO COPY              65228           13-13227    CHAMPPS OPERATING CORP                                                   GREG WALDO             ECOLAB INC
          178   NO COPY              65035           13-13237    FOX & HOUND OF INDIANA                                                   GREG WALDO             ECOLAB INC
          179   NO COPY              65231           13-13226    CHAMPPS OF MARYLAND                                                      GREG WALDO             ECOLAB INC
          180   NO COPY              65205           13-13227    CHAMPPS OPERATING CORP                                                   GREG WALDO             ECOLAB INC
          181   NO COPY              65205           13-13227    CHAMPPS OPERATING CORP                                                   GREG WALDO             ECOLAB INC
          182   NO COPY              65044           13-13230    F&H OF KENNESAW                                                          GREG WALDO             ECOLAB INC
          183   NO COPY              65050           13-13234    FOX & HOUND OF ARIZONA                                                   GREG WALDO             ECOLAB INC
          184   NO COPY              65049           13-13235    FOX & HOUND OF COLORADO                                                  GREG WALDO             ECOLAB INC
          185   NO COPY              65016           13-13236    FOX & HOUND OF ILLINOIS                                                  GREG WALDO             ECOLAB INC
          186   NO COPY              65205           13-13227    CHAMPPS OPERATING CORP                                                   GREG WALDO             ECOLAB INC
          187   NO COPY              65014           13-13259    TENT RESTAURANT OPERATIONS                                               GREG WALDO             ECOLAB INC
          188   NO COPY              65052           13-13248    F&H RESTAURANTS OF TEXAS                                                 GREG WALDO             ECOLAB INC
          189   NO COPY              65235           13-13227    CHAMPPS OPERATING CORP                                                   GREG WALDO             ECOLAB INC
          190   NO COPY              65235           13-13227    CHAMPPS OPERATING CORP                                                   GREG WALDO             ECOLAB INC
          191   NO COPY              65055           13-13236    FOX & HOUND OF ILLINOIS                                                  GREG WALDO             ECOLAB INC
          192   NO COPY              65036           13-13248    F&H RESTAURANTS OF TEXAS                                                 GREG WALDO             ECOLAB INC
          193   NO COPY              65057           13-13234    FOX & HOUND OF ARIZONA                                                   GREG WALDO             ECOLAB INC
          194   NO COPY              65043           13-13248    F&H RESTAURANTS OF TEXAS                                                 GREG WALDO             ECOLAB INC
          195   NO COPY              65056           13-13248    F&H RESTAURANTS OF TEXAS                                                 GREG WALDO             ECOLAB INC
          196   NO COPY              65220           13-13227    CHAMPPS OPERATING CORP                                                   GREG WALDO             ECOLAB INC
          197   NO COPY              65220           13-13227    CHAMPSS OPERATING CORP                                                   GREG WALDO             ECOLAB INC
          198   NO COPY              65246           13-13227    CHAMPPS OPERATING CORP                                                   GREG WALDO             ECOLAB INC
          199   NO COPY              65243           13-13227    CHAMPPS OPERATING CORP                                                   GREG WALDO             ECOLAB INC



2455538-1                                                                                                                   1.1(a) - 22
                                                                Case 13-13220-KG                  Doc 506-1          Filed 03/17/14    Page 167 of 362


     ID                        Type of Contract                              Description of Contract                          Assume             Reject   Cure Amount   Contract No Date of ContractTermination Date


          163 ELECTRICITY ENGERGY CONTRACT        LOCATION OF CONTRACT: 55 PARSONAGE RD, EDISON, NJ 08837                                                                                10/1/2011       7/31/2013




          164 SERVICE AGREEMENT                   DIRECTV NATIONAL ACCOUNT COMMERCIAL VIEWING AGREEMENT                                                                                  4/15/2010




          165 SERVICE AGREEMENT                   DIRECTV NATIONAL ACCOUNT COMMERCIAL VIEWING AGREEMENT                                                                                   4/5/2010


          166   EQUIPMENT LEASE AGREEMENT         ECOLAB ACCT 014785992, COMPONENT ID   ES2000, SERIAL NBR ES29032                                                      1A787            7/28/1994       1/28/2000
          167   EQUIPMENT LEASE AGREEMENT         ECOLAB ACCT 018086033, COMPONENT ID   ES2000, SERIAL NBR ES28321                                                      1A787             3/8/2000        3/8/2000
          168   EQUIPMENT LEASE AGREEMENT         ECOLAB ACCT 018086116, COMPONENT ID   ES2000, SERIAL NBR ES23498                                                      1A787             3/8/2000        3/8/2000
          169   EQUIPMENT LEASE AGREEMENT         ECOLAB ACCT 018086132, COMPONENT ID   ES2000, SERIAL NBR ES30537                                                      1A787             3/8/2000        3/8/2000
          170   EQUIPMENT LEASE AGREEMENT         ECOLAB ACCT 018086165, COMPONENT ID   ES2000, SERIAL NBR ES22946                                                      1A787             3/8/2000        3/8/2000
          171 EQUIPMENT LEASE AGREEMENT           ECOLAB ACCT 018086066, COMPONENT ID ES2000, SERIAL NBR ES28049                                                        1A787            3/16/2000       3/16/2000
          172 EQUIPMENT LEASE AGREEMENT           ECOLAB ACCT 017993403, COMPONENT ID ES2000, SERIAL NBR ES27258                                                        1A787            3/23/2000       3/23/2000
          173 EQUIPMENT LEASE AGREEMENT           ECOLAB ACCT 014660328, COMPONENT ID ES2000, SERIAL NBR ES28745                                                        1A787            6/20/1994        4/2/2000
          174 EQUIPMENT LEASE AGREEMENT           ECOLAB ACCT 018465435, COMPONENT ID ES2000, SERIAL NBR ES22366                                                        1A787            10/6/2000       10/6/2000
          175 EQUIPMENT LEASE AGREEMENT           ECOLAB ACCT 017748732, COMPONENT ID ES2000, SERIAL NBR ES11060                                                        1A787           11/26/2000      11/26/2000
          176   EQUIPMENT LEASE AGREEMENT         ECOLAB ACCT 018720086, COMPONENT ID   ES2000, SERIAL NBR ES30559                                                      1A787             3/4/2001        3/4/2001
          177   EQUIPMENT LEASE AGREEMENT         ECOLAB ACCT 018778951, COMPONENT ID   WH44, SERIAL NBR J7746WH                                                        13481            4/20/2001       4/20/2001
          178   EQUIPMENT LEASE AGREEMENT         ECOLAB ACCT 017560038, COMPONENT ID   ES2000, SERIAL NBR ES9012                                                       1A787            8/27/2001        8/9/2001
          179   EQUIPMENT LEASE AGREEMENT         ECOLAB ACCT 018993972, COMPONENT ID   WH44, SERIAL NBR J8195WH                                                        13481            9/15/2001       9/15/2001
          180   EQUIPMENT LEASE AGREEMENT         ECOLAB ACCT 019039007, COMPONENT ID   WH44, SERIAL NBR J8378WH                                                        13481           10/10/2001      10/10/2001
          181   EQUIPMENT LEASE AGREEMENT         ECOLAB ACCT 019039007, COMPONENT ID   BOOSTER, SERIAL NBR 3128910643                                                  13481           10/10/2001      10/10/2001
          182   EQUIPMENT LEASE AGREEMENT         ECOLAB ACCT 019144302, COMPONENT ID   ES2000, SERIAL NBR ES39298                                                      1A787           11/20/2001      11/20/2001
          183   EQUIPMENT LEASE AGREEMENT         ECOLAB ACCT 019214188, COMPONENT ID   ES4000, SERIAL NBR ES55825                                                      1A787             1/2/2002        4/2/2002
          184   EQUIPMENT LEASE AGREEMENT         ECOLAB ACCT 019392950, COMPONENT ID   ES2000, SERIAL NBR ES140845                                                     1A787            4/17/2002       4/17/2002
          185   EQUIPMENT LEASE AGREEMENT         ECOLAB ACCT 018116921, COMPONENT ID   ES2000, SERIAL NBR ES23534                                                      1A787            5/29/2002       5/29/2002
          186   EQUIPMENT LEASE AGREEMENT         ECOLAB ACCT 015404254, COMPONENT ID   WH44, SERIAL NBR J9166WH                                                        13481            6/11/2002       6/11/2002
          187   EQUIPMENT LEASE AGREEMENT         ECOLAB ACCT 018105262, COMPONENT ID   ES2000, SERIAL NBR ES28514                                                      1A787            6/21/2002       6/14/2002
          188   EQUIPMENT LEASE AGREEMENT         ECOLAB ACCT 019486729, COMPONENT ID   ES2000, SERIAL NBR ES141923                                                     1A787            6/19/2002       6/19/2002
          189   EQUIPMENT LEASE AGREEMENT         ECOLAB ACCT 019522168, COMPONENT ID   WH44, SERIAL NBR J9344WH                                                        13481            7/11/2002       7/16/2002
          190   EQUIPMENT LEASE AGREEMENT         ECOLAB ACCT 019522168, COMPONENT ID   BOOSTER, SERIAL NBR 4603390747                                                  13481            7/11/2002       7/16/2002
          191   EQUIPMENT LEASE AGREEMENT         ECOLAB ACCT 019557842, COMPONENT ID   ES2000, SERIAL NBR ES142473                                                     1A787            8/23/2002       8/27/2002
          192   EQUIPMENT LEASE AGREEMENT         ECOLAB ACCT 017407495, COMPONENT ID   ES2000, SERIAL NBR ES38572                                                      1A787           10/16/2002      10/16/2002
          193   EQUIPMENT LEASE AGREEMENT         ECOLAB ACCT 019585896, COMPONENT ID   ES4000, SERIAL NBR ES56377                                                      1A787           10/29/2002       12/7/2002
          194   EQUIPMENT LEASE AGREEMENT         ECOLAB ACCT 019303882, COMPONENT ID   OMEGA 5, SERIAL NBR GW2249                                                      1A787            2/27/2002       1/12/2003
          195   EQUIPMENT LEASE AGREEMENT         ECOLAB ACCT 019599493, COMPONENT ID   ES2000, SERIAL NBR ES26128                                                      1A787            1/24/2003       1/24/2003
          196   EQUIPMENT LEASE AGREEMENT         ECOLAB ACCT 017270406, COMPONENT ID   WH44, SERIAL NBR J9863WH                                                        13481            1/29/2003       1/29/2003
          197   EQUIPMENT LEASE AGREEMENT         ECOLAB ACCT 017270406, COMPONENT ID   BOOSTER, SERIAL NBR 7681811026                                                  13481            1/29/2003       1/29/2003
          198   EQUIPMENT LEASE AGREEMENT         ECOLAB ACCT 019603702, COMPONENT ID   WH44, SERIAL NBR J10180WH                                                       13481            3/26/2003       3/26/2003
          199   EQUIPMENT LEASE AGREEMENT         ECOLAB ACCT 019619973, COMPONENT ID   WH44, SERIAL NBR J10595WH                                                       13481             7/3/2003        7/3/2003



2455538-1                                                                                                     1.1(a) - 23
                                                                Case 13-13220-KG        Doc 506-1         Filed 03/17/14       Page 168 of 362


     ID           Attention                    Address 1        Address 2   Address 3   Address 4          City        State           Zip   Country   Email   Phone   Fax
              TRADITION
                                                           CENTRAL TOWER,
          163 ENERGY, MICHAEL 5215 N O'CONNOR BLVD                                                  LAS COLINAS   TX           75039
                                                           SUITE 470
              AYALA, CEC

              VICE PRESIDENT,
          164 SALE &            2230 E IMPERIAL HIGHWAY                                             EL SEGUNDO    CA           90245
              DISTRIBUTION

              VICE PRESIDENT,
          165 SALE &            2230 E IMPERIAL HIGHWAY                                             EL SEGUNDO    CA           90245
              DISTRIBUTION
          166                   370 N WABASHA STREET                                                ST. PAUL      MN           55102-2233
          167                   370 N WABASHA STREET                                                ST. PAUL      MN           55102-2233
          168                   370 N WABASHA STREET                                                ST. PAUL      MN           55102-2233
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          199                   370 N WABASHA STREET                                                ST. PAUL      MN           55102-2233



2455538-1                                                                                           1.1(a) - 24
                                                                             Case 13-13220-KG                  Doc 506-1          Filed 03/17/14      Page 169 of 362


     ID           Epiq Contract No    Store Number        Case                                       Debtor                                  Responsible Person                Contract Counter Party
          200   NO COPY              65028           13-13259    TENT RESTAURANT OPERATIONS                                               GREG WALDO              ECOLAB INC
          201   NO COPY              65063           13-13245    FOX & HOUND OF NEW MEXICO                                                GREG WALDO              ECOLAB INC
          202   NO COPY              65241           13-13227    CHAMPPS OPERATING CORP                                                   GREG WALDO              ECOLAB INC
          203   NO COPY              65250           13-13227    CHAMPPS OPERATING CORP                                                   GREG WALDO              ECOLAB INC
          204   NO COPY              65070           13-13259    TENT RESTAURANT OPERATIONS                                               GREG WALDO              ECOLAB INC
          205   NO COPY              65073           13-13244    FOX & HOUND OF NEW JERSEY                                                GREG WALDO              ECOLAB INC
          206   NO COPY              65074           13-13259    TENT RESTAURANT OPERATIONS                                               GREG WALDO              ECOLAB INC
          207   NO COPY              65075           13-13247    FOX & HOUND OF OKLAHMA                                                   GREG WALDO              ECOLAB INC
          208   NO COPY              65076           13-13236    FOX & HOUND OF ILLINOIS                                                  GREG WALDO              ECOLAB INC
          209   NO COPY              65078           13-13259    TENT RESTAURANT OPERATIONS                                               GREG WALDO              ECOLAB INC
          210   NO COPY              65077           13-13259    TENT RESTAURANT OPERATIONS                                               GREG WALDO              ECOLAB INC
          211   NO COPY              65252           13-13227    CHAMPPS OPERATING CORP                                                   GREG WALDO              ECOLAB INC
          212   NO COPY              65252           13-13227    CHAMPPS OPERATING CORP                                                   GREG WALDO              ECOLAB INC
          213   NO COPY              65217           13-13227    CHAMPPS OPERATING CORP                                                   GREG WALDO              ECOLAB INC
          214   NO COPY              65245           13-13227    CHAMPPS OPERATING CORP                                                   GREG WALDO              ECOLAB INC
          215   NO COPY              65079           13-13237    FOX & HOUND OF INDIANA                                                   GREG WALDO              ECOLAB INC
          216   NO COPY              65030           13-13246    FOX & HOUND OF OHIO                                                      GREG WALDO              ECOLAB INC
          217   NO COPY              65080           13-13259    TENT RESTAURANT OPERATIONS                                               GREG WALDO              ECOLAB INC
          218   NO COPY              65083           13-13259    TENT RESTAURANT OPERATIONS                                               GREG WALDO              ECOLAB INC
          219   NO COPY              65207           13-13227    CHAMPPS OPERATING CORP                                                   GREG WALDO              ECOLAB INC
          220   NO COPY              65084           13-13222    ALABAMA FOX & HOUND                                                      GREG WALDO              ECOLAB INC
          221   NO COPY              65082           13-13242    FOX & HOUND OF MARYLAND                                                  GREG WALDO              ECOLAB INC
          222   NO COPY              65203           13-13227    CHAMPPS OPERATING CORP                                                   GREG WALDO              ECOLAB INC
          224   NO COPY              65209           13-13227    CHAMPPS OPERATING CORP                                                   GREG WALDO              ECOLAB INC
          225   NO COPY              65209           13-13227    CHAMPPS OPERATING CORP                                                   GREG WALDO              ECOLAB INC
          226   NO COPY              65062           13-13259    TENT RESTAURANT OPERATIONS                                               GREG WALDO              ECOLAB INC
          227   NO COPY              65015           13-13243    FOX & HOUND OF NEBRASKA                                                  GREG WALDO              ECOLAB INC
          228   NO COPY              65086           13-13259    TENT RESTAURANT OPERATIONS                                               GREG WALDO              ECOLAB INC
                                                                 N. COLLINS ENTERTAINMENT, LTD. (for the benefit of TENT RESTAURANT
          229 NO COPY                65002           13-13259                                                                             GREG WALDO              ECOLAB INC
                                                                 OPERATIONS, INC.)
          230   NO COPY              65087           13-13259    TENT RESTAURANT OPERATIONS                                               GREG WALDO              ECOLAB INC
          231   NO COPY              65088           13-13259    TENT RESTAURANT OPERATIONS                                               GREG WALDO              ECOLAB INC
          232   NO COPY              65089           13-13259    TENT RESTAURANT OPERATIONS                                               GREG WALDO              ECOLAB INC
          233   NO COPY              65091           13-13246    FOX & HOUND OF OHIO                                                      GREG WALDO              ECOLAB INC
          234   NO COPY              65094           13-13225    CHAMPPS ENTERTAINMENT OF TX                                              GREG WALDO              ECOLAB INC
          235   NO COPY              65219           13-13225    CHAMPPS ENTERTAINMENT OF TX                                              GREG WALDO              ECOLAB INC
          236   NO COPY              65219           13-13225    CHAMPPS ENTERTAINMENT OF TX                                              GREG WALDO              ECOLAB INC
          237   NO COPY              65093           13-13259    FOX & HOUND PUB & GRILL                                                  GREG WALDO              ECOLAB INC
          238   NO COPY              65031           13-13259    TENT RESTAURANT OPERATIONS                                               GREG WALDO              ECOLAB INC
          239   NO COPY              65093           13-13259    TENT RESTAURANT OPERATIONS                                               GREG WALDO              ECOLAB INC
          240   NO COPY              65083           13-13259    TENT RESTAURANT OPERATIONS                                               GREG WALDO              ECOLAB INC
          241   NO COPY              65047           13-13259    TENT RESTAURANT OPERATIONS                                               GREG WALDO              ECOLAB INC
          242   NO COPY              65077           13-13259    TENT RESTAURANT OPERATIONS                                               GREG WALDO              ECOLAB INC
          243   NO COPY              65070           13-13259    TENT RESTAURANT OPERATIONS                                               GREG WALDO              ECOLAB INC
          244   NO COPY              65204           13-13254    N. COLLINS ENTERTAINMENT, LTD.                                           GREG WALDO              ECOLAB INC
          245   NO COPY              65047           13-13259    TENT RESTAURANT OPERATIONS                                               GREG WALDO              ECOLAB INC
          246   NO COPY              65094           13-13248    F&H RESTAURANTS OF TEXAS                                                 GREG WALDO              ECOLAB INC
          247   NO COPY              65094           13-13248    F&H RESTAURANTS OF TEXAS                                                 GREG WALDO              ECOLAB INC



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                                                                Case 13-13220-KG                 Doc 506-1          Filed 03/17/14    Page 170 of 362


     ID                         Type of Contract                             Description of Contract                         Assume             Reject   Cure Amount   Contract No Date of ContractTermination Date
          200   EQUIPMENT LEASE AGREEMENT          ECOLAB ACCT 017501230, COMPONENT ID ES2000, SERIAL NBR ES145744                                                     1A787              3/7/2000       7/5/2003
          201   EQUIPMENT LEASE AGREEMENT          ECOLAB ACCT 019633674, COMPONENT ID ES2000, SERIAL NBR ES5176                                                       1A787            8/27/2003       8/27/2003
          202   EQUIPMENT LEASE AGREEMENT          ECOLAB ACCT 019617980, COMPONENT ID WH44, SERIAL NBR J7418WH                                                        13481            11/4/2003       11/4/2003
          203   EQUIPMENT LEASE AGREEMENT          ECOLAB ACCT 019664990, COMPONENT ID WH44, SERIAL NBR J11218WH                                                       13481            3/26/2004       3/26/2004
          204   EQUIPMENT LEASE AGREEMENT          ECOLAB ACCT 019662815, COMPONENT ID ES4000, SERIAL NBR ES53226                                                      1A787            4/27/2004       4/27/2004
          205   EQUIPMENT LEASE AGREEMENT          ECOLAB ACCT 019668657, COMPONENT ID ES4000, SERIAL NBR ES54248                                                      1A787            6/15/2004       6/15/2004
          206   EQUIPMENT LEASE AGREEMENT          ECOLAB ACCT 019662813, COMPONENT ID ES4000, SERIAL NBR ES52235                                                      1A787              7/1/2004       7/1/2004
          207   EQUIPMENT LEASE AGREEMENT          ECOLAB ACCT 019666475, COMPONENT ID ES4000, SERIAL NBR ES57332                                                      1A787              7/6/2004       7/6/2004
          208   EQUIPMENT LEASE AGREEMENT          ECOLAB ACCT 019681953, COMPONENT ID ES4000, SERIAL NBR ES57563                                                      1A787              9/7/2004       9/7/2004
          209   EQUIPMENT LEASE AGREEMENT          ECOLAB ACCT 019679443, COMPONENT ID ES4000, SERIAL NBR ES53574                                                      1A787            9/18/2004       9/18/2004
          210   EQUIPMENT LEASE AGREEMENT          ECOLAB ACCT 019691827, COMPONENT ID ES4000, SERIAL NBR ES55156                                                      1A787           10/15/2004      10/15/2004
          211   EQUIPMENT LEASE AGREEMENT          ECOLAB ACCT 019702024, COMPONENT ID WH44, SERIAL NBR J12381WH                                                       13481           10/26/2004      10/26/2004
          212   EQUIPMENT LEASE AGREEMENT          ECOLAB ACCT 019702024, COMPONENT ID BOOSTER, SERIAL NBR 486852080A                                                  13481           10/26/2004      10/26/2004
          213   EQUIPMENT LEASE AGREEMENT          ECOLAB ACCT 016972671, COMPONENT ID WH44, SERIAL NBR J10082WH                                                       13481            5/16/2002       12/3/2004
          214   EQUIPMENT LEASE AGREEMENT          ECOLAB ACCT 019709904, COMPONENT ID WH44, SERIAL NBR J12600WH                                                       13481            12/9/2004       12/9/2004
          215   EQUIPMENT LEASE AGREEMENT          ECOLAB ACCT 019713114, COMPONENT ID ES4000, SERIAL NBR ES52394                                                      1A787              3/5/2005       3/5/2005
          216   EQUIPMENT LEASE AGREEMENT          ECOLAB ACCT 017820390, COMPONENT ID ES2000, SERIAL NBR ES18565                                                      1A787            4/26/2005       4/26/2005
          217   EQUIPMENT LEASE AGREEMENT          ECOLAB ACCT 019713164, COMPONENT ID ES4000, SERIAL NBR ES57706                                                      1A787            4/30/2005       4/30/2005
          218   EQUIPMENT LEASE AGREEMENT          ECOLAB ACCT 019725708, COMPONENT ID ES4000, SERIAL NBR ES57804                                                      1A787              5/5/2005       5/5/2005
          219   EQUIPMENT LEASE AGREEMENT          ECOLAB ACCT 015673668, COMPONENT ID WH44, SERIAL NBR J13059WH                                                       13481            5/12/2005       5/12/2005
          220   EQUIPMENT LEASE AGREEMENT          ECOLAB ACCT 019711256, COMPONENT ID ES4000, SERIAL NBR ES55703                                                      1A787            5/13/2005       5/13/2005
          221   EQUIPMENT LEASE AGREEMENT          ECOLAB ACCT 019725423, COMPONENT ID ES4000, SERIAL NBR ES58007                                                      1A787            5/14/2005       5/25/2005
          222   EQUIPMENT LEASE AGREEMENT          ECOLAB ACCT 015176233, COMPONENT ID WH44, SERIAL NBR J13277WH                                                       13481            5/13/2002       6/14/2005
          224   EQUIPMENT LEASE AGREEMENT          ECOLAB ACCT 012634432, COMPONENT ID WH44, SERIAL NBR J9269WH                                                        13481           11/28/1989       7/28/2005
          225   EQUIPMENT LEASE AGREEMENT          ECOLAB ACCT 012634432, COMPONENT ID BOOSTER, SERIAL NBR 8460421106                                                  13481           11/28/1989       7/28/2005
          226   EQUIPMENT LEASE AGREEMENT          ECOLAB ACCT 019603568, COMPONENT ID OMEGA 5, SERIAL NBR GW4244                                                      1A787              5/7/2003      8/23/2005
          227   EQUIPMENT LEASE AGREEMENT          ECOLAB ACCT 016701054, COMPONENT ID ES2000, SERIAL NBR ES25866                                                      1A787              9/2/2005       9/2/2005
          228   EQUIPMENT LEASE AGREEMENT          ECOLAB ACCT 019744993, COMPONENT ID ES4000, SERIAL NBR ES55868                                                      1A787            9/15/2005       9/15/2005
          229 EQUIPMENT LEASE AGREEMENT            ECOLAB ACCT 018086066, COMPONENT ID OMEGA 5, SERIAL NBR GW4443                                                      1A787             3/16/2000     10/28/2005
          230   EQUIPMENT LEASE AGREEMENT          ECOLAB ACCT 019762776, COMPONENT ID   ES4000, SERIAL NBR ES58243                                                    1A787            11/2/2005       11/2/2005
          231   EQUIPMENT LEASE AGREEMENT          ECOLAB ACCT 019761013, COMPONENT ID   ES4000, SERIAL NBR ES58206                                                    1A787           11/11/2005      11/16/2005
          232   EQUIPMENT LEASE AGREEMENT          ECOLAB ACCT 019764626, COMPONENT ID   ES4000, SERIAL NBR ES58086                                                    1A787           12/28/2005      12/28/2005
          233   EQUIPMENT LEASE AGREEMENT          ECOLAB ACCT 019768031, COMPONENT ID   ES4000, SERIAL NBR ES54171                                                    1A787             2/3/2006        2/3/2006
          234   EQUIPMENT LEASE AGREEMENT          ECOLAB ACCT 017733783, COMPONENT ID   WH44 CS, SERIAL NBR 06A14349                                                  13481             2/4/2006        2/4/2006
          235   EQUIPMENT LEASE AGREEMENT          ECOLAB ACCT 018223149, COMPONENT ID   WH44, SERIAL NBR J9000WH                                                      13481            5/24/2000       5/24/2006
          236   EQUIPMENT LEASE AGREEMENT          ECOLAB ACCT 018223149, COMPONENT ID   BOOSTER, SERIAL NBR 4339770739                                                13481            5/24/2000       5/24/2006
          237   EQUIPMENT LEASE AGREEMENT          ECOLAB ACCT 019779601, COMPONENT ID   ES4000, SERIAL NBR ES55046                                                    1A787            6/30/2006        7/1/2006
          238   EQUIPMENT LEASE AGREEMENT          ECOLAB ACCT 017289281, COMPONENT ID   OMEGA 5, SERIAL NBR 06F205643                                                 1A787            11/8/2000        8/2/2006
          239   EQUIPMENT LEASE AGREEMENT          ECOLAB ACCT 019807571, COMPONENT ID   ES2000, SERIAL NBR ES25271                                                    1A787            9/22/2006       9/22/2006
          240   EQUIPMENT LEASE AGREEMENT          ECOLAB ACCT 019725708, COMPONENT ID   OMEGA 5, SERIAL NBR GW4140                                                    1A787             5/5/2005       1/24/2007
          241   EQUIPMENT LEASE AGREEMENT          ECOLAB ACCT 019302520, COMPONENT ID   OMEGA 5, SERIAL NBR GW2887                                                    1A787             3/2/2002        2/1/2007
          242   EQUIPMENT LEASE AGREEMENT          ECOLAB ACCT 019691827, COMPONENT ID   OMEGA 5, SERIAL NBR GW3805                                                    1A787           10/15/2004        2/3/2007
          243   EQUIPMENT LEASE AGREEMENT          ECOLAB ACCT 019662815, COMPONENT ID   OMEGA 5, SERIAL NBR 07A216907                                                 1A787            4/27/2004       2/27/2007
          244   EQUIPMENT LEASE AGREEMENT          ECOLAB ACCT 015327547, COMPONENT ID   WH44, SERIAL NBR 06G207646                                                    13481             9/8/2003       5/20/2007
          245   EQUIPMENT LEASE AGREEMENT          ECOLAB ACCT 019302520, COMPONENT ID   ES2000, SERIAL NBR ES22691                                                    1A787             3/2/2002       7/18/2007
          246   EQUIPMENT LEASE AGREEMENT          ECOLAB ACCT 019889959, COMPONENT ID   ES2000, SERIAL NBR 07G223724                                                  1A787            8/10/2007       8/10/2007
          247   EQUIPMENT LEASE AGREEMENT          ECOLAB ACCT 019889959, COMPONENT ID   OMEGA 5, SERIAL NBR 07G223671                                                 1A787            8/10/2007       8/21/2007



2455538-1                                                                                                     1.1(a) - 26
                                                       Case 13-13220-KG        Doc 506-1         Filed 03/17/14       Page 171 of 362


     ID         Attention                  Address 1   Address 2   Address 3   Address 4         City         State         Zip    Country   Email   Phone   Fax
          200               370 N WABASHA STREET                                           ST. PAUL      MN           55102-2233
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2455538-1                                                                                  1.1(a) - 27
                                                                           Case 13-13220-KG            Doc 506-1    Filed 03/17/14      Page 172 of 362


     ID           Epiq Contract No    Store Number        Case                                Debtor                           Responsible Person                Contract Counter Party
          248   NO COPY              65091           13-13246    FOX & HOUND OF OHIO                                        GREG WALDO              ECOLAB INC
          249   NO COPY              65006           13-13259    TENT RESTAURANT OPERATIONS                                 GREG WALDO              ECOLAB INC
          250   NO COPY              65238           13-13227    CHAMPPS OPERATING CORP                                     GREG WALDO              ECOLAB INC
          251   NO COPY              65238           13-13227    CHAMPPS OPERATING CORP                                     GREG WALDO              ECOLAB INC
          252   NO COPY              65066           13-13259    TENT RESTAURANT OPERATIONS                                 GREG WALDO              ECOLAB INC
          253   NO COPY              65044           13-13230    F&H OF KENNESAW                                            GREG WALDO              ECOLAB INC
          254   NO COPY              65022           13-13248    F&H RESTAURANTS OF TEXAS                                   GREG WALDO              ECOLAB INC
          255   NO COPY              65050           13-13234    FOX & HOUND OF ARIZONA                                     GREG WALDO              ECOLAB INC
          256   NO COPY              65071           13-13259    TENT RESTAURANT OPERATIONS                                 GREG WALDO              ECOLAB INC
          257   NO COPY              65224           13-13227    CHAMPPS OPERATING CORP                                     GREG WALDO              ECOLAB INC
          258   NO COPY              65222           13-13227    CHAMPPS OPERATING CORP                                     GREG WALDO              ECOLAB INC
          259   NO COPY              65045           13-13259    TENT RESTAURANT OPERATIONS                                 GREG WALDO              ECOLAB INC
          260   NO COPY              65216           13-13227    CHAMPPS OPERATING CORP                                     GREG WALDO              ECOLAB INC
          261   NO COPY              65084           13-13222    ALABAMA FOX & HOUND                                        GREG WALDO              ECOLAB INC
          262   NO COPY              65215           13-13227    CHAMPPS OPERATING CORP                                     GREG WALDO              ECOLAB INC
          263   NO COPY              65213           13-13227    CHAMPPS OPERATING CORP                                     GREG WALDO              ECOLAB INC
          264   NO COPY              65213           13-13227    CHAMPPS OPERATING CORP                                     GREG WALDO              ECOLAB INC
          265   NO COPY              65069           13-13238    FOX & HOUND OF KANSAS                                      GREG WALDO              ECOLAB INC
          266   NO COPY              65094           13-13248    F&H RESTAURANTS OF TEXAS                                   GREG WALDO              ECOLAB INC
          267   NO COPY              65059           13-13235    FOX & HOUND OF COLORADO                                    GREG WALDO              ECOLAB INC
          268   NO COPY              65222           13-13227    CHAMPPS OPERATING CORP                                     GREG WALDO              ECOLAB INC
          269   NO COPY              65009           13-13259    TENT RESTAURANT OPERATIONS                                 GREG WALDO              ECOLAB INC
          270   NO COPY              65003           13-13259    TENT RESTAURANT OPERATIONS                                 GREG WALDO              ECOLAB INC
          271   NO COPY              65212           13-13227    CHAMPPS OPERATING CORP                                     GREG WALDO              ECOLAB INC
          272   NO COPY              65075           13-13250    FOX & HOUND                                                GREG WALDO              ECOLAB INC
          273   NO COPY              65029           13-13238    FOX & HOUND OF KANSAS                                      GREG WALDO              ECOLAB INC
          274   NO COPY              65071           13-13259    TENT RESTAURANT OPERATIONS                                 GREG WALDO              ECOLAB INC
          275   NO COPY              65033           13-13259    TENT RESTAURANT OPERATIONS                                 GREG WALDO              ECOLAB INC
          276   NO COPY              65229           13-13227    CHAMPPS OPERATING CORP                                     GREG WALDO              ECOLAB INC
          277   NO COPY              65242           13-13227    CHAMPPS OPERATING CORP                                     GREG WALDO              ECOLAB INC
          278   NO COPY              65242           13-13227    CHAMPPS OPERATING CORP                                     GREG WALDO              ECOLAB INC
          279   NO COPY              65226           13-13227    CHAMPPS OPERATING CORP                                     GREG WALDO              ECOLAB INC
          280   NO COPY              65226           13-13227    CHAMPPS OPERATING CORP                                     GREG WALDO              ECOLAB INC
          281   NO COPY              65092           13-13259    TENT RESTAURANT OPERATIONS                                 GREG WALDO              ECOLAB INC
          282   NO COPY              65060           13-13236    FOX & HOUND OF ILLINOIS                                    GREG WALDO              ECOLAB INC
          283   NO COPY              65240           13-13227    CHAMPPS OPERATING CORP                                     GREG WALDO              ECOLAB INC
          284   NO COPY              65029           13-13238    FOX & HOUND OF KANSAS                                      GREG WALDO              ECOLAB INC
          285   NO COPY              65028           13-13259    TENT RESTAURANT OPERATIONS                                 GREG WALDO              ECOLAB INC
          286   NO COPY              65062           13-13259    TENT RESTAURANT OPERATIONS                                 GREG WALDO              ECOLAB INC
          287   NO COPY              65038           13-13259    TENT RESTAURANT OPERATIONS                                 GREG WALDO              ECOLAB INC
          288 NO COPY                65049           13-13235    FOX & HOUND OF COLORADO                                    GREG WALDO              ECOLAB INC
          289 NO COPY                65244           13-13227    CHAMPPS OPERATING CORP                                     GREG WALDO              ECOLAB INC
          290 NO COPY                65038           13-13259    TENT RESTAURANT OPERATIONS                                 GREG WALDO              ECOLAB INC
          291 NO COPY                65211           13-13227    CHAMPPS OPERATING CORP                                     GREG WALDO              ECOLAB INC
          292 NO COPY                65205           13-13227    CHAMPPS OPERATING CORP                                     GREG WALDO              ECOLAB INC
          293 NO COPY                65089           13-13259    TENT RESTAURANT OPERATIONS                                 GREG WALDO              ECOLAB INC



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                                                                Case 13-13220-KG                Doc 506-1          Filed 03/17/14    Page 173 of 362


     ID                         Type of Contract                             Description of Contract                        Assume             Reject   Cure Amount   Contract No Date of ContractTermination Date
          248   EQUIPMENT LEASE AGREEMENT          ECOLAB ACCT 019768031, COMPONENT ID OMEGA 5, SERIAL NBR 07G223781                                                  1A787              2/3/2006      8/31/2007
          249   EQUIPMENT LEASE AGREEMENT          ECOLAB ACCT 017723644, COMPONENT ID ES2000, SERIAL NBR 07G225154                                                   1A787              9/7/2007       9/7/2007
          250   EQUIPMENT LEASE AGREEMENT          ECOLAB ACCT 019582219, COMPONENT ID WH44, SERIAL NBR 07J228835                                                     13481            11/9/2002       11/1/2007
          251   EQUIPMENT LEASE AGREEMENT          ECOLAB ACCT 019582219, COMPONENT ID BOOSTER, SERIAL NBR 9717680532                                                 13481            11/9/2002       11/1/2007
          252   EQUIPMENT LEASE AGREEMENT          ECOLAB ACCT 019644310, COMPONENT ID ES4000CD, SERIAL NBR ES57584                                                   1A787           10/24/2003      12/13/2007
          253   EQUIPMENT LEASE AGREEMENT          ECOLAB ACCT 019144302, COMPONENT ID OMEGA 5, SERIAL NBR 07K230623                                                  1A787           11/20/2001        2/5/2008
          254   EQUIPMENT LEASE AGREEMENT          ECOLAB ACCT 018086215, COMPONENT ID ES2000, SERIAL NBR ES145015                                                    1A787              3/6/2000      3/19/2008
          255   EQUIPMENT LEASE AGREEMENT          ECOLAB ACCT 019214188, COMPONENT ID OMEGA 5, SERIAL NBR 07G224278                                                  1A787              1/2/2002       5/2/2008
          256   EQUIPMENT LEASE AGREEMENT          ECOLAB ACCT 019661356, COMPONENT ID ES4000, SERIAL NBR 06F206421                                                   1A787              5/1/2004       6/1/2008
          257   EQUIPMENT LEASE AGREEMENT          ECOLAB ACCT 018245191, COMPONENT ID ES4400, SERIAL NBR J4488                                                       13481            5/25/2000       6/26/2008
          258   EQUIPMENT LEASE AGREEMENT          ECOLAB ACCT 017876780, COMPONENT ID ES4400 CS, SERIAL NBR 08F238301                                                13481            6/30/2008       6/30/2008
          259   EQUIPMENT LEASE AGREEMENT          ECOLAB ACCT 018971325, COMPONENT ID ES2000, SERIAL NBR 06E204261                                                   1A787            8/27/2001      10/27/2008
          260   EQUIPMENT LEASE AGREEMENT          ECOLAB ACCT 016751513, COMPONENT ID WH44D, SERIAL NBR 08J243406                                                    13481            5/15/2002       12/2/2008
          261   EQUIPMENT LEASE AGREEMENT          ECOLAB ACCT 019711256, COMPONENT ID OMEGA 5, SERIAL NBR 09B245988                                                  1A787            5/13/2005       3/13/2009
          262   EQUIPMENT LEASE AGREEMENT          ECOLAB ACCT 016583494, COMPONENT ID OMEGA 5, SERIAL NBR 07C218517                                                  13481            8/16/2005        5/2/2009
          263   EQUIPMENT LEASE AGREEMENT          ECOLAB ACCT 016185407, COMPONENT ID WH44D, SERIAL NBR 09E248477                                                    13481              3/2/2005       6/2/2009
          264   EQUIPMENT LEASE AGREEMENT          ECOLAB ACCT 016185407, COMPONENT ID BOOSTER, SERIAL NBR 8480671107                                                 13481              3/2/2005       6/2/2009
          265   EQUIPMENT LEASE AGREEMENT          ECOLAB ACCT 019653860, COMPONENT ID OMEGA 5, SERIAL NBR 06D201953                                                  1A787              2/4/2004      6/10/2009
          266   EQUIPMENT LEASE AGREEMENT          ECOLAB ACCT 019889959, COMPONENT ID 2900S WS, SERIAL NBR 09146002                                                  1A787            8/10/2007       6/17/2009
          267   EQUIPMENT LEASE AGREEMENT          ECOLAB ACCT 019603656, COMPONENT ID ES2000, SERIAL NBR ES149267                                                    1A787              4/5/2003      6/18/2009
          268   EQUIPMENT LEASE AGREEMENT          ECOLAB ACCT 017876780, COMPONENT ID OMEGA 5, SERIAL NBR 07D219568                                                  13481            6/30/2008       7/10/2009
          269   EQUIPMENT LEASE AGREEMENT          ECOLAB ACCT 018086132, COMPONENT ID OMEGA 5, SERIAL NBR 08D236525                                                  1A787              3/8/2000      7/23/2009
          270   EQUIPMENT LEASE AGREEMENT          ECOLAB ACCT 018086033, COMPONENT ID OMEGA 5, SERIAL NBR 07K230773                                                  1A787              3/8/2000       8/5/2009
          271   EQUIPMENT LEASE AGREEMENT          ECOLAB ACCT 016289902, COMPONENT ID WH44D, SERIAL NBR J9100WH                                                      13481            9/20/2003       8/20/2009
          272   EQUIPMENT LEASE AGREEMENT          ECOLAB ACCT 019666475, COMPONENT ID OMEGA 5, SERIAL NBR 08C235299                                                  1A787              7/6/2004       9/1/2009
          273   EQUIPMENT LEASE AGREEMENT          ECOLAB ACCT 018086199, COMPONENT ID OMEGA 5, SERIAL NBR GW3846                                                     1A787              3/2/2000      9/11/2009
          274   EQUIPMENT LEASE AGREEMENT          ECOLAB ACCT 019661356, COMPONENT ID OMEGA 5, SERIAL NBR 09G249442                                                  1A787              5/1/2004      9/21/2009
          275   EQUIPMENT LEASE AGREEMENT          ECOLAB ACCT 017378738, COMPONENT ID ES4000, SERIAL NBR ES52729                                                     1A787            9/26/1999       9/26/2009
          276   EQUIPMENT LEASE AGREEMENT          ECOLAB ACCT 018846345, COMPONENT ID WH44D, SERIAL NBR J12189WH                                                     13481            9/12/2001       1/18/2010
          277   EQUIPMENT LEASE AGREEMENT          ECOLAB ACCT 019612930, COMPONENT ID WH44D, SERIAL NBR J12803WH                                                     13481            5/20/2003        3/5/2010
          278   EQUIPMENT LEASE AGREEMENT          ECOLAB ACCT 019612930, COMPONENT ID BOOSTER, SERIAL NBR 7266381007                                                 13481            5/20/2003        3/5/2010
          279   EQUIPMENT LEASE AGREEMENT          ECOLAB ACCT 018768655, COMPONENT ID WH44D, SERIAL NBR J12611WH                                                     13481              5/8/2001       3/8/2010
          280   EQUIPMENT LEASE AGREEMENT          ECOLAB ACCT 018768655, COMPONENT ID BOOSTER, SERIAL NBR 3618470711                                                 13481              5/8/2001       3/8/2010
          281   EQUIPMENT LEASE AGREEMENT          ECOLAB ACCT 019779601, COMPONENT ID OMEGA 5, SERIAL NBR 07I227749                                                  1A787            6/30/2006        4/2/2010
          282   EQUIPMENT LEASE AGREEMENT          ECOLAB ACCT 019603565, COMPONENT ID ES2000, SERIAL NBR ES20640                                                     1A787              3/5/2003       4/5/2010
          283   EQUIPMENT LEASE AGREEMENT          ECOLAB ACCT 019627249, COMPONENT ID WH44D, SERIAL NBR J6140WH                                                      13481              7/9/2003      5/15/2010
          284   EQUIPMENT LEASE AGREEMENT          ECOLAB ACCT 018086199, COMPONENT ID ES2000, SERIAL NBR ES8035A                                                     1A787              3/2/2000      5/28/2010
          285   EQUIPMENT LEASE AGREEMENT          ECOLAB ACCT 017501230, COMPONENT ID OMEGA 5, SERIAL NBR 08I241962                                                  1A787              3/7/2000       8/7/2010
          286   EQUIPMENT LEASE AGREEMENT          ECOLAB ACCT 019603568, COMPONENT ID OMEGA 5, SERIAL NBR 10G255830                                                  1A787              5/7/2003      8/24/2010
          287   EQUIPMENT LEASE AGREEMENT          ECOLAB ACCT 018469098, COMPONENT ID ES2000, SERIAL NBR ES147781                                                    1A787            6/19/2003       12/4/2010
          288 EQUIPMENT LEASE AGREEMENT            ECOLAB ACCT 019392950, COMPONENT ID OMEGA 5, SERIAL NBR 23OK100140                                                 1A787             4/17/2002     12/18/2010
          289 EQUIPMENT LEASE AGREEMENT            ECOLAB ACCT 019611235, COMPONENT ID EC44, SERIAL NBR 85DM100035                                                    13481              5/6/2003      1/14/2011
          290 EQUIPMENT LEASE AGREEMENT            ECOLAB ACCT 018469098, COMPONENT ID ET1-30, SERIAL NBR 07D220563                                                   1A787             6/19/2003      1/19/2011
          291 EQUIPMENT LEASE AGREEMENT            ECOLAB ACCT 015681091, COMPONENT ID WH44D, SERIAL NBR 08A232717                                                    13481             4/15/1996      2/15/2011
          292 EQUIPMENT LEASE AGREEMENT            ECOLAB ACCT 015404254, COMPONENT ID OMEGA 5, SERIAL NBR 23OM100344                                                 13481             6/11/2002      2/25/2011
          293 EQUIPMENT LEASE AGREEMENT            ECOLAB ACCT 019764626, COMPONENT ID OMEGA 5, SERIAL NBR GW2748                                                     1A787           12/28/2005        3/3/2011



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     ID         Attention                  Address 1   Address 2   Address 3   Address 4         City         State         Zip    Country   Email   Phone   Fax
          248               370 N WABASHA STREET                                           ST. PAUL      MN           55102-2233
          249               370 N WABASHA STREET                                           ST. PAUL      MN           55102-2233
          250               370 N WABASHA STREET                                           ST. PAUL      MN           55102-2233
          251               370 N WABASHA STREET                                           ST. PAUL      MN           55102-2233
          252               370 N WABASHA STREET                                           ST. PAUL      MN           55102-2233
          253               370 N WABASHA STREET                                           ST. PAUL      MN           55102-2233
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          257               370 N WABASHA STREET                                           ST. PAUL      MN           55102-2233
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          261               370 N WABASHA STREET                                           ST. PAUL      MN           55102-2233
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          263               370 N WABASHA STREET                                           ST. PAUL      MN           55102-2233
          264               370 N WABASHA STREET                                           ST. PAUL      MN           55102-2233
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          268               370 N WABASHA STREET                                           ST. PAUL      MN           55102-2233
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          270               370 N WABASHA STREET                                           ST. PAUL      MN           55102-2233
          271               370 N WABASHA STREET                                           ST. PAUL      MN           55102-2233
          272               370 N WABASHA STREET                                           ST. PAUL      MN           55102-2233
          273               370 N WABASHA STREET                                           ST. PAUL      MN           55102-2233
          274               370 N WABASHA STREET                                           ST. PAUL      MN           55102-2233
          275               370 N WABASHA STREET                                           ST. PAUL      MN           55102-2233
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          277               370 N WABASHA STREET                                           ST. PAUL      MN           55102-2233
          278               370 N WABASHA STREET                                           ST. PAUL      MN           55102-2233
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          281               370 N WABASHA STREET                                           ST. PAUL      MN           55102-2233
          282               370 N WABASHA STREET                                           ST. PAUL      MN           55102-2233
          283               370 N WABASHA STREET                                           ST. PAUL      MN           55102-2233
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          285               370 N WABASHA STREET                                           ST. PAUL      MN           55102-2233
          286               370 N WABASHA STREET                                           ST. PAUL      MN           55102-2233
          287               370 N WABASHA STREET                                           ST. PAUL      MN           55102-2233
          288               370 N WABASHA STREET                                           ST. PAUL      MN           55102-2233
          289               370 N WABASHA STREET                                           ST. PAUL      MN           55102-2233
          290               370 N WABASHA STREET                                           ST. PAUL      MN           55102-2233
          291               370 N WABASHA STREET                                           ST. PAUL      MN           55102-2233
          292               370 N WABASHA STREET                                           ST. PAUL      MN           55102-2233
          293               370 N WABASHA STREET                                           ST. PAUL      MN           55102-2233



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                                                                         Case 13-13220-KG                  Doc 506-1          Filed 03/17/14      Page 175 of 362


     ID         Epiq Contract No    Store Number      Case                                      Debtor                                   Responsible Person                Contract Counter Party
          294 NO COPY              65056         13-13248    F&H RESTAURANTS OF TEXAS                                                 GREG WALDO              ECOLAB INC
          295 NO COPY              65086         13-13259    TENT RESTAURANT OPERATIONS                                               GREG WALDO              ECOLAB INC
          296 NO COPY              65215         13-13227    CHAMPPS OPERATING CORP                                                   GREG WALDO              ECOLAB INC
          297 NO COPY              65215         13-13227    CHAMPPS OPERATING CORP                                                   GREG WALDO              ECOLAB INC
          298 NO COPY              65237         13-13227    CHAMPPS OPERATING CORP                                                   GREG WALDO              ECOLAB INC
          299 NO COPY              65095         13-13259    TENT RESTAURANT OPERATIONS                                               GREG WALDO              ECOLAB INC
          300 NO COPY              65095         13-13259    TENT RESTAURANT OPERATIONS                                               GREG WALDO              ECOLAB INC
          301 NO COPY              65095         13-13259    TENT RESTAURANT OPERATIONS                                               GREG WALDO              ECOLAB INC
          302 NO COPY              65079         13-13237    FOX & HOUND OF INDIANA                                                   GREG WALDO              ECOLAB INC

          303 NO COPY              65209         13-13227    CHAMPPS OPERATING CORP                                                   GREG WALDO              ECOLAB INC
          304 NO COPY              65220         13-13227    CHAMPPS OPERATING CORP                                                   GREG WALDO              ECOLAB INC
          305 NO COPY              65088         13-13259    TENT RESTAURANT OPERATIONS                                               GREG WALDO              ECOLAB INC

          306 NO COPY              65074         13-13259    TENT RESTAURANT OPERATIONS                                               GREG WALDO              ECOLAB INC
          307   NO COPY            65233         13-13227    CHAMPPS OPERATING CORP                                                   GREG WALDO              ECOLAB INC
          308   NO COPY            65233         13-13227    CHAMPPS OPERATING CORP                                                   GREG WALDO              ECOLAB INC
          309   NO COPY            65225         13-13227    CHAMPPS OPERATING CORP                                                   GREG WALDO              ECOLAB INC
          310   NO COPY            65225         13-13227    CHAMPPS OPERATING CORP                                                   GREG WALDO              ECOLAB INC
          311   NO COPY            65210         13-13227    CHAMPPS OPERATING CORP                                                   GREG WALDO              ECOLAB INC
          312   NO COPY            65226         13-13227    CHAMPPS OPERATING CORP                                                   GREG WALDO              ECOLAB INC
          313   NO COPY            65234         13-13227    CHAMPPS OPERATING CORP                                                   GREG WALDO              ECOLAB INC
          314   NO COPY            65234         13-13227    CHAMPPS OPERATING CORP                                                   GREG WALDO              ECOLAB INC
          315   NO COPY            65018         13-13246    FOX & HOUND OF OHIO                                                      GREG WALDO              ECOLAB INC
          316   NO COPY            65057         13-13234    FOX & HOUND OF ARIZONA                                                   GREG WALDO              ECOLAB INC
          317   NO COPY            65238         13-13227    CHAMPPS OPERATING CORP                                                   GREG WALDO              ECOLAB INC
          318   NO COPY            65061         13-13259    TENT RESTAURANT OPERATIONS                                               GREG WALDO              ECOLAB INC
          319 NO COPY              65080         13-13259    TENT RESTAURANT OPERATIONS                                               GREG WALDO              ECOLAB INC
          320   NO COPY            65055         13-13236    FOX & HOUND OF ILLINOIS                                                  GREG WALDO              ECOLAB INC
          321   NO COPY            65064         13-13247    FOX & HOUND OF OKLAHOMA                                                  GREG WALDO              ECOLAB INC
          322   NO COPY            65087         13-13259    TENT RESTAURANT OPERATIONS                                               GREG WALDO              ECOLAB INC
          323   NO COPY            65043         13-13248    F&H RESTAURANTS OF TEXAS                                                 GREG WALDO              ECOLAB INC
                                                             N. COLLINS ENTERTAINMENT, LTD. (for the benefit of TENT RESTAURANT
          324 NO COPY              65041         13-13259                                                                             GREG WALDO              ECOLAB INC
                                                             OPERATIONS, INC.)
          325 NO COPY              65041         13-13259    TENT RESTAURANT OPERATIONS                                               GREG WALDO              ECOLAB INC
          326 NO COPY              65041         13-13259    TENT RESTAURANT OPERATIONS                                               GREG WALDO              ECOLAB INC
          327 NO COPY              65059         13-13235    FOX & HOUND OF COLORADO                                                  GREG WALDO              ECOLAB INC
          328 NO COPY              65010         13-13259    TENT RESTAURANT OPERATIONS                                               GREG WALDO              ECOLAB INC
          329 NO COPY              65051         13-13259    TENT RESTAURANT OPERATIONS                                               GREG WALDO              ECOLAB INC
          330 NO COPY              65045         13-13259    TENT RESTAURANT OPERATIONS                                               GREG WALDO              ECOLAB INC
          331 NO COPY              65076         13-13236    FOX & HOUND OF ILLINOIS                                                  GREG WALDO              ECOLAB INC




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     ID                       Type of Contract                             Description of Contract                         Assume             Reject   Cure Amount   Contract No Date of ContractTermination Date
          294 EQUIPMENT LEASE AGREEMENT          ECOLAB ACCT 019599493, COMPONENT ID OMEGA 5, SERIAL NBR 23OL100255                                                  1A787            1/24/2003        3/4/2011
          295 EQUIPMENT LEASE AGREEMENT          ECOLAB ACCT 019744993, COMPONENT ID OMEGA 5, SERIAL NBR 23OB110453                                                  1A787             9/15/2005      3/15/2011
          296 EQUIPMENT LEASE AGREEMENT          ECOLAB ACCT 016583494, COMPONENT ID WH44, SERIAL NBR 08C235528                                                      13481             8/16/2005      3/17/2011
          297 EQUIPMENT LEASE AGREEMENT          ECOLAB ACCT 016583494, COMPONENT ID BOOSTER, SERIAL NBR 8510371108                                                  13481             8/16/2005      3/17/2011
          298 EQUIPMENT LEASE AGREEMENT          ECOLAB ACCT 019575919, COMPONENT ID EC44, SERIAL NBR 85DC110078                                                     13481             9/19/2002      3/18/2011
          299 EQUIPMENT LEASE AGREEMENT          ECOLAB ACCT 010155259, COMPONENT ID H2O SOFTEN, SERIAL NBR 00740455                                                 1A787             3/24/2011      3/24/2011
          300 EQUIPMENT LEASE AGREEMENT          ECOLAB ACCT 010155259, COMPONENT ID ES4000, SERIAL NBR ES56896                                                      1A787             3/24/2011      3/27/2011
          301 EQUIPMENT LEASE AGREEMENT          ECOLAB ACCT 010155259, COMPONENT ID OMEGA 5, SERIAL NBR GW2617                                                      1A787             3/24/2011      3/27/2011
          302 EQUIPMENT LEASE AGREEMENT          ECOLAB ACCT 019713114, COMPONENT ID OMEGA 5, SERIAL NBR 23OB110481                                                  1A787              3/5/2005      4/22/2011

          303 EQUIPMENT LEASE AGREEMENT          ECOLAB ACCT 012634432, COMPONENT ID OMEGA 5, SERIAL NBR 23OC110559                                                  13481           11/28/1989        5/5/2011
          304 EQUIPMENT LEASE AGREEMENT          ECOLAB ACCT 017270406, COMPONENT ID OMEGA 5, SERIAL NBR GW2607                                                      13481             1/29/2003      5/26/2011
          305 EQUIPMENT LEASE AGREEMENT          ECOLAB ACCT 019761013, COMPONENT ID OMEGA 5, SERIAL NBR 23OC110595                                                  1A787           11/11/2005       6/19/2011

          306 EQUIPMENT LEASE AGREEMENT          ECOLAB ACCT 019662813, COMPONENT ID OMEGA 5, SERIAL NBR 23OC110573                                                  1A787              7/1/2004       7/1/2011
          307   EQUIPMENT LEASE AGREEMENT        ECOLAB ACCT 019259654, COMPONENT ID   WH44D, SERIAL NBR J11259WH                                                    13481             2/6/2002       8/15/2011
          308   EQUIPMENT LEASE AGREEMENT        ECOLAB ACCT 019259654, COMPONENT ID   BOOSTER, SERIAL NBR 2208871225                                                13481             2/6/2002       8/15/2011
          309   EQUIPMENT LEASE AGREEMENT        ECOLAB ACCT 017491960, COMPONENT ID   WH44D, SERIAL NBR J11371WH                                                    13481           12/28/2006       8/28/2011
          310   EQUIPMENT LEASE AGREEMENT        ECOLAB ACCT 017491960, COMPONENT ID   BOOSTER, SERIAL NBR 5087800813                                                13481           12/28/2006       8/28/2011
          311   EQUIPMENT LEASE AGREEMENT        ECOLAB ACCT 015481989, COMPONENT ID   ET44, SERIAL NBR 7123403                                                      13481           11/15/1995        9/1/2011
          312   EQUIPMENT LEASE AGREEMENT        ECOLAB ACCT 018768655, COMPONENT ID   U-LT, SERIAL NBR W110626158                                                   13481             5/8/2001        9/5/2011
          313   EQUIPMENT LEASE AGREEMENT        ECOLAB ACCT 019324334, COMPONENT ID   EC44, SERIAL NBR 85DF110533                                                   13481            4/23/2002       9/19/2011
          314   EQUIPMENT LEASE AGREEMENT        ECOLAB ACCT 019324334, COMPONENT ID   BOOSTER, SERIAL NBR 6532110924                                                13481            4/23/2002       9/19/2011
          315   EQUIPMENT LEASE AGREEMENT        ECOLAB ACCT 017851494, COMPONENT ID   ES2000, SERIAL NBR ES20346                                                    1A787           12/23/1999      12/23/2011
          316   EQUIPMENT LEASE AGREEMENT        ECOLAB ACCT 019585896, COMPONENT ID   OMEGA 5, SERIAL NBR 23OE110863                                                1A787           10/29/2002        1/6/2012
          317   EQUIPMENT LEASE AGREEMENT        ECOLAB ACCT 019582219, COMPONENT ID   OMEGA 5, SERIAL NBR 09K251724                                                 13481            11/9/2002       1/30/2012
          318   EQUIPMENT LEASE AGREEMENT        ECOLAB ACCT 019603567, COMPONENT ID   ES2000 CS, SERIAL NBR C2166                                                   1A787             5/3/2003        3/3/2012
          319 EQUIPMENT LEASE AGREEMENT          ECOLAB ACCT 019713164, COMPONENT ID OMEGA 5E, SERIAL NBR 23OB120134                                                 1A787             4/30/2005       4/5/2012
          320   EQUIPMENT LEASE AGREEMENT        ECOLAB ACCT 019557842, COMPONENT ID   OMEGA 5, SERIAL NBR 06I211365                                                 1A787             8/23/2002       5/7/2012
          321   EQUIPMENT LEASE AGREEMENT        ECOLAB ACCT 019630892, COMPONENT ID   ES2000, SERIAL NBR ES11906                                                    1A787             9/21/2003      5/21/2012
          322   EQUIPMENT LEASE AGREEMENT        ECOLAB ACCT 019762776, COMPONENT ID   OMEGA 5, SERIAL NBR 07A216361                                                 1A787             11/2/2005      5/21/2012
          323   EQUIPMENT LEASE AGREEMENT        ECOLAB ACCT 019303882, COMPONENT ID   XL2000, SERIAL NBR 11B261469                                                  1A787             2/27/2002      5/26/2012
          324 EQUIPMENT LEASE AGREEMENT          ECOLAB ACCT 018790311, COMPONENT ID ES4000, SERIAL NBR ES52584                                                      1A787             4/27/2001      5/27/2012
          325 EQUIPMENT LEASE AGREEMENT          ECOLAB ACCT 018790311, COMPONENT ID BOOSTER, SERIAL NBR 2066701220                                                  1A787             4/27/2001      5/27/2012
          326 EQUIPMENT LEASE AGREEMENT          ECOLAB ACCT 018790311, COMPONENT ID OMEGA 5, SERIAL NBR GW2629                                                      1A787             4/27/2001       6/2/2012
          327 EQUIPMENT LEASE AGREEMENT          ECOLAB ACCT 019603656, COMPONENT ID OMEGA 5E, SERIAL NBR 23OD120313                                                 1A787              4/5/2003       6/3/2012
          328 EQUIPMENT LEASE AGREEMENT          ECOLAB ACCT 018086165, COMPONENT ID OMEGA 5, SERIAL NBR 10A252187                                                   1A787              3/8/2000       7/8/2012
          329 EQUIPMENT LEASE AGREEMENT          ECOLAB ACCT 019392927, COMPONENT ID ES2000, SERIAL NBR ES21091A                                                     1A787             5/14/2002      7/14/2012
          330 EQUIPMENT LEASE AGREEMENT          ECOLAB ACCT 018971325, COMPONENT ID OMEGA 5, SERIAL NBR GW3585                                                      1A787             8/27/2001      8/26/2012
          331 EQUIPMENT LEASE AGREEMENT          ECOLAB ACCT 019681953, COMPONENT ID OMEGA 5E, SERIAL NBR 23OG120651                                                 1A787              9/7/2004       9/7/2012




2455538-1                                                                                                  1.1(a) - 32
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     ID         Attention                  Address 1   Address 2   Address 3   Address 4         City         State         Zip    Country   Email   Phone   Fax
          294               370 N WABASHA STREET                                           ST. PAUL      MN           55102-2233
          295               370 N WABASHA STREET                                           ST. PAUL      MN           55102-2233
          296               370 N WABASHA STREET                                           ST. PAUL      MN           55102-2233
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          303               370 N WABASHA STREET                                           ST. PAUL      MN           55102-2233
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2455538-1                                                                                  1.1(a) - 33
                                                                        Case 13-13220-KG              Doc 506-1      Filed 03/17/14      Page 178 of 362


     ID         Epiq Contract No    Store Number      Case                                   Debtor                             Responsible Person                  Contract Counter Party
          334 NO COPY              65007         13-13259    TENT RESTAURANT OPERATIONS                                      GREG WALDO              ECOLAB INC
          335 NO COPY              65061         13-13259    TENT RESTAURANT OPERATIONS                                      GREG WALDO              ECOLAB INC
          336   NO COPY            65230         13-13227    CHAMPPS OPERATING CORP                                          GREG WALDO              ECOLAB INC
          337   NO COPY            65230         13-13227    CHAMPPS OPERATING CORP                                          GREG WALDO              ECOLAB INC
          338   NO COPY            65073         13-13244    FOX & HOUND OF NEW JERSEY                                       GREG WALDO              ECOLAB INC
          339   NO COPY            65233         13-13227    CHAMPPS OPERATING CORP                                          GREG WALDO              ECOLAB INC
          340   NO COPY            65248         13-13227    CHAMPPS OPERATING CORP                                          GREG WALDO              ECOLAB INC
          341 NO COPY              65211         13-13227    CHAMPPS OPERATING CORP                                          GREG WALDO              ECOLAB INC
          342 NO COPY              65069         13-13238    FOX & HOUND OF KANSAS                                           GREG WALDO              ECOLAB INC
          344 NO COPY              65218         13-13227    CHAMPPS OPERATING CORP                                          GREG WALDO              ECOLAB INC
          345 NO COPY              65082         13-13242    FOX & HOUND OF MARYLAND                                         GREG WALDO              ECOLAB INC
          346 NO COPY              65052         13-13248    F&H RESTAURANTS OF TEXAS                                        GREG WALDO              ECOLAB INC

          347 NO COPY              65064         13-13247    FOX & HOUND OF OKLAHOMA                                         GREG WALDO              ECOLAB INC
          348 NO COPY              65060         13-13236    FOX & HOUYND OF ILLINOIS                                        GREG WALDO              ECOLAB INC
          349 NO COPY              65008         13-13248    F&H RESTAURANTS OF TEXAS                                        GREG WALDO              ECOLAB INC
          350   NO COPY            65008         13-13248    F&H RESTAURANTS OF TEXAS                                        GREG WALDO              ECOLAB INC
          351   NO COPY            65031         13-13259    TENT RESTAURANT OPERATIONS                                      GREG WALDO              ECOLAB INC
          352   NO COPY            65078         13-13259    TENT RESTAURANT OPERATIONS                                      GREG WALDO              ECOLAB INC
          353   NO COPY            65252         13-13227    CHAMPPS OPERATING CORP                                          GREG WALDO              ECOLAB INC
          354   NO COPY            65252         13-13227    CHAMPPS OPERATING CORP                                          GREG WALDO              ECOLAB INC
          355   NO COPY            65067         13-13259    TENT RESTAURANT OPERATIONS                                      GREG WALDO              ECOLAB INC
          356 NO COPY              65201         13-13227    CHAMPPS OPERATING CORP                                          GREG WALDO              ECOLAB INC
          357 NO COPY              65062         13-13259    TENT RESTAURANT OPERATIONS                                      GREG WALDO              ECOLAB INC
          358 NO COPY              65013         13-13259    TENT RESTAURANT OPERATIONS                                      GREG WALDO              ECOLAB INC
          359 NO COPY              65201         13-13227    CHAMPPS OPERATING CORP                                          GREG WALDO              ECOLAB INC
          360 NO COPY              65244         13-13227    CHAMPPS OPERATING CORP                                          GREG WALDO              ECOLAB INC
          361 NO COPY              65052         13-13248    F&H RESTAURANTS OF TEXAS                                        GREG WALDO              ECOLAB INC
          362 NO COPY              65067         13-13259    TENT RESTAURANT OPERATIONS                                      GREG WALDO              ECOLAB INC
          363 NO COPY              65218         13-13227    CHAMPPS OPERATING CORP                                          GREG WALDO              ECOLAB INC
          364 NO COPY              65032         13-13241    FOX & HOUND OF LOUISIANA                                        GREG WALDO              ECOLAB INC
          365 NO COPY              65025         13-13248    F&H RESTAURANTS OF TEXAS                                        GREG WALDO              ECOLAB INC


          366 NO COPY              65033         13-13259    TENT RESTAURANT OPERATIONS, INC DBA FOX & HOUND                 GREG WALDO              EQT




          367 NO COPY              65082         13-13249    FOX & HOUND RESTAURANT GROUP                                    GREG WALDO              FIRST ENERGY




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     ID                       Type of Contract                             Description of Contract                         Assume             Reject   Cure Amount   Contract No Date of ContractTermination Date
          334 EQUIPMENT LEASE AGREEMENT          ECOLAB ACCT 018086116, COMPONENT ID OMEGA 5, SERIAL NBR GW3660                                                      1A787              3/8/2000      10/1/2012
          335 EQUIPMENT LEASE AGREEMENT          ECOLAB ACCT 019603567, COMPONENT ID OMEGA 5E, SERIAL NBR 23OH120709                                                 1A787              5/3/2003      10/6/2012
          336   EQUIPMENT LEASE AGREEMENT        ECOLAB ACCT 018806182, COMPONENT ID   WH44D, SERIAL NBR 06E204076                                                   13481             5/19/2001     10/28/2012
          337   EQUIPMENT LEASE AGREEMENT        ECOLAB ACCT 018806182, COMPONENT ID   BOOSTER, SERIAL NBR 8884551123                                                13481             5/19/2001     10/28/2012
          338   EQUIPMENT LEASE AGREEMENT        ECOLAB ACCT 019668657, COMPONENT ID   DIEBEL, SERIAL NBR G121015165                                                 1A787             6/15/2004     11/23/2012
          339   EQUIPMENT LEASE AGREEMENT        ECOLAB ACCT 019259654, COMPONENT ID   OMEGA 5, SERIAL NBR 09B246126A                                                13481              2/6/2002      12/1/2012
          340   EQUIPMENT LEASE AGREEMENT        ECOLAB ACCT 019638429, COMPONENT ID   WH44D, SERIAL NBR 09I250406                                                   13481             9/26/2003     12/10/2012
          341 EQUIPMENT LEASE AGREEMENT          ECOLAB ACCT 015681091, COMPONENT ID OMEGA 5E, SERIAL NBR 23OJ120798                                                 13481             4/15/1996     12/24/2012
          342 EQUIPMENT LEASE AGREEMENT          ECOLAB ACCT 019653860, COMPONENT ID ES2000, SERIAL NBR 10J258075                                                    1A787              2/4/2004      1/19/2013
          344 EQUIPMENT LEASE AGREEMENT          ECOLAB ACCT 017385220, COMPONENT ID EC44, SERIAL NBR 85DL121376                                                     13481              2/9/2005       2/1/2013
          345 EQUIPMENT LEASE AGREEMENT          ECOLAB ACCT 019725423, COMPONENT ID OMEGA 5, SERIAL NBR 06E203499                                                   1A787             5/14/2005       2/9/2013
          346 EQUIPMENT LEASE AGREEMENT          ECOLAB ACCT 019486729, COMPONENT ID OMEGA 5E, SERIAL NBR 23OL120959                                                 1A787             6/19/2002      2/22/2013

          347 EQUIPMENT LEASE AGREEMENT          ECOLAB ACCT 019630892, COMPONENT ID OMEGA 5E, SERIAL NBR 23OM120978                                                 1A787             9/21/2003      2/28/2013
          348 EQUIPMENT LEASE AGREEMENT          ECOLAB ACCT 019603565, COMPONENT ID OMEGA 5, SERIAL NBR 06I211363                                                   1A787              3/5/2003       3/5/2013
          349 EQUIPMENT LEASE AGREEMENT          ECOLAB ACCT 015800956, COMPONENT ID OMEGA 5E, SERIAL NBR 23OA130024                                                 1A787             1/19/1999       3/9/2013
          350   EQUIPMENT LEASE AGREEMENT        ECOLAB ACCT 015800956, COMPONENT ID   ES2000, SERIAL NBR 12J276691                                                  1A787            1/19/1999        3/9/2013
          351   EQUIPMENT LEASE AGREEMENT        ECOLAB ACCT 017289281, COMPONENT ID   ES2000, SERIAL NBR 13A278546                                                  1A787            11/8/2000        4/2/2013
          352   EQUIPMENT LEASE AGREEMENT        ECOLAB ACCT 019679443, COMPONENT ID   OMEGA 5, SERIAL NBR GW2290                                                    1A787            9/18/2004        4/6/2013
          353   EQUIPMENT LEASE AGREEMENT        ECOLAB ACCT 010162245, COMPONENT ID   EC44, SERIAL NBR 85DL111253                                                   13481             5/7/2011        4/7/2013
          354   EQUIPMENT LEASE AGREEMENT        ECOLAB ACCT 010162245, COMPONENT ID   BOOSTER, SERIAL NBR 2382631231                                                13481             5/7/2011        4/7/2013
          355   EQUIPMENT LEASE AGREEMENT        ECOLAB ACCT 019653267, COMPONENT ID   ES2000, SERIAL NBR ES145986                                                   1A787           12/19/2003       4/13/2013
          356 EQUIPMENT LEASE AGREEMENT          ECOLAB ACCT 017065236, COMPONENT ID OMEGA 5E, SERIAL NBR 23OC130118                                                 13481             6/24/1998      4/28/2013
          357 EQUIPMENT LEASE AGREEMENT          ECOLAB ACCT 019603568, COMPONENT ID ES2000, SERIAL NBR ES26101                                                      1A787              5/7/2003      4/28/2013
          358 EQUIPMENT LEASE AGREEMENT          ECOLAB ACCT 016471351, COMPONENT ID ES2000, SERIAL NBR 13D281031                                                    1A787             8/26/1997      6/20/2013
          359 EQUIPMENT LEASE AGREEMENT          ECOLAB ACCT 017065236, COMPONENT ID EC44HH, SERIAL NBR 85DE110289                                                   13481             6/24/1998      7/11/2013
          360 EQUIPMENT LEASE AGREEMENT          ECOLAB ACCT 019611235, COMPONENT ID OMEGA 5E, SERIAL NBR 23OF130389                                                 13481              5/6/2003      7/25/2013
          361 EQUIPMENT LEASE AGREEMENT          ECOLAB ACCT 019486729, COMPONENT ID OMEGA 5, SERIAL NBR 08A232487                                                   1A787            6/19/2002       8/12/2013
          362 EQUIPMENT LEASE AGREEMENT          ECOLAB ACCT 019653267, COMPONENT ID OMEGA 5, SERIAL NBR 08L244881                                                   1A787           12/19/2003       8/22/2013
          363 EQUIPMENT LEASE AGREEMENT          ECOLAB ACCT 017385220, COMPONENT ID OMEGA 5E, SERIAL NBR 23OG130492                                                 13481              2/9/2005       9/2/2013
          364 EQUIPMENT LEASE AGREEMENT          ECOLAB ACCT 017401795, COMPONENT ID ES2000, SERIAL NBR 13G283679                                                    1A787             2/23/2003       9/8/2013
          365 EQUIPMENT LEASE AGREEMENT          ECOLAB ACCT 017259052, COMPONENT ID ES2000, SERIAL NBR 13H284530                                                    1A787             6/11/2003     10/11/2013


          366 NATURAL GAS ENGERGY CONTRACT       LOCATION OF CONTRACT: 8000 MCKNIGHT RD, STE 1000, PITTSBURGH, PA 15237                                                                              12/31/2014




          367 ELECTRICITY ENGERGY CONTRACT       LOCATION OF CONTRACT: 20021 CENTURY BLVD, GERMANTOWN, MD 20874                                                                         6/1/2011     12/31/2013




2455538-1                                                                                                   1.1(a) - 35
                                                             Case 13-13220-KG        Doc 506-1         Filed 03/17/14       Page 180 of 362


     ID          Attention                  Address 1        Address 2   Address 3   Address 4         City         State         Zip    Country   Email   Phone   Fax
          334                370 N WABASHA STREET                                                ST. PAUL      MN           55102-2233
          335                370 N WABASHA STREET                                                ST. PAUL      MN           55102-2233
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          358                370 N WABASHA STREET                                                ST. PAUL      MN           55102-2233
          359                370 N WABASHA STREET                                                ST. PAUL      MN           55102-2233
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          361                370 N WABASHA STREET                                                ST. PAUL      MN           55102-2233
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          363                370 N WABASHA STREET                                                ST. PAUL      MN           55102-2233
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          365                370 N WABASHA STREET                                                ST. PAUL      MN           55102-2233
              TRADITION
                                                        CENTRAL TOWER,
          366 ENERGY, MICHAEL 5215 N O'CONNOR BLVD                                               LAS COLINAS   TX           75039
                                                        SUITE 470
              AYALA, CEC

              TRADITION
                                                        CENTRAL TOWER,
          367 ENERGY, MICHAEL 5215 N O'CONNOR BLVD                                               LAS COLINAS   TX           75039
                                                        SUITE 470
              AYALA, CEC




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                                                                         Case 13-13220-KG              Doc 506-1         Filed 03/17/14     Page 181 of 362


     ID         Epiq Contract No    Store Number        Case                                  Debtor                               Responsible Person                    Contract Counter Party


          368 NO COPY              65220           13-13224    CHAMPPS ENTERTAINMENT, INC DBA CHAMPPS OPERATING CORPORATION      GREG WALDO             FIRST ENERGY




          369 NO COPY              65088           13-13249    FOX & HOUND RESTAURANT GROUP                                      GREG WALDO             FIRST ENERGY




          370 NO COPY              65091           13-13249    FOX & HOUND RESTAURANT GROUP                                      GREG WALDO             FIRST ENERGY




          371 NO COPY              65210           13-13224    CHAMPPS ENTERTAINMENT, INC DBA CHAMPPS OPERATING CORPORATION      GREG WALDO             FIRST ENERGY




          372 NO COPY              65237           13-13224    CHAMPPS ENTERTAINMENT, INC DBA CHAMPPS OPERATING CORPORATION      GREG WALDO             FIRST ENERGY




          373 NO COPY              65018           13-13249    FOX & HOUND RESTAURANT GROUP                                      GREG WALDO             FIRST ENERGY




          374 NO COPY              65039           13-13249    FOX & HOUND RESTAURANT GROUP                                      GREG WALDO             FIRST ENERGY




          375 NO COPY              65213           13-13224    CHAMPPS ENTERTAINMENT INC                                         GREG WALDO             FLORIDA NATURAL GAS




          376 NO COPY              65246           13-13224    CHAMPPS ENTERTAINMENT INC                                         GREG WALDO             FLORIDA NATURAL GAS



          377 NO COPY              WARRINGTON      13-13227    CHAMPPS OPERATING CORP                                            GREG WALDO             FORTNEY & WEYGANDT INC



          378 NO COPY              65044           13-13230    F&H OF KENNESAW LLC                                               GREG WALDO             GAS SOUTH




          379 NO COPY              65248           13-13224    CHAMPPS ENTERTAINMENT, INC                                        GREG WALDO             HESS CORP




2455538-1                                                                                                          1.1(a) - 37
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     ID                      Type of Contract                              Description of Contract                          Assume             Reject   Cure Amount   Contract No Date of ContractTermination Date


          368 ELECTRICITY ENGERGY CONTRACT      LOCATION OF CONTRACT: 7880 WASHINGTON VILLAGE DRIVE, DAYTON, OH 45459                                                                   1/1/2011      12/31/2013




          369 ELECTRICITY ENGERGY CONTRACT      LOCATION OF CONTRACT: 2661 FAIRFIELD COMMONS, DAYTON, OH 45431                                                                          1/1/2011      12/31/2013




          370 ELECTRICITY ENGERGY CONTRACT      LOCATION OF CONTRACT: 5113 BOWEN DRIVE, CINCINNATI, OH 45040                                                                            7/1/2010        7/1/2013




          371 ELECTRICITY ENGERGY CONTRACT      LOCATION OF CONTRACT: 5835 LANDERBROOK DRIVE, LYNDHURST, OH 44124                                                                       7/1/2010        7/1/2013




          372 ELECTRICITY ENGERGY CONTRACT      LOCATION OF CONTRACT: 5989 CANAL STREET, VALLEY VIEW, OH 44125                                                                          7/1/2010        7/1/2013




          373 ELECTRICITY ENGERGY CONTRACT      LOCATION OF CONTRACT: 1479 S.O.M. CENTER ROAD, MAYFIELD HEIGHTS, OH 44124                                                               6/1/2010       7/31/2013




          374 ELECTRICITY ENGERGY CONTRACT      LOCATION OF CONTRACT: 8735 DAY DRIVE, PARMA, OH 44129                                                                                   6/1/2010       7/31/2013




          375 NATURAL GAS ENGERGY CONTRACT      LOCATION OF CONTRACT: 6401 N. ANDREWS AVE, FORT LAUDERDALE, FL 33309                                                                    1/1/2013      12/31/2014




          376 NATURAL GAS ENGERGY CONTRACT      LOCATION OF CONTRACT: 2223 N. WEST SHORE BLVD, STE B221, TAMPA, FL 33607                                                                1/1/2013      12/31/2014


                                                                                                                                                                      WARRINGTO
          377 CONSTRUCTION AGREEMENT            NEW BUILDING                                                                                                                           1/31/2013            HOLD
                                                                                                                                                                      N PA STORE


          378 NATURAL GAS ENGERGY CONTRACT      LOCATION OF CONTRACT: 2500 COBB PLACE LANE NW, KENNESAW, GA 30144                                                                       1/1/2013      12/31/2014




          379 NATURAL GAS ENGERGY CONTRACT      LOCATION OF CONTRACT: 819 EASTVIEW MALL, VICTOR, NY 14564                                                                               1/1/2014      12/31/2015




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     ID           Attention                  Address 1        Address 2   Address 3   Address 4          City        State           Zip   Country   Email   Phone   Fax
              TRADITION
                                                         CENTRAL TOWER,
          368 ENERGY, MICHAEL 5215 N O'CONNOR BLVD                                                LAS COLINAS   TX           75039
                                                         SUITE 470
              AYALA, CEC

              TRADITION
                                                         CENTRAL TOWER,
          369 ENERGY, MICHAEL 5215 N O'CONNOR BLVD                                                LAS COLINAS   TX           75039
                                                         SUITE 470
              AYALA, CEC

              TRADITION
                                                         CENTRAL TOWER,
          370 ENERGY, MICHAEL 5215 N O'CONNOR BLVD                                                LAS COLINAS   TX           75039
                                                         SUITE 470
              AYALA, CEC

              TRADITION
                                                         CENTRAL TOWER,
          371 ENERGY, MICHAEL 5215 N O'CONNOR BLVD                                                LAS COLINAS   TX           75039
                                                         SUITE 470
              AYALA, CEC

              TRADITION
                                                         CENTRAL TOWER,
          372 ENERGY, MICHAEL 5215 N O'CONNOR BLVD                                                LAS COLINAS   TX           75039
                                                         SUITE 470
              AYALA, CEC

              TRADITION
                                                         CENTRAL TOWER,
          373 ENERGY, MICHAEL 5215 N O'CONNOR BLVD                                                LAS COLINAS   TX           75039
                                                         SUITE 470
              AYALA, CEC

              TRADITION
                                                         CENTRAL TOWER,
          374 ENERGY, MICHAEL 5215 N O'CONNOR BLVD                                                LAS COLINAS   TX           75039
                                                         SUITE 470
              AYALA, CEC

              TRADITION
                                                         CENTRAL TOWER,
          375 ENERGY, MICHAEL 5215 N O'CONNOR BLVD                                                LAS COLINAS   TX           75039
                                                         SUITE 470
              AYALA, CEC

              TRADITION
                                                         CENTRAL TOWER,
          376 ENERGY, MICHAEL 5215 N O'CONNOR BLVD                                                LAS COLINAS   TX           75039
                                                         SUITE 470
              AYALA, CEC

                                                                                                  NORTH
          377 JOE STINOLIS    31269 BRADLEY RD                                                                  OH           44070
                                                                                                  OLMSTEAD

              TRADITION
                                                         CENTRAL TOWER,
          378 ENERGY, MICHAEL 5215 N O'CONNOR BLVD                                                LAS COLINAS   TX           75039
                                                         SUITE 470
              AYALA, CEC

              TRADITION
                                                         CENTRAL TOWER,
          379 ENERGY, MICHAEL 5215 N O'CONNOR BLVD                                                LAS COLINAS   TX           75039
                                                         SUITE 470
              AYALA, CEC




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     ID         Epiq Contract No    Store Number        Case                                      Debtor                                 Responsible Person                     Contract Counter Party


          380 NO COPY              65212           13-13227    CHAMPPS OPERATING CORPORATION                                           GREG WALDO             IGS




          381 NO COPY              65211           13-13227    CHAMPPS OPERATING CORPORATION                                           GREG WALDO             IGS




          382 NO COPY              65220           13-13227    CHAMPPS OPERATING CORPORATION                                           GREG WALDO             IGS




          383 NO COPY              65210           13-13227    CHAMPPS OPERATING CORPORATION                                           GREG WALDO             IGS




          384 NO COPY              65237           13-13227    CHAMPPS OPERATING CORPORATION                                           GREG WALDO             IGS




          385 NO COPY              65091           13-13227    CHAMPPS OPERATING CORPORATION                                           GREG WALDO             IGS




          386 NO COPY              65244           13-13227    CHAMPPS OPERATING CORPORATION                                           GREG WALDO             IGS




          387 NO COPY              65230           13-13249    FOX & HOUND RESTAURANT GROUP                                            GREG WALDO             IGS




          388 NO COPY              65018           13-13249    FOX & HOUND RESTAURANT GROUP                                            GREG WALDO             IGS




          389 NO COPY              65088           13-13246    FOX AND HOUND OF OHIO, INC                                              GREG WALDO             IGS




          390 NO COPY              65067           13-13249    FOX & HOUND RESTAURANT GROUP                                            GREG WALDO             IGS


          391 13.00                WARRINGTON      13-13224    FHRG, INC (for the benefit of CHAMPPS OPERATING CORPORATION)            GREG WALDO             M2 DEVELOPMENT SERVICES, LLC




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     ID                      Type of Contract                              Description of Contract                          Assume             Reject   Cure Amount   Contract No Date of ContractTermination Date


          380 NATURAL GAS ENGERGY CONTRACT      LOCATION OF CONTRACT: 1827 OLENTANGY RIVER RD, COLUMBUS, OH 43212                                                                       4/1/2013      12/31/2014




          381 NATURAL GAS ENGERGY CONTRACT      LOCATION OF CONTRACT: 161 E. CAMPUS VIEW BLVD., COLUMBUS, OH 43235                                                                      4/1/2013      12/31/2014




          382 NATURAL GAS ENGERGY CONTRACT      LOCATION OF CONTRACT: 7880 WASHINGTON VILLAGE DR, CENTERVILLE, OH 45458                                                                 1/1/2013      12/31/2014




          383 NATURAL GAS ENGERGY CONTRACT      LOCATION OF CONTRACT: 5835 LANDERBROOK DR, MAYFIELD HEIGHTS, OH 44124                                                                   1/1/2013      12/31/2014




          384 NATURAL GAS ENGERGY CONTRACT      LOCATION OF CONTRACT: 5989 CANAL RD, VALLEY VIEW, OH 44125                                                                              1/1/2013      12/31/2014




          385 NATURAL GAS ENGERGY CONTRACT      LOCATION OF CONTRACT: 5113 BOWEN DR, MASON, OH 45040                                                                                    1/1/2013      12/31/2014




          386 NATURAL GAS ENGERGY CONTRACT      LOCATION OF CONTRACT: 9424 CIVIC CENTER BLVD, WEST CHESTER, OH 45069                                                                    1/1/2013      12/31/2014




          387 NATURAL GAS ENGERGY CONTRACT      LOCATION OF CONTRACT: 4770 EVERHARD RD NW, CANTON, OH 44718                                                                             1/1/2013      12/31/2014




          388 NATURAL GAS ENGERGY CONTRACT      LOCATION OF CONTRACT: 1479 SOM CENTER RD, MAYFIELD HEIGHTS, OH 44124                                                                    1/1/2013      12/31/2014




          389 NATURAL GAS ENGERGY CONTRACT      LOCATION OF CONTRACT: 2661 FAIRFIELD COMMONS, DAYTON, OH 45431                                                                          1/1/2013      12/31/2014




          390 NATURAL GAS ENGERGY CONTRACT      LOCATION OF CONTRACT: 11581 ROBIOUS RD, MIDLOTHIAN, VA 23113                                                                            1/1/2013      12/31/2014


          391 SERVICE AGREEMENT                 PROJECT DEVELOPMENT AGREEMENT                                                                                                         10/10/2012




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     ID          Attention                  Address 1        Address 2   Address 3   Address 4          City        State           Zip   Country   Email   Phone   Fax
              TRADITION
                                                        CENTRAL TOWER,
          380 ENERGY, MICHAEL 5215 N O'CONNOR BLVD                                               LAS COLINAS   TX           75039
                                                        SUITE 470
              AYALA, CEC

              TRADITION
                                                        CENTRAL TOWER,
          381 ENERGY, MICHAEL 5215 N O'CONNOR BLVD                                               LAS COLINAS   TX           75039
                                                        SUITE 470
              AYALA, CEC

              TRADITION
                                                        CENTRAL TOWER,
          382 ENERGY, MICHAEL 5215 N O'CONNOR BLVD                                               LAS COLINAS   TX           75039
                                                        SUITE 470
              AYALA, CEC

              TRADITION
                                                        CENTRAL TOWER,
          383 ENERGY, MICHAEL 5215 N O'CONNOR BLVD                                               LAS COLINAS   TX           75039
                                                        SUITE 470
              AYALA, CEC

              TRADITION
                                                        CENTRAL TOWER,
          384 ENERGY, MICHAEL 5215 N O'CONNOR BLVD                                               LAS COLINAS   TX           75039
                                                        SUITE 470
              AYALA, CEC

              TRADITION
                                                        CENTRAL TOWER,
          385 ENERGY, MICHAEL 5215 N O'CONNOR BLVD                                               LAS COLINAS   TX           75039
                                                        SUITE 470
              AYALA, CEC

              TRADITION
                                                        CENTRAL TOWER,
          386 ENERGY, MICHAEL 5215 N O'CONNOR BLVD                                               LAS COLINAS   TX           75039
                                                        SUITE 470
              AYALA, CEC

              TRADITION
                                                        CENTRAL TOWER,
          387 ENERGY, MICHAEL 5215 N O'CONNOR BLVD                                               LAS COLINAS   TX           75039
                                                        SUITE 470
              AYALA, CEC

              TRADITION
                                                        CENTRAL TOWER,
          388 ENERGY, MICHAEL 5215 N O'CONNOR BLVD                                               LAS COLINAS   TX           75039
                                                        SUITE 470
              AYALA, CEC

              TRADITION
                                                        CENTRAL TOWER,
          389 ENERGY, MICHAEL 5215 N O'CONNOR BLVD                                               LAS COLINAS   TX           75039
                                                        SUITE 470
              AYALA, CEC

              TRADITION
                                                        CENTRAL TOWER,
          390 ENERGY, MICHAEL 5215 N O'CONNOR BLVD                                               LAS COLINAS   TX           75039
                                                        SUITE 470
              AYALA, CEC
          391                2508 WHITE SANDS DR                                                 GREAT BEND    KS           67530




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     ID         Epiq Contract No    Store Number        Case                                     Debtor                                    Responsible Person                     Contract Counter Party


          392 NO COPY              65023           13-13249    FOUND & HOUND RESTAURANT GROUP                                            GREG WALDO             NATIONAL FUEL AND GAS


          393 6.00                 CORPORATE       13-13249    FOX & HOUND RESTAURANT GROUP                                              GREG WALDO             PROTECTION ONE ALARM MONITORING

                                                               FOX AND HOUND PUB AND GRILLE (for the benefit of FOX & HOUND OF KANSAS,
          394 NO COPY              65029           13-13225                                                                              GREG WALDO             SEMINOLE ENERGY SERVICES LLC
                                                               INC.)


                                                               FOX AND HOUND PUB AND GRILLE (for the benefit of FOX & HOUND OF KANSAS,
          395 NO COPY              65069           13-13225                                                                              GREG WALDO             SEMINOLE ENERGY SERVICES LLC
                                                               INC.)


                                                               FOX AND HOUND PUB AND GRILLE (for the benefit of FOX & HOUND OF OKLAHOMA,
          396 NO COPY              65075           13-13225                                                                              GREG WALDO             SEMINOLE ENERGY SERVICES LLC
                                                               INC.)


                                                               FOX AND HOUND PUB AND GRILLE (for the benefit of FOX & HOUND OF OKLAHOMA,
          397 NO COPY              65064           13-13225                                                                              GREG WALDO             SEMINOLE ENERGY SERVICES LLC
                                                               INC.)


                                   65252 AND
          398 NO COPY                              13-13227    CHAMPPS OPERATING CORP                                                    GREG WALDO             SPRAGUE ENERGY CORP
                                   65230


                                                               TENT RESTAURANT OPERATIONS, INC DBA THE FOX AND HOUND SMOKEHOUSE AND
          399 NO COPY              65061           13-13259                                                                         GREG WALDO                  SPRAGUE ENERGY CORP
                                                               TAVERN



          400 NO COPY              65252           13-13227    CHAMPPS OPERATING CORPORATION                                             GREG WALDO             SPRAGUE ENERGY CORP




          401 NO COPY              65230           13-13227    CHAMPPS OPERATING CORPORATION                                             GREG WALDO             SPRAGUE ENERGY CORP




          402 NO COPY              65073           13-13227    CHAMPPS OPERATING CORPORATION                                             GREG WALDO             SPRAGUE ENERGY CORP




          403 NO COPY              65204           13-13224    CHAMPPS ENTERTAINMENT                                                     GREG WALDO             SPRAGUE ENERGY CORP




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     ID                      Type of Contract                              Description of Contract                          Assume             Reject   Cure Amount   Contract No Date of ContractTermination Date


          392 NATURAL GAS ENGERGY CONTRACT      LOCATION OF CONTRACT: 250 MILLCREEK PLAZA, ERIE, PA 16565                                                                               1/1/2013      12/31/2014


          393 SERVICE AGREEMENT                 BURGULAR & FIRE ALARM MONITORING & SERVICES                                                                           700003381        8/26/2010       8/25/2015


          394 NATURAL GAS ENGERGY CONTRACT      LOCATION OF CONTRACT: 10428 METCALF AVENUE, OVERLAND PARK, KS 66212                                                                     1/1/2014      12/31/2015




          395 NATURAL GAS ENGERGY CONTRACT      LOCATION OF CONTRACT: 1421 WATERFRONT PARKWAY, WICHITA, KS 67206                                                                        1/1/2014      12/31/2015




          396 NATURAL GAS ENGERGY CONTRACT      LOCATION OF CONTRACT: 7001 GARNETT, BROKEN ARROW, OK 74012                                                                              1/1/2014      12/31/2015




          397 NATURAL GAS ENGERGY CONTRACT      LOCATION OF CONTRACT: 3031 MEMORIAL, OKLAHOMA CITY, OK 73134                                                                            1/1/2014      12/31/2015




          398 NATURAL GAS ENGERGY CONTRACT                                                                                                                                              1/1/2013      12/31/2014




          399 NATURAL GAS ENGERGY CONTRACT      LOCATION OF CONTRACT: 1501 SPRUCE ST, PHILADELPHIA, PA 19102                                                                            1/1/2013      12/31/2014



                                                LOCATION OF CONTRACT: 2100 S. CHRISTOPHER COLUMBUS BLVD, PHILADELPHIA, PA
          400 NATURAL GAS ENGERGY CONTRACT                                                                                                                                              1/1/2013      12/31/2014
                                                19148



          401 NATURAL GAS ENGERGY CONTRACT      LOCATION OF CONTRACT: 330 GODDARD BLVD, KING OF PRUSSIA, PA 19406                                                                                     12/31/2014




          402 NATURAL GAS ENGERGY CONTRACT      LOCATION OF CONTRACT: 1 PARSONAGE ROAD, #F15, EDISON, NJ 08837                                                                          1/1/2014      12/31/2013




          403 NATURAL GAS ENGERGY CONTRACT      LOCATION OF CONTRACT: 25 ROUTE 73 SOUTH, EVESHAM TOWNSHIP, NJ 08053                                                                     1/1/2014      12/31/2013




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     ID          Attention                  Address 1           Address 2   Address 3   Address 4          City        State           Zip   Country   Email   Phone   Fax
              TRADITION
                                                           CENTRAL TOWER,
          392 ENERGY, MICHAEL 5215 N O'CONNOR BLVD                                                  LAS COLINAS   TX           75039
                                                           SUITE 470
              AYALA, CEC
          393 SHELLY DOLLAR   4221 W JOHN CARPENTER FRWY                                            IRVING        TX           75063
              TRADITION
                                                           CENTRAL TOWER,
          394 ENERGY, MICHAEL 5215 N O'CONNOR BLVD                                                  LAS COLINAS   TX           75039
                                                           SUITE 470
              AYALA, CEC

              TRADITION
                                                           CENTRAL TOWER,
          395 ENERGY, MICHAEL 5215 N O'CONNOR BLVD                                                  LAS COLINAS   TX           75039
                                                           SUITE 470
              AYALA, CEC

              TRADITION
                                                           CENTRAL TOWER,
          396 ENERGY, MICHAEL 5215 N O'CONNOR BLVD                                                  LAS COLINAS   TX           75039
                                                           SUITE 470
              AYALA, CEC

              TRADITION
                                                           CENTRAL TOWER,
          397 ENERGY, MICHAEL 5215 N O'CONNOR BLVD                                                  LAS COLINAS   TX           75039
                                                           SUITE 470
              AYALA, CEC

              TRADITION
                                                           CENTRAL TOWER,
          398 ENERGY, MICHAEL 5215 N O'CONNOR BLVD                                                  LAS COLINAS   TX           75039
                                                           SUITE 470
              AYALA, CEC

              TRADITION
                                                           CENTRAL TOWER,
          399 ENERGY, MICHAEL 5215 N O'CONNOR BLVD                                                  LAS COLINAS   TX           75039
                                                           SUITE 470
              AYALA, CEC

              TRADITION
                                                           CENTRAL TOWER,
          400 ENERGY, MICHAEL 5215 N O'CONNOR BLVD                                                  LAS COLINAS   TX           75039
                                                           SUITE 470
              AYALA, CEC

              TRADITION
                                                           CENTRAL TOWER,
          401 ENERGY, MICHAEL 5215 N O'CONNOR BLVD                                                  LAS COLINAS   TX           75039
                                                           SUITE 470
              AYALA, CEC

              TRADITION
                                                           CENTRAL TOWER,
          402 ENERGY, MICHAEL 5215 N O'CONNOR BLVD                                                  LAS COLINAS   TX           75039
                                                           SUITE 470
              AYALA, CEC

              TRADITION
                                                           CENTRAL TOWER,
          403 ENERGY, MICHAEL 5215 N O'CONNOR BLVD                                                  LAS COLINAS   TX           75039
                                                           SUITE 470
              AYALA, CEC




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     ID         Epiq Contract No    Store Number        Case                                    Debtor                              Responsible Person                     Contract Counter Party


          404 NO COPY              65073           13-13249    FOX AND HOUND RESTAURANT GROUP                                     GREG WALDO             SPRAGUE ENERGY CORP




          405 NO COPY              65082           13-13242    FOX & HOUND OF MARYLAND, INC                                       GREG WALDO             TIGER INC




          406 NO COPY              65063           13-13245    FOX & HOUND OF NEW MEXICO, INC                                     GREG WALDO             TIGER INC




          407 NO COPY              65241           13-13227    CHAMPPS OPERATING CORP                                             GREG WALDO             TIGER INC




          408 NO COPY              65226           13-13227    CHAMPPS OPERATING CORP                                             GREG WALDO             TIGER INC




          409 NO COPY              65207           13-13227    CHAMPPS OPERATING CORP                                             GREG WALDO             TIGER INC




          410 NO COPY              65062           13-13259    TENT RESTAURANT OPERATIONS                                         GREG WALDO             TIGER INC




          411 NO COPY              65078           13-13259    TENT RESTAURANT OPERATIONS                                         GREG WALDO             TIGER INC



          412 NO COPY              65219           13-13249    FOX & HOUND RESTAURANT GROUP/ CHAMPPS ENTERTAINMENT, INC           GREG WALDO             TRAPP ASSOC LTD CORP


          413 NO COPY              65219           13-13249    FOX & HOUND RESTAURANT GROUP/ CHAMPPS ENTERTAINMENT, INC           GREG WALDO             TRAPP ASSOC LTD CORP



          414 NO COPY              65231           13-13227    CHAMPPS OPERATING CORPORATION                                      GREG WALDO             WGES




          415 NO COPY              65231           13-13227    CHAMPPS OPERATING CORPORATION                                      GREG WALDO             WGES


          416 NO COPY              65077           13-13259    TENT REST. OPERATIONS                                              GREG WALDO             ZERNCO




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     ID                      Type of Contract                               Description of Contract                         Assume             Reject   Cure Amount   Contract No Date of ContractTermination Date


          404 NATURAL GAS ENGERGY CONTRACT      LOCATION OF CONTRACT: 55 PARSONAGE RD, EDISON, NJ 08837                                                                                 1/1/2014      12/31/2015




          405 NATURAL GAS ENGERGY CONTRACT      LOCATION OF CONTRACT: 20021 CENTURY BLVD, GERMANTOWN, MD 20874                                                                          1/1/2014      12/31/2014




          406 NATURAL GAS ENGERGY CONTRACT      LOCATION OF CONTRACT: 4301 THE 25 WAY NE, ALBUQUERQUE, NM 87109                                                                         1/1/2013      12/31/2015




          407 NATURAL GAS ENGERGY CONTRACT      LOCATION OF CONTRACT: 11724 FAIR OAKS MALL #U, FAIRFAX, VA 22033                                                                        1/1/2014      12/31/2014




          408 NATURAL GAS ENGERGY CONTRACT      LOCATION OF CONTRACT: 1201 S JOYCE ST #C10, PENTAGON, VA 22202                                                                          1/1/2014      12/31/2014




          409 NATURAL GAS ENGERGY CONTRACT      LOCATION OF CONTRACT: 11694 PLAZA AMERICA DR, RESTON, VA 20190                                                                          1/1/2014      12/31/2014




          410 NATURAL GAS ENGERGY CONTRACT      LOCATION OF CONTRACT: 4238 WILSON BLVD, ARLINGTON, VA 22203                                                                             1/1/2014      12/31/2014




          411 NATURAL GAS ENGERGY CONTRACT      LOCATION OF CONTRACT: 2010-A CRYSTAL DR, ARLINGTON, VA 22202                                                                            1/1/2014      12/31/2014


                                                                                                                                                                      LAS COLINAS
          412 PROFESSIONAL SERVICES AGREEMENT   DESIGN - INTERIOR REMODEL                                                                                                              6/14/2013
                                                                                                                                                                      65219

                                                                                                                                                                      LAS COLINAS
          413 PROFESSIONAL SERVICES AGREEMENT   DESIGN - PATIO REMODEL                                                                                                                 6/15/2013
                                                                                                                                                                      65220


                                                LOCATION OF CONTRACT: 10300 LITTLE PATUXENT PKWY, STE 3040, COLUMBIA, MD
          414 NATURAL GAS ENGERGY CONTRACT                                                                                                                                              1/1/2013      12/31/2014
                                                21044


                                                LOCATION OF CONTRACT: 10300 LITTLE PATUXENT PKWY, STE 3040, COLUMBIA, MD
          415 ELECTRICITY ENGERGY CONTRACT                                                                                                                                             12/1/2010      12/31/2013
                                                21044

                                                                                                                                                                      RALEIGH NC
          416 CONSTRUCTION AGREEMENT            REMODEL                                                                                                                                 8/7/2013       9/20/2013
                                                                                                                                                                      65077



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     ID          Attention                    Address 1        Address 2   Address 3   Address 4          City        State           Zip   Country   Email   Phone   Fax
              TRADITION
                                                          CENTRAL TOWER,
          404 ENERGY, MICHAEL 5215 N O'CONNOR BLVD                                                 LAS COLINAS   TX           75039
                                                          SUITE 470
              AYALA, CEC

              TRADITION
                                                          CENTRAL TOWER,
          405 ENERGY, MICHAEL 5215 N O'CONNOR BLVD                                                 LAS COLINAS   TX           75039
                                                          SUITE 470
              AYALA, CEC

              TRADITION
                                                          CENTRAL TOWER,
          406 ENERGY, MICHAEL 5215 N O'CONNOR BLVD                                                 LAS COLINAS   TX           75039
                                                          SUITE 470
              AYALA, CEC

              TRADITION
                                                          CENTRAL TOWER,
          407 ENERGY, MICHAEL 5215 N O'CONNOR BLVD                                                 LAS COLINAS   TX           75039
                                                          SUITE 470
              AYALA, CEC

              TRADITION
                                                          CENTRAL TOWER,
          408 ENERGY, MICHAEL 5215 N O'CONNOR BLVD                                                 LAS COLINAS   TX           75039
                                                          SUITE 470
              AYALA, CEC

              TRADITION
                                                          CENTRAL TOWER,
          409 ENERGY, MICHAEL 5215 N O'CONNOR BLVD                                                 LAS COLINAS   TX           75039
                                                          SUITE 470
              AYALA, CEC

              TRADITION
                                                          CENTRAL TOWER,
          410 ENERGY, MICHAEL 5215 N O'CONNOR BLVD                                                 LAS COLINAS   TX           75039
                                                          SUITE 470
              AYALA, CEC

              TRADITION
                                                          CENTRAL TOWER,
          411 ENERGY, MICHAEL 5215 N O'CONNOR BLVD                                                 LAS COLINAS   TX           75039
                                                          SUITE 470
              AYALA, CEC


          412 TIM TRAPP      965 LINDEN AVE                                                        BOULDER       CO           80304


          413 TIM TRAPP      965 LINDEN AVE                                                        BOULDER       CO           80305


              TRADITION
                                                          CENTRAL TOWER,
          414 ENERGY, MICHAEL 5215 N O'CONNOR BLVD                                                 LAS COLINAS   TX           75039
                                                          SUITE 470
              AYALA, CEC

              TRADITION
                                                          CENTRAL TOWER,
          415 ENERGY, MICHAEL 5215 N O'CONNOR BLVD                                                 LAS COLINAS   TX           75039
                                                          SUITE 470
              AYALA, CEC

          416 SCOTT MARKCO   11225 SW US HIGHWAY 54                                                AUGUSTA       KS           67010




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     ID         Epiq Contract No    Store Number        Case                                  Debtor                           Responsible Person                        Contract Counter Party
          417 NO COPY              65028           13-13259    TENT REST. OPERATIONS                                        GREG WALDO              ZERNCO

          418 NO COPY              65071           13-13259    TENT REST. OPERATIONS                                        GREG WALDO              ZERNCO

          419 NO COPY              65087           13-13259    TENT REST. OPERATIONS                                        GREG WALDO              ZERNCO

          420 NO COPY              65041           13-13259    TENT REST. OPERATIONS                                        GREG WALDO              ZERNCO
                                                                                                                                                    CONSOLIDATED CONCEPTS AND NATIONAL PRODUCE
          421 15.00                CORPORATE       13-13220    F&H ACQUISITION CORP.                                        JEFF BURRUS
                                                                                                                                                    CONSULTANTS, INC.
          422 14.00                                13-13224    CHAMPS ENTERTAINMENT, INC                                    JEFF BURRUS             DISTRIBUTION MARKET ADVANTAGE INC
          423 18.00                                13-13249    FOX & HOUND RESTAURANT GROUP                                 JEFF BURRUS             DISTRIBUTION MARKET ADVANTAGE INC
          424 17.00                CORPORATE       13-13220    F&H ACQUISITION CORP                                         JEFF BURRUS             EDWARD DON & COMPANY
          425 16.00                                13-13249    FOX & HOUND RESTAURANT GROUP                                 JEFF BURRUS             THE C.F. SAUER COMPANY
          426                                                                                                               JEFF BURUS              A ZEREGAS SONS INC
          427                                                                                                               JEFF BURUS              AMERICAN BEVERAGE MARKETERS
          428                                                                                                               JEFF BURUS              AMERICAN ROLAND FOOD CORP
          429                                                                                                               JEFF BURUS              ANCHOR PACKAGING INC
          430                                                                                                               JEFF BURUS              ASA TRADING CO (IMPORTER)
          431                                                                                                               JEFF BURUS              ASTRA FOODS
          432                                                                                                               JEFF BURUS              AZAR NUT COMPANY
          433                                                                                                               JEFF BURUS              BARON SPICES

          434                                                                                                               JEFF BURUS              BEN E KEITH
          435                                                                                                               JEFF BURUS              BERRY PLASTICS
          436                                                                                                               JEFF BURUS              BURNETT & SON MEAT CO
          437                                                                                                               JEFF BURUS              BUTTERBALL LLC (POULTRY)
          438                                                                                                               JEFF BURUS              C F SAUER COMPANY
          439                                                                                                               JEFF BURUS              CAMPBELL SOUP COMPANY
          440                                                                                                               JEFF BURUS              CENTRAL SEAWAY CO (IMPORTER)
          441                                                                                                               JEFF BURUS              CHEF PAUL PRUDHOMME MAGIC SPICES

          442                                                                                                               JEFF BURUS              COCA COLA USA

          443                                                                                                               JEFF BURUS              COMMAND PACKAGING
          444                                                                                                               JEFF BURUS              CONAGRA FOODS INC
          445                                                                                                               JEFF BURUS              CONTINENTAL MILLS INC
          446                                                                                                               JEFF BURUS              DAISY BRAND INC
          447                                                                                                               JEFF BURUS              DIRECT SOURCE

          448                                                                                                               JEFF BURUS              DOLE FOOD COMPANY INC




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     ID                        Type of Contract                            Description of Contract                    Assume             Reject   Cure Amount    Contract No Date of ContractTermination Date
                                                                                                                                                                MEMPHIS #2
          417 CONSTRUCTION AGREEMENT              REMODEL                                                                                                                         8/23/2013       10/4/2013
                                                                                                                                                                65028
                                                                                                                                                                HUNTERSVIL
          418 CONSTRUCTION AGREEMENT              REMODEL                                                                                                                         9/12/2013      10/18/2013
                                                                                                                                                                LE 65071
                                                                                                                                                                SOUTHAVEN
          419 CONSTRUCTION AGREEMENT              REMODEL                                                                                                                         10/1/2013      10/25/2013
                                                                                                                                                                65087
                                                                                                                                                                NASHVILLE
          420 CONSTRUCTION AGREEMENT              REMODEL                                                                                                                         9/12/2013       11/8/2013
                                                                                                                                                                65041
          421 SERVICE AGREEMENT                   FRESH PRODUCE ACQUISITION AGREEMENT                                                                                              4/5/2013        4/5/2014
          422 SERVICE AGREEMENT                   FOODSERVICE DISTRIBUTION AGREEMENT                                                                                              12/5/2011       12/4/2014
          423 SERVICE AGREEMENT                   FOODSERVICE DISTRIBUTION AGREEMENT                                                                                              12/5/2011       12/4/2014
          424 SERVICE AGREEMENT                   PURCHASING, WAREHOUSING & DISTRIBUTION AGREEMENT                                                                                 6/1/2007        6/1/2014
          425 SERVICE AGREEMENT                   PRICING CONFIRMATION AND SUPPLY AGREEMENT                                                                                        7/1/2013
          426 PRICING AGREEMENT
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2455538-1                                                                                              1.1(a) - 50
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     ID            Attention                    Address 1           Address 2   Address 3   Address 4          City        State           Zip   Country   Email   Phone   Fax
          417 SCOTT MARKCO     11225 SW US HIGHWAY 54                                                   AUGUSTA       KS           67010

          418 SCOTT MARKCO     11225 SW US HIGHWAY 54                                                   AUGUSTA       KS           67010

          419 SCOTT MARKCO     11225 SW US HIGHWAY 54                                                   AUGUSTA       KS           67010

          420 SCOTT MARKCO     11225 SW US HIGHWAY 54                                                   AUGUSTA       KS           67010

          421                  555 REPUBLIC DRIVE, STE 302                                              PLANO         TX           75074
          422                  1515 WOODFIELD RD.                                                       SCHAUMBURG    IL           60173
          423                  1515 WOODFIELD RD.                                                       SCHAUMBURG    IL           60173
                                                                                                        NORTH
          424                  250 SOUTH HARLEM AVENUE                                                                IL           60546
                                                                                                        RIVERSIDE
          425                  2000 WEST BROAD STREET                                                   RICHMOND      VA           23150
          426 LOUIS CAVALIERE P.O. BOX 12298N                                                           NEWARK        NJ           7010
          427   JIM BARNETT    P.O. BOX 347                                                             NEW ALBANY    IN           47151
          428   JOEL LUNDE     71 WEST 23RD STREET                                                      NEW YORK      NY           10010
          429   GWEN SHAW      13515 BARRETT PARKWAY DR                                                 ST LOUIS      MO           63021
          430   CINDY YUENG    1788 FAIRWAY DRIVE                                                       LEANDRO       CA           94577
          431 JOANNE RHOADES 6430 MARKET STREET                                                         UPPER DARBY   PA           19082
          432 PAM HEGELSON     1800 NORTHWESTERN DRIVE                                                  EL PASO       TX           79912
          433 CHARLIE WIEGERS 1440 KENTUCKY AVE                                                         ST LOUIS      MO           63110

          434 STEVE FERGUSON 7600 WILL ROGERS BLVD                                                      FT WORTH      TX           76140
          435 TJ LEWIS         6880 BARTON RD                                                           MORROW        GA           30260
          436 JIM BURNETT      1420 SOUTH MYRTLE AVE                                                    MONROVIA      CA           91016
              SCOTT
          437
              MCCLARON
          438 DAN CARFANG      2000 WEST BROAD STREET          PO BOX 27366                             RICHMOND      VA           23150
          439 MICHEAL SMITH    214 578 9164
          440 DAVE BENNETT     650 DUNDEE ROAD                                                          NORTHBROOK    IL           60062
              MAGIC
          441                  720 DISTRIBUTORS ROW                                                     HARAHAN       LA           70123
              SEASONING
          442 LAURIE DEARING                                                                            ATLANTA       GA

          443 LAUREN GRANDE 3840 EAST 26TH STREET                                                       VERNON        CA           90058
          444 MARK KILTAU
          445 RON ROGERS       18100 ANDOVER PARK WEST                                                  TUKIWA        WA           98188
          446 JOE JOHNSON
              BRYAN                                                                                     FLOWER
          447                  1200 LAKESIDE PKWY, SUITE 400                                                          TX           75028
              UPCHURCH                                                                                  MOUND
          448 MICHEAL ROSSER 949 216 9112




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     ID         Epiq Contract No   Store Number        Case                                  Debtor                           Responsible Person                      Contract Counter Party
          449                                                                                                              JEFF BURUS              DR PEPPER SNAPPLE GROUP
          450                                                                                                              JEFF BURUS              DURO BAG MFG CO
          451                                                                                                              JEFF BURUS              ECOLAB INC
          452                                                                                                              JEFF BURUS              FLOWERS FOOD SPECIALTY GROUP
          453                                                                                                              JEFF BURUS              FOODHANDLER INC
          454                                                                                                              JEFF BURUS              GENPAK LLC
          455                                                                                                              JEFF BURUS              GEORGIA PACIFIC
          456                                                                                                              JEFF BURUS              GIELOW PICKLES INC
          457                                                                                                              JEFF BURUS              HANDGARDS INC
          458                                                                                                              JEFF BURUS              HANDI FOIL OF AMERICA
          459                                                                                                              JEFF BURUS              HANDY WACKS INC
          460                                                                                                              JEFF BURUS              HEINZ USA
          461                                                                                                              JEFF BURUS              HERSHEY COMPANY
          462                                                                                                              JEFF BURUS              HIGHLAND BAKING COMPANY
          463                                                                                                              JEFF BURUS              HILLSHIRE BRANDS CO
          464                                                                                                              JEFF BURUS              HORMEL FOODS CORPORATION
          465                                                                                                              JEFF BURUS              HUHTAMAKI FOODSERVICE INC
          466                                                                                                              JEFF BURUS              INTERNATIONAL SEAFOOD VENTURES LLC
          467                                                                                                              JEFF BURUS              JENNIE O TURKEY STORE INC
          468                                                                                                              JEFF BURUS              JOHN MORRELL & COMPANY
          469                                                                                                              JEFF BURUS              JOSEPHS GOURMET PASTAS
          470                                                                                                              JEFF BURUS              JR SIMPLOT CO
          471                                                                                                              JEFF BURUS              KELLOGGS FOODSERVICE
          472                                                                                                              JEFF BURUS              KENS FOODS INC
          473                      CORPORATE      13-13249    FOX & HOUND RESTAURANT GROUP                                 JEFF BURUS              LAMB WESTON INC
          474                                                                                                              JEFF BURUS              LAWLER FOODS LTD
          475                                                                                                              JEFF BURUS              LEOS FOODS
          476                                                                                                              JEFF BURUS              LYONS MAGNUS
          477                                                                                                              JEFF BURUS              MCCAIN FOODS LIMITED
          478                                                                                                              JEFF BURUS              MICHAEL FOODS INC
          479                                                                                                              JEFF BURUS              MISSION FOODS INC
          480                                                                                                              JEFF BURUS              MONIN INC
          481                                                                                                              JEFF BURUS              NATHAN'S FAMOUS
          482                                                                                                              JEFF BURUS              NESTLE BRANDS FOODSERVICE
          483                                                                                                              JEFF BURUS              OZIAMA INC
          484                                                                                                              JEFF BURUS              PACTIV CORP
          485                                                                                                              JEFF BURUS              PANAPESCA USA CORP



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     ID                      Type of Contract          Description of Contract                    Assume             Reject   Cure Amount   Contract No Date of ContractTermination Date
          449 PRICING AGREEMENT
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     ID          Attention                       Address 1   Address 2   Address 3   Address 4        City           State           Zip   Country   Email   Phone   Fax
          449 BRYAN CHILDS       5301 LEGACY DRIVE                                               PLANO          TX           75024
          450 GREG MERTES        P.O. BOX 630115                                                 CINNCINNATTI   OH           45263
          451   WILLIAM KELLER   370 N WABASHA STREET                                            ST PAUL        MN           55102
          452   JEFF STRAIN      P.O. BOX 102276                                                 ATLANTA        GA           30368
          453   MIKE GYLES       4348 SOLUTIONS DRIVE                                            CHICAGO        IL           60677
          454   ANDY MITAS
          455 EARSELL COLLIER
          456 CRAIG GIELOW       5260 MAIN STREET                                                LEXINGTON      MI           48450
          457 MARK COLLIER       901 HAWKINS                                                     EL PASO        TX           79915
          458 JOHN BRINK         135 EAST HINTZ RD                                               WHEEELING      IL           60090
              MURRAY
          459                    100 EAST AVERILL                                                SPARTA         MI           49345
              SHELTON
          460 LES MANIS
          461 KEVIN AUSTENE      16128 VINTAGE DRIVE                                             PALINFIELD     IL           60586
          462 ROBIN SILVOSKY     2301 SHERMIER ROAD                                              NORHBROOK      IL
          463 STACY HAUCK        1707 TOWNEHURST DRIVE                                           HOUSTON        TX           77043
          464 JON SAULD
          465 KYLE KARNES
          466 BENETT KOZLOFF 5121 NE 55TH ST                                                     SEATTLE        WA           98105
          467 SCOTT OVERLY       P.O. BOX 93447                                                  CHICAGO        IL           60673
              BOB
          468
              HOFFMEISTER
          469 TIM HEALY
          470 DANIEL OZUNO
          471 ROBIN FELDMAN
          472 JAY ENGLISH        P.O. BOX 6197                                                   BOSTON         MA           2212
          473 TRACY WOLF         P.O. BOX 70075                                                  CHICAGO        IL           60673
          474 CRAIG HERBLEING P.O. BOX 2558                                                      HUMBLE         TX           77347
          475 JEFF STRAIN        P.O. BOX 102276                                                 ATLANTA        GA           30368
          476 SUSAN PRINS        3158 EAST HAMILTON AVE                                          FRESNO         CA           93702
          477 KEVIN TATE                                                                         OAKBROOK       IL
              SCOTT
          478                    P.O. BOX 98378                                                  CHICAGO        IL           60693
              ELWONGER
          479 ROBIN REED         125 NICOLE WAY                                                  GEORGETOWN     TX           78628
          480 LORETTA AUTHOR P.O. BOX 538475                                                     ATLANTA        GA           30353
          481 DON PERLINN        ONE JERICHO PLAZA                                               JERICHO        NY           11753
          482 RICH HOVESPLAN
          483 KURT KAISER        1260 GREY FOX ROAD                                              ARDEN HILLS    MN           55112
          484 JASON ATKINS       1900 W FIELD COURT                                              LAKE FOREST    IL           60045
          485 NINA HUNTER        42 EINTER SUITE UNIT 7                                          PEMBROKE       MA           2359



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     ID         Epiq Contract No   Store Number        Case                                     Debtor                           Responsible Person                       Contract Counter Party
          486                                                                                                                 JEFF BURUS              PROCESSED FOODS CORP.
          487                                                                                                                 JEFF BURUS              PRODUCERS RICE MILL
          488                                                                                                                 JEFF BURUS              RECKITT BENCKISER INC
          489                                                                                                                 JEFF BURUS              RED GOLD LLC
          490                                                                                                                 JEFF BURUS              RICH PRODUCTS CORP
          491                                                                                                                 JEFF BURUS              RON SON FOODS INC
          492                                                                                                                 JEFF BURUS              ROTELLA'S ITALIAN BAKERY
          493                                                                                                                 JEFF BURUS              ROYAL PAPER PRODUCTS INC
          494                                                                                                                 JEFF BURUS              RUPRECHT COMPANY
          495                                                                                                                 JEFF BURUS              S&D COFFEE
          496 22.0                 CORPORATE      13-13249    FOX AND HOUND RESTAURANT GROUP                                  JEFF BURUS              SAPUTO INC
          497                                                                                                                 JEFF BURUS              SARGENTO FOOD SERVICE CORP
          498                                                                                                                 JEFF BURUS              SCA TISSUE NORTH AMERICA
          499                                                                                                                 JEFF BURUS              SCHREIBER FOODS INTL (IMPORTER)
          500                                                                                                                 JEFF BURUS              SCHWAN'S FOOD SERVICE
          501                                                                                                                 JEFF BURUS              SOLO CUP CO

          502                                                                                                                 JEFF BURUS              SOUP BASES LOADED, INC.

          503                                                                                                                 JEFF BURUS              SOUTH STREAM SEAFOOD
          504                                                                                                                 JEFF BURUS              SPECIALTY ROLL PRODUCTS
          505 21.0                                13-13249    FOX AND HOUND RESTAURANT GROUP                                  JEFF BURUS              STRATAS FOODS
          506                                                                                                                 JEFF BURUS              SUGAR FOODS CORP
          507                                                                                                                 JEFF BURUS              SUGARDALE FOOD SERVICE
          508                                                                                                                 JEFF BURUS              TRONEX HEALTHCARE INDUSTRY
          509                                                                                                                 JEFF BURUS              TYSON FOODS INC

          510                                                                                                                 JEFF BURUS              ULTRA THIN PIZZA SHELLS
          511                                                                                                                 JEFF BURUS              VENTURA FOODS LLC
          512                                                                                                                 JEFF BURUS              WELLS ENTERPRISES INC
          513                      CORPORATE      13-13249    FOX & HOUND RESTAURANT GROUP                                    JEFF BURUS              WOLVERINE PACKING CO
          514 7.00                 CORPORATE      13-13220    F&H ACQUISITION CORP                                            KIM FOWLES              CNA SURETY
          515 8.00                 CORPORATE      13-13220    F&H ACQUISITION CORP                                            KIM FOWLES              LIBERTY MUTUAL

                                   FARMINGTON
          516 4.00                                13-13259    TENT RESTAURANT OPERATIONS, INC                                 KIM FOWLES              OAKLAND SPIRITS, LLC
                                   HILLS

          517 9.00                 WARRINGTON     13-13227    CHAMPPS OPERATING CORPORATION                                   KIM FOWLES              PIZZA HUT OF AMERICA, INC.
          518 5.00                 CORPORATE      13-13220    F&H ACQUISITION CORP                                            KIM FOWLES              STANLEY CONVERGENT SECURITY SOLUTIONS INC



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     ID                        Type of Contract                             Description of Contract                    Assume             Reject   Cure Amount   Contract No Date of ContractTermination Date
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          514   INDEMNITY AGREEMENT               INDEMNIFICATION FOR SURETY BOND
          515 INDEMNITY AGREEMENT                 INDEMNIFICATION FOR SURETY BOND


          516 PURCHASE AGREEMENT                  SALE OF LIQUOR LICENSE AGREEMENT


          517 PURCHASE AGREEMENT                  SALE OF LIQUOR LICENSE AGREEMENT                                                                                                7/11/2012
          518 SERVICE AGREEMENT                   SECURITY AGREEMENT                                                                                                               8/1/2010



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     ID            Attention                     Address 1              Address 2     Address 3   Address 4          City         State           Zip   Country   Email   Phone   Fax
          486 GRAHAM HUNTER 3600 PLEASANT RIDGE ROAD                                                          KNOXVILLE      TN           37921
          487   MIKE CULLEN     P.O. BOX 100 DEPT # 17                                                        MEMPHIS        TN           38148
          488   CRAIG DRYER     P.O. BOX 088159                                                               CHICAGO        IL           60695
          489   DON GRIMM       P.O. BOX 71862                                                                CHICAGO        IL           60694
          490   NANCY MASON     P.O. BOX 68333                                                                CHICAGO        IL           60639
          491 WENDY JEFFRIES    P.O. BOX 38                                                                   SWEDESBORO     NJ           8085
          492 ROCKY ROTELLA     6949 SOUTH 108TH ST                                                           LA VISTA       NE           68128
          493 WARREN JANE       P.O. BOX 62834                                                                BALTIMORE      MD           21264
              WALTER
          494                   P.O. BOX 66973                                                                CHICAGO        IL           60666
              SOMMERS
          495 JERRY MURPHY      P.O. BOX 1628                                                                 CONCORD        NC           28026
              MICHAEL
          496                   ONE OVERLOOK POINT, SUITE 300                                                 LINCOLNSHIRE   IL           60069
              JOHNSON
          497 TIM ROSS          4769 PAYSPHERE CIRCLE                                                         CHICAGO        IL           60674
              TRACY
          498                   2117 NETWORK PLACE                                                            CHICAGO        IL           60613
              FULLINGTON
          499 SCOTT LEACH       P.O. BOX 299                                                                  RAMSEY         NJ           7446
          500 LAURA SCHERER     607 WEST MAIL ST                                                              MARSHALL       MN           56258
              ELIZABETH
          501                   500 HOGSBACK ROAD                                                             MASON          MI           48854
              MELTON
              CLAUDE
          502                   1481 BALBOA AVE                                                               ONTARIO        CA           91761
              KOEBERLE
              CARMINI
          503                   100 METRO CENTER BLVD                                                         WARWCIK        RI           2886
              INTERIERI
          504 BRAD HUFF         P.O. BOX 5374                                                                 MERIDIAN       MS           39302
          505 BILLY EGGER       P.O. BOX 66903                                                                ST LOUIS       MO           63166
          506 DAVE WESTLUND 1309 INDIAN LAKE ROAD                                                             CARROLTON      TX           75007
          507 MIKE FURR     P.O. BOX 371028                                                                   PITTBURGH      PA           15251
          508 STEVE RUMMELL LOCK BOX 1997                          PO BOX 8500-1997                           PHILADELPHIA   PA           19178
              MATT
          509               2210 WEST OAKLAWN                                                                 SPRINGDALE     AR           72762
              CHARBONEAU
                                                                                                              GARDEN CITY
          510 DAVID PARRISH     202 ATLANTIC AVE                                                                             NY           11040
                                                                                                              PARK
          511 WADE DEAN         3201 NE LOOP 820                                                              FORT WORTH     TX           76137
          512 STEVE CRANGLE     1 BLUE BUNNY DRIVE                                                            LE MARS        IA           51031
          513 MIKE CROWE        2535 RIVARD                                                                   DETROIT        MI           48207
          514                   333 S WABASH                                                                  CHICAGO        IL           60634
                                                                                                              OVERLAND
          515                   6800 COLLEGE BLVD SUITE 700                                                                  KS           66211
                                                                                                              PARK
                CARLIN EDWARDS
          516                  2855 COOLIDGE HWY., STE 203                                                    TROY           MI           48084
                BROWN PLLC
                FLAHERTY &
          517                   610 SMITHFIELD STREET, SUITE 300                                              PITTSBURGH     PA           15222
                O'HARA
          518                   DEPT CH 10651                                                                 PALATINE       IL           60055



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     ID         Epiq Contract No    Store Number        Case                                      Debtor                                       Responsible Person                     Contract Counter Party
          519 NO COPY              65028           13-13259    FOX & HOUND / MEMPHIS (for the benefit of TENT RESTAURANT OPERATIONS, INC.)   LINDA COSTNER          AC BEVERAGE INC

          520 NO COPY              65201           13-13227    CHAMPPS SPORTS BAR (for the benefit of CHAMPPS OPERATING CORPORATION)         LINDA COSTNER          AC BEVERAGE INC

          521 NO COPY              65205           13-13227    CHAMPP'S (for the benefit of CHAMPPS OPERATING CORPORATION)                   LINDA COSTNER          AC BEVERAGE INC

          522 NO COPY              65207           13-13227    CHAMPP'S / RESTON (for the benefit of CHAMPPS OPERATING CORPORATION)          LINDA COSTNER          AC BEVERAGE INC

          523 NO COPY              65209           13-13227    CHAMPP'S (for the benefit of CHAMPPS OPERATING CORPORATION)                   LINDA COSTNER          AC BEVERAGE INC

          524 NO COPY              65212           13-13227    CHAMPPS SPORTS BAR (for the benefit of CHAMPPS OPERATING CORPORATION)         LINDA COSTNER          AC BEVERAGE INC

          525 NO COPY              65215           13-13227    CHAMPPS SPORTS BAR (for the benefit of CHAMPPS OPERATING CORPORATION)         LINDA COSTNER          AC BEVERAGE INC

          526 NO COPY              65218           13-13227    CHAMPPS SPORTS BAR (for the benefit of CHAMPPS OPERATING CORPORATION)         LINDA COSTNER          AC BEVERAGE INC

          527 NO COPY              65222           13-13227    CHAMPP'S (for the benefit of CHAMPPS OPERATING CORPORATION)                   LINDA COSTNER          AC BEVERAGE INC

          528 NO COPY              65224           13-13227    CHAMPPS SPORTS BAR (for the benefit of CHAMPPS OPERATING CORPORATION)         LINDA COSTNER          AC BEVERAGE INC

          529 NO COPY              65225           13-13227    CHAMPP'S (for the benefit of CHAMPPS OPERATING CORPORATION)                   LINDA COSTNER          AC BEVERAGE INC

          530 NO COPY              65226           13-13227    CHAMPP'S (for the benefit of CHAMPPS OPERATING CORPORATION)                   LINDA COSTNER          AC BEVERAGE INC

          531 NO COPY              65226           13-13227    CHAMPP'S (for the benefit of CHAMPPS OPERATING CORPORATION)                   LINDA COSTNER          AC BEVERAGE INC

          532 NO COPY              65229           13-13227    CHAMPP'S UTICA (for the benefit of CHAMPPS OPERATING CORPORATION)             LINDA COSTNER          AC BEVERAGE INC

          533 NO COPY              65231           13-13227    CHAMPP'S (for the benefit of CHAMPPS OPERATING CORPORATION)                   LINDA COSTNER          AC BEVERAGE INC

          534 NO COPY              65233           13-13227    CHAMPP'S / NC (for the benefit of CHAMPPS OPERATING CORPORATION)              LINDA COSTNER          AC BEVERAGE INC

          535 NO COPY              65235           13-13227    CHAMPP'S (for the benefit of CHAMPPS OPERATING CORPORATION)                   LINDA COSTNER          AC BEVERAGE INC

          536 NO COPY              65237           13-13227    CHAMPP'S SPORTS BAR (for the benefit of CHAMPPS OPERATING CORPORATION)        LINDA COSTNER          AC BEVERAGE INC

          537 NO COPY              65238           13-13227    CHAMPP'S SPORTS BAR (for the benefit of CHAMPPS OPERATING CORPORATION)        LINDA COSTNER          AC BEVERAGE INC

          538 NO COPY              65240           13-13227    CHAMPP'S (for the benefit of CHAMPPS OPERATING CORPORATION)                   LINDA COSTNER          AC BEVERAGE INC

          539 NO COPY              65241           13-13227    CHAMPP'S (for the benefit of CHAMPPS OPERATING CORPORATION)                   LINDA COSTNER          AC BEVERAGE INC

          540 NO COPY              65244           13-13227    CHAMPP'S (for the benefit of CHAMPPS OPERATING CORPORATION)                   LINDA COSTNER          AC BEVERAGE INC
          541 NO COPY              65066           13-13259    TENT RESTAURANT OPERATIONS,INC                                                LINDA COSTNER          AC BEVERAGE INC

          542 NO COPY              65002           13-13259    TENT RESTAURANT OPERATIONS, INC                                               LINDA COSTNER          ACFN




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     ID                      Type of Contract                           Description of Contract                    Assume             Reject   Cure Amount   Contract No Date of ContractTermination Date
          519 SERVICE AGREEMENT                 CO2 SERVICE AGREEMENT                                                                                        65028             7/3/2012        7/3/2015
                                                                                                                                                                                             M/M AFTER
          520 SERVICE AGREEMENT                 CO2 SERVICE AGREEMENT                                                                                        65201            3/15/2005
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          521 SERVICE AGREEMENT                 CO2 SERVICE AGREEMENT                                                                                        65205            12/1/2005
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          522 SERVICE AGREEMENT                 CO2 SERVICE AGREEMENT                                                                                        65207             2/1/2006
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          523 SERVICE AGREEMENT                 CO2 SERVICE AGREEMENT                                                                                        65209            10/4/2004
                                                                                                                                                                                               10/4/06
                                                                                                                                                                                             M/M AFTER
          524 SERVICE AGREEMENT                 CO2 SERVICE AGREEMENT                                                                                        65212            5/15/2005
                                                                                                                                                                                               5/15/07
                                                                                                                                                                                             M/M AFTER
          525 SERVICE AGREEMENT                 CO2 SERVICE AGREEMENT                                                                                        65215           10/15/2005
                                                                                                                                                                                              10/15/07
                                                                                                                                                                                             M/M AFTER
          526 SERVICE AGREEMENT                 CO2 SERVICE AGREEMENT                                                                                        65218            5/15/2005
                                                                                                                                                                                               5/15/07
                                                                                                                                                                                             M/M AFTER
          527 SERVICE AGREEMENT                 CO2 SERVICE AGREEMENT                                                                                        65222           10/15/2007
                                                                                                                                                                                              10/15/09
                                                                                                                                                                                             M/M AFTER
          528 SERVICE AGREEMENT                 CO2 SERVICE AGREEMENT                                                                                        65224            12/1/2006
                                                                                                                                                                                               12/1/08
                                                                                                                                                                                             M/M AFTER
          529 SERVICE AGREEMENT                 CO2 SERVICE AGREEMENT                                                                                        65225           12/15/2006
                                                                                                                                                                                              12/15/08
                                                                                                                                                                                             M/M AFTER
          530 SERVICE AGREEMENT                 CO2 SERVICE AGREEMENT                                                                                        65226            6/20/2004
                                                                                                                                                                                               6/20/08
                                                                                                                                                                                             M/M AFTER
          531 SERVICE AGREEMENT                 CO2 SERVICE AGREEMENT                                                                                        65226           12/15/2006
                                                                                                                                                                                              12/15/08
                                                                                                                                                                                             M/M AFTER
          532 SERVICE AGREEMENT                 CO2 SERVICE AGREEMENT                                                                                        65229            7/15/2008
                                                                                                                                                                                               7/15/10
                                                                                                                                                                                             M/M AFTER
          533 SERVICE AGREEMENT                 CO2 SERVICE AGREEMENT                                                                                        65231            9/15/2005
                                                                                                                                                                                               9/15/07
                                                                                                                                                                                             M/M AFTER
          534 SERVICE AGREEMENT                 CO2 SERVICE AGREEMENT                                                                                        65233             6/1/2006
                                                                                                                                                                                                6/1/08
                                                                                                                                                                                             M/M AFTER
          535 SERVICE AGREEMENT                 CO2 SERVICE AGREEMENT                                                                                        65235             5/1/2006
                                                                                                                                                                                                5/1/08
                                                                                                                                                                                             M/M AFTER
          536 SERVICE AGREEMENT                 CO2 SERVICE AGREEMENT                                                                                        65237            6/15/2006
                                                                                                                                                                                               6/15/08
                                                                                                                                                                                             M/M AFTER
          537 SERVICE AGREEMENT                 CO2 SERVICE AGREEMENT                                                                                        65238             5/1/2006
                                                                                                                                                                                                5/1/08
                                                                                                                                                                                             M/M AFTER
          538 SERVICE AGREEMENT                 CO2 SERVICE AGREEMENT                                                                                        65240             6/1/2005
                                                                                                                                                                                                6/1/07
                                                                                                                                                                                             M/M AFTER
          539 SERVICE AGREEMENT                 CO2 SERVICE AGREEMENT                                                                                        65241            4/15/2004
                                                                                                                                                                                               4/15/06
                                                                                                                                                                                             M/M AFTER
          540 SERVICE AGREEMENT                 CO2 SERVICE AGREEMENT                                                                                        65244           11/15/2008
                                                                                                                                                                                              11/15/10
          541 SERVICE AGREEMENT                 NITROGEN GENERATOR AGREEMENT                                                                                 65066            12/7/2011       1/4/2014

          542 SERVICE AGREEMENT                 ATM AGREEMENT                                                                                                65002            6/29/2012       6/29/2015




2455538-1                                                                                           1.1(a) - 59
                                                                Case 13-13220-KG            Doc 506-1         Filed 03/17/14       Page 204 of 362


     ID             Attention                   Address 1       Address 2       Address 3   Address 4          City        State           Zip   Country   Email   Phone   Fax
                ANN
          519                   1993-7 MORELAND PKWY                                                    ANNAPOLIS     MD           21401
                KLEINRICHERT
                ANN
          520                   1993-7 MORELAND PKWY                                                    ANNAPOLIS     MD           21401
                KLEINRICHERT
                ANN
          521                   1993-7 MORELAND PKWY                                                    ANNAPOLIS     MD           21401
                KLEINRICHERT
                ANN
          522                   1993-7 MORELAND PKWY                                                    ANNAPOLIS     MD           21401
                KLEINRICHERT
                ANN
          523                   1993-7 MORELAND PKWY                                                    ANNAPOLIS     MD           21401
                KLEINRICHERT
                ANN
          524                   1993-7 MORELAND PKWY                                                    ANNAPOLIS     MD           21401
                KLEINRICHERT
                ANN
          525                   1993-7 MORELAND PKWY                                                    ANNAPOLIS     MD           21401
                KLEINRICHERT
                ANN
          526                   1993-7 MORELAND PKWY                                                    ANNAPOLIS     MD           21401
                KLEINRICHERT
                ANN
          527                   1993-7 MORELAND PKWY                                                    ANNAPOLIS     MD           21401
                KLEINRICHERT
                ANN
          528                   1993-7 MORELAND PKWY                                                    ANNAPOLIS     MD           21401
                KLEINRICHERT
                ANN
          529                   1993-7 MORELAND PKWY                                                    ANNAPOLIS     MD           21401
                KLEINRICHERT
                ANN
          530                   1993-7 MORELAND PKWY                                                    ANNAPOLIS     MD           21401
                KLEINRICHERT
                ANN
          531                   1993-7 MORELAND PKWY                                                    ANNAPOLIS     MD           21401
                KLEINRICHERT
                ANN
          532                   1993-7 MORELAND PKWY                                                    ANNAPOLIS     MD           21401
                KLEINRICHERT
                ANN
          533                   1993-7 MORELAND PKWY                                                    ANNAPOLIS     MD           21401
                KLEINRICHERT
                ANN
          534                   1993-7 MORELAND PKWY                                                    ANNAPOLIS     MD           21401
                KLEINRICHERT
                ANN
          535                   1993-7 MORELAND PKWY                                                    ANNAPOLIS     MD           21401
                KLEINRICHERT
                ANN
          536                   1993-7 MORELAND PKWY                                                    ANNAPOLIS     MD           21401
                KLEINRICHERT
                ANN
          537                   1993-7 MORELAND PKWY                                                    ANNAPOLIS     MD           21401
                KLEINRICHERT
                ANN
          538                   1993-7 MORELAND PKWY                                                    ANNAPOLIS     MD           21401
                KLEINRICHERT
                ANN
          539                   1993-7 MORELAND PKWY                                                    ANNAPOLIS     MD           21401
                KLEINRICHERT
                ANN
          540                   1993-7 MORELAND PKWY                                                    ANNAPOLIS     MD           21401
                KLEINRICHERT
          541                   1993-7 MORELAND PARKWAY                                                 ANNAPOLIS     MD           21401
                                                            COMMUNITY TOWERS,
          542 JIM DILTZ         111 S SAINT JOHN STREET                                                 SAN JOSE      CA           95113
                                                            SIXTH FLOOR




2455538-1                                                                                               1.1(a) - 60
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     ID         Epiq Contract No    Store Number        Case                                     Debtor                          Responsible Person          Contract Counter Party

          543 NO COPY              65005           13-13248    F & H RESTAURANTS OF TEXAS, INC                                 LINDA COSTNER          ACFN


          544 NO COPY              65007           13-13259    TENT RESTAURANT OPERATIONS, INC                                 LINDA COSTNER          ACFN


          545 NO COPY              65013           13-13259    TENT RESTAURANT OPERATIONS, INC                                 LINDA COSTNER          ACFN


          546 NO COPY              65022           13-13248    F & H RESTAURANTS OF TEXAS, INC                                 LINDA COSTNER          ACFN


          547 NO COPY              65025           13-13248    F & H RESTAURANTS OF TEXAS, INC                                 LINDA COSTNER          ACFN


          548 NO COPY              65028           13-13259    TENT RESTAURANT OPERATIONS, INC                                 LINDA COSTNER          ACFN


          549 NO COPY              65036           13-13248    F & H RESTAURANTS OF TEXAS, INC                                 LINDA COSTNER          ACFN


          550 NO COPY              65038           13-13259    TENT RESTAURANT OPERATIONS, INC                                 LINDA COSTNER          ACFN


          551 NO COPY              65041           13-13259    TENT RESTAURANT OPERATIONS, INC                                 LINDA COSTNER          ACFN


          552 NO COPY              65043           13-13248    F & H RESTAURANTS OF TEXAS, INC                                 LINDA COSTNER          ACFN


          553 NO COPY              65045           13-13259    TENT RESTAURANT OPERATIONS, INC                                 LINDA COSTNER          ACFN


          554 NO COPY              65052           13-13248    F & H RESTAURANTS OF TEXAS, INC                                 LINDA COSTNER          ACFN


          555 NO COPY              65056           13-13248    F & H RESTAURANTS OF TEXAS, INC                                 LINDA COSTNER          ACFN


          556 NO COPY              65057           13-13234    FOX & HOUND OF ARIZONA, INC                                     LINDA COSTNER          ACFN


          557 NO COPY              65086           13-13259    TENT RESTAURANT OPERATIONS, INC                                 LINDA COSTNER          ACFN


          558 NO COPY              65094           13-13248    F & H RESTAURANTS OF TEXAS, INC                                 LINDA COSTNER          ACFN




2455538-1                                                                                                        1.1(a) - 61
                                                           Case 13-13220-KG            Doc 506-1    Filed 03/17/14    Page 206 of 362


     ID                      Type of Contract                     Description of Contract                    Assume             Reject   Cure Amount   Contract No Date of ContractTermination Date

          543 SERVICE AGREEMENT                 ATM AGREEMENT                                                                                          65005           10/12/2012      10/12/2015


          544 SERVICE AGREEMENT                 ATM AGREEMENT                                                                                          65007            5/25/2012       5/25/2015


          545 SERVICE AGREEMENT                 ATM AGREEMENT                                                                                          65013           12/20/2011      12/20/2014


          546 SERVICE AGREEMENT                 ATM AGREEMENT                                                                                          65022            4/18/2012       4/18/2015


          547 SERVICE AGREEMENT                 ATM AGREEMENT                                                                                          65025           10/12/2012      10/12/2015


          548 SERVICE AGREEMENT                 ATM AGREEMENT                                                                                          65028           12/20/2011      12/20/2014


          549 SERVICE AGREEMENT                 ATM AGREEMENT                                                                                          65036           10/12/2012      10/12/2015


          550 SERVICE AGREEMENT                 ATM AGREEMENT                                                                                          65038            7/10/2013       7/10/2016


          551 SERVICE AGREEMENT                 ATM AGREEMENT                                                                                          65041            4/18/2012       4/18/2015


          552 SERVICE AGREEMENT                 ATM AGREEMENT                                                                                          65043            9/23/2013       9/23/2016


          553 SERVICE AGREEMENT                 ATM AGREEMENT                                                                                          65045            6/28/2012       6/25/2015


          554 SERVICE AGREEMENT                 ATM AGREEMENT                                                                                          65052            2/21/2013       2/21/2016


          555 SERVICE AGREEMENT                 ATM AGREEMENT                                                                                          65056            2/21/2013       2/21/2016


          556 SERVICE AGREEMENT                 ATM AGREEMENT                                                                                          65057           10/26/2012      10/26/2015


          557 SERVICE AGREEMENT                 ATM AGREEMENT                                                                                          65086             5/8/2013        5/8/2016


          558 SERVICE AGREEMENT                 ATM AGREEMENT                                                                                          65094           10/12/2012      10/12/2015




2455538-1                                                                                     1.1(a) - 62
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     ID           Attention                    Address 1       Address 2       Address 3   Address 4          City        State           Zip   Country   Email   Phone   Fax
                                                           COMMUNITY TOWERS,
          543                  111 S SAINT JOHN STREET                                                 SAN JOSE      CA           95113
                                                           SIXTH FLOOR

                                                           COMMUNITY TOWERS,
          544 JENNIFER HICKS   111 S SAINT JOHN STREET                                                 SAN JOSE      CA           95113
                                                           SIXTH FLOOR

                                                           COMMUNITY TOWERS,
          545 JIM DILTZ        111 S SAINT JOHN STREET                                                 SAN JOSE      CA           95113
                                                           SIXTH FLOOR

                                                           COMMUNITY TOWERS,
          546 JIM DILTZ        111 S SAINT JOHN STREET                                                 SAN JOSE      CA           95113
                                                           SIXTH FLOOR

                                                           COMMUNITY TOWERS,
          547                  111 S SAINT JOHN STREET                                                 SAN JOSE      CA           95113
                                                           SIXTH FLOOR

                                                           COMMUNITY TOWERS,
          548 JIM DILTZ        111 S SAINT JOHN STREET                                                 SAN JOSE      CA           95113
                                                           SIXTH FLOOR

                                                           COMMUNITY TOWERS,
          549                  111 S SAINT JOHN STREET                                                 SAN JOSE      CA           95113
                                                           SIXTH FLOOR

                                                           COMMUNITY TOWERS,
          550 JIM DILTZ        111 S SAINT JOHN STREET                                                 SAN JOSE      CA           95113
                                                           SIXTH FLOOR

                                                           COMMUNITY TOWERS,
          551 BOB LEDESMA      111 S SAINT JOHN STREET                                                 SAN JOSE      CA           95113
                                                           SIXTH FLOOR

                                                           COMMUNITY TOWERS,
          552 RANDY MCCALL     111 S SAINT JOHN STREET                                                 SAN JOSE      CA           95113
                                                           SIXTH FLOOR

                                                           COMMUNITY TOWERS,
          553 JIM DILTZ        111 S SAINT JOHN STREET                                                 SAN JOSE      CA           95113
                                                           SIXTH FLOOR

                                                           COMMUNITY TOWERS,
          554 JIM DILTZ        111 S SAINT JOHN STREET                                                 SAN JOSE      CA           95113
                                                           SIXTH FLOOR

                                                           COMMUNITY TOWERS,
          555 JIM DILTZ        111 S SAINT JOHN STREET                                                 SAN JOSE      CA           95113
                                                           SIXTH FLOOR

                                                           COMMUNITY TOWERS,
          556                  111 S SAINT JOHN STREET                                                 SAN JOSE      CA           95113
                                                           SIXTH FLOOR

                                                           COMMUNITY TOWERS,
          557                  111 S SAINT JOHN STREET                                                 SAN JOSE      CA           95113
                                                           SIXTH FLOOR

                                                           COMMUNITY TOWERS,
          558                  111 S SAINT JOHN STREET                                                 SAN JOSE      CA           95113
                                                           SIXTH FLOOR




2455538-1                                                                                              1.1(a) - 63
                                                                           Case 13-13220-KG                 Doc 506-1          Filed 03/17/14       Page 208 of 362


     ID         Epiq Contract No    Store Number        Case                                     Debtor                                    Responsible Person                     Contract Counter Party
                                                               FOX & HOUND ENGLISH PUB & GRILLE (for the benefit of F&H RESTAURANTS OF
          559 NO COPY              65036           13-13233                                                                              LINDA COSTNER          ADMIRAL LINEN & UNIFORM SERVICE INC
                                                               TEXAS, INC.)
          560 NO COPY              65056           13-13248    F&H RESTAURANTS OF TEXAS, INC                                             LINDA COSTNER          ADMIRAL LINEN & UNIFORM SERVICE INC
          561 NO COPY              65050           13-13234    FOX & HOUND/TOTAL ENTERTAINMENT                                           LINDA COSTNER          ADVANCED ATM SYSTEMS

          562 NO COPY              65063           13-13249    FOX & HOUND RESTAURANT/TOTAL ENTERTAINMENT INC                            LINDA COSTNER          ADVANCED ATM SYSTEMS

          563 NO COPY              65069           13-13249    FOX & HOUND RESTAURANT/TOTAL ENTERTAINMENT INC                            LINDA COSTNER          ADVANCED ATM SYSTEMS
                                                               NORTH CAROLINA FOX & HOUND, INC (for the benefit of TENT RESTAURANT
          564 NO COPY              65071           13-13259                                                                              LINDA COSTNER          ADVANCED ATM SYSTEMS
                                                               OPERATIONS, INC.)
          565 NO COPY              65035           13-13237    FOX & HOUND OF INDIANA, INC                                               LINDA COSTNER          ADVANTAGE WATER CONDITIONING INC

          566 NO COPY              65079           13-13250    FOX & HOUND                                                               LINDA COSTNER          ADVANTAGE WATER CONDITIONING INC

          567 NO COPY              65213           13-13227    CHAMPPS OPERATING CORPORATION                                             LINDA COSTNER          ALSCO INC
          568 NO COPY              65238           13-13227    CHAMPPS OPERATING CORPORATION                                             LINDA COSTNER          ALSCO INC
          569 NO COPY              65233           13-13227    CHAMPPS OPERATING CORPORATION                                             LINDA COSTNER          ALSCO INC
          570 NO COPY              65084           13-13222    ALABAMA FOX & HOUND, INC                                                  LINDA COSTNER          AMERIPRIDE LINEN & APPAREL INC
          571 NO COPY              65086           13-13259    TENT RESTAURANT OPERATIONS, INC                                           LINDA COSTNER          ANDERSON PROPANE SERVICE INC

          572 NO COPY              65055           13-13236    FOX & HOUND OF ILLINOIS, INC                                              LINDA COSTNER          ARAMARK UNIFORM SERVICES

          573 NO COPY              65060           13-13236    FOX & HOUND OF ILLINOIS, INC                                              LINDA COSTNER          ARAMARK UNIFORM SERVICES
          574 NO COPY              65016           13-13236    FOX & HOUND OF ILLINOIS, INC                                              LINDA COSTNER          ARAMARK UNIFORM SERVICES
          575 NO COPY              65064           13-13247    FOX & HOUND OF OKLAHOMA, INC                                              LINDA COSTNER          ARAMARK UNIFORM SERVICES

          576 NO COPY              65015           13-13243    FOX & HOUND OF NEBRASKA, INC                                              LINDA COSTNER          ARAMARK UNIFORM SERVICES

          577 NO COPY              65050           13-13234    FOX & HOUND OF ARIZONA, INC                                               LINDA COSTNER          ARAMARK UNIFORM SERVICES

          578 NO COPY              65057           13-13234    FOX & HOUND OF ARIZONA, INC                                               LINDA COSTNER          ARAMARK UNIFORM SERVICES

          579 NO COPY              65068           13-13234    FOX & HOUND OF ARIZONA, INC                                               LINDA COSTNER          ARAMARK UNIFORM SERVICES

          580 NO COPY              65029           13-13238    FOX & HOUND OF KANSAS, INC                                                LINDA COSTNER          ARAMARK UNIFORM SERVICES

          581 NO COPY              65069           13-13238    FOX & HOUND OF KANSAS, INC                                                LINDA COSTNER          ARAMARK UNIFORM SERVICES

          582 NO COPY              65032           13-13241    FOX & HOUND OF LOUISIANA, INC                                             LINDA COSTNER          ARAMARK UNIFORM SERVICES

          583 NO COPY              65075           13-13247    FOX & HOUND OF OKLAHOMA, INC                                              LINDA COSTNER          ARAMARK UNIFORM SERVICES

          584 NO COPY              65079           13-13237    FOX & HOUND OF INDIANA, INC                                               LINDA COSTNER          ARAMARK UNIFORM SERVICES




2455538-1                                                                                                                1.1(a) - 64
                                                             Case 13-13220-KG                    Doc 506-1    Filed 03/17/14    Page 209 of 362


     ID                      Type of Contract                               Description of Contract                    Assume             Reject   Cure Amount   Contract No Date of ContractTermination Date
          559 SERVICE AGREEMENT                 LINEN SERVICES AGREEMENT                                                                                         65036            4/18/2001       4/19/2016
          560 SERVICE AGREEMENT                 LINEN SERVICES AGREEMENT                                                                                         65056           11/13/2003      11/13/2013
                                                                                                                                                                                                 M/M AFTER
          561 SERVICE AGREEMENT                 ATM AGREEMENT                                                                                                    65050             5/7/2004
                                                                                                                                                                                                     5/7/09
                                                                                                                                                                                                 M/M AFTER
          562 SERVICE AGREEMENT                 ATM AGREEMENT                                                                                                    65063             3/2/2004
                                                                                                                                                                                                     3/2/09
                                                                                                                                                                                                 M/M AFTER
          563 SERVICE AGREEMENT                 ATM AGREEMENT                                                                                                    65069             3/2/2004
                                                                                                                                                                                                     3/2/09
                                                                                                                                                                                                 M/M AFTER
          564 SERVICE AGREEMENT                 ATM AGREEMENT                                                                                                    65071            6/30/2004
                                                                                                                                                                                                    6/30/09
                                                                                                                                                                                                 M/M AFTER
          565 SERVICE AGREEMENT                 WATER CONDITIONER RENTAL AGREEMENT                                                                                                2/12/2003
                                                                                                                                                                                                    2/12/04
                                                                                                                                                                                                 M/M AFTER
          566 SERVICE AGREEMENT                 WATER CONDITIONER RENTAL AGREEMENT                                                                                                3/29/2005
                                                                                                                                                                                                    3/29/06
                                                                                                                                                                                                 M/M AFTER
          567 SERVICE AGREEMENT                 LINEN SERVICES AGREEMENT                                                                                         65213            3/16/2011
                                                                                                                                                                                                    3/16/12
          568 SERVICE AGREEMENT                 LINEN SERVICES AGREEMENT                                                                                         65238             8/2/2012        8/2/2014
                                                                                                                                                                                                 M/M AFTER
          569 SERVICE AGREEMENT                 LINEN SERVICES AGREEMENT                                                                                         65233             6/2/2004
                                                                                                                                                                                                     6/2/10
          570 SERVICE AGREEMENT                 LINEN SERVICES AGREEMENT                                                                                         65084            1/21/2010       1/21/2015
                                                                                                                                                                                                 M/M AFTER
          571 SERVICE AGREEMENT                 PROPANE SERVICE AGREEMENT                                                                                                         4/29/2005
                                                                                                                                                                                                    4/29/10
          572 SERVICE AGREEMENT                 LINEN SERVICES AGREEMENT                                                                                         65055            7/15/2013       7/15/2015

          573 SERVICE AGREEMENT                 LINEN SERVICES AGREEMENT                                                                                         65060             4/3/2013        4/3/2014
          574 SERVICE AGREEMENT                 LINEN SERVICES AGREEMENT                                                                                         65016            5/17/2011       5/17/2016
          575 SERVICE AGREEMENT                 LINEN SERVICES AGREEMENT                                                                                         65064             7/1/2013        7/1/2015

          576 SERVICE AGREEMENT                 LINEN SERVICES AGREEMENT                                                                                         65015             7/1/2013        7/1/2015

          577 SERVICE AGREEMENT                 LINEN SERVICES AGREEMENT                                                                                         65050             7/1/2013        7/1/2015

          578 SERVICE AGREEMENT                 LINEN SERVICES AGREEMENT                                                                                         65057             7/1/2013        7/1/2015

          579 SERVICE AGREEMENT                 LINEN SERVICES AGREEMENT                                                                                         65068             7/1/2013        7/1/2015

          580 SERVICE AGREEMENT                 LINEN SERVICES AGREEMENT                                                                                         65029             7/1/2013        7/1/2015

          581 SERVICE AGREEMENT                 LINEN SERVICES AGREEMENT                                                                                         65069            2/25/2013       2/25/2014

          582 SERVICE AGREEMENT                 LINEN SERVICES AGREEMENT                                                                                         65032            4/23/2013       4/23/2014

          583 SERVICE AGREEMENT                 LINEN SERVICES AGREEMENT                                                                                         65075             7/1/2013        7/1/2014

          584 SERVICE AGREEMENT                 LINEN SERVICES AGREEMENT                                                                                         65079             4/3/2013        4/3/2014




2455538-1                                                                                               1.1(a) - 65
                                                               Case 13-13220-KG         Doc 506-1           Filed 03/17/14      Page 210 of 362


     ID          Attention                    Address 1         Address 2   Address 3   Address 4           City        State           Zip   Country   Email   Phone   Fax
          559                2030 KIPLING                                                           HOUSTON        TX           77098
          560                2030 KIPLING                                                           HOUSTON        TX           77098
          561                8950 SOUTH 52ND STREET       SUITE 303                                 TEMPE          AZ           85284

          562                8950 SOUTH 52ND STREET       SUITE 303                                 TEMPE          AZ           85284

          563                8950 SOUTH 52ND STREET       SUITE 303                                 TEMPE          AZ           85284

          564                8950 SOUTH 52ND STREET       SUITE 303                                 TEMPE          AZ           85284

          565                5348 VICTORY DR STE B                                                  INDIANAPOLIS   IN           46203

          566 DONNA          5348 VICTORY DR STE B                                                  INDIANAPOLIS   IN           46203
                                                                                                    POMPANO
          567                2631 NW 17TH LN                                                                       FL           33064
                                                                                                    BEACH
          568                3301 HILLSBOROUGH ST                                                   RALEIGH        NC           27607
          569                P.O. BOX 3594                                                          DURHAM         NC           27702
          570                805 N HOOK ST                                                          TUSCUMBIA     AL            35674
                                                                                                    FREDERICKSBUR
          571 MARK ANDERSON 11905 TIDEWATER TRAIL                                                                 VA            22408
                                                                                                    G
          572 DANNY ESTRADA 25259 NETWORK PL                                                        CHICAGO        IL           60673

          573 DANNY ESTRADA 25259 NETWORK PL                                                        CHICAGO        IL           60673
          574                25259 NETWORK PL                                                       CHICAGO        IL           60673
          575 DANNY ESTRADA 2821 ROBERTSON RD                                                       TYLER          TX           75701
                                                          26667 NETWORK
          576 DANNY ESTRADA AUS DES MOINES MC LOCKBOX                                               CHICAGO        IL           60673
                                                          PLACE
          577 DANNY ESTRADA P.O. BOX 101362                                                         PASADENA       CA           91189

          578 DANNY ESTRADA P.O. BOX 101362                                                         PASADENA       CA           91189

          579 DANNY ESTRADA P.O. BOX 101362                                                         PASADENA       CA           91189

          580 DANNY ESTRADA P.O. BOX 60445                                                          ST LOUIS       MO           63160

          581 DANNY ESTRADA P.O. BOX 60445                                                          ST LOUIS       MO           63160

          582 DANNY ESTRADA P.O. BOX 650838                                                         DALLAS         TX           75265

          583 DANNY ESTRADA P.O. BOX 660452                                                         INDIANAPOLIS   IN           46266

          584 DANNY ESTRADA P.O. BOX 660452                                                         INDIANAPOLIS   IN           46266




2455538-1                                                                                           1.1(a) - 66
                                                                             Case 13-13220-KG                 Doc 506-1           Filed 03/17/14        Page 211 of 362


     ID           Epiq Contract No    Store Number        Case                                      Debtor                                     Responsible Person                        Contract Counter Party
          585 NO COPY                65049           13-13235    FOX & HOUND OF COLORADO, INC                                                LINDA COSTNER          ARAMARK UNIFORM SERVICES

          586 NO COPY                65059           13-13235    FOX & HOUND OF COLORADO, INC                                                LINDA COSTNER          ARAMARK UNIFORM SERVICES

          587 NO COPY                65092           13-13235    FOX & HOUND OF COLORADO, INC                                                LINDA COSTNER          ARAMARK UNIFORM SERVICES

          588 NO COPY                65219           13-13227    CHAMPPS OPERATING CORPORATION                                               LINDA COSTNER          ARAMARK UNIFORM SERVICES

          589 NO COPY                65043           13-13248    F&H RESTAURANTS OF TEXAS, INC                                               LINDA COSTNER          ARAMARK UNIFORM SERVICES

          590 NO COPY                65034           13-13261    WINSTON-SALEM FOX & HOUND, INC                                              LINDA COSTNER          ARAMARK UNIFORM SERVICES

          591 NO COPY                65051           13-13259    TENT RESTAURANT OPERATIONS,INC                                              LINDA COSTNER          ARCET EQUIPMENT COMPANY

          592 NO COPY                65044           13-13230    F&H OF KENNESAW, INC                                                        LINDA COSTNER          ATLANTA GAS LIGHT COMPANY

          593 NO COPY                65070           13-13259    TENT RESTAURANT OPERATIONS, INC                                             LINDA COSTNER          ATM OF AMERICA INC
          594 NO COPY                                13-13259    TENT RESTAURANT OPERATIONS, INC                                             LINDA COSTNER          B&M AMUSEMENT AND GAMES INC.
          595 NO COPY                65077           13-13259    TENT RESTAURANT OPERATIONS, INC                                             LINDA COSTNER          CAPITAL GAMES LLC
                                                                 FOX & HOUND RESTAURANT GROUP/TOTAL ENTERTAINMENT (for the benefit of TENT
          596 NO COPY                65003           13-13238                                                                                LINDA COSTNER          CASH TECHNOLOGIES
                                                                 RESTAURANT OPERATIONS, INC.)
                                                                 FOX & HOUND RESTAURANT GROUP/TOTAL ENTERTAINMENT (for the benefit of F&H
          597 NO COPY                65004           13-13238                                                                                LINDA COSTNER          CASH TECHNOLOGIES
                                                                 RESTAURANTS OF TEXAS, INC.)
                                                                 FOX & HOUND RESTAURANT GROUP/TOTAL ENTERTAINMENT (for the benefit of TENT
          598 NO COPY                65010           13-13238                                                                                LINDA COSTNER          CASH TECHNOLOGIES
                                                                 RESTAURANT OPERATIONS, INC.)
                                                                 FOX & HOUND RESTAURANT GROUP/TOTAL ENTERTAINMENT (for the benefit of F&H
          599 NO COPY                65042           13-13238                                                                                LINDA COSTNER          CASH TECHNOLOGIES
                                                                 RESTAURANTS OF TEXAS, INC.)
          600 NO COPY                65009           13-13259    TENT RESTAURANT OPERATIONS, INC                                             LINDA COSTNER          CHALLENGE ENTERTAINMENT
                                                                 FOX & HOUND RESTAURANT GROUP/TOTAL ENTERTAINMENT (for the benefit of TENT
          601 NO COPY                65023           13-13238                                                                                LINDA COSTNER          CHOICE ATM ENTERPRISES
                                                                 RESTAURANT OPERATIONS, INC.)
                                                                 FOX & HOUND RESTAURANT GROUP/TOTAL ENTERTAINMENT (for the benefit of FOX
          602 NO COPY                65029           13-13238                                                                                LINDA COSTNER          CHOICE ATM ENTERPRISES
                                                                 & HOUND OF KANSAS, INC.)
          603 NO COPY                65061           13-13249    FOX & HOUND RESTAURANT/TOTAL ENTERTAINMENT INC                              LINDA COSTNER          CHOICE ATM ENTERPRISES

          604 NO COPY                65067           13-13259    TENT RESTAURANT OPERATIONS, INC                                             LINDA COSTNER          CHOICE ATM ENTERPRISES
          605   NO COPY              65210           13-13227    CHAMPPS OPERATING CORPORATION                                               LINDA COSTNER          CINTAS CORPORATION
          606   NO COPY              65237           13-13227    CHAMPPS OPERATING CORPORATION                                               LINDA COSTNER          CINTAS CORPORATION
          607   NO COPY              65245           13-13227    CHAMPPS OPERATING CORPORATION                                               LINDA COSTNER          CINTAS CORPORATION
          608   NO COPY              65039           13-13250    FOX & HOUND                                                                 LINDA COSTNER          CINTAS CORPORATION
          609   NO COPY              65041           13-13259    TENT RESTAURANT OPERATIONS, INC                                             LINDA COSTNER          CINTAS CORPORATION
          610 NO COPY                65044           13-13230    BAILEY'S SMOKEHOUSE & TAVERN (for the benefit of F&H OF KENNESAW, INC.)     LINDA COSTNER          CINTAS CORPORATION
          611 NO COPY                65070           13-13259    TENT RESTAURANT OPERATIONS, INC                                             LINDA COSTNER          CINTAS CORPORATION
          612 NO COPY                65073           13-13244    FOX & HOUND OF NEW JERSEY, INC                                              LINDA COSTNER          CINTAS CORPORATION




2455538-1                                                                                                                   1.1(a) - 67
                                                               Case 13-13220-KG                   Doc 506-1    Filed 03/17/14    Page 212 of 362


     ID                        Type of Contract                              Description of Contract                    Assume             Reject   Cure Amount   Contract No Date of ContractTermination Date
          585 SERVICE AGREEMENT                   LINEN SERVICES AGREEMENT                                                                                        65049             7/1/2013        7/1/2015

          586 SERVICE AGREEMENT                   LINEN SERVICES AGREEMENT                                                                                        65059             7/1/2013        7/1/2015

          587 SERVICE AGREEMENT                   LINEN SERVICES AGREEMENT                                                                                        65092             7/1/2013        7/1/2015

          588 SERVICE AGREEMENT                   LINEN SERVICES AGREEMENT                                                                                        65219            2/10/2012       2/10/2014

          589 SERVICE AGREEMENT                   LINEN SERVICES AGREEMENT                                                                                        65043            4/24/2013       4/24/2014

          590 SERVICE AGREEMENT                   LINEN SERVICES AGREEMENT                                                                                        65034            7/11/2013       7/12/2015
                                                                                                                                                                                                  M/M AFTER
          591 SERVICE AGREEMENT                   CO2 SERVICE AGREEMENT                                                                                           65051            5/28/2008
                                                                                                                                                                                                    5/28/13
          592 SERVICE AGREEMENT                   GAS SERVICE AGREEMENT                                                                                                            9/20/2001
                                                                                                                                                                                                  M/M AFTER
          593 SERVICE AGREEMENT                   ATM AGREEMENT                                                                                                   65070           12/19/2012
                                                                                                                                                                                                     1/19/13
          594 SERVICE AGREEMENT                   ENTERTAINMENT - AMUSEMENT MACHINES AGREEMENT                                                                                     6/28/2013       6/28/2014
          595 SERVICE AGREEMENT                   ATM AGREEMENT                                                                                                   65077             9/6/2013        9/5/2014
                                                                                                                                                                                                  M/M AFTER
          596 SERVICE AGREEMENT                   ATM AGREEMENT                                                                                                   65003           10/31/2001
                                                                                                                                                                                                    10/31/06
                                                                                                                                                                                                  M/M AFTER
          597 SERVICE AGREEMENT                   ATM AGREEMENT                                                                                                   65004           10/31/2001
                                                                                                                                                                                                    10/31/06
                                                                                                                                                                                                  M/M AFTER
          598 SERVICE AGREEMENT                   ATM AGREEMENT                                                                                                   65010           10/31/2001
                                                                                                                                                                                                    10/31/06
                                                                                                                                                                                                  M/M AFTER
          599 SERVICE AGREEMENT                   ATM AGREEMENT                                                                                                   65042           10/31/2001
                                                                                                                                                                                                    10/31/06
          600 SERVICE AGREEMENT                   ENTERTAINMENT - TRIVIA CONTRACT                                                                                                  3/11/2013       3/11/2014
                                                                                                                                                                                                  M/M AFTER
          601 SERVICE AGREEMENT                   ATM AGREEMENT                                                                                                   65023            11/6/2002
                                                                                                                                                                                                     11/6/05
                                                                                                                                                                                                  M/M AFTER
          602 SERVICE AGREEMENT                   ATM AGREEMENT                                                                                                   65029            11/6/2002
                                                                                                                                                                                                     11/6/05
                                                                                                                                                                                                  M/M AFTER
          603 SERVICE AGREEMENT                   ATM AGREEMENT                                                                                                   65061            11/6/2002
                                                                                                                                                                                                     11/6/05
                                                                                                                                                                                                  M/M AFTER
          604 SERVICE AGREEMENT                   ATM AGREEMENT                                                                                                   65067             6/9/2010
                                                                                                                                                                                                      6/9/11
          605   SERVICE AGREEMENT                 LINEN SERVICES AGREEMENT                                                                                        65210             8/1/2013        8/1/2015
          606   SERVICE AGREEMENT                 LINEN SERVICES AGREEMENT                                                                                        65237            7/17/2013       7/17/2015
          607   SERVICE AGREEMENT                 LINEN SERVICES AGREEMENT                                                                                        65245            7/17/2013       7/17/2015
          608   SERVICE AGREEMENT                 LINEN SERVICES AGREEMENT                                                                                        65039           12/14/2010      12/14/2015
          609   SERVICE AGREEMENT                 LINEN SERVICES AGREEMENT                                                                                        65041           12/18/2012      12/18/2015
          610 SERVICE AGREEMENT                   LINEN SERVICES AGREEMENT                                                                                        65044            2/10/2006       2/10/2016
          611 SERVICE AGREEMENT                   LINEN SERVICES AGREEMENT                                                                                        65070            1/29/2009       1/29/2014
          612 SERVICE AGREEMENT                   LINEN SERVICES AGREEMENT                                                                                        65073             1/9/2006        1/9/2016




2455538-1                                                                                                1.1(a) - 68
                                                               Case 13-13220-KG         Doc 506-1         Filed 03/17/14        Page 213 of 362


     ID          Attention                    Address 1         Address 2   Address 3   Address 4          City         State           Zip   Country   Email   Phone   Fax
          585 DANNY ESTRADA P.O. BOX 731288                                                         DALLAS         TX           75373

          586 DANNY ESTRADA P.O. BOX 731288                                                         DALLAS         TX           75373

          587 DANNY ESTRADA P.O. BOX 731288                                                         DALLAS         TX           75373

          588 DANNY ESTRADA P.O. BOX 731676                                                         DALLAS         TX           75373

          589 DANNY ESTRADA P.O. BOX 731676                                                         DALLAS         TX           75373

          590 DANNY ESTRADA P.O. BOX 905810                                                         CHARLOTTE      NC           28290

          591                P.O. BOX 26269                                                         RICHMOND       VA           23260

          592 RANDY FLOWERS 1356 COBB INDUSTRIAL DRIVE                                              MARIETTA       GA           30066

          593                24911 JOHN R. RD                                                       HAZEL PARK     MI           48030
          594 JOE BRUNK      5195 COMMERCE CIRCLE                                                   INDIANAPOLIS   IN           46237
              BRANDON
          595                5655-6 WESTERN BLVD.                                                   RALEIGH        NC           27606
              BARNES
          596                4025 WOODLAND PARK BLVD                                                ARLINGTON      TX           76013

          597                4025 WOODLAND PARK BLVD                                                ARLINGTON      TX           76013

          598                4025 WOODLAND PARK BLVD                                                ARLINGTON      TX           76013

          599                4025 WOODLAND PARK BLVD                                                ARLINGTON      TX           76013
          600 BRITT MOCK     P.O. BOX 3720                                                          CORDOVA        TN           38088
          601                2000 E LAMAR BLVD            STE 750                                   ARLINGTON      TX           76006

          602                2000 E LAMAR BLVD            STE 750                                   ARLINGTON      TX           76006

          603                2000 E LAMAR BLVD            STE 750                                   ARLINGTON      TX           76006

          604                2000 E LAMAR BLVD            SUITE 750                                 ARLINGTON      TX           76006
          605 ALEX WYSOCKI   800 RENAISSANCE PARKWAY                                                PAINESVILLE    OH           44077
          606                P.O. BOX 630910                                                        CINCINNATI     OH           45263
          607                P.O. BOX 630910                                                        CINCINNATI     OH           45263
          608                8221 DOW CIRCLE                                                        STRONGVILLE    OH           44136
          609                3400 BRILEY PARK BLVD N                                                NASHVILLE      TN           37207
          610                3600 KENNESAW 75 PARKWAY                                               KENNESAW       GA           30144
          611                5158 QUADRATE DRIVE                                                    MACOMB         MI           48042
          612 MUNIR GREGORY 51 NEW ENGLAND AVE                                                      PISCATWAY      NJ           8854




2455538-1                                                                                           1.1(a) - 69
                                                                         Case 13-13220-KG                  Doc 506-1            Filed 03/17/14           Page 214 of 362


     ID         Epiq Contract No    Store Number      Case                                      Debtor                                          Responsible Person                     Contract Counter Party
          613 NO COPY              65082         13-13242    FOX & HOUND OF MARYLAND, INC                                                    LINDA COSTNER           CINTAS CORPORATION
                                                             FOX & HOUND OF SA DBA FOX & HOUND ENGLISH PUB (for the benefit of F&H
          614 NO COPY              65022         13-13233                                                                                    LINDA COSTNER           CITY PUBLIC SERVICE OF SAN ANTONIO, TX
                                                             RESTAURANTS OF TEXAS, INC.)
                                                             FOX & HOUND OF TENNESSEE, INC (for the benefit of TENT RESTAURANT
          615 NO COPY              65074         13-13259                                                                                    LINDA COSTNER           COMCAST CABLEVISION OF THE SOUTH
                                                             OPERATIONS, INC.)
          616 NO COPY              65064         13-13247    FOX & HOUND OF OKLAHOMA, INC                                                    LINDA COSTNER           COMMERCIAL LINEN SUPPLY INC
                                                             FOX & HOUND OF LEWISVILLE, LTD. (for the benefit of F&H RESTAURANTS OF TEXAS,
          617 NO COPY              65040         13-13233                                                                                    LINDA COSTNER           COMPASS BANK
                                                             INC.)
          618   NO COPY            65215         13-13227    CHAMPPS OPERATING CORPORATION                                                   LINDA COSTNER           COSMOPOLITAN TEXTILE
          619   NO COPY            65222         13-13227    CHAMPPS OPERATING CORPORATION                                                   LINDA COSTNER           COSMOPOLITAN TEXTILE
          620   NO COPY            65228         13-13227    CHAMPPS OPERATING CORPORATION                                                   LINDA COSTNER           COSMOPOLITAN TEXTILE
          621   NO COPY            65235         13-13227    CHAMPPS OPERATING CORPORATION                                                   LINDA COSTNER           COSMOPOLITAN TEXTILE
          622   NO COPY            65250         13-13227    CHAMPPS OPERATING CORPORATION                                                   LINDA COSTNER           COSMOPOLITAN TEXTILE
          623 NO COPY              65077         13-13259    FOX AND THE HOUND (for the benefit of TENT RESTAURANT OPERATIONS, INC.)         LINDA COSTNER           CYBER DISH INC.

          624 NO COPY              65028         13-13259    TENT RESTAURANT OPERATIONS, INC                                                 LINDA COSTNER           DARLING INTERNATIONAL, INC.

          625 NO COPY              CORPORATE     13-13220    F&H ACQUISITIONS CORP.                                                          LINDA COSTNER           DEALERS LEASING INC DBA

          626 NO COPY              CORPORATE     13-13220    F&H ACQUISITIONS CORP.                                                          LINDA COSTNER           DEALERS LEASING INC DBA

          627 NO COPY              CORPORATE     13-13220    F&H ACQUISITIONS CORP.                                                          LINDA COSTNER           DEALERS LEASING INC DBA

          628 NO COPY              CORPORATE     13-13220    F&H ACQUISITIONS CORP.                                                          LINDA COSTNER           DEALERS LEASING INC DBA

          629 NO COPY              CORPORATE     13-13220    F&H ACQUISITION CORP.                                                           LINDA COSTNER           DEALERS LEASING INC DBA

          630 NO COPY              CORPORATE     13-13220    F&H ACQUISITIONS CORP.                                                          LINDA COSTNER           DEALERS LEASING INC DBA

          631 NO COPY              CORPORATE     13-13220    F&H ACQUISITIONS CORP.                                                          LINDA COSTNER           DEALERS LEASING INC DBA

          632 NO COPY              CORPORATE     13-13220    F&H ACQUISITIONS CORP.                                                          LINDA COSTNER           DEALERS LEASING INC DBA
          633 NO COPY              65039         13-13250    FOX & HOUND                                                                     LINDA COSTNER           DELTA INDUSTRIAL SERVICES INC.
          634 NO COPY              65059         13-13235    FOX & HOUND OF COLORADO, INC                                                    LINDA COSTNER           DENVER DARTS, INC.
                                                             FOX & HOUND OF MICHIGAN, INC (for the benefit of TENT RESTAURANT
          635 NO COPY              65038         13-13259                                                                                    LINDA COSTNER           DETROIT EDISON
                                                             OPERATIONS, INC.)

          636 NO COPY              65027         13-13259    TENT RESTAURANT OPERATIONS, INC                                                 LINDA COSTNER           DOMESTIC LINEN SUPPLY CO INC

          637 NO COPY              65095         13-13259    TENT RESTAURANT OPERATIONS,INC                                                  LINDA COSTNER           DOMESTIC UNIFORM RENTAL
          638 NO COPY              65007         13-13250    FOX & HOUND                                                                     LINDA COSTNER           ECOLAB INC

          639 NO COPY              65032         13-13259    TENT RESTAURANT OPERATIONS, INC                                                 LINDA COSTNER           ECOLAB INC

          640 NO COPY              65061         13-13250    FOX & HOUND                                                                     LINDA COSTNER           ECOLAB INC




2455538-1                                                                                                                1.1(a) - 70
                                                                Case 13-13220-KG                  Doc 506-1    Filed 03/17/14    Page 215 of 362


     ID                      Type of Contract                                Description of Contract                    Assume             Reject   Cure Amount   Contract No Date of ContractTermination Date
          613 SERVICE AGREEMENT                 LINEN SERVICES AGREEMENT                                                                                          65082            9/29/2009         9/2/2014
                                                                                                                                                                                                    Y/Y AFTER
          614 SERVICE AGREEMENT                 NATURAL GAS AGREEMENT                                                                                                              2/13/2001
                                                                                                                                                                                                      2/13/02
                                                                                                                                                                                               5/10/09 THEN 2
          615 SERVICE AGREEMENT                 CABLE SERVICE AGREEMENT                                                                                                            5/10/2004
                                                                                                                                                                                                  YEAR TERMS
          616 SERVICE AGREEMENT                 LINEN SERVICES AGREEMENT                                                                                          65064           12/14/2012       12/17/2017

          617 SERVICE AGREEMENT                 CHECKING ACCOUNT                                                                                                                  11/27/2000
          618   SERVICE AGREEMENT               LINEN SERVICES AGREEMENT                                                                                          65215              2/4/2013        2/4/2014
          619   SERVICE AGREEMENT               LINEN SERVICES AGREEMENT                                                                                          65222              2/4/2013        2/4/2014
          620   SERVICE AGREEMENT               LINEN SERVICES AGREEMENT                                                                                          65228              2/4/2013        2/4/2014
          621   SERVICE AGREEMENT               LINEN SERVICES AGREEMENT                                                                                          65235              2/4/2013        2/4/2014
          622   SERVICE AGREEMENT               LINEN SERVICES AGREEMENT                                                                                          65250              2/4/2013        2/4/2014
          623 SERVICE AGREEMENT                 ATM AGREEMENT                                                                                                     65077              9/3/2009       9/30/2016
                                                                                                                                                                                                   M/M AFTER
          624 SERVICE AGREEMENT                 GREASE TRAP / HAULING AGREEMENT                                                                                                     8/30/2012
                                                                                                                                                                                                      8.30.13
          625 AUTOMOBILE LEASE AGREEMENT        2008 FORD FUSION SE                                                                                                                 4/26/2011        5/1/2014

          626 AUTOMOBILE LEASE AGREEMENT        2008 BMW 528I                                                                                                                        4/7/2011        5/1/2014

          627 AUTOMOBILE LEASE AGREEMENT        2008 FORD EXPLORER S                                                                                                                4/19/2011        5/1/2014

          628 AUTOMOBILE LEASE AGREEMENT        2009 BMW 3281                                                                                                                       2/15/2012        3/1/2015

          629 AUTOMOBILE LEASE AGREEMENT        2010 CHEVROLET MALIBU 2010LS                                                                                                        5/23/2011        6/1/2014

          630 AUTOMOBILE LEASE AGREEMENT        2010 INFINITI M35                                                                                                                    5/1/2013        5/1/2016

          631 AUTOMOBILE LEASE AGREEMENT        2011 HONDA ACCORD                                                                                                                   1/31/2013        2/1/2016

          632 AUTOMOBILE LEASE AGREEMENT        2013 FORD FUSION                                                                                                                    1/31/2013        2/1/2016
          633 SERVICE AGREEMENT                 KITCHEN EXHAUST CLEAINNG SERVICE AGREEMENT                                                                                        10/12/2000
          634 SERVICE AGREEMENT                 ATM AGREEMENT                                                                                                     65059             8/7/2004         8/7/2014
          635 SERVICE AGREEMENT                 ELECTRIC SERVICE AGREEMENT                                                                                                           8/9/2000
                                                                                                                                                                                                5727/17 (AUTO
          636 SERVICE AGREEMENT                 LINEN SERVICES AGREEMENT                                                                                          65027             5/27/2004    RENEW 5 YEAR
                                                                                                                                                                                                       TERMS)
          637 SERVICE AGREEMENT                 LINEN SERVICES AGREEMENT                                                                                          65095             5/20/2013       5/20/2014
                                                                                                                                                                                                   M/M AFTER
          638 SERVICE AGREEMENT                 PEST CONTROL                                                                                                                        5/19/2005
                                                                                                                                                                                                       5/19/06
                                                                                                                                                                                                   M/M AFTER
          639 SERVICE AGREEMENT                 PEST CONTROL                                                                                                                        6/20/2001
                                                                                                                                                                                                       6/20/02
                                                                                                                                                                                                   M/M AFTER
          640 SERVICE AGREEMENT                 PEST CONTROL                                                                                                                        7/24/2000
                                                                                                                                                                                                       7/24/01



2455538-1                                                                                                1.1(a) - 71
                                                                Case 13-13220-KG         Doc 506-1         Filed 03/17/14        Page 216 of 362


     ID            Attention                 Address 1           Address 2   Address 3   Address 4        City           State           Zip   Country   Email   Phone   Fax
          613                   3951 DARTMOUTH COURT       SUITE 1                                   FREDERICK      MD           21703
          614 JUDITY P. ARMIJO 145 NAVARRO                 PO BOX 1771                               SAN ANTONIO    TX           78296-1771

          615 GEOFF SHOOK       2030 E POLYMER DRIVE                                                 CHATTANOOGA TN              67422
                                                                                                     OKLAHOMA
          616                   4400 SW 36TH STREET                                                                 OK           73128
                                                                                                     CITY
          617                   484 E FM 3040                                                        LEWISVILLE     TX           75067
          618   STU AMES        4508 W 46TH ST                                                       CHICAGO        IL           60632
          619   STU AMES        4508 W 46TH ST                                                       CHICAGO        IL           60632
          620   STU AMES        4508 W 46TH ST                                                       CHICAGO        IL           60632
          621   STU AMES        4508 W 46TH ST                                                       CHICAGO        IL           60632
          622   STU AMES        4508 W 46TH ST                                                       CHICAGO        IL           60632
          623 CHRIS ROBINSON 3646 TOP OF THE PINES COURT                                             RALEIGH        NC           27604

          624                   P.O. BOX 552210                                                      DETROIT        MI           48255
                LEASE FINANCE
          625                   P.O. BOX 20140                                                       WICHITA        KS           67208-1140
                PARTNERS
                LEASE FINANCE
          626                   P.O. BOX 20140                                                       WICHITA        KS           67208-1140
                PARTNERS
                LEASE FINANCE
          627                   P.O. BOX 20140                                                       WICHITA        KS           67208-1140
                PARTNERS
                LEASE FINANCE
          628                   4825 E DOUGLAS                                                       WICHITA        KS           67208-1140
                PARTNERS
                LEASE FINANCE
          629                   4825 E DOUGLAS                                                       WICHITA        KS           67208-1140
                PARTNERS
                LEASE FINANCE
          630                   4825 E DOUGLAS                                                       WICHITA        KS           67208-1140
                PARTNERS
                LEASE FINANCE
          631                   4825 E DOUGLAS                                                       WICHITA        KS           67208-1140
                PARTNERS
                LEASE FINANCE
          632                   4825 E DOUGLAS                                                       WICHITA        KS           67208-1140
                PARTNERS
          633                   5215 DENISON AVE                                                     CLEVELAND      OH           44102
          634                   4590 LEERSDALE DR                                                    DENVER         CO           80246
          635                   26801 NORTHWESTERN HWY                                               SOUTHFIELD     MI           48034

                JEFFREY
          636                   3800 18TH ST                                                         DETROIT        MI           48208
                WISNIEWSKI
          637                   4100 FRANKFORD AVE                                                   PHILADELPHIA   PA           19124
              ROBERTO
          638                   P.O. BOX 6007                                                        GRAND FORKS    ND           58206
              RODRIGUEZ
          639                   P.O. BOX 6007                                                        GRAND FORKS    ND           58206

          640                   P.O. BOX 6007                                                        GRAND FORKS    ND           58206




2455538-1                                                                                            1.1(a) - 72
                                                                         Case 13-13220-KG                 Doc 506-1             Filed 03/17/14         Page 217 of 362


     ID         Epiq Contract No    Store Number      Case                                      Debtor                                        Responsible Person                       Contract Counter Party
          641 NO COPY              65084         13-13259    TENT RESTAURANT OPERATIONS, INC                                               LINDA COSTNER           ECOLAB INC
          642 NO COPY              65027         13-13259    TENT RESTAURANT OPERATIONS, INC                                               LINDA COSTNER           ELITE BANK CARD SOLUTIONS


                                                             FOX & HOUND OF TENNESSEE, INC (for the benefit of TENT RESTAURANT
          643 NO COPY              65074         13-13259                                                                                  LINDA COSTNER           EPB
                                                             OPERATIONS, INC.)


          644 NO COPY              65093         13-13259    TENT RESTAURANT OPERATIONS, INC                                               LINDA COSTNER           FOODIE CALL, INC.


          645 NO COPY              65201         13-13227    CHAMPPS OPERATING CORPORATION                                                 LINDA COSTNER           G&K SERVICES

          646 NO COPY              65209         13-13227    CHAMPPS OPERATING CORPORATION                                                 LINDA COSTNER           G&K SERVICES

          647 NO COPY              65225         13-13227    CHAMPPS OPERATING CORPORATION                                                 LINDA COSTNER           G&K SERVICES
                                                             FOX & HOUND/KING OF PRUSSIA (for the benefit of TENT RESTAURANT OPERATIONS,
          648 NO COPY              65066         13-13259                                                                                  LINDA COSTNER           GM HOLDINGS LLC
                                                             INC.)
          649   NO COPY            65004         13-13254    N. COLLINS ENTERTAINMENT, LTD.                                                LINDA COSTNER           GMR MARKETING LLC
          650   NO COPY            65007         13-13259    TENT RESTAURANT OPERATIONS, INC                                               LINDA COSTNER           GMR MARKETING LLC
          651   NO COPY            65008         13-13248    F & H RESTAURANTS OF TEXAS, INC                                               LINDA COSTNER           GMR MARKETING LLC
          652   NO COPY            65013         13-13259    TENT RESTAURANT OPERATIONS, INC                                               LINDA COSTNER           GMR MARKETING LLC
          653   NO COPY            65014         13-13259    TENT RESTAURANT OPERATIONS, INC                                               LINDA COSTNER           GMR MARKETING LLC
          654   NO COPY            65028         13-13259    TENT RESTAURANT OPERATIONS, INC                                               LINDA COSTNER           GMR MARKETING LLC
          655   NO COPY            65028         13-13259    TENT RESTAURANT OPERATIONS, INC                                               LINDA COSTNER           GMR MARKETING LLC
          656   NO COPY            65040         13-13248    F & H RESTAURANTS OF TEXAS, INC                                               LINDA COSTNER           GMR MARKETING LLC
          657   NO COPY            65041         13-13259    TENT RESTAURANT OPERATIONS, INC                                               LINDA COSTNER           GMR MARKETING LLC
          658   NO COPY            65042         13-13248    F & H RESTAURANTS OF TEXAS, INC                                               LINDA COSTNER           GMR MARKETING LLC
          659   NO COPY            65043         13-13248    F & H RESTAURANTS OF TEXAS, INC                                               LINDA COSTNER           GMR MARKETING LLC
          660   NO COPY            65044         13-13230    F&H OF KENNESAW, INC                                                          LINDA COSTNER           GMR MARKETING LLC
          661   NO COPY            65049         13-13235    FOX & HOUND OF COLORADO, INC                                                  LINDA COSTNER           GMR MARKETING LLC
          662   NO COPY            65052         13-13248    F & H RESTAURANTS OF TEXAS, INC                                               LINDA COSTNER           GMR MARKETING LLC
          663   NO COPY            65059         13-13235    FOX & HOUND OF COLORADO, INC                                                  LINDA COSTNER           GMR MARKETING LLC
          664   NO COPY            65063         13-13245    FOX & HOUND OF NEW MEXICO, INC                                                LINDA COSTNER           GMR MARKETING LLC
          665   NO COPY            65065         13-13248    F & H RESTAURANTS OF TEXAS, INC                                               LINDA COSTNER           GMR MARKETING LLC
          666   NO COPY            65088         13-13259    TENT RESTAURANT OPERATIONS, INC                                               LINDA COSTNER           GMR MARKETING LLC
          667   NO COPY            65091         13-13246    FOX & HOUND OF OHIO, INC                                                      LINDA COSTNER           GMR MARKETING LLC
          668   NO COPY            65094         13-13248    F & H RESTAURANTS OF TEXAS, INC                                               LINDA COSTNER           GMR MARKETING LLC
          669   NO COPY            65055         13-13236    FOX & HOUND OF ILLINOIS, INC                                                  LINDA COSTNER           HELGET GAS PRODUCTS INC
          670   NO COPY            65080         13-13259    TENT RESTAURANT OPERATIONS,INC                                                LINDA COSTNER           KMD LINEN SERVICE CO INC
          671 NO COPY              65059         13-13235    FOX & HOUND OF COLORADO, INC                                                  LINDA COSTNER           LEADBETTER LANDSCAPING
                                                             FOX & HOUND OF MICHIGAN, INC (for the benefit of TENT RESTAURANT
          672 NO COPY              65070         13-13259                                                                                  LINDA COSTNER           LEONARDS SYRUPS INC
                                                             OPERATIONS, INC.)
          673 NO COPY              65216         13-13227    CHAMPPS AMERICANA (for the benefit of CHAMPPS OPERATING CORPORATION)          LINDA COSTNER           LEONARDS SYRUPS INC

          674 NO COPY              65217         13-13227    CHAMPPS AMERICANA (for the benefit of CHAMPPS OPERATING CORPORATION)          LINDA COSTNER           LEONARDS SYRUPS INC




2455538-1                                                                                                               1.1(a) - 73
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     ID                      Type of Contract                                Description of Contract                    Assume             Reject   Cure Amount   Contract No Date of ContractTermination Date
          641 SERVICE AGREEMENT                 PEST CONTROL                                                                                                                       9/13/2004      M/M AFTER
          642 SERVICE AGREEMENT                 ATM AGREEMENT                                                                                                     65027            4/10/2012        4/9/2014
                                                                                                                                                                                                        UNTIL
                                                                                                                                                                                               TERMINATED IN
          643 SERVICE AGREEMENT                 ELECTRIC SERVICE AGREEMENT                                                                                                         6/18/2004
                                                                                                                                                                                               WRITING AFTER
                                                                                                                                                                                                      6/18/05
                                                                                                                                                                                                   MONTH TO
          644 SERVICE AGREEMENT                 DELIVERY SERVICE AGREEMENT                                                                                                          2/1/2013    MONTH AFTER
                                                                                                                                                                                                       3/1/13
                                                                                                                                                                                                   M/M AFTER
          645 SERVICE AGREEMENT                 LINEN SERVICES AGREEMENT                                                                                          65201            5/23/2011
                                                                                                                                                                                                      5/23/12
                                                                                                                                                                                                   M/M AFTER
          646 SERVICE AGREEMENT                 LINEN SERVICES AGREEMENT                                                                                          65209            5/23/2011
                                                                                                                                                                                                      5/23/12
                                                                                                                                                                                                   M/M AFTER
          647 SERVICE AGREEMENT                 LINEN SERVICES AGREEMENT                                                                                          65225            5/23/2011
                                                                                                                                                                                                      5/23/12
                                                                                                                                                                                                2 YEAR TERMS
          648 SERVICE AGREEMENT                 ATM AGREEMENT                                                                                                     65066            7/21/2006
                                                                                                                                                                                                AFTER 7/21/08
          649   ENTERTAINMENT AGREEMENT         MARLBORO PROMOTION NIGHTS                                                                                         65004             1/1/2013       12/31/2013
          650   ENTERTAINMENT AGREEMENT         MARLBORO PROMOTION NIGHTS                                                                                         65007            2/12/2013       12/31/2013
          651   ENTERTAINMENT AGREEMENT         MARLBORO PROMOTION NIGHTS                                                                                         65008             1/1/2013       12/31/2013
          652   ENTERTAINMENT AGREEMENT         MARLBORO PROMOTION NIGHTS                                                                                         65013             1/1/2013       12/31/2013
          653   ENTERTAINMENT AGREEMENT         MARLBORO PROMOTION NIGHTS                                                                                         65014            2/12/2013       12/31/2013
          654   ENTERTAINMENT AGREEMENT         MARLBORO PROMOTION NIGHTS                                                                                         65028            7/23/2013       12/31/2013
          655   ENTERTAINMENT AGREEMENT         MARLBORO PROMOTION NIGHTS                                                                                         65028             1/1/2013       12/31/2013
          656   ENTERTAINMENT AGREEMENT         MARLBORO PROMOTION NIGHTS                                                                                         65040             1/1/2013       12/31/2013
          657   ENTERTAINMENT AGREEMENT         MARLBORO PROMOTION NIGHTS                                                                                         65041             1/1/2013       12/31/2013
          658   ENTERTAINMENT AGREEMENT         MARLBORO PROMOTION NIGHTS                                                                                         65042             1/1/2013       12/31/2013
          659   ENTERTAINMENT AGREEMENT         MARLBORO PROMOTION NIGHTS                                                                                         65043             1/1/2013       12/31/2013
          660   ENTERTAINMENT AGREEMENT         MARLBORO PROMOTION NIGHTS                                                                                         65044             1/1/2013       12/31/2013
          661   ENTERTAINMENT AGREEMENT         MARLBORO PROMOTION NIGHTS                                                                                         65049            1/23/2013       12/31/2013
          662   ENTERTAINMENT AGREEMENT         MARLBORO PROMOTION NIGHTS                                                                                         65052             1/1/2013       12/31/2013
          663   ENTERTAINMENT AGREEMENT         MARLBORO PROMOTION NIGHTS                                                                                         65059            1/23/2013       12/31/2013
          664   ENTERTAINMENT AGREEMENT         MARLBORO PROMOTION NIGHTS                                                                                         65063             1/7/2013       12/31/2013
          665   ENTERTAINMENT AGREEMENT         MARLBORO PROMOTION NIGHTS                                                                                         65065             1/1/2013       12/31/2013
          666   ENTERTAINMENT AGREEMENT         MARLBORO PROMOTION NIGHTS                                                                                         65088             1/1/2013       12/31/2013
          667   ENTERTAINMENT AGREEMENT         MARLBORO PROMOTION NIGHTS                                                                                         65091             1/1/2013       12/31/2013
          668   ENTERTAINMENT AGREEMENT         MARLBORO PROMOTION NIGHTS                                                                                         65094             1/1/2013       12/31/2013
          669   SERVICE AGREEMENT               CO2 SERVICE AGREEMENT                                                                                             65055            9/23/2013        9/23/2016
          670   SERVICE AGREEMENT               LINEN SERVICES AGREEMENT                                                                                          65080            7/25/2013        7/25/2014
          671 SERVICE AGREEMENT                 GOUNDS MAINTENANCE - LAWN CARE/SNOW/PEST                                                                                            2/7/2013        3/1/2014
                                                                                                                                                                                                  M/M AFTER
          672 SERVICE AGREEMENT                 CO2 SERVICE AGREEMENT                                                                                             65070            5/17/2004
                                                                                                                                                                                                    5/17/05
                                                                                                                                                                                                  M/M AFTER
          673 SERVICE AGREEMENT                 CO2 SERVICE AGREEMENT                                                                                             65216             2/3/1998
                                                                                                                                                                                                     2/3/10
          674 SERVICE AGREEMENT                 CO2 SERVICE AGREEMENT                                                                                             65217




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     ID          Attention                     Address 1   Address 2   Address 3   Address 4       City            State           Zip   Country   Email   Phone   Fax
          641 SCOTT JEDD     P.O. BOX 6007                                                     GRAND FORKS    ND           58206
          642                3231 ORCHARD LAKE RD                                              KEEGO HARBOR MI             48320


          643                P.O. BOX 182254                                                   CHATANOOGA     TN           37422



          644                308 E WORTHINGTON AVE                                             CHARLOTTE      NC           28203

              ANDREW
          645                621 OLSON MEMORIAL HWY                                            MINNEAPOLIS    MN           55405
              MCCALLISTER
              ANDREW
          646                621 OLSON MEMORIAL HWY                                            MINNEAPOLIS    MN           55405
              MCCALLISTER
              ANDREW
          647                621 OLSON MEMORIAL HWY                                            MINNEAPOLIS    MN           55405
              MCCALLISTER
          648 ROSLYN STONE   115 HOLLYHOCK DRIVE                                               LAFAYETTE HILL NJ           19444
          649                5000 S TOWNE DRIVE                                                NEW BERLIN     WI           53151
          650                5000 S TOWNE DRIVE                                                NEW BERLIN     WI           53151
          651                5000 S TOWNE DRIVE                                                NEW BERLIN     WI           53151
          652                5000 S TOWNE DRIVE                                                NEW BERLIN     WI           53151
          653                5000 S TOWNE DRIVE                                                NEW BERLIN     WI           53151
          654                5000 S TOWNE DRIVE                                                NEW BERLIN     WI           53151
          655                5000 S TOWNE DRIVE                                                NEW BERLIN     WI           53151
          656                5000 S TOWNE DRIVE                                                NEW BERLIN     WI           53151
          657                5000 S TOWNE DRIVE                                                NEW BERLIN     WI           53151
          658                5000 S TOWNE DRIVE                                                NEW BERLIN     WI           53151
          659                5000 S TOWNE DRIVE                                                NEW BERLIN     WI           53151
          660                5000 S TOWNE DRIVE                                                NEW BERLIN     WI           53151
          661                5000 S TOWNE DRIVE                                                NEW BERLIN     WI           53151
          662                5000 S TOWNE DRIVE                                                NEW BERLIN     WI           53151
          663                5000 S TOWNE DRIVE                                                NEW BERLIN     WI           53151
          664                5000 S TOWNE DRIVE                                                NEW BERLIN     WI           53151
          665                5000 S TOWNE DRIVE                                                NEW BERLIN     WI           53151
          666                5000 S TOWNE DRIVE                                                NEW BERLIN     WI           53151
          667                5000 S TOWNE DRIVE                                                NEW BERLIN     WI           53151
          668                5000 S TOWNE DRIVE                                                NEW BERLIN     WI           53151
          669                P.O. BOX 24246                                                    OMAHA          NE           68124
          670                109 BOONE HILLS DR                                                SAINT PETERS   MO           63376
                MEANIE
          671                10603 CHERRYBROOK CIRCLE                                          LITTLETON      CO           80126
                LEADBETTER
          672                4225 NANCY                                                        DETROIT        MI           48212

          673                4225 NANCY                                                        DETROIT        MI           48212

          674                4225 NANCY                                                        DETROIT        MI           48212




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     ID           Epiq Contract No    Store Number        Case                                      Debtor                                     Responsible Person                        Contract Counter Party
          675   NO COPY              65204           13-13227    CHAMPPS OPERATING CORPORATION                                              LINDA COSTNER           LINENS OF THE WEEK
          676   NO COPY              65207           13-13227    CHAMPPS OPERATING CORPORATION                                              LINDA COSTNER           LINENS OF THE WEEK
          677   NO COPY              65226           13-13227    CHAMPPS OPERATING CORPORATION                                              LINDA COSTNER           LINENS OF THE WEEK
          678   NO COPY              65230           13-13227    CHAMPPS OPERATING CORPORATION                                              LINDA COSTNER           LINENS OF THE WEEK
          679   NO COPY              65240           13-13227    CHAMPPS OPERATING CORPORATION                                              LINDA COSTNER           LINENS OF THE WEEK
          680   NO COPY              65241           13-13227    CHAMPPS OPERATING CORPORATION                                              LINDA COSTNER           LINENS OF THE WEEK
          681   NO COPY              65252           13-13227    CHAMPPS OPERATING CORPORATION                                              LINDA COSTNER           LINENS OF THE WEEK
          682   NO COPY              65253           13-13227    CHAMPPS OPERATING CORPORATION                                              LINDA COSTNER           LINENS OF THE WEEK
          683 NO COPY                65069           13-13238    FOX & HOUND PUB                                                            LINDA COSTNER           M & H GAS, INC.

          684 NO COPY                65016           13-13236    FOX & HOUND OF ILLINOIS, INC                                               LINDA COSTNER           MACCARB INC
                                                                 FOX & HOUND PUB & GRILLE (for the benefit of TENT RESTAURANT OPERATIONS,
          685 NO COPY                65077           13-13259                                                                               LINDA COSTNER           MACHINE & WELDING SUPPLY INC
                                                                 INC.)
          686 NO COPY                65030           13-13246    FOX & HOUND OF OHIO, INC                                                   LINDA COSTNER           MATCH.COM EVENTS LLC
          687   NO COPY              65216           13-13227    CHAMPPS OPERATING CORPORATION                                              LINDA COSTNER           MAURER'S TEXTILE RENTAL SERVICES INC
          688   NO COPY              65217           13-13227    CHAMPPS OPERATING CORPORATION                                              LINDA COSTNER           MAURER'S TEXTILE RENTAL SERVICES INC
          689   NO COPY              65224           13-13227    CHAMPPS OPERATING CORPORATION                                              LINDA COSTNER           MAURER'S TEXTILE RENTAL SERVICES INC
          690   NO COPY              65229           13-13227    CHAMPPS OPERATING CORPORATION                                              LINDA COSTNER           MAURER'S TEXTILE RENTAL SERVICES INC
          691   NO COPY              65242           13-13227    CHAMPPS OPERATING CORPORATION                                              LINDA COSTNER           MAURER'S TEXTILE RENTAL SERVICES INC
          692   NO COPY              65035           13-13237    FOX & HOUND OF INDIANA, INC                                                LINDA COSTNER           MEDIA STAR PROMOTIONS
          693   NO COPY              65079           13-13250    FOX & HOUND                                                                LINDA COSTNER           MEDIA STAR PROMOTIONS
                                                                 PENNSYLVANIA FOX & HOUND, INC (for the benefit of TENT RESTAURANT
          694 NO COPY                65066           13-13259                                                                               LINDA COSTNER           MOPAC
                                                                 OPERATIONS, INC.)
          695 NO COPY                65047           13-13250    FOX & HOUND, INC                                                           LINDA COSTNER           NATIONAL WELDERS SUPPLY CO INC

          696 NO COPY                65071           13-13259    TENT RESTAURANT OPERATIONS,INC                                             LINDA COSTNER           NATIONAL WELDERS SUPPLY CO INC

          697 NO COPY                65233           13-13227    CHAMPPS AMERICANA (for the benefit of CHAMPPS OPERATING CORPORATION)       LINDA COSTNER           NATIONAL WELDERS SUPPLY CO INC

          698 NO COPY                65044           13-13230    F & H OF KENNESAW, INC                                                     LINDA COSTNER           NATIONAL WELDERS SUPPLY CO INC

          699 NO COPY                65083           13-13249    FOX & HOUND RESTAURANT/TOTAL ENTERTAINMENT INC                             LINDA COSTNER           NATIONAL WELDERS SUPPLY CO INC

          700 NO COPY                65079           13-13259    TENT RESTAURANT OPERATIONS,INC                                             LINDA COSTNER           NEXAIR

          701 NO COPY                65088           13-13259    TENT RESTAURANT OPERATIONS,INC                                             LINDA COSTNER           NEXAIR

          702 NO COPY                65091           13-13246    FOX & HOUND OF OHIO, INC                                                   LINDA COSTNER           NEXAIR


          703 NO COPY                                13-13259    TENT RESTAURANT OPERATIONS, INC                                            LINDA COSTNER           NTN BUZZTIME INC


          704 NO COPY                65042           13-13248    F&H RESTAURANTS OF TEXAS, INC                                              LINDA COSTNER           NTN BUZZTIME INC

          705 NO COPY                65063           13-13245    FOX & HOUND OF NEW MEXICO, INC                                             LINDA COSTNER           NTN BUZZTIME INC




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                                                               Case 13-13220-KG                   Doc 506-1    Filed 03/17/14    Page 221 of 362


     ID                        Type of Contract                              Description of Contract                    Assume             Reject   Cure Amount   Contract No Date of ContractTermination Date
          675   SERVICE AGREEMENT                 LINEN SERVICES AGREEMENT                                                                                        65204              9/1/2011       9/1/2014
          676   SERVICE AGREEMENT                 LINEN SERVICES AGREEMENT                                                                                        65207              9/1/2011       9/1/2014
          677   SERVICE AGREEMENT                 LINEN SERVICES AGREEMENT                                                                                        65226              9/1/2011       9/1/2014
          678   SERVICE AGREEMENT                 LINEN SERVICES AGREEMENT                                                                                        65230              9/1/2011       9/1/2014
          679   SERVICE AGREEMENT                 LINEN SERVICES AGREEMENT                                                                                        65240              9/1/2011       9/1/2014
          680   SERVICE AGREEMENT                 LINEN SERVICES AGREEMENT                                                                                        65241              9/1/2011       9/1/2014
          681   SERVICE AGREEMENT                 LINEN SERVICES AGREEMENT                                                                                        65252              9/1/2011       9/1/2014
          682   SERVICE AGREEMENT                 LINEN SERVICES AGREEMENT                                                                                        65253              9/1/2011       9/1/2014
          683 SERVICE AGREEMENT                   CO2 SERVICE AGREEMENT                                                                                           65069              3/1/2004       3/1/2014

          684 SERVICE AGREEMENT                   CO2 SERVICE AGREEMENT                                                                                           65016              1/1/2009       1/1/2014
                                                                                                                                                                                                  M/M AFTER
          685 SERVICE AGREEMENT                   CO2 SERVICE AGREEMENT                                                                                           65077           10/11/2004
                                                                                                                                                                                                   10/11/05
          686 SERVICE AGREEMENT                   EVENT AGREEMENT                                                                                                                   3/20/2013
          687   SERVICE AGREEMENT                 LINEN SERVICES AGREEMENT                                                                                        65216              7/9/2013       7/9/2015
          688   SERVICE AGREEMENT                 LINEN SERVICES AGREEMENT                                                                                        65217              7/9/2013       7/9/2015
          689   SERVICE AGREEMENT                 LINEN SERVICES AGREEMENT                                                                                        65224              8/8/2013       8/8/2015
          690   SERVICE AGREEMENT                 LINEN SERVICES AGREEMENT                                                                                        65229              7/9/2013       7/9/2015
          691   SERVICE AGREEMENT                 LINEN SERVICES AGREEMENT                                                                                        65242              7/9/2013       7/9/2015
          692   ENTERTAINMENT AGREEMENT           CAMEL PROMOTION NIGHTS                                                                                          65035             3/11/2013    12/31/2013
          693   ENTERTAINMENT AGREEMENT           CAMEL PROMOTION NIGHTS                                                                                          65079              3/6/2013    12/31/2013
                                                                                                                                                                                                   Y/Y AFTER
          694 SERVICE AGREEMENT                   GREASE REMOVAL SERVICE AGREEMENT                                                                                                  2/16/2004
                                                                                                                                                                                                     2/16/05
                                                                                                                                                                                                 M/M AFTER
          695 SERVICE AGREEMENT                   CO2 SERVICE AGREEMENT                                                                                           65047              2/4/2002
                                                                                                                                                                                                      2/4/03
                                                                                                                                                                                                 M/M AFTER
          696 SERVICE AGREEMENT                   CO2 SERVICE AGREEMENT                                                                                           65071              1/4/2007
                                                                                                                                                                                                      1/4/08
                                                                                                                                                                                                 M/M AFTER
          697 SERVICE AGREEMENT                   CO2 SERVICE AGREEMENT                                                                                           65233             12/3/2001
                                                                                                                                                                                                     12/3/04
                                                                                                                                                                                                 M/M AFTER
          698 SERVICE AGREEMENT                   CO2 SERVICE AGREEMENT                                                                                           65044           11/20/2002
                                                                                                                                                                                                    11/20/03
                                                                                                                                                                                                   Y/Y AFTER
          699 SERVICE AGREEMENT                   CO2 SERVICE AGREEMENT                                                                                           65083             5/15/2005
                                                                                                                                                                                                     5/15/06
                                                                                                                                                                                                 M/M AFTER
          700 SERVICE AGREEMENT                   CO2 SERVICE AGREEMENT                                                                                           65079             3/13/2005
                                                                                                                                                                                                     3/13/08
                                                                                                                                                                                                 M/M AFTER
          701 SERVICE AGREEMENT                   CO2 SERVICE AGREEMENT                                                                                           65088           11/22/2005
                                                                                                                                                                                                    11/22/08
                                                                                                                                                                                                 M/M AFTER
          702 SERVICE AGREEMENT                   CO2 SERVICE AGREEMENT                                                                                           65091             2/13/2006
                                                                                                                                                                                                     2/13/09
                                                                                                                                                                                                  MONTH TO
          703 SERVICE AGREEMENT                   ENTERTAINMENT - GAME PADS AGREEMENT                                                                                               9/20/2007   MONTH AFTER
                                                                                                                                                                                                     9/20/08
                                                                                                                                                                  SITE                              M/M AFT
          704 SERVICE AGREEMENT                   ENTERTAINMENT - GAME PADS AGREEMENT                                                                                               7/16/2009
                                                                                                                                                                  ID#13444                        ER7/16/10
                                                                                                                                                                                                 M/M AFTER
          705 SERVICE AGREEMENT                   ENTERTAINMENT - GAME PADS AGREEMENT                                                                                             11/30/2012
                                                                                                                                                                                                    11/30/13



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     ID            Attention                  Address 1         Address 2   Address 3   Address 4       City            State           Zip   Country   Email   Phone   Fax
          675   RONALD BUBES   713 LAMONT STREET NW                                                 WASHINGTON     DC           20010
          676   RONALD BUBES   713 LAMONT STREET NW                                                 WASHINGTON     DC           20010
          677   RONALD BUBES   713 LAMONT STREET NW                                                 WASHINGTON     DC           20010
          678   RONALD BUBES   713 LAMONT STREET NW                                                 WASHINGTON     DC           20010
          679   RONALD BUBES   713 LAMONT STREET NW                                                 WASHINGTON     DC           20010
          680   RONALD BUBES   713 LAMONT STREET NW                                                 WASHINGTON     DC           20010
          681   RONALD BUBES   713 LAMONT STREET NW                                                 WASHINGTON     DC           20010
          682   RONALD BUBES   713 LAMONT STREET NW                                                 WASHINGTON     DC           20010
          683                  4230 WASHINGTON AVENUE                                               INDEPENDENCE MO             84056
                DAVID L.
          684                  32570 GENOA ROAD                                                     GENOA          IL           60135
                MCCARTHY
          685                  HWY 301 SOUTH              PO BOX 1708                               DUNN           NC           28335
                SARAH
          686                  8300DOUGLAS AVE            SUITE 800                                 DALLAS         TX           75225
                NAUGHTON
          687                  930 FILLEY STREET                                                    LANSING        MI           48906
          688                  930 FILLEY STREET                                                    LANSING        MI           48906
          689                  930 FILLEY STREET                                                    LANSING        MI           48906
          690                  930 FILLEY STREET                                                    LANSING        MI           48906
          691                  930 FILLEY STREET                                                    LANSING        MI           48906
          692 CHRIS CURRAN     141 E WASHINGTON STREET    SUITE 100                                 INDIANAPOLIS   IN           46204
          693 CHRIS CURRAN     141 E WASHINGTON STREET    SUITE 100                                 INDIANAPOLIS   IN           46204
          694 RUBERT RAHN      741 SOUDER ROAD                                                      ELROY          PA           18964

          695                  P.O. BOX 31007                                                       CHARLOTTE      NC           28231-6098

          696                  P.O. BOX 31007                                                       CHARLOTTE      NC           28231-6098

          697                  P.O. BOX 31007                                                       CHARLOTTE      NC           28231-6098

          698 RON SPAINHOUR 2649 CHIMNEY SPRINGS DRIVE                                              MARIETTA       GA           30062

          699 JONNY JOHNSON 3341 TOM STEVENS ROAD                                                   SNOW CAMP      NC           27349-9471

          700                  1385 CORPORATE AVE         PO BOX 161182                             MEMPHIS        TN           38186-1182

          701                  P.O. BOX 125                                                         MEMPHIS        TN           38101

          702 DAVID            P.O. BOX 161182                                                      MEMPHIS        TN           38186

                MIKE
          703                  5966 LA PLACE COURT        SUITE 100                                 CARLSBAD       CA           92008-8830
                SUNDERLAND

          704 ERIK SHERMAN     5966 LA PLACE COURT        SUITE 100                                 CARLSBAD       CA           92008-8830

          705                  5966 LA PLACE COURT        SUITE 100                                 CARLSBAD       CA           92008-8830




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     ID           Epiq Contract No    Store Number        Case                                      Debtor                          Responsible Person                      Contract Counter Party
          706 NO COPY                65060           13-13236    FOX & HOUND OF ILLINOIS, INC                                     LINDA COSTNER          NTN BUZZTIME INC

          707 NO COPY                65010           13-13259    TENT RESTAURANT OPERATIONS, INC                                  LINDA COSTNER          NTN BUZZTIME INC

          708 NO COPY                65007           13-13259    TENT RESTAURANT OPERATIONS, INC                                  LINDA COSTNER          NTN BUZZTIME INC

          709 NO COPY                65014           13-13259    TENT RESTAURANT OPERATIONS, INC                                  LINDA COSTNER          NTN BUZZTIME INC
          710 NO COPY                65054           13-13240    FOX & HOUND OF LITTLETON, INC                                    LINDA COSTNER          NTN BUZZTIME INC
          711 NO COPY                65046           13-13235    FOX & HOUND OF COLORADO, INC                                     LINDA COSTNER          NTN BUZZTIME INC
          712 NO COPY                65092           13-13259    TENT RESTAURANT OPERATIONS, INC                                  LINDA COSTNER          NTN BUZZTIME INC
          713 NO COPY                65049           13-13235    FOX & HOUND OF COLORADO, INC                                     LINDA COSTNER          NTN BUZZTIME INC
          714   NO COPY              65059           13-13235    FOX & HOUND OF COLORADO, INC                                     LINDA COSTNER          NTN BUZZTIME INC
          715   NO COPY              65056           13-13233    FOX & HOUND OF HOUSTON #2, LTD.                                  LINDA COSTNER          NTN BUZZTIME INC
          716   NO COPY              65065           13-13233    FOX & HOUND OF HOUSTON #3, LTD.                                  LINDA COSTNER          NTN BUZZTIME INC
          717   NO COPY              65022           13-13233    FOX & HOUND OF SAN ANTONIO, LTD.                                 LINDA COSTNER          NTN BUZZTIME INC
          718 NO COPY                65004           13-13254    N. COLLINS ENTERTAINMENT, LTD.                                   LINDA COSTNER          NTN BUZZTIME INC

          719 NO COPY                65040           13-13248    F&H RESTAURANTS OF TEXAS, INC                                    LINDA COSTNER          NTN BUZZTIME INC
          720 NO COPY                65043           13-13233    FOX & HOUND OF FORT WORTH, LTD.                                  LINDA COSTNER          NTN BUZZTIME INC
          721 NO COPY                65052           13-13233    FOX & HOUND OF RICHARDSON, LTD.                                  LINDA COSTNER          NTN BUZZTIME INC
          722 NO COPY                65036           13-13248    F&H RESTAURANTS OF TEXAS, INC                                    LINDA COSTNER          NTN BUZZTIME INC

          723 NO COPY                65094           13-13248    F&H RESTAURANTS OF TEXAS, INC                                    LINDA COSTNER          NTN BUZZTIME INC

          724 NO COPY                65050           13-13234    FOX & HOUND OF ARIZONA, INC                                      LINDA COSTNER          NTN BUZZTIME INC

          725 NO COPY                65008           13-13248    F&H RESTAURANTS OF TEXAS, INC                                    LINDA COSTNER          NTN BUZZTIME INC

          726 NO COPY                65010           13-13259    TENT RESTAURANT OPERATIONS, INC                                  LINDA COSTNER          NTN BUZZTIME INC
          727 NO COPY                65005           13-13221    505 ENTERTAINMENT, LTD.                                          LINDA COSTNER          NUCO2 LLC
          728 NO COPY                65009           13-13259    TENT RESTAURANT OPERATIONS,INC                                   LINDA COSTNER          NUCO2 LLC
          729 NO COPY                65015           13-13243    FOX & HOUND OF NEBRASKA, INC                                     LINDA COSTNER          NUCO2 LLC
          730 NO COPY                65022           13-13248    F & H RESTAURANTS OF TEXAS, INC                                  LINDA COSTNER          NUCO2 LLC
          731 NO COPY                65023           13-13259    TENT RESTAURANT OPERATIONS,INC                                   LINDA COSTNER          NUCO2 LLC
          732 NO COPY                65029           13-13238    FOX & HOUND OF KANSAS, INC                                       LINDA COSTNER          NUCO2 LLC
          733 NO COPY                65031           13-13259    TENT RESTAURANT OPERATIONS,INC                                   LINDA COSTNER          NUCO2 LLC
          734 NO COPY                65035           13-13237    FOX & HOUND OF INDIANA, INC                                      LINDA COSTNER          NUCO2 LLC
          735 NO COPY                65043           13-13248    F & H RESTAURANTS OF TEXAS, INC                                  LINDA COSTNER          NUCO2 LLC
          736 NO COPY                65043           13-13248    F & H RESTAURANTS OF TEXAS, INC                                  LINDA COSTNER          NUCO2 LLC

          737 NO COPY                65049           13-13235    FOX & HOUND OF COLORADO, INC                                     LINDA COSTNER          NUCO2 LLC




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     ID                        Type of Contract                           Description of Contract                    Assume             Reject   Cure Amount   Contract No Date of ContractTermination Date
                                                                                                                                                                                               M/M AFTER
          706 SERVICE AGREEMENT                   ENTERTAINMENT - GAME PADS AGREEMENT                                                                                          10/12/2009
                                                                                                                                                                                                  10/12/10
                                                                                                                                                                                               M/M AFTER
          707 SERVICE AGREEMENT                   ENTERTAINMENT - GAME PADS AGREEMENT                                                                                           8/21/2009
                                                                                                                                                                                                   8/21/10
                                                                                                                                                                                               M/M AFTER
          708 SERVICE AGREEMENT                   ENTERTAINMENT - GAME PADS AGREEMENT                                                                                           8/21/2009
                                                                                                                                                                                                   8/21/10
                                                                                                                                                                                               M/M AFTER
          709 SERVICE AGREEMENT                   ENTERTAINMENT - GAME PADS AGREEMENT                                                                                           8/21/2009
                                                                                                                                                                                                   8/21/10
          710 SERVICE AGREEMENT                   ENTERTAINMENT - GAME PADS AGREEMENT                                                                                           5/14/2008       5/14/2010
          711 SERVICE AGREEMENT                   ENTERTAINMENT - GAME PADS AGREEMENT                                                                                           5/14/2008       5/14/2010
          712 SERVICE AGREEMENT                   ENTERTAINMENT - GAME PADS AGREEMENT                                                                                           5/14/2008       5/14/2010
                                                                                                                                                                                               M/M AFTER
          713 SERVICE AGREEMENT                   ENTERTAINMENT - GAME PADS AGREEMENT                                                                                           7/16/2009
                                                                                                                                                                                                   7/16/10
          714   SERVICE AGREEMENT                 ENTERTAINMENT - GAME PADS AGREEMENT                                                                                           5/22/2008       5/14/2010
          715   SERVICE AGREEMENT                 ENTERTAINMENT - GAME PADS AGREEMENT                                                                                             2/6/2008      5/14/2010
          716   SERVICE AGREEMENT                 ENTERTAINMENT - GAME PADS AGREEMENT                                                                                             2/6/2008      5/14/2010
          717   SERVICE AGREEMENT                 ENTERTAINMENT - GAME PADS AGREEMENT                                                                                             2/6/2008      5/14/2010
                                                                                                                                                                                               M/M AFTER
          718 SERVICE AGREEMENT                   ENTERTAINMENT - GAME PADS AGREEMENT                                                                                           6/13/2013
                                                                                                                                                                                                   6/13/14
                                                                                                                                                                                               M/M AFTER
          719 SERVICE AGREEMENT                   ENTERTAINMENT - GAME PADS AGREEMENT                                                                                           8/21/2009
                                                                                                                                                                                                   8/21/10
          720 SERVICE AGREEMENT                   ENTERTAINMENT - GAME PADS AGREEMENT                                                                                             2/6/2008        8/6/2008
          721 SERVICE AGREEMENT                   ENTERTAINMENT - GAME PADS AGREEMENT                                                                                          10/23/2008       5/14/2010
                                                                                                                                                                                               M/M AFTER
          722 SERVICE AGREEMENT                   ENTERTAINMENT - GAME PADS AGREEMENT                                                                                           7/16/2009
                                                                                                                                                                                                   7/16/10
                                                                                                                                                                                               M/M AFTER
          723 SERVICE AGREEMENT                   ENTERTAINMENT - GAME PADS AGREEMENT                                                                                           7/16/2009
                                                                                                                                                                                                   7/16/10
                                                                                                                                                                                               M/M AFTER
          724 SERVICE AGREEMENT                   ENTERTAINMENT - GAME PADS AGREEMENT                                                                                           7/16/2009
                                                                                                                                                                                                   7/16/10
                                                                                                                                                                                               M/M AFTER
          725 SERVICE AGREEMENT                   ENTERTAINMENT - GAME PADS AGREEMENT                                                                                           6/13/2013
                                                                                                                                                                                                   6/13/14
                                                                                                                                                                                               M/M AFTER
          726 SERVICE AGREEMENT                   ENTERTAINMENT - GAME PADS AGREEMENT                                                                                           9/20/2007
                                                                                                                                                                                                   9/20/08
          727 SERVICE AGREEMENT                   CO2 SERVICE AGREEMENT                                                                                        65005            9/28/2011       9/28/2014
          728 SERVICE AGREEMENT                   CO2 SERVICE AGREEMENT                                                                                        65009           12/21/2011      12/21/2014
          729 SERVICE AGREEMENT                   CO2 SERVICE AGREEMENT                                                                                        65015            4/20/2012       4/20/2014
                                                                                                                                                                                                 Y/Y AFTER
          730 SERVICE AGREEMENT                   CO2 SERVICE AGREEMENT                                                                                        65022            9/27/2011
                                                                                                                                                                                                   9/27/14
          731 SERVICE AGREEMENT                   CO2 SERVICE AGREEMENT                                                                                        65023            9/28/2011       9/28/2014
                                                                                                                                                                                                 Y/Y AFTER
          732 SERVICE AGREEMENT                   CO2 SERVICE AGREEMENT                                                                                        65029              9/9/2013
                                                                                                                                                                                                    9/9/16
          733 SERVICE AGREEMENT                   CO2 SERVICE AGREEMENT                                                                                        65031              4/9/2012        4/9/2015
          734 SERVICE AGREEMENT                   CO2 SERVICE AGREEMENT                                                                                        65035            8/19/2011       8/19/2014
          735 SERVICE AGREEMENT                   CO2 SERVICE AGREEMENT                                                                                        65043              3/4/2013        3/4/2016
                                                                                                                                                                                                 Y/Y AFTER
          736 SERVICE AGREEMENT                   CO2 SERVICE AGREEMENT                                                                                        65043            2/20/2013
                                                                                                                                                                                                   2/20/16
                                                                                                                                                                                               M/M AFTER
          737 SERVICE AGREEMENT                   CO2 SERVICE AGREEMENT                                                                                        65049            9/30/2011
                                                                                                                                                                                                   9/30/14



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     ID          Attention                   Address 1         Address 2   Address 3   Address 4          City        State           Zip   Country   Email   Phone   Fax
          706                 5966 LA PLACE COURT        SUITE 100                                 CARLSBAD      CA           92008-8830

          707                 5966 LA PLACE COURT        SUITE 100                                 CARLSBAD      CA           92008-8830

          708                 5966 LA PLACE COURT        SUITE 100                                 CARLSBAD      CA           92008-8830

          709                 5966 LA PLACE COURT        SUITE 100                                 CARLSBAD      CA           92008-8830
          710                 5966 LA PLACE COURT        SUITE 100                                 CARLSBAD      CA           92008-8830
          711                 5966 LA PLACE COURT        SUITE 100                                 CARLSBAD      CA           92008-8830
          712                 5966 LA PLACE COURT        SUITE 100                                 CARLSBAD      CA           92008-8830
          713                 5966 LA PLACE COURT        SUITE 100                                 CARLSBAD      CA           92008-8830
          714                 5966 LA PLACE COURT        SUITE 100                                 CARLSBAD      CA           92008-8830
          715                 5966 LA PLACE COURT        SUITE 100                                 CARLSBAD      CA           92008-8830
          716                 5966 LA PLACE COURT        SUITE 100                                 CARLSBAD      CA           92008-8830
          717                 5966 LA PLACE COURT        SUITE 100                                 CARLSBAD      CA           92008-8830
          718                 5966 LA PLACE COURT        SUITE 100                                 CARLSBAD      CA           92008-8830

          719                 5966 LA PLACE COURT        SUITE 100                                 CARLSBAD      CA           92008-8830
          720                 5966 LA PLACE COURT        SUITE 100                                 CARLSBAD      CA           92008-8830
          721                 5966 LA PLACE COURT        SUITE 100                                 CARLSBAD      CA           92008-8830
          722                 5966 LA PLACE COURT        SUITE 100                                 CARLSBAD      CA           92008-8830

          723 ERIK SHERMAN    5966 LA PLACE COURT        SUITE 100                                 CARLSBAD      CA           92008-8830

          724 ERIK SHERMAN    5966 LA PLACE COURT        SUITE 100                                 CARLSBAD      CA           92008-8830

          725                 5966 LA PLACE COURT        SUITE 100                                 CARLSBAD      CA           92008-8830
              MIKE
          726                 5966 LA PLACE COURT        SUITE 100                                 CARLSBAD      CA           92008-8830
              SUNDERLAND
          727                 2800 SE MARKET PLACE                                                 STUART        FL           34997
          728                 2800 SE MARKET PLACE                                                 STUART        FL           34997
          729                 2800 SE MARKET PLACE                                                 STUART        FL           34997
              RANDY
          730                 2800 SE MARKET PLACE                                                 STUART        FL           34997
              RODRIGUEZ
          731 GARY KEYSER     2800 SE MARKET PLACE                                                 STUART        FL           34997
          732                 2800 SE MARKET PLACE                                                 STUART        FL           34997
          733                 2800 SE MARKET PLACE                                                 STUART        FL           34997
          734                 2800 SE MARKET PLACE                                                 STUART        FL           34997
          735                 2800 SE MARKET PLACE                                                 STUART        FL           34997
          736 JOSH BRASSFIELD 2800 SE MARKET PLACE                                                 STUART        FL           34997

          737                 2800 SE MARKET PLACE                                                 STUART        FL           34997




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     ID         Epiq Contract No    Store Number      Case                                     Debtor                                 Responsible Person                        Contract Counter Party
          738 NO COPY              65049         13-13235    FOX & HOUND OF COLORADO, INC                                          LINDA COSTNER           NUCO2 LLC
          739 NO COPY              65050         13-13234    FOX & HOUND OF ARIZONA, INC                                           LINDA COSTNER           NUCO2 LLC
          740   NO COPY            65057         13-13234    FOX & HOUND OF ARIZONA, INC                                           LINDA COSTNER           NUCO2 LLC
          741   NO COPY            65064         13-13247    FOX & HOUND OF OKLAHOMA, INC                                          LINDA COSTNER           NUCO2 LLC
          742   NO COPY            65084         13-13249    FOX & HOUND RESTAURANT GROUP                                          LINDA COSTNER           NUCO2 LLC
          743   NO COPY            65092         13-13259    TENT RESTAURANT OPERATIONS,INC                                        LINDA COSTNER           NUCO2 LLC
          744   NO COPY            65094         13-13248    F & H RESTAURANTS OF TEXAS, INC                                       LINDA COSTNER           NUCO2 LLC
          745   NO COPY            65095         13-13259    TENT RESTAURANT OPERATIONS,INC                                        LINDA COSTNER           NUCO2 LLC
          746   NO COPY            65211         13-13227    CHAMPPS OPERATING CORPORATION                                         LINDA COSTNER           NUCO2 LLC
          747 NO COPY              65212         13-13224    CHAMPPS ENTERTAINMENT, INC                                            LINDA COSTNER           NUCO2 LLC

          748 NO COPY              65218         13-13224    CHAMPPS ENTERTAINMENT, INC                                            LINDA COSTNER           NUCO2 LLC

          749 NO COPY              65219         13-13224    CHAMPPS ENTERTAINMENT, INC                                            LINDA COSTNER           NUCO2 LLC

          750 NO COPY              65220         13-13224    CHAMPPS ENTERTAINMENT, INC                                            LINDA COSTNER           NUCO2 LLC

          751 NO COPY              65221         13-13224    CHAMPPS ENTERTAINMENT, INC                                            LINDA COSTNER           NUCO2 LLC

          752 NO COPY              65228         13-13224    CHAMPPS ENTERTAINMENT, INC                                            LINDA COSTNER           NUCO2 LLC

          753 NO COPY              65232         13-13224    CHAMPPS ENTERTAINMENT, INC                                            LINDA COSTNER           NUCO2 LLC

          754 NO COPY              65235         13-13224    CHAMPPS ENTERTAINMENT, INC                                            LINDA COSTNER           NUCO2 LLC
          755 NO COPY              65240         13-13227    CHAMPPS OPERATING CORPORATION                                         LINDA COSTNER           NUCO2 LLC
          756 NO COPY              65244         13-13224    CHAMPPS ENTERTAINMENT                                                 LINDA COSTNER           NUCO2 LLC


          757 NO COPY              65245         13-13227    CHAMPPS OPERATING CORPORATION                                         LINDA COSTNER           NUCO2 LLC


          758 NO COPY              65246         13-13227    CHAMPPS OPERATING CORPORATION                                         LINDA COSTNER           NUCO2 LLC

          759 NO COPY              65248         13-13224    CHAMPPS ENTERTAINMENT                                                 LINDA COSTNER           NUCO2 LLC

          760 NO COPY              65005         13-13250    FOX & HOUND                                                           LINDA COSTNER           ORKIN PEST CONTROL

          761 NO COPY              65086         13-13259    TENT RESTAURANT OPERATIONS,INC                                        LINDA COSTNER           PALACE LAUNDRY INC


          762 NO COPY              65035         13-13237    FOX & HOUND OF INDIANA, INC                                           LINDA COSTNER           POKER PLAYERS INC


          763 NO COPY              65016         13-13250    FOX & HOUND                                                           LINDA COSTNER           QUALITY TEMP HEATING & AIR INC

          764 NO COPY              65248         13-13227    CHAMPPS (for the benefit of CHAMPPS OPERATING CORPORATION)            LINDA COSTNER           RED DIAMOND DRY ICE & CO2 CORP




2455538-1                                                                                                            1.1(a) - 82
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     ID                      Type of Contract                              Description of Contract                    Assume             Reject   Cure Amount   Contract No Date of ContractTermination Date
          738 SERVICE AGREEMENT                 CO2 SERVICE AGREEMENT                                                                                           65049           10/27/2011      10/27/2014
                                                                                                                                                                                                M/M AFTER
          739 SERVICE AGREEMENT                 CO2 SERVICE AGREEMENT                                                                                           65050            8/16/2012
                                                                                                                                                                                                    8/16/15
          740   SERVICE AGREEMENT               CO2 SERVICE AGREEMENT                                                                                           65057            9/28/2011       9/28/2014
          741   SERVICE AGREEMENT               CO2 SERVICE AGREEMENT                                                                                           65064            2/13/2012       2/13/2015
          742   SERVICE AGREEMENT               CO2 SERVICE AGREEMENT                                                                                           65084           11/14/2011      11/14/2017
          743   SERVICE AGREEMENT               CO2 SERVICE AGREEMENT                                                                                           65092            9/30/2011       9/30/2014
          744   SERVICE AGREEMENT               CO2 SERVICE AGREEMENT                                                                                           65094            9/27/2011       9/27/2014
          745   SERVICE AGREEMENT               CO2 SERVICE AGREEMENT                                                                                           65095              6/1/2012       6/1/2015
          746   SERVICE AGREEMENT               CO2 SERVICE AGREEMENT                                                                                           65211              9/1/2011       9/1/2014
                                                                                                                                                                                                M/M AFTER
          747 SERVICE AGREEMENT                 CO2 SERVICE AGREEMENT                                                                                           65212           11/20/1998
                                                                                                                                                                                                  11/20/10
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          748 SERVICE AGREEMENT                 CO2 SERVICE AGREEMENT                                                                                           65218              1/4/1999
                                                                                                                                                                                                     1/4/11
                                                                                                                                                                                                M/M AFTER
          749 SERVICE AGREEMENT                 CO2 SERVICE AGREEMENT                                                                                           65219            6/12/2000
                                                                                                                                                                                                    6/12/12
                                                                                                                                                                                                M/M AFTER
          750 SERVICE AGREEMENT                 CO2 SERVICE AGREEMENT                                                                                           65220           10/23/1998
                                                                                                                                                                                                  10/23/10
                                                                                                                                                                                                M/M AFTER
          751 SERVICE AGREEMENT                 CO2 SERVICE AGREEMENT                                                                                           65221            7/19/1999
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          752 SERVICE AGREEMENT                 CO2 SERVICE AGREEMENT                                                                                           65228            4/18/2001
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                                                                                                                                                                                                M/M AFTER
          753 SERVICE AGREEMENT                 CO2 SERVICE AGREEMENT                                                                                           65232            4/18/2001
                                                                                                                                                                                                    4/18/09
                                                                                                                                                                                                M/M AFTER
          754 SERVICE AGREEMENT                 CO2 SERVICE AGREEMENT                                                                                           65235              3/1/2003
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          755 SERVICE AGREEMENT                 CO2 SERVICE AGREEMENT                                                                                           65240              9/4/2012       9/4/2015
                                                                                                                                                                                                M/M AFTER
          756 SERVICE AGREEMENT                 CO2 SERVICE AGREEMENT                                                                                           65244            4/18/2001
                                                                                                                                                                                                    4/18/09
                                                                                                                                                                                               60 DAY TERMS
          757 SERVICE AGREEMENT                 CO2 SERVICE AGREEMENT                                                                                           65245           12/28/2004
                                                                                                                                                                                              AFTER 12/28/08
                                                                                                                                                                                                 M/M AFTER
          758 SERVICE AGREEMENT                 CO2 SERVICE AGREEMENT                                                                                           65246             4/18/2001
                                                                                                                                                                                                   4/18/09
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          759 SERVICE AGREEMENT                 CO2 SERVICE AGREEMENT                                                                                           65248             4/18/2001
                                                                                                                                                                                                   4/18/09
                                                                                                                                                                                                 M/M AFTER
          760 SERVICE AGREEMENT                 PEST CONTROL                                                                                                                       5/5/2003
                                                                                                                                                                                                    5/5/04
          761 SERVICE AGREEMENT                 LINEN SERVICES AGREEMENT                                                                                        65086           11/30/2010       11/30/2015
                                                                                                                                                                                                   UNTIL
          762 SERVICE AGREEMENT                 ENTERTAINMENT - POKER TOURNAMENTS AGREEMENT                                                                                     10/11/2004 TERMINATED IN
                                                                                                                                                                                                WRITING
                                                                                                                                                                                               Y/Y AFTER
          763 SERVICE AGREEMENT                 HVAC AGREEMENT                                                                                                                    7/3/2000
                                                                                                                                                                                                  7/3/01
                                                                                                                                                                                              M/M AFTER
          764 SERVICE AGREEMENT                 CO2 SERVICE AGREEMENT                                                                                           65248            9/23/2003
                                                                                                                                                                                                 9/23/09




2455538-1                                                                                              1.1(a) - 83
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     ID          Attention                  Address 1          Address 2   Address 3   Address 4        City          State           Zip   Country   Email   Phone   Fax
          738                2800 SE MARKET PLACE                                                  STUART        FL           34997
          739                2800 SE MARKET PLACE                                                  STUART        FL           34997
          740 ERIC MONROE    2800 SE MARKET PLACE                                                  STUART        FL           34997
          741                2800 SE MARKET PLACE                                                  STUART        FL           34997
          742                2800 SE MARKET PLACE                                                  STUART        FL           34997
          743                2800 SE MARKET PLACE                                                  STUART        FL           34997
          744                2800 SE MARKET PLACE                                                  STUART        FL           34997
          745                2800 SE MARKET PLACE                                                  STUART        FL           34997
          746                2800 SE MARKET PLACE                                                  STUART        FL           34997
          747                2800 SE MARKET PLACE                                                  STUART        FL           34997

          748                2800 SE MARKET PLACE                                                  STUART        FL           34997

          749                2800 SE MARKET PLACE                                                  STUART        FL           34997

          750                2800 SE MARKET PLACE                                                  STUART        FL           34997

          751                2800 SE MARKET PLACE                                                  STUART        FL           34997

          752                2800 SE MARKET PLACE                                                  STUART        FL           34997

          753                2800 SE MARKET PLACE                                                  STUART        FL           34997

          754                2800 SE MARKET PLACE                                                  STUART        FL           34997
          755                2800 SE MARKET PLACE                                                  STUART        FL           34997
          756                2800 SE MARKET PLACE                                                  STUART        FL           34997


          757 STACEY ROWE    2800 SE MARKET PLACE                                                  STUART        FL           34997


          758                2800 SE MARKET PLACE                                                  STUART        FL           34997

          759                2800 SE MARKET PLACE                                                  STUART        FL           34997
                                                                                                   COLLEGE
          760                3209 E BYPASS                                                                       TX           77845
                                                                                                   STATION
                                                                                                   COLONIAL
          761                1701 TOUCHSTONE ROAD                                                                VA           23834-5946
                                                                                                   HEIGHTS
                                                                                                   OVERLAND
          762                7113 WEST 135TH SUITE 112                                                           KS           66223
                                                                                                   PARK

          763                164 ROSS AVE                SUITE A                                   SOUTH ELGIN   IL           60177

          764                P.O. BOX 409                                                          BUFFALO       NY           14212




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     ID           Epiq Contract No    Store Number        Case                                       Debtor                                       Responsible Person                         Contract Counter Party
          765 NO COPY                65055           13-13236    FOX & HOUND OF ILLINOIS, INC                                                   LINDA COSTNER          RESTAURANT TECHNOLOGIES INC

          766 NO COPY                65082           13-13242    FOX & HOUND OF MARYLAND, INC                                                   LINDA COSTNER          RESTAURANT TECHNOLOGIES INC

          767 NO COPY                65025           13-13250    FOX & HOUND                                                                    LINDA COSTNER          RETAIL MERCHANTS ASSOCIATION

          768 NO COPY                                13-13259    NORTH CAROLINA FOX & HOUND, INC                                                LINDA COSTNER          RGB INC DBA RALEIGH AMUSEMENTS

          769 NO COPY                65086           13-13259    TENT RESTAURANT OPERATIONS,INC                                                 LINDA COSTNER          ROBERTS OXYGEN CO INC

          770 NO COPY                65207           13-13224    CHAMPPS ENTERTAINMENT, INC                                                     LINDA COSTNER          ROBERTS OXYGEN CO INC

          771 NO COPY                65226           13-13224    CHAMPPS ENTERTAINMENT                                                          LINDA COSTNER          ROBERTS OXYGEN CO INC

          772 NO COPY                65230           13-13224    CHAMPPS ENTERTAINMENT                                                          LINDA COSTNER          ROBERTS OXYGEN CO INC

          773 NO COPY                65231           13-13224    CHAMPPS ENTERTAINMENT                                                          LINDA COSTNER          ROBERTS OXYGEN CO INC

          774 NO COPY                65240           13-13224    CHAMPPS ENTERTAINMENT                                                          LINDA COSTNER          ROBERTS OXYGEN CO INC

          775 NO COPY                65241           13-13224    CHAMPPS ENTERTAINMENT                                                          LINDA COSTNER          ROBERTS OXYGEN CO INC
          776 NO COPY                65253           13-13224    CHAMPPS ENTERTAINMENT                                                          LINDA COSTNER          ROBERTS OXYGEN CO INC
          777 NO COPY                65025           13-13248    F&H RESTAURANTS OF TEXAS, INC                                                  LINDA COSTNER          ROCK 101 FM WILKS BROADCASTING

          778 NO COPY                65055           13-13236    FOX & HOUND OF ILLINOIS, INC                                                   LINDA COSTNER          RTI SUPPLY AND FILTRATION MONITORING

          779 NO COPY                65073           13-13244    FOX & HOUND OF NEW JERSEY, INC                                                 LINDA COSTNER          RTI SUPPLY AND FILTRATION MONITORING
          780 NO COPY                CORPORATE       13-13259    TENT RESTAURANT OPERATIONS, INC                                                LINDA COSTNER          SCHOLFIELD AUTO PLAZA
                                                                 PENNSYLVANIA FOX & HOUND, INC (for the benefit of TENT RESTAURANT
          781 NO COPY                65033           13-13259                                                                                   LINDA COSTNER          TCI
                                                                 OPERATIONS, INC.)
          782   NO COPY              65044           13-13230    F&H OF KENNESAW, INC                                                           LINDA COSTNER          THE ANSWER IS…PRODUCTIONS INC
          783   NO COPY              CORPORATE       13-13230    F&H OF KENNESAW INC MARTIN J FAYETTE                                           LINDA COSTNER          TOYOTA LEASE TRUST
          784   NO COPY              65009           13-13259    TENT RESTAURANT OPERATIONS, INC                                                LINDA COSTNER          UNIFIRST CORPORATION
          785   NO COPY              65033           13-13250    FOX & HOUND                                                                    LINDA COSTNER          UNIFIRST CORPORATION
          786   NO COPY              65089           13-13259    TENT RESTAURANT OPERATIONS,INC                                                 LINDA COSTNER          UNIFIRST CORPORATION
                                                                 FOX & HOUND OF VIRGINIA, INC (for the benefit of TENT RESTAURANT OPERATIONS,
          787 NO COPY                65062           13-13259                                                                                   LINDA COSTNER          US ATM SERVICES LLC
                                                                 INC.)
          788 NO COPY                65008           13-13233    FOX & HOUND, DALLAS, TX 75287                                                  LINDA COSTNER          WISE ALTERNATIVE SERVICES INC


          789 NO COPY                65040           13-13233    FOX & HOUND, LEWISVILLE, TX                                                    LINDA COSTNER          WISE ALTERNATIVE SERVICES INC


          790 NO COPY                65030           13-13246    FOX & HOUND OF OHIO, INC (for the benefit of FOX & HOUND OF OHIO, INC.)        LINDA COSTNER          WRG SERVICES INC

          791 NO COPY                65030           13-13246    FOX & HOUND CANTON                                                             LINDA COSTNER          WRG SERVICES INC




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     ID                       Type of Contract                               Description of Contract                    Assume             Reject   Cure Amount   Contract No Date of ContractTermination Date
          765 SERVICE AGREEMENT                  COOKING OIL SERVICE                                                                                                               6/21/2004
                                                                                                                                                                                                   Y/Y AFTER
          766 SERVICE AGREEMENT                  COOKING OIL SERVICE AGREEMENT                                                                                                     4/29/2005
                                                                                                                                                                                                     4/29/10
                                                                                                                                                                                                AUTO RENEW
          767 SERVICE AGREEMENT                  COLLECTION ON OUTSTANDING/RETURNED CHECKS                                                                                          1/6/1999
                                                                                                                                                                                                2YEAR TERMS
                                                                                                                                                                                                  M/M AFTER
          768 SERVICE AGREEMENT                  ENTERTAINMENT - COIN-OP AMUSEMENTS                                                                                               10/12/2004
                                                                                                                                                                                                    10/12/05
                                                                                                                                                                                                  M/M AFTER
          769 SERVICE AGREEMENT                  CO2 SERVICE AGREEMENT                                                                                            65086           10/25/2005
                                                                                                                                                                                                    10/25/08
                                                                                                                                                                                                  M/M AFTER
          770 SERVICE AGREEMENT                  CO2 SERVICE AGREEMENT                                                                                            65207             5/1/1996
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          771 SERVICE AGREEMENT                  CO2 SERVICE AGREEMENT                                                                                            65226            8/21/2001
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                                                                                                                                                                                                  M/M AFTER
          772 SERVICE AGREEMENT                  CO2 SERVICE AGREEMENT                                                                                            65230             6/4/2001
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          773 SERVICE AGREEMENT                  CO2 SERVICE AGREEMENT                                                                                            65231            10/3/2001
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                                                                                                                                                                                                  M/M AFTER
          774 SERVICE AGREEMENT                  CO2 SERVICE AGREEMENT                                                                                            65240             9/1/2003
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                                                                                                                                                                                                  M/M AFTER
          775 SERVICE AGREEMENT                  CO2 SERVICE AGREEMENT                                                                                            65241            11/1/2003
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          776 SERVICE AGREEMENT                  CO2 SERVICE AGREEMENT                                                                                            65253            4/26/2011        6/1/2014
          777 SERVICE AGREEMENT                  ADVERTISING AGREEMENT - MNF WATCH PARTIES WITH RADIO ADVERTISEMENTS                                                               9/27/2013       9/22/2013
                                                                                                                                                                                                 M/M AFTER
          778 SERVICE AGREEMENT                  GREASE REMOVAL SERVICE                                                                                           65055            8/21/2013
                                                                                                                                                                                                    8/21/14
                                                                                                                                                                                                 M/M AFTER
          779 SERVICE AGREEMENT                  GREASE REMOVAL SERVICE                                                                                           65073            8/21/2013
                                                                                                                                                                                                    8/21/14
          780 AUTOMOBILE LEASE AGREEMENT         2011 ACURA MDX                                                                                                                   10/31/2011     10/31/2014
                                                                                                                                                                                             AUTO RENEW 3
          781 SERVICE AGREEMENT                  ENTERTAINMENT - VIDEO AGREEMENT                                                                                                   1/12/1998
                                                                                                                                                                                                YEAR TERMS
          782   SERVICE AGREEMENT                ENTERTAINMENT - TRIVIA CONTRACT                                                                                                   6/13/2013
          783   AUTOMOBILE LEASE AGREEMENT       2012 LEXUS ES350                                                                                                                 12/19/2011     12/19/2014
          784   SERVICE AGREEMENT                LINEN SERVICES AGREEMENT                                                                                         65009            1/29/2013      1/29/2014
          785   SERVICE AGREEMENT                LINEN SERVICES AGREEMENT                                                                                         65033            2/16/2006      2/16/2016
          786   SERVICE AGREEMENT                LINEN SERVICES AGREEMENT                                                                                         65089            1/13/2011      1/13/2016
                                                                                                                                                                                                 M/M AFTER
          787 SERVICE AGREEMENT                  ATM AGREEMENT                                                                                                    65062            6/13/2013
                                                                                                                                                                                                    6/30/05
                                                                                                                                                                                                  Y/Y AFTER
          788 SERVICE AGREEMENT                  COOKING EQUIPMENT SERVICE EQUIPMENT                                                                                              11/15/2001
                                                                                                                                                                                                   11/15/02
                                                                                                                                                                                                      UNTIL
          789 SERVICE AGREEMENT                  COOKING EQUIPMENT SERVICE                                                                                                        11/15/2001 TERMINATED IN
                                                                                                                                                                                                   WRITING
                                                                                                                                                                                                  Y/Y AFTER
          790 SERVICE AGREEMENT                  ATM AGREEMENT                                                                                                                     11/6/2001
                                                                                                                                                                                                    11/6/02
                                                                                                                                                                                                  Y/Y AFTER
          791 SERVICE AGREEMENT                  ATM AGREEMENT                                                                                                    65030            11/6/2001
                                                                                                                                                                                                    11/6/02



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     ID            Attention                   Address 1          Address 2   Address 3   Address 4          City        State           Zip   Country   Email   Phone   Fax
          765 BRUCE HAMILTON 940 APOLLO ROAD                SUITE 110                                 EAGAN         MN           55121

          766 KATHI FEROLI     940 APOLLO ROAD              SUITE 110                                 EAGAN         MN           55121

          767                  902 AVENUE J                 PO BOX 2249                               LUBBOCK       TX           79408
                DAVID RICKY
          768                  6217 NC HIGHWAY 39 SELMA                                               SELMA         NC           27576-7923
                GODWIN
          769                  15830 REDLAND ROAD                                                     ROCKVILLE     MD           20855

          770 DAVE CUTCLIFF    1230 MACDADE BLVD                                                      COLLINGDALE   PA           19023

          771                  1230 MACDADE BLVD                                                      COLLINGDALE   PA           19023

          772                  1230 MACDADE BLVD                                                      COLLINGDALE   PA           19023

          773                  1230 MACDADE BLVD                                                      COLLINGDALE   PA           19023

          774                  1230 MACDADE BLVD                                                      COLLINGDALE   PA           19023

          775                  1230 MACDADE BLVD                                                      COLLINGDALE   PA           19023
          776                  1230 MACDADE BLVD                                                      COLLINGDALE   PA           19023
          777 RANDY GATTIS     33 BRIERCROFT OFFICE PARK                                              LUBBOCK       TX           79412
                                                                                                      MENDOTA
          778 BRENT MORRIS     2250 PILOT KNOB ROAD         SUITE 100                                               MN           55120
                                                                                                      HEIGHTS
                                                                                                      MENDOTA
          779 BRENT MORRIS     2250 PILOT KNOB ROAD         SUITE 100                                               MN           55120
                                                                                                      HEIGHTS
          780                  11212 EAST KELLOGG                                                     WICHITA       KS           67207
          781 JOHN SPIRNAK     300 CORLISS STREET                                                     PITTSBURGH    PA           15220
          782 GRIF MENGEL      3475 ROMULUS DRIVE                                                     DULUTH        GA           30097
          783                  P.O. BOX 105386                                                        ATLANTA       GA           30348
          784                  10603 LEXINGTON DR                                                     KNOXVILLE     TN           37932
          785                  1150 SECOND AVENUE                                                     KENSINGTON    PA           15068
          786                  2001 CHURCH ST                                                         NORFOLK       VA           23504
          787                  10410 MAIN STREET            SUITE 210                                 FAIRFAX       VA           22203

          788 DEBORAH WISE     2073 SIENNA TRAIL                                                      LEWISVILLE    TX           75067


          789 BEBORAH WISE     2073 SIENNA TRAIL                                                      LEWISVILLE    TX           75067


          790                  37500 N INDUSTRIAL PARKWAY                                             WILLOUGHBY    OH           44094

          791                  37500 N INDUSTRIAL PARKWAY                                             WILLOUGHBY    OH           44094




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     ID         Epiq Contract No    Store Number        Case                                    Debtor                          Responsible Person                       Contract Counter Party
          792 NO COPY              65039           13-13246    FOX & HOUND OF OHIO, INC                                       LINDA COSTNER          WRG SERVICES INC


          793 NO COPY              CORPORATE       13-13224    CHAMPPS ENTERTAINMENT, INC                                     RENEE CHALOUPKA        ADVANCE RESOURCES


          794 NO COPY              CORPORATE       13-13249    FOX & HOUND RESTAURANT GROUP                                   RENEE CHALOUPKA        ADVANCE RESOURCES


          795 NO COPY              CORPORATE       13-13249    FOX & HOUND RESTAURANT GROUP                                   RENEE CHALOUPKA        AKR RECRUITING


          796 NO COPY              CORPORATE       13-13224    CHAMPPS ENTERTAINMENT, INC                                     RENEE CHALOUPKA        ATLANTIC PERSONNEL



          797 NO COPY              CORPORATE       13-13249    FOX & HOUND RESTAURANT GROUP                                   RENEE CHALOUPKA        AXIOM



          798 NO COPY              CORPORATE       13-13249    FOX & HOUND RESTAURANT GROUP                                   RENEE CHALOUPKA        BEST RESTAURANT JOBS

          799 NO COPY              CORPORATE       13-13249    FOX & HOUND RESTAURANT GROUP                                   RENEE CHALOUPKA        BEST WESTERN TUCSON
          800 NO COPY              CORPORATE       13-13224    CHAMPPS ENTERTAINMENT, INC                                     RENEE CHALOUPKA        BILL REBER & ASSOCIATES

          801 NO COPY              CORPORATE       13-13249    FOX & HOUND RESTAURANT GROUP                                   RENEE CHALOUPKA        BUSINESS EXTRA
          802 NO COPY              CORPORATE       13-13249    FOX & HOUND RESTAURANT GROUP                                   RENEE CHALOUPKA        COMFORT INN CANTON

          803 NO COPY              WICHITA OFFICE 13-13249     FOX AND HOUND RESTAURANT GROUP                                 RENEE CHALOUPKA        DIGITAL OFFICE SYSTEMS INC


          804 NO COPY              CORPORATE       13-13224    CHAMPPS ENTERTAINMENT, INC                                     RENEE CHALOUPKA        EHS HOSPITALITY

          805 NO COPY              CORPORATE       13-13249    FOX AND HOUND RESTAURANT GROUP                                 RENEE CHALOUPKA        ENTERPRISE HOLDINGS

          806 NO COPY              CORPORATE       13-13249    FOX & HOUND RESTAURANT GROUP                                   RENEE CHALOUPKA        GECKO HOSPITALITY


          807 NO COPY              CORPORATE       13-13249    FOX & HOUND RESTAURANT GROUP                                   RENEE CHALOUPKA        GECKO HOSPITALITY


          808 NO COPY              CORPORATE       13-13249    FOX & HOUND RESTAURANT GROUP                                   RENEE CHALOUPKA        GECKO HOSPITALITY


          809 NO COPY              CORPORATE       13-13249    FOX & HOUND RESTAURANT GROUP                                   RENEE CHALOUPKA        GECKO HOSPITALITY, SDB CONSULTING

          810 NO COPY              CORPORATE       13-13249    FOX & HOUND RESTAURANT GROUP                                   RENEE CHALOUPKA        HOLIDAY INN EXPRESS
          811 NO COPY              CORPORATE       13-13249    FOX & HOUND RESTAURANT GROUP                                   RENEE CHALOUPKA        HOLIDAY INN EXPRESS PALATINE



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     ID                        Type of Contract                              Description of Contract                    Assume             Reject   Cure Amount   Contract No Date of ContractTermination Date
                                                                                                                                                                                                  M/M AFTER
          792 SERVICE AGREEMENT                   ATM AGREEMENT                                                                                                   65039            10/5/2000
                                                                                                                                                                                                      10/5/05
                                                                                                                                                                                                EITHER PARTY,
          793 FEE AGREEMENT                       RECRUITER FEE AGREEMENT                                                                                         NA                2/13/2013
                                                                                                                                                                                                   NO NOTICE

                                                                                                                                                                                                EITHER PARTY,
          794 FEE AGREEMENT                       RECRUITER FEE AGREEMENT                                                                                         NA                2/13/2013
                                                                                                                                                                                                   NO NOTICE

                                                                                                                                                                                                EITHER PARTY,
          795 FEE AGREEMENT                       RECRUITER FEE AGREEMENT                                                                                         NA                5/19/2010
                                                                                                                                                                                                   NO NOTICE


          796 FEE AGREEMENT                       CONTINGENCY SEARCH AGREEMENT                                                                                    NA                7/21/2008    NONE STATED


                                                                                                                                                                                                    NA - AUTO
          797 LETTER AGREEMENT                    TRAVEL BOOKING TOOL                                                                                             NA                6/16/2009
                                                                                                                                                                                                RENEW YEARLY


                                                                                                                                                                                                EITHER PARTY,
          798 FEE AGREEMENT                       RECRUITER FEE AGREEMENT                                                                                         NA                5/14/2010
                                                                                                                                                                                                   NO NOTICE
          799 CORPORATE RATE AGREEMENT            HOTEL RATE AGREEMENT                                                                                            NA                 1/3/2013      12/31/2013
                                                                                                                                                                                                EITHER PARTY,
          800 FEE AGREEMENT                       RECRUITER FEE AGREEMENT                                                                                         NA                 5/9/2012
                                                                                                                                                                                                    NO NOTICE
          801 AA REWARDS PROGRAM                  AIRLINE REWARDS PROGRAM                                                                                         NA              11/13/2008              NA
          802 CORPORATE RATE AGREEMENT            HOTEL RATE AGREEMENT                                                                                            NA                 1/1/2013     12/31/2013
                                                                                                                                                                  900-0208951-
          803 RENTAL AGREEMENT                    COPY MACHINES - WICHITA OFFICE                                                                                                    4/21/2013        8/8/2018
                                                                                                                                                                  000


          804 SEARCH AGREEMENT                    EHS SEARCH AGREEMENT                                                                                            NA                6/11/2013    NONE STATED

          805 RATE AGREEMENT                      RENTAL CAR COMPANY                                                                                              NA                11/1/2009             NA
                                                                                                                                                                                                EITHER PARTY,
          806 FEE AGREEMENT                       RECRUITER FEE AGREEMENT                                                                                         NA                5/13/2010
                                                                                                                                                                                                   NO NOTICE

                                                                                                                                                                                                EITHER PARTY,
          807 FEE AGREEMENT                       RECRUITER FEE AGREEMENT                                                                                         NA                5/13/2010
                                                                                                                                                                                                   NO NOTICE

                                                                                                                                                                                                EITHER PARTY,
          808 FEE AGREEMENT                       RECRUITER FEE AGREEMENT                                                                                         NA                5/13/2010
                                                                                                                                                                                                   NO NOTICE

                                                                                                                                                                                                EITHER PARTY,
          809 FEE AGREEMENT                       RECRUITER FEE AGREEMENT                                                                                         NA                5/13/2010
                                                                                                                                                                                                   NO NOTICE
          810 CORPORATE RATE AGREEMENT            HOTEL RATE AGREEMENT                                                                                            NA                 1/1/2013     12/31/2013
          811 CORPORATE RATE AGREEMENT            HOTEL RATE AGREEMENT                                                                                            NA                 1/1/2014     12/31/2014



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     ID            Attention                      Address 1           Address 2   Address 3   Address 4          City          State           Zip   Country       Email                       Phone   Fax
          792                   21651 TUNGSTEN ROAD                                                       EUCLID        OH             44117
                                                                                                                                                               ADVANCERESOU
          793 MARK FIGURSKI     325 FAIRWAY NORTH                                                         TEQUESTA      FL             33469                   RCES@COMCAS 561-746-7039
                                                                                                                                                               T.NET
                                                                                                                                                               ADVANCERESOU
          794 MARK FIGURSKI     325 FAIRWAY NORTH                                                         TEQUESTA      FL             33469                   RCES@COMCAS 561-746-7039
                                                                                                                                                               T.NET
                                                                                                          OKLAHOMA                                             AKENDALL@AKR
          795 AMBER KENDALL 5209 N SHARTEL AVE                                                                          OK             73118                                405-601-1190
                                                                                                          CITY                                                 CAREERS.COM
              ALYSSA
                                                                                                          UPPER
          796 SHERMAN, MIKE     9624 PENNSLYVANIA AVENUE                                                                MD             20772
                                                                                                          MARLBORO
              ESPOSITO
              AMERICAN
              EXPRESS ATTN:
          797                   5000 ATRIUM WAY                                                           MOUNT LAUREL NJ              08054
              CONTRACTS
              DEPARTMENT
                                                                                                                                                               TOM@BESTRES
          798 TOM MEREDITH      23 CLYDESDALE RD                                                          SCOTCH PLAINS NJ             07076                   TAURANTJOBS.C 908-418-4954
                                                                                                                                                               OM
          799 SALES DIRECTOR    6201 N ORACLE RD                                                          TUCSON        ARIZONA        85704
          800 BILL REBER, CPC   716 HIDDEN CIR                                                            DAYTON        OH             45458                                    937-433-5400
              CUSTOMER
          801                   4255 AMON CARTER BLVD MD 4106                                             FT WORTH      TX             76155
              SERVICE
          802 SALES DIRECTOR    5345 BROADMOOR CIR NW                                                     CANTON        OHIO           44709

          803 BRYAN STAAT       530 S HYDRAULIC                                                           WICHITA       KS             67211

                                                                                                                                                               DTANTILLO@EH
          804 COLLEEN HUGHES 1630 MORRILL ST                                                              SARASOTA      FL             34236                   SHOSPITALITY.C 847-838-0147
                                                                                                                                                               OM
          805 MARK I. LITOW     600 CORPORATE PARK DRIVE                                                  ST. LOUIS     MO             63105
                                                                                                                                                               MARTY@GECKO
          806 MARTY TARABAR 5237 SUMMERLIN COMMONS              SUITE 408                                 FORT MYERS    FL             33907                   HOSPITALITY.CO   866-716-4490
                                                                                                                                                               M
                                                                                                                                                               BARRY@GECKO
          807 BARRY GILBERT     5237 SUMMERLIN COMMONS          SUITE 408                                 FORT MYERS    FL             33907                   HOSPITALITY.CO   614-864-5627
                                                                                                                                                               M
                                                                                                                                                               JOAN@GECKOH
                JOAN
          808                   5237 SUMMERLIN COMMONS          SUITE 408                                 FORT MYERS    FL             33907                   OSPITALITY.CO    803-802-4240
                BOSSCAWEN
                                                                                                                                                               M
                                                                                                                                                               SCOTT@GECKO
          809 SCOTT BUTTS       5237 SUMMERLIN COMMONS          SUITE 408                                 FORT MYERS    FL             33907                   HOSPITALITY.CO   513-860-0600
                                                                                                                                                               M
          810 SALES DIRECTOR    3101 N DALLAS PARKWAY                                                     PLANO         TEXAS          75093
          811 SALES DIRECTOR    1550 E DUNDEE RD                                                          PALATINE      ILLINOIS       60074



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     ID           Epiq Contract No    Store Number        Case                                     Debtor                          Responsible Person                      Contract Counter Party

          812 NO COPY                CORPORATE       13-13249    FOX & HOUND RESTAURANT GROUP                                    RENEE CHALOUPKA        INTECONTINENTAL HOTELS GROUP


          813 NO COPY                CORPORATE       13-13249    FOX & HOUND RESTAURANT GROUP                                    RENEE CHALOUPKA        JACK GERALD HOSPITALITY


          814 NO COPY                CORPORATE       13-13249    FOX & HOUND RESTAURANT GROUP                                    RENEE CHALOUPKA        MARTIN PEOPLE SOURCE



          815 NO COPY                CORPORATE       13-13224    CHAMPPS ENTERTAINMENT, INC                                      RENEE CHALOUPKA        MINNSTAR INC


          816 NO COPY                CORPORATE       13-13249    FOX & HOUND RESTAURANT GROUP                                    RENEE CHALOUPKA        PATRICE & ASSOCIATES

          817 NO COPY                CORPORATE       13-13249    FOX & HOUND RESTAURANT GROUP                                    RENEE CHALOUPKA        PIPER JORDAN
          818 NO COPY                CORPORATE       13-13249    FOX & HOUND RESTAURANT GROUP                                    RENEE CHALOUPKA        PROFESSIONAL SEARCH & RECRUITING COMPANY

          819 NO COPY                CORPORATE       13-13224    CHAMPPS ENTERTAINMENT, INC                                      RENEE CHALOUPKA        PROFESSIONAL SEARCH & RECRUITING COMPANY


          820 NO COPY                CORPORATE       13-13249    FOX & HOUND RESTAURANT GROUP                                    RENEE CHALOUPKA        PROGRESSIVE PERSONNEL


          821 NO COPY                CORPORATE       13-13249    FOX & HOUND RESTAURANT GROUP                                    RENEE CHALOUPKA        RESOURCE ONE


          822 NO COPY                CORPORATE       13-13249    FOX & HOUND RESTAURANT GROUP                                    RENEE CHALOUPKA        RESOURCES IN FOOD CHICAGO

          823 NO COPY                CORPORATE       13-13249    FOX & HOUND RESTAURANT GROUP                                    RENEE CHALOUPKA        SELECTIVE RESTAURANT RECRUITERS

          824 NO COPY                CORPORATE       13-13249    FOX & HOUND RESTAURANT GROUP                                    RENEE CHALOUPKA        THRIFTY RENT-A-CAR SYSTEM, INC.

          825 1.00                   CORPORATE       13-13249    FOX & HOUND RESTAURANT GROUP                                    RYAN ZINK              ADP RETIREMENT SERVICES

          826 1.01                   CORPORATE       13-13249    FOX & HOUND RESTAURANT GROUP                                    RYAN ZINK              ADP RETIREMENT SERVICES
          827   19.00                CORPORATE       13-13227    CHAMPS OPERATING CORP.                                          RYAN ZINK              HOTSCHEDULES HOLDINGS INC
          828   19.01                CORPORATE       13-13249    FOX & HOUND RESTAURANT GROUP                                    RYAN ZINK              HOTSCHEDULES HOLDINGS INC
          829   10.00                CORPORATE       13-13220    F&H ACQUISITION CORP                                            RYAN ZINK              PAYTRONIX SYSTEMS INC
          830   2.01                 CORPORATE       13-13224    CHAMPS ENTERTAINMENT, INC                                       RYAN ZINK              WESTEC INTELLIGNCE SURVEILLANCE
          832 NO COPY                65250           13-13227    CHAMPPS OPERATING CORPORATION                                                          16165 LA GRANGE ROAD LLC
          833 NO COPY                65091           13-13259    TENT RESTAURANT OPERATIONS, INC                                                        451 LUDLOW LIMITED PARTNERSHP
          834 NO COPY                65005           13-13254    N. COLLINS ENTERTAINMENT, LTD.                                                         505 CENTER LP




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     ID                        Type of Contract                               Description of Contract                     Assume             Reject   Cure Amount   Contract No Date of ContractTermination Date
                                                                                                                                                                                                     NA - AUTO
          812 HOTEL DISCOUNT PROGRAM AGREEMENT                                                                                                                      NA               7/27/2011
                                                                                                                                                                                                 RENEW YEARLY
                                                                                                                                                                                                  EITHER PARTY,
          813 FEE AGREEMENT                       RECRUITER FEE AGREEMENT                                                                                           NA               5/13/2010
                                                                                                                                                                                                     NO NOTICE

                                                                                                                                                                                                  EITHER PARTY,
          814 FEE AGREEMENT                       RECRUITER FEE AGREEMENT                                                                                           NA               5/13/2010
                                                                                                                                                                                                     NO NOTICE


                                                                                                                                                                                                  EITHER PARTY,
          815 FEE AGREEMENT                       RECRUITER FEE AGREEMENT                                                                                           NA              10/17/2012
                                                                                                                                                                                                     NO NOTICE

                                                                                                                                                                                                  EITHER PARTY,
          816 FEE AGREEMENT                       RECRUITER FEE AGREEMENT                                                                                           NA               5/14/2010
                                                                                                                                                                                                     NO NOTICE
          817 SERVICE AGREEMENT                   HOURLY INSURANCE BROKER                                                                                           NA               7/30/2008              NA
                                                                                                                                                                                                  EITHER PARTY,
          818 FEE AGREEMENT                       RECRUITER FEE AGREEMENT                                                                                           NA               1/16/2007
                                                                                                                                                                                                     NO NOTICE
          819 SEARCH AGREEMENT                    CONTINGENCY SEARCH AGREEMENT                                                                                      NA                4/6/2011    NONE STATED

                                                                                                                                                                                                  EITHER PARTY,
          820 FEE AGREEMENT                       RECRUITER FEE AGREEMENT                                                                                           NA               5/13/2010
                                                                                                                                                                                                     NO NOTICE

                                                                                                                                                                                                  EITHER PARTY,
          821 FEE AGREEMENT                       RECRUITER FEE AGREEMENT                                                                                           NA               4/19/2011
                                                                                                                                                                                                     NO NOTICE
                                                                                                                                                                                                  EITHER PARTY,
          822 FEE AGREEMENT                       RECRUITER FEE AGREEMENT                                                                                           NA               6/15/2004
                                                                                                                                                                                                     NO NOTICE
                                                                                                                                                                                                  EITHER PARTY,
          823 FEE AGREEMENT                       RECRUITER FEE AGREEMENT                                                                                           NA               5/13/2010
                                                                                                                                                                                                     NO NOTICE
          824 RATE AGREEMENT                      RENTAL CAR COMPANY                                                                                                NA               3/31/2009              NA

          825 SERVICE AGREEMENT                   AUTOMATIC DATA PROCESSING PROTOTYPE 401(K) AND PROFIT SHARING PLAN                                                                 7/14/2010

          826 SERVICE AGREEMENT                   INVESTMENT OPTION AGREEMENT                                                                                                        7/14/2010
          827   SERVICE AGREEMENT                 HS CONNECT APPLICATION SERVICE AGREEMENT                                                                                           2/22/2013
          828   SERVICE AGREEMENT                 HS CONNECT APPLICATION SERVICE AGREEMENT                                                                                           2/22/2013
          829   SERVICE AGREEMENT                 EMAIL MARKETING SERVICE AGREEMENT                                                                                                  9/30/2013
          830   SERVICE AGREEMENT                 SECURITY AGREEMENT                                                                                                                10/12/2011
          832 REAL ESTATE LEASE                   LOCATION: 16165 LAGRANGE ROAD, ORLAND PARK IL 60467
          833 REAL ESTATE LEASE                   LOCATION: 5113 BOWEN DRIVE, MASON, OH
          834 REAL ESTATE LEASE                   LOCATION: 505 UNIVERSITY EAST, COLLEGE STATION, TX




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     ID            Attention                     Address 1               Address 2   Address 3   Address 4           City        State           Zip   Country       Email                    Phone         Fax
                CHRISSY
          812                  3 RAVINIA DRIVE                     SUITE 100                                 ATLANTA        GEORGIA      30346
                MANNING
                GARY                                                                                                                                             GARY@JACKGER
          813                  52 WENTWORTH STREET                                                           CHARLESTON     SC           29401                                843-345-8030, 843-559-7999
                ODACHOWSKI                                                                                                                                       ALD.COM
                                                                                                                                                                 DAVIDKANNE@
          814 DAVID KANNE      77 E CROSSVILLE RD                  SUITE 204                                 ROSWELL        GA           30075                   MARTINPEOPLE 678-507-5100
                                                                                                                                                                 SOURCE.COM

                DENEEN                                                                                                                                           DENEEN@MINN
          815                  2705 ETHEL AVENUE                                                             WAYZATA        MN           55391                               952-471-2451
                SCHOENKE                                                                                                                                         STARINC.COM
                                                                                                                                                                 ANGELAG@PAT
                ANGELA
          816                  10020 SOUTHERN MARYLAND BLVD        SUITE 100                                 DUNKIRK        MD           20754                   RICEANDASSOCI 856-599-1120; 410-286-0084
                GUERREIRRO
                                                                                                                                                                 ATES.COM
          817 ROBIN PIPER      11622 EL CAMINO RD                  STE 100                                   SAN DIEGO      CA           92130
                                                                                                                                                                 SUNNIE@PSRRE
          818 SUNNIE COLLINS   220 N ZAPATA HWY #11 P.M.B. 1068                                              LAREDO         TX           78043
                                                                                                                                                                 CRUIT.COM
                                                                                                                                                                 SUNNIE@PSRRE
          819 SUNNIE COLLINS   220 N ZAPATA HWY #11 P.M.B. 1068                                              LAREDO         TX           78043
                                                                                                                                                                 CRUIT.COM
                                                                                                                                                                 CBURD@PROGR
          820 CRAIG BURD       2337 S WOLFSNARE DRIVE                                                        VIRGINIA BEACH VA           23454                   ESSIVEPERSONN 757-966-6065
                                                                                                                                                                 EL.COM
                                                                                                                                                                 KENMEEKS@RE
          821 KEN MEEKS        14428 W 72ND STREET                                                           SHAWNEE        KS           66216                   SOURCEONEINC. 913-485-4600
                                                                                                                                                                 BIZ
                                                                                                                                                                 JGRIMM@RIFO
          822 JAY GRIMM        1885 N FARNSWORTH AVE               SUITE 2                                   AURORA         IL           60505
                                                                                                                                                                 OD.COM
                                                                                                                                                                 SRRCHOICE@AO
          823 TOM DIPPRE       8103 BARDMOOR PLACE                 APT 101-G                                 LARGO          FL           33777-1344                            727-397-6870
                                                                                                                                                                 L.COM
                CATHY
          824                  5310 E 31ST ST                      MAIL STOP 8W6                             TULSA          OK           74135
                FUNDERBURK
          825                  71 HANOVER ROAD                                                               FLORHAM PARK NJ             079432

          826                  71 HANOVER ROAD                                                               FLORHAM PARK NJ             079432
          827                  6504 BRIDGE POINT PARKWAY STE 425                                             AUSTIN         TX           78730
          828                  6504 BRIDGE POINT PARKWAY STE 425                                             AUSTIN         TX           78730
          829                  74 BRIDGE ST STE 400                                                          NEWTON         MA           02458
          830                  1234 LAKESHORE DRIVE, SUITE 600                                               COPPELL        TX           75019
                C/O JOHN N.
          832                  1300 W HIGGINS ROAD SUITE 209                                                 PARK RIDGE     IL           60068
                SKOUBIS
          833                  3801 CAREW TOWER 441 VINE STREET                                              CINCINNATI     OH           45202
              C/O CLARKE &
          834                  3608 E 29TH STREET SUITE 100                                                  BRYAN          TX           77802
              WYNDHAM INC




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                                                                           Case 13-13220-KG               Doc 506-1    Filed 03/17/14     Page 238 of 362


     ID         Epiq Contract No    Store Number        Case                                     Debtor                          Responsible Person                        Contract Counter Party


          835 NO COPY              65207           13-13227    CHAMPPS OPERATING CORPORATION                                                          AG/ARC PLAZA AMERICA RETAIL OWNER, LLC




          836 NO COPY              65207           13-13227    CHAMPPS OPERATING CORPORATION                                                          AG/ARC PLAZA AMERICA RETAIL OWNER, LLC

          837 NO COPY              65047           13-13259    TENT RESTAURANT OPERATIONS, INC                                                        AMCAP BALLATYNE, LLC
          838 NO COPY              65221           13-13225    CHAMPPS ENTERTAINMENT OF TEXAS, INC                                                    AMREIT UPTOWN PARK LP


          839 NO COPY              65221           13-13225    CHAMPPS ENTERTAINMENT OF TEXAS, INC                                                    AMREIT UPTOWN PARK LP




          840 NO COPY              65014           13-13259    TENT RESTAURANT OPERATIONS, INC                                                        NAI NASHVILLE


          841 NO COPY              65082           13-13242    FOX & HOUND OF MARYLAND, INC                                                           BELLEMEAD DEVELOPMENT CORP

          842 NO COPY              65056           13-13248    F & H RESTAURANTS OF TEXAS, INC                                                        BFO45, LTD.
          843 NO COPY              65059           13-13235    FOX & HOUND OF COLORADO, INC                                                           BGN VENTURES LTD LP

          844 NO COPY              65251           13-13227    CHAMPPS OPERATING CORPORATION                                                          BLAZIN WINGS, INC.

          845 NO COPY              65076           13-13236    FOX & HOUND OF ILLINOIS, INC                                                           BLOOMINGDALE COURT, LLC


          846 NO COPY              65251           13-13227    CHAMPPS OPERATING CORPORATION                                                          BOULEVARD NORTH ASSOCIATES LP


          847 NO COPY              65060           13-13236    FOX & HOUND OF ILLINOIS, INC                                                           BRIXMOR GA ARLINGTON HEIGHTS, LLC
                                                                                                                                                      BROOKWOOD INTERCHANGE OFFICE I, LLC AND BROOKWOOD
          848 NO COPY              CORPORATE       13-13220    F&H ACQUISITION CORP.
                                                                                                                                                      INTERCHANGE OFFICE II, LLC, TENANTS IN COMMON
          849 NO COPY              65222           13-13227    CHAMPPS OPERATING CORPORATION                                                          BUIKEMA #21 LLC

          850 NO COPY              65237           13-13227    CHAMPPS OPERATING CORPORATION                                                          CA II LLC


          851 NO COPY              65086           13-13259    TENT RESTAURANT OPERATIONS, INC                                                        CENTRAL PARK 1208, LLC

          852 NO COPY              65027           13-13259    TENT RESTAURANT OPERATIONS, INC                                                        CENTRE VILLAGE LLC
          853 NO COPY              65078           13-13259    TENT RESTAURANT OPERATIONS, INC                                                        CESC PLAZA LP


          854 NO COPY              65232           13-13227    CHAMPPS OPERATING CORPORATION                                                          CIRCLE CENTRE DEVELOPMENT CO




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                                                               Case 13-13220-KG                   Doc 506-1        Filed 03/17/14    Page 239 of 362


     ID                       Type of Contract                               Description of Contract                        Assume                  Reject                Cure Amount   Contract No Date of ContractTermination Date


          835 REAL ESTATE LEASE                  LOCATION: 11694 PLAZA AMERICA DR., RESTON, VA 20190                                 REJECTED - ORDER 1/8/2014 - DN 141




          836 REAL ESTATE LEASE                  LOCATION: 11694 PLAZA AMERICA DR., RESTON, VA 20190                                 REJECTED - ORDER 1/8/2014 - DN 141

          837 REAL ESTATE LEASE                  LOCATION: 15235 JOHN J. DELANEY DRIVE, CHARLOTTE, NC
          838 REAL ESTATE LEASE                  LOCATION: 1211 UPTOWN PARK BLVD., SUITE A, HOUSTON TX 77056


          839 REAL ESTATE LEASE                  LOCATION: 1211 UPTOWN PARK BLVD., SUITE A, HOUSTON TX 77056




          840 REAL ESTATE LEASE                  LOCATION: 5316 MT. VIEW ROAD, ANTIOCH, TN


          841 REAL ESTATE LEASE                  LOCATION: 20021 CENTURY BLVD, GERMANTOWN MD

          842 REAL ESTATE LEASE                  LOCATION: 12802 GULF FREEWAY,HOUSTON TX
          843 REAL ESTATE LEASE                  LOCATION: 9239 PARK MEADOWS DRIVE, LONE TREE, CO

          844 REAL ESTATE LEASE                                                                                                      REJECTED - ORDER 1/8/2014 - DN 141

          845 REAL ESTATE LEASE                  LOCATION: 270-420 W ARMY TRAIL RD, 410A, BLOOMINGDALE, IL 60108


          846 REAL ESTATE LEASE                  LOCATION: 9701 ROOSEVELT BLVD., PHILADELPHIA PA 19114                               REJECTED - ORDER 1/8/2014 - DN 141


          847 REAL ESTATE LEASE                  LOCATION: 910-918 W. DUNDEE ROAD, ARLINGTON HEIGHTS, IL

          848 REAL ESTATE LEASE                  LOCATION: 19111 N. DALLAS PARKWAY, SUITE 120, DALLAS, TX                                                                               OFFICE

          849 REAL ESTATE LEASE                  LOCATION: 2301 FOUNTAIN SQUARE DRIVE, LOMBARD IL 60148

          850 REAL ESTATE LEASE                  LOCATION: 5989 CANAL STREET, VALLEY VIEW, OH 44125                                  REJECTED - ORDER 1/8/2014 - DN 141


          851 REAL ESTATE LEASE                  LOCATION: 1861 CARL D. SILVER PARKWAY, FREDRICKSBURG, VA                            REJECTED - ORDER 1/8/2014 - DN 141

          852 REAL ESTATE LEASE                  LOCATION: 1777 CANTON CENTER, N. CANTON, MI
          853 REAL ESTATE LEASE                  LOCATION: 2010 A CRYSTAL DRIVE, ARLINGTON, VA 22202                                 REJECTED - ORDER 1/8/2014 - DN 141


          854 REAL ESTATE LEASE                  LOCATION: 49 W. MARYLAND ST., CIRCLE CENTER MALL, INDIANAPOLIS IN 46204




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     ID            Attention                    Address 1               Address 2   Address 3   Address 4          City         State           Zip   Country       Email                     Phone        Fax
              C/O ANGELO,
              GORDON & CO.,
          835                   245 PARK AVENUE, 26TH FLOOR                                                 NEW YORK       NY           10167
              L.P. ATTN: DANA
              ROFFMAN
              C/O ATLANTIC
                                                                                                                                                                MARENA@ARCR
          836 REALTY            8150 LEESBURG PIKE SUITE 1100                                               VIENNA         VA           22182                               703-761-9000              703-760-9599
                                                                                                                                                                EALTY.COM
              COMPANIES
          837                   1281 EAST MAIN STREET                                                       STAMFORD       CT           06902
          838                   8 GREENWAY PLAZA SUITE 1000                                                 HOUSTON        TX           77046
              C/O RUSSELL K.
              DUNNING,
          839 POSTERNAK         100 CHARLES RIVER PLAZA                                                     BOSTON         MA           02114
              BLANKSTEIN &
              LUN
                                                                                                                                                                BCLAYBAKER@N
          840                   P.O. BOX 123                                                                BRENTWOOD      TN           37024                   AINASHVILLE.CO 615-377-4747
                                                                                                                                                                M
                                15 MOUNTAIN VIEW ROAD P.O. BOX 1615
          841                                                                                               WARREN         NJ           07059
                                MAILSTOP PI-020
              ATTN: DARRELL
          842                   8554 KATY FREEWAY SUITE 301                                                 HOUSTON        TX           77024
              BELL
          843                   3720 S SUSAN ST. SUITE 100                                                  SANTA ANA      CA           92704
                                                                                                                                                                TBERZINSKI@BU
          844                   5500 WAYZATA BLVD., SUITE 1600                                              MINNEAPOLIS    MN           55416                   FFALOWILDWIN 952-593-9943             952-593-9787
                                                                                                                                                                GS.COM
          845                   225 W WASHINGTON STREET                                                     INDIANAPOLIS   IN           46204
                                                                                                                                                                AROSENZWEIG
                                350 SENTRY PARKWAY BUILDING 630 SUITE
          846                                                                                               BLUE BELL      PA           19422                   @GOLDENBERG 610-260-1474              610-260-0268
                                300
                                                                                                                                                                GROUP.COM
          847                   420 LEXINGTON AVENUE 7TH FLOOR                                              NEW YORK       NY           10170

          848                   19111 N DALLAS PARKWAY SUITE 110                                            DALLAS         TX           75287

          849                   1030 N WASHINGTON ST.                                                       NAPERVILLE     IL           60563
                                                                                                                                                                AKAMM@STAR
                C/O STARK
          850                   1350 WEST 3RD STREET                                                        CLEVELAND      OH           44113                   KENTERPRISES.C 216-464-2860           216-464-1458
                ENTERPRISES
                                                                                                                                                                OM
                                                                                                                                                                KWATKINS@KI
          851                   1954 GREENSPRING DRIVE SUITE 300                                            TIMONIUM       MD           21093                   MCOREALTY.CO 410-684-2000             410-859-5685
                                                                                                                                                                M
          852                   1334 MAPLELAWN DRIVE                                                        TROY           MI           48084
                                                                                                                                                                RPARKER@VNO.
          853                   2345 CRYSTAL DRIVE                                                          ARLINGTON      TX           22202                                703-413-7996
                                                                                                                                                                COM
                C/O SIMON
          854                  225 W WASHINGTON STREET                                                      INDIANAPOLIS   IN           46204
                PROPERTY GROUP




2455538-1                                                                                                   1.1(a) - 96
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     ID         Epiq Contract No    Store Number      Case                                     Debtor                          Responsible Person                     Contract Counter Party
          855 NO COPY              CORPORATE     13-13259    TENT RESTAURANT OPERATIONS, INC                                                        COMMERCE BANK
          856 NO COPY              65018         13-13246    FOX & HOUND OF OHIO, INC                                                               COSMO-EASTGATE, LTD


          857 NO COPY              65247         13-13227    CHAMPPS OPERATING CORPORATION                                                          CREEKSTONE CEDAR LODGE I, LLC



          858 NO COPY              65245         13-13227    CHAMPPS OPERATING CORPORATION                                                          CROCKER PARK DELAWARE, LLC


          859 NO COPY              65247         13-13227    CHAMPPS OPERATING CORPORATION                                                          CRS ENTERPRISES OF BATON ROUGE, LLC



          860 NO COPY              65247         13-13227    CHAMPPS OPERATING CORPORATION                                                          CRS ENTERPRISES OF BATON ROUGE, LLC


          861 NO COPY              65002         13-13259    TENT RESTAURANT OPERATIONS, INC                                                        C'SIDE, LLC

          862 NO COPY              65201         13-13227    CHAMPPS OPERATING CORPORATION                                                          CSM BONAVENTURE LIMITED PARTNERSHIP


          863 NO COPY              65213         13-13227    CHAMPPS OPERATING CORPORATION                                                          CYPRESS CREEK ASSOCIATES LP


          864 NO COPY              65213         13-13227    CHAMPPS OPERATING CORPORATION                                                          CYPRESS CREEK ASSOCIATES LP



          865 NO COPY              65234         13-13227    CHAMPPS OPERATING CORPORATION                                                          DDR ASPEN GROVE LIFESTYLE CENTER PROPERTIES, LLC




          866 NO COPY              65044         13-13230    F & H OF KENNESAW, INC                                                                 DDRTC BARRETT PAVILION LLC


          867 NO COPY              65071         13-13259    TENT RESTAURANT OPERATIONS, INC                                                        DDRTC BIRKDALE VILLAGE LLC


          868 NO COPY              65230         13-13227    CHAMPPS OPERATING CORPORATION                                                          DDRTC OVERLOOK AT KING OF PRUSSIA, LLC



          869 NO COPY              65252         13-13227    CHAMPPS OPERATING CORPORATION                                                          DELAWARE EAST ASSOCIATES LP

          870 NO COPY              65041         13-13259    TENT RESTAURANT OPERATIONS, INC                                                        DEVILLE CORP

          871 NO COPY              65084         13-13222    ALABAMA FOX & HOUND, INC                                                               DRA CLP COLONNADE RETAIL BIRMINGHAM




2455538-1                                                                                                      1.1(a) - 97
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     ID                        Type of Contract                              Description of Contract                               Assume                  Reject                Cure Amount   Contract No Date of ContractTermination Date
          855 REAL ESTATE LEASE                   LOCATION: 1551 N. WATERFRONT PARKWAY, SUITE 310, WICHITA, KS                                                                                 OFFICE
          856 REAL ESTATE LEASE                   LOCATION: 1479 SOM CENTER ROAD, MAYFIELD HEIGHTS, OH


          857 REAL ESTATE LEASE                   LOCATION: 7425 CORPORATE BLVD, SUITE 810, BATON ROUGE, LA 70809                           REJECTED - ORDER 1/8/2014 - DN 141



          858 REAL ESTATE LEASE                   LOCATION: 12 MAIN STREET, WESTLAKE OH 44145                                               REJECTED - ORDER 1/8/2014 - DN 141


          859 REAL ESTATE LEASE                                                                                                             REJECTED - ORDER 1/8/2014 - DN 141



          860 REAL ESTATE LEASE                                                                                                             REJECTED - ORDER 1/8/2014 - DN 141


          861 REAL ESTATE LEASE                   LOCATION: 8500 PINEVILLE MATTHEWS, PINEVILLE, NC

          862 REAL ESTATE LEASE                   LOCATION: 1641 PLYMOUTH ROAD, MINNETONKA MN 55305


          863 REAL ESTATE LEASE                   LOCATION: 6401 N. ANDREWS AVE., FORT LAUDERDALE, FL 33309


          864 REAL ESTATE LEASE                   LOCATION: 6401 N. ANDREWS AVE., FORT LAUDERDALE, FL 33309



          865 REAL ESTATE LEASE                   LOCATION: 7301 S. SANTE FE DRIVE, SUITE 900, LITTLETON CO 80120                           REJECTED - ORDER 1/8/2014 - DN 141




          866 REAL ESTATE LEASE                   LOCATION: 2500 COBB PLACE LANE, SUITE 900, KENNESAW, GA                                   REJECTED - ORDER 1/8/2014 - DN 141


          867 REAL ESTATE LEASE                   LOCATION: 8711 LINDLHOM DR,HUNTERSVILLE, NC 28018


          868 REAL ESTATE LEASE                   LOCATION: 330 GODDARD BOULEVARD, KING OF PRUSSIA PA 19406



          869 REAL ESTATE LEASE                   LOCATION: 2100 S. CHRISTOPHER COLUMBUS BLVD, PHILADELPHIA PA 19148

          870 REAL ESTATE LEASE                   LOCATION: 408 BROADWAY, NASHVILLE, TN

          871 REAL ESTATE LEASE                   LOCATION: 3425 COLONNADE PARKWAY, BIRMINGHAM, AL                                          REJECTED - ORDER 1/8/2014 - DN 141




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     ID            Attention                  Address 1                     Address 2   Address 3   Address 4        City          State           Zip   Country       Email                     Phone        Fax
          855                   333 S BROADWAY SUITE 105                                                        WICHITA       KS           67202
          856                   30201 AURORA ROAD                                                               CLEVELAND     OH           44139
                                                                                                                                                                   DJVOLENTINE@
          857                   2380 TOWNE CENTER BLVD SUITE 1210                                               BATON ROUGE   LA           70806                   CREEKSTONECO 225-372-2191             225-825-2133
                                                                                                                                                                   MPANIES.COM
                                                                                                                                                                   AKAMM@STAR
          858                   1350 WEST 3RD STREET                                                            CLEVELAND     OH           44113                   KENTERPRISES.C 216-464-2860           216-464-1458
                                                                                                                                                                   OM
                                                                                                                                                                   RONSAVELL27@
          859 C/O RON SAVELL    32 MADEWOOD                                                                     HATTIESBURG   MS           39402                                  601-408-9007
                                                                                                                                                                   AOL.COM
              ROBERT T.
              JACKSON , JR ,
          860 JACKSON           309 SOUTH 40TH AVENUE                                                           HATTIESBURG   MS           39402
              BOWMAN
              BLUMENTRIT
          861                   P.O. BOX 220325                                                                 CHARLOTTE     NC           28222
              ATTN: VP
                                500 WASHINGTON AVENUE SOUTH SUITE
          862 PROPERTY                                                                                          MINNEAPOLIS   MN           55415
                                3000
              MANAGEMENT
              C/O KIMCO
                                                                                                                NEW HYDE
          863 REALTY            3333 NEW HYDE PARK ROAD SUITE 100                                                             NY           11042
                                                                                                                PARK
              CORPORATION
              C/O REGIONAL      6060 PIEDMONT ROW DRIVE SOUTH, SUITE
          864                                                                                                   CHARLOTTE     NC           28287
              OFFICE            200
              C/O DEVELOPERS                                                                                                                                       BKERN@DDR.C
              DIVERSIFIED                                                                                                                                          OM;
          865                3300 ENTERPRISE PARKWAY                                                            BEACHWOOD     OH           44122                                216-755-5840             216-755-1500
              REALTY                                                                                                                                               KSTERN@DDR.C
              CORPORATION                                                                                                                                          OM

              ATTN: EXECUTIVE
              VICE PRESIDENT &                                                                                                                                     CMAY@DDR.CO
          866                  3300 ENTERPRISE PARKWAY                                                          BEACHWOOD     OH           44122                               404-504-6757              404-846-7920
              GENERAL                                                                                                                                              M
              COUNSEL
          867                   3300 ENTERPRISE PARKWAY                                                         BEACHWOOD     OH           44122
              C/O DEVELOPERS
              DIVERSIFIED
          868                3300 ENTERPRISE PARKWAY                                                            BEACHWOOD     OH           44122
              REALTY
              CORPORATION
                                350 SENTRY PARKWAY BUILDING 630 SUITE
          869                                                                                                   BLUE BELL     PA           19422
                                300
                ATTN: THOMAS S.
          870                   2018 EAST 7TH AVENUE SUITE 101                                                  TAMPA         FL           33605
                MARTINO
                                                                        780 BROOKWOOD                                                                              RHODA.CATTUS
          871                   ATTN: RHODA CATTUS                                                              BIRMINGHAM    AL           35209                                205-262-4700             205-969-1025
                                                                        VILLAGE                                                                                    @CBRE.COM




2455538-1                                                                                                       1.1(a) - 99
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     ID         Epiq Contract No    Store Number        Case                                     Debtor                           Responsible Person                        Contract Counter Party
          872 NO COPY              65248           13-13227    CHAMPPS OPERATING CORPORATION                                                           EASTVIEW MALL, LLC
          873 NO COPY              65242           13-13227    CHAMPPS OPERATING CORPORATION                                                           EASTWOOD, LLC
          874 NO COPY              65242           13-13227    CHAMPPS OPERATING CORPORATION                                                           EASTWOOD, LLC
          875 NO COPY              65235           13-13227    CHAMPPS OPERATING CORPORATION                                                           ECD-LINCOLNSHIRE RETAIL, LLC

          876 NO COPY              65235           13-13227    CHAMPPS OPERATING CORPORATION                                                           ECD-LINCOLNSHIRE RETAIL, LLC

          877 NO COPY              65009           13-13259    TENT RESTAURANT OPERATIONS, INC                                                         EDUCATIONAL SERVICES OF AMERICA, INC.
          878 NO COPY              65032           13-13241    FOX & HOUND OF LOUISIANA, INC                                                           ELMWOOD SOUTH, LLC
          879 NO COPY              65037           13-13241    FOX & HOUND OF LOUISIANA, INC                                                           ESPLANADE LLC

          880 NO COPY              65241           13-13227    CHAMPPS OPERATING CORPORATION                                                           FAIRFAX COMPANY OF VIRGINIA, LLC
          881 NO COPY              65088           13-13246    FOX & HOUND OF OHIO, INC                                                                FAIRFIELD VILLAGE, LLC
          882 NO COPY              65092           13-13259    TENT RESTAURANT OPERATIONS, INC                                                         FIRST & MAIN, LLC

                                                                                                                                                       FRANK C. ROBSON & LUDMILLA ROBSON, COTRUSTEES OF THE
          883 NO COPY              65075           13-13247    FOX & HOUND OF OKLAHOMA, INC
                                                                                                                                                       FRANK C. ROBSON REVOCABLE TRUST, DATED 2/17/1992
          884 NO COPY              65030           13-13246    FOX & HOUND OF OHIO, INC                                                                GARRISON CENTRAL CANTON LLC
          885 NO COPY              65030           13-13246    FOX & HOUND OF OHIO, INC                                                                GARRISON CENTRAL CANTON LLC
          886 NO COPY              65224           13-13227    CHAMPPS OPERATING CORPORATION                                                           GATEWAY CENTER ASSOCIATES,LTD.


          887 NO COPY              65224           13-13227    CHAMPPS OPERATING CORPORATION                                                           GATEWAY CENTER ASSOCIATES,LTD.


          888 NO COPY              65004           13-13221    505 ENTERTAINMENT, LTD.                                                                 GREENWAY-GREEN OAKS, LP
          889 NO COPY              65243           13-13227    CHAMPPS OPERATING CORPORATION                                                           IMI COLORADO SPRINGS, LLC



          890 NO COPY              65243           13-13227    CHAMPPS OPERATING CORPORATION                                                           IMI COLORADO SPRINGS, LLC



          891 NO COPY              65029           13-13238    FOX & HOUND OF KANSAS,INC                                                               INDIAN CREEK SHOPPING CENTER CO

          892 NO COPY              65255           13-13227    CHAMPPS OPERATING CORPORATION                                                           ISTAR HARRISBURG BUSINESS TRUST



          893 NO COPY              65255           13-13227    CHAMPPS OPERATING CORPORATION                                                           ISTAR HARRISBURG BUSINESS TRUST


          894 NO COPY              65010           13-13259    TENT RESTAURANT OPERATIONS, INC                                                         JIM KALOGEROS & ALEXANDRIA KALOGEROS
          895 NO COPY              65057           13-13234    FOX & HOUND OF ARIZONA,INC                                                              JIRAR ORFALI
          896 NO COPY              65007           13-13259    TENT RESTAURANT OPERATIONS, INC                                                         JMAR PROPERTIES GP, A TN GENERAL PARTNERSHIP




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     ID                       Type of Contract                               Description of Contract                          Assume                  Reject                Cure Amount   Contract No Date of ContractTermination Date
          872 REAL ESTATE LEASE                  LOCATION: 819 EASTVIEW MALL, VICTOR, NY 14564
          873 REAL ESTATE LEASE                  LOCATION: 2800 PREYDE BLVD, LANSING MI 48912
          874 REAL ESTATE LEASE                  LOCATION: 2800 PREYDE BLVD, LANSING MI 48912
          875 REAL ESTATE LEASE                  LOCATION: 275 PARKWAY DRIVE, SUITE 311, LINCOLNSHIRE, IL 60069

          876 REAL ESTATE LEASE                  LOCATION: 275 PARKWAY DRIVE, SUITE 311, LINCOLNSHIRE, IL 60069

          877 REAL ESTATE LEASE                  LOCATION: 250 SEVEN OAKS DRIVE NORTH, KNOXVILLE, TN
          878 REAL ESTATE LEASE                  LOCATION: 1200 S. CLEARVIEW PARKWAY, HARAHAN, LA
          879 REAL ESTATE LEASE                  LOCATION: 5246 CORPORATE BLVD., BATON ROUGE, LA                                       REJECTED - ORDER 1/8/2014 - DN 141

          880 REAL ESTATE LEASE                  LOCATION: 11724U FAIR OAKS, FAIRFAX, VA 22033
          881 REAL ESTATE LEASE                  LOCATION: 2661 FAIRFIELD COMMONS, BEAVERCREEK OH
          882 REAL ESTATE LEASE                  LOCATION: 3101 NEW CENTER POINT DRIVE, COLORADO SPRINGS, CO


          883 REAL ESTATE LEASE                  LOCATION: 7001 S. GARNETT ROAD, BROKEN ARROW, OK 74102

          884 REAL ESTATE LEASE                  LOCATION: 4770 EVERHARD ROAD, CANTON, OH
          885 REAL ESTATE LEASE                  LOCATION: 4770 EVERHARD ROAD, CANTON, OH
          886 REAL ESTATE LEASE                  LOCATION: 7410 ORCHARD LAKE RD., WEST BLOOMFIELD MI 48322


          887 REAL ESTATE LEASE                  LOCATION: 7410 ORCHARD LAKE RD., WEST BLOOMFIELD MI 48322


          888 REAL ESTATE LEASE                  LOCATION: 1001 NE GREEN OAKS BLVD #138, ARLINGTON, TX
          889 REAL ESTATE LEASE                  LOCATION: 1765 BRIARGATE PARKWAY, COLORADO SPRINGS CO 80920                           REJECTED - ORDER 1/8/2014 - DN 141



          890 REAL ESTATE LEASE                  LOCATION: 1765 BRIARGATE PARKWAY, COLORADO SPRINGS CO 80920                           REJECTED - ORDER 1/8/2014 - DN 141



          891 REAL ESTATE LEASE                  LOCATION: 10428 METCALF, OVERLAND PARK, KS

          892 REAL ESTATE LEASE                  LOCATION: ____________________, WARRINGTON, PA                                        REJECTED - ORDER 1/8/2014 - DN 141



          893 REAL ESTATE LEASE                  LOCATION: ____________________, WARRINGTON, PA                                        REJECTED - ORDER 1/8/2014 - DN 141


          894 REAL ESTATE LEASE                  LOCATION: 2101 PARKWAY CENTER, ROAN STREET, JOHNSON CITY, TN
          895 REAL ESTATE LEASE                  LOCATION: 7625 LACHOLLA BLVD, TUCSON, AZ
          896 REAL ESTATE LEASE                  LOCATION: 786 TWO MILE PARKWAY, SUITE 12, GOODLETSVILLE, TN




2455538-1                                                                                                     1.1(a) - 101
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     ID           Attention                      Address 1              Address 2   Address 3   Address 4          City          State           Zip   Country       Email                     Phone        Fax
              C/O EASTVIEW
          872                   1265 SCOTTSVILLE ROAD                                                        ROCHESTER      NY           14624
              MALL LLC
          873                   3303 W SAGINAW SUITE C-3                                                     LANSING        MI           48917
          874                   2501 COOLIDGE, SUITE 301                                                     EAST LANSING   MI           48823
          875                   250 PARKWAY DRIVE SUITE 120                                                  LINCOLNSHIRE   IL           60069
              C/O FORESITE
          876 REALTY            9525 WEST BRYN MAWR AVENUE, SUITE 925                                        ROSEMONT       IL           60018
              MANAGEMENT
          877                   104 N SEVEN OAKS DRIVE                                                       KNOXVILLE      TN           37922
          878                   1200 S CLEARVIEW PARKWAY SUITE 1166                                          NEW ORLEANS    LA           70123
                                                                                                                                                                 RICKTHARTLEY
          879                   8064 SUMMA AVENUE SUITE A                                                    BATON ROUGE    LA           70809                                  225-769-8412
                                                                                                                                                                 @AOL.COM
                                                                                                             BLOOMFIELD
          880 C/O TAUBMAN       200 EAST LONG LAKE ROAD SUITE 300                                                           MI           48304
                                                                                                             HILLS
          881                   180 E BROAD STREET 21ST FLOOR                                                COLUMBUS       OH           43215
                                                                                                             COLORADO
          882                   111 S TEJON ST. SUITE 222                                                                   CO           80903
                                                                                                             SPRINGS

          883                   P.O. BOX 986                                                                 CLAREMORE      OK           74018

          884                   P.O. BOX 1097                                                                GRAHAM         NC           42231
          885                   202 SOUTH MAIN STREET, UNIT J                                                GRAHAM         NC           27253
          886                   320 MARTIN ST SUITE 200                                                      BIRMINGHAM     MI           48009
              GREENBERG
              TRAURIG, PA,
          887                   515 EAST LAS OLAS BLVD, SUITE 1500                                           FT. LAUDERDALE FL           33301
              PETER L. TUNIS,
              ESQ.
          888                   5924 ROYAL LANE SUITE 250                                                    DALLAS         TX           75230
              ANDREW R.
          889                   5750 OLD ORCHARD ROAD SUITE 400                                              SKOKIE         IL           60077                                  847-966-9600           847-966-9628
              MILLER
              POAG SHOPPING
              CENERS LLC ATTN:
          890                  2650 THOUSAND OAKS BLVD, SUITE 3150                                           MEMPHIS        TN           38118
              LEGAL
              DEPARTMENT
                                                                                                             OVERLAND
          891                   10412 METCALF                                                                               KS           66212
                                                                                                             PARK
          892                   180 GLASTONBURY BLVD SUITE 201                                               GALSTONBURY    CT           06033
              ISTATE
              FINANCIAL, INC.
                                1114 AVENUE OF THE AMERICAS, 39TH                                                                                                GCAMIA@ISTAR
          893 ATTN: COO                                                                                      NEW YORK       NY           10036                                 617-247-4044            617-247-9220
                                FLOOR,                                                                                                                           FINANCIAL.COM
              VALLEY SQUARE
              AN
          894                   2531 N ROAN STREET                                                           JOHNSON CITY   TN           37604
          895                   1972 DEERMONT ROAD                                                           GLENDALE       CA           91207
          896                   5550 FRANKLIN PIKE ROAD SUITE 202                                            NASHVILLE      TN           37220-2129




2455538-1                                                                                                   1.1(a) - 102
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     ID         Epiq Contract No    Store Number        Case                                     Debtor                           Responsible Person                        Contract Counter Party
          897 NO COPY              65055           13-13236    FOX & HOUND OF ILLINOIS, INC                                                            KASIM PIRLANT
          898 NO COPY              65025           13-13248    F & H RESTAURANTS OF TEXAS, INC                                                         KG NORTH 2012, LLC
          899 NO COPY              65025           13-13248    F & H RESTAURANTS OF TEXAS, INC                                                         KG NORTH 2012, LLC

          900 NO COPY              65038           13-13259    TENT RESTAURANT OPERATIONS, INC                                                         KING INVESTMENT COMPANY
          901 NO COPY              65066           13-13259    TENT RESTAURANT OPERATIONS, INC                                                         KING OF PRUSSIA ASSOCIATES


          902 NO COPY              65066           13-13259    TENT RESTAURANT OPERATIONS, INC                                                         KING OF PRUSSIA ASSOCIATES


          903 NO COPY              65052           13-13248    F & H RESTAURANTS OF TEXAS, INC                                                         KIR RICHARDSON, LP

          904 NO COPY              65052           13-13248    F & H RESTAURANTS OF TEXAS, INC                                                         KIR RICHARDSON, LP

          905 NO COPY              65079           13-13237    FOX & HOUND OF INDIANA, INC                                                             KITE GREYHOUND, LLC
          906 NO COPY              65043           13-13248    F & H RESTAURANTS OF TEXAS, INC                                                         KRESS FT WORTH LLC
          907 NO COPY              65043           13-13248    F & H RESTAURANTS OF TEXAS, INC                                                         KRESS FT WORTH LLC
          908 NO COPY              65003           13-13259    TENT RESTAURANT OPERATIONS, INC                                                         LAKEWOOD VILLAGE SHOPPING CENTER LLC

          909 NO COPY              65212           13-13227    CHAMPPS OPERATING CORPORATION                                                           LENNOX TOWN CENTER LIMITED


          910 NO COPY              65212           13-13227    CHAMPPS OPERATING CORPORATION                                                           LENNOX TOWN CENTER LIMITED


          911 NO COPY              65039           13-13246    FOX & HOUND OF OHIO, INC                                                                LONE TREE PALM GARYLLC AND LONE TREE PALM CYNTHIA LLC

          912 NO COPY              65033           13-13259    TENT RESTAURANT OPERATIONS, INC                                                         LRC REALTY, INC.

          913 NO COPY              65033           13-13259    TENT RESTAURANT OPERATIONS, INC                                                         LRC REALTY, INC.




          914 NO COPY              65045           13-13259    TENT RESTAURANT OPERATIONS, INC                                                         MACPHER, L.L.C.




          915 NO COPY              65062           13-13259    TENT RESTAURANT OPERATIONS, INC                                                         MACY'S RETAIL HOLDINGS, INC.
          916 NO COPY              65244           13-13227    CHAMPPS OPERATING CORPORATION                                                           MADISON PARTNERS, LP

          917 NO COPY              65244           13-13227    CHAMPPS OPERATING CORPORATION                                                           MADISON PARTNERS, LP
          918 NO COPY              65209           13-13227    CHAMPPS OPERATING CORPORATION                                                           MARKET PLAZA COMMERCIAL LTD




2455538-1                                                                                                        1.1(a) - 103
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     ID                       Type of Contract                               Description of Contract                           Assume                  Reject                Cure Amount   Contract No Date of ContractTermination Date
          897 REAL ESTATE LEASE                  LOCATION: 1416 N. ROSELLE ROAD, UNITS 30-32, SCHAUMBURG, IL
          898 REAL ESTATE LEASE                  LOCATION: 4210 82ND STREET, SUITE 240, LUBBOCK, TX 79423
          899 REAL ESTATE LEASE                  LOCATION: 4210 82ND STREET, SUITE 240, LUBBOCK, TX 79423

          900 REAL ESTATE LEASE                  LOCATION: 22091 MICHIGAN AVENUE, DEARBORN, MI
          901 REAL ESTATE LEASE                  LOCATION: 211 MALL BOULEVARD, KING OF PRUSSIA, PA


          902 REAL ESTATE LEASE                  LOCATION: 211 MALL BOULEVARD, KING OF PRUSSIA, PA


          903 REAL ESTATE LEASE                  LOCATION: 112 WEST CAMPBELL ROAD, RICHARDSON TX

          904 REAL ESTATE LEASE                  LOCATION: 112 WEST CAMPBELL ROAD, RICHARDSON TX

          905 REAL ESTATE LEASE                  LOCATION: 14490 LOWES WAY, CARMEL, IN 46033
          906 REAL ESTATE LEASE                  LOCATION: 604 MAIN STREET, FORT WORTH, TX
          907 REAL ESTATE LEASE                  LOCATION: 604 MAIN STREET, FORT WORTH, TX
          908 REAL ESTATE LEASE                  LOCATION: 2800 LAKEWOOD VILLAGE DRIVE, N. LITTLE ROCK, AR

          909 REAL ESTATE LEASE                  LOCATION: 1827 OLENTANGY RIVER RD., COLUMBUS OH 43212


          910 REAL ESTATE LEASE                  LOCATION: 1827 OLENTANGY RIVER RD., COLUMBUS OH 43212


          911 REAL ESTATE LEASE                  LOCATION: 8735 DAY DRIVE, PARMA, OH

          912 REAL ESTATE LEASE                  LOCATION: 2002 N. WAY MALL, MCKNIGHT ROAD, PITTSBURGH, PA

          913 REAL ESTATE LEASE                  LOCATION: 2002 N. WAY MALL, MCKNIGHT ROAD, PITTSBURGH, PA




          914 REAL ESTATE LEASE                  LOCATION: 330 N. TRYON, CHARLOTTE, NC                                                  REJECTED - ORDER 1/8/2014 - DN 141




          915 REAL ESTATE LEASE                  LOCATION: 4238 WILSON BLVD., ARLINGTON, VA 22203
          916 REAL ESTATE LEASE                  LOCATION: 9424 CIVIC CENTRE BLVD., WEST CHESTER OH 45069

          917 REAL ESTATE LEASE                  LOCATION: 9424 CIVIC CENTRE BLVD., WEST CHESTER OH 45069
          918 REAL ESTATE LEASE                  LOCATION: 790 W. 66TH ST., RICHFIELD, MN 55423




2455538-1                                                                                                      1.1(a) - 104
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     ID            Attention                    Address 1                  Address 2        Address 3   Address 4         City           State           Zip   Country       Email                    Phone        Fax
                                                                                                                     SOUTH
          897                  10 LAKESIDE DRIVE                                                                                    IL           60010
                                                                                                                     BARRINGTON
          898                  P.O. BOX 65207                                                                        LUBBOCK        TX           79243
                RANDALL
          899                  2574 74TH STREET, SUITE 201                                                           LUBBOCK        TX           79243
                ANDREWS
          900                  21700 NORTHWESTERN HIGHWAY SUITE 900                                                  SOUTHFIELD     MI           48076
          901                  225 W WASHINGTON STREET                                                               INDIANAPOLIS   IN           46204
              WOLF, BLOCK,
              SCHORR & SOLIS-                                         SE CORNER 15TH &
          902                 12TH FLOOR PACKARD BUILDING                                                            PHILADELPIA    PA           19102
              COHEN, ATTN:                                            CHESTNUT STREETS
              ROBERT M.
                                                                                                                     NEW HYDE
          903                  3333 NEW HYDE PARK ROAD SUITE 100                                                                    NY           10042
                                                                                                                     PARK
                ATTN: STEVE
          904                  3102 MAPLE AVENUE, SUITE 600                                                          DALLAS         TX           75201
                ESHLEMAN
          905 ATTN: VP LEASING 30 S MERIDIAN STREET SUITE 1100                                                       INDIANAPOLIS   IN           46204
          906                  4925 GREENVILLE AVENUE SUITE 675                                                      DALLAS         TX           75206
          907                  P.O. BOX 600099                                                                       DALLAS         TX           75360
          908                  2851 LAKEWOOD VILLAGE DRIVE                                                           N. LITTLE ROCK AR           72116
              C/O DON CASTO
          909                  209 E STATE STREET                                                                    COLUMBUS       OH           43215
              ORGANIZATION
              CONTINENTAL
          910 REAL ESTATE      150 EAST BROAD STREET                                                                 COLUMBUS       OH           43215
              COMPANIES
          911                  2510 CANTERBURY ROAD SUITE 100                                                        WESTLAKE       OH           44145
              ATTN: KEITH
          912                  1584 FREDERICK BLVD                                                                   AKRON          OH           44320
              GREENE VP
              C/O ZAMIAS
          913                  300 MARKET STREET                                                                     JOHNSTOWN      PA           15901
              SERVICES
                                                                                                                                                                         FRANK.MACPHE
                                                                                                                                                                         RSON@GMAIL.C
                                                                                                                                                                         OM;
                C/O JOHN H.                                           214 N TRYON STREET,                                                                                FMACPHERSON
          914                  K&L GATES LLP                                                                         CHARLOTTE      NC           28202                                 704-331-7409           704-353-3109
                CAPITANO                                              47TH FLOOR                                                                                         @RTPUMPS.CO
                                                                                                                                                                         M;JACK.CAPITA
                                                                                                                                                                         NO@KLGATES.C
                                                                                                                                                                         OM
          915                  7 WEST 7TH STREET 17TH FLOOR                                                          CINCINNATI     OH           45202
                                                                                                                     WEST
          916                  4891 WEST SUNSET BLVD, SUITE 497                                                                     CA           90069
                                                                                                                     HOLLYWOOD
              C/O THINK
          917                  95 N COUNTY ROAD                                                                      PALM BEACH     FL           33480
              GREENE
          918                  6515 GRAND TETON PLAZA SUITE 300                                                      MADISON        WI           53719




2455538-1                                                                                                           1.1(a) - 105
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     ID           Epiq Contract No    Store Number        Case                                     Debtor                             Responsible Person                      Contract Counter Party

          919 NO COPY                65204           13-13227    CHAMPPS OPERATING CORPORATION                                                             MARLTON PLAZA ASSOCIATES II LP




          920 NO COPY                65204           13-13227    CHAMPPS OPERATING CORPORATION                                                             MARLTON PLAZA ASSOCIATES II LP


          921 NO COPY                65015           13-13243    FOX & HOUND OF NEBRASKA, INC                                                              MENARD, INC.
          922 NO COPY                65083           13-13259    TENT RESTAURANT OPERATIONS, INC                                                           MF3, LLC

          923 NO COPY                65023           13-13259    TENT RESTAURANT OPERATIONS, INC                                                           MILLCREEK PLAZA COMPANY LP

          924 NO COPY                65050           13-13234    FOX & HOUND OF ARIZONA,INC                                                                MONAGHAN FARMS, INC.
          925   NO COPY              65219           13-13225    CHAMPPS ENTERTAINMENT OF TEXAS, INC                                                       NATIONAL RETAIL PROPERTIES, LP
          926   NO COPY              65008           13-13248    F & H RESTAURANTS OF TEXAS, INC                                                           NAVIKA CAPITAL GROUP, LLC
          927   NO COPY              65077           13-13259    TENT RESTAURANT OPERATIONS, INC                                                           NHM OWNER-1, LLC
          928   NO COPY              65049           13-13235    FOX & HOUND OF COLORADO, INC                                                              NORMAN L & CAROL A. COWDEN REVOCABLE TRUST LLC
          929 NO COPY                65093           13-13259    TENT RESTAURANT OPERATIONS, INC                                                           NORTHLAKE COMMONS, LLC


          930 NO COPY                65228           13-13227    CHAMPPS OPERATING CORPORATION                                                             OLD ORCHARD URBAN LP


          931 NO COPY                65228           13-13227    CHAMPPS OPERATING CORPORATION                                                             OLD ORCHARD URBAN LP


          932 NO COPY                65096           13-13259    TENT RESTAURANT OPERATIONS, INC                                                           ORCHARD 12, LLC


          933 NO COPY                65068           13-13234    FOX & HOUND OF ARIZONA,INC                                                                PAMALE COMPANY


          934 NO COPY                65013           13-13259    TENT RESTAURANT OPERATIONS, INC                                                           PATRIOT SQUAREGP

          935 NO COPY                65035           13-13237    FOX & HOUND OF INDIANA, INC                                                               PK CLEARWATER SPRINGS, LLC

          936 NO COPY                65205           13-13227    CHAMPPS OPERATING CORPORATION                                                             PK RIVER SHOPS NORTH LLC


          937 NO COPY                65205           13-13227    CHAMPPS OPERATING CORPORATION                                                             PK RIVER SHOPS NORTH LLC


                                                                                                                                                           PNC BANK NA, TRUSTEE OF THE TRUST UNDER THE WILL OF
                                                                                                                                                           WILLIAM MARSHALL BULLITT, DECEASED, AND STOCKYARDS BANK
          938 NO COPY                65254           13-13227    CHAMPPS OPERATING CORPORATION (BY ASSIGNMENT FROM
                                                                                                                                                           AND TRUST COMPANY, SUCCESSOR TRUSTEE OF TRUST UNDER THE
                                                                                                                                                           WILL OF THOMAS W. BULLITT, DECEASED
          939 NO COPY                65089           13-13259    TENT RESTAURANT OPERATIONS, INC                                                           PR PATRICK HENRY LLC




2455538-1                                                                                                            1.1(a) - 106
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     ID                         Type of Contract                               Description of Contract                           Assume                  Reject                Cure Amount   Contract No Date of ContractTermination Date

          919 REAL ESTATE LEASE                    LOCATION: MARLTON CR. 25 RT. 73 S., MARLTON, NJ 08053




          920 REAL ESTATE LEASE                    LOCATION: MARLTON CR. 25 RT. 73 S., MARLTON, NJ 08053


          921 REAL ESTATE LEASE                    LOCATION: 605 N. 120TH ST., WESTERN CROSSING S/C, OMAHA, NE
          922 REAL ESTATE LEASE                    LOCATION: 920 TOWNE CENTER DRIVE, WILMINGTON, NC 28405

          923 REAL ESTATE LEASE                    LOCATION: 250 MILLCREEK PLAZA, KEARSARGE, PA

          924 REAL ESTATE LEASE                    LOCATION: 8320 W. MARINERS WAY, PEORIA, AZ                                             REJECTED - ORDER 1/8/2014 - DN 141
          925   REAL ESTATE LEASE                  LOCATION: 855 W. JOHN W. CARPENTER FRWY., IRVING, TX 75039
          926   REAL ESTATE LEASE                  LOCATION: 18918 MIDWAY ROAD, SUITE 200, DALLAS, TX
          927   REAL ESTATE LEASE                  LOCATION: 4158 MAIN @ NORTH HILLS ST. #111, RALEIGH NC 27609
          928   REAL ESTATE LEASE                  LOCATION: 4750 W. 120TH AVENUE, SUITE 900, WESTMINSTER, CO
          929 REAL ESTATE LEASE                    LOCATION: 9325 CENTER LAKE DRIVE, SUITE 200, CHARLOTTE NC 28216


          930 REAL ESTATE LEASE                    LOCATION: 134 OLD ORCHARD CENTER #D134, SKOKIE, IL 60077                               REJECTED - ORDER 1/8/2014 - DN 141


          931 REAL ESTATE LEASE                    LOCATION: 134 OLD ORCHARD CENTER #D134, SKOKIE, IL 60077                               REJECTED - ORDER 1/8/2014 - DN 141


          932 REAL ESTATE LEASE                    LOCATION: 27843 ORCHARD LAKE ROAD, FARMINGTON HILL, MI                                 REJECTED - ORDER 1/8/2014 - DN 141


          933 REAL ESTATE LEASE                    LOCATION: 1017 E. BASELINE ROAD, GILBERT AZ 85233                                      REJECTED - ORDER 1/8/2014 - DN 141


          934 REAL ESTATE LEASE                    LOCATION: 819 EXOCET DRIVE, CORDOVA, TN

          935 REAL ESTATE LEASE                    LOCATION: 4901 E. 82ND STREET #900, INDIANAPOLIS, IN

          936 REAL ESTATE LEASE                    LOCATION: 8711 N. RIVER CROSSING, INDIANAPOLIS, IN 46240


          937 REAL ESTATE LEASE                    LOCATION: 8711 N. RIVER CROSSING, INDIANAPOLIS, IN 46240




          938 REAL ESTATE LEASE                    LOCATION: 302 BULLITT LANE, LOUISVILLE, KY40222                                        REJECTED - ORDER 1/8/2014 - DN 141


          939 REAL ESTATE LEASE                    LOCATION: 12300 JEFFERSON AVE, SUITE 110, NEWPORT NEWS VA




2455538-1                                                                                                        1.1(a) - 107
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     ID           Attention                      Address 1                     Address 2   Address 3   Address 4          City          State           Zip   Country       Email                    Phone        Fax
              C/O CENTRO
          919 PROPERTIES         420 LEXINGTON AVENUE 7TH FLOOR                                                     NEW YORK       NY           10170
              GROUP
              C/O CENTRO
              PROPERTIES
                                                                                                                    CONSHOHOCKE
          920 GROUP LEGAL        TWO TOWER BRIDGE, SUITE 300                                                                    PA              19428
                                                                                                                    N
              DEPARTMENT,
              MID-
          921                    4777 MENARD DRIVE                                                                  EAU CLAIRE     WI           54703
          922                    6835 CONSERVATION WAY P.O. BOX 12830                                               WILMINGTON     NC           28405

          923                    2445 BELMONT AVENUE P.O. BOX 2186                                                  YOUNGSTOWN OH               44504
                                                                                                                    GREENWOOD                                           TCDELINE@HOT
          924                    7950 EAST PRENTICE AVENUE               SUITE 101                                                 CO           801111                               303-809-1342            303-743-0202
                                                                                                                    VILLAGE                                             MAIL.COM
          925                    450 S ORANGE AVENUE SUITE 900                                                      ORLANDO        FL           32801
          926                    1274 WRXR PLAZA                                                                    UNIONDALE      NY           11556
          927                    P.O. BOX 19107                                                                     RALEIGH        NC           27619
          928                    10901 W TOLLER DRIVE                                                               LITTLETON      CO           80127
                ATTN: RETAIL
          929                    121 W TRADE ST 27TH FLOOR                                                          CHARLOTTE      NC           28202
                LEASING
                                                                                                                                                                        KLLEVA@US.WE
          930                    4905 OLD ORCHARD CENTER SUITE 866                                                  SKOKIE         IL           60077                                310-689-2569            310-689-5751
                                                                                                                                                                        STFIELD.COM

                                                                                                                                                                        KLLEVA@US.WE
          931 C/O WESTFIELD      2049 CENTURY PARK EAST, 41ST FLOOR,                                                LOS ANGELES    CA           90067                                310-689-2569            310-689-5751
                                                                                                                                                                        STFIELD.COM
                                                                                                                                                                        JACOB@PLAZA
          932                    766 RIVERSIDE DRIVE                                                                CORAL SPRINGS FL            33071                                 954-346-9494           888-571-9922
                                                                                                                                                                        MGMT.COM
                                                                                                                                                                        LYNDA.MCGEE
          933                    P.O. BOX 238                                                                       WESTLEY        CA           95387                                909-596-6032
                                                                                                                                                                        @VERIZON.NET
                ATTN: LOUIS
          934                    999 S SHADYGROVE ROAD SUITE 103                                                    MEMPHIS        TN           38120
                BAIONI
          935                    3610 RIVER CROSSING PARKWAY SUITE 280                                              INDIANAPOLIS   IN           46240

          936                    3610 RIVER CROSSING PARKWAY SUITE 280                                              INDIANAPOLIS   IN           46240

              STEVE GLAZIER,
          937 COHEN GARELICK 8888 KEYSTONE CROSSING BLVD., SUITE 800                                                INDIANAPOLIS   IN           46240
              & GLAZIER,

                                                                                                                                                                        JCOUCH@BEAR
                ATTN: JAMES H.
          938                    200 SOUTH 5TH STREET SUITE 500 NORTH                                               LOUISVILLE     KY           40202                   GRASSREALTY.C 502-581-2320
                COUCH
                                                                                                                                                                        OM
                                                                                                                    NEWPORT
          939                    12300 JEFFERSON AVENUE SUITE 777                                                                  VA           23602
                                                                                                                    NEWS



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     ID           Epiq Contract No    Store Number        Case                                     Debtor                           Responsible Person                       Contract Counter Party
          940   NO COPY              65225           13-13227    CHAMPPS OPERATING CORPORATION                                                           PRAIRIE ENTERTAINMENT ASSOCIATES
          941   NO COPY              65253           13-13227    CHAMPPS OPERATING CORPORATION                                                           PROVIDENCE TOWN CENTRE, L.P.
          942   NO COPY              65031           13-13259    TENT RESTAURANT OPERATIONS, INC                                                         RAMS PLAZA ASSOCIATES, LLC
          943   NO COPY              65042           13-13248    F & H RESTAURANTS OF TEXAS, INC                                                         RPI BRYANT IRVIN, LTD.
          944   NO COPY              65028           13-13259    TENT RESTAURANT OPERATIONS, INC                                                         SANDERLIN CENTER PARTNERS
          945   NO COPY              65063           13-13245    FOX & HOUND OF NEW MEXICO, INC                                                          SAWICKI REALTY CO.
          946   NO COPY              65203           13-13259    TENT RESTAURANT OPERATIONS, INC                                                         SHOPPING CENTER ASSOCIATES
          947 NO COPY                65087           13-13259    TENT RESTAURANT OPERATIONS, INC                                                         SOUTHAVEN TOWNE CENTER II, LLC
          948 NO COPY                65233           13-13227    CHAMPPS OPERATING CORPORATION                                                           SOUTHPOINT MALL, LLC


          949 NO COPY                65233           13-13227    CHAMPPS OPERATING CORPORATION                                                           SOUTHPOINT MALL, LLC


          950 NO COPY                65051           13-13259    TENT RESTAURANT OPERATIONS, INC                                                         SPECTRUM PROPERTIES FUND I, LTD.

          951 NO COPY                65061           13-13259    TENT RESTAURANT OPERATIONS, INC                                                         SPRUCE PARKING ASSOCIATES LP

          952 NO COPY                65095           13-13259    TENT RESTAURANT OPERATIONS, INC                                                         STANBERY HARRISBURG LP
          953 NO COPY                65240           13-13227    CHAMPPS OPERATING CORPORATION                                                           STONY POINT FASHION PARK ASSOCIATES, LLC


          954 NO COPY                65226           13-13227    CHAMPPS OPERATING CORPORATION                                                           STREET RETAIL INC


          955 NO COPY                65070           13-13259    TENT RESTAURANT OPERATIONS, INC                                                         SUSO 1 CAMBRIDGE, LP
          956 NO COPY                65246           13-13227    CHAMPPS OPERATING CORPORATION                                                           TAMPA WEST SHORE ASSOCIATES, LP
                                                                                                                                                         TENANT IN COMMON CO-OWNERS C/O AEI FUND MANAGEMENT,
          957 NO COPY                65229           13-13227    CHAMPPS OPERATING CORPORATION
                                                                                                                                                         INC.
                                                                                                                                                         TENANT IN COMMON CO-OWNERS C/O AEI FUND MANAGEMENT,
          958 NO COPY                65216           13-13227    CHAMPPS OPERATING CORPORATION
                                                                                                                                                         INC.
          959 NO COPY                65064           13-13247    FOX & HOUND OF OKLAHOMA, INC                                                            THE JOHN L. HALL TRUST


          960 NO COPY                65231           13-13227    CHAMPPS OPERATING CORPORATION                                                           THE MALL IN COLUMBIA BUSINESS TRUST




          961 NO COPY                65231           13-13227    CHAMPPS OPERATING CORPORATION                                                           THE MALL IN COLUMBIA BUSINESS TRUST


          962 NO COPY                65074           13-13259    TENT RESTAURANT OPERATIONS, INC                                                         THE SHOPPES AT HAMILTON PLACE, LLC
          963 NO COPY                65069           13-13238    FOX & HOUND OF KANSAS,INC                                                               THE WATERFRONT COMMERCIAL PROPERTIES, LLC
          964 NO COPY                65080           13-13259    TENT RESTAURANT OPERATIONS, INC                                                         THF CHESTERFIELD FOUR DEVELOPMENT, LLC




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     ID                          Type of Contract                               Description of Contract                          Assume                  Reject                Cure Amount   Contract No Date of ContractTermination Date
          940   REAL ESTATE LEASE                   LOCATION: 8010 GLEN LANE, EDEN PRAIRIE MN 55344
          941   REAL ESTATE LEASE                   LOCATION: 51 TOWN CENTER DRIVE, STORE G-5, COLLEGEVILLE, PA 19426
          942   REAL ESTATE LEASE                   LOCATION: 151 RAMS PLAZA, CHAPEL HILL, NC
          943   REAL ESTATE LEASE                   LOCATION: 6051 SW LOOP 820, FORT WORTH, TX
          944   REAL ESTATE LEASE                   LOCATION: 5101 SANDERLIN AVENUE, SUITE 100, MEMPHIS, TN
          945   REAL ESTATE LEASE                   LOCATION: 4301 THE LANE @25 N.E., ALBUQUERQUE, NM
          946   REAL ESTATE LEASE                   LOCATION: 418 MENLO PARK MALL, EDISON, NJ 08837
          947 REAL ESTATE LEASE                     LOCATION: 6565 TOWNE CENTER CROSSING, SOUTHAVEN, MS
          948 REAL ESTATE LEASE                     LOCATION: 8030 RENAISSANCE PKWY, SUITE 885, DURHAM NC 27713


          949 REAL ESTATE LEASE                     LOCATION: 8030 RENAISSANCE PKWY, SUITE 885, DURHAM NC 27713


          950 REAL ESTATE LEASE                     LOCATION: 7502 W. BROAD STREET, RICHMOND, VA

          951 REAL ESTATE LEASE                     LOCATION: 1501 SPRUCE STREET, PHILADELPHIA, PA

          952 REAL ESTATE LEASE                     LOCATION: 2625 BRINDLE DRIVE, HARRISBURG EAST, PA
          953 REAL ESTATE LEASE                     LOCATION: 9202 STONY POINT PARKWAY, RICHMOND VA 23235


          954 REAL ESTATE LEASE                     LOCATION: 1201 S. JOYCE ST., #C-10, ARLINGTON VA 22202


          955 REAL ESTATE LEASE                     LOCATION: 1965 W. MAPLE RD, TROY, MI 48084
          956 REAL ESTATE LEASE                     LOCATION: 2223 NORTH WEST SHORE #B221, TAMPA FL 33607

          957 REAL ESTATE LEASE                     LOCATION: 12515 HALL ROAD, UTICA, MI 48315                                            REJECTED - ORDER 1/8/2014 - DN 141


          958 REAL ESTATE LEASE                     LOCATION: 19470 HAGGERTY RD., LIVONIA, MI 48152

          959 REAL ESTATE LEASE                     LOCATION: 3031 WEST MEMORIAL ROAD, OKLAHOMA CITY, OK


          960 REAL ESTATE LEASE                     LOCATION: 10300 LITTLE PATUXENT PKWY, SUITE 3040, COLUMBIA MD 21044




          961 REAL ESTATE LEASE                     LOCATION: 10300 LITTLE PATUXENT PKWY, SUITE 3040, COLUMBIA MD 21044


          962 REAL ESTATE LEASE                     LOCATION: 2040 HAMILTON PLACE BLVD #150 CHATTANOOGA TN
          963 REAL ESTATE LEASE                     LOCATION: 1421 WATERFRONT PARKWAY, WICHITA, KS 67206
          964 REAL ESTATE LEASE                     LOCATION: 17416 CHESTERFIELD AIRPORT RD, CHESTERFIELD, MO 63005




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     ID          Attention                     Address 1             Address 2   Address 3   Address 4         City           State           Zip   Country       Email                   Phone        Fax
          940                 21393 NOVAK AVENUE N                                                        SCANDIA        MN           55073
          941                 1301 LANCASTER AVENUE                                                       BERWYN         PA           19312
          942                 2908 OAK LAKE BLVD SUITE 203                                                CHARLOTTE      NC           28208
          943                 2929 CARLISLE ST. SUITE 170                                                 DALLAS         TX           75024
          944                 5872 RIDGE BEND ROAD                                                        MEMPHIS        TN           38120
          945                 6546 WEASTERFIELD COURT SUITE A2                                            MAUMEE         OH           43537
          946                 225 W WASHINGTON STREET                                                     INDIANAPOLIS   IN           46204
          947                 2030 HAMILTON PLACE BLVD SUITE 500                                          CHATTANOOGA TN              37421
          948                 6910 FAYETTEVILLE ROAD SUITE 254                                            DURHAM         NC           27713
              C/O GENERAL
                                                                                                          CHICAGO IL
          949 GROWTH           110 N WACKER DRIVER                                                                       IL           60606
                                                                                                          60606
              PROPERTIES, INC.
          950                 11100 W BROAD STREET                                                        GLEN ALLEN     VA           23060
              C/O GREEN
          951 COURTE          840 S WAUKEGAN ROAD SUITE 222                                               LAKE FOREST    IL           60045
              PARTNERS LLC
          952                 2907 A DELMAR DRIVE                                                         BEXLEY         OH           43209
                                                                                                          BLOOMFIELD
          953 C/O TAUBMAN     200 EAST LONG LAKE ROAD SUITE 300                                                          MI           48304
                                                                                                          HILLS
              C/O FEDERAL
              REALTY
          954                 1626 E JEFFERSON ST.                                                        ROCKVILLE      MD           20852
              INVESTMENT
              TRUST
          955 C/O CBRE        2000 TOWN CENTER SUITE 500                                                  SOUTHFIELD     MI           48075
                                                                                                          BLOOMFIELD
          956 C/O TAUBMAN     200 EAST LONG LAKE ROAD SUITE 300                                                          MI           48304
                                                                                                          HILLS
                              1300 WELLS FARGO PLACE 30 EAST 7TH                                                                                              BSCHULZ@AEIF
          957                                                                                             ST. PAUL       MN           55101                                651-227-7333           651-227-7705
                              STREET                                                                                                                          UNDS.COM
              C/O CASSIDY
          958 TURLEY          7701 FORSYTH, SUITE 500                                                     ST. LOUIS      MO           63105
              MIDWEST, INC.
          959                 323 E MATILIGA ST. SUITE 110-212.                                           OJAI           CA           93023
              C/O GENERAL
              GROWTH
          960 PROPERTIES,     10275 LITTLE PATUXENT PARKWAY                                               COLUMBIA       MD           21044
              COLUMBIA
              REGINAL OF
              C/O GENERAL
          961 GROWTH           110 N WACKER DRIVER                                                        CHICAGO        IL           60606
              PROPERTIES, INC.

          962                 2100 HAMILTON PLACE BLVD SUITE 100                                          CHATTANOOGA TN              37421
          963                 1223 N ROCK ROAD SUITE H200                                                 WICHITA        KS           67206
                              2127 INNERBELT BUSINESS CENTER DRIVE
          964                                                                                             ST. LOUIS      MO           63114
                              SUITE 200



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     ID          Epiq Contract No    Store Number      Case                                     Debtor                           Responsible Person                    Contract Counter Party
           965 NO COPY              65034         13-13261    WINSTON-SALEM FOX & HOUND, INC                                                          THRUWAY SHOPPING CENTER LLC
           966 NO COPY              65238         13-13227    CHAMPPS OPERATING CORPORATION                                                           TRIANGLE TOWN CENTER LLC


           967 NO COPY              65238         13-13227    CHAMPPS OPERATING CORPORATION                                                           TRIANGLE TOWN CENTER LLC


           968 NO COPY              65040         13-13248    F & H RESTAURANTS OF TEXAS, INC                                                         TSAI GLOBAL, LCC
           969 NO COPY              65067         13-13259    TENT RESTAURANT OPERATIONS, INC                                                         TUCCIARONE REALTY, LP
           970 NO COPY              65006         13-13259    TENT RESTAURANT OPERATIONS, INC                                                         VERDAE PROPERTIES, LLC
           971 NO COPY              65006         13-13259    TENT RESTAURANT OPERATIONS, INC                                                         VERDAE PROPERTIES, LLC
           972 NO COPY              65094         13-13248    F & H RESTAURANTS OF TEXAS, INC                                                         WILLOWBROOOK I LIMITED PARTNERSHIP
           973 NO COPY              65036         13-13248    F & H RESTAURANTS OF TEXAS, INC                                                         WOODLAND PARK ENTERPRISES INC
           974 NO COPY              65022         13-13248    F & H RESTAURANTS OF TEXAS, INC                                                         WRI FIESTA TRAILS, LP
           975 NO COPY              65016         13-13236    FOX & HOUND OF ILLINOIS, INC                                                            YORKSHIRE PLAZA PARTNERS LLC
           976 NO COPY              65068         13-13234    FOX & HOUND OF ARIZONA, INC.                                                            PAMALE COMPANY
           977   NO COPY            CORPORATE     13-13249    FOX & HOUND RESTAURANT GROUP                                     KIM FOWLES             CAMELOT COMMUNICATIONS, INC.
           978   NO COPY            CORPORATE     13-13249    FOX & HOUND RESTAURANT GROUP                                     KIM FOWLES             CAMELOT COMMUNICATIONS, INC.
           979   NO COPY                          13-13224    CHAMPPS ENTERTAINMENT, INC                                       KIM FOWLES             TARHEEL SPORTS PROPERTIES LLC
           980   NO COPY            CORPORATE     13-13224    CHAMPPS ENTERTAINMENT, INC                                       KIM FOWLES             DIRECT TV LLC
           981   NO COPY            CORPORATE     13-13249    FOX & HOUND RESTAURANT GROUP                                     KIM FOWLES             DIRECT TV LLC
           982   NO COPY            CORPORATE     13-13224    CHAMPPS ENTERTAINMENT, INC                                       KIM FOWLES             DISTRIBUTION MARKET ADVANTAGE INC.
           983   NO COPY            CORPORATE     13-13249    FOX & HOUND RESTAURANT GROUP                                     KIM FOWLES             DISTRIBUTION MARKET ADVANTAGE INC.
           984 NO COPY              WICHITA OFFICE 13-13249   FOX & HOUND RESTAURANT GROUP                                     KIM FOWLES             DIGITAL OFFICE SYSTEMS INC.

           985 NO COPY              WICHITA OFFICE 13-13249   FOX & HOUND RESTAURANT GROUP                                     KIM FOWLES             DIGITAL OFFICE SYSTEMS INC.
           986 NO COPY                            13-13224    CHAMPPS ENTERTAINMENT, INC                                       KIM FOWLES             ECOLAB INC
           987 NO COPY                            13-13249    FOX & HOUND RESTAURANT GROUP                                     KIM FOWLES             ECOLAB INC
           988 NO COPY              CORPORATE     13-13224    CHAMPPS ENTERTAINMENT, INC                                       KIM FOWLES             EDWARD DON & COMPANY

           989 NO COPY              CORPORATE     13-13220    F&H ACQUISITION CORP                                             KIM FOWLES             EDWARD DON & COMPANY
           990   NO COPY            CORPORATE     13-13249    FOX & HOUND RESTAURANT GROUP                                     KIM FOWLES             ERNEST COMMUNICATIONS INC.
           991   NO COPY            CORPORATE     13-13224    CHAMPPS ENTERTAINMENT, INC                                       KIM FOWLES             ERNEST COMMUNICATIONS INC.
           992   NO COPY            CORPORATE     13-13224    CHAMPPS ENTERTAINMENT, INC                                       KIM FOWLES             FISHBOWL INC.
           993   NO COPY            CORPORATE     13-13249    FOX & HOUND RESTAURANT GROUP                                     KIM FOWLES             FISHBOWL INC.
           994   NO COPY            CORPORATE     13-13220    F&H ACQUISITION CORP                                             KIM FOWLES             INTERACTIVE COMMUNICATIONS INTERNATIONAL INC.
           995   NO COPY            CORPORATE     13-13227    CHAMPPS OPERATING CORPORATION                                    KIM FOWLES             HOTSCHEDULES HOLDINGS INC
           996   NO COPY            CORPORATE     13-13249    FOX & HOUND RESTAURANT GROUP                                     KIM FOWLES             HOTSCHEDULES HOLDINGS INC
           997   NO COPY            CORPORATE     13-13224    CHAMPPS ENTERTAINMENT, INC                                       KIM FOWLES             IRON MOUNTAIN INFORMATION MANAGEMENT
           998   NO COPY            WARRINGTON    13-13249    FOX & HOUND RESTAURANT GROUP                                     KIM FOWLES             M2 DEVELOPMENT SERVICES LLC
           999   NO COPY            CORPORATE     13-13224    CHAMPPS ENTERTAINMENT, INC                                       KIM FOWLES             MUZAK LLC
          1000   NO COPY            CORPORATE     13-13220    F&H ACQUISITION CORP                                             KIM FOWLES             NATIONAL WASTE ASSOCIATES LLC
          1001   NO COPY            CORPORATE     13-13220    F&H ACQUISITION CORP                                             KIM FOWLES             PAYTRONIX SYSTEMS INC



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     ID                         Type of Contract                                  Description of Contract                          Assume                  Reject                Cure Amount   Contract No Date of ContractTermination Date
           965 REAL ESTATE LEASE                        LOCATION: 367 LOWER MALL DRIVE, WINSTON SALEM, NC
           966 REAL ESTATE LEASE                        LOCATION: 3741 SUMNER BLVD, SUITE OBA1, RALEIGH NC 27616


           967 REAL ESTATE LEASE                        LOCATION: 3741 SUMNER BLVD, SUITE OBA1, RALEIGH NC 27616


           968 REAL ESTATE LEASE                        LOCATION: 1640 STEMMONS FREEWAY, LEWISVILLE, TX                                     REJECTED - ORDER 1/8/2014 - DN 141
           969 REAL ESTATE LEASE                        LOCATION: 11581 ROBIOUS RD., RICHMOND, VA 23235
           970 REAL ESTATE LEASE                        LOCATION: 2409 LAURENS ROAD, GREENVILLE, SC
           971 REAL ESTATE LEASE                        LOCATION: 2409 LAURENS ROAD, GREENVILLE, SC
           972 REAL ESTATE LEASE                        LOCATION: 17575 TOMBALL PARKWAY, HOUSTON TX                                         REJECTED - ORDER 1/8/2014 - DN 141
           973 REAL ESTATE LEASE                        LOCATION: 11470 WESTHEIMER, HOUSTON, TX
           974 REAL ESTATE LEASE                        LOCATION: 12651 VANCE JACKSON #110, SAN ANTONIO TX 78249
           975 REAL ESTATE LEASE                        LOCATION: 4320 E. NEW YORK AVENUE, AURORA, IL
           976 REAL ESTATE LEASE                        LOCATION: 1017 E. BASELINE ROAD, GILBERT AZ 85233                                   REJECTED - ORDER 1/8/2014 - DN 141
           977   AGENCY AGREEMENT                                                                                                                                                                                6/8/2010
           978   AGENCY AGREEMENT                                                                                                                                                                                7/1/2010
           979   SERVICE AGREEMENT                      ADVERTISING AGREEMENT                                                                                                                                    7/1/2013       6/30/2014
           980   SERVICE AGREEMENT                      DIRECT TV BROADCASTING                                                                                                                                  4/15/2010
           981   SERVICE AGREEMENT                      DIRECT TV BROADCASTING                                                                                                                                  5/14/2010
           982   FOOD DISTRIBUTION AGREEMENT                                                                                                                                                                    12/5/2011       12/4/2014
           983   FOOD DISTRIBUTION AGREEMENT                                                                                                                                                                    12/5/2011       12/4/2014
           984 COPIER LEASE - WICHITA OFFICE                                                                                                                                                                    2/16/2010       5/16/2015

           985 COPIER LEASE - WICHITA OFFICE                                                                                                                                                                    4/21/2013       7/21/2018
           986 DISH WASHING MACHINE AND CHEMICALS                                                                                                                                                                8/1/2013       7/31/2015
           987 DISH WASHING MACHINE AND CHEMICALS                                                                                                                                                                8/1/2013       7/31/2015
           988 SMALL WARES AGREEMENT                                                                                                                                                                             6/1/2007        6/1/2014

           989 SMALL WARES AGREEMENT                                                                                                                                                                             6/1/2007        6/1/2014
           990   SERVICE AGREEMENT                      PHONE LINES SERVICE                                                                                                                                    12/20/2012      12/20/2013
           991   SERVICE AGREEMENT                      PHONE LINES SERVICE                                                                                                                                    12/20/2012      12/20/2013
           992   SERVICE AGREEMENT                      EMAIL BROADCAST                                                                                                                                         5/15/2007
           993   SERVICE AGREEMENT                      EMAIL BROADCAST                                                                                                                                        11/25/2003
           994   GIFT CARD DISTRIBUTION AGREEMENT                                                                                                                                                               7/18/2012       1/31/2016
           995   SERVICE AGREEMENT                      ELECTRONIC SCHEDULING SYSTEM FOR RESTAURANT                                                                                                             2/22/2013       2/22/2015
           996   SERVICE AGREEMENT                      ELECTRONIC SCHEDULING SYSTEM FOR RESTAURANT                                                                                                             2/22/2013       2/22/2015
           997   STORAGE AGREEMENT                                                                                                                                                                              4/19/2005
           998   CONSTRUCTION MANAGEMENT CONTRACT                                                                                                                                                              12/10/2012      12/10/2013
           999   SERVICE AGREEMENT                      MUSIC FOR RESTAURANT                                                                                                                                    6/25/2008       6/25/2013
          1000   NATIONAL TRASH CONTRACT                                                                                                                                                                         2/1/2013       1/31/2019
          1001   GIFT CARD AND LOYALTY CARD AGREEMENT                                                                                                                                                           3/20/2008



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     ID             Attention                  Address 1                      Address 2   Address 3   Address 4         City          State           Zip   Country       Email                   Phone        Fax
           965                  7501 WISCONSIN AVENUE SUTIE 1500                                                   BETHESDA      MD           20814
           966                  5959 TRIANGLE TOWN BLVD SUITE CU-2072                                              RALEIGH       NC           27616

               C/O CBL &
           967 ASSOCIATES       2030 HAMILTON PLACE BLVD, SUITE 500                                                CHATTANOOGA TN             37421
               PROPERTIES, INC.
                 C/O KIM                                                                                                                                              MIKE8899@YAH
           968                  28620 MATADERO CREEK COURT                                                         LOS ALTOS     CA           94022                                650-949-3850
                 LAWRENCE                                                                                                                                             OO.COM
           969                  3417 CORROTOMAN ROAD                                                               GLEN ELYN     VA           23060
           970                  117 WILLIAM STREET                                                                 GREENVILLE    SC           29602
           971 SAMMY DUBOSE     124 VERDAE BLVD, SUITE 502                                                         GREENVILLE    SC           29607
                                8807 W SAM HOUSTON PARKWAY N SUITE                                                                                                    JHALL@NEWQU
           972                                                                                                     HOUSTON       TX           77040                               281-477-4376            281-477-4351
                                200                                                                                                                                   EST.COM
           973                  9720 TOWN PARK SUITE 180                                                           HOUSTON       TX           77036
           974                  P.O. BOX 924133                                                                    HOUSTON       TX           77292
           975                  257 E MAIN STREET SUITE 100                                                        BARRINGTON    IL           60010
           976                  P.O. BOX 238                                                                       WESLEY        CA           95387
           977                  8410 WALNUT HILL LANE                                                              DALLAS        TX           75231
           978                  8410 WALNUT HILL LANE                                                              DALLAS        TX           75231
           979                  6350 QUADRANGLE DRIVE                   STE 135                                    CHAPEL HILL   NC           27517
           980                  2230 E IMPERIAL HIGHWAY                                                            EL SEGUNDO    CA           90245
           981                  2230 E IMPERIAL HIGHWAY                                                            EL SEGUNDO    CA           90245
           982                  1515 WOODFIELD ROAD                                                                SCHAUMBURG    IL           60173
           983                  1515 WOODFIELD ROAD                                                                SCHAUMBURG    IL           60173
           984                  530 S HYDRAULIC                                                                    WICHITA       KS           67211

           985                  530 S HYDRAULIC                                                                    WICHITA       KS           67211
           986                  ECOLAB CENTER                                                                      ST. PAUL      MN           55102
           987                  ECOLAB CENTER                                                                      ST. PAUL      MN           55102
                                                                                                                   NORTH
           988                  2500 S HARLEM AVENUE                                                                             IL           60546
                                                                                                                   RIVERSIDE
                                                                                                                   NORTH
           989                  2500 S HARLEM AVENUE                                                                             IL           65046
                                                                                                                   RIVERSIDE
           990                  5275 TRIANGLE PARKWAY                   STE 150                                    NORCROSS      GA           30092
           991                  5275 TRIANGLE PARKWAY                   STE 150                                    NORCROSS      GA           30092
           992                  44 CANAL CENTER PLAZA                   STE 500                                    ALEXANDRIA    VA           22314
           993                  44 CANAL CENTER PLAZA                   STE 500                                    ALEXANDRIA    VA           22314
           994                  250 WILLIAMS STREET                     M-100                                      ATLANTA       GA           30303
           995                  6504 BRIDGE POINT PARKWAY               STE 425                                    AUSTIN        TX           78730
           996                  6504 BRIDGE POINT PARKWAY               STE 425                                    AUSTIN        TX           78730
           997                  15055 E HINSDALE CIRCLE                                                            ENGLEWOOD     CO           80112
           998                  2508 WHITE SANDS DRIVE                                                             GREAT BEND    KS           67530
           999                  3318 LAKEMONT BLVD                                                                 FORT MILLS    SC           29708
          1000                  755 WINDING BROOK DRIVE                                                            GLASTONBURY   CT           6033
          1001                  74 BRIDGE ST STE 400                                                               NEWTON        MA           02458



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     ID          Epiq Contract No    Store Number      Case                                     Debtor                              Responsible Person                     Contract Counter Party
          1002 NO COPY              CORPORATE     13-13249     FOX & HOUND RESTAURANT GROUP                                      KIM FOWLES              STANDING DOG LLC
          1003 NO COPY              CORPORATE     13-13249     FOX & HOUND RESTAURANT GROUP                                      KIM FOWLES              RECORDS CENTER OF WICHITA
          1004 NO COPY              DALLAS OFFICE   13-13224   CHAMPPS ENTERTAINMENT, INC                                        KIM FOWLES              XEROX CORPORATION

          1005 NO COPY              CORPORATE       13-13249   FOX & HOUND RESTAURANT GROUP                                      KIM FOWLES              COCA COLA OF NORTH AMERICA
          1006 NO COPY              CORPORATE       13-13249   FOX & HOUND RESTAURANT GROUP/CHAMPPS ENTERTAINMENT, INC           KIM FOWLES              JOE HAND PROMOTIONS, INC.
          1007 NO COPY              65055           13-13236   FOX & HOUND OF ILLINOIS, INC                                      KIM FOWLES              RESTAURANT TECHNOLOGIES, INC.

          1008 NO COPY              65073           13-13244   FOX & HOUND OF NEW JERSEY, INC                                    KIM FOWLES              RESTAURANT TECHNOLOGIES, INC.




          1010 NO COPY                              13-13227   CHAMPS OPERATING CORPORATION                                      KIM FOWLES              WAYNE T. BELISLE & ALDEN LANDREVILLE




          1012 NO COPY                              13-13227   CHAMPS OPERATING CORPORATION                                      KIM FOWLES              W BLACKER, INC

          1013 NO COPY                              13-13227   CHAMPS OPERATING CORPORATION                                      KIM FOWLES              TMAK RESTAURANT GROUP

          1014 NO COPY                              13-13227   CHAMPS OPERATING CORPORATION                                      KIM FOWLES              SCOTT A WINER

          1015 NO COPY                              13-13227   CHAMPS OPERATING CORPORATION                                      KIM FOWLES              SCOTT A WINER

          1016 NO COPY                              13-13227   CHAMPS OPERATING CORPORATION                                      KIM FOWLES              NEW BRIGHTON VENTURES, LLC

          1017 NO COPY                              13-13227   CHAMPS OPERATING CORPORATION                                      KIM FOWLES              MIDFIELD CONCESSION ENTERPRISES, INC.


          1018 NO COPY                              13-13227   CHAMPS OPERATING CORPORATION                                      KIM FOWLES              DODGE STREET ENTERTAINMENT, INC.


          1019 NO COPY                              13-13227   CHAMPS OPERATING CORPORATION                                      KIM FOWLES              DAG, INC



          1020 NO COPY                              13-13227   CHAMPS OPERATING CORPORATION                                      KIM FOWLES              BLUEMOUND RESTAURANT GROUP



          1021 NO COPY                              13-13227   CHAMPS OPERATING CORPORATION                                      KIM FOWLES              BELWIN ASSOCIATES,A MN GP


          1022 NO COPY                              13-13227   CHAMPS OPERATING CORPORATION                                      KIM FOWLES              AREAS USA INC LLC


          1023 NO COPY                              13-13227   CHAMPS OPERATING CORPORATION                                      KIM FOWLES              AREAS USA EWR LLC

          1024 NO COPY              CORPORATE       13-13220   F&H ACQUISITION CORP.                                             KIM FOWLES              KENNETH SYVARTH



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     ID                      Type of Contract                                  Description of Contract                     Assume             Reject   Cure Amount   Contract No Date of ContractTermination Date
          1002 PROMOTIONAL CONTRACT                                                                                                                                                   8/10/2010
          1003 STORAGE AGREMEENT                                                                                                                                                        3/1/1999
          1004 EQUIPMENT LEASE AGREEMENT        COPIER LEASE - DALLAS OFFICE                                                                                                          7/18/2012       7/18/2015

          1005 COCA COLA CONTRACT                                                                                                                                                     2/23/2005
          1006 SERVICE AGREEMENT                PAY PER VIEW FIGHTS                                                                                                                  11/30/2012      11/30/2015
          1007 SERVICE AGREEMENT                RECYCLE GREASE SYSTEM                                                                                                                 8/10/2013        8/9/2014

          1008 SERVICE AGREEMENT                RECYCLE GREASE SYSTEM                                                                                                                 8/10/2013        8/9/2014




          1010 FRANCHISE AGREEMENT              LOCATION: DES MOINES, IOWA                                                                                                           12/23/2003      12/23/2023




          1012 FRANCHISE AGREEMENT              LOCATION: WOODBURY, MINNESOTA                                                                                                         5/12/1997       5/12/2017

          1013 FRANCHISE AGREEMENT              LOCATION: SACRAMENTO, CALIFORNIA                                                                                                      5/16/2007

          1014 FRANCHISE AGREEMENT              LOCATION: BURNSVILLE, MINNESOTA                                                                                                        2/4/1991

          1015 FRANCHISE AGREEMENT              LOCATION: MAPLE GROVE, MINNESOTA                                                                                                      2/11/1994

          1016 FRANCHISE AGREEMENT              LOCATION: NEW BRIGHTON, MINNESOTA                                                                                                     3/31/1996       2/12/2091

          1017 FRANCHISE AGREEMENT              LOCATION: DETROIT AIRPORT, MICHIGAN                                                                                                   6/27/2007       6/27/2028


          1018 FRANCHISE AGREEMENT              LOCATION: DUBUQUE, IOWA                                                                                                              10/15/2007      10/15/2027


          1019 FRANCHISE AGREEMENT              LOCATION: ST. PAUL, MINNESOTA                                                                                                          2/4/1991



          1020 FRANCHISE AGREEMENT              LOCATION: BROOKFIELD, WISCONSIN                                                                                                       9/13/1999       9/13/2019



          1021 FRANCHISE AGREEMENT              LOCATION: MAPLEWOOD, MINNESOTA                                                                                                         2/4/1991       2/11/2014


          1022 FRANCHISE AGREEMENT              LOCATION: INDIANAPOLIS AIRPORT, INDIANA                                                                                               10/3/2008       10/3/2018


          1023 FRANCHISE AGREEMENT              LOCATION: NEWARK AIRPORT, NEW JERSEY                                                                                                  2/15/2010       2/25/2020

          1024 SEVERANCE AGREEMENT



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     ID          Attention                   Address 1                   Address 2       Address 3   Address 4         City           State           Zip   Country       Email                     Phone       Fax
          1002               6060 N CENTRAL PARKWAY, SUITE 350                                                    DALLAS         TX           75206
          1003               P.O. BOX 1723                                                                        HUTCHINSON     KS           67504
          1004               PO BOX 650361                                                                        DALLAS         TX           75265
                                                                                                                  OVERLAND
          1005               12980 FOSTER STREET                   STE 300                                                       KS           66213
                                                                                                                  PARK
          1006               407 E PENNSYLVANIA BLVD                                                              FEASTERVILLE   PA           19503
                                                                                                                  MENDOTA
          1007               2250 PILOT KNOB ROAD #100                                                                           MN           55120
                                                                                                                  HEIGHTS
                                                                                                                  MENDOTA
          1008               2250 PILOT KNOB ROAD #100                                                                           MN           55120
                                                                                                                  HEIGHTS
                                                                                                                                                                      WTBELISLE@HO
                                                                                                                                                                      TMAIL.COM;
                                                                   1843 EAGLE RIDGE                                                                                   ALDEN
          1010               ATTN: WAYNE BELISLE                                                                  MENDOTA        MN           55113                                612-719-5905; 612-719-5901
                                                                   DRIVE                                                                                              LANDREVILLE:
                                                                                                                                                                      LANDREVIL@AO
                                                                                                                                                                      L.COM
                                                                   1843 EAGLE RIDGE                                                                                   WTBELISLE@HO
          1012               ATTN: WAYNE BELISLE                                                                  MENDOTA        MN           55113                                612-719-5905
                                                                   DRIVE                                                                                              TMAIL.COM
                                                                   1847 N. COVENTRY
          1013               ATTN: MOHAMED ALI KAHN; TARIQ MUNIR                                                  CLOVIS         CA           93619                                  916-807-4074
                                                                   AVENUE
                                                                                                                                                                      SWINER4915@A
          1014               15605 51ST AVENUE NORTH                                                              PLYMOUTH       MN           55446                                  763-559-7300
                                                                                                                                                                      OL.COM
                                                                                                                                                                      SWINER4915@A
          1015               15605 51ST AVENUE NORTH                                                              PLYMOUTH       MN           55446                                  763-559-7299
                                                                                                                                                                      OL.COM
                                                                   1843 EAGLE RIDGE                                                                                   WTBELISLE@HO
          1016               ATTN: WAYNE BELISLE                                                                  MENDOTA        MN           55113                                  612-719-5905
                                                                   DRIVE                                                                                              TMAIL.COM
                                                                                                                                                                      SWMASHNI@G
          1017               ATTN: SAMIR MASHNI                    27010 JOY ROAD                                 REDFORD        MICHIGAN     48239
                                                                                                                                                                      MAIL.COM
                                                                                                                                                                      DHUBER@STEEP
          1018               ATTN: DAN HUBER                       2300 LINCOLNWAY                                CLINTON        IA           42732                   LEGATEINN.CO   563-386-6900
                                                                                                                                                                      M
                                                                                                                                                                      SAG627@COMC
          1019               ATTN: DAN GREENBERG                   2401 W. 75TH STREET                            SAINT PAUL     MN           55116                                  612-916-5456
                                                                                                                                                                      AST.NET
                                                                                                                                                                      TONYL@CHAMP
                             ATTN: TONY LEWANOVICH; TY & MARY      1240 S. MOORLAND                                                                                   PS-WI.COM
          1020                                                                                                    BROOKFIELD     WI           53005-6943                           262-893-9714
                             VAUGHN                                ROAD                                                                                               VAUGHAN.TYSO
                                                                                                                                                                      N@ATT.NET
                                                                   1843 EAGLE RIDGE                                                                                   WTBELISLE@HO
          1021               ATTN: WAYNE BELISLE                                                                  MENDOTA        MN           55113                                612-719-5905
                                                                   DRIVE                                                                                              TMAIL.COM
                                                                   5301 BLUE LAGOON                                                                                   KIRK.WEISS@AR
          1022               ATTN: KIRK WEISS, GENERAL COUNSEL                                                    MIAMI          FL           33126                                 305-267-8510
                                                                   DRIVE, STE 690                                                                                     EASMAIL.COM

                                                                   5301 BLUE LAGOON                                                                                   KIRK.WEISS@AR
          1023               ATTN: KIRK WEISS, GENERAL COUNSEL                                                    MIAMI          FL           33126                                 305-267-8510
                                                                   DRIVE, STE 690                                                                                     EASMAIL.COM
          1024               7014 QUILL LEAF COVE                                                                 AUSTIN         TX           78750



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     ID          Epiq Contract No    Store Number      Case                                     Debtor                            Responsible Person                       Contract Counter Party
          1025 NO COPY              CORPORATE     13-13220    F&H ACQUISITION CORP.                                            KIM FOWLES              MARTY FAYETTE
          1026 NO COPY              CORPORATE     13-13259    TENT RESTAURANT OPERATIONS, INC                                  KIM FOWLES              JAMES BELL
          1027 20.00                65068         13-13234    FOX & HOUND OF ARIZONA, INC                                      KIM FOWLES              MCFADDEN'S DESERT RIDGE, LLC
          1028   NO COPY            CORPORATE     13-13220    F & H ACQUISITION CORP.                                          JIM ZIELKE              JAMES K ZIELKE
          1029   NO COPY            CORPORATE     13-13220    F & H ACQUISITION CORP.                                          JIM ZIELKE              MARC A BUEHLER
          1030   NO COPY            CORPORATE     13-13220    F & H ACQUISITION CORP.                                          JIM ZIELKE              DONALD L STACK II
          1031   NO COPY            CORPORATE     13-13220    F & H ACQUISITION CORP.                                          JIM ZIELKE              RYAN M ZINK
          1033   NO COPY                          13-13227    CHAMPS OPERATING CORPORATION                                     KIM FOWLES              ANDREW ALLEN
          1034   NO COPY                          13-13227    CHAMPS OPERATING CORPORATION                                     KIM FOWLES              CINDY ANZIK
          1035 NO COPY                            13-13227    CHAMPS OPERATING CORPORATION                                     KIM FOWLES              DALE KAMINSKI
          1036   NO COPY                          13-13227    CHAMPS OPERATING CORPORATION                                     KIM FOWLES              KEVIN O'HARE
          1116   NO COPY            65002         13-13259    TENT RESTAURANT OPERATIONS, INC                                  LINDA COSTNER           UNIFIRST CORPORATION
          1117   NO COPY            65003         13-13259    TENT RESTAURANT OPERATIONS, INC                                  LINDA COSTNER           ARAMARK UNIFORM SERVICES
          1118   NO COPY            65004         13-13248    F&H RESTAURANTS OF TEXAS, INC                                    LINDA COSTNER           ARAMARK UNIFORM SERVICES
          1119   NO COPY            65005         13-13248    F&H RESTAURANTS OF TEXAS, INC                                    LINDA COSTNER           ARAMARK UNIFORM SERVICES
          1120   NO COPY            65006         13-13259    TENT RESTAURANT OPERATIONS, INC                                  LINDA COSTNER           G&K SERVICES
          1121   NO COPY            65007         13-13259    TENT RESTAURANT OPERATIONS, INC                                  LINDA COSTNER           CINTAS CORPORATION
          1122   NO COPY            65008         13-13248    F&H RESTAURANTS OF TEXAS, INC                                    LINDA COSTNER           ARAMARK UNIFORM SERVICES
          1123   NO COPY            65010         13-13259    TENT RESTAURANT OPERATIONS, INC                                  LINDA COSTNER           COYNE TEXTILE SERVICE, INC
          1124   NO COPY            65014         13-13259    TENT RESTAURANT OPERATIONS, INC                                  LINDA COSTNER           CINTAS CORPORATION
          1125   NO COPY            65018         13-13246    FOX & HOUND OF OHIO, INC                                         LINDA COSTNER           ARAMARK UNIFORM SERVICES
          1126   NO COPY            65020         13-13237    FOX & HOUND OF INDIANA, INC                                      LINDA COSTNER           CINTAS CORP 314
          1127 NO COPY              65022         13-13248    F&H RESTAURANTS OF TEXAS, INC                                    LINDA COSTNER           CINTAS CORPORATION
          1128   NO COPY            65023         13-13259    TENT RESTAURANT OPERATIONS, INC                                  LINDA COSTNER           UNIFIRST CORPORATION
          1129   NO COPY            65028         13-13259    TENT RESTAURANT OPERATIONS, INC                                  LINDA COSTNER           ARAMARK UNIFORM SERVICES
          1130   NO COPY            65031         13-13259    TENT RESTAURANT OPERATIONS, INC                                  LINDA COSTNER           ARAMARK UNIFORM SERVICES
          1131   NO COPY            65035         13-13237    FOX & HOUND OF INDIANA, INC                                      LINDA COSTNER           ARAMARK UNIFORM SERVICES
          1132   NO COPY            65038         13-13259    TENT RESTAURANT OPERATIONS, INC                                  LINDA COSTNER           CINTAS CORPORATION
          1133   NO COPY            65042         13-13248    F&H RESTAURANTS OF TEXAS, INC                                    LINDA COSTNER           ARAMARK UNIFORM SERVICES
          1134   NO COPY            65045         13-13259    TENT RESTAURANT OPERATIONS, INC                                  LINDA COSTNER           UNIFIRST CORPORATION
          1135   NO COPY            65047         13-13259    TENT RESTAURANT OPERATIONS, INC                                  LINDA COSTNER           UNIFIRST CORPORATION
          1136   NO COPY            65051         13-13259    TENT RESTAURANT OPERATIONS, INC                                  LINDA COSTNER           ARAMARK UNIFORM SERVICES
          1137   NO COPY            65052         13-13248    F&H RESTAURANTS OF TEXAS, INC                                    LINDA COSTNER           ARAMARK UNIFORM SERVICES
          1138   NO COPY            65062         13-13259    TENT RESTAURANT OPERATIONS, INC                                  LINDA COSTNER           ARAMARK UNIFORM SERVICES
          1139 NO COPY              65063         13-13245    FOX & HOUND OF NEW MEXICO, INC                                   LINDA COSTNER           A-1 LINENE
          1140 NO COPY              65067         13-13259    TENT RESTAURANT OPERATIONS, INC                                  LINDA COSTNER           ARAMARK UNIFORM SERVICES
          1141 NO COPY              67071         13-13259    TENT RESTAURANT OPERATIONS, INC                                  LINDA COSTNER           UNIFIRST CORPORATION
          1142 NO COPY              65074         13-13259    TENT RESTAURANT OPERATIONS, INC                                  LINDA COSTNER           CINTAS CORPORATION
          1143   NO COPY            65076         13-13236    FOX & HOUND OF ILLINOIS, INC                                     LINDA COSTNER           ARAMARK UNIFORM SERVICES
          1144   NO COPY            65077         13-13259    TENT RESTAURANT OPERATIONS, INC                                  LINDA COSTNER           ARAMARK UNIFORM SERVICES
          1145   NO COPY            65083         13-13259    TENT RESTAURANT OPERATIONS, INC                                  LINDA COSTNER           ARAMARK UNIFORM SERVICES
          1146   NO COPY            65087         13-13259    TENT RESTAURANT OPERATIONS, INC                                  LINDA COSTNER           ARAMARK UNIFORM SERVICES
          1147   NO COPY            65088         13-13246    FOX & HOUND OF OHIO, INC                                         LINDA COSTNER           ARAMARK UNIFORM SERVICES



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     ID                       Type of Contract                               Description of Contract                     Assume             Reject   Cure Amount   Contract No Date of ContractTermination Date
          1025 SEVERANCE AGREEMENT                                                                                                                                                  11/4/2013
          1026 SEVERANCE AGREEMENT                                                                                                                                                  11/5/2013
          1027 SALE AGREEMENT                     AGREEMENT FOR PURCHASE AND SALE OF LIQUOR LICENSE                                                                                12/04/2013
          1028   EXECUTIVE EMPLOYMENT AGREEMENT
          1029   EXECUTIVE EMPLOYMENT AGREEMENT
          1030   EXECUTIVE EMPLOYMENT AGREEMENT
          1031   EXECUTIVE EMPLOYMENT AGREEMENT
          1033   BONUS BUY-IN AGREEMENT                                                                                                                                              3/8/2007
          1034   BONUS BUY-IN AGREEMENT                                                                                                                                             1/22/2007
          1035 BONUS BUY-IN AGREEMENT                                                                                                                                                5/4/2007
          1036   BONUS BUY-IN AGREEMENT                                                                                                                                              1/2/2007
          1116   SERVICE AGREEMENT                LINEN SERVICES AGREEMENT                                                                                         65002            7/21/2011       7/21/2013
          1117   SERVICE AGREEMENT                LINEN SERVICES AGREEMENT                                                                                         65003            9/30/2011       9/30/2012
          1118   SERVICE AGREEMENT                LINEN SERVICES AGREEMENT                                                                                         65004           10/10/2012      10/10/2013
          1119   SERVICE AGREEMENT                LINEN SERVICES AGREEMENT                                                                                         65005            9/20/2011       9/20/2012
          1120   SERVICE AGREEMENT                LINEN SERVICES AGREEMENT                                                                                         65006             1/6/2012        1/6/2013
          1121   SERVICE AGREEMENT                LINEN SERVICES AGREEMENT                                                                                         65007             8/7/2009        8/7/2012
          1122   SERVICE AGREEMENT                LINEN SERVICES AGREEMENT                                                                                         65008           10/10/2012      10/10/2013
          1123   SERVICE AGREEMENT                LINEN SERVICES AGREEMENT                                                                                         65010           12/14/2011      12/14/2012
          1124   SERVICE AGREEMENT                LINEN SERVICES AGREEMENT                                                                                         65014             8/7/2009        8/7/2012
          1125   SERVICE AGREEMENT                LINEN SERVICES AGREEMENT                                                                                         65018             7/2/2012        7/2/2013
          1126   SERVICE AGREEMENT                LINEN SERVICES AGREEMENT                                                                                         65020            4/19/2006       4/19/2016
          1127 SERVICE AGREEMENT                  LINEN SERVICES AGREEMENT                                                                                         65022            1/20/2012       1/20/2013
          1128   SERVICE AGREEMENT                LINEN SERVICES AGREEMENT                                                                                         65023            9/30/2011       9/30/2012
          1129   SERVICE AGREEMENT                LINEN SERVICES AGREEMENT                                                                                         65028            6/12/2001       6/12/2012
          1130   SERVICE AGREEMENT                LINEN SERVICES AGREEMENT                                                                                         65031            4/27/2012       4/27/2013
          1131   SERVICE AGREEMENT                LINEN SERVICES AGREEMENT                                                                                         65035             9/7/2012        9/7/2013
          1132   SERVICE AGREEMENT                LINEN SERVICES AGREEMENT                                                                                         65038             7/3/2008        7/3/2013
          1133   SERVICE AGREEMENT                LINEN SERVICES AGREEMENT                                                                                         65042           10/10/2012      10/10/2013
          1134   SERVICE AGREEMENT                LINEN SERVICES AGREEMENT                                                                                         65045            7/21/2011       7/21/2013
          1135   SERVICE AGREEMENT                LINEN SERVICES AGREEMENT                                                                                         65047            7/21/2011       7/21/2013
          1136   SERVICE AGREEMENT                LINEN SERVICES AGREEMENT                                                                                         65051            4/26/2012       4/26/2013
          1137   SERVICE AGREEMENT                LINEN SERVICES AGREEMENT                                                                                         65052           10/10/2012      10/10/2013
          1138   SERVICE AGREEMENT                LINEN SERVICES AGREEMENT                                                                                         65062            8/29/2011       8/29/2012
          1139 SERVICE AGREEMENT                  LINEN SERVICES AGREEMENT                                                                                         65063            UNKNOWN         UNKNOWN
          1140 SERVICE AGREEMENT                  LINEN SERVICES AGREEMENT                                                                                         65067            4/27/2012       4/27/2013
          1141 SERVICE AGREEMENT                  LINEN SERVICES AGREEMENT                                                                                         67071            7/21/2011       7/21/2013
          1142 SERVICE AGREEMENT                  LINEN SERVICES AGREEMENT                                                                                         65074            7/18/2011       7/18/2012
          1143   SERVICE AGREEMENT                LINEN SERVICES AGREEMENT                                                                                         65076            5/16/2012       5/16/2013
          1144   SERVICE AGREEMENT                LINEN SERVICES AGREEMENT                                                                                         65077            1/12/2011       1/12/2012
          1145   SERVICE AGREEMENT                LINEN SERVICES AGREEMENT                                                                                         65083            9/15/2011       9/15/2012
          1146   SERVICE AGREEMENT                LINEN SERVICES AGREEMENT                                                                                         65087            5/12/2011       5/12/2012
          1147   SERVICE AGREEMENT                LINEN SERVICES AGREEMENT                                                                                         65088            6/28/2011       6/28/2012



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     ID          Attention                    Address 1                   Address 2   Address 3   Address 4         City          State           Zip   Country   Email   Phone   Fax
          1025               3340 MUSCADINE TRAIL                                                              KENNESAW      GA           30144
          1026               8495 E RADCLIFF AVE                                                               DENVER        CO           80237
                                                                    214 E 49TH ST,
          1027               C/O ELIZABETH WITTELS                                                             NEW YORK      NY           10017
                                                                    SECOND FL
          1028               10310 BOXTHORN COURT                                                              WICHITA       KS           67226
          1029               15126 WOODBLUFF DR                                                                FRISCO        TX           75035
          1030               11406 WINGFOOT DRIVE                                                              KANSAS CITY   KS           66109
          1031               2308 BRANDON CIR                                                                  WICHITA       KS           67226
          1033               5912 ALTURAS WAY                                                                  HILLIARD      OH           43026
          1034               3535 CHARLENE DRIVE                                                               BEAVERCREEK   OH           45432
                                                                                                               SHELBY
          1035               10632 MELIA DRIVE                                                                               MI           48315
                                                                                                               TOWNSHIP
          1036               7512 BONNIE RIDGE ROAD                                                            LAKEWOOD      IL           60014
          1116               1901 EQUITABLE PLACE                                                              CHARLOTTE     NC           28213
          1117               DANNY ESTRADA                          521 WEST WALKER                            WICHITA       KS           67213
          1118               DANNY ESTRADA                          521 WEST WALKER                            WICHITA       KS           67213
          1119               DANNY ESTRADA                          521 WEST WALKER                            WICHITA       KS           67213
          1120               122A MCDOUGALL COURT                                                              GREENVILLE    SC           29607
          1121               3400 BRILEY PARK BLVD N                                                           NASHVILLE     TN           37207
          1122               DANNY ESTRADA                          521 WEST WALKER                            WICHITA       KS           67213
          1123               136 7TH ST                                                                        BRISTOL       TN           37620
          1124               3400 BRILEY PARK BLVD N                                                           NASHVILLE     TN           37207
          1125               DANNY ESTRADA                          521 WEST WALKER                            WICHITA       KS           67213
          1126               P.O. BOX 630921                                                                   CINCINNATI    OH           45263
                             3349 SE INTERSTATE 410 LOOP FRONTAGE
          1127                                                                                                 SAN ANTONIO   TX           78222
                             RD, SAN ANTONIO, TX 78222
          1128               18999 PARK AVE PLAZA                                                              MEADVILLE     PA           16335
          1129               DANNY ESTRADA                          521 WEST WALKER                            WICHITA       KS           67213
          1130               DANNY ESTRADA                          521 WEST WALKER                            WICHITA       KS           67213
          1131               DANNY ESTRADA                          521 WEST WALKER                            WICHITA       KS           67213
          1132               39145 WEBB DRIVE                                                                  WESTLAND      MI           48185
          1133               DANNY ESTRADA                          521 WEST WALKER                            WICHITA       KS           67213
          1134               1901 EQUITABLE PLACE                                                              CHARLOTTE     NC           28213
          1135               1901 EQUITABLE PLACE                                                              CHARLOTTE     NC           28213
          1136               DANNY ESTRADA                          521 WEST WALKER                            WICHITA       KS           67213
          1137               DANNY ESTRADA                          521 WEST WALKER                            WICHITA       KS           67213
          1138               DANNY ESTRADA                          521 WEST WALKER                            WICHITA       KS           67213
          1139               10100 ACOMA ROAD SE                                                               ALBUQUERQUE NM             87123
          1140               DANNY ESTRADA                          521 WEST WALKER                            WICHITA       KS           67213
          1141               1901 EQUITABLE PLACE                                                              CHARLOTTE     NC           28213
          1142               2131 POLYMER DRIVE, SUITE 2131A                                                   CHATTANOOGA TN             37421
          1143               DANNY ESTRADA                          521 WEST WALKER                            WICHITA       KS           67213
          1144               DANNY ESTRADA                          521 WEST WALKER                            WICHITA       KS           67213
          1145               DANNY ESTRADA                          521 WEST WALKER                            WICHITA       KS           67213
          1146               DANNY ESTRADA                          521 WEST WALKER                            WICHITA       KS           67213
          1147               DANNY ESTRADA                          521 WEST WALKER                            WICHITA       KS           67213



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     ID          Epiq Contract No    Store Number      Case                                     Debtor                            Responsible Person                     Contract Counter Party
          1148 NO COPY              65091         13-13246    FOX & HOUND OF OHIO, INC                                         LINDA COSTNER           ARAMARK UNIFORM SERVICES
          1149 NO COPY              65093         13-13259    TENT RESTAURANT OPERATIONS, INC                                  LINDA COSTNER           UNIFIRST CORPORATION
          1150 NO COPY              WICHITA OFFICE 13-13249   FOX & HOUND RESTAURANT GROUP                                     KIM FOWLES              PITNEY BOWES
          1151   NO COPY            65253         13-13227    CHAMPPS OPERATING CORPORATION                                    KIM FOWLES              STARLIGHT DIGITAL MEDIA LLC
          1152   NO COPY            65253         13-13227    CHAMPPS OPERATING CORPORATION                                    KIM FOWLES              VALLEY PROTEINS
          1153   NO COPY            65246         13-13227    CHAMPPS OPERATING CORPORATION                                    KIM FOWLES              SYSTEM4 OF TAMPA
          1154   NO COPY            65246         13-13227    CHAMPPS OPERATING CORPORATION                                    KIM FOWLES              AMERICAN CONSUMER FINANCIAL NETWORK
          1155 NO COPY              65243         13-13227    CHAMPPS OPERATING CORPORATION                                    KIM FOWLES              IMG COLLEGE LLC
          1156 NO COPY                            13-13227    CHAMPPS OPERATING CORPORATION                                    KIM FOWLES              CAPITAL AREA SOCCER LEAGUE
                                                                                                                                                       THE LEGENDARY KINGS OF KARAOKE AND DJ ENTERTAINMENT,
          1157 NO COPY              65231         13-13227    CHAMPPS OPERATING CORPORATION                                    KIM FOWLES
                                                                                                                                                       INC.
          1158   NO COPY            65226         13-13227    CHAMPPS OPERATING CORPORATION                                    KIM FOWLES              AMERICAN CONSUMER FINANCIAL NETWORK
          1159   NO COPY            65210         13-13227    CHAMPPS OPERATING CORPORATION                                    KIM FOWLES              AMERICAN CONSUMER FINANCIAL NETWORK
          1160   NO COPY            65205         13-13227    CHAMPPS OPERATING CORPORATION                                    KIM FOWLES              ADT SECURITY SYSTEMS
          1161   NO COPY            65095         13-13259    TENT RESTAURANT OPERATIONS, INC                                  LINDA COSTNER           CINTAS CORPORATION
          1162 NO COPY              CORPORATE     13-13220    F&H ACQUISITION CORP                                             RENEE CHALOUPKA         ALLSTATE (AHL/AWD)



          1163 NO COPY                            13-13220    F&H ACQUISITION CORP                                             JIM ZIELKE              ALLSTATE (AHL)




          1164 NO COPY              CORPORATE     13-13220    F&H ACQUISITION CORP                                             JIM ZIELKE              ALLSTATE (AHL)


          1165 NO COPY              CORPORATE     13-13220    F&H ACQUISITION CORP                                             JIM ZIELKE              ALLSTATE (AHL)


          1166 NO COPY              CORPORATE     13-13220    F&H ACQUISITION CORP                                             RENEE CHALOUPKA         BENEFIT COMMUNICATIONS INC.
          1168   NO COPY            65032         13-13249    FOX & HOUND RESTAURANT GROUP                                     KIM FOWLES              MICHELLE ELLZEY
          1169   NO COPY            65047         13-13249    FOX & HOUND RESTAURANT GROUP                                     KIM FOWLES              JASON TIMMONS
          1170   NO COPY            65077         13-13249    FOX & HOUND RESTAURANT GROUP                                     KIM FOWLES              HUGO SAN MARTANO
          1171   NO COPY            65073         13-13249    FOX & HOUND RESTAURANT GROUP                                     KIM FOWLES              MICHAEL SCOFIELD
          1172 NO COPY              65083         13-13249    FOX & HOUND RESTAURANT GROUP                                     KIM FOWLES              KEVIN GARRISON
          1173   NO COPY                          13-13249    FOX & HOUND RESTAURANT GROUP                                     KIM FOWLES              TODD CREEKMUR
          1174   NO COPY            65067         13-13249    FOX & HOUND RESTAURANT GROUP                                     KIM FOWLES              DAVID HART
          1175   NO COPY            65016         13-13249    FOX & HOUND RESTAURANT GROUP                                     KIM FOWLES              GENNA TIFFANY
          1176   NO COPY            65057         13-13249    FOX & HOUND RESTAURANT GROUP                                     KIM FOWLES              MICHAEL MURPHY
          1177   NO COPY            65023         13-13249    FOX & HOUND RESTAURANT GROUP                                     KIM FOWLES              KATRINA CACCAMO
          1178   NO COPY            65027         13-13249    FOX & HOUND RESTAURANT GROUP                                     KIM FOWLES              THOMAS SZAFRAN
          1179   NO COPY            65055         13-13249    FOX & HOUND RESTAURANT GROUP                                     KIM FOWLES              CHRISTOPHER PESCE
          1180   NO COPY            65079         13-13249    FOX & HOUND RESTAURANT GROUP                                     KIM FOWLES              AMANDA SEVIN
          1181   NO COPY                          13-13249    FOX & HOUND RESTAURANT GROUP                                     KIM FOWLES              HARRY DECKER
          1182   NO COPY            65008         13-13249    FOX & HOUND RESTAURANT GROUP                                     KIM FOWLES              TIMOTHY WHITE



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     ID                       Type of Contract                                 Description of Contract                     Assume             Reject   Cure Amount   Contract No Date of ContractTermination Date
          1148 SERVICE AGREEMENT                 LINEN SERVICES AGREEMENT                                                                                            65091              4/8/2011       4/8/2012
          1149 SERVICE AGREEMENT                 LINEN SERVICES AGREEMENT                                                                                            65093            7/21/2011       7/21/2013
          1150 USE AGREEMENT                     POSTAGE METER - WICHITA OFFICE                                                                                      5708145-004        7/7/2011      10/7/2014
          1151   SERVICE AGREEMENT               ADVERTISING AGREEMENT                                                                                               65253           12/26/2012      12/31/2015
          1152   USE AGREEMENT                   COOKING OIL SMART TANK                                                                                              65253            4/26/2011       4/26/2014
          1153   SERVICE AGREEMENT               CLEANING SERVICES                                                                                                   65246                             2/1/2014
          1154   SERVICE AGREEMENT               ATM AGREEMENT                                                                                                       65246           10/23/2012      10/23/2015
          1155 SERVICE AGREEMENT                 ADVERTISING AGREEMENT                                                                                               65243             8/27/2013      7/14/2014
          1156 SERVICE AGREEMENT                 ADVERTISING AGREEMENT                                                                                                                  8/1/2013      7/31/2014
          1157 SERVICE AGREEMENT                 KARAOKE ENTERTAINMENT SERVICES                                                                                      65231              9/3/2013      3/31/2014
          1158   SERVICE AGREEMENT               ATM AGREEMENT                                                                                                       65226            2/12/2013       2/12/2016
          1159   SERVICE AGREEMENT               ATM AGREEMENT                                                                                                       65210            1/19/2012       1/19/2015
          1160   SERVICE AGREEMENT               SECURITY AGREEMENT                                                                                                  65205             4/5/1996    YEAR TO YEAR
          1161   SERVICE AGREEMENT               LINEN SERVICES AGREEMENT                                                                                            65095           12/11/2013      12/11/2014
          1162 COBRA GUARD AGREEMENT             USER SERVICE ORDER FORM                                                                                                               12/9/2013             NA



          1163 EYEMED VISION AGREEMENT           APPLICATION FOR VISION CARE                                                                                         VC-77           10/30/2013      12/31/2015



                                                                                                                                                                                                      REVIEWED
          1164 UNDERWRITING OFFER                UNDERWRITING OFFER                                                                                                                  10/14/2013
                                                                                                                                                                                                   PERIODICALLY


          1165 4040 AGREEMENT                                                                                                                                                        10/16/2013              NA


          1166 BENEFIT DESIGN AGREEMENT          AGREEMENT                                                                                                                           10/24/2013              NA
          1168   MANAGING PARTNER AGREEMENT      LOCATION: NEW ORLEANS                                                                                               511531          12/31/2008        1/1/2014
          1169   MANAGING PARTNER AGREEMENT      LOCATION: CHARLOTTE #4                                                                                              837056          12/31/2008        1/1/2014
          1170   MANAGING PARTNER AGREEMENT      LOCATION: RALEIGH                                                                                                   90327311        12/31/2008        1/1/2014
          1171   MANAGING PARTNER AGREEMENT      LOCATION: EDISON                                                                                                    798441           6/17/2009       6/16/2014
          1172 MANAGING PARTNER AGREEMENT        LOCATION: WILMINGTON                                                                                                731958            3/24/2010      3/24/2015
          1173   MANAGING PARTNER AGREEMENT      LOCATION: DISTRICT MANAGER                                                                                          46464            3/24/2010       3/24/2015
          1174   MANAGING PARTNER AGREEMENT      LOCATION: RICHMOND #2                                                                                               838305           6/16/2010       6/16/2015
          1175   MANAGING PARTNER AGREEMENT      LOCATION: CHICAGO                                                                                                   296131          12/29/2010      12/19/2015
          1176   MANAGING PARTNER AGREEMENT      LOCATION: TUCSON                                                                                                    212835          12/29/2010      12/19/2015
          1177   MANAGING PARTNER AGREEMENT      LOCATION: ERIE                                                                                                      36520032        12/29/2010      12/29/2015
          1178   MANAGING PARTNER AGREEMENT      LOCATION: DETROIT                                                                                                   950828          12/30/2010      12/29/2015
          1179   MANAGING PARTNER AGREEMENT      LOCATION: CHICAGO #2                                                                                                922612          12/30/2010      12/29/2015
          1180   MANAGING PARTNER AGREEMENT      LOCATION: CARMEL                                                                                                    9194058C        12/30/2010      12/29/2015
          1181   MANAGING PARTNER AGREEMENT      LOCATION: DISTRICT MANAGER                                                                                          1865818A        12/29/2010      12/29/2015
          1182   MANAGING PARTNER AGREEMENT      LOCATION: DALLAS                                                                                                    000375822        6/15/2011       6/14/2016



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     ID          Attention                   Address 1                  Address 2          Address 3   Address 4         City           State           Zip   Country       Email                   Phone   Fax
          1148               DANNY ESTRADA                         521 WEST WALKER                                  WICHITA        KS           67213
          1149               1901 EQUITABLE PLACE                                                                   CHARLOTTE      NC           28213
          1150               27 WATERVIEW DRIVE                                                                     SHELTON        CT           06484
          1151               404 E PENNSYLVANIA BLVD                                                                FEASTERVILLE   PA           19053
          1152               151 VALPRO DRIVE                                                                       WINCHESTER     PA           22603
          1153 MARK MAYER    10150 HIGHLAND MANOR DRIVE, STE 200                                                    TAMPA          FL           33610
          1154               111 W. SAINT JOHN ST.                                                                  SAN JOSE       CA           95113
                                                                                                                    WINSTON-
          1155               540 N TRADE STREET                                                                                    NC           27101
                                                                                                                    SALEM
          1156               3300 WOMANS CLUB DRIVE STE 1                                                           RALEIGH        NC           27612
                                                                                                                    RANDALLSTOW
          1157               10 WINLO COURT                                                                                        MD           21133
                                                                                                                    N
          1158               111 W. SAINT JOHN ST.                                                                  SAN JOSE       CA           95113
          1159               111 W. SAINT JOHN ST.                                                                  SAN JOSE       CA           95113
          1160               12166 N MEREDIAN STREET                                                                CARMEL         IN           40032
          1161               1111 SMILE WAY                                                                         YORK           PA           17404
                                                                                                                                                                        WWW.COBRAG
          1162               COBRAGUARD, INC                       57000 BROADMOAR       PO BOX 39                  MISSION        KS           66202                                913-438-8385
                                                                                                                                                                        UARD.NET
                                                                                                                                                                        PFREELS@BENE
                                                                                                                                                                        FITCOMMUNICA
          1163               PAIGE FREELS                          2977 SIDCO DRIVE                                 NASHVILLE      TN           37204                   TIONS.COM
                                                                                                                                                                        6152923786 X
                                                                                                                                                                        616
                                                                   1776 AMERICAN
          1164               BRIAN FRANK                                                                            JACKSONVILLE   FL           32224-6688                           904-992-2509
                                                                   HERITAGE LIFE DRIVE

                             AMERICAN HERITAGE LIFE INSURANCE      1776 AMERICAN
          1165                                                                                                      JACKSONVILLE   FL           32224-6688                           800-521-3535
                             COMPANY                               HERITAGE LIFE DRIVE
                                                                   2126 21ST AVENUE
          1166               PAIGE FREELS/HOLLY MARTIN                                                              NASHVILLE      TN           37212                                800-489-3786
                                                                   SOUTH
          1168               18 OAKLEY DR                                                                           DESTREHAN      LA           70047
          1169               1165 DEAN HALL LN                                                                      MATTHEWS       NC           28105
          1170               4006 BUTLER BLVD                                                                       RALEIGH        NC           27604
          1171               309 RT 35 #IF                                                                          PT PEASANT     NJ           08742
                                                                                                                    WINSTON-
          1172               110 HEDGECOCK AVE #4                                                                                  NC           27104
                                                                                                                    SALEM
          1173               9532 CAPE COD BLVD                                                                     AUBREY         TX           76227
          1174               11720 BELVEDERE VISTA LN              #101                                             RICHMOND       VA           23235
          1175               1358 ESSEX ST                                                                          ALGONQUIN      IL           60102
          1176               960 W THORNBUSH PL                                                                     ORO VALLEY     AZ           85755
          1177               4940 SIR HUE DRIVE                                                                     ERIE           PA           16506
          1178               43513 LOTUS DR                                                                         CANTON         MI           48188
          1179               759 MANOR RD                                                                           CRYSTAL LAKE   IL           60014
          1180               10351 LEE STEWART LN                                                                   FISHERS        IN           46038
          1181               370 COLONIAL CIR                                                                       GENEVA         IL           60134
          1182               2815 FOREST HOLLOW LN                                                                  ARLINGTON      TX           76006



2455538-1                                                                                                          1.1(a) - 123
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     ID            Epiq Contract No    Store Number        Case                                      Debtor                                    Responsible Person                    Contract Counter Party
          1183   NO COPY              65071           13-13249    FOX & HOUND RESTAURANT GROUP                                              KIM FOWLES              SCOTT NEWCOMB
          1184   NO COPY              65050           13-13249    FOX & HOUND RESTAURANT GROUP                                              KIM FOWLES              ERRON HALEN
          1185   NO COPY              65059           13-13249    FOX & HOUND RESTAURANT GROUP                                              KIM FOWLES              LAWRENCE GONZALES
          1186   NO COPY              65087           13-13249    FOX & HOUND RESTAURANT GROUP                                              KIM FOWLES              MIKE MIDDLETON
          1187 NO COPY                65089           13-13249    FOX & HOUND RESTAURANT GROUP                                              KIM FOWLES              NEIL MOWERY
          1188 NO COPY                65029           13-13249    FOX & HOUND RESTAURANT GROUP                                              KIM FOWLES              JENNIFER PERKINS
          1189 NO COPY                65062           13-13249    FOX & HOUND RESTAURANT GROUP                                              KIM FOWLES              GRAYSON GARBINI
          1190 NO COPY                65093           13-13249    FOX & HOUND RESTAURANT GROUP                                              KIM FOWLES              ALDO BROZZETTI
          1191 NO COPY                65041           13-13249    FOX & HOUND RESTAURANT GROUP                                              KIM FOWLES              BRIAN PEDRICK

          1192 NO COPY                65005           13-13249    FOX & HOUND RESTAURANT GROUP                                              KIM FOWLES              ROBERT WORRALL
          1193   NO COPY              65013           13-13249    FOX & HOUND RESTAURANT GROUP                                              KIM FOWLES              JOSEPH CLARKE
          1194   NO COPY              65015           13-13249    FOX & HOUND RESTAURANT GROUP                                              KIM FOWLES              JESSICA ULRICH
          1195   NO COPY              65039           13-13249    FOX & HOUND RESTAURANT GROUP                                              KIM FOWLES              JEFF HALLER
          1196   NO COPY              65022           13-13249    FOX & HOUND RESTAURANT GROUP                                              KIM FOWLES              MICHAEL GILLISPIE
          1197   NO COPY              65030           13-13249    FOX & HOUND RESTAURANT GROUP                                              KIM FOWLES              ERIC SMITH
          1198   NO COPY              65060           13-13249    FOX & HOUND RESTAURANT GROUP                                              KIM FOWLES              TIMOTHY WENDT
          1199   NO COPY                              13-13249    FOX & HOUND RESTAURANT GROUP                                              KIM FOWLES              MIKE SIMPSON
          1200   NO COPY                              13-13249    FOX & HOUND RESTAURANT GROUP                                              KIM FOWLES              AMIR FATHI
          1201   NO COPY              CORPORATE       13-13220    F & H ACQUISTION CORP.                                                    KIM FOWLES              A & G REALTY PARTNERS LLC
          1202   NO COPY              CORPORATE       13-13220    F & H ACQUISTION CORP.                                                    KIM FOWLES              HILCO REAL ESTATE LLC
          1203 NO COPY                65059           13-13249    FOX AND HOUND RESTAURANT GROUP                                            AUSTIN TRUMP            FS PREVENTION

          1204 NO COPY                65073           13-13249    FOX AND HOUND RESTAURANT GROUP                                            AUSTIN TRUMP            FS PREVENTION
          1205   NO COPY              65059           13-13235    FOX & HOUND OF COLORADO, INC.                                             GREG WALDO              MC SIGN
          1206   NO COPY              65073           13-13244    FOX & HOUND OF NEW JERSEY, INC.                                           GREG WALDO              MC SIGN
          1207   NO COPY              65073           13-13244    FOX & HOUND OF NEW JERSEY, INC.                                           GREG WALDO              FLYNN CONSTRUCTION
          1208   NO COPY              65219           13-13225    CHAMPPS ENTERTAINMENT OF TEXAS, INC.                                      GREG WALDO              HITE BALDWIN CONSTRUCTION
          1209   NO COPY              65219           13-13225    CHAMPPS ENTERTAINMENT OF TEXAS, INC.                                      GREG WALDO              DESIGN SHOP
          1210   NO COPY              65219           13-13225    CHAMPPS ENTERTAINMENT OF TEXAS, INC.                                      GREG WALDO              TABLE TOPICS
          1211 NO COPY                65219           13-13225    CHAMPPS ENTERTAINMENT OF TEXAS, INC.                                      GREG WALDO              G&A COMMERCIAL
                                                                  N. COLLINS ENTERTAINMENT, LTD. (for the benefit of TENT RESTAURANT
          1212 NO COPY                65041           13-13259                                                                              GREG WALDO              M3 TECHNOLOGY GROUP
                                                                  OPERATIONS, INC.)
          1213 NO COPY                65219           13-13225    CHAMPPS ENTERTAINMENT OF TEXAS, INC.                                      GREG WALDO              TRAPP & ASSOC
          1214 NO COPY                65219           13-13225    CHAMPPS ENTERTAINMENT OF TEXAS, INC.                                      GREG WALDO              TRAPP & ASSOC
          1215 NO COPY                65219           13-13225    CHAMPPS ENTERTAINMENT OF TEXAS, INC.                                      GREG WALDO              AVANT DESIGN
          1216   NO COPY              62201           13-13227    CHAMPPS OPERATING CORPORATION                                             KEVIN O'HARE            AJ INDOOR
          1217   NO COPY              CORPORATE       13-13227    CHAMPPS OPERATING CORPORATION                                             RYAN ZINK               RADIANT SYSTEMS INC.
          1218   NO COPY              CORPORATE       13-13227    CHAMPPS OPERATING CORPORATION                                             RYAN ZINK               GOOD KARMA BROADCASTING LLC DBA WKNR
          1219   NO COPY              CORPORATE       13-13220    F&H ACQUISITION CORP                                                      RENEE CHALOUPKA         JOBAPP
          1220   NO COPY              65238           13-13227    CHAMPPS OPERATING CORPORATION                                             RYAN ZINK               SHIMAR RECYCLEING INC.
          1221   NO COPY              65213           13-13227    CHAMPPS OPERATING CORPORATION                                             RYAN ZINK               GREEN GALLON SOLUTIONS OF NORTH AMERICA




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     ID                        Type of Contract                               Description of Contract                     Assume             Reject   Cure Amount   Contract No Date of ContractTermination Date
          1183   MANAGING PARTNER AGREEMENT       LOCATION: CHARLOTTE #5                                                                                            807121           6/15/2011       6/14/2016
          1184   MANAGING PARTNER AGREEMENT       LOCATION: PHOENIX                                                                                                 627885             9/7/2011       9/7/2016
          1185   MANAGING PARTNER AGREEMENT       LOCATION: DENVER #4                                                                                               008572954        6/13/2012       6/13/2017
          1186   MANAGING PARTNER AGREEMENT       LOCATION: MEMPHIS #3                                                                                              21206              9/5/2012       9/4/2017
          1187 MANAGING PARTNER AGREEMENT         LOCATION: NEWPORT NEWS                                                                                            822086318       12/26/2012      12/15/2017
          1188 MANAGING PARTNER AGREEMENT         LOCATION: KANSAS CITY                                                                                             311221          12/26/2012      12/25/2017
          1189 MANAGING PARTNER AGREEMENT         LOCATION: ARLINGTON, VA                                                                                           850226          12/26/2012      12/26/2017
          1190 MANAGING PARTNER AGREEMENT         LOCATION: CHARLOTTE #6                                                                                            746969           3/20/2013       3/19/2018
          1191 MANAGING PARTNER AGREEMENT         LOCATION: NASHVILLE#3                                                                                             893536            3/20/2013      3/20/2018

          1192 MANAGING PARTNER AGREEMENT         LOCATION: COLLEGE STATION                                                                                         665931            6/12/2013      6/11/2018
          1193   MANAGING PARTNER AGREEMENT       LOCATION: MEMPHIS                                                                                                 100629            6/12/2013      6/11/2018
          1194   MANAGING PARTNER AGREEMENT       LOCATION: OMAHA                                                                                                   16220             6/24/2013      6/11/2018
          1195   MANAGING PARTNER AGREEMENT       LOCATION: PARMA                                                                                                   296122            8/12/2013      6/11/2018
          1196   MANAGING PARTNER AGREEMENT       LOCATION: SAN ANTONIO                                                                                             171034
          1197   MANAGING PARTNER AGREEMENT       LOCATION: CANTON                                                                                                  273274          12/29/2010      12/29/2015
          1198   MANAGING PARTNER AGREEMENT       LOCATION: CHICAGO #3                                                                                              5742958D         6/17/2009       6/16/2014
          1199   MANAGING PARTNER AGREEMENT       LOCATION: DISTRICT MANAGER                                                                                        365100358
          1200   MANAGING PARTNER AGREEMENT       LOCATION: DISTRICT MANAGER                                                                                        1292788A
          1201   SERVICE AGREEMENT                REAL ESTATE ADVISORY SERVICES                                                                                                       9/30/2013      3/30/2014
          1202   SERVICE AGREEMENT                REAL ESTATE ADVISORY SERVICES                                                                                                       1/30/2013     12/31/2013
          1203 PROPOSAL AGREEMENT                 NEW ENTRY DOORS FOR STORE 65059                                                                                                     10/8/2013

          1204 PROPOSAL AGREEMENT                 REUPHOLSTERY BOOTHS FOR STORE 65073                                                                                                 12/6/2013
          1205   PROPOSAL AGREEMENT               $2800 PAINTING OF SIGN AREA                                                                                                       12/10/2013
          1206   PROPOSAL AGREEMENT               $13,573 DÉCOR REMODEL SIGN                                                                                                         10/2/2013
          1207   CONSTRUCTION AGREEMENT           $132,725 DÉCOR REMODEL CONSTRUCTION                                                                                               10/21/2013
          1208   CONSTRUCTION AGREEMENT           $21,594 DÉCOR REMODEL CONSTRUCTION                                                                                                12/17/2013
          1209   PROPOSAL AGREEMENT               $13,870 SHADES DÉCOR REMODEL                                                                                                      12/17/2013
          1210   PROPOSAL AGREEMENT               $20,396 DECOR REMODEL TABEL TOPS                                                                                                  11/18/2013
          1211 PROPOSAL AGREEMENT                 $17,434 DÉCOR REMODEL SEATING                                                                                                     12/12/2013

          1212 PROPOSAL AGREEMENT                 $22,587 AV DÉCOR REMODEL                                                                                                            12/3/2013
          1213 PROPOSAL AGREEMENT                 $20,000 DESIGN FEE FOR DÉCOR REMODEL                                                                                                6/14/2013
          1214 PROPOSAL AGREEMENT                 $17,500 DESIGN FEE PATIO                                                                                                            6/14/2013
          1215 PROPOSAL AGREEMENT                 $8,975 DESIGN FEE PATIO                                                                                                           10/21/2013
          1216   SERVICE AGREEMENT                ADVERTISING AGREEMENT                                                                                                               3/3/2010        3/3/2014
          1217   SERVICE AGREEMENT                ALOHA HOSTED SOLUTIONS AGREEMENT                                                                                                   10/4/2010
          1218   SERVICE AGREEMENT                ADVERTISING AGREEMENT                                                                                                               6/6/2012        6/6/2014
          1219   SERVICE AGREEMENT                HUMAN RESOURCES SYSTEM                                                                                                            12/23/2013      12/23/2014
          1220   SERVICE AGREEMENT                RECYCLING SERVICE                                                                                                                 12/17/2013
          1221   SERVICE AGREEMENT                GREASE RECYCLING SERVICE                                                                                                          12/12/2013




2455538-1                                                                                                 1.1(a) - 125
                                                                   Case 13-13220-KG             Doc 506-1          Filed 03/17/14         Page 270 of 362


     ID          Attention                  Address 1               Address 2       Address 3   Address 4          City           State           Zip   Country   Email   Phone   Fax
          1183               9633 WILLOW LEAF LN                                                             CORNELIUS       NC           28031
          1184               9621 N 83RD WAY                                                                 SCOTTSDALE      AZ           85258
          1185               409 FOXWOOD LN                                                                  WILMINGTON      CO           28409
          1186               600 W ASHLEY GLEN CIR                                                           CORDOVA         TN           38018
                                                                                                             NEWPORT
          1187               42 HAUGHTON LANE                                                                                VA           23606
                                                                                                             NEWS
          1188               14120 S SYCAMORE DRIVE                                                          OLATHE          KS           66062
          1189               10208 COLSTON CT #402                                                           BURKE           VA           22015
          1190               7619 MONTRACHET LN                                                              CORNELIUS       NC           28031
                                                                                                             HENDERSONVILL
          1191               9314 MONTHAVEN PARK PL                                                                          TN           37075
                                                                                                             E
                                                                                                             FAIR OAKS
          1192               31641 WILD OAK HL                                                                               TX           78015
                                                                                                             RANCH
          1193               8320 RED CREEK DR                                                               CORDOVA         TN           38018
          1194               4713 N 163RD STREET                                                             OMAHA           NE           68116
          1195               1244 18TH ST ST NW                                                              CANTON          OH           44703
          1196               21711 RUGOSA HILL                                                               SAN ANTONIO     TX           78256
          1197               908 ANDREW AVE NE                                                               MASSILLON       OH           44646
          1198               1358 ESSEX ST                                                                   ALGONQUIN       IL           60102
          1199               2576 WEXFORD RUN RD                                                             WEXFORD         PA           15090
          1200               3781 S BLUFF PT                                                                 BARTLETT        TN           38135
          1201               525 WEST MONROE ST, SUITE 2330                                                  CHICAGO         IL           60661
          1202               5 REVERE DRIVE, SUITE 206                                                       NORTHBROOK      IL           60662
                                                              4170 VETERANS
          1203               ATTN: TRACY WATERHOUSE                                                          BOHEMIA         NY           11716
                                                              MEMORIAL HWY
                                                              4170 VETERANS
          1204               ATTN: TRACY WATERHOUSE                                                          BOHEMIA         NY           11716
                                                              MEMORIAL HWY
          1205               JACQUELINE                       8959 TYLER BLVD                                MENTOR          OH           44060-2184
          1206               JACQUELINE                       8959 TYLER BLVD                                MENTOR          OH           44060-2184
          1207               TOM O'CONNOR                     600 PENN AVE                                   PITTSBURGH      PA           15222-3209
          1208               HITE BALDWIN                     755 BANDIT TRAIL                               KELLER          TX           76248-0111
          1209               CHERYL HALCOM                    3210 ALDER COURT                               TEGA CAY        SC           29708-8615
          1210               JOHN JOHNSON                     27418 HIGHWAY 98E                              ELBERTA         AL           36530-2871
          1211               BILL DICKIE                      152 GLEN ROAD                                  MOUNTAINSIDE NJ              07092-2915
                                                              925 AIRPARK CENTER
          1212               BRUCE CORDELL                                                                   NASHVILLE       TN           37217-2945
                                                              DRIVE
          1213               TIM TRAPP                        965 LINDEN AVENUE                              BOULDER         CO           80304-0724
          1214               TIM TRAPP                        965 LINDEN AVENUE                              BOULDER         CO           80304-0724
          1215               DAVID MURRAY                     10730 ROYAL SPRINGS                            DALLAS          TX           75229-5250
          1216               10825 GREENBRIER ROAD                                                           MINNETONKA      MN           55305
          1217               3925 BROOKSIDE PARKWAY                                                          ALPHARETTA      GA           30022
          1218               1301 E. 9TH STREET, SUTIE 252                                                   CLEVELAND       OH           44114
          1219               2401 E. 2ND AVENUE               SUITE 150                                      DENVER          CO           80206
          1220               938 HARVEST ST.                                                                 DURHAM          NC           27704
          1221               7904 INTERSTATE COURT NORTH                                                     FORT MYERS      FL           33917




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     ID            Epiq Contract No    Store Number        Case                                   Debtor                            Responsible Person                      Contract Counter Party

          1222 NO COPY                                13-13224    CHAMPPS ENTERTAINMENT, INC.                                    JIM ZIELKE              AVISTA ADVANTAGE INC.


          1223 NO COPY                CORPORATE       13-13227    CHAMPPS OPERATING CORPORATION                                  BROCK DAVIS             RESTAURANT GUARD
          1224   NO COPY              65002           13-13249    FOX & HOUND RESTAURANT GROUP                                   BROCK DAVIS             BIRCH COMMUNICATIONS
          1225   NO COPY              65003           13-13249    FOX & HOUND RESTAURANT GROUP                                   BROCK DAVIS             BIRCH COMMUNICATIONS
          1226   NO COPY              65004           13-13249    FOX & HOUND RESTAURANT GROUP                                   BROCK DAVIS             BIRCH COMMUNICATIONS
          1227   NO COPY              65005           13-13249    FOX & HOUND RESTAURANT GROUP                                   BROCK DAVIS             BIRCH COMMUNICATIONS
          1228   NO COPY              65006           13-13249    FOX & HOUND RESTAURANT GROUP                                   BROCK DAVIS             BIRCH COMMUNICATIONS
          1229   NO COPY              65007           13-13249    FOX & HOUND RESTAURANT GROUP                                   BROCK DAVIS             BIRCH COMMUNICATIONS
          1230   NO COPY              65009           13-13249    FOX & HOUND RESTAURANT GROUP                                   BROCK DAVIS             BIRCH COMMUNICATIONS
          1231   NO COPY              65010           13-13249    FOX & HOUND RESTAURANT GROUP                                   BROCK DAVIS             BIRCH COMMUNICATIONS
          1232   NO COPY              65013           13-13249    FOX & HOUND RESTAURANT GROUP                                   BROCK DAVIS             BIRCH COMMUNICATIONS
          1233   NO COPY              65014           13-13249    FOX & HOUND RESTAURANT GROUP                                   BROCK DAVIS             BIRCH COMMUNICATIONS
          1234   NO COPY              65015           13-13249    FOX & HOUND RESTAURANT GROUP                                   BROCK DAVIS             BIRCH COMMUNICATIONS
          1235   NO COPY              65016           13-13249    FOX & HOUND RESTAURANT GROUP                                   BROCK DAVIS             BIRCH COMMUNICATIONS
          1236   NO COPY              65018           13-13249    FOX & HOUND RESTAURANT GROUP                                   BROCK DAVIS             BIRCH COMMUNICATIONS
          1237   NO COPY              65022           13-13249    FOX & HOUND RESTAURANT GROUP                                   BROCK DAVIS             BIRCH COMMUNICATIONS
          1238   NO COPY              65023           13-13249    FOX & HOUND RESTAURANT GROUP                                   BROCK DAVIS             BIRCH COMMUNICATIONS
          1239   NO COPY              65025           13-13249    FOX & HOUND RESTAURANT GROUP                                   BROCK DAVIS             BIRCH COMMUNICATIONS
          1240   NO COPY              65027           13-13249    FOX & HOUND RESTAURANT GROUP                                   BROCK DAVIS             BIRCH COMMUNICATIONS
          1241   NO COPY              65028           13-13249    FOX & HOUND RESTAURANT GROUP                                   BROCK DAVIS             BIRCH COMMUNICATIONS
          1242   NO COPY              65029           13-13249    FOX & HOUND RESTAURANT GROUP                                   BROCK DAVIS             BIRCH COMMUNICATIONS
          1243   NO COPY              65030           13-13249    FOX & HOUND RESTAURANT GROUP                                   BROCK DAVIS             BIRCH COMMUNICATIONS
          1244   NO COPY              65031           13-13249    FOX & HOUND RESTAURANT GROUP                                   BROCK DAVIS             BIRCH COMMUNICATIONS
          1245   NO COPY              65032           13-13249    FOX & HOUND RESTAURANT GROUP                                   BROCK DAVIS             BIRCH COMMUNICATIONS
          1246   NO COPY              65033           13-13249    FOX & HOUND RESTAURANT GROUP                                   BROCK DAVIS             BIRCH COMMUNICATIONS
          1247   NO COPY              65034           13-13249    FOX & HOUND RESTAURANT GROUP                                   BROCK DAVIS             BIRCH COMMUNICATIONS
          1248   NO COPY              65035           13-13249    FOX & HOUND RESTAURANT GROUP                                   BROCK DAVIS             BIRCH COMMUNICATIONS
          1249   NO COPY              65038           13-13249    FOX & HOUND RESTAURANT GROUP                                   BROCK DAVIS             BIRCH COMMUNICATIONS
          1250   NO COPY              65039           13-13249    FOX & HOUND RESTAURANT GROUP                                   BROCK DAVIS             BIRCH COMMUNICATIONS
          1251   NO COPY              65041           13-13249    FOX & HOUND RESTAURANT GROUP                                   BROCK DAVIS             BIRCH COMMUNICATIONS
          1252   NO COPY              65042           13-13249    FOX & HOUND RESTAURANT GROUP                                   BROCK DAVIS             BIRCH COMMUNICATIONS
          1253   NO COPY              65043           13-13249    FOX & HOUND RESTAURANT GROUP                                   BROCK DAVIS             BIRCH COMMUNICATIONS
          1254   NO COPY              65047           13-13249    FOX & HOUND RESTAURANT GROUP                                   BROCK DAVIS             BIRCH COMMUNICATIONS
          1255   NO COPY              65049           13-13249    FOX & HOUND RESTAURANT GROUP                                   BROCK DAVIS             BIRCH COMMUNICATIONS
          1256   NO COPY              65051           13-13249    FOX & HOUND RESTAURANT GROUP                                   BROCK DAVIS             BIRCH COMMUNICATIONS
          1257   NO COPY              65055           13-13249    FOX & HOUND RESTAURANT GROUP                                   BROCK DAVIS             BIRCH COMMUNICATIONS
          1258   NO COPY              65056           13-13249    FOX & HOUND RESTAURANT GROUP                                   BROCK DAVIS             BIRCH COMMUNICATIONS
          1259   NO COPY              65057           13-13249    FOX & HOUND RESTAURANT GROUP                                   BROCK DAVIS             BIRCH COMMUNICATIONS
          1260   NO COPY              65059           13-13249    FOX & HOUND RESTAURANT GROUP                                   BROCK DAVIS             BIRCH COMMUNICATIONS
          1261   NO COPY              65060           13-13249    FOX & HOUND RESTAURANT GROUP                                   BROCK DAVIS             BIRCH COMMUNICATIONS
          1262   NO COPY              65062           13-13249    FOX & HOUND RESTAURANT GROUP                                   BROCK DAVIS             BIRCH COMMUNICATIONS
          1263   NO COPY              65063           13-13249    FOX & HOUND RESTAURANT GROUP                                   BROCK DAVIS             BIRCH COMMUNICATIONS
          1264   NO COPY              65067           13-13249    FOX & HOUND RESTAURANT GROUP                                   BROCK DAVIS             BIRCH COMMUNICATIONS
          1265   NO COPY              65069           13-13249    FOX & HOUND RESTAURANT GROUP                                   BROCK DAVIS             BIRCH COMMUNICATIONS
          1266   NO COPY              65071           13-13249    FOX & HOUND RESTAURANT GROUP                                   BROCK DAVIS             BIRCH COMMUNICATIONS



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     ID                         Type of Contract                             Description of Contract                     Assume             Reject   Cure Amount   Contract No Date of ContractTermination Date
                                                                                                                                                                                                11/16/14 YR TO
          1222 SERVICE AGREEMENT                   UTILITY BILLING SERVICE                                                                                                         11/16/2005
                                                                                                                                                                                                            YR
                                                                                                                                                                                                 M2M - 30 DAY
          1223 TERMINAL SECURITY AGREEMENT         SOFTWARE                                                                                                        ALL STORES       10/4/2010
                                                                                                                                                                                                          OUT
          1224   PHONE SERVICE AGREEMENT                                                                                                                           65002            7/19/2013      6/19/2015
          1225   PHONE SERVICE AGREEMENT                                                                                                                           65003            7/19/2013      6/19/2015
          1226   PHONE SERVICE AGREEMENT                                                                                                                           65004            7/19/2013      6/19/2015
          1227   PHONE SERVICE AGREEMENT                                                                                                                           65005            7/19/2013      6/19/2015
          1228   PHONE SERVICE AGREEMENT                                                                                                                           65006            7/19/2013      6/19/2015
          1229   PHONE SERVICE AGREEMENT                                                                                                                           65007            7/19/2013      6/19/2015
          1230   PHONE SERVICE AGREEMENT                                                                                                                           65009            7/19/2013      6/19/2015
          1231   PHONE SERVICE AGREEMENT                                                                                                                           65010            7/19/2013      6/19/2015
          1232   PHONE SERVICE AGREEMENT                                                                                                                           65013            7/19/2013      6/19/2015
          1233   PHONE SERVICE AGREEMENT                                                                                                                           65014            7/19/2013      6/19/2015
          1234   PHONE SERVICE AGREEMENT                                                                                                                           65015            7/19/2013      6/19/2015
          1235   PHONE SERVICE AGREEMENT                                                                                                                           65016            7/19/2013      6/19/2015
          1236   PHONE SERVICE AGREEMENT                                                                                                                           65018            7/19/2013      6/19/2015
          1237   PHONE SERVICE AGREEMENT                                                                                                                           65022            7/19/2013      6/19/2015
          1238   PHONE SERVICE AGREEMENT                                                                                                                           65023            7/19/2013      6/19/2015
          1239   PHONE SERVICE AGREEMENT                                                                                                                           65025            7/19/2013      6/19/2015
          1240   PHONE SERVICE AGREEMENT                                                                                                                           65027            7/19/2013      6/19/2015
          1241   PHONE SERVICE AGREEMENT                                                                                                                           65028            7/19/2013      6/19/2015
          1242   PHONE SERVICE AGREEMENT                                                                                                                           65029            7/19/2013      6/19/2015
          1243   PHONE SERVICE AGREEMENT                                                                                                                           65030            7/19/2013      6/19/2015
          1244   PHONE SERVICE AGREEMENT                                                                                                                           65031            7/19/2013      6/19/2015
          1245   PHONE SERVICE AGREEMENT                                                                                                                           65032            7/19/2013      6/19/2015
          1246   PHONE SERVICE AGREEMENT                                                                                                                           65033            7/19/2013      6/19/2015
          1247   PHONE SERVICE AGREEMENT                                                                                                                           65034            7/19/2013      6/19/2015
          1248   PHONE SERVICE AGREEMENT                                                                                                                           65035            7/19/2013      6/19/2015
          1249   PHONE SERVICE AGREEMENT                                                                                                                           65038            7/19/2013      6/19/2015
          1250   PHONE SERVICE AGREEMENT                                                                                                                           65039            7/19/2013      6/19/2015
          1251   PHONE SERVICE AGREEMENT                                                                                                                           65041            7/19/2013      6/19/2015
          1252   PHONE SERVICE AGREEMENT                                                                                                                           65042            7/19/2013      6/19/2015
          1253   PHONE SERVICE AGREEMENT                                                                                                                           65043            7/19/2013      6/19/2015
          1254   PHONE SERVICE AGREEMENT                                                                                                                           65047            7/19/2013      6/19/2015
          1255   PHONE SERVICE AGREEMENT                                                                                                                           65049            7/19/2013      6/19/2015
          1256   PHONE SERVICE AGREEMENT                                                                                                                           65051            7/19/2013      6/19/2015
          1257   PHONE SERVICE AGREEMENT                                                                                                                           65055            7/19/2013      6/19/2015
          1258   PHONE SERVICE AGREEMENT                                                                                                                           65056            7/19/2013      6/19/2015
          1259   PHONE SERVICE AGREEMENT                                                                                                                           65057            7/19/2013      6/19/2015
          1260   PHONE SERVICE AGREEMENT                                                                                                                           65059            7/19/2013      6/19/2015
          1261   PHONE SERVICE AGREEMENT                                                                                                                           65060            7/19/2013      6/19/2015
          1262   PHONE SERVICE AGREEMENT                                                                                                                           65062            7/19/2013      6/19/2015
          1263   PHONE SERVICE AGREEMENT                                                                                                                           65063            7/19/2013      6/19/2015
          1264   PHONE SERVICE AGREEMENT                                                                                                                           65067            7/19/2013      6/19/2015
          1265   PHONE SERVICE AGREEMENT                                                                                                                           65069            7/19/2013      6/19/2015
          1266   PHONE SERVICE AGREEMENT                                                                                                                           65071            7/19/2013      6/19/2015



2455538-1                                                                                                1.1(a) - 128
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     ID          Attention                     Address 1        Address 2        Address 3   Address 4          City         State           Zip   Country   Email   Phone   Fax
                                                           1313 NORTH
          1222               ANDI LARSON                                                                  SPOKANE       WA           99201
                                                           ATLANTIC, 5TH FLOOR

          1223               3925 BROOKSIDE PARKWAY                                                       ALPHARETTA    GA           30022
          1224               P.O. BOX 105066                                                              ATLANTA       GA           30348-5066
          1225               P.O. BOX 105066                                                              ATLANTA       GA           30348-5066
          1226               P.O. BOX 105066                                                              ATLANTA       GA           30348-5066
          1227               P.O. BOX 105066                                                              ATLANTA       GA           30348-5066
          1228               P.O. BOX 105066                                                              ATLANTA       GA           30348-5066
          1229               P.O. BOX 105066                                                              ATLANTA       GA           30348-5066
          1230               P.O. BOX 105066                                                              ATLANTA       GA           30348-5066
          1231               P.O. BOX 105066                                                              ATLANTA       GA           30348-5066
          1232               P.O. BOX 105066                                                              ATLANTA       GA           30348-5066
          1233               P.O. BOX 105066                                                              ATLANTA       GA           30348-5066
          1234               P.O. BOX 105066                                                              ATLANTA       GA           30348-5066
          1235               P.O. BOX 105066                                                              ATLANTA       GA           30348-5066
          1236               P.O. BOX 105066                                                              ATLANTA       GA           30348-5066
          1237               P.O. BOX 105066                                                              ATLANTA       GA           30348-5066
          1238               P.O. BOX 105066                                                              ATLANTA       GA           30348-5066
          1239               P.O. BOX 105066                                                              ATLANTA       GA           30348-5066
          1240               P.O. BOX 105066                                                              ATLANTA       GA           30348-5066
          1241               P.O. BOX 105066                                                              ATLANTA       GA           30348-5066
          1242               P.O. BOX 105066                                                              ATLANTA       GA           30348-5066
          1243               P.O. BOX 105066                                                              ATLANTA       GA           30348-5066
          1244               P.O. BOX 105066                                                              ATLANTA       GA           30348-5066
          1245               P.O. BOX 105066                                                              ATLANTA       GA           30348-5066
          1246               P.O. BOX 105066                                                              ATLANTA       GA           30348-5066
          1247               P.O. BOX 105066                                                              ATLANTA       GA           30348-5066
          1248               P.O. BOX 105066                                                              ATLANTA       GA           30348-5066
          1249               P.O. BOX 105066                                                              ATLANTA       GA           30348-5066
          1250               P.O. BOX 105066                                                              ATLANTA       GA           30348-5066
          1251               P.O. BOX 105066                                                              ATLANTA       GA           30348-5066
          1252               P.O. BOX 105066                                                              ATLANTA       GA           30348-5066
          1253               P.O. BOX 105066                                                              ATLANTA       GA           30348-5066
          1254               P.O. BOX 105066                                                              ATLANTA       GA           30348-5066
          1255               P.O. BOX 105066                                                              ATLANTA       GA           30348-5066
          1256               P.O. BOX 105066                                                              ATLANTA       GA           30348-5066
          1257               P.O. BOX 105066                                                              ATLANTA       GA           30348-5066
          1258               P.O. BOX 105066                                                              ATLANTA       GA           30348-5066
          1259               P.O. BOX 105066                                                              ATLANTA       GA           30348-5066
          1260               P.O. BOX 105066                                                              ATLANTA       GA           30348-5066
          1261               P.O. BOX 105066                                                              ATLANTA       GA           30348-5066
          1262               P.O. BOX 105066                                                              ATLANTA       GA           30348-5066
          1263               P.O. BOX 105066                                                              ATLANTA       GA           30348-5066
          1264               P.O. BOX 105066                                                              ATLANTA       GA           30348-5066
          1265               P.O. BOX 105066                                                              ATLANTA       GA           30348-5066
          1266               P.O. BOX 105066                                                              ATLANTA       GA           30348-5066



2455538-1                                                                                                1.1(a) - 129
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     ID            Epiq Contract No    Store Number        Case                                  Debtor                            Responsible Person                    Contract Counter Party
          1267   NO COPY              65073           13-13249    FOX & HOUND RESTAURANT GROUP                                  BROCK DAVIS             BIRCH COMMUNICATIONS
          1268   NO COPY              65074           13-13249    FOX & HOUND RESTAURANT GROUP                                  BROCK DAVIS             BIRCH COMMUNICATIONS
          1269   NO COPY              65076           13-13249    FOX & HOUND RESTAURANT GROUP                                  BROCK DAVIS             BIRCH COMMUNICATIONS
          1270   NO COPY              65077           13-13249    FOX & HOUND RESTAURANT GROUP                                  BROCK DAVIS             BIRCH COMMUNICATIONS
          1271   NO COPY              65078           13-13249    FOX & HOUND RESTAURANT GROUP                                  BROCK DAVIS             BIRCH COMMUNICATIONS
          1272   NO COPY              65079           13-13249    FOX & HOUND RESTAURANT GROUP                                  BROCK DAVIS             BIRCH COMMUNICATIONS
          1273   NO COPY              65080           13-13249    FOX & HOUND RESTAURANT GROUP                                  BROCK DAVIS             BIRCH COMMUNICATIONS
          1274   NO COPY              65082           13-13249    FOX & HOUND RESTAURANT GROUP                                  BROCK DAVIS             BIRCH COMMUNICATIONS
          1275   NO COPY              65083           13-13249    FOX & HOUND RESTAURANT GROUP                                  BROCK DAVIS             BIRCH COMMUNICATIONS
          1276   NO COPY              65084           13-13249    FOX & HOUND RESTAURANT GROUP                                  BROCK DAVIS             BIRCH COMMUNICATIONS
          1277   NO COPY              65086           13-13249    FOX & HOUND RESTAURANT GROUP                                  BROCK DAVIS             BIRCH COMMUNICATIONS
          1278   NO COPY              65087           13-13249    FOX & HOUND RESTAURANT GROUP                                  BROCK DAVIS             BIRCH COMMUNICATIONS
          1279   NO COPY              65088           13-13249    FOX & HOUND RESTAURANT GROUP                                  BROCK DAVIS             BIRCH COMMUNICATIONS
          1280   NO COPY              65089           13-13249    FOX & HOUND RESTAURANT GROUP                                  BROCK DAVIS             BIRCH COMMUNICATIONS
          1281   NO COPY              65092           13-13249    FOX & HOUND RESTAURANT GROUP                                  BROCK DAVIS             BIRCH COMMUNICATIONS
          1282   NO COPY              65093           13-13249    FOX & HOUND RESTAURANT GROUP                                  BROCK DAVIS             BIRCH COMMUNICATIONS
          1283   NO COPY              65094           13-13249    FOX & HOUND RESTAURANT GROUP                                  BROCK DAVIS             BIRCH COMMUNICATIONS
          1284   NO COPY              65095           13-13249    FOX & HOUND RESTAURANT GROUP                                  BROCK DAVIS             BIRCH COMMUNICATIONS
          1285   NO COPY              65201           13-13249    FOX & HOUND RESTAURANT GROUP                                  BROCK DAVIS             BIRCH COMMUNICATIONS
          1286   NO COPY              65204           13-13249    FOX & HOUND RESTAURANT GROUP                                  BROCK DAVIS             BIRCH COMMUNICATIONS
          1287   NO COPY              65205           13-13249    FOX & HOUND RESTAURANT GROUP                                  BROCK DAVIS             BIRCH COMMUNICATIONS
          1288   NO COPY              65209           13-13249    FOX & HOUND RESTAURANT GROUP                                  BROCK DAVIS             BIRCH COMMUNICATIONS
          1289   NO COPY              65210           13-13249    FOX & HOUND RESTAURANT GROUP                                  BROCK DAVIS             BIRCH COMMUNICATIONS
          1290   NO COPY              65211           13-13249    FOX & HOUND RESTAURANT GROUP                                  BROCK DAVIS             BIRCH COMMUNICATIONS
          1291   NO COPY              65212           13-13249    FOX & HOUND RESTAURANT GROUP                                  BROCK DAVIS             BIRCH COMMUNICATIONS
          1292   NO COPY              65213           13-13249    FOX & HOUND RESTAURANT GROUP                                  BROCK DAVIS             BIRCH COMMUNICATIONS
          1293   NO COPY              65215           13-13249    FOX & HOUND RESTAURANT GROUP                                  BROCK DAVIS             BIRCH COMMUNICATIONS
          1294   NO COPY              65217           13-13249    FOX & HOUND RESTAURANT GROUP                                  BROCK DAVIS             BIRCH COMMUNICATIONS
          1295   NO COPY              65218           13-13249    FOX & HOUND RESTAURANT GROUP                                  BROCK DAVIS             BIRCH COMMUNICATIONS
          1296   NO COPY              65219           13-13249    FOX & HOUND RESTAURANT GROUP                                  BROCK DAVIS             BIRCH COMMUNICATIONS
          1297   NO COPY              65220           13-13249    FOX & HOUND RESTAURANT GROUP                                  BROCK DAVIS             BIRCH COMMUNICATIONS
          1298   NO COPY              65221           13-13249    FOX & HOUND RESTAURANT GROUP                                  BROCK DAVIS             BIRCH COMMUNICATIONS
          1299   NO COPY              65224           13-13249    FOX & HOUND RESTAURANT GROUP                                  BROCK DAVIS             BIRCH COMMUNICATIONS
          1300   NO COPY              65225           13-13249    FOX & HOUND RESTAURANT GROUP                                  BROCK DAVIS             BIRCH COMMUNICATIONS
          1301   NO COPY              65226           13-13249    FOX & HOUND RESTAURANT GROUP                                  BROCK DAVIS             BIRCH COMMUNICATIONS
          1302   NO COPY              65229           13-13249    FOX & HOUND RESTAURANT GROUP                                  BROCK DAVIS             BIRCH COMMUNICATIONS
          1303   NO COPY              65230           13-13249    FOX & HOUND RESTAURANT GROUP                                  BROCK DAVIS             BIRCH COMMUNICATIONS
          1304   NO COPY              65231           13-13249    FOX & HOUND RESTAURANT GROUP                                  BROCK DAVIS             BIRCH COMMUNICATIONS
          1305   NO COPY              65232           13-13249    FOX & HOUND RESTAURANT GROUP                                  BROCK DAVIS             BIRCH COMMUNICATIONS
          1306   NO COPY              65233           13-13249    FOX & HOUND RESTAURANT GROUP                                  BROCK DAVIS             BIRCH COMMUNICATIONS
          1307   NO COPY              65234           13-13249    FOX & HOUND RESTAURANT GROUP                                  BROCK DAVIS             BIRCH COMMUNICATIONS
          1308   NO COPY              65235           13-13249    FOX & HOUND RESTAURANT GROUP                                  BROCK DAVIS             BIRCH COMMUNICATIONS
          1309   NO COPY              65237           13-13249    FOX & HOUND RESTAURANT GROUP                                  BROCK DAVIS             BIRCH COMMUNICATIONS
          1310   NO COPY              65240           13-13249    FOX & HOUND RESTAURANT GROUP                                  BROCK DAVIS             BIRCH COMMUNICATIONS
          1311   NO COPY              65241           13-13249    FOX & HOUND RESTAURANT GROUP                                  BROCK DAVIS             BIRCH COMMUNICATIONS
          1312   NO COPY              65242           13-13249    FOX & HOUND RESTAURANT GROUP                                  BROCK DAVIS             BIRCH COMMUNICATIONS
          1313   NO COPY              65243           13-13249    FOX & HOUND RESTAURANT GROUP                                  BROCK DAVIS             BIRCH COMMUNICATIONS
          1314   NO COPY              65245           13-13249    FOX & HOUND RESTAURANT GROUP                                  BROCK DAVIS             BIRCH COMMUNICATIONS



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                                                    Case 13-13220-KG            Doc 506-1     Filed 03/17/14    Page 275 of 362


     ID                          Type of Contract          Description of Contract                     Assume             Reject   Cure Amount   Contract No Date of ContractTermination Date
          1267   PHONE SERVICE AGREEMENT                                                                                                         65073            7/19/2013       6/19/2015
          1268   PHONE SERVICE AGREEMENT                                                                                                         65074            7/19/2013       6/19/2015
          1269   PHONE SERVICE AGREEMENT                                                                                                         65076            7/19/2013       6/19/2015
          1270   PHONE SERVICE AGREEMENT                                                                                                         65077            7/19/2013       6/19/2015
          1271   PHONE SERVICE AGREEMENT                                                                                                         65078            7/19/2013       6/19/2015
          1272   PHONE SERVICE AGREEMENT                                                                                                         65079            7/19/2013       6/19/2015
          1273   PHONE SERVICE AGREEMENT                                                                                                         65080            7/19/2013       6/19/2015
          1274   PHONE SERVICE AGREEMENT                                                                                                         65082            7/19/2013       6/19/2015
          1275   PHONE SERVICE AGREEMENT                                                                                                         65083            7/19/2013       6/19/2015
          1276   PHONE SERVICE AGREEMENT                                                                                                         65084            7/19/2013       6/19/2015
          1277   PHONE SERVICE AGREEMENT                                                                                                         65086            7/19/2013       6/19/2015
          1278   PHONE SERVICE AGREEMENT                                                                                                         65087            7/19/2013       6/19/2015
          1279   PHONE SERVICE AGREEMENT                                                                                                         65088            7/19/2013       6/19/2015
          1280   PHONE SERVICE AGREEMENT                                                                                                         65089            7/19/2013       6/19/2015
          1281   PHONE SERVICE AGREEMENT                                                                                                         65092            7/19/2013       6/19/2015
          1282   PHONE SERVICE AGREEMENT                                                                                                         65093            7/19/2013       6/19/2015
          1283   PHONE SERVICE AGREEMENT                                                                                                         65094            7/19/2013       6/19/2015
          1284   PHONE SERVICE AGREEMENT                                                                                                         65095            7/19/2013       6/19/2015
          1285   PHONE SERVICE AGREEMENT                                                                                                         65201            7/19/2013       6/19/2015
          1286   PHONE SERVICE AGREEMENT                                                                                                         65204            7/19/2013       6/19/2015
          1287   PHONE SERVICE AGREEMENT                                                                                                         65205            7/19/2013       6/19/2015
          1288   PHONE SERVICE AGREEMENT                                                                                                         65209            7/19/2013       6/19/2015
          1289   PHONE SERVICE AGREEMENT                                                                                                         65210            7/19/2013       6/19/2015
          1290   PHONE SERVICE AGREEMENT                                                                                                         65211            7/19/2013       6/19/2015
          1291   PHONE SERVICE AGREEMENT                                                                                                         65212            7/19/2013       6/19/2015
          1292   PHONE SERVICE AGREEMENT                                                                                                         65213            7/19/2013       6/19/2015
          1293   PHONE SERVICE AGREEMENT                                                                                                         65215            7/19/2013       6/19/2015
          1294   PHONE SERVICE AGREEMENT                                                                                                         65217            7/19/2013       6/19/2015
          1295   PHONE SERVICE AGREEMENT                                                                                                         65218            7/19/2013       6/19/2015
          1296   PHONE SERVICE AGREEMENT                                                                                                         65219            7/19/2013       6/19/2015
          1297   PHONE SERVICE AGREEMENT                                                                                                         65220            7/19/2013       6/19/2015
          1298   PHONE SERVICE AGREEMENT                                                                                                         65221            7/19/2013       6/19/2015
          1299   PHONE SERVICE AGREEMENT                                                                                                         65224            7/19/2013       6/19/2015
          1300   PHONE SERVICE AGREEMENT                                                                                                         65225            7/19/2013       6/19/2015
          1301   PHONE SERVICE AGREEMENT                                                                                                         65226            7/19/2013       6/19/2015
          1302   PHONE SERVICE AGREEMENT                                                                                                         65229            7/19/2013       6/19/2015
          1303   PHONE SERVICE AGREEMENT                                                                                                         65230            7/19/2013       6/19/2015
          1304   PHONE SERVICE AGREEMENT                                                                                                         65231            7/19/2013       6/19/2015
          1305   PHONE SERVICE AGREEMENT                                                                                                         65232            7/19/2013        6/19/2015
          1306   PHONE SERVICE AGREEMENT                                                                                                         65233            7/19/2013        6/19/2015
          1307   PHONE SERVICE AGREEMENT                                                                                                         65234            7/19/2013        6/19/2015
          1308   PHONE SERVICE AGREEMENT                                                                                                         65235            7/19/2013        6/19/2015
          1309   PHONE SERVICE AGREEMENT                                                                                                         65237            7/19/2013        6/19/2015
          1310   PHONE SERVICE AGREEMENT                                                                                                         65240            7/19/2013        6/19/2015
          1311   PHONE SERVICE AGREEMENT                                                                                                         65241            7/19/2013        6/19/2015
          1312   PHONE SERVICE AGREEMENT                                                                                                         65242            7/19/2013        6/19/2015
          1313   PHONE SERVICE AGREEMENT                                                                                                         65243            7/19/2013        6/19/2015
          1314   PHONE SERVICE AGREEMENT                                                                                                         65245            7/19/2013        6/19/2015



2455538-1                                                                              1.1(a) - 131
                                                           Case 13-13220-KG        Doc 506-1          Filed 03/17/14       Page 276 of 362


     ID          Attention                     Address 1   Address 2   Address 3   Address 4         City          State         Zip    Country   Email   Phone   Fax
          1267               P.O. BOX 105066                                                    ATLANTA       GA           30348-5066
          1268               P.O. BOX 105066                                                    ATLANTA       GA           30348-5066
          1269               P.O. BOX 105066                                                    ATLANTA       GA           30348-5066
          1270               P.O. BOX 105066                                                    ATLANTA       GA           30348-5066
          1271               P.O. BOX 105066                                                    ATLANTA       GA           30348-5066
          1272               P.O. BOX 105066                                                    ATLANTA       GA           30348-5066
          1273               P.O. BOX 105066                                                    ATLANTA       GA           30348-5066
          1274               P.O. BOX 105066                                                    ATLANTA       GA           30348-5066
          1275               P.O. BOX 105066                                                    ATLANTA       GA           30348-5066
          1276               P.O. BOX 105066                                                    ATLANTA       GA           30348-5066
          1277               P.O. BOX 105066                                                    ATLANTA       GA           30348-5066
          1278               P.O. BOX 105066                                                    ATLANTA       GA           30348-5066
          1279               P.O. BOX 105066                                                    ATLANTA       GA           30348-5066
          1280               P.O. BOX 105066                                                    ATLANTA       GA           30348-5066
          1281               P.O. BOX 105066                                                    ATLANTA       GA           30348-5066
          1282               P.O. BOX 105066                                                    ATLANTA       GA           30348-5066
          1283               P.O. BOX 105066                                                    ATLANTA       GA           30348-5066
          1284               P.O. BOX 105066                                                    ATLANTA       GA           30348-5066
          1285               P.O. BOX 105066                                                    ATLANTA       GA           30348-5066
          1286               P.O. BOX 105066                                                    ATLANTA       GA           30348-5066
          1287               P.O. BOX 105066                                                    ATLANTA       GA           30348-5066
          1288               P.O. BOX 105066                                                    ATLANTA       GA           30348-5066
          1289               P.O. BOX 105066                                                    ATLANTA       GA           30348-5066
          1290               P.O. BOX 105066                                                    ATLANTA       GA           30348-5066
          1291               P.O. BOX 105066                                                    ATLANTA       GA           30348-5066
          1292               P.O. BOX 105066                                                    ATLANTA       GA           30348-5066
          1293               P.O. BOX 105066                                                    ATLANTA       GA           30348-5066
          1294               P.O. BOX 105066                                                    ATLANTA       GA           30348-5066
          1295               P.O. BOX 105066                                                    ATLANTA       GA           30348-5066
          1296               P.O. BOX 105066                                                    ATLANTA       GA           30348-5066
          1297               P.O. BOX 105066                                                    ATLANTA       GA           30348-5066
          1298               P.O. BOX 105066                                                    ATLANTA       GA           30348-5066
          1299               P.O. BOX 105066                                                    ATLANTA       GA           30348-5066
          1300               P.O. BOX 105066                                                    ATLANTA       GA           30348-5066
          1301               P.O. BOX 105066                                                    ATLANTA       GA           30348-5066
          1302               P.O. BOX 105066                                                    ATLANTA       GA           30348-5066
          1303               P.O. BOX 105066                                                    ATLANTA       GA           30348-5066
          1304               P.O. BOX 105066                                                    ATLANTA       GA           30348-5066
          1305               P.O. BOX 105066                                                    ATLANTA       GA           30348-5066
          1306               P.O. BOX 105066                                                    ATLANTA       GA           30348-5066
          1307               P.O. BOX 105066                                                    ATLANTA       GA           30348-5066
          1308               P.O. BOX 105066                                                    ATLANTA       GA           30348-5066
          1309               P.O. BOX 105066                                                    ATLANTA       GA           30348-5066
          1310               P.O. BOX 105066                                                    ATLANTA       GA           30348-5066
          1311               P.O. BOX 105066                                                    ATLANTA       GA           30348-5066
          1312               P.O. BOX 105066                                                    ATLANTA       GA           30348-5066
          1313               P.O. BOX 105066                                                    ATLANTA       GA           30348-5066
          1314               P.O. BOX 105066                                                    ATLANTA       GA           30348-5066



2455538-1                                                                                      1.1(a) - 132
                                                                              Case 13-13220-KG                   Doc 506-1            Filed 03/17/14           Page 277 of 362


     ID            Epiq Contract No    Store Number        Case                                       Debtor                                        Responsible Person                    Contract Counter Party
          1315   NO COPY              65246           13-13249    FOX & HOUND RESTAURANT GROUP                                                   BROCK DAVIS             BIRCH COMMUNICATIONS
          1316   NO COPY              65250           13-13249    FOX & HOUND RESTAURANT GROUP                                                   BROCK DAVIS             BIRCH COMMUNICATIONS
          1317   NO COPY              65252           13-13249    FOX & HOUND RESTAURANT GROUP                                                   BROCK DAVIS             BIRCH COMMUNICATIONS
          1318   NO COPY              65253           13-13249    FOX & HOUND RESTAURANT GROUP                                                   BROCK DAVIS             BIRCH COMMUNICATIONS
          1319   NO COPY              65254           13-13249    FOX & HOUND RESTAURANT GROUP                                                   BROCK DAVIS             BIRCH COMMUNICATIONS
          1320   NO COPY              65007           13-13250    FOX & HOUND                                                                    BROCK DAVIS             COMCAST
          1321   NO COPY              65002           13-13250    FOX & HOUND                                                                    BROCK DAVIS             AT&T
          1322   NO COPY              65013           13-13250    FOX & HOUND                                                                    BROCK DAVIS             AT&T
          1323   NO COPY              65093           13-13250    FOX & HOUND                                                                    BROCK DAVIS             AT&T
          1324   NO COPY              65047           13-13249    FOX & HOUND RESTAURANT GROUP                                                   BROCK DAVIS             AT&T
          1325   NO COPY              65087           13-13249    FOX & HOUND RESTAURANT GROUP                                                   BROCK DAVIS             AT&T
          1326   NO COPY              65036           13-13250    FOX & HOUND                                                                    BROCK DAVIS             AT&T
          1327   NO COPY              65217           13-13220    F&H ACQUISITION CORP.                                                          BROCK DAVIS             LEVEL3
          1328   NO COPY              65240           13-13220    F&H ACQUISITION CORP.                                                          BROCK DAVIS             LEVEL3
          1329   NO COPY              65030           13-13249    FOX & HOUND RESTAURANT GROUP                                                   BROCK DAVIS             CANNET
          1330 NO COPY                65070           13-13259    BAILEY'S PUB N'GRILLE (for the benefit of TENT RESTAURANT OPERATIONS, INC.)    BROCK DAVIS             AT&T

          1331 NO COPY                65216           13-13227    CHAMPPS                                                                        BROCK DAVIS             AT&T

          1332 NO COPY                65077           13-13259    FOX & HOUND PUB & GRILL (for the benefit of TENT RESTAURANT OPERATIONS, INC.) BROCK DAVIS              TIME WARNER
                                                                  CHAMPPS RESTAURANT & BAR (for the benefit of CHAMPPS OPERATING
          1333 NO COPY                65248           13-13227                                                                                   BROCK DAVIS             TIME WARNER
                                                                  CORPORATION)
          1334   NO COPY              65253           13-13227    CHAMPPS OPERATING CORPORATION                                                  BROCK DAVIS             ENVYSION
          1335   NO COPY              65225           13-13227    CHAMPPS OPERATING CORPORATION                                                  BROCK DAVIS             ENVYSION
          1336   NO COPY              65254           13-13227    CHAMPPS OPERATING CORPORATION                                                  BROCK DAVIS             ENVYSION
          1337   NO COPY              65244           13-13227    CHAMPPS (for the benefit of CHAMPPS OPERATING CORPORATION)                     BROCK DAVIS             CINCINNATI BELL
          1338 NO COPY                65211           13-13227    CHAMPPS AMERICANA (for the benefit of CHAMPPS OPERATING CORPORATION)           BROCK DAVIS             TIME WARNER
          1339 NO COPY                65213           13-13250    FOX & HOUND                                                                    BROCK DAVIS             COMCAST
          1340 NO COPY                CORPORATE       13-13249    FOX & HOUND RESTAURANT GROUP                                                   MARC BUEHLER            HARD ROCK CAFÉ
          1341 NO COPY                CORPORATE       13-13249    FOX & HOUND RESTAURANT GROUP                                                   MARC BUEHLER            HARD ROCK HOTEL & CASINO
          1342   NO COPY              65060           13-13236    FOX & HOUND OF ILLINOIS INC                                                    BROCK DAVIS             COMCAST
          1343   NO COPY              65055           13-13236    FOX & HOUND OF ILLINOIS INC                                                    BROCK DAVIS             COMCAST
          1344   NO COPY              65222           13-13227    CHAMPPS OPERATING CORPORATION                                                  KEVIN O'HARE            ELITE LANDSCAPE GROUP
          1345   NO COPY              65215           13-13227    CHAMPPS OPERATING CORPORATION                                                  KEVIN O'HARE            ELITE LANDSCAPE GROUP
          1346 NO COPY                65041           13-13259    BAILEY'S SPORTS GRILLE (for the benefit of TENT RESTAURANT OPERATIONS, INC.)   BROCK DAVIS             COMCAST
          1347   NO COPY              65241           13-13227    CHAMPPS OPERATING CORPORATION                                                  BROCK DAVIS             COX COMMUNICATIONS
          1348   NO COPY              65075           13-13250    FOX & HOUND                                                                    BROCK DAVIS             COX COMMUNICATIONS
          1349   NO COPY              65032           13-13249    FOX & HOUND RESTAURANT GROUP                                                   BROCK DAVIS             COX COMMUNICATIONS
          1350   NO COPY              65224           13-13250    FOX & HOUND                                                                    BROCK DAVIS             COMCAST
          1351 NO COPY                65225           13-13227    CHAMPPS AMERICANA (for the benefit of CHAMPPS OPERATING CORPORATION)           BROCK DAVIS             COMCAST
          1352 NO COPY                65002           13-13249    FOX & HOUND RESTAURANT GROUP                                                   BROCK DAVIS             SCREENCAST
          1353 NO COPY                65003           13-13249    FOX & HOUND RESTAURANT GROUP                                                   BROCK DAVIS             SCREENCAST
          1354 NO COPY                65004           13-13249    FOX & HOUND RESTAURANT GROUP                                                   BROCK DAVIS             SCREENCAST



2455538-1                                                                                                                      1.1(a) - 133
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     ID                           Type of Contract                              Description of Contract                     Assume             Reject   Cure Amount   Contract No Date of ContractTermination Date
          1315   PHONE SERVICE AGREEMENT                                                                                                                              65246            7/19/2013       6/19/2015
          1316   PHONE SERVICE AGREEMENT                                                                                                                              65250            7/19/2013       6/19/2015
          1317   PHONE SERVICE AGREEMENT                                                                                                                              65252            7/19/2013       6/19/2015
          1318   PHONE SERVICE AGREEMENT                                                                                                                              65253            7/19/2013       6/19/2015
          1319   PHONE SERVICE AGREEMENT                                                                                                                              65254            7/19/2013       6/19/2015
          1320   CABLE AND INTERNET AGREEMENT        TV AND INTERNET W/CABLE MODEM                                                                                    65007            9/24/2013       9/24/2015
          1321   ADSL AGREEMENT                      INTERNET W/DSL MODEM                                                                                             65002            9/10/2013       9/10/2014
          1322   ADSL AGREEMENT                      INTERNET W/DSL MODEM                                                                                             65013              9/7/2011       9/7/2014
          1323   INTERNET SERVICES AGREEMENT         INTERNET W/DSL MODEM                                                                                             65093              4/1/2013       4/1/2014
          1324   INTERNET SERVICES AGREEMENT         INTERNET W/DSL MODEM                                                                                             65047              7/1/2011       7/1/2014
          1325   INTERNET SERVICES AGREEMENT         INTERNET W/DSL MODEM                                                                                             65087              8/1/2012       8/1/2015
          1326   PHONE SERVICE AGREEMENT                                                                                                                              65036            8/11/2013       8/11/2014
          1327   INTERNET SERVICES AGREEMENT         INTERNET T1 W/CISCO1700                                                                                          65217                            2/14/2015
          1328   INTERNET SERVICES AGREEMENT         INTERNET T1 W/CISCO1700                                                                                          65240                            3/11/2015
          1329   INTERNET SERVICES AGREEMENT         FIXED WIRELESS INTERNET W/CISCO AIRONET                                                                          65030            1/21/2013       1/21/2015
          1330 PHONE SERVICE AGREEMENT                                                                                                                                65070             8/27/2013      8/27/2014

          1331 PHONE SERVICE AGREEMENT                                                                                                                                65216              4/9/2013       4/9/2014

          1332 CABLE AND INTERNET AGREEMENT          TV AND INTERNET W/CABLE MODEM                                                                                    65077             8/12/2013      8/12/2014

          1333 CABLE AND INTERNET AGREEMENT          TV AND INTERNET W/CABLE MODEM                                                                                    65248             4/23/2012      4/23/2014
          1334   VIDEO RECORDING AGREEMENT           VIDEO RECORDER AND CAMERAS                                                                                       65253             5/11/2011
          1335   VIDEO RECORDING AGREEMENT           VIDEO RECORDER AND CAMERAS                                                                                       65225             5/11/2011
          1336   VIDEO RECORDING AGREEMENT           VIDEO RECORDER AND CAMERAS                                                                                       65254             5/11/2011
          1337   PHONE SERVICE AGREEMENT                                                                                                                              65244              6/9/2013       6/9/2014
          1338 INTERNET SERVICES AGREEMENT           INTERNET W/CABLE MODEM                                                                                           65211           11/29/2011      11/29/2014
          1339 CABLE AND INTERNET AGREEMENT          TV AND INTERNET W/CABLE MODEM                                                                                    65213             8/30/2013      8/30/2015
          1340 BANQUET EVENT                         AWARDS DINNER FOR GM CONFERENCE
          1341 GROUP SALES AGREEMENT                 HOTEL/MEETING SPACE FOR GM CONFERENCE
          1342   CABLE AND INTERNET AGREEMENT        TV AND INTERNET W/CABLE MODEM                                                                                    65060             6/20/2013      6/20/2016
          1343   CABLE AND INTERNET AGREEMENT        TV AND INTERNET W/CABLE MODEM                                                                                    65055             6/20/2013      6/20/2016
          1344   SNOW REMOVAL AGREEMENT                                                                                                                               65222              1/1/2014      4/30/2014
          1345   SNOW REMOVAL AGREEMENT                                                                                                                               65215              1/1/2014      4/30/2014
          1346 CABLE AND INTERNET AGREEMENT          TV AND INTERNET W/CABLE MODEM                                                                                    65041             8/22/2013      8/22/2015
          1347   INTERNET SERVICES AGREEMENT         INTERNET W/CABLE MODEM                                                                                           65241             6/24/2013      6/24/2014
          1348   PHONE, CABLE, INTERNET              PHONE, TV, AND INTERNET W/CABLE MODEM                                                                            65075             2/28/2013      2/28/2016
          1349   CABLE AND INTERNET AGREEMENT        TV AND INTERNET W/CABLE MODEM                                                                                    65032              8/1/2013       8/1/2014
          1350   CABLE AND INTERNET AGREEMENT        TV AND INTERNET W/CABLE MODEM                                                                                    65224             9/27/2013      9/27/2015
          1351 INTERNET SERVICES AGREEMENT           INTERNET W/CABLE MODEM                                                                                           65225             2/25/2009      2/25/2014
          1352 VIDEO STREAMING SERVICE               VIDEO PLAYING PC                                                                                                 65002           10/17/2011      10/17/2014
          1353 VIDEO STREAMING SERVICE               VIDEO PLAYING PC                                                                                                 65003           10/17/2011      10/17/2014
          1354 VIDEO STREAMING SERVICE               VIDEO PLAYING PC                                                                                                 65004           10/17/2011      10/17/2014



2455538-1                                                                                                   1.1(a) - 134
                                                           Case 13-13220-KG        Doc 506-1          Filed 03/17/14       Page 279 of 362


     ID           Attention                   Address 1    Address 2   Address 3   Address 4         City          State         Zip    Country   Email   Phone   Fax
          1315                P.O. BOX 105066                                                   ATLANTA       GA           30348-5066
          1316                P.O. BOX 105066                                                   ATLANTA       GA           30348-5066
          1317                P.O. BOX 105066                                                   ATLANTA       GA           30348-5066
          1318                P.O. BOX 105066                                                   ATLANTA       GA           30348-5066
          1319                P.O. BOX 105066                                                   ATLANTA       GA           30348-5066
          1320                P.O. BOX 105184                                                   ATLANTA       GA           30348-5184
          1321                P.O. BOX 105262                                                   ATLANTA       GA           30348-5262
          1322                P.O. BOX 105262                                                   ATLANTA       GA           30348-5262
          1323                P.O. BOX 105262                                                   ATLANTA       GA           30348-5262
          1324                P.O. BOX 105262                                                   ATLANTA       GA           30348-5262
          1325                P.O. BOX 105262                                                   ATLANTA       GA           30348-5262
          1326                P.O. BOX 105414                                                   ATLANTA       GA           30348-5414
          1327                1025 ELDORADO BLVD                                                BROOMFIELD    CO           80021
          1328                1025 ELDORADO BLVD                                                BROOMFIELD    CO           80021
          1329                P.O. BOX 36696                                                    CANTON        OH           44735-6696
          1330                P.O. BOX 5080                                                     CAROL STREAM IL            60197-5080

          1331                P.O. BOX 5080                                                     CAROL STREAM IL            60197-5080

          1332                P.O. BOX 77159                                                    CHARLOTTE     NC           28271-7169

          1333                P.O. BOX 77169                                                    CHARLOTTE     NC           28271-7169
          1334                REMITTANCE DRIVE STE 6207                                         CHICAGO       IL           60675-6207
          1335                REMITTANCE DRIVE STE 6207                                         CHICAGO       IL           60675-6207
          1336                REMITTANCE DRIVE STE 6207                                         CHICAGO       IL           60675-6207
          1337                P.O. BOX 748003                                                   CINCINNATI    OH           45274-8003
          1338                1600 DUBLIN ROAD                                                  COLUMBUS      OH           43215
          1339 CHADD WOOD     6565 NOVA DRIVE                                                   DAVIE         FL           33317-7423
          1340 LEAH TRASK     3771 LAS VEGAS BLVD SOUTH                                         LAS VEGAS     NV           89109
               MICHAEL
          1341                4455 PARADISE ROAD                                                LAS VEGAS     NV           89169
               PUNCHIOS
          1342 JIM KOWALSKI   2508 W. ROUTE 120                                                 MCHENRY       IL           60051-4712
          1343 JIM KOWALSKI   2508 W. ROUTE 120                                                 MCHENRY       IL           60051-4712
          1344                P.O. BOX 3936                                                     NAPERVILLE    IL           60567
          1345                P.O. BOX 3936                                                     NAPERVILLE    IL           60567
          1346 CHADD WOOD     P.O. BOX 140400                                                   NASHVILLE     TN           37214-0400
          1347                P.O. BOX 1259                                                     OAKS          PA           19456
          1348                P.O. BOX 1259                                                     OAKS          PA           19456
          1349                P.O. BOX 1259                                                     OAKS          PA           19456
          1350                41112 CONCEPT DRIVE                                               PLYMOUTH      MI           48170-4253
          1351                9602 S 300 W. STE B                                               SANDY         UT           84070-3302
          1352                3411 THORNDYKE AVENUE WEST                                        SEATTLE       WA           98119
          1353                3411 THORNDYKE AVENUE WEST                                        SEATTLE       WA           98119
          1354                3411 THORNDYKE AVENUE WEST                                        SEATTLE       WA           98119



2455538-1                                                                                      1.1(a) - 135
                                                                            Case 13-13220-KG              Doc 506-1     Filed 03/17/14      Page 280 of 362


     ID            Epiq Contract No    Store Number        Case                                  Debtor                            Responsible Person                Contract Counter Party
          1355   NO COPY              65005           13-13249    FOX & HOUND RESTAURANT GROUP                                  BROCK DAVIS             SCREENCAST
          1356   NO COPY              65006           13-13249    FOX & HOUND RESTAURANT GROUP                                  BROCK DAVIS             SCREENCAST
          1357   NO COPY              65007           13-13249    FOX & HOUND RESTAURANT GROUP                                  BROCK DAVIS             SCREENCAST
          1358   NO COPY              65008           13-13249    FOX & HOUND RESTAURANT GROUP                                  BROCK DAVIS             SCREENCAST
          1359   NO COPY              65009           13-13249    FOX & HOUND RESTAURANT GROUP                                  BROCK DAVIS             SCREENCAST
          1360   NO COPY              65010           13-13249    FOX & HOUND RESTAURANT GROUP                                  BROCK DAVIS             SCREENCAST
          1361   NO COPY              65013           13-13249    FOX & HOUND RESTAURANT GROUP                                  BROCK DAVIS             SCREENCAST
          1362   NO COPY              65014           13-13249    FOX & HOUND RESTAURANT GROUP                                  BROCK DAVIS             SCREENCAST
          1363   NO COPY              65015           13-13249    FOX & HOUND RESTAURANT GROUP                                  BROCK DAVIS             SCREENCAST
          1364   NO COPY              65016           13-13249    FOX & HOUND RESTAURANT GROUP                                  BROCK DAVIS             SCREENCAST
          1365   NO COPY              65018           13-13249    FOX & HOUND RESTAURANT GROUP                                  BROCK DAVIS             SCREENCAST
          1366   NO COPY              65022           13-13249    FOX & HOUND RESTAURANT GROUP                                  BROCK DAVIS             SCREENCAST
          1367   NO COPY              65023           13-13249    FOX & HOUND RESTAURANT GROUP                                  BROCK DAVIS             SCREENCAST
          1368   NO COPY              65025           13-13249    FOX & HOUND RESTAURANT GROUP                                  BROCK DAVIS             SCREENCAST
          1369   NO COPY              65027           13-13249    FOX & HOUND RESTAURANT GROUP                                  BROCK DAVIS             SCREENCAST
          1370   NO COPY              65028           13-13249    FOX & HOUND RESTAURANT GROUP                                  BROCK DAVIS             SCREENCAST
          1371   NO COPY              65029           13-13249    FOX & HOUND RESTAURANT GROUP                                  BROCK DAVIS             SCREENCAST
          1372   NO COPY              65030           13-13249    FOX & HOUND RESTAURANT GROUP                                  BROCK DAVIS             SCREENCAST
          1373   NO COPY              65031           13-13249    FOX & HOUND RESTAURANT GROUP                                  BROCK DAVIS             SCREENCAST
          1374   NO COPY              65032           13-13249    FOX & HOUND RESTAURANT GROUP                                  BROCK DAVIS             SCREENCAST
          1375   NO COPY              65033           13-13249    FOX & HOUND RESTAURANT GROUP                                  BROCK DAVIS             SCREENCAST
          1376   NO COPY              65034           13-13249    FOX & HOUND RESTAURANT GROUP                                  BROCK DAVIS             SCREENCAST
          1377   NO COPY              65035           13-13249    FOX & HOUND RESTAURANT GROUP                                  BROCK DAVIS             SCREENCAST
          1378   NO COPY              65036           13-13249    FOX & HOUND RESTAURANT GROUP                                  BROCK DAVIS             SCREENCAST
          1379   NO COPY              65038           13-13249    FOX & HOUND RESTAURANT GROUP                                  BROCK DAVIS             SCREENCAST
          1380   NO COPY              65039           13-13249    FOX & HOUND RESTAURANT GROUP                                  BROCK DAVIS             SCREENCAST
          1381   NO COPY              65041           13-13249    FOX & HOUND RESTAURANT GROUP                                  BROCK DAVIS             SCREENCAST
          1382   NO COPY              65042           13-13249    FOX & HOUND RESTAURANT GROUP                                  BROCK DAVIS             SCREENCAST
          1383   NO COPY              65043           13-13249    FOX & HOUND RESTAURANT GROUP                                  BROCK DAVIS             SCREENCAST
          1384   NO COPY              65047           13-13249    FOX & HOUND RESTAURANT GROUP                                  BROCK DAVIS             SCREENCAST
          1385   NO COPY              65049           13-13249    FOX & HOUND RESTAURANT GROUP                                  BROCK DAVIS             SCREENCAST
          1386   NO COPY              65051           13-13249    FOX & HOUND RESTAURANT GROUP                                  BROCK DAVIS             SCREENCAST
          1387   NO COPY              65052           13-13249    FOX & HOUND RESTAURANT GROUP                                  BROCK DAVIS             SCREENCAST
          1388   NO COPY              65055           13-13249    FOX & HOUND RESTAURANT GROUP                                  BROCK DAVIS             SCREENCAST
          1389   NO COPY              65056           13-13249    FOX & HOUND RESTAURANT GROUP                                  BROCK DAVIS             SCREENCAST
          1390   NO COPY              65057           13-13249    FOX & HOUND RESTAURANT GROUP                                  BROCK DAVIS             SCREENCAST
          1391   NO COPY              65059           13-13249    FOX & HOUND RESTAURANT GROUP                                  BROCK DAVIS             SCREENCAST
          1392   NO COPY              65060           13-13249    FOX & HOUND RESTAURANT GROUP                                  BROCK DAVIS             SCREENCAST
          1393   NO COPY              65061           13-13249    FOX & HOUND RESTAURANT GROUP                                  BROCK DAVIS             SCREENCAST
          1394   NO COPY              65062           13-13249    FOX & HOUND RESTAURANT GROUP                                  BROCK DAVIS             SCREENCAST
          1395   NO COPY              65063           13-13249    FOX & HOUND RESTAURANT GROUP                                  BROCK DAVIS             SCREENCAST
          1396   NO COPY              65064           13-13249    FOX & HOUND RESTAURANT GROUP                                  BROCK DAVIS             SCREENCAST
          1397   NO COPY              65066           13-13249    FOX & HOUND RESTAURANT GROUP                                  BROCK DAVIS             SCREENCAST
          1398   NO COPY              65067           13-13249    FOX & HOUND RESTAURANT GROUP                                  BROCK DAVIS             SCREENCAST
          1399   NO COPY              65069           13-13249    FOX & HOUND RESTAURANT GROUP                                  BROCK DAVIS             SCREENCAST
          1400   NO COPY              65070           13-13249    FOX & HOUND RESTAURANT GROUP                                  BROCK DAVIS             SCREENCAST
          1401   NO COPY              65071           13-13249    FOX & HOUND RESTAURANT GROUP                                  BROCK DAVIS             SCREENCAST
          1402   NO COPY              65073           13-13249    FOX & HOUND RESTAURANT GROUP                                  BROCK DAVIS             SCREENCAST



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     ID                          Type of Contract                        Description of Contract                     Assume             Reject   Cure Amount   Contract No Date of ContractTermination Date
          1355   VIDEO STREAMING SERVICE            VIDEO PLAYING PC                                                                                           65005           10/17/2011      10/17/2014
          1356   VIDEO STREAMING SERVICE            VIDEO PLAYING PC                                                                                           65006           10/17/2011      10/17/2014
          1357   VIDEO STREAMING SERVICE            VIDEO PLAYING PC                                                                                           65007           10/17/2011      10/17/2014
          1358   VIDEO STREAMING SERVICE            VIDEO PLAYING PC                                                                                           65008           10/17/2011      10/17/2014
          1359   VIDEO STREAMING SERVICE            VIDEO PLAYING PC                                                                                           65009           10/17/2011      10/17/2014
          1360   VIDEO STREAMING SERVICE            VIDEO PLAYING PC                                                                                           65010           10/17/2011      10/17/2014
          1361   VIDEO STREAMING SERVICE            VIDEO PLAYING PC                                                                                           65013           10/17/2011      10/17/2014
          1362   VIDEO STREAMING SERVICE            VIDEO PLAYING PC                                                                                           65014           10/17/2011      10/17/2014
          1363   VIDEO STREAMING SERVICE            VIDEO PLAYING PC                                                                                           65015           10/17/2011      10/17/2014
          1364   VIDEO STREAMING SERVICE            VIDEO PLAYING PC                                                                                           65016           10/17/2011      10/17/2014
          1365   VIDEO STREAMING SERVICE            VIDEO PLAYING PC                                                                                           65018           10/17/2011      10/17/2014
          1366   VIDEO STREAMING SERVICE            VIDEO PLAYING PC                                                                                           65022           10/17/2011      10/17/2014
          1367   VIDEO STREAMING SERVICE            VIDEO PLAYING PC                                                                                           65023           10/17/2011      10/17/2014
          1368   VIDEO STREAMING SERVICE            VIDEO PLAYING PC                                                                                           65025           10/17/2011      10/17/2014
          1369   VIDEO STREAMING SERVICE            VIDEO PLAYING PC                                                                                           65027           10/17/2011      10/17/2014
          1370   VIDEO STREAMING SERVICE            VIDEO PLAYING PC                                                                                           65028           10/17/2011      10/17/2014
          1371   VIDEO STREAMING SERVICE            VIDEO PLAYING PC                                                                                           65029           10/17/2011      10/17/2014
          1372   VIDEO STREAMING SERVICE            VIDEO PLAYING PC                                                                                           65030           10/17/2011      10/17/2014
          1373   VIDEO STREAMING SERVICE            VIDEO PLAYING PC                                                                                           65031           10/17/2011      10/17/2014
          1374   VIDEO STREAMING SERVICE            VIDEO PLAYING PC                                                                                           65032           10/17/2011      10/17/2014
          1375   VIDEO STREAMING SERVICE            VIDEO PLAYING PC                                                                                           65033           10/17/2011      10/17/2014
          1376   VIDEO STREAMING SERVICE            VIDEO PLAYING PC                                                                                           65034           10/17/2011      10/17/2014
          1377   VIDEO STREAMING SERVICE            VIDEO PLAYING PC                                                                                           65035           10/17/2011      10/17/2014
          1378   VIDEO STREAMING SERVICE            VIDEO PLAYING PC                                                                                           65036           10/17/2011      10/17/2014
          1379   VIDEO STREAMING SERVICE            VIDEO PLAYING PC                                                                                           65038           10/17/2011      10/17/2014
          1380   VIDEO STREAMING SERVICE            VIDEO PLAYING PC                                                                                           65039           10/17/2011      10/17/2014
          1381   VIDEO STREAMING SERVICE            VIDEO PLAYING PC                                                                                           65041           10/17/2011      10/17/2014
          1382   VIDEO STREAMING SERVICE            VIDEO PLAYING PC                                                                                           65042           10/17/2011      10/17/2014
          1383   VIDEO STREAMING SERVICE            VIDEO PLAYING PC                                                                                           65043           10/17/2011      10/17/2014
          1384   VIDEO STREAMING SERVICE            VIDEO PLAYING PC                                                                                           65047           10/17/2011      10/17/2014
          1385   VIDEO STREAMING SERVICE            VIDEO PLAYING PC                                                                                           65049           10/17/2011      10/17/2014
          1386   VIDEO STREAMING SERVICE            VIDEO PLAYING PC                                                                                           65051           10/17/2011      10/17/2014
          1387   VIDEO STREAMING SERVICE            VIDEO PLAYING PC                                                                                           65052           10/17/2011      10/17/2014
          1388   VIDEO STREAMING SERVICE            VIDEO PLAYING PC                                                                                           65055           10/17/2011      10/17/2014
          1389   VIDEO STREAMING SERVICE            VIDEO PLAYING PC                                                                                           65056           10/17/2011      10/17/2014
          1390   VIDEO STREAMING SERVICE            VIDEO PLAYING PC                                                                                           65057           10/17/2011      10/17/2014
          1391   VIDEO STREAMING SERVICE            VIDEO PLAYING PC                                                                                           65059           10/17/2011      10/17/2014
          1392   VIDEO STREAMING SERVICE            VIDEO PLAYING PC                                                                                           65060           10/17/2011      10/17/2014
          1393   VIDEO STREAMING SERVICE            VIDEO PLAYING PC                                                                                           65061           10/17/2011      10/17/2014
          1394   VIDEO STREAMING SERVICE            VIDEO PLAYING PC                                                                                           65062           10/17/2011      10/17/2014
          1395   VIDEO STREAMING SERVICE            VIDEO PLAYING PC                                                                                           65063           10/17/2011      10/17/2014
          1396   VIDEO STREAMING SERVICE            VIDEO PLAYING PC                                                                                           65064           10/17/2011      10/17/2014
          1397   VIDEO STREAMING SERVICE            VIDEO PLAYING PC                                                                                           65066           10/17/2011      10/17/2014
          1398   VIDEO STREAMING SERVICE            VIDEO PLAYING PC                                                                                           65067           10/17/2011      10/17/2014
          1399   VIDEO STREAMING SERVICE            VIDEO PLAYING PC                                                                                           65069           10/17/2011      10/17/2014
          1400   VIDEO STREAMING SERVICE            VIDEO PLAYING PC                                                                                           65070           10/17/2011      10/17/2014
          1401   VIDEO STREAMING SERVICE            VIDEO PLAYING PC                                                                                           65071           10/17/2011      10/17/2014
          1402   VIDEO STREAMING SERVICE            VIDEO PLAYING PC                                                                                           65073           10/17/2011      10/17/2014



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                                                          Case 13-13220-KG        Doc 506-1          Filed 03/17/14       Page 282 of 362


     ID          Attention                 Address 1      Address 2   Address 3   Address 4         City          State           Zip   Country   Email   Phone   Fax
          1355               3411 THORNDYKE AVENUE WEST                                        SEATTLE       WA           98119
          1356               3411 THORNDYKE AVENUE WEST                                        SEATTLE       WA           98119
          1357               3411 THORNDYKE AVENUE WEST                                        SEATTLE       WA           98119
          1358               3411 THORNDYKE AVENUE WEST                                        SEATTLE       WA           98119
          1359               3411 THORNDYKE AVENUE WEST                                        SEATTLE       WA           98119
          1360               3411 THORNDYKE AVENUE WEST                                        SEATTLE       WA           98119
          1361               3411 THORNDYKE AVENUE WEST                                        SEATTLE       WA           98119
          1362               3411 THORNDYKE AVENUE WEST                                        SEATTLE       WA           98119
          1363               3411 THORNDYKE AVENUE WEST                                        SEATTLE       WA           98119
          1364               3411 THORNDYKE AVENUE WEST                                        SEATTLE       WA           98119
          1365               3411 THORNDYKE AVENUE WEST                                        SEATTLE       WA           98119
          1366               3411 THORNDYKE AVENUE WEST                                        SEATTLE       WA           98119
          1367               3411 THORNDYKE AVENUE WEST                                        SEATTLE       WA           98119
          1368               3411 THORNDYKE AVENUE WEST                                        SEATTLE       WA           98119
          1369               3411 THORNDYKE AVENUE WEST                                        SEATTLE       WA           98119
          1370               3411 THORNDYKE AVENUE WEST                                        SEATTLE       WA           98119
          1371               3411 THORNDYKE AVENUE WEST                                        SEATTLE       WA           98119
          1372               3411 THORNDYKE AVENUE WEST                                        SEATTLE       WA           98119
          1373               3411 THORNDYKE AVENUE WEST                                        SEATTLE       WA           98119
          1374               3411 THORNDYKE AVENUE WEST                                        SEATTLE       WA           98119
          1375               3411 THORNDYKE AVENUE WEST                                        SEATTLE       WA           98119
          1376               3411 THORNDYKE AVENUE WEST                                        SEATTLE       WA           98119
          1377               3411 THORNDYKE AVENUE WEST                                        SEATTLE       WA           98119
          1378               3411 THORNDYKE AVENUE WEST                                        SEATTLE       WA           98119
          1379               3411 THORNDYKE AVENUE WEST                                        SEATTLE       WA           98119
          1380               3411 THORNDYKE AVENUE WEST                                        SEATTLE       WA           98119
          1381               3411 THORNDYKE AVENUE WEST                                        SEATTLE       WA           98119
          1382               3411 THORNDYKE AVENUE WEST                                        SEATTLE       WA           98119
          1383               3411 THORNDYKE AVENUE WEST                                        SEATTLE       WA           98119
          1384               3411 THORNDYKE AVENUE WEST                                        SEATTLE       WA           98119
          1385               3411 THORNDYKE AVENUE WEST                                        SEATTLE       WA           98119
          1386               3411 THORNDYKE AVENUE WEST                                        SEATTLE       WA           98119
          1387               3411 THORNDYKE AVENUE WEST                                        SEATTLE       WA           98119
          1388               3411 THORNDYKE AVENUE WEST                                        SEATTLE       WA           98119
          1389               3411 THORNDYKE AVENUE WEST                                        SEATTLE       WA           98119
          1390               3411 THORNDYKE AVENUE WEST                                        SEATTLE       WA           98119
          1391               3411 THORNDYKE AVENUE WEST                                        SEATTLE       WA           98119
          1392               3411 THORNDYKE AVENUE WEST                                        SEATTLE       WA           98119
          1393               3411 THORNDYKE AVENUE WEST                                        SEATTLE       WA           98119
          1394               3411 THORNDYKE AVENUE WEST                                        SEATTLE       WA           98119
          1395               3411 THORNDYKE AVENUE WEST                                        SEATTLE       WA           98119
          1396               3411 THORNDYKE AVENUE WEST                                        SEATTLE       WA           98119
          1397               3411 THORNDYKE AVENUE WEST                                        SEATTLE       WA           98119
          1398               3411 THORNDYKE AVENUE WEST                                        SEATTLE       WA           98119
          1399               3411 THORNDYKE AVENUE WEST                                        SEATTLE       WA           98119
          1400               3411 THORNDYKE AVENUE WEST                                        SEATTLE       WA           98119
          1401               3411 THORNDYKE AVENUE WEST                                        SEATTLE       WA           98119
          1402               3411 THORNDYKE AVENUE WEST                                        SEATTLE       WA           98119



2455538-1                                                                                     1.1(a) - 138
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     ID            Epiq Contract No    Store Number        Case                                      Debtor                            Responsible Person                      Contract Counter Party
          1403   NO COPY              65074           13-13249    FOX & HOUND RESTAURANT GROUP                                      BROCK DAVIS             SCREENCAST
          1404   NO COPY              65075           13-13249    FOX & HOUND RESTAURANT GROUP                                      BROCK DAVIS             SCREENCAST
          1405   NO COPY              65076           13-13249    FOX & HOUND RESTAURANT GROUP                                      BROCK DAVIS             SCREENCAST
          1406   NO COPY              65077           13-13249    FOX & HOUND RESTAURANT GROUP                                      BROCK DAVIS             SCREENCAST
          1407   NO COPY              65079           13-13249    FOX & HOUND RESTAURANT GROUP                                      BROCK DAVIS             SCREENCAST
          1408   NO COPY              65080           13-13249    FOX & HOUND RESTAURANT GROUP                                      BROCK DAVIS             SCREENCAST
          1409   NO COPY              65082           13-13249    FOX & HOUND RESTAURANT GROUP                                      BROCK DAVIS             SCREENCAST
          1410   NO COPY              65083           13-13249    FOX & HOUND RESTAURANT GROUP                                      BROCK DAVIS             SCREENCAST
          1411   NO COPY              65087           13-13249    FOX & HOUND RESTAURANT GROUP                                      BROCK DAVIS             SCREENCAST
          1412   NO COPY              65088           13-13249    FOX & HOUND RESTAURANT GROUP                                      BROCK DAVIS             SCREENCAST
          1413   NO COPY              65089           13-13249    FOX & HOUND RESTAURANT GROUP                                      BROCK DAVIS             SCREENCAST
          1414   NO COPY              65091           13-13249    FOX & HOUND RESTAURANT GROUP                                      BROCK DAVIS             SCREENCAST
          1415   NO COPY              65092           13-13249    FOX & HOUND RESTAURANT GROUP                                      BROCK DAVIS             SCREENCAST
          1416   NO COPY              65093           13-13249    FOX & HOUND RESTAURANT GROUP                                      BROCK DAVIS             SCREENCAST
          1417   NO COPY              65095           13-13249    FOX & HOUND RESTAURANT GROUP                                      BROCK DAVIS             SCREENCAST
          1418   NO COPY              65041           13-13259    TENT RESTAURANT OPERATIONS, INC.                                  KIM FOWLES              NUCO2, LLC
          1419 NO COPY                65250           13-13227    CHAMPPS OPERATING CORPORATION                                     KEVIN O'HARE            JD LAWN CARE LANDSCAPING AND SNOW REMOVAL SERVICES

          1420 NO COPY                CORPORATE       13-13249    FOX & HOUND RESTAURANT GROUP                                      BROCK DAVIS             AT&T
          1421 NO COPY                CORPORATE       13-13220    F&H ACQUISITION CORP.                                             JEFF BURRUS             WOLERINE PACKING COMPANY
          1422 NO COPY                65049           13-13235    FOX & HOUND OF COLORADO, INC.                                     GREG WALDO              ECOLAB
          1423 NO COPY                65079           13-13237    FOX & HOUND OF INDIANA, INC.                                      GREG WALDO              ECOLAB
          1424 NO COPY                65079           13-13237    FOX & HOUND OF INDIANA, INC.                                      KIM FOWLES              CINTAS
          1425   NO COPY              CORPORATE       13-13220    F&H ACQUISITION CORP.                                             KIM FOWLES              INFOSYNC SERVICES, LLC
          1426   NO COPY              65050           13-13234    FOX & HOUND OF ARIZONA, INC.                                      KIM FOWLES              COX COMMUNICATIONS
          1427   NO COPY              65079           13-13237    FOX & HOUND OF INDIANA, INC.                                      DAVID HUYETT            ECOLAB
          1428   NO COPY              65049           13-13235    FOX & HOUND OF COLORADO, INC.                                     DAVID HUYETT            ECOLAB
          1429   NO COPY              65030           13-13259    TENT RESTAURANT OPERATIONS, INC.                                  KIM FOWLES              MORGAN SERVICES, INC.
          1430 NO COPY                65008/65608     13-13233    F & H RESTAURANTS OF TEXAS, INC.                                  KIM FOWLES              FOX & HOUND CLUB

          1431 NO COPY                65022/65622     13-13233    F & H RESTAURANTS OF TEXAS, INC.                                  KIM FOWLES              JACKSON BEVERAGE CORP.

          1432 NO COPY                65025/65625     13-13233    F & H RESTAURANTS OF TEXAS, INC.                                  KIM FOWLES              RAIDER BEVERAGE CORP.

          1433 NO COPY                65036/65636     13-13233    F & H RESTAURANTS OF TEXAS, INC.                                  KIM FOWLES              ROCKET BEVERAGE CORP.

          1434 NO COPY                65042/65642     13-13233    F & H RESTAURANTS OF TEXAS, INC.                                  KIM FOWLES              BRYANT BEVERAGE CORP.

          1435 NO COPY                65043/65643     13-13233    F & H RESTAURANTS OF TEXAS, INC.                                  KIM FOWLES              DOWNTOWN BEVERAGE CORP.

          1436 NO COPY                65052/65652     13-13233    F & H RESTAURANTS OF TEXAS, INC.                                  KIM FOWLES              CAMPBELL BEVERAGE CORP

          1437 NO COPY                65056/65656     13-13233    F & H RESTAURANTS OF TEXAS, INC.                                  KIM FOWLES              FUQUA BEVERAGE CORP.




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     ID                          Type of Contract                             Description of Contract                     Assume             Reject   Cure Amount   Contract No Date of ContractTermination Date
          1403   VIDEO STREAMING SERVICE             VIDEO PLAYING PC                                                                                               65074           10/17/2011      10/17/2014
          1404   VIDEO STREAMING SERVICE             VIDEO PLAYING PC                                                                                               65075           10/17/2011      10/17/2014
          1405   VIDEO STREAMING SERVICE             VIDEO PLAYING PC                                                                                               65076           10/17/2011      10/17/2014
          1406   VIDEO STREAMING SERVICE             VIDEO PLAYING PC                                                                                               65077           10/17/2011      10/17/2014
          1407   VIDEO STREAMING SERVICE             VIDEO PLAYING PC                                                                                               65079           10/17/2011      10/17/2014
          1408   VIDEO STREAMING SERVICE             VIDEO PLAYING PC                                                                                               65080           10/17/2011      10/17/2014
          1409   VIDEO STREAMING SERVICE             VIDEO PLAYING PC                                                                                               65082           10/17/2011      10/17/2014
          1410   VIDEO STREAMING SERVICE             VIDEO PLAYING PC                                                                                               65083           10/17/2011      10/17/2014
          1411   VIDEO STREAMING SERVICE             VIDEO PLAYING PC                                                                                               65087           10/17/2011      10/17/2014
          1412   VIDEO STREAMING SERVICE             VIDEO PLAYING PC                                                                                               65088           10/17/2011      10/17/2014
          1413   VIDEO STREAMING SERVICE             VIDEO PLAYING PC                                                                                               65089           10/17/2011      10/17/2014
          1414   VIDEO STREAMING SERVICE             VIDEO PLAYING PC                                                                                               65091           10/17/2011      10/17/2014
          1415   VIDEO STREAMING SERVICE             VIDEO PLAYING PC                                                                                               65092           10/17/2011      10/17/2014
          1416   VIDEO STREAMING SERVICE             VIDEO PLAYING PC                                                                                               65093           10/17/2011      10/17/2014
          1417   VIDEO STREAMING SERVICE             VIDEO PLAYING PC                                                                                               65095           10/17/2011      10/17/2014
          1418   NITROGEN GENERATOR & CO2            NITROGEN GENERATOR AND CO2                                                                                     65041           12/30/2013      12/30/2016
          1419 SNOW REMOVAL AGREEMENT                                                                                                                               65250           12/20/2013       3/31/2014
                                                                                                                                                                    WICHITA
          1420 INTERNET SERVICES AGREEMENT           FIBER CONNECTION                                                                                                                 1/29/2013      1/29/2015
                                                                                                                                                                    OFFICE
          1421 SUPPLY AGREEMENT                      SUPPLY AGREEMENT                                                                                                               12/27/2013      12/31/2014
          1422 DISHWASHING MACHINE                   DISHMACHINE FOR 65049                                                                                          65049           12/30/2013      12/30/2014
          1423 DISHWASHING MACHINE                   DISHMACHINE FOR 65079                                                                                          65079           12/20/2013      12/30/2014
          1424 SERVICE AGREEMENT                     LINEN SERVICE AGREEMENT                                                                                                          1/10/2014      1/10/2015
          1425   SERVICE AGREEMENT                   OUTSOURCING SERVICES AGREEMENT                                                                                                 10/28/2008
          1426   SERVICE AGREEMENT                   INTERNET WITH CABLE MODEM SERVICE                                                                                               8/14/2013       8/14/2016
          1427   SERVICE AGREEMENT                   DISHMACHINE CONTRACT                                                                                                           12/20/2013      12/20/2014
          1428   SERVICE AGREEMENT                   DISHMACHINE CONTRACT                                                                                                           12/20/2013      12/20/2014
          1429   SERVICE AGREEMENT                   LINEN SERVICE AGREEMENT
          1430 MANAGEMENT AND CONCESSION AGREEMENT

          1431 MANAGEMENT AND CONCESSION AGREEMENT

          1432 MANAGEMENT AND CONCESSION AGREEMENT

          1433 MANAGEMENT AND CONCESSION AGREEMENT

          1434 MANAGEMENT AND CONCESSION AGREEMENT

          1435 MANAGEMENT AND CONCESSION AGREEMENT

          1436 MANAGEMENT AND CONCESSION AGREEMENT

          1437 MANAGEMENT AND CONCESSION AGREEMENT




2455538-1                                                                                                 1.1(a) - 140
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     ID           Attention                  Address 1                    Address 2   Address 3   Address 4         City          State           Zip   Country   Email   Phone   Fax
          1403                3411 THORNDYKE AVENUE WEST                                                       SEATTLE       WA           98119
          1404                3411 THORNDYKE AVENUE WEST                                                       SEATTLE       WA           98119
          1405                3411 THORNDYKE AVENUE WEST                                                       SEATTLE       WA           98119
          1406                3411 THORNDYKE AVENUE WEST                                                       SEATTLE       WA           98119
          1407                3411 THORNDYKE AVENUE WEST                                                       SEATTLE       WA           98119
          1408                3411 THORNDYKE AVENUE WEST                                                       SEATTLE       WA           98119
          1409                3411 THORNDYKE AVENUE WEST                                                       SEATTLE       WA           98119
          1410                3411 THORNDYKE AVENUE WEST                                                       SEATTLE       WA           98119
          1411                3411 THORNDYKE AVENUE WEST                                                       SEATTLE       WA           98119
          1412                3411 THORNDYKE AVENUE WEST                                                       SEATTLE       WA           98119
          1413                3411 THORNDYKE AVENUE WEST                                                       SEATTLE       WA           98119
          1414                3411 THORNDYKE AVENUE WEST                                                       SEATTLE       WA           98119
          1415                3411 THORNDYKE AVENUE WEST                                                       SEATTLE       WA           98119
          1416                3411 THORNDYKE AVENUE WEST                                                       SEATTLE       WA           98119
          1417                3411 THORNDYKE AVENUE WEST                                                       SEATTLE       WA           98119
          1418                2800 SE MARKET PLACE                                                             STUART        FL           34997
          1419                P.O. BOX 309                                                                     WAYNE         IL           60184

          1420 JERRY PUTTER   154 N BROADWAY STREET                                                            WICHITA       KS           67202
          1421                C/O MIKE CROWE                         2535 RIVARD                               DETROIT       MI           48207
          1422                370 N. WABASHA STREET                                                            ST. PAUL      MN           55102
          1423                370 N. WABASHA STREET                                                            ST. PAUL      MN           55102
          1424                2131 POLYMER DRIVE, SUITE 2131-A                                                 CHATTANOOGA TN             37421
          1425                1938 N WOODLAWN ST                                                               WICHITA       KS           67208
          1426                PO BOX 1259                                                                      OAKS          PA           19456
          1427                2221 NEWMARKET PKWY, STE 142                                                     MARIETTA      GA           30067
          1428                2221 NEWMARKET PKWY, STE 142                                                     MARIETTA      GA           30067
          1429                2013 COLUMBUS RD                                                                 CLEVELAND     OH           44113
          1430                1551 N WATERFRONT PARKWAY, SUITE 310                                             WICHITA       KS           67206

          1431                1551 N WATERFRONT PARKWAY, SUITE 310                                             WICHITA       KS           67206

          1432                1551 N WATERFRONT PARKWAY, SUITE 310                                             WICHITA       KS           67206

          1433                1551 N WATERFRONT PARKWAY, SUITE 310                                             WICHITA       KS           67206

          1434                1551 N WATERFRONT PARKWAY, SUITE 310                                             WICHITA       KS           67206

          1435                1551 N WATERFRONT PARKWAY, SUITE 310                                             WICHITA       KS           67206

          1436                1551 N WATERFRONT PARKWAY, SUITE 310                                             WICHITA       KS           67206

          1437                1551 N WATERFRONT PARKWAY, SUITE 310                                             WICHITA       KS           67206




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                                            Schedule 1.1(b)

                                         Purchased Contracts

Purchased Contracts (other than with respect to Designation Rights Assets that are Contracts) to be
determined by Buyer on or prior to three (3) Business Days prior to the Closing Date.




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                                                      Schedule 1.1(c)

                                            Purchased Intellectual Property

                                                                                                              Registration
                    Registered Owner                                       Mark
                                                                                                                 No.

            Champps Operating Corporation                            Flag Logo Design                          3,085,454

            Fox & Hound Restaurant Group                  Serious Fun 7 Bailey's Sports Grille                 2,092,808

            Fox & Hound Restaurant Group                           Red Fox Amber Ale                           3,314,852

            Fox & Hound Restaurant Group                           Bailey's Pub & Grille                       2,946,288

                                                                                                              5396617 State
            Fox & Hound Restaurant Group                               Fox & Hound                              of Texas
                                                    Fox and Hound Sports, Spirits & Fun The Best
            Fox & Hound Restaurant Group                          Party in Town                                3,700,264

            Fox & Hound Restaurant Group                  7 Bailey's Sports Grille (with design)               1,935,127


            Champps Operating Corporation                         Champps Americana                            1,880,959


            Champps Operating Corporation                         Champps Americana                            1,934,801

            Champps Operating Corporation                                Champps                               1,936,515

            Fox & Hound Restaurant Group                               Fox & Hound                             2,099,517
                                                                                                               800756256
            Fox & Hound Restaurant Group                             Red Fox Amber                           State of Texas

            Champps Operating Corporation                         Champps Americana                            2,053,083

            Champps Operating Corporation                                Champps                               2,079,548

            Fox & Hound Restaurant Group                          Bailey's Sports Grille                       2,191,854

            Champps Operating Corporation                                Champps                               2,208,732

            Fox & Hound Restaurant Group                    Bailey’s Smokehouse & Tavern                       2,740,518
                                                      Best Cocktail Party in Town – Seven Days a
            Fox & Hound Restaurant Group                                Week*                                  2,825,963

            Champps Operating Corporation                                Champs*                               1,191,885

            Champps Operating Corporation                                Champs*                                1,165,030
                                                                                                                86103250
            Fox & Hound Restaurant Group                       Fox & Hound Sports Tavern                      serial number


Software Licenses, Domain Names and Mobile Applications

         See attached spreadsheets



___________________________________
*The Company did not file the required renewals and/or affidavits with the USPTO due to the fact that it no longer used the
marks and could not provide evidence of continued use as required by the USPTO.




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Software Licenses

Product Description                    Quantity                     License Version
Adobe Acrobat Pro                                               4                      9
Adobe Acrobat Standard                                          7                      8
Adobe Acrobat Standard                                          3                      6
Adobe Create Suite                                              1                      4
Adobe Create Suite                                              1                      9
Adobe Create Suite                                              1                     11
Adobe Creative Cloud Subscription                               6                      -
Aloha                                                          53                 6.5.24
Asset Keeper Pro                                                1              2012r2.1
Dell Open Manager                                             225                    6.2
Fishbowl Micros Integration                                    66             1.1.26345
Hot Schedules Connect                                         101                  1.0.0
Mac OS X                                                       22                      -
Micros Res POS                                                 91           4.11.5.3839
Microsoft Visual Studio                                         1                  2005
Microsoft Visual Studio                                         1                  2008
Microsoft Visual Studio                                         2                  2010
Microsoft Visual Studio                                         2                  2012
Microsoft Windows OEM                                          55                     XP
Microsoft Windows OEM                                          95                      7
Microsoft Windows OEM                                          10                      8
Office for Mac                                                 20                      4
Office for Mac                                                  4                      8
Office for Mac                                                  9                     11
Paytronix (Aloha)                                              66               13.5.0.0
Paytronix (Micros)                                             35               13.3.0.0
Red Hat Enterprise Linux                                        1                      4
Screenplay                                                     66                      -
Steller Phoenix                                                 2                      -
Symantec Endpoint Protection                                  200       12.1.2015.2015
Transaction Vault                                              91           4.14.0.2481
TurboTax Business                                               1                  2012

Highlighted Items Identify Software Agreements that allow for Software Updates
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Domain Names

Domain                                Expiration
allstarbrewclub.com                                   2/19/2014
foxandhound.biz                                       3/11/2014
foxandhound.net                                       3/11/2014
champps.mobi                                          3/12/2014
foxandhound.mobi                                      3/12/2014
baileyspubandgrille.com                                4/6/2014
fhpub.com                                             4/26/2014
champps4stjude.com                                    10/8/2014
foxnbaileys4stjude.com                                10/8/2014
foxallstar.com                                       10/22/2014
foxallstarclub.com                                   10/22/2014
foxallstars.com                                      10/22/2014
champps.com                                           3/20/2015
champps.biz                                           3/26/2015
baileyssportsgrille.com                               7/13/2017
fhrg.com                                               3/1/2018
allstarclub.com                                       8/24/2018
totent.com                                            1/23/2022
foxandhound.com                                       2/24/2022

SSL Certificates

Account                               Type                         Expiration
*.allstarclub.com                     Standard Wildcard SSL                9/18/2016
*.champps.com                         Standard Wildcard SSL                6/28/2015
barracuda.fhrg.com                    Standard SSL                          8/6/2018
barracuda2.fhrg.com                   Standard SSL                          8/6/2018

Mobile Apps

App Name                              Version
Fox & Hound                                                  4.5
Baileys                                            Discontinued
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                                                                                                                       Microsoft License Statement Name: Newcastle Partners LP (Partial)

                                                                                                                                                  Request ID: 66A6F2F2-CAF7-482E-B42A-
     Microsoft Volume                                                                                                                                         7DD0CF7882C4
                            Licensing
                                                                                                                            Calculation Date (YYYY/MM/DD): 2014/1/7

                                                                         Microsoft License Statement

Introduction
C
L GENERAL OVERVIEW
  This Microsoft License Statement is an estimate of license entitlements by product and version based on the Volume License agreements and purchase transactions under those
  agreements (as reported by resellers to Microsoft).


  HOW TO USE THIS MICROSOFT LICENSE STATEMENT

  The Microsoft License Statement is organized into the following tabs, additional details can be found on the individual tabs


  Organization Summary Tab
      Use this tab to verify the scope of the Microsoft License Statement. This includes reviewing the Microsoft License Statement Type, the Organizations included, the Agreement Names
      Found, and the Search Keywords used.

  License Summary Tab

        Review the summary of Effective Quantities by product and version to analyze what licenses your organization is entitled to use.

  Transaction Summary Tab

        Use this tab to quickly view and filter the detailed transaction data included in the Microsoft License Statement

  License Agreements Tab

        Use this tab to further verify the scope of the Microsoft License Statement by reviewing the detailed list of agreements included

  Transaction Data Tab

        Use this tab for additional analysis of all transactions under the agreements included in the Microsoft License Statement

  Frequently Asked Questions and Glossary Tab

        Use this tab to obtain answers to common questions and terminology definitions


  MICROSOFT LICENSE STATEMENT LIMITATIONS

  The Microsoft License Statement is based on the set of agreements associated with the organization as summarized on the Organization Summary tab and as listed on the License
  Agreements tab. It is important to verify the lists of the Organization Summary tab and on the License Agreements tab to ensure that the relavant information is included.
        - The Microsoft License Statement only contains information for Microsoft licenses acquired through volume licensing programs and does not reflect information for licenses acquired
        via retail and/or Original Equipment Manufacturer (OEM)

        - Licenses acquired in the last 45 days may not be included in this license statement, due to reseller reporting time frames.
        - Microsoft records license transfers in hardcopy format only (e.g. transfers as a result of a merger/acquisition). For this reason, if transfers have occurred, they may not be reflected
        in this Microsoft License Statement.
        - Enterprise Agreements can be complex and are calculated using standard assumptions that may not apply to every situation. Enterprise Agreements with non-standard terms and
        conditions may require additional review by a Microsoft representative.


  ADDRESSING QUESTIONS

  If there are questions regarding this statement, please contact your Microsoft representative and provide the following information:
         - Name of organization for which the Microsoft License Statement was prepared.
         - Contact name, email, and phone number for follow-up questions.
         - Detailed explanation of the question and any supporting information.


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                                     Schedule 2.1(t)

                               Additional Purchased Assets




                                         None




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                                           Schedule 2.2(h)

                                      Additional Excluded Assets

1. All Inventory, supplies, Furniture and Equipment at Restaurants (as defined in the Management
   Agreement) other than the Purchased Restaurants and Designation Rights Restaurants (as defined in
   the Management Agreement) and all such Inventory, supplies, Furniture and Equipment at the
   Designation Rights Restaurants that Buyer does not sell or remove prior to declaring the Designation
   Rights Restaurants as an Excluded Asset.

2. The certain promissory notes issued by each of Steve Johnson, James Zielke, Kenneth Syvarth and
   Fran Vavala, in favor of the Company on March 15, 2012, in the principal amounts of $240,539,
   $155,139, $52,894 and $8,827, respectively.




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                                            Schedule 2.4(a)

                                          Assumed Liabilities

1. Accrued and unpaid postpetition trade payables of Sellers solely with respect to Purchased Assets or
   Designation Rights Assets.

2. Accrued and unpaid postpetition rent of Sellers solely with respect to Real Property Leases that are
   Purchased Contracts or Designation Rights Assets.

3. Accrued and unpaid postpetition utilities payable by Sellers solely with respect to Purchased Assets
   or Designation Rights Assets.

4. Accrued and unpaid postpetition real estate taxes payable by Sellers solely with respect to Real
   Property Leases that are Purchased Contracts or Designation Rights Assets, but excluding Pre-
   Closing Property Reconciliation Costs.

5. Accrued and unpaid postpetition credit card fees payable by Sellers solely to the extent deducted
   from outstanding deposits received post-Closing by Buyer.

6. Accrued and unpaid workers compensation liabilities of Sellers.

7. Accrued and unpaid vacation, sick leave and other paid time off solely for Buyer Employees.

8. Outstanding uncleared checks of Sellers for the month of Closing solely for rent on Real Property
   Leases that are Purchased Assets or Designation Rights Assets.




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                                   Schedule 2.4(m)

                                    Cure Amounts



See attached spreadsheet.




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                                                                                                                                                                             Case 13-13220-KG                     Doc 506-1                              Filed 03/17/14                                         Page 295 of 362

     ID        Epiq Contract No   Store Number       Case             Debtor            Responsible Person     Contract Counter Party         Type of Contract        Description of Contract   Assume   Reject   Cure Amount Contract NoDate of Contract
                                                                                                                                                                                                                                                       Termination Date Attention                        Address 1        Address 2   Address 3   Address 4        City          State       Zip   Country   Email   Phone   Fax      Vendor        A/P code
                                                            TENT RESTAURANT                                                                                                                                                                                            MICAH
            2 NO COPY             65009          13-13259                               AUSTIN TRUMPP        CLEANENERGY BIOFUELS       SERVICE AGREEMENT        GREASE REMOVAL SERVICE                                    - 65009             3/7/2012      3/7/2013                   250 ARIZONA AVE, NE                                                   ATLANTA       GA           30307                                                 0
                                                            OPERATIONS, INC                                                                                                                                                                                            REYNOLDS                                                                                                                                                                         65009
                                                            FOX & HOUND ENGLISH PUB                          DARLING INTERNATIONAL,
            3 NO COPY             65004          13-13254                               AUSTIN TRUMPP                                   SERVICE AGREEMENT        GREASE REMOVAL SERVICE                                    -     65004       7/17/2008         7/17/2009                1240 SARGENT ROAD                                                     DALLAS        TX           75203                                     04191
                                                            & GRILLE                                         INC.                                                                                                                                                                                                                                                                                                                                   419165004
                                                            FOX & HOUND ENGLISH PUB                          DARLING INTERNATIONAL,
            4 NO COPY             65008          13-13233                               AUSTIN TRUMPP                                   SERVICE AGREEMENT        GREASE REMOVAL SERVICE                                    -     65008       7/17/2008         7/17/2009                1240 SARGENT ROAD                                                     DALLAS        TX           75203                                     04191
                                                            & GRILLE                                         INC.                                                                                                                                                                                                                                                                                                                                   419165008
                                                            FOX & HOUND ENGLISH PUB                          DARLING INTERNATIONAL,
            5 NO COPY             65042          13-13233                               AUSTIN TRUMPP                                   SERVICE AGREEMENT        GREASE REMOVAL SERVICE                                    -     65042       7/17/2008         7/17/2009                1240 SARGENT ROAD                                                     DALLAS        TX           75203                                     04191
                                                            & GRILLE                                         INC.                                                                                                                                                                                                                                                                                                                                   419165042
                                                            FOX & HOUND ENGLISH PUB                          DARLING INTERNATIONAL,
            6 NO COPY             65043          13-13233                               AUSTIN TRUMPP                                   SERVICE AGREEMENT        GREASE REMOVAL SERVICE                                    -     65043       7/17/2008         7/17/2009                1240 SARGENT ROAD                                                     DALLAS        TX           75203                                     04191
                                                            & GRILLE                                         INC.                                                                                                                                                                                                                                                                                                                                   419165043
                                                            FOX & HOUND ENGLISH PUB                          DARLING INTERNATIONAL,
            7 NO COPY             65052          13-13233                               AUSTIN TRUMPP                                   SERVICE AGREEMENT        GREASE REMOVAL SERVICE                                    -     65052       7/17/2008         7/17/2009                1240 SARGENT ROAD                                                     DALLAS        TX           75203                                     04191
                                                            & GRILLE                                         INC.                                                                                                                                                                                                                                                                                                                                   419165052
                                                            CHAMPPS OPERATING                                DARLING INTERNATIONAL,                                                                                                                                        WARREN
            8 NO COPY             65216          13-13227                               AUSTIN TRUMPP                                   SERVICE AGREEMENT        GREASE REMOVAL SERVICE                                    -     65216        4/2/2012          4/2/2014                3350 GREENFIELD RD.                                                   MELVINDALE    MI           48122                                     04191
                                                            CORPORATION                                      INC.                                                                                                                                                          COPPLE                                                                                                                                                                   419165216
                                                            CHAMPPS OPERATING                                DARLING INTERNATIONAL,
            9 NO COPY             65221          13-13227                               AUSTIN TRUMPP                                   SERVICE AGREEMENT        GREASE REMOVAL SERVICE                                    -     65221        9/1/2011          9/1/2012 GEORGE BAKER 3701 SCHALKER STREET                                                    HOUSTON       TX           77026                                     04191
                                                            CORPORATION                                      INC.                                                                                                                                                                                                                                                                                                                                   419165221
                                                            CHAMPPS OPERATING                                DARLING INTERNATIONAL,
          10 NO COPY              65224          13-13227                               AUSTIN TRUMPP                                   SERVICE AGREEMENT        GREASE REMOVAL SERVICE                                    -     65224       7/15/2013         7/15/2014 VON DORJEVSKI 3350 GREENFIELD RD.                                                    MELVINDALE    MI           48122                                     04191
                                                            CORPORATION                                      INC.                                                                                                                                                                                                                                                                                                                                   419165224
                                                            TENT RESTAURANT
          11 NO COPY              65047          13-13259                               AUSTIN TRUMPP        ERCO                       SERVICE AGREEMENT        GREASE REMOVAL SERVICE                                    -     65047       6/24/2013         6/24/2016 JENNIFER FLOYD 28821 BETHLEHEM CHURCH RD                                             OAKBORO       NC           28129
                                                            OPERATIONS, INC                                                                                                                                                                                                                                                                                                                                                                             65047
                                                            TENT RESTAURANT
          12 NO COPY              65071          13-13259                               AUSTIN TRUMPP        ERCO                       SERVICE AGREEMENT        GREASE REMOVAL SERVICE                                    -     65071       6/24/2013         6/24/2016 JENNIFER FLOYD 28821 BETHLEHEM CHURCH RD                                             OAKBORO       NC           28129
                                                            OPERATIONS, INC                                                                                                                                                                                                                                                                                                                                                                             65071
                                                            TENT RESTAURANT
          13 NO COPY              65093          13-13259                               AUSTIN TRUMPP        ERCO                       SERVICE AGREEMENT        GREASE REMOVAL SERVICE                                    -     65093       5/14/2013         5/14/2016 JENNIFER FLOYD 28821 BETHLEHEM CHURCH RD                                             OAKBORO       NC           28129
                                                            OPERATIONS, INC                                                                                                                                                                                                                                                                                                                                                                             65093
                                                            TENT RESTAURANT                                  GREEN EARTH OPTIONS OF                                                                                                                           M/M AFTER
          14 NO COPY              65013          13-13259                               AUSTIN TRUMPP                                   SERVICE AGREEMENT        GREASE REMOVAL SERVICE                                    -     65013       3/27/2012                                  2227 DEADRICK AVE                                                     MEMPHIS       TN           38114
                                                            OPERATIONS, INC                                  TENNESSEE, LLC                                                                                                                                     4/27/12                                                                                                                                                                                 65013
                                                            CHAMPPS OPERATING                                                                                                                                                                                            ERIC                                                                                 FORT
          15 NO COPY              65213          13-13227                               AUSTIN TRUMPP        GREENWAVE OIL COMPANY      SERVICE AGREEMENT        GREASE REMOVAL SERVICE                                    -     65213        6/7/2013          6/7/2014                420 W MCNAB ROAD                                                                    FL           33309
                                                            CORPORATION                                                                                                                                                                                                  LESPERANCE                                                                           LAUDERDALE                                                                                65213
                                                            FOX & HOUND RESTAURANT                                                                                                                                                                                       BRIAN
          16 NO COPY              65005          13-13249                               AUSTIN TRUMPP        GRIFFIN INDUSTRIES         SERVICE AGREEMENT        GREASE REMOVAL SERVICE                                    -     65005       9/26/2008         9/26/2009                264 FM 2336                                                           BASTROP       TX           78602
                                                            GROUP                                                                                                                                                                                                        PAPROCKI                                                                                                                                                  06163            616365005
                                                                                                                                                                                                                                                              M/M AFTER
          17 NO COPY              65007          13-13259   BAILEY'S SPORTS GRILL       AUSTIN TRUMPP        GRIFFIN INDUSTRIES         SERVICE AGREEMENT        GREASE REMOVAL SERVICE                                    -     65007       4/21/2009                                  3080 CONCORD RD                                                       RUSSELLVILLE KY            42276
                                                                                                                                                                                                                                                               4/21/2013                                                                                                                                                           06163            616365007
          18 NO COPY              65014          13-13259   BAILEY'S SPORTS GRILLE      AUSTIN TRUMPP        GRIFFIN INDUSTRIES         SERVICE AGREEMENT        GREASE REMOVAL SERVICE                                    -     65014                                                  3080 CONCORD RD                                                       RUSSELLVILLE KY            42276
                                                                                                                                                                                                                                                                                                                                                                                                                                   06163            616365014
                                                            F & H RESTAURANTS OF                                                                                                                                                                                           RICARDO
          19 NO COPY              65022          13-13248                               AUSTIN TRUMPP        GRIFFIN INDUSTRIES         SERVICE AGREEMENT        GREASE REMOVAL SERVICE                                    -     65022       9/12/2011         9/12/2012                8423 QUINTANA ROAD                                                    SAN ANTONIO TX             78211
                                                            TEXAS, INC                                                                                                                                                                                                     CANSECO                                                                                                                                                 06163            616365022
                                                            TENT RESTAURANT
          20 NO COPY              65028          13-13259                               AUSTIN TRUMPP        GRIFFIN INDUSTRIES         SERVICE AGREEMENT        GREASE REMOVAL SERVICE                                200.00 65028           9/7/2012          9/7/2013                3026 S CENTER ROAD                                                    MEMPHIS       TN           38109
                                                            OPERATIONS, INC                                                                                                                                                                                                                                                                                                                                                        06163            616365028
                                                            TENT RESTAURANT
          21 NO COPY              65034          13-13259                               AUSTIN TRUMPP        GRIFFIN INDUSTRIES         SERVICE AGREEMENT        GREASE REMOVAL SERVICE                                    -     65034       12/7/2011         12/7/2012                5805 HWY 74 EAST                                                      NASHVILLE     TN           27103
                                                            OPERATIONS, INC                                                                                                                                                                                                                                                                                                                                                        06163            616365034
                                                            FOX & HOUND RESTAURANT                                                                                                                                                                                         BRIAN
          22 NO COPY              65036          13-13249                               AUSTIN TRUMPP        GRIFFIN INDUSTRIES         SERVICE AGREEMENT        GREASE REMOVAL SERVICE                                    -     65036       10/1/2008         10/1/2009                264 FM 2336                                                           BASTROP       TX           78602
                                                            GROUP                                                                                                                                                                                                          PAPROCKI                                                                                                                                                06163            616365036
                                                            TENT RESTAURANT                                                                                                                                                                                                JEFFREY S.
          23 NO COPY              65038          13-13259                               AUSTIN TRUMPP        GRIFFIN INDUSTRIES         SERVICE AGREEMENT        GREASE REMOVAL SERVICE                                    -     65038        3/6/2013          3/6/2014                3350 GREENFIELD RD                                                    MELVINDALE    MI           48122
                                                            OPERATIONS, INC                                                                                                                                                                                                MARSHALL                                                                                                                                                06163            616365038
                                                                                                                                                                                                                                                                           DWAYNE
          24 NO COPY              65041          13-13259   BAILEY'S PUB & GRILLE       AUSTIN TRUMPP        GRIFFIN INDUSTRIES         SERVICE AGREEMENT        GREASE REMOVAL SERVICE                                    -     65041        9/5/2008          9/5/2009                3080 CONCORD RD                                                       RUSSELLVILLE KY            44276
                                                                                                                                                                                                                                                                           MCKINNEY                                                                                                                                                06163            616365041
                                                            FOX & HOUND RESTAURANT                                                                                                                                                                                         BRIAN
          25 NO COPY              65056          13-13249                               AUSTIN TRUMPP        GRIFFIN INDUSTRIES         SERVICE AGREEMENT        GREASE REMOVAL SERVICE                                    -     65056       9/26/2008         9/26/2009                264 FM 2336                                                           BASTROP       TX           78602
                                                            GROUP                                                                                                                                                                                                          PAPROCKI                                                                                                                                                06163            616365056
                                                            FOX & HOUND OF                                                                                                                                                                                                 KEITH
          26 NO COPY              65064          13-13247                               AUSTIN TRUMPP        GRIFFIN INDUSTRIES         SERVICE AGREEMENT        GREASE REMOVAL SERVICE                                    -     65064       4/21/2010         4/21/2011                HWY 59 SOUTH                                                          WATTS         OK           74964
                                                            OKLAHOMA, INC                                                                                                                                                                                                  WENDORFF                                                                                                                                                06163            616365064
                                                            CHAMPPS OPERATING
          27 NO COPY              65240          13-13227                               AUSTIN TRUMPP        GRIFFIN INDUSTRIES         SERVICE AGREEMENT        GREASE REMOVAL SERVICE                                    -     65240       3/29/2011         3/29/2012 DAVE BRYANT    16375 DOSWELL PARK ROAD                                               DOSWELL       VA           23047
                                                            CORPORATION                                                                                                                                                                                                                                                                                                                                                            06163            616365240
          28 NO COPY              65015          13-13250   FOX & HOUND                 AUSTIN TRUMPP        KCI RESTAURANT SERVICES    SERVICE AGREEMENT        GREASE REMOVAL SERVICE                                    -     65015       9/16/2010         9/16/2011 MATT KEYES     4125 DAHLMAN AVE                                                      OMAHA         NE           68107
                                                                                                                                                                                                                                                                                                                                                                                                                                                        65015
          29 NO COPY              65016          13-13250   FOX & HOUND                 AUSTIN TRUMPP        MAHONEY ENVIRONMENTAL SERVICE AGREEMENT             GREASE REMOVAL SERVICE                                 95.00 65016           8/6/2008          8/6/2009 PAUL BULFER    1819 MOEN AVE                                                         JOLIET        IL           60436
                                                                                                                                                                                                                                                                                                                                                                                                                                   02458            245865016
                                                            FOX & HOUND OF
          30 NO COPY              65049          13-13235                               AUSTIN TRUMPP        RECYCOIL                   SERVICE AGREEMENT        GREASE REMOVAL SERVICE                                    -     65049      10/24/2011        10/23/2013 AARON PERRY    1708 WALNUT STREET                                                    BOULDER       CO           80302
                                                            COLORADO, INC                                                                                                                                                                                                                                                                                                                                                                               65049
                                                            FOX & HOUND OF
          31 NO COPY              65059          13-13235                               AUSTIN TRUMPP        RECYCOIL                   SERVICE AGREEMENT        GREASE REMOVAL SERVICE                                    -     65059      10/24/2011        10/23/2013 AARON PERRY    1708 WALNUT STREET                                                    BOULDER       CO           80302
                                                            COLORADO, INC                                                                                                                                                                                                                                                                                                                                                                               65059
                                                            TENT RESTAURANT                                  RESTAURANT                                                                                                                                        Y/Y AFTER                                                                                      MENDOTA
          32 NO COPY              65095          13-13259                               AUSTIN TRUMPP                                   SERVICE AGREEMENT        GREASE REMOVAL SERVICE                               2,328.01 65095         2/21/2011                   GREG S.        2250 PILOT KNOB ROAD         SUITE 100                                              MN           55120
                                                            OPERATIONS, INC                                  TECHNOLOGIES, INC.                                                                                                                                  2/21/16                                                                                      HEIGHTS                                                              07590            759065095
          33 NO COPY              65076          13-13250   FOX & HOUND                 AUSTIN TRUMPP        TORVAC                     SERVICE AGREEMENT        GREASE REMOVAL SERVICE                                    - 65076           8/10/2004                                  3000 W WHETON ROAD                                                    BLUE ISLAND   IL           60406                                                          65076
          34 NO COPY              65082          13-13242   BAILEY'S PUB & GRILLE       AUSTIN TRUMPP        VALLEY PROTEINS            SERVICE AGREEMENT        GREASE REMOVAL SERVICE                                410.00 65082           5/1/2015          5/1/2006 TED HALL       151 VALPRO DRIVE                                                      WINCHESTER    VA           22603                                     08328            832865082
                                                            TENT RESTAURANT                                                                                                                                                                                              DAVID
          35 NO COPY              65089          13-13259                               AUSTIN TRUMPP        VALLEY PROTEINS            SERVICE AGREEMENT        GREASE REMOVAL SERVICE                                    -     65089       2/21/2012         2/21/2013                151 VALPRO DRIVE                                                      WINCHESTER    VA           22603
                                                            OPERATIONS, INC                                                                                                                                                                                              SPONAUGLE                                                                                                                                                 08328            832865089
                                                            CHAMPPS OPERATING                                                                                                                                                                                            VAN W.
          36 NO COPY              65233          13-13227                               AUSTIN TRUMPP        VALLEY PROTEINS            SERVICE AGREEMENT        GREASE REMOVAL SERVICE                                    -     65233       4/23/2013         4/23/2017                151 VALPRO DRIVE                                                      WINCHESTER    VA           22603
                                                            CORPORATION                                                                                                                                                                                                  KLOEMPKEN                                                                                                                                                 08328            832865233
                                                            CHAMPPS OPERATING                                                                                                                                                                                            VAN W.
          37 NO COPY              65238          13-13227                               AUSTIN TRUMPP        VALLEY PROTEINS            SERVICE AGREEMENT        GREASE REMOVAL SERVICE                                    -     65238       4/23/2013         4/23/2017                151 VALPRO DRIVE                                                      WINCHESTER    VA           22603
                                                            CORPORATION                                                                                                                                                                                                  KLOEMPKEN                                                                                                                                                 08328            832865238
                                                            CHAMPPS OPERATING
          38 NO COPY              65253          13-13227                               AUSTIN TRUMPP        VALLEY PROTEINS            SERVICE AGREEMENT        GREASE REMOVAL SERVICE                                    -     65253       4/21/2011         4/21/2014 DAVE SCHAIBLE 151 VALPRO DRIVE                                                       WINCHESTER    VA           22603
                                                            CORPORATION                                                                                                                                                                                                                                                                                                                                                            08328            832865253
                                                            TENT RESTAURANT                                                                                      HVAC PREVENTATIVE
          39 NO COPY              65033          13-13259                               DAVID HUYETT         A COMFORT SERVICE INC      SERVICE AGREEMENT                                                              654.11                                                           8600 PERRY HWY                                                        PITTSBURG     PA           15237                                     04666
                                                            OPERATIONS, INC.                                                                                     MAINTENANCE CONTRACT                                                                                                                                                                                                                                                               466665033
                                                                                                             AIR TECH MECHANICAL SVS                             HVAC PREVENTATIVE
          40 NO COPY              65091          13-13246   FOX & HOUND OF OHIO, INC.   DAVID HUYETT                                    SERVICE AGREEMENT                                                                  -                                                            7010 RIPPLE RD                                                        CLEVES        OH           45002
                                                                                                             INC                                                 MAINTENANCE CONTRACT                                                                                                                                                                                                                                                                   65091
                                                            FOX & HOUND OF INDIANA,                                                                              HVAC PREVENTATIVE
          41 NO COPY              65079          13-13237                               DAVID HUYETT         AIRMASTER                  SERVICE AGREEMENT                                                                  -                                                            5416 N COLLEGE AVE                                                    INDIANAPOLIS IN            46220
                                                            INC.                                                                                                 MAINTENANCE CONTRACT                                                                                                                                                                                                                                                                   65079
                                                                                                             ALLIANCE MECHANICAL                                 HVAC PREVENTATIVE
          42 NO COPY              65016          13-13236   FOX & HOUND OF ILLINOIS     DAVID HUYETT                                    SERVICE AGREEMENT                                                             1,219.03                                                          100 FRONTIER WAY                                                      BENSENVILLE   IL           60106                                     10539
                                                                                                             SERVICES                                            MAINTENANCE CONTRACT                                                                                                                                                                                                                                                              1053965016
                                                                                                             ALLIANCE MECHANICAL                                 HVAC PREVENTATIVE
          43 NO COPY              65055          13-13236   FOX & HOUND OF ILLINOIS     DAVID HUYETT                                    SERVICE AGREEMENT                                                             1,752.44                                                          100 FRONTIER WAY                                                      BENSENVILLE   IL           60106                                     10539
                                                                                                             SERVICES                                            MAINTENANCE CONTRACT                                                                                                                                                                                                                                                              1053965055
                                                                                                             ALLIANCE MECHANICAL                                 HVAC PREVENTATIVE
          44 NO COPY              65060          13-13236   FOX & HOUND OF ILLINOIS     DAVID HUYETT                                    SERVICE AGREEMENT                                                             2,864.42                                                          100 FRONTIER WAY                                                      BENSENVILLE   IL           60106                                     10539
                                                                                                             SERVICES                                            MAINTENANCE CONTRACT                                                                                                                                                                                                                                                              1053965060
                                                                                                             ALLIANCE MECHANICAL                                 HVAC PREVENTATIVE
          45 NO COPY              65076          13-13236   FOX & HOUND OF ILLINOIS     DAVID HUYETT                                    SERVICE AGREEMENT                                                              881.75                                                           100 FRONTIER WAY                                                      BENSENVILLE   IL           60106                                     10539
                                                                                                             SERVICES                                            MAINTENANCE CONTRACT                                                                                                                                                                                                                                                              1053965076
                                                            CHAMPPS OPERATING                                ALLIANCE MECHANICAL                                 HVAC PREVENTATIVE
          46 NO COPY              65215          13-13227                               DAVID HUYETT                                    SERVICE AGREEMENT                                                             6,860.11                                                          100 FRONTIER WAY                                                      BENSENVILLE   IL           60106                                     10539
                                                            CORPORATION                                      SERVICES                                            MAINTENANCE CONTRACT                                                                                                                                                                                                                                                              1053965215
                                                            CHAMPPS OPERATING                                ALLIANCE MECHANICAL                                 HVAC PREVENTATIVE
          47 NO COPY              65222          13-13227                               DAVID HUYETT                                    SERVICE AGREEMENT                                                             1,402.08                                                          100 FRONTIER WAY                                                      BENSENVILLE   IL           60106                                     10539
                                                            CORPORATION                                      SERVICES                                            MAINTENANCE CONTRACT                                                                                                                                                                                                                                                              1053965222
                                                            CHAMPPS OPERATING                                ALLIANCE MECHANICAL                                 HVAC PREVENTATIVE
          48 NO COPY              65228          13-13227                               DAVID HUYETT                                    SERVICE AGREEMENT                                                             1,241.27                                                          100 FRONTIER WAY                                                      BENSENVILLE   IL           60106                                     10539
                                                            CORPORATION                                      SERVICES                                            MAINTENANCE CONTRACT                                                                                                                                                                                                                                                              1053965228
                                                            FOX & HOUND OF INDIANA,                          ALLIANCE MECHANICAL                                 HVAC PREVENTATIVE
          49 NO COPY              65035          13-13237                               DAVID HUYETT                                    SERVICE AGREEMENT                                                                  -                                                            100 FRONTIER WAY                                                      BENSENVILLE   IL           60106                                     10539
                                                            INC.                                             SERVICES                                            MAINTENANCE CONTRACT                                                                                                                                                                                                                                                              1053965035
                                                            CHAMPPS OPERATING                                ALLIANCE MECHANICAL                                 HVAC PREVENTATIVE
          50 NO COPY              65250          13-13227                               DAVID HUYETT                                    SERVICE AGREEMENT                                                             1,183.23                                                          100 FRONTIER WAY                                                      BENSENVILLE   IL           60106                                     10539
                                                            CORPORATION                                      SERVICES                                            MAINTENANCE CONTRACT                                                                                                                                                                                                                                                              1053965250
                                                            CHAMPPS OPERATING                                AMERICAN MECHANICAL                                 HVAC PREVENTATIVE
          51 NO COPY              65211          13-13227                               DAVID HUYETT                                    SERVICE AGREEMENT                                                                  -                                                            5729 WESTBOURNE AVE                                                   COLUMBUS      OH           43213                                             30249
                                                            CORPORATION                                      GROUP INC                                           MAINTENANCE CONTRACT                                                                                                                                                                                                                                                              3024965211
                                                            CHAMPPS OPERATING                                AMERICAN MECHANICAL                                 HVAC PREVENTATIVE
          52 NO COPY              65212          13-13227                               DAVID HUYETT                                    SERVICE AGREEMENT                                                             5,710.81                                                          5729 WESTBOURNE AVE                                                   COLUMBUS      OH           43213                                             30249
                                                            CORPORATION                                      GROUP INC                                           MAINTENANCE CONTRACT                                                                                                                                                                                                                                                              3024965212
                                                            CHAMPPS OPERATING                                AMERICAN MECHANICAL                                 HVAC PREVENTATIVE
          53 NO COPY              65218          13-13227                               DAVID HUYETT                                    SERVICE AGREEMENT                                                                  -                                                            5729 WESTBOURNE AVE                                                   COLUMBUS      OH           43213                                             30249
                                                            CORPORATION                                      GROUP INC                                           MAINTENANCE CONTRACT                                                                                                                                                                                                                                                              3024965218
                                                            FOX & HOUND OF INDIANA,                          BRYANT HEATING & AIR CO                             HVAC PREVENTATIVE
          54 NO COPY              65035          13-13237                               DAVID HUYETT                                    SERVICE AGREEMENT                                                                  -                                                            3908 NORTH COLLEGE AVE                                                INDIANAPOLIS IN            46205                                     32640
                                                            INC.                                             INC                                                 MAINTENANCE CONTRACT                                                                                                                                                                                                                                                              3264065035




2491306-3                                                                                                                                                                                                                                        2.4(m) - 1
                                                                                                                                                                                 Case 13-13220-KG                    Doc 506-1                               Filed 03/17/14                                       Page 296 of 362

     ID        Epiq Contract No   Store Number       Case               Debtor           Responsible Person       Contract Counter Party         Type of Contract        Description of Contract   Assume   Reject   Cure Amount Contract NoDate of Contract
                                                                                                                                                                                                                                                          Termination Date    Attention                    Address 1      Address 2   Address 3   Address 4          City        State       Zip   Country       Email      Phone   Fax      Vendor        A/P code
                                                            TENT RESTAURANT                                   COMMERCIAL                                            HVAC PREVENTATIVE
          55 NO COPY              65007          13-13259                                DAVID HUYETT                                      SERVICE AGREEMENT                                                                  -                                                           701 HIGHLAND DR                                                     WHITE HOUSE TN             37188                                            30370
                                                            OPERATIONS, INC.                                  MAINTENANCE SERVICES                                  MAINTENANCE CONTRACT                                                                                                                                                                                                                                                                  3037065007
                                                            TENT RESTAURANT                                   COMMERCIAL                                            HVAC PREVENTATIVE
          56 NO COPY              65014          13-13259                                DAVID HUYETT                                      SERVICE AGREEMENT                                                                  -                                                           701 HIGHLAND DR                                                     WHITE HOUSE TN             37188                                            30370
                                                            OPERATIONS, INC.                                  MAINTENANCE SERVICES                                  MAINTENANCE CONTRACT                                                                                                                                                                                                                                                                  3037065014
                                                            TENT RESTAURANT                                   COMMERCIAL                                            HVAC PREVENTATIVE
          57 NO COPY              65041          13-13259                                DAVID HUYETT                                      SERVICE AGREEMENT                                                                  -                                                           701 HIGHLAND DR                                                     WHITE HOUSE TN             37188                                            30370
                                                            OPERATIONS, INC.                                  MAINTENANCE SERVICES                                  MAINTENANCE CONTRACT                                                                                                                                                                                                                                                                  3037065041
                                                            FOX & HOUND OF ARIZONA,                           COOL BREEZE AIR SOLUTIONS                             HVAC PREVENTATIVE
          58 NO COPY              65057          13-13234                                DAVID HUYETT                                      SERVICE AGREEMENT                                                                  -                                                           2626 S 4TH AVE                                                      TUCSON        AZ           85713                                            32603
                                                            INC.                                              LLC                                                   MAINTENANCE CONTRACT                                                                                                                                                                                                                                                                  3260365057
                                                            TENT RESTAURANT                                                                                         HVAC PREVENTATIVE
          59 NO COPY              65080          13-13259                                DAVID HUYETT         CSI                          SERVICE AGREEMENT                                                                  -                                                           18405 EDISON AVE                                                    CHESTERFIELD MO            63005                                            14560
                                                            OPERATIONS, INC.                                                                                        MAINTENANCE CONTRACT                                                                                                                                                                                                                                                                  1456065080
                                                            TENT RESTAURANT                                   DENNYS HEATING AND                                    HVAC PREVENTATIVE
          60 NO COPY              65027          13-13259                                DAVID HUYETT                                      SERVICE AGREEMENT                                                             1,140.00                                                         3166 MARTIN RD                                                      WALLED LAKE MI             48390                                            31377
                                                            OPERATIONS, INC.                                  COOLING                                               MAINTENANCE CONTRACT                                                                                                                                                                                                                                                                  3137765027
                                                            TENT RESTAURANT                                   DENNYS HEATING AND                                    HVAC PREVENTATIVE
          61 NO COPY              65038          13-13259                                DAVID HUYETT                                      SERVICE AGREEMENT                                                             1,286.50                                                         3166 MARTIN RD                                                      WALLED LAKE MI             48390                                            31377
                                                            OPERATIONS, INC.                                  COOLING                                               MAINTENANCE CONTRACT                                                                                                                                                                                                                                                                  3137765038
                                                            TENT RESTAURANT                                   DENNYS HEATING AND                                    HVAC PREVENTATIVE
          62 NO COPY              65070          13-13259                                DAVID HUYETT                                      SERVICE AGREEMENT                                                              405.00                                                          3166 MARTIN RD                                                      WALLED LAKE MI             48390                                            31377
                                                            OPERATIONS, INC.                                  COOLING                                               MAINTENANCE CONTRACT                                                                                                                                                                                                                                                                  3137765070
                                                            CHAMPPS OPERATING                                 DENNYS HEATING AND                                    HVAC PREVENTATIVE
          63 NO COPY              65216          13-13227                                DAVID HUYETT                                      SERVICE AGREEMENT                                                                  -                                                           3166 MARTIN RD                                                      WALLED LAKE MI             48390                                            31377
                                                            CORPORATION                                       COOLING                                               MAINTENANCE CONTRACT                                                                                                                                                                                                                                                                  3137765216
                                                            CHAMPPS OPERATING                                                                                       HVAC PREVENTATIVE
          64 NO COPY              65234          13-13227                                DAVID HUYETT         DIVINE MECHANICAL INC        SERVICE AGREEMENT                                                             1,251.21                                                         P.O. BOX 280549                                                     LAKEWOOD      CO           80228                                            15606
                                                            CORPORATION                                                                                             MAINTENANCE CONTRACT                                                                                                                                                                                                                                                                  1560665234
                                                            FOX & HOUND OF KANSAS,                            DT MECHANICAL SERVICE CO                              HVAC PREVENTATIVE
          65 NO COPY              65029          13-13238                                DAVID HUYETT                                      SERVICE AGREEMENT                                                              799.31                                                          P.O. BOX 964                                                        OLATHA        KS           66051                                            14348
                                                            INC.                                              INC                                                   MAINTENANCE CONTRACT                                                                                                                                                                                                                                                                  1434865029
                                                            TENT RESTAURANT                                   FILTER SERVICE                                        HVAC PREVENTATIVE
          66 NO COPY              65031          13-13259                                DAVID HUYETT                                      SERVICE AGREEMENT                                                                  -                                                           9900 TWO ROBINS CT                                                  RALIEGH       NC           27613
                                                            OPERATIONS, INC.                                  INTERNATIONAL                                         MAINTENANCE CONTRACT                                                                                                                                                                                                                                                                       65031
                                                            TENT RESTAURANT                                   FILTER SERVICE                                        HVAC PREVENTATIVE
          67 NO COPY              65077          13-13259                                DAVID HUYETT                                      SERVICE AGREEMENT                                                                  -                                                           9900 TWO ROBINS CT                                                  RALIEGH       NC           27613
                                                            OPERATIONS, INC.                                  INTERNATIONAL                                         MAINTENANCE CONTRACT                                                                                                                                                                                                                                                                       65077
                                                            CHAMPPS OPERATING                                 FILTER SERVICE                                        HVAC PREVENTATIVE
          68 NO COPY              65238          13-13227                                DAVID HUYETT                                      SERVICE AGREEMENT                                                                  -                                                           9900 TWO ROBINS CT                                                  RALIEGH       NC           27613
                                                            CORPORATION                                       INTERNATIONAL                                         MAINTENANCE CONTRACT                                                                                                                                                                                                                                                                       65238
                                                            TENT RESTAURANT                                                                                         HVAC PREVENTATIVE
          69 NO COPY              65066          13-13259                                DAVID HUYETT         G&R MECHANICAL INC           SERVICE AGREEMENT                                                             2,297.20                                                         311 RUTH ROAD                                                       HARLEYSVILLE PA            19438
                                                            OPERATIONS, INC.                                                                                        MAINTENANCE CONTRACT                                                                                                                                                                                                                                                  08901            890165066
                                                            FOX & HOUND OF NEW                                                                                      HVAC PREVENTATIVE
          70 NO COPY              65073          13-13244                                DAVID HUYETT         G&R MECHANICAL INC           SERVICE AGREEMENT                                                                  -                                                           311 RUTH ROAD                                                       HARLEYSVILLE PA            19438
                                                            JERSEY, INC.                                                                                            MAINTENANCE CONTRACT                                                                                                                                                                                                                                                  08901            890165073
                                                            CHAMPPS OPERATING                                                                                       HVAC PREVENTATIVE
          71 NO COPY              65203          13-13227                                DAVID HUYETT         G&R MECHANICAL INC           SERVICE AGREEMENT                                                             1,795.88                                                         311 RUTH ROAD                                                       HARLEYSVILLE PA            19438
                                                            CORPORATION                                                                                             MAINTENANCE CONTRACT                                                                                                                                                                                                                                                  08901            890165203
                                                            CHAMPPS OPERATING                                                                                       HVAC PREVENTATIVE
          72 NO COPY              65204          13-13227                                DAVID HUYETT         G&R MECHANICAL INC           SERVICE AGREEMENT                                                             2,485.02                                                         311 RUTH ROAD                                                       HARLEYSVILLE PA            19438
                                                            CORPORATION                                                                                             MAINTENANCE CONTRACT                                                                                                                                                                                                                                                  08901            890165204
                                                            CHAMPPS OPERATING                                                                                       HVAC PREVENTATIVE
          73 NO COPY              65230          13-13227                                DAVID HUYETT         G&R MECHANICAL INC           SERVICE AGREEMENT                                                             1,810.30                                                         311 RUTH ROAD                                                       HARLEYSVILLE PA            19438
                                                            CORPORATION                                                                                             MAINTENANCE CONTRACT                                                                                                                                                                                                                                                  08901            890165230
                                                            CHAMPPS OPERATING                                                                                       HVAC PREVENTATIVE
          74 NO COPY              65252          13-13227                                DAVID HUYETT         G&R MECHANICAL INC           SERVICE AGREEMENT                                                             1,056.42                                                         311 RUTH ROAD                                                       HARLEYSVILLE PA            19438
                                                            CORPORATION                                                                                             MAINTENANCE CONTRACT                                                                                                                                                                                                                                                  08901            890165252
                                                            FOX & HOUND OF NEBRASKA,                                                                                HVAC PREVENTATIVE
          75 NO COPY              65015          13-13243                                DAVID HUYETT         GOODWIN TUCKER               SERVICE AGREEMENT                                                                  -                                                           7535 D ST.                                                          OMAHA         NE           68124
                                                            INC.                                                                                                    MAINTENANCE CONTRACT                                                                                                                                                                                                                                                                       65015
                                                            CHAMPPS OPERATING                                                                                       HVAC PREVENTATIVE                                                                                                                                                                         POMPANO
          76 NO COPY              65213          13-13227                                DAVID HUYETT         GREYSTONE REFRIGERATION SERVICE AGREEMENT                                                                    65.00                                                          1025 NORTHWEST 31ST AVE                                                           FL           33069                                            14438
                                                            CORPORATION                                                                                             MAINTENANCE CONTRACT                                                                                                                                                                      BEACH                                                                                       1443865213
                                                            TENT RESTAURANT                                                                                         HVAC PREVENTATIVE                                                                                                                                                                         WINSTON-
          77 NO COPY              65034          13-13259                                DAVID HUYETT         GWYN INC                     SERVICE AGREEMENT                                                                  -                                                           3941 WESTPOINT BLVD                                                               NC           27103                                                    32473
                                                            OPERATIONS, INC.                                                                                        MAINTENANCE CONTRACT                                                                                                                                                                      SALEM                                                                                       3247365034
                                                            CHAMPPS OPERATING                                 INDUSTRIAL MECHANICAL                                 HVAC PREVENTATIVE
          78 NO COPY              65220          13-13227                                DAVID HUYETT                                      SERVICE AGREEMENT                                                                  -                                                           4838 DUFF DR STE A                                                  CINCINNATI    OH           45246                                            30588
                                                            CORPORATION                                       CONTRACTORS INC                                       MAINTENANCE CONTRACT                                                                                                                                                                                                                                                                  3058865220
                                                            CHAMPPS OPERATING                                 KAROLYIS HEATING COOLING                              HVAC PREVENTATIVE
          79 NO COPY              65217          13-13227                                DAVID HUYETT                                  SERVICE AGREEMENT                                                                 3,091.62                                                         24521 DALE AVE                                                      EASTPOINTE    MI           48021                                            17529
                                                            CORPORATION                                       & REFRIGERATION                                       MAINTENANCE CONTRACT
                                                                                                                                                                                                                                                                                                                                                                                                                                                          1752965217
                                                            TENT RESTAURANT                                   KEEP HEATING & COOLING                                HVAC PREVENTATIVE
          80 NO COPY              65023          13-13259                                DAVID HUYETT                                      SERVICE AGREEMENT                                                             1,144.00                                                         141 E 26TH ST                                                       ERIE          PA           16504                                            07757
                                                            OPERATIONS, INC.                                  INC                                                   MAINTENANCE CONTRACT                                                                                                                                                                                                                                                                   775765023
                                                            F & H RESTAURANT OF TEXAS,                                                                              HVAC PREVENTATIVE                                                                                                                                                                         FLOWER
          81 NO COPY              65008          13-13233                                DAVID HUYETT         MY TECH TEXAS LLC            SERVICE AGREEMENT                                                             6,085.98                                                         2201 LONG PRAIRIE RD #107-153                                                     TX           75022                                            35231
                                                            INC.                                                                                                    MAINTENANCE CONTRACT                                                                                                                                                                      MOUND                                                                                       3523165008
                                                            F & H RESTAURANT OF TEXAS,                                                                              HVAC PREVENTATIVE                                                                                                                                                                         FLOWER
          82 NO COPY              65042          13-13233                                DAVID HUYETT         MY TECH TEXAS LLC            SERVICE AGREEMENT                                                             3,710.91                                                         2201 LONG PRAIRIE RD #107-153                                                     TX           75022                                            35231
                                                            INC.                                                                                                    MAINTENANCE CONTRACT                                                                                                                                                                      MOUND                                                                                       3523165042
                                                            F & H RESTAURANT OF TEXAS,                                                                              HVAC PREVENTATIVE                                                                                                                                                                         FLOWER
          83 NO COPY              65043          13-13233                                DAVID HUYETT         MY TECH TEXAS LLC            SERVICE AGREEMENT                                                             3,519.05                                                         2201 LONG PRAIRIE RD #107-153                                                     TX           75022                                            35231
                                                            INC.                                                                                                    MAINTENANCE CONTRACT                                                                                                                                                                      MOUND                                                                                       3523165043
                                                            F & H RESTAURANT OF TEXAS,                                                                              HVAC PREVENTATIVE                                                                                                                                                                         FLOWER
          84 NO COPY              65052          13-13233                                DAVID HUYETT         MY TECH TEXAS LLC            SERVICE AGREEMENT                                                             3,028.48                                                         2201 LONG PRAIRIE RD #107-153                                                     TX           75022                                            35231
                                                            INC.                                                                                                    MAINTENANCE CONTRACT                                                                                                                                                                      MOUND                                                                                       3523165052
                                                            CHAMPPS OPERATING                                 NORTH WINDS HEATING &                                 HVAC PREVENTATIVE
          85 NO COPY              65242          13-13227                                DAVID HUYETT                                      SERVICE AGREEMENT                                                              705.00                                                          2861 JOLLY RD                                                       OKENOS        MI           48864                                            15367
                                                            CORPORATION                                       COOLING                                               MAINTENANCE CONTRACT                                                                                                                                                                                                                                                                  1536765242
                                                            TENT RESTAURANT                                   PREMIER SERVICES GROUP                                HVAC PREVENTATIVE
          86 NO COPY              65009          13-13259                                DAVID HUYETT                                      SERVICE AGREEMENT                                                             1,647.21 65009         11/13/2013       11/13/2014               333 TROY CIRCLE #P                                                  KNOXVILLE     TN           37919               865-558-5711                 32848
                                                            OPERATIONS, INC                                   INC                                                   MAINTENANCE CONTRACT                                                                                                                                                                                                                                                                  3284865009
                                                            TENT RESTAURANT                                   PREMIER SERVICES GROUP                                HVAC PREVENTATIVE
          87 NO COPY              65009          13-13259                                DAVID HUYETT                                      SERVICE AGREEMENT                                                                  -                                                           333 TROY CIRCLE                                                     KNOXVILLE     TN           37919
                                                            OPERATIONS, INC.                                  INC                                                   MAINTENANCE CONTRACT                                                                                                                                                                                                                                                                       65009
                                                            TENT RESTAURANT                                                                                         HVAC PREVENTATIVE
          88 NO COPY              65071          13-13259                                DAVID HUYETT         PUTNAM MECHANICAL INC        SERVICE AGREEMENT                                                             1,045.00                                                         P.O. BOX 3606                                                       MOORESVILLE SC             28117                                            14038
                                                            OPERATIONS, INC.                                                                                        MAINTENANCE CONTRACT                                                                                                                                                                                                                                                                  1403865071
                                                            TENT RESTAURANT                                                                                         HVAC PREVENTATIVE
          89 NO COPY              65093          13-13259                                DAVID HUYETT         PUTNAM MECHANICAL INC        SERVICE AGREEMENT                                                                  -                                                           P.O. BOX 3606                                                       MOORESVILLE SC             28117                                            14038
                                                            OPERATIONS, INC.                                                                                        MAINTENANCE CONTRACT                                                                                                                                                                                                                                                                  1403865093
                                                            TENT RESTAURANT                                                                                         HVAC PREVENTATIVE
          90 NO COPY              65002          13-13259                                DAVID HUYETT         PUTNAM MECHANICAL INC        SERVICE AGREEMENT                                                             1,115.00                                                         P.O. BOX 3606                                                       MOORESVILLE SC             28117                                            14038
                                                            OPERATIONS, INC.                                                                                        MAINTENANCE CONTRACT                                                                                                                                                                                                                                                                  1403865002
                                                            FOX & HOUND OF                                                                                          HVAC PREVENTATIVE
          91 NO COPY              65045          13-13235                                DAVID HUYETT         PUTNAM MECHANICAL INC        SERVICE AGREEMENT                                                              220.00                                                          P.O. BOX 3606                                                       MOORESVILLE SC             28117                                            14038
                                                            COLORADO, INC.                                                                                          MAINTENANCE CONTRACT                                                                                                                                                                                                                                                                  1403865045
                                                            TENT RESTAURANT                                                                                         HVAC PREVENTATIVE
          92 NO COPY              65047          13-13259                                DAVID HUYETT         PUTNAM MECHANICAL INC        SERVICE AGREEMENT                                                             2,740.00                                                         P.O. BOX 3606                                                       MOORESVILLE SC             28117                                            14038
                                                            OPERATIONS, INC.                                                                                        MAINTENANCE CONTRACT                                                                                                                                                                                                                                                                  1403865047
                                                            CHAMPPS OPERATING                                                                                       HVAC PREVENTATIVE
          93 NO COPY              65221          13-13227                                DAVID HUYETT         RAYFORD MECHANICAL           SERVICE AGREEMENT                                                                  -                                                           3520 ALDINE BENDER SUITE A                                          HOUSTON       TX           77032
                                                            CORPORATION                                                                                             MAINTENANCE CONTRACT                                                                                                                                                                                                                                                                       65221
                                                            ALABAMA FOX & HOUND,                              REGIONS HEATING AND AIR                               HVAC PREVENTATIVE
          94 NO COPY              65084          13-13222                                DAVID HUYETT                                      SERVICE AGREEMENT                                                                  -                                                           9018 SPARKS DRIVE                                                   WARRIOR       AL           35180
                                                            INC.                                              LLC                                                   MAINTENANCE CONTRACT                                                                                                                                                                                                                                                                       65084
                                                            FOX & HOUND OF                                                                                          HVAC PREVENTATIVE
          95 NO COPY              65059          13-13235                                DAVID HUYETT         RK MECHANICAL INC            SERVICE AGREEMENT                                                              301.00                                                          3800 XANTHIA ST                                                     DENVER        CO           80238                                            35380
                                                            COLORADO, INC.                                                                                          MAINTENANCE CONTRACT                                                                                                                                                                                                                                                                  3538065059
                                                            TENT RESTAURANT                                                                                         HVAC PREVENTATIVE
          96 NO COPY              65092          13-13259                                DAVID HUYETT         RK MECHANICAL INC            SERVICE AGREEMENT                                                              311.00                                                          3800 XANTHIA ST                                                     DENVER        CO           80238                                            35380
                                                            OPERATIONS, INC.                                                                                        MAINTENANCE CONTRACT                                                                                                                                                                                                                                                                  3538065092
                                                            FOX & HOUND OF                                                                                          HVAC PREVENTATIVE
          97 NO COPY              65049          13-13235                                DAVID HUYETT         RK MECHANICAL INC            SERVICE AGREEMENT                                                             4,798.19                                                         3800 XANTHIA ST                                                     DENVER        CO           80238                                            35380
                                                            COLORADO, INC.                                                                                          MAINTENANCE CONTRACT                                                                                                                                                                                                                                                                  3538065049
                                                            FOX & HOUND OF                                                                                          HVAC PREVENTATIVE
          98 NO COPY              65075          13-13247                                DAVID HUYETT         SEWELL MECHANICAL INC        SERVICE AGREEMENT                                                             1,777.00                                                         4813 S 101ST E AVE                                                  TULSA         OK           74146                                            08068
                                                            OKLAHOMA, INC.                                                                                          MAINTENANCE CONTRACT                                                                                                                                                                                                                                                                   806865075
                                                            TENT RESTAURANT                                                                                         HVAC PREVENTATIVE
          99 NO COPY              65010          13-13259                                DAVID HUYETT         SPEARS SERVICES INC          SERVICE AGREEMENT                                                                  -                                                           P.O. BOX 3428 CRS                                                   JOHNSON CITY TN            37602
                                                            OPERATIONS, INC.                                                                                        MAINTENANCE CONTRACT                                                                                                                                                                                                                                                                       65010
                                                            CHAMPPS OPERATING                                 STEINGASS MECHANICAL                                  HVAC PREVENTATIVE
          100 NO COPY             65210          13-13227                                DAVID HUYETT                                      SERVICE AGREEMENT                                                             2,964.79                                                         754 PROGRESS DRIVE                                                  MEDINA        OH           44256                                            17286
                                                            CORPORATION                                       CONTRACTING INC                                       MAINTENANCE CONTRACT                                                                                                                                                                                                                                                                  1728665210
                                                            FOX & HOUND OF LOUISIANA,                         STEINGASS MECHANICAL                                  HVAC PREVENTATIVE
          101 NO COPY             65037          13-13241                                DAVID HUYETT                                      SERVICE AGREEMENT                                                                  -                                                           754 PROGRESS DRIVE                                                  MEDINA        OH           44256                                            17286
                                                            INC.                                              CONTRACTING INC                                       MAINTENANCE CONTRACT                                                                                                                                                                                                                                                                  1728665037
                                                            CHAMPPS OPERATING                                 STEINGASS MECHANICAL                                  HVAC PREVENTATIVE
          102 NO COPY             65245          13-13227                                DAVID HUYETT                                      SERVICE AGREEMENT                                                                  -                                                           754 PROGRESS DRIVE                                                  MEDINA        OH           44256                                            17286
                                                            CORPORATION                                       CONTRACTING INC                                       MAINTENANCE CONTRACT                                                                                                                                                                                                                                                                  1728665245
                                                            TENT RESTAURANT                                   TEMPERATURE CONTROL                                   HVAC PREVENTATIVE
          103 NO COPY             65062          13-13259                                DAVID HUYETT                                      SERVICE AGREEMENT                                                             7,649.85                                                         11197 LEADBETTER RD                                                 ASHLAND       PA           23005
                                                            OPERATIONS, INC.                                  MECHANICAL SERVICES INC                               MAINTENANCE CONTRACT
                                                                                                                                                                                                                                                                                                                                                                                                                                          06291            629165062
                                                            TENT RESTAURANT                                   TEMPERATURE CONTROL                                   HVAC PREVENTATIVE
          104 NO COPY             65067          13-13259                                DAVID HUYETT                                      SERVICE AGREEMENT                                                             3,883.18                                                         11197 LEADBETTER RD                                                 ASHLAND       PA           23005
                                                            OPERATIONS, INC.                                  MECHANICAL SERVICES INC                               MAINTENANCE CONTRACT
                                                                                                                                                                                                                                                                                                                                                                                                                                          06291            629165067




2491306-3                                                                                                                                                                                                                                           2.4(m) - 2
                                                                                                                                                                            Case 13-13220-KG                        Doc 506-1                               Filed 03/17/14                                         Page 297 of 362

     ID        Epiq Contract No   Store Number       Case             Debtor         Responsible Person     Contract Counter Party          Type of Contract        Description of Contract       Assume   Reject   Cure Amount Contract NoDate of Contract
                                                                                                                                                                                                                                                         Termination Date       Attention                   Address 1       Address 2    Address 3   Address 4        City          State       Zip   Country   Email   Phone   Fax      Vendor        A/P code
                                                                                                                                                                                                                                                                                                                                                                 11197
                                                            TENT RESTAURANT                               TEMPERATURE CONTROL                                  HVAC PREVENTATIVE
          105 NO COPY             65078          13-13259                            DAVID HUYETT                                    SERVICE AGREEMENT                                                                  4,885.93                                                            11197 LEADBETTER RD                                                  LEADBETTER    PA           23005
                                                            OPERATIONS, INC.                              MECHANICAL SERVICES INC                              MAINTENANCE CONTRACT
                                                                                                                                                                                                                                                                                                                                                                 RD                                                                   06291            629165078
                                                            FOX & HOUND OF                                TEMPERATURE CONTROL                                  HVAC PREVENTATIVE
          106 NO COPY             65082          13-13242                            DAVID HUYETT                                    SERVICE AGREEMENT                                                                  2,533.72                                                            11197 LEADBETTER RD                                                  ASHLAND       PA           23005
                                                            MARYLAND, INC.                                MECHANICAL SERVICES INC                              MAINTENANCE CONTRACT
                                                                                                                                                                                                                                                                                                                                                                                                                                      06291            629165082
                                                            TENT RESTAURANT                               TEMPERATURE CONTROL                                  HVAC PREVENTATIVE
          107 NO COPY             65086          13-13259                            DAVID HUYETT                                    SERVICE AGREEMENT                                                                       -                                                              11197 LEADBETTER RD                                                  ASHLAND       PA           23005
                                                            OPERATIONS, INC.                              MECHANICAL SERVICES INC                              MAINTENANCE CONTRACT
                                                                                                                                                                                                                                                                                                                                                                                                                                      06291            629165086
                                                            CHAMPPS OPERATING                             TEMPERATURE CONTROL                                  HVAC PREVENTATIVE
          108 NO COPY             65207          13-13227                            DAVID HUYETT                                    SERVICE AGREEMENT                                                                       -                                                              11197 LEADBETTER RD                                                  ASHLAND       PA           23005
                                                            CORPORATION                                   MECHANICAL SERVICES INC                              MAINTENANCE CONTRACT
                                                                                                                                                                                                                                                                                                                                                                                                                                      06291            629165207
                                                            CHAMPPS OPERATING                             TEMPERATURE CONTROL                                  HVAC PREVENTATIVE
          109 NO COPY             65226          13-13227                            DAVID HUYETT                                    SERVICE AGREEMENT                                                                  4,936.11                                                            11197 LEADBETTER RD                                                  ASHLAND       PA           23005
                                                            CORPORATION                                   MECHANICAL SERVICES INC                              MAINTENANCE CONTRACT
                                                                                                                                                                                                                                                                                                                                                                                                                                      06291            629165226
                                                            CHAMPPS OPERATING                             TEMPERATURE CONTROL                                  HVAC PREVENTATIVE
          110 NO COPY             65241          13-13227                            DAVID HUYETT                                    SERVICE AGREEMENT                                                                  3,302.50                                                            11197 LEADBETTER RD                                                  ASHLAND       PA           23005
                                                            CORPORATION                                   MECHANICAL SERVICES INC                              MAINTENANCE CONTRACT
                                                                                                                                                                                                                                                                                                                                                                                                                                      06291            629165241
                                                            TENT RESTAURANT                               TEMPERATURE CONTROL                                  HVAC PREVENTATIVE
          111 NO COPY             65051          13-13259                            DAVID HUYETT                                    SERVICE AGREEMENT                                                                       -                                                              11197 LEADBETTER RD                                                  ASHLAND       VA           23005
                                                            OPERATIONS, INC.                              MECHANICAL SERVICES INC                              MAINTENANCE CONTRACT
                                                                                                                                                                                                                                                                                                                                                                                                                                      06291            629165051
                                                            CHAMPPS ENTERTAINMENT                         TOWN EAST HEATING & AIR                              HVAC PREVENTATIVE
          112 NO COPY             65219          13-13225                            DAVID HUYETT                                    SERVICE AGREEMENT                                                                13,217.99                                                             P.O. BOX 850803                                                      MESQUITE      TX           75185                                     05577
                                                            OF TEXAS, INC.                                CONDITIONING COMPANY                                 MAINTENANCE CONTRACT
                                                                                                                                                                                                                                                                                                                                                                                                                                                       557765219
                                                            TENT RESTAURANT                               WARWICK PLUMBING & HTG                               HVAC PREVENTATIVE                                                                                                                                                                                 NEWPORT
          113 NO COPY             65089          13-13259                            DAVID HUYETT                                SERVICE AGREEMENT                                                                      2,678.89                                                            11048 WARWICK BLVD                                                                 VA           23601                                     34267
                                                            OPERATIONS, INC.                              CORP & HEAT                                          MAINTENANCE CONTRACT                                                                                                                                                                              NEWS                                                                                 3426765089
                                                            TENT RESTAURANT                               WEST CHESTER MECHANICAL                              HVAC PREVENTATIVE
          114 NO COPY             65061          13-13259                            DAVID HUYETT                                 SERVICE AGREEMENT                                                                     1,996.00                                                            201 FULTON ST                                                        CHESTER       PA           19013                                     07248
                                                            OPERATIONS, INC.                              CONTRACTORS INC                                      MAINTENANCE CONTRACT
                                                                                                                                                                                                                                                                                                                                                                                                                                                       724865061
                                                            TENT RESTAURANT                                                                                    HVAC PREVENTATIVE
          115 NO COPY             65006          13-13259                            DAVID HUYETT         YAMAS                      SERVICE AGREEMENT                                                                       -                                                              157-A BROZZINI CT                                                    GREENVILLE    SC           29615
                                                            OPERATIONS, INC.                                                                                   MAINTENANCE CONTRACT                                                                                                                                                                                                                                                                        65006
                                                                                                                                                                                                                                                                             TRADITION
                                                                                                          CENTERPOINT ENERGY         NATURAL GAS ENGERGY                                                                                                                     ENERGY,                                    CENTRAL TOWER,
          116 NO COPY             65035          13-13237   FOX AND HOUND OF INDIANA GREG WALDO                                                                                                                          612.00                  1/1/2013       12/31/2014                  5215 N O'CONNOR BLVD                                                 LAS COLINAS   TX           75039                                     20003
                                                                                                          SERVICES INC               CONTRACT                                                                                                                                MICHAEL                                    SUITE 470
                                                                                                                                                                                                                                                                             AYALA, CEC                                                                                                                                                               2000365035
                                                                                                                                                                                                                                                                             TRADITION
                                                                                                          CENTERPOINT ENERGY         NATURAL GAS ENGERGY                                                                                                                     ENERGY,                                    CENTRAL TOWER,
          117 NO COPY             65232          13-13237   FOX AND HOUND OF INDIANA GREG WALDO                                                                                                                              -                   1/1/2013       12/31/2014                  5215 N O'CONNOR BLVD                                                 LAS COLINAS   TX           75039                                     20003
                                                                                                          SERVICES INC               CONTRACT                                                                                                                                MICHAEL                                    SUITE 470
                                                                                                                                                                                                                                                                             AYALA, CEC                                                                                                                                                               2000365232
                                                                                                                                                                                                                                                                             TRADITION
                                                                                                          CENTERPOINT ENERGY         NATURAL GAS ENGERGY                                                                                                                     ENERGY,                                    CENTRAL TOWER,
          118 NO COPY             65205          13-13237   FOX AND HOUND OF INDIANA GREG WALDO                                                                                                                              -                   1/1/2013       12/31/2014                  5215 N O'CONNOR BLVD                                                 LAS COLINAS   TX           75039                                     20003
                                                                                                          SERVICES INC               CONTRACT                                                                                                                                MICHAEL                                    SUITE 470
                                                                                                                                                                                                                                                                             AYALA, CEC                                                                                                                                                               2000365205
                                                                                                                                                                                                                                                                             TRADITION
                                                                                                                                                               LOCATION OF CONTRACT: 1827
                                                            CHAMPPS ENTERTAINMENT,                        CHAMPION ENERGY            ELECTRICITY ENGERGY                                                                                                                     ENERGY,                                    CENTRAL TOWER,
          119 NO COPY             65212          13-13224                            GREG WALDO                                                                OLENTANGY RIVER RD, COLUMBUS,                                 -                   7/1/2011       12/31/2013                  5215 N O'CONNOR BLVD                                                 LAS COLINAS   TX           75039                                             33503
                                                            INC                                           SERVICES, LLC              CONTRACT                                                                                                                                MICHAEL                                    SUITE 470
                                                                                                                                                               OH 43212
                                                                                                                                                                                                                                                                             AYALA, CEC                                                                                                                                                               3350365212
                                                                                                                                                                                                                                                                             TRADITION
                                                                                                                                                               LOCATION OF CONTRACT: 161 E.
                                                            CHAMPPS ENTERTAINMENT,                        CHAMPION ENERGY            ELECTRICITY ENGERGY                                                                                                                     ENERGY,                                    CENTRAL TOWER,
          120 NO COPY             65211          13-13224                            GREG WALDO                                                                CAMPUS VIEW BLVD., COLUMBUS,                                  -                   7/1/2011       12/31/2013                  5215 N O'CONNOR BLVD                                                 LAS COLINAS   TX           75039                                             33503
                                                            INC                                           SERVICES, LLC              CONTRACT                                                                                                                                MICHAEL                                    SUITE 470
                                                                                                                                                               OH 43235
                                                                                                                                                                                                                                                                             AYALA, CEC                                                                                                                                                               3350365211
                                                                                                                                                                                                                                                                             TRADITION
                                                                                                                                                               LOCATION OF CONTRACT: 9424
                                                            CHAMPPS ENTERTAINMENT,                        CHAMPION ENERGY            ELECTRICITY ENGERGY                                                                                                                     ENERGY,                                    CENTRAL TOWER,
          121 NO COPY             65244          13-13224                            GREG WALDO                                                                CIVIC CENTER BLVD, WEST CHESTER,                              -                   4/1/2013        10/1/2013                  5215 N O'CONNOR BLVD                                                 LAS COLINAS   TX           75039                                             33503
                                                            INC                                           SERVICES, LLC              CONTRACT                                                                                                                                MICHAEL                                    SUITE 470
                                                                                                                                                               OH 45069
                                                                                                                                                                                                                                                                             AYALA, CEC                                                                                                                                                               3350365244
                                                                                                                                                                                                                                                                             TRADITION
                                                            FOX AND HOUND                                 CHAMPION ENERGY            ELECTRICITY ENGERGY       LOCATION OF CONTRACT: 250                                                                                     ENERGY,                                    CENTRAL TOWER,
          122 NO COPY             65023          13-13249                            GREG WALDO                                                                                                                              -                   1/1/2011       12/31/2013                  5215 N O'CONNOR BLVD                                                 LAS COLINAS   TX           75039                                             33503
                                                            RESTAURANT GROUP                              SERVICES, LLC              CONTRACT                  MILLCREEK PLAZA, ERIE, PA 16565                                                                               MICHAEL                                    SUITE 470
                                                                                                                                                                                                                                                                             AYALA, CEC                                                                                                                                                               3350365023
                                                                                                                                                                                                                                                                             TRADITION
                                                            CHAMPPS ENERTAINMENT                          CONSTELLATION              NATURAL GAS ENGERGY       LOCATION OF CONTRACT: 301 W                                                                                   ENERGY,                                    CENTRAL TOWER,
          123 NO COPY             65217          13-13224                            GREG WALDO                                                                                                                              -                   1/1/2013       12/31/2014                  5215 N O'CONNOR BLVD                                                 LAS COLINAS   TX           75039                                     14273
                                                            INC                                           NEWENERGY GAS              CONTRACT                  BIG BEAVER RD, TROY, MI 48084                                                                                 MICHAEL                                    SUITE 470
                                                                                                                                                                                                                                                                             AYALA, CEC                                                                                                                                                               1427365217
                                                                                                                                                                                                                                                                             TRADITION
                                                            FOX AND HOUND                                 CONSTELLATION              NATURAL GAS ENGERGY       LOCATION OF CONTRACT: 22099                                                                                   ENERGY,                                    CENTRAL TOWER,
          124 NO COPY             65038          13-13249                            GREG WALDO                                                                                                                              -                   1/1/2013       12/31/2014                  5215 N O'CONNOR BLVD                                                 LAS COLINAS   TX           75039                                     14273
                                                            RESTAURANT GROUP                              NEWENERGY GAS              CONTRACT                  MICHIGAN AVE, CANTON, MI 48124                                                                                MICHAEL                                    SUITE 470
                                                                                                                                                                                                                                                                             AYALA, CEC                                                                                                                                                               1427365038
                                                                                                                                                                                                                                                                             TRADITION
                                                                                                                                                               LOCATION OF CONTRACT: 1777 N
                                                            FOX AND HOUND                                 CONSTELLATION              NATURAL GAS ENGERGY                                                                                                                     ENERGY,                                    CENTRAL TOWER,
          125 NO COPY             65027          13-13249                            GREG WALDO                                                                CANTON CENTER RD, DEARBORN,                                   -                   1/1/2013       12/31/2014                  5215 N O'CONNOR BLVD                                                 LAS COLINAS   TX           75039                                     14273
                                                            RESTAURANT GROUP                              NEWENERGY GAS              CONTRACT                                                                                                                                MICHAEL                                    SUITE 470
                                                                                                                                                               MI 48187
                                                                                                                                                                                                                                                                             AYALA, CEC                                                                                                                                                               1427365027
                                                                                                                                                                                                                                                                             TRADITION
                                                                                                                                                               LOCATION OF CONTRACT: 4737
                                                            CHAMPPS OPERATING                             CONSTELLATION              ELECTRICITY ENGERGY                                                                                                                     ENERGY,                                    CENTRAL TOWER,
          126 NO COPY             65249          13-13227                            GREG WALDO                                                                CONCORD PIKE, STE 455,                                        -                  12/7/2010        12/4/2013                  5215 N O'CONNOR BLVD                                                 LAS COLINAS   TX           75039                                     14273
                                                            CORPORATION                                   NEWENERGY INC              CONTRACT                                                                                                                                MICHAEL                                    SUITE 470
                                                                                                                                                               WILMINGTON, DE 19803
                                                                                                                                                                                                                                                                             AYALA, CEC                                                                                                                                                               1427365249
                                                                                                                                                                                                                                                                             TRADITION
                                                            FOX & HOUND RESTAURANT                        CONSTELLATION              ELECTRICITY ENGERGY       LOCATION OF CONTRACT: 4320 E                                                                                  ENERGY,                                    CENTRAL TOWER,
          127 NO COPY             65016          13-13249                            GREG WALDO                                                                                                                         1,906.63               12/15/2010       12/16/2013                  5215 N O'CONNOR BLVD                                                 LAS COLINAS   TX           75039                                     14273
                                                            GROUP                                         NEWENERGY INC              CONTRACT                  NEW YORK AVE, AURORA, IL 60504                                                                                MICHAEL                                    SUITE 470
                                                                                                                                                                                                                                                                             AYALA, CEC                                                                                                                                                               1427365016
                                                                                                                                                                                                                                                                             TRADITION
                                                                                                                                                               LOCATION OF CONTRACT: 916 W
                                                            FOX & HOUND RESTAURANT                        CONSTELLATION              ELECTRICITY ENGERGY                                                                                                                     ENERGY,                                    CENTRAL TOWER,
          128 NO COPY             65060          13-13249                            GREG WALDO                                                                DUNDEE RD, ARLINGTON HEIGHTS,                            3,225.81               12/14/2010       12/13/2013                  5215 N O'CONNOR BLVD                                                 LAS COLINAS   TX           75039                                     14273
                                                            GROUP                                         NEWENERGY INC              CONTRACT                                                                                                                                MICHAEL                                    SUITE 470
                                                                                                                                                               IL 60004
                                                                                                                                                                                                                                                                             AYALA, CEC                                                                                                                                                               1427365060
                                                                                                                                                                                                                                                                             TRADITION
                                                                                                                                                               LOCATION OF CONTRACT: 918 W
                                                            FOX & HOUND RESTAURANT                        CONSTELLATION              ELECTRICITY ENGERGY                                                                                                                     ENERGY,                                    CENTRAL TOWER,
          129 NO COPY             65060          13-13249                            GREG WALDO                                                                DUNDEE RD, ARLINGTON HEIGHTS,                                 -                 12/14/2010       12/13/2013                  5215 N O'CONNOR BLVD                                                 LAS COLINAS   TX           75039                                     14273
                                                            GROUP                                         NEWENERGY INC              CONTRACT                                                                                                                                MICHAEL                                    SUITE 470
                                                                                                                                                               IL 60004
                                                                                                                                                                                                                                                                             AYALA, CEC                                                                                                                                                               1427365060
                                                                                                                                                                                                                                                                             TRADITION
                                                                                                                                                               LOCATION OF CONTRACT: 910 W
                                                            FOX & HOUND RESTAURANT                        CONSTELLATION              ELECTRICITY ENGERGY                                                                                                                     ENERGY,                                    CENTRAL TOWER,
          130 NO COPY             65060          13-13249                            GREG WALDO                                                                DUNDEE RD, ARLINGTON HEIGHTS,                                 -                 12/14/2010       12/13/2013                  5215 N O'CONNOR BLVD                                                 LAS COLINAS   TX           75039                                     14273
                                                            GROUP                                         NEWENERGY INC              CONTRACT                                                                                                                                MICHAEL                                    SUITE 470
                                                                                                                                                               IL 60004
                                                                                                                                                                                                                                                                             AYALA, CEC                                                                                                                                                               1427365060
                                                                                                                                                                                                                                                                             TRADITION
                                                                                                                                                               LOCATION OF CONTRACT: 1416 N
                                                            FOX & HOUND RESTAURANT                        CONSTELLATION              ELECTRICITY ENGERGY                                                                                                                     ENERGY,                                    CENTRAL TOWER,
          131 NO COPY             65055          13-13249                            GREG WALDO                                                                ROSELLE RD, SCHAUMBURG, IL                               1,940.99               12/21/2010       12/20/2013                  5215 N O'CONNOR BLVD                                                 LAS COLINAS   TX           75039                                     14273
                                                            GROUP                                         NEWENERGY INC              CONTRACT                                                                                                                                MICHAEL                                    SUITE 470
                                                                                                                                                               60195
                                                                                                                                                                                                                                                                             AYALA, CEC                                                                                                                                                               1427365055
                                                                                                                                                                                                                                                                             TRADITION
                                                                                                                                                               LOCATION OF CONTRACT: 370-420
                                                            FOX & HOUND RESTAURANT                        CONSTELLATION              ELECTRICITY ENGERGY                                                                                                                     ENERGY,                                    CENTRAL TOWER,
          132 NO COPY             65076          13-13249                            GREG WALDO                                                                W ARMY TRAIL RD,                                         1,499.82               12/27/2010       12/26/2013                  5215 N O'CONNOR BLVD                                                 LAS COLINAS   TX           75039                                     14273
                                                            GROUP                                         NEWENERGY INC              CONTRACT                                                                                                                                MICHAEL                                    SUITE 470
                                                                                                                                                               BLOOMINGDALE, IL 60108
                                                                                                                                                                                                                                                                             AYALA, CEC                                                                                                                                                               1427365076
                                                                                                                                                                                                                                                                             TRADITION
                                                            CHAMPPS OPERATING                             CONSTELLATION              ELECTRICITY ENGERGY       LOCATION OF CONTRACT: 819                                                                                     ENERGY,                                    CENTRAL TOWER,
          133 NO COPY             65248          13-13227                            GREG WALDO                                                                                                                              -                   2/1/2011       12/31/2013                  5215 N O'CONNOR BLVD                                                 LAS COLINAS   TX           75039                                     14273
                                                            CORPORATION                                   NEWENERGY INC              CONTRACT                  EASTVIEW MALL, VICTOR, NY 14564                                                                               MICHAEL                                    SUITE 470
                                                                                                                                                                                                                                                                             AYALA, CEC                                                                                                                                                               1427365248




2491306-3                                                                                                                                                                                                                                          2.4(m) - 3
                                                                                                                                                                             Case 13-13220-KG                       Doc 506-1                              Filed 03/17/14                                Page 298 of 362

     ID        Epiq Contract No   Store Number       Case             Debtor          Responsible Person     Contract Counter Party          Type of Contract        Description of Contract      Assume   Reject   Cure Amount Contract NoDate of Contract
                                                                                                                                                                                                                                                         Termination Date Attention               Address 1       Address 2    Address 3   Address 4       City           State       Zip   Country   Email   Phone   Fax      Vendor    A/P code
                                                                                                                                                                                                                                                                         TRADITION
                                                                                                                                                                LOCATION OF CONTRACT: 2100
                                                            CHAMPPS OPERATING                              CONSTELLATION              ELECTRICITY ENGERGY                                                                                                                ENERGY,                              CENTRAL TOWER,
          134 NO COPY             65252          13-13227                             GREG WALDO                                                                COLUMBUS, PHILIDELPHIA, PA                                    -                  1/1/2011    12/31/2013               5215 N O'CONNOR BLVD                                             LAS COLINAS   TX           75039                                     14273
                                                            CORPORATION                                    NEWENERGY INC              CONTRACT                                                                                                                           MICHAEL                              SUITE 470
                                                                                                                                                                19148
                                                                                                                                                                                                                                                                         AYALA, CEC                                                                                                                                                     1427365252
                                                                                                                                                                                                                                                                         TRADITION
                                                                                                                                                                LOCATION OF CONTRACT: 51 TOWN
                                                            CHAMPPS OPERATING                              CONSTELLATION              ELECTRICITY ENGERGY                                                                                                                ENERGY,                              CENTRAL TOWER,
          135 NO COPY             65252          13-13227                             GREG WALDO                                                                CENTER DR, COLLEGEVILLE, PA                                   -               11/14/2011      12/1/2013               5215 N O'CONNOR BLVD                                             LAS COLINAS   TX           75039                                     14273
                                                            CORPORATION                                    NEWENERGY INC              CONTRACT                                                                                                                           MICHAEL                              SUITE 470
                                                                                                                                                                19426
                                                                                                                                                                                                                                                                         AYALA, CEC                                                                                                                                                     1427365252
                                                                                                                                                                                                                                                                         TRADITION
                                                                                                                                                                LOCATION OF CONTRACT: 330
                                                            CHAMPPS OPERATING                              CONSTELLATION              ELECTRICITY ENGERGY                                                                                                                ENERGY,                              CENTRAL TOWER,
          136 NO COPY             65230          13-13227                             GREG WALDO                                                                GODDARD, KING OF PRUSSIA, PA                                  -                  1/1/2011    12/31/2013               5215 N O'CONNOR BLVD                                             LAS COLINAS   TX           75039                                     14273
                                                            CORPORATION                                    NEWENERGY INC              CONTRACT                                                                                                                           MICHAEL                              SUITE 470
                                                                                                                                                                19406
                                                                                                                                                                                                                                                                         AYALA, CEC                                                                                                                                                     1427365230
                                                                                                                                                                                                                                                                         TRADITION
                                                                                                                                                                LOCATION OF CONTRACT: 1121
                                                            CHAMPPS ENTERTAINMENT                          CONSTELLATION              ELECTRICITY ENGERGY                                                                                                                ENERGY,                              CENTRAL TOWER,
          137 NO COPY             65221          13-13224                             GREG WALDO                                                                UPTOWN PARK BLVD #1, HOUSTON,                                 -                9/28/2011     12/31/2013               5215 N O'CONNOR BLVD                                             LAS COLINAS   TX           75039                                     14273
                                                            INC                                            NEWENERGY INC              CONTRACT                                                                                                                           MICHAEL                              SUITE 470
                                                                                                                                                                TX 77056
                                                                                                                                                                                                                                                                         AYALA, CEC                                                                                                                                                     1427365221
                                                                                                                                                                                                                                                                         TRADITION
                                                                                                                                                                LOCATION OF CONTRACT: 855 W
                                                            CHAMPPS ENTERTAINMENT                          CONSTELLATION              ELECTRICITY ENGERGY                                                                                                                ENERGY,                              CENTRAL TOWER,
          138 NO COPY             65219          13-13224                             GREG WALDO                                                                JOHN CARPENTER FWY, IRVING, TX                                -                9/29/2011     12/31/2013               5215 N O'CONNOR BLVD                                             LAS COLINAS   TX           75039                                     14273
                                                            INC                                            NEWENERGY INC              CONTRACT                                                                                                                           MICHAEL                              SUITE 470
                                                                                                                                                                75039
                                                                                                                                                                                                                                                                         AYALA, CEC                                                                                                                                                     1427365219
                                                                                                                                                                                                                                                                         TRADITION
                                                                                                                                                                LOCATION OF CONTRACT: 1121
                                                            CHAMPPS ENTERTAINMENT                          CONSTELLATION              ELECTRICITY ENGERGY                                                                                                                ENERGY,                              CENTRAL TOWER,
          139 NO COPY             65221          13-13224                             GREG WALDO                                                                UPTOWN PARK BLVD #1, HOUSTON,                                 -                12/9/2013      12/9/2015               5215 N O'CONNOR BLVD                                             LAS COLINAS   TX           75039                                     14273
                                                            INC                                            NEWENERGY INC              CONTRACT                                                                                                                           MICHAEL                              SUITE 470
                                                                                                                                                                TX 77056
                                                                                                                                                                                                                                                                         AYALA, CEC                                                                                                                                                     1427365221
                                                                                                                                                                                                                                                                         TRADITION
                                                                                                                                                                LOCATION OF CONTRACT: 855 W
                                                            CHAMPPS ENTERTAINMENT                          CONSTELLATION              ELECTRICITY ENGERGY                                                                                                                ENERGY,                              CENTRAL TOWER,
          140 NO COPY             65219          13-13224                             GREG WALDO                                                                JOHN CARPENTER FWY, IRVING, TX                                -                  1/2/2014    12/31/2015               5215 N O'CONNOR BLVD                                             LAS COLINAS   TX           75039                                     14273
                                                            INC                                            NEWENERGY INC              CONTRACT                                                                                                                           MICHAEL                              SUITE 470
                                                                                                                                                                75039
                                                                                                                                                                                                                                                                         AYALA, CEC                                                                                                                                                     1427365219
                                                                                                                                                                                                                                                                         TRADITION
                                                                                                                                                                LOCATION OF CONTRACT: 1640 S
                                                            FOX AND HOUND                                  CONSTELLATION              ELECTRICITY ENGERGY                                                                                                                ENERGY,                              CENTRAL TOWER,
          141 NO COPY             65040          13-13249                             GREG WALDO                                                                STEMMONS FWY, LEWISVILLE, TX                                  -               11/29/2013     12/31/2013               5215 N O'CONNOR BLVD                                             LAS COLINAS   TX           75039                                     14273
                                                            RESTAURANT GROUP                               NEWENERGY INC              CONTRACT                                                                                                                           MICHAEL                              SUITE 470
                                                                                                                                                                75067
                                                                                                                                                                                                                                                                         AYALA, CEC                                                                                                                                                     1427365040
                                                                                                                                                                                                                                                                         TRADITION
                                                                                                                                                                LOCATION OF CONTRACT: 112 W
                                                            FOX AND HOUND                                  CONSTELLATION              ELECTRICITY ENGERGY                                                                                                                ENERGY,                              CENTRAL TOWER,
          142 NO COPY             65052          13-13249                             GREG WALDO                                                                CAMPBELL RD, RICHARDSON, TX                             4,960.96              12/16/2013     12/15/2014               5215 N O'CONNOR BLVD                                             LAS COLINAS   TX           75039                                     14273
                                                            RESTAURANT GROUP                               NEWENERGY INC              CONTRACT                                                                                                                           MICHAEL                              SUITE 470
                                                                                                                                                                75080
                                                                                                                                                                                                                                                                         AYALA, CEC                                                                                                                                                     1427365052
                                                                                                                                                                                                                                                                         TRADITION
                                                            FOX AND HOUND                                  CONSTELLATION              ELECTRICITY ENGERGY       LOCATION OF CONTRACT: 6051 SW                                                                            ENERGY,                              CENTRAL TOWER,
          143 NO COPY             65042          13-13249                             GREG WALDO                                                                                                                        4,003.37              12/11/2013     12/11/2014               5215 N O'CONNOR BLVD                                             LAS COLINAS   TX           75039                                     14273
                                                            RESTAURANT GROUP                               NEWENERGY INC              CONTRACT                  LOOP 820, FORT WORTH, TX 76132                                                                           MICHAEL                              SUITE 470
                                                                                                                                                                                                                                                                         AYALA, CEC                                                                                                                                                     1427365042
                                                                                                                                                                                                                                                                         TRADITION
                                                            FOX AND HOUND                                  CONSTELLATION              ELECTRICITY ENGERGY       LOCATION OF CONTRACT: 18918                                                                              ENERGY,                              CENTRAL TOWER,
          144 NO COPY             65008          13-13249                             GREG WALDO                                                                                                                        5,284.13               12/9/2013      12/8/2014               5215 N O'CONNOR BLVD                                             LAS COLINAS   TX           75039                                     14273
                                                            RESTAURANT GROUP                               NEWENERGY INC              CONTRACT                  MIDWAY RD, DALLAS, TX 75287                                                                              MICHAEL                              SUITE 470
                                                                                                                                                                                                                                                                         AYALA, CEC                                                                                                                                                     1427365008
                                                                                                                                                                                                                                                                         TRADITION
                                                                                                                                                                LOCATION OF CONTRACT: 1001 NE
                                                            FOX AND HOUND                                  CONSTELLATION              ELECTRICITY ENGERGY                                                                                                                ENERGY,                              CENTRAL TOWER,
          145 NO COPY             65004          13-13249                             GREG WALDO                                                                GREEN OAKS BLVD, STE 139,                               3,073.08               12/5/2013      12/5/2014               5215 N O'CONNOR BLVD                                             LAS COLINAS   TX           75039                                     14273
                                                            RESTAURANT GROUP                               NEWENERGY INC              CONTRACT                                                                                                                           MICHAEL                              SUITE 470
                                                                                                                                                                ARLINGTON, TX 76006
                                                                                                                                                                                                                                                                         AYALA, CEC                                                                                                                                                     1427365004
                                                                                                                                                                                                                                                                         TRADITION
                                                                                                                                                                LOCATION OF CONTRACT: 17575
                                                            FOX AND HOUND                                  CONSTELLATION              ELECTRICITY ENGERGY                                                                                                                ENERGY,                              CENTRAL TOWER,
          146 NO COPY             65094          13-13249                             GREG WALDO                                                                TOMBALL PKWY, HOUSTON, TX                               4,135.09              11/25/2013     11/25/2014               5215 N O'CONNOR BLVD                                             LAS COLINAS   TX           75039                                     14273
                                                            RESTAURANT GROUP                               NEWENERGY INC              CONTRACT                                                                                                                           MICHAEL                              SUITE 470
                                                                                                                                                                77064
                                                                                                                                                                                                                                                                         AYALA, CEC                                                                                                                                                     1427365094
                                                                                                                                                                                                                                                                         TRADITION
                                                                                                                                                                LOCATION OF CONTRACT: 11470
                                                            FOX AND HOUND                                  CONSTELLATION              ELECTRICITY ENGERGY                                                                                                                ENERGY,                              CENTRAL TOWER,
          147 NO COPY             65036          13-13249                             GREG WALDO                                                                WESTHEIMER RD, HOUSTON, TX                              4,501.05               12/3/2013      12/3/2014               5215 N O'CONNOR BLVD                                             LAS COLINAS   TX           75039                                     14273
                                                            RESTAURANT GROUP                               NEWENERGY INC              CONTRACT                                                                                                                           MICHAEL                              SUITE 470
                                                                                                                                                                77077
                                                                                                                                                                                                                                                                         AYALA, CEC                                                                                                                                                     1427365036
                                                                                                                                                                                                                                                                         TRADITION
                                                            FOX AND HOUND                                  CONSTELLATION              ELECTRICITY ENGERGY       LOCATION OF CONTRACT: 12802                                                                              ENERGY,                              CENTRAL TOWER,
          148 NO COPY             65056          13-13249                             GREG WALDO                                                                                                                        3,324.70               1/14/2013       1/3/2014               5215 N O'CONNOR BLVD                                             LAS COLINAS   TX           75039                                     14273
                                                            RESTAURANT GROUP                               NEWENERGY INC              CONTRACT                  GULF FWY F, HOUSTON, TX 77034                                                                            MICHAEL                              SUITE 470
                                                                                                                                                                                                                                                                         AYALA, CEC                                                                                                                                                     1427365056
                                                                                                                                                                                                                                                                         TRADITION
                                                            FOX AND HOUND                                  CONSTELLATION              ELECTRICITY ENGERGY       LOCATION OF CONTRACT: 12802                                                                              ENERGY,                              CENTRAL TOWER,
          149 NO COPY             65056          13-13249                             GREG WALDO                                                                                                                              -                1/14/2013       1/3/2014               5215 N O'CONNOR BLVD                                             LAS COLINAS   TX           75039                                     14273
                                                            RESTAURANT GROUP                               NEWENERGY INC              CONTRACT                  GULF FWY A, HOUSTON, TX 77034                                                                            MICHAEL                              SUITE 470
                                                                                                                                                                                                                                                                         AYALA, CEC                                                                                                                                                     1427365056
                                                                                                                                                                                                                                                                         TRADITION
                                                                                                                                                                LOCATION OF CONTRACT: 910 W
                                                            FOX & HOUND OF ILLINOIS                                                   NATURAL GAS ENGERGY                                                                                                                ENERGY,                              CENTRAL TOWER,
          150 NO COPY             65060          13-13236                             GREG WALDO           DIRECT ENERGY                                        DUNDEE RD, ARLINGTON HEIGHTS,                             703.26                 1/1/2013    12/31/2014               5215 N O'CONNOR BLVD                                             LAS COLINAS   TX           75039                                     35965
                                                            INC                                                                       CONTRACT                                                                                                                           MICHAEL                              SUITE 470
                                                                                                                                                                IL 60004
                                                                                                                                                                                                                                                                         AYALA, CEC                                                                                                                                                     3596565060
                                                                                                                                                                                                                                                                         TRADITION
                                                            FOX & HOUND OF ILLINOIS                                                   NATURAL GAS ENGERGY       LOCATION OF CONTRACT: 4320 E                                                                             ENERGY,                              CENTRAL TOWER,
          151 NO COPY             65016          13-13236                             GREG WALDO           DIRECT ENERGY                                                                                                  733.87                 1/1/2013    12/31/2014               5215 N O'CONNOR BLVD                                             LAS COLINAS   TX           75039                                     35965
                                                            INC                                                                       CONTRACT                  NEW YORK ST, AURORA, IL 60504                                                                            MICHAEL                              SUITE 470
                                                                                                                                                                                                                                                                         AYALA, CEC                                                                                                                                                     3596565016
                                                                                                                                                                                                                                                                         TRADITION
                                                                                                                                                                LOCATION OF CONTRACT: 370 W
                                                            FOX & HOUND OF ILLINOIS                                                   NATURAL GAS ENGERGY                                                                                                                ENERGY,                              CENTRAL TOWER,
          152 NO COPY             65076          13-13236                             GREG WALDO           DIRECT ENERGY                                        ARMY TRAIL RD, BLOOMINGDALE, IL                         1,359.71                 1/1/2013    12/31/2014               5215 N O'CONNOR BLVD                                             LAS COLINAS   TX           75039                                     35965
                                                            INC                                                                       CONTRACT                                                                                                                           MICHAEL                              SUITE 470
                                                                                                                                                                60108
                                                                                                                                                                                                                                                                         AYALA, CEC                                                                                                                                                     3596565076
                                                                                                                                                                                                                                                                         TRADITION
                                                                                                                                                                LOCATION OF CONTRACT: 1416 N
                                                            FOX & HOUND OF ILLINOIS                                                   NATURAL GAS ENGERGY                                                                                                                ENERGY,                              CENTRAL TOWER,
          153 NO COPY             65055          13-13236                             GREG WALDO           DIRECT ENERGY                                        ROSELLE RD, SCHAUMBURG, IL                              1,008.52                 1/1/2013    12/31/2014               5215 N O'CONNOR BLVD                                             LAS COLINAS   TX           75039                                     35965
                                                            INC                                                                       CONTRACT                                                                                                                           MICHAEL                              SUITE 470
                                                                                                                                                                60195
                                                                                                                                                                                                                                                                         AYALA, CEC                                                                                                                                                     3596565055
                                                                                                                                                                                                                                                                         TRADITION
                                                            FOX & HOUND OF INDIANA,                                                                             LOCATION OF CONTRACT: 275
                                                                                                                                      NATURAL GAS ENGERGY                                                                                                                ENERGY,                              CENTRAL TOWER,
          154 NO COPY             65235          13-13237   INC DBA CHAMPPS           GREG WALDO           DIRECT ENERGY                                        PARKWAY DR., LINCOLNSHIRE, IL                                 -                  1/1/2014    12/31/2015               5215 N O'CONNOR BLVD                                             LAS COLINAS   TX           75039                                     35965
                                                                                                                                      CONTRACT                                                                                                                           MICHAEL                              SUITE 470
                                                            OPERATING CORPORATION                                                                               60069
                                                                                                                                                                                                                                                                         AYALA, CEC                                                                                                                                                     3596565235
                                                                                                                                                                                                                                                                         TRADITION
                                                            FOX & HOUND OF INDIANA,                                                                             LOCATION OF CONTRACT: 955 E.
                                                                                                                                      NATURAL GAS ENGERGY                                                                                                                ENERGY,                              CENTRAL TOWER,
          155 NO COPY             65215          13-13237   INC DBA CHAMPPS           GREG WALDO           DIRECT ENERGY                                        GOLF ROAD, SCHAUMBURG, IL                                     -                  1/1/2014    12/31/2015               5215 N O'CONNOR BLVD                                             LAS COLINAS   TX           75039                                     35965
                                                                                                                                      CONTRACT                                                                                                                           MICHAEL                              SUITE 470
                                                            OPERATING CORPORATION                                                                               60173
                                                                                                                                                                                                                                                                         AYALA, CEC                                                                                                                                                     3596565215
                                                                                                                                                                                                                                                                         TRADITION
                                                            FOX & HOUND OF INDIANA,                                                                             LOCATION OF CONTRACT: 2301
                                                                                                                                      NATURAL GAS ENGERGY                                                                                                                ENERGY,                              CENTRAL TOWER,
          156 NO COPY             65222          13-13237   INC DBA CHAMPPS           GREG WALDO           DIRECT ENERGY                                        FOUNTAIN SQUARE DRIVE,                                        -                  1/1/2014    12/31/2015               5215 N O'CONNOR BLVD                                             LAS COLINAS   TX           75039                                     35965
                                                                                                                                      CONTRACT                                                                                                                           MICHAEL                              SUITE 470
                                                            OPERATING CORPORATION                                                                               LOMBARD, IL 60148
                                                                                                                                                                                                                                                                         AYALA, CEC                                                                                                                                                     3596565222
                                                                                                                                                                                                                                                                         TRADITION
                                                            FOX & HOUND OF INDIANA,                                                                             LOCATION OF CONTRACT: 16165 S
                                                                                                                                      NATURAL GAS ENGERGY                                                                                                                ENERGY,                              CENTRAL TOWER,
          157 NO COPY             65250          13-13237   INC DBA CHAMPPS           GREG WALDO           DIRECT ENERGY                                        LAGRANGE RD, ORLAND PARK, IL                                  -                  1/1/2014    12/31/2015               5215 N O'CONNOR BLVD                                             LAS COLINAS   TX           75039                                     35965
                                                                                                                                      CONTRACT                                                                                                                           MICHAEL                              SUITE 470
                                                            OPERATING CORPORATION                                                                               60467
                                                                                                                                                                                                                                                                         AYALA, CEC                                                                                                                                                     3596565250
                                                                                                                                                                                                                                                                         TRADITION
                                                                                                                                                                LOCATION OF CONTRACT: 16165
                                                            CHAMPPS OPERATING                                                         ELECTRICITY ENGERGY                                                                                                                ENERGY,                              CENTRAL TOWER,
          158 NO COPY             65250          13-13227                             GREG WALDO           DIRECT ENERGY                                        LAGRANGE RD, ORLAND PARK, IL                                  -                10/1/2011     12/31/2013               5215 N O'CONNOR BLVD                                             LAS COLINAS   TX           75039                                     35965
                                                            CORPORATION                                                               CONTRACT                                                                                                                           MICHAEL                              SUITE 470
                                                                                                                                                                60467
                                                                                                                                                                                                                                                                         AYALA, CEC                                                                                                                                                     3596565250
                                                                                                                                                                                                                                                                         TRADITION
                                                                                                                                                                LOCATION OF CONTRACT: 275
                                                            CHAMPPS OPERATING                                                         ELECTRICITY ENGERGY                                                                                                                ENERGY,                              CENTRAL TOWER,
          159 NO COPY             65235          13-13227                             GREG WALDO           DIRECT ENERGY                                        PARKWAY DR, LINCOLNSHIRE, IL                                  -                10/1/2011     12/31/2013               5215 N O'CONNOR BLVD                                             LAS COLINAS   TX           75039                                     35965
                                                            CORPORATION                                                               CONTRACT                                                                                                                           MICHAEL                              SUITE 470
                                                                                                                                                                60069
                                                                                                                                                                                                                                                                         AYALA, CEC                                                                                                                                                     3596565235




2491306-3                                                                                                                                                                                                                                          2.4(m) - 4
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     ID        Epiq Contract No   Store Number       Case             Debtor          Responsible Person      Contract Counter Party          Type of Contract          Description of Contract     Assume   Reject   Cure Amount Contract NoDate of Contract
                                                                                                                                                                                                                                                           Termination Date Attention                  Address 1        Address 2    Address 3   Address 4        City          State        Zip     Country   Email   Phone   Fax      Vendor    A/P code
                                                                                                                                                                                                                                                                           TRADITION
                                                                                                                                                                   LOCATION OF CONTRACT: 2301
                                                            CHAMPPS OPERATING                                                          ELECTRICITY ENGERGY                                                                                                                 ENERGY,                                  CENTRAL TOWER,
          160 NO COPY             65222          13-13227                             GREG WALDO           DIRECT ENERGY                                           FOUNTAIN SQUARE DR, LOMBARD,                                -                 10/1/2011     12/31/2013                 5215 N O'CONNOR BLVD                                               LAS COLINAS   TX           75039                                        35965
                                                            CORPORATION                                                                CONTRACT                                                                                                                            MICHAEL                                  SUITE 470
                                                                                                                                                                   IL 60148
                                                                                                                                                                                                                                                                           AYALA, CEC                                                                                                                                                            3596565222
                                                                                                                                                                                                                                                                           TRADITION
                                                            CHAMPPS OPERATING                                                          ELECTRICITY ENGERGY         LOCATION OF CONTRACT: 955 EAST                                                                          ENERGY,                                  CENTRAL TOWER,
          161 NO COPY             65215          13-13227                             GREG WALDO           DIRECT ENERGY                                                                                                       -                 10/1/2011     12/31/2013                 5215 N O'CONNOR BLVD                                               LAS COLINAS   TX           75039                                        35965
                                                            CORPORATION                                                                CONTRACT                    GOLF RD, SCHAUMBURG, IL 60173                                                                           MICHAEL                                  SUITE 470
                                                                                                                                                                                                                                                                           AYALA, CEC                                                                                                                                                            3596565215
                                                                                                                                                                                                                                                                           TRADITION
                                                            CHAMPPS OPERATING                                                          ELECTRICITY ENGERGY         LOCATION OF CONTRACT: 25                                                                                ENERGY,                                  CENTRAL TOWER,
          162 NO COPY             65204          13-13227                             GREG WALDO           DIRECT ENERGY                                                                                                       -                 10/1/2011      7/31/2013                 5215 N O'CONNOR BLVD                                               LAS COLINAS   TX           75039                                        35965
                                                            CORPORATION                                                                CONTRACT                    ROUTE 73 S, MARLTON, NJ 08035                                                                           MICHAEL                                  SUITE 470
                                                                                                                                                                                                                                                                           AYALA, CEC                                                                                                                                                            3596565204
                                                                                                                                                                                                                                                                           TRADITION
                                                            FOX & HOUND RESTAURANT                                                     ELECTRICITY ENGERGY         LOCATION OF CONTRACT: 55                                                                                ENERGY,                                  CENTRAL TOWER,
          163 NO COPY             65073          13-13249                             GREG WALDO           DIRECT ENERGY                                                                                                       -                 10/1/2011      7/31/2013                 5215 N O'CONNOR BLVD                                               LAS COLINAS   TX           75039                                        35965
                                                            GROUP                                                                      CONTRACT                    PARSONAGE RD, EDISON, NJ 08837                                                                          MICHAEL                                  SUITE 470
                                                                                                                                                                                                                                                                           AYALA, CEC                                                                                                                                                            3596565073
                                                                                                                                                                                                                                                                           VICE
                                                                                                                                                                   DIRECTV NATIONAL ACCOUNT
                                                            CHAMPS ENTERTAINMENT,                                                                                                                                                                                          PRESIDENT,
          164 11.00               CORPORATE      13-13224                             GREG WALDO           DIRECTV, LLC                SERVICE AGREEMENT           COMMERCIAL VIEWING                                  148,590.46                4/15/2010                                2230 E IMPERIAL HIGHWAY                                            EL SEGUNDO    CA           90245                                        00444
                                                            INC                                                                                                                                                                                                            SALE &
                                                                                                                                                                   AGREEMENT
                                                                                                                                                                                                                                                                           DISTRIBUTION                                                                                                                                                           #VALUE!
                                                                                                                                                                                                                                                                           VICE
                                                                                                                                                                   DIRECTV NATIONAL ACCOUNT
                                                            FOX & HOUND RESTAURANT                                                                                                                                                                                         PRESIDENT,
          165 12.00               CORPORATE      13-13249                             GREG WALDO           DIRECTV, LLC                SERVICE AGREEMENT           COMMERCIAL VIEWING                                          -                   4/5/2010                               2230 E IMPERIAL HIGHWAY                                            EL SEGUNDO    CA           90245                                        00444
                                                            GROUP                                                                                                                                                                                                          SALE &
                                                                                                                                                                   AGREEMENT
                                                                                                                                                                                                                                                                           DISTRIBUTION                                                                                                                                                           #VALUE!
                                                                                                                                                                   ECOLAB ACCT 014785992,
          166 NO COPY             65005          13-13248   F&H RESTAURANTS OF TEXAS GREG WALDO            ECOLAB INC                  EQUIPMENT LEASE AGREEMENT   COMPONENT ID ES2000, SERIAL                             130.88 1A787           7/28/1994        1/28/2000              370 N WABASHA STREET                                               ST. PAUL      MN           55102-2233                                   00471
                                                                                                                                                                   NBR ES29032                                                                                                                                                                                                                                                                     47165005
                                                                                                                                                                   ECOLAB ACCT 018086033,
                                                            TENT RESTAURANT
          167 NO COPY             65003          13-13259                             GREG WALDO           ECOLAB INC                  EQUIPMENT LEASE AGREEMENT   COMPONENT ID ES2000, SERIAL                             273.80 1A787            3/8/2000         3/8/2000              370 N WABASHA STREET                                               ST. PAUL      MN           55102-2233                                   00471
                                                            OPERATIONS
                                                                                                                                                                   NBR ES28321                                                                                                                                                                                                                                                                     47165003
                                                                                                                                                                   ECOLAB ACCT 018086116,
                                                            TENT RESTAURANT
          168 NO COPY             65007          13-13259                             GREG WALDO           ECOLAB INC                  EQUIPMENT LEASE AGREEMENT   COMPONENT ID ES2000, SERIAL                             272.92 1A787            3/8/2000         3/8/2000              370 N WABASHA STREET                                               ST. PAUL      MN           55102-2233                                   00090
                                                            OPERATIONS
                                                                                                                                                                   NBR ES23498                                                                                                                                                                                                                                                                      9065007
                                                                                                                                                                   ECOLAB ACCT 018086132,
                                                            TENT RESTAURANT
          169 NO COPY             65009          13-13259                             GREG WALDO           ECOLAB INC                  EQUIPMENT LEASE AGREEMENT   COMPONENT ID ES2000, SERIAL                             185.58 1A787            3/8/2000         3/8/2000              370 N WABASHA STREET                                               ST. PAUL      MN           55102-2233                                   00090
                                                            OPERATIONS
                                                                                                                                                                   NBR ES30537                                                                                                                                                                                                                                                                      9065009
                                                                                                                                                                   ECOLAB ACCT 018086165,
                                                            TENT RESTAURANT
          170 NO COPY             65010          13-13259                             GREG WALDO           ECOLAB INC                  EQUIPMENT LEASE AGREEMENT   COMPONENT ID ES2000, SERIAL                             186.43 1A787            3/8/2000         3/8/2000              370 N WABASHA STREET                                               ST. PAUL      MN           55102-2233                                   00090
                                                            OPERATIONS
                                                                                                                                                                   NBR ES22946                                                                                                                                                                                                                                                                      9065010
                                                                                                                                                                   ECOLAB ACCT 018086066,
                                                            N. COLLINS ENTERTAINMENT,
          171 NO COPY             65002          13-13259                             GREG WALDO           ECOLAB INC                  EQUIPMENT LEASE AGREEMENT   COMPONENT ID ES2000, SERIAL                             301.92 1A787           3/16/2000        3/16/2000              370 N WABASHA STREET                                               ST. PAUL      MN           55102-2233                                   00090
                                                            LTD.
                                                                                                                                                                   NBR ES28049                                                                                                                                                                                                                                                                      9065002
                                                                                                                                                                   ECOLAB ACCT 017993403,
                                                            TENT RESTAURANT
          172 NO COPY             65027          13-13259                             GREG WALDO           ECOLAB INC                  EQUIPMENT LEASE AGREEMENT   COMPONENT ID ES2000, SERIAL                              64.81 1A787           3/23/2000        3/23/2000              370 N WABASHA STREET                                               ST. PAUL      MN           55102-2233                                   00471
                                                            OPERATIONS
                                                                                                                                                                   NBR ES27258                                                                                                                                                                                                                                                                     47165027
                                                                                                                                                                   ECOLAB ACCT 014660328,
                                                            N. COLLINS ENTERTAINMENT,
          173 NO COPY             65004          13-13254                             GREG WALDO           ECOLAB INC                  EQUIPMENT LEASE AGREEMENT   COMPONENT ID ES2000, SERIAL                                 -   1A787          6/20/1994         4/2/2000              370 N WABASHA STREET                                               ST. PAUL      MN           55102-2233
                                                            LTD.
                                                                                                                                                                   NBR ES28745                                                                                                                                                                                                                                                                        65004
                                                                                                                                                                   ECOLAB ACCT 018465435,
          174 NO COPY             65039          13-13246   FOX & HOUND OF OHIO       GREG WALDO           ECOLAB INC                  EQUIPMENT LEASE AGREEMENT   COMPONENT ID ES2000, SERIAL                              97.13 1A787           10/6/2000        10/6/2000              370 N WABASHA STREET                                               ST. PAUL      MN           55102-2233                                   00090
                                                                                                                                                                   NBR ES22366                                                                                                                                                                                                                                                                      9065039
                                                                                                                                                                   ECOLAB ACCT 017748732,
                                                            N. COLLINS ENTERTAINMENT,
          175 NO COPY             65023          13-13259                             GREG WALDO           ECOLAB INC                  EQUIPMENT LEASE AGREEMENT   COMPONENT ID ES2000, SERIAL                             127.10 1A787          11/26/2000       11/26/2000              370 N WABASHA STREET                                               ST. PAUL      MN           55102-2233                                   00090
                                                            LTD.
                                                                                                                                                                   NBR ES11060                                                                                                                                                                                                                                                                      9065023
                                                                                                                                                                   ECOLAB ACCT 018720086,
          176 NO COPY             65042          13-13248   F&H RESTAURANTS OF TEXAS GREG WALDO            ECOLAB INC                  EQUIPMENT LEASE AGREEMENT   COMPONENT ID ES2000, SERIAL                              98.73 1A787            3/4/2001         3/4/2001              370 N WABASHA STREET                                               ST. PAUL      MN           55102-2233                                   00471
                                                                                                                                                                   NBR ES30559                                                                                                                                                                                                                                                                     47165042
                                                                                                                                                                   ECOLAB ACCT 018778951,
          177 NO COPY             65228          13-13227   CHAMPPS OPERATING CORP    GREG WALDO           ECOLAB INC                  EQUIPMENT LEASE AGREEMENT   COMPONENT ID WH44, SERIAL NBR                           198.95 13481           4/20/2001        4/20/2001              370 N WABASHA STREET                                               ST. PAUL      MN           55102-2233                                   00471
                                                                                                                                                                   J7746WH                                                                                                                                                                                                                                                                         47165228
                                                                                                                                                                   ECOLAB ACCT 017560038,
          178 NO COPY             65035          13-13237   FOX & HOUND OF INDIANA    GREG WALDO           ECOLAB INC                  EQUIPMENT LEASE AGREEMENT   COMPONENT ID ES2000, SERIAL                              97.65 1A787           8/27/2001         8/9/2001              370 N WABASHA STREET                                               ST. PAUL      MN           55102-2233                                   00471
                                                                                                                                                                   NBR ES9012                                                                                                                                                                                                                                                                      47165035
                                                                                                                                                                   ECOLAB ACCT 018993972,
          179 NO COPY             65231          13-13226   CHAMPPS OF MARYLAND       GREG WALDO           ECOLAB INC                  EQUIPMENT LEASE AGREEMENT   COMPONENT ID WH44, SERIAL NBR                           551.16 13481           9/15/2001        9/15/2001              370 N WABASHA STREET                                               ST. PAUL      MN           55102-2233                                   00090
                                                                                                                                                                   J8195WH                                                                                                                                                                                                                                                                          9065231
                                                                                                                                                                   ECOLAB ACCT 019039007,
          180 NO COPY             65205          13-13227   CHAMPPS OPERATING CORP    GREG WALDO           ECOLAB INC                  EQUIPMENT LEASE AGREEMENT   COMPONENT ID WH44, SERIAL NBR                           517.17 13481          10/10/2001       10/10/2001              370 N WABASHA STREET                                               ST. PAUL      MN           55102-2233                                   00471
                                                                                                                                                                   J8378WH                                                                                                                                                                                                                                                                         47165205
                                                                                                                                                                   ECOLAB ACCT 019039007,
          181 NO COPY             65205          13-13227   CHAMPPS OPERATING CORP    GREG WALDO           ECOLAB INC                  EQUIPMENT LEASE AGREEMENT   COMPONENT ID BOOSTER, SERIAL                                -   13481         10/10/2001       10/10/2001              370 N WABASHA STREET                                               ST. PAUL      MN           55102-2233
                                                                                                                                                                   NBR 3128910643                                                                                                                                                                                                                                                                     65205
                                                                                                                                                                   ECOLAB ACCT 019144302,
          182 NO COPY             65044          13-13230   F&H OF KENNESAW           GREG WALDO           ECOLAB INC                  EQUIPMENT LEASE AGREEMENT   COMPONENT ID ES2000, SERIAL                                 -   1A787         11/20/2001       11/20/2001              370 N WABASHA STREET                                               ST. PAUL      MN           55102-2233                                   00471
                                                                                                                                                                   NBR ES39298                                                                                                                                                                                                                                                                     47165044
                                                                                                                                                                   ECOLAB ACCT 019214188,
          183 NO COPY             65050          13-13234   FOX & HOUND OF ARIZONA    GREG WALDO           ECOLAB INC                  EQUIPMENT LEASE AGREEMENT   COMPONENT ID ES4000, SERIAL                                 -   1A787           1/2/2002         4/2/2002              370 N WABASHA STREET                                               ST. PAUL      MN           55102-2233                                   00090
                                                                                                                                                                   NBR ES55825                                                                                                                                                                                                                                                                      9065050
                                                                                                                                                                   ECOLAB ACCT 019392950,
          184 NO COPY             65049          13-13235   FOX & HOUND OF COLORADO GREG WALDO             ECOLAB INC                  EQUIPMENT LEASE AGREEMENT   COMPONENT ID ES2000, SERIAL                             339.34 1A787           4/17/2002        4/17/2002              370 N WABASHA STREET                                               ST. PAUL      MN           55102-2233                                   00471
                                                                                                                                                                   NBR ES140845                                                                                                                                                                                                                                                                    47165049
                                                                                                                                                                   ECOLAB ACCT 018116921,
          185 NO COPY             65016          13-13236   FOX & HOUND OF ILLINOIS   GREG WALDO           ECOLAB INC                  EQUIPMENT LEASE AGREEMENT   COMPONENT ID ES2000, SERIAL                              89.93 1A787           5/29/2002        5/29/2002              370 N WABASHA STREET                                               ST. PAUL      MN           55102-2233                                   00471
                                                                                                                                                                   NBR ES23534                                                                                                                                                                                                                                                                     47165016
                                                                                                                                                                   ECOLAB ACCT 015404254,
          186 NO COPY             65205          13-13227   CHAMPPS OPERATING CORP    GREG WALDO           ECOLAB INC                  EQUIPMENT LEASE AGREEMENT   COMPONENT ID WH44, SERIAL NBR                               -   13481          6/11/2002        6/11/2002              370 N WABASHA STREET                                               ST. PAUL      MN           55102-2233
                                                                                                                                                                   J9166WH                                                                                                                                                                                                                                                                            65205
                                                                                                                                                                   ECOLAB ACCT 018105262,
                                                            TENT RESTAURANT
          187 NO COPY             65014          13-13259                             GREG WALDO           ECOLAB INC                  EQUIPMENT LEASE AGREEMENT   COMPONENT ID ES2000, SERIAL                              98.24 1A787           6/21/2002        6/14/2002              370 N WABASHA STREET                                               ST. PAUL      MN           55102-2233                                   00090
                                                            OPERATIONS
                                                                                                                                                                   NBR ES28514                                                                                                                                                                                                                                                                      9065014
                                                                                                                                                                   ECOLAB ACCT 019486729,
          188 NO COPY             65052          13-13248   F&H RESTAURANTS OF TEXAS GREG WALDO            ECOLAB INC                  EQUIPMENT LEASE AGREEMENT   COMPONENT ID ES2000, SERIAL                             246.50 1A787           6/19/2002        6/19/2002              370 N WABASHA STREET                                               ST. PAUL      MN           55102-2233                                   00471
                                                                                                                                                                   NBR ES141923                                                                                                                                                                                                                                                                    47165052
                                                                                                                                                                   ECOLAB ACCT 019522168,
          189 NO COPY             65235          13-13227   CHAMPPS OPERATING CORP    GREG WALDO           ECOLAB INC                  EQUIPMENT LEASE AGREEMENT   COMPONENT ID WH44, SERIAL NBR                           686.52 13481           7/11/2002        7/16/2002              370 N WABASHA STREET                                               ST. PAUL      MN           55102-2233                                   00471
                                                                                                                                                                   J9344WH                                                                                                                                                                                                                                                                         47165235
                                                                                                                                                                   ECOLAB ACCT 019522168,
          190 NO COPY             65235          13-13227   CHAMPPS OPERATING CORP    GREG WALDO           ECOLAB INC                  EQUIPMENT LEASE AGREEMENT   COMPONENT ID BOOSTER, SERIAL                                -   13481          7/11/2002        7/16/2002              370 N WABASHA STREET                                               ST. PAUL      MN           55102-2233
                                                                                                                                                                   NBR 4603390747                                                                                                                                                                                                                                                                     65235
                                                                                                                                                                   ECOLAB ACCT 019557842,
          191 NO COPY             65055          13-13236   FOX & HOUND OF ILLINOIS   GREG WALDO           ECOLAB INC                  EQUIPMENT LEASE AGREEMENT   COMPONENT ID ES2000, SERIAL                             805.98 1A787           8/23/2002        8/27/2002              370 N WABASHA STREET                                               ST. PAUL      MN           55102-2233                                   00471
                                                                                                                                                                   NBR ES142473                                                                                                                                                                                                                                                                    47165055
                                                                                                                                                                   ECOLAB ACCT 017407495,
          192 NO COPY             65036          13-13248   F&H RESTAURANTS OF TEXAS GREG WALDO            ECOLAB INC                  EQUIPMENT LEASE AGREEMENT   COMPONENT ID ES2000, SERIAL                             131.46 1A787          10/16/2002       10/16/2002              370 N WABASHA STREET                                               ST. PAUL      MN           55102-2233                                   00471
                                                                                                                                                                   NBR ES38572                                                                                                                                                                                                                                                                     47165036




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     ID        Epiq Contract No   Store Number       Case             Debtor          Responsible Person     Contract Counter Party         Type of Contract            Description of Contract   Assume   Reject   Cure Amount Contract NoDate of Contract
                                                                                                                                                                                                                                                         Termination Date    Attention                Address 1    Address 2   Address 3   Address 4        City        State        Zip     Country   Email   Phone   Fax      Vendor   A/P code
                                                                                                                                                                  ECOLAB ACCT 019585896,
          193 NO COPY             65057          13-13234   FOX & HOUND OF ARIZONA    GREG WALDO           ECOLAB INC                 EQUIPMENT LEASE AGREEMENT   COMPONENT ID ES4000, SERIAL                            351.09 1A787          10/29/2002        12/7/2002               370 N WABASHA STREET                                          ST. PAUL    MN           55102-2233                                   05069
                                                                                                                                                                  NBR ES56377                                                                                                                                                                                                                                                            506965057
                                                                                                                                                                  ECOLAB ACCT 019303882,
          194 NO COPY             65043          13-13248   F&H RESTAURANTS OF TEXAS GREG WALDO            ECOLAB INC                 EQUIPMENT LEASE AGREEMENT   COMPONENT ID OMEGA 5, SERIAL                           269.35 1A787           2/27/2002        1/12/2003               370 N WABASHA STREET                                          ST. PAUL    MN           55102-2233                                   00471
                                                                                                                                                                  NBR GW2249                                                                                                                                                                                                                                                              47165043
                                                                                                                                                                  ECOLAB ACCT 019599493,
          195 NO COPY             65056          13-13248   F&H RESTAURANTS OF TEXAS GREG WALDO            ECOLAB INC                 EQUIPMENT LEASE AGREEMENT   COMPONENT ID ES2000, SERIAL                            248.38 1A787           1/24/2003        1/24/2003               370 N WABASHA STREET                                          ST. PAUL    MN           55102-2233                                   00471
                                                                                                                                                                  NBR ES26128                                                                                                                                                                                                                                                             47165056
                                                                                                                                                                  ECOLAB ACCT 017270406,
          196 NO COPY             65220          13-13227   CHAMPPS OPERATING CORP    GREG WALDO           ECOLAB INC                 EQUIPMENT LEASE AGREEMENT   COMPONENT ID WH44, SERIAL NBR                          458.33 13481           1/29/2003        1/29/2003               370 N WABASHA STREET                                          ST. PAUL    MN           55102-2233                                   00090
                                                                                                                                                                  J9863WH                                                                                                                                                                                                                                                                  9065220
                                                                                                                                                                  ECOLAB ACCT 017270406,
          197 NO COPY             65220          13-13227   CHAMPSS OPERATING CORP    GREG WALDO           ECOLAB INC                 EQUIPMENT LEASE AGREEMENT   COMPONENT ID BOOSTER, SERIAL                               -   13481          1/29/2003        1/29/2003               370 N WABASHA STREET                                          ST. PAUL    MN           55102-2233
                                                                                                                                                                  NBR 7681811026                                                                                                                                                                                                                                                             65220
                                                                                                                                                                  ECOLAB ACCT 019603702,
          198 NO COPY             65246          13-13227   CHAMPPS OPERATING CORP    GREG WALDO           ECOLAB INC                 EQUIPMENT LEASE AGREEMENT   COMPONENT ID WH44, SERIAL NBR                          215.30 13481           3/26/2003        3/26/2003               370 N WABASHA STREET                                          ST. PAUL    MN           55102-2233                                   00090
                                                                                                                                                                  J10180WH                                                                                                                                                                                                                                                                 9065246
                                                                                                                                                                  ECOLAB ACCT 019619973,
          199 NO COPY             65243          13-13227   CHAMPPS OPERATING CORP    GREG WALDO           ECOLAB INC                 EQUIPMENT LEASE AGREEMENT   COMPONENT ID WH44, SERIAL NBR                              -   13481           7/3/2003         7/3/2003               370 N WABASHA STREET                                          ST. PAUL    MN           55102-2233
                                                                                                                                                                  J10595WH                                                                                                                                                                                                                                                                   65243
                                                                                                                                                                  ECOLAB ACCT 017501230,
                                                            TENT RESTAURANT
          200 NO COPY             65028          13-13259                             GREG WALDO           ECOLAB INC                 EQUIPMENT LEASE AGREEMENT   COMPONENT ID ES2000, SERIAL                            338.41 1A787            3/7/2000         7/5/2003               370 N WABASHA STREET                                          ST. PAUL    MN           55102-2233                                   00090
                                                            OPERATIONS
                                                                                                                                                                  NBR ES145744                                                                                                                                                                                                                                                             9065028
                                                                                                                                                                  ECOLAB ACCT 019633674,
                                                            FOX & HOUND OF NEW
          201 NO COPY             65063          13-13245                             GREG WALDO           ECOLAB INC                 EQUIPMENT LEASE AGREEMENT   COMPONENT ID ES2000, SERIAL                            128.68 1A787           8/27/2003        8/27/2003               370 N WABASHA STREET                                          ST. PAUL    MN           55102-2233                                   05069
                                                            MEXICO
                                                                                                                                                                  NBR ES5176                                                                                                                                                                                                                                                             506965063
                                                                                                                                                                  ECOLAB ACCT 019617980,
          202 NO COPY             65241          13-13227   CHAMPPS OPERATING CORP    GREG WALDO           ECOLAB INC                 EQUIPMENT LEASE AGREEMENT   COMPONENT ID WH44, SERIAL NBR                          319.74 13481           11/4/2003        11/4/2003               370 N WABASHA STREET                                          ST. PAUL    MN           55102-2233                                   00090
                                                                                                                                                                  J7418WH                                                                                                                                                                                                                                                                  9065241
                                                                                                                                                                  ECOLAB ACCT 019664990,
          203 NO COPY             65250          13-13227   CHAMPPS OPERATING CORP    GREG WALDO           ECOLAB INC                 EQUIPMENT LEASE AGREEMENT   COMPONENT ID WH44, SERIAL NBR                          397.90 13481           3/26/2004        3/26/2004               370 N WABASHA STREET                                          ST. PAUL    MN           55102-2233                                   00471
                                                                                                                                                                  J11218WH                                                                                                                                                                                                                                                                47165250
                                                                                                                                                                  ECOLAB ACCT 019662815,
                                                            TENT RESTAURANT
          204 NO COPY             65070          13-13259                             GREG WALDO           ECOLAB INC                 EQUIPMENT LEASE AGREEMENT   COMPONENT ID ES4000, SERIAL                            410.88 1A787           4/27/2004        4/27/2004               370 N WABASHA STREET                                          ST. PAUL    MN           55102-2233                                   00471
                                                            OPERATIONS
                                                                                                                                                                  NBR ES53226                                                                                                                                                                                                                                                             47165070
                                                                                                                                                                  ECOLAB ACCT 019668657,
                                                            FOX & HOUND OF NEW
          205 NO COPY             65073          13-13244                             GREG WALDO           ECOLAB INC                 EQUIPMENT LEASE AGREEMENT   COMPONENT ID ES4000, SERIAL                           1,446.05 1A787          6/15/2004        6/15/2004               370 N WABASHA STREET                                          ST. PAUL    MN           55102-2233                                   00090
                                                            JERSEY
                                                                                                                                                                  NBR ES54248                                                                                                                                                                                                                                                              9065073
                                                                                                                                                                  ECOLAB ACCT 019662813,
                                                            TENT RESTAURANT
          206 NO COPY             65074          13-13259                             GREG WALDO           ECOLAB INC                 EQUIPMENT LEASE AGREEMENT   COMPONENT ID ES4000, SERIAL                            732.61 1A787            7/1/2004         7/1/2004               370 N WABASHA STREET                                          ST. PAUL    MN           55102-2233                                   00090
                                                            OPERATIONS
                                                                                                                                                                  NBR ES52235                                                                                                                                                                                                                                                              9065074
                                                                                                                                                                  ECOLAB ACCT 019666475,
          207 NO COPY             65075          13-13247   FOX & HOUND OF OKLAHMA    GREG WALDO           ECOLAB INC                 EQUIPMENT LEASE AGREEMENT   COMPONENT ID ES4000, SERIAL                            356.53 1A787            7/6/2004         7/6/2004               370 N WABASHA STREET                                          ST. PAUL    MN           55102-2233                                   00471
                                                                                                                                                                  NBR ES57332                                                                                                                                                                                                                                                             47165075
                                                                                                                                                                  ECOLAB ACCT 019681953,
          208 NO COPY             65076          13-13236   FOX & HOUND OF ILLINOIS   GREG WALDO           ECOLAB INC                 EQUIPMENT LEASE AGREEMENT   COMPONENT ID ES4000, SERIAL                            324.83 1A787            9/7/2004         9/7/2004               370 N WABASHA STREET                                          ST. PAUL    MN           55102-2233                                   00471
                                                                                                                                                                  NBR ES57563                                                                                                                                                                                                                                                             47165076
                                                                                                                                                                  ECOLAB ACCT 019679443,
                                                            TENT RESTAURANT
          209 NO COPY             65078          13-13259                             GREG WALDO           ECOLAB INC                 EQUIPMENT LEASE AGREEMENT   COMPONENT ID ES4000, SERIAL                                -   1A787          9/18/2004        9/18/2004               370 N WABASHA STREET                                          ST. PAUL    MN           55102-2233
                                                            OPERATIONS
                                                                                                                                                                  NBR ES53574                                                                                                                                                                                                                                                                65078
                                                                                                                                                                  ECOLAB ACCT 019691827,
                                                            TENT RESTAURANT
          210 NO COPY             65077          13-13259                             GREG WALDO           ECOLAB INC                 EQUIPMENT LEASE AGREEMENT   COMPONENT ID ES4000, SERIAL                            308.41 1A787          10/15/2004       10/15/2004               370 N WABASHA STREET                                          ST. PAUL    MN           55102-2233                                   00090
                                                            OPERATIONS
                                                                                                                                                                  NBR ES55156                                                                                                                                                                                                                                                              9065077
                                                                                                                                                                  ECOLAB ACCT 019702024,
          211 NO COPY             65252          13-13227   CHAMPPS OPERATING CORP    GREG WALDO           ECOLAB INC                 EQUIPMENT LEASE AGREEMENT   COMPONENT ID WH44, SERIAL NBR                          461.50 13481          10/26/2004       10/26/2004               370 N WABASHA STREET                                          ST. PAUL    MN           55102-2233                                   00090
                                                                                                                                                                  J12381WH                                                                                                                                                                                                                                                                 9065252
                                                                                                                                                                  ECOLAB ACCT 019702024,
          212 NO COPY             65252          13-13227   CHAMPPS OPERATING CORP    GREG WALDO           ECOLAB INC                 EQUIPMENT LEASE AGREEMENT   COMPONENT ID BOOSTER, SERIAL                               -   13481         10/26/2004       10/26/2004               370 N WABASHA STREET                                          ST. PAUL    MN           55102-2233
                                                                                                                                                                  NBR 486852080A                                                                                                                                                                                                                                                             65252
                                                                                                                                                                  ECOLAB ACCT 016972671,
          213 NO COPY             65217          13-13227   CHAMPPS OPERATING CORP    GREG WALDO           ECOLAB INC                 EQUIPMENT LEASE AGREEMENT   COMPONENT ID WH44, SERIAL NBR                          324.46 13481           5/16/2002        12/3/2004               370 N WABASHA STREET                                          ST. PAUL    MN           55102-2233                                   00471
                                                                                                                                                                  J10082WH                                                                                                                                                                                                                                                                47165217
                                                                                                                                                                  ECOLAB ACCT 019709904,
          214 NO COPY             65245          13-13227   CHAMPPS OPERATING CORP    GREG WALDO           ECOLAB INC                 EQUIPMENT LEASE AGREEMENT   COMPONENT ID WH44, SERIAL NBR                          214.87 13481           12/9/2004        12/9/2004               370 N WABASHA STREET                                          ST. PAUL    MN           55102-2233                                   00090
                                                                                                                                                                  J12600WH                                                                                                                                                                                                                                                                 9065245
                                                                                                                                                                  ECOLAB ACCT 019713114,
          215 NO COPY             65079          13-13237   FOX & HOUND OF INDIANA    GREG WALDO           ECOLAB INC                 EQUIPMENT LEASE AGREEMENT   COMPONENT ID ES4000, SERIAL                            352.78 1A787            3/5/2005         3/5/2005               370 N WABASHA STREET                                          ST. PAUL    MN           55102-2233                                   00471
                                                                                                                                                                  NBR ES52394                                                                                                                                                                                                                                                             47165079
                                                                                                                                                                  ECOLAB ACCT 017820390,
          216 NO COPY             65030          13-13246   FOX & HOUND OF OHIO       GREG WALDO           ECOLAB INC                 EQUIPMENT LEASE AGREEMENT   COMPONENT ID ES2000, SERIAL                            127.70 1A787           4/26/2005        4/26/2005               370 N WABASHA STREET                                          ST. PAUL    MN           55102-2233                                   00090
                                                                                                                                                                  NBR ES18565                                                                                                                                                                                                                                                              9065030
                                                                                                                                                                  ECOLAB ACCT 019713164,
                                                            TENT RESTAURANT
          217 NO COPY             65080          13-13259                             GREG WALDO           ECOLAB INC                 EQUIPMENT LEASE AGREEMENT   COMPONENT ID ES4000, SERIAL                            711.53 1A787           4/30/2005        4/30/2005               370 N WABASHA STREET                                          ST. PAUL    MN           55102-2233                                   00471
                                                            OPERATIONS
                                                                                                                                                                  NBR ES57706                                                                                                                                                                                                                                                             47165080
                                                                                                                                                                  ECOLAB ACCT 019725708,
                                                            TENT RESTAURANT
          218 NO COPY             65083          13-13259                             GREG WALDO           ECOLAB INC                 EQUIPMENT LEASE AGREEMENT   COMPONENT ID ES4000, SERIAL                            263.01 1A787            5/5/2005         5/5/2005               370 N WABASHA STREET                                          ST. PAUL    MN           55102-2233                                   00090
                                                            OPERATIONS
                                                                                                                                                                  NBR ES57804                                                                                                                                                                                                                                                              9065083
                                                                                                                                                                  ECOLAB ACCT 015673668,
          219 NO COPY             65207          13-13227   CHAMPPS OPERATING CORP    GREG WALDO           ECOLAB INC                 EQUIPMENT LEASE AGREEMENT   COMPONENT ID WH44, SERIAL NBR                              -   13481          5/12/2005        5/12/2005               370 N WABASHA STREET                                          ST. PAUL    MN           55102-2233
                                                                                                                                                                  J13059WH                                                                                                                                                                                                                                                                   65207
                                                                                                                                                                  ECOLAB ACCT 019711256,
          220 NO COPY             65084          13-13222   ALABAMA FOX & HOUND       GREG WALDO           ECOLAB INC                 EQUIPMENT LEASE AGREEMENT   COMPONENT ID ES4000, SERIAL                                -   1A787          5/13/2005        5/13/2005               370 N WABASHA STREET                                          ST. PAUL    MN           55102-2233
                                                                                                                                                                  NBR ES55703                                                                                                                                                                                                                                                                65084
                                                                                                                                                                  ECOLAB ACCT 019725423,
          221 NO COPY             65082          13-13242   FOX & HOUND OF MARYLAND GREG WALDO             ECOLAB INC                 EQUIPMENT LEASE AGREEMENT   COMPONENT ID ES4000, SERIAL                            310.60 1A787           5/14/2005        5/25/2005               370 N WABASHA STREET                                          ST. PAUL    MN           55102-2233                                   00090
                                                                                                                                                                  NBR ES58007                                                                                                                                                                                                                                                              9065082
                                                                                                                                                                  ECOLAB ACCT 015176233,
          222 NO COPY             65203          13-13227   CHAMPPS OPERATING CORP    GREG WALDO           ECOLAB INC                 EQUIPMENT LEASE AGREEMENT   COMPONENT ID WH44, SERIAL NBR                          319.32 13481           5/13/2002        6/14/2005               370 N WABASHA STREET                                          ST. PAUL    MN           55102-2233                                   00090
                                                                                                                                                                  J13277WH                                                                                                                                                                                                                                                                 9065203
                                                                                                                                                                  ECOLAB ACCT 012634432,
          224 NO COPY             65209          13-13227   CHAMPPS OPERATING CORP    GREG WALDO           ECOLAB INC                 EQUIPMENT LEASE AGREEMENT   COMPONENT ID WH44, SERIAL NBR                         1,291.92 13481         11/28/1989        7/28/2005               370 N WABASHA STREET                                          ST. PAUL    MN           55102-2233                                   00471
                                                                                                                                                                  J9269WH                                                                                                                                                                                                                                                                 47165209
                                                                                                                                                                  ECOLAB ACCT 012634432,
          225 NO COPY             65209          13-13227   CHAMPPS OPERATING CORP    GREG WALDO           ECOLAB INC                 EQUIPMENT LEASE AGREEMENT   COMPONENT ID BOOSTER, SERIAL                               -   13481         11/28/1989        7/28/2005               370 N WABASHA STREET                                          ST. PAUL    MN           55102-2233
                                                                                                                                                                  NBR 8460421106                                                                                                                                                                                                                                                             65209
                                                                                                                                                                  ECOLAB ACCT 019603568,
                                                            TENT RESTAURANT
          226 NO COPY             65062          13-13259                             GREG WALDO           ECOLAB INC                 EQUIPMENT LEASE AGREEMENT   COMPONENT ID OMEGA 5, SERIAL                           412.29 1A787            5/7/2003        8/23/2005               370 N WABASHA STREET                                          ST. PAUL    MN           55102-2233                                   00090
                                                            OPERATIONS
                                                                                                                                                                  NBR GW4244                                                                                                                                                                                                                                                               9065062
                                                                                                                                                                  ECOLAB ACCT 016701054,
          227 NO COPY             65015          13-13243   FOX & HOUND OF NEBRASKA   GREG WALDO           ECOLAB INC                 EQUIPMENT LEASE AGREEMENT   COMPONENT ID ES2000, SERIAL                             96.23 1A787            9/2/2005         9/2/2005               370 N WABASHA STREET                                          ST. PAUL    MN           55102-2233                                   00471
                                                                                                                                                                  NBR ES25866                                                                                                                                                                                                                                                             47165015
                                                                                                                                                                  ECOLAB ACCT 019744993,
                                                            TENT RESTAURANT
          228 NO COPY             65086          13-13259                             GREG WALDO           ECOLAB INC                 EQUIPMENT LEASE AGREEMENT   COMPONENT ID ES4000, SERIAL                                -   1A787          9/15/2005        9/15/2005               370 N WABASHA STREET                                          ST. PAUL    MN           55102-2233
                                                            OPERATIONS
                                                                                                                                                                  NBR ES55868                                                                                                                                                                                                                                                                65086




2491306-3                                                                                                                                                                                                                                          2.4(m) - 6
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     ID        Epiq Contract No   Store Number       Case            Debtor           Responsible Person     Contract Counter Party         Type of Contract            Description of Contract    Assume   Reject   Cure Amount Contract NoDate of Contract
                                                                                                                                                                                                                                                          Termination Date    Attention                Address 1    Address 2   Address 3   Address 4        City        State        Zip     Country   Email   Phone   Fax      Vendor   A/P code
                                                                                                                                                                  ECOLAB ACCT 018086066,
                                                            N. COLLINS ENTERTAINMENT,
          229 NO COPY             65002          13-13259                             GREG WALDO           ECOLAB INC                 EQUIPMENT LEASE AGREEMENT   COMPONENT ID OMEGA 5, SERIAL                                -   1A787          3/16/2000       10/28/2005               370 N WABASHA STREET                                          ST. PAUL    MN           55102-2233
                                                            LTD.
                                                                                                                                                                  NBR GW4443                                                                                                                                                                                                                                                                 65002
                                                                                                                                                                  ECOLAB ACCT 019762776,
                                                            TENT RESTAURANT
          230 NO COPY             65087          13-13259                             GREG WALDO           ECOLAB INC                 EQUIPMENT LEASE AGREEMENT   COMPONENT ID ES4000, SERIAL                             262.03 1A787           11/2/2005        11/2/2005               370 N WABASHA STREET                                          ST. PAUL    MN           55102-2233                                   00090
                                                            OPERATIONS
                                                                                                                                                                  NBR ES58243                                                                                                                                                                                                                                                              9065087
                                                                                                                                                                  ECOLAB ACCT 019761013,
                                                            TENT RESTAURANT
          231 NO COPY             65088          13-13259                             GREG WALDO           ECOLAB INC                 EQUIPMENT LEASE AGREEMENT   COMPONENT ID ES4000, SERIAL                             203.67 1A787          11/11/2005       11/16/2005               370 N WABASHA STREET                                          ST. PAUL    MN           55102-2233                                   00090
                                                            OPERATIONS
                                                                                                                                                                  NBR ES58206                                                                                                                                                                                                                                                              9065088
                                                                                                                                                                  ECOLAB ACCT 019764626,
                                                            TENT RESTAURANT
          232 NO COPY             65089          13-13259                             GREG WALDO           ECOLAB INC                 EQUIPMENT LEASE AGREEMENT   COMPONENT ID ES4000, SERIAL                             407.44 1A787          12/28/2005       12/28/2005               370 N WABASHA STREET                                          ST. PAUL    MN           55102-2233                                   00090
                                                            OPERATIONS
                                                                                                                                                                  NBR ES58086                                                                                                                                                                                                                                                              9065089
                                                                                                                                                                  ECOLAB ACCT 019768031,
          233 NO COPY             65091          13-13246   FOX & HOUND OF OHIO       GREG WALDO           ECOLAB INC                 EQUIPMENT LEASE AGREEMENT   COMPONENT ID ES4000, SERIAL                             304.09 1A787            2/3/2006         2/3/2006               370 N WABASHA STREET                                          ST. PAUL    MN           55102-2233                                   00090
                                                                                                                                                                  NBR ES54171                                                                                                                                                                                                                                                              9065091
                                                                                                                                                                  ECOLAB ACCT 017733783,
                                                            CHAMPPS ENTERTAINMENT
          234 NO COPY             65094          13-13225                             GREG WALDO           ECOLAB INC                 EQUIPMENT LEASE AGREEMENT   COMPONENT ID WH44 CS, SERIAL                                -   13481           2/4/2006         2/4/2006               370 N WABASHA STREET                                          ST. PAUL    MN           55102-2233
                                                            OF TX
                                                                                                                                                                  NBR 06A14349                                                                                                                                                                                                                                                               65094
                                                                                                                                                                  ECOLAB ACCT 018223149,
                                                            CHAMPPS ENTERTAINMENT
          235 NO COPY             65219          13-13225                             GREG WALDO           ECOLAB INC                 EQUIPMENT LEASE AGREEMENT   COMPONENT ID WH44, SERIAL NBR                           278.36 13481           5/24/2000        5/24/2006               370 N WABASHA STREET                                          ST. PAUL    MN           55102-2233                                   00471
                                                            OF TX
                                                                                                                                                                  J9000WH                                                                                                                                                                                                                                                                 47165219
                                                                                                                                                                  ECOLAB ACCT 018223149,
                                                            CHAMPPS ENTERTAINMENT
          236 NO COPY             65219          13-13225                             GREG WALDO           ECOLAB INC                 EQUIPMENT LEASE AGREEMENT   COMPONENT ID BOOSTER, SERIAL                                -   13481          5/24/2000        5/24/2006               370 N WABASHA STREET                                          ST. PAUL    MN           55102-2233
                                                            OF TX
                                                                                                                                                                  NBR 4339770739                                                                                                                                                                                                                                                             65219
                                                                                                                                                                  ECOLAB ACCT 019779601,
          237 NO COPY             65093          13-13259   FOX & HOUND PUB & GRILL   GREG WALDO           ECOLAB INC                 EQUIPMENT LEASE AGREEMENT   COMPONENT ID ES4000, SERIAL                                 -   1A787          6/30/2006         7/1/2006               370 N WABASHA STREET                                          ST. PAUL    MN           55102-2233
                                                                                                                                                                  NBR ES55046                                                                                                                                                                                                                                                                65093
                                                                                                                                                                  ECOLAB ACCT 017289281,
                                                            TENT RESTAURANT
          238 NO COPY             65031          13-13259                             GREG WALDO           ECOLAB INC                 EQUIPMENT LEASE AGREEMENT   COMPONENT ID OMEGA 5, SERIAL                            262.31 1A787           11/8/2000         8/2/2006               370 N WABASHA STREET                                          ST. PAUL    MN           55102-2233                                   00090
                                                            OPERATIONS
                                                                                                                                                                  NBR 06F205643                                                                                                                                                                                                                                                            9065031
                                                                                                                                                                  ECOLAB ACCT 019807571,
                                                            TENT RESTAURANT
          239 NO COPY             65093          13-13259                             GREG WALDO           ECOLAB INC                 EQUIPMENT LEASE AGREEMENT   COMPONENT ID ES2000, SERIAL                              64.70 1A787           9/22/2006        9/22/2006               370 N WABASHA STREET                                          ST. PAUL    MN           55102-2233                                   00090
                                                            OPERATIONS
                                                                                                                                                                  NBR ES25271                                                                                                                                                                                                                                                              9065093
                                                                                                                                                                  ECOLAB ACCT 019725708,
                                                            TENT RESTAURANT
          240 NO COPY             65083          13-13259                             GREG WALDO           ECOLAB INC                 EQUIPMENT LEASE AGREEMENT   COMPONENT ID OMEGA 5, SERIAL                                -   1A787           5/5/2005        1/24/2007               370 N WABASHA STREET                                          ST. PAUL    MN           55102-2233
                                                            OPERATIONS
                                                                                                                                                                  NBR GW4140                                                                                                                                                                                                                                                                 65083
                                                                                                                                                                  ECOLAB ACCT 019302520,
                                                            TENT RESTAURANT
          241 NO COPY             65047          13-13259                             GREG WALDO           ECOLAB INC                 EQUIPMENT LEASE AGREEMENT   COMPONENT ID OMEGA 5, SERIAL                            309.88 1A787            3/2/2002         2/1/2007               370 N WABASHA STREET                                          ST. PAUL    MN           55102-2233                                   00090
                                                            OPERATIONS
                                                                                                                                                                  NBR GW2887                                                                                                                                                                                                                                                               9065047
                                                                                                                                                                  ECOLAB ACCT 019691827,
                                                            TENT RESTAURANT
          242 NO COPY             65077          13-13259                             GREG WALDO           ECOLAB INC                 EQUIPMENT LEASE AGREEMENT   COMPONENT ID OMEGA 5, SERIAL                                -   1A787         10/15/2004         2/3/2007               370 N WABASHA STREET                                          ST. PAUL    MN           55102-2233
                                                            OPERATIONS
                                                                                                                                                                  NBR GW3805                                                                                                                                                                                                                                                                 65077
                                                                                                                                                                  ECOLAB ACCT 019662815,
                                                            TENT RESTAURANT
          243 NO COPY             65070          13-13259                             GREG WALDO           ECOLAB INC                 EQUIPMENT LEASE AGREEMENT   COMPONENT ID OMEGA 5, SERIAL                                -   1A787          4/27/2004        2/27/2007               370 N WABASHA STREET                                          ST. PAUL    MN           55102-2233
                                                            OPERATIONS
                                                                                                                                                                  NBR 07A216907                                                                                                                                                                                                                                                              65070
                                                                                                                                                                  ECOLAB ACCT 015327547,
                                                            N. COLLINS ENTERTAINMENT,
          244 NO COPY             65204          13-13254                             GREG WALDO           ECOLAB INC                 EQUIPMENT LEASE AGREEMENT   COMPONENT ID WH44, SERIAL NBR                           212.88 13481            9/8/2003        5/20/2007               370 N WABASHA STREET                                          ST. PAUL    MN           55102-2233                                   00090
                                                            LTD.
                                                                                                                                                                  06G207646                                                                                                                                                                                                                                                                9065204
                                                                                                                                                                  ECOLAB ACCT 019302520,
                                                            TENT RESTAURANT
          245 NO COPY             65047          13-13259                             GREG WALDO           ECOLAB INC                 EQUIPMENT LEASE AGREEMENT   COMPONENT ID ES2000, SERIAL                                 -   1A787           3/2/2002        7/18/2007               370 N WABASHA STREET                                          ST. PAUL    MN           55102-2233
                                                            OPERATIONS
                                                                                                                                                                  NBR ES22691                                                                                                                                                                                                                                                                65047
                                                                                                                                                                  ECOLAB ACCT 019889959,
          246 NO COPY             65094          13-13248   F&H RESTAURANTS OF TEXAS GREG WALDO            ECOLAB INC                 EQUIPMENT LEASE AGREEMENT   COMPONENT ID ES2000, SERIAL                                 -   1A787          8/10/2007        8/10/2007               370 N WABASHA STREET                                          ST. PAUL    MN           55102-2233
                                                                                                                                                                  NBR 07G223724                                                                                                                                                                                                                                                              65094
                                                                                                                                                                  ECOLAB ACCT 019889959,
          247 NO COPY             65094          13-13248   F&H RESTAURANTS OF TEXAS GREG WALDO            ECOLAB INC                 EQUIPMENT LEASE AGREEMENT   COMPONENT ID OMEGA 5, SERIAL                                -   1A787          8/10/2007        8/21/2007               370 N WABASHA STREET                                          ST. PAUL    MN           55102-2233
                                                                                                                                                                  NBR 07G223671                                                                                                                                                                                                                                                              65094
                                                                                                                                                                  ECOLAB ACCT 019768031,
          248 NO COPY             65091          13-13246   FOX & HOUND OF OHIO       GREG WALDO           ECOLAB INC                 EQUIPMENT LEASE AGREEMENT   COMPONENT ID OMEGA 5, SERIAL                                -   1A787           2/3/2006        8/31/2007               370 N WABASHA STREET                                          ST. PAUL    MN           55102-2233
                                                                                                                                                                  NBR 07G223781                                                                                                                                                                                                                                                              65091
                                                                                                                                                                  ECOLAB ACCT 017723644,
                                                            TENT RESTAURANT
          249 NO COPY             65006          13-13259                             GREG WALDO           ECOLAB INC                 EQUIPMENT LEASE AGREEMENT   COMPONENT ID ES2000, SERIAL                              97.66 1A787            9/7/2007         9/7/2007               370 N WABASHA STREET                                          ST. PAUL    MN           55102-2233                                   00090
                                                            OPERATIONS
                                                                                                                                                                  NBR 07G225154                                                                                                                                                                                                                                                            9065006
                                                                                                                                                                  ECOLAB ACCT 019582219,
          250 NO COPY             65238          13-13227   CHAMPPS OPERATING CORP    GREG WALDO           ECOLAB INC                 EQUIPMENT LEASE AGREEMENT   COMPONENT ID WH44, SERIAL NBR                           682.75 13481           11/9/2002        11/1/2007               370 N WABASHA STREET                                          ST. PAUL    MN           55102-2233                                   00090
                                                                                                                                                                  07J228835                                                                                                                                                                                                                                                                9065238
                                                                                                                                                                  ECOLAB ACCT 019582219,
          251 NO COPY             65238          13-13227   CHAMPPS OPERATING CORP    GREG WALDO           ECOLAB INC                 EQUIPMENT LEASE AGREEMENT   COMPONENT ID BOOSTER, SERIAL                                -   13481          11/9/2002        11/1/2007               370 N WABASHA STREET                                          ST. PAUL    MN           55102-2233
                                                                                                                                                                  NBR 9717680532                                                                                                                                                                                                                                                             65238
                                                                                                                                                                  ECOLAB ACCT 019644310,
                                                            TENT RESTAURANT
          252 NO COPY             65066          13-13259                             GREG WALDO           ECOLAB INC                 EQUIPMENT LEASE AGREEMENT   COMPONENT ID ES4000CD, SERIAL                           137.75 1A787          10/24/2003       12/13/2007               370 N WABASHA STREET                                          ST. PAUL    MN           55102-2233                                   00090
                                                            OPERATIONS
                                                                                                                                                                  NBR ES57584                                                                                                                                                                                                                                                              9065066
                                                                                                                                                                  ECOLAB ACCT 019144302,
          253 NO COPY             65044          13-13230   F&H OF KENNESAW           GREG WALDO           ECOLAB INC                 EQUIPMENT LEASE AGREEMENT   COMPONENT ID OMEGA 5, SERIAL                                -   1A787         11/20/2001         2/5/2008               370 N WABASHA STREET                                          ST. PAUL    MN           55102-2233
                                                                                                                                                                  NBR 07K230623                                                                                                                                                                                                                                                              65044
                                                                                                                                                                  ECOLAB ACCT 018086215,
          254 NO COPY             65022          13-13248   F&H RESTAURANTS OF TEXAS GREG WALDO            ECOLAB INC                 EQUIPMENT LEASE AGREEMENT   COMPONENT ID ES2000, SERIAL                              65.43 1A787            3/6/2000        3/19/2008               370 N WABASHA STREET                                          ST. PAUL    MN           55102-2233                                   00471
                                                                                                                                                                  NBR ES145015                                                                                                                                                                                                                                                            47165022
                                                                                                                                                                  ECOLAB ACCT 019214188,
          255 NO COPY             65050          13-13234   FOX & HOUND OF ARIZONA    GREG WALDO           ECOLAB INC                 EQUIPMENT LEASE AGREEMENT   COMPONENT ID OMEGA 5, SERIAL                                -   1A787           1/2/2002         5/2/2008               370 N WABASHA STREET                                          ST. PAUL    MN           55102-2233
                                                                                                                                                                  NBR 07G224278                                                                                                                                                                                                                                                              65050
                                                                                                                                                                  ECOLAB ACCT 019661356,
                                                            TENT RESTAURANT
          256 NO COPY             65071          13-13259                             GREG WALDO           ECOLAB INC                 EQUIPMENT LEASE AGREEMENT   COMPONENT ID ES4000, SERIAL                             265.47 1A787            5/1/2004         6/1/2008               370 N WABASHA STREET                                          ST. PAUL    MN           55102-2233                                   00090
                                                            OPERATIONS
                                                                                                                                                                  NBR 06F206421                                                                                                                                                                                                                                                            9065071
                                                                                                                                                                  ECOLAB ACCT 018245191,
          257 NO COPY             65224          13-13227   CHAMPPS OPERATING CORP    GREG WALDO           ECOLAB INC                 EQUIPMENT LEASE AGREEMENT   COMPONENT ID ES4400, SERIAL                             450.44 13481           5/25/2000        6/26/2008               370 N WABASHA STREET                                          ST. PAUL    MN           55102-2233                                   00471
                                                                                                                                                                  NBR J4488                                                                                                                                                                                                                                                               47165224
                                                                                                                                                                  ECOLAB ACCT 017876780,
          258 NO COPY             65222          13-13227   CHAMPPS OPERATING CORP    GREG WALDO           ECOLAB INC                 EQUIPMENT LEASE AGREEMENT   COMPONENT ID ES4400 CS, SERIAL                          734.78 13481           6/30/2008        6/30/2008               370 N WABASHA STREET                                          ST. PAUL    MN           55102-2233                                   00471
                                                                                                                                                                  NBR 08F238301                                                                                                                                                                                                                                                           47165222
                                                                                                                                                                  ECOLAB ACCT 018971325,
                                                            TENT RESTAURANT
          259 NO COPY             65045          13-13259                             GREG WALDO           ECOLAB INC                 EQUIPMENT LEASE AGREEMENT   COMPONENT ID ES2000, SERIAL                             151.01 1A787           8/27/2001       10/27/2008               370 N WABASHA STREET                                          ST. PAUL    MN           55102-2233                                   00090
                                                            OPERATIONS
                                                                                                                                                                  NBR 06E204261                                                                                                                                                                                                                                                            9065045
                                                                                                                                                                  ECOLAB ACCT 016751513,
          260 NO COPY             65216          13-13227   CHAMPPS OPERATING CORP    GREG WALDO           ECOLAB INC                 EQUIPMENT LEASE AGREEMENT   COMPONENT ID WH44D, SERIAL                              338.76 13481           5/15/2002        12/2/2008               370 N WABASHA STREET                                          ST. PAUL    MN           55102-2233                                   00471
                                                                                                                                                                  NBR 08J243406                                                                                                                                                                                                                                                           47165216
                                                                                                                                                                  ECOLAB ACCT 019711256,
          261 NO COPY             65084          13-13222   ALABAMA FOX & HOUND       GREG WALDO           ECOLAB INC                 EQUIPMENT LEASE AGREEMENT   COMPONENT ID OMEGA 5, SERIAL                                -   1A787          5/13/2005        3/13/2009               370 N WABASHA STREET                                          ST. PAUL    MN           55102-2233
                                                                                                                                                                  NBR 09B245988                                                                                                                                                                                                                                                              65084
                                                                                                                                                                  ECOLAB ACCT 016583494,
          262 NO COPY             65215          13-13227   CHAMPPS OPERATING CORP    GREG WALDO           ECOLAB INC                 EQUIPMENT LEASE AGREEMENT   COMPONENT ID OMEGA 5, SERIAL                            574.56 13481           8/16/2005         5/2/2009               370 N WABASHA STREET                                          ST. PAUL    MN           55102-2233                                   00471
                                                                                                                                                                  NBR 07C218517                                                                                                                                                                                                                                                           47165215
                                                                                                                                                                  ECOLAB ACCT 016185407,
          263 NO COPY             65213          13-13227   CHAMPPS OPERATING CORP    GREG WALDO           ECOLAB INC                 EQUIPMENT LEASE AGREEMENT   COMPONENT ID WH44D, SERIAL                              554.56 13481            3/2/2005         6/2/2009               370 N WABASHA STREET                                          ST. PAUL    MN           55102-2233                                   00090
                                                                                                                                                                  NBR 09E248477                                                                                                                                                                                                                                                            9065213




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     ID        Epiq Contract No   Store Number       Case             Debtor          Responsible Person     Contract Counter Party         Type of Contract            Description of Contract   Assume   Reject   Cure Amount Contract NoDate of Contract
                                                                                                                                                                                                                                                         Termination Date    Attention                Address 1    Address 2   Address 3   Address 4        City        State        Zip     Country   Email   Phone   Fax      Vendor   A/P code
                                                                                                                                                                  ECOLAB ACCT 016185407,
          264 NO COPY             65213          13-13227   CHAMPPS OPERATING CORP    GREG WALDO           ECOLAB INC                 EQUIPMENT LEASE AGREEMENT   COMPONENT ID BOOSTER, SERIAL                               -   13481           3/2/2005         6/2/2009               370 N WABASHA STREET                                          ST. PAUL    MN           55102-2233
                                                                                                                                                                  NBR 8480671107                                                                                                                                                                                                                                                            65213
                                                                                                                                                                  ECOLAB ACCT 019653860,
          265 NO COPY             65069          13-13238   FOX & HOUND OF KANSAS     GREG WALDO           ECOLAB INC                 EQUIPMENT LEASE AGREEMENT   COMPONENT ID OMEGA 5, SERIAL                           307.66 1A787            2/4/2004        6/10/2009               370 N WABASHA STREET                                          ST. PAUL    MN           55102-2233                                   00471
                                                                                                                                                                  NBR 06D201953                                                                                                                                                                                                                                                          47165069
                                                                                                                                                                  ECOLAB ACCT 019889959,
          266 NO COPY             65094          13-13248   F&H RESTAURANTS OF TEXAS GREG WALDO            ECOLAB INC                 EQUIPMENT LEASE AGREEMENT   COMPONENT ID 2900S WS, SERIAL                              -   1A787          8/10/2007        6/17/2009               370 N WABASHA STREET                                          ST. PAUL    MN           55102-2233
                                                                                                                                                                  NBR 09146002                                                                                                                                                                                                                                                              65094
                                                                                                                                                                  ECOLAB ACCT 019603656,
          267 NO COPY             65059          13-13235   FOX & HOUND OF COLORADO GREG WALDO             ECOLAB INC                 EQUIPMENT LEASE AGREEMENT   COMPONENT ID ES2000, SERIAL                            665.15 1A787            4/5/2003        6/18/2009               370 N WABASHA STREET                                          ST. PAUL    MN           55102-2233                                   00471
                                                                                                                                                                  NBR ES149267                                                                                                                                                                                                                                                           47165059
                                                                                                                                                                  ECOLAB ACCT 017876780,
          268 NO COPY             65222          13-13227   CHAMPPS OPERATING CORP    GREG WALDO           ECOLAB INC                 EQUIPMENT LEASE AGREEMENT   COMPONENT ID OMEGA 5, SERIAL                               -   13481          6/30/2008        7/10/2009               370 N WABASHA STREET                                          ST. PAUL    MN           55102-2233
                                                                                                                                                                  NBR 07D219568                                                                                                                                                                                                                                                             65222
                                                                                                                                                                  ECOLAB ACCT 018086132,
                                                            TENT RESTAURANT
          269 NO COPY             65009          13-13259                             GREG WALDO           ECOLAB INC                 EQUIPMENT LEASE AGREEMENT   COMPONENT ID OMEGA 5, SERIAL                               -   1A787           3/8/2000        7/23/2009               370 N WABASHA STREET                                          ST. PAUL    MN           55102-2233
                                                            OPERATIONS
                                                                                                                                                                  NBR 08D236525                                                                                                                                                                                                                                                             65009
                                                                                                                                                                  ECOLAB ACCT 018086033,
                                                            TENT RESTAURANT
          270 NO COPY             65003          13-13259                             GREG WALDO           ECOLAB INC                 EQUIPMENT LEASE AGREEMENT   COMPONENT ID OMEGA 5, SERIAL                               -   1A787           3/8/2000         8/5/2009               370 N WABASHA STREET                                          ST. PAUL    MN           55102-2233
                                                            OPERATIONS
                                                                                                                                                                  NBR 07K230773                                                                                                                                                                                                                                                             65003
                                                                                                                                                                  ECOLAB ACCT 016289902,
          271 NO COPY             65212          13-13227   CHAMPPS OPERATING CORP    GREG WALDO           ECOLAB INC                 EQUIPMENT LEASE AGREEMENT   COMPONENT ID WH44D, SERIAL                             213.41 13481           9/20/2003        8/20/2009               370 N WABASHA STREET                                          ST. PAUL    MN           55102-2233                                   00090
                                                                                                                                                                  NBR J9100WH                                                                                                                                                                                                                                                             9065212
                                                                                                                                                                  ECOLAB ACCT 019666475,
          272 NO COPY             65075          13-13250   FOX & HOUND               GREG WALDO           ECOLAB INC                 EQUIPMENT LEASE AGREEMENT   COMPONENT ID OMEGA 5, SERIAL                               -   1A787           7/6/2004         9/1/2009               370 N WABASHA STREET                                          ST. PAUL    MN           55102-2233
                                                                                                                                                                  NBR 08C235299                                                                                                                                                                                                                                                             65075
                                                                                                                                                                  ECOLAB ACCT 018086199,
          273 NO COPY             65029          13-13238   FOX & HOUND OF KANSAS     GREG WALDO           ECOLAB INC                 EQUIPMENT LEASE AGREEMENT   COMPONENT ID OMEGA 5, SERIAL                           425.50 1A787            3/2/2000        9/11/2009               370 N WABASHA STREET                                          ST. PAUL    MN           55102-2233                                   00471
                                                                                                                                                                  NBR GW3846                                                                                                                                                                                                                                                             47165029
                                                                                                                                                                  ECOLAB ACCT 019661356,
                                                            TENT RESTAURANT
          274 NO COPY             65071          13-13259                             GREG WALDO           ECOLAB INC                 EQUIPMENT LEASE AGREEMENT   COMPONENT ID OMEGA 5, SERIAL                               -   1A787           5/1/2004        9/21/2009               370 N WABASHA STREET                                          ST. PAUL    MN           55102-2233
                                                            OPERATIONS
                                                                                                                                                                  NBR 09G249442                                                                                                                                                                                                                                                             65071
                                                                                                                                                                  ECOLAB ACCT 017378738,
                                                            TENT RESTAURANT
          275 NO COPY             65033          13-13259                             GREG WALDO           ECOLAB INC                 EQUIPMENT LEASE AGREEMENT   COMPONENT ID ES4000, SERIAL                            117.65 1A787           9/26/1999        9/26/2009               370 N WABASHA STREET                                          ST. PAUL    MN           55102-2233                                   00090
                                                            OPERATIONS
                                                                                                                                                                  NBR ES52729                                                                                                                                                                                                                                                             9065033
                                                                                                                                                                  ECOLAB ACCT 018846345,
          276 NO COPY             65229          13-13227   CHAMPPS OPERATING CORP    GREG WALDO           ECOLAB INC                 EQUIPMENT LEASE AGREEMENT   COMPONENT ID WH44D, SERIAL                            1,062.93 13481          9/12/2001        1/18/2010               370 N WABASHA STREET                                          ST. PAUL    MN           55102-2233                                   00471
                                                                                                                                                                  NBR J12189WH                                                                                                                                                                                                                                                           47165229
                                                                                                                                                                  ECOLAB ACCT 019612930,
          277 NO COPY             65242          13-13227   CHAMPPS OPERATING CORP    GREG WALDO           ECOLAB INC                 EQUIPMENT LEASE AGREEMENT   COMPONENT ID WH44D, SERIAL                             548.06 13481           5/20/2003         3/5/2010               370 N WABASHA STREET                                          ST. PAUL    MN           55102-2233                                   00471
                                                                                                                                                                  NBR J12803WH                                                                                                                                                                                                                                                           47165242
                                                                                                                                                                  ECOLAB ACCT 019612930,
          278 NO COPY             65242          13-13227   CHAMPPS OPERATING CORP    GREG WALDO           ECOLAB INC                 EQUIPMENT LEASE AGREEMENT   COMPONENT ID BOOSTER, SERIAL                               -   13481          5/20/2003         3/5/2010               370 N WABASHA STREET                                          ST. PAUL    MN           55102-2233
                                                                                                                                                                  NBR 7266381007                                                                                                                                                                                                                                                            65242
                                                                                                                                                                  ECOLAB ACCT 018768655,
          279 NO COPY             65226          13-13227   CHAMPPS OPERATING CORP    GREG WALDO           ECOLAB INC                 EQUIPMENT LEASE AGREEMENT   COMPONENT ID WH44D, SERIAL                             755.78 13481            5/8/2001         3/8/2010               370 N WABASHA STREET                                          ST. PAUL    MN           55102-2233                                   00090
                                                                                                                                                                  NBR J12611WH                                                                                                                                                                                                                                                            9065226
                                                                                                                                                                  ECOLAB ACCT 018768655,
          280 NO COPY             65226          13-13227   CHAMPPS OPERATING CORP    GREG WALDO           ECOLAB INC                 EQUIPMENT LEASE AGREEMENT   COMPONENT ID BOOSTER, SERIAL                               -   13481           5/8/2001         3/8/2010               370 N WABASHA STREET                                          ST. PAUL    MN           55102-2233
                                                                                                                                                                  NBR 3618470711                                                                                                                                                                                                                                                            65226
                                                                                                                                                                  ECOLAB ACCT 019779601,
                                                            TENT RESTAURANT
          281 NO COPY             65092          13-13259                             GREG WALDO           ECOLAB INC                 EQUIPMENT LEASE AGREEMENT   COMPONENT ID OMEGA 5, SERIAL                           202.05 1A787           6/30/2006         4/2/2010               370 N WABASHA STREET                                          ST. PAUL    MN           55102-2233                                   00471
                                                            OPERATIONS
                                                                                                                                                                  NBR 07I227749                                                                                                                                                                                                                                                          47165092
                                                                                                                                                                  ECOLAB ACCT 019603565,
          282 NO COPY             65060          13-13236   FOX & HOUND OF ILLINOIS   GREG WALDO           ECOLAB INC                 EQUIPMENT LEASE AGREEMENT   COMPONENT ID ES2000, SERIAL                            377.10 1A787            3/5/2003         4/5/2010               370 N WABASHA STREET                                          ST. PAUL    MN           55102-2233                                   00471
                                                                                                                                                                  NBR ES20640                                                                                                                                                                                                                                                            47165060
                                                                                                                                                                  ECOLAB ACCT 019627249,
          283 NO COPY             65240          13-13227   CHAMPPS OPERATING CORP    GREG WALDO           ECOLAB INC                 EQUIPMENT LEASE AGREEMENT   COMPONENT ID WH44D, SERIAL                             268.25 13481            7/9/2003        5/15/2010               370 N WABASHA STREET                                          ST. PAUL    MN           55102-2233                                   00090
                                                                                                                                                                  NBR J6140WH                                                                                                                                                                                                                                                             9065240
                                                                                                                                                                  ECOLAB ACCT 018086199,
          284 NO COPY             65029          13-13238   FOX & HOUND OF KANSAS     GREG WALDO           ECOLAB INC                 EQUIPMENT LEASE AGREEMENT   COMPONENT ID ES2000, SERIAL                                -   1A787           3/2/2000        5/28/2010               370 N WABASHA STREET                                          ST. PAUL    MN           55102-2233
                                                                                                                                                                  NBR ES8035A                                                                                                                                                                                                                                                               65029
                                                                                                                                                                  ECOLAB ACCT 017501230,
                                                            TENT RESTAURANT
          285 NO COPY             65028          13-13259                             GREG WALDO           ECOLAB INC                 EQUIPMENT LEASE AGREEMENT   COMPONENT ID OMEGA 5, SERIAL                               -   1A787           3/7/2000         8/7/2010               370 N WABASHA STREET                                          ST. PAUL    MN           55102-2233
                                                            OPERATIONS
                                                                                                                                                                  NBR 08I241962                                                                                                                                                                                                                                                             65028
                                                                                                                                                                  ECOLAB ACCT 019603568,
                                                            TENT RESTAURANT
          286 NO COPY             65062          13-13259                             GREG WALDO           ECOLAB INC                 EQUIPMENT LEASE AGREEMENT   COMPONENT ID OMEGA 5, SERIAL                               -   1A787           5/7/2003        8/24/2010               370 N WABASHA STREET                                          ST. PAUL    MN           55102-2233
                                                            OPERATIONS
                                                                                                                                                                  NBR 10G255830                                                                                                                                                                                                                                                             65062
                                                                                                                                                                  ECOLAB ACCT 018469098,
                                                            TENT RESTAURANT
          287 NO COPY             65038          13-13259                             GREG WALDO           ECOLAB INC                 EQUIPMENT LEASE AGREEMENT   COMPONENT ID ES2000, SERIAL                            243.53 1A787           6/19/2003        12/4/2010               370 N WABASHA STREET                                          ST. PAUL    MN           55102-2233                                   00471
                                                            OPERATIONS
                                                                                                                                                                  NBR ES147781                                                                                                                                                                                                                                                           47165038
                                                                                                                                                                  ECOLAB ACCT 019392950,
          288 NO COPY             65049          13-13235   FOX & HOUND OF COLORADO GREG WALDO             ECOLAB INC                 EQUIPMENT LEASE AGREEMENT   COMPONENT ID OMEGA 5, SERIAL                               -   1A787          4/17/2002       12/18/2010               370 N WABASHA STREET                                          ST. PAUL    MN           55102-2233
                                                                                                                                                                  NBR 23OK100140                                                                                                                                                                                                                                                            65049
                                                                                                                                                                  ECOLAB ACCT 019611235,
          289 NO COPY             65244          13-13227   CHAMPPS OPERATING CORP    GREG WALDO           ECOLAB INC                 EQUIPMENT LEASE AGREEMENT   COMPONENT ID EC44, SERIAL NBR                          595.12 13481            5/6/2003        1/14/2011               370 N WABASHA STREET                                          ST. PAUL    MN           55102-2233                                   00090
                                                                                                                                                                  85DM100035                                                                                                                                                                                                                                                              9065244
                                                                                                                                                                  ECOLAB ACCT 018469098,
                                                            TENT RESTAURANT
          290 NO COPY             65038          13-13259                             GREG WALDO           ECOLAB INC                 EQUIPMENT LEASE AGREEMENT   COMPONENT ID ET1-30, SERIAL                                -   1A787          6/19/2003        1/19/2011               370 N WABASHA STREET                                          ST. PAUL    MN           55102-2233
                                                            OPERATIONS
                                                                                                                                                                  NBR 07D220563                                                                                                                                                                                                                                                             65038
                                                                                                                                                                  ECOLAB ACCT 015681091,
          291 NO COPY             65211          13-13227   CHAMPPS OPERATING CORP    GREG WALDO           ECOLAB INC                 EQUIPMENT LEASE AGREEMENT   COMPONENT ID WH44D, SERIAL                             512.37 13481           4/15/1996        2/15/2011               370 N WABASHA STREET                                          ST. PAUL    MN           55102-2233                                   00090
                                                                                                                                                                  NBR 08A232717                                                                                                                                                                                                                                                           9065211
                                                                                                                                                                  ECOLAB ACCT 015404254,
          292 NO COPY             65205          13-13227   CHAMPPS OPERATING CORP    GREG WALDO           ECOLAB INC                 EQUIPMENT LEASE AGREEMENT   COMPONENT ID OMEGA 5, SERIAL                               -   13481          6/11/2002        2/25/2011               370 N WABASHA STREET                                          ST. PAUL    MN           55102-2233
                                                                                                                                                                  NBR 23OM100344                                                                                                                                                                                                                                                            65205
                                                                                                                                                                  ECOLAB ACCT 019764626,
                                                            TENT RESTAURANT
          293 NO COPY             65089          13-13259                             GREG WALDO           ECOLAB INC                 EQUIPMENT LEASE AGREEMENT   COMPONENT ID OMEGA 5, SERIAL                               -   1A787         12/28/2005         3/3/2011               370 N WABASHA STREET                                          ST. PAUL    MN           55102-2233
                                                            OPERATIONS
                                                                                                                                                                  NBR GW2748                                                                                                                                                                                                                                                                65089
                                                                                                                                                                  ECOLAB ACCT 019599493,
          294 NO COPY             65056          13-13248   F&H RESTAURANTS OF TEXAS GREG WALDO            ECOLAB INC                 EQUIPMENT LEASE AGREEMENT   COMPONENT ID OMEGA 5, SERIAL                               -   1A787          1/24/2003         3/4/2011               370 N WABASHA STREET                                          ST. PAUL    MN           55102-2233
                                                                                                                                                                  NBR 23OL100255                                                                                                                                                                                                                                                            65056
                                                                                                                                                                  ECOLAB ACCT 019744993,
                                                            TENT RESTAURANT
          295 NO COPY             65086          13-13259                             GREG WALDO           ECOLAB INC                 EQUIPMENT LEASE AGREEMENT   COMPONENT ID OMEGA 5, SERIAL                               -   1A787          9/15/2005        3/15/2011               370 N WABASHA STREET                                          ST. PAUL    MN           55102-2233
                                                            OPERATIONS
                                                                                                                                                                  NBR 23OB110453                                                                                                                                                                                                                                                            65086
                                                                                                                                                                  ECOLAB ACCT 016583494,
          296 NO COPY             65215          13-13227   CHAMPPS OPERATING CORP    GREG WALDO           ECOLAB INC                 EQUIPMENT LEASE AGREEMENT   COMPONENT ID WH44, SERIAL NBR                              -   13481          8/16/2005        3/17/2011               370 N WABASHA STREET                                          ST. PAUL    MN           55102-2233
                                                                                                                                                                  08C235528                                                                                                                                                                                                                                                                 65215
                                                                                                                                                                  ECOLAB ACCT 016583494,
          297 NO COPY             65215          13-13227   CHAMPPS OPERATING CORP    GREG WALDO           ECOLAB INC                 EQUIPMENT LEASE AGREEMENT   COMPONENT ID BOOSTER, SERIAL                               -   13481          8/16/2005        3/17/2011               370 N WABASHA STREET                                          ST. PAUL    MN           55102-2233
                                                                                                                                                                  NBR 8510371108                                                                                                                                                                                                                                                            65215
                                                                                                                                                                  ECOLAB ACCT 019575919,
          298 NO COPY             65237          13-13227   CHAMPPS OPERATING CORP    GREG WALDO           ECOLAB INC                 EQUIPMENT LEASE AGREEMENT   COMPONENT ID EC44, SERIAL NBR                              -   13481          9/19/2002        3/18/2011               370 N WABASHA STREET                                          ST. PAUL    MN           55102-2233
                                                                                                                                                                  85DC110078                                                                                                                                                                                                                                                                65237




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     ID        Epiq Contract No   Store Number       Case             Debtor          Responsible Person     Contract Counter Party         Type of Contract            Description of Contract    Assume   Reject   Cure Amount Contract NoDate of Contract
                                                                                                                                                                                                                                                          Termination Date    Attention                Address 1    Address 2   Address 3   Address 4        City        State        Zip     Country   Email   Phone   Fax      Vendor   A/P code
                                                                                                                                                                  ECOLAB ACCT 010155259,
                                                            TENT RESTAURANT
          299 NO COPY             65095          13-13259                             GREG WALDO           ECOLAB INC                 EQUIPMENT LEASE AGREEMENT   COMPONENT ID H2O SOFTEN,                                544.09 1A787           3/24/2011        3/24/2011               370 N WABASHA STREET                                          ST. PAUL    MN           55102-2233                                   00090
                                                            OPERATIONS
                                                                                                                                                                  SERIAL NBR 00740455                                                                                                                                                                                                                                                      9065095
                                                                                                                                                                  ECOLAB ACCT 010155259,
                                                            TENT RESTAURANT
          300 NO COPY             65095          13-13259                             GREG WALDO           ECOLAB INC                 EQUIPMENT LEASE AGREEMENT   COMPONENT ID ES4000, SERIAL                                 -   1A787          3/24/2011        3/27/2011               370 N WABASHA STREET                                          ST. PAUL    MN           55102-2233
                                                            OPERATIONS
                                                                                                                                                                  NBR ES56896                                                                                                                                                                                                                                                                65095
                                                                                                                                                                  ECOLAB ACCT 010155259,
                                                            TENT RESTAURANT
          301 NO COPY             65095          13-13259                             GREG WALDO           ECOLAB INC                 EQUIPMENT LEASE AGREEMENT   COMPONENT ID OMEGA 5, SERIAL                                -   1A787          3/24/2011        3/27/2011               370 N WABASHA STREET                                          ST. PAUL    MN           55102-2233
                                                            OPERATIONS
                                                                                                                                                                  NBR GW2617                                                                                                                                                                                                                                                                 65095
                                                                                                                                                                  ECOLAB ACCT 019713114,
          302 NO COPY             65079          13-13237   FOX & HOUND OF INDIANA    GREG WALDO           ECOLAB INC                 EQUIPMENT LEASE AGREEMENT   COMPONENT ID OMEGA 5, SERIAL                                -   1A787           3/5/2005        4/22/2011               370 N WABASHA STREET                                          ST. PAUL    MN           55102-2233
                                                                                                                                                                  NBR 23OB110481                                                                                                                                                                                                                                                             65079
                                                                                                                                                                  ECOLAB ACCT 012634432,
          303 NO COPY             65209          13-13227   CHAMPPS OPERATING CORP    GREG WALDO           ECOLAB INC                 EQUIPMENT LEASE AGREEMENT   COMPONENT ID OMEGA 5, SERIAL                                -   13481         11/28/1989         5/5/2011               370 N WABASHA STREET                                          ST. PAUL    MN           55102-2233
                                                                                                                                                                  NBR 23OC110559                                                                                                                                                                                                                                                             65209
                                                                                                                                                                  ECOLAB ACCT 017270406,
          304 NO COPY             65220          13-13227   CHAMPPS OPERATING CORP    GREG WALDO           ECOLAB INC                 EQUIPMENT LEASE AGREEMENT   COMPONENT ID OMEGA 5, SERIAL                                -   13481          1/29/2003        5/26/2011               370 N WABASHA STREET                                          ST. PAUL    MN           55102-2233
                                                                                                                                                                  NBR GW2607                                                                                                                                                                                                                                                                 65220
                                                                                                                                                                  ECOLAB ACCT 019761013,
                                                            TENT RESTAURANT
          305 NO COPY             65088          13-13259                             GREG WALDO           ECOLAB INC                 EQUIPMENT LEASE AGREEMENT   COMPONENT ID OMEGA 5, SERIAL                                -   1A787         11/11/2005        6/19/2011               370 N WABASHA STREET                                          ST. PAUL    MN           55102-2233
                                                            OPERATIONS
                                                                                                                                                                  NBR 23OC110595                                                                                                                                                                                                                                                             65088
                                                                                                                                                                  ECOLAB ACCT 019662813,
                                                            TENT RESTAURANT
          306 NO COPY             65074          13-13259                             GREG WALDO           ECOLAB INC                 EQUIPMENT LEASE AGREEMENT   COMPONENT ID OMEGA 5, SERIAL                                -   1A787           7/1/2004         7/1/2011               370 N WABASHA STREET                                          ST. PAUL    MN           55102-2233
                                                            OPERATIONS
                                                                                                                                                                  NBR 23OC110573                                                                                                                                                                                                                                                             65074
                                                                                                                                                                  ECOLAB ACCT 019259654,
          307 NO COPY             65233          13-13227   CHAMPPS OPERATING CORP    GREG WALDO           ECOLAB INC                 EQUIPMENT LEASE AGREEMENT   COMPONENT ID WH44D, SERIAL                              784.19 13481            2/6/2002        8/15/2011               370 N WABASHA STREET                                          ST. PAUL    MN           55102-2233                                   00090
                                                                                                                                                                  NBR J11259WH                                                                                                                                                                                                                                                             9065233
                                                                                                                                                                  ECOLAB ACCT 019259654,
          308 NO COPY             65233          13-13227   CHAMPPS OPERATING CORP    GREG WALDO           ECOLAB INC                 EQUIPMENT LEASE AGREEMENT   COMPONENT ID BOOSTER, SERIAL                                -   13481           2/6/2002        8/15/2011               370 N WABASHA STREET                                          ST. PAUL    MN           55102-2233
                                                                                                                                                                  NBR 2208871225                                                                                                                                                                                                                                                             65233
                                                                                                                                                                  ECOLAB ACCT 017491960,
          309 NO COPY             65225          13-13227   CHAMPPS OPERATING CORP    GREG WALDO           ECOLAB INC                 EQUIPMENT LEASE AGREEMENT   COMPONENT ID WH44D, SERIAL                              514.82 13481          12/28/2006        8/28/2011               370 N WABASHA STREET                                          ST. PAUL    MN           55102-2233                                   00471
                                                                                                                                                                  NBR J11371WH                                                                                                                                                                                                                                                            47165225
                                                                                                                                                                  ECOLAB ACCT 017491960,
          310 NO COPY             65225          13-13227   CHAMPPS OPERATING CORP    GREG WALDO           ECOLAB INC                 EQUIPMENT LEASE AGREEMENT   COMPONENT ID BOOSTER, SERIAL                                -   13481         12/28/2006        8/28/2011               370 N WABASHA STREET                                          ST. PAUL    MN           55102-2233
                                                                                                                                                                  NBR 5087800813                                                                                                                                                                                                                                                             65225
                                                                                                                                                                  ECOLAB ACCT 015481989,
          311 NO COPY             65210          13-13227   CHAMPPS OPERATING CORP    GREG WALDO           ECOLAB INC                 EQUIPMENT LEASE AGREEMENT   COMPONENT ID ET44, SERIAL NBR                           214.87 13481          11/15/1995         9/1/2011               370 N WABASHA STREET                                          ST. PAUL    MN           55102-2233                                   00090
                                                                                                                                                                  7123403                                                                                                                                                                                                                                                                  9065210
                                                                                                                                                                  ECOLAB ACCT 018768655,
          312 NO COPY             65226          13-13227   CHAMPPS OPERATING CORP    GREG WALDO           ECOLAB INC                 EQUIPMENT LEASE AGREEMENT   COMPONENT ID U-LT, SERIAL NBR                               -   13481           5/8/2001         9/5/2011               370 N WABASHA STREET                                          ST. PAUL    MN           55102-2233
                                                                                                                                                                  W110626158                                                                                                                                                                                                                                                                 65226
                                                                                                                                                                  ECOLAB ACCT 019324334,
          313 NO COPY             65234          13-13227   CHAMPPS OPERATING CORP    GREG WALDO           ECOLAB INC                 EQUIPMENT LEASE AGREEMENT   COMPONENT ID EC44, SERIAL NBR                               -   13481          4/23/2002        9/19/2011               370 N WABASHA STREET                                          ST. PAUL    MN           55102-2233
                                                                                                                                                                  85DF110533                                                                                                                                                                                                                                                                 65234
                                                                                                                                                                  ECOLAB ACCT 019324334,
          314 NO COPY             65234          13-13227   CHAMPPS OPERATING CORP    GREG WALDO           ECOLAB INC                 EQUIPMENT LEASE AGREEMENT   COMPONENT ID BOOSTER, SERIAL                                -   13481          4/23/2002        9/19/2011               370 N WABASHA STREET                                          ST. PAUL    MN           55102-2233
                                                                                                                                                                  NBR 6532110924                                                                                                                                                                                                                                                             65234
                                                                                                                                                                  ECOLAB ACCT 017851494,
          315 NO COPY             65018          13-13246   FOX & HOUND OF OHIO       GREG WALDO           ECOLAB INC                 EQUIPMENT LEASE AGREEMENT   COMPONENT ID ES2000, SERIAL                              64.75 1A787          12/23/1999       12/23/2011               370 N WABASHA STREET                                          ST. PAUL    MN           55102-2233                                   00090
                                                                                                                                                                  NBR ES20346                                                                                                                                                                                                                                                              9065018
                                                                                                                                                                  ECOLAB ACCT 019585896,
          316 NO COPY             65057          13-13234   FOX & HOUND OF ARIZONA    GREG WALDO           ECOLAB INC                 EQUIPMENT LEASE AGREEMENT   COMPONENT ID OMEGA 5, SERIAL                                -   1A787         10/29/2002         1/6/2012               370 N WABASHA STREET                                          ST. PAUL    MN           55102-2233
                                                                                                                                                                  NBR 23OE110863                                                                                                                                                                                                                                                             65057
                                                                                                                                                                  ECOLAB ACCT 019582219,
          317 NO COPY             65238          13-13227   CHAMPPS OPERATING CORP    GREG WALDO           ECOLAB INC                 EQUIPMENT LEASE AGREEMENT   COMPONENT ID OMEGA 5, SERIAL                                -   13481          11/9/2002        1/30/2012               370 N WABASHA STREET                                          ST. PAUL    MN           55102-2233
                                                                                                                                                                  NBR 09K251724                                                                                                                                                                                                                                                              65238
                                                                                                                                                                  ECOLAB ACCT 019603567,
                                                            TENT RESTAURANT
          318 NO COPY             65061          13-13259                             GREG WALDO           ECOLAB INC                 EQUIPMENT LEASE AGREEMENT   COMPONENT ID ES2000 CS, SERIAL                          422.31 1A787            5/3/2003         3/3/2012               370 N WABASHA STREET                                          ST. PAUL    MN           55102-2233                                   00090
                                                            OPERATIONS
                                                                                                                                                                  NBR C2166                                                                                                                                                                                                                                                                9065061
                                                                                                                                                                  ECOLAB ACCT 019713164,
                                                            TENT RESTAURANT
          319 NO COPY             65080          13-13259                             GREG WALDO           ECOLAB INC                 EQUIPMENT LEASE AGREEMENT   COMPONENT ID OMEGA 5E, SERIAL                               -   1A787          4/30/2005         4/5/2012               370 N WABASHA STREET                                          ST. PAUL    MN           55102-2233
                                                            OPERATIONS
                                                                                                                                                                  NBR 23OB120134                                                                                                                                                                                                                                                             65080
                                                                                                                                                                  ECOLAB ACCT 019557842,
          320 NO COPY             65055          13-13236   FOX & HOUND OF ILLINOIS   GREG WALDO           ECOLAB INC                 EQUIPMENT LEASE AGREEMENT   COMPONENT ID OMEGA 5, SERIAL                                -   1A787          8/23/2002         5/7/2012               370 N WABASHA STREET                                          ST. PAUL    MN           55102-2233
                                                                                                                                                                  NBR 06I211365                                                                                                                                                                                                                                                              65055
                                                                                                                                                                  ECOLAB ACCT 019630892,
          321 NO COPY             65064          13-13247   FOX & HOUND OF OKLAHOMA GREG WALDO             ECOLAB INC                 EQUIPMENT LEASE AGREEMENT   COMPONENT ID ES2000, SERIAL                             246.08 1A787           9/21/2003        5/21/2012               370 N WABASHA STREET                                          ST. PAUL    MN           55102-2233                                   00471
                                                                                                                                                                  NBR ES11906                                                                                                                                                                                                                                                             47165064
                                                                                                                                                                  ECOLAB ACCT 019762776,
                                                            TENT RESTAURANT
          322 NO COPY             65087          13-13259                             GREG WALDO           ECOLAB INC                 EQUIPMENT LEASE AGREEMENT   COMPONENT ID OMEGA 5, SERIAL                                -   1A787          11/2/2005        5/21/2012               370 N WABASHA STREET                                          ST. PAUL    MN           55102-2233
                                                            OPERATIONS
                                                                                                                                                                  NBR 07A216361                                                                                                                                                                                                                                                              65087
                                                                                                                                                                  ECOLAB ACCT 019303882,
          323 NO COPY             65043          13-13248   F&H RESTAURANTS OF TEXAS GREG WALDO            ECOLAB INC                 EQUIPMENT LEASE AGREEMENT   COMPONENT ID XL2000, SERIAL                                 -   1A787          2/27/2002        5/26/2012               370 N WABASHA STREET                                          ST. PAUL    MN           55102-2233
                                                                                                                                                                  NBR 11B261469                                                                                                                                                                                                                                                              65043
                                                                                                                                                                  ECOLAB ACCT 018790311,
                                                            N. COLLINS ENTERTAINMENT,
          324 NO COPY             65041          13-13259                             GREG WALDO           ECOLAB INC                 EQUIPMENT LEASE AGREEMENT   COMPONENT ID ES4000, SERIAL                             535.10 1A787           4/27/2001        5/27/2012               370 N WABASHA STREET                                          ST. PAUL    MN           55102-2233                                   00090
                                                            LTD.
                                                                                                                                                                  NBR ES52584                                                                                                                                                                                                                                                              9065041
                                                                                                                                                                  ECOLAB ACCT 018790311,
                                                            TENT RESTAURANT
          325 NO COPY             65041          13-13259                             GREG WALDO           ECOLAB INC                 EQUIPMENT LEASE AGREEMENT   COMPONENT ID BOOSTER, SERIAL                                -   1A787          4/27/2001        5/27/2012               370 N WABASHA STREET                                          ST. PAUL    MN           55102-2233
                                                            OPERATIONS
                                                                                                                                                                  NBR 2066701220                                                                                                                                                                                                                                                             65041
                                                                                                                                                                  ECOLAB ACCT 018790311,
                                                            TENT RESTAURANT
          326 NO COPY             65041          13-13259                             GREG WALDO           ECOLAB INC                 EQUIPMENT LEASE AGREEMENT   COMPONENT ID OMEGA 5, SERIAL                                -   1A787          4/27/2001         6/2/2012               370 N WABASHA STREET                                          ST. PAUL    MN           55102-2233
                                                            OPERATIONS
                                                                                                                                                                  NBR GW2629                                                                                                                                                                                                                                                                 65041
                                                                                                                                                                  ECOLAB ACCT 019603656,
          327 NO COPY             65059          13-13235   FOX & HOUND OF COLORADO GREG WALDO             ECOLAB INC                 EQUIPMENT LEASE AGREEMENT   COMPONENT ID OMEGA 5E, SERIAL                               -   1A787           4/5/2003         6/3/2012               370 N WABASHA STREET                                          ST. PAUL    MN           55102-2233
                                                                                                                                                                  NBR 23OD120313                                                                                                                                                                                                                                                             65059
                                                                                                                                                                  ECOLAB ACCT 018086165,
                                                            TENT RESTAURANT
          328 NO COPY             65010          13-13259                             GREG WALDO           ECOLAB INC                 EQUIPMENT LEASE AGREEMENT   COMPONENT ID OMEGA 5, SERIAL                                -   1A787           3/8/2000         7/8/2012               370 N WABASHA STREET                                          ST. PAUL    MN           55102-2233
                                                            OPERATIONS
                                                                                                                                                                  NBR 10A252187                                                                                                                                                                                                                                                              65010
                                                                                                                                                                  ECOLAB ACCT 019392927,
                                                            TENT RESTAURANT
          329 NO COPY             65051          13-13259                             GREG WALDO           ECOLAB INC                 EQUIPMENT LEASE AGREEMENT   COMPONENT ID ES2000, SERIAL                             127.68 1A787           5/14/2002        7/14/2012               370 N WABASHA STREET                                          ST. PAUL    MN           55102-2233                                   00090
                                                            OPERATIONS
                                                                                                                                                                  NBR ES21091A                                                                                                                                                                                                                                                             9065051
                                                                                                                                                                  ECOLAB ACCT 018971325,
                                                            TENT RESTAURANT
          330 NO COPY             65045          13-13259                             GREG WALDO           ECOLAB INC                 EQUIPMENT LEASE AGREEMENT   COMPONENT ID OMEGA 5, SERIAL                                -   1A787          8/27/2001        8/26/2012               370 N WABASHA STREET                                          ST. PAUL    MN           55102-2233
                                                            OPERATIONS
                                                                                                                                                                  NBR GW3585                                                                                                                                                                                                                                                                 65045
                                                                                                                                                                  ECOLAB ACCT 019681953,
          331 NO COPY             65076          13-13236   FOX & HOUND OF ILLINOIS   GREG WALDO           ECOLAB INC                 EQUIPMENT LEASE AGREEMENT   COMPONENT ID OMEGA 5E, SERIAL                               -   1A787           9/7/2004         9/7/2012               370 N WABASHA STREET                                          ST. PAUL    MN           55102-2233
                                                                                                                                                                  NBR 23OG120651                                                                                                                                                                                                                                                             65076
                                                                                                                                                                  ECOLAB ACCT 018086116,
                                                            TENT RESTAURANT
          334 NO COPY             65007          13-13259                             GREG WALDO           ECOLAB INC                 EQUIPMENT LEASE AGREEMENT   COMPONENT ID OMEGA 5, SERIAL                                -   1A787           3/8/2000        10/1/2012               370 N WABASHA STREET                                          ST. PAUL    MN           55102-2233
                                                            OPERATIONS
                                                                                                                                                                  NBR GW3660                                                                                                                                                                                                                                                                 65007
                                                                                                                                                                  ECOLAB ACCT 019603567,
                                                            TENT RESTAURANT
          335 NO COPY             65061          13-13259                             GREG WALDO           ECOLAB INC                 EQUIPMENT LEASE AGREEMENT   COMPONENT ID OMEGA 5E, SERIAL                               -   1A787           5/3/2003        10/6/2012               370 N WABASHA STREET                                          ST. PAUL    MN           55102-2233
                                                            OPERATIONS
                                                                                                                                                                  NBR 23OH120709                                                                                                                                                                                                                                                             65061




2491306-3                                                                                                                                                                                                                                           2.4(m) - 9
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     ID        Epiq Contract No   Store Number       Case             Debtor           Responsible Person     Contract Counter Party          Type of Contract          Description of Contract    Assume   Reject   Cure Amount Contract NoDate of Contract
                                                                                                                                                                                                                                                          Termination Date        Attention                Address 1       Address 2    Address 3   Address 4        City          State        Zip     Country   Email   Phone   Fax      Vendor        A/P code
                                                                                                                                                                   ECOLAB ACCT 018806182,
          336 NO COPY             65230          13-13227   CHAMPPS OPERATING CORP     GREG WALDO           ECOLAB INC                 EQUIPMENT LEASE AGREEMENT   COMPONENT ID WH44D, SERIAL                             539.44 13481           5/19/2001        10/28/2012                  370 N WABASHA STREET                                              ST. PAUL      MN           55102-2233                                   00090
                                                                                                                                                                   NBR 06E204076                                                                                                                                                                                                                                                                           9065230
                                                                                                                                                                   ECOLAB ACCT 018806182,
          337 NO COPY             65230          13-13227   CHAMPPS OPERATING CORP     GREG WALDO           ECOLAB INC                 EQUIPMENT LEASE AGREEMENT   COMPONENT ID BOOSTER, SERIAL                               -     13481        5/19/2001        10/28/2012                  370 N WABASHA STREET                                              ST. PAUL      MN           55102-2233
                                                                                                                                                                   NBR 8884551123                                                                                                                                                                                                                                                                            65230
                                                                                                                                                                   ECOLAB ACCT 019668657,
                                                            FOX & HOUND OF NEW
          338 NO COPY             65073          13-13244                              GREG WALDO           ECOLAB INC                 EQUIPMENT LEASE AGREEMENT   COMPONENT ID DIEBEL, SERIAL                                -     1A787        6/15/2004        11/23/2012                  370 N WABASHA STREET                                              ST. PAUL      MN           55102-2233
                                                            JERSEY
                                                                                                                                                                   NBR G121015165                                                                                                                                                                                                                                                                            65073
                                                                                                                                                                   ECOLAB ACCT 019259654,
          339 NO COPY             65233          13-13227   CHAMPPS OPERATING CORP     GREG WALDO           ECOLAB INC                 EQUIPMENT LEASE AGREEMENT   COMPONENT ID OMEGA 5, SERIAL                               -     13481         2/6/2002         12/1/2012                  370 N WABASHA STREET                                              ST. PAUL      MN           55102-2233
                                                                                                                                                                   NBR 09B246126A                                                                                                                                                                                                                                                                            65233
                                                                                                                                                                   ECOLAB ACCT 019638429,
          340 NO COPY             65248          13-13227   CHAMPPS OPERATING CORP     GREG WALDO           ECOLAB INC                 EQUIPMENT LEASE AGREEMENT   COMPONENT ID WH44D, SERIAL                             682.27 13481           9/26/2003        12/10/2012                  370 N WABASHA STREET                                              ST. PAUL      MN           55102-2233                                   00090
                                                                                                                                                                   NBR 09I250406                                                                                                                                                                                                                                                                           9065248
                                                                                                                                                                   ECOLAB ACCT 015681091,
          341 NO COPY             65211          13-13227   CHAMPPS OPERATING CORP     GREG WALDO           ECOLAB INC                 EQUIPMENT LEASE AGREEMENT   COMPONENT ID OMEGA 5E, SERIAL                              -     13481        4/15/1996        12/24/2012                  370 N WABASHA STREET                                              ST. PAUL      MN           55102-2233
                                                                                                                                                                   NBR 23OJ120798                                                                                                                                                                                                                                                                            65211
                                                                                                                                                                   ECOLAB ACCT 019653860,
          342 NO COPY             65069          13-13238   FOX & HOUND OF KANSAS      GREG WALDO           ECOLAB INC                 EQUIPMENT LEASE AGREEMENT   COMPONENT ID ES2000, SERIAL                                -     1A787         2/4/2004         1/19/2013                  370 N WABASHA STREET                                              ST. PAUL      MN           55102-2233
                                                                                                                                                                   NBR 10J258075                                                                                                                                                                                                                                                                             65069
                                                                                                                                                                   ECOLAB ACCT 017385220,
          344 NO COPY             65218          13-13227   CHAMPPS OPERATING CORP     GREG WALDO           ECOLAB INC                 EQUIPMENT LEASE AGREEMENT   COMPONENT ID EC44, SERIAL NBR                          787.85 13481            2/9/2005          2/1/2013                  370 N WABASHA STREET                                              ST. PAUL      MN           55102-2233                                   00090
                                                                                                                                                                   85DL121376                                                                                                                                                                                                                                                                              9065218
                                                                                                                                                                   ECOLAB ACCT 019725423,
          345 NO COPY             65082          13-13242   FOX & HOUND OF MARYLAND GREG WALDO              ECOLAB INC                 EQUIPMENT LEASE AGREEMENT   COMPONENT ID OMEGA 5, SERIAL                               -     1A787        5/14/2005          2/9/2013                  370 N WABASHA STREET                                              ST. PAUL      MN           55102-2233
                                                                                                                                                                   NBR 06E203499                                                                                                                                                                                                                                                                             65082
                                                                                                                                                                   ECOLAB ACCT 019486729,
          346 NO COPY             65052          13-13248   F&H RESTAURANTS OF TEXAS GREG WALDO             ECOLAB INC                 EQUIPMENT LEASE AGREEMENT   COMPONENT ID OMEGA 5E, SERIAL                              -     1A787        6/19/2002         2/22/2013                  370 N WABASHA STREET                                              ST. PAUL      MN           55102-2233
                                                                                                                                                                   NBR 23OL120959                                                                                                                                                                                                                                                                            65052
                                                                                                                                                                   ECOLAB ACCT 019630892,
          347 NO COPY             65064          13-13247   FOX & HOUND OF OKLAHOMA GREG WALDO              ECOLAB INC                 EQUIPMENT LEASE AGREEMENT   COMPONENT ID OMEGA 5E, SERIAL                              -     1A787        9/21/2003         2/28/2013                  370 N WABASHA STREET                                              ST. PAUL      MN           55102-2233
                                                                                                                                                                   NBR 23OM120978                                                                                                                                                                                                                                                                            65064
                                                                                                                                                                   ECOLAB ACCT 019603565,
          348 NO COPY             65060          13-13236   FOX & HOUYND OF ILLINOIS   GREG WALDO           ECOLAB INC                 EQUIPMENT LEASE AGREEMENT   COMPONENT ID OMEGA 5, SERIAL                               -     1A787         3/5/2003          3/5/2013                  370 N WABASHA STREET                                              ST. PAUL      MN           55102-2233
                                                                                                                                                                   NBR 06I211363                                                                                                                                                                                                                                                                             65060
                                                                                                                                                                   ECOLAB ACCT 015800956,
          349 NO COPY             65008          13-13248   F&H RESTAURANTS OF TEXAS GREG WALDO             ECOLAB INC                 EQUIPMENT LEASE AGREEMENT   COMPONENT ID OMEGA 5E, SERIAL                          160.72 1A787           1/19/1999          3/9/2013                  370 N WABASHA STREET                                              ST. PAUL      MN           55102-2233                                   00471
                                                                                                                                                                   NBR 23OA130024                                                                                                                                                                                                                                                                         47165008
                                                                                                                                                                   ECOLAB ACCT 015800956,
          350 NO COPY             65008          13-13248   F&H RESTAURANTS OF TEXAS GREG WALDO             ECOLAB INC                 EQUIPMENT LEASE AGREEMENT   COMPONENT ID ES2000, SERIAL                                -     1A787        1/19/1999          3/9/2013                  370 N WABASHA STREET                                              ST. PAUL      MN           55102-2233
                                                                                                                                                                   NBR 12J276691                                                                                                                                                                                                                                                                             65008
                                                                                                                                                                   ECOLAB ACCT 017289281,
                                                            TENT RESTAURANT
          351 NO COPY             65031          13-13259                              GREG WALDO           ECOLAB INC                 EQUIPMENT LEASE AGREEMENT   COMPONENT ID ES2000, SERIAL                                -     1A787        11/8/2000          4/2/2013                  370 N WABASHA STREET                                              ST. PAUL      MN           55102-2233
                                                            OPERATIONS
                                                                                                                                                                   NBR 13A278546                                                                                                                                                                                                                                                                             65031
                                                                                                                                                                   ECOLAB ACCT 019679443,
                                                            TENT RESTAURANT
          352 NO COPY             65078          13-13259                              GREG WALDO           ECOLAB INC                 EQUIPMENT LEASE AGREEMENT   COMPONENT ID OMEGA 5, SERIAL                               -     1A787        9/18/2004          4/6/2013                  370 N WABASHA STREET                                              ST. PAUL      MN           55102-2233
                                                            OPERATIONS
                                                                                                                                                                   NBR GW2290                                                                                                                                                                                                                                                                                65078
                                                                                                                                                                   ECOLAB ACCT 010162245,
          353 NO COPY             65252          13-13227   CHAMPPS OPERATING CORP     GREG WALDO           ECOLAB INC                 EQUIPMENT LEASE AGREEMENT   COMPONENT ID EC44, SERIAL NBR                              -     13481         5/7/2011          4/7/2013                  370 N WABASHA STREET                                              ST. PAUL      MN           55102-2233
                                                                                                                                                                   85DL111253                                                                                                                                                                                                                                                                                65252
                                                                                                                                                                   ECOLAB ACCT 010162245,
          354 NO COPY             65252          13-13227   CHAMPPS OPERATING CORP     GREG WALDO           ECOLAB INC                 EQUIPMENT LEASE AGREEMENT   COMPONENT ID BOOSTER, SERIAL                               -     13481         5/7/2011          4/7/2013                  370 N WABASHA STREET                                              ST. PAUL      MN           55102-2233
                                                                                                                                                                   NBR 2382631231                                                                                                                                                                                                                                                                            65252
                                                                                                                                                                   ECOLAB ACCT 019653267,
                                                            TENT RESTAURANT
          355 NO COPY             65067          13-13259                              GREG WALDO           ECOLAB INC                 EQUIPMENT LEASE AGREEMENT   COMPONENT ID ES2000, SERIAL                            151.96 1A787          12/19/2003         4/13/2013                  370 N WABASHA STREET                                              ST. PAUL      MN           55102-2233
                                                            OPERATIONS
                                                                                                                                                                   NBR ES145986                                                                                                                                                                                                                                                         00090              9065067
                                                                                                                                                                   ECOLAB ACCT 017065236,
          356 NO COPY             65201          13-13227   CHAMPPS OPERATING CORP     GREG WALDO           ECOLAB INC                 EQUIPMENT LEASE AGREEMENT   COMPONENT ID OMEGA 5E, SERIAL                          429.47 13481           6/24/1998         4/28/2013                  370 N WABASHA STREET                                              ST. PAUL      MN           55102-2233                                   00471
                                                                                                                                                                   NBR 23OC130118                                                                                                                                                                                                                                                                         47165201
                                                                                                                                                                   ECOLAB ACCT 019603568,
                                                            TENT RESTAURANT
          357 NO COPY             65062          13-13259                              GREG WALDO           ECOLAB INC                 EQUIPMENT LEASE AGREEMENT   COMPONENT ID ES2000, SERIAL                                -     1A787         5/7/2003         4/28/2013                  370 N WABASHA STREET                                              ST. PAUL      MN           55102-2233
                                                            OPERATIONS
                                                                                                                                                                   NBR ES26101                                                                                                                                                                                                                                                                               65062
                                                                                                                                                                   ECOLAB ACCT 016471351,
                                                            TENT RESTAURANT
          358 NO COPY             65013          13-13259                              GREG WALDO           ECOLAB INC                 EQUIPMENT LEASE AGREEMENT   COMPONENT ID ES2000, SERIAL                             65.49 1A787           8/26/1997         6/20/2013                  370 N WABASHA STREET                                              ST. PAUL      MN           55102-2233                                   00090
                                                            OPERATIONS
                                                                                                                                                                   NBR 13D281031                                                                                                                                                                                                                                                                           9065013
                                                                                                                                                                   ECOLAB ACCT 017065236,
          359 NO COPY             65201          13-13227   CHAMPPS OPERATING CORP     GREG WALDO           ECOLAB INC                 EQUIPMENT LEASE AGREEMENT   COMPONENT ID EC44HH, SERIAL                                -     13481        6/24/1998         7/11/2013                  370 N WABASHA STREET                                              ST. PAUL      MN           55102-2233
                                                                                                                                                                   NBR 85DE110289                                                                                                                                                                                                                                                                            65201
                                                                                                                                                                   ECOLAB ACCT 019611235,
          360 NO COPY             65244          13-13227   CHAMPPS OPERATING CORP     GREG WALDO           ECOLAB INC                 EQUIPMENT LEASE AGREEMENT   COMPONENT ID OMEGA 5E, SERIAL                              -     13481         5/6/2003         7/25/2013                  370 N WABASHA STREET                                              ST. PAUL      MN           55102-2233
                                                                                                                                                                   NBR 23OF130389                                                                                                                                                                                                                                                                            65244
                                                                                                                                                                   ECOLAB ACCT 019486729,
          361 NO COPY             65052          13-13248   F&H RESTAURANTS OF TEXAS GREG WALDO             ECOLAB INC                 EQUIPMENT LEASE AGREEMENT   COMPONENT ID OMEGA 5, SERIAL                               -     1A787        6/19/2002         8/12/2013                  370 N WABASHA STREET                                              ST. PAUL      MN           55102-2233
                                                                                                                                                                   NBR 08A232487                                                                                                                                                                                                                                                                             65052
                                                                                                                                                                   ECOLAB ACCT 019653267,
                                                            TENT RESTAURANT
          362 NO COPY             65067          13-13259                              GREG WALDO           ECOLAB INC                 EQUIPMENT LEASE AGREEMENT   COMPONENT ID OMEGA 5, SERIAL                               -     1A787       12/19/2003         8/22/2013                  370 N WABASHA STREET                                              ST. PAUL      MN           55102-2233
                                                            OPERATIONS
                                                                                                                                                                   NBR 08L244881                                                                                                                                                                                                                                                                             65067
                                                                                                                                                                   ECOLAB ACCT 017385220,
          363 NO COPY             65218          13-13227   CHAMPPS OPERATING CORP     GREG WALDO           ECOLAB INC                 EQUIPMENT LEASE AGREEMENT   COMPONENT ID OMEGA 5E, SERIAL                              -     13481         2/9/2005          9/2/2013                  370 N WABASHA STREET                                              ST. PAUL      MN           55102-2233
                                                                                                                                                                   NBR 23OG130492                                                                                                                                                                                                                                                                            65218
                                                                                                                                                                   ECOLAB ACCT 017401795,
          364 NO COPY             65032          13-13241   FOX & HOUND OF LOUISIANA GREG WALDO             ECOLAB INC                 EQUIPMENT LEASE AGREEMENT   COMPONENT ID ES2000, SERIAL                            222.30 1A787           2/23/2003          9/8/2013                  370 N WABASHA STREET                                              ST. PAUL      MN           55102-2233                                   00471
                                                                                                                                                                   NBR 13G283679                                                                                                                                                                                                                                                                          47165032
                                                                                                                                                                   ECOLAB ACCT 017259052,
          365 NO COPY             65025          13-13248   F&H RESTAURANTS OF TEXAS GREG WALDO             ECOLAB INC                 EQUIPMENT LEASE AGREEMENT   COMPONENT ID ES2000, SERIAL                            137.94 1A787           6/11/2003        10/11/2013                  370 N WABASHA STREET                                              ST. PAUL      MN           55102-2233                                   00471
                                                                                                                                                                   NBR 13H284530                                                                                                                                                                                                                                                                          47165025
                                                                                                                                                                                                                                                                               TRADITION
                                                            TENT RESTAURANT                                                                                        LOCATION OF CONTRACT: 8000
                                                                                                                                       NATURAL GAS ENGERGY                                                                                                                     ENERGY,                                 CENTRAL TOWER,
          366 NO COPY             65033          13-13259   OPERATIONS, INC DBA FOX & GREG WALDO            EQT                                                    MCKNIGHT RD, STE 1000,                                     -                                   12/31/2014                  5215 N O'CONNOR BLVD                                              LAS COLINAS   TX           75039                                                18902
                                                                                                                                       CONTRACT                                                                                                                                MICHAEL                                 SUITE 470
                                                            HOUND                                                                                                  PITTSBURGH, PA 15237
                                                                                                                                                                                                                                                                               AYALA, CEC                                                                                                                                                               1890265033
                                                                                                                                                                                                                                                                               TRADITION
                                                                                                                                                                   LOCATION OF CONTRACT: 20021
                                                            FOX & HOUND RESTAURANT                                                     ELECTRICITY ENGERGY                                                                                                                     ENERGY,                                 CENTRAL TOWER,
          367 NO COPY             65082          13-13249                              GREG WALDO           FIRST ENERGY                                           CENTURY BLVD, GERMANTOWN,                                  -                   6/1/2011        12/31/2013                  5215 N O'CONNOR BLVD                                              LAS COLINAS   TX           75039
                                                            GROUP                                                                      CONTRACT                                                                                                                                MICHAEL                                 SUITE 470
                                                                                                                                                                   MD 20874
                                                                                                                                                                                                                                                                               AYALA, CEC                                                                                                                                               32838           3283865082
                                                                                                                                                                                                                                                                               TRADITION
                                                            CHAMPPS ENTERTAINMENT,                                                                                 LOCATION OF CONTRACT: 7880
                                                                                                                                       ELECTRICITY ENGERGY                                                                                                                     ENERGY,                                 CENTRAL TOWER,
          368 NO COPY             65220          13-13224   INC DBA CHAMPPS            GREG WALDO           FIRST ENERGY                                           WASHINGTON VILLAGE DRIVE,                                  -                   1/1/2011        12/31/2013                  5215 N O'CONNOR BLVD                                              LAS COLINAS   TX           75039
                                                                                                                                       CONTRACT                                                                                                                                MICHAEL                                 SUITE 470
                                                            OPERATING CORPORATION                                                                                  DAYTON, OH 45459
                                                                                                                                                                                                                                                                               AYALA, CEC                                                                                                                                               32838           3283865220
                                                                                                                                                                                                                                                                               TRADITION
                                                                                                                                                                   LOCATION OF CONTRACT: 2661
                                                            FOX & HOUND RESTAURANT                                                     ELECTRICITY ENGERGY                                                                                                                     ENERGY,                                 CENTRAL TOWER,
          369 NO COPY             65088          13-13249                              GREG WALDO           FIRST ENERGY                                           FAIRFIELD COMMONS, DAYTON, OH                         3,621.37                 1/1/2011        12/31/2013                  5215 N O'CONNOR BLVD                                              LAS COLINAS   TX           75039
                                                            GROUP                                                                      CONTRACT                                                                                                                                MICHAEL                                 SUITE 470
                                                                                                                                                                   45431
                                                                                                                                                                                                                                                                               AYALA, CEC                                                                                                                                               32838           3283865088




2491306-3                                                                                                                                                                                                                                           2.4(m) - 10
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     ID        Epiq Contract No   Store Number       Case               Debtor       Responsible Person         Contract Counter Party          Type of Contract        Description of Contract       Assume   Reject   Cure Amount Contract NoDate of Contract
                                                                                                                                                                                                                                                             Termination Date Attention                   Address 1            Address 2    Address 3   Address 4       City           State       Zip   Country   Email   Phone   Fax      Vendor    A/P code
                                                                                                                                                                                                                                                                             TRADITION
                                                                                                                                                                   LOCATION OF CONTRACT: 5113
                                                            FOX & HOUND RESTAURANT                                                       ELECTRICITY ENGERGY                                                                                                                 ENERGY,                                       CENTRAL TOWER,
          370 NO COPY             65091          13-13249                            GREG WALDO           FIRST ENERGY                                             BOWEN DRIVE, CINCINNATI, OH                                   -                   7/1/2010      7/1/2013                  5215 N O'CONNOR BLVD                                                   LAS COLINAS   TX           75039
                                                            GROUP                                                                        CONTRACT                                                                                                                            MICHAEL                                       SUITE 470
                                                                                                                                                                   45040
                                                                                                                                                                                                                                                                             AYALA, CEC                                                                                                                                                  32838       3283865091
                                                                                                                                                                                                                                                                             TRADITION
                                                            CHAMPPS ENTERTAINMENT,                                                                                 LOCATION OF CONTRACT: 5835
                                                                                                                                         ELECTRICITY ENGERGY                                                                                                                 ENERGY,                                       CENTRAL TOWER,
          371 NO COPY             65210          13-13224   INC DBA CHAMPPS          GREG WALDO           FIRST ENERGY                                             LANDERBROOK DRIVE, LYNDHURST,                                 -                   7/1/2010      7/1/2013                  5215 N O'CONNOR BLVD                                                   LAS COLINAS   TX           75039
                                                                                                                                         CONTRACT                                                                                                                            MICHAEL                                       SUITE 470
                                                            OPERATING CORPORATION                                                                                  OH 44124
                                                                                                                                                                                                                                                                             AYALA, CEC                                                                                                                                                  32838       3283865210
                                                                                                                                                                                                                                                                             TRADITION
                                                            CHAMPPS ENTERTAINMENT,                                                                                 LOCATION OF CONTRACT: 5989
                                                                                                                                         ELECTRICITY ENGERGY                                                                                                                 ENERGY,                                       CENTRAL TOWER,
          372 NO COPY             65237          13-13224   INC DBA CHAMPPS          GREG WALDO           FIRST ENERGY                                             CANAL STREET, VALLEY VIEW, OH                                 -                   7/1/2010      7/1/2013                  5215 N O'CONNOR BLVD                                                   LAS COLINAS   TX           75039
                                                                                                                                         CONTRACT                                                                                                                            MICHAEL                                       SUITE 470
                                                            OPERATING CORPORATION                                                                                  44125
                                                                                                                                                                                                                                                                             AYALA, CEC                                                                                                                                                  32838       3283865237
                                                                                                                                                                                                                                                                             TRADITION
                                                                                                                                                                   LOCATION OF CONTRACT: 1479
                                                            FOX & HOUND RESTAURANT                                                       ELECTRICITY ENGERGY                                                                                                                 ENERGY,                                       CENTRAL TOWER,
          373 NO COPY             65018          13-13249                            GREG WALDO           FIRST ENERGY                                             S.O.M. CENTER ROAD, MAYFIELD                                  -                   6/1/2010     7/31/2013                  5215 N O'CONNOR BLVD                                                   LAS COLINAS   TX           75039
                                                            GROUP                                                                        CONTRACT                                                                                                                            MICHAEL                                       SUITE 470
                                                                                                                                                                   HEIGHTS, OH 44124
                                                                                                                                                                                                                                                                             AYALA, CEC                                                                                                                                                  32838       3283865018
                                                                                                                                                                                                                                                                             TRADITION
                                                            FOX & HOUND RESTAURANT                                                       ELECTRICITY ENGERGY       LOCATION OF CONTRACT: 8735 DAY                                                                            ENERGY,                                       CENTRAL TOWER,
          374 NO COPY             65039          13-13249                            GREG WALDO           FIRST ENERGY                                                                                                           -                   6/1/2010     7/31/2013                  5215 N O'CONNOR BLVD                                                   LAS COLINAS   TX           75039
                                                            GROUP                                                                        CONTRACT                  DRIVE, PARMA, OH 44129                                                                                    MICHAEL                                       SUITE 470
                                                                                                                                                                                                                                                                             AYALA, CEC                                                                                                                                                  32838       3283865039
                                                                                                                                                                                                                                                                             TRADITION
                                                                                                                                                                   LOCATION OF CONTRACT: 6401 N.
                                                            CHAMPPS ENTERTAINMENT                                                        NATURAL GAS ENGERGY                                                                                                                 ENERGY,                                       CENTRAL TOWER,
          375 NO COPY             65213          13-13224                            GREG WALDO           FLORIDA NATURAL GAS                                      ANDREWS AVE, FORT LAUDERDALE,                                 -                   1/1/2013    12/31/2014                  5215 N O'CONNOR BLVD                                                   LAS COLINAS   TX           75039
                                                            INC                                                                          CONTRACT                                                                                                                            MICHAEL                                       SUITE 470
                                                                                                                                                                   FL 33309
                                                                                                                                                                                                                                                                             AYALA, CEC                                                                                                                                                                      65213
                                                                                                                                                                                                                                                                             TRADITION
                                                                                                                                                                   LOCATION OF CONTRACT: 2223 N.
                                                            CHAMPPS ENTERTAINMENT                                                        NATURAL GAS ENGERGY                                                                                                                 ENERGY,                                       CENTRAL TOWER,
          376 NO COPY             65246          13-13224                            GREG WALDO           FLORIDA NATURAL GAS                                      WEST SHORE BLVD, STE B221,                                    -                   1/1/2013    12/31/2014                  5215 N O'CONNOR BLVD                                                   LAS COLINAS   TX           75039
                                                            INC                                                                          CONTRACT                                                                                                                            MICHAEL                                       SUITE 470
                                                                                                                                                                   TAMPA, FL 33607
                                                                                                                                                                                                                                                                             AYALA, CEC                                                                                                                                                                      65246
                                                                                                                                                                                                                                    WARRINGT
                                                                                                                                                                                                                                                                                                                                                                    NORTH
          377 NO COPY             WARRINGTON 13-13227       CHAMPPS OPERATING CORP   GREG WALDO           FORTNEY & WEYGANDT INC         CONSTRUCTION AGREEMENT    NEW BUILDING                                                  - ON PA           1/31/2013           HOLD JOE STINOLIS     31269 BRADLEY RD                                                                     OH           44070
                                                                                                                                                                                                                                                                                                                                                                    OLMSTEAD
                                                                                                                                                                                                                                    STORE                                                                                                                                                                                                             #VALUE!
                                                                                                                                                                                                                                                                             TRADITION
                                                                                                                                                                   LOCATION OF CONTRACT: 2500
                                                                                                                                         NATURAL GAS ENGERGY                                                                                                                 ENERGY,                                       CENTRAL TOWER,
          378 NO COPY             65044          13-13230   F&H OF KENNESAW LLC      GREG WALDO           GAS SOUTH                                                COBB PLACE LANE NW, KENNESAW,                                 -                   1/1/2013    12/31/2014                  5215 N O'CONNOR BLVD                                                   LAS COLINAS   TX           75039
                                                                                                                                         CONTRACT                                                                                                                            MICHAEL                                       SUITE 470
                                                                                                                                                                   GA 30144
                                                                                                                                                                                                                                                                             AYALA, CEC                                                                                                                                                                      65044
                                                                                                                                                                                                                                                                             TRADITION
                                                            CHAMPPS ENTERTAINMENT,                                                       NATURAL GAS ENGERGY       LOCATION OF CONTRACT: 819                                                                                 ENERGY,                                       CENTRAL TOWER,
          379 NO COPY             65248          13-13224                            GREG WALDO           HESS CORP                                                                                                              -                   1/1/2014    12/31/2015                  5215 N O'CONNOR BLVD                                                   LAS COLINAS   TX           75039
                                                            INC                                                                          CONTRACT                  EASTVIEW MALL, VICTOR, NY 14564                                                                           MICHAEL                                       SUITE 470
                                                                                                                                                                                                                                                                             AYALA, CEC                                                                                                                                                                      65248
                                                                                                                                                                                                                                                                             TRADITION
                                                                                                                                                                   LOCATION OF CONTRACT: 1827
                                                            CHAMPPS OPERATING                                                            NATURAL GAS ENGERGY                                                                                                                 ENERGY,                                       CENTRAL TOWER,
          380 NO COPY             65212          13-13227                            GREG WALDO           IGS                                                      OLENTANGY RIVER RD, COLUMBUS,                                 -                   4/1/2013    12/31/2014                  5215 N O'CONNOR BLVD                                                   LAS COLINAS   TX           75039
                                                            CORPORATION                                                                  CONTRACT                                                                                                                            MICHAEL                                       SUITE 470
                                                                                                                                                                   OH 43212
                                                                                                                                                                                                                                                                             AYALA, CEC                                                                                                                                                                      65212
                                                                                                                                                                                                                                                                             TRADITION
                                                                                                                                                                   LOCATION OF CONTRACT: 161 E.
                                                            CHAMPPS OPERATING                                                            NATURAL GAS ENGERGY                                                                                                                 ENERGY,                                       CENTRAL TOWER,
          381 NO COPY             65211          13-13227                            GREG WALDO           IGS                                                      CAMPUS VIEW BLVD., COLUMBUS,                                  -                   4/1/2013    12/31/2014                  5215 N O'CONNOR BLVD                                                   LAS COLINAS   TX           75039
                                                            CORPORATION                                                                  CONTRACT                                                                                                                            MICHAEL                                       SUITE 470
                                                                                                                                                                   OH 43235
                                                                                                                                                                                                                                                                             AYALA, CEC                                                                                                                                                                      65211
                                                                                                                                                                                                                                                                             TRADITION
                                                                                                                                                                   LOCATION OF CONTRACT: 7880
                                                            CHAMPPS OPERATING                                                            NATURAL GAS ENGERGY                                                                                                                 ENERGY,                                       CENTRAL TOWER,
          382 NO COPY             65220          13-13227                            GREG WALDO           IGS                                                      WASHINGTON VILLAGE DR,                                        -                   1/1/2013    12/31/2014                  5215 N O'CONNOR BLVD                                                   LAS COLINAS   TX           75039
                                                            CORPORATION                                                                  CONTRACT                                                                                                                            MICHAEL                                       SUITE 470
                                                                                                                                                                   CENTERVILLE, OH 45458
                                                                                                                                                                                                                                                                             AYALA, CEC                                                                                                                                                                      65220
                                                                                                                                                                                                                                                                             TRADITION
                                                                                                                                                                   LOCATION OF CONTRACT: 5835
                                                            CHAMPPS OPERATING                                                            NATURAL GAS ENGERGY                                                                                                                 ENERGY,                                       CENTRAL TOWER,
          383 NO COPY             65210          13-13227                            GREG WALDO           IGS                                                      LANDERBROOK DR, MAYFIELD                                      -                   1/1/2013    12/31/2014                  5215 N O'CONNOR BLVD                                                   LAS COLINAS   TX           75039
                                                            CORPORATION                                                                  CONTRACT                                                                                                                            MICHAEL                                       SUITE 470
                                                                                                                                                                   HEIGHTS, OH 44124
                                                                                                                                                                                                                                                                             AYALA, CEC                                                                                                                                                                      65210
                                                                                                                                                                                                                                                                             TRADITION
                                                            CHAMPPS OPERATING                                                            NATURAL GAS ENGERGY       LOCATION OF CONTRACT: 5989                                                                                ENERGY,                                       CENTRAL TOWER,
          384 NO COPY             65237          13-13227                            GREG WALDO           IGS                                                                                                                    -                   1/1/2013    12/31/2014                  5215 N O'CONNOR BLVD                                                   LAS COLINAS   TX           75039
                                                            CORPORATION                                                                  CONTRACT                  CANAL RD, VALLEY VIEW, OH 44125                                                                           MICHAEL                                       SUITE 470
                                                                                                                                                                                                                                                                             AYALA, CEC                                                                                                                                                                      65237
                                                                                                                                                                                                                                                                             TRADITION
                                                            CHAMPPS OPERATING                                                            NATURAL GAS ENGERGY       LOCATION OF CONTRACT: 5113                                                                                ENERGY,                                       CENTRAL TOWER,
          385 NO COPY             65091          13-13227                            GREG WALDO           IGS                                                                                                                    -                   1/1/2013    12/31/2014                  5215 N O'CONNOR BLVD                                                   LAS COLINAS   TX           75039
                                                            CORPORATION                                                                  CONTRACT                  BOWEN DR, MASON, OH 45040                                                                                 MICHAEL                                       SUITE 470
                                                                                                                                                                                                                                                                             AYALA, CEC                                                                                                                                                                      65091
                                                                                                                                                                                                                                                                             TRADITION
                                                                                                                                                                   LOCATION OF CONTRACT: 9424
                                                            CHAMPPS OPERATING                                                            NATURAL GAS ENGERGY                                                                                                                 ENERGY,                                       CENTRAL TOWER,
          386 NO COPY             65244          13-13227                            GREG WALDO           IGS                                                      CIVIC CENTER BLVD, WEST CHESTER,                              -                   1/1/2013    12/31/2014                  5215 N O'CONNOR BLVD                                                   LAS COLINAS   TX           75039
                                                            CORPORATION                                                                  CONTRACT                                                                                                                            MICHAEL                                       SUITE 470
                                                                                                                                                                   OH 45069
                                                                                                                                                                                                                                                                             AYALA, CEC                                                                                                                                                                      65244
                                                                                                                                                                                                                                                                             TRADITION
                                                                                                                                                                   LOCATION OF CONTRACT: 4770
                                                            FOX & HOUND RESTAURANT                                                       NATURAL GAS ENGERGY                                                                                                                 ENERGY,                                       CENTRAL TOWER,
          387 NO COPY             65230          13-13249                            GREG WALDO           IGS                                                      EVERHARD RD NW, CANTON, OH                                    -                   1/1/2013    12/31/2014                  5215 N O'CONNOR BLVD                                                   LAS COLINAS   TX           75039
                                                            GROUP                                                                        CONTRACT                                                                                                                            MICHAEL                                       SUITE 470
                                                                                                                                                                   44718
                                                                                                                                                                                                                                                                             AYALA, CEC                                                                                                                                                                      65230
                                                                                                                                                                                                                                                                             TRADITION
                                                                                                                                                                   LOCATION OF CONTRACT: 1479
                                                            FOX & HOUND RESTAURANT                                                       NATURAL GAS ENGERGY                                                                                                                 ENERGY,                                       CENTRAL TOWER,
          388 NO COPY             65018          13-13249                            GREG WALDO           IGS                                                      SOM CENTER RD, MAYFIELD                                       -                   1/1/2013    12/31/2014                  5215 N O'CONNOR BLVD                                                   LAS COLINAS   TX           75039
                                                            GROUP                                                                        CONTRACT                                                                                                                            MICHAEL                                       SUITE 470
                                                                                                                                                                   HEIGHTS, OH 44124
                                                                                                                                                                                                                                                                             AYALA, CEC                                                                                                                                                                      65018
                                                                                                                                                                                                                                                                             TRADITION
                                                                                                                                                                   LOCATION OF CONTRACT: 2661
                                                            FOX AND HOUND OF OHIO,                                                       NATURAL GAS ENGERGY                                                                                                                 ENERGY,                                       CENTRAL TOWER,
          389 NO COPY             65088          13-13246                            GREG WALDO           IGS                                                      FAIRFIELD COMMONS, DAYTON, OH                                 -                   1/1/2013    12/31/2014                  5215 N O'CONNOR BLVD                                                   LAS COLINAS   TX           75039
                                                            INC                                                                          CONTRACT                                                                                                                            MICHAEL                                       SUITE 470
                                                                                                                                                                   45431
                                                                                                                                                                                                                                                                             AYALA, CEC                                                                                                                                                                      65088
                                                                                                                                                                                                                                                                             TRADITION
                                                                                                                                                                   LOCATION OF CONTRACT: 11581
                                                            FOX & HOUND RESTAURANT                                                       NATURAL GAS ENGERGY                                                                                                                 ENERGY,                                       CENTRAL TOWER,
          390 NO COPY             65067          13-13249                            GREG WALDO           IGS                                                      ROBIOUS RD, MIDLOTHIAN, VA                                    -                   1/1/2013    12/31/2014                  5215 N O'CONNOR BLVD                                                   LAS COLINAS   TX           75039
                                                            GROUP                                                                        CONTRACT                                                                                                                            MICHAEL                                       SUITE 470
                                                                                                                                                                   23113
                                                                                                                                                                                                                                                                             AYALA, CEC                                                                                                                                                                      65067
                                                                                                          M2 DEVELOPMENT SERVICES,                                 PROJECT DEVELOPMENT
          391 13.00               WARRINGTON 13-13224       FHRG, INC                GREG WALDO                                    SERVICE AGREEMENT                                                                             -                10/10/2012                                 2508 WHITE SANDS DR                                                    GREAT BEND    KS           67530
                                                                                                          LLC                                                      AGREEMENT                                                                                                                                                                                                                                                                          #VALUE!
                                                                                                                                                                                                                                                                                TRADITION
                                                            FOUND & HOUND                                                                NATURAL GAS ENGERGY       LOCATION OF CONTRACT: 250                                                                                    ENERGY,                                    CENTRAL TOWER,
          392 NO COPY             65023          13-13249                            GREG WALDO           NATIONAL FUEL AND GAS                                                                                              364.06                  1/1/2013        12/31/2014              5215 N O'CONNOR BLVD                                                   LAS COLINAS   TX           75039                                     00801
                                                            RESTAURANT GROUP                                                             CONTRACT                  MILLCREEK PLAZA, ERIE, PA 16565                                                                              MICHAEL                                    SUITE 470
                                                                                                                                                                                                                                                                                AYALA, CEC                                                                                                                                                             80165023
                                                            FOX & HOUND RESTAURANT                        PROTECTION ONE ALARM                                     BURGULAR & FIRE ALARM
          393 6.00                CORPORATE      13-13249                            GREG WALDO                                          SERVICE AGREEMENT                                                                  6,617.48 700003381      8/26/2010         8/25/2015 SHELLY DOLLAR 4221 W JOHN CARPENTER FRWY                                            IRVING        TX           75063                                     34546
                                                            GROUP                                         MONITORING                                               MONITORING & SERVICES                                                                                                                                                                                                                                                             34546
                                                                                                                                                                                                                                                                                TRADITION
                                                                                                                                                                   LOCATION OF CONTRACT: 10428
                                                            FOX AND HOUND PUB AND                         SEMINOLE ENERGY SERVICES NATURAL GAS ENGERGY                                                                                                                          ENERGY,                                    CENTRAL TOWER,
          394 NO COPY             65029          13-13225                            GREG WALDO                                                                    METCALF AVENUE, OVERLAND                                 1,486.85                 1/1/2014        12/31/2015              5215 N O'CONNOR BLVD                                                   LAS COLINAS   TX           75039                                     13323
                                                            GRILLE                                        LLC                      CONTRACT                                                                                                                                     MICHAEL                                    SUITE 470
                                                                                                                                                                   PARK, KS 66212
                                                                                                                                                                                                                                                                                AYALA, CEC                                                                                                                                                           1332365029
                                                                                                                                                                                                                                                                                TRADITION
                                                                                                                                                                   LOCATION OF CONTRACT: 1421
                                                            FOX AND HOUND PUB AND                         SEMINOLE ENERGY SERVICES NATURAL GAS ENGERGY                                                                                                                          ENERGY,                                    CENTRAL TOWER,
          395 NO COPY             65069          13-13225                            GREG WALDO                                                                    WATERFRONT PARKWAY, WICHITA,                              939.16                  1/1/2014        12/31/2015              5215 N O'CONNOR BLVD                                                   LAS COLINAS   TX           75039                                     13323
                                                            GRILLE                                        LLC                      CONTRACT                                                                                                                                     MICHAEL                                    SUITE 470
                                                                                                                                                                   KS 67206
                                                                                                                                                                                                                                                                                AYALA, CEC                                                                                                                                                           1332365069
                                                                                                                                                                                                                                                                                TRADITION
                                                                                                                                                                   LOCATION OF CONTRACT: 7001
                                                            FOX AND HOUND PUB AND                         SEMINOLE ENERGY SERVICES NATURAL GAS ENGERGY                                                                                                                          ENERGY,                                    CENTRAL TOWER,
          396 NO COPY             65075          13-13225                            GREG WALDO                                                                    GARNETT, BROKEN ARROW, OK                                1,387.35                 1/1/2014        12/31/2015              5215 N O'CONNOR BLVD                                                   LAS COLINAS   TX           75039                                     13323
                                                            GRILLE                                        LLC                      CONTRACT                                                                                                                                     MICHAEL                                    SUITE 470
                                                                                                                                                                   74012
                                                                                                                                                                                                                                                                                AYALA, CEC                                                                                                                                                           1332365075




2491306-3                                                                                                                                                                                                                                              2.4(m) - 11
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     ID         Epiq Contract No   Store Number       Case             Debtor          Responsible Person      Contract Counter Party          Type of Contract        Description of Contract      Assume   Reject   Cure Amount Contract NoDate of Contract
                                                                                                                                                                                                                                                           Termination Date Attention                       Address 1          Address 2    Address 3   Address 4        City          State          Zip   Country   Email   Phone   Fax      Vendor        A/P code
                                                                                                                                                                                                                                                                           TRADITION
                                                                                                                                                                  LOCATION OF CONTRACT: 3031
                                                             FOX AND HOUND PUB AND                          SEMINOLE ENERGY SERVICES NATURAL GAS ENGERGY                                                                                                                   ENERGY,                                         CENTRAL TOWER,
          397 NO COPY              65064          13-13225                             GREG WALDO                                                                 MEMORIAL, OKLAHOMA CITY, OK                             1,718.70                 1/1/2014    12/31/2015                    5215 N O'CONNOR BLVD                                                   LAS COLINAS   TX           75039                                        13323
                                                             GRILLE                                         LLC                      CONTRACT                                                                                                                              MICHAEL                                         SUITE 470
                                                                                                                                                                  73134
                                                                                                                                                                                                                                                                           AYALA, CEC                                                                                                                                                                       1332365064
                                                                                                                                                                                                                                                                           TRADITION
                                   65252 AND                                                                                            NATURAL GAS ENGERGY                                                                                                                ENERGY,                                         CENTRAL TOWER,
          398 NO COPY                             13-13227   CHAMPPS OPERATING CORP    GREG WALDO           SPRAGUE ENERGY CORP                                                                                                 -                  1/1/2013    12/31/2014                    5215 N O'CONNOR BLVD                                                   LAS COLINAS   TX           75039                                        33517
                                   65230                                                                                                CONTRACT                                                                                                                           MICHAEL                                         SUITE 470
                                                                                                                                                                                                                                                                           AYALA, CEC                                                                                                                                                                        #VALUE!
                                                             TENT RESTAURANT                                                                                                                                                                                                   TRADITION
                                                                                                                                                                  LOCATION OF CONTRACT: 1501
                                                             OPERATIONS, INC DBA THE                                                    NATURAL GAS ENGERGY                                                                                                                    ENERGY,                                     CENTRAL TOWER,
          399 NO COPY              65061          13-13259                             GREG WALDO           SPRAGUE ENERGY CORP                                   SPRUCE ST, PHILADELPHIA, PA                             1,263.37                1/1/2013        12/31/2014                 5215 N O'CONNOR BLVD                                                   LAS COLINAS   TX           75039                                        33517
                                                             FOX AND HOUND                                                              CONTRACT                                                                                                                               MICHAEL                                     SUITE 470
                                                                                                                                                                  19102
                                                             SMOKEHOUSE AND TAVERN                                                                                                                                                                                             AYALA, CEC
                                                                                                                                                                                                                                                                                                                                                                                                                                                            3351765061
                                                                                                                                                                                                                                                                               TRADITION
                                                                                                                                                                  LOCATION OF CONTRACT: 2100 S.
                                                             CHAMPPS OPERATING                                                          NATURAL GAS ENGERGY                                                                                                                    ENERGY,                                     CENTRAL TOWER,
          400 NO COPY              65252          13-13227                             GREG WALDO           SPRAGUE ENERGY CORP                                   CHRISTOPHER COLUMBUS BLVD,                                   -                  1/1/2013        12/31/2014                 5215 N O'CONNOR BLVD                                                   LAS COLINAS   TX           75039                                        33517
                                                             CORPORATION                                                                CONTRACT                                                                                                                               MICHAEL                                     SUITE 470
                                                                                                                                                                  PHILADELPHIA, PA 19148
                                                                                                                                                                                                                                                                               AYALA, CEC                                                                                                                                                                   3351765252
                                                                                                                                                                                                                                                                               TRADITION
                                                                                                                                                                  LOCATION OF CONTRACT: 330
                                                             CHAMPPS OPERATING                                                          NATURAL GAS ENGERGY                                                                                                                    ENERGY,                                     CENTRAL TOWER,
          401 NO COPY              65230          13-13227                             GREG WALDO           SPRAGUE ENERGY CORP                                   GODDARD BLVD, KING OF PRUSSIA,                               -                                  12/31/2014                 5215 N O'CONNOR BLVD                                                   LAS COLINAS   TX           75039                                        33517
                                                             CORPORATION                                                                CONTRACT                                                                                                                               MICHAEL                                     SUITE 470
                                                                                                                                                                  PA 19406
                                                                                                                                                                                                                                                                               AYALA, CEC                                                                                                                                                                   3351765230
                                                                                                                                                                                                                                                                               TRADITION
                                                                                                                                                                  LOCATION OF CONTRACT: 1
                                                             CHAMPPS OPERATING                                                          NATURAL GAS ENGERGY                                                                                                                    ENERGY,                                     CENTRAL TOWER,
          402 NO COPY              65073          13-13227                             GREG WALDO           SPRAGUE ENERGY CORP                                   PARSONAGE ROAD, #F15, EDISON,                           1,871.19                1/1/2014        12/31/2013                 5215 N O'CONNOR BLVD                                                   LAS COLINAS   TX           75039                                        33517
                                                             CORPORATION                                                                CONTRACT                                                                                                                               MICHAEL                                     SUITE 470
                                                                                                                                                                  NJ 08837
                                                                                                                                                                                                                                                                               AYALA, CEC                                                                                                                                                                   3351765073
                                                                                                                                                                                                                                                                               TRADITION
                                                                                                                                                                  LOCATION OF CONTRACT: 25
                                                                                                                                        NATURAL GAS ENGERGY                                                                                                                    ENERGY,                                     CENTRAL TOWER,
          403 NO COPY              65204          13-13224   CHAMPPS ENTERTAINMENT     GREG WALDO           SPRAGUE ENERGY CORP                                   ROUTE 73 SOUTH, EVESHAM                                      -                  1/1/2014        12/31/2013                 5215 N O'CONNOR BLVD                                                   LAS COLINAS   TX           75039                                        33517
                                                                                                                                        CONTRACT                                                                                                                               MICHAEL                                     SUITE 470
                                                                                                                                                                  TOWNSHIP, NJ 08053
                                                                                                                                                                                                                                                                               AYALA, CEC                                                                                                                                                                   3351765204
                                                                                                                                                                                                                                                                               TRADITION
                                                             FOX AND HOUND                                                              NATURAL GAS ENGERGY       LOCATION OF CONTRACT: 55                                                                                     ENERGY,                                     CENTRAL TOWER,
          404 NO COPY              65073          13-13249                             GREG WALDO           SPRAGUE ENERGY CORP                                                                                           1,871.19                1/1/2014        12/31/2015                 5215 N O'CONNOR BLVD                                                   LAS COLINAS   TX           75039                                        33517
                                                             RESTAURANT GROUP                                                           CONTRACT                  PARSONAGE RD, EDISON, NJ 08837                                                                               MICHAEL                                     SUITE 470
                                                                                                                                                                                                                                                                               AYALA, CEC                                                                                                                                                                   3351765073
                                                                                                                                                                                                                                                                               TRADITION
                                                                                                                                                                  LOCATION OF CONTRACT: 20021
                                                             FOX & HOUND OF                                                             NATURAL GAS ENGERGY                                                                                                                    ENERGY,                                     CENTRAL TOWER,
          405 NO COPY              65082          13-13242                             GREG WALDO           TIGER INC                                             CENTURY BLVD, GERMANTOWN,                               1,930.62                1/1/2014        12/31/2014                 5215 N O'CONNOR BLVD                                                   LAS COLINAS   TX           75039                                        19683
                                                             MARYLAND, INC                                                              CONTRACT                                                                                                                               MICHAEL                                     SUITE 470
                                                                                                                                                                  MD 20874
                                                                                                                                                                                                                                                                               AYALA, CEC                                                                                                                                                                   1968365082
                                                                                                                                                                                                                                                                               TRADITION
                                                                                                                                                                  LOCATION OF CONTRACT: 4301 THE
                                                             FOX & HOUND OF NEW                                                         NATURAL GAS ENGERGY                                                                                                                    ENERGY,                                     CENTRAL TOWER,
          406 NO COPY              65063          13-13245                             GREG WALDO           TIGER INC                                             25 WAY NE, ALBUQUERQUE, NM                              1,770.17                1/1/2013        12/31/2015                 5215 N O'CONNOR BLVD                                                   LAS COLINAS   TX           75039                                        19683
                                                             MEXICO, INC                                                                CONTRACT                                                                                                                               MICHAEL                                     SUITE 470
                                                                                                                                                                  87109
                                                                                                                                                                                                                                                                               AYALA, CEC                                                                                                                                                                   1968365063
                                                                                                                                                                                                                                                                               TRADITION
                                                                                                                                                                  LOCATION OF CONTRACT: 11724
                                                                                                                                        NATURAL GAS ENGERGY                                                                                                                    ENERGY,                                     CENTRAL TOWER,
          407 NO COPY              65241          13-13227   CHAMPPS OPERATING CORP    GREG WALDO           TIGER INC                                             FAIR OAKS MALL #U, FAIRFAX, VA                               -                  1/1/2014        12/31/2014                 5215 N O'CONNOR BLVD                                                   LAS COLINAS   TX           75039                                        19683
                                                                                                                                        CONTRACT                                                                                                                               MICHAEL                                     SUITE 470
                                                                                                                                                                  22033
                                                                                                                                                                                                                                                                               AYALA, CEC                                                                                                                                                                   1968365241
                                                                                                                                                                                                                                                                               TRADITION
                                                                                                                                                                  LOCATION OF CONTRACT: 1201 S
                                                                                                                                        NATURAL GAS ENGERGY                                                                                                                    ENERGY,                                     CENTRAL TOWER,
          408 NO COPY              65226          13-13227   CHAMPPS OPERATING CORP    GREG WALDO           TIGER INC                                             JOYCE ST #C10, PENTAGON, VA                                  -                  1/1/2014        12/31/2014                 5215 N O'CONNOR BLVD                                                   LAS COLINAS   TX           75039                                        19683
                                                                                                                                        CONTRACT                                                                                                                               MICHAEL                                     SUITE 470
                                                                                                                                                                  22202
                                                                                                                                                                                                                                                                               AYALA, CEC                                                                                                                                                                   1968365226
                                                                                                                                                                                                                                                                               TRADITION
                                                                                                                                                                  LOCATION OF CONTRACT: 11694
                                                                                                                                        NATURAL GAS ENGERGY                                                                                                                    ENERGY,                                     CENTRAL TOWER,
          409 NO COPY              65207          13-13227   CHAMPPS OPERATING CORP    GREG WALDO           TIGER INC                                             PLAZA AMERICA DR, RESTON, VA                                 -                  1/1/2014        12/31/2014                 5215 N O'CONNOR BLVD                                                   LAS COLINAS   TX           75039                                        19683
                                                                                                                                        CONTRACT                                                                                                                               MICHAEL                                     SUITE 470
                                                                                                                                                                  20190
                                                                                                                                                                                                                                                                               AYALA, CEC                                                                                                                                                                   1968365207
                                                                                                                                                                                                                                                                               TRADITION
                                                                                                                                                                  LOCATION OF CONTRACT: 4238
                                                             TENT RESTAURANT                                                            NATURAL GAS ENGERGY                                                                                                                    ENERGY,                                     CENTRAL TOWER,
          410 NO COPY              65062          13-13259                             GREG WALDO           TIGER INC                                             WILSON BLVD, ARLINGTON, VA                               872.06                 1/1/2014        12/31/2014                 5215 N O'CONNOR BLVD                                                   LAS COLINAS   TX           75039                                        19683
                                                             OPERATIONS                                                                 CONTRACT                                                                                                                               MICHAEL                                     SUITE 470
                                                                                                                                                                  22203
                                                                                                                                                                                                                                                                               AYALA, CEC                                                                                                                                                                   1968365062
                                                                                                                                                                                                                                                                               TRADITION
                                                             TENT RESTAURANT                                                            NATURAL GAS ENGERGY       LOCATION OF CONTRACT: 2010-A                                                                                 ENERGY,                                     CENTRAL TOWER,
          411 NO COPY              65078          13-13259                             GREG WALDO           TIGER INC                                                                                                      947.42                 1/1/2014        12/31/2014                 5215 N O'CONNOR BLVD                                                   LAS COLINAS   TX           75039                                        19683
                                                             OPERATIONS                                                                 CONTRACT                  CRYSTAL DR, ARLINGTON, VA 22202                                                                              MICHAEL                                     SUITE 470
                                                                                                                                                                                                                                                                               AYALA, CEC                                                                                                                                                                   1968365078
                                                             FOX & HOUND RESTAURANT                                                                                                                                                  LAS
                                                                                                                                        PROFESSIONAL SERVICES
          412 NO COPY              65219          13-13249   GROUP/ CHAMPPS            GREG WALDO           TRAPP ASSOC LTD CORP                                  DESIGN - INTERIOR REMODEL                                    -     COLINAS     6/14/2013                     TIM TRAPP     965 LINDEN AVE                                                         BOULDER       CO           80304
                                                                                                                                        AGREEMENT
                                                             ENTERTAINMENT, INC                                                                                                                                                      65219
                                                                                                                                                                                                                                                                                                                                                                                                                                                                 65219
                                                             FOX & HOUND RESTAURANT                                                                                                                                                  LAS
                                                                                                                                        PROFESSIONAL SERVICES
          413 NO COPY              65219          13-13249   GROUP/ CHAMPPS            GREG WALDO           TRAPP ASSOC LTD CORP                                  DESIGN - PATIO REMODEL                                       -     COLINAS     6/15/2013                     TIM TRAPP     965 LINDEN AVE                                                         BOULDER       CO           80305
                                                                                                                                        AGREEMENT
                                                             ENTERTAINMENT, INC                                                                                                                                                      65220
                                                                                                                                                                                                                                                                                                                                                                                                                                                                 65219
                                                                                                                                                                                                                                                                             TRADITION
                                                                                                                                                                  LOCATION OF CONTRACT: 10300
                                                             CHAMPPS OPERATING                                                          NATURAL GAS ENGERGY                                                                                                                  ENERGY,                                       CENTRAL TOWER,
          414 NO COPY              65231          13-13227                             GREG WALDO           WGES                                                  LITTLE PATUXENT PKWY, STE 3040,                              -                  1/1/2013        12/31/2014                 5215 N O'CONNOR BLVD                                                   LAS COLINAS   TX           75039
                                                             CORPORATION                                                                CONTRACT                                                                                                                             MICHAEL                                       SUITE 470
                                                                                                                                                                  COLUMBIA, MD 21044
                                                                                                                                                                                                                                                                             AYALA, CEC                                                                                                                                                                          65231
                                                                                                                                                                                                                                                                             TRADITION
                                                                                                                                                                  LOCATION OF CONTRACT: 10300
                                                             CHAMPPS OPERATING                                                          ELECTRICITY ENGERGY                                                                                                                  ENERGY,                                       CENTRAL TOWER,
          415 NO COPY              65231          13-13227                             GREG WALDO           WGES                                                  LITTLE PATUXENT PKWY, STE 3040,                              -                 12/1/2010        12/31/2013                 5215 N O'CONNOR BLVD                                                   LAS COLINAS   TX           75039
                                                             CORPORATION                                                                CONTRACT                                                                                                                             MICHAEL                                       SUITE 470
                                                                                                                                                                  COLUMBIA, MD 21044
                                                                                                                                                                                                                                                                             AYALA, CEC                                                                                                                                                                          65231
                                                                                                                                                                                                                                     RALEIGH
          416 NO COPY              65077          13-13259   TENT REST. OPERATIONS     GREG WALDO           ZERNCO                      CONSTRUCTION AGREEMENT    REMODEL                                                      -                  8/7/2013         9/20/2013 SCOTT MARKCO 11225 SW US HIGHWAY 54                                                    AUGUSTA       KS           67010
                                                                                                                                                                                                                                     NC 65077                                                                                                                                                                                                                    65077
                                                                                                                                                                                                                                     MEMPHIS
          417 NO COPY              65028          13-13259   TENT REST. OPERATIONS     GREG WALDO           ZERNCO                      CONSTRUCTION AGREEMENT    REMODEL                                                      -                 8/23/2013         10/4/2013 SCOTT MARKCO 11225 SW US HIGHWAY 54                                                    AUGUSTA       KS           67010
                                                                                                                                                                                                                                     #2 65028                                                                                                                                                                                                                    65028
                                                                                                                                                                                                                                     HUNTERSVI
          418 NO COPY              65071          13-13259   TENT REST. OPERATIONS     GREG WALDO           ZERNCO                      CONSTRUCTION AGREEMENT    REMODEL                                                      -                 9/12/2013        10/18/2013 SCOTT MARKCO 11225 SW US HIGHWAY 54                                                    AUGUSTA       KS           67010
                                                                                                                                                                                                                                     LLE 65071
                                                                                                                                                                                                                                                                                                                                                                                                                                                                 65071
                                                                                                                                                                                                                                     SOUTHAVE
          419 NO COPY              65087          13-13259   TENT REST. OPERATIONS     GREG WALDO           ZERNCO                      CONSTRUCTION AGREEMENT    REMODEL                                                      -                 10/1/2013        10/25/2013 SCOTT MARKCO 11225 SW US HIGHWAY 54                                                    AUGUSTA       KS           67010
                                                                                                                                                                                                                                     N 65087                                                                                                                                                                                                                     65087
                                                                                                                                                                                                                                     NASHVILLE
          420 NO COPY              65041          13-13259   TENT REST. OPERATIONS     GREG WALDO           ZERNCO                      CONSTRUCTION AGREEMENT    REMODEL                                                      -                 9/12/2013         11/8/2013 SCOTT MARKCO 11225 SW US HIGHWAY 54                                                    AUGUSTA       KS           67010
                                                                                                                                                                                                                                     65041                                                                                                                                                                                                                       65041
                                                                                                            CONSOLIDATED CONCEPTS
                                                                                                                                                                  FRESH PRODUCE ACQUISITION
          421 15.00                CORPORATE      13-13220   F&H ACQUISITION CORP.     JEFF BURRUS          AND NATIONAL PRODUCE        SERVICE AGREEMENT                                                                      -                  4/5/2013          4/5/2014                 555 REPUBLIC DRIVE, STE 302                                            PLANO         TX           75074                                                35748
                                                                                                                                                                  AGREEMENT
                                                                                                            CONSULTANTS, INC.
                                                                                                                                                                                                                                                                                                                                                                                                                                                             #VALUE!
          422 14.00                               13-13224   CHAMPS ENTERTAINMENT,     JEFF BURRUS          DISTRIBUTION MARKET         SERVICE AGREEMENT         FOODSERVICE DISTRIBUTION                                     -                 12/5/2011         12/4/2014                 1515 WOODFIELD RD.                                                     SCHAUMBURG IL              60173                                                         #VALUE!
                                                             INC                                            ADVANTAGE INC                                         AGREEMENT
          423 18.00                               13-13249   FOX & HOUND RESTAURANT    JEFF BURRUS          DISTRIBUTION MARKET         SERVICE AGREEMENT         FOODSERVICE DISTRIBUTION                                     -                 12/5/2011         12/4/2014                 1515 WOODFIELD RD.                                                     SCHAUMBURG IL              60173                                                         #VALUE!
                                                             GROUP                                          ADVANTAGE INC                                         AGREEMENT
                                                                                                                                                                  PURCHASING, WAREHOUSING &                                                                                                                                                                         NORTH
          424 17.00                CORPORATE      13-13220   F&H ACQUISITION CORP      JEFF BURRUS          EDWARD DON & COMPANY        SERVICE AGREEMENT                                                                      -                  6/1/2007          6/1/2014                 250 SOUTH HARLEM AVENUE                                                              IL           60546
                                                                                                                                                                  DISTRIBUTION AGREEMENT                                                                                                                                                                            RIVERSIDE                                                                                #VALUE!
                                                             FOX & HOUND RESTAURANT                                                                               PRICING CONFIRMATION AND
          425 16.00                               13-13249                             JEFF BURRUS          THE C.F. SAUER COMPANY      SERVICE AGREEMENT                                                                      -                  7/1/2013                                   2000 WEST BROAD STREET                                                 RICHMOND      VA           23150
                                                             GROUP                                                                                                SUPPLY AGREEMENT                                                                                                                                                                                                                                                                           #VALUE!
                                                                                                                                                                                                                                                                               LOUIS
          426                                                                          JEFF BURUS           A ZEREGAS SONS INC          PRICING AGREEMENT                                                                      -                                                             P.O. BOX 12298N                                                        NEWARK        NJ           7010
                                                                                                                                                                                                                                                                               CAVALIERE                                                                                                                                                                     #VALUE!
                                                                                                            AMERICAN BEVERAGE
          427                                                                          JEFF BURUS                                       PRICING AGREEMENT                                                                      -                                               JIM BARNETT   P.O. BOX 347                                                           NEW ALBANY    IN           47151
                                                                                                            MARKETERS                                                                                                                                                                                                                                                                                                                                        #VALUE!
                                                                                                            AMERICAN ROLAND FOOD
          428                                                                          JEFF BURUS                                       PRICING AGREEMENT                                                                      -                                               JOEL LUNDE    71 WEST 23RD STREET                                                    NEW YORK      NY           10010
                                                                                                            CORP                                                                                                                                                                                                                                                                                                                                             #VALUE!




2491306-3                                                                                                                                                                                                                                           2.4(m) - 12
                                                                                                                                                                       Case 13-13220-KG                     Doc 506-1                             Filed 03/17/14                                       Page 307 of 362

     ID         Epiq Contract No   Store Number        Case            Debtor          Responsible Person    Contract Counter Party          Type of Contract   Description of Contract   Assume   Reject   Cure Amount Contract NoDate of Contract
                                                                                                                                                                                                                                                 Termination Date Attention                 Address 1             Address 2   Address 3   Address 4        City          State        Zip   Country   Email   Phone   Fax   Vendor     A/P code
          429                                                                          JEFF BURUS         ANCHOR PACKAGING INC        PRICING AGREEMENT                                                              -                                           GWEN SHAW    13515 BARRETT PARKWAY DR                                                ST LOUIS      MO           63021                                                 #VALUE!
                                                                                                          ASA TRADING CO
          430                                                                          JEFF BURUS                                     PRICING AGREEMENT                                                              -                                         CINDY YUENG    1788 FAIRWAY DRIVE                                                      LEANDRO       CA           94577
                                                                                                          (IMPORTER)                                                                                                                                                                                                                                                                                                                   #VALUE!
                                                                                                                                                                                                                                                               JOANNE
          431                                                                          JEFF BURUS         ASTRA FOODS                 PRICING AGREEMENT                                                              -                                                        6430 MARKET STREET                                                      UPPER DARBY PA             19082
                                                                                                                                                                                                                                                               RHOADES                                                                                                                                                                 #VALUE!
          432                                                                          JEFF BURUS         AZAR NUT COMPANY            PRICING AGREEMENT                                                              -                                         PAM HEGELSON 1800 NORTHWESTERN DRIVE                                                   EL PASO       TX           79912
                                                                                                                                                                                                                                                                                                                                                                                                                                       #VALUE!
                                                                                                                                                                                                                                                               CHARLIE
          433                                                                          JEFF BURUS         BARON SPICES                PRICING AGREEMENT                                                              -                                                        1440 KENTUCKY AVE                                                       ST LOUIS      MO           63110
                                                                                                                                                                                                                                                               WIEGERS                                                                                                                                                                 #VALUE!
                                                                                                                                                                                                                                                               STEVE
          434                                  0                                       JEFF BURUS         BEN E KEITH                 PRICING AGREEMENT                                                              -                                                        7600 WILL ROGERS BLVD                                                   FT WORTH      TX           76140                                         19933
                                                                                                                                                                                                                                                               FERGUSON                                                                                                                                                                   19933
          435                                                                          JEFF BURUS         BERRY PLASTICS              PRICING AGREEMENT                                                              -                                         TJ LEWIS       6880 BARTON RD                                                          MORROW        GA           30260                                                 #VALUE!
          436                                                                          JEFF BURUS         BURNETT & SON MEAT CO       PRICING AGREEMENT                                                              -                                         JIM BURNETT    1420 SOUTH MYRTLE AVE                                                   MONROVIA      CA           91016                                                 #VALUE!
                                                                                                                                                                                                                                                               SCOTT
          437                                                                          JEFF BURUS         BUTTERBALL LLC (POULTRY)    PRICING AGREEMENT                                                              -
                                                                                                                                                                                                                                                               MCCLARON                                                                                                                                                                #VALUE!
          438                                                                          JEFF BURUS         C F SAUER COMPANY           PRICING AGREEMENT                                                              -                                         DAN CARFANG    2000 WEST BROAD STREET          PO BOX 27366                            RICHMOND      VA           23150                                                 #VALUE!
          439                                                                          JEFF BURUS         CAMPBELL SOUP COMPANY       PRICING AGREEMENT                                                              -                                         MICHEAL SMITH 214 578 9164
                                                                                                                                                                                                                                                                                                                                                                                                                                       #VALUE!
                                                                                                          CENTRAL SEAWAY CO
          440                                                                          JEFF BURUS                                     PRICING AGREEMENT                                                              -                                         DAVE BENNETT 650 DUNDEE ROAD                                                           NORTHBROOK IL              60062
                                                                                                          (IMPORTER)                                                                                                                                                                                                                                                                                                                   #VALUE!
                                                                                                          CHEF PAUL PRUDHOMME                                                                                                                                  MAGIC
          441                                                                          JEFF BURUS                                     PRICING AGREEMENT                                                                                                                       720 DISTRIBUTORS ROW                                                    HARAHAN       LA           70123
                                                                                                          MAGIC SPICES                                                                                                                                         SEASONING                                                                                                                                                               #VALUE!
                                                                                                                                                                                                                                                               LAURIE
          442                                                                          JEFF BURUS         COCA COLA USA               PRICING AGREEMENT                                                              -                                                                                                                                ATLANTA       GA
                                                                                                                                                                                                                                                               DEARING                                                                                                                                                                 #VALUE!
                                                                                                                                                                                                                                                               LAUREN
          443                                                                          JEFF BURUS         COMMAND PACKAGING           PRICING AGREEMENT                                                              -                                                        3840 EAST 26TH STREET                                                   VERNON        CA           90058
                                                                                                                                                                                                                                                               GRANDE                                                                                                                                                                  #VALUE!
          444                                                                          JEFF BURUS         CONAGRA FOODS INC           PRICING AGREEMENT                                                              -                                         MARK KILTAU                                                                                                                                                             #VALUE!
          445                                                                          JEFF BURUS         CONTINENTAL MILLS INC       PRICING AGREEMENT                                                              -                                         RON ROGERS     18100 ANDOVER PARK WEST                                                 TUKIWA        WA           98188                                                 #VALUE!
          446                                                                          JEFF BURUS         DAISY BRAND INC             PRICING AGREEMENT                                                              -                                         JOE JOHNSON                                                                                                                                                             #VALUE!
                                                                                                                                                                                                                                                               BRYAN                                                                                  FLOWER
          447                                                                          JEFF BURUS         DIRECT SOURCE               PRICING AGREEMENT                                                                                                                       1200 LAKESIDE PKWY, SUITE 400                                                         TX           75028
                                                                                                                                                                                                                                                               UPCHURCH                                                                               MOUND                                                                            #VALUE!
                                                                                                                                                                                                                                                               MICHEAL
          448                                                                          JEFF BURUS         DOLE FOOD COMPANY INC       PRICING AGREEMENT                                                              -                                                        949 216 9112
                                                                                                                                                                                                                                                               ROSSER                                                                                                                                                                  #VALUE!
          449                                                                          JEFF BURUS         DR PEPPER SNAPPLE GROUP     PRICING AGREEMENT                                                              -                                         BRYAN CHILDS   5301 LEGACY DRIVE                                                       PLANO         TX           75024
                                                                                                                                                                                                                                                                                                                                                                                                                                       #VALUE!
          450                                                                          JEFF BURUS         DURO BAG MFG CO             PRICING AGREEMENT                                                              -                                         GREG MERTES    P.O. BOX 630115                                                         CINNCINNATTI OH            45263
                                                                                                                                                                                                                                                                                                                                                                                                                                       #VALUE!
          451                                                                          JEFF BURUS         ECOLAB INC                  PRICING AGREEMENT                                                              -                                         WILLIAM KELLER 370 N WABASHA STREET                                                    ST PAUL       MN           55102
                                                                                                                                                                                                                                                                                                                                                                                                                                       #VALUE!
                                                                                                          FLOWERS FOOD SPECIALTY
          452                                                                          JEFF BURUS                                     PRICING AGREEMENT                                                              -                                         JEFF STRAIN    P.O. BOX 102276                                                         ATLANTA       GA           30368
                                                                                                          GROUP                                                                                                                                                                                                                                                                                                                        #VALUE!
          453                                                                          JEFF BURUS         FOODHANDLER INC             PRICING AGREEMENT                                                              -                                         MIKE GYLES     4348 SOLUTIONS DRIVE                                                    CHICAGO       IL           60677                                                 #VALUE!
          454                                                                          JEFF BURUS         GENPAK LLC                  PRICING AGREEMENT                                                              -                                         ANDY MITAS                                                                                                                                                              #VALUE!
                                                                                                                                                                                                                                                               EARSELL
          455                                                                          JEFF BURUS         GEORGIA PACIFIC             PRICING AGREEMENT                                                              -
                                                                                                                                                                                                                                                               COLLIER                                                                                                                                                                 #VALUE!
          456                                                                          JEFF BURUS         GIELOW PICKLES INC          PRICING AGREEMENT                                                              -                                         CRAIG GIELOW   5260 MAIN STREET                                                        LEXINGTON     MI           48450                                                 #VALUE!
          457                                                                          JEFF BURUS         HANDGARDS INC               PRICING AGREEMENT                                                              -                                         MARK COLLIER   901 HAWKINS                                                             EL PASO       TX           79915                                                 #VALUE!
          458                                                                          JEFF BURUS         HANDI FOIL OF AMERICA       PRICING AGREEMENT                                                              -                                         JOHN BRINK     135 EAST HINTZ RD                                                       WHEEELING     IL           60090                                                 #VALUE!
                                                                                                                                                                                                                                                               MURRAY
          459                                                                          JEFF BURUS         HANDY WACKS INC             PRICING AGREEMENT                                                              -                                                        100 EAST AVERILL                                                        SPARTA        MI           49345
                                                                                                                                                                                                                                                               SHELTON                                                                                                                                                                 #VALUE!
          460                                                                          JEFF BURUS         HEINZ USA                   PRICING AGREEMENT                                                              -                                         LES MANIS                                                                                                                                                               #VALUE!
          461                                                                          JEFF BURUS         HERSHEY COMPANY             PRICING AGREEMENT                                                              -                                         KEVIN AUSTENE 16128 VINTAGE DRIVE                                                      PALINFIELD    IL           60586
                                                                                                                                                                                                                                                                                                                                                                                                                                       #VALUE!
                                                                                                          HIGHLAND BAKING
          462                                                                          JEFF BURUS                                     PRICING AGREEMENT                                                              -                                         ROBIN SILVOSKY 2301 SHERMIER ROAD                                                      NORHBROOK     IL
                                                                                                          COMPANY                                                                                                                                                                                                                                                                                                                      #VALUE!
          463                                                                          JEFF BURUS         HILLSHIRE BRANDS CO         PRICING AGREEMENT                                                              -                                         STACY HAUCK    1707 TOWNEHURST DRIVE                                                   HOUSTON       TX           77043                                                 #VALUE!
                                                                                                          HORMEL FOODS
          464                                                                          JEFF BURUS                                     PRICING AGREEMENT                                                              -                                         JON SAULD
                                                                                                          CORPORATION                                                                                                                                                                                                                                                                                                                  #VALUE!
                                                                                                          HUHTAMAKI FOODSERVICE
          465                                                                          JEFF BURUS                                     PRICING AGREEMENT                                                              -                                         KYLE KARNES
                                                                                                          INC                                                                                                                                                                                                                                                                                                                          #VALUE!
                                                                                                          INTERNATIONAL SEAFOOD                                                                                                                                BENETT
          466                                                                          JEFF BURUS                                     PRICING AGREEMENT                                                              -                                                        5121 NE 55TH ST                                                         SEATTLE       WA           98105
                                                                                                          VENTURES LLC                                                                                                                                         KOZLOFF                                                                                                                                                                 #VALUE!
          467                                                                          JEFF BURUS         JENNIE O TURKEY STORE INC   PRICING AGREEMENT                                                              -                                         SCOTT OVERLY   P.O. BOX 93447                                                          CHICAGO       IL           60673
                                                                                                                                                                                                                                                                                                                                                                                                                                       #VALUE!
                                                                                                                                                                                                                                                               BOB
          468                                                                          JEFF BURUS         JOHN MORRELL & COMPANY PRICING AGREEMENT                                                                   -
                                                                                                                                                                                                                                                               HOFFMEISTER                                                                                                                                                             #VALUE!
          469                                                                          JEFF BURUS         JOSEPHS GOURMET PASTAS      PRICING AGREEMENT                                                              -                                         TIM HEALY
                                                                                                                                                                                                                                                                                                                                                                                                                                       #VALUE!
          470                                                                          JEFF BURUS         JR SIMPLOT CO               PRICING AGREEMENT                                                              -                                         DANIEL OZUNO
                                                                                                                                                                                                                                                                                                                                                                                                                                       #VALUE!
                                                                                                                                                                                                                                                               ROBIN
          471                                                                          JEFF BURUS         KELLOGGS FOODSERVICE        PRICING AGREEMENT                                                              -
                                                                                                                                                                                                                                                               FELDMAN                                                                                                                                                                 #VALUE!
          472                                                                          JEFF BURUS         KENS FOODS INC              PRICING AGREEMENT                                                              -                                         JAY ENGLISH    P.O. BOX 6197                                                           BOSTON        MA           2212                                                  #VALUE!
                                                              FOX & HOUND RESTAURANT
          473                      CORPORATE       13-13249                            JEFF BURUS         LAMB WESTON INC             PRICING AGREEMENT                                                              -                                         TRACY WOLF     P.O. BOX 70075                                                          CHICAGO       IL           60673
                                                              GROUP                                                                                                                                                                                                                                                                                                                                                                    #VALUE!
                                                                                                                                                                                                                                                               CRAIG
          474                                                                          JEFF BURUS         LAWLER FOODS LTD            PRICING AGREEMENT                                                              -                                                        P.O. BOX 2558                                                           HUMBLE        TX           77347
                                                                                                                                                                                                                                                               HERBLEING                                                                                                                                                               #VALUE!
          475                                                                          JEFF BURUS         LEOS FOODS                  PRICING AGREEMENT                                                              -                                         JEFF STRAIN    P.O. BOX 102276                                                         ATLANTA       GA           30368                                                 #VALUE!
          476                                                                          JEFF BURUS         LYONS MAGNUS                PRICING AGREEMENT                                                              -                                         SUSAN PRINS    3158 EAST HAMILTON AVE                                                  FRESNO        CA           93702                                                 #VALUE!
          477                                                                          JEFF BURUS         MCCAIN FOODS LIMITED        PRICING AGREEMENT                                                              -                                         KEVIN TATE                                                                             OAKBROOK      IL                                                                 #VALUE!
                                                                                                                                                                                                                                                               SCOTT
          478                                                                          JEFF BURUS         MICHAEL FOODS INC           PRICING AGREEMENT                                                              -                                                        P.O. BOX 98378                                                          CHICAGO       IL           60693
                                                                                                                                                                                                                                                               ELWONGER                                                                                                                                                                #VALUE!
                                                                                                                                                                                                                                                                                                                                                      GEORGETOW
          479                                                                          JEFF BURUS         MISSION FOODS INC           PRICING AGREEMENT                                                              -                                         ROBIN REED     125 NICOLE WAY                                                                        TX           78628
                                                                                                                                                                                                                                                                                                                                                      N                                                                                #VALUE!
                                                                                                                                                                                                                                                               LORETTA
          480                                                                          JEFF BURUS         MONIN INC                   PRICING AGREEMENT                                                              -                                                        P.O. BOX 538475                                                         ATLANTA       GA           30353
                                                                                                                                                                                                                                                               AUTHOR                                                                                                                                                                  #VALUE!
          481                                                                          JEFF BURUS         NATHAN'S FAMOUS             PRICING AGREEMENT                                                              -                                         DON PERLINN    ONE JERICHO PLAZA                                                       JERICHO       NY           11753                                                 #VALUE!
                                                                                                          NESTLE BRANDS                                                                                                                                        RICH
          482                                                                          JEFF BURUS                                     PRICING AGREEMENT                                                              -
                                                                                                          FOODSERVICE                                                                                                                                          HOVESPLAN                                                                                                                                                               #VALUE!
          483                                                                          JEFF BURUS         OZIAMA INC                  PRICING AGREEMENT                                                              -                                         KURT KAISER    1260 GREY FOX ROAD                                                      ARDEN HILLS   MN           55112                                                 #VALUE!
          484                                                                          JEFF BURUS         PACTIV CORP                 PRICING AGREEMENT                                                              -                                         JASON ATKINS   1900 W FIELD COURT                                                      LAKE FOREST   IL           60045                                                 #VALUE!
          485                                                                          JEFF BURUS         PANAPESCA USA CORP          PRICING AGREEMENT                                                              -                                         NINA HUNTER    42 EINTER SUITE UNIT 7                                                  PEMBROKE      MA           2359                                                  #VALUE!
                                                                                                                                                                                                                                                               GRAHAM
          486                                                                          JEFF BURUS         PROCESSED FOODS CORP.       PRICING AGREEMENT                                                              -                                                        3600 PLEASANT RIDGE ROAD                                                KNOXVILLE     TN           37921
                                                                                                                                                                                                                                                               HUNTER                                                                                                                                                                  #VALUE!
          487                                                                          JEFF BURUS         PRODUCERS RICE MILL         PRICING AGREEMENT                                                              -                                         MIKE CULLEN    P.O. BOX 100 DEPT # 17                                                  MEMPHIS       TN           38148                                                 #VALUE!
          488                                                                          JEFF BURUS         RECKITT BENCKISER INC       PRICING AGREEMENT                                                              -                                         CRAIG DRYER    P.O. BOX 088159                                                         CHICAGO       IL           60695                                                 #VALUE!
          489                                                                          JEFF BURUS         RED GOLD LLC                PRICING AGREEMENT                                                              -                                         DON GRIMM      P.O. BOX 71862                                                          CHICAGO       IL           60694                                                 #VALUE!
          490                                                                          JEFF BURUS         RICH PRODUCTS CORP          PRICING AGREEMENT                                                              -                                         NANCY MASON P.O. BOX 68333                                                             CHICAGO       IL           60639
                                                                                                                                                                                                                                                                                                                                                                                                                                       #VALUE!
          491                                                                          JEFF BURUS         RON SON FOODS INC           PRICING AGREEMENT                                                              -                                         WENDY JEFFRIES P.O. BOX 38                                                             SWEDESBORO NJ              8085
                                                                                                                                                                                                                                                                                                                                                                                                                                       #VALUE!
          492                                                                          JEFF BURUS         ROTELLA'S ITALIAN BAKERY    PRICING AGREEMENT                                                              -                                         ROCKY ROTELLA 6949 SOUTH 108TH ST                                                      LA VISTA      NE           68128
                                                                                                                                                                                                                                                                                                                                                                                                                                       #VALUE!
          493                                                                          JEFF BURUS         ROYAL PAPER PRODUCTS INC PRICING AGREEMENT                                                                 -                                         WARREN JANE    P.O. BOX 62834                                                          BALTIMORE     MD           21264
                                                                                                                                                                                                                                                                                                                                                                                                                                       #VALUE!




2491306-3                                                                                                                                                                                                                                 2.4(m) - 13
                                                                                                                                                                            Case 13-13220-KG                     Doc 506-1                              Filed 03/17/14                                           Page 308 of 362

     ID         Epiq Contract No   Store Number       Case              Debtor        Responsible Person      Contract Counter Party         Type of Contract        Description of Contract   Assume   Reject   Cure Amount Contract NoDate of Contract
                                                                                                                                                                                                                                                      Termination Date Attention                          Address 1             Address 2      Address 3   Address 4          City        State          Zip   Country   Email   Phone   Fax      Vendor       A/P code
                                                                                                                                                                                                                                                                      WALTER
          494                                                                         JEFF BURUS           RUPRECHT COMPANY            PRICING AGREEMENT                                                                  -                                                              P.O. BOX 66973                                                                CHICAGO       IL           60666
                                                                                                                                                                                                                                                                      SOMMERS                                                                                                                                                                                  #VALUE!
          495                                                                         JEFF BURUS           S&D COFFEE                  PRICING AGREEMENT                                                                  -                                               JERRY MURPHY P.O. BOX 1628                                                                   CONCORD       NC           28026
                                                                                                                                                                                                                                                                                                                                                                                                                                                               #VALUE!
                                                             FOX AND HOUND                                                                                                                                                                                                MICHAEL
          496 22.0                 CORPORATE      13-13249                            JEFF BURUS           SAPUTO INC                  PRICING AGREEMENT                                                                  -                                                              ONE OVERLOOK POINT, SUITE 300                                                 LINCOLNSHIRE IL            60069
                                                             RESTAURANT GROUP                                                                                                                                                                                             JOHNSON                                                                                                                                                                              #VALUE!
                                                                                                           SARGENTO FOOD SERVICE
          497                                                                         JEFF BURUS                                       PRICING AGREEMENT                                                                  -                                               TIM ROSS       4769 PAYSPHERE CIRCLE                                                         CHICAGO       IL           60674
                                                                                                           CORP                                                                                                                                                                                                                                                                                                                                                #VALUE!
                                                                                                                                                                                                                                                                          TRACY
          498                                                                         JEFF BURUS           SCA TISSUE NORTH AMERICA PRICING AGREEMENT                                                                     -                                                              2117 NETWORK PLACE                                                            CHICAGO       IL           60613
                                                                                                                                                                                                                                                                          FULLINGTON                                                                                                                                                                           #VALUE!
                                                                                                           SCHREIBER FOODS INTL
          499                                                                         JEFF BURUS                                       PRICING AGREEMENT                                                                  -                                               SCOTT LEACH    P.O. BOX 299                                                                  RAMSEY        NJ           7446
                                                                                                           (IMPORTER)                                                                                                                                                                                                                                                                                                                                          #VALUE!
          500                                                                         JEFF BURUS           SCHWAN'S FOOD SERVICE       PRICING AGREEMENT                                                                  -                                               LAURA SCHERER 607 WEST MAIL ST                                                               MARSHALL      MN           56258
                                                                                                                                                                                                                                                                                                                                                                                                                                                               #VALUE!
                                                                                                                                                                                                                                                                          ELIZABETH
          501                                                                         JEFF BURUS           SOLO CUP CO                 PRICING AGREEMENT                                                                  -                                                              500 HOGSBACK ROAD                                                             MASON         MI           48854
                                                                                                                                                                                                                                                                          MELTON                                                                                                                                                                               #VALUE!
                                                                                                                                                                                                                                                                          CLAUDE
          502                                                                         JEFF BURUS           SOUP BASES LOADED, INC.     PRICING AGREEMENT                                                                  -                                                              1481 BALBOA AVE                                                               ONTARIO       CA           91761
                                                                                                                                                                                                                                                                          KOEBERLE                                                                                                                                                                             #VALUE!
                                                                                                                                                                                                                                                                          CARMINI
          503                                                                         JEFF BURUS           SOUTH STREAM SEAFOOD        PRICING AGREEMENT                                                                  -                                                              100 METRO CENTER BLVD                                                         WARWCIK       RI           2886
                                                                                                                                                                                                                                                                          INTERIERI                                                                                                                                                                            #VALUE!
          504                                                                         JEFF BURUS           SPECIALTY ROLL PRODUCTS     PRICING AGREEMENT                                                                  -                                               BRAD HUFF      P.O. BOX 5374                                                                 MERIDIAN      MS           39302
                                                                                                                                                                                                                                                                                                                                                                                                                                                               #VALUE!
                                                             FOX AND HOUND
          505 21.0                                13-13249                            JEFF BURUS           STRATAS FOODS               PRICING AGREEMENT                                                                  -                                               BILLY EGGER    P.O. BOX 66903                                                                ST LOUIS      MO           63166
                                                             RESTAURANT GROUP                                                                                                                                                                                                                                                                                                                                                                                  #VALUE!
                                                                                                                                                                                                                                                                          DAVE
          506                                                                         JEFF BURUS           SUGAR FOODS CORP            PRICING AGREEMENT                                                                  -                                                              1309 INDIAN LAKE ROAD                                                         CARROLTON     TX           75007
                                                                                                                                                                                                                                                                          WESTLUND                                                                                                                                                                             #VALUE!
          507                                                                         JEFF BURUS           SUGARDALE FOOD SERVICE      PRICING AGREEMENT                                                                  -                                               MIKE FURR      P.O. BOX 371028                                                               PITTBURGH     PA           15251
                                                                                                                                                                                                                                                                                                                                                                                                                                                               #VALUE!
                                                                                                           TRONEX HEALTHCARE                                                                                                                                              STEVE
          508                                                                         JEFF BURUS                                       PRICING AGREEMENT                                                                  -                                                              LOCK BOX 1997                      PO BOX 8500-1997                           PHILADELPHIA PA            19178
                                                                                                           INDUSTRY                                                                                                                                                       RUMMELL                                                                                                                                                                              #VALUE!
                                                                                                                                                                                                                                                                          MATT
          509                                                                         JEFF BURUS           TYSON FOODS INC             PRICING AGREEMENT                                                                  -                                                              2210 WEST OAKLAWN                                                             SPRINGDALE    AR           72762
                                                                                                                                                                                                                                                                          CHARBONEAU                                                                                                                                                                           #VALUE!
                                                                                                                                                                                                                                                                                                                                                                       GARDEN CITY
          510                                                                         JEFF BURUS           ULTRA THIN PIZZA SHELLS     PRICING AGREEMENT                                                                  -                                               DAVID PARRISH 202 ATLANTIC AVE                                                                             NY           11040
                                                                                                                                                                                                                                                                                                                                                                       PARK                                                                                    #VALUE!
          511                                                                         JEFF BURUS           VENTURA FOODS LLC           PRICING AGREEMENT                                                                  -                                               WADE DEAN      3201 NE LOOP 820                                                              FORT WORTH TX              76137
                                                                                                                                                                                                                                                                                                                                                                                                                                                               #VALUE!
          512                                                                         JEFF BURUS           WELLS ENTERPRISES INC       PRICING AGREEMENT                                                                  -                                               STEVE CRANGLE 1 BLUE BUNNY DRIVE                                                             LE MARS       IA           51031
                                                                                                                                                                                                                                                                                                                                                                                                                                                               #VALUE!
                                                             FOX & HOUND RESTAURANT
          513                      CORPORATE      13-13249                            JEFF BURUS           WOLVERINE PACKING CO        PRICING AGREEMENT                                                                  -                                               MIKE CROWE     2535 RIVARD                                                                   DETROIT       MI           48207
                                                             GROUP                                                                                                                                                                                                                                                                                                                                                                                             #VALUE!
                                                                                                                                                                INDEMNIFICATION FOR SURETY
          514 7.00                 CORPORATE      13-13220   F&H ACQUISITION CORP     KIM FOWLES           CNA SURETY                  INDEMNITY AGREEMENT                                                                -                                                              333 S WABASH                                                                  CHICAGO       IL           60634
                                                                                                                                                                BOND                                                                                                                                                                                                                                                                                           #VALUE!
                                                                                                                                                                INDEMNIFICATION FOR SURETY                                                                                                                                                                             OVERLAND
          515 8.00                 CORPORATE      13-13220   F&H ACQUISITION CORP     KIM FOWLES           LIBERTY MUTUAL              INDEMNITY AGREEMENT                                                                -                                                              6800 COLLEGE BLVD SUITE 700                                                                 KS           66211
                                                                                                                                                                BOND                                                                                                                                                                                                   PARK                                                                                    #VALUE!
                                                                                                                                                                                                                                                                          CARLIN
                                   FARMINGTON                TENT RESTAURANT                                                                                    SALE OF LIQUOR LICENSE
          516 4.00                            13-13259                                KIM FOWLES           OAKLAND SPIRITS, LLC        PURCHASE AGREEMENT                                                                 -                                               EDWARDS        2855 COOLIDGE HWY., STE 203                                                   TROY          MI           48084
                                   HILLS                     OPERATIONS, INC                                                                                    AGREEMENT
                                                                                                                                                                                                                                                                          BROWN PLLC                                                                                                                                                                           #VALUE!
                                                             CHAMPPS OPERATING                                                                                  SALE OF LIQUOR LICENSE                                                                                    FLAHERTY &
          517 9.00                 WARRINGTON 13-13227                                KIM FOWLES           PIZZA HUT OF AMERICA, INC. PURCHASE AGREEMENT                                                                  -                 7/11/2012                                    610 SMITHFIELD STREET, SUITE 300                                              PITTSBURGH    PA           15222
                                                             CORPORATION                                                                                        AGREEMENT                                                                                                 O'HARA                                                                                                                                                                               #VALUE!
                                                                                                           STANLEY CONVERGENT
          518 5.00                 CORPORATE      13-13220   F&H ACQUISITION CORP     KIM FOWLES                                       SERVICE AGREEMENT        SECURITY AGREEMENT                                 10,372.23                 8/1/2010                                    DEPT CH 10651                                                                 PALATINE      IL           60055                                        17443
                                                                                                           SECURITY SOLUTIONS INC                                                                                                                                                                                                                                                                                                                             17443
                                                                                                                                                                                                                                                                          ANN
          519 NO COPY              65028          13-13259   FOX & HOUND / MEMPHIS    LINDA COSTNER        AC BEVERAGE INC             SERVICE AGREEMENT        CO2 SERVICE AGREEMENT                                 150.00 65028           7/3/2012          7/3/2015                  1993-7 MORELAND PKWY                                                          ANNAPOLIS     MD           21401                                                6918
                                                                                                                                                                                                                                                                          KLEINRICHERT                                                                                                                                                                         691865028
                                                                                                                                                                                                                                                             M/M AFTER    ANN
          520 NO COPY              65201          13-13227   CHAMPPS SPORTS BAR       LINDA COSTNER        AC BEVERAGE INC             SERVICE AGREEMENT        CO2 SERVICE AGREEMENT                                 240.00 65201          3/15/2005                                    1993-7 MORELAND PKWY                                                          ANNAPOLIS     MD           21401                                                6918
                                                                                                                                                                                                                                                               3/15/07    KLEINRICHERT                                                                                                                                                                         691865201
                                                                                                                                                                                                                                                             M/M AFTER    ANN
          521 NO COPY              65205          13-13227   CHAMPP'S                 LINDA COSTNER        AC BEVERAGE INC             SERVICE AGREEMENT        CO2 SERVICE AGREEMENT                                 965.00 65205          12/1/2005                                    1993-7 MORELAND PKWY                                                          ANNAPOLIS     MD           21401                                                6918
                                                                                                                                                                                                                                                               12/1/08    KLEINRICHERT                                                                                                                                                                         691865205
                                                                                                                                                                                                                                                             M/M AFTER    ANN
          522 NO COPY              65207          13-13227   CHAMPP'S / RESTON        LINDA COSTNER        AC BEVERAGE INC             SERVICE AGREEMENT        CO2 SERVICE AGREEMENT                                     -    65207         2/1/2006                                    1993-7 MORELAND PKWY                                                          ANNAPOLIS     MD           21401                                                6918
                                                                                                                                                                                                                                                                2/1/08    KLEINRICHERT                                                                                                                                                                         691865207
                                                                                                                                                                                                                                                             M/M AFTER    ANN
          523 NO COPY              65209          13-13227   CHAMPP'S                 LINDA COSTNER        AC BEVERAGE INC             SERVICE AGREEMENT        CO2 SERVICE AGREEMENT                                 240.00 65209          10/4/2004                                    1993-7 MORELAND PKWY                                                          ANNAPOLIS     MD           21401                                                6918
                                                                                                                                                                                                                                                               10/4/06    KLEINRICHERT                                                                                                                                                                         691865209
                                                                                                                                                                                                                                                             M/M AFTER    ANN
          524 NO COPY              65212          13-13227   CHAMPPS SPORTS BAR       LINDA COSTNER        AC BEVERAGE INC             SERVICE AGREEMENT        CO2 SERVICE AGREEMENT                                 240.00 65212          5/15/2005                                    1993-7 MORELAND PKWY                                                          ANNAPOLIS     MD           21401                                                6918
                                                                                                                                                                                                                                                               5/15/07    KLEINRICHERT                                                                                                                                                                         691865212
                                                                                                                                                                                                                                                             M/M AFTER    ANN
          525 NO COPY              65215          13-13227   CHAMPPS SPORTS BAR       LINDA COSTNER        AC BEVERAGE INC             SERVICE AGREEMENT        CO2 SERVICE AGREEMENT                                 300.00 65215         10/15/2005                                    1993-7 MORELAND PKWY                                                          ANNAPOLIS     MD           21401                                                6918
                                                                                                                                                                                                                                                              10/15/07    KLEINRICHERT                                                                                                                                                                         691865215
                                                                                                                                                                                                                                                             M/M AFTER    ANN
          526 NO COPY              65218          13-13227   CHAMPPS SPORTS BAR       LINDA COSTNER        AC BEVERAGE INC             SERVICE AGREEMENT        CO2 SERVICE AGREEMENT                                 360.00 65218          5/15/2005                                    1993-7 MORELAND PKWY                                                          ANNAPOLIS     MD           21401                                                6918
                                                                                                                                                                                                                                                               5/15/07    KLEINRICHERT                                                                                                                                                                         691865218
                                                                                                                                                                                                                                                             M/M AFTER    ANN
          527 NO COPY              65222          13-13227   CHAMPP'S                 LINDA COSTNER        AC BEVERAGE INC             SERVICE AGREEMENT        CO2 SERVICE AGREEMENT                                 300.00 65222         10/15/2007                                    1993-7 MORELAND PKWY                                                          ANNAPOLIS     MD           21401                                                6918
                                                                                                                                                                                                                                                              10/15/09    KLEINRICHERT                                                                                                                                                                         691865222
                                                                                                                                                                                                                                                             M/M AFTER    ANN
          528 NO COPY              65224          13-13227   CHAMPPS SPORTS BAR       LINDA COSTNER        AC BEVERAGE INC             SERVICE AGREEMENT        CO2 SERVICE AGREEMENT                                 150.00 65224          12/1/2006                                    1993-7 MORELAND PKWY                                                          ANNAPOLIS     MD           21401                                                6918
                                                                                                                                                                                                                                                               12/1/08    KLEINRICHERT                                                                                                                                                                         691865224
                                                                                                                                                                                                                                                             M/M AFTER    ANN
          529 NO COPY              65225          13-13227   CHAMPP'S                 LINDA COSTNER        AC BEVERAGE INC             SERVICE AGREEMENT        CO2 SERVICE AGREEMENT                                 300.00 65225         12/15/2006                                    1993-7 MORELAND PKWY                                                          ANNAPOLIS     MD           21401                                                6918
                                                                                                                                                                                                                                                              12/15/08    KLEINRICHERT                                                                                                                                                                         691865225
                                                                                                                                                                                                                                                             M/M AFTER    ANN
          530 NO COPY              65226          13-13227   CHAMPP'S                 LINDA COSTNER        AC BEVERAGE INC             SERVICE AGREEMENT        CO2 SERVICE AGREEMENT                                 315.00 65226          6/20/2004                                    1993-7 MORELAND PKWY                                                          ANNAPOLIS     MD           21401                                                6918
                                                                                                                                                                                                                                                               6/20/08    KLEINRICHERT                                                                                                                                                                         691865226
                                                                                                                                                                                                                                                             M/M AFTER    ANN
          531 NO COPY              65226          13-13227   CHAMPP'S                 LINDA COSTNER        AC BEVERAGE INC             SERVICE AGREEMENT        CO2 SERVICE AGREEMENT                                     -    65226       12/15/2006                                    1993-7 MORELAND PKWY                                                          ANNAPOLIS     MD           21401                                                6918
                                                                                                                                                                                                                                                              12/15/08    KLEINRICHERT                                                                                                                                                                         691865226
                                                                                                                                                                                                                                                             M/M AFTER    ANN
          532 NO COPY              65229          13-13227   CHAMPP'S UTICA           LINDA COSTNER        AC BEVERAGE INC             SERVICE AGREEMENT        CO2 SERVICE AGREEMENT                                 300.00 65229          7/15/2008                                    1993-7 MORELAND PKWY                                                          ANNAPOLIS     MD           21401                                                6918
                                                                                                                                                                                                                                                               7/15/10    KLEINRICHERT                                                                                                                                                                         691865229
                                                                                                                                                                                                                                                             M/M AFTER    ANN
          533 NO COPY              65231          13-13227   CHAMPP'S                 LINDA COSTNER        AC BEVERAGE INC             SERVICE AGREEMENT        CO2 SERVICE AGREEMENT                                 254.40 65231          9/15/2005                                    1993-7 MORELAND PKWY                                                          ANNAPOLIS     MD           21401                                                6918
                                                                                                                                                                                                                                                               9/15/07    KLEINRICHERT                                                                                                                                                                         691865231
                                                                                                                                                                                                                                                             M/M AFTER    ANN
          534 NO COPY              65233          13-13227   CHAMPP'S / NC            LINDA COSTNER        AC BEVERAGE INC             SERVICE AGREEMENT        CO2 SERVICE AGREEMENT                                 733.34 65233           6/1/2006                                    1993-7 MORELAND PKWY                                                          ANNAPOLIS     MD           21401                                                6918
                                                                                                                                                                                                                                                                6/1/08    KLEINRICHERT                                                                                                                                                                         691865233
                                                                                                                                                                                                                                                             M/M AFTER    ANN
          535 NO COPY              65235          13-13227   CHAMPP'S                 LINDA COSTNER        AC BEVERAGE INC             SERVICE AGREEMENT        CO2 SERVICE AGREEMENT                                 260.00 65235           5/1/2006                                    1993-7 MORELAND PKWY                                                          ANNAPOLIS     MD           21401                                                6918
                                                                                                                                                                                                                                                                5/1/08    KLEINRICHERT                                                                                                                                                                         691865235
                                                                                                                                                                                                                                                             M/M AFTER    ANN
          536 NO COPY              65237          13-13227   CHAMPP'S SPORTS BAR      LINDA COSTNER        AC BEVERAGE INC             SERVICE AGREEMENT        CO2 SERVICE AGREEMENT                                     -    65237        6/15/2006                                    1993-7 MORELAND PKWY                                                          ANNAPOLIS     MD           21401                                                6918
                                                                                                                                                                                                                                                               6/15/08    KLEINRICHERT                                                                                                                                                                         691865237
                                                                                                                                                                                                                                                             M/M AFTER    ANN
          537 NO COPY              65238          13-13227   CHAMPP'S SPORTS BAR      LINDA COSTNER        AC BEVERAGE INC             SERVICE AGREEMENT        CO2 SERVICE AGREEMENT                                 260.00 65238           5/1/2006                                    1993-7 MORELAND PKWY                                                          ANNAPOLIS     MD           21401                                                6918
                                                                                                                                                                                                                                                                5/1/08    KLEINRICHERT                                                                                                                                                                         691865238
                                                                                                                                                                                                                                                             M/M AFTER    ANN
          538 NO COPY              65240          13-13227   CHAMPP'S                 LINDA COSTNER        AC BEVERAGE INC             SERVICE AGREEMENT        CO2 SERVICE AGREEMENT                                     -    65240         6/1/2005                                    1993-7 MORELAND PKWY                                                          ANNAPOLIS     MD           21401                                                6918
                                                                                                                                                                                                                                                                6/1/07    KLEINRICHERT                                                                                                                                                                         691865240
                                                                                                                                                                                                                                                             M/M AFTER    ANN
          539 NO COPY              65241          13-13227   CHAMPP'S                 LINDA COSTNER        AC BEVERAGE INC             SERVICE AGREEMENT        CO2 SERVICE AGREEMENT                                 315.00 65241          4/15/2004                                    1993-7 MORELAND PKWY                                                          ANNAPOLIS     MD           21401                                                6918
                                                                                                                                                                                                                                                               4/15/06    KLEINRICHERT                                                                                                                                                                         691865241
                                                                                                                                                                                                                                                             M/M AFTER    ANN
          540 NO COPY              65244          13-13227   CHAMPP'S                 LINDA COSTNER        AC BEVERAGE INC             SERVICE AGREEMENT        CO2 SERVICE AGREEMENT                                 900.00 65244         11/15/2008                                    1993-7 MORELAND PKWY                                                          ANNAPOLIS     MD           21401                                                6918
                                                                                                                                                                                                                                                              11/15/10    KLEINRICHERT                                                                                                                                                                         691865244
                                                             TENT RESTAURANT                                                                                    NITROGEN GENERATOR
          541 NO COPY              65066          13-13259                            LINDA COSTNER        AC BEVERAGE INC             SERVICE AGREEMENT                                                             1,240.00 65066         12/7/2011          1/4/2014                  1993-7 MORELAND PARKWAY                                                       ANNAPOLIS     MD           21401                                                6918
                                                             OPERATIONS,INC                                                                                     AGREEMENT                                                                                                                                                                                                                                                                                      691865066
                                                                                                                                                                                                                                                                                                                            COMMUNITY
                                                             TENT RESTAURANT
          542 NO COPY              65002          13-13259                            LINDA COSTNER        ACFN                        SERVICE AGREEMENT        ATM AGREEMENT                                             -    65002        6/29/2012         6/29/2015 JIM DILTZ        111 S SAINT JOHN STREET            TOWERS, SIXTH                              SAN JOSE      CA           95113
                                                             OPERATIONS, INC
                                                                                                                                                                                                                                                                                                                            FLOOR                                                                                                                                     65002
                                                                                                                                                                                                                                                                                                                            COMMUNITY
                                                             F & H RESTAURANTS OF
          543 NO COPY              65005          13-13248                            LINDA COSTNER        ACFN                        SERVICE AGREEMENT        ATM AGREEMENT                                             -    65005       10/12/2012        10/12/2015                  111 S SAINT JOHN STREET            TOWERS, SIXTH                              SAN JOSE      CA           95113
                                                             TEXAS, INC
                                                                                                                                                                                                                                                                                                                            FLOOR                                                                                                                                     65005




2491306-3                                                                                                                                                                                                                                      2.4(m) - 14
                                                                                                                                                                             Case 13-13220-KG                     Doc 506-1                               Filed 03/17/14                                          Page 309 of 362

     ID        Epiq Contract No   Store Number       Case             Debtor            Responsible Person     Contract Counter Party         Type of Contract        Description of Contract   Assume   Reject   Cure Amount Contract NoDate of Contract
                                                                                                                                                                                                                                                       Termination Date       Attention                    Address 1       Address 2   Address 3   Address 4        City         State       Zip   Country   Email   Phone   Fax      Vendor        A/P code
                                                                                                                                                                                                                                                                                                                       COMMUNITY
                                                            TENT RESTAURANT
          544 NO COPY             65007          13-13259                               LINDA COSTNER        ACFN                       SERVICE AGREEMENT        ATM AGREEMENT                                             -    65007         5/25/2012         5/25/2015 JENNIFER HICKS 111 S SAINT JOHN STREET       TOWERS, SIXTH                           SAN JOSE     CA           95113
                                                            OPERATIONS, INC
                                                                                                                                                                                                                                                                                                                       FLOOR                                                                                                                            65007
                                                                                                                                                                                                                                                                                                                       COMMUNITY
                                                            TENT RESTAURANT
          545 NO COPY             65013          13-13259                               LINDA COSTNER        ACFN                       SERVICE AGREEMENT        ATM AGREEMENT                                             -    65013        12/20/2011        12/20/2014 JIM DILTZ       111 S SAINT JOHN STREET      TOWERS, SIXTH                           SAN JOSE     CA           95113
                                                            OPERATIONS, INC
                                                                                                                                                                                                                                                                                                                       FLOOR                                                                                                                            65013
                                                                                                                                                                                                                                                                                                                       COMMUNITY
                                                            F & H RESTAURANTS OF
          546 NO COPY             65022          13-13248                               LINDA COSTNER        ACFN                       SERVICE AGREEMENT        ATM AGREEMENT                                             -    65022         4/18/2012         4/18/2015 JIM DILTZ       111 S SAINT JOHN STREET      TOWERS, SIXTH                           SAN JOSE     CA           95113
                                                            TEXAS, INC
                                                                                                                                                                                                                                                                                                                       FLOOR                                                                                                                            65022
                                                                                                                                                                                                                                                                                                                       COMMUNITY
                                                            F & H RESTAURANTS OF
          547 NO COPY             65025          13-13248                               LINDA COSTNER        ACFN                       SERVICE AGREEMENT        ATM AGREEMENT                                             -    65025        10/12/2012        10/12/2015                 111 S SAINT JOHN STREET      TOWERS, SIXTH                           SAN JOSE     CA           95113
                                                            TEXAS, INC
                                                                                                                                                                                                                                                                                                                       FLOOR                                                                                                                            65025
                                                                                                                                                                                                                                                                                                                       COMMUNITY
                                                            TENT RESTAURANT
          548 NO COPY             65028          13-13259                               LINDA COSTNER        ACFN                       SERVICE AGREEMENT        ATM AGREEMENT                                             -    65028        12/20/2011        12/20/2014 JIM DILTZ       111 S SAINT JOHN STREET      TOWERS, SIXTH                           SAN JOSE     CA           95113
                                                            OPERATIONS, INC
                                                                                                                                                                                                                                                                                                                       FLOOR                                                                                                                            65028
                                                                                                                                                                                                                                                                                                                       COMMUNITY
                                                            F & H RESTAURANTS OF
          549 NO COPY             65036          13-13248                               LINDA COSTNER        ACFN                       SERVICE AGREEMENT        ATM AGREEMENT                                             -    65036        10/12/2012        10/12/2015                 111 S SAINT JOHN STREET      TOWERS, SIXTH                           SAN JOSE     CA           95113
                                                            TEXAS, INC
                                                                                                                                                                                                                                                                                                                       FLOOR                                                                                                                            65036
                                                                                                                                                                                                                                                                                                                       COMMUNITY
                                                            TENT RESTAURANT
          550 NO COPY             65038          13-13259                               LINDA COSTNER        ACFN                       SERVICE AGREEMENT        ATM AGREEMENT                                             -    65038         7/10/2013         7/10/2016 JIM DILTZ       111 S SAINT JOHN STREET      TOWERS, SIXTH                           SAN JOSE     CA           95113
                                                            OPERATIONS, INC
                                                                                                                                                                                                                                                                                                                       FLOOR                                                                                                                            65038
                                                                                                                                                                                                                                                                                                                       COMMUNITY
                                                            TENT RESTAURANT
          551 NO COPY             65041          13-13259                               LINDA COSTNER        ACFN                       SERVICE AGREEMENT        ATM AGREEMENT                                             -    65041         4/18/2012         4/18/2015 BOB LEDESMA     111 S SAINT JOHN STREET      TOWERS, SIXTH                           SAN JOSE     CA           95113
                                                            OPERATIONS, INC
                                                                                                                                                                                                                                                                                                                       FLOOR                                                                                                                            65041
                                                                                                                                                                                                                                                                                                                       COMMUNITY
                                                            F & H RESTAURANTS OF
          552 NO COPY             65043          13-13248                               LINDA COSTNER        ACFN                       SERVICE AGREEMENT        ATM AGREEMENT                                             -    65043         9/23/2013         9/23/2016 RANDY MCCALL 111 S SAINT JOHN STREET         TOWERS, SIXTH                           SAN JOSE     CA           95113
                                                            TEXAS, INC
                                                                                                                                                                                                                                                                                                                       FLOOR                                                                                                                            65043
                                                                                                                                                                                                                                                                                                                       COMMUNITY
                                                            TENT RESTAURANT
          553 NO COPY             65045          13-13259                               LINDA COSTNER        ACFN                       SERVICE AGREEMENT        ATM AGREEMENT                                             -    65045         6/28/2012         6/25/2015 JIM DILTZ       111 S SAINT JOHN STREET      TOWERS, SIXTH                           SAN JOSE     CA           95113
                                                            OPERATIONS, INC
                                                                                                                                                                                                                                                                                                                       FLOOR                                                                                                                            65045
                                                                                                                                                                                                                                                                                                                       COMMUNITY
                                                            F & H RESTAURANTS OF
          554 NO COPY             65052          13-13248                               LINDA COSTNER        ACFN                       SERVICE AGREEMENT        ATM AGREEMENT                                             -    65052         2/21/2013         2/21/2016 JIM DILTZ       111 S SAINT JOHN STREET      TOWERS, SIXTH                           SAN JOSE     CA           95113
                                                            TEXAS, INC
                                                                                                                                                                                                                                                                                                                       FLOOR                                                                                                                            65052
                                                                                                                                                                                                                                                                                                                       COMMUNITY
                                                            F & H RESTAURANTS OF
          555 NO COPY             65056          13-13248                               LINDA COSTNER        ACFN                       SERVICE AGREEMENT        ATM AGREEMENT                                             -    65056         2/21/2013         2/21/2016 JIM DILTZ       111 S SAINT JOHN STREET      TOWERS, SIXTH                           SAN JOSE     CA           95113
                                                            TEXAS, INC
                                                                                                                                                                                                                                                                                                                       FLOOR                                                                                                                            65056
                                                                                                                                                                                                                                                                                                                       COMMUNITY
                                                            FOX & HOUND OF ARIZONA,
          556 NO COPY             65057          13-13234                               LINDA COSTNER        ACFN                       SERVICE AGREEMENT        ATM AGREEMENT                                             -    65057        10/26/2012        10/26/2015                 111 S SAINT JOHN STREET      TOWERS, SIXTH                           SAN JOSE     CA           95113
                                                            INC
                                                                                                                                                                                                                                                                                                                       FLOOR                                                                                                                            65057
                                                                                                                                                                                                                                                                                                                       COMMUNITY
                                                            TENT RESTAURANT
          557 NO COPY             65086          13-13259                               LINDA COSTNER        ACFN                       SERVICE AGREEMENT        ATM AGREEMENT                                             -    65086          5/8/2013          5/8/2016                 111 S SAINT JOHN STREET      TOWERS, SIXTH                           SAN JOSE     CA           95113
                                                            OPERATIONS, INC
                                                                                                                                                                                                                                                                                                                       FLOOR                                                                                                                            65086
                                                                                                                                                                                                                                                                                                                       COMMUNITY
                                                            F & H RESTAURANTS OF
          558 NO COPY             65094          13-13248                               LINDA COSTNER        ACFN                       SERVICE AGREEMENT        ATM AGREEMENT                                             -    65094        10/12/2012        10/12/2015                 111 S SAINT JOHN STREET      TOWERS, SIXTH                           SAN JOSE     CA           95113
                                                            TEXAS, INC
                                                                                                                                                                                                                                                                                                                       FLOOR                                                                                                                            65094
                                                            FOX & HOUND ENGLISH PUB                          ADMIRAL LINEN & UNIFORM
          559 NO COPY             65036          13-13233                               LINDA COSTNER                                SERVICE AGREEMENT           LINEN SERVICES AGREEMENT                              359.55 65036           4/18/2001         4/19/2016                 2030 KIPLING                                                         HOUSTON      TX           77098                                               113
                                                            & GRILLE                                         SERVICE INC                                                                                                                                                                                                                                                                                                                             11365036
                                                            F&H RESTAURANTS OF TEXAS,                        ADMIRAL LINEN & UNIFORM
          560 NO COPY             65056          13-13248                               LINDA COSTNER                                SERVICE AGREEMENT           LINEN SERVICES AGREEMENT                             1,508.98 65056         11/13/2003        11/13/2013                 2030 KIPLING                                                         HOUSTON      TX           77098                                               113
                                                            INC                                              SERVICE INC                                                                                                                                                                                                                                                                                                                             11365056
                                                            FOX & HOUND/TOTAL                                                                                                                                                                                  M/M AFTER
          561 NO COPY             65050          13-13234                               LINDA COSTNER        ADVANCED ATM SYSTEMS       SERVICE AGREEMENT        ATM AGREEMENT                                             -    65050          5/7/2004                                   8950 SOUTH 52ND STREET       SUITE 303                               TEMPE        AZ           85284
                                                            ENTERTAINMENT                                                                                                                                                                                         5/7/09                                                                                                                                                                                65050
                                                            FOX & HOUND
                                                                                                                                                                                                                                                               M/M AFTER
          562 NO COPY             65063          13-13249   RESTAURANT/TOTAL            LINDA COSTNER        ADVANCED ATM SYSTEMS       SERVICE AGREEMENT        ATM AGREEMENT                                             -    65063          3/2/2004                                   8950 SOUTH 52ND STREET       SUITE 303                               TEMPE        AZ           85284
                                                                                                                                                                                                                                                                  3/2/09
                                                            ENTERTAINMENT INC                                                                                                                                                                                                                                                                                                                                                                           65063
                                                            FOX & HOUND
                                                                                                                                                                                                                                                               M/M AFTER
          563 NO COPY             65069          13-13249   RESTAURANT/TOTAL            LINDA COSTNER        ADVANCED ATM SYSTEMS       SERVICE AGREEMENT        ATM AGREEMENT                                             -    65069          3/2/2004                                   8950 SOUTH 52ND STREET       SUITE 303                               TEMPE        AZ           85284
                                                                                                                                                                                                                                                                  3/2/09
                                                            ENTERTAINMENT INC                                                                                                                                                                                                                                                                                                                                                                           65069
                                                            NORTH CAROLINA FOX &                                                                                                                                                                               M/M AFTER
          564 NO COPY             65071          13-13259                               LINDA COSTNER        ADVANCED ATM SYSTEMS       SERVICE AGREEMENT        ATM AGREEMENT                                             -    65071         6/30/2004                                   8950 SOUTH 52ND STREET       SUITE 303                               TEMPE        AZ           85284
                                                            HOUND, INC                                                                                                                                                                                           6/30/09                                                                                                                                                                                65071
                                                            FOX & HOUND OF INDIANA,                          ADVANTAGE WATER                                     WATER CONDITIONER RENTAL                                                                      M/M AFTER
          565 NO COPY             65035          13-13237                               LINDA COSTNER                                   SERVICE AGREEMENT                                                               97.89                 2/12/2003                                   5348 VICTORY DR STE B                                                INDIANAPOLIS IN           46203                                              6319
                                                            INC                                              CONDITIONING INC                                    AGREEMENT                                                                                       2/12/04                                                                                                                                                                            631965035
                                                                                                             ADVANTAGE WATER                                     WATER CONDITIONER RENTAL                                                                      M/M AFTER
          566 NO COPY             65079          13-13250   FOX & HOUND                 LINDA COSTNER                                   SERVICE AGREEMENT                                                              139.10                 3/29/2005                  DONNA            5348 VICTORY DR STE B                                                INDIANAPOLIS IN           46203                                              6319
                                                                                                             CONDITIONING INC                                    AGREEMENT                                                                                       3/29/06                                                                                                                                                                            631965079
                                                            CHAMPPS OPERATING                                                                                                                                                                                  M/M AFTER                                                                                       POMPANO
          567 NO COPY             65213          13-13227                               LINDA COSTNER        ALSCO INC                  SERVICE AGREEMENT        LINEN SERVICES AGREEMENT                             2,721.15 65213          3/16/2011                                   2631 NW 17TH LN                                                                   FL           33064                                             33614
                                                            CORPORATION                                                                                                                                                                                          3/16/12                                                                                       BEACH                                                                               3361465213
                                                            CHAMPPS OPERATING
          568 NO COPY             65238          13-13227                               LINDA COSTNER        ALSCO INC                  SERVICE AGREEMENT        LINEN SERVICES AGREEMENT                                  -    65238          8/2/2012          8/2/2014                 3301 HILLSBOROUGH ST                                                 RALEIGH      NC           27607
                                                            CORPORATION                                                                                                                                                                                                                                                                                                                                                                                 65238
                                                            CHAMPPS OPERATING                                                                                                                                                                                  M/M AFTER
          569 NO COPY             65233          13-13227                               LINDA COSTNER        ALSCO INC                  SERVICE AGREEMENT        LINEN SERVICES AGREEMENT                                  -    65233          6/2/2004                                   P.O. BOX 3594                                                        DURHAM       NC           27702
                                                            CORPORATION                                                                                                                                                                                           6/2/10                                                                                                                                                                                65233
                                                                                                             AMERIPRIDE LINEN &
          570 NO COPY             65084          13-13222   ALABAMA FOX & HOUND, INC LINDA COSTNER                                      SERVICE AGREEMENT        LINEN SERVICES AGREEMENT                                  -    65084         1/21/2010         1/21/2015                 805 N HOOK ST                                                        TUSCUMBIA    AL           35674                                     09110
                                                                                                             APPAREL INC                                                                                                                                                                                                                                                                                                                            911065084
                                                            TENT RESTAURANT                                  ANDERSON PROPANE                                                                                                                                  M/M AFTER MARK                                                                                  FREDERICKSBU
          571 NO COPY             65086          13-13259                               LINDA COSTNER                                   SERVICE AGREEMENT        PROPANE SERVICE AGREEMENT                                 -                  4/29/2005                                   11905 TIDEWATER TRAIL                                                             VA           22408                                              9759
                                                            OPERATIONS, INC                                  SERVICE INC                                                                                                                                          4/29/10 ANDERSON                                                                             RG                                                                                   975965086
                                                            FOX & HOUND OF ILLINOIS,                         ARAMARK UNIFORM                                                                                                                                              DANNY
          572 NO COPY             65055          13-13236                               LINDA COSTNER                                   SERVICE AGREEMENT        LINEN SERVICES AGREEMENT                              469.97 65055           7/15/2013         7/15/2015                 25259 NETWORK PL                                                     CHICAGO      IL           60673                                     08997
                                                            INC                                              SERVICES                                                                                                                                                     ESTRADA                                                                                                                                                                   899765055
                                                            FOX & HOUND OF ILLINOIS,                         ARAMARK UNIFORM                                                                                                                                              DANNY
          573 NO COPY             65060          13-13236                               LINDA COSTNER                                   SERVICE AGREEMENT        LINEN SERVICES AGREEMENT                              407.78 65060            4/3/2013          4/3/2014                 25259 NETWORK PL                                                     CHICAGO      IL           60673                                     08997
                                                            INC                                              SERVICES                                                                                                                                                     ESTRADA                                                                                                                                                                   899765060
                                                            FOX & HOUND OF ILLINOIS,                         ARAMARK UNIFORM
          574 NO COPY             65016          13-13236                               LINDA COSTNER                                   SERVICE AGREEMENT        LINEN SERVICES AGREEMENT                              350.08 65016           5/17/2011         5/17/2016                 25259 NETWORK PL                                                     CHICAGO      IL           60673                                     08997
                                                            INC                                              SERVICES                                                                                                                                                                                                                                                                                                                               899765016
                                                            FOX & HOUND OF                                   ARAMARK UNIFORM                                                                                                                                                DANNY
          575 NO COPY             65064          13-13247                               LINDA COSTNER                                   SERVICE AGREEMENT        LINEN SERVICES AGREEMENT                              432.51 65064            7/1/2013          7/1/2015                 2821 ROBERTSON RD                                                    TYLER        TX           75701                                             36591
                                                            OKLAHOMA, INC                                    SERVICES                                                                                                                                                       ESTRADA                                                                                                                                                                3659165064
                                                            FOX & HOUND OF NEBRASKA,                         ARAMARK UNIFORM                                                                                                                                                DANNY                                      26667 NETWORK
          576 NO COPY             65015          13-13243                               LINDA COSTNER                                   SERVICE AGREEMENT        LINEN SERVICES AGREEMENT                              351.76 65015            7/1/2013          7/1/2015                 AUS DES MOINES MC LOCKBOX                                            CHICAGO      IL           60673                                     33676
                                                            INC                                              SERVICES                                                                                                                                                       ESTRADA                                    PLACE                                                                                                                       3367665015
                                                            FOX & HOUND OF ARIZONA,                          ARAMARK UNIFORM                                                                                                                                                DANNY
          577 NO COPY             65050          13-13234                               LINDA COSTNER                                   SERVICE AGREEMENT        LINEN SERVICES AGREEMENT                               38.70 65050            7/1/2013          7/1/2015                 P.O. BOX 101362                                                      PASADENA     CA           91189                                     33572
                                                            INC                                              SERVICES                                                                                                                                                       ESTRADA                                                                                                                                                                3357265050
                                                            FOX & HOUND OF ARIZONA,                          ARAMARK UNIFORM                                                                                                                                                DANNY
          578 NO COPY             65057          13-13234                               LINDA COSTNER                                   SERVICE AGREEMENT        LINEN SERVICES AGREEMENT                              358.16 65057            7/1/2013          7/1/2015                 P.O. BOX 101362                                                      PASADENA     CA           91189                                     33572
                                                            INC                                              SERVICES                                                                                                                                                       ESTRADA                                                                                                                                                                3357265057
                                                            FOX & HOUND OF ARIZONA,                          ARAMARK UNIFORM                                                                                                                                                DANNY
          579 NO COPY             65068          13-13234                               LINDA COSTNER                                   SERVICE AGREEMENT        LINEN SERVICES AGREEMENT                                  -    65068          7/1/2013          7/1/2015                 P.O. BOX 101362                                                      PASADENA     CA           91189                                     33572
                                                            INC                                              SERVICES                                                                                                                                                       ESTRADA                                                                                                                                                                3357265068
                                                            FOX & HOUND OF KANSAS,                           ARAMARK UNIFORM                                                                                                                                                DANNY
          580 NO COPY             65029          13-13238                               LINDA COSTNER                                   SERVICE AGREEMENT        LINEN SERVICES AGREEMENT                                  -    65029          7/1/2013          7/1/2015                 P.O. BOX 60445                                                       ST LOUIS     MO           63160
                                                            INC                                              SERVICES                                                                                                                                                       ESTRADA                                                                                                                                                                     65029
                                                            FOX & HOUND OF KANSAS,                           ARAMARK UNIFORM                                                                                                                                                DANNY
          581 NO COPY             65069          13-13238                               LINDA COSTNER                                   SERVICE AGREEMENT        LINEN SERVICES AGREEMENT                                  -    65069         2/25/2013         2/25/2014                 P.O. BOX 60445                                                       ST LOUIS     MO           63160
                                                            INC                                              SERVICES                                                                                                                                                       ESTRADA                                                                                                                                                                     65069
                                                            FOX & HOUND OF LOUISIANA,                        ARAMARK UNIFORM                                                                                                                                                DANNY
          582 NO COPY             65032          13-13241                               LINDA COSTNER                                   SERVICE AGREEMENT        LINEN SERVICES AGREEMENT                               43.91 65032           4/23/2013         4/23/2014                 P.O. BOX 650838                                                      DALLAS       TX           75265                                     33724
                                                            INC                                              SERVICES                                                                                                                                                       ESTRADA                                                                                                                                                                3372465032
                                                            FOX & HOUND OF                                   ARAMARK UNIFORM                                                                                                                                                DANNY
          583 NO COPY             65075          13-13247                               LINDA COSTNER                                   SERVICE AGREEMENT        LINEN SERVICES AGREEMENT                              402.72 65075            7/1/2013          7/1/2014                 P.O. BOX 660452                                                      INDIANAPOLIS IN           46266                                     36591
                                                            OKLAHOMA, INC                                    SERVICES                                                                                                                                                       ESTRADA                                                                                                                                                                3659165075
                                                            FOX & HOUND OF INDIANA,                          ARAMARK UNIFORM                                                                                                                                                DANNY
          584 NO COPY             65079          13-13237                               LINDA COSTNER                                   SERVICE AGREEMENT        LINEN SERVICES AGREEMENT                              234.01 65079            4/3/2013          4/3/2014                 P.O. BOX 660452                                                      INDIANAPOLIS IN           46266                                     31818
                                                            INC                                              SERVICES                                                                                                                                                       ESTRADA                                                                                                                                                                3181865079
                                                            FOX & HOUND OF                                   ARAMARK UNIFORM                                                                                                                                                DANNY
          585 NO COPY             65049          13-13235                               LINDA COSTNER                                   SERVICE AGREEMENT        LINEN SERVICES AGREEMENT                              204.68 65049            7/1/2013          7/1/2015                 P.O. BOX 731288                                                      DALLAS       TX           75373                                     33697
                                                            COLORADO, INC                                    SERVICES                                                                                                                                                       ESTRADA                                                                                                                                                                3369765049
                                                            FOX & HOUND OF                                   ARAMARK UNIFORM                                                                                                                                                DANNY
          586 NO COPY             65059          13-13235                               LINDA COSTNER                                   SERVICE AGREEMENT        LINEN SERVICES AGREEMENT                              603.84 65059            7/1/2013          7/1/2015                 P.O. BOX 731288                                                      DALLAS       TX           75373                                     33697
                                                            COLORADO, INC                                    SERVICES                                                                                                                                                       ESTRADA                                                                                                                                                                3369765059
                                                            FOX & HOUND OF                                   ARAMARK UNIFORM                                                                                                                                                DANNY
          587 NO COPY             65092          13-13235                               LINDA COSTNER                                   SERVICE AGREEMENT        LINEN SERVICES AGREEMENT                              488.67 65092            7/1/2013          7/1/2015                 P.O. BOX 731288                                                      DALLAS       TX           75373                                     33697
                                                            COLORADO, INC                                    SERVICES                                                                                                                                                       ESTRADA                                                                                                                                                                3369765092




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                                                                                                                                                                                  Case 13-13220-KG                     Doc 506-1                              Filed 03/17/14                                          Page 310 of 362

     ID        Epiq Contract No   Store Number       Case             Debtor             Responsible Person      Contract Counter Party         Type of Contract           Description of Contract   Assume   Reject   Cure Amount Contract NoDate of Contract
                                                                                                                                                                                                                                                            Termination Date Attention                         Address 1         Address 2   Address 3   Address 4        City          State          Zip   Country   Email   Phone   Fax      Vendor        A/P code
                                                            CHAMPPS OPERATING                                 ARAMARK UNIFORM                                                                                                                                               DANNY
          588 NO COPY             65219          13-13227                                LINDA COSTNER                                    SERVICE AGREEMENT           LINEN SERVICES AGREEMENT                             4,686.65 65219         2/10/2012      2/10/2014                    P.O. BOX 731676                                                        DALLAS        TX           75373                                        34907
                                                            CORPORATION                                       SERVICES                                                                                                                                                      ESTRADA                                                                                                                                                                          3490765219
                                                            F&H RESTAURANTS OF TEXAS,                         ARAMARK UNIFORM                                                                                                                                               DANNY
          589 NO COPY             65043          13-13248                                LINDA COSTNER                                    SERVICE AGREEMENT           LINEN SERVICES AGREEMENT                               369.95 65043         4/24/2013      4/24/2014                    P.O. BOX 731676                                                        DALLAS        TX           75373                                        34907
                                                            INC                                               SERVICES                                                                                                                                                      ESTRADA                                                                                                                                                                          3490765043
                                                            WINSTON-SALEM FOX &                               ARAMARK UNIFORM                                                                                                                                               DANNY
          590 NO COPY             65034          13-13261                                LINDA COSTNER                                    SERVICE AGREEMENT           LINEN SERVICES AGREEMENT                               214.52 65034         7/11/2013      7/12/2015                    P.O. BOX 905810                                                        CHARLOTTE     NC           28290                                        33427
                                                            HOUND, INC                                        SERVICES                                                                                                                                                      ESTRADA                                                                                                                                                                          3342765034
                                                            TENT RESTAURANT                                   ARCET EQUIPMENT                                                                                                                                   M/M AFTER
          591 NO COPY             65051          13-13259                                LINDA COSTNER                                    SERVICE AGREEMENT           CO2 SERVICE AGREEMENT                                  778.36 65051         5/28/2008                                   P.O. BOX 26269                                                         RICHMOND      VA           23260                                                14089
                                                            OPERATIONS,INC                                    COMPANY                                                                                                                                              5/28/13                                                                                                                                                                                   1408965051
                                                                                                              ATLANTA GAS LIGHT                                                                                                                                             RANDY
          592 NO COPY             65044          13-13230   F&H OF KENNESAW, INC         LINDA COSTNER                                    SERVICE AGREEMENT           GAS SERVICE AGREEMENT                                      -                9/20/2001                                   1356 COBB INDUSTRIAL DRIVE                                             MARIETTA      GA           30066
                                                                                                              COMPANY                                                                                                                                                       FLOWERS                                                                                                                                                                               65044
                                                            TENT RESTAURANT                                                                                                                                                                                     M/M AFTER
          593 NO COPY             65070          13-13259                                LINDA COSTNER        ATM OF AMERICA INC          SERVICE AGREEMENT           ATM AGREEMENT                                              - 65070         12/19/2012                                   24911 JOHN R. RD                                                       HAZEL PARK    MI           48030
                                                            OPERATIONS, INC                                                                                                                                                                                        1/19/13                                                                                                                                                                                        65070
          594 NO COPY                            13-13259   TENT RESTAURANT              LINDA COSTNER        B&M AMUSEMENT AND           SERVICE AGREEMENT           ENTERTAINMENT - AMUSEMENT                                 -                 6/28/2013         6/28/2014 JOE BRUNK       5195 COMMERCE CIRCLE                                                   INDIANAPOLIS IN            46237
                                                            OPERATIONS, INC                                   GAMES INC.                                              MACHINES AGREEMENT                                                                                                                                                                                                                                                                      #VALUE!
                                                            TENT RESTAURANT                                                                                                                                                                                                     BRANDON
          595 NO COPY             65077          13-13259                                LINDA COSTNER        CAPITAL GAMES LLC           SERVICE AGREEMENT           ATM AGREEMENT                                             -   65077          9/6/2013          9/5/2014                 5655-6 WESTERN BLVD.                                                   RALEIGH       NC           27606
                                                            OPERATIONS, INC                                                                                                                                                                                                     BARNES                                                                                                                                                                            65077
                                                            FOX & HOUND RESTAURANT
                                                                                                                                                                                                                                                                   M/M AFTER
          596 NO COPY             65003          13-13238   GROUP/TOTAL                  LINDA COSTNER        CASH TECHNOLOGIES           SERVICE AGREEMENT           ATM AGREEMENT                                             -   65003        10/31/2001                                   4025 WOODLAND PARK BLVD                                                ARLINGTON     TX           76013
                                                                                                                                                                                                                                                                    10/31/06
                                                            ENTERTAINMENT
                                                                                                                                                                                                                                                                                                                                                                                                                                                                  65003
                                                            FOX & HOUND RESTAURANT
                                                                                                                                                                                                                                                                   M/M AFTER
          597 NO COPY             65004          13-13238   GROUP/TOTAL                  LINDA COSTNER        CASH TECHNOLOGIES           SERVICE AGREEMENT           ATM AGREEMENT                                             -   65004        10/31/2001                                   4025 WOODLAND PARK BLVD                                                ARLINGTON     TX           76013
                                                                                                                                                                                                                                                                    10/31/06
                                                            ENTERTAINMENT
                                                                                                                                                                                                                                                                                                                                                                                                                                                                  65004
                                                            FOX & HOUND RESTAURANT
                                                                                                                                                                                                                                                                   M/M AFTER
          598 NO COPY             65010          13-13238   GROUP/TOTAL                  LINDA COSTNER        CASH TECHNOLOGIES           SERVICE AGREEMENT           ATM AGREEMENT                                             -   65010        10/31/2001                                   4025 WOODLAND PARK BLVD                                                ARLINGTON     TX           76013
                                                                                                                                                                                                                                                                    10/31/06
                                                            ENTERTAINMENT
                                                                                                                                                                                                                                                                                                                                                                                                                                                                  65010
                                                            FOX & HOUND RESTAURANT
                                                                                                                                                                                                                                                                   M/M AFTER
          599 NO COPY             65042          13-13238   GROUP/TOTAL                  LINDA COSTNER        CASH TECHNOLOGIES           SERVICE AGREEMENT           ATM AGREEMENT                                             -   65042        10/31/2001                                   4025 WOODLAND PARK BLVD                                                ARLINGTON     TX           76013
                                                                                                                                                                                                                                                                    10/31/06
                                                            ENTERTAINMENT
                                                                                                                                                                                                                                                                                                                                                                                                                                                                  65042
                                                            TENT RESTAURANT                                                                                           ENTERTAINMENT - TRIVIA
          600 NO COPY             65009          13-13259                                LINDA COSTNER        CHALLENGE ENTERTAINMENT SERVICE AGREEMENT                                                                         -                 3/11/2013         3/11/2014 BRITT MOCK      P.O. BOX 3720                                                          CORDOVA       TN           38088
                                                            OPERATIONS, INC                                                                                           CONTRACT                                                                                                                                                                                                                                                                                    65009
                                                            FOX & HOUND RESTAURANT
                                                                                                                                                                                                                                                                   M/M AFTER
          601 NO COPY             65023          13-13238   GROUP/TOTAL                  LINDA COSTNER        CHOICE ATM ENTERPRISES      SERVICE AGREEMENT           ATM AGREEMENT                                             -   65023         11/6/2002                                   2000 E LAMAR BLVD             STE 750                                  ARLINGTON     TX           76006
                                                                                                                                                                                                                                                                     11/6/05
                                                            ENTERTAINMENT
                                                                                                                                                                                                                                                                                                                                                                                                                                                                  65023
                                                            FOX & HOUND RESTAURANT
                                                                                                                                                                                                                                                                   M/M AFTER
          602 NO COPY             65029          13-13238   GROUP/TOTAL                  LINDA COSTNER        CHOICE ATM ENTERPRISES      SERVICE AGREEMENT           ATM AGREEMENT                                             -   65029         11/6/2002                                   2000 E LAMAR BLVD             STE 750                                  ARLINGTON     TX           76006
                                                                                                                                                                                                                                                                     11/6/05
                                                            ENTERTAINMENT
                                                                                                                                                                                                                                                                                                                                                                                                                                                                  65029
                                                            FOX & HOUND
                                                                                                                                                                                                                                                                   M/M AFTER
          603 NO COPY             65061          13-13249   RESTAURANT/TOTAL             LINDA COSTNER        CHOICE ATM ENTERPRISES      SERVICE AGREEMENT           ATM AGREEMENT                                             -   65061         11/6/2002                                   2000 E LAMAR BLVD             STE 750                                  ARLINGTON     TX           76006
                                                                                                                                                                                                                                                                     11/6/05
                                                            ENTERTAINMENT INC                                                                                                                                                                                                                                                                                                                                                                                     65061
                                                            TENT RESTAURANT                                                                                                                                                                                        M/M AFTER
          604 NO COPY             65067          13-13259                                LINDA COSTNER        CHOICE ATM ENTERPRISES      SERVICE AGREEMENT           ATM AGREEMENT                                             -   65067          6/9/2010                                   2000 E LAMAR BLVD             SUITE 750                                ARLINGTON     TX           76006
                                                            OPERATIONS, INC                                                                                                                                                                                           6/9/11                                                                                                                                                                                      65067
                                                            CHAMPPS OPERATING
          605 NO COPY             65210          13-13227                                LINDA COSTNER        CINTAS CORPORATION          SERVICE AGREEMENT           LINEN SERVICES AGREEMENT                              623.30 65210           8/1/2013          8/1/2015 ALEX WYSOCKI    800 RENAISSANCE PARKWAY                                                PAINESVILLE   OH           44077                                        07308
                                                            CORPORATION                                                                                                                                                                                                                                                                                                                                                                                       730865210
                                                            CHAMPPS OPERATING
          606 NO COPY             65237          13-13227                                LINDA COSTNER        CINTAS CORPORATION          SERVICE AGREEMENT           LINEN SERVICES AGREEMENT                             1,421.09 65237         7/17/2013         7/17/2015                 P.O. BOX 630910                                                        CINCINNATI    OH           45263                                        07308
                                                            CORPORATION                                                                                                                                                                                                                                                                                                                                                                                       730865237
                                                            CHAMPPS OPERATING
          607 NO COPY             65245          13-13227                                LINDA COSTNER        CINTAS CORPORATION          SERVICE AGREEMENT           LINEN SERVICES AGREEMENT                                  -   65245         7/17/2013         7/17/2015                 P.O. BOX 630910                                                        CINCINNATI    OH           45263                                        07308
                                                            CORPORATION                                                                                                                                                                                                                                                                                                                                                                                       730865245
          608 NO COPY             65039          13-13250   FOX & HOUND                  LINDA COSTNER        CINTAS CORPORATION          SERVICE AGREEMENT           LINEN SERVICES AGREEMENT                              349.63 65039         12/14/2010        12/14/2015                 8221 DOW CIRCLE                                                        STRONGVILLE OH             44136                                        05081
                                                                                                                                                                                                                                                                                                                                                                                                                                                              508165039
                                                            TENT RESTAURANT
          609 NO COPY             65041          13-13259                                LINDA COSTNER        CINTAS CORPORATION          SERVICE AGREEMENT           LINEN SERVICES AGREEMENT                             1,091.50 65041        12/18/2012        12/18/2015                 3400 BRILEY PARK BLVD N                                                NASHVILLE     TN           37207                                        04475
                                                            OPERATIONS, INC                                                                                                                                                                                                                                                                                                                                                                                   447565041
                                                            BAILEY'S SMOKEHOUSE &
          610 NO COPY             65044          13-13230                                LINDA COSTNER        CINTAS CORPORATION          SERVICE AGREEMENT           LINEN SERVICES AGREEMENT                              165.97 65044          2/10/2006         2/10/2016                 3600 KENNESAW 75 PARKWAY                                               KENNESAW      GA           30144                                        04950
                                                            TAVERN                                                                                                                                                                                                                                                                                                                                                                                            495065044
                                                            TENT RESTAURANT
          611 NO COPY             65070          13-13259                                LINDA COSTNER        CINTAS CORPORATION          SERVICE AGREEMENT           LINEN SERVICES AGREEMENT                              722.62 65070          1/29/2009         1/29/2014                 5158 QUADRATE DRIVE                                                    MACOMB        MI           48042                                        07737
                                                            OPERATIONS, INC                                                                                                                                                                                                                                                                                                                                                                                   773765070
                                                            FOX & HOUND OF NEW                                                                                                                                                                                                MUNIR
          612 NO COPY             65073          13-13244                                LINDA COSTNER        CINTAS CORPORATION          SERVICE AGREEMENT           LINEN SERVICES AGREEMENT                              984.50 65073           1/9/2006          1/9/2016                 51 NEW ENGLAND AVE                                                     PISCATWAY     NJ           8854                                         02948
                                                            JERSEY, INC                                                                                                                                                                                                       GREGORY                                                                                                                                                                         294865073
                                                            FOX & HOUND OF
          613 NO COPY             65082          13-13242                                LINDA COSTNER        CINTAS CORPORATION          SERVICE AGREEMENT           LINEN SERVICES AGREEMENT                             1,261.06 65082         9/29/2009          9/2/2014                 3951 DARTMOUTH COURT          SUITE 1                                  FREDERICK     MD           21703                                        31650
                                                            MARYLAND, INC                                                                                                                                                                                                                                                                                                                                                                                    3165065082
                                                            FOX & HOUND OF SA DBA FOX                         CITY PUBLIC SERVICE OF SAN                                                                                                                            Y/Y AFTER JUDITY P.
          614 NO COPY             65022          13-13233                             LINDA COSTNER                                      SERVICE AGREEMENT            NATURAL GAS AGREEMENT                                     -                 2/13/2001                                   145 NAVARRO                   PO BOX 1771                              SAN ANTONIO TX             78296-1771
                                                            & HOUND ENGLISH PUB                               ANTONIO, TX                                                                                                                                             2/13/02 ARMIJO
                                                                                                                                                                                                                                                                                                                                                                                                                                                                  65022
                                                            FOX & HOUND OF TENNESSEE,                         COMCAST CABLEVISION OF                                                                                                                        5/10/09 THEN                                                                                             CHATTANOOG
          615 NO COPY             65074          13-13259                             LINDA COSTNER                                       SERVICE AGREEMENT           CABLE SERVICE AGREEMENT                                   -                 5/10/2004              GEOFF SHOOK          2030 E POLYMER DRIVE                                                              TN              67422
                                                            INC                                               THE SOUTH                                                                                                                                     2 YEAR TERMS                                                                                             A
                                                                                                                                                                                                                                                                                                                                                                                                                                                                  65074
                                                            FOX & HOUND OF                                    COMMERCIAL LINEN SUPPLY                                                                                                                                                                                                                                OKLAHOMA
          616 NO COPY             65064          13-13247                                LINDA COSTNER                                SERVICE AGREEMENT               LINEN SERVICES AGREEMENT                               49.58 65064         12/14/2012        12/17/2017                 4400 SW 36TH STREET                                                                  OK           73128                                                35928
                                                            OKLAHOMA, INC                                     INC                                                                                                                                                                                                                                                    CITY                                                                                    3592865064
                                                            FOX & HOUND OF LEWISVILLE,
          617 NO COPY             65040          13-13233                                LINDA COSTNER        COMPASS BANK                SERVICE AGREEMENT           CHECKING ACCOUNT                                          -                11/27/2000                                   484 E FM 3040                                                          LEWISVILLE    TX           75067
                                                            LTD.                                                                                                                                                                                                                                                                                                                                                                                                  65040
                                                            CHAMPPS OPERATING
          618 NO COPY             65215          13-13227                                LINDA COSTNER        COSMOPOLITAN TEXTILE        SERVICE AGREEMENT           LINEN SERVICES AGREEMENT                             5,127.18 65215          2/4/2013          2/4/2014 STU AMES        4508 W 46TH ST                                                         CHICAGO       IL           60632                                                15786
                                                            CORPORATION                                                                                                                                                                                                                                                                                                                                                                                      1578665215
                                                            CHAMPPS OPERATING
          619 NO COPY             65222          13-13227                                LINDA COSTNER        COSMOPOLITAN TEXTILE        SERVICE AGREEMENT           LINEN SERVICES AGREEMENT                             7,241.80 65222          2/4/2013          2/4/2014 STU AMES        4508 W 46TH ST                                                         CHICAGO       IL           60632                                                15786
                                                            CORPORATION                                                                                                                                                                                                                                                                                                                                                                                      1578665222
                                                            CHAMPPS OPERATING
          620 NO COPY             65228          13-13227                                LINDA COSTNER        COSMOPOLITAN TEXTILE        SERVICE AGREEMENT           LINEN SERVICES AGREEMENT                             3,219.76 65228          2/4/2013          2/4/2014 STU AMES        4508 W 46TH ST                                                         CHICAGO       IL           60632                                                15786
                                                            CORPORATION                                                                                                                                                                                                                                                                                                                                                                                      1578665228
                                                            CHAMPPS OPERATING
          621 NO COPY             65235          13-13227                                LINDA COSTNER        COSMOPOLITAN TEXTILE        SERVICE AGREEMENT           LINEN SERVICES AGREEMENT                             4,649.70 65235          2/4/2013          2/4/2014 STU AMES        4508 W 46TH ST                                                         CHICAGO       IL           60632                                                15786
                                                            CORPORATION                                                                                                                                                                                                                                                                                                                                                                                      1578665235
                                                            CHAMPPS OPERATING
          622 NO COPY             65250          13-13227                                LINDA COSTNER        COSMOPOLITAN TEXTILE        SERVICE AGREEMENT           LINEN SERVICES AGREEMENT                             6,978.79 65250          2/4/2013          2/4/2014 STU AMES        4508 W 46TH ST                                                         CHICAGO       IL           60632                                                15786
                                                            CORPORATION                                                                                                                                                                                                                                                                                                                                                                                      1578665250
                                                                                                                                                                                                                                                                               CHRIS
          623 NO COPY             65077          13-13259   FOX AND THE HOUND            LINDA COSTNER        CYBER DISH INC.             SERVICE AGREEMENT           ATM AGREEMENT                                             -   65077          9/3/2009         9/30/2016                 3646 TOP OF THE PINES COURT                                            RALEIGH       NC           27604
                                                                                                                                                                                                                                                                               ROBINSON                                                                                                                                                                           65077
                                                            TENT RESTAURANT                                   DARLING INTERNATIONAL,                                  GREASE TRAP / HAULING                                                                        M/M AFTER
          624 NO COPY             65028          13-13259                                LINDA COSTNER                                    SERVICE AGREEMENT                                                                     -       65028     8/30/2012                                   P.O. BOX 552210                                                        DETROIT       MI           48255
                                                            OPERATIONS, INC                                   INC.                                                    AGREEMENT                                                                                        8.30.13                                                                                                                                                                                    65028
                                                                                                                                                                                                                                                                                LEASE FINANCE
          625 NO COPY             CORPORATE      13-13220   F&H ACQUISITIONS CORP.       LINDA COSTNER        DEALERS LEASING INC DBA     AUTOMOBILE LEASE AGREEMENT 2008 FORD FUSION SE                                        -                 4/26/2011          5/1/2014                 P.O. BOX 20140                                                         WICHITA       KS           67208-1140
                                                                                                                                                                                                                                                                                PARTNERS
                                                                                                                                                                                                                                                                                                                                                                                                                                                              #VALUE!
                                                                                                                                                                                                                                                                                LEASE FINANCE
          626 NO COPY             CORPORATE      13-13220   F&H ACQUISITIONS CORP.       LINDA COSTNER        DEALERS LEASING INC DBA     AUTOMOBILE LEASE AGREEMENT 2008 BMW 528I                                              -                  4/7/2011          5/1/2014                 P.O. BOX 20140                                                         WICHITA       KS           67208-1140
                                                                                                                                                                                                                                                                                PARTNERS
                                                                                                                                                                                                                                                                                                                                                                                                                                                              #VALUE!
                                                                                                                                                                                                                                                                                LEASE FINANCE
          627 NO COPY             CORPORATE      13-13220   F&H ACQUISITIONS CORP.       LINDA COSTNER        DEALERS LEASING INC DBA     AUTOMOBILE LEASE AGREEMENT 2008 FORD EXPLORER S                                       -                 4/19/2011          5/1/2014                 P.O. BOX 20140                                                         WICHITA       KS           67208-1140
                                                                                                                                                                                                                                                                                PARTNERS
                                                                                                                                                                                                                                                                                                                                                                                                                                                              #VALUE!
                                                                                                                                                                                                                                                                                LEASE FINANCE
          628 NO COPY             CORPORATE      13-13220   F&H ACQUISITIONS CORP.       LINDA COSTNER        DEALERS LEASING INC DBA     AUTOMOBILE LEASE AGREEMENT 2009 BMW 3281                                              -                 2/15/2012          3/1/2015                 4825 E DOUGLAS                                                         WICHITA       KS           67208-1140
                                                                                                                                                                                                                                                                                PARTNERS
                                                                                                                                                                                                                                                                                                                                                                                                                                                              #VALUE!
                                                                                                                                                                                                                                                                                LEASE FINANCE
          629 NO COPY             CORPORATE      13-13220   F&H ACQUISITION CORP.        LINDA COSTNER        DEALERS LEASING INC DBA     AUTOMOBILE LEASE AGREEMENT 2010 CHEVROLET MALIBU 2010LS                               -                 5/23/2011          6/1/2014                 4825 E DOUGLAS                                                         WICHITA       KS           67208-1140
                                                                                                                                                                                                                                                                                PARTNERS
                                                                                                                                                                                                                                                                                                                                                                                                                                                              #VALUE!




2491306-3                                                                                                                                                                                                                                            2.4(m) - 16
                                                                                                                                                                                 Case 13-13220-KG                     Doc 506-1                               Filed 03/17/14                                          Page 311 of 362

     ID        Epiq Contract No   Store Number       Case             Debtor            Responsible Person      Contract Counter Party          Type of Contract          Description of Contract   Assume   Reject   Cure Amount Contract NoDate of Contract
                                                                                                                                                                                                                                                           Termination Date       Attention                    Address 1    Address 2   Address 3   Address 4       City          State        Zip     Country   Email   Phone   Fax      Vendor       A/P code
                                                                                                                                                                                                                                                                                LEASE FINANCE
          630 NO COPY             CORPORATE      13-13220   F&H ACQUISITIONS CORP.      LINDA COSTNER        DEALERS LEASING INC DBA     AUTOMOBILE LEASE AGREEMENT 2010 INFINITI M35                                          -                   5/1/2013          5/1/2016                 4825 E DOUGLAS                                                    WICHITA      KS           67208-1140
                                                                                                                                                                                                                                                                                PARTNERS
                                                                                                                                                                                                                                                                                                                                                                                                                                                       #VALUE!
                                                                                                                                                                                                                                                                                LEASE FINANCE
          631 NO COPY             CORPORATE      13-13220   F&H ACQUISITIONS CORP.      LINDA COSTNER        DEALERS LEASING INC DBA     AUTOMOBILE LEASE AGREEMENT 2011 HONDA ACCORD                                          -                  1/31/2013          2/1/2016                 4825 E DOUGLAS                                                    WICHITA      KS           67208-1140
                                                                                                                                                                                                                                                                                PARTNERS
                                                                                                                                                                                                                                                                                                                                                                                                                                                       #VALUE!
                                                                                                                                                                                                                                                                                LEASE FINANCE
          632 NO COPY             CORPORATE      13-13220   F&H ACQUISITIONS CORP.      LINDA COSTNER        DEALERS LEASING INC DBA     AUTOMOBILE LEASE AGREEMENT 2013 FORD FUSION                                           -                  1/31/2013          2/1/2016                 4825 E DOUGLAS                                                    WICHITA      KS           67208-1140
                                                                                                                                                                                                                                                                                PARTNERS
                                                                                                                                                                                                                                                                                                                                                                                                                                                       #VALUE!
                                                                                                             DELTA INDUSTRIAL SERVICES                               KITCHEN EXHAUST CLEAINNG
          633 NO COPY             65039          13-13250   FOX & HOUND                 LINDA COSTNER                                  SERVICE AGREEMENT                                                                       -                 10/12/2000                                   5215 DENISON AVE                                                  CLEVELAND    OH           44102                                                3731
                                                                                                             INC.                                                    SERVICE AGREEMENT                                                                                                                                                                                                                                                                 373165039
                                                            FOX & HOUND OF
          634 NO COPY             65059          13-13235                            LINDA COSTNER           DENVER DARTS, INC.          SERVICE AGREEMENT           ATM AGREEMENT                                             -     65059         8/7/2004          8/7/2014                 4590 LEERSDALE DR                                                 DENVER       CO           80246
                                                            COLORADO, INC                                                                                                                                                                                                                                                                                                                                                                                  65059
                                                            FOX & HOUND OF MICHIGAN,
          635 NO COPY             65038          13-13259                            LINDA COSTNER           DETROIT EDISON              SERVICE AGREEMENT           ELECTRIC SERVICE AGREEMENT                                -                                                              3166 MARTIN RD                                                    WALLED LAKE MI            48390                                                 439
                                                            INC                                                                                                                                                                                                                                                                                                                                                                                         43965038
                                                                                                                                                                                                                                                                   5727/17
                                                            TENT RESTAURANT                                  DOMESTIC LINEN SUPPLY CO                                                                                                                         (AUTO RENEW JEFFREY
          636 NO COPY             65027          13-13259                               LINDA COSTNER                                 SERVICE AGREEMENT              LINEN SERVICES AGREEMENT                              592.47 65027           5/27/2004                                   3800 18TH ST                                                      DETROIT      MI           48208                                                8114
                                                            OPERATIONS, INC                                  INC                                                                                                                                                     5 YEAR WISNIEWSKI
                                                                                                                                                                                                                                                                    TERMS)                                                                                                                                                                             811465027
                                                            TENT RESTAURANT
          637 NO COPY             65095          13-13259                               LINDA COSTNER        DOMESTIC UNIFORM RENTAL SERVICE AGREEMENT               LINEN SERVICES AGREEMENT                                  -     65095        5/20/2013         5/20/2014                 4100 FRANKFORD AVE                                                PHILADELPHIA PA           19124                                                8114
                                                            OPERATIONS,INC                                                                                                                                                                                                                                                                                                                                                                             811465095
                                                                                                                                                                                                                                                                   M/M AFTER ROBERTO
          638 NO COPY             65007          13-13250   FOX & HOUND                 LINDA COSTNER        ECOLAB INC                  SERVICE AGREEMENT           PEST CONTROL                                                                 5/19/2005                                   P.O. BOX 6007                                                     GRAND FORKS ND            58206
                                                                                                                                                                                                                                                                     5/19/06 RODRIGUEZ                                                                                                                                                                     65007
                                                            TENT RESTAURANT                                                                                                                                                                                        M/M AFTER
          639 NO COPY             65032          13-13259                               LINDA COSTNER        ECOLAB INC                  SERVICE AGREEMENT           PEST CONTROL                                          222.30                 6/20/2001                                   P.O. BOX 6007                                                     GRAND FORKS ND            58206                                        00471
                                                            OPERATIONS, INC                                                                                                                                                                                          6/20/02                                                                                                                                                                            47165032
                                                                                                                                                                                                                                                                   M/M AFTER
          640 NO COPY             65061          13-13250   FOX & HOUND                 LINDA COSTNER        ECOLAB INC                  SERVICE AGREEMENT           PEST CONTROL                                          426.27                 7/24/2000                                   P.O. BOX 6007                                                     GRAND FORKS ND            58206                                        02975
                                                                                                                                                                                                                                                                     7/24/01                                                                                                                                                                           297565061
                                                            TENT RESTAURANT
          641 NO COPY             65084          13-13259                               LINDA COSTNER        ECOLAB INC                  SERVICE AGREEMENT           PEST CONTROL                                                                 9/13/2004        M/M AFTER SCOTT JEDD       P.O. BOX 6007                                                     GRAND FORKS ND            58206
                                                            OPERATIONS, INC                                                                                                                                                                                                                                                                                                                                                                                65084
                                                            TENT RESTAURANT                                                                                                                                                                                                                                                                                     KEEGO
          642 NO COPY             65027          13-13259                               LINDA COSTNER        ELITE BANK CARD SOLUTIONS SERVICE AGREEMENT             ATM AGREEMENT                                             -     65027        4/10/2012          4/9/2014                 3231 ORCHARD LAKE RD                                                           MI           48320
                                                            OPERATIONS, INC                                                                                                                                                                                                                                                                                     HARBOR                                                                                     65027
                                                                                                                                                                                                                                                                      UNTIL
                                                            FOX & HOUND OF TENNESSEE,                                                                                                                                                                          TERMINATED
          643 NO COPY             65074          13-13259                             LINDA COSTNER          EPB                         SERVICE AGREEMENT           ELECTRIC SERVICE AGREEMENT                           3,554.57                6/18/2004                                   P.O. BOX 182254                                                   CHATANOOGA TN             37422                                                7979
                                                            INC                                                                                                                                                                                                 IN WRITING
                                                                                                                                                                                                                                                              AFTER 6/18/05
                                                                                                                                                                                                                                                                                                                                                                                                                                                       797965074
                                                                                                                                                                                                                                                              MONTH TO
                                                            TENT RESTAURANT
          644 NO COPY             65093          13-13259                               LINDA COSTNER        FOODIE CALL, INC.           SERVICE AGREEMENT           DELIVERY SERVICE AGREEMENT                                -                   2/1/2013 MONTH AFTER                       308 E WORTHINGTON AVE                                             CHARLOTTE    NC           28203
                                                            OPERATIONS, INC
                                                                                                                                                                                                                                                                 3/1/13                                                                                                                                                                                    65093
                                                            CHAMPPS OPERATING                                                                                                                                                                                M/M AFTER          ANDREW
          645 NO COPY             65201          13-13227                               LINDA COSTNER        G&K SERVICES                SERVICE AGREEMENT           LINEN SERVICES AGREEMENT                             2,727.58 65201          5/23/2011                                   621 OLSON MEMORIAL HWY                                            MINNEAPOLIS MN            55405                                        16085
                                                            CORPORATION                                                                                                                                                                                         5/23/12         MCCALLISTER                                                                                                                                                           1608565201
                                                            CHAMPPS OPERATING                                                                                                                                                                                M/M AFTER          ANDREW
          646 NO COPY             65209          13-13227                               LINDA COSTNER        G&K SERVICES                SERVICE AGREEMENT           LINEN SERVICES AGREEMENT                             1,945.86 65209          5/23/2011                                   621 OLSON MEMORIAL HWY                                            MINNEAPOLIS MN            55405                                        16085
                                                            CORPORATION                                                                                                                                                                                         5/23/12         MCCALLISTER                                                                                                                                                           1608565209
                                                            CHAMPPS OPERATING                                                                                                                                                                                M/M AFTER          ANDREW
          647 NO COPY             65225          13-13227                               LINDA COSTNER        G&K SERVICES                SERVICE AGREEMENT           LINEN SERVICES AGREEMENT                             2,123.85 65225          5/23/2011                                   621 OLSON MEMORIAL HWY                                            MINNEAPOLIS MN            55405                                        16085
                                                            CORPORATION                                                                                                                                                                                         5/23/12         MCCALLISTER                                                                                                                                                           1608565225

                                                            FOX & HOUND/KING OF                                                                                                                                                                               2 YEAR TERMS                                                                                      LAFAYETTE
          648 NO COPY             65066          13-13259                               LINDA COSTNER        GM HOLDINGS LLC             SERVICE AGREEMENT           ATM AGREEMENT                                             -     65066        7/21/2006                 ROSLYN STONE      115 HOLLYHOCK DRIVE                                                            NJ           19444
                                                            PRUSSIA                                                                                                                                                                                           AFTER 7/21/08                                                                                     HILL
                                                                                                                                                                                                                                                                                                                                                                                                                                                           65066
                                                            N. COLLINS ENTERTAINMENT,
          649 NO COPY             65004          13-13254                               LINDA COSTNER        GMR MARKETING LLC           ENTERTAINMENT AGREEMENT     MARLBORO PROMOTION NIGHTS                                 -     65004         1/1/2013        12/31/2013                 5000 S TOWNE DRIVE                                                NEW BERLIN   WI           53151
                                                            LTD.                                                                                                                                                                                                                                                                                                                                                                                           65004
                                                            TENT RESTAURANT
          650 NO COPY             65007          13-13259                               LINDA COSTNER        GMR MARKETING LLC           ENTERTAINMENT AGREEMENT     MARLBORO PROMOTION NIGHTS                                 -     65007        2/12/2013        12/31/2013                 5000 S TOWNE DRIVE                                                NEW BERLIN   WI           53151
                                                            OPERATIONS, INC                                                                                                                                                                                                                                                                                                                                                                                65007
                                                            F & H RESTAURANTS OF
          651 NO COPY             65008          13-13248                               LINDA COSTNER        GMR MARKETING LLC           ENTERTAINMENT AGREEMENT     MARLBORO PROMOTION NIGHTS                                 -     65008         1/1/2013        12/31/2013                 5000 S TOWNE DRIVE                                                NEW BERLIN   WI           53151
                                                            TEXAS, INC                                                                                                                                                                                                                                                                                                                                                                                     65008
                                                            TENT RESTAURANT
          652 NO COPY             65013          13-13259                               LINDA COSTNER        GMR MARKETING LLC           ENTERTAINMENT AGREEMENT     MARLBORO PROMOTION NIGHTS                                 -     65013         1/1/2013        12/31/2013                 5000 S TOWNE DRIVE                                                NEW BERLIN   WI           53151
                                                            OPERATIONS, INC                                                                                                                                                                                                                                                                                                                                                                                65013
                                                            TENT RESTAURANT
          653 NO COPY             65014          13-13259                               LINDA COSTNER        GMR MARKETING LLC           ENTERTAINMENT AGREEMENT     MARLBORO PROMOTION NIGHTS                                 -     65014        2/12/2013        12/31/2013                 5000 S TOWNE DRIVE                                                NEW BERLIN   WI           53151
                                                            OPERATIONS, INC                                                                                                                                                                                                                                                                                                                                                                                65014
                                                            TENT RESTAURANT
          654 NO COPY             65028          13-13259                               LINDA COSTNER        GMR MARKETING LLC           ENTERTAINMENT AGREEMENT     MARLBORO PROMOTION NIGHTS                                 -     65028        7/23/2013        12/31/2013                 5000 S TOWNE DRIVE                                                NEW BERLIN   WI           53151
                                                            OPERATIONS, INC                                                                                                                                                                                                                                                                                                                                                                                65028
                                                            TENT RESTAURANT
          655 NO COPY             65028          13-13259                               LINDA COSTNER        GMR MARKETING LLC           ENTERTAINMENT AGREEMENT     MARLBORO PROMOTION NIGHTS                                 -     65028         1/1/2013        12/31/2013                 5000 S TOWNE DRIVE                                                NEW BERLIN   WI           53151
                                                            OPERATIONS, INC                                                                                                                                                                                                                                                                                                                                                                                65028
                                                            F & H RESTAURANTS OF
          656 NO COPY             65040          13-13248                               LINDA COSTNER        GMR MARKETING LLC           ENTERTAINMENT AGREEMENT     MARLBORO PROMOTION NIGHTS                                 -     65040         1/1/2013        12/31/2013                 5000 S TOWNE DRIVE                                                NEW BERLIN   WI           53151
                                                            TEXAS, INC                                                                                                                                                                                                                                                                                                                                                                                     65040
                                                            TENT RESTAURANT
          657 NO COPY             65041          13-13259                               LINDA COSTNER        GMR MARKETING LLC           ENTERTAINMENT AGREEMENT     MARLBORO PROMOTION NIGHTS                                 -     65041         1/1/2013        12/31/2013                 5000 S TOWNE DRIVE                                                NEW BERLIN   WI           53151
                                                            OPERATIONS, INC                                                                                                                                                                                                                                                                                                                                                                                65041
                                                            F & H RESTAURANTS OF
          658 NO COPY             65042          13-13248                               LINDA COSTNER        GMR MARKETING LLC           ENTERTAINMENT AGREEMENT     MARLBORO PROMOTION NIGHTS                                 -     65042         1/1/2013        12/31/2013                 5000 S TOWNE DRIVE                                                NEW BERLIN   WI           53151
                                                            TEXAS, INC                                                                                                                                                                                                                                                                                                                                                                                     65042
                                                            F & H RESTAURANTS OF
          659 NO COPY             65043          13-13248                               LINDA COSTNER        GMR MARKETING LLC           ENTERTAINMENT AGREEMENT     MARLBORO PROMOTION NIGHTS                                 -     65043         1/1/2013        12/31/2013                 5000 S TOWNE DRIVE                                                NEW BERLIN   WI           53151
                                                            TEXAS, INC                                                                                                                                                                                                                                                                                                                                                                                     65043
          660 NO COPY             65044          13-13230   F&H OF KENNESAW, INC        LINDA COSTNER        GMR MARKETING LLC           ENTERTAINMENT AGREEMENT     MARLBORO PROMOTION NIGHTS                                 -     65044         1/1/2013        12/31/2013                 5000 S TOWNE DRIVE                                                NEW BERLIN   WI           53151
                                                                                                                                                                                                                                                                                                                                                                                                                                                           65044
                                                            FOX & HOUND OF
          661 NO COPY             65049          13-13235                               LINDA COSTNER        GMR MARKETING LLC           ENTERTAINMENT AGREEMENT     MARLBORO PROMOTION NIGHTS                                 -     65049        1/23/2013        12/31/2013                 5000 S TOWNE DRIVE                                                NEW BERLIN   WI           53151
                                                            COLORADO, INC                                                                                                                                                                                                                                                                                                                                                                                  65049
                                                            F & H RESTAURANTS OF
          662 NO COPY             65052          13-13248                               LINDA COSTNER        GMR MARKETING LLC           ENTERTAINMENT AGREEMENT     MARLBORO PROMOTION NIGHTS                                 -     65052         1/1/2013        12/31/2013                 5000 S TOWNE DRIVE                                                NEW BERLIN   WI           53151
                                                            TEXAS, INC                                                                                                                                                                                                                                                                                                                                                                                     65052
                                                            FOX & HOUND OF
          663 NO COPY             65059          13-13235                               LINDA COSTNER        GMR MARKETING LLC           ENTERTAINMENT AGREEMENT     MARLBORO PROMOTION NIGHTS                                 -     65059        1/23/2013        12/31/2013                 5000 S TOWNE DRIVE                                                NEW BERLIN   WI           53151
                                                            COLORADO, INC                                                                                                                                                                                                                                                                                                                                                                                  65059
                                                            FOX & HOUND OF NEW
          664 NO COPY             65063          13-13245                               LINDA COSTNER        GMR MARKETING LLC           ENTERTAINMENT AGREEMENT     MARLBORO PROMOTION NIGHTS                                 -     65063         1/7/2013        12/31/2013                 5000 S TOWNE DRIVE                                                NEW BERLIN   WI           53151
                                                            MEXICO, INC                                                                                                                                                                                                                                                                                                                                                                                    65063
                                                            F & H RESTAURANTS OF
          665 NO COPY             65065          13-13248                               LINDA COSTNER        GMR MARKETING LLC           ENTERTAINMENT AGREEMENT     MARLBORO PROMOTION NIGHTS                                 -     65065         1/1/2013        12/31/2013                 5000 S TOWNE DRIVE                                                NEW BERLIN   WI           53151
                                                            TEXAS, INC                                                                                                                                                                                                                                                                                                                                                                                     65065
                                                            TENT RESTAURANT
          666 NO COPY             65088          13-13259                               LINDA COSTNER        GMR MARKETING LLC           ENTERTAINMENT AGREEMENT     MARLBORO PROMOTION NIGHTS                                 -     65088         1/1/2013        12/31/2013                 5000 S TOWNE DRIVE                                                NEW BERLIN   WI           53151
                                                            OPERATIONS, INC                                                                                                                                                                                                                                                                                                                                                                                65088
          667 NO COPY             65091          13-13246   FOX & HOUND OF OHIO, INC    LINDA COSTNER        GMR MARKETING LLC           ENTERTAINMENT AGREEMENT     MARLBORO PROMOTION NIGHTS                                 -     65091         1/1/2013        12/31/2013                 5000 S TOWNE DRIVE                                                NEW BERLIN   WI           53151
                                                                                                                                                                                                                                                                                                                                                                                                                                                           65091
                                                            F & H RESTAURANTS OF
          668 NO COPY             65094          13-13248                               LINDA COSTNER        GMR MARKETING LLC           ENTERTAINMENT AGREEMENT     MARLBORO PROMOTION NIGHTS                                 -     65094         1/1/2013        12/31/2013                 5000 S TOWNE DRIVE                                                NEW BERLIN   WI           53151
                                                            TEXAS, INC                                                                                                                                                                                                                                                                                                                                                                                     65094
                                                            FOX & HOUND OF ILLINOIS,
          669 NO COPY             65055          13-13236                               LINDA COSTNER        HELGET GAS PRODUCTS INC     SERVICE AGREEMENT           CO2 SERVICE AGREEMENT                                1,792.16 65055          9/23/2013         9/23/2016                 P.O. BOX 24246                                                    OMAHA        NE           68124
                                                            INC                                                                                                                                                                                                                                                                                                                                                                                            65055
                                                            TENT RESTAURANT
          670 NO COPY             65080          13-13259                               LINDA COSTNER        KMD LINEN SERVICE CO INC    SERVICE AGREEMENT           LINEN SERVICES AGREEMENT                              436.45 65080           7/25/2013         7/25/2014                 109 BOONE HILLS DR                                                SAINT PETERS MO           63376                                        36491
                                                            OPERATIONS,INC                                                                                                                                                                                                                                                                                                                                                                            3649165080
                                                            FOX & HOUND OF                                                                                           GOUNDS MAINTENANCE - LAWN                                                                               MEANIE
          671 NO COPY             65059          13-13235                               LINDA COSTNER        LEADBETTER LANDSCAPING      SERVICE AGREEMENT                                                                     -                   2/7/2013         3/1/2014                  10603 CHERRYBROOK CIRCLE                                          LITTLETON    CO           80126
                                                            COLORADO, INC                                                                                            CARE/SNOW/PEST                                                                                          LEADBETTER                                                                                                                                                                    65059
                                                            FOX & HOUND OF MICHIGAN,                                                                                                                                                                               M/M AFTER
          672 NO COPY             65070          13-13259                               LINDA COSTNER        LEONARDS SYRUPS INC         SERVICE AGREEMENT           CO2 SERVICE AGREEMENT                                 396.80 65070           5/17/2004                                   4225 NANCY                                                        DETROIT      MI           48212                                        32343
                                                            INC                                                                                                                                                                                                      5/17/05                                                                                                                                                                          3234365070
                                                                                                                                                                                                                                                                   M/M AFTER
          673 NO COPY             65216          13-13227   CHAMPPS AMERICANA           LINDA COSTNER        LEONARDS SYRUPS INC         SERVICE AGREEMENT           CO2 SERVICE AGREEMENT                                     -     65216         2/3/1998                                   4225 NANCY                                                        DETROIT      MI           48212                                        32343
                                                                                                                                                                                                                                                                      2/3/10                                                                                                                                                                          3234365216
          674 NO COPY             65217          13-13227   CHAMPPS AMERICANA           LINDA COSTNER        LEONARDS SYRUPS INC         SERVICE AGREEMENT           CO2 SERVICE AGREEMENT                                 412.26 65217                                                       4225 NANCY                                                        DETROIT      MI           48212                                        32343          3234365217
                                                            CHAMPPS OPERATING
          675 NO COPY             65204          13-13227                               LINDA COSTNER        LINENS OF THE WEEK          SERVICE AGREEMENT           LINEN SERVICES AGREEMENT                                  -     65204         9/1/2011          9/1/2014 RONALD BUBES 713 LAMONT STREET NW                                                 WASHINGTON DC             20010
                                                            CORPORATION                                                                                                                                                                                                                                                                                                                                                                                    65204
                                                            CHAMPPS OPERATING
          676 NO COPY             65207          13-13227                               LINDA COSTNER        LINENS OF THE WEEK          SERVICE AGREEMENT           LINEN SERVICES AGREEMENT                                  -     65207         9/1/2011          9/1/2014 RONALD BUBES 713 LAMONT STREET NW                                                 WASHINGTON DC             20010
                                                            CORPORATION                                                                                                                                                                                                                                                                                                                                                                                    65207




2491306-3                                                                                                                                                                                                                                            2.4(m) - 17
                                                                                                                                                                               Case 13-13220-KG                     Doc 506-1                               Filed 03/17/14                                           Page 312 of 362

     ID        Epiq Contract No   Store Number       Case            Debtor             Responsible Person      Contract Counter Party         Type of Contract         Description of Contract   Assume   Reject   Cure Amount Contract NoDate of Contract
                                                                                                                                                                                                                                                         Termination Date       Attention                     Address 1        Address 2   Address 3   Address 4       City          State        Zip     Country   Email   Phone   Fax      Vendor    A/P code
                                                            CHAMPPS OPERATING
          677 NO COPY             65226          13-13227                               LINDA COSTNER        LINENS OF THE WEEK          SERVICE AGREEMENT         LINEN SERVICES AGREEMENT                                  -    65226          9/1/2011          9/1/2014 RONALD BUBES 713 LAMONT STREET NW                                                      WASHINGTON DC             20010
                                                            CORPORATION                                                                                                                                                                                                                                                                                                                                                                                    65226
                                                            CHAMPPS OPERATING
          678 NO COPY             65230          13-13227                               LINDA COSTNER        LINENS OF THE WEEK          SERVICE AGREEMENT         LINEN SERVICES AGREEMENT                                  -    65230          9/1/2011          9/1/2014 RONALD BUBES 713 LAMONT STREET NW                                                      WASHINGTON DC             20010
                                                            CORPORATION                                                                                                                                                                                                                                                                                                                                                                                    65230
                                                            CHAMPPS OPERATING
          679 NO COPY             65240          13-13227                               LINDA COSTNER        LINENS OF THE WEEK          SERVICE AGREEMENT         LINEN SERVICES AGREEMENT                                  -    65240          9/1/2011          9/1/2014 RONALD BUBES 713 LAMONT STREET NW                                                      WASHINGTON DC             20010
                                                            CORPORATION                                                                                                                                                                                                                                                                                                                                                                                    65240
                                                            CHAMPPS OPERATING
          680 NO COPY             65241          13-13227                               LINDA COSTNER        LINENS OF THE WEEK          SERVICE AGREEMENT         LINEN SERVICES AGREEMENT                                  -    65241          9/1/2011          9/1/2014 RONALD BUBES 713 LAMONT STREET NW                                                      WASHINGTON DC             20010
                                                            CORPORATION                                                                                                                                                                                                                                                                                                                                                                                    65241
                                                            CHAMPPS OPERATING
          681 NO COPY             65252          13-13227                               LINDA COSTNER        LINENS OF THE WEEK          SERVICE AGREEMENT         LINEN SERVICES AGREEMENT                                  -    65252          9/1/2011          9/1/2014 RONALD BUBES 713 LAMONT STREET NW                                                      WASHINGTON DC             20010
                                                            CORPORATION                                                                                                                                                                                                                                                                                                                                                                                    65252
                                                            CHAMPPS OPERATING
          682 NO COPY             65253          13-13227                               LINDA COSTNER        LINENS OF THE WEEK          SERVICE AGREEMENT         LINEN SERVICES AGREEMENT                                  -    65253          9/1/2011          9/1/2014 RONALD BUBES 713 LAMONT STREET NW                                                      WASHINGTON DC             20010
                                                            CORPORATION                                                                                                                                                                                                                                                                                                                                                                                    65253
                                                                                                                                                                                                                                                                                                                                                                   INDEPENDENC
          683 NO COPY             65069          13-13238   FOX & HOUND PUB             LINDA COSTNER        M & H GAS, INC.             SERVICE AGREEMENT         CO2 SERVICE AGREEMENT                                 254.48 65069            3/1/2004          3/1/2014                  4230 WASHINGTON AVENUE                                                            MO            84056                                        07574
                                                                                                                                                                                                                                                                                                                                                                   E                                                                                   757465069
                                                            FOX & HOUND OF ILLINOIS,                                                                                                                                                                                          DAVID L.
          684 NO COPY             65016          13-13236                               LINDA COSTNER        MACCARB INC                 SERVICE AGREEMENT         CO2 SERVICE AGREEMENT                                 546.00 65016            1/1/2009          1/1/2014                  32570 GENOA ROAD                                                      GENOA        IL           60135                                        08438
                                                            INC                                                                                                                                                                                                               MCCARTHY                                                                                                                                                                 843865016
                                                                                                             MACHINE & WELDING                                                                                                                                   M/M AFTER
          685 NO COPY             65077          13-13259   FOX & HOUND PUB & GRILLE    LINDA COSTNER                                    SERVICE AGREEMENT         CO2 SERVICE AGREEMENT                                 290.20 65077          10/11/2004                                    HWY 301 SOUTH                PO BOX 1708                              DUNN         NC           28335                                        04368
                                                                                                             SUPPLY INC                                                                                                                                           10/11/05                                                                                                                                                                             436865077
                                                                                                                                                                                                                                                                              SARAH
          686 NO COPY             65030          13-13246   FOX & HOUND OF OHIO, INC    LINDA COSTNER        MATCH.COM EVENTS LLC        SERVICE AGREEMENT         EVENT AGREEMENT                                           -                  3/20/2013                                    8300DOUGLAS AVE              SUITE 800                                DALLAS       TX           75225
                                                                                                                                                                                                                                                                              NAUGHTON                                                                                                                                                                     65030
                                                            CHAMPPS OPERATING                                MAURER'S TEXTILE RENTAL
          687 NO COPY             65216          13-13227                               LINDA COSTNER                                    SERVICE AGREEMENT         LINEN SERVICES AGREEMENT                             5,183.63 65216           7/9/2013          7/9/2015                  930 FILLEY STREET                                                     LANSING      MI           48906                                        16945
                                                            CORPORATION                                      SERVICES INC                                                                                                                                                                                                                                                                                                                             1694565216
                                                            CHAMPPS OPERATING                                MAURER'S TEXTILE RENTAL
          688 NO COPY             65217          13-13227                               LINDA COSTNER                                    SERVICE AGREEMENT         LINEN SERVICES AGREEMENT                             3,231.97 65217           7/9/2013          7/9/2015                  930 FILLEY STREET                                                     LANSING      MI           48906                                        16945
                                                            CORPORATION                                      SERVICES INC                                                                                                                                                                                                                                                                                                                             1694565217
                                                            CHAMPPS OPERATING                                MAURER'S TEXTILE RENTAL
          689 NO COPY             65224          13-13227                               LINDA COSTNER                                    SERVICE AGREEMENT         LINEN SERVICES AGREEMENT                             3,167.01 65224           8/8/2013          8/8/2015                  930 FILLEY STREET                                                     LANSING      MI           48906                                        16945
                                                            CORPORATION                                      SERVICES INC                                                                                                                                                                                                                                                                                                                             1694565224
                                                            CHAMPPS OPERATING                                MAURER'S TEXTILE RENTAL
          690 NO COPY             65229          13-13227                               LINDA COSTNER                                    SERVICE AGREEMENT         LINEN SERVICES AGREEMENT                             1,717.46 65229           7/9/2013          7/9/2015                  930 FILLEY STREET                                                     LANSING      MI           48906                                        16945
                                                            CORPORATION                                      SERVICES INC                                                                                                                                                                                                                                                                                                                             1694565229
                                                            CHAMPPS OPERATING                                MAURER'S TEXTILE RENTAL
          691 NO COPY             65242          13-13227                               LINDA COSTNER                                    SERVICE AGREEMENT         LINEN SERVICES AGREEMENT                             4,043.50 65242           7/9/2013          7/9/2015                  930 FILLEY STREET                                                     LANSING      MI           48906                                        16945
                                                            CORPORATION                                      SERVICES INC                                                                                                                                                                                                                                                                                                                             1694565242
                                                            FOX & HOUND OF INDIANA,
          692 NO COPY             65035          13-13237                               LINDA COSTNER        MEDIA STAR PROMOTIONS       ENTERTAINMENT AGREEMENT   CAMEL PROMOTION NIGHTS                                    -    65035         3/11/2013        12/31/2013 CHRIS CURRAN     141 E WASHINGTON STREET      SUITE 100                                INDIANAPOLIS IN           46204
                                                            INC                                                                                                                                                                                                                                                                                                                                                                                            65035
          693 NO COPY             65079          13-13250   FOX & HOUND                 LINDA COSTNER        MEDIA STAR PROMOTIONS       ENTERTAINMENT AGREEMENT   CAMEL PROMOTION NIGHTS                                    -    65079          3/6/2013        12/31/2013 CHRIS CURRAN     141 E WASHINGTON STREET      SUITE 100                                INDIANAPOLIS IN           46204
                                                                                                                                                                                                                                                                                                                                                                                                                                                           65079
                                                            PENNSYLVANIA FOX &                                                                                     GREASE REMOVAL SERVICE                                                                         Y/Y AFTER
          694 NO COPY             65066          13-13259                               LINDA COSTNER        MOPAC                       SERVICE AGREEMENT                                                                   -                  2/16/2004                   RUBERT RAHN      741 SOUDER ROAD                                                       ELROY        PA           18964
                                                            HOUND, INC                                                                                             AGREEMENT                                                                                        2/16/05                                                                                                                                                                                65066
                                                                                                             NATIONAL WELDERS SUPPLY                                                                                                                             M/M AFTER
          695 NO COPY             65047          13-13250   FOX & HOUND, INC            LINDA COSTNER                                    SERVICE AGREEMENT         CO2 SERVICE AGREEMENT                                 591.60 65047            2/4/2002                                    P.O. BOX 31007                                                        CHARLOTTE    NC           28231-6098                                   30060
                                                                                                             CO INC                                                                                                                                                  2/4/03                                                                                                                                                                           3006065047
                                                            TENT RESTAURANT                                  NATIONAL WELDERS SUPPLY                                                                                                                             M/M AFTER
          696 NO COPY             65071          13-13259                               LINDA COSTNER                                    SERVICE AGREEMENT         CO2 SERVICE AGREEMENT                                 367.22 65071            1/4/2007                                    P.O. BOX 31007                                                        CHARLOTTE    NC           28231-6098                                   30060
                                                            OPERATIONS,INC                                   CO INC                                                                                                                                                  1/4/08                                                                                                                                                                           3006065071
                                                                                                             NATIONAL WELDERS SUPPLY                                                                                                                             M/M AFTER
          697 NO COPY             65233          13-13227   CHAMPPS AMERICANA           LINDA COSTNER                                    SERVICE AGREEMENT         CO2 SERVICE AGREEMENT                                 252.59 65233           12/3/2001                                    P.O. BOX 31007                                                        CHARLOTTE    NC           28231-6098                                   30060
                                                                                                             CO INC                                                                                                                                                 12/3/04                                                                                                                                                                           3006065233
                                                                                                             NATIONAL WELDERS SUPPLY                                                                                                                             M/M AFTER RON
          698 NO COPY             65044          13-13230   F & H OF KENNESAW, INC      LINDA COSTNER                                    SERVICE AGREEMENT         CO2 SERVICE AGREEMENT                                 202.20 65044          11/20/2002                                    2649 CHIMNEY SPRINGS DRIVE                                            MARIETTA     GA           30062                                        30060
                                                                                                             CO INC                                                                                                                                                11/20/03 SPAINHOUR                                                                                                                                                                 3006065044
                                                            FOX & HOUND
                                                                                                             NATIONAL WELDERS SUPPLY                                                                                                                              Y/Y AFTER JONNY
          699 NO COPY             65083          13-13249   RESTAURANT/TOTAL            LINDA COSTNER                                    SERVICE AGREEMENT         CO2 SERVICE AGREEMENT                                 267.86 65083           5/15/2005                                    3341 TOM STEVENS ROAD                                                 SNOW CAMP    NC           27349-9471                                   30060
                                                                                                             CO INC                                                                                                                                                 5/15/06 JOHNSON
                                                            ENTERTAINMENT INC                                                                                                                                                                                                                                                                                                                                                                         3006065083
                                                            TENT RESTAURANT                                                                                                                                                                                      M/M AFTER
          700 NO COPY             65079          13-13259                               LINDA COSTNER        NEXAIR                      SERVICE AGREEMENT         CO2 SERVICE AGREEMENT                                     -    65079         3/13/2005                                    1385 CORPORATE AVE           PO BOX 161182                            MEMPHIS      TN           38186-1182
                                                            OPERATIONS,INC                                                                                                                                                                                         3/13/08                                                                                                                                                                                 65079
                                                            TENT RESTAURANT                                                                                                                                                                                      M/M AFTER
          701 NO COPY             65088          13-13259                               LINDA COSTNER        NEXAIR                      SERVICE AGREEMENT         CO2 SERVICE AGREEMENT                                     -    65088        11/22/2005                                    P.O. BOX 125                                                          MEMPHIS      TN           38101
                                                            OPERATIONS,INC                                                                                                                                                                                        11/22/08                                                                                                                                                                                 65088
                                                                                                                                                                                                                                                                 M/M AFTER
          702 NO COPY             65091          13-13246   FOX & HOUND OF OHIO, INC    LINDA COSTNER        NEXAIR                      SERVICE AGREEMENT         CO2 SERVICE AGREEMENT                                     -    65091         2/13/2006                  DAVID             P.O. BOX 161182                                                       MEMPHIS      TN           38186
                                                                                                                                                                                                                                                                   2/13/09                                                                                                                                                                                 65091
                                                                                                                                                                                                                                                            MONTH TO
                                                            TENT RESTAURANT                                                                                        ENTERTAINMENT - GAME PADS                                                                          MIKE
          703 NO COPY                            13-13259                               LINDA COSTNER        NTN BUZZTIME INC            SERVICE AGREEMENT                                                                   -                  9/20/2007 MONTH AFTER                        5966 LA PLACE COURT          SUITE 100                                CARLSBAD     CA           92008-8830                                   00835
                                                            OPERATIONS, INC                                                                                        AGREEMENT                                                                                          SUNDERLAND
                                                                                                                                                                                                                                                              9/20/08
                                                                                                                                                                                                                                                                                                                                                                                                                                                       #VALUE!
                                                            F&H RESTAURANTS OF TEXAS,                                                                              ENTERTAINMENT - GAME PADS                                      SITE                             M/M AFT
          704 NO COPY             65042          13-13248                               LINDA COSTNER        NTN BUZZTIME INC            SERVICE AGREEMENT                                                               833.52                 7/16/2009                   ERIK SHERMAN     5966 LA PLACE COURT          SUITE 100                                CARLSBAD     CA           92008-8830                                   00835
                                                            INC                                                                                                    AGREEMENT                                                      ID#13444                        ER7/16/10                                                                                                                                                                             83565042
                                                            FOX & HOUND OF NEW                                                                                     ENTERTAINMENT - GAME PADS                                                                     M/M AFTER
          705 NO COPY             65063          13-13245                               LINDA COSTNER        NTN BUZZTIME INC            SERVICE AGREEMENT                                                               823.92                11/30/2012                                    5966 LA PLACE COURT          SUITE 100                                CARLSBAD     CA           92008-8830                                   00835
                                                            MEXICO, INC                                                                                            AGREEMENT                                                                                       11/30/13                                                                                                                                                                             83565063
                                                            FOX & HOUND OF ILLINOIS,                                                                               ENTERTAINMENT - GAME PADS                                                                     M/M AFTER
          706 NO COPY             65060          13-13236                               LINDA COSTNER        NTN BUZZTIME INC            SERVICE AGREEMENT                                                                   -                 10/12/2009                                    5966 LA PLACE COURT          SUITE 100                                CARLSBAD     CA           92008-8830                                   00835
                                                            INC                                                                                                    AGREEMENT                                                                                       10/12/10                                                                                                                                                                             83565060
                                                            TENT RESTAURANT                                                                                        ENTERTAINMENT - GAME PADS                                                                     M/M AFTER
          707 NO COPY             65010          13-13259                               LINDA COSTNER        NTN BUZZTIME INC            SERVICE AGREEMENT                                                               857.78                 8/21/2009                                    5966 LA PLACE COURT          SUITE 100                                CARLSBAD     CA           92008-8830                                   00835
                                                            OPERATIONS, INC                                                                                        AGREEMENT                                                                                        8/21/10                                                                                                                                                                             83565010
                                                            TENT RESTAURANT                                                                                        ENTERTAINMENT - GAME PADS                                                                     M/M AFTER
          708 NO COPY             65007          13-13259                               LINDA COSTNER        NTN BUZZTIME INC            SERVICE AGREEMENT                                                               899.40                 8/21/2009                                    5966 LA PLACE COURT          SUITE 100                                CARLSBAD     CA           92008-8830                                   00835
                                                            OPERATIONS, INC                                                                                        AGREEMENT                                                                                        8/21/10                                                                                                                                                                             83565007
                                                            TENT RESTAURANT                                                                                        ENTERTAINMENT - GAME PADS                                                                     M/M AFTER
          709 NO COPY             65014          13-13259                               LINDA COSTNER        NTN BUZZTIME INC            SERVICE AGREEMENT                                                               835.50                 8/21/2009                                    5966 LA PLACE COURT          SUITE 100                                CARLSBAD     CA           92008-8830                                   00835
                                                            OPERATIONS, INC                                                                                        AGREEMENT                                                                                        8/21/10                                                                                                                                                                             83565014
                                                            FOX & HOUND OF LITTLETON,                                                                              ENTERTAINMENT - GAME PADS
          710 NO COPY             65054          13-13240                               LINDA COSTNER        NTN BUZZTIME INC            SERVICE AGREEMENT                                                                   -                  5/14/2008         5/14/2010                  5966 LA PLACE COURT          SUITE 100                                CARLSBAD     CA           92008-8830                                   00835
                                                            INC                                                                                                    AGREEMENT                                                                                                                                                                                                                                                                            83565054
                                                            FOX & HOUND OF                                                                                         ENTERTAINMENT - GAME PADS
          711 NO COPY             65046          13-13235                               LINDA COSTNER        NTN BUZZTIME INC            SERVICE AGREEMENT                                                                   -                  5/14/2008         5/14/2010                  5966 LA PLACE COURT          SUITE 100                                CARLSBAD     CA           92008-8830                                   00835
                                                            COLORADO, INC                                                                                          AGREEMENT                                                                                                                                                                                                                                                                            83565046
                                                            TENT RESTAURANT                                                                                        ENTERTAINMENT - GAME PADS
          712 NO COPY             65092          13-13259                               LINDA COSTNER        NTN BUZZTIME INC            SERVICE AGREEMENT                                                                   -                  5/14/2008         5/14/2010                  5966 LA PLACE COURT          SUITE 100                                CARLSBAD     CA           92008-8830                                   00835
                                                            OPERATIONS, INC                                                                                        AGREEMENT                                                                                                                                                                                                                                                                            83565092
                                                            FOX & HOUND OF                                                                                         ENTERTAINMENT - GAME PADS                                                                     M/M AFTER
          713 NO COPY             65049          13-13235                               LINDA COSTNER        NTN BUZZTIME INC            SERVICE AGREEMENT                                                                   -                  7/16/2009                                    5966 LA PLACE COURT          SUITE 100                                CARLSBAD     CA           92008-8830                                   00835
                                                            COLORADO, INC                                                                                          AGREEMENT                                                                                       7/16/10                                                                                                                                                                              83565049
                                                            FOX & HOUND OF                                                                                         ENTERTAINMENT - GAME PADS
          714 NO COPY             65059          13-13235                               LINDA COSTNER        NTN BUZZTIME INC            SERVICE AGREEMENT                                                                   -                  5/22/2008         5/14/2010                  5966 LA PLACE COURT          SUITE 100                                CARLSBAD     CA           92008-8830                                   00835
                                                            COLORADO, INC                                                                                          AGREEMENT                                                                                                                                                                                                                                                                            83565059
                                                            FOX & HOUND OF HOUSTON                                                                                 ENTERTAINMENT - GAME PADS
          715 NO COPY             65056          13-13233                               LINDA COSTNER        NTN BUZZTIME INC            SERVICE AGREEMENT                                                                   -                   2/6/2008         5/14/2010                  5966 LA PLACE COURT          SUITE 100                                CARLSBAD     CA           92008-8830                                   00835
                                                            #2, LTD.                                                                                               AGREEMENT                                                                                                                                                                                                                                                                            83565056
                                                            FOX & HOUND OF HOUSTON                                                                                 ENTERTAINMENT - GAME PADS
          716 NO COPY             65065          13-13233                               LINDA COSTNER        NTN BUZZTIME INC            SERVICE AGREEMENT                                                                   -                   2/6/2008         5/14/2010                  5966 LA PLACE COURT          SUITE 100                                CARLSBAD     CA           92008-8830                                   00835
                                                            #3, LTD.                                                                                               AGREEMENT                                                                                                                                                                                                                                                                            83565065
                                                            FOX & HOUND OF SAN                                                                                     ENTERTAINMENT - GAME PADS
          717 NO COPY             65022          13-13233                               LINDA COSTNER        NTN BUZZTIME INC            SERVICE AGREEMENT                                                                   -                   2/6/2008         5/14/2010                  5966 LA PLACE COURT          SUITE 100                                CARLSBAD     CA           92008-8830                                   00835
                                                            ANTONIO, LTD.                                                                                          AGREEMENT                                                                                                                                                                                                                                                                            83565022
                                                            N. COLLINS ENTERTAINMENT,                                                                              ENTERTAINMENT - GAME PADS                                                                     M/M AFTER
          718 NO COPY             65004          13-13254                               LINDA COSTNER        NTN BUZZTIME INC            SERVICE AGREEMENT                                                               415.79                 6/13/2013                                    5966 LA PLACE COURT          SUITE 100                                CARLSBAD     CA           92008-8830                                   00835
                                                            LTD.                                                                                                   AGREEMENT                                                                                       6/13/14                                                                                                                                                                              83565004
                                                            F&H RESTAURANTS OF TEXAS,                                                                              ENTERTAINMENT - GAME PADS                                                                     M/M AFTER
          719 NO COPY             65040          13-13248                               LINDA COSTNER        NTN BUZZTIME INC            SERVICE AGREEMENT                                                                   -                  8/21/2009                                    5966 LA PLACE COURT          SUITE 100                                CARLSBAD     CA           92008-8830                                   00835
                                                            INC                                                                                                    AGREEMENT                                                                                       8/21/10                                                                                                                                                                              83565040
                                                            FOX & HOUND OF FORT                                                                                    ENTERTAINMENT - GAME PADS
          720 NO COPY             65043          13-13233                               LINDA COSTNER        NTN BUZZTIME INC            SERVICE AGREEMENT                                                                   -                   2/6/2008          8/6/2008                  5966 LA PLACE COURT          SUITE 100                                CARLSBAD     CA           92008-8830                                   00835
                                                            WORTH, LTD.                                                                                            AGREEMENT                                                                                                                                                                                                                                                                            83565043
                                                            FOX & HOUND OF                                                                                         ENTERTAINMENT - GAME PADS
          721 NO COPY             65052          13-13233                               LINDA COSTNER        NTN BUZZTIME INC            SERVICE AGREEMENT                                                                   -                 10/23/2008         5/14/2010                  5966 LA PLACE COURT          SUITE 100                                CARLSBAD     CA           92008-8830                                   00835
                                                            RICHARDSON, LTD.                                                                                       AGREEMENT                                                                                                                                                                                                                                                                            83565052
                                                            F&H RESTAURANTS OF TEXAS,                                                                              ENTERTAINMENT - GAME PADS                                                                     M/M AFTER
          722 NO COPY             65036          13-13248                               LINDA COSTNER        NTN BUZZTIME INC            SERVICE AGREEMENT                                                                   -                  7/16/2009                                    5966 LA PLACE COURT          SUITE 100                                CARLSBAD     CA           92008-8830                                   00835
                                                            INC                                                                                                    AGREEMENT                                                                                        7/16/10                                                                                                                                                                             83565036
                                                            F&H RESTAURANTS OF TEXAS,                                                                              ENTERTAINMENT - GAME PADS                                                                     M/M AFTER
          723 NO COPY             65094          13-13248                               LINDA COSTNER        NTN BUZZTIME INC            SERVICE AGREEMENT                                                                   -                  7/16/2009                     ERIK SHERMAN   5966 LA PLACE COURT          SUITE 100                                CARLSBAD     CA           92008-8830                                   00835
                                                            INC                                                                                                    AGREEMENT                                                                                        7/16/10                                                                                                                                                                             83565094
                                                            FOX & HOUND OF ARIZONA,                                                                                ENTERTAINMENT - GAME PADS                                                                     M/M AFTER
          724 NO COPY             65050          13-13234                               LINDA COSTNER        NTN BUZZTIME INC            SERVICE AGREEMENT                                                                   -                  7/16/2009                     ERIK SHERMAN   5966 LA PLACE COURT          SUITE 100                                CARLSBAD     CA           92008-8830                                   00835
                                                            INC                                                                                                    AGREEMENT                                                                                        7/16/10                                                                                                                                                                             83565050
                                                            F&H RESTAURANTS OF TEXAS,                                                                              ENTERTAINMENT - GAME PADS                                                                     M/M AFTER
          725 NO COPY             65008          13-13248                               LINDA COSTNER        NTN BUZZTIME INC            SERVICE AGREEMENT                                                               833.52                 6/13/2013                                    5966 LA PLACE COURT          SUITE 100                                CARLSBAD     CA           92008-8830                                   00835
                                                            INC                                                                                                    AGREEMENT                                                                                        6/13/14                                                                                                                                                                             83565008
                                                            TENT RESTAURANT                                                                                        ENTERTAINMENT - GAME PADS                                                                     M/M AFTER    MIKE
          726 NO COPY             65010          13-13259                               LINDA COSTNER        NTN BUZZTIME INC            SERVICE AGREEMENT                                                               857.78                 9/20/2007                                    5966 LA PLACE COURT          SUITE 100                                CARLSBAD     CA           92008-8830                                   00835
                                                            OPERATIONS, INC                                                                                        AGREEMENT                                                                                        9/20/08   SUNDERLAND                                                                                                                                                                83565010
          727 NO COPY             65005          13-13221   505 ENTERTAINMENT, LTD.     LINDA COSTNER        NUCO2 LLC                   SERVICE AGREEMENT         CO2 SERVICE AGREEMENT                                 298.92 65005           9/28/2011         9/28/2014                  2800 SE MARKET PLACE                                                  STUART       FL           34997                                        00844         84465005




2491306-3                                                                                                                                                                                                                                          2.4(m) - 18
                                                                                                                                                                            Case 13-13220-KG                      Doc 506-1                               Filed 03/17/14                                           Page 313 of 362

     ID        Epiq Contract No   Store Number       Case              Debtor          Responsible Person     Contract Counter Party         Type of Contract        Description of Contract    Assume   Reject   Cure Amount Contract NoDate of Contract
                                                                                                                                                                                                                                                       Termination Date         Attention                   Address 1        Address 2   Address 3   Address 4       City           State        Zip     Country   Email   Phone   Fax      Vendor    A/P code
                                                            TENT RESTAURANT
          728 NO COPY             65009          13-13259                              LINDA COSTNER        NUCO2 LLC                  SERVICE AGREEMENT        CO2 SERVICE AGREEMENT                                  350.95 65009          12/21/2011         12/21/2014                  2800 SE MARKET PLACE                                                 STUART        FL           34997                                        00844
                                                            OPERATIONS,INC                                                                                                                                                                                                                                                                                                                                                                             84465009
                                                            FOX & HOUND OF NEBRASKA,
          729 NO COPY             65015          13-13243                              LINDA COSTNER        NUCO2 LLC                  SERVICE AGREEMENT        CO2 SERVICE AGREEMENT                                  373.86 65015           4/20/2012          4/20/2014                  2800 SE MARKET PLACE                                                 STUART        FL           34997                                        00844
                                                            INC                                                                                                                                                                                                                                                                                                                                                                                        84465015
                                                            F & H RESTAURANTS OF                                                                                                                                                                                 Y/Y AFTER RANDY
          730 NO COPY             65022          13-13248                              LINDA COSTNER        NUCO2 LLC                  SERVICE AGREEMENT        CO2 SERVICE AGREEMENT                                  329.05 65022           9/27/2011                                     2800 SE MARKET PLACE                                                 STUART        FL           34997                                        00844
                                                            TEXAS, INC                                                                                                                                                                                             9/27/14 RODRIGUEZ                                                                                                                                                                   84465022
                                                            TENT RESTAURANT
          731 NO COPY             65023          13-13259                              LINDA COSTNER        NUCO2 LLC                  SERVICE AGREEMENT        CO2 SERVICE AGREEMENT                                  441.48 65023           9/28/2011          9/28/2014 GARY KEYSER      2800 SE MARKET PLACE                                                 STUART        FL           34997                                        00844
                                                            OPERATIONS,INC                                                                                                                                                                                                                                                                                                                                                                             84465023
                                                            FOX & HOUND OF KANSAS,                                                                                                                                                                               Y/Y AFTER
          732 NO COPY             65029          13-13238                              LINDA COSTNER        NUCO2 LLC                  SERVICE AGREEMENT        CO2 SERVICE AGREEMENT                                  336.64 65029            9/9/2013                                     2800 SE MARKET PLACE                                                 STUART        FL           34997                                        00844
                                                            INC                                                                                                                                                                                                     9/9/16                                                                                                                                                                             84465029
                                                            TENT RESTAURANT
          733 NO COPY             65031          13-13259                              LINDA COSTNER        NUCO2 LLC                  SERVICE AGREEMENT        CO2 SERVICE AGREEMENT                                  312.95 65031            4/9/2012           4/9/2015                  2800 SE MARKET PLACE                                                 STUART        FL           34997                                        00844
                                                            OPERATIONS,INC                                                                                                                                                                                                                                                                                                                                                                             84465031
                                                            FOX & HOUND OF INDIANA,
          734 NO COPY             65035          13-13237                              LINDA COSTNER        NUCO2 LLC                  SERVICE AGREEMENT        CO2 SERVICE AGREEMENT                                  372.58 65035           8/19/2011          8/19/2014                  2800 SE MARKET PLACE                                                 STUART        FL           34997                                        00844
                                                            INC                                                                                                                                                                                                                                                                                                                                                                                        84465035
                                                            F & H RESTAURANTS OF
          735 NO COPY             65043          13-13248                              LINDA COSTNER        NUCO2 LLC                  SERVICE AGREEMENT        CO2 SERVICE AGREEMENT                                  339.89 65043            3/4/2013           3/4/2016                  2800 SE MARKET PLACE                                                 STUART        FL           34997                                        00844
                                                            TEXAS, INC                                                                                                                                                                                                                                                                                                                                                                                 84465043
                                                            F & H RESTAURANTS OF                                                                                                                                                                                 Y/Y AFTER JOSH
          736 NO COPY             65043          13-13248                              LINDA COSTNER        NUCO2 LLC                  SERVICE AGREEMENT        CO2 SERVICE AGREEMENT                                      -     65043        2/20/2013                                     2800 SE MARKET PLACE                                                 STUART        FL           34997                                        00844
                                                            TEXAS, INC                                                                                                                                                                                             2/20/16 BRASSFIELD                                                                                                                                                                  84465043
                                                            FOX & HOUND OF                                                                                                                                                                                      M/M AFTER
          737 NO COPY             65049          13-13235                              LINDA COSTNER        NUCO2 LLC                  SERVICE AGREEMENT        CO2 SERVICE AGREEMENT                                  426.54 65049           9/30/2011                                     2800 SE MARKET PLACE                                                 STUART        FL           34997                                        00844
                                                            COLORADO, INC                                                                                                                                                                                          9/30/14                                                                                                                                                                             84465049
                                                            FOX & HOUND OF
          738 NO COPY             65049          13-13235                              LINDA COSTNER        NUCO2 LLC                  SERVICE AGREEMENT        CO2 SERVICE AGREEMENT                                      -     65049       10/27/2011         10/27/2014                  2800 SE MARKET PLACE                                                 STUART        FL           34997                                        00844
                                                            COLORADO, INC                                                                                                                                                                                                                                                                                                                                                                              84465049
                                                            FOX & HOUND OF ARIZONA,                                                                                                                                                                             M/M AFTER
          739 NO COPY             65050          13-13234                              LINDA COSTNER        NUCO2 LLC                  SERVICE AGREEMENT        CO2 SERVICE AGREEMENT                                   62.47 65050           8/16/2012                                     2800 SE MARKET PLACE                                                 STUART        FL           34997                                        00844
                                                            INC                                                                                                                                                                                                   8/16/15                                                                                                                                                                              84465050
                                                            FOX & HOUND OF ARIZONA,
          740 NO COPY             65057          13-13234                              LINDA COSTNER        NUCO2 LLC                  SERVICE AGREEMENT        CO2 SERVICE AGREEMENT                                  767.90 65057           9/28/2011          9/28/2014 ERIC MONROE      2800 SE MARKET PLACE                                                 STUART        FL           34997                                        00844
                                                            INC                                                                                                                                                                                                                                                                                                                                                                                        84465057
                                                            FOX & HOUND OF
          741 NO COPY             65064          13-13247                              LINDA COSTNER        NUCO2 LLC                  SERVICE AGREEMENT        CO2 SERVICE AGREEMENT                                  345.67 65064           2/13/2012          2/13/2015                  2800 SE MARKET PLACE                                                 STUART        FL           34997                                        00844
                                                            OKLAHOMA, INC                                                                                                                                                                                                                                                                                                                                                                              84465064
                                                            FOX & HOUND RESTAURANT
          742 NO COPY             65084          13-13249                              LINDA COSTNER        NUCO2 LLC                  SERVICE AGREEMENT        CO2 SERVICE AGREEMENT                                  349.05 65084          11/14/2011         11/14/2017                  2800 SE MARKET PLACE                                                 STUART        FL           34997                                        00844
                                                            GROUP                                                                                                                                                                                                                                                                                                                                                                                      84465084
                                                            TENT RESTAURANT
          743 NO COPY             65092          13-13259                              LINDA COSTNER        NUCO2 LLC                  SERVICE AGREEMENT        CO2 SERVICE AGREEMENT                                 1,200.64 65092          9/30/2011          9/30/2014                  2800 SE MARKET PLACE                                                 STUART        FL           34997                                        00844
                                                            OPERATIONS,INC                                                                                                                                                                                                                                                                                                                                                                             84465092
                                                            F & H RESTAURANTS OF
          744 NO COPY             65094          13-13248                              LINDA COSTNER        NUCO2 LLC                  SERVICE AGREEMENT        CO2 SERVICE AGREEMENT                                  400.35 65094           9/27/2011          9/27/2014                  2800 SE MARKET PLACE                                                 STUART        FL           34997                                        00844
                                                            TEXAS, INC                                                                                                                                                                                                                                                                                                                                                                                 84465094
                                                            TENT RESTAURANT
          745 NO COPY             65095          13-13259                              LINDA COSTNER        NUCO2 LLC                  SERVICE AGREEMENT        CO2 SERVICE AGREEMENT                                      -     65095         6/1/2012           6/1/2015                  2800 SE MARKET PLACE                                                 STUART        FL           34997                                        00844
                                                            OPERATIONS,INC                                                                                                                                                                                                                                                                                                                                                                             84465095
                                                            CHAMPPS OPERATING
          746 NO COPY             65211          13-13227                              LINDA COSTNER        NUCO2 LLC                  SERVICE AGREEMENT        CO2 SERVICE AGREEMENT                                  199.50 65211            9/1/2011           9/1/2014                  2800 SE MARKET PLACE                                                 STUART        FL           34997                                        00844
                                                            CORPORATION                                                                                                                                                                                                                                                                                                                                                                                84465211
                                                            CHAMPPS ENTERTAINMENT,                                                                                                                                                                              M/M AFTER
          747 NO COPY             65212          13-13224                              LINDA COSTNER        NUCO2 LLC                  SERVICE AGREEMENT        CO2 SERVICE AGREEMENT                                  233.37 65212          11/20/1998                                     2800 SE MARKET PLACE                                                 STUART        FL           34997                                        00844
                                                            INC                                                                                                                                                                                                  11/20/10                                                                                                                                                                              84465212
                                                            CHAMPPS ENTERTAINMENT,                                                                                                                                                                              M/M AFTER
          748 NO COPY             65218          13-13224                              LINDA COSTNER        NUCO2 LLC                  SERVICE AGREEMENT        CO2 SERVICE AGREEMENT                                  210.45 65218            1/4/1999                                     2800 SE MARKET PLACE                                                 STUART        FL           34997                                        00844
                                                            INC                                                                                                                                                                                                    1/4/11                                                                                                                                                                              84465218
                                                            CHAMPPS ENTERTAINMENT,                                                                                                                                                                              M/M AFTER
          749 NO COPY             65219          13-13224                              LINDA COSTNER        NUCO2 LLC                  SERVICE AGREEMENT        CO2 SERVICE AGREEMENT                                  382.44 65219           6/12/2000                                     2800 SE MARKET PLACE                                                 STUART        FL           34997                                        00844
                                                            INC                                                                                                                                                                                                   6/12/12                                                                                                                                                                              84465219
                                                            CHAMPPS ENTERTAINMENT,                                                                                                                                                                              M/M AFTER
          750 NO COPY             65220          13-13224                              LINDA COSTNER        NUCO2 LLC                  SERVICE AGREEMENT        CO2 SERVICE AGREEMENT                                  243.38 65220          10/23/1998                                     2800 SE MARKET PLACE                                                 STUART        FL           34997                                        00844
                                                            INC                                                                                                                                                                                                  10/23/10                                                                                                                                                                              84465220
                                                            CHAMPPS ENTERTAINMENT,                                                                                                                                                                              M/M AFTER
          751 NO COPY             65221          13-13224                              LINDA COSTNER        NUCO2 LLC                  SERVICE AGREEMENT        CO2 SERVICE AGREEMENT                                  224.12 65221           7/19/1999                                     2800 SE MARKET PLACE                                                 STUART        FL           34997                                        00844
                                                            INC                                                                                                                                                                                                   7/19/10                                                                                                                                                                              84465221
                                                            CHAMPPS ENTERTAINMENT,                                                                                                                                                                              M/M AFTER
          752 NO COPY             65228          13-13224                              LINDA COSTNER        NUCO2 LLC                  SERVICE AGREEMENT        CO2 SERVICE AGREEMENT                                  165.78 65228           4/18/2001                                     2800 SE MARKET PLACE                                                 STUART        FL           34997                                        00844
                                                            INC                                                                                                                                                                                                   4/18/04                                                                                                                                                                              84465228
                                                            CHAMPPS ENTERTAINMENT,                                                                                                                                                                              M/M AFTER
          753 NO COPY             65232          13-13224                              LINDA COSTNER        NUCO2 LLC                  SERVICE AGREEMENT        CO2 SERVICE AGREEMENT                                  151.26 65232           4/18/2001                                     2800 SE MARKET PLACE                                                 STUART        FL           34997                                        00844
                                                            INC                                                                                                                                                                                                   4/18/09                                                                                                                                                                              84465232
                                                            CHAMPPS ENTERTAINMENT,                                                                                                                                                                              M/M AFTER
          754 NO COPY             65235          13-13224                              LINDA COSTNER        NUCO2 LLC                  SERVICE AGREEMENT        CO2 SERVICE AGREEMENT                                  324.87 65235            3/1/2003                                     2800 SE MARKET PLACE                                                 STUART        FL           34997                                        00844
                                                            INC                                                                                                                                                                                                  3/1/2008                                                                                                                                                                              84465235
                                                            CHAMPPS OPERATING
          755 NO COPY             65240          13-13227                              LINDA COSTNER        NUCO2 LLC                  SERVICE AGREEMENT        CO2 SERVICE AGREEMENT                                  273.48 65240            9/4/2012           9/4/2015                  2800 SE MARKET PLACE                                                 STUART        FL           34997                                        00844
                                                            CORPORATION                                                                                                                                                                                                                                                                                                                                                                                84465240
                                                                                                                                                                                                                                                                M/M AFTER
          756 NO COPY             65244          13-13224   CHAMPPS ENTERTAINMENT      LINDA COSTNER        NUCO2 LLC                  SERVICE AGREEMENT        CO2 SERVICE AGREEMENT                                  177.87 65244           4/18/2001                                     2800 SE MARKET PLACE                                                 STUART        FL           34997                                        00844
                                                                                                                                                                                                                                                                  4/18/09                                                                                                                                                                              84465244
                                                                                                                                                                                                                                                          60 DAY TERMS
                                                            CHAMPPS OPERATING
          757 NO COPY             65245          13-13227                              LINDA COSTNER        NUCO2 LLC                  SERVICE AGREEMENT        CO2 SERVICE AGREEMENT                                  252.82 65245          12/28/2004           AFTER STACEY ROWE         2800 SE MARKET PLACE                                                 STUART        FL           34997                                        00844
                                                            CORPORATION
                                                                                                                                                                                                                                                              12/28/08
                                                                                                                                                                                                                                                                                                                                                                                                                                                       84465245
                                                            CHAMPPS OPERATING                                                                                                                                                                                   M/M AFTER
          758 NO COPY             65246          13-13227                              LINDA COSTNER        NUCO2 LLC                  SERVICE AGREEMENT        CO2 SERVICE AGREEMENT                                  536.26 65246           4/18/2001                                     2800 SE MARKET PLACE                                                 STUART        FL           34997                                        00844
                                                            CORPORATION                                                                                                                                                                                           4/18/09                                                                                                                                                                              84465246
                                                                                                                                                                                                                                                                M/M AFTER
          759 NO COPY             65248          13-13224   CHAMPPS ENTERTAINMENT      LINDA COSTNER        NUCO2 LLC                  SERVICE AGREEMENT        CO2 SERVICE AGREEMENT                                      -     65248        4/18/2001                                     2800 SE MARKET PLACE                                                 STUART        FL           34997                                        00844
                                                                                                                                                                                                                                                                  4/18/09                                                                                                                                                                              84465248
                                                                                                                                                                                                                                                                M/M AFTER                                                                                        COLLEGE
          760 NO COPY             65005          13-13250   FOX & HOUND                LINDA COSTNER        ORKIN PEST CONTROL         SERVICE AGREEMENT        PEST CONTROL                                               -                   5/5/2003                                     3209 E BYPASS                                                                      TX           77845                                        33485
                                                                                                                                                                                                                                                                   5/5/04                                                                                        STATION                                                                             3348565005
                                                            TENT RESTAURANT                                                                                                                                                                                                                                                                                      COLONIAL
          761 NO COPY             65086          13-13259                              LINDA COSTNER        PALACE LAUNDRY INC         SERVICE AGREEMENT        LINEN SERVICES AGREEMENT                                   -     65086       11/30/2010         11/30/2015                  1701 TOUCHSTONE ROAD                                                               VA           23834-5946
                                                            OPERATIONS,INC                                                                                                                                                                                                                                                                                       HEIGHTS                                                                                  65086
                                                                                                                                                                                                                                                                      UNTIL
                                                            FOX & HOUND OF INDIANA,                                                                             ENTERTAINMENT - POKER                                                                                                                                                                            OVERLAND
          762 NO COPY             65035          13-13237                              LINDA COSTNER        POKER PLAYERS INC          SERVICE AGREEMENT                                                                   -                 10/11/2004        TERMINATED                   7113 WEST 135TH SUITE 112                                                          KS           66223
                                                            INC                                                                                                 TOURNAMENTS AGREEMENT                                                                                                                                                                            PARK
                                                                                                                                                                                                                                                                IN WRITING                                                                                                                                                                                65035
                                                                                                            QUALITY TEMP HEATING &                                                                                                                                Y/Y AFTER
          763 NO COPY             65016          13-13250   FOX & HOUND                LINDA COSTNER                                   SERVICE AGREEMENT        HVAC AGREEMENT                                             -                   7/3/2000                                     164 ROSS AVE                SUITE A                                  SOUTH ELGIN   IL           60177
                                                                                                            AIR INC                                                                                                                                                  7/3/01                                                                                                                                                                               65016
                                                                                                            RED DIAMOND DRY ICE &                                                                                                                               M/M AFTER
          764 NO COPY             65248          13-13227   CHAMPPS                    LINDA COSTNER                                   SERVICE AGREEMENT        CO2 SERVICE AGREEMENT                                      -     65248        9/23/2003                                     P.O. BOX 409                                                         BUFFALO       NY           14212
                                                                                                            CO2 CORP                                                                                                                                                9/23/09                                                                                                                                                                               65248
                                                            FOX & HOUND OF ILLINOIS,                        RESTAURANT TECHNOLOGIES                                                                                                                                           BRUCE
          765 NO COPY             65055          13-13236                              LINDA COSTNER                                   SERVICE AGREEMENT        COOKING OIL SERVICE                                   2,250.28                6/21/2004                                     940 APOLLO ROAD             SUITE 110                                EAGAN         MN           55121                                        07590
                                                            INC                                             INC                                                                                                                                                               HAMILTON                                                                                                                                                                759065055
                                                            FOX & HOUND OF                                  RESTAURANT TECHNOLOGIES                                                                                                                              Y/Y AFTER
          766 NO COPY             65082          13-13242                              LINDA COSTNER                                   SERVICE AGREEMENT        COOKING OIL SERVICE AGREEMENT                         1,216.35                4/29/2005                    KATHI FEROLI     940 APOLLO ROAD             SUITE 110                                EAGAN         MN           55121                                        07590
                                                            MARYLAND, INC                                   INC                                                                                                                                                    4/29/10                                                                                                                                                                            759065082

                                                                                                            RETAIL MERCHANTS                                    COLLECTION ON                                                                           AUTO RENEW
          767 NO COPY             65025          13-13250   FOX & HOUND                LINDA COSTNER                                   SERVICE AGREEMENT                                                                   -                   1/6/1999                                     902 AVENUE J                PO BOX 2249                              LUBBOCK       TX           79408
                                                                                                            ASSOCIATION                                         OUTSTANDING/RETURNED CHECKS                                                             2YEAR TERMS
                                                                                                                                                                                                                                                                                                                                                                                                                                                          65025
                                                            NORTH CAROLINA FOX &                            RGB INC DBA RALEIGH                                 ENTERTAINMENT - COIN-OP                                                                         M/M AFTER DAVID RICKY
          768 NO COPY                            13-13259                              LINDA COSTNER                                   SERVICE AGREEMENT                                                                   -                 10/12/2004                                     6217 NC HIGHWAY 39 SELMA                                             SELMA         NC           27576-7923
                                                            HOUND, INC                                      AMUSEMENTS                                          AMUSEMENTS                                                                                        10/12/05 GODWIN                                                                                                                                                                     #VALUE!
                                                            TENT RESTAURANT                                                                                                                                                                                     M/M AFTER
          769 NO COPY             65086          13-13259                              LINDA COSTNER        ROBERTS OXYGEN CO INC      SERVICE AGREEMENT        CO2 SERVICE AGREEMENT                                      -     65086       10/25/2005                                     15830 REDLAND ROAD                                                   ROCKVILLE     MD           20855                                        08320
                                                            OPERATIONS,INC                                                                                                                                                                                        10/25/08                                                                                                                                                                            832065086
                                                            CHAMPPS ENTERTAINMENT,                                                                                                                                                                              M/M AFTER
          770 NO COPY             65207          13-13224                              LINDA COSTNER        ROBERTS OXYGEN CO INC      SERVICE AGREEMENT        CO2 SERVICE AGREEMENT                                      -     65207         5/1/1996                    DAVE CUTCLIFF    1230 MACDADE BLVD                                                    COLLINGDALE PA             19023                                        08320
                                                            INC                                                                                                                                                                                                    4/30/10                                                                                                                                                                            832065207
                                                                                                                                                                                                                                                                M/M AFTER
          771 NO COPY             65226          13-13224   CHAMPPS ENTERTAINMENT      LINDA COSTNER        ROBERTS OXYGEN CO INC      SERVICE AGREEMENT        CO2 SERVICE AGREEMENT                                  599.05 65226           8/21/2001                                     1230 MACDADE BLVD                                                    COLLINGDALE PA             19023                                        08320
                                                                                                                                                                                                                                                                   8/20/10                                                                                                                                                                            832065226
                                                                                                                                                                                                                                                                M/M AFTER
          772 NO COPY             65230          13-13224   CHAMPPS ENTERTAINMENT      LINDA COSTNER        ROBERTS OXYGEN CO INC      SERVICE AGREEMENT        CO2 SERVICE AGREEMENT                                  772.95 65230            6/4/2001                                     1230 MACDADE BLVD                                                    COLLINGDALE PA             19023                                        08320
                                                                                                                                                                                                                                                                    6/4/10                                                                                                                                                                            832065230
                                                                                                                                                                                                                                                                M/M AFTER
          773 NO COPY             65231          13-13224   CHAMPPS ENTERTAINMENT      LINDA COSTNER        ROBERTS OXYGEN CO INC      SERVICE AGREEMENT        CO2 SERVICE AGREEMENT                                  225.42 65231           10/3/2001                                     1230 MACDADE BLVD                                                    COLLINGDALE PA             19023                                        08320
                                                                                                                                                                                                                                                                   10/3/04                                                                                                                                                                            832065231
                                                                                                                                                                                                                                                                M/M AFTER
          774 NO COPY             65240          13-13224   CHAMPPS ENTERTAINMENT      LINDA COSTNER        ROBERTS OXYGEN CO INC      SERVICE AGREEMENT        CO2 SERVICE AGREEMENT                                      -     65240         9/1/2003                                     1230 MACDADE BLVD                                                    COLLINGDALE PA             19023                                        08320
                                                                                                                                                                                                                                                                  9/1/2010                                                                                                                                                                            832065240
                                                                                                                                                                                                                                                                M/M AFTER
          775 NO COPY             65241          13-13224   CHAMPPS ENTERTAINMENT      LINDA COSTNER        ROBERTS OXYGEN CO INC      SERVICE AGREEMENT        CO2 SERVICE AGREEMENT                                  440.87 65241           11/1/2003                                     1230 MACDADE BLVD                                                    COLLINGDALE PA             19023                                        08320
                                                                                                                                                                                                                                                                10/31/2010                                                                                                                                                                            832065241
          776 NO COPY             65253          13-13224   CHAMPPS ENTERTAINMENT      LINDA COSTNER        ROBERTS OXYGEN CO INC      SERVICE AGREEMENT        CO2 SERVICE AGREEMENT                                  256.95 65253           4/26/2011           6/1/2014                  1230 MACDADE BLVD                                                    COLLINGDALE PA             19023                                        08320
                                                                                                                                                                                                                                                                                                                                                                                                                                                      832065253




2491306-3                                                                                                                                                                                                                                        2.4(m) - 19
                                                                                                                                                                                   Case 13-13220-KG                       Doc 506-1                               Filed 03/17/14                                        Page 314 of 362

     ID        Epiq Contract No   Store Number       Case             Debtor           Responsible Person         Contract Counter Party         Type of Contract           Description of Contract     Assume   Reject   Cure Amount Contract NoDate of Contract
                                                                                                                                                                                                                                                               Termination Date        Attention                 Address 1              Address 2   Address 3   Address 4        City         State       Zip   Country       Email                  Phone         Fax      Vendor        A/P code
                                                            F&H RESTAURANTS OF TEXAS,                       ROCK 101 FM WILKS                                          ADVERTISING AGREEMENT - MNF
          777 NO COPY             65025          13-13248                             LINDA COSTNER                                        SERVICE AGREEMENT           WATCH PARTIES WITH RADIO                                    -                  9/27/2013          9/22/2013 RANDY GATTIS    33 BRIERCROFT OFFICE PARK                                                LUBBOCK      TX           79412
                                                            INC                                             BROADCASTING                                                                                                                                                                                                                                                                                                                                                                         65025
                                                                                                                                                                       ADVERTISEMENTS
                                                            FOX & HOUND OF ILLINOIS,                        RTI SUPPLY AND FILTRATION                                                                                                                                   M/M AFTER                                                                                           MENDOTA
          778 NO COPY             65055          13-13236                              LINDA COSTNER                                       SERVICE AGREEMENT           GREASE REMOVAL SERVICE                                 2,250.28 65055          8/21/2013                   BRENT MORRIS 2250 PILOT KNOB ROAD                SUITE 100                                             MN           55120                                                              07590
                                                            INC                                             MONITORING                                                                                                                                                    8/21/14                                                                                           HEIGHTS                                                                                                       759065055
                                                            FOX & HOUND OF NEW                              RTI SUPPLY AND FILTRATION                                                                                                                                   M/M AFTER                                                                                           MENDOTA
          779 NO COPY             65073          13-13244                              LINDA COSTNER                                       SERVICE AGREEMENT           GREASE REMOVAL SERVICE                                 2,120.67 65073          8/21/2013                   BRENT MORRIS 2250 PILOT KNOB ROAD                SUITE 100                                             MN           55120                                                              07590
                                                            JERSEY, INC                                     MONITORING                                                                                                                                                    8/21/14                                                                                           HEIGHTS                                                                                                       759065073
                                                            TENT RESTAURANT
          780 NO COPY             CORPORATE      13-13259                              LINDA COSTNER        SCHOLFIELD AUTO PLAZA          AUTOMOBILE LEASE AGREEMENT 2011 ACURA MDX                                               -                 10/31/2011         10/31/2014                 11212 EAST KELLOGG                                                       WICHITA      KS           67207
                                                            OPERATIONS, INC                                                                                                                                                                                                                                                                                                                                                                                                               #VALUE!
                                                            PENNSYLVANIA FOX &                                                                                         ENTERTAINMENT - VIDEO                                                                      AUTO RENEW
          781 NO COPY             65033          13-13259                              LINDA COSTNER        TCI                            SERVICE AGREEMENT                                                                       -                  1/12/1998                JOHN SPIRNAK        300 CORLISS STREET                                                       PITTSBURGH   PA           15220
                                                            HOUND, INC                                                                                                 AGREEMENT                                                                                  3 YEAR TERMS
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                 65033
                                                                                                            THE ANSWER                                                 ENTERTAINMENT - TRIVIA
          782 NO COPY             65044          13-13230   F&H OF KENNESAW, INC       LINDA COSTNER                                       SERVICE AGREEMENT                                                                       -                  6/13/2013                      GRIF MENGEL   3475 ROMULUS DRIVE                                                       DULUTH       GA           30097
                                                                                                            IS…PRODUCTIONS INC                                         CONTRACT                                                                                                                                                                                                                                                                                                                  65044
                                                            F&H OF KENNESAW INC
          783 NO COPY             CORPORATE      13-13230                              LINDA COSTNER        TOYOTA LEASE TRUST             AUTOMOBILE LEASE AGREEMENT 2012 LEXUS ES350                                             -                 12/19/2011         12/19/2014                 P.O. BOX 105386                                                          ATLANTA      GA           30348
                                                            MARTIN J FAYETTE                                                                                                                                                                                                                                                                                                                                                                                                              #VALUE!
                                                            TENT RESTAURANT
          784 NO COPY             65009          13-13259                              LINDA COSTNER        UNIFIRST CORPORATION           SERVICE AGREEMENT           LINEN SERVICES AGREEMENT                                473.36 65009           1/29/2013          1/29/2014                 10603 LEXINGTON DR                                                       KNOXVILLE    TN           37932                                                              36005
                                                            OPERATIONS, INC                                                                                                                                                                                                                                                                                                                                                                                                              3600565009
          785 NO COPY             65033          13-13250   FOX & HOUND                LINDA COSTNER        UNIFIRST CORPORATION           SERVICE AGREEMENT           LINEN SERVICES AGREEMENT                                515.39 65033           2/16/2006          2/16/2016                 1150 SECOND AVENUE                                                       KENSINGTON   PA           15068                                                              01153            115365033
                                                            TENT RESTAURANT
          786 NO COPY             65089          13-13259                              LINDA COSTNER        UNIFIRST CORPORATION           SERVICE AGREEMENT           LINEN SERVICES AGREEMENT                                391.89 65089           1/13/2011          1/13/2016                 2001 CHURCH ST                                                           NORFOLK      VA           23504                                                              10151
                                                            OPERATIONS,INC                                                                                                                                                                                                                                                                                                                                                                                                               1015165089
                                                            FOX & HOUND OF VIRGINIA,                                                                                                                                                                                    M/M AFTER
          787 NO COPY             65062          13-13259                              LINDA COSTNER        US ATM SERVICES LLC            SERVICE AGREEMENT           ATM AGREEMENT                                               -   65062          6/13/2013                                  10410 MAIN STREET                 SUITE 210                                FAIRFAX      VA           22203
                                                            INC                                                                                                                                                                                                             6/30/05                                                                                                                                                                                                              65062
                                                            FOX & HOUND, DALLAS, TX                         WISE ALTERNATIVE SERVICES                                  COOKING EQUIPMENT SERVICE                                                                          Y/Y AFTER
          788 NO COPY             65008          13-13233                              LINDA COSTNER                                  SERVICE AGREEMENT                                                                            -                 11/15/2001                     DEBORAH WISE 2073 SIENNA TRAIL                                                          LEWISVILLE   TX           75067
                                                            75287                                           INC                                                        EQUIPMENT                                                                                           11/15/02                                                                                                                                                                                                              65008
                                                                                                                                                                                                                                                                              UNTIL
                                                            FOX & HOUND, LEWISVILLE,                        WISE ALTERNATIVE SERVICES
          789 NO COPY             65040          13-13233                              LINDA COSTNER                                  SERVICE AGREEMENT                COOKING EQUIPMENT SERVICE                                   -                 11/15/2001        TERMINATED BEBORAH WISE 2073 SIENNA TRAIL                                                            LEWISVILLE   TX           75067
                                                            TX                                              INC
                                                                                                                                                                                                                                                                        IN WRITING                                                                                                                                                                                                               65040
                                                                                                                                                                                                                                                                          Y/Y AFTER
          790 NO COPY             65030          13-13246   FOX & HOUND OF OHIO, INC   LINDA COSTNER        WRG SERVICES INC               SERVICE AGREEMENT           ATM AGREEMENT                                               -                  11/6/2001                                  37500 N INDUSTRIAL PARKWAY                                                 WILLOUGHBY OH             44094
                                                                                                                                                                                                                                                                            11/6/02                                                                                                                                                                                                              65030
                                                                                                                                                                                                                                                                          Y/Y AFTER
          791 NO COPY             65030          13-13246   FOX & HOUND CANTON         LINDA COSTNER        WRG SERVICES INC               SERVICE AGREEMENT           ATM AGREEMENT                                               -   65030          11/6/2001                                  37500 N INDUSTRIAL PARKWAY                                                 WILLOUGHBY OH             44094
                                                                                                                                                                                                                                                                            11/6/02                                                                                                                                                                                                              65030
                                                                                                                                                                                                                                                                        M/M AFTER
          792 NO COPY             65039          13-13246   FOX & HOUND OF OHIO, INC   LINDA COSTNER        WRG SERVICES INC               SERVICE AGREEMENT           ATM AGREEMENT                                               -   65039          10/5/2000                                  21651 TUNGSTEN ROAD                                                        EUCLID       OH           44117
                                                                                                                                                                                                                                                                            10/5/05                                                                                                                                                                                                              65039
                                                                                                                                                                                                                                                                                                                                                                                                                          ADVANCERES
                                                            CHAMPPS ENTERTAINMENT,                                                                                                                                                                                EITHER PARTY,
          793 NO COPY             CORPORATE      13-13224                              RENEE CHALOUPKA ADVANCE RESOURCES                   FEE AGREEMENT               RECRUITER FEE AGREEMENT                                     -   NA             2/13/2013                 MARK FIGURSKI 325 FAIRWAY NORTH                                                             TEQUESTA     FL           33469               OURCES@CO 561-746-7039
                                                            INC                                                                                                                                                                                                      NO NOTICE
                                                                                                                                                                                                                                                                                                                                                                                                                          MCAST.NET                                                       #VALUE!
                                                                                                                                                                                                                                                                                                                                                                                                                          ADVANCERES
                                                            FOX & HOUND RESTAURANT                                                                                                                                                                                EITHER PARTY,
          794 NO COPY             CORPORATE      13-13249                              RENEE CHALOUPKA ADVANCE RESOURCES                   FEE AGREEMENT               RECRUITER FEE AGREEMENT                                     -   NA             2/13/2013                 MARK FIGURSKI 325 FAIRWAY NORTH                                                             TEQUESTA     FL           33469               OURCES@CO 561-746-7039
                                                            GROUP                                                                                                                                                                                                    NO NOTICE
                                                                                                                                                                                                                                                                                                                                                                                                                          MCAST.NET                                                       #VALUE!
                                                                                                                                                                                                                                                                                                                                                                                                                          AKENDALL@A
                                                            FOX & HOUND RESTAURANT                                                                                                                                                                                EITHER PARTY, AMBER                                                                                       OKLAHOMA
          795 NO COPY             CORPORATE      13-13249                              RENEE CHALOUPKA AKR RECRUITING                      FEE AGREEMENT               RECRUITER FEE AGREEMENT                                     -   NA             5/19/2010                                    5209 N SHARTEL AVE                                                                    OK           73118               KRCAREERS.C 405-601-1190
                                                            GROUP                                                                                                                                                                                                    NO NOTICE KENDALL                                                                                      CITY
                                                                                                                                                                                                                                                                                                                                                                                                                          OM                                                              #VALUE!
                                                                                                                                                                                                                                                                            ALYSSA
                                                            CHAMPPS ENTERTAINMENT,                                                                                     CONTINGENCY SEARCH                                                                                                                                                                                   UPPER
          796 NO COPY             CORPORATE      13-13224                              RENEE CHALOUPKA ATLANTIC PERSONNEL                  FEE AGREEMENT                                                                           -   NA             7/21/2008 NONE STATED SHERMAN, MIKE 9624 PENNSLYVANIA AVENUE                                                                       MD           20772
                                                            INC                                                                                                        AGREEMENT                                                                                                                                                                                            MARLBORO
                                                                                                                                                                                                                                                                            ESPOSITO
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                          #VALUE!
                                                                                                                                                                                                                                                                                   AMERICAN
                                                                                                                                                                                                                                                                         NA - AUTO
                                                            FOX & HOUND RESTAURANT                                                                                                                                                                                                 EXPRESS ATTN:                                                                            MOUNT
          797 NO COPY             CORPORATE      13-13249                              RENEE CHALOUPKA AXIOM                               LETTER AGREEMENT            TRAVEL BOOKING TOOL                                         -   NA             6/16/2009            RENEW                   5000 ATRIUM WAY                                                                       NJ           08054
                                                            GROUP                                                                                                                                                                                                                  CONTRACTS                                                                                LAUREL
                                                                                                                                                                                                                                                                            YEARLY
                                                                                                                                                                                                                                                                                   DEPARTMENT                                                                                                                                                                                             #VALUE!
                                                                                                                                                                                                                                                                                                                                                                                                                          TOM@BESTRE
                                                            FOX & HOUND RESTAURANT                                                                                                                                                                                EITHER PARTY,                                                                                             SCOTCH
          798 NO COPY             CORPORATE      13-13249                              RENEE CHALOUPKA BEST RESTAURANT JOBS                FEE AGREEMENT               RECRUITER FEE AGREEMENT                                     -   NA             5/14/2010                 TOM MEREDITH 23 CLYDESDALE RD                                                                            NJ           07076               STAURANTJOB 908-418-4954
                                                            GROUP                                                                                                                                                                                                    NO NOTICE                                                                                              PLAINS
                                                                                                                                                                                                                                                                                                                                                                                                                          S.COM                                                           #VALUE!
                                                            FOX & HOUND RESTAURANT
          799 NO COPY             CORPORATE      13-13249                              RENEE CHALOUPKA BEST WESTERN TUCSON                 CORPORATE RATE AGREEMENT    HOTEL RATE AGREEMENT                                        -   NA              1/3/2013         12/31/2013 SALES DIRECTOR 6201 N ORACLE RD                                                          TUCSON       ARIZONA      85704
                                                            GROUP                                                                                                                                                                                                                                                                                                                                                                                                                         #VALUE!
                                                            CHAMPPS ENTERTAINMENT,                                                                                                                                                                                EITHER PARTY,
          800 NO COPY             CORPORATE      13-13224                              RENEE CHALOUPKA BILL REBER & ASSOCIATES             FEE AGREEMENT               RECRUITER FEE AGREEMENT                                     -   NA              5/9/2012                 BILL REBER, CPC 716 HIDDEN CIR                                                              DAYTON       OH           45458                               937-433-5400                           35223
                                                            INC                                                                                                                                                                                                      NO NOTICE
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                 35223
                                                            FOX & HOUND RESTAURANT                                                                                                                                                                                                   CUSTOMER
          801 NO COPY             CORPORATE      13-13249                              RENEE CHALOUPKA BUSINESS EXTRA                      AA REWARDS PROGRAM          AIRLINE REWARDS PROGRAM                                     -   NA            11/13/2008                NA                  4255 AMON CARTER BLVD MD 4106                                            FT WORTH     TX           76155
                                                            GROUP                                                                                                                                                                                                                    SERVICE                                                                                                                                                                                              #VALUE!
                                                            FOX & HOUND RESTAURANT
          802 NO COPY             CORPORATE      13-13249                              RENEE CHALOUPKA COMFORT INN CANTON                  CORPORATE RATE AGREEMENT    HOTEL RATE AGREEMENT                                        -   NA              1/1/2013         12/31/2013 SALES DIRECTOR 5345 BROADMOOR CIR NW                                                     CANTON       OHIO         44709
                                                            GROUP                                                                                                                                                                                                                                                                                                                                                                                                                         #VALUE!
                                                                                                                                                                                                                                       900-
                                  WICHITA                   FOX AND HOUND
          803 NO COPY                            13-13249                              RENEE CHALOUPKA DIGITAL OFFICE SYSTEMS INC RENTAL AGREEMENT                     COPY MACHINES - WICHITA OFFICE                              -   0208951-       4/21/2013           8/8/2018 BRYAN STAAT     530 S HYDRAULIC                                                          WICHITA      KS           67211
                                  OFFICE                    RESTAURANT GROUP
                                                                                                                                                                                                                                       000                                                                                                                                                                                                                                                #VALUE!
                                                                                                                                                                                                                                                                                                                                                                                                                          DTANTILLO@E
                                                            CHAMPPS ENTERTAINMENT,                                                                                                                                                                                                   COLLEEN
          804 NO COPY             CORPORATE      13-13224                              RENEE CHALOUPKA EHS HOSPITALITY                     SEARCH AGREEMENT            EHS SEARCH AGREEMENT                                        -   NA             6/11/2013 NONE STATED                        1630 MORRILL ST                                                          SARASOTA     FL           34236               HSHOSPITALIT 847-838-0147
                                                            INC                                                                                                                                                                                                                      HUGHES
                                                                                                                                                                                                                                                                                                                                                                                                                          Y.COM                                                           #VALUE!
                                                            FOX AND HOUND
          805 NO COPY             CORPORATE      13-13249                              RENEE CHALOUPKA ENTERPRISE HOLDINGS                 RATE AGREEMENT              RENTAL CAR COMPANY                                          -   NA             11/1/2009                NA MARK I. LITOW    600 CORPORATE PARK DRIVE                                                 ST. LOUIS    MO           63105
                                                            RESTAURANT GROUP                                                                                                                                                                                                                                                                                                                                                                                                              #VALUE!
                                                                                                                                                                                                                                                                                                                                                                                                                          MARTY@GECK
                                                            FOX & HOUND RESTAURANT                                                                                                                                                                                EITHER PARTY, MARTY
          806 NO COPY             CORPORATE      13-13249                              RENEE CHALOUPKA GECKO HOSPITALITY                   FEE AGREEMENT               RECRUITER FEE AGREEMENT                                2,500.00 NA             5/13/2010                                    5237 SUMMERLIN COMMONS          SUITE 408                                FORT MYERS   FL           33907               OHOSPITALITY    866-716-4490                   07991
                                                            GROUP                                                                                                                                                                                                    NO NOTICE TARABAR
                                                                                                                                                                                                                                                                                                                                                                                                                          .COM                                                           07991
                                                                                                                                                                                                                                                                                                                                                                                                                          BARRY@GECK
                                                            FOX & HOUND RESTAURANT                                                                                                                                                                                EITHER PARTY,
          807 NO COPY             CORPORATE      13-13249                              RENEE CHALOUPKA GECKO HOSPITALITY                   FEE AGREEMENT               RECRUITER FEE AGREEMENT                                     -   NA             5/13/2010                 BARRY GILBERT 5237 SUMMERLIN COMMONS               SUITE 408                                FORT MYERS   FL           33907               OHOSPITALITY    614-864-5627                   07991
                                                            GROUP                                                                                                                                                                                                    NO NOTICE
                                                                                                                                                                                                                                                                                                                                                                                                                          .COM                                                            #VALUE!
                                                                                                                                                                                                                                                                                                                                                                                                                          JOAN@GECKO
                                                            FOX & HOUND RESTAURANT                                                                                                                                                                                EITHER PARTY, JOAN
          808 NO COPY             CORPORATE      13-13249                              RENEE CHALOUPKA GECKO HOSPITALITY                   FEE AGREEMENT               RECRUITER FEE AGREEMENT                                     -   NA             5/13/2010                                    5237 SUMMERLIN COMMONS          SUITE 408                                FORT MYERS   FL           33907               HOSPITALITY.C   803-802-4240                   07991
                                                            GROUP                                                                                                                                                                                                    NO NOTICE BOSSCAWEN
                                                                                                                                                                                                                                                                                                                                                                                                                          OM                                                              #VALUE!
                                                                                                                                                                                                                                                                                                                                                                                                                          SCOTT@GECK
                                                            FOX & HOUND RESTAURANT                          GECKO HOSPITALITY, SDB                                                                                                                                EITHER PARTY,
          809 NO COPY             CORPORATE      13-13249                              RENEE CHALOUPKA                                     FEE AGREEMENT               RECRUITER FEE AGREEMENT                                     -   NA             5/13/2010                 SCOTT BUTTS        5237 SUMMERLIN COMMONS          SUITE 408                                FORT MYERS   FL           33907               OHOSPITALITY    513-860-0600                   07991
                                                            GROUP                                           CONSULTING                                                                                                                                               NO NOTICE
                                                                                                                                                                                                                                                                                                                                                                                                                          .COM                                                            #VALUE!
                                                            FOX & HOUND RESTAURANT
          810 NO COPY             CORPORATE      13-13249                              RENEE CHALOUPKA HOLIDAY INN EXPRESS                 CORPORATE RATE AGREEMENT    HOTEL RATE AGREEMENT                                        -   NA              1/1/2013         12/31/2013 SALES DIRECTOR 3101 N DALLAS PARKWAY                                                     PLANO        TEXAS        75093
                                                            GROUP                                                                                                                                                                                                                                                                                                                                                                                                                         #VALUE!
                                                            FOX & HOUND RESTAURANT                     HOLIDAY INN EXPRESS
          811 NO COPY             CORPORATE      13-13249                              RENEE CHALOUPKA                                     CORPORATE RATE AGREEMENT    HOTEL RATE AGREEMENT                                        -   NA              1/1/2014         12/31/2014 SALES DIRECTOR 1550 E DUNDEE RD                                                          PALATINE     ILLINOIS     60074
                                                            GROUP                                      PALATINE                                                                                                                                                                                                                                                                                                                                                                           #VALUE!
                                                                                                                                                                                                                                                                         NA - AUTO
                                                            FOX & HOUND RESTAURANT                          INTECONTINENTAL HOTELS         HOTEL DISCOUNT PROGRAM                                                                                                                  CHRISSY
          812 NO COPY             CORPORATE      13-13249                              RENEE CHALOUPKA                                                                                                                             -   NA             7/27/2011            RENEW                   3 RAVINIA DRIVE                 SUITE 100                                ATLANTA      GEORGIA      30346
                                                            GROUP                                           GROUP                          AGREEMENT                                                                                                                               MANNING
                                                                                                                                                                                                                                                                            YEARLY                                                                                                                                                                                                        #VALUE!
                                                            FOX & HOUND RESTAURANT                                                                                                                                                                                EITHER PARTY, GARY                                                                                                                                      GARY@JACKG
          813 NO COPY             CORPORATE      13-13249                              RENEE CHALOUPKA JACK GERALD HOSPITALITY             FEE AGREEMENT               RECRUITER FEE AGREEMENT                                     -   NA             5/13/2010                                    52 WENTWORTH STREET                                                      CHARLESTON   SC           29401                          843-345-8030, 843-559-7999          15907
                                                            GROUP                                                                                                                                                                                                    NO NOTICE ODACHOWSKI                                                                                                                                 ERALD.COM
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                          #VALUE!
                                                                                                                                                                                                                                                                                                                                                                                                                          DAVIDKANNE
                                                            FOX & HOUND RESTAURANT                                                                                                                                                                                EITHER PARTY,                                                                                                                                           @MARTINPEO
          814 NO COPY             CORPORATE      13-13249                              RENEE CHALOUPKA MARTIN PEOPLE SOURCE                FEE AGREEMENT               RECRUITER FEE AGREEMENT                                     -   NA             5/13/2010                 DAVID KANNE        77 E CROSSVILLE RD              SUITE 204                                ROSWELL      GA           30075                           678-507-5100
                                                            GROUP                                                                                                                                                                                                    NO NOTICE                                                                                                                                            PLESOURCE.C
                                                                                                                                                                                                                                                                                                                                                                                                                          OM                                                              #VALUE!
                                                                                                                                                                                                                                                                                                                                                                                                                          DENEEN@MIN
                                                            CHAMPPS ENTERTAINMENT,                                                                                                                                                                                EITHER PARTY, DENEEN
          815 NO COPY             CORPORATE      13-13224                              RENEE CHALOUPKA MINNSTAR INC                        FEE AGREEMENT               RECRUITER FEE AGREEMENT                                     -   NA            10/17/2012                                    2705 ETHEL AVENUE                                                        WAYZATA      MN           55391               NSTARINC.CO 952-471-2451
                                                            INC                                                                                                                                                                                                      NO NOTICE SCHOENKE
                                                                                                                                                                                                                                                                                                                                                                                                                          M                                                               #VALUE!
                                                                                                                                                                                                                                                                                                                                                                                                                          ANGELAG@PA
                                                            FOX & HOUND RESTAURANT                                                                                                                                                                                EITHER PARTY, ANGELA
          816 NO COPY             CORPORATE      13-13249                              RENEE CHALOUPKA PATRICE & ASSOCIATES                FEE AGREEMENT               RECRUITER FEE AGREEMENT                                2,500.00 NA             5/14/2010                                    10020 SOUTHERN MARYLAND BLVD    SUITE 100                                DUNKIRK      MD           20754               TRICEANDASS 856-599-1120; 410-286-0084         07388
                                                            GROUP                                                                                                                                                                                                    NO NOTICE GUERREIRRO
                                                                                                                                                                                                                                                                                                                                                                                                                          OCIATES.COM
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                         07388




2491306-3                                                                                                                                                                                                                                                2.4(m) - 20
                                                                                                                                                                                Case 13-13220-KG                                                Doc 506-1                               Filed 03/17/14                                          Page 315 of 362

     ID        Epiq Contract No   Store Number       Case            Debtor             Responsible Person      Contract Counter Party          Type of Contract        Description of Contract       Assume                Reject              Cure Amount Contract NoDate of Contract
                                                                                                                                                                                                                                                                                     Termination Date     Attention                      Address 1               Address 2   Address 3   Address 4          City        State        Zip     Country       Email                Phone        Fax       Vendor      A/P code
                                                            FOX & HOUND RESTAURANT
          817 NO COPY             CORPORATE      13-13249                               RENEE CHALOUPKA PIPER JORDAN                     SERVICE AGREEMENT         HOURLY INSURANCE BROKER                                                                 -    NA          7/30/2008             NA ROBIN PIPER        11622 EL CAMINO RD                  STE 100                                  SAN DIEGO     CA           92130
                                                            GROUP                                                                                                                                                                                                                                                                                                                                                                                                                                                  #VALUE!
                                                            FOX & HOUND RESTAURANT                           PROFESSIONAL SEARCH &                                                                                                                                                      EITHER PARTY,                                                                                                                                                  SUNNIE@PSRR
          818 NO COPY             CORPORATE      13-13249                               RENEE CHALOUPKA                                  FEE AGREEMENT             RECRUITER FEE AGREEMENT                                                                 -    NA          1/16/2007                 SUNNIE COLLINS 220 N ZAPATA HWY #11 P.M.B. 1068                                                LAREDO        TX           78043
                                                            GROUP                                            RECRUITING COMPANY                                                                                                                                                            NO NOTICE                                                                                                                                                   ECRUIT.COM
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                   #VALUE!
                                                            CHAMPPS ENTERTAINMENT,                           PROFESSIONAL SEARCH &                                 CONTINGENCY SEARCH                                                                                                                                                                                                                                                                  SUNNIE@PSRR
          819 NO COPY             CORPORATE      13-13224                               RENEE CHALOUPKA                                  SEARCH AGREEMENT                                                                                                  -    NA           4/6/2011 NONE STATED SUNNIE COLLINS 220 N ZAPATA HWY #11 P.M.B. 1068                                                    LAREDO        TX           78043
                                                            INC                                              RECRUITING COMPANY                                    AGREEMENT                                                                                                                                                                                                                                                                           ECRUIT.COM
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                   #VALUE!
                                                                                                                                                                                                                                                                                                                                                                                                                                                       CBURD@PRO
                                                            FOX & HOUND RESTAURANT                                                                                                                                                                                                      EITHER PARTY,                                                                                                VIRGINIA
          820 NO COPY             CORPORATE      13-13249                               RENEE CHALOUPKA PROGRESSIVE PERSONNEL            FEE AGREEMENT             RECRUITER FEE AGREEMENT                                                                 -    NA          5/13/2010                 CRAIG BURD        2337 S WOLFSNARE DRIVE                                                                     VA           23454                  GRESSIVEPERS 757-966-6065
                                                            GROUP                                                                                                                                                                                                                          NO NOTICE                                                                                                 BEACH
                                                                                                                                                                                                                                                                                                                                                                                                                                                       ONNEL.COM
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                   #VALUE!
                                                                                                                                                                                                                                                                                                                                                                                                                                                       KENMEEKS@R
                                                            FOX & HOUND RESTAURANT                                                                                                                                                                                                      EITHER PARTY,
          821 NO COPY             CORPORATE      13-13249                               RENEE CHALOUPKA RESOURCE ONE                     FEE AGREEMENT             RECRUITER FEE AGREEMENT                                                                 -    NA          4/19/2011                 KEN MEEKS         14428 W 72ND STREET                                                          SHAWNEE       KS           66216                  ESOURCEONEI 913-485-4600
                                                            GROUP                                                                                                                                                                                                                          NO NOTICE
                                                                                                                                                                                                                                                                                                                                                                                                                                                       NC.BIZ                                                      #VALUE!
                                                            FOX & HOUND RESTAURANT                           RESOURCES IN FOOD                                                                                                                                                          EITHER PARTY,                                                                                                                                                  JGRIMM@RIF
          822 NO COPY             CORPORATE      13-13249                               RENEE CHALOUPKA                                  FEE AGREEMENT             RECRUITER FEE AGREEMENT                                                                 -    NA          6/15/2004                 JAY GRIMM         1885 N FARNSWORTH AVE               SUITE 2                                  AURORA        IL           60505
                                                            GROUP                                            CHICAGO                                                                                                                                                                       NO NOTICE                                                                                                                                                   OOD.COM
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                   #VALUE!
                                                            FOX & HOUND RESTAURANT                           SELECTIVE RESTAURANT                                                                                                                                                       EITHER PARTY,                                                                                                                                                  SRRCHOICE@
          823 NO COPY             CORPORATE      13-13249                               RENEE CHALOUPKA                                  FEE AGREEMENT             RECRUITER FEE AGREEMENT                                                                 -    NA          5/13/2010                 TOM DIPPRE        8103 BARDMOOR PLACE                 APT 101-G                                LARGO         FL           33777-1344                           727-397-6870
                                                            GROUP                                            RECRUITERS                                                                                                                                                                    NO NOTICE                                                                                                                                                   AOL.COM
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                   #VALUE!
                                                            FOX & HOUND RESTAURANT                           THRIFTY RENT-A-CAR                                                                                                                                                                        CATHY
          824 NO COPY             CORPORATE      13-13249                               RENEE CHALOUPKA                                  RATE AGREEMENT            RENTAL CAR COMPANY                                                                      -    NA          3/31/2009             NA                    5310 E 31ST ST                      MAIL STOP 8W6                            TULSA         OK           74135
                                                            GROUP                                            SYSTEM, INC.                                                                                                                                                                              FUNDERBURK                                                                                                                                                                                                  #VALUE!
                                                                                                                                                                   AUTOMATIC DATA PROCESSING
                                                            FOX & HOUND RESTAURANT                                                                                                                                                                                                                                                                                                                   FLORHAM
          825 1.00                CORPORATE      13-13249                               RYAN ZINK            ADP RETIREMENT SERVICES     SERVICE AGREEMENT         PROTOTYPE 401(K) AND PROFIT                                                             -                7/14/2010                                   71 HANOVER ROAD                                                                            NJ           079432
                                                            GROUP                                                                                                                                                                                                                                                                                                                                    PARK
                                                                                                                                                                   SHARING PLAN                                                                                                                                                                                                                                                                                                                                    #VALUE!
                                                            FOX & HOUND RESTAURANT                                                                                                                                                                                                                                                                                                                   FLORHAM
          826 1.01                CORPORATE      13-13249                               RYAN ZINK            ADP RETIREMENT SERVICES     SERVICE AGREEMENT         INVESTMENT OPTION AGREEMENT                                                             -                7/14/2010                                   71 HANOVER ROAD                                                                            NJ           079432
                                                            GROUP                                                                                                                                                                                                                                                                                                                                    PARK                                                                                                          #VALUE!
          827 19.00               CORPORATE      13-13227   CHAMPS OPERATING CORP.      RYAN ZINK            HOTSCHEDULES HOLDINGS       SERVICE AGREEMENT         HS CONNECT APPLICATION SERVICE                                                  25,011.83                2/22/2013                                   6504 BRIDGE POINT PARKWAY STE 425                                            AUSTIN        TX           78730                                                                     34218        34218
                                                                                                             INC                                                   AGREEMENT
          828 19.01               CORPORATE      13-13249   FOX & HOUND RESTAURANT      RYAN ZINK            HOTSCHEDULES HOLDINGS       SERVICE AGREEMENT         HS CONNECT APPLICATION SERVICE                                                          -                2/22/2013                                   6504 BRIDGE POINT PARKWAY STE 425                                            AUSTIN        TX           78730                                                                     34218        34218
                                                            GROUP                                            INC                                                   AGREEMENT
                                                                                                                                                                   EMAIL MARKETING SERVICE
          829 10.00               CORPORATE      13-13220   F&H ACQUISITION CORP        RYAN ZINK            PAYTRONIX SYSTEMS INC       SERVICE AGREEMENT                                                                                         80,000.00                9/30/2013                                   74 BRIDGE ST STE 400                                                         NEWTON        MA           02458                                                                              #VALUE!
                                                                                                                                                                   AGREEMENT
                                                            CHAMPS ENTERTAINMENT,                            WESTEC INTELLIGNCE
          830 2.01                CORPORATE      13-13224                               RYAN ZINK                                        SERVICE AGREEMENT         SECURITY AGREEMENT                                                                      -               10/12/2011                                   1234 LAKESHORE DRIVE, SUITE 600                                              COPPELL       TX           75019                                                                     31542
                                                            INC                                              SURVEILLANCE                                                                                                                                                                                                                                                                                                                                                                                              31542
                                                            CHAMPPS OPERATING                                                                                      LOCATION: 16165 LAGRANGE                                                                                                            C/O JOHN N.
          832 NO COPY                   65250 13-13227                                                       16165 LA GRANGE ROAD LLC REAL ESTATE LEASE                                                                                            99,166.21                                                            1300 W HIGGINS ROAD SUITE 209                                                PARK RIDGE    IL           60068                                                                     17235
                                                            CORPORATION                                                                                            ROAD, ORLAND PARK IL 60467                                                                                                          SKOUBIS                                                                                                                                                                                                    1723565250 x
                                                            TENT RESTAURANT                                  451 LUDLOW LIMITED                                    LOCATION: 5113 BOWEN DRIVE,
          833 NO COPY                   65091 13-13259                                                                                   REAL ESTATE LEASE                                                                                           4,833.82                                                           3801 CAREW TOWER 441 VINE STREET                                             CINCINNATI    OH           45202                                                                     13189
                                                            OPERATIONS, INC                                  PARTNERSHP                                            MASON, OH                                                                                                                                                                                                                                                                                                                                      1318965091 x
                                                            N. COLLINS ENTERTAINMENT,                                                                              LOCATION: 505 UNIVERSITY EAST,                                                                                                      C/O CLARKE &
          834 NO COPY                   65005 13-13254                                                       505 CENTER LP               REAL ESTATE LEASE                                                                                         11,316.19                                                        3608 E 29TH STREET SUITE 100                                                     BRYAN         TX           77802                                                                      2037
                                                            LTD.                                                                                                   COLLEGE STATION, TX                                                                                                                 WYNDHAM INC
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                   203765005
                                                                                                                                                                                                                                                                                                       C/O ANGELO,
                                                            CHAMPPS OPERATING                                AG/ARC PLAZA AMERICA                                  LOCATION: 11694 PLAZA AMERICA               REJECTED - ORDER 1/8/2014 - DN                                                          GORDON & CO.,
          835 NO COPY                   65207 13-13227                                                                                   REAL ESTATE LEASE                                                                                      Day 1 reject                                                           245 PARK AVENUE, 26TH FLOOR                                                   NEW YORK      NY           10167
                                                            CORPORATION                                      RETAIL OWNER, LLC                                     DR., RESTON, VA 20190                       141                                                                                     L.P. ATTN: DANA
                                                                                                                                                                                                                                                                                                       ROFFMAN
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                       65207 x
                                                                                                                                                                                                                                                                                                       C/O ATLANTIC
                                                            CHAMPPS OPERATING                                AG/ARC PLAZA AMERICA                                  LOCATION: 11694 PLAZA AMERICA               REJECTED - ORDER 1/8/2014 - DN                                                                                                                                                                                                          MARENA@AR
          836 NO COPY                   65207 13-13227                                                                                   REAL ESTATE LEASE                                                                                      Day 1 reject                                           REALTY           8150 LEESBURG PIKE SUITE 1100                                                VIENNA        VA           22182                              703-761-9000         703-760-9599                           x
                                                            CORPORATION                                      RETAIL OWNER, LLC                                     DR., RESTON, VA 20190                       141                                                                                                                                                                                                                                     CREALTY.COM
                                                                                                                                                                                                                                                                                                       COMPANIES                                                                                                                                                                                                       65207
                                                            TENT RESTAURANT                                                                                        LOCATION: 15235 JOHN J. DELANEY
          837 NO COPY                   65047 13-13259                                                       AMCAP BALLATYNE, LLC        REAL ESTATE LEASE                                                                                         29,392.38                                                            1281 EAST MAIN STREET                                                        STAMFORD      CT           06902
                                                            OPERATIONS, INC                                                                                        DRIVE, CHARLOTTE, NC
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                       65047
                                                            CHAMPPS ENTERTAINMENT                                                                                  LOCATION: 1211 UPTOWN PARK
          838 NO COPY                   65221 13-13225                                                       AMREIT UPTOWN PARK LP       REAL ESTATE LEASE                                                                                         11,334.52                                                            8 GREENWAY PLAZA SUITE 1000                                                  HOUSTON       TX           77046
                                                            OF TEXAS, INC                                                                                          BLVD., SUITE A, HOUSTON TX 77056
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                       65221
                                                                                                                                                                                                                                                                                                       C/O RUSSELL K.
                                                                                                                                                                                                                                                                                                       DUNNING,
                                                            CHAMPPS ENTERTAINMENT                                                                                  LOCATION: 1211 UPTOWN PARK
          839 NO COPY                   65221 13-13225                                                       AMREIT UPTOWN PARK LP       REAL ESTATE LEASE                                                                                                 -                                           POSTERNAK        100 CHARLES RIVER PLAZA                                                      BOSTON        MA           02114
                                                            OF TEXAS, INC                                                                                          BLVD., SUITE A, HOUSTON TX 77056
                                                                                                                                                                                                                                                                                                       BLANKSTEIN &
                                                                                                                                                                                                                                                                                                       LUN                                                                                                                                                                                                             65221
                                                                                                                                                                                                                                                                                                                                                                                                                                                       BCLAYBAKER
                                                            TENT RESTAURANT                                                                                        LOCATION: 5316 MT. VIEW ROAD,
          840 NO COPY                   65014 13-13259                                                       NAI NASHVILLE               REAL ESTATE LEASE                                                                                                 -                                                            P.O. BOX 123                                                                 BRENTWOOD TN               37024                  @NAINASHVIL 615-377-4747
                                                            OPERATIONS, INC                                                                                        ANTIOCH, TN
                                                                                                                                                                                                                                                                                                                                                                                                                                                       LE.COM                                                          65014
                                                            FOX & HOUND OF                                   BELLEMEAD DEVELOPMENT                                 LOCATION: 20021 CENTURY BLVD,                                                                                                                        15 MOUNTAIN VIEW ROAD P.O. BOX
          841 NO COPY                   65082 13-13242                                                                                   REAL ESTATE LEASE                                                                                           7,914.17                                                                                                                                        WARREN        NJ           07059
                                                            MARYLAND, INC                                    CORP                                                  GERMANTOWN MD                                                                                                                                        1615 MAILSTOP PI-020                                                                                                                                                                           65082
                                                            F & H RESTAURANTS OF                                                                                   LOCATION: 12802 GULF                                                                                                                ATTN: DARRELL
          842 NO COPY                   65056 13-13248                                                       BFO45, LTD.                 REAL ESTATE LEASE                                                                                                 -                                                         8554 KATY FREEWAY SUITE 301                                                     HOUSTON       TX           77024
                                                            TEXAS, INC                                                                                             FREEWAY,HOUSTON TX                                                                                                                  BELL                                                                                                                                                                                                            65056
                                                            FOX & HOUND OF                                                                                         LOCATION: 9239 PARK MEADOWS
          843 NO COPY                   65059 13-13235                                                       BGN VENTURES LTD LP         REAL ESTATE LEASE                                                                                                 -                                                            3720 S SUSAN ST. SUITE 100                                                   SANTA ANA     CA           92704
                                                            COLORADO, INC                                                                                          DRIVE, LONE TREE, CO
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                       65059 x
                                                                                                                                                                                                                                                                                                                                                                                                                                                       TBERZINSKI@B
                                                            CHAMPPS OPERATING                                                                                                                                  REJECTED - ORDER 1/8/2014 - DN
          844 NO COPY                   65251 13-13227                                                       BLAZIN WINGS, INC.          REAL ESTATE LEASE                                                                                      Day 1 reject                                                            5500 WAYZATA BLVD., SUITE 1600                                               MINNEAPOLIS MN             55416                  UFFALOWILD 952-593-9943          952-593-9787
                                                            CORPORATION                                                                                                                                        141
                                                                                                                                                                                                                                                                                                                                                                                                                                                       WINGS.COM
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                       65251       0
                                                                                                                                                                   LOCATION: 270-420 W ARMY TRAIL
                                                            FOX & HOUND OF ILLINOIS,
          845 NO COPY                   65076 13-13236                                                       BLOOMINGDALE COURT, LLC REAL ESTATE LEASE             RD, 410A, BLOOMINGDALE, IL                                                        8,629.25                                                           225 W WASHINGTON STREET                                                      INDIANAPOLIS IN            46204
                                                            INC
                                                                                                                                                                   60108                                                                                                                                                                                                                                                                                                                                               65076
                                                                                                                                                                                                                                                                                                                                                                                                                                                       AROSENZWEI
                                                            CHAMPPS OPERATING                                BOULEVARD NORTH                                       LOCATION: 9701 ROOSEVELT BLVD.,             REJECTED - ORDER 1/8/2014 - DN                                                                           350 SENTRY PARKWAY BUILDING 630                                                                                                G@GOLDENBE
          846 NO COPY                   65251 13-13227                                                                                   REAL ESTATE LEASE                                                                                      Day 1 reject                                                                                                                                         BLUE BELL     PA           19422                             610-260-1474          610-260-0268
                                                            CORPORATION                                      ASSOCIATES LP                                         PHILADELPHIA PA 19114                       141                                                                                                      SUITE 300                                                                                                                      RGGROUP.CO
                                                                                                                                                                                                                                                                                                                                                                                                                                                       M                                                               65251       0
                                                            FOX & HOUND OF ILLINOIS,                         BRIXMOR GA ARLINGTON                                  LOCATION: 910-918 W. DUNDEE
          847 NO COPY                   65060 13-13236                                                                                   REAL ESTATE LEASE                                                                                         26,790.64                                                            420 LEXINGTON AVENUE 7TH FLOOR                                               NEW YORK      NY           10170
                                                            INC                                              HEIGHTS, LLC                                          ROAD, ARLINGTON HEIGHTS, IL                                                                                                                                                                                                                                                                                                                         65060
                                                                                                             BROOKWOOD INTERCHANGE
                                                                                                             OFFICE I, LLC AND
                                                                                                                                                                   LOCATION: 19111 N. DALLAS
          848 NO COPY                   65923 13-13220      F&H ACQUISITION CORP.                            BROOKWOOD INTERCHANGE REAL ESTATE LEASE                                                                                                 7,251.68                                                           19111 N DALLAS PARKWAY SUITE 110                                             DALLAS        TX           75287
                                                                                                                                                                   PARKWAY, SUITE 120, DALLAS, TX
                                                                                                             OFFICE II, LLC, TENANTS IN
                                                                                                             COMMON
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                       65923
                                                            CHAMPPS OPERATING                                                                                      LOCATION: 2301 FOUNTAIN
          849 NO COPY                   65222 13-13227                                                       BUIKEMA #21 LLC             REAL ESTATE LEASE                                                                                         17,003.85                                                            1030 N WASHINGTON ST.                                                        NAPERVILLE    IL           60563
                                                            CORPORATION                                                                                            SQUARE DRIVE, LOMBARD IL 60148
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                       65222
                                                                                                                                                                                                                                                                                                                                                                                                                                                       AKAMM@STA
                                                            CHAMPPS OPERATING                                                                                      LOCATION: 5989 CANAL STREET,                REJECTED - ORDER 1/8/2014 - DN                                                          C/O STARK
          850 NO COPY                   65237 13-13227                                                       CA II LLC                   REAL ESTATE LEASE                                                                                         75,551.08                                                            1350 WEST 3RD STREET                                                         CLEVELAND     OH           44113                  RKENTERPRISE 216-464-2860        216-464-1458
                                                            CORPORATION                                                                                            VALLEY VIEW, OH 44125                       141                                                                                     ENTERPRISES
                                                                                                                                                                                                                                                                                                                                                                                                                                                       S.COM                                                           65237
                                                                                                                                                                                                                                                                                                                                                                                                                                                       KWATKINS@KI
                                                            TENT RESTAURANT                                                                                        LOCATION: 1861 CARL D. SILVER               REJECTED - ORDER 1/8/2014 - DN
          851 NO COPY                   65086 13-13259                                                       CENTRAL PARK 1208, LLC      REAL ESTATE LEASE                                                                                      Day 1 reject                                                            1954 GREENSPRING DRIVE SUITE 300                                             TIMONIUM      MD           21093                  MCOREALTY.C 410-684-2000         410-859-5685
                                                            OPERATIONS, INC                                                                                        PARKWAY, FREDRICKSBURG, VA                  141
                                                                                                                                                                                                                                                                                                                                                                                                                                                       OM                                                              65086       0
                                                            TENT RESTAURANT                                                                                        LOCATION: 1777 CANTON CENTER,
          852 NO COPY                   65027 13-13259                                                       CENTRE VILLAGE LLC          REAL ESTATE LEASE                                                                                         18,972.77                                                            1334 MAPLELAWN DRIVE                                                         TROY          MI           48084
                                                            OPERATIONS, INC                                                                                        N. CANTON, MI                                                                                                                                                                                                                                                                                                                                       65027
                                                            TENT RESTAURANT                                                                                        LOCATION: 2010 A CRYSTAL DRIVE,             REJECTED - ORDER 1/8/2014 - DN                                                                                                                                                                                                          RPARKER@VN
          853 NO COPY                   65078 13-13259                                                       CESC PLAZA LP               REAL ESTATE LEASE                                                                                      Day 1 reject                                                            2345 CRYSTAL DRIVE                                                           ARLINGTON     TX           22202                             703-413-7996
                                                            OPERATIONS, INC                                                                                        ARLINGTON, VA 22202                         141                                                                                                                                                                                                                                     O.COM                                                           65078       0




2491306-3                                                                                                                                                                                                                                                                      2.4(m) - 21
                                                                                                                                                                             Case 13-13220-KG                                                 Doc 506-1                             Filed 03/17/14                                       Page 316 of 362

     ID        Epiq Contract No   Store Number    Case             Debtor            Responsible Person      Contract Counter Party          Type of Contract         Description of Contract       Assume                Reject              Cure Amount Contract NoDate of Contract
                                                                                                                                                                                                                                                                                   Termination Date Attention                     Address 1                 Address 2   Address 3   Address 4        City         State       Zip   Country       Email               Phone        Fax       Vendor   A/P code
                                                                                                                                                                LOCATION: 49 W. MARYLAND ST.,                                                                                                      C/O SIMON
                                                         CHAMPPS OPERATING                                CIRCLE CENTRE
          854 NO COPY                   65232 13-13227                                                                                REAL ESTATE LEASE         CIRCLE CENTER MALL,                                                              39,971.33                                         PROPERTY       225 W WASHINGTON STREET                                                       INDIANAPOLIS IN           46204
                                                         CORPORATION                                      DEVELOPMENT CO
                                                                                                                                                                INDIANAPOLIS IN 46204                                                                                                              GROUP                                                                                                                                                                                                 65232
                                                         TENT RESTAURANT                                                                                        LOCATION: 1551 N. WATERFRONT
          855 NO COPY                   65901 13-13259                                                    COMMERCE BANK               REAL ESTATE LEASE                                                                                                  -                                                        333 S BROADWAY SUITE 105                                                      WICHITA      KS           67202
                                                         OPERATIONS, INC                                                                                        PARKWAY, SUITE 310, WICHITA, KS
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                         65901
                                                                                                                                                                LOCATION: 1479 SOM CENTER
          856 NO COPY                   65018 13-13246   FOX & HOUND OF OHIO, INC                         COSMO-EASTGATE, LTD         REAL ESTATE LEASE                                                                                            7,931.59                                                       30201 AURORA ROAD                                                             CLEVELAND    OH           44139
                                                                                                                                                                ROAD, MAYFIELD HEIGHTS, OH                                                                                                                                                                                                                                                                                                               65018
                                                                                                                                                                                                                                                                                                                                                                                                                                              DJVOLENTINE
                                                                                                                                                                LOCATION: 7425 CORPORATE BLVD,
                                                         CHAMPPS OPERATING                                CREEKSTONE CEDAR LODGE I,                                                                          REJECTED - ORDER 1/8/2014 - DN                                                                                                                                                     BATON                                         @CREEKSTON
          857 NO COPY                   65247 13-13227                                                                              REAL ESTATE LEASE           SUITE 810, BATON ROUGE, LA                                                    Day 1 reject                                                        2380 TOWNE CENTER BLVD SUITE 1210                                                          LA           70806                            225-372-2191       225-825-2133
                                                         CORPORATION                                      LLC                                                                                                141                                                                                                                                                                                ROUGE                                         ECOMPANIES.
                                                                                                                                                                70809
                                                                                                                                                                                                                                                                                                                                                                                                                                              COM                                                        65247     0
                                                                                                                                                                                                                                                                                                                                                                                                                                              AKAMM@STA
                                                         CHAMPPS OPERATING                                CROCKER PARK DELAWARE,                                LOCATION: 12 MAIN STREET,                    REJECTED - ORDER 1/8/2014 - DN
          858 NO COPY                   65245 13-13227                                                                                REAL ESTATE LEASE                                                                                       Day 1 reject                                                        1350 WEST 3RD STREET                                                          CLEVELAND    OH           44113               RKENTERPRISE 216-464-2860       216-464-1458
                                                         CORPORATION                                      LLC                                                   WESTLAKE OH 44145                            141
                                                                                                                                                                                                                                                                                                                                                                                                                                              S.COM                                                      65245     0
                                                         CHAMPPS OPERATING                                CRS ENTERPRISES OF BATON                                                                           REJECTED - ORDER 1/8/2014 - DN                                                      C/O RON                                                                                                                                      RONSAVELL27
          859 NO COPY                   65247 13-13227                                                                                REAL ESTATE LEASE                                                                                       Day 1 reject                                                        32 MADEWOOD                                                                   HATTIESBURG MS            39402                            601-408-9007
                                                         CORPORATION                                      ROUGE, LLC                                                                                         141                                                                                 SAVELL                                                                                                                                       @AOL.COM                                                   65247     0
                                                                                                                                                                                                                                                                                                 ROBERT T.
                                                                                                                                                                                                                                                                                                 JACKSON , JR ,
                                                         CHAMPPS OPERATING                                CRS ENTERPRISES OF BATON                                                                           REJECTED - ORDER 1/8/2014 - DN
          860 NO COPY                   65247 13-13227                                                                                REAL ESTATE LEASE                                                                                       Day 1 reject                                       JACKSON          309 SOUTH 40TH AVENUE                                                         HATTIESBURG MS            39402
                                                         CORPORATION                                      ROUGE, LLC                                                                                         141
                                                                                                                                                                                                                                                                                                 BOWMAN
                                                                                                                                                                                                                                                                                                 BLUMENTRIT                                                                                                                                                                                              65247     0
                                                         TENT RESTAURANT                                                                                        LOCATION: 8500 PINEVILLE
          861 NO COPY                   65002 13-13259                                                    C'SIDE, LLC                 REAL ESTATE LEASE                                                                                            6,590.45                                                       P.O. BOX 220325                                                               CHARLOTTE    NC           28222
                                                         OPERATIONS, INC                                                                                        MATTHEWS, PINEVILLE, NC                                                                                                                                                                                                                                                                                                                  65002
                                                                                                                                                                                                                                                                                                 ATTN: VP
                                                         CHAMPPS OPERATING                                CSM BONAVENTURE LIMITED                               LOCATION: 1641 PLYMOUTH ROAD,                                                                                                                500 WASHINGTON AVENUE SOUTH SUITE
          862 NO COPY                   65201 13-13227                                                                            REAL ESTATE LEASE                                                                                                      -                                       PROPERTY                                                                                       MINNEAPOLIS MN            55415
                                                         CORPORATION                                      PARTNERSHIP                                           MINNETONKA MN 55305                                                                                                                          3000
                                                                                                                                                                                                                                                                                                 MANAGEMENT                                                                                                                                                                                              65201
                                                                                                                                                                                                                                                                                                 C/O KIMCO
                                                         CHAMPPS OPERATING                                CYPRESS CREEK ASSOCIATES                              LOCATION: 6401 N. ANDREWS AVE.,                                                                                                                                                                                                 NEW HYDE
          863 NO COPY                   65213 13-13227                                                                                REAL ESTATE LEASE                                                                                          60,184.19                                       REALTY      3333 NEW HYDE PARK ROAD SUITE 100                                                               NY           11042
                                                         CORPORATION                                      LP                                                    FORT LAUDERDALE, FL 33309                                                                                                                                                                                                       PARK
                                                                                                                                                                                                                                                                                                 CORPORATION                                                                                                                                                                                             65213
                                                         CHAMPPS OPERATING                                CYPRESS CREEK ASSOCIATES                              LOCATION: 6401 N. ANDREWS AVE.,                                                                                                  C/O REGIONAL     6060 PIEDMONT ROW DRIVE SOUTH,
          864 NO COPY                   65213 13-13227                                                                                REAL ESTATE LEASE                                                                                                                                                                                                                                         CHARLOTTE    NC           28287
                                                         CORPORATION                                      LP                                                    FORT LAUDERDALE, FL 33309                                                                                                        OFFICE           SUITE 200
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                         65213
                                                                                                                                                                                                                                                                                                 C/O
                                                                                                                                                                                                                                                                                                                                                                                                                                              BKERN@DDR.
                                                                                                                                                                                                                                                                                                 DEVELOPERS
                                                         CHAMPPS OPERATING                                DDR ASPEN GROVE LIFESTYLE                             LOCATION: 7301 S. SANTE FE DRIVE,            REJECTED - ORDER 1/8/2014 - DN                                                                                                                                                                                                   COM;
          865 NO COPY                   65234 13-13227                                                                              REAL ESTATE LEASE                                                                                         Day 1 reject                                       DIVERSIFIED      3300 ENTERPRISE PARKWAY                                                       BEACHWOOD OH              44122                           216-755-5840        216-755-1500
                                                         CORPORATION                                      CENTER PROPERTIES, LLC                                SUITE 900, LITTLETON CO 80120                141                                                                                                                                                                                                                              KSTERN@DDR.
                                                                                                                                                                                                                                                                                                 REALTY
                                                                                                                                                                                                                                                                                                                                                                                                                                              COM
                                                                                                                                                                                                                                                                                                 CORPORATION                                                                                                                                                                                             65234     0
                                                                                                                                                                                                                                                                                                 ATTN:
                                                                                                                                                                                                                                                                                                 EXECUTIVE VICE
                                                                                                          DDRTC BARRETT PAVILION                                LOCATION: 2500 COBB PLACE LANE,              REJECTED - ORDER 1/8/2014 - DN                                                                                                                                                                                                   CMAY@DDR.C
          866 NO COPY                   65044 13-13230   F & H OF KENNESAW, INC                                                       REAL ESTATE LEASE                                                                                       Day 1 reject                                       PRESIDENT &    3300 ENTERPRISE PARKWAY                                                         BEACHWOOD OH              44122                          404-504-6757         404-846-7920
                                                                                                          LLC                                                   SUITE 900, KENNESAW, GA                      141                                                                                                                                                                                                                              OM
                                                                                                                                                                                                                                                                                                 GENERAL
                                                                                                                                                                                                                                                                                                 COUNSEL
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                         65044     0
                                                         TENT RESTAURANT                                                                                        LOCATION: 8711 LINDLHOM
          867 NO COPY                   65071 13-13259                                                    DDRTC BIRKDALE VILLAGE LLC REAL ESTATE LEASE                                                                                                   -                                                        3300 ENTERPRISE PARKWAY                                                       BEACHWOOD OH              44122
                                                         OPERATIONS, INC                                                                                        DR,HUNTERSVILLE, NC 28018                                                                                                                                                                                                                                                                                                                65071
                                                                                                                                                                                                                                                                                                 C/O
                                                                                                                                                                LOCATION: 330 GODDARD                                                                                                            DEVELOPERS
                                                         CHAMPPS OPERATING                                DDRTC OVERLOOK AT KING
          868 NO COPY                   65230 13-13227                                                                                REAL ESTATE LEASE         BOULEVARD, KING OF PRUSSIA PA                                                    19,741.82                                       DIVERSIFIED      3300 ENTERPRISE PARKWAY                                                       BEACHWOOD OH              44122
                                                         CORPORATION                                      OF PRUSSIA, LLC
                                                                                                                                                                19406                                                                                                                            REALTY
                                                                                                                                                                                                                                                                                                 CORPORATION                                                                                                                                                                                             65230
                                                                                                                                                                LOCATION: 2100 S. CHRISTOPHER
                                                         CHAMPPS OPERATING                                DELAWARE EAST ASSOCIATES                                                                                                                                                                                350 SENTRY PARKWAY BUILDING 630
          869 NO COPY                   65252 13-13227                                                                             REAL ESTATE LEASE            COLUMBUS BLVD, PHILADELPHIA PA                                                   47,758.12                                                                                                                                      BLUE BELL    PA           19422
                                                         CORPORATION                                      LP                                                                                                                                                                                                      SUITE 300
                                                                                                                                                                19148                                                                                                                                                                                                                                                                                                                                    65252
                                                         TENT RESTAURANT                                                                                        LOCATION: 408 BROADWAY,                                                                                                          ATTN: THOMAS
          870 NO COPY                   65041 13-13259                                                    DEVILLE CORP                REAL ESTATE LEASE                                                                                                  -                                                    2018 EAST 7TH AVENUE SUITE 101                                                    TAMPA        FL           33605
                                                         OPERATIONS, INC                                                                                        NASHVILLE, TN                                                                                                                    S. MARTINO
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                         65041
                                                                                                          DRA CLP COLONNADE RETAIL                              LOCATION: 3425 COLONNADE                     REJECTED - ORDER 1/8/2014 - DN                                                                                                             780 BROOKWOOD                                                                         RHODA.CATTU
          871 NO COPY                   65084 13-13222   ALABAMA FOX & HOUND, INC                                                  REAL ESTATE LEASE                                                                                          Day 1 reject                                                        ATTN: RHODA CATTUS                                                            BIRMINGHAM AL             35209                           205-262-4700        205-969-1025
                                                                                                          BIRMINGHAM                                            PARKWAY, BIRMINGHAM, AL                      141                                                                                                                                        VILLAGE                                                                               S@CBRE.COM
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                         65084     0
                                                         CHAMPPS OPERATING                                                                                      LOCATION: 819 EASTVIEW MALL,                                                                                                     C/O EASTVIEW
          872 NO COPY                   65248 13-13227                                                    EASTVIEW MALL, LLC          REAL ESTATE LEASE                                                                                          23,664.00                                                        1265 SCOTTSVILLE ROAD                                                         ROCHESTER    NY           14624
                                                         CORPORATION                                                                                            VICTOR, NY 14564                                                                                                                 MALL LLC                                                                                                                                                                                                65248
                                                         CHAMPPS OPERATING                                                                                      LOCATION: 2800 PREYDE BLVD,
          873 NO COPY                   65242 13-13227                                                    EASTWOOD, LLC               REAL ESTATE LEASE                                                                                          97,629.33                                                        3303 W SAGINAW SUITE C-3                                                      LANSING      MI           48917
                                                         CORPORATION                                                                                            LANSING MI 48912                                                                                                                                                                                                                                                                                                                         65242 x
                                                         CHAMPPS OPERATING                                                                                      LOCATION: 2800 PREYDE BLVD,
          874 NO COPY                   65242 13-13227                                                    EASTWOOD, LLC               REAL ESTATE LEASE                                                                                                                                                           2501 COOLIDGE, SUITE 301                                                      EAST LANSING MI           48823
                                                         CORPORATION                                                                                            LANSING MI 48912                                                                                                                                                                                                                                                                                                                         65242 x
                                                         CHAMPPS OPERATING                                ECD-LINCOLNSHIRE RETAIL,                              LOCATION: 275 PARKWAY DRIVE,
          875 NO COPY                   65235 13-13227                                                                                REAL ESTATE LEASE                                                                                          27,554.28                                                        250 PARKWAY DRIVE SUITE 120                                                   LINCOLNSHIRE IL           60069
                                                         CORPORATION                                      LLC                                                   SUITE 311, LINCOLNSHIRE, IL 60069
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                         65235
                                                                                                                                                                                                                                                                                                 C/O FORESITE
                                                         CHAMPPS OPERATING                                ECD-LINCOLNSHIRE RETAIL,                              LOCATION: 275 PARKWAY DRIVE,                                                                                                                  9525 WEST BRYN MAWR AVENUE, SUITE
          876 NO COPY                   65235 13-13227                                                                                REAL ESTATE LEASE                                                                                                                                          REALTY                                                                                         ROSEMONT     IL           60018
                                                         CORPORATION                                      LLC                                                   SUITE 311, LINCOLNSHIRE, IL 60069                                                                                                             925
                                                                                                                                                                                                                                                                                                 MANAGEMENT                                                                                                                                                                                              65235
                                                         TENT RESTAURANT                                  EDUCATIONAL SERVICES OF                               LOCATION: 250 SEVEN OAKS DRIVE
          877 NO COPY                   65009 13-13259                                                                                REAL ESTATE LEASE                                                                                            5,103.78                                                       104 N SEVEN OAKS DRIVE                                                        KNOXVILLE    TN           37922
                                                         OPERATIONS, INC                                  AMERICA, INC.                                         NORTH, KNOXVILLE, TN                                                                                                                                                                                                                                                                                                                     65009
                                                         FOX & HOUND OF LOUISIANA,                                                                              LOCATION: 1200 S. CLEARVIEW
          878 NO COPY                   65032 13-13241                                                    ELMWOOD SOUTH, LLC          REAL ESTATE LEASE                                                                                            6,405.61                                                       1200 S CLEARVIEW PARKWAY SUITE 1166                                           NEW ORLEANS LA            70123
                                                         INC                                                                                                    PARKWAY, HARAHAN, LA                                                                                                                                                                                                                                                                                                                     65032
                                                         FOX & HOUND OF LOUISIANA,                                                                              LOCATION: 5246 CORPORATE                     REJECTED - ORDER 1/8/2014 - DN                                                                                                                                                     BATON                                         RICKTHARTLEY
          879 NO COPY                   65037 13-13241                                                    ESPLANADE LLC               REAL ESTATE LEASE                                                                                       Day 1 reject                                                        8064 SUMMA AVENUE SUITE A                                                                  LA           70809                            225-769-8412
                                                         INC                                                                                                    BLVD., BATON ROUGE, LA                       141                                                                                                                                                                                ROUGE                                         @AOL.COM                                                   65037     0
                                                         CHAMPPS OPERATING                                FAIRFAX COMPANY OF                                    LOCATION: 11724U FAIR OAKS,                                                                                                                                                                                                     BLOOMFIELD
          880 NO COPY                   65241 13-13227                                                                                REAL ESTATE LEASE                                                                                          44,069.08                                       C/O TAUBMAN      200 EAST LONG LAKE ROAD SUITE 300                                                          MI           48304
                                                         CORPORATION                                      VIRGINIA, LLC                                         FAIRFAX, VA 22033                                                                                                                                                                                                               HILLS                                                                                                    65241
                                                                                                                                                                LOCATION: 2661 FAIRFIELD
          881 NO COPY                   65088 13-13246   FOX & HOUND OF OHIO, INC                         FAIRFIELD VILLAGE, LLC      REAL ESTATE LEASE                                                                                            4,546.37                                                       180 E BROAD STREET 21ST FLOOR                                                 COLUMBUS     OH           43215
                                                                                                                                                                COMMONS, BEAVERCREEK OH                                                                                                                                                                                                                                                                                                                  65088
                                                                                                                                                                LOCATION: 3101 NEW CENTER
                                                         TENT RESTAURANT                                                                                                                                                                                                                                                                                                                        COLORADO
          882 NO COPY                   65092 13-13259                                                    FIRST & MAIN, LLC           REAL ESTATE LEASE         POINT DRIVE, COLORADO SPRINGS,                                                           -                                                        111 S TEJON ST. SUITE 222                                                                  CO           80903
                                                         OPERATIONS, INC                                                                                                                                                                                                                                                                                                                        SPRINGS
                                                                                                                                                                CO                                                                                                                                                                                                                                                                                                                                       65092
                                                                                                          FRANK C. ROBSON &
                                                                                                          LUDMILLA ROBSON,
                                                         FOX & HOUND OF                                                                                         LOCATION: 7001 S. GARNETT ROAD,
          883 NO COPY                   65075 13-13247                                                    COTRUSTEES OF THE FRANK     REAL ESTATE LEASE                                                                                          10,854.52                                                        P.O. BOX 986                                                                  CLAREMORE    OK           74018
                                                         OKLAHOMA, INC                                                                                          BROKEN ARROW, OK 74102
                                                                                                          C. ROBSON REVOCABLE
                                                                                                          TRUST, DATED 2/17/1992
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                         65075
                                                                                                          GARRISON CENTRAL CANTON                               LOCATION: 4770 EVERHARD ROAD,
          884 NO COPY                   65030 13-13246   FOX & HOUND OF OHIO, INC                                                 REAL ESTATE LEASE                                                                                              10,698.44                                                        P.O. BOX 1097                                                                 GRAHAM       NC           42231
                                                                                                          LLC                                                   CANTON, OH                                                                                                                                                                                                                                                                                                                               65030
                                                                                                          GARRISON CENTRAL CANTON                               LOCATION: 4770 EVERHARD ROAD,
          885 NO COPY                   65030 13-13246   FOX & HOUND OF OHIO, INC                                                 REAL ESTATE LEASE                                                                                                                                                               202 SOUTH MAIN STREET, UNIT J                                                 GRAHAM       NC           27253
                                                                                                          LLC                                                   CANTON, OH                                                                                                                                                                                                                                                                                                                               65030
                                                         CHAMPPS OPERATING                                GATEWAY CENTER                                        LOCATION: 7410 ORCHARD LAKE
          886 NO COPY                   65224 13-13227                                                                                REAL ESTATE LEASE                                                                                                  -                                                        320 MARTIN ST SUITE 200                                                       BIRMINGHAM MI             48009
                                                         CORPORATION                                      ASSOCIATES,LTD.                                       RD., WEST BLOOMFIELD MI 48322
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                         65224
                                                                                                                                                                                                                                                                                                 GREENBERG
                                                         CHAMPPS OPERATING                                GATEWAY CENTER                                        LOCATION: 7410 ORCHARD LAKE                                                                                                      TRAURIG, PA,                                                                                   FT.
          887 NO COPY                   65224 13-13227                                                                                REAL ESTATE LEASE                                                                                                  -                                                       515 EAST LAS OLAS BLVD, SUITE 1500                                                          FL           33301
                                                         CORPORATION                                      ASSOCIATES,LTD.                                       RD., WEST BLOOMFIELD MI 48322                                                                                                    PETER L. TUNIS,                                                                                LAUDERDALE
                                                                                                                                                                                                                                                                                                 ESQ.                                                                                                                                                                                                    65224
                                                                                                                                                                LOCATION: 1001 NE GREEN OAKS
          888 NO COPY                   65004 13-13221   505 ENTERTAINMENT, LTD.                          GREENWAY-GREEN OAKS, LP REAL ESTATE LEASE                                                                                                      -                                                        5924 ROYAL LANE SUITE 250                                                     DALLAS       TX           75230
                                                                                                                                                                BLVD #138, ARLINGTON, TX
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                         65004




2491306-3                                                                                                                                                                                                                                                                   2.4(m) - 22
                                                                                                                                                                             Case 13-13220-KG                                                 Doc 506-1                              Filed 03/17/14                                       Page 317 of 362

     ID        Epiq Contract No   Store Number    Case             Debtor            Responsible Person      Contract Counter Party          Type of Contract         Description of Contract       Assume                Reject              Cure Amount Contract NoDate of Contract
                                                                                                                                                                                                                                                                                   Termination Date   Attention                    Address 1                Address 2        Address 3   Address 4        City          State        Zip     Country       Email               Phone        Fax       Vendor   A/P code
                                                                                                                                                                LOCATION: 1765 BRIARGATE
                                                         CHAMPPS OPERATING                                                                                                                                   REJECTED - ORDER 1/8/2014 - DN                                                       ANDREW R.
          889 NO COPY                   65243 13-13227                                                    IMI COLORADO SPRINGS, LLC REAL ESTATE LEASE           PARKWAY, COLORADO SPRINGS CO                                                  Day 1 reject                                                        5750 OLD ORCHARD ROAD SUITE 400                                                    SKOKIE        IL           60077                               847-966-9600       847-966-9628
                                                         CORPORATION                                                                                                                                         141                                                                                  MILLER
                                                                                                                                                                80920                                                                                                                                                                                                                                                                                                                                             65243     0
                                                                                                                                                                                                                                                                                                  POAG
                                                                                                                                                                LOCATION: 1765 BRIARGATE                                                                                                          SHOPPING
                                                         CHAMPPS OPERATING                                                                                                                                   REJECTED - ORDER 1/8/2014 - DN
          890 NO COPY                   65243 13-13227                                                    IMI COLORADO SPRINGS, LLC REAL ESTATE LEASE           PARKWAY, COLORADO SPRINGS CO                                                  Day 1 reject                                        CENERS LLC      2650 THOUSAND OAKS BLVD, SUITE 3150                                                MEMPHIS       TN           38118
                                                         CORPORATION                                                                                                                                         141
                                                                                                                                                                80920                                                                                                                             ATTN: LEGAL
                                                                                                                                                                                                                                                                                                  DEPARTMENT                                                                                                                                                                                                      65243     0
                                                                                                          INDIAN CREEK SHOPPING                                 LOCATION: 10428 METCALF,                                                                                                                                                                                                             OVERLAND
          891 NO COPY                   65029 13-13238   FOX & HOUND OF KANSAS,INC                                                    REAL ESTATE LEASE                                                                                            5,188.80                                                       10412 METCALF                                                                                    KS           66212
                                                                                                          CENTER CO                                             OVERLAND PARK, KS                                                                                                                                                                                                                    PARK                                                                                                         65029
                                                         CHAMPPS OPERATING                                ISTAR HARRISBURG BUSINESS                             LOCATION: ____________________,              REJECTED - ORDER 1/8/2014 - DN
          892 NO COPY                   65255 13-13227                                                                              REAL ESTATE LEASE                                                                                         Day 1 reject                                                        180 GLASTONBURY BLVD SUITE 201                                                     GALSTONBURY CT             06033
                                                         CORPORATION                                      TRUST                                                 WARRINGTON, PA                               141
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                  65255     0
                                                                                                                                                                                                                                                                                                  ISTATE
                                                                                                                                                                                                                                                                                                  FINANCIAL, INC.                                                                                                                                      GCAMIA@IST
                                                         CHAMPPS OPERATING                                ISTAR HARRISBURG BUSINESS                             LOCATION: ____________________,              REJECTED - ORDER 1/8/2014 - DN                                                                       1114 AVENUE OF THE AMERICAS, 39TH
          893 NO COPY                   65255 13-13227                                                                              REAL ESTATE LEASE                                                                                         Day 1 reject                                        ATTN: COO                                                                                          NEW YORK      NY           10036                  ARFINANCIAL. 617-247-4044       617-247-9220
                                                         CORPORATION                                      TRUST                                                 WARRINGTON, PA                               141                                                                                                  FLOOR,
                                                                                                                                                                                                                                                                                                  VALLEY SQUARE                                                                                                                                        COM
                                                                                                                                                                                                                                                                                                  AN                                                                                                                                                                                                              65255     0
                                                         TENT RESTAURANT                                  JIM KALOGEROS &                                       LOCATION: 2101 PARKWAY CENTER,
          894 NO COPY                   65010 13-13259                                                                                REAL ESTATE LEASE                                                                                                  -                                                        2531 N ROAN STREET                                                                 JOHNSON CITY TN            37604
                                                         OPERATIONS, INC                                  ALEXANDRIA KALOGEROS                                  ROAN STREET, JOHNSON CITY, TN
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                  65010
                                                         FOX & HOUND OF                                                                                         LOCATION: 7625 LACHOLLA BLVD,
          895 NO COPY                   65057 13-13234                                                    JIRAR ORFALI                REAL ESTATE LEASE                                                                                            5,627.25                                                       1972 DEERMONT ROAD                                                                 GLENDALE      CA           91207
                                                         ARIZONA,INC                                                                                            TUCSON, AZ                                                                                                                                                                                                                                                                                                                                        65057 x
                                                                                                                                                                LOCATION: 786 TWO MILE
                                                         TENT RESTAURANT                                  JMAR PROPERTIES GP, A TN
          896 NO COPY                   65007 13-13259                                                                                REAL ESTATE LEASE         PARKWAY, SUITE 12,                                                               14,341.61                                                        5550 FRANKLIN PIKE ROAD SUITE 202                                                  NASHVILLE     TN           37220-2129
                                                         OPERATIONS, INC                                  GENERAL PARTNERSHIP
                                                                                                                                                                GOODLETSVILLE, TN                                                                                                                                                                                                                                                                                                                                 65007
                                                         FOX & HOUND OF ILLINOIS,                                                                               LOCATION: 1416 N. ROSELLE ROAD,                                                                                                                                                                                                      SOUTH
          897 NO COPY                   65055 13-13236                                                    KASIM PIRLANT               REAL ESTATE LEASE                                                                                          35,782.78                                                        10 LAKESIDE DRIVE                                                                             IL              60010
                                                         INC                                                                                                    UNITS 30-32, SCHAUMBURG, IL                                                                                                                                                                                                          BARRINGTON
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                  65055
                                                         F & H RESTAURANTS OF                                                                                   LOCATION: 4210 82ND STREET,
          898 NO COPY                   65025 13-13248                                                    KG NORTH 2012, LLC          REAL ESTATE LEASE                                                                                            6,662.20                                                       P.O. BOX 65207                                                                     LUBBOCK       TX           79243
                                                         TEXAS, INC                                                                                             SUITE 240, LUBBOCK, TX 79423                                                                                                                                                                                                                                                                                                                      65025
                                                         F & H RESTAURANTS OF                                                                                   LOCATION: 4210 82ND STREET,                                                                                                       RANDALL
          899 NO COPY                   65025 13-13248                                                    KG NORTH 2012, LLC          REAL ESTATE LEASE                                                                                                                                                           2574 74TH STREET, SUITE 201                                                        LUBBOCK       TX           79243
                                                         TEXAS, INC                                                                                             SUITE 240, LUBBOCK, TX 79423                                                                                                      ANDREWS                                                                                                                                                                                                         65025
                                                         TENT RESTAURANT                                                                                        LOCATION: 22091 MICHIGAN                                                                                                                          21700 NORTHWESTERN HIGHWAY SUITE
          900 NO COPY                   65038 13-13259                                                    KING INVESTMENT COMPANY REAL ESTATE LEASE                                                                                              18,063.16                                                                                                                                           SOUTHFIELD    MI           48076
                                                         OPERATIONS, INC                                                                                        AVENUE, DEARBORN, MI                                                                                                                              900                                                                                                                                                                                             65038
                                                         TENT RESTAURANT                                  KING OF PRUSSIA                                       LOCATION: 211 MALL BOULEVARD,
          901 NO COPY                   65066 13-13259                                                                                REAL ESTATE LEASE                                                                                          13,921.99                                                        225 W WASHINGTON STREET                                                            INDIANAPOLIS IN            46204
                                                         OPERATIONS, INC                                  ASSOCIATES                                            KING OF PRUSSIA, PA
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                  65066
                                                                                                                                                                                                                                                                                                  WOLF, BLOCK,
                                                         TENT RESTAURANT                                  KING OF PRUSSIA                                       LOCATION: 211 MALL BOULEVARD,                                                                                                     SCHORR & SOLIS-                                       SE CORNER 15TH &
          902 NO COPY                   65066 13-13259                                                                                REAL ESTATE LEASE                                                                                                                                                           12TH FLOOR PACKARD BUILDING                                                        PHILADELPIA   PA           19102
                                                         OPERATIONS, INC                                  ASSOCIATES                                            KING OF PRUSSIA, PA                                                                                                               COHEN, ATTN:                                          CHESTNUT STREETS
                                                                                                                                                                                                                                                                                                  ROBERT M.
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                  65066
                                                         F & H RESTAURANTS OF                                                                                   LOCATION: 112 WEST CAMPBELL                                                                                                                                                                                                          NEW HYDE
          903 NO COPY                   65052 13-13248                                                    KIR RICHARDSON, LP          REAL ESTATE LEASE                                                                                          11,423.04                                                        3333 NEW HYDE PARK ROAD SUITE 100                                                                NY           10042
                                                         TEXAS, INC                                                                                             ROAD, RICHARDSON TX                                                                                                                                                                                                                  PARK
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                  65052
                                                         F & H RESTAURANTS OF                                                                                   LOCATION: 112 WEST CAMPBELL                                                                                                       ATTN: STEVE
          904 NO COPY                   65052 13-13248                                                    KIR RICHARDSON, LP          REAL ESTATE LEASE                                                                                                                                                           3102 MAPLE AVENUE, SUITE 600                                                       DALLAS        TX           75201
                                                         TEXAS, INC                                                                                             ROAD, RICHARDSON TX                                                                                                               ESHLEMAN
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                  65052
                                                         FOX & HOUND OF INDIANA,                                                                                LOCATION: 14490 LOWES WAY,                                                                                                        ATTN: VP
          905 NO COPY                   65079 13-13237                                                    KITE GREYHOUND, LLC         REAL ESTATE LEASE                                                                                          17,811.21                                                        30 S MERIDIAN STREET SUITE 1100                                                    INDIANAPOLIS IN            46204
                                                         INC                                                                                                    CARMEL, IN 46033                                                                                                                  LEASING                                                                                                                                                                                                         65079
                                                         F & H RESTAURANTS OF                                                                                   LOCATION: 604 MAIN STREET, FORT
          906 NO COPY                   65043 13-13248                                                    KRESS FT WORTH LLC          REAL ESTATE LEASE                                                                                                  -                                                        4925 GREENVILLE AVENUE SUITE 675                                                   DALLAS        TX           75206
                                                         TEXAS, INC                                                                                             WORTH, TX                                                                                                                                                                                                                                                                                                                                         65043
                                                         F & H RESTAURANTS OF                                                                                   LOCATION: 604 MAIN STREET, FORT
          907 NO COPY                   65043 13-13248                                                    KRESS FT WORTH LLC          REAL ESTATE LEASE                                                                                                  -                                                        P.O. BOX 600099                                                                    DALLAS        TX           75360
                                                         TEXAS, INC                                                                                             WORTH, TX                                                                                                                                                                                                                                                                                                                                         65043
                                                         TENT RESTAURANT                                  LAKEWOOD VILLAGE                                      LOCATION: 2800 LAKEWOOD                                                                                                                                                                                                              N. LITTLE
          908 NO COPY                   65003 13-13259                                                                                REAL ESTATE LEASE                                                                                                  -                                                        2851 LAKEWOOD VILLAGE DRIVE                                                                      AR           72116
                                                         OPERATIONS, INC                                  SHOPPING CENTER LLC                                   VILLAGE DRIVE, N. LITTLE ROCK, AR                                                                                                                                                                                                    ROCK
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                  65003

                                                         CHAMPPS OPERATING                                LENNOX TOWN CENTER                                    LOCATION: 1827 OLENTANGY RIVER                                                                                                    C/O DON CASTO
          909 NO COPY                   65212 13-13227                                                                                REAL ESTATE LEASE                                                                                          14,513.29                                                      209 E STATE STREET                                                                   COLUMBUS      OH           43215
                                                         CORPORATION                                      LIMITED                                               RD., COLUMBUS OH 43212                                                                                                            ORGANIZATION
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                  65212
                                                                                                                                                                                                                                                                                                  CONTINENTAL
                                                         CHAMPPS OPERATING                                LENNOX TOWN CENTER                                    LOCATION: 1827 OLENTANGY RIVER
          910 NO COPY                   65212 13-13227                                                                                REAL ESTATE LEASE                                                                                                                                           REAL ESTATE     150 EAST BROAD STREET                                                              COLUMBUS      OH           43215
                                                         CORPORATION                                      LIMITED                                               RD., COLUMBUS OH 43212
                                                                                                                                                                                                                                                                                                  COMPANIES                                                                                                                                                                                                       65212
                                                                                                          LONE TREE PALM GARYLLC
                                                                                                                                                                LOCATION: 8735 DAY DRIVE,
          911 NO COPY                   65039 13-13246   FOX & HOUND OF OHIO, INC                         AND LONE TREE PALM          REAL ESTATE LEASE                                                                                          25,502.83                                                        2510 CANTERBURY ROAD SUITE 100                                                     WESTLAKE      OH           44145
                                                                                                                                                                PARMA, OH
                                                                                                          CYNTHIA LLC                                                                                                                                                                                                                                                                                                                                                                                             65039
                                                         TENT RESTAURANT                                                                                        LOCATION: 2002 N. WAY MALL,                                                                                                       ATTN: KEITH
          912 NO COPY                   65033 13-13259                                                    LRC REALTY, INC.            REAL ESTATE LEASE                                                                                          39,311.16                                                        1584 FREDERICK BLVD                                                                AKRON         OH           44320
                                                         OPERATIONS, INC                                                                                        MCKNIGHT ROAD, PITTSBURGH, PA                                                                                                     GREENE VP
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                  65033
                                                         TENT RESTAURANT                                                                                        LOCATION: 2002 N. WAY MALL,                                                                                                       C/O ZAMIAS
          913 NO COPY                   65033 13-13259                                                    LRC REALTY, INC.            REAL ESTATE LEASE                                                                                                                                                           300 MARKET STREET                                                                  JOHNSTOWN     PA           15901
                                                         OPERATIONS, INC                                                                                        MCKNIGHT ROAD, PITTSBURGH, PA                                                                                                     SERVICES
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                  65033
                                                                                                                                                                                                                                                                                                                                                                                                                                                       FRANK.MACPH
                                                                                                                                                                                                                                                                                                                                                                                                                                                       ERSON@GMAI
                                                                                                                                                                                                                                                                                                                                                                                                                                                       L.COM;
                                                         TENT RESTAURANT                                                                                        LOCATION: 330 N. TRYON,                      REJECTED - ORDER 1/8/2014 - DN                                                       C/O JOHN H.                                           214 N TRYON                                                                                    FMACPHERSO
          914 NO COPY                   65045 13-13259                                                    MACPHER, L.L.C.             REAL ESTATE LEASE                                                                                       Day 1 reject                                                        K&L GATES LLP                                                                      CHARLOTTE     NC           28202                              704-331-7409        704-353-3109
                                                         OPERATIONS, INC                                                                                        CHARLOTTE, NC                                141                                                                                  CAPITANO                                              STREET, 47TH FLOOR                                                                             N@RTPUMPS.
                                                                                                                                                                                                                                                                                                                                                                                                                                                       COM;JACK.CA
                                                                                                                                                                                                                                                                                                                                                                                                                                                       PITANO@KLG
                                                                                                                                                                                                                                                                                                                                                                                                                                                       ATES.COM
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                  65045
                                                         TENT RESTAURANT                                  MACY'S RETAIL HOLDINGS,                               LOCATION: 4238 WILSON BLVD.,
          915 NO COPY                   65062 13-13259                                                                                REAL ESTATE LEASE                                                                                                  -                                                        7 WEST 7TH STREET 17TH FLOOR                                                       CINCINNATI    OH           45202
                                                         OPERATIONS, INC                                  INC.                                                  ARLINGTON, VA 22203                                                                                                                                                                                                                                                                                                                               65062
                                                         CHAMPPS OPERATING                                                                                      LOCATION: 9424 CIVIC CENTRE                                                                                                                                                                                                          WEST
          916 NO COPY                   65244 13-13227                                                    MADISON PARTNERS, LP        REAL ESTATE LEASE                                                                                          68,091.17                                                        4891 WEST SUNSET BLVD, SUITE 497                                                                 CA           90069
                                                         CORPORATION                                                                                            BLVD., WEST CHESTER OH 45069                                                                                                                                                                                                         HOLLYWOOD
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                  65244
                                                         CHAMPPS OPERATING                                                                                      LOCATION: 9424 CIVIC CENTRE                                                                                                       C/O THINK
          917 NO COPY                   65244 13-13227                                                    MADISON PARTNERS, LP        REAL ESTATE LEASE                                                                                                                                                           95 N COUNTY ROAD                                                                   PALM BEACH    FL           33480
                                                         CORPORATION                                                                                            BLVD., WEST CHESTER OH 45069                                                                                                      GREENE
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                  65244
                                                         CHAMPPS OPERATING                                MARKET PLAZA                                          LOCATION: 790 W. 66TH ST.,
          918 NO COPY                   65209 13-13227                                                                                REAL ESTATE LEASE                                                                                            7,546.77                                                       6515 GRAND TETON PLAZA SUITE 300                                                   MADISON       WI           53719
                                                         CORPORATION                                      COMMERCIAL LTD                                        RICHFIELD, MN 55423                                                                                                                                                                                                                                                                                                                               65209
                                                                                                                                                                                                                                                                                                  C/O CENTRO
                                                         CHAMPPS OPERATING                                MARLTON PLAZA ASSOCIATES                              LOCATION: MARLTON CR. 25 RT. 73
          919 NO COPY                   65204 13-13227                                                                             REAL ESTATE LEASE                                                                                             40,883.46                                        PROPERTIES      420 LEXINGTON AVENUE 7TH FLOOR                                                     NEW YORK      NY           10170
                                                         CORPORATION                                      II LP                                                 S., MARLTON, NJ 08053
                                                                                                                                                                                                                                                                                                  GROUP                                                                                                                                                                                                           65204
                                                                                                                                                                                                                                                                                                  C/O CENTRO
                                                                                                                                                                                                                                                                                                  PROPERTIES
                                                         CHAMPPS OPERATING                                MARLTON PLAZA ASSOCIATES                              LOCATION: MARLTON CR. 25 RT. 73                                                                                                                                                                                                      CONSHOHOCK
          920 NO COPY                   65204 13-13227                                                                             REAL ESTATE LEASE                                                                                                                                              GROUP LEGAL     TWO TOWER BRIDGE, SUITE 300                                                                   PA              19428
                                                         CORPORATION                                      II LP                                                 S., MARLTON, NJ 08053                                                                                                                                                                                                                EN
                                                                                                                                                                                                                                                                                                  DEPARTMENT,
                                                                                                                                                                                                                                                                                                  MID-                                                                                                                                                                                                            65204
                                                                                                                                                                LOCATION: 605 N. 120TH ST.,
                                                         FOX & HOUND OF NEBRASKA,
          921 NO COPY                   65015 13-13243                                                    MENARD, INC.                REAL ESTATE LEASE         WESTERN CROSSING S/C, OMAHA,                                                     12,602.71                                                        4777 MENARD DRIVE                                                                  EAU CLAIRE    WI           54703
                                                         INC
                                                                                                                                                                NE                                                                                                                                                                                                                                                                                                                                                65015




2491306-3                                                                                                                                                                                                                                                                    2.4(m) - 23
                                                                                                                                                                           Case 13-13220-KG                                                Doc 506-1                              Filed 03/17/14                                      Page 318 of 362

     ID        Epiq Contract No   Store Number    Case             Debtor          Responsible Person      Contract Counter Party          Type of Contract         Description of Contract      Assume                Reject              Cure Amount Contract NoDate of Contract
                                                                                                                                                                                                                                                                                Termination Date   Attention                Address 1                    Address 2   Address 3   Address 4        City          State       Zip   Country       Email               Phone        Fax       Vendor   A/P code
                                                         TENT RESTAURANT                                                                                      LOCATION: 920 TOWNE CENTER                                                                                                                       6835 CONSERVATION WAY P.O. BOX
          922 NO COPY                   65083 13-13259                                                  MF3, LLC                    REAL ESTATE LEASE                                                                                         46,962.14                                                                                                                                      WILMINGTON NC              28405
                                                         OPERATIONS, INC                                                                                      DRIVE, WILMINGTON, NC 28405                                                                                                                      12830                                                                                                                                                                                   65083
                                                         TENT RESTAURANT                                MILLCREEK PLAZA COMPANY                               LOCATION: 250 MILLCREEK PLAZA,                                                                                                                                                                                                 YOUNGSTOW
          923 NO COPY                   65023 13-13259                                                                          REAL ESTATE LEASE                                                                                             24,383.21                                                        2445 BELMONT AVENUE P.O. BOX 2186                                                       OH               44504
                                                         OPERATIONS, INC                                LP                                                    KEARSARGE, PA                                                                                                                                                                                                                  N                                                                                                         65023
                                                         FOX & HOUND OF                                                                                       LOCATION: 8320 W. MARINERS                  REJECTED - ORDER 1/8/2014 - DN                                                                                                                                                     GREENWOOD                                      TCDELINE@HO
          924 NO COPY                   65050 13-13234                                                  MONAGHAN FARMS, INC.        REAL ESTATE LEASE                                                                                      Day 1 reject                                                        7950 EAST PRENTICE AVENUE            SUITE 101                                          CO               801111                          303-809-1342        303-743-0202
                                                         ARIZONA,INC                                                                                          WAY, PEORIA, AZ                             141                                                                                                                                                                                VILLAGE                                        TMAIL.COM                                                  65050   0
                                                                                                                                                              LOCATION: 855 W. JOHN W.
                                                         CHAMPPS ENTERTAINMENT                          NATIONAL RETAIL
          925 NO COPY                   65219 13-13225                                                                              REAL ESTATE LEASE         CARPENTER FRWY., IRVING, TX                                                             -                                                        450 S ORANGE AVENUE SUITE 900                                                 ORLANDO       FL           32801
                                                         OF TEXAS, INC                                  PROPERTIES, LP
                                                                                                                                                              75039                                                                                                                                                                                                                                                                                                                                    65219
                                                         F & H RESTAURANTS OF                                                                                 LOCATION: 18918 MIDWAY ROAD,
          926 NO COPY                   65008 13-13248                                                  NAVIKA CAPITAL GROUP, LLC REAL ESTATE LEASE                                                                                           12,768.72                                                        1274 WRXR PLAZA                                                               UNIONDALE     NY           11556
                                                         TEXAS, INC                                                                                           SUITE 200, DALLAS, TX                                                                                                                                                                                                                                                                                                                    65008
                                                         TENT RESTAURANT                                                                                      LOCATION: 4158 MAIN @ NORTH
          927 NO COPY                   65077 13-13259                                                  NHM OWNER-1, LLC            REAL ESTATE LEASE                                                                                         37,317.47                                                        P.O. BOX 19107                                                                RALEIGH       NC           27619
                                                         OPERATIONS, INC                                                                                      HILLS ST. #111, RALEIGH NC 27609
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                       65077
                                                                                                        NORMAN L & CAROL A.                                   LOCATION: 4750 W. 120TH
                                                         FOX & HOUND OF
          928 NO COPY                   65049 13-13235                                                  COWDEN REVOCABLE TRUST REAL ESTATE LEASE              AVENUE, SUITE 900, WESTMINSTER,                                                 10,518.47                                                        10901 W TOLLER DRIVE                                                          LITTLETON     CO           80127
                                                         COLORADO, INC
                                                                                                        LLC                                                   CO                                                                                                                                                                                                                                                                                                                                       65049
                                                                                                                                                              LOCATION: 9325 CENTER LAKE
                                                         TENT RESTAURANT                                                                                                                                                                                                                       ATTN: RETAIL
          929 NO COPY                   65093 13-13259                                                  NORTHLAKE COMMONS, LLC REAL ESTATE LEASE              DRIVE, SUITE 200, CHARLOTTE NC                                                    9,367.34                                                       121 W TRADE ST 27TH FLOOR                                                     CHARLOTTE     NC           28202
                                                         OPERATIONS, INC                                                                                                                                                                                                                       LEASING
                                                                                                                                                              28216                                                                                                                                                                                                                                                                                                                                    65093
                                                                                                                                                                                                                                                                                                                                                                                                                                            KLLEVA@US.
                                                         CHAMPPS OPERATING                                                                                    LOCATION: 134 OLD ORCHARD                   REJECTED - ORDER 1/8/2014 - DN
          930 NO COPY                   65228 13-13227                                                  OLD ORCHARD URBAN LP        REAL ESTATE LEASE                                                                                      Day 1 reject                                                        4905 OLD ORCHARD CENTER SUITE 866                                             SKOKIE        IL           60077               WESTFIELD.CO 310-689-2569       310-689-5751
                                                         CORPORATION                                                                                          CENTER #D134, SKOKIE, IL 60077              141
                                                                                                                                                                                                                                                                                                                                                                                                                                            M                                                          65228   0
                                                                                                                                                                                                                                                                                                                                                                                                                                            KLLEVA@US.
                                                         CHAMPPS OPERATING                                                                                    LOCATION: 134 OLD ORCHARD                   REJECTED - ORDER 1/8/2014 - DN
          931 NO COPY                   65228 13-13227                                                  OLD ORCHARD URBAN LP        REAL ESTATE LEASE                                                                                      Day 1 reject                                        C/O WESTFIELD 2049 CENTURY PARK EAST, 41ST FLOOR,                                             LOS ANGELES   CA           90067               WESTFIELD.CO 310-689-2569       310-689-5751
                                                         CORPORATION                                                                                          CENTER #D134, SKOKIE, IL 60077              141
                                                                                                                                                                                                                                                                                                                                                                                                                                            M                                                          65228   0
                                                         TENT RESTAURANT                                                                                      LOCATION: 27843 ORCHARD LAKE                REJECTED - ORDER 1/8/2014 - DN                                                                                                                                                     CORAL                                          JACOB@PLAZ
          932 NO COPY                   65096 13-13259                                                  ORCHARD 12, LLC             REAL ESTATE LEASE                                                                                      Day 1 reject                                                        766 RIVERSIDE DRIVE                                                                         FL           33071                          954-346-9494         888-571-9922
                                                         OPERATIONS, INC                                                                                      ROAD, FARMINGTON HILL, MI                   141                                                                                                                                                                                SPRINGS                                        AMGMT.COM
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                       65096   0
                                                                                                                                                                                                                                                                                                                                                                                                                                            LYNDA.MCGEE
                                                         FOX & HOUND OF                                                                                       LOCATION: 1017 E. BASELINE ROAD,            REJECTED - ORDER 1/8/2014 - DN
          933 NO COPY                   65068 13-13234                                                  PAMALE COMPANY              REAL ESTATE LEASE                                                                                      Day 1 reject                                                        P.O. BOX 238                                                                  WESTLEY       CA           95387               @VERIZON.NE 909-596-6032
                                                         ARIZONA,INC                                                                                          GILBERT AZ 85233                            141
                                                                                                                                                                                                                                                                                                                                                                                                                                            T                                                          65068   0
                                                         TENT RESTAURANT                                                                                      LOCATION: 819 EXOCET DRIVE,                                                                                                      ATTN: LOUIS
          934 NO COPY                   65013 13-13259                                                  PATRIOT SQUAREGP            REAL ESTATE LEASE                                                                                           5,925.18                                                       999 S SHADYGROVE ROAD SUITE 103                                               MEMPHIS       TN           38120
                                                         OPERATIONS, INC                                                                                      CORDOVA, TN                                                                                                                      BAIONI                                                                                                                                                                                                  65013
                                                         FOX & HOUND OF INDIANA,                        PK CLEARWATER SPRINGS,                                LOCATION: 4901 E. 82ND STREET                                                                                                                    3610 RIVER CROSSING PARKWAY SUITE
          935 NO COPY                   65035 13-13237                                                                              REAL ESTATE LEASE                                                                                           7,953.63                                                                                                                                     INDIANAPOLIS IN            46240
                                                         INC                                            LLC                                                   #900, INDIANAPOLIS, IN                                                                                                                           280
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                       65035
                                                         CHAMPPS OPERATING                                                                                    LOCATION: 8711 N. RIVER                                                                                                                          3610 RIVER CROSSING PARKWAY SUITE
          936 NO COPY                   65205 13-13227                                                  PK RIVER SHOPS NORTH LLC    REAL ESTATE LEASE                                                                                           2,990.98                                                                                                                                     INDIANAPOLIS IN            46240
                                                         CORPORATION                                                                                          CROSSING, INDIANAPOLIS, IN 46240                                                                                                                 280
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                       65205
                                                                                                                                                                                                                                                                                               STEVE GLAZIER,
                                                         CHAMPPS OPERATING                                                                                    LOCATION: 8711 N. RIVER                                                                                                          COHEN          8888 KEYSTONE CROSSING BLVD., SUITE
          937 NO COPY                   65205 13-13227                                                  PK RIVER SHOPS NORTH LLC    REAL ESTATE LEASE                                                                                                 -                                                                                                                                      INDIANAPOLIS IN            46240
                                                         CORPORATION                                                                                          CROSSING, INDIANAPOLIS, IN 46240                                                                                                 GARELICK &     800
                                                                                                                                                                                                                                                                                               GLAZIER,
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                       65205
                                                                                                        PNC BANK NA, TRUSTEE OF
                                                                                                        THE TRUST UNDER THE WILL
                                                                                                        OF WILLIAM MARSHALL
                                                                                                        BULLITT, DECEASED, AND
                                                         CHAMPPS OPERATING                                                                                                                                                                                                                                                                                                                                                                  JCOUCH@BEA
                                                                                                        STOCKYARDS BANK AND                                   LOCATION: 302 BULLITT LANE,                 REJECTED - ORDER 1/8/2014 - DN                                                       ATTN: JAMES H. 200 SOUTH 5TH STREET SUITE 500
          938 NO COPY                   65254 13-13227   CORPORATION (BY                                                            REAL ESTATE LEASE                                                                                      Day 1 reject                                                                                                                                      LOUISVILLE    KY           40202               RGRASSREALT 502-581-2320
                                                                                                        TRUST COMPANY,                                        LOUISVILLE, KY40222                         141                                                                                  COUCH          NORTH
                                                         ASSIGNMENT FROM                                                                                                                                                                                                                                                                                                                                                                    Y.COM
                                                                                                        SUCCESSOR TRUSTEE OF
                                                                                                        TRUST UNDER THE WILL OF
                                                                                                        THOMAS W. BULLITT,
                                                                                                        DECEASED
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                       65254   0
                                                         TENT RESTAURANT                                                                                      LOCATION: 12300 JEFFERSON AVE,                                                                                                                                                                                                 NEWPORT
          939 NO COPY                   65089 13-13259                                                  PR PATRICK HENRY LLC        REAL ESTATE LEASE                                                                                                 -                                                        12300 JEFFERSON AVENUE SUITE 777                                                            VA           23602
                                                         OPERATIONS, INC                                                                                      SUITE 110, NEWPORT NEWS VA                                                                                                                                                                                                     NEWS
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                       65089
                                                         CHAMPPS OPERATING                              PRAIRIE ENTERTAINMENT                                 LOCATION: 8010 GLEN LANE, EDEN
          940 NO COPY                   65225 13-13227                                                                              REAL ESTATE LEASE                                                                                         13,651.64                                                        21393 NOVAK AVENUE N                                                          SCANDIA       MN           55073
                                                         CORPORATION                                    ASSOCIATES                                            PRAIRIE MN 55344                                                                                                                                                                                                                                                                                                                         65225
                                                                                                                                                              LOCATION: 51 TOWN CENTER
                                                         CHAMPPS OPERATING                              PROVIDENCE TOWN CENTRE,
          941 NO COPY                   65253 13-13227                                                                          REAL ESTATE LEASE             DRIVE, STORE G-5, COLLEGEVILLE,                                                 11,908.68                                                        1301 LANCASTER AVENUE                                                         BERWYN        PA           19312
                                                         CORPORATION                                    L.P.
                                                                                                                                                              PA 19426                                                                                                                                                                                                                                                                                                                                 65253
                                                         TENT RESTAURANT                                RAMS PLAZA ASSOCIATES,                                LOCATION: 151 RAMS PLAZA,
          942 NO COPY                   65031 13-13259                                                                              REAL ESTATE LEASE                                                                                                 -                                                        2908 OAK LAKE BLVD SUITE 203                                                  CHARLOTTE     NC           28208
                                                         OPERATIONS, INC                                LLC                                                   CHAPEL HILL, NC                                                                                                                                                                                                                                                                                                                          65031
                                                         F & H RESTAURANTS OF                                                                                 LOCATION: 6051 SW LOOP 820,
          943 NO COPY                   65042 13-13248                                                  RPI BRYANT IRVIN, LTD.      REAL ESTATE LEASE                                                                                                 -                                                        2929 CARLISLE ST. SUITE 170                                                   DALLAS        TX           75024
                                                         TEXAS, INC                                                                                           FORT WORTH, TX                                                                                                                                                                                                                                                                                                                           65042
                                                         TENT RESTAURANT                                SANDERLIN CENTER                                      LOCATION: 5101 SANDERLIN
          944 NO COPY                   65028 13-13259                                                                              REAL ESTATE LEASE                                                                                         20,343.87                                                        5872 RIDGE BEND ROAD                                                          MEMPHIS       TN           38120
                                                         OPERATIONS, INC                                PARTNERS                                              AVENUE, SUITE 100, MEMPHIS, TN
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                       65028
                                                         FOX & HOUND OF NEW                                                                                   LOCATION: 4301 THE LANE @25
          945 NO COPY                   65063 13-13245                                                  SAWICKI REALTY CO.          REAL ESTATE LEASE                                                                                         10,532.85                                                        6546 WEASTERFIELD COURT SUITE A2                                              MAUMEE        OH           43537
                                                         MEXICO, INC                                                                                          N.E., ALBUQUERQUE, NM                                                                                                                                                                                                                                                                                                                    65063
                                                         TENT RESTAURANT                                SHOPPING CENTER                                       LOCATION: 418 MENLO PARK MALL,
          946 NO COPY                   65203 13-13259                                                                              REAL ESTATE LEASE                                                                                           2,192.66                                                       225 W WASHINGTON STREET                                                       INDIANAPOLIS IN            46204
                                                         OPERATIONS, INC                                ASSOCIATES                                            EDISON, NJ 08837                                                                                                                                                                                                                                                                                                                         65203
                                                         TENT RESTAURANT                                SOUTHAVEN TOWNE CENTER                                LOCATION: 6565 TOWNE CENTER                                                                                                                                                                                                    CHATTANOOG
          947 NO COPY                   65087 13-13259                                                                         REAL ESTATE LEASE                                                                                                6,165.02                                                       2030 HAMILTON PLACE BLVD SUITE 500                                                       TN              37421
                                                         OPERATIONS, INC                                II, LLC                                               CROSSING, SOUTHAVEN, MS                                                                                                                                                                                                        A
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                       65087
                                                                                                                                                              LOCATION: 8030 RENAISSANCE
                                                         CHAMPPS OPERATING
          948 NO COPY                   65233 13-13227                                                  SOUTHPOINT MALL, LLC        REAL ESTATE LEASE         PKWY, SUITE 885, DURHAM NC                                                      15,769.43                                                        6910 FAYETTEVILLE ROAD SUITE 254                                              DURHAM        NC           27713
                                                         CORPORATION
                                                                                                                                                              27713                                                                                                                                                                                                                                                                                                                                    65233
                                                                                                                                                                                                                                                                                               C/O GENERAL
                                                                                                                                                              LOCATION: 8030 RENAISSANCE
                                                         CHAMPPS OPERATING                                                                                                                                                                                                                     GROWTH                                                                                        CHICAGO IL
          949 NO COPY                   65233 13-13227                                                  SOUTHPOINT MALL, LLC        REAL ESTATE LEASE         PKWY, SUITE 885, DURHAM NC                                                                                                                       110 N WACKER DRIVER                                                                         IL           60606
                                                         CORPORATION                                                                                                                                                                                                                           PROPERTIES,                                                                                   60606
                                                                                                                                                              27713
                                                                                                                                                                                                                                                                                               INC.                                                                                                                                                                                                    65233
                                                         TENT RESTAURANT                                SPECTRUM PROPERTIES                                   LOCATION: 7502 W. BROAD STREET,
          950 NO COPY                   65051 13-13259                                                                              REAL ESTATE LEASE                                                                                         17,376.65                                                        11100 W BROAD STREET                                                          GLEN ALLEN    VA           23060
                                                         OPERATIONS, INC                                FUND I, LTD.                                          RICHMOND, VA                                                                                                                                                                                                                                                                                                                             65051
                                                                                                                                                                                                                                                                                               C/O GREEN
                                                         TENT RESTAURANT                                SPRUCE PARKING                                        LOCATION: 1501 SPRUCE STREET,
          951 NO COPY                   65061 13-13259                                                                              REAL ESTATE LEASE                                                                                         13,139.56                                        COURTE          840 S WAUKEGAN ROAD SUITE 222                                                 LAKE FOREST   IL           60045
                                                         OPERATIONS, INC                                ASSOCIATES LP                                         PHILADELPHIA, PA
                                                                                                                                                                                                                                                                                               PARTNERS LLC                                                                                                                                                                                            65061
                                                         TENT RESTAURANT                                                                                      LOCATION: 2625 BRINDLE DRIVE,
          952 NO COPY                   65095 13-13259                                                  STANBERY HARRISBURG LP      REAL ESTATE LEASE                                                                                         30,185.67                                                        2907 A DELMAR DRIVE                                                           BEXLEY        OH           43209
                                                         OPERATIONS, INC                                                                                      HARRISBURG EAST, PA                                                                                                                                                                                                                                                                                                                      65095
                                                         CHAMPPS OPERATING                              STONY POINT FASHION PARK                              LOCATION: 9202 STONY POINT                                                                                                                                                                                                     BLOOMFIELD
          953 NO COPY                   65240 13-13227                                                                           REAL ESTATE LEASE                                                                                            26,616.56                                        C/O TAUBMAN     200 EAST LONG LAKE ROAD SUITE 300                                                           MI           48304
                                                         CORPORATION                                    ASSOCIATES, LLC                                       PARKWAY, RICHMOND VA 23235                                                                                                                                                                                                     HILLS
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                       65240
                                                                                                                                                                                                                                                                                               C/O FEDERAL
                                                         CHAMPPS OPERATING                                                                                    LOCATION: 1201 S. JOYCE ST., #C-                                                                                                 REALTY
          954 NO COPY                   65226 13-13227                                                  STREET RETAIL INC           REAL ESTATE LEASE                                                                                                 -                                                        1626 E JEFFERSON ST.                                                          ROCKVILLE     MD           20852
                                                         CORPORATION                                                                                          10, ARLINGTON VA 22202                                                                                                           INVESTMENT
                                                                                                                                                                                                                                                                                               TRUST                                                                                                                                                                                                   65226
                                                         TENT RESTAURANT                                                                                      LOCATION: 1965 W. MAPLE RD,
          955 NO COPY                   65070 13-13259                                                  SUSO 1 CAMBRIDGE, LP        REAL ESTATE LEASE                                                                                           9,480.06                                       C/O CBRE        2000 TOWN CENTER SUITE 500                                                    SOUTHFIELD    MI           48075
                                                         OPERATIONS, INC                                                                                      TROY, MI 48084                                                                                                                                                                                                                                                                                                                           65070
                                                         CHAMPPS OPERATING                              TAMPA WEST SHORE                                      LOCATION: 2223 NORTH WEST                                                                                                                                                                                                      BLOOMFIELD
          956 NO COPY                   65246 13-13227                                                                              REAL ESTATE LEASE                                                                                         18,367.41                                        C/O TAUBMAN     200 EAST LONG LAKE ROAD SUITE 300                                                           MI           48304
                                                         CORPORATION                                    ASSOCIATES, LP                                        SHORE #B221, TAMPA FL 33607                                                                                                                                                                                                    HILLS                                                                                                     65246




2491306-3                                                                                                                                                                                                                                                                 2.4(m) - 24
                                                                                                                                                                                     Case 13-13220-KG                                                 Doc 506-1                               Filed 03/17/14                                          Page 319 of 362

     ID        Epiq Contract No   Store Number       Case             Debtor            Responsible Person      Contract Counter Party          Type of Contract              Description of Contract       Assume                Reject              Cure Amount Contract NoDate of Contract
                                                                                                                                                                                                                                                                                           Termination Date        Attention                   Address 1                    Address 2   Address 3   Address 4          City        State          Zip   Country      Email               Phone        Fax          Vendor        A/P code
                                                                                                             TENANT IN COMMON CO-
                                                            CHAMPPS OPERATING                                                                                            LOCATION: 12515 HALL ROAD,                  REJECTED - ORDER 1/8/2014 - DN                                                                             1300 WELLS FARGO PLACE 30 EAST 7TH                                                                                                BSCHULZ@AEI
          957 NO COPY                   65229 13-13227                                                       OWNERS C/O AEI FUND         REAL ESTATE LEASE                                                                                               10,118.32                                                                                                                                              ST. PAUL      MN           55101                              651-227-7333       651-227-7705
                                                            CORPORATION                                                                                                  UTICA, MI 48315                             141                                                                                                        STREET                                                                                                                            FUNDS.COM
                                                                                                             MANAGEMENT, INC.                                                                                                                                                                                                                                                                                                                                                                                                           65229
                                                                                                             TENANT IN COMMON CO-                                                                                                                                                                               C/O CASSIDY
                                                            CHAMPPS OPERATING                                                                                            LOCATION: 19470 HAGGERTY RD.,                                                                                                                                                                                                                                                            BSCHULZ@AEI
          958 NO COPY                   65216 13-13227                                                       OWNERS C/O AEI FUND         REAL ESTATE LEASE                                                                                               35,423.07                                              TURLEY          7701 FORSYTH, SUITE 500                                                         ST. LOUIS     MO           63105                              651-227-7333       651-227-7705
                                                            CORPORATION                                                                                                  LIVONIA, MI 48152                                                                                                                                                                                                                                                                        FUNDS.COM
                                                                                                             MANAGEMENT, INC.                                                                                                                                                                                   MIDWEST, INC.                                                                                                                                                                                                           65216
                                                            FOX & HOUND OF                                                                                               LOCATION: 3031 WEST MEMORIAL
          959 NO COPY                   65064 13-13247                                                       THE JOHN L. HALL TRUST      REAL ESTATE LEASE                                                                                                 7,762.80                                                             323 E MATILIGA ST. SUITE 110-212.                                               OJAI          CA           93023
                                                            OKLAHOMA, INC                                                                                                ROAD, OKLAHOMA CITY, OK
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                        65064
                                                                                                                                                                                                                                                                                                                C/O GENERAL
                                                                                                                                                                         LOCATION: 10300 LITTLE PATUXENT                                                                                                        GROWTH
                                                            CHAMPPS OPERATING                                THE MALL IN COLUMBIA
          960 NO COPY                   65231 13-13227                                                                                   REAL ESTATE LEASE               PKWY, SUITE 3040, COLUMBIA MD                                                           -                                              PROPERTIES,     10275 LITTLE PATUXENT PARKWAY                                                   COLUMBIA      MD           21044
                                                            CORPORATION                                      BUSINESS TRUST
                                                                                                                                                                         21044                                                                                                                                  COLUMBIA
                                                                                                                                                                                                                                                                                                                REGINAL OF                                                                                                                                                                                                              65231
                                                                                                                                                                                                                                                                                                                C/O GENERAL
                                                                                                                                                                         LOCATION: 10300 LITTLE PATUXENT
                                                            CHAMPPS OPERATING                                THE MALL IN COLUMBIA                                                                                                                                                                               GROWTH
          961 NO COPY                   65231 13-13227                                                                                   REAL ESTATE LEASE               PKWY, SUITE 3040, COLUMBIA MD                                                           -                                                              110 N WACKER DRIVER                                                             CHICAGO       IL           60606
                                                            CORPORATION                                      BUSINESS TRUST                                                                                                                                                                                     PROPERTIES,
                                                                                                                                                                         21044
                                                                                                                                                                                                                                                                                                                INC.                                                                                                                                                                                                                    65231
                                                            TENT RESTAURANT                                  THE SHOPPES AT HAMILTON                                     LOCATION: 2040 HAMILTON PLACE                                                                                                                                                                                                          CHATTANOOG
          962 NO COPY                   65074 13-13259                                                                                   REAL ESTATE LEASE                                                                                                 4,253.34                                                             2100 HAMILTON PLACE BLVD SUITE 100                                                         TN              37421
                                                            OPERATIONS, INC                                  PLACE, LLC                                                  BLVD #150 CHATTANOOGA TN                                                                                                                                                                                                               A
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                        65074
                                                                                                             THE WATERFRONT
                                                                                                                                                                         LOCATION: 1421 WATERFRONT
          963 NO COPY                   65069 13-13238      FOX & HOUND OF KANSAS,INC                        COMMERCIAL PROPERTIES,      REAL ESTATE LEASE                                                                                                       -                                                              1223 N ROCK ROAD SUITE H200                                                     WICHITA       KS           67206
                                                                                                                                                                         PARKWAY, WICHITA, KS 67206
                                                                                                             LLC                                                                                                                                                                                                                                                                                                                                                                                                                        65069
                                                                                                                                                                         LOCATION: 17416 CHESTERFIELD
                                                            TENT RESTAURANT                                  THF CHESTERFIELD FOUR                                                                                                                                                                                              2127 INNERBELT BUSINESS CENTER DRIVE
          964 NO COPY                   65080 13-13259                                                                                   REAL ESTATE LEASE               AIRPORT RD, CHESTERFIELD, MO                                                    23,667.74                                                                                                                                              ST. LOUIS     MO           63114
                                                            OPERATIONS, INC                                  DEVELOPMENT, LLC                                                                                                                                                                                                   SUITE 200
                                                                                                                                                                         63005                                                                                                                                                                                                                                                                                                                                                          65080
                                                            WINSTON-SALEM FOX &                              THRUWAY SHOPPING CENTER                                     LOCATION: 367 LOWER MALL
          965 NO COPY                   65034 13-13261                                                                               REAL ESTATE LEASE                                                                                                           -                                                              7501 WISCONSIN AVENUE SUTIE 1500                                                BETHESDA      MD           20814
                                                            HOUND, INC                                       LLC                                                         DRIVE, WINSTON SALEM, NC                                                                                                                                                                                                                                                                                                                                       65034
                                                            CHAMPPS OPERATING                                                                                            LOCATION: 3741 SUMNER BLVD,                                                                                                                            5959 TRIANGLE TOWN BLVD SUITE CU-
          966 NO COPY                   65238 13-13227                                                       TRIANGLE TOWN CENTER LLC REAL ESTATE LEASE                                                                                                  12,260.13                                                                                                                                              RALEIGH       NC           27616
                                                            CORPORATION                                                                                                  SUITE OBA1, RALEIGH NC 27616                                                                                                                           2072                                                                                                                                                                                                    65238
                                                                                                                                                                                                                                                                                                                C/O CBL &
                                                            CHAMPPS OPERATING                                                                                            LOCATION: 3741 SUMNER BLVD,                                                                                                            ASSOCIATES                                                                                      CHATTANOOG
          967 NO COPY                   65238 13-13227                                                       TRIANGLE TOWN CENTER LLC REAL ESTATE LEASE                                                                                                                                                                         2030 HAMILTON PLACE BLVD, SUITE 500                                                        TN              37421
                                                            CORPORATION                                                                                                  SUITE OBA1, RALEIGH NC 27616                                                                                                           PROPERTIES,                                                                                     A
                                                                                                                                                                                                                                                                                                                INC.                                                                                                                                                                                                                    65238
                                                            F & H RESTAURANTS OF                                                                                         LOCATION: 1640 STEMMONS                     REJECTED - ORDER 1/8/2014 - DN                                                             C/O KIM                                                                                                                                           MIKE8899@Y
          968 NO COPY                   65040 13-13248                                                       TSAI GLOBAL, LCC            REAL ESTATE LEASE                                                                                            Day 1 reject                                                              28620 MATADERO CREEK COURT                                                      LOS ALTOS     CA           94022                             650-949-3850
                                                            TEXAS, INC                                                                                                   FREEWAY, LEWISVILLE, TX                     141                                                                                        LAWRENCE                                                                                                                                          AHOO.COM                                                              65040   0
                                                            TENT RESTAURANT                                                                                              LOCATION: 11581 ROBIOUS RD.,
          969 NO COPY                   65067 13-13259                                                       TUCCIARONE REALTY, LP       REAL ESTATE LEASE                                                                                               27,512.18                                                              3417 CORROTOMAN ROAD                                                            GLEN ELYN     VA           23060
                                                            OPERATIONS, INC                                                                                              RICHMOND, VA 23235                                                                                                                                                                                                                                                                                                                                             65067
                                                            TENT RESTAURANT                                                                                              LOCATION: 2409 LAURENS ROAD,
          970 NO COPY                   65006 13-13259                                                       VERDAE PROPERTIES, LLC      REAL ESTATE LEASE                                                                                               19,753.78                                                              117 WILLIAM STREET                                                              GREENVILLE    SC           29602
                                                            OPERATIONS, INC                                                                                              GREENVILLE, SC                                                                                                                                                                                                                                                                                                                                                 65006
                                                            TENT RESTAURANT                                                                                              LOCATION: 2409 LAURENS ROAD,                                                                                                           SAMMY
          971 NO COPY                   65006 13-13259                                                       VERDAE PROPERTIES, LLC      REAL ESTATE LEASE                                                                                                                                                                      124 VERDAE BLVD, SUITE 502                                                      GREENVILLE    SC           29607
                                                            OPERATIONS, INC                                                                                              GREENVILLE, SC                                                                                                                         DUBOSE                                                                                                                                                                                                                  65006
                                                            F & H RESTAURANTS OF                             WILLOWBROOOK I LIMITED                                      LOCATION: 17575 TOMBALL                     REJECTED - ORDER 1/8/2014 - DN                                                                             8807 W SAM HOUSTON PARKWAY N                                                                                                      JHALL@NEWQ
          972 NO COPY                   65094 13-13248                                                                                   REAL ESTATE LEASE                                                                                            Day 1 reject                                                                                                                                              HOUSTON       TX           77040                             281-477-4376        281-477-4351
                                                            TEXAS, INC                                       PARTNERSHIP                                                 PARKWAY, HOUSTON TX                         141                                                                                                        SUITE 200                                                                                                                         UEST.COM                                                              65094   0
                                                            F & H RESTAURANTS OF                             WOODLAND PARK                                               LOCATION: 11470 WESTHEIMER,
          973 NO COPY                   65036 13-13248                                                                                   REAL ESTATE LEASE                                                                                               22,765.53                                                              9720 TOWN PARK SUITE 180                                                        HOUSTON       TX           77036
                                                            TEXAS, INC                                       ENTERPRISES INC                                             HOUSTON, TX                                                                                                                                                                                                                                                                                                                                                    65036
                                                            F & H RESTAURANTS OF                                                                                         LOCATION: 12651 VANCE JACKSON
          974 NO COPY                   65022 13-13248                                                       WRI FIESTA TRAILS, LP       REAL ESTATE LEASE                                                                                                       -                                                              P.O. BOX 924133                                                                 HOUSTON       TX           77292
                                                            TEXAS, INC                                                                                                   #110, SAN ANTONIO TX 78249
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                        65022
                                                            FOX & HOUND OF ILLINOIS,                         YORKSHIRE PLAZA PARTNERS                                    LOCATION: 4320 E. NEW YORK
          975 NO COPY                   65016 13-13236                                                                                REAL ESTATE LEASE                                                                                                  18,517.72                                                              257 E MAIN STREET SUITE 100                                                     BARRINGTON IL              60010
                                                            INC                                              LLC                                                         AVENUE, AURORA, IL                                                                                                                                                                                                                                                                                                                                             65016
                                                            FOX & HOUND OF ARIZONA,                                                                                      LOCATION: 1017 E. BASELINE ROAD,            REJECTED - ORDER 1/8/2014 - DN
          976 NO COPY                   65068 13-13234                                                       PAMALE COMPANY              REAL ESTATE LEASE                                                                                            Day 1 reject                                                              P.O. BOX 238                                                                    WESLEY        CA           95387
                                                            INC.                                                                                                         GILBERT AZ 85233                            141                                                                                                                                                                                                                                                                                                                65068   0
                                                            FOX & HOUND RESTAURANT                           CAMELOT                                                                                                                                                                                            STEVE
          977 NO COPY                   65073 13-13249                                  KIM FOWLES                                     AGENCY AGREEMENT                                                                                                          -                                                              7600 WILL ROGERS BLVD                                                           FT WORTH      TX           76140                                                                        33136
                                                            GROUP                                            COMMUNICATIONS, INC.                                                                                                                                                                               FERGUSON                                                                                                                                                                                                                33136
                                                            FOX & HOUND RESTAURANT                           CAMELOT                                                                                                                                                                                            STEVE
          978 NO COPY                   65210 13-13249                                  KIM FOWLES                                     AGENCY AGREEMENT                                                                                                          -                                                              7600 WILL ROGERS BLVD                                                           FT WORTH      TX           76140                                                                        33136
                                                            GROUP                                            COMMUNICATIONS, INC.                                                                                                                                                                               FERGUSON                                                                                                                                                                                                                33136
                                                            CHAMPPS ENTERTAINMENT,                           TARHEEL SPORTS PROPERTIES
          979 NO COPY                   65211 13-13224                                  KIM FOWLES                                     SERVICE AGREEMENT                 ADVERTISING AGREEMENT                                                                   -                 7/1/2013         6/30/2014                   6350 QUADRANGLE DRIVE                  STE 135                                  CHAPEL HILL   NC           27517
                                                            INC                                              LLC                                                                                                                                                                                                                                                                                                                                                                                                                 #VALUE!
                                                            CHAMPPS ENTERTAINMENT,
          980 NO COPY                   65215 13-13224                                  KIM FOWLES           DIRECT TV LLC               SERVICE AGREEMENT               DIRECT TV BROADCASTING                                                                  -                4/15/2010                                     2230 E IMPERIAL HIGHWAY                                                         EL SEGUNDO    CA           90245                                                                00444
                                                            INC                                                                                                                                                                                                                                                                                                                                                                                                                                                                  #VALUE!
                                                            FOX & HOUND RESTAURANT
          981 NO COPY                   65217 13-13249                                  KIM FOWLES           DIRECT TV LLC               SERVICE AGREEMENT               DIRECT TV BROADCASTING                                                                  -                5/14/2010                                     2230 E IMPERIAL HIGHWAY                                                         EL SEGUNDO    CA           90245                                                                00444
                                                            GROUP                                                                                                                                                                                                                                                                                                                                                                                                                                                                #VALUE!
                                                            CHAMPPS ENTERTAINMENT,                           DISTRIBUTION MARKET         FOOD DISTRIBUTION
          982 NO COPY                   65218 13-13224                                  KIM FOWLES                                                                                                                                                               -                12/5/2011         12/4/2014                   1515 WOODFIELD ROAD                                                             SCHAUMBURG IL              60173
                                                            INC                                              ADVANTAGE INC.              AGREEMENT                                                                                                                                                                                                                                                                                                                                                                               #VALUE!
                                                            FOX & HOUND RESTAURANT                           DISTRIBUTION MARKET         FOOD DISTRIBUTION
          983 NO COPY                   65220 13-13249                                  KIM FOWLES                                                                                                                                                               -                12/5/2011         12/4/2014                   1515 WOODFIELD ROAD                                                             SCHAUMBURG IL              60173
                                                            GROUP                                            ADVANTAGE INC.              AGREEMENT                                                                                                                                                                                                                                                                                                                                                                               #VALUE!
                                                            FOX & HOUND RESTAURANT
          984 NO COPY                   65207 13-13249                                  KIM FOWLES           DIGITAL OFFICE SYSTEMS INC. COPIER LEASE - WICHITA OFFICE                                                                                           -                2/16/2010         5/16/2015                   530 S HYDRAULIC                                                                 WICHITA       KS           67211
                                                            GROUP                                                                                                                                                                                                                                                                                                                                                                                                                                                                #VALUE!
                                                            FOX & HOUND RESTAURANT
          985 NO COPY                   65237 13-13249                                  KIM FOWLES           DIGITAL OFFICE SYSTEMS INC. COPIER LEASE - WICHITA OFFICE                                                                                           -                4/21/2013         7/21/2018                   530 S HYDRAULIC                                                                 WICHITA       KS           67211
                                                            GROUP                                                                                                                                                                                                                                                                                                                                                                                                                                                                #VALUE!
                                                            CHAMPPS ENTERTAINMENT,                                                       DISH WASHING MACHINE AND
          986 NO COPY                   65045 13-13224                                  KIM FOWLES           ECOLAB INC                                                                                                                                          -                 8/1/2013         7/31/2015                   ECOLAB CENTER                                                                   ST. PAUL      MN           55102
                                                            INC                                                                          CHEMICALS                                                                                                                                                                                                                                                                                                                                                                               #VALUE!
                                                            FOX & HOUND RESTAURANT                                                       DISH WASHING MACHINE AND
          987 NO COPY                            13-13249                               KIM FOWLES           ECOLAB INC                                                                                                                                          -                 8/1/2013         7/31/2015                   ECOLAB CENTER                                                                   ST. PAUL      MN           55102
                                                            GROUP                                                                        CHEMICALS                                                                                                                                                                                                                                                                                                                                                                               #VALUE!
                                                            CHAMPPS ENTERTAINMENT,                                                                                                                                                                                                                                                                                                                              NORTH
          988 NO COPY             CORPORATE      13-13224                               KIM FOWLES           EDWARD DON & COMPANY        SMALL WARES AGREEMENT                                                                                                   -                 6/1/2007          6/1/2014                   2500 S HARLEM AVENUE                                                                          IL           60546
                                                            INC                                                                                                                                                                                                                                                                                                                                                 RIVERSIDE                                                                                                        #VALUE!
                                                                                                                                                                                                                                                                                                                                                                                                                NORTH
          989 NO COPY             CORPORATE      13-13220   F&H ACQUISITION CORP        KIM FOWLES           EDWARD DON & COMPANY        SMALL WARES AGREEMENT                                                                                                   -                 6/1/2007          6/1/2014                   2500 S HARLEM AVENUE                                                                          IL           65046
                                                                                                                                                                                                                                                                                                                                                                                                                RIVERSIDE                                                                                                        #VALUE!
                                                            FOX & HOUND RESTAURANT                           ERNEST COMMUNICATIONS
          990 NO COPY             CORPORATE      13-13249                               KIM FOWLES                                       SERVICE AGREEMENT               PHONE LINES SERVICE                                                                     -               12/20/2012        12/20/2013                   5275 TRIANGLE PARKWAY                  STE 150                                  NORCROSS      GA           30092                                                                        36041
                                                            GROUP                                            INC.                                                                                                                                                                                                                                                                                                                                                                                                                #VALUE!
                                                            CHAMPPS ENTERTAINMENT,                           ERNEST COMMUNICATIONS
          991 NO COPY             CORPORATE      13-13224                               KIM FOWLES                                       SERVICE AGREEMENT               PHONE LINES SERVICE                                                                     -               12/20/2012        12/20/2013                   5275 TRIANGLE PARKWAY                  STE 150                                  NORCROSS      GA           30092                                                                        36041
                                                            INC                                              INC.                                                                                                                                                                                                                                                                                                                                                                                                                #VALUE!
                                                            CHAMPPS ENTERTAINMENT,
          992 NO COPY             CORPORATE      13-13224                               KIM FOWLES           FISHBOWL INC.               SERVICE AGREEMENT               EMAIL BROADCAST                                                                         -                5/15/2007                                     44 CANAL CENTER PLAZA                  STE 500                                  ALEXANDRIA    VA           22314
                                                            INC                                                                                                                                                                                                                                                                                                                                                                                                                                                 07371            #VALUE!
                                                            FOX & HOUND RESTAURANT
          993 NO COPY             CORPORATE      13-13249                               KIM FOWLES           FISHBOWL INC.               SERVICE AGREEMENT               EMAIL BROADCAST                                                                         -               11/25/2003                                     44 CANAL CENTER PLAZA                  STE 500                                  ALEXANDRIA    VA           22314
                                                            GROUP                                                                                                                                                                                                                                                                                                                                                                                                                                               07371           07371
                                                                                                             INTERACTIVE
                                                                                                                                         GIFT CARD DISTRIBUTION
          994 NO COPY             CORPORATE      13-13220   F&H ACQUISITION CORP        KIM FOWLES           COMMUNICATIONS                                                                                                                                      -                7/18/2012         1/31/2016                   250 WILLIAMS STREET                    M-100                                    ATLANTA       GA           30303
                                                                                                                                         AGREEMENT
                                                                                                             INTERNATIONAL INC.                                                                                                                                                                                                                                                                                                                                                                                                  #VALUE!
                                                            CHAMPPS OPERATING                                HOTSCHEDULES HOLDINGS                                       ELECTRONIC SCHEDULING SYSTEM
          995 NO COPY             CORPORATE      13-13227                               KIM FOWLES                                       SERVICE AGREEMENT                                                                                                       -                2/22/2013         2/22/2015                   6504 BRIDGE POINT PARKWAY              STE 425                                  AUSTIN        TX           78730                                                                        34218
                                                            CORPORATION                                      INC                                                         FOR RESTAURANT                                                                                                                                                                                                                                                                                                                                                 34218
                                                            FOX & HOUND RESTAURANT                           HOTSCHEDULES HOLDINGS                                       ELECTRONIC SCHEDULING SYSTEM
          996 NO COPY             CORPORATE      13-13249                               KIM FOWLES                                       SERVICE AGREEMENT                                                                                                       -                2/22/2013         2/22/2015                   6504 BRIDGE POINT PARKWAY              STE 425                                  AUSTIN        TX           78730                                                                        34218
                                                            GROUP                                            INC                                                         FOR RESTAURANT                                                                                                                                                                                                                                                                                                                                                 34218
                                                                                                             IRON MOUNTAIN
                                                            CHAMPPS ENTERTAINMENT,
          997 NO COPY             CORPORATE      13-13224                               KIM FOWLES           INFORMATION                 STORAGE AGREEMENT                                                                                                       -                4/19/2005                                     15055 E HINSDALE CIRCLE                                                         ENGLEWOOD     CO           80112                                                                16744
                                                            INC
                                                                                                             MANAGEMENT                                                                                                                                                                                                                                                                                                                                                                                                          #VALUE!
                                                            FOX & HOUND RESTAURANT                           M2 DEVELOPMENT SERVICES     CONSTRUCTION MANAGEMENT
          998 NO COPY             WARRINGTON 13-13249                                   KIM FOWLES                                                                                                                                                               -               12/10/2012        12/10/2013                   2508 WHITE SANDS DRIVE                                                          GREAT BEND    KS           67530
                                                            GROUP                                            LLC                         CONTRACT                                                                                                                                                                                                                                                                                                                                                                                #VALUE!
                                                            CHAMPPS ENTERTAINMENT,
          999 NO COPY             CORPORATE      13-13224                               KIM FOWLES           MUZAK LLC                   SERVICE AGREEMENT               MUSIC FOR RESTAURANT                                                              2,945.01               6/25/2008         6/25/2013                   3318 LAKEMONT BLVD                                                              FORT MILLS    SC           29708                                                                20286
                                                            INC                                                                                                                                                                                                                                                                                                                                                                                                                                                                 20286
                                                                                                             NATIONAL WASTE
      1000 NO COPY                CORPORATE      13-13220   F&H ACQUISITION CORP        KIM FOWLES                                       NATIONAL TRASH CONTRACT                                                                                         33,811.77                 2/1/2013         1/31/2019                   755 WINDING BROOK DRIVE                                                         GLASTONBURY CT             6033                                                                 35047
                                                                                                             ASSOCIATES LLC                                                                                                                                                                                                                                                                                                                                                                                                     35047




2491306-3                                                                                                                                                                                                                                                                            2.4(m) - 25
                                                                                                                                                                                Case 13-13220-KG                       Doc 506-1                               Filed 03/17/14                                        Page 320 of 362

     ID     Epiq Contract No   Store Number       Case             Debtor            Responsible Person      Contract Counter Party           Type of Contract          Description of Contract      Assume   Reject   Cure Amount Contract NoDate of Contract
                                                                                                                                                                                                                                                            Termination Date     Attention                   Address 1                Address 2     Address 3   Address 4        City          State        Zip     Country       Email               Phone             Fax      Vendor       A/P code
                                                                                                                                      GIFT CARD AND LOYALTY CARD
      1001 NO COPY             CORPORATE      13-13220   F&H ACQUISITION CORP        KIM FOWLES           PAYTRONIX SYSTEMS INC                                                                                                  -                 3/20/2008                                 74 BRIDGE ST STE 400                                                           NEWTON        MA           02458
                                                                                                                                      AGREEMENT                                                                                                                                                                                                                                                                                                                                               #VALUE!
                                                         FOX & HOUND RESTAURANT
      1002 NO COPY             CORPORATE      13-13249                               KIM FOWLES           STANDING DOG LLC            PROMOTIONAL CONTRACT                                                                       -                 8/10/2010                                 6060 N CENTRAL PARKWAY, SUITE 350                                              DALLAS        TX           75206
                                                         GROUP                                                                                                                                                                                                                                                                                                                                                                                                                                #VALUE!
                                                         FOX & HOUND RESTAURANT                           RECORDS CENTER OF
      1003 NO COPY             CORPORATE      13-13249                               KIM FOWLES                                       STORAGE AGREMEENT                                                                          -                  3/1/1999                                 P.O. BOX 1723                                                                  HUTCHINSON    KS           67504
                                                         GROUP                                            WICHITA                                                                                                                                                                                                                                                                                                                                                                             #VALUE!
                               DALLAS                    CHAMPPS ENTERTAINMENT,
      1004 NO COPY                            13-13224                               KIM FOWLES           XEROX CORPORATION           EQUIPMENT LEASE AGREEMENT    COPIER LEASE - DALLAS OFFICE                              648.73                7/18/2012         7/18/2015               PO BOX 650361                                                                  DALLAS        TX           75265                                                                  32982
                               OFFICE                    INC                                                                                                                                                                                                                                                                                                                                                                                                                                 32982
                                                         FOX & HOUND RESTAURANT                           COCA COLA OF NORTH                                                                                                                                                                                                                                                OVERLAND
      1005 NO COPY             CORPORATE      13-13249                               KIM FOWLES                                       COCA COLA CONTRACT                                                                         -                 2/23/2005                                 12980 FOSTER STREET                 STE 300                                                  KS           66213
                                                         GROUP                                            AMERICA                                                                                                                                                                                                                                                           PARK                                                                                                              #VALUE!
                                                         FOX & HOUND RESTAURANT
                                                                                                          JOE HAND PROMOTIONS,
      1006 NO COPY             CORPORATE      13-13249   GROUP/CHAMPPS               KIM FOWLES                                       SERVICE AGREEMENT            PAY PER VIEW FIGHTS                                           -                11/30/2012        11/30/2015               407 E PENNSYLVANIA BLVD                                                        FEASTERVILLE PA            19503
                                                                                                          INC.
                                                         ENTERTAINMENT, INC
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                              #VALUE!
                                                         FOX & HOUND OF ILLINOIS,                         RESTAURANT                                                                                                                                                                                                                                                        MENDOTA
      1007 NO COPY             65055          13-13236                               KIM FOWLES                                       SERVICE AGREEMENT            RECYCLE GREASE SYSTEM                                    2,250.28               8/10/2013          8/9/2014               2250 PILOT KNOB ROAD #100                                                                    MN           55120                                                                  07590
                                                         INC                                              TECHNOLOGIES, INC.                                                                                                                                                                                                                                                HEIGHTS                                                                                                           759065055
                                                         FOX & HOUND OF NEW                               RESTAURANT                                                                                                                                                                                                                                                        MENDOTA
      1008 NO COPY             65073          13-13244                               KIM FOWLES                                       SERVICE AGREEMENT            RECYCLE GREASE SYSTEM                                    2,120.67               8/10/2013          8/9/2014               2250 PILOT KNOB ROAD #100                                                                    MN           55120                                                                  07590
                                                         JERSEY, INC                                      TECHNOLOGIES, INC.                                                                                                                                                                                                                                                HEIGHTS                                                                                                           759065073
                                                                                                                                                                                                                                                                                                                                                                                                                              WTBELISLE@H
                                                                                                                                                                                                                                                                                                                                                                                                                              OTMAIL.COM;
                                                         CHAMPS OPERATING                                 WAYNE T. BELISLE & ALDEN                                                                                                                                                                                               1843 EAGLE RIDGE                                                                             ALDEN
      1010 NO COPY                            13-13227                               KIM FOWLES                                       FRANCHISE AGREEMENT          LOCATION: DES MOINES, IOWA                                    -                12/23/2003        12/23/2023               ATTN: WAYNE BELISLE                                                            MENDOTA       MN           55113                               612-719-5905; 612-719-5901
                                                         CORPORATION                                      LANDREVILLE                                                                                                                                                                                                            DRIVE                                                                                        LANDREVILLE:
                                                                                                                                                                                                                                                                                                                                                                                                                              LANDREVIL@A
                                                                                                                                                                                                                                                                                                                                                                                                                              OL.COM
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                              #VALUE!
                                                         CHAMPS OPERATING                                                                                          LOCATION: WOODBURY,                                                                                                                                           1843 EAGLE RIDGE                                                                             WTBELISLE@H
      1012 NO COPY                            13-13227                               KIM FOWLES           W BLACKER, INC              FRANCHISE AGREEMENT                                                                        -                 5/12/1997         5/12/2017               ATTN: WAYNE BELISLE                                                            MENDOTA       MN           55113                              612-719-5905
                                                         CORPORATION                                                                                               MINNESOTA                                                                                                                                                     DRIVE                                                                                        OTMAIL.COM
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                              #VALUE!
                                                         CHAMPS OPERATING                                                                                          LOCATION: SACRAMENTO,                                                                                                     ATTN: MOHAMED ALI KAHN; TARIQ       1847 N. COVENTRY
      1013 NO COPY                            13-13227                               KIM FOWLES           TMAK RESTAURANT GROUP       FRANCHISE AGREEMENT                                                                        -                 5/16/2007                                                                                                                CLOVIS        CA           93619                               916-807-4074
                                                         CORPORATION                                                                                               CALIFORNIA                                                                                                                MUNIR                               AVENUE
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                              #VALUE!
                                                         CHAMPS OPERATING                                                                                          LOCATION: BURNSVILLE,                                                                                                                                                                                                                                      SWINER4915
      1014 NO COPY                            13-13227                               KIM FOWLES           SCOTT A WINER               FRANCHISE AGREEMENT                                                                        -                  2/4/1991                                 15605 51ST AVENUE NORTH                                                        PLYMOUTH      MN           55446                               763-559-7300
                                                         CORPORATION                                                                                               MINNESOTA                                                                                                                                                                                                                                                  @AOL.COM                                                        #VALUE!
                                                         CHAMPS OPERATING                                                                                          LOCATION: MAPLE GROVE,                                                                                                                                                                                                                                     SWINER4915
      1015 NO COPY                            13-13227                               KIM FOWLES           SCOTT A WINER               FRANCHISE AGREEMENT                                                                        -                 2/11/1994                                 15605 51ST AVENUE NORTH                                                        PLYMOUTH      MN           55446                               763-559-7299
                                                         CORPORATION                                                                                               MINNESOTA                                                                                                                                                                                                                                                  @AOL.COM                                                        #VALUE!
                                                         CHAMPS OPERATING                                 NEW BRIGHTON VENTURES,                                   LOCATION: NEW BRIGHTON,                                                                                                                                       1843 EAGLE RIDGE                                                                             WTBELISLE@H
      1016 NO COPY                            13-13227                               KIM FOWLES                                       FRANCHISE AGREEMENT                                                                        -                 3/31/1996         2/12/2091               ATTN: WAYNE BELISLE                                                            MENDOTA       MN           55113                              612-719-5905
                                                         CORPORATION                                      LLC                                                      MINNESOTA                                                                                                                                                     DRIVE                                                                                        OTMAIL.COM
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                              #VALUE!
                                                         CHAMPS OPERATING                                 MIDFIELD CONCESSION                                      LOCATION: DETROIT AIRPORT,                                                                                                                                                                                                                                 SWMASHNI@
      1017 NO COPY                            13-13227                               KIM FOWLES                                       FRANCHISE AGREEMENT                                                                        -                 6/27/2007         6/27/2028               ATTN: SAMIR MASHNI                  27010 JOY ROAD                             REDFORD       MICHIGAN     48239
                                                         CORPORATION                                      ENTERPRISES, INC.                                        MICHIGAN                                                                                                                                                                                                                                                   GMAIL.COM                                                       #VALUE!
                                                                                                                                                                                                                                                                                                                                                                                                                              DHUBER@STE
                                                         CHAMPS OPERATING                                 DODGE STREET
      1018 NO COPY                            13-13227                               KIM FOWLES                                       FRANCHISE AGREEMENT          LOCATION: DUBUQUE, IOWA                                       -                10/15/2007        10/15/2027               ATTN: DAN HUBER                     2300 LINCOLNWAY                            CLINTON       IA           42732                  EPLEGATEINN. 563-386-6900
                                                         CORPORATION                                      ENTERTAINMENT, INC.
                                                                                                                                                                                                                                                                                                                                                                                                                              COM                                                             #VALUE!
                                                         CHAMPS OPERATING                                                                                                                                                                                                                                                        2401 W. 75TH                                                                                 SAG627@CO
      1019 NO COPY                            13-13227                               KIM FOWLES           DAG, INC                    FRANCHISE AGREEMENT          LOCATION: ST. PAUL, MINNESOTA                                 -                  2/4/1991                                 ATTN: DAN GREENBERG                                                            SAINT PAUL    MN           55116                               612-916-5456
                                                         CORPORATION                                                                                                                                                                                                                                                             STREET                                                                                       MCAST.NET                                                       #VALUE!
                                                                                                                                                                                                                                                                                                                                                                                                                              TONYL@CHA
                                                                                                                                                                                                                                                                                                                                                                                                                              MPPS-
                                                         CHAMPS OPERATING                                 BLUEMOUND RESTAURANT                                     LOCATION: BROOKFIELD,                                                                                                     ATTN: TONY LEWANOVICH; TY & MARY    1240 S. MOORLAND
      1020 NO COPY                            13-13227                               KIM FOWLES                                       FRANCHISE AGREEMENT                                                                        -                 9/13/1999         9/13/2019                                                                                              BROOKFIELD    WI           53005-6943             WI.COM      262-893-9714
                                                         CORPORATION                                      GROUP                                                    WISCONSIN                                                                                                                 VAUGHN                              ROAD
                                                                                                                                                                                                                                                                                                                                                                                                                              VAUGHAN.TYS
                                                                                                                                                                                                                                                                                                                                                                                                                              ON@ATT.NET
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                              #VALUE!
                                                         CHAMPS OPERATING                                 BELWIN ASSOCIATES,A MN                                   LOCATION: MAPLEWOOD,                                                                                                                                          1843 EAGLE RIDGE                                                                             WTBELISLE@H
      1021 NO COPY                            13-13227                               KIM FOWLES                                       FRANCHISE AGREEMENT                                                                        -                  2/4/1991         2/11/2014               ATTN: WAYNE BELISLE                                                            MENDOTA       MN           55113                              612-719-5905
                                                         CORPORATION                                      GP                                                       MINNESOTA                                                                                                                                                     DRIVE                                                                                        OTMAIL.COM
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                              #VALUE!
                                                                                                                                                                                                                                                                                                                                                                                                                              KIRK.WEISS@A
                                                         CHAMPS OPERATING                                                                                          LOCATION: INDIANAPOLIS AIRPORT,                                                                                                                               5301 BLUE LAGOON
      1022 NO COPY                            13-13227                               KIM FOWLES           AREAS USA INC LLC           FRANCHISE AGREEMENT                                                                        -                 10/3/2008         10/3/2018               ATTN: KIRK WEISS, GENERAL COUNSEL                                              MIAMI         FL           33126                  REASMAIL.CO 305-267-8510
                                                         CORPORATION                                                                                               INDIANA                                                                                                                                                       DRIVE, STE 690
                                                                                                                                                                                                                                                                                                                                                                                                                              M                                                               #VALUE!
                                                                                                                                                                                                                                                                                                                                                                                                                              KIRK.WEISS@A
                                                         CHAMPS OPERATING                                                                                          LOCATION: NEWARK AIRPORT, NEW                                                                                                                                 5301 BLUE LAGOON
      1023 NO COPY                            13-13227                               KIM FOWLES           AREAS USA EWR LLC           FRANCHISE AGREEMENT                                                                        -                 2/15/2010         2/25/2020               ATTN: KIRK WEISS, GENERAL COUNSEL                                              MIAMI         FL           33126                  REASMAIL.CO 305-267-8510
                                                         CORPORATION                                                                                               JERSEY                                                                                                                                                        DRIVE, STE 690
                                                                                                                                                                                                                                                                                                                                                                                                                              M                                                               #VALUE!
      1024 NO COPY             CORPORATE      13-13220   F&H ACQUISITION CORP.       KIM FOWLES           KENNETH SYVARTH             SEVERANCE AGREEMENT                                                                        -                                                           7014 QUILL LEAF COVE                                                           AUSTIN        TX           78750                                                                                  #VALUE!
      1025 NO COPY             CORPORATE      13-13220   F&H ACQUISITION CORP.       KIM FOWLES           MARTY FAYETTE               SEVERANCE AGREEMENT                                                                        -                 11/4/2013                                 3340 MUSCADINE TRAIL                                                           KENNESAW      GA           30144                                                                                  #VALUE!
                                                         TENT RESTAURANT
      1026 NO COPY             CORPORATE      13-13259                               KIM FOWLES           JAMES BELL                  SEVERANCE AGREEMENT                                                                        -                 11/5/2013                                 8495 E RADCLIFF AVE                                                            DENVER        CO           80237
                                                         OPERATIONS, INC                                                                                                                                                                                                                                                                                                                                                                                                                      #VALUE!
                                                         FOX & HOUND OF ARIZONA,                          MCFADDEN'S DESERT RIDGE,                                 AGREEMENT FOR PURCHASE AND                                                                                                                                    214 E 49TH ST,
      1027 20.00               65068          13-13234                               KIM FOWLES                                    SALE AGREEMENT                                                                                -                12/04/2013                                 C/O ELIZABETH WITTELS                                                          NEW YORK      NY           10017
                                                         INC                                              LLC                                                      SALE OF LIQUOR LICENSE                                                                                                                                        SECOND FL                                                                                                                                                           65068
                                                                                                                                   EXECUTIVE EMPLOYMENT
      1028 NO COPY             CORPORATE      13-13220   F & H ACQUISITION CORP.     JIM ZIELKE           JAMES K ZIELKE                                                                                                         -                                                           10310 BOXTHORN COURT                                                           WICHITA       KS           67226
                                                                                                                                   AGREEMENT                                                                                                                                                                                                                                                                                                                                                  #VALUE!
                                                                                                                                   EXECUTIVE EMPLOYMENT
      1029 NO COPY             CORPORATE      13-13220   F & H ACQUISITION CORP.     JIM ZIELKE           MARC A BUEHLER                                                                                                         -                                                           15126 WOODBLUFF DR                                                             FRISCO        TX           75035
                                                                                                                                   AGREEMENT                                                                                                                                                                                                                                                                                                                                                  #VALUE!
                                                                                                                                   EXECUTIVE EMPLOYMENT
      1030 NO COPY             CORPORATE      13-13220   F & H ACQUISITION CORP.     JIM ZIELKE           DONALD L STACK II                                                                                                      -                                                           11406 WINGFOOT DRIVE                                                           KANSAS CITY   KS           66109
                                                                                                                                   AGREEMENT                                                                                                                                                                                                                                                                                                                                                  #VALUE!
                                                                                                                                   EXECUTIVE EMPLOYMENT
      1031 NO COPY             CORPORATE      13-13220   F & H ACQUISITION CORP.     JIM ZIELKE           RYAN M ZINK                                                                                                            -                                                           2308 BRANDON CIR                                                               WICHITA       KS           67226
                                                                                                                                   AGREEMENT                                                                                                                                                                                                                                                                                                                                                  #VALUE!
                                                         CHAMPS OPERATING
      1033 NO COPY                            13-13227                               KIM FOWLES           ANDREW ALLEN                BONUS BUY-IN AGREEMENT                                                           MP                           3/8/2007                                 5912 ALTURAS WAY                                                               HILLIARD      OH           43026
                                                         CORPORATION                                                                                                                                                                                                                                                                                                                                                                                                                          #VALUE!
                                                         CHAMPS OPERATING
      1034 NO COPY                            13-13227                               KIM FOWLES           CINDY ANZIK                 BONUS BUY-IN AGREEMENT                                                           MP                          1/22/2007                                 3535 CHARLENE DRIVE                                                            BEAVERCREEK OH             45432
                                                         CORPORATION                                                                                                                                                                                                                                                                                                                                                                                                                          #VALUE!
                                                         CHAMPS OPERATING                                                                                                                                                                                                                                                                                                   SHELBY
      1035 NO COPY                            13-13227                               KIM FOWLES           DALE KAMINSKI               BONUS BUY-IN AGREEMENT                                                           MP                           5/4/2007                                 10632 MELIA DRIVE                                                                            MI           48315
                                                         CORPORATION                                                                                                                                                                                                                                                                                                        TOWNSHIP                                                                                                          #VALUE!
                                                         CHAMPS OPERATING
      1036 NO COPY                            13-13227                               KIM FOWLES           KEVIN O'HARE                BONUS BUY-IN AGREEMENT                                                           MP                           1/2/2007                                 7512 BONNIE RIDGE ROAD                                                         LAKEWOOD      IL           60014
                                                         CORPORATION                                                                                                                                                                                                                                                                                                                                                                                                                          #VALUE!
                                                         TENT RESTAURANT
      1116 NO COPY             65002          13-13259                               LINDA COSTNER        UNIFIRST CORPORATION        SERVICE AGREEMENT            LINEN SERVICES AGREEMENT                                  410.18 65002          7/21/2011         7/21/2013               1901 EQUITABLE PLACE                                                           CHARLOTTE     NC           28213                                                                  05585
                                                         OPERATIONS, INC                                                                                                                                                                                                                                                                                                                                                                                                                      558565002
                                                         TENT RESTAURANT                                  ARAMARK UNIFORM
      1117 NO COPY             65003          13-13259                               LINDA COSTNER                                    SERVICE AGREEMENT            LINEN SERVICES AGREEMENT                                  103.31 65003          9/30/2011         9/30/2012               DANNY ESTRADA                       521 WEST WALKER                            WICHITA       KS           67213                                                                  34372
                                                         OPERATIONS, INC                                  SERVICES                                                                                                                                                                                                                                                                                                                                                                           3437265003
                                                         F&H RESTAURANTS OF TEXAS,                        ARAMARK UNIFORM
      1118 NO COPY             65004          13-13248                               LINDA COSTNER                                    SERVICE AGREEMENT            LINEN SERVICES AGREEMENT                                  298.22 65004         10/10/2012        10/10/2013               DANNY ESTRADA                       521 WEST WALKER                            WICHITA       KS           67213                                                                  34907
                                                         INC                                              SERVICES                                                                                                                                                                                                                                                                                                                                                                           3490765004
                                                         F&H RESTAURANTS OF TEXAS,                        ARAMARK UNIFORM
      1119 NO COPY             65005          13-13248                               LINDA COSTNER                                    SERVICE AGREEMENT            LINEN SERVICES AGREEMENT                                  604.83 65005          9/20/2011         9/20/2012               DANNY ESTRADA                       521 WEST WALKER                            WICHITA       KS           67213                                                                  34907
                                                         INC                                              SERVICES                                                                                                                                                                                                                                                                                                                                                                           3490765005
                                                         TENT RESTAURANT
      1120 NO COPY             65006          13-13259                               LINDA COSTNER        G&K SERVICES                SERVICE AGREEMENT            LINEN SERVICES AGREEMENT                                      -     65006        1/6/2012          1/6/2013               122A MCDOUGALL COURT                                                           GREENVILLE    SC           29607                                                                  16085
                                                         OPERATIONS, INC                                                                                                                                                                                                                                                                                                                                                                                                                     1608565006
                                                         TENT RESTAURANT
      1121 NO COPY             65007          13-13259                               LINDA COSTNER        CINTAS CORPORATION          SERVICE AGREEMENT            LINEN SERVICES AGREEMENT                                  341.35 65007           8/7/2009          8/7/2012               3400 BRILEY PARK BLVD N                                                        NASHVILLE     TN           37207                                                                  04475
                                                         OPERATIONS, INC                                                                                                                                                                                                                                                                                                                                                                                                                      447565007
                                                         F&H RESTAURANTS OF TEXAS,                        ARAMARK UNIFORM
      1122 NO COPY             65008          13-13248                               LINDA COSTNER                                    SERVICE AGREEMENT            LINEN SERVICES AGREEMENT                                  384.25 65008         10/10/2012        10/10/2013               DANNY ESTRADA                       521 WEST WALKER                            WICHITA       KS           67213                                                                  34907
                                                         INC                                              SERVICES                                                                                                                                                                                                                                                                                                                                                                           3490765008
                                                         TENT RESTAURANT
      1123 NO COPY             65010          13-13259                               LINDA COSTNER        COYNE TEXTILE SERVICE, INC SERVICE AGREEMENT             LINEN SERVICES AGREEMENT                                  286.97 65010         12/14/2011        12/14/2012               136 7TH ST                                                                     BRISTOL       TN           37620                                                                          9169
                                                         OPERATIONS, INC                                                                                                                                                                                                                                                                                                                                                                                                                      916965010
                                                         TENT RESTAURANT
      1124 NO COPY             65014          13-13259                               LINDA COSTNER        CINTAS CORPORATION          SERVICE AGREEMENT            LINEN SERVICES AGREEMENT                                  432.78 65014           8/7/2009          8/7/2012               3400 BRILEY PARK BLVD N                                                        NASHVILLE     TN           37207                                                                  04475
                                                         OPERATIONS, INC                                                                                                                                                                                                                                                                                                                                                                                                                      447565014
                                                                                                          ARAMARK UNIFORM
      1125 NO COPY             65018          13-13246   FOX & HOUND OF OHIO, INC    LINDA COSTNER                                    SERVICE AGREEMENT            LINEN SERVICES AGREEMENT                                      -     65018        7/2/2012          7/2/2013               DANNY ESTRADA                       521 WEST WALKER                            WICHITA       KS           67213
                                                                                                          SERVICES                                                                                                                                                                                                                                                                                                                                                                                   65018
                                                         FOX & HOUND OF INDIANA,
      1126 NO COPY             65020          13-13237                               LINDA COSTNER        CINTAS CORP 314             SERVICE AGREEMENT            LINEN SERVICES AGREEMENT                                      -     65020       4/19/2006         4/19/2016               P.O. BOX 630921                                                                CINCINNATI    OH           45263
                                                         INC                                                                                                                                                                                                                                                                                                                                                                                                                                         65020




2491306-3                                                                                                                                                                                                                                             2.4(m) - 26
                                                                                                                                                                            Case 13-13220-KG                       Doc 506-1                               Filed 03/17/14                                        Page 321 of 362

     ID     Epiq Contract No   Store Number       Case            Debtor             Responsible Person      Contract Counter Party         Type of Contract         Description of Contract     Assume   Reject   Cure Amount Contract NoDate of Contract
                                                                                                                                                                                                                                                        Termination Date     Attention                   Address 1                    Address 2   Address 3   Address 4          City        State        Zip     Country       Email               Phone   Fax      Vendor        A/P code
                                                         F&H RESTAURANTS OF TEXAS,                                                                                                                                                                                                       3349 SE INTERSTATE 410 LOOP
      1127 NO COPY             65022          13-13248                             LINDA COSTNER          CINTAS CORPORATION          SERVICE AGREEMENT         LINEN SERVICES AGREEMENT                                 456.60 65022          1/20/2012         1/20/2013                                                                                                SAN ANTONIO TX             78222                                                        31223
                                                         INC                                                                                                                                                                                                                             FRONTAGE RD, SAN ANTONIO, TX 78222
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                  3122365022
                                                         TENT RESTAURANT
      1128 NO COPY             65023          13-13259                               LINDA COSTNER        UNIFIRST CORPORATION        SERVICE AGREEMENT         LINEN SERVICES AGREEMENT                                 944.92 65023          9/30/2011         9/30/2012               18999 PARK AVE PLAZA                                                             MEADVILLE     PA           16335                                                        30044
                                                         OPERATIONS, INC                                                                                                                                                                                                                                                                                                                                                                                                          3004465023
                                                         TENT RESTAURANT                                  ARAMARK UNIFORM
      1129 NO COPY             65028          13-13259                               LINDA COSTNER                                    SERVICE AGREEMENT         LINEN SERVICES AGREEMENT                                     -    65028        6/12/2001         6/12/2012               DANNY ESTRADA                         521 WEST WALKER                            WICHITA       KS           67213
                                                         OPERATIONS, INC                                  SERVICES                                                                                                                                                                                                                                                                                                                                                                     65028
                                                         TENT RESTAURANT                                  ARAMARK UNIFORM
      1130 NO COPY             65031          13-13259                               LINDA COSTNER                                    SERVICE AGREEMENT         LINEN SERVICES AGREEMENT                                 223.61 65031          4/27/2012         4/27/2013               DANNY ESTRADA                         521 WEST WALKER                            WICHITA       KS           67213                                                        33427
                                                         OPERATIONS, INC                                  SERVICES                                                                                                                                                                                                                                                                                                                                                                3342765031
                                                         FOX & HOUND OF INDIANA,                          ARAMARK UNIFORM
      1131 NO COPY             65035          13-13237                               LINDA COSTNER                                    SERVICE AGREEMENT         LINEN SERVICES AGREEMENT                                 267.75 65035           9/7/2012          9/7/2013               DANNY ESTRADA                         521 WEST WALKER                            WICHITA       KS           67213                                                        31818
                                                         INC                                              SERVICES                                                                                                                                                                                                                                                                                                                                                                3181865035
                                                         TENT RESTAURANT
      1132 NO COPY             65038          13-13259                               LINDA COSTNER        CINTAS CORPORATION          SERVICE AGREEMENT         LINEN SERVICES AGREEMENT                                 533.80 65038           7/3/2008          7/3/2013               39145 WEBB DRIVE                                                                 WESTLAND      MI           48185                                                        04623
                                                         OPERATIONS, INC                                                                                                                                                                                                                                                                                                                                                                                                           462365038
                                                         F&H RESTAURANTS OF TEXAS,                        ARAMARK UNIFORM
      1133 NO COPY             65042          13-13248                               LINDA COSTNER                                    SERVICE AGREEMENT         LINEN SERVICES AGREEMENT                                 468.66 65042         10/10/2012        10/10/2013               DANNY ESTRADA                         521 WEST WALKER                            WICHITA       KS           67213                                                        34907
                                                         INC                                              SERVICES                                                                                                                                                                                                                                                                                                                                                                3490765042
                                                         TENT RESTAURANT
      1134 NO COPY             65045          13-13259                               LINDA COSTNER        UNIFIRST CORPORATION        SERVICE AGREEMENT         LINEN SERVICES AGREEMENT                                 330.36 65045          7/21/2011         7/21/2013               1901 EQUITABLE PLACE                                                             CHARLOTTE     NC           28213                                                        05585
                                                         OPERATIONS, INC                                                                                                                                                                                                                                                                                                                                                                                                           558565045
                                                         TENT RESTAURANT
      1135 NO COPY             65047          13-13259                               LINDA COSTNER        UNIFIRST CORPORATION        SERVICE AGREEMENT         LINEN SERVICES AGREEMENT                                 727.93 65047          7/21/2011         7/21/2013               1901 EQUITABLE PLACE                                                             CHARLOTTE     NC           28213                                                        05585
                                                         OPERATIONS, INC                                                                                                                                                                                                                                                                                                                                                                                                           558565047
                                                         TENT RESTAURANT                                  ARAMARK UNIFORM
      1136 NO COPY             65051          13-13259                               LINDA COSTNER                                    SERVICE AGREEMENT         LINEN SERVICES AGREEMENT                                 442.53 65051          4/26/2012         4/26/2013               DANNY ESTRADA                         521 WEST WALKER                            WICHITA       KS           67213                                                        33520
                                                         OPERATIONS, INC                                  SERVICES                                                                                                                                                                                                                                                                                                                                                                3352065051
                                                         F&H RESTAURANTS OF TEXAS,                        ARAMARK UNIFORM
      1137 NO COPY             65052          13-13248                               LINDA COSTNER                                    SERVICE AGREEMENT         LINEN SERVICES AGREEMENT                                 437.47 65052         10/10/2012        10/10/2013               DANNY ESTRADA                         521 WEST WALKER                            WICHITA       KS           67213                                                        34907
                                                         INC                                              SERVICES                                                                                                                                                                                                                                                                                                                                                                3490765052
                                                         TENT RESTAURANT                                  ARAMARK UNIFORM
      1138 NO COPY             65062          13-13259                               LINDA COSTNER                                    SERVICE AGREEMENT         LINEN SERVICES AGREEMENT                                1,253.22 65062         8/29/2011         8/29/2012               DANNY ESTRADA                         521 WEST WALKER                            WICHITA       KS           67213                                                        33520
                                                         OPERATIONS, INC                                  SERVICES                                                                                                                                                                                                                                                                                                                                                                3352065062
                                                         FOX & HOUND OF NEW                                                                                                                                                                                                                                                                                               ALBUQUERQU
      1139 NO COPY             65063          13-13245                               LINDA COSTNER        A-1 LINENE                  SERVICE AGREEMENT         LINEN SERVICES AGREEMENT                                     -    65063       UNKNOWN           UNKNOWN                  10100 ACOMA ROAD SE                                                                         NM              87123                                                                 6939
                                                         MEXICO, INC                                                                                                                                                                                                                                                                                                      E                                                                                                        693965063
                                                         TENT RESTAURANT                                  ARAMARK UNIFORM
      1140 NO COPY             65067          13-13259                               LINDA COSTNER                                    SERVICE AGREEMENT         LINEN SERVICES AGREEMENT                                 509.07 65067          4/27/2012         4/27/2013               DANNY ESTRADA                         521 WEST WALKER                            WICHITA       KS           67213                                                        33520
                                                         OPERATIONS, INC                                  SERVICES                                                                                                                                                                                                                                                                                                                                                                3352065067
                                                         TENT RESTAURANT
      1141 NO COPY             67071          13-13259                               LINDA COSTNER        UNIFIRST CORPORATION        SERVICE AGREEMENT         LINEN SERVICES AGREEMENT                                     -    67071        7/21/2011         7/21/2013               1901 EQUITABLE PLACE                                                             CHARLOTTE     NC           28213                                                        05585
                                                         OPERATIONS, INC                                                                                                                                                                                                                                                                                                                                                                                                           558567071
                                                         TENT RESTAURANT                                                                                                                                                                                                                                                                                                  CHATTANOOG
      1142 NO COPY             65074          13-13259                               LINDA COSTNER        CINTAS CORPORATION          SERVICE AGREEMENT         LINEN SERVICES AGREEMENT                                 320.87 65074          7/18/2011         7/18/2012               2131 POLYMER DRIVE, SUITE 2131A                                                             TN              37421                                                        08058
                                                         OPERATIONS, INC                                                                                                                                                                                                                                                                                                  A                                                                                                        805865074
                                                         FOX & HOUND OF ILLINOIS,                         ARAMARK UNIFORM
      1143 NO COPY             65076          13-13236                               LINDA COSTNER                                    SERVICE AGREEMENT         LINEN SERVICES AGREEMENT                                 345.21 65076          5/16/2012         5/16/2013               DANNY ESTRADA                         521 WEST WALKER                            WICHITA       KS           67213                                                        08997
                                                         INC                                              SERVICES                                                                                                                                                                                                                                                                                                                                                                 899765076
                                                         TENT RESTAURANT                                  ARAMARK UNIFORM
      1144 NO COPY             65077          13-13259                               LINDA COSTNER                                    SERVICE AGREEMENT         LINEN SERVICES AGREEMENT                                 589.31 65077          1/12/2011         1/12/2012               DANNY ESTRADA                         521 WEST WALKER                            WICHITA       KS           67213                                                        33427
                                                         OPERATIONS, INC                                  SERVICES                                                                                                                                                                                                                                                                                                                                                                3342765077
                                                         TENT RESTAURANT                                  ARAMARK UNIFORM
      1145 NO COPY             65083          13-13259                               LINDA COSTNER                                    SERVICE AGREEMENT         LINEN SERVICES AGREEMENT                                 291.54 65083          9/15/2011         9/15/2012               DANNY ESTRADA                         521 WEST WALKER                            WICHITA       KS           67213                                                        33427
                                                         OPERATIONS, INC                                  SERVICES                                                                                                                                                                                                                                                                                                                                                                3342765083
                                                         TENT RESTAURANT                                  ARAMARK UNIFORM
      1146 NO COPY             65087          13-13259                               LINDA COSTNER                                    SERVICE AGREEMENT         LINEN SERVICES AGREEMENT                                     -    65087        5/12/2011         5/12/2012               DANNY ESTRADA                         521 WEST WALKER                            WICHITA       KS           67213
                                                         OPERATIONS, INC                                  SERVICES                                                                                                                                                                                                                                                                                                                                                                     65087
                                                                                                          ARAMARK UNIFORM
      1147 NO COPY             65088          13-13246   FOX & HOUND OF OHIO, INC    LINDA COSTNER                                    SERVICE AGREEMENT         LINEN SERVICES AGREEMENT                                     -    65088        6/28/2011         6/28/2012               DANNY ESTRADA                         521 WEST WALKER                            WICHITA       KS           67213
                                                                                                          SERVICES                                                                                                                                                                                                                                                                                                                                                                     65088
                                                                                                          ARAMARK UNIFORM
      1148 NO COPY             65091          13-13246   FOX & HOUND OF OHIO, INC    LINDA COSTNER                                    SERVICE AGREEMENT         LINEN SERVICES AGREEMENT                                 508.30 65091           4/8/2011          4/8/2012               DANNY ESTRADA                         521 WEST WALKER                            WICHITA       KS           67213                                                        33892
                                                                                                          SERVICES                                                                                                                                                                                                                                                                                                                                                                3389265091
                                                         TENT RESTAURANT
      1149 NO COPY             65093          13-13259                               LINDA COSTNER        UNIFIRST CORPORATION        SERVICE AGREEMENT         LINEN SERVICES AGREEMENT                                 534.15 65093          7/21/2011         7/21/2013               1901 EQUITABLE PLACE                                                             CHARLOTTE     NC           28213                                                        05585
                                                         OPERATIONS, INC                                                                                                                                                                                                                                                                                                                                                                                                           558565093
                               WICHITA                   FOX & HOUND RESTAURANT                                                                                                                                                   5708145-
      1150 NO COPY                            13-13249                               KIM FOWLES           PITNEY BOWES                USE AGREEMENT             POSTAGE METER - WICHITA OFFICE                               -                  7/7/2011         10/7/2014               27 WATERVIEW DRIVE                                                               SHELTON       CT           06484
                               OFFICE                    GROUP                                                                                                                                                                    004                                                                                                                                                                                                                                              #VALUE!
                                                         CHAMPPS OPERATING                                STARLIGHT DIGITAL MEDIA
      1151 NO COPY             65253          13-13227                               KIM FOWLES                                       SERVICE AGREEMENT         ADVERTISING AGREEMENT                                        -    65253       12/26/2012        12/31/2015               404 E PENNSYLVANIA BLVD                                                          FEASTERVILLE PA            19053
                                                         CORPORATION                                      LLC                                                                                                                                                                                                                                                                                                                                                                          65253
                                                         CHAMPPS OPERATING
      1152 NO COPY             65253          13-13227                               KIM FOWLES           VALLEY PROTEINS             USE AGREEMENT             COOKING OIL SMART TANK                                       -    65253        4/26/2011         4/26/2014               151 VALPRO DRIVE                                                                 WINCHESTER    PA           22603
                                                         CORPORATION                                                                                                                                                                                                                                                                                                                                                                                              08328            832865253
                                                         CHAMPPS OPERATING
      1153 NO COPY             65246          13-13227                               KIM FOWLES           SYSTEM4 OF TAMPA            SERVICE AGREEMENT         CLEANING SERVICES                                            -    65246                           2/1/2014 MARK MAYER    10150 HIGHLAND MANOR DRIVE, STE 200                                              TAMPA         FL           33610
                                                         CORPORATION                                                                                                                                                                                                                                                                                                                                                                                                                   65246
                                                         CHAMPPS OPERATING                                AMERICAN CONSUMER
      1154 NO COPY             65246          13-13227                               KIM FOWLES                                       SERVICE AGREEMENT         ATM AGREEMENT                                                -    65246       10/23/2012        10/23/2015               111 W. SAINT JOHN ST.                                                            SAN JOSE      CA           95113
                                                         CORPORATION                                      FINANCIAL NETWORK                                                                                                                                                                                                                                                                                                                                                            65246
                                                         CHAMPPS OPERATING                                                                                                                                                                                                                                                                                                WINSTON-
      1155 NO COPY             65243          13-13227                               KIM FOWLES           IMG COLLEGE LLC             SERVICE AGREEMENT         ADVERTISING AGREEMENT                                        -    65243        8/27/2013         7/14/2014               540 N TRADE STREET                                                                             NC           27101
                                                         CORPORATION                                                                                                                                                                                                                                                                                                      SALEM                                                                                                        65243
                                                         CHAMPPS OPERATING                                CAPITAL AREA SOCCER
      1156 NO COPY                     65238 13-13227                                KIM FOWLES                                       SERVICE AGREEMENT         ADVERTISING AGREEMENT                                    350.00                 8/1/2013         7/31/2014               3300 WOMANS CLUB DRIVE STE 1                                                     RALEIGH       NC           27612                                                                36489
                                                         CORPORATION                                      LEAGUE                                                                                                                                                                                                                                                                                                                                                                  3648965238
                                                                                                          THE LEGENDARY KINGS OF
                                                         CHAMPPS OPERATING                                                                                      KARAOKE ENTERTAINMENT                                                                                                                                                                                     RANDALLSTO
      1157 NO COPY             65231          13-13227                               KIM FOWLES           KARAOKE AND DJ              SERVICE AGREEMENT                                                                      -    65231         9/3/2013         3/31/2014               10 WINLO COURT                                                                                 MD           21133
                                                         CORPORATION                                                                                            SERVICES                                                                                                                                                                                                  WN
                                                                                                          ENTERTAINMENT, INC.                                                                                                                                                                                                                                                                                                                                                          65231
                                                         CHAMPPS OPERATING                                AMERICAN CONSUMER
      1158 NO COPY             65226          13-13227                               KIM FOWLES                                       SERVICE AGREEMENT         ATM AGREEMENT                                                -    65226        2/12/2013         2/12/2016               111 W. SAINT JOHN ST.                                                            SAN JOSE      CA           95113
                                                         CORPORATION                                      FINANCIAL NETWORK                                                                                                                                                                                                                                                                                                                                                            65226
                                                         CHAMPPS OPERATING                                AMERICAN CONSUMER
      1159 NO COPY             65210          13-13227                               KIM FOWLES                                       SERVICE AGREEMENT         ATM AGREEMENT                                                -    65210        1/19/2012         1/19/2015               111 W. SAINT JOHN ST.                                                            SAN JOSE      CA           95113
                                                         CORPORATION                                      FINANCIAL NETWORK                                                                                                                                                                                                                                                                                                                                                            65210
                                                         CHAMPPS OPERATING
      1160 NO COPY             65205          13-13227                               KIM FOWLES           ADT SECURITY SYSTEMS        SERVICE AGREEMENT         SECURITY AGREEMENT                                           -    65205         4/5/1996 YEAR TO YEAR                    12166 N MEREDIAN STREET                                                          CARMEL        IN           40032                                                                  122
                                                         CORPORATION                                                                                                                                                                                                                                                                                                                                                                                                                12265205
                                                         TENT RESTAURANT
      1161 NO COPY             65095          13-13259                               LINDA COSTNER        CINTAS CORPORATION          SERVICE AGREEMENT         LINEN SERVICES AGREEMENT                                     -    65095       12/11/2013        12/11/2014               1111 SMILE WAY                                                                   YORK          PA           17404
                                                         OPERATIONS, INC                                                                                                                                                                                                                                                                                                                                                                                                               65095
                                                                                                                                                                                                                                                                                                                                                                                                                            WWW.COBRA
      1162 NO COPY                     65901 13-13220    F&H ACQUISITION CORP        RENEE CHALOUPKA ALLSTATE (AHL/AWD)               COBRA GUARD AGREEMENT     USER SERVICE ORDER FORM                                      -                 12/9/2013               NA                COBRAGUARD, INC                       57000 BROADMOAR PO BOX 39                  MISSION       KS           66202                               913-438-8385                     35700
                                                                                                                                                                                                                                                                                                                                                                                                                            GUARD.NET                                             3570065901
                                                                                                                                                                                                                                                                                                                                                                                                                            PFREELS@BEN
                                                                                                                                                                                                                                                                                                                                                                                                                            EFITCOMMUN
                                                                                                                                                                                                                                                                                                                                                                                                                            ICATIONS.CO
      1163 NO COPY                     65901 13-13220    F&H ACQUISITION CORP        JIM ZIELKE           ALLSTATE (AHL)              EYEMED VISION AGREEMENT   APPLICATION FOR VISION CARE                                  -    VC-77       10/30/2013        12/31/2015               PAIGE FREELS                          2977 SIDCO DRIVE                           NASHVILLE     TN           37204                                                                35700
                                                                                                                                                                                                                                                                                                                                                                                                                            M
                                                                                                                                                                                                                                                                                                                                                                                                                            6152923786 X
                                                                                                                                                                                                                                                                                                                                                                                                                            616                                                   3570065901
                                                                                                                                                                                                                                                                                                                               1776 AMERICAN
                                                                                                                                                                                                                                                               REVIEWED
      1164 NO COPY                     65901 13-13220    F&H ACQUISITION CORP        JIM ZIELKE           ALLSTATE (AHL)              UNDERWRITING OFFER        UNDERWRITING OFFER                                           -                10/14/2013                                 BRIAN FRANK                           HERITAGE LIFE                              JACKSONVILLE FL            32224-6688                          904-992-2509                     35700
                                                                                                                                                                                                                                                            PERIODICALLY
                                                                                                                                                                                                                                                                                                                               DRIVE                                                                                                                                              3570065901
                                                                                                                                                                                                                                                                                                                               1776 AMERICAN
                                                                                                                                                                                                                                                                                         AMERICAN HERITAGE LIFE INSURANCE
      1165 NO COPY                     65901 13-13220    F&H ACQUISITION CORP        JIM ZIELKE           ALLSTATE (AHL)              4040 AGREEMENT                                                                         -                10/16/2013               NA                                                      HERITAGE LIFE                              JACKSONVILLE FL            32224-6688                          800-521-3535                     35700
                                                                                                                                                                                                                                                                                         COMPANY
                                                                                                                                                                                                                                                                                                                               DRIVE                                                                                                                                              3570065901
                                                                                                          BENEFIT COMMUNICATIONS                                                                                                                                                                                               2126 21ST AVENUE
      1166 NO COPY             CORPORATE      13-13220   F&H ACQUISITION CORP        RENEE CHALOUPKA                             BENEFIT DESIGN AGREEMENT       AGREEMENT                                                    -                10/24/2013               NA                PAIGE FREELS/HOLLY MARTIN                                                        NASHVILLE     TN           37212                               800-489-3786
                                                                                                          INC.                                                                                                                                                                                                                 SOUTH                                                                                                                                               #VALUE!
                                                         FOX & HOUND RESTAURANT                                                  MANAGING PARTNER
      1168 NO COPY             65032          13-13249                               KIM FOWLES           MICHELLE ELLZEY                                       LOCATION: NEW ORLEANS                              MP             511531      12/31/2008          1/1/2014               18 OAKLEY DR                                                                     DESTREHAN     LA           70047
                                                         GROUP                                                                   AGREEMENT                                                                                                                                                                                                                                                                                                                                             65032
                                                         FOX & HOUND RESTAURANT                                                  MANAGING PARTNER
      1169 NO COPY             65047          13-13249                               KIM FOWLES           JASON TIMMONS                                         LOCATION: CHARLOTTE #4                             MP             837056      12/31/2008          1/1/2014               1165 DEAN HALL LN                                                                MATTHEWS      NC           28105
                                                         GROUP                                                                   AGREEMENT                                                                                                                                                                                                                                                                                                                                             65047
                                                         FOX & HOUND RESTAURANT                                                  MANAGING PARTNER
      1170 NO COPY             65077          13-13249                               KIM FOWLES           HUGO SAN MARTANO                                      LOCATION: RALEIGH                                  MP             90327311    12/31/2008          1/1/2014               4006 BUTLER BLVD                                                                 RALEIGH       NC           27604
                                                         GROUP                                                                   AGREEMENT                                                                                                                                                                                                                                                                                                                                             65077
                                                         FOX & HOUND RESTAURANT                                                  MANAGING PARTNER
      1171 NO COPY             65073          13-13249                               KIM FOWLES           MICHAEL SCOFIELD                                      LOCATION: EDISON                                   MP             798441       6/17/2009         6/16/2014               309 RT 35 #IF                                                                    PT PEASANT    NJ           08742
                                                         GROUP                                                                   AGREEMENT                                                                                                                                                                                                                                                                                                                                             65073
                                                         FOX & HOUND RESTAURANT                                                  MANAGING PARTNER                                                                                                                                                                                                                         WINSTON-
      1172 NO COPY             65083          13-13249                               KIM FOWLES           KEVIN GARRISON                                        LOCATION: WILMINGTON                               MP             731958       3/24/2010         3/24/2015               110 HEDGECOCK AVE #4                                                                           NC           27104
                                                         GROUP                                                                   AGREEMENT                                                                                                                                                                                                                                SALEM                                                                                                        65083
                                                         FOX & HOUND RESTAURANT                                                  MANAGING PARTNER
      1173 NO COPY                            13-13249                               KIM FOWLES           TODD CREEKMUR                                         LOCATION: DISTRICT MANAGER                         MP             46464        3/24/2010         3/24/2015               9532 CAPE COD BLVD                                                               AUBREY        TX           76227
                                                         GROUP                                                                   AGREEMENT                                                                                                                                                                                                                                                                                                                                         #VALUE!
                                                         FOX & HOUND RESTAURANT                                                  MANAGING PARTNER
      1174 NO COPY             65067          13-13249                               KIM FOWLES           DAVID HART                                            LOCATION: RICHMOND #2                              MP             838305       6/16/2010         6/16/2015               11720 BELVEDERE VISTA LN              #101                                       RICHMOND      VA           23235
                                                         GROUP                                                                   AGREEMENT                                                                                                                                                                                                                                                                                                                                             65067
                                                         FOX & HOUND RESTAURANT                                                  MANAGING PARTNER
      1175 NO COPY             65016          13-13249                               KIM FOWLES           GENNA TIFFANY                                         LOCATION: CHICAGO                                  MP             296131      12/29/2010        12/19/2015               1358 ESSEX ST                                                                    ALGONQUIN     IL           60102
                                                         GROUP                                                                   AGREEMENT                                                                                                                                                                                                                                                                                                                                             65016




2491306-3                                                                                                                                                                                                                                         2.4(m) - 27
                                                                                                                                                                         Case 13-13220-KG                     Doc 506-1                                 Filed 03/17/14                                         Page 322 of 362

     ID     Epiq Contract No   Store Number       Case            Debtor          Responsible Person      Contract Counter Party         Type of Contract         Description of Contract   Assume   Reject   Cure Amount Contract NoDate of Contract
                                                                                                                                                                                                                                                   Termination Date        Attention                   Address 1             Address 2      Address 3   Address 4          City        State        Zip     Country   Email   Phone   Fax      Vendor        A/P code
                                                         FOX & HOUND RESTAURANT                                                    MANAGING PARTNER
      1176 NO COPY             65057          13-13249                            KIM FOWLES           MICHAEL MURPHY                                       LOCATION: TUCSON                                  MP               212835      12/29/2010        12/19/2015                960 W THORNBUSH PL                                                           ORO VALLEY    AZ           85755
                                                         GROUP                                                                     AGREEMENT                                                                                                                                                                                                                                                                                                                        65057
                                                         FOX & HOUND RESTAURANT                                                    MANAGING PARTNER
      1177 NO COPY             65023          13-13249                            KIM FOWLES           KATRINA CACCAMO                                      LOCATION: ERIE                                    MP               36520032    12/29/2010        12/29/2015                4940 SIR HUE DRIVE                                                           ERIE          PA           16506
                                                         GROUP                                                                     AGREEMENT                                                                                                                                                                                                                                                                                                                        65023
                                                         FOX & HOUND RESTAURANT                                                    MANAGING PARTNER
      1178 NO COPY             65027          13-13249                            KIM FOWLES           THOMAS SZAFRAN                                       LOCATION: DETROIT                                 MP               950828      12/30/2010        12/29/2015                43513 LOTUS DR                                                               CANTON        MI           48188
                                                         GROUP                                                                     AGREEMENT                                                                                                                                                                                                                                                                                                                        65027
                                                         FOX & HOUND RESTAURANT                                                    MANAGING PARTNER
      1179 NO COPY             65055          13-13249                            KIM FOWLES           CHRISTOPHER PESCE                                    LOCATION: CHICAGO #2                              MP               922612      12/30/2010        12/29/2015                759 MANOR RD                                                                 CRYSTAL LAKE IL            60014
                                                         GROUP                                                                     AGREEMENT                                                                                                                                                                                                                                                                                                                        65055
                                                         FOX & HOUND RESTAURANT                                                    MANAGING PARTNER
      1180 NO COPY             65079          13-13249                            KIM FOWLES           AMANDA SEVIN                                         LOCATION: CARMEL                                  MP               9194058C    12/30/2010        12/29/2015                10351 LEE STEWART LN                                                         FISHERS       IN           46038
                                                         GROUP                                                                     AGREEMENT                                                                                                                                                                                                                                                                                                                        65079
                                                         FOX & HOUND RESTAURANT                                                    MANAGING PARTNER
      1181 NO COPY                            13-13249                            KIM FOWLES           HARRY DECKER                                         LOCATION: DISTRICT MANAGER                        MP               1865818A    12/29/2010        12/29/2015                370 COLONIAL CIR                                                             GENEVA        IL           60134
                                                         GROUP                                                                     AGREEMENT                                                                                                                                                                                                                                                                                                                 #VALUE!
                                                         FOX & HOUND RESTAURANT                                                    MANAGING PARTNER
      1182 NO COPY             65008          13-13249                            KIM FOWLES           TIMOTHY WHITE                                        LOCATION: DALLAS                                  MP               000375822    6/15/2011         6/14/2016                2815 FOREST HOLLOW LN                                                        ARLINGTON     TX           76006
                                                         GROUP                                                                     AGREEMENT                                                                                                                                                                                                                                                                                                                        65008
                                                         FOX & HOUND RESTAURANT                                                    MANAGING PARTNER
      1183 NO COPY             65071          13-13249                            KIM FOWLES           SCOTT NEWCOMB                                        LOCATION: CHARLOTTE #5                            MP               807121       6/15/2011         6/14/2016                9633 WILLOW LEAF LN                                                          CORNELIUS     NC           28031
                                                         GROUP                                                                     AGREEMENT                                                                                                                                                                                                                                                                                                                        65071
                                                         FOX & HOUND RESTAURANT                                                    MANAGING PARTNER
      1184 NO COPY             65050          13-13249                            KIM FOWLES           ERRON HALEN                                          LOCATION: PHOENIX                                 MP               627885        9/7/2011          9/7/2016                9621 N 83RD WAY                                                              SCOTTSDALE    AZ           85258
                                                         GROUP                                                                     AGREEMENT                                                                                                                                                                                                                                                                                                                        65050
                                                         FOX & HOUND RESTAURANT                                                    MANAGING PARTNER
      1185 NO COPY             65059          13-13249                            KIM FOWLES           LAWRENCE GONZALES                                    LOCATION: DENVER #4                               MP               008572954    6/13/2012         6/13/2017                409 FOXWOOD LN                                                               WILMINGTON CO              28409
                                                         GROUP                                                                     AGREEMENT                                                                                                                                                                                                                                                                                                                        65059
                                                         FOX & HOUND RESTAURANT                                                    MANAGING PARTNER
      1186 NO COPY             65087          13-13249                            KIM FOWLES           MIKE MIDDLETON                                       LOCATION: MEMPHIS #3                              MP               21206         9/5/2012          9/4/2017                600 W ASHLEY GLEN CIR                                                        CORDOVA       TN           38018
                                                         GROUP                                                                     AGREEMENT                                                                                                                                                                                                                                                                                                                        65087
                                                         FOX & HOUND RESTAURANT                                                    MANAGING PARTNER                                                                                                                                                                                                                 NEWPORT
      1187 NO COPY             65089          13-13249                            KIM FOWLES           NEIL MOWERY                                          LOCATION: NEWPORT NEWS                            MP               822086318   12/26/2012        12/15/2017                42 HAUGHTON LANE                                                                           VA           23606
                                                         GROUP                                                                     AGREEMENT                                                                                                                                                                                                                        NEWS                                                                                            65089
                                                         FOX & HOUND RESTAURANT                                                    MANAGING PARTNER
      1188 NO COPY             65029          13-13249                            KIM FOWLES           JENNIFER PERKINS                                     LOCATION: KANSAS CITY                             MP               311221      12/26/2012        12/25/2017                14120 S SYCAMORE DRIVE                                                       OLATHE        KS           66062
                                                         GROUP                                                                     AGREEMENT                                                                                                                                                                                                                                                                                                                        65029
                                                         FOX & HOUND RESTAURANT                                                    MANAGING PARTNER
      1189 NO COPY             65062          13-13249                            KIM FOWLES           GRAYSON GARBINI                                      LOCATION: ARLINGTON, VA                           MP               850226      12/26/2012        12/26/2017                10208 COLSTON CT #402                                                        BURKE         VA           22015
                                                         GROUP                                                                     AGREEMENT                                                                                                                                                                                                                                                                                                                        65062
                                                         FOX & HOUND RESTAURANT                                                    MANAGING PARTNER
      1190 NO COPY             65093          13-13249                            KIM FOWLES           ALDO BROZZETTI                                       LOCATION: CHARLOTTE #6                            MP               746969       3/20/2013         3/19/2018                7619 MONTRACHET LN                                                           CORNELIUS     NC           28031
                                                         GROUP                                                                     AGREEMENT                                                                                                                                                                                                                                                                                                                        65093
                                                         FOX & HOUND RESTAURANT                                                    MANAGING PARTNER                                                                                                                                                                                                                 HENDERSONVI
      1191 NO COPY             65041          13-13249                            KIM FOWLES           BRIAN PEDRICK                                        LOCATION: NASHVILLE#3                             MP               893536       3/20/2013         3/20/2018                9314 MONTHAVEN PARK PL                                                                   TN             37075
                                                         GROUP                                                                     AGREEMENT                                                                                                                                                                                                                        LLE                                                                                             65041
                                                         FOX & HOUND RESTAURANT                                                    MANAGING PARTNER                                                                                                                                                                                                                 FAIR OAKS
      1192 NO COPY             65005          13-13249                            KIM FOWLES           ROBERT WORRALL                                       LOCATION: COLLEGE STATION                         MP               665931       6/12/2013         6/11/2018                31641 WILD OAK HL                                                                        TX             78015
                                                         GROUP                                                                     AGREEMENT                                                                                                                                                                                                                        RANCH                                                                                           65005
                                                         FOX & HOUND RESTAURANT                                                    MANAGING PARTNER
      1193 NO COPY             65013          13-13249                            KIM FOWLES           JOSEPH CLARKE                                        LOCATION: MEMPHIS                                 MP               100629       6/12/2013         6/11/2018                8320 RED CREEK DR                                                            CORDOVA       TN           38018
                                                         GROUP                                                                     AGREEMENT                                                                                                                                                                                                                                                                                                                        65013
                                                         FOX & HOUND RESTAURANT                                                    MANAGING PARTNER
      1194 NO COPY             65015          13-13249                            KIM FOWLES           JESSICA ULRICH                                       LOCATION: OMAHA                                   MP               16220        6/24/2013         6/11/2018                4713 N 163RD STREET                                                          OMAHA         NE           68116
                                                         GROUP                                                                     AGREEMENT                                                                                                                                                                                                                                                                                                                        65015
                                                         FOX & HOUND RESTAURANT                                                    MANAGING PARTNER
      1195 NO COPY             65039          13-13249                            KIM FOWLES           JEFF HALLER                                          LOCATION: PARMA                                   MP               296122       8/12/2013         6/11/2018                1244 18TH ST ST NW                                                           CANTON        OH           44703
                                                         GROUP                                                                     AGREEMENT                                                                                                                                                                                                                                                                                                                        65039
                                                         FOX & HOUND RESTAURANT                                                    MANAGING PARTNER
      1196 NO COPY             65022          13-13249                            KIM FOWLES           MICHAEL GILLISPIE                                    LOCATION: SAN ANTONIO                             MP               171034                                                  21711 RUGOSA HILL                                                            SAN ANTONIO TX             78256
                                                         GROUP                                                                     AGREEMENT                                                                                                                                                                                                                                                                                                                        65022
                                                         FOX & HOUND RESTAURANT                                                    MANAGING PARTNER
      1197 NO COPY             65030          13-13249                            KIM FOWLES           ERIC SMITH                                           LOCATION: CANTON                                  MP               273274      12/29/2010        12/29/2015                908 ANDREW AVE NE                                                            MASSILLON     OH           44646
                                                         GROUP                                                                     AGREEMENT                                                                                                                                                                                                                                                                                                                        65030
                                                         FOX & HOUND RESTAURANT                                                    MANAGING PARTNER
      1198 NO COPY             65060          13-13249                            KIM FOWLES           TIMOTHY WENDT                                        LOCATION: CHICAGO #3                              MP               5742958D     6/17/2009         6/16/2014                1358 ESSEX ST                                                                ALGONQUIN     IL           60102
                                                         GROUP                                                                     AGREEMENT                                                                                                                                                                                                                                                                                                                        65060
                                                         FOX & HOUND RESTAURANT                                                    MANAGING PARTNER
      1199 NO COPY                            13-13249                            KIM FOWLES           MIKE SIMPSON                                         LOCATION: DISTRICT MANAGER                        MP               365100358                                               2576 WEXFORD RUN RD                                                          WEXFORD       PA           15090
                                                         GROUP                                                                     AGREEMENT                                                                                                                                                                                                                                                                                                                 #VALUE!
                                                         FOX & HOUND RESTAURANT                                                    MANAGING PARTNER
      1200 NO COPY                            13-13249                            KIM FOWLES           AMIR FATHI                                           LOCATION: DISTRICT MANAGER                        MP               1292788A                                                3781 S BLUFF PT                                                              BARTLETT      TN           38135
                                                         GROUP                                                                     AGREEMENT                                                                                                                                                                                                                                                                                                                 #VALUE!
      1201 NO COPY             CORPORATE      13-13220   F & H ACQUISTION CORP.   KIM FOWLES           A & G REALTY PARTNERS LLC   SERVICE AGREEMENT        REAL ESTATE ADVISORY SERVICES                                 -                 9/30/2013         3/30/2014                525 WEST MONROE ST, SUITE 2330                                               CHICAGO       IL           60661
                                                                                                                                                                                                                                                                                                                                                                                                                                                             #VALUE!
      1202 NO COPY             CORPORATE      13-13220   F & H ACQUISTION CORP.   KIM FOWLES           HILCO REAL ESTATE LLC       SERVICE AGREEMENT        REAL ESTATE ADVISORY SERVICES                                 -                 1/30/2013        12/31/2013                5 REVERE DRIVE, SUITE 206                                                    NORTHBROOK IL              60662
                                                                                                                                                                                                                                                                                                                                                                                                                                                             #VALUE!
                                                         FOX AND HOUND                                                                                      NEW ENTRY DOORS FOR STORE                                                                                                                                   4170 VETERANS
      1203 NO COPY             65059          13-13249                            AUSTIN TRUMP         FS PREVENTION               PROPOSAL AGREEMENT                                                               6,555.00                10/8/2013                                  ATTN: TRACY WATERHOUSE                                                       BOHEMIA       NY           11716                                        36429
                                                         RESTAURANT GROUP                                                                                   65059                                                                                                                                                       MEMORIAL HWY                                                                                                                        3642965059
                                                         FOX AND HOUND                                                                                      REUPHOLSTERY BOOTHS FOR STORE                                                                                                                               4170 VETERANS
      1204 NO COPY             65073          13-13249                            AUSTIN TRUMP         FS PREVENTION               PROPOSAL AGREEMENT                                                                     -                 10/8/2013                                  ATTN: TRACY WATERHOUSE                                                       BOHEMIA       NY           11716                                        36429
                                                         RESTAURANT GROUP                                                                                   65073                                                                                                                                                       MEMORIAL HWY                                                                                                                        3642965073
                                                         FOX & HOUND OF
      1205 NO COPY             65059          13-13235                            GREG WALDO           MC SIGN                     PROPOSAL AGREEMENT       $2800 PAINTING OF SIGN AREA                                   -                12/10/2013                                  JACQUELINE                       8959 TYLER BLVD                             MENTOR        OH           44060-2184
                                                         COLORADO, INC.                                                                                                                                                                                                                                                                                                                                                                                             65059
                                                         FOX & HOUND OF NEW
      1206 NO COPY             65073          13-13244                            GREG WALDO           MC SIGN                     PROPOSAL AGREEMENT       $13,573 DÉCOR REMODEL SIGN                                    -                 10/2/2013                                  JACQUELINE                       8959 TYLER BLVD                             MENTOR        OH           44060-2184
                                                         JERSEY, INC.                                                                                                                                                                                                                                                                                                                                                                                               65073
                                                         FOX & HOUND OF NEW                                                                                 $132,725 DÉCOR REMODEL
      1207 NO COPY             65073          13-13244                            GREG WALDO           FLYNN CONSTRUCTION          CONSTRUCTION AGREEMENT                                                                 -                10/21/2013                                  TOM O'CONNOR                     600 PENN AVE                                PITTSBURGH    PA           15222-3209
                                                         JERSEY, INC.                                                                                       CONSTRUCTION                                                                                                                                                                                                                                                                                            65073
                                                         CHAMPPS ENTERTAINMENT                         HITE BALDWIN                                         $21,594 DÉCOR REMODEL
      1208 NO COPY             65219          13-13225                            GREG WALDO                                       CONSTRUCTION AGREEMENT                                                                 -                12/17/2013                                  HITE BALDWIN                     755 BANDIT TRAIL                            KELLER        TX           76248-0111
                                                         OF TEXAS, INC.                                CONSTRUCTION                                         CONSTRUCTION
                                                                                                                                                                                                                                                                                                                                                                                                                                                                    65219
                                                         CHAMPPS ENTERTAINMENT
      1209 NO COPY             65219          13-13225                            GREG WALDO           DESIGN SHOP                 PROPOSAL AGREEMENT       $13,870 SHADES DÉCOR REMODEL                                  -                12/17/2013                                  CHERYL HALCOM                    3210 ALDER COURT                            TEGA CAY      SC           29708-8615
                                                         OF TEXAS, INC.
                                                                                                                                                                                                                                                                                                                                                                                                                                                                    65219
                                                         CHAMPPS ENTERTAINMENT                                                                              $20,396 DECOR REMODEL TABEL                                                                                                                                 27418 HIGHWAY
      1210 NO COPY             65219          13-13225                            GREG WALDO           TABLE TOPICS                PROPOSAL AGREEMENT                                                                     -                11/18/2013                                  JOHN JOHNSON                                                                 ELBERTA       AL           36530-2871
                                                         OF TEXAS, INC.                                                                                     TOPS                                                                                                                                                        98E
                                                                                                                                                                                                                                                                                                                                                                                                                                                                    65219
                                                         CHAMPPS ENTERTAINMENT                                                                                                                                                                                                                                                                                      MOUNTAINSID
      1211 NO COPY             65219          13-13225                            GREG WALDO           G&A COMMERCIAL              PROPOSAL AGREEMENT       $17,434 DÉCOR REMODEL SEATING                                 -                12/12/2013                                  BILL DICKIE                      152 GLEN ROAD                                           NJ             07092-2915                                   35767
                                                         OF TEXAS, INC.                                                                                                                                                                                                                                                                                             E
                                                                                                                                                                                                                                                                                                                                                                                                                                                            3576765219
                                                         N. COLLINS ENTERTAINMENT,                                                                                                                                                                                                                                      925 AIRPARK
      1212 NO COPY             65041          13-13259                             GREG WALDO          M3 TECHNOLOGY GROUP         PROPOSAL AGREEMENT       $22,587 AV DÉCOR REMODEL                               12,007.74                12/3/2013                                  BRUCE CORDELL                                                                NASHVILLE     TN           37217-2945                                   06133
                                                         LTD.                                                                                                                                                                                                                                                           CENTER DRIVE                                                                                                                         613365041
                                                         CHAMPPS ENTERTAINMENT                                                                              $20,000 DESIGN FEE FOR DÉCOR
      1213 NO COPY             65219          13-13225                            GREG WALDO           TRAPP & ASSOC               PROPOSAL AGREEMENT                                                                     -                 6/14/2013                                  TIM TRAPP                        965 LINDEN AVENUE                           BOULDER       CO           80304-0724
                                                         OF TEXAS, INC.                                                                                     REMODEL
                                                                                                                                                                                                                                                                                                                                                                                                                                                                    65219
                                                         CHAMPPS ENTERTAINMENT
      1214 NO COPY             65219          13-13225                            GREG WALDO           TRAPP & ASSOC               PROPOSAL AGREEMENT       $17,500 DESIGN FEE PATIO                                      -                 6/14/2013                                  TIM TRAPP                        965 LINDEN AVENUE                           BOULDER       CO           80304-0724
                                                         OF TEXAS, INC.
                                                                                                                                                                                                                                                                                                                                                                                                                                                                    65219
                                                         CHAMPPS ENTERTAINMENT                                                                                                                                                                                                                                          10730 ROYAL
      1215 NO COPY             65219          13-13225                            GREG WALDO           AVANT DESIGN                PROPOSAL AGREEMENT       $8,975 DESIGN FEE PATIO                                       -                10/21/2013                                  DAVID MURRAY                                                                 DALLAS        TX           75229-5250                                           36650
                                                         OF TEXAS, INC.                                                                                                                                                                                                                                                 SPRINGS
                                                                                                                                                                                                                                                                                                                                                                                                                                                            3665065219
                                                         CHAMPPS OPERATING
      1216 NO COPY             62201          13-13227                            KEVIN O'HARE         AJ INDOOR                   SERVICE AGREEMENT        ADVERTISING AGREEMENT                                         -                  3/3/2010          3/3/2014                10825 GREENBRIER ROAD                                                        MINNETONKA MN              55305
                                                         CORPORATION                                                                                                                                                                                                                                                                                                                                                                                                62201
      1217 NO COPY             CORPORATE      13-13227   CHAMPPS OPERATING        RYAN ZINK            RADIANT SYSTEMS INC.        SERVICE AGREEMENT        ALOHA HOSTED SOLUTIONS                                  8,300.00                10/4/2010                                  3925 BROOKSIDE PARKWAY                                                       ALPHARETTA    GA           30022                                        16685
                                                         CORPORATION                                                                                        AGREEMENT                                                                                                                                                                                                                                                                                       16685
                                                                                                       GOOD KARMA
                                                         CHAMPPS OPERATING
      1218 NO COPY             CORPORATE      13-13227                            RYAN ZINK            BROADCASTING LLC DBA        SERVICE AGREEMENT        ADVERTISING AGREEMENT                                         -                  6/6/2012          6/6/2014                1301 E. 9TH STREET, SUTIE 252                                                CLEVELAND     OH           44114
                                                         CORPORATION
                                                                                                       WKNR                                                                                                                                                                                                                                                                                                                                                  #VALUE!
      1219 NO COPY             CORPORATE      13-13220   F&H ACQUISITION CORP     RENEE CHALOUPKA JOBAPP                           SERVICE AGREEMENT        HUMAN RESOURCES SYSTEM                                        -                12/23/2013        12/23/2014                2401 E. 2ND AVENUE               SUITE 150                                   DENVER        CO           80206
                                                                                                                                                                                                                                                                                                                                                                                                                                                             #VALUE!
                                                         CHAMPPS OPERATING
      1220 NO COPY             65238          13-13227                            RYAN ZINK            SHIMAR RECYCLEING INC.      SERVICE AGREEMENT        RECYCLING SERVICE                                             -                12/17/2013                                  938 HARVEST ST.                                                              DURHAM        NC           27704                                        08068
                                                         CORPORATION                                                                                                                                                                                                                                                                                                                                                                                         806865238
                                                         CHAMPPS OPERATING                             GREEN GALLON SOLUTIONS
      1221 NO COPY             65213          13-13227                            RYAN ZINK                                        SERVICE AGREEMENT        GREASE RECYCLING SERVICE                                      -                12/12/2013                                  7904 INTERSTATE COURT NORTH                                                  FORT MYERS    FL           33917
                                                         CORPORATION                                   OF NORTH AMERICA
                                                                                                                                                                                                                                                                                                                                                                                                                                                                    65213
                                                                                                                                                                                                                                                                                                                        1313 NORTH
                                                         CHAMPPS ENTERTAINMENT,                                                                                                                                                                              11/16/14 YR
      1222 NO COPY                            13-13224                            JIM ZIELKE           AVISTA ADVANTAGE INC.       SERVICE AGREEMENT        UTILITY BILLING SERVICE                                       -                11/16/2005                                  ANDI LARSON                      ATLANTIC, 5TH                               SPOKANE       WA           99201
                                                         INC.                                                                                                                                                                                                      TO YR
                                                                                                                                                                                                                                                                                                                        FLOOR                                                                                                                                #VALUE!




2491306-3                                                                                                                                                                                                                                      2.4(m) - 28
                                                                                                                                                                       Case 13-13220-KG                     Doc 506-1                               Filed 03/17/14                                    Page 323 of 362

     ID     Epiq Contract No   Store Number       Case            Debtor          Responsible Person     Contract Counter Party         Type of Contract        Description of Contract   Assume   Reject   Cure Amount Contract NoDate of Contract
                                                                                                                                                                                                                                                 Termination Date    Attention                 Address 1    Address 2   Address 3   Address 4       City          State        Zip     Country   Email   Phone   Fax   Vendor      A/P code
                                                         CHAMPPS OPERATING                                                        TERMINAL SECURITY                                                                                                 M2M - 30 DAY
      1223 NO COPY             CORPORATE      13-13227                            BROCK DAVIS          RESTAURANT GUARD                                     SOFTWARE                                                 - ALL STORES      10/4/2010                                 3925 BROOKSIDE PARKWAY                                         ALPHARETTA   GA           30022
                                                         CORPORATION                                                              AGREEMENT                                                                                                                  OUT                                                                                                                                                                   #VALUE!
                                                         FOX & HOUND RESTAURANT
      1224 NO COPY             65002          13-13249                            BROCK DAVIS          BIRCH COMMUNICATIONS       PHONE SERVICE AGREEMENT                                                            -   65002          7/19/2013        6/19/2015               P.O. BOX 105066                                                ATLANTA      GA           30348-5066                                      36600
                                                         GROUP                                                                                                                                                                                                                                                                                                                                                                    3660065002
                                                         FOX & HOUND RESTAURANT
      1225 NO COPY             65003          13-13249                            BROCK DAVIS          BIRCH COMMUNICATIONS       PHONE SERVICE AGREEMENT                                                            -   65003          7/19/2013        6/19/2015               P.O. BOX 105066                                                ATLANTA      GA           30348-5066                                      36600
                                                         GROUP                                                                                                                                                                                                                                                                                                                                                                    3660065003
                                                         FOX & HOUND RESTAURANT
      1226 NO COPY             65004          13-13249                            BROCK DAVIS          BIRCH COMMUNICATIONS       PHONE SERVICE AGREEMENT                                                            -   65004          7/19/2013        6/19/2015               P.O. BOX 105066                                                ATLANTA      GA           30348-5066                                      36600
                                                         GROUP                                                                                                                                                                                                                                                                                                                                                                    3660065004
                                                         FOX & HOUND RESTAURANT
      1227 NO COPY             65005          13-13249                            BROCK DAVIS          BIRCH COMMUNICATIONS       PHONE SERVICE AGREEMENT                                                            -   65005          7/19/2013        6/19/2015               P.O. BOX 105066                                                ATLANTA      GA           30348-5066                                      36600
                                                         GROUP                                                                                                                                                                                                                                                                                                                                                                    3660065005
                                                         FOX & HOUND RESTAURANT
      1228 NO COPY             65006          13-13249                            BROCK DAVIS          BIRCH COMMUNICATIONS       PHONE SERVICE AGREEMENT                                                            -   65006          7/19/2013        6/19/2015               P.O. BOX 105066                                                ATLANTA      GA           30348-5066                                      36600
                                                         GROUP                                                                                                                                                                                                                                                                                                                                                                    3660065006
                                                         FOX & HOUND RESTAURANT
      1229 NO COPY             65007          13-13249                            BROCK DAVIS          BIRCH COMMUNICATIONS       PHONE SERVICE AGREEMENT                                                            -   65007          7/19/2013        6/19/2015               P.O. BOX 105066                                                ATLANTA      GA           30348-5066                                      36600
                                                         GROUP                                                                                                                                                                                                                                                                                                                                                                    3660065007
                                                         FOX & HOUND RESTAURANT
      1230 NO COPY             65009          13-13249                            BROCK DAVIS          BIRCH COMMUNICATIONS       PHONE SERVICE AGREEMENT                                                            -   65009          7/19/2013        6/19/2015               P.O. BOX 105066                                                ATLANTA      GA           30348-5066                                      36600
                                                         GROUP                                                                                                                                                                                                                                                                                                                                                                    3660065009
                                                         FOX & HOUND RESTAURANT
      1231 NO COPY             65010          13-13249                            BROCK DAVIS          BIRCH COMMUNICATIONS       PHONE SERVICE AGREEMENT                                                            -   65010          7/19/2013        6/19/2015               P.O. BOX 105066                                                ATLANTA      GA           30348-5066                                      36600
                                                         GROUP                                                                                                                                                                                                                                                                                                                                                                    3660065010
                                                         FOX & HOUND RESTAURANT
      1232 NO COPY             65013          13-13249                            BROCK DAVIS          BIRCH COMMUNICATIONS       PHONE SERVICE AGREEMENT                                                            -   65013          7/19/2013        6/19/2015               P.O. BOX 105066                                                ATLANTA      GA           30348-5066                                      36600
                                                         GROUP                                                                                                                                                                                                                                                                                                                                                                    3660065013
                                                         FOX & HOUND RESTAURANT
      1233 NO COPY             65014          13-13249                            BROCK DAVIS          BIRCH COMMUNICATIONS       PHONE SERVICE AGREEMENT                                                            -   65014          7/19/2013        6/19/2015               P.O. BOX 105066                                                ATLANTA      GA           30348-5066                                      36600
                                                         GROUP                                                                                                                                                                                                                                                                                                                                                                    3660065014
                                                         FOX & HOUND RESTAURANT
      1234 NO COPY             65015          13-13249                            BROCK DAVIS          BIRCH COMMUNICATIONS       PHONE SERVICE AGREEMENT                                                            -   65015          7/19/2013        6/19/2015               P.O. BOX 105066                                                ATLANTA      GA           30348-5066                                      36600
                                                         GROUP                                                                                                                                                                                                                                                                                                                                                                    3660065015
                                                         FOX & HOUND RESTAURANT
      1235 NO COPY             65016          13-13249                            BROCK DAVIS          BIRCH COMMUNICATIONS       PHONE SERVICE AGREEMENT                                                            -   65016          7/19/2013        6/19/2015               P.O. BOX 105066                                                ATLANTA      GA           30348-5066                                      36600
                                                         GROUP                                                                                                                                                                                                                                                                                                                                                                    3660065016
                                                         FOX & HOUND RESTAURANT
      1236 NO COPY             65018          13-13249                            BROCK DAVIS          BIRCH COMMUNICATIONS       PHONE SERVICE AGREEMENT                                                            -   65018          7/19/2013        6/19/2015               P.O. BOX 105066                                                ATLANTA      GA           30348-5066                                      36600
                                                         GROUP                                                                                                                                                                                                                                                                                                                                                                    3660065018
                                                         FOX & HOUND RESTAURANT
      1237 NO COPY             65022          13-13249                            BROCK DAVIS          BIRCH COMMUNICATIONS       PHONE SERVICE AGREEMENT                                                            -   65022          7/19/2013        6/19/2015               P.O. BOX 105066                                                ATLANTA      GA           30348-5066                                      36600
                                                         GROUP                                                                                                                                                                                                                                                                                                                                                                    3660065022
                                                         FOX & HOUND RESTAURANT
      1238 NO COPY             65023          13-13249                            BROCK DAVIS          BIRCH COMMUNICATIONS       PHONE SERVICE AGREEMENT                                                            -   65023          7/19/2013        6/19/2015               P.O. BOX 105066                                                ATLANTA      GA           30348-5066                                      36600
                                                         GROUP                                                                                                                                                                                                                                                                                                                                                                    3660065023
                                                         FOX & HOUND RESTAURANT
      1239 NO COPY             65025          13-13249                            BROCK DAVIS          BIRCH COMMUNICATIONS       PHONE SERVICE AGREEMENT                                                            -   65025          7/19/2013        6/19/2015               P.O. BOX 105066                                                ATLANTA      GA           30348-5066                                      36600
                                                         GROUP                                                                                                                                                                                                                                                                                                                                                                    3660065025
                                                         FOX & HOUND RESTAURANT
      1240 NO COPY             65027          13-13249                            BROCK DAVIS          BIRCH COMMUNICATIONS       PHONE SERVICE AGREEMENT                                                            -   65027          7/19/2013        6/19/2015               P.O. BOX 105066                                                ATLANTA      GA           30348-5066                                      36600
                                                         GROUP                                                                                                                                                                                                                                                                                                                                                                    3660065027
                                                         FOX & HOUND RESTAURANT
      1241 NO COPY             65028          13-13249                            BROCK DAVIS          BIRCH COMMUNICATIONS       PHONE SERVICE AGREEMENT                                                            -   65028          7/19/2013        6/19/2015               P.O. BOX 105066                                                ATLANTA      GA           30348-5066                                      36600
                                                         GROUP                                                                                                                                                                                                                                                                                                                                                                    3660065028
                                                         FOX & HOUND RESTAURANT
      1242 NO COPY             65029          13-13249                            BROCK DAVIS          BIRCH COMMUNICATIONS       PHONE SERVICE AGREEMENT                                                            -   65029          7/19/2013        6/19/2015               P.O. BOX 105066                                                ATLANTA      GA           30348-5066                                      36600
                                                         GROUP                                                                                                                                                                                                                                                                                                                                                                    3660065029
                                                         FOX & HOUND RESTAURANT
      1243 NO COPY             65030          13-13249                            BROCK DAVIS          BIRCH COMMUNICATIONS       PHONE SERVICE AGREEMENT                                                            -   65030          7/19/2013        6/19/2015               P.O. BOX 105066                                                ATLANTA      GA           30348-5066                                      36600
                                                         GROUP                                                                                                                                                                                                                                                                                                                                                                    3660065030
                                                         FOX & HOUND RESTAURANT
      1244 NO COPY             65031          13-13249                            BROCK DAVIS          BIRCH COMMUNICATIONS       PHONE SERVICE AGREEMENT                                                            -   65031          7/19/2013        6/19/2015               P.O. BOX 105066                                                ATLANTA      GA           30348-5066                                      36600
                                                         GROUP                                                                                                                                                                                                                                                                                                                                                                    3660065031
                                                         FOX & HOUND RESTAURANT
      1245 NO COPY             65032          13-13249                            BROCK DAVIS          BIRCH COMMUNICATIONS       PHONE SERVICE AGREEMENT                                                            -   65032          7/19/2013        6/19/2015               P.O. BOX 105066                                                ATLANTA      GA           30348-5066                                      36600
                                                         GROUP                                                                                                                                                                                                                                                                                                                                                                    3660065032
                                                         FOX & HOUND RESTAURANT
      1246 NO COPY             65033          13-13249                            BROCK DAVIS          BIRCH COMMUNICATIONS       PHONE SERVICE AGREEMENT                                                            -   65033          7/19/2013        6/19/2015               P.O. BOX 105066                                                ATLANTA      GA           30348-5066                                      36600
                                                         GROUP                                                                                                                                                                                                                                                                                                                                                                    3660065033
                                                         FOX & HOUND RESTAURANT
      1247 NO COPY             65034          13-13249                            BROCK DAVIS          BIRCH COMMUNICATIONS       PHONE SERVICE AGREEMENT                                                            -   65034          7/19/2013        6/19/2015               P.O. BOX 105066                                                ATLANTA      GA           30348-5066                                      36600
                                                         GROUP                                                                                                                                                                                                                                                                                                                                                                    3660065034
                                                         FOX & HOUND RESTAURANT
      1248 NO COPY             65035          13-13249                            BROCK DAVIS          BIRCH COMMUNICATIONS       PHONE SERVICE AGREEMENT                                                            -   65035          7/19/2013        6/19/2015               P.O. BOX 105066                                                ATLANTA      GA           30348-5066                                      36600
                                                         GROUP                                                                                                                                                                                                                                                                                                                                                                    3660065035
                                                         FOX & HOUND RESTAURANT
      1249 NO COPY             65038          13-13249                            BROCK DAVIS          BIRCH COMMUNICATIONS       PHONE SERVICE AGREEMENT                                                            -   65038          7/19/2013        6/19/2015               P.O. BOX 105066                                                ATLANTA      GA           30348-5066                                      36600
                                                         GROUP                                                                                                                                                                                                                                                                                                                                                                    3660065038
                                                         FOX & HOUND RESTAURANT
      1250 NO COPY             65039          13-13249                            BROCK DAVIS          BIRCH COMMUNICATIONS       PHONE SERVICE AGREEMENT                                                            -   65039          7/19/2013        6/19/2015               P.O. BOX 105066                                                ATLANTA      GA           30348-5066                                      36600
                                                         GROUP                                                                                                                                                                                                                                                                                                                                                                    3660065039
                                                         FOX & HOUND RESTAURANT
      1251 NO COPY             65041          13-13249                            BROCK DAVIS          BIRCH COMMUNICATIONS       PHONE SERVICE AGREEMENT                                                            -   65041          7/19/2013        6/19/2015               P.O. BOX 105066                                                ATLANTA      GA           30348-5066                                      36600
                                                         GROUP                                                                                                                                                                                                                                                                                                                                                                    3660065041
                                                         FOX & HOUND RESTAURANT
      1252 NO COPY             65042          13-13249                            BROCK DAVIS          BIRCH COMMUNICATIONS       PHONE SERVICE AGREEMENT                                                            -   65042          7/19/2013        6/19/2015               P.O. BOX 105066                                                ATLANTA      GA           30348-5066                                      36600
                                                         GROUP                                                                                                                                                                                                                                                                                                                                                                    3660065042
                                                         FOX & HOUND RESTAURANT
      1253 NO COPY             65043          13-13249                            BROCK DAVIS          BIRCH COMMUNICATIONS       PHONE SERVICE AGREEMENT                                                            -   65043          7/19/2013        6/19/2015               P.O. BOX 105066                                                ATLANTA      GA           30348-5066                                      36600
                                                         GROUP                                                                                                                                                                                                                                                                                                                                                                    3660065043
                                                         FOX & HOUND RESTAURANT
      1254 NO COPY             65047          13-13249                            BROCK DAVIS          BIRCH COMMUNICATIONS       PHONE SERVICE AGREEMENT                                                            -   65047          7/19/2013        6/19/2015               P.O. BOX 105066                                                ATLANTA      GA           30348-5066                                      36600
                                                         GROUP                                                                                                                                                                                                                                                                                                                                                                    3660065047
                                                         FOX & HOUND RESTAURANT
      1255 NO COPY             65049          13-13249                            BROCK DAVIS          BIRCH COMMUNICATIONS       PHONE SERVICE AGREEMENT                                                            -   65049          7/19/2013        6/19/2015               P.O. BOX 105066                                                ATLANTA      GA           30348-5066                                      36600
                                                         GROUP                                                                                                                                                                                                                                                                                                                                                                    3660065049
                                                         FOX & HOUND RESTAURANT
      1256 NO COPY             65051          13-13249                            BROCK DAVIS          BIRCH COMMUNICATIONS       PHONE SERVICE AGREEMENT                                                            -   65051          7/19/2013        6/19/2015               P.O. BOX 105066                                                ATLANTA      GA           30348-5066                                      36600
                                                         GROUP                                                                                                                                                                                                                                                                                                                                                                    3660065051
                                                         FOX & HOUND RESTAURANT
      1257 NO COPY             65055          13-13249                            BROCK DAVIS          BIRCH COMMUNICATIONS       PHONE SERVICE AGREEMENT                                                            -   65055          7/19/2013        6/19/2015               P.O. BOX 105066                                                ATLANTA      GA           30348-5066                                      36600
                                                         GROUP                                                                                                                                                                                                                                                                                                                                                                    3660065055
                                                         FOX & HOUND RESTAURANT
      1258 NO COPY             65056          13-13249                            BROCK DAVIS          BIRCH COMMUNICATIONS       PHONE SERVICE AGREEMENT                                                            -   65056          7/19/2013        6/19/2015               P.O. BOX 105066                                                ATLANTA      GA           30348-5066                                      36600
                                                         GROUP                                                                                                                                                                                                                                                                                                                                                                    3660065056
                                                         FOX & HOUND RESTAURANT
      1259 NO COPY             65057          13-13249                            BROCK DAVIS          BIRCH COMMUNICATIONS       PHONE SERVICE AGREEMENT                                                            -   65057          7/19/2013        6/19/2015               P.O. BOX 105066                                                ATLANTA      GA           30348-5066                                      36600
                                                         GROUP                                                                                                                                                                                                                                                                                                                                                                    3660065057
                                                         FOX & HOUND RESTAURANT
      1260 NO COPY             65059          13-13249                            BROCK DAVIS          BIRCH COMMUNICATIONS       PHONE SERVICE AGREEMENT                                                            -   65059          7/19/2013        6/19/2015               P.O. BOX 105066                                                ATLANTA      GA           30348-5066                                      36600
                                                         GROUP                                                                                                                                                                                                                                                                                                                                                                    3660065059
                                                         FOX & HOUND RESTAURANT
      1261 NO COPY             65060          13-13249                            BROCK DAVIS          BIRCH COMMUNICATIONS       PHONE SERVICE AGREEMENT                                                            -   65060          7/19/2013        6/19/2015               P.O. BOX 105066                                                ATLANTA      GA           30348-5066                                      36600
                                                         GROUP                                                                                                                                                                                                                                                                                                                                                                    3660065060
                                                         FOX & HOUND RESTAURANT
      1262 NO COPY             65062          13-13249                            BROCK DAVIS          BIRCH COMMUNICATIONS       PHONE SERVICE AGREEMENT                                                            -   65062          7/19/2013        6/19/2015               P.O. BOX 105066                                                ATLANTA      GA           30348-5066                                      36600
                                                         GROUP                                                                                                                                                                                                                                                                                                                                                                    3660065062
                                                         FOX & HOUND RESTAURANT
      1263 NO COPY             65063          13-13249                            BROCK DAVIS          BIRCH COMMUNICATIONS       PHONE SERVICE AGREEMENT                                                            -   65063          7/19/2013        6/19/2015               P.O. BOX 105066                                                ATLANTA      GA           30348-5066                                      36600
                                                         GROUP                                                                                                                                                                                                                                                                                                                                                                    3660065063
                                                         FOX & HOUND RESTAURANT
      1264 NO COPY             65067          13-13249                            BROCK DAVIS          BIRCH COMMUNICATIONS       PHONE SERVICE AGREEMENT                                                            -   65067          7/19/2013        6/19/2015               P.O. BOX 105066                                                ATLANTA      GA           30348-5066                                      36600
                                                         GROUP                                                                                                                                                                                                                                                                                                                                                                    3660065067
                                                         FOX & HOUND RESTAURANT
      1265 NO COPY             65069          13-13249                            BROCK DAVIS          BIRCH COMMUNICATIONS       PHONE SERVICE AGREEMENT                                                            -   65069          7/19/2013        6/19/2015               P.O. BOX 105066                                                ATLANTA      GA           30348-5066                                      36600
                                                         GROUP                                                                                                                                                                                                                                                                                                                                                                    3660065069
                                                         FOX & HOUND RESTAURANT
      1266 NO COPY             65071          13-13249                            BROCK DAVIS          BIRCH COMMUNICATIONS       PHONE SERVICE AGREEMENT                                                            -   65071          7/19/2013        6/19/2015               P.O. BOX 105066                                                ATLANTA      GA           30348-5066                                      36600
                                                         GROUP                                                                                                                                                                                                                                                                                                                                                                    3660065071
                                                         FOX & HOUND RESTAURANT
      1267 NO COPY             65073          13-13249                            BROCK DAVIS          BIRCH COMMUNICATIONS       PHONE SERVICE AGREEMENT                                                            -   65073          7/19/2013        6/19/2015               P.O. BOX 105066                                                ATLANTA      GA           30348-5066                                      36600
                                                         GROUP                                                                                                                                                                                                                                                                                                                                                                    3660065073
                                                         FOX & HOUND RESTAURANT
      1268 NO COPY             65074          13-13249                            BROCK DAVIS          BIRCH COMMUNICATIONS       PHONE SERVICE AGREEMENT                                                            -   65074          7/19/2013        6/19/2015               P.O. BOX 105066                                                ATLANTA      GA           30348-5066                                      36600
                                                         GROUP                                                                                                                                                                                                                                                                                                                                                                    3660065074
                                                         FOX & HOUND RESTAURANT
      1269 NO COPY             65076          13-13249                            BROCK DAVIS          BIRCH COMMUNICATIONS       PHONE SERVICE AGREEMENT                                                            -   65076          7/19/2013        6/19/2015               P.O. BOX 105066                                                ATLANTA      GA           30348-5066                                      36600
                                                         GROUP                                                                                                                                                                                                                                                                                                                                                                    3660065076
                                                         FOX & HOUND RESTAURANT
      1270 NO COPY             65077          13-13249                            BROCK DAVIS          BIRCH COMMUNICATIONS       PHONE SERVICE AGREEMENT                                                            -   65077          7/19/2013        6/19/2015               P.O. BOX 105066                                                ATLANTA      GA           30348-5066                                      36600
                                                         GROUP                                                                                                                                                                                                                                                                                                                                                                    3660065077
                                                         FOX & HOUND RESTAURANT
      1271 NO COPY             65078          13-13249                            BROCK DAVIS          BIRCH COMMUNICATIONS       PHONE SERVICE AGREEMENT                                                            -   65078          7/19/2013        6/19/2015               P.O. BOX 105066                                                ATLANTA      GA           30348-5066                                      36600
                                                         GROUP                                                                                                                                                                                                                                                                                                                                                                    3660065078
                                                         FOX & HOUND RESTAURANT
      1272 NO COPY             65079          13-13249                            BROCK DAVIS          BIRCH COMMUNICATIONS       PHONE SERVICE AGREEMENT                                                            -   65079          7/19/2013        6/19/2015               P.O. BOX 105066                                                ATLANTA      GA           30348-5066                                      36600
                                                         GROUP                                                                                                                                                                                                                                                                                                                                                                    3660065079
                                                         FOX & HOUND RESTAURANT
      1273 NO COPY             65080          13-13249                            BROCK DAVIS          BIRCH COMMUNICATIONS       PHONE SERVICE AGREEMENT                                                            -   65080          7/19/2013        6/19/2015               P.O. BOX 105066                                                ATLANTA      GA           30348-5066                                      36600
                                                         GROUP                                                                                                                                                                                                                                                                                                                                                                    3660065080
                                                         FOX & HOUND RESTAURANT
      1274 NO COPY             65082          13-13249                            BROCK DAVIS          BIRCH COMMUNICATIONS       PHONE SERVICE AGREEMENT                                                            -   65082          7/19/2013        6/19/2015               P.O. BOX 105066                                                ATLANTA      GA           30348-5066                                      36600
                                                         GROUP                                                                                                                                                                                                                                                                                                                                                                    3660065082




2491306-3                                                                                                                                                                                                                                  2.4(m) - 29
                                                                                                                                                                          Case 13-13220-KG                     Doc 506-1                               Filed 03/17/14                                    Page 324 of 362

     ID     Epiq Contract No   Store Number       Case            Debtor          Responsible Person     Contract Counter Party          Type of Contract          Description of Contract   Assume   Reject   Cure Amount Contract NoDate of Contract
                                                                                                                                                                                                                                                    Termination Date    Attention                 Address 1    Address 2   Address 3   Address 4       City          State        Zip     Country   Email   Phone   Fax      Vendor        A/P code
                                                         FOX & HOUND RESTAURANT
      1275 NO COPY             65083          13-13249                            BROCK DAVIS          BIRCH COMMUNICATIONS       PHONE SERVICE AGREEMENT                                                               -   65083          7/19/2013        6/19/2015               P.O. BOX 105066                                                ATLANTA      GA           30348-5066                                           36600
                                                         GROUP                                                                                                                                                                                                                                                                                                                                                                            3660065083
                                                         FOX & HOUND RESTAURANT
      1276 NO COPY             65084          13-13249                            BROCK DAVIS          BIRCH COMMUNICATIONS       PHONE SERVICE AGREEMENT                                                               -   65084          7/19/2013        6/19/2015               P.O. BOX 105066                                                ATLANTA      GA           30348-5066                                           36600
                                                         GROUP                                                                                                                                                                                                                                                                                                                                                                            3660065084
                                                         FOX & HOUND RESTAURANT
      1277 NO COPY             65086          13-13249                            BROCK DAVIS          BIRCH COMMUNICATIONS       PHONE SERVICE AGREEMENT                                                               -   65086          7/19/2013        6/19/2015               P.O. BOX 105066                                                ATLANTA      GA           30348-5066                                           36600
                                                         GROUP                                                                                                                                                                                                                                                                                                                                                                            3660065086
                                                         FOX & HOUND RESTAURANT
      1278 NO COPY             65087          13-13249                            BROCK DAVIS          BIRCH COMMUNICATIONS       PHONE SERVICE AGREEMENT                                                               -   65087          7/19/2013        6/19/2015               P.O. BOX 105066                                                ATLANTA      GA           30348-5066                                           36600
                                                         GROUP                                                                                                                                                                                                                                                                                                                                                                            3660065087
                                                         FOX & HOUND RESTAURANT
      1279 NO COPY             65088          13-13249                            BROCK DAVIS          BIRCH COMMUNICATIONS       PHONE SERVICE AGREEMENT                                                               -   65088          7/19/2013        6/19/2015               P.O. BOX 105066                                                ATLANTA      GA           30348-5066                                           36600
                                                         GROUP                                                                                                                                                                                                                                                                                                                                                                            3660065088
                                                         FOX & HOUND RESTAURANT
      1280 NO COPY             65089          13-13249                            BROCK DAVIS          BIRCH COMMUNICATIONS       PHONE SERVICE AGREEMENT                                                               -   65089          7/19/2013        6/19/2015               P.O. BOX 105066                                                ATLANTA      GA           30348-5066                                           36600
                                                         GROUP                                                                                                                                                                                                                                                                                                                                                                            3660065089
                                                         FOX & HOUND RESTAURANT
      1281 NO COPY             65092          13-13249                            BROCK DAVIS          BIRCH COMMUNICATIONS       PHONE SERVICE AGREEMENT                                                               -   65092          7/19/2013        6/19/2015               P.O. BOX 105066                                                ATLANTA      GA           30348-5066                                           36600
                                                         GROUP                                                                                                                                                                                                                                                                                                                                                                            3660065092
                                                         FOX & HOUND RESTAURANT
      1282 NO COPY             65093          13-13249                            BROCK DAVIS          BIRCH COMMUNICATIONS       PHONE SERVICE AGREEMENT                                                               -   65093          7/19/2013        6/19/2015               P.O. BOX 105066                                                ATLANTA      GA           30348-5066                                           36600
                                                         GROUP                                                                                                                                                                                                                                                                                                                                                                            3660065093
                                                         FOX & HOUND RESTAURANT
      1283 NO COPY             65094          13-13249                            BROCK DAVIS          BIRCH COMMUNICATIONS       PHONE SERVICE AGREEMENT                                                               -   65094          7/19/2013        6/19/2015               P.O. BOX 105066                                                ATLANTA      GA           30348-5066                                           36600
                                                         GROUP                                                                                                                                                                                                                                                                                                                                                                            3660065094
                                                         FOX & HOUND RESTAURANT
      1284 NO COPY             65095          13-13249                            BROCK DAVIS          BIRCH COMMUNICATIONS       PHONE SERVICE AGREEMENT                                                               -   65095          7/19/2013        6/19/2015               P.O. BOX 105066                                                ATLANTA      GA           30348-5066                                           36600
                                                         GROUP                                                                                                                                                                                                                                                                                                                                                                            3660065095
                                                         FOX & HOUND RESTAURANT
      1285 NO COPY             65201          13-13249                            BROCK DAVIS          BIRCH COMMUNICATIONS       PHONE SERVICE AGREEMENT                                                               -   65201          7/19/2013        6/19/2015               P.O. BOX 105066                                                ATLANTA      GA           30348-5066                                           36600
                                                         GROUP                                                                                                                                                                                                                                                                                                                                                                            3660065201
                                                         FOX & HOUND RESTAURANT
      1286 NO COPY             65204          13-13249                            BROCK DAVIS          BIRCH COMMUNICATIONS       PHONE SERVICE AGREEMENT                                                               -   65204          7/19/2013        6/19/2015               P.O. BOX 105066                                                ATLANTA      GA           30348-5066                                           36600
                                                         GROUP                                                                                                                                                                                                                                                                                                                                                                            3660065204
                                                         FOX & HOUND RESTAURANT
      1287 NO COPY             65205          13-13249                            BROCK DAVIS          BIRCH COMMUNICATIONS       PHONE SERVICE AGREEMENT                                                               -   65205          7/19/2013        6/19/2015               P.O. BOX 105066                                                ATLANTA      GA           30348-5066                                           36600
                                                         GROUP                                                                                                                                                                                                                                                                                                                                                                            3660065205
                                                         FOX & HOUND RESTAURANT
      1288 NO COPY             65209          13-13249                            BROCK DAVIS          BIRCH COMMUNICATIONS       PHONE SERVICE AGREEMENT                                                               -   65209          7/19/2013        6/19/2015               P.O. BOX 105066                                                ATLANTA      GA           30348-5066                                           36600
                                                         GROUP                                                                                                                                                                                                                                                                                                                                                                            3660065209
                                                         FOX & HOUND RESTAURANT
      1289 NO COPY             65210          13-13249                            BROCK DAVIS          BIRCH COMMUNICATIONS       PHONE SERVICE AGREEMENT                                                               -   65210          7/19/2013        6/19/2015               P.O. BOX 105066                                                ATLANTA      GA           30348-5066                                           36600
                                                         GROUP                                                                                                                                                                                                                                                                                                                                                                            3660065210
                                                         FOX & HOUND RESTAURANT
      1290 NO COPY             65211          13-13249                            BROCK DAVIS          BIRCH COMMUNICATIONS       PHONE SERVICE AGREEMENT                                                               -   65211          7/19/2013        6/19/2015               P.O. BOX 105066                                                ATLANTA      GA           30348-5066                                           36600
                                                         GROUP                                                                                                                                                                                                                                                                                                                                                                            3660065211
                                                         FOX & HOUND RESTAURANT
      1291 NO COPY             65212          13-13249                            BROCK DAVIS          BIRCH COMMUNICATIONS       PHONE SERVICE AGREEMENT                                                               -   65212          7/19/2013        6/19/2015               P.O. BOX 105066                                                ATLANTA      GA           30348-5066                                           36600
                                                         GROUP                                                                                                                                                                                                                                                                                                                                                                            3660065212
                                                         FOX & HOUND RESTAURANT
      1292 NO COPY             65213          13-13249                            BROCK DAVIS          BIRCH COMMUNICATIONS       PHONE SERVICE AGREEMENT                                                               -   65213          7/19/2013        6/19/2015               P.O. BOX 105066                                                ATLANTA      GA           30348-5066                                           36600
                                                         GROUP                                                                                                                                                                                                                                                                                                                                                                            3660065213
                                                         FOX & HOUND RESTAURANT
      1293 NO COPY             65215          13-13249                            BROCK DAVIS          BIRCH COMMUNICATIONS       PHONE SERVICE AGREEMENT                                                               -   65215          7/19/2013        6/19/2015               P.O. BOX 105066                                                ATLANTA      GA           30348-5066                                           36600
                                                         GROUP                                                                                                                                                                                                                                                                                                                                                                            3660065215
                                                         FOX & HOUND RESTAURANT
      1294 NO COPY             65217          13-13249                            BROCK DAVIS          BIRCH COMMUNICATIONS       PHONE SERVICE AGREEMENT                                                               -   65217          7/19/2013        6/19/2015               P.O. BOX 105066                                                ATLANTA      GA           30348-5066                                           36600
                                                         GROUP                                                                                                                                                                                                                                                                                                                                                                            3660065217
                                                         FOX & HOUND RESTAURANT
      1295 NO COPY             65218          13-13249                            BROCK DAVIS          BIRCH COMMUNICATIONS       PHONE SERVICE AGREEMENT                                                               -   65218          7/19/2013        6/19/2015               P.O. BOX 105066                                                ATLANTA      GA           30348-5066                                           36600
                                                         GROUP                                                                                                                                                                                                                                                                                                                                                                            3660065218
                                                         FOX & HOUND RESTAURANT
      1296 NO COPY             65219          13-13249                            BROCK DAVIS          BIRCH COMMUNICATIONS       PHONE SERVICE AGREEMENT                                                               -   65219          7/19/2013        6/19/2015               P.O. BOX 105066                                                ATLANTA      GA           30348-5066                                           36600
                                                         GROUP                                                                                                                                                                                                                                                                                                                                                                            3660065219
                                                         FOX & HOUND RESTAURANT
      1297 NO COPY             65220          13-13249                            BROCK DAVIS          BIRCH COMMUNICATIONS       PHONE SERVICE AGREEMENT                                                               -   65220          7/19/2013        6/19/2015               P.O. BOX 105066                                                ATLANTA      GA           30348-5066                                           36600
                                                         GROUP                                                                                                                                                                                                                                                                                                                                                                            3660065220
                                                         FOX & HOUND RESTAURANT
      1298 NO COPY             65221          13-13249                            BROCK DAVIS          BIRCH COMMUNICATIONS       PHONE SERVICE AGREEMENT                                                               -   65221          7/19/2013        6/19/2015               P.O. BOX 105066                                                ATLANTA      GA           30348-5066                                           36600
                                                         GROUP                                                                                                                                                                                                                                                                                                                                                                            3660065221
                                                         FOX & HOUND RESTAURANT
      1299 NO COPY             65224          13-13249                            BROCK DAVIS          BIRCH COMMUNICATIONS       PHONE SERVICE AGREEMENT                                                               -   65224          7/19/2013        6/19/2015               P.O. BOX 105066                                                ATLANTA      GA           30348-5066                                           36600
                                                         GROUP                                                                                                                                                                                                                                                                                                                                                                            3660065224
                                                         FOX & HOUND RESTAURANT
      1300 NO COPY             65225          13-13249                            BROCK DAVIS          BIRCH COMMUNICATIONS       PHONE SERVICE AGREEMENT                                                               -   65225          7/19/2013        6/19/2015               P.O. BOX 105066                                                ATLANTA      GA           30348-5066                                           36600
                                                         GROUP                                                                                                                                                                                                                                                                                                                                                                            3660065225
                                                         FOX & HOUND RESTAURANT
      1301 NO COPY             65226          13-13249                            BROCK DAVIS          BIRCH COMMUNICATIONS       PHONE SERVICE AGREEMENT                                                               -   65226          7/19/2013        6/19/2015               P.O. BOX 105066                                                ATLANTA      GA           30348-5066                                           36600
                                                         GROUP                                                                                                                                                                                                                                                                                                                                                                            3660065226
                                                         FOX & HOUND RESTAURANT
      1302 NO COPY             65229          13-13249                            BROCK DAVIS          BIRCH COMMUNICATIONS       PHONE SERVICE AGREEMENT                                                               -   65229          7/19/2013        6/19/2015               P.O. BOX 105066                                                ATLANTA      GA           30348-5066                                           36600
                                                         GROUP                                                                                                                                                                                                                                                                                                                                                                            3660065229
                                                         FOX & HOUND RESTAURANT
      1303 NO COPY             65230          13-13249                            BROCK DAVIS          BIRCH COMMUNICATIONS       PHONE SERVICE AGREEMENT                                                               -   65230          7/19/2013        6/19/2015               P.O. BOX 105066                                                ATLANTA      GA           30348-5066                                           36600
                                                         GROUP                                                                                                                                                                                                                                                                                                                                                                            3660065230
                                                         FOX & HOUND RESTAURANT
      1304 NO COPY             65231          13-13249                            BROCK DAVIS          BIRCH COMMUNICATIONS       PHONE SERVICE AGREEMENT                                                               -   65231          7/19/2013        6/19/2015               P.O. BOX 105066                                                ATLANTA      GA           30348-5066                                           36600
                                                         GROUP                                                                                                                                                                                                                                                                                                                                                                            3660065231
                                                         FOX & HOUND RESTAURANT
      1305 NO COPY             65232          13-13249                            BROCK DAVIS          BIRCH COMMUNICATIONS       PHONE SERVICE AGREEMENT                                                               -   65232          7/19/2013        6/19/2015               P.O. BOX 105066                                                ATLANTA      GA           30348-5066                                           36600
                                                         GROUP                                                                                                                                                                                                                                                                                                                                                                            3660065232
                                                         FOX & HOUND RESTAURANT
      1306 NO COPY             65233          13-13249                            BROCK DAVIS          BIRCH COMMUNICATIONS       PHONE SERVICE AGREEMENT                                                               -   65233          7/19/2013        6/19/2015               P.O. BOX 105066                                                ATLANTA      GA           30348-5066                                           36600
                                                         GROUP                                                                                                                                                                                                                                                                                                                                                                            3660065233
                                                         FOX & HOUND RESTAURANT
      1307 NO COPY             65234          13-13249                            BROCK DAVIS          BIRCH COMMUNICATIONS       PHONE SERVICE AGREEMENT                                                               -   65234          7/19/2013        6/19/2015               P.O. BOX 105066                                                ATLANTA      GA           30348-5066                                           36600
                                                         GROUP                                                                                                                                                                                                                                                                                                                                                                            3660065234
                                                         FOX & HOUND RESTAURANT
      1308 NO COPY             65235          13-13249                            BROCK DAVIS          BIRCH COMMUNICATIONS       PHONE SERVICE AGREEMENT                                                               -   65235          7/19/2013        6/19/2015               P.O. BOX 105066                                                ATLANTA      GA           30348-5066                                           36600
                                                         GROUP                                                                                                                                                                                                                                                                                                                                                                            3660065235
                                                         FOX & HOUND RESTAURANT
      1309 NO COPY             65237          13-13249                            BROCK DAVIS          BIRCH COMMUNICATIONS       PHONE SERVICE AGREEMENT                                                               -   65237          7/19/2013        6/19/2015               P.O. BOX 105066                                                ATLANTA      GA           30348-5066                                           36600
                                                         GROUP                                                                                                                                                                                                                                                                                                                                                                            3660065237
                                                         FOX & HOUND RESTAURANT
      1310 NO COPY             65240          13-13249                            BROCK DAVIS          BIRCH COMMUNICATIONS       PHONE SERVICE AGREEMENT                                                               -   65240          7/19/2013        6/19/2015               P.O. BOX 105066                                                ATLANTA      GA           30348-5066                                           36600
                                                         GROUP                                                                                                                                                                                                                                                                                                                                                                            3660065240
                                                         FOX & HOUND RESTAURANT
      1311 NO COPY             65241          13-13249                            BROCK DAVIS          BIRCH COMMUNICATIONS       PHONE SERVICE AGREEMENT                                                               -   65241          7/19/2013        6/19/2015               P.O. BOX 105066                                                ATLANTA      GA           30348-5066                                           36600
                                                         GROUP                                                                                                                                                                                                                                                                                                                                                                            3660065241
                                                         FOX & HOUND RESTAURANT
      1312 NO COPY             65242          13-13249                            BROCK DAVIS          BIRCH COMMUNICATIONS       PHONE SERVICE AGREEMENT                                                               -   65242          7/19/2013        6/19/2015               P.O. BOX 105066                                                ATLANTA      GA           30348-5066                                           36600
                                                         GROUP                                                                                                                                                                                                                                                                                                                                                                            3660065242
                                                         FOX & HOUND RESTAURANT
      1313 NO COPY             65243          13-13249                            BROCK DAVIS          BIRCH COMMUNICATIONS       PHONE SERVICE AGREEMENT                                                               -   65243          7/19/2013        6/19/2015               P.O. BOX 105066                                                ATLANTA      GA           30348-5066                                           36600
                                                         GROUP                                                                                                                                                                                                                                                                                                                                                                            3660065243
                                                         FOX & HOUND RESTAURANT
      1314 NO COPY             65245          13-13249                            BROCK DAVIS          BIRCH COMMUNICATIONS       PHONE SERVICE AGREEMENT                                                               -   65245          7/19/2013        6/19/2015               P.O. BOX 105066                                                ATLANTA      GA           30348-5066                                           36600
                                                         GROUP                                                                                                                                                                                                                                                                                                                                                                            3660065245
                                                         FOX & HOUND RESTAURANT
      1315 NO COPY             65246          13-13249                            BROCK DAVIS          BIRCH COMMUNICATIONS       PHONE SERVICE AGREEMENT                                                               -   65246          7/19/2013        6/19/2015               P.O. BOX 105066                                                ATLANTA      GA           30348-5066                                           36600
                                                         GROUP                                                                                                                                                                                                                                                                                                                                                                            3660065246
                                                         FOX & HOUND RESTAURANT
      1316 NO COPY             65250          13-13249                            BROCK DAVIS          BIRCH COMMUNICATIONS       PHONE SERVICE AGREEMENT                                                               -   65250          7/19/2013        6/19/2015               P.O. BOX 105066                                                ATLANTA      GA           30348-5066                                           36600
                                                         GROUP                                                                                                                                                                                                                                                                                                                                                                            3660065250
                                                         FOX & HOUND RESTAURANT
      1317 NO COPY             65252          13-13249                            BROCK DAVIS          BIRCH COMMUNICATIONS       PHONE SERVICE AGREEMENT                                                               -   65252          7/19/2013        6/19/2015               P.O. BOX 105066                                                ATLANTA      GA           30348-5066                                           36600
                                                         GROUP                                                                                                                                                                                                                                                                                                                                                                            3660065252
                                                         FOX & HOUND RESTAURANT
      1318 NO COPY             65253          13-13249                            BROCK DAVIS          BIRCH COMMUNICATIONS       PHONE SERVICE AGREEMENT                                                               -   65253          7/19/2013        6/19/2015               P.O. BOX 105066                                                ATLANTA      GA           30348-5066                                           36600
                                                         GROUP                                                                                                                                                                                                                                                                                                                                                                            3660065253
                                                         FOX & HOUND RESTAURANT
      1319 NO COPY             65254          13-13249                            BROCK DAVIS          BIRCH COMMUNICATIONS       PHONE SERVICE AGREEMENT                                                               -   65254          7/19/2013        6/19/2015               P.O. BOX 105066                                                ATLANTA      GA           30348-5066                                           36600
                                                         GROUP                                                                                                                                                                                                                                                                                                                                                                            3660065254
                                                                                                                                  CABLE AND INTERNET          TV AND INTERNET W/CABLE
      1320 NO COPY             65007          13-13250   FOX & HOUND              BROCK DAVIS          COMCAST                                                                                                      453.98 65007           9/24/2013        9/24/2015               P.O. BOX 105184                                                ATLANTA      GA           30348-5184                                   04603
                                                                                                                                  AGREEMENT                   MODEM                                                                                                                                                                                                                                                                        460365007
      1321 NO COPY             65002          13-13250   FOX & HOUND              BROCK DAVIS          AT&T                       ADSL AGREEMENT              INTERNET W/DSL MODEM                                   37.00 65002           9/10/2013        9/10/2014               P.O. BOX 105262                                                ATLANTA      GA           30348-5262                                   06715            671565002
      1322 NO COPY             65013          13-13250   FOX & HOUND              BROCK DAVIS          AT&T                       ADSL AGREEMENT              INTERNET W/DSL MODEM                                   28.30 65013            9/7/2011         9/7/2014               P.O. BOX 105262                                                ATLANTA      GA           30348-5262                                   06715            671565013
      1323 NO COPY             65093          13-13250   FOX & HOUND              BROCK DAVIS          AT&T                       INTERNET SERVICES AGREEMENT INTERNET W/DSL MODEM                                  123.07 65093            4/1/2013         4/1/2014               P.O. BOX 105262                                                ATLANTA      GA           30348-5262                                   06715
                                                                                                                                                                                                                                                                                                                                                                                                                                           671565093
                                                         FOX & HOUND RESTAURANT
      1324 NO COPY             65047          13-13249                            BROCK DAVIS          AT&T                       INTERNET SERVICES AGREEMENT INTERNET W/DSL MODEM                                  192.03 65047            7/1/2011         7/1/2014               P.O. BOX 105262                                                ATLANTA      GA           30348-5262                                   06715
                                                         GROUP                                                                                                                                                                                                                                                                                                                                                                             671565047
                                                         FOX & HOUND RESTAURANT
      1325 NO COPY             65087          13-13249                            BROCK DAVIS          AT&T                       INTERNET SERVICES AGREEMENT INTERNET W/DSL MODEM                                  242.51 65087            8/1/2012         8/1/2015               P.O. BOX 105262                                                ATLANTA      GA           30348-5262                                   06715
                                                         GROUP                                                                                                                                                                                                                                                                                                                                                                             671565087
      1326 NO COPY             65036          13-13250   FOX & HOUND              BROCK DAVIS          AT&T                       PHONE SERVICE AGREEMENT                                                            67.52 65036           8/11/2013        8/11/2014               P.O. BOX 105414                                                ATLANTA      GA           30348-5414                                   33696           3369665036
      1327 NO COPY             65217          13-13220   F&H ACQUISITION CORP.    BROCK DAVIS          LEVEL3                     INTERNET SERVICES AGREEMENT INTERNET T1 W/CISCO1700                              2,282.25 65217                           2/14/2015               1025 ELDORADO BLVD                                             BROOMFIELD   CO           80021
                                                                                                                                                                                                                                                                                                                                                                                                                                               65217
      1328 NO COPY             65240          13-13220   F&H ACQUISITION CORP.    BROCK DAVIS          LEVEL3                     INTERNET SERVICES AGREEMENT INTERNET T1 W/CISCO1700                                   -   65240                           3/11/2015               1025 ELDORADO BLVD                                             BROOMFIELD   CO           80021
                                                                                                                                                                                                                                                                                                                                                                                                                                               65240




2491306-3                                                                                                                                                                                                                                     2.4(m) - 30
                                                                                                                                                                             Case 13-13220-KG                        Doc 506-1                              Filed 03/17/14                                         Page 325 of 362

     ID     Epiq Contract No   Store Number       Case            Debtor           Responsible Person     Contract Counter Party          Type of Contract             Description of Contract     Assume   Reject   Cure Amount Contract NoDate of Contract
                                                                                                                                                                                                                                                          Termination Date Attention                        Address 1    Address 2   Address 3   Address 4          City        State        Zip     Country   Email   Phone   Fax      Vendor        A/P code
                                                         FOX & HOUND RESTAURANT                                                                                  FIXED WIRELESS INTERNET W/CISCO                                                                          STEVE
      1329 NO COPY             65030          13-13249                             BROCK DAVIS          CANNET                     INTERNET SERVICES AGREEMENT                                                             276.90                                                          7600 WILL ROGERS BLVD                                             FT WORTH      TX           76140                                        33260
                                                         GROUP                                                                                                   AIRONET                                                                                                  FERGUSON                                                                                                                                                                   3326065030
                                                                                                                                                                                                                                                                                                                                                             CAROL
      1330 NO COPY             65070          13-13259   BAILEY'S PUB N'GRILLE     BROCK DAVIS          AT&T                       PHONE SERVICE AGREEMENT                                                                    -   65070         8/27/2013         8/27/2014                P.O. BOX 5080                                                                   IL           60197-5080
                                                                                                                                                                                                                                                                                                                                                             STREAM                                                                                       65070
                                                                                                                                                                                                                                                                                                                                                             CAROL
      1331 NO COPY             65216          13-13227   CHAMPPS                   BROCK DAVIS          AT&T                       PHONE SERVICE AGREEMENT                                                                443.64 65216           4/9/2013          4/9/2014                P.O. BOX 5080                                                                   IL           60197-5080                                   34113
                                                                                                                                                                                                                                                                                                                                                             STREAM                                                                                  3411365216
                                                                                                                                   CABLE AND INTERNET            TV AND INTERNET W/CABLE
      1332 NO COPY             65077          13-13259   FOX & HOUND PUB & GRILL   BROCK DAVIS          TIME WARNER                                                                                                           -   65077         8/12/2013         8/12/2014                P.O. BOX 77159                                                    CHARLOTTE     NC           28271-7169
                                                                                                                                   AGREEMENT                     MODEM                                                                                                                                                                                                                                                               30406           3040665077
                                                         CHAMPPS RESTAURANT &                                                      CABLE AND INTERNET            TV AND INTERNET W/CABLE
      1333 NO COPY             65248          13-13227                             BROCK DAVIS          TIME WARNER                                                                                                           -   65248         4/23/2012         4/23/2014                P.O. BOX 77169                                                    CHARLOTTE     NC           28271-7169
                                                         BAR                                                                       AGREEMENT                     MODEM                                                                                                                                                                                                                                                               30406           3040665248
                                                         CHAMPPS OPERATING
      1334 NO COPY             65253          13-13227                             BROCK DAVIS          ENVYSION                   VIDEO RECORDING AGREEMENT VIDEO RECORDER AND CAMERAS                                   243.80 65253          5/11/2011                                  REMITTANCE DRIVE STE 6207                                         CHICAGO       IL           60675-6207                                           34016
                                                         CORPORATION                                                                                                                                                                                                                                                                                                                                                                                 3401665253
                                                         CHAMPPS OPERATING
      1335 NO COPY             65225          13-13227                             BROCK DAVIS          ENVYSION                   VIDEO RECORDING AGREEMENT VIDEO RECORDER AND CAMERAS                                   251.02 65225          5/11/2011                                  REMITTANCE DRIVE STE 6207                                         CHICAGO       IL           60675-6207                                           34016
                                                         CORPORATION                                                                                                                                                                                                                                                                                                                                                                                 3401665225
                                                         CHAMPPS OPERATING
      1336 NO COPY             65254          13-13227                             BROCK DAVIS          ENVYSION                   VIDEO RECORDING AGREEMENT VIDEO RECORDER AND CAMERAS                                   124.02 65254          5/11/2011                                  REMITTANCE DRIVE STE 6207                                         CHICAGO       IL           60675-6207                                           34016
                                                         CORPORATION                                                                                                                                                                                                                                                                                                                                                                               3401665254
      1337 NO COPY             65244          13-13227   CHAMPPS                   BROCK DAVIS          CINCINNATTI BELL           PHONE SERVICE AGREEMENT                                                                 11.78 65244           6/9/2013          6/9/2014                P.O. BOX 748003                                                   CINCINNATI    OH           45274-8003                                           10263 1026365244
      1338 NO COPY             65211          13-13227   CHAMPPS AMERICANA         BROCK DAVIS          TIME WARNER                INTERNET SERVICES AGREEMENT INTERNET W/CABLE MODEM                                      13.46 65211         11/29/2011        11/29/2014                1600 DUBLIN ROAD                                                  COLUMBUS      OH           43215                                        17117
                                                                                                                                                                                                                                                                                                                                                                                                                                                     1711765211
                                                                                                                                   CABLE AND INTERNET            TV AND INTERNET W/CABLE
      1339 NO COPY             65213          13-13250   FOX & HOUND               BROCK DAVIS          COMCAST                                                                                                           409.33 65213          8/30/2013         8/30/2015 CHADD WOOD     6565 NOVA DRIVE                                                   DAVIE         FL           33317-7423                                   36742
                                                                                                                                   AGREEMENT                     MODEM                                                                                                                                                                                                                                                                               3674265213
                                                         FOX & HOUND RESTAURANT                                                                                  AWARDS DINNER FOR GM
      1340 NO COPY             CORPORATE      13-13249                             MARC BUEHLER         HARD ROCK CAFÉ             BANQUET EVENT                                                                              -                                               LEAH TRASK   3771 LAS VEGAS BLVD SOUTH                                         LAS VEGAS     NV           89109
                                                         GROUP                                                                                                   CONFERENCE                                                                                                                                                                                                                                                                           #VALUE!
                                                         FOX & HOUND RESTAURANT                                                                                  HOTEL/MEETING SPACE FOR GM                                                                                   MICHAEL
      1341 NO COPY             CORPORATE      13-13249                             MARC BUEHLER         HARD ROCK HOTEL & CASINO GROUP SALES AGREEMENT                                                                        -                                                            4455 PARADISE ROAD                                                LAS VEGAS     NV           89169
                                                         GROUP                                                                                                   CONFERENCE                                                                                                   PUNCHIOS                                                                                                                                                                #VALUE!
                                                         FOX & HOUND OF ILLINOIS                                                   CABLE AND INTERNET            TV AND INTERNET W/CABLE
      1342 NO COPY             65060          13-13236                             BROCK DAVIS          COMCAST                                                                                                               -   65060         6/20/2013         6/20/2016 JIM KOWALSKI   2508 W. ROUTE 120                                                 MCHENRY       IL           60051-4712
                                                         INC                                                                       AGREEMENT                     MODEM                                                                                                                                                                                                                                                                                    65060
                                                         FOX & HOUND OF ILLINOIS                                                   CABLE AND INTERNET            TV AND INTERNET W/CABLE
      1343 NO COPY             65055          13-13236                             BROCK DAVIS          COMCAST                                                                                                           206.65 65055          6/20/2013         6/20/2016 JIM KOWALSKI   2508 W. ROUTE 120                                                 MCHENRY       IL           60051-4712                                   06694
                                                         INC                                                                       AGREEMENT                     MODEM                                                                                                                                                                                                                                                                                669465055
                                                         CHAMPPS OPERATING
      1344 NO COPY             65222          13-13227                             KEVIN O'HARE         ELITE LANDSCAPE GROUP      SNOW REMOVAL AGREEMENT                                                                     -   65222          1/1/2014         4/30/2014                P.O. BOX 3936                                                     NAPERVILLE    IL           60567                                                32549
                                                         CORPORATION                                                                                                                                                                                                                                                                                                                                                                                 3254965222
                                                         CHAMPPS OPERATING
      1345 NO COPY             65215          13-13227                             KEVIN O'HARE         ELITE LANDSCAPE GROUP      SNOW REMOVAL AGREEMENT                                                                     -   65215          1/1/2014         4/30/2014                P.O. BOX 3936                                                     NAPERVILLE    IL           60567                                                32549
                                                         CORPORATION                                                                                                                                                                                                                                                                                                                                                                                 3254965215
                                                                                                                                   CABLE AND INTERNET            TV AND INTERNET W/CABLE
      1346 NO COPY             65041          13-13259   BAILEY'S SPORTS GRILLE    BROCK DAVIS          COMCAST                                                                                                           742.88 65041          8/22/2013         8/22/2015 CHADD WOOD     P.O. BOX 140400                                                   NASHVILLE     TN           37214-0400                                   00375
                                                                                                                                   AGREEMENT                     MODEM                                                                                                                                                                                                                                                                                 37565041
                                                         CHAMPPS OPERATING
      1347 NO COPY             65241          13-13227                             BROCK DAVIS          COX COMMUNICATIONS         INTERNET SERVICES AGREEMENT INTERNET W/CABLE MODEM                                     104.99 65241          6/24/2013         6/24/2014                P.O. BOX 1259                                                     OAKS          PA           19456                                        36433
                                                         CORPORATION                                                                                                                                                                                                                                                                                                                                                                                 3643365241
                                                                                                                                                                 PHONE, TV, AND INTERNET
      1348 NO COPY             65075          13-13250   FOX & HOUND               BROCK DAVIS          COX COMMUNICATIONS         PHONE, CABLE, INTERNET                                                                  19.56 65075          2/28/2013         2/28/2016                P.O. BOX 1259                                                     OAKS          PA           19456                                        36108
                                                                                                                                                                 W/CABLE MODEM                                                                                                                                                                                                                                                                       3610865075
                                                         FOX & HOUND RESTAURANT                                                    CABLE AND INTERNET            TV AND INTERNET W/CABLE
      1349 NO COPY             65032          13-13249                             BROCK DAVIS          COX COMMUNICATIONS                                                                                                    -   65032          8/1/2013          8/1/2014                P.O. BOX 1259                                                     OAKS          PA           19456                                        36108
                                                         GROUP                                                                     AGREEMENT                     MODEM                                                                                                                                                                                                                                                                               3610865032
                                                                                                                                   CABLE AND INTERNET            TV AND INTERNET W/CABLE
      1350 NO COPY             65224          13-13250   FOX & HOUND               BROCK DAVIS          COMCAST                                                                                                               -   65224         9/27/2013         9/27/2015                41112 CONCEPT DRIVE                                               PLYMOUTH      MI           48170-4253
                                                                                                                                   AGREEMENT                     MODEM                                                                                                                                                                                                                                                                                    65224
      1351 NO COPY             65225          13-13227   CHAMPPS AMERICANA         BROCK DAVIS          COMCAST                    INTERNET SERVICES AGREEMENT INTERNET W/CABLE MODEM                                         -   65225         2/25/2009         2/25/2014                9602 S 300 W. STE B                                               SANDY         UT           84070-3302
                                                                                                                                                                                                                                                                                                                                                                                                                                                          65225
                                                         FOX & HOUND RESTAURANT
      1352 NO COPY             65002          13-13249                             BROCK DAVIS          SCREENCAST                 VIDEO STREAMING SERVICE       VIDEO PLAYING PC                                             -   65002        10/17/2011        10/17/2014                3411 THORNDYKE AVENUE WEST                                        SEATTLE       WA           98119
                                                         GROUP                                                                                                                                                                                                                                                                                                                                                                                            65002
                                                         FOX & HOUND RESTAURANT
      1353 NO COPY             65003          13-13249                             BROCK DAVIS          SCREENCAST                 VIDEO STREAMING SERVICE       VIDEO PLAYING PC                                             -   65003        10/17/2011        10/17/2014                3411 THORNDYKE AVENUE WEST                                        SEATTLE       WA           98119
                                                         GROUP                                                                                                                                                                                                                                                                                                                                                                                            65003
                                                         FOX & HOUND RESTAURANT
      1354 NO COPY             65004          13-13249                             BROCK DAVIS          SCREENCAST                 VIDEO STREAMING SERVICE       VIDEO PLAYING PC                                             -   65004        10/17/2011        10/17/2014                3411 THORNDYKE AVENUE WEST                                        SEATTLE       WA           98119
                                                         GROUP                                                                                                                                                                                                                                                                                                                                                                                            65004
                                                         FOX & HOUND RESTAURANT
      1355 NO COPY             65005          13-13249                             BROCK DAVIS          SCREENCAST                 VIDEO STREAMING SERVICE       VIDEO PLAYING PC                                             -   65005        10/17/2011        10/17/2014                3411 THORNDYKE AVENUE WEST                                        SEATTLE       WA           98119
                                                         GROUP                                                                                                                                                                                                                                                                                                                                                                                            65005
                                                         FOX & HOUND RESTAURANT
      1356 NO COPY             65006          13-13249                             BROCK DAVIS          SCREENCAST                 VIDEO STREAMING SERVICE       VIDEO PLAYING PC                                             -   65006        10/17/2011        10/17/2014                3411 THORNDYKE AVENUE WEST                                        SEATTLE       WA           98119
                                                         GROUP                                                                                                                                                                                                                                                                                                                                                                                            65006
                                                         FOX & HOUND RESTAURANT
      1357 NO COPY             65007          13-13249                             BROCK DAVIS          SCREENCAST                 VIDEO STREAMING SERVICE       VIDEO PLAYING PC                                             -   65007        10/17/2011        10/17/2014                3411 THORNDYKE AVENUE WEST                                        SEATTLE       WA           98119
                                                         GROUP                                                                                                                                                                                                                                                                                                                                                                                            65007
                                                         FOX & HOUND RESTAURANT
      1358 NO COPY             65008          13-13249                             BROCK DAVIS          SCREENCAST                 VIDEO STREAMING SERVICE       VIDEO PLAYING PC                                             -   65008        10/17/2011        10/17/2014                3411 THORNDYKE AVENUE WEST                                        SEATTLE       WA           98119
                                                         GROUP                                                                                                                                                                                                                                                                                                                                                                                            65008
                                                         FOX & HOUND RESTAURANT
      1359 NO COPY             65009          13-13249                             BROCK DAVIS          SCREENCAST                 VIDEO STREAMING SERVICE       VIDEO PLAYING PC                                             -   65009        10/17/2011        10/17/2014                3411 THORNDYKE AVENUE WEST                                        SEATTLE       WA           98119
                                                         GROUP                                                                                                                                                                                                                                                                                                                                                                                            65009
                                                         FOX & HOUND RESTAURANT
      1360 NO COPY             65010          13-13249                             BROCK DAVIS          SCREENCAST                 VIDEO STREAMING SERVICE       VIDEO PLAYING PC                                             -   65010        10/17/2011        10/17/2014                3411 THORNDYKE AVENUE WEST                                        SEATTLE       WA           98119
                                                         GROUP                                                                                                                                                                                                                                                                                                                                                                                            65010
                                                         FOX & HOUND RESTAURANT
      1361 NO COPY             65013          13-13249                             BROCK DAVIS          SCREENCAST                 VIDEO STREAMING SERVICE       VIDEO PLAYING PC                                             -   65013        10/17/2011        10/17/2014                3411 THORNDYKE AVENUE WEST                                        SEATTLE       WA           98119
                                                         GROUP                                                                                                                                                                                                                                                                                                                                                                                            65013
                                                         FOX & HOUND RESTAURANT
      1362 NO COPY             65014          13-13249                             BROCK DAVIS          SCREENCAST                 VIDEO STREAMING SERVICE       VIDEO PLAYING PC                                             -   65014        10/17/2011        10/17/2014                3411 THORNDYKE AVENUE WEST                                        SEATTLE       WA           98119
                                                         GROUP                                                                                                                                                                                                                                                                                                                                                                                            65014
                                                         FOX & HOUND RESTAURANT
      1363 NO COPY             65015          13-13249                             BROCK DAVIS          SCREENCAST                 VIDEO STREAMING SERVICE       VIDEO PLAYING PC                                             -   65015        10/17/2011        10/17/2014                3411 THORNDYKE AVENUE WEST                                        SEATTLE       WA           98119
                                                         GROUP                                                                                                                                                                                                                                                                                                                                                                                            65015
                                                         FOX & HOUND RESTAURANT
      1364 NO COPY             65016          13-13249                             BROCK DAVIS          SCREENCAST                 VIDEO STREAMING SERVICE       VIDEO PLAYING PC                                             -   65016        10/17/2011        10/17/2014                3411 THORNDYKE AVENUE WEST                                        SEATTLE       WA           98119
                                                         GROUP                                                                                                                                                                                                                                                                                                                                                                                            65016
                                                         FOX & HOUND RESTAURANT
      1365 NO COPY             65018          13-13249                             BROCK DAVIS          SCREENCAST                 VIDEO STREAMING SERVICE       VIDEO PLAYING PC                                             -   65018        10/17/2011        10/17/2014                3411 THORNDYKE AVENUE WEST                                        SEATTLE       WA           98119
                                                         GROUP                                                                                                                                                                                                                                                                                                                                                                                            65018
                                                         FOX & HOUND RESTAURANT
      1366 NO COPY             65022          13-13249                             BROCK DAVIS          SCREENCAST                 VIDEO STREAMING SERVICE       VIDEO PLAYING PC                                             -   65022        10/17/2011        10/17/2014                3411 THORNDYKE AVENUE WEST                                        SEATTLE       WA           98119
                                                         GROUP                                                                                                                                                                                                                                                                                                                                                                                            65022
                                                         FOX & HOUND RESTAURANT
      1367 NO COPY             65023          13-13249                             BROCK DAVIS          SCREENCAST                 VIDEO STREAMING SERVICE       VIDEO PLAYING PC                                             -   65023        10/17/2011        10/17/2014                3411 THORNDYKE AVENUE WEST                                        SEATTLE       WA           98119
                                                         GROUP                                                                                                                                                                                                                                                                                                                                                                                            65023
                                                         FOX & HOUND RESTAURANT
      1368 NO COPY             65025          13-13249                             BROCK DAVIS          SCREENCAST                 VIDEO STREAMING SERVICE       VIDEO PLAYING PC                                             -   65025        10/17/2011        10/17/2014                3411 THORNDYKE AVENUE WEST                                        SEATTLE       WA           98119
                                                         GROUP                                                                                                                                                                                                                                                                                                                                                                                            65025
                                                         FOX & HOUND RESTAURANT
      1369 NO COPY             65027          13-13249                             BROCK DAVIS          SCREENCAST                 VIDEO STREAMING SERVICE       VIDEO PLAYING PC                                             -   65027        10/17/2011        10/17/2014                3411 THORNDYKE AVENUE WEST                                        SEATTLE       WA           98119
                                                         GROUP                                                                                                                                                                                                                                                                                                                                                                                            65027
                                                         FOX & HOUND RESTAURANT
      1370 NO COPY             65028          13-13249                             BROCK DAVIS          SCREENCAST                 VIDEO STREAMING SERVICE       VIDEO PLAYING PC                                             -   65028        10/17/2011        10/17/2014                3411 THORNDYKE AVENUE WEST                                        SEATTLE       WA           98119
                                                         GROUP                                                                                                                                                                                                                                                                                                                                                                                            65028
                                                         FOX & HOUND RESTAURANT
      1371 NO COPY             65029          13-13249                             BROCK DAVIS          SCREENCAST                 VIDEO STREAMING SERVICE       VIDEO PLAYING PC                                             -   65029        10/17/2011        10/17/2014                3411 THORNDYKE AVENUE WEST                                        SEATTLE       WA           98119
                                                         GROUP                                                                                                                                                                                                                                                                                                                                                                                            65029
                                                         FOX & HOUND RESTAURANT
      1372 NO COPY             65030          13-13249                             BROCK DAVIS          SCREENCAST                 VIDEO STREAMING SERVICE       VIDEO PLAYING PC                                             -   65030        10/17/2011        10/17/2014                3411 THORNDYKE AVENUE WEST                                        SEATTLE       WA           98119
                                                         GROUP                                                                                                                                                                                                                                                                                                                                                                                            65030
                                                         FOX & HOUND RESTAURANT
      1373 NO COPY             65031          13-13249                             BROCK DAVIS          SCREENCAST                 VIDEO STREAMING SERVICE       VIDEO PLAYING PC                                             -   65031        10/17/2011        10/17/2014                3411 THORNDYKE AVENUE WEST                                        SEATTLE       WA           98119
                                                         GROUP                                                                                                                                                                                                                                                                                                                                                                                            65031
                                                         FOX & HOUND RESTAURANT
      1374 NO COPY             65032          13-13249                             BROCK DAVIS          SCREENCAST                 VIDEO STREAMING SERVICE       VIDEO PLAYING PC                                             -   65032        10/17/2011        10/17/2014                3411 THORNDYKE AVENUE WEST                                        SEATTLE       WA           98119
                                                         GROUP                                                                                                                                                                                                                                                                                                                                                                                            65032
                                                         FOX & HOUND RESTAURANT
      1375 NO COPY             65033          13-13249                             BROCK DAVIS          SCREENCAST                 VIDEO STREAMING SERVICE       VIDEO PLAYING PC                                             -   65033        10/17/2011        10/17/2014                3411 THORNDYKE AVENUE WEST                                        SEATTLE       WA           98119
                                                         GROUP                                                                                                                                                                                                                                                                                                                                                                                            65033
                                                         FOX & HOUND RESTAURANT
      1376 NO COPY             65034          13-13249                             BROCK DAVIS          SCREENCAST                 VIDEO STREAMING SERVICE       VIDEO PLAYING PC                                             -   65034        10/17/2011        10/17/2014                3411 THORNDYKE AVENUE WEST                                        SEATTLE       WA           98119
                                                         GROUP                                                                                                                                                                                                                                                                                                                                                                                            65034
                                                         FOX & HOUND RESTAURANT
      1377 NO COPY             65035          13-13249                             BROCK DAVIS          SCREENCAST                 VIDEO STREAMING SERVICE       VIDEO PLAYING PC                                             -   65035        10/17/2011        10/17/2014                3411 THORNDYKE AVENUE WEST                                        SEATTLE       WA           98119
                                                         GROUP                                                                                                                                                                                                                                                                                                                                                                                            65035
                                                         FOX & HOUND RESTAURANT
      1378 NO COPY             65036          13-13249                             BROCK DAVIS          SCREENCAST                 VIDEO STREAMING SERVICE       VIDEO PLAYING PC                                             -   65036        10/17/2011        10/17/2014                3411 THORNDYKE AVENUE WEST                                        SEATTLE       WA           98119
                                                         GROUP                                                                                                                                                                                                                                                                                                                                                                                            65036
                                                         FOX & HOUND RESTAURANT
      1379 NO COPY             65038          13-13249                             BROCK DAVIS          SCREENCAST                 VIDEO STREAMING SERVICE       VIDEO PLAYING PC                                             -   65038        10/17/2011        10/17/2014                3411 THORNDYKE AVENUE WEST                                        SEATTLE       WA           98119
                                                         GROUP                                                                                                                                                                                                                                                                                                                                                                                            65038
                                                         FOX & HOUND RESTAURANT
      1380 NO COPY             65039          13-13249                             BROCK DAVIS          SCREENCAST                 VIDEO STREAMING SERVICE       VIDEO PLAYING PC                                             -   65039        10/17/2011        10/17/2014                3411 THORNDYKE AVENUE WEST                                        SEATTLE       WA           98119
                                                         GROUP                                                                                                                                                                                                                                                                                                                                                                                            65039
                                                         FOX & HOUND RESTAURANT
      1381 NO COPY             65041          13-13249                             BROCK DAVIS          SCREENCAST                 VIDEO STREAMING SERVICE       VIDEO PLAYING PC                                             -   65041        10/17/2011        10/17/2014                3411 THORNDYKE AVENUE WEST                                        SEATTLE       WA           98119
                                                         GROUP                                                                                                                                                                                                                                                                                                                                                                                            65041




2491306-3                                                                                                                                                                                                                                          2.4(m) - 31
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     ID     Epiq Contract No   Store Number       Case             Debtor          Responsible Person      Contract Counter Party          Type of Contract          Description of Contract   Assume   Reject   Cure Amount Contract NoDate of Contract
                                                                                                                                                                                                                                                      Termination Date      Attention                  Address 1               Address 2   Address 3   Address 4          City        State       Zip   Country   Email   Phone   Fax      Vendor    A/P code
                                                         FOX & HOUND RESTAURANT
      1382 NO COPY             65042          13-13249                             BROCK DAVIS          SCREENCAST                  VIDEO STREAMING SERVICE     VIDEO PLAYING PC                                          -     65042       10/17/2011        10/17/2014                3411 THORNDYKE AVENUE WEST                                                 SEATTLE       WA           98119
                                                         GROUP                                                                                                                                                                                                                                                                                                                                                                                           65042
                                                         FOX & HOUND RESTAURANT
      1383 NO COPY             65043          13-13249                             BROCK DAVIS          SCREENCAST                  VIDEO STREAMING SERVICE     VIDEO PLAYING PC                                          -     65043       10/17/2011        10/17/2014                3411 THORNDYKE AVENUE WEST                                                 SEATTLE       WA           98119
                                                         GROUP                                                                                                                                                                                                                                                                                                                                                                                           65043
                                                         FOX & HOUND RESTAURANT
      1384 NO COPY             65047          13-13249                             BROCK DAVIS          SCREENCAST                  VIDEO STREAMING SERVICE     VIDEO PLAYING PC                                          -     65047       10/17/2011        10/17/2014                3411 THORNDYKE AVENUE WEST                                                 SEATTLE       WA           98119
                                                         GROUP                                                                                                                                                                                                                                                                                                                                                                                           65047
                                                         FOX & HOUND RESTAURANT
      1385 NO COPY             65049          13-13249                             BROCK DAVIS          SCREENCAST                  VIDEO STREAMING SERVICE     VIDEO PLAYING PC                                          -     65049       10/17/2011        10/17/2014                3411 THORNDYKE AVENUE WEST                                                 SEATTLE       WA           98119
                                                         GROUP                                                                                                                                                                                                                                                                                                                                                                                           65049
                                                         FOX & HOUND RESTAURANT
      1386 NO COPY             65051          13-13249                             BROCK DAVIS          SCREENCAST                  VIDEO STREAMING SERVICE     VIDEO PLAYING PC                                          -     65051       10/17/2011        10/17/2014                3411 THORNDYKE AVENUE WEST                                                 SEATTLE       WA           98119
                                                         GROUP                                                                                                                                                                                                                                                                                                                                                                                           65051
                                                         FOX & HOUND RESTAURANT
      1387 NO COPY             65052          13-13249                             BROCK DAVIS          SCREENCAST                  VIDEO STREAMING SERVICE     VIDEO PLAYING PC                                          -     65052       10/17/2011        10/17/2014                3411 THORNDYKE AVENUE WEST                                                 SEATTLE       WA           98119
                                                         GROUP                                                                                                                                                                                                                                                                                                                                                                                           65052
                                                         FOX & HOUND RESTAURANT
      1388 NO COPY             65055          13-13249                             BROCK DAVIS          SCREENCAST                  VIDEO STREAMING SERVICE     VIDEO PLAYING PC                                          -     65055       10/17/2011        10/17/2014                3411 THORNDYKE AVENUE WEST                                                 SEATTLE       WA           98119
                                                         GROUP                                                                                                                                                                                                                                                                                                                                                                                           65055
                                                         FOX & HOUND RESTAURANT
      1389 NO COPY             65056          13-13249                             BROCK DAVIS          SCREENCAST                  VIDEO STREAMING SERVICE     VIDEO PLAYING PC                                          -     65056       10/17/2011        10/17/2014                3411 THORNDYKE AVENUE WEST                                                 SEATTLE       WA           98119
                                                         GROUP                                                                                                                                                                                                                                                                                                                                                                                           65056
                                                         FOX & HOUND RESTAURANT
      1390 NO COPY             65057          13-13249                             BROCK DAVIS          SCREENCAST                  VIDEO STREAMING SERVICE     VIDEO PLAYING PC                                          -     65057       10/17/2011        10/17/2014                3411 THORNDYKE AVENUE WEST                                                 SEATTLE       WA           98119
                                                         GROUP                                                                                                                                                                                                                                                                                                                                                                                           65057
                                                         FOX & HOUND RESTAURANT
      1391 NO COPY             65059          13-13249                             BROCK DAVIS          SCREENCAST                  VIDEO STREAMING SERVICE     VIDEO PLAYING PC                                          -     65059       10/17/2011        10/17/2014                3411 THORNDYKE AVENUE WEST                                                 SEATTLE       WA           98119
                                                         GROUP                                                                                                                                                                                                                                                                                                                                                                                           65059
                                                         FOX & HOUND RESTAURANT
      1392 NO COPY             65060          13-13249                             BROCK DAVIS          SCREENCAST                  VIDEO STREAMING SERVICE     VIDEO PLAYING PC                                          -     65060       10/17/2011        10/17/2014                3411 THORNDYKE AVENUE WEST                                                 SEATTLE       WA           98119
                                                         GROUP                                                                                                                                                                                                                                                                                                                                                                                           65060
                                                         FOX & HOUND RESTAURANT
      1393 NO COPY             65061          13-13249                             BROCK DAVIS          SCREENCAST                  VIDEO STREAMING SERVICE     VIDEO PLAYING PC                                          -     65061       10/17/2011        10/17/2014                3411 THORNDYKE AVENUE WEST                                                 SEATTLE       WA           98119
                                                         GROUP                                                                                                                                                                                                                                                                                                                                                                                           65061
                                                         FOX & HOUND RESTAURANT
      1394 NO COPY             65062          13-13249                             BROCK DAVIS          SCREENCAST                  VIDEO STREAMING SERVICE     VIDEO PLAYING PC                                          -     65062       10/17/2011        10/17/2014                3411 THORNDYKE AVENUE WEST                                                 SEATTLE       WA           98119
                                                         GROUP                                                                                                                                                                                                                                                                                                                                                                                           65062
                                                         FOX & HOUND RESTAURANT
      1395 NO COPY             65063          13-13249                             BROCK DAVIS          SCREENCAST                  VIDEO STREAMING SERVICE     VIDEO PLAYING PC                                          -     65063       10/17/2011        10/17/2014                3411 THORNDYKE AVENUE WEST                                                 SEATTLE       WA           98119
                                                         GROUP                                                                                                                                                                                                                                                                                                                                                                                           65063
                                                         FOX & HOUND RESTAURANT
      1396 NO COPY             65064          13-13249                             BROCK DAVIS          SCREENCAST                  VIDEO STREAMING SERVICE     VIDEO PLAYING PC                                          -     65064       10/17/2011        10/17/2014                3411 THORNDYKE AVENUE WEST                                                 SEATTLE       WA           98119
                                                         GROUP                                                                                                                                                                                                                                                                                                                                                                                           65064
                                                         FOX & HOUND RESTAURANT
      1397 NO COPY             65066          13-13249                             BROCK DAVIS          SCREENCAST                  VIDEO STREAMING SERVICE     VIDEO PLAYING PC                                          -     65066       10/17/2011        10/17/2014                3411 THORNDYKE AVENUE WEST                                                 SEATTLE       WA           98119
                                                         GROUP                                                                                                                                                                                                                                                                                                                                                                                           65066
                                                         FOX & HOUND RESTAURANT
      1398 NO COPY             65067          13-13249                             BROCK DAVIS          SCREENCAST                  VIDEO STREAMING SERVICE     VIDEO PLAYING PC                                          -     65067       10/17/2011        10/17/2014                3411 THORNDYKE AVENUE WEST                                                 SEATTLE       WA           98119
                                                         GROUP                                                                                                                                                                                                                                                                                                                                                                                           65067
                                                         FOX & HOUND RESTAURANT
      1399 NO COPY             65069          13-13249                             BROCK DAVIS          SCREENCAST                  VIDEO STREAMING SERVICE     VIDEO PLAYING PC                                          -     65069       10/17/2011        10/17/2014                3411 THORNDYKE AVENUE WEST                                                 SEATTLE       WA           98119
                                                         GROUP                                                                                                                                                                                                                                                                                                                                                                                           65069
                                                         FOX & HOUND RESTAURANT
      1400 NO COPY             65070          13-13249                             BROCK DAVIS          SCREENCAST                  VIDEO STREAMING SERVICE     VIDEO PLAYING PC                                          -     65070       10/17/2011        10/17/2014                3411 THORNDYKE AVENUE WEST                                                 SEATTLE       WA           98119
                                                         GROUP                                                                                                                                                                                                                                                                                                                                                                                           65070
                                                         FOX & HOUND RESTAURANT
      1401 NO COPY             65071          13-13249                             BROCK DAVIS          SCREENCAST                  VIDEO STREAMING SERVICE     VIDEO PLAYING PC                                          -     65071       10/17/2011        10/17/2014                3411 THORNDYKE AVENUE WEST                                                 SEATTLE       WA           98119
                                                         GROUP                                                                                                                                                                                                                                                                                                                                                                                           65071
                                                         FOX & HOUND RESTAURANT
      1402 NO COPY             65073          13-13249                             BROCK DAVIS          SCREENCAST                  VIDEO STREAMING SERVICE     VIDEO PLAYING PC                                          -     65073       10/17/2011        10/17/2014                3411 THORNDYKE AVENUE WEST                                                 SEATTLE       WA           98119
                                                         GROUP                                                                                                                                                                                                                                                                                                                                                                                           65073
                                                         FOX & HOUND RESTAURANT
      1403 NO COPY             65074          13-13249                             BROCK DAVIS          SCREENCAST                  VIDEO STREAMING SERVICE     VIDEO PLAYING PC                                          -     65074       10/17/2011        10/17/2014                3411 THORNDYKE AVENUE WEST                                                 SEATTLE       WA           98119
                                                         GROUP                                                                                                                                                                                                                                                                                                                                                                                           65074
                                                         FOX & HOUND RESTAURANT
      1404 NO COPY             65075          13-13249                             BROCK DAVIS          SCREENCAST                  VIDEO STREAMING SERVICE     VIDEO PLAYING PC                                          -     65075       10/17/2011        10/17/2014                3411 THORNDYKE AVENUE WEST                                                 SEATTLE       WA           98119
                                                         GROUP                                                                                                                                                                                                                                                                                                                                                                                           65075
                                                         FOX & HOUND RESTAURANT
      1405 NO COPY             65076          13-13249                             BROCK DAVIS          SCREENCAST                  VIDEO STREAMING SERVICE     VIDEO PLAYING PC                                          -     65076       10/17/2011        10/17/2014                3411 THORNDYKE AVENUE WEST                                                 SEATTLE       WA           98119
                                                         GROUP                                                                                                                                                                                                                                                                                                                                                                                           65076
                                                         FOX & HOUND RESTAURANT
      1406 NO COPY             65077          13-13249                             BROCK DAVIS          SCREENCAST                  VIDEO STREAMING SERVICE     VIDEO PLAYING PC                                          -     65077       10/17/2011        10/17/2014                3411 THORNDYKE AVENUE WEST                                                 SEATTLE       WA           98119
                                                         GROUP                                                                                                                                                                                                                                                                                                                                                                                           65077
                                                         FOX & HOUND RESTAURANT
      1407 NO COPY             65079          13-13249                             BROCK DAVIS          SCREENCAST                  VIDEO STREAMING SERVICE     VIDEO PLAYING PC                                          -     65079       10/17/2011        10/17/2014                3411 THORNDYKE AVENUE WEST                                                 SEATTLE       WA           98119
                                                         GROUP                                                                                                                                                                                                                                                                                                                                                                                           65079
                                                         FOX & HOUND RESTAURANT
      1408 NO COPY             65080          13-13249                             BROCK DAVIS          SCREENCAST                  VIDEO STREAMING SERVICE     VIDEO PLAYING PC                                          -     65080       10/17/2011        10/17/2014                3411 THORNDYKE AVENUE WEST                                                 SEATTLE       WA           98119
                                                         GROUP                                                                                                                                                                                                                                                                                                                                                                                           65080
                                                         FOX & HOUND RESTAURANT
      1409 NO COPY             65082          13-13249                             BROCK DAVIS          SCREENCAST                  VIDEO STREAMING SERVICE     VIDEO PLAYING PC                                          -     65082       10/17/2011        10/17/2014                3411 THORNDYKE AVENUE WEST                                                 SEATTLE       WA           98119
                                                         GROUP                                                                                                                                                                                                                                                                                                                                                                                           65082
                                                         FOX & HOUND RESTAURANT
      1410 NO COPY             65083          13-13249                             BROCK DAVIS          SCREENCAST                  VIDEO STREAMING SERVICE     VIDEO PLAYING PC                                          -     65083       10/17/2011        10/17/2014                3411 THORNDYKE AVENUE WEST                                                 SEATTLE       WA           98119
                                                         GROUP                                                                                                                                                                                                                                                                                                                                                                                           65083
                                                         FOX & HOUND RESTAURANT
      1411 NO COPY             65087          13-13249                             BROCK DAVIS          SCREENCAST                  VIDEO STREAMING SERVICE     VIDEO PLAYING PC                                          -     65087       10/17/2011        10/17/2014                3411 THORNDYKE AVENUE WEST                                                 SEATTLE       WA           98119
                                                         GROUP                                                                                                                                                                                                                                                                                                                                                                                           65087
                                                         FOX & HOUND RESTAURANT
      1412 NO COPY             65088          13-13249                             BROCK DAVIS          SCREENCAST                  VIDEO STREAMING SERVICE     VIDEO PLAYING PC                                          -     65088       10/17/2011        10/17/2014                3411 THORNDYKE AVENUE WEST                                                 SEATTLE       WA           98119
                                                         GROUP                                                                                                                                                                                                                                                                                                                                                                                           65088
                                                         FOX & HOUND RESTAURANT
      1413 NO COPY             65089          13-13249                             BROCK DAVIS          SCREENCAST                  VIDEO STREAMING SERVICE     VIDEO PLAYING PC                                          -     65089       10/17/2011        10/17/2014                3411 THORNDYKE AVENUE WEST                                                 SEATTLE       WA           98119
                                                         GROUP                                                                                                                                                                                                                                                                                                                                                                                           65089
                                                         FOX & HOUND RESTAURANT
      1414 NO COPY             65091          13-13249                             BROCK DAVIS          SCREENCAST                  VIDEO STREAMING SERVICE     VIDEO PLAYING PC                                          -     65091       10/17/2011        10/17/2014                3411 THORNDYKE AVENUE WEST                                                 SEATTLE       WA           98119
                                                         GROUP                                                                                                                                                                                                                                                                                                                                                                                           65091
                                                         FOX & HOUND RESTAURANT
      1415 NO COPY             65092          13-13249                             BROCK DAVIS          SCREENCAST                  VIDEO STREAMING SERVICE     VIDEO PLAYING PC                                          -     65092       10/17/2011        10/17/2014                3411 THORNDYKE AVENUE WEST                                                 SEATTLE       WA           98119
                                                         GROUP                                                                                                                                                                                                                                                                                                                                                                                           65092
                                                         FOX & HOUND RESTAURANT
      1416 NO COPY             65093          13-13249                             BROCK DAVIS          SCREENCAST                  VIDEO STREAMING SERVICE     VIDEO PLAYING PC                                          -     65093       10/17/2011        10/17/2014                3411 THORNDYKE AVENUE WEST                                                 SEATTLE       WA           98119
                                                         GROUP                                                                                                                                                                                                                                                                                                                                                                                           65093
                                                         FOX & HOUND RESTAURANT
      1417 NO COPY             65095          13-13249                             BROCK DAVIS          SCREENCAST                  VIDEO STREAMING SERVICE     VIDEO PLAYING PC                                          -     65095       10/17/2011        10/17/2014                3411 THORNDYKE AVENUE WEST                                                 SEATTLE       WA           98119
                                                         GROUP                                                                                                                                                                                                                                                                                                                                                                                           65095
                                                         TENT RESTAURANT
      1418 NO COPY             65041          13-13259                             KIM FOWLES           NUCO2, LLC                  NITROGEN GENERATOR & CO2    NITROGEN GENERATOR AND CO2                            394.27 65041          12/30/2013        12/30/2016                2800 SE MARKET PLACE                                                       STUART        FL           34997                                     00844
                                                         OPERATIONS, INC.                                                                                                                                                                                                                                                                                                                                                                             84465041
                                                                                                        JD LAWN CARE LANDSCAPING
                                                         CHAMPPS OPERATING
      1419 NO COPY             65250          13-13227                             KEVIN O'HARE         AND SNOW REMOVAL         SNOW REMOVAL AGREEMENT                                                                   -     65250       12/20/2013         3/31/2014                P.O. BOX 309                                                               WAYNE         IL           60184
                                                         CORPORATION
                                                                                                        SERVICES                                                                                                                                                                                                                                                                                                                                         65250
                                                         FOX & HOUND RESTAURANT                                                                                                                                                 WICHITA
      1420 NO COPY                     65901 13-13249                              BROCK DAVIS          AT&T                        INTERNET SERVICES AGREEMENT FIBER CONNECTION                                     2,431.78                1/29/2013         1/29/2015 JERRY PUTTER   154 N BROADWAY STREET                                                      WICHITA       KS           67202                                     36605
                                                         GROUP                                                                                                                                                                  OFFICE                                                                                                                                                                                                              3660565901
                                                                                                        WOLERINE PACKING
      1421 NO COPY             CORPORATE      13-13220   F&H ACQUISITION CORP.     JEFF BURRUS                                      SUPPLY AGREEMENT            SUPPLY AGREEMENT                                          -                 12/27/2013        12/31/2014                C/O MIKE CROWE                     2535 RIVARD                             DETROIT       MI           48207
                                                                                                        COMPANY                                                                                                                                                                                                                                                                                                                                      #VALUE!
                                                         FOX & HOUND OF
      1422 NO COPY             65049          13-13235                             GREG WALDO           ECOLAB                      DISHWASHING MACHINE         DISHMACHINE FOR 65049                                 339.34 65049          12/30/2013        12/30/2014                370 N. WABASHA STREET                                                      ST. PAUL      MN           55102                                     00471
                                                         COLORADO, INC.                                                                                                                                                                                                                                                                                                                                                                               47165049
                                                         FOX & HOUND OF INDIANA,
      1423 NO COPY             65079          13-13237                             GREG WALDO           ECOLAB                      DISHWASHING MACHINE         DISHMACHINE FOR 65079                                 352.78 65079          12/20/2013        12/30/2014                370 N. WABASHA STREET                                                      ST. PAUL      MN           55102                                     00471
                                                         INC.                                                                                                                                                                                                                                                                                                                                                                                         47165079
                                                         FOX & HOUND OF INDIANA,                                                                                                                                                                                                                                                                                   CHATTANOOG
      1424 NO COPY             65079          13-13237                             KIM FOWLES           CINTAS                      SERVICE AGREEMENT           LINEN SERVICE AGREEMENT                                   -                  1/10/2014         1/10/2015                2131 POLYMER DRIVE, SUITE 2131-A                                                      TN              37421
                                                         INC.                                                                                                                                                                                                                                                                                                      A                                                                                     65079
                                                                                                                                                                OUTSOURCING SERVICES
      1425 NO COPY             CORPORATE      13-13220   F&H ACQUISITION CORP.     KIM FOWLES           INFOSYNC SERVICES, LLC      SERVICE AGREEMENT                                                                     -                 10/28/2008                                  1938 N WOODLAWN ST                                                         WICHITA       KS           67208
                                                                                                                                                                AGREEMENT                                                                                                                                                                                                                                                                            #VALUE!
                                                         FOX & HOUND OF ARIZONA,                                                                                INTERNET WITH CABLE MODEM
      1426 NO COPY             65050          13-13234                             KIM FOWLES           COX COMMUNICATIONS          SERVICE AGREEMENT                                                                     -                  8/14/2013         8/14/2016                PO BOX 1259                                                                OAKS          PA           19456                                     36108
                                                         INC.                                                                                                   SERVICE                                                                                                                                                                                                                                                                             3610865050
                                                         FOX & HOUND OF INDIANA,
      1427 NO COPY             65079          13-13237                             DAVID HUYETT         ECOLAB                      SERVICE AGREEMENT           DISHMACHINE CONTRACT                                      -                 12/20/2013        12/20/2014                2221 NEWMARKET PKWY, STE 142                                               MARIETTA      GA           30067
                                                         INC.                                                                                                                                                                                                                                                                                                                                                                                            65079
                                                         FOX & HOUND OF
      1428 NO COPY             65049          13-13235                             DAVID HUYETT         ECOLAB                      SERVICE AGREEMENT           DISHMACHINE CONTRACT                                      -                 12/20/2013        12/20/2014                2221 NEWMARKET PKWY, STE 142                                               MARIETTA      GA           30067
                                                         COLORADO, INC.                                                                                                                                                                                                                                                                                                                                                                                  65049
                                                         TENT RESTAURANT
      1429 NO COPY             65030          13-13259                             KIM FOWLES           MORGAN SERVICES, INC.       SERVICE AGREEMENT           LINEN SERVICE AGREEMENT                                   -                                                             2013 COLUMBUS RD                                                           CLEVELAND     OH           44113
                                                         OPERATIONS, INC.                                                                                                                                                                                                                                                                                                                                                                                65030
                                                         F & H RESTAURANTS OF                                                       MANAGEMENT AND                                                                                                                                      1551 N WATERFRONT PARKWAY, SUITE
      1430 NO COPY             65008/65608    13-13233                             KIM FOWLES           FOX & HOUND CLUB                                                                                                  -                                                                                                                                        WICHITA       KS           67206
                                                         TEXAS, INC.                                                                CONCESSION AGREEMENT                                                                                                                                310                                                                                                                                                          #VALUE!
                                                         F & H RESTAURANTS OF                                                       MANAGEMENT AND                                                                                                                                      1551 N WATERFRONT PARKWAY, SUITE
      1431 NO COPY             65022/65622    13-13233                             KIM FOWLES           JACKSON BEVERAGE CORP.                                                                                                                                                                                                                                     WICHITA       KS           67206
                                                         TEXAS, INC.                                                                CONCESSION AGREEMENT                                                                                                                                310                                                                                                                                                          #VALUE!
                                                         F & H RESTAURANTS OF                                                       MANAGEMENT AND                                                                                                                                      1551 N WATERFRONT PARKWAY, SUITE
      1432 NO COPY             65025/65625    13-13233                             KIM FOWLES           RAIDER BEVERAGE CORP.                                                                                                                                                                                                                                      WICHITA       KS           67206
                                                         TEXAS, INC.                                                                CONCESSION AGREEMENT                                                                                                                                310                                                                                                                                                          #VALUE!
                                                         F & H RESTAURANTS OF                                                       MANAGEMENT AND                                                                                                                                      1551 N WATERFRONT PARKWAY, SUITE
      1433 NO COPY             65036/65636    13-13233                             KIM FOWLES           ROCKET BEVERAGE CORP.                                                                                                                                                                                                                                      WICHITA       KS           67206
                                                         TEXAS, INC.                                                                CONCESSION AGREEMENT                                                                                                                                310                                                                                                                                                          #VALUE!




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     ID       Epiq Contract No    Store Number         Case                   Debtor              Responsible Person      Contract Counter Party         Type of Contract        Description of Contract     Assume                Reject              Cure Amount Contract NoDate of Contract
                                                                                                                                                                                                                                                                                            Termination Date   Attention                Address 1               Address 2   Address 3   Address 4        City        State       Zip   Country      Email               Phone        Fax       Vendor   A/P code
                                                                  F & H RESTAURANTS OF                                                             MANAGEMENT AND                                                                                                                                                          1551 N WATERFRONT PARKWAY, SUITE
      1434 NO COPY                65042/65642     13-13233                                       KIM FOWLES            BRYANT BEVERAGE CORP.                                                                                                                      -                                                                                                                                 WICHITA     KS           67206
                                                                  TEXAS, INC.                                                                      CONCESSION AGREEMENT                                                                                                                                                    310                                                                                                                                                                          #VALUE!
                                                                  F & H RESTAURANTS OF                                 DOWNTOWN BEVERAGE           MANAGEMENT AND                                                                                                                                                          1551 N WATERFRONT PARKWAY, SUITE
      1435 NO COPY                65043/65643     13-13233                                       KIM FOWLES                                                                                                                                                       -                                                                                                                                 WICHITA     KS           67206
                                                                  TEXAS, INC.                                          CORP.                       CONCESSION AGREEMENT                                                                                                                                                    310                                                                                                                                                                          #VALUE!
                                                                  F & H RESTAURANTS OF                                                             MANAGEMENT AND                                                                                                                                                          1551 N WATERFRONT PARKWAY, SUITE
      1436 NO COPY                65052/65652     13-13233                                       KIM FOWLES            CAMPBELL BEVERAGE CORP                                                                                                                     -                                                                                                                                 WICHITA     KS           67206
                                                                  TEXAS, INC.                                                                      CONCESSION AGREEMENT                                                                                                                                                    310                                                                                                                                                                          #VALUE!
                                                                  F & H RESTAURANTS OF                                                             MANAGEMENT AND                                                                                                                                                          1551 N WATERFRONT PARKWAY, SUITE
      1437 NO COPY                65056/65656     13-13233                                       KIM FOWLES            FUQUA BEVERAGE CORP.                                                                                                                       -                                                                                                                                 WICHITA     KS           67206
                                                                  TEXAS, INC.                                                                      CONCESSION AGREEMENT                                                                                                                                                    310                                                                                                                                                                          #VALUE!
                                                                  FOX & HOUND OF NEW                                   SHOPPING CENTER                                      LOCATION: 250 MENLO PARK
                                                  13-13244                                                                                         REAL ESTATE LEASE                                                                                      17,288.93
                                          65073                   JERSEY, INC.                                         ASSOCIATES                                           DRIVE, EDISON, NJ
                                                                                                                       TENANT IN COMMON CO-
                                                                  CHAMPS OPERATING                                                                                          LOCATION: 5835 LANDERBROOK                REJECTED - ORDER 1/8/2014 - DN
                                                  13-13227                                                             OWNERS C/O AEI FUND         REAL ESTATE LEASE                                                                                   Day 1 reject
                                                                  CORPORATION                                                                                               DRIVE, LYNDHURST, OH                      141
                                          65210                                                                        MANAGEMENT, INC.                                                                                                                                                                                                                                                                                                                                                                                0
                                                                                                                       TENANT IN COMMON CO-
                                                                  CHAMPS OPERATING                                                                                          LOCATION: 161 CAMPUS VIEW                                                                                                                      1300 WELLS FARGO PLACE 30 EAST 7TH                                                                                    BSCHULZ@AEI
                                                  13-13227                                                             OWNERS C/O AEI FUND         REAL ESTATE LEASE                                                                                      32,142.88                                                                                                                                 ST. PAUL    MN           55101                           651-227-7333       651-227-7705
                                                                  CORPORATION                                                                                               BOULEVARD E, COLUMBUS, OH                                                                                                                      STREET                                                                                                                FUNDS.COM
                                          65211                                                                        MANAGEMENT, INC.
                                                                                                                       TENANT IN COMMON CO-
                                                                  CHAMPS OPERATING                                                                                          LOCATION: 955 E. GOLF ROAD,                                                                                                                    1300 WELLS FARGO PLACE 30 EAST 7TH                                                                                    BSCHULZ@AEI
                                                  13-13227                                                             OWNERS C/O AEI FUND         REAL ESTATE LEASE                                                                                      58,510.80                                                                                                                                 ST. PAUL    MN           55101                           651-227-7333       651-227-7705
                                                                  CORPORATION                                                                                               SCHAUMBURG, IL                                                                                                                                 STREET                                                                                                                FUNDS.COM
                                          65215                                                                        MANAGEMENT, INC.
                                                                                                                       TENANT IN COMMON CO-
                                                                  CHAMPS OPERATING                                                                                          LOCATION: 301 W. BIG BEAVER                                                                                                                    1300 WELLS FARGO PLACE 30 EAST 7TH                                                                                    BSCHULZ@AEI
                                                  13-13227                                                             OWNERS C/O AEI FUND         REAL ESTATE LEASE                                                                                      13,082.19                                                                                                                                 ST. PAUL    MN           55101                           651-227-7333       651-227-7705
                                                                  CORPORATION                                                                                               ROAD, TROY, MI                                                                                                                                 STREET                                                                                                                FUNDS.COM
                                          65217                                                                        MANAGEMENT, INC.
                                                                                                                       TENANT IN COMMON CO-
                                                                  CHAMPS OPERATING                                                                                          LOCATION: 3993 MORSE                                                                                                                           1300 WELLS FARGO PLACE 30 EAST 7TH                                                                                    BSCHULZ@AEI
                                                  13-13227                                                             OWNERS C/O AEI FUND         REAL ESTATE LEASE                                                                                      49,719.99                                                                                                                                 ST. PAUL    MN           55101                           651-227-7333       651-227-7705                       x
                                                                  CORPORATION                                                                                               CROSSING, COLUMBUS, OH                                                                                                                         STREET                                                                                                                FUNDS.COM
                                          65218                                                                        MANAGEMENT, INC.
                                                                                                                       TENANT IN COMMON CO-
                                                                  CHAMPS OPERATING                                                                                          LOCATION: 7880 WASHINGTON                                                                                                                      1300 WELLS FARGO PLACE 30 EAST 7TH                                                                                    BSCHULZ@AEI
                                                  13-13227                                                             OWNERS C/O AEI FUND         REAL ESTATE LEASE                                                                                      23,462.05                                                                                                                                 ST. PAUL    MN           55101                           651-227-7333       651-227-7705
                                                                  CORPORATION                                                                                               VILLAGE DRIVE, CENTERVILLE, OH                                                                                                                 STREET                                                                                                                FUNDS.COM
                                          65220                                                                        MANAGEMENT, INC.
                                                                  CHAMPS OPERATING                                     AG/ARC PLAZA AMERICA                                 LOCATION: 11694 PLAZA AMERICA             REJECTED - ORDER 1/8/2014 - DN
                                                  13-13227                                                                                         REAL ESTATE LEASE                                                                                   Day 1 reject
                                          65207                   CORPORATION                                          RETAIL OWNER, LLC                                    DRIVE, RESTON, VA                         141
                                                                  CHAMPS OPERATING                                                                                          LOCATION: 5989 CANAL STREET,              REJECTED - ORDER 1/8/2014 - DN
                                                  13-13227                                                             CAII, LLC                   REAL ESTATE LEASE                                                                                   Day 1 reject
                                          65237                   CORPORATION                                                                                               VALLEY VIEW, OH                           141
                                                                                                                                                                            LOCATION: 330 N. TRYON,                   REJECTED - ORDER 1/8/2014 - DN
                                                  13-13259        TENT REST. OPERATIONS                                MACPHER, L.L.C.             REAL ESTATE LEASE                                                                                   Day 1 reject
                                          65045                                                                                                                             CHARLOTTE, NC                             141

*Cure Amounts for the Contracts and Real Property Leases listed in paragraphs 31.d and 31.e of the Sale Order are not yet determined.




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                                             Schedule 3.1

                                           Wind Down Budget (1)


    ($ thousands)

       503(b)(9), PACA and Mechanic lien claims (2)         $     3,162
       Wind down officer                                    $      125
       Trustee fees                                                 30
       Professional fees
           Company counsel                                         250
           UCC Advisors (3)                                        300
           Epiq                                                     75
       Accounting / tax                                             50
       Other                                                        65
       Unsecured Settlement                                        500
                                                            Amount to be determined
       WARN Act liability
                                                            pursuant to Section 3.1(c)

    Notes:
    (1) Any unused funds in the Wind Down Budget shall be remitted to Buyer to reduce the outstanding
    principal balance of the First Lien Term A Obligations, if any
    (2) Amounts for 503b9, PACA and Mechanics lien claims are collectively capped at the amount listed
    above and shall be reduced to the extent paid following the date hereof and prior to the Closing
    (3) Total UCC legal and financial advisors' fees, costs and expenses, plus the reimbursement of
    individual creditors’ committee members, drawn under the DIP and allowed for under the Wind Down
    Budget are not to exceed $500 in the aggregate




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                                      Schedule 3.1(c)

                               Estimated WARN Act Liabilities
As of January 15, 2014


  Store #       Store name     # e/ees     Liability
     65204   Marlton                 46      239,183
     65212   Lennox                  50      229,669
     65213   Ft. Lauderdale          45      214,883
     65216   Livonia                 47      214,368
     65217   Troy                    45      185,679
     65219   Las Colinas             62      298,550
     65221   Houston                 48      214,427
     65225   Eden Prairie            49      234,396
     65231   Columbia                45      170,389
     65248   Rochester               51      258,627
             Total                  488    2,260,172




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                                                         Schedule 5.2

                                                         No Conflicts

5.2 (a) Refers to any lien upon the purchased assets or conflict resulting from the execution and delivery
of the APA or Seller Documents, the consummation of the transactions, or compliance by Seller with any
of the provisions

                    None

5.2 (b) Consents, waivers, approvals, Orders, Permits or authorizations or notifications to any person or
governmental body required by the Seller1

                   Real Estate Leases- All real estate leases as set forth on Schedule 1.1(a).
                   Permits – All permits and licenses required to operate the restaurants set forth in Schedule 1.1(a).


                   InfoSync – Outsourcing Services Agreement between InfoSync Services, LLC and F&H Acquisition Corp., dated
                    October 28, 2008.
                   Coke – Beverage Marketing Agreement between Coca-Cola North America and Total Entertainment
                    Restaurant Corp nka Fox & Hound Restaurant Group, dated February 23, 2005, as amended.
                   DMA – Distribution Agreement between Distribution Marketing Advantage, Inc. and Champps
                    Entertainment, Inc., dated December 5, 2011
                   DMA - Distribution Agreement between Distribution Marketing Advantage, Inc. and Fox & Hound Restaurant
                    Group, dated December 5, 2011
                   DirectTV – Commercial Viewing Agreement between Direct TV, LLC and Champps Entertainment, Inc., dated
                    April 15, 2010.
                   DirectTV – Commercial Viewing Agreement between Direct TV, LLC and Fox & Hound Restaurant Group,
                    dated April 15, 2010.
                   Ecolab – Product Services Supply Agreement between Ecolab, Inc. and Champps Entertainment, Inc., dated
                    August 1, 2013.
                   Ecolab – Product Services Supply Agreement between Ecolab, Inc. and Fox & Hound Restaurant Group, dated
                    August 1, 2013.
                   Ecova – Client Services Agreement between Avista Advantage, Inc. nka ECOVA and Champps Entertainment,
                    Inc., dated November 16, 2005
                   Fishbowl – Client Services Agreement between Fishbowl, Inc. and Champps Entertainment, Inc., dated May
                    15, 2007
                   Fishbowl – Client Services Agreement between Fishbowl, Inc. and Total Entertainment Restaurant Corp. nka
                    Fox & Hound Restaurant Group dated November 25, 2003
                   Gift Card – Distribution Agreement between Interactive Communications International, Inc. and F&H
                    Acquisition Corp, dated July 18, 2012
                   HotSchedules – Agreement between HotSchedules Holdings, Inc. and Champps Operating Corporation, dated
                    February 15, 2013
                   HotSchedules – Agreement between HotSchedules Holdings, Inc. and Fox & Hound Restaurant Group, dated
                    February 15, 2013
                   National Waste – Agreement between National Waste Associates, LLC and F&H Acquisition Corp., dated
                    January 29, 2013



1
    Note that Sellers will seek to enforce Bankruptcy Code §365(f) to the fullest extent allowed by law.



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                                                 Schedule 5.8

                                          Financial Advisors of Seller

Imperial Capital2

Deloitte Financial Advisory Services, LLP (Gene Baldwin)3




2
    Imperial Success Fee capped at $500,000 minus monthly credits commencing with the month of December 2013.
3
    Retainer fee of $20,000 and $575 hourly rate for Gene Baldwin.



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                                                                       Schedule 5.9

                                                                        Litigation
            Store No.   Case Number             Court                   Plaintiff                     Defendant                                 Type
                        MID-L-2864-10, MID-L-                           Janielle A. Griffiths (MID-
                        8846-10 and MER-L-      Superior Court of       L-2864); Faeli Dussan
                                                                                                      Total Entertainment Restaurant
 Griffith   65073       3289-10. All            New Jersey for          (MID-L-8846-10); IFA                                                    Dram
                                                                                                      Corporation, et al.
                        consolidated under      Mercer County           Insurance Company
                        MER-L-3289-10                                   (MER-L-2389-10)
                                                In the 237th
                                                                                                      F & H Restaurants of Texas, Inc.,
                                                District Court of
 Gentry     65025       2012-503,316                                    Evan Bryce Gentry             d/b/a/ Fox and Hound English Pub &        Dram
                                                Lubbock County,
                                                                                                      Grill
                                                Texas
                                                U.S. Equal
                                                Employment
                                                Opportunity
                                                Commission,
                        EEOC No. 460-2012-
 Nguyen     65056                               Houston District        Oanh Nguyen                   Fox & Hound Restaurant Group              eeoc
                        01197
                                                Office, Total Plaza,
                                                1201 Louisiana,
                                                Suite 600,
                                                Houston, TX 77002
                                                US District Court
 Grimes     65069       12-CV-1229-JAR-KGS      for the District of     Don Grimes                    Fox & Hound Restaurant Group              employment
                                                Kansas
                                                US Equal
                                                Employment
                                                Opportunity
                                                Commission,
                                                Albuquerque Area
                        EEOC No. 543-2012-                                                            Fox & Hound Restaurant Group / Fox
 Fields     65063                               Office, 505             Perry Fields                                                            eeoc
                        00870                                                                         & Hound of New Mexico,Inc.
                                                Marquette, N.W.,
                                                Suite 900,
                                                Albuquerque, NM
                                                87102 505-248-
                                                5192 fax
                                                US Equal
                                                Employment
                                                Opportunity
                                                Commission,
                                                Washington Field
                        EEOC No.846-2012-                                                             Bailey's Sports Grill / TENT Restaurant
 Nieves     65078                               Office, 131 M           Hector Nieves                                                           eeoc
                        70047                                                                         Operations, Inc.
                                                Street, N.E., Suite
                                                4NW02F,
                                                Washington, DC
                                                20507, 202-419-
                                                0739 fax
                                                Pennsyvlania
                                                Human Rights
                                                Commission,
                        PHRC Case No.
                                                Sabrina Harrell,                                      Champps Entertainment, Inc. /
 McDonald   65252       201203093 / EEOC No.                            Tamika McDonald                                                         eeoc
                                                110 North 8th                                         Champps Operating Corporation
                        17F201360688
                                                Street, Suite 501,
                                                Philadelphia PA
                                                19107
                                                US Equal
                                                Employment
                                                Opportunity
                                                Commission,
                                                Birmingham
                        EEOC No. 420-2013-                                                            Fox & Hound Restaurant Group /
 Cairnes    65084                               District Office,        Jennifer L. Cairnes                                                     eeoc
                        02090                                                                         Alabama Fox & Hound, Inc.
                                                Ridge Park Place,
                                                1130 22nd Street
                                                South, Suite 2000,
                                                Birmingham, AL
                                                35205-2397
                                                US District Court
                                                for the District of
                                                Massachusetts -
                                                champps
                                                Entertainment, Inc.
                                                v. American
                                                International
                                                Group,Inc. and          National Union Fire
                                                National Union Fire     Insurance Company of
 AIG        n/a                                                                                       Champps Entertainment, Inc.               Insurance
                                                Insurance               Pittsburgh / American
                                                Company of              Interntional Group, Inc.
                                                Pittsburgh PA
                                                Case NO. 0411444
                                                RWZ --- stayed
                                                pending out come
                                                of arbitration
                                                United States
                                                District Court for




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                                              the Southern
                                              District of New
                                              York - captioned
                                              National Union Fire
                                              Insurance Co of
                                              Pittsburgh PA
                                              against Champps
                                              Entertainment, Inc.
                                              Case No. 04 Civ
                                              6163 (NRB)




                                              The City Court City
                                              of Baton Rouge
 Seafood                                      State of Louisiana,     The Seafood Source of
            65247   09-07211-b                                                                   Champps Operating Corp                   collection
 source                                       PO Box 3438,            LA, Inc.
                                              Baton Rouge, LA
                                              70821
                                                                      Brianne Haschak, Jason
                                              In the United
                                                                      Steinlauf and Nicole
                                              States District
                                                                      Adams, on behalf of        Fox & Hound Restaurant Group and
                                              Court for the
 Haschak    65235   10 C 8023                                         themselves and all other   Champps Operating Corporation, dba       employment
                                              Northern District of
                                                                      persons similarly          Champps Americana
                                              Illinois Eastern
                                                                      situated, known and
                                              Division
                                                                      unknown
                                              IN the Circuit Court
                                              of Cook County,
                                                                                                 Fox & Hound of Illiois, Inc. dba Fox &
 Miller     65060   11 L 4570                 Illinois - County       Gina Miller                                                         general liability
                                                                                                 Hound Smokehouse & Tavern
                                              Department - Law
                                              Division
                                              Superior Court of
                                              New Jersey, Law                                    Fox & Hound Restaurant/Bailey's
 Kim        65073   L 8525-11                                         Seung Ja Kim                                                        general liability
                                              Division, Middlesex                                Sports Grille; et al
                                              County
                                              In the Court of
                                              Common Pleas
 Stanbery   65095   2012-CV-2249-DJ                                   Stanbery Harrisburg, LP    TENT Restaurant Operations,Inc.          landlord dispute
                                              Dauphin County,
                                              Pennsylvania
                                              In the Hamilton
                                              Superior Court
 Wilson     65079   29D02-1210-CT-10574                               Sarah Wilson               Fox & Hound Pub & Grill                  general liability
                                              Sitting in
                                              Noblesville Indiana
                                              Superior Court of
                                              New Jersey Law
 Carinha    65073   MID-L-206-13                                      Tiffany Carinha            The Fox & Hound Pub & Grill, et al       general liability
                                              Division -
                                              Middlesex County
                                              In the Court of
                                              Common Pleas,
                                                                                                 Fox & Hound Restaurant Group, TENT
 Girard     65011   2012-CP-40-8539           State of South          Phillip E. Girard, Jr.,                                             general liability
                                                                                                 Restaurant Operations, Inc. et al
                                              Carolina, County of
                                              Richland
                                              IN the Circuit Court
                                              of Tennessee for
                    CT-000662-13 - Division
 yates      65013                             the Thirtieth           Quinton Yates              Fox & Hound Restaurant Group             general liability
                    IV
                                              Judicial District at
                                              Memphis
                                              IN the United
                                              States District
                                              Court for the                                      TENT Restaurant Operations,Inc. t/a
 Jackson    65089   4:13-cv-73                                        Michelle A. Jacakson                                                general liability
                                              Eastern District of                                Bailey's Pub & Grille
                                              Virginia Newport
                                              News Division
                                              District Court, El
                                              Paso County, State
                    2013CV030332 / Div:       of Colorado, 270 S.                                Fox & Hound of Colorado, Inc. dba
 Martin     65092                                                     Yvonne L. Martin                                                    general liability
                    16                        Tejon Street,                                      Fox & Hound
                                              Colorado Springs,
                                              CO 80903

                                              In the Common           Glenn Millard,
                                                                                                 Thomas C. McCabe, III, Thomas C.
                                              Pleas Court of          Administrator the Estate
 Millard    65245   CV 13 804482                                                                 McCabe II, Champps Entertainment,        general liability
                                              Cuyahoga County,        of David Millard,
                                                                                                 Inc., et al.
                                              Ohio / Civil Division   Deceased

                                              In the Circuit Court
                                              of Cook County
 Kobe       65228   2013CH18590               Illinois, County        Rene Hertsberg             Champps Operating Corporation            customer class action
                                              Departemnt,
                                              Chancery Division




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                                               In the District court
               65064 /                         of Canadian             Gladys Erbar and Tom      Fox & Hound of Oklahoma, Inc. (plus
 Truel OKC               CJ-2011-159                                                                                                    sales tax issue
               65075                           County, State of        Erbar, individuals        approx 700 other defendants)
                                               Oklahoma



                                                                       John Truel, Dixie M.
                                                                       Evans, Mary Elln
                                                                       Kirkendall, Jesica
                                               In the District court   Sterling, Andra Erbar,
               65064/                          of Canadian             Shana Truel, kara M.      Fox & Hound of Oklahoma, Inc. (plus
 Truel OKC               CJ-2011-115                                                                                                    sales tax issue
               65075                           County, State of        Simpson, James Sterling   approx 700 other defendants)
                                               Oklahoma                and Rene A. Conner,
                                                                       individually and on
                                                                       behalf of other persons
                                                                       similarly situated



                                               US Equal
                                               Employment
                                               Opportunity
                                               Commission,
                                               Philadelphia
 Edmonds       65061     530-2013-03456 EEOC   District Office, 801    Marvin Edmonds            Fox & Hound Restaurant Group           EEOC
                                               Market Street,
                                               Suite 1300,
                                               Philadelphia PA
                                               19107 215-440-
                                               2604 fax
                                               In the United
                                               States District
                                                                       Boulevard North
 Whitman       65251     13-CV-5495 (CMR)      Court for the                                     Champps Operating Corporation          collection of rent
                                                                       Associates, LP
                                               Eastern District of
                                               Pennsylvania
                                               19th Judicial
                                               District Court,                                   Fox & Hound of Louisiana, Inc. Fox &
 BR            65037     C624773                                       Esplanade LLC                                                    collection of rent
                                               Parish of East                                    Hound Restaurant Group
                                               Baton Rouge, LA
                                               US District Court -
                                               Pennsylvania
 Paxson        65061     2:13cv5924                                    Jason Paxson              Fox & Hound Restaurant Group           breach of contract
                                               Eastern
                                               (Philadelphia)
                                               City of
                                               Fredericksburg
                                               General District
 F'burg        65086                           Court, 615 Princess     Central Park 1208, LLC    TENT Restaurant Operations, Inc.       eviction
                                               Anne St,
                                               Frederiskburg, VA
                                               22404-0180
                                               US Equal
                                               Employment
                                               Opportunity
                                               Commission,
                                               Birmingham
                         EEOC No. 420-2014-                                                      Fox & Hound Restaurant Group /
 Cairnes       65084                           District Office,        Jennifer L. Cairnes                                              eeoc
                         0018                                                                    Alabama Fox & Hound, Inc.
                                               Ridge Park Place,
                                               1130 22nd Street
                                               South, Suite 2000,
                                               Birmingham, AL
                                               35205-2397
                                               Arlington General
                                               District Court, 1425
                                                                       CESC Plaza Limited        TENT Restaurant Operations, Inc. and
 DC 2          65078     V13-5452              N. Courthouse                                                                            eviction
                                                                       Partnership               Total Entertainment Restaurant Corp.
                                               Road, Arlington VA
                                               22201
                                               Rocky River
                                               Municipal Court,
                                                                       Crocker Park Delaware,
 Westlake      65245     13 CVG 1864           21012 Hilliard Blvd,                              Champps Operating Corporation          eviction
                                                                       LLC
                                               Rocky River, OH
                                               44116
                                               Garfield Heights
                                               Municpal Court,
 Valley View   65237     CVG 1302418                                   CAII, LLC                 Champps Operating Corporation          eviction
                                               Chyahoga County,
                                               Ohio,
                                               Fairfax County
                                               General District
                                                                       AG/ARC Plaza America
 Reston        65207     None Specified        Court, 4110 Chain                                 Champps Operating Corporation          eviction
                                                                       Retail Owner, LLC
                                               Bridge Road,
                                               Fairfax, VA 22030




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                                                                               PNC Bank, National
                                                                               Association, as Trustee
                                                                               under the Will of William
                                                         Jefferson Circuit     Marshall Bullitt and
                                                                                                             Champps Operating Corporation and
 Louisville     65254        13CI06199                   Court, Division       Stock Yards Bank & Trust                                          eviction
                                                                                                             Fox & Hound Restaurant Group
                                                         Thirteen,             Company, as Successor
                                                                               Trustee of the Trust
                                                                               under the Will of
                                                                               Thomas We. Bullitt
                                                         District Court, El
                                                         Paso County, State
 Colorado                    13 CV 31734, Division       of Colorado, 270 S.   IMI Colorado Springs,
                65243                                                                                        Champps Operating Corporation       collection
 Springs                     17                          Tejon Street,         LLC
                                                         Colorado Springs,
                                                         CO 80903
                                                         Court of Common
                                                         Pleas, Cuyahoga
                                                         County Justice
                                                                               Crocker Park Delaware,        Champps Operating Corporation, et
 Westlake       65245        CV13818641                  Center, 1200                                                                            collection
                                                                               LLC                           al.
                                                         Ontario Street
                                                         Cleveland, OH
                                                         44113
                                                         Court of Common
                                                         Pleas, Cuyahoga
                                                         County Justice
                                                                                                             Champps Operating Corporation, et
 Valley View    65237        CV13818621                  Center, 1200          CAII, LLC                                                         collection
                                                                                                             al.
                                                         Ontario Street
                                                         Cleveland, OH
                                                         44113




                                                                      Threatened Litigation


                                                                                                           Date of
 Store Number      Customer Name                                                                                          Type
                                                                                                           Loss


 65084             Anne Conway                                                                             10/7/2008      GL

 65011             Daniel Blakeney                                                                         4/12/2009      GL

 65032             Danny Ziko                                                                              11/30/2009     GL

 65068             Jared Martin                                                                            4/3/2010       GL

 65002             David Cook                                                                              5/11/2010      GL


 65057             Estate of Courtney Sandin (Tim Sandin, Father)                                          11/23/2011     Dram



                                                                                                           1/28/12 or
 65025             Arturo Almaguer Hernandez, deceased - parents Edgar and Yolanda Almaguer)                              Dram
                                                                                                           1/29/12


                                                                                                           1/28/12 or
 65025             Kendrick Johnson, deceased - parents Starlene Johnson                                                  Dram
                                                                                                           1/29/12


                                                                                                           1/28/12 or
 65025             Courtland Whitmore                                                                                     Dram
                                                                                                           1/29/12


                                                                                                           1/28/12 or
 65025             Brian Cody Hawthorne                                                                                   Dram
                                                                                                           1/29/12


 65018             Rozenia Cunningham                                                                      4/14/2012      GL

 65036             John D. Minick                                                                          5/5/2012       GL

 65050             Joshua Davis                                                                            6/9/2012       GL

 65032             Jason Brown                                                                             11/26/2012     GL

 65045             Telisha Wheeler                                                                         5/4/2013       GL


 65061             Nancy Horsey                                                                            4/11/2013      GL


 65064             Letha Wilson                                                                            7/2/2013       GL




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 65089       Kelly Bravo                                             12/22/2012   GL

 65033       Greg Greco                                              6/15/2013    GL

 65050       Shawna Lene Gargiulo                                    7/18/2013    GL

 65018       Judy Albert                                             10/4/2013    GL

 65057       Mary F. Mahone                                          2/18/2012    GL

 65203       Lori Lewis                                              1/26/2008    GL

 65240       Rene Kendrick                                           12/19/2008   GL

 65211       Alisha Walker                                           1/18/2009    GL

 65217       Dalia Gappy                                             6/13/2009    GL

 65226       Alisha Chugh                                            6/26/2010    GL

 65230       Vince Cassino                                                        GL

 65242       Donald Middlebrook                                      8/8/2011     GL

 65250       Denise Whalen                                           5/5/2012     GL

 65216       Randy Block                                             6/8/2012     GL

 65221       LaKeisha Harrell                                        12/8/2012    GL

 65253       Katie Fair                                              10/6/2012    GL

 65222       Kathy Ruffulo                                           1/18/2013    GL

 65204       Lily Tewfik, minor                                      2/13/2013    GL

 65217       Brandon Haisha                                          2/9/2013     GL

 65244       James Lindon and Mrs. James Lindon                      10/12/2013   GL




In addition, Mr. Forester, principal of Champ’s Restaurant, Inc., has a claim against COC for failure to pay
2013 payments due under the Agreement (such agreement disclosed on Schedule 1.1(a)). The 2013
claim is $346,500. We believe this Agreement will be rejected in the bankruptcy and the claim fully
discharged.




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                                    Schedule 5.10

                                 Compliance with Laws




                                        None




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                                           Schedule 5.11

                                              Permits

                 See attached spreadsheet of all permits other than liquor licenses




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Store #   DBA            Address                                                                  Description                          Name on License/Invoice                       Jurisdiction                 PermitNo                   AccountNo         Issue Date   Expiration Date
65002     B / Sports     8500 Pineville-Mathews Road, Charlotte, NC 28226                         Alarm                                                                              CITY                         NULL                       NULL
65002     B / Sports     8500 Pineville-Mathews Road, Charlotte, NC 28226                         BUSINESS                             TENT Restaurant Operations, Inc.              CITY                         617318                     NULL              6/27/2013    6/30/2014
65002     B / Sports     8500 Pineville-Mathews Road, Charlotte, NC 28226                         HEALTH                               Fox & Hound Restaurant Group                  STATE                        Corp Acnt#900826           NULL              n/a          6/30/2014
65002     B / Sports     8500 Pineville-Mathews Road, Charlotte, NC 28226                         PRIVILEGE-AMUSEMENT                  Bailey's Sports Bar & Grille - TENT RestaurantCITY/COUNTY
                                                                                                                                                                                      Operations, Inc.            Acnt#XX-XXXXXXX PIN#2534   NULL              7/1/2013     6/30/2014
65002     B / Sports     8500 Pineville-Mathews Road, Charlotte, NC 28226                         Tobacco                              TENT Restaurant Operations, Inc. DBA Bailey's STATE
                                                                                                                                                                                       Sports Grille 65002        100002993                  NULL              8/27/2012    n/a
65003     FH / English   2800 Lakewood Village Drive, N. Little Rock, AR 72116                    AMUSEMENT MACHINES REGISTRATION Fox & Hound English Pub & Grille                   STATE                        75510563-AMU               NULL              7/1/2013     6/30/2014
65003     FH / English   2800 Lakewood Village Drive, N. Little Rock, AR 72116                    HEALTH                               Total Entertainment Restaurant DBA Fox & HoundSTATE English Pub & Grille   761127                     NULL              4/30/2016    5/31/2014
65003     FH / English   2800 Lakewood Village Drive, N. Little Rock, AR 72116                    OCCUPATIONAL LICENSE                 Fox & Hound English Pub                       CITY                         0000002481                 92400
65003     FH / English   2800 Lakewood Village Drive, N. Little Rock, AR 72116                    TOBACCO PERMIT                       Fox & Hound English Pub & Grille              STATE                        #08712-01                  NULL              6/26/2013    6/30/2014
65004     FH / English   1001 N.E. Green Oaks Blvd. Arlington, TX 76006                           ALARM PERMIT                         Fox & Hound English Pub & Grille              CITY                         18006                      NULL              4/22/2013    5/14/2014
65004     FH / English   1001 N.E. Green Oaks Blvd. Arlington, TX 76006                           FIRE ALARM INSPECTION                Fox & Hound                                   CITY                         NULL                       2009-142274-AFI   n/a          n/a
65004     FH / English   1001 N.E. Green Oaks Blvd. Arlington, TX 76006                           HEALTH                               Fox & Hound                                   CITY                         12-327772-HFEP             NULL              10/1/2013    9/30/2014
65004     FH / English   1001 N.E. Green Oaks Blvd. Arlington, TX 76006                           SALES & USE                          N. Collins Entertainment, LTD. DBA: Fox & Hound
                                                                                                                                                                                     STATE                        1-XX-XXXXXXX-1             NULL              5/1/1994     n/a
65004     FH / English   1001 N.E. Green Oaks Blvd. Arlington, TX 76006                           TOBACCO PERMIT                       N. Collins Entertainment, LTD. DBA: Fox & Hound
                                                                                                                                                                                     STATE                        96005061                   NULL              6/1/2012     5/31/2014
65005     FH / English   505 University Drive, College Station, TX 77840                          HEALTH PERMIT                        Fox & Hound Sports Bar & Grill                COUNTY                       Reference #CS-110          NULL              12/17/2013   12/31/2014
65005     FH / English   505 University Drive, College Station, TX 77840                          SALES & USE                          505 Entertainment, LTD                        STATE                        1-XX-XXXXXXX-6             NULL              4/15/1994    n/a
65005     FH / English   505 University Drive, College Station, TX 77840                          TOBACCO PERMIT                       505 Entertainment, LTD                        STATE                        96002442                   NULL              6/1/2012     5/31/2014
65006     B / Sports     2409 Laurens Road, Greenville, SC 29607                                  BUSINESS                             Bailey's Sports Grille                        CITY                         13 00001424                NULL              3/4/2013     12/31/2013
65006     B / Sports     2409 Laurens Road, Greenville, SC 29607                                  COIN OPERATED                        Bailey's Sports Grille                        STATE                        File # 851002031           NULL              n/a          5/31/2015
65006     B / Sports     2409 Laurens Road, Greenville, SC 29607                                  COVER CHARGE PERMIT                  TENT Restaurant Operations, Inc. DBA: Bailey'sSTATE
                                                                                                                                                                                        Sports Grille             812397900                  NULL              3/8/2011     n/a
65006     B / Sports     2409 Laurens Road, Greenville, SC 29607                                  HEALTH                               Bailey's Sports Grille Inc.                   STATE                        23-206-06532               NULL              n/a          3/31/2014
65006     B / Sports     2409 Laurens Road, Greenville, SC 29607                                  OWNER / OPERATOR                     Bailey's Sports Grille                        STATE                        File # 851002031           NULL              n/a          5/31/2015
65007     B / Sports     786 Two Mile Parkway, Suite 12, Goodlettsville, TN 37072                 ALARM PERMIT                         Bailey's Bar & Grille                         GOVERNMENT                   2013 15570                 NULL              n/a          4/1/2014
65007     B / Sports     786 Two Mile Parkway, Suite 12, Goodlettsville, TN 37072                 BROILER (#T62173)                    Fox & Hound Restaurant DBA: Bailey's SportsSTATE
                                                                                                                                                                                      Bar & Grill                 T62173                     NULL              12/23/2010   9/26/2012
65007     B / Sports     786 Two Mile Parkway, Suite 12, Goodlettsville, TN 37072                 BUSINESS                             TENT Restaurant Operations, Inc.              COUNTY                       134768                     NULL              6/13/2013    3/31/2014
65007     B / Sports     786 Two Mile Parkway, Suite 12, Goodlettsville, TN 37072                 BUSINESS                             TENT Restaurant Operations, Inc.              CITY                         134768                     NULL              6/13/2013    3/31/2014
65007     B / Sports     786 Two Mile Parkway, Suite 12, Goodlettsville, TN 37072                 HEALTH                               TENT Restaurant Operations, Inc. DBA: Bailey'sSTATE
                                                                                                                                                                                        Bar                       HE163103                   NULL              n/a          6/30/2014
65007     B / Sports     786 Two Mile Parkway, Suite 12, Goodlettsville, TN 37072                 HEALTH                               TENT Restaurant Operations, Inc. DBA: Bailey'sSTATE
                                                                                                                                                                                        Bar                       HE178789                   NULL              n/a          6/30/2014
65007     B / Sports     786 Two Mile Parkway, Suite 12, Goodlettsville, TN 37072                 SALES TAX PERMIT                     TENT Restaurant Operations, Inc. #65007 STATE                              102340361                  NULL              12/4/2005    n/a
65008     FH / English   18918 Midway Road, Dallas, TX 75287                                      ALARM PERMIT                         Fox & Hound English Pub & Grille              CITY                         628515                     NULL              3/7/2013     4/6/2014
65008     FH / English   18918 Midway Road, Dallas, TX 75287                                      BILLIARD LICENSE                     Fox & Hound English Pub & Grille              CITY                         1129176                    NULL              11/19/2012   11/19/2013
65008     FH / English   18918 Midway Road, Dallas, TX 75287                                      FIRE DEPT HIGH RISK OCCUPANCY REGISTRATION
                                                                                                                                       Fox & Hound English Pub & Grille              CITY                         1170728                    NULL              8/5/2012     8/5/2013
65008     FH / English   18918 Midway Road, Dallas, TX 75287                                      FOOD INSP. PERMIT                    F & H Restaurants of Texas, Inc. DBA: Fox & Hound
                                                                                                                                                                                     CITY English Pub & Grille    FA0003074/AR000374         NULL              10/24/2004   n/a
65008     FH / English   18918 Midway Road, Dallas, TX 75287                                      SALES TAX PERMIT                     F & H Restaurants of Texas, Inc. DBA: Fox & Hound
                                                                                                                                                                                     STATE English Pub & Grille   3-20032-6180-0             NULL              1/1/2009     n/a
65008     FH / English   18918 Midway Road, Dallas, TX 75287                                      SALES TAX PERMIT                     Fox & Hound Club                              STATE                        1-XX-XXXXXXX-2             NULL              11/1/1995    n/a
65008     FH / English   18918 Midway Road, Dallas, TX 75287                                      TOBACCO PERMIT                       F & H Restaurants of Texas, Inc. DBA: Fox & Hound
                                                                                                                                                                                     STATE English Pub & Grille   #09002977                  NULL              6/1/2012     5/31/2014
65009     B / Sports     250 North Seven Oaks Drive, Knoxville, TN 37922                          BUSINESS                             Bailey's Sports Grille                        CITY                         165517                     30577             5/24/2013    3/31/2014
65009     B / Sports     250 North Seven Oaks Drive, Knoxville, TN 37922                          BUSINESS                             TENT Restaurant Operations, Inc. #65009 COUNTY                             0270423                    NULL              5/24/2013    3/31/2014
65009     B / Sports     250 North Seven Oaks Drive, Knoxville, TN 37922                          HEALTH                               TENT Restaurant Operations, Inc. DBA: Bailey'sSTATE
                                                                                                                                                                                        Sports Grille             HE 119222                  NULL              n/a          6/30/2014
65009     B / Sports     250 North Seven Oaks Drive, Knoxville, TN 37922                          HEALTH                               TENT Restaurant Operations, Inc. DBA: Bailey'sSTATE
                                                                                                                                                                                        Sports Grille (Bar)       HE119221                   NULL              n/a          6/30/2014
65009     B / Sports     250 North Seven Oaks Drive, Knoxville, TN 37922                          SALES TAX PERMIT                     TENT Restaurant Operations, Inc. #65009 STATE                              NULL                       102340343         3/27/2007    n/a
65010     B / Sports     2102 North Roan St, Johnson City, TN 37601                               BUSINESS                             TENT Restaurant Operations, Inc. DBA: Bailey'sCITY
                                                                                                                                                                                        Sports Grille             2013 -119177               201548            5/24/2013    3/31/2014
65010     B / Sports     2102 North Roan St, Johnson City, TN 37601                               BUSINESS                             TOTAL Entertainment Restaurant Corp           COUNTY                       0035671                    NULL              5/28/2013    3/31/2014
65010     B / Sports     2102 North Roan St, Johnson City, TN 37601                               HEALTH                               TENT Restaurant Operations, Inc. DBA: Bailey'sSTATE
                                                                                                                                                                                        Sports Grille (Bar)       HE103078                   NULL              n/a          6/30/2014
65010     B / Sports     2102 North Roan St, Johnson City, TN 37601                               HEALTH                               TENT Restaurant Operations, Inc. DBA: Bailey'sSTATE
                                                                                                                                                                                        Sports Grille             HE103077                   NULL              n/a          6/30/2014
65010     B / Sports     2102 North Roan St, Johnson City, TN 37601                               SALES TAX PERMIT                     TENT Restaurant Operations, Inc. #65010 STATE                              102340352                  NULL              3/13/2007    n/a
65013     FH / English   819 Exocet Drive, Cordova, TN 38018                                      ALARM                                Fox & Hound English Pub & Grille              COUNTY                       162856                     NULL              n/a          6/1/2014
65013     FH / English   819 Exocet Drive, Cordova, TN 38018                                      BOILER T85513                        Fox & Hound Restaurant Group                  STATE                        T85513                     NULL              1/4/2013     12/6/2014
65013     FH / English   819 Exocet Drive, Cordova, TN 38018                                      BOILER T88659                        Fox & Hound Restaurant Group                  STATE                        T88659                     NULL              2/8/2013     1/8/2015
65013     FH / English   819 Exocet Drive, Cordova, TN 38018                                      BUSINESS                             Fox & Hound English Pub & Grille              CITY                         106001188                  NULL              n/a          4/1/2014
65013     FH / English   819 Exocet Drive, Cordova, TN 38018                                      BUSINESS                             Fox & Hound English Pub & Grille              COUNTY                       106001188                  NULL              n/a          4/1/2014
65013     FH / English   819 Exocet Drive, Cordova, TN 38018                                      HEALTH                               TENT Restaurant Operations, Inc.              STATE                        HE113548                   NULL              n/a          6/30/2014
65013     FH / English   819 Exocet Drive, Cordova, TN 38018                                      HEALTH                               TENT Restaurant Operations, Inc.              STATE                        HE113549                   NULL              n/a          6/30/2014
65013     FH / English   819 Exocet Drive, Cordova, TN 38018                                      SALES TAX PERMIT                     Fox & Hound Pub & Grille                      STATE                        NULL                       104601736         10/10/2008   n/a
65013     FH / English   819 Exocet Drive, Cordova, TN 38018                                      SIGN PERMIT                          Fox & Hound Pub                               COUNTY                       SR008157                   NULL              n/a          7/31/2014
65014     B / Sports     5316 Mt. View Road, Antioch, TN 37013                                    ALARM PERMIT                         Bailey's Bar & Grille                         GOVERNMENT                   2013-15568                 NULL              n/a          4/1/2014
65014     B / Sports     5316 Mt. View Road, Antioch, TN 37013                                    BOILER T72162                        TENT Restaurant Operations, Inc.              STATE                        T72162                     NULL              10/11/2013   11/4/2014
65014     B / Sports     5316 Mt. View Road, Antioch, TN 37013                                    BUSINESS                             TENT Restaurant Operations, Inc.              CITY                         134769                     NULL              6/20/2013    3/31/2014
65014     B / Sports     5316 Mt. View Road, Antioch, TN 37013                                    BUSINESS                             TENT Restaurant Operations, Inc.              COUNTY                       134769                     NULL              6/20/2013    3/31/2014
65014     B / Sports     5316 Mt. View Road, Antioch, TN 37013                                    HEALTH                               TENT Restaurant Operations, Inc DBA: Bailey's STATE
                                                                                                                                                                                       Sports Grille (Lounge)     HE159810                   NULL              n/a          6/30/2014
65014     B / Sports     5316 Mt. View Road, Antioch, TN 37013                                    HEALTH                               TENT Restaurant Operations, Inc. DBA: Bailey'sSTATE
                                                                                                                                                                                        Sports Grille             HE117062                   NULL              n/a          6/30/2014
65015     FH / English   Western Crossing Shpg Center, 506 N. 120th Street, Omaha, NE 68154       ASSEMBLY INSPECTION FEE              Fox & Hound of Nebraska, Inc.                 CITY                         6222                       NULL              n/a          12/31/2014




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Store #   DBA            Address                                                                        Description                           Name on License/Invoice                         Jurisdiction                 PermitNo                        AccountNo         Issue Date   Expiration Date
65015     FH / English   Western Crossing Shpg Center, 506 N. 120th Street, Omaha, NE 68154             CIGARETTE                             Fox & Hound of Nebraska, Inc.                   CITY                         207534                          NULL              12/31/2013   12/31/2014
65015     FH / English   Western Crossing Shpg Center, 506 N. 120th Street, Omaha, NE 68154             DAIRIES AND FOODS PERMIT                                                              STATE                        NULL                            NULL
65015     FH / English   Western Crossing Shpg Center, 506 N. 120th Street, Omaha, NE 68154             FIRE ALARM SYSTEM REGISTRATION        Fox & Hound English Pub 65015                   CITY                         NULL                            72177             n/a          10/9/2014
65015     FH / English   Western Crossing Shpg Center, 506 N. 120th Street, Omaha, NE 68154             HEALTH                                Fox & Hound of Nebraska, Inc. DBA: Fox & Hound  COUNTYEnglish Pub & Grille   57232                           NULL              1/30/2013    12/31/2013
65015     FH / English   Western Crossing Shpg Center, 506 N. 120th Street, Omaha, NE 68154             SALES TAX & LITTER PERMIT             Fox & Hound of Nebraska, Inc.                   STATE                        XX-XXXXXXX                      NULL              1/19/2001    n/a
65016     FH / English   Yorkshire Shpg Center, 4320 E. New York Ave, Aurora, IL 60504                  ALARM PERMIT                          Fox & Hound                                     CITY                         3589 361580                     NULL              n/a          5/31/2013
65016     FH / English   Yorkshire Shpg Center, 4320 E. New York Ave, Aurora, IL 60504                  AMUSEMENTS & BILLIARDS                Fox & Hound of Illinois, Inc.                   CITY                         13-00025527                     21-0703           10/3/2013    9/30/2014
65016     FH / English   Yorkshire Shpg Center, 4320 E. New York Ave, Aurora, IL 60504                  HEALTH                                Fox & Hound                                     COUNTY                       FS1003284                       NULL              n/a          8/1/2014
65016     FH / English   Yorkshire Shpg Center, 4320 E. New York Ave, Aurora, IL 60504                  SALES TAX PERMIT                      Fox & Hound of Illinois, Inc.                   STATE                        2875-2661                       NULL              11/30/2012   11/30/2017
65018     FH / English   1479 S.O.M. Center Road, Mayfield Heights, OH 44124                            AMUSEMENT                             Fox & Hound                                     CITY                         AD2013-5                        NULL              3/7/2013     12/31/2013
65018     FH / English   1479 S.O.M. Center Road, Mayfield Heights, OH 44124                            CIGARETTE                             Fox & Hound English Pub & Grille                STATE                        18-R140504                      NULL              5/7/2013     5/25/2014
65018     FH / English   1479 S.O.M. Center Road, Mayfield Heights, OH 44124                            FIRE PERMIT                           F & H Acquisition Corp                          CITY                         FP2013-20                       NULL              2/5/2013     12/31/2013
65018     FH / English   1479 S.O.M. Center Road, Mayfield Heights, OH 44124                            HEALTH                                Fox & Hound of Ohio, Inc.                       COUNTY                       2184                            NULL              2/8/2013     3/1/2014
65018     FH / English   1479 S.O.M. Center Road, Mayfield Heights, OH 44124                            SALES TAX PERMIT                                                                      STATE                        NULL                            NULL
65018     FH / English   1479 S.O.M. Center Road, Mayfield Heights, OH 44124                            VENDOR'S LICENSE                      Fox & Hound of Ohio, Inc.                       STATE                        18468093                        NULL              5/27/1998    n/a
65022     FH / English   12651 Vance Jackson Road, Suite 110, San Antonio, TX 78230                     ALARM                                 Fox & Hound English Pub & Grille                CITY                         9901695                         NULL              5/31/2013    5/31/2014
65022     FH / English   12651 Vance Jackson Road, Suite 110, San Antonio, TX 78230                     Food Establishment                    Fox & Hound English Pub & Grille                CITY                         179500                          NULL              9/1/2013     8/31/2014
65022     FH / English   12651 Vance Jackson Road, Suite 110, San Antonio, TX 78230                     SALES TAX PERMIT                      F & H Restaurants of Texas, Inc. DBA: Fox & Hound
                                                                                                                                                                                              STATE English Pub & Grille   3-20032-6180-0                  NULL              1/1/2009     n/a
65022     FH / English   12651 Vance Jackson Road, Suite 110, San Antonio, TX 78230                     SALES TAX PERMIT                      Jackson Beverage Corporation                    STATE                        1-XX-XXXXXXX-7                  NULL              7/30/1998    n/a
65022     FH / English   12651 Vance Jackson Road, Suite 110, San Antonio, TX 78230                     TOBACCO RETAILER                      F & H Restaurants of Texas, Inc. DBA: Fox & Hound
                                                                                                                                                                                              STATE English Pub & Grille   09002983                        NULL              6/1/2012     5/31/2014
65023     FH / English   250 Millcreek Plaza, Erie, PA 16565                                            CIGARETTE                             Fox & Hound English Pub & Grille                STATE                        25250972                        NULL              1/14/2013    2/28/2014
65023     FH / English   250 Millcreek Plaza, Erie, PA 16565                                            HEALTH                                Fox & Hound Total Entertainment Rest.           COUNTY                       1984                            NULL              7/3/2013     8/24/2014
65023     FH / English   250 Millcreek Plaza, Erie, PA 16565                                            SALES TAX                             TENT Restaurant Operations, Inc.                STATE                        #83377824                       NULL              n/a          4/30/2015
65025     FH / English   4210 82nd Street, Unit 240, Lubbock, TX 79423                                  ALARM PERMIT                          Fox & Hound English Pub & Grille                CITY                         3115                            NULL              12/19/2013   1/24/2015
65025     FH / English   4210 82nd Street, Unit 240, Lubbock, TX 79423                                  HEALTH                                Fox & Hound of Lubbock, Ltd. DBA: Fox & Hound   CITY English Pub & Grille    FA0000344-PR0000376-PT0000376   NULL              n/a          9/30/2014
65025     FH / English   4210 82nd Street, Unit 240, Lubbock, TX 79423                                  SALES TAX PERMIT                      F & H Restaurants of Texas, Inc. DBA: Fox & Hound
                                                                                                                                                                                              STATE English Pub & Grille   3-20032-6180-0                  NULL
65025     FH / English   4210 82nd Street, Unit 240, Lubbock, TX 79423                                  SALES TAX PERMIT                                                                      STATE                        NULL                            NULL
65025     FH / English   4210 82nd Street, Unit 240, Lubbock, TX 79423                                  SMOKING                               Fox & Hound of Lubbock, Ltd. DBA: Fox & Hound   CITY English Pub & Grille    FA0000344-PR0002018-PT0001807   NULL              n/a          9/30/2014
65025     FH / English   4210 82nd Street, Unit 240, Lubbock, TX 79423                                  TOBACCO RETAILER                      F & H Restaurants of Texas, Inc. DBA: Fox & Hound
                                                                                                                                                                                              STATE English Pub & Grille   09002984                        NULL              6/1/2012     5/31/2014
65027     B / Pub        1777 North Canton Center Road, Canton, MI 48187                                AMUSEMENT PERMIT                      TENT Restaurant Operations, Inc.                TOWNSHIP                     CM201208473-CMOM                NULL              12/27/2013   12/31/2014
65027     B / Pub        1777 North Canton Center Road, Canton, MI 48187                                HEALTH                                TENT Restaurant Operations, Inc.                COUNTY                       SFE4882030606                   NULL              n/a          4/30/2014
65027     B / Pub        1777 North Canton Center Road, Canton, MI 48187                                SALES TAX LICENSE                     TENT Restaurant Operations, Inc.                STATE                        U56-1985556                     NULL              n/a          9/30/2015
65028     FH / English   5101 Sanderlin Road, Suite 100, Memphis, TN 38117                              ALARM USERS PERMIT                    Fox & Hound English Pub & Grille                COUNTY                       150976                          NULL              n/a          6/1/2014
65028     FH / English   5101 Sanderlin Road, Suite 100, Memphis, TN 38117                              BROILER (# T28466)                    Fox & Hound English Pub                         STATE                        T28466                          NULL              12/14/2012   12/27/2014
65028     FH / English   5101 Sanderlin Road, Suite 100, Memphis, TN 38117                              BROILER (# T38644)                    Fox & Hound Pub                                 STATE                        T38644                          NULL              12/14/2012   12/27/2014
65028     FH / English   5101 Sanderlin Road, Suite 100, Memphis, TN 38117                              BUSINESS                              Fox & Hound English Pub & Grille                CITY                         106001186                       NULL              n/a          4/1/2014
65028     FH / English   5101 Sanderlin Road, Suite 100, Memphis, TN 38117                              BUSINESS                              Fox & Hound English Pub & Grille                COUNTY                       106001186                       NULL              n/a          4/1/2014
65028     FH / English   5101 Sanderlin Road, Suite 100, Memphis, TN 38117                              HEALTH                                TENT Restaurant Operations, Inc. DBA: Fox &STATE  Hound Restaurant (Bar)     HE125758                        NULL              n/a          6/30/2014
65028     FH / English   5101 Sanderlin Road, Suite 100, Memphis, TN 38117                              HEALTH                                TENT Restaurant Operations, Inc. DBA: Fox &STATE  Hound Restaurant           HE125757                        NULL              n/a          6/30/2014
65028     FH / English   5101 Sanderlin Road, Suite 100, Memphis, TN 38117                              SALES TAX PERMIT                      Fox & Hound Pub & Grille                        STATE                        104601781                       NULL              10/1/2005    n/a
65028     FH / English   5101 Sanderlin Road, Suite 100, Memphis, TN 38117                              SIGN PERMIT                           Fox & Hound Pub                                 COUNTY                       SR011953                        NULL              n/a          11/30/2014
65029     FH / English   10428 Metcalf, Indian Creek Shpg Ctr, Overland Park, KS 66212                  ALARM PERMIT                          Fox & Hound English Pub & Grille                CITY                         NULL                            ALR-12586
65029     FH / English   10428 Metcalf, Indian Creek Shpg Ctr, Overland Park, KS 66212                  BOILER                                Fox & Hound of Kansas, Inc.                     STATE                        NB74864                         NULL              n/a          8/8/2014
65029     FH / English   10428 Metcalf, Indian Creek Shpg Ctr, Overland Park, KS 66212                  CIGARETTE DEALER'S LICENSE            Fox & Hound of Kansas, Inc. DBA: Fox & Hound    STATE
                                                                                                                                                                                                 English Pub & Grille      RD000774                        NULL              1/1/2014     12/31/2015
65029     FH / English   10428 Metcalf, Indian Creek Shpg Ctr, Overland Park, KS 66212                  Grease Interceptor Operating Permit   Fox & Hound English Pub & Grille                COUNTY                       13-0362                         NULL              n/a          4/15/2014
65029     FH / English   10428 Metcalf, Indian Creek Shpg Ctr, Overland Park, KS 66212                  HEALTH                                Fox & Hound of Kansas, Inc. DBA: Fox & Hound    CITY
                                                                                                                                                                                                 English Pub & Grille      RST1998-00059                   NULL              10/1/2012    11/4/2013
65029     FH / English   10428 Metcalf, Indian Creek Shpg Ctr, Overland Park, KS 66212                  HEALTH                                Fox & Hound of Kansas, Inc.                     STATE                        101465                          NULL              4/1/2013     3/31/2014
65029     FH / English   10428 Metcalf, Indian Creek Shpg Ctr, Overland Park, KS 66212                  SALES TAX                             Fox & Hound of Kansas, Inc.                     STATE                        10195656                        NULL              4/1/1998     n/a
65030     FH / English   4834 Everhard Road, Canton, OH 44718                                           CIGARETTE                             Fox & Hound of Ohio, Inc.                       STATE                        76-090240                       NULL              5/20/2013    5/26/2014
65030     FH / English   4834 Everhard Road, Canton, OH 44718                                           HEALTH                                Fox & Hound of Ohio, Inc. DBA: Fox & HoundSTATE  English Pub & Grille        1200                            NULL              2/25/2013    3/1/2014
65030     FH / English   4834 Everhard Road, Canton, OH 44718                                           VENDOR'S LICENSE                      Fox & Hound of Ohio, Inc.                       STATE                                                        76136426          11/19/1998   n/a
65031     B / Pub        Rams Plaza, 1722 Fordham Blvd, Chapel Hill, NC 27514                           HEALTH                                Fox & Hound Restaurant Group                    STATE                        900826                          NULL              n/a          11/1/2014
65031     B / Pub        Rams Plaza, 1722 Fordham Blvd, Chapel Hill, NC 27514                           PRIVILEGE                             TENT Restaurant Operations, Inc. DBA: Bailey's  CITY
                                                                                                                                                                                                 Pub & Grille              BusLic#166 Customer#2588        NULL              6/25/2013    6/30/2014
65031     B / Pub        Rams Plaza, 1722 Fordham Blvd, Chapel Hill, NC 27514                           SALES & USE                           Bailey's Pub & Grille Bailey's Sports Grille, Inc.
                                                                                                                                                                                              STATE                        000402916                       600545130         10/4/2005    n/a
65031     B / Pub        Rams Plaza, 1722 Fordham Blvd, Chapel Hill, NC 27514                           Tobacco                               TENT Restaurant Operations, Inc.                STATE                        123513207                       NULL              8/27/2012    n/a
65032     FH / English   1200 S. Clearview Parkway, Elmwood Village Center, New Orleans, LA 70123       OCCUPATIONAL                          Fox & Hound English Pub & Grille                STATE/COUNTY                 8652218                         16178566          n/a          12/31/2013
65032     FH / English   1200 S. Clearview Parkway, Elmwood Village Center, New Orleans, LA 70123       RESALE CERTIFICATE                    Fox & Hound of Louisiana, Inc. DBA: Fox & Hound STATEEnglish Pub & Grille    NULL                            9961970-001-400   9/21/2012    9/21/2015
65032     FH / English   1200 S. Clearview Parkway, Elmwood Village Center, New Orleans, LA 70123       TOBACCO                               Fox & Hound of Louisiana, Inc. DBA: Fox & Hound STATEEnglish Pub & Grille    T.26.0050000733-P               NULL              3/1/2013     2/28/2014
65033     FH / English   2002 N. Way Mall, McKnight Road, Pittsburgh, PA 15237                          CIGARETTE                             Fox & Hound English Pub & Grille                STATE                        02250744                        NULL              2/7/2013     2/28/2014
65033     FH / English   2002 N. Way Mall, McKnight Road, Pittsburgh, PA 15237                          HEALTH                                Fox & Hound English Pub                         COUNTY                       201211270011                    57906             n/a          12/31/2014
65033     FH / English   2002 N. Way Mall, McKnight Road, Pittsburgh, PA 15237                          MERCHANT'S LICENSE                    TENT Restaurant Operations, Inc.                CITY                         9020893                         NULL              12/17/2012   12/31/2013
65033     FH / English   2002 N. Way Mall, McKnight Road, Pittsburgh, PA 15237                          POOL TABLE REGISTRATION               TENT Restaurant Operations, Inc.                TOWNSHIP                     X-000142                        NULL              1/2/2014     12/31/2014




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65033     FH / English   2002 N. Way Mall, McKnight Road, Pittsburgh, PA 15237        SALES TAX                         Fox & Hound English Pub & Grille            STATE                       83378956                    NULL        10/16/2011   10/31/2016
65034     FH / English   Thruway Mall, 367 Lower Mall, Winston-Salem, NC 27103        HEALTH                            Fox & Hound Restaurant Group                STATE                       Corp Acnt# 900826           NULL        n/a          11/1/2014
65034     FH / English   Thruway Mall, 367 Lower Mall, Winston-Salem, NC 27103        PRIVILEGE / BILLIARD LICENSE      Winston-Salem Fox & Hound, Inc.             CITY                        4941                        NULL        7/9/2013     6/30/2014
65034     FH / English   Thruway Mall, 367 Lower Mall, Winston-Salem, NC 27103        RESTAURANT PRIVILEGE              Winston Salem Fox & Hound                   CITY                        4816                        NULL        6/11/2012    6/30/2013
65034     FH / English   Thruway Mall, 367 Lower Mall, Winston-Salem, NC 27103        SALES & USE                       Winston Salem Fox & Hound, Inc. DBA: Fox &STATE
                                                                                                                                                                     Hound English Pub & Grille 600587921                   NULL        8/1/2016     n/a
65034     FH / English   Thruway Mall, 367 Lower Mall, Winston-Salem, NC 27103        TOBACCO                           Winston Salem Fox & Hound, Inc.             STATE                       123516552                   NULL        9/27/2012    n/a
65035     FH / English   4901 E. 82nd Street, Suite 900, Indianapolis, IN 46250       HEALTH                            Fox & Hound of Indiana, Inc. DBA: Fox & Hound
                                                                                                                                                                    COUNTY
                                                                                                                                                                        English Pub & Grille    94145                       NULL        1/30/2013    12/31/2013
65035     FH / English   4901 E. 82nd Street, Suite 900, Indianapolis, IN 46250       MERCHANT'S LICENSE                Fox & Hound English Pub & Grille            STATE                       TID0007313411               NULL        5/2/2012     5/31/2014
65035     FH / English   4901 E. 82nd Street, Suite 900, Indianapolis, IN 46250       TOBACCO                           Fox & Hound of Indiana, Inc.                STATE                       TC08434003                  NULL        11/9/2011    4/13/2015
65036     FH / English   11470 Westheimer Road, Houston, TX 77077                     BURG ALARM PERMIT-POLICE DEPT.    Fox & Hound English Pub                     CITY                        99021442                    NULL        n/a          12/10/2011
65036     FH / English   11470 Westheimer Road, Houston, TX 77077                     Combistible Waste Storage         Fox & Hound English Pub & Grille            CITY                        04090313/5144521            NULL        7/17/2013    8/27/2014
65036     FH / English   11470 Westheimer Road, Houston, TX 77077                     FIRE ALARM PERMIT - FIRE GOUP A   Fox & Hound English Pub & Grille            CITY                        HFD04004784                 NULL        9/23/2013    9/23/2014
65036     FH / English   11470 Westheimer Road, Houston, TX 77077                     HEALTH-GREASE                     Fox & Hound English Pub & Grille            CITY                        985104                      NULL        1/23/2013    2/12/2014
65036     FH / English   11470 Westheimer Road, Houston, TX 77077                     Place of Assembly                 Fox & Hound Restaurant Group DBA: Fox & Hound
                                                                                                                                                                    CITY English Pub & Grille 04079761/5154441-p2           NULL        7/2/2013     8/27/2014
65036     FH / English   11470 Westheimer Road, Houston, TX 77077                     SALES TAX                         F & H Restaurants of Texas, Inc. DBA: Fox & Hound
                                                                                                                                                                    STATE English Pub & Grille 3-20032-6180-0               NULL        1/1/2009     n/a
65036     FH / English   11470 Westheimer Road, Houston, TX 77077                     SALES TAX                         Rocket Beverage Corporation DBA: Fox & HoundSTATEEnglish Pub & Grille   3-20008-2945-0              NULL        12/13/1998   n/a
65036     FH / English   11470 Westheimer Road, Houston, TX 77077                     SIGN PERMIT                       Fox & Hound English Pub & Grille            CITY                        #98096275, 277 &280         102428      n/a          10/31/2013
65036     FH / English   11470 Westheimer Road, Houston, TX 77077                     TABACCO PERMIT                    F & H Restaurants of Texas, Inc. DBA: Fox & Hound
                                                                                                                                                                    STATE English Pub & Grille 09002982                     NULL        6/1/2012     5/31/2014
65038     B / Pub        22091 Michigan Ave., Dearborn, MI 48124                      AMUSEMENT DEVICES                 Bailey's Pub & Grille                       CITY                        13-00075359                 NULL        12/13/2013   12/1/2014
65038     B / Pub        22091 Michigan Ave., Dearborn, MI 48124                      BILLIARD PERMIT                   Bailey's Pub & Grille                       CITY                        13-00064460                 NULL        11/6/2013    11/28/2014
65038     B / Pub        22091 Michigan Ave., Dearborn, MI 48124                      FOOD ESTABLISHMENT                Bailey's Pub & Grille                       CITY                        13-00064517                 NULL        12/9/2013    12/5/2014
65038     B / Pub        22091 Michigan Ave., Dearborn, MI 48124                      HEALTH                            TENT Restaurant Operations, Inc.            COUNTY                      SFE4882053612               NULL        n/a          4/30/2014
65038     B / Pub        22091 Michigan Ave., Dearborn, MI 48124                      SALES TAX LICENSE                 TENT Restaurant Operations, Inc.            STATE                       U56-1985556                 NULL        n/a          9/30/2015
65039     FH / English   8735 Day Drive, Parma, OH 44129                              BILLIARDS LICENSE                 Fox & Hound English Pub & Grille            CITY                        645                         NULL        12/10/2012   12/31/2013
65039     FH / English   8735 Day Drive, Parma, OH 44129                              CIGARETTE                         Fox & Hound of Ohio, Inc.                   STATE                       18-R140505                  NULL        5/7/2013     5/25/2014
65039     FH / English   8735 Day Drive, Parma, OH 44129                              COIN-OP LICENSE                   Fox & Hound English Pub                     CITY                        1576                        NULL        12/10/2012   12/31/2013
65039     FH / English   8735 Day Drive, Parma, OH 44129                              FOOD HANDLERS PERMIT              Fox & Hound English Pub & Grille            CITY                        1316                        NULL        12/10/2012   12/31/2013
65039     FH / English   8735 Day Drive, Parma, OH 44129                              HEALTH                            Fox & Hound of Ohio, Inc.                   COUNTY                      Lic#1079                    NULL        2/8/2013     3/1/2014
65039     FH / English   8735 Day Drive, Parma, OH 44129                              VENDOR'S LICENSE                  Fox & Hound of Ohio, Inc.                   STATE                       18-478181                   NULL        9/6/2000     n/a
65041     B / Pub        408 Broadway, Nashville, TN 37203                            ALARM                             Bailey's Bar & Grille                       CITY                        15569                       NULL        n/a          4/1/2014
65041     B / Pub        408 Broadway, Nashville, TN 37203                            BOILER #T63953                    TENT Restaurant Operations, Inc. Bailey's Sport
                                                                                                                                                                    STATE
                                                                                                                                                                        Grille                  T63953                      NULL        1/28/2011    1/19/2013
65041     B / Pub        408 Broadway, Nashville, TN 37203                            BOILER #T72767                    TENT Restaurant Operations, Inc. Bailey's Sport
                                                                                                                                                                    STATE
                                                                                                                                                                        Grille                  T72767                      NULL        7/26/2013    1/19/2015
65041     B / Pub        408 Broadway, Nashville, TN 37203                            BUSINESS                          TENT Restaurant Operations, Inc.            CITY                        134283                      NULL        6/20/2013    3/31/2014
65041     B / Pub        408 Broadway, Nashville, TN 37203                            BUSINESS                          TENT Restaurant Operations, Inc.            COUNTY                      134283                      NULL        6/20/2013    3/31/2014
65041     B / Pub        408 Broadway, Nashville, TN 37203                            DANCE PERMIT                      TENT Restaurant Operations, Inc.            CITY/COUNTY                 8390                        NULL        10/15/2013   10/16/2014
65041     B / Pub        408 Broadway, Nashville, TN 37203                            ELAVATOR #32586                   Bailey's Pub & Grille                       STATE                       32586                       NULL        4/3/2013     4/30/2014
65041     B / Pub        408 Broadway, Nashville, TN 37203                            HEALTH                            TENT Restaurant Operations, Inc.            STATE                       HE160445                    NULL        n/a          6/30/2014
65041     B / Pub        408 Broadway, Nashville, TN 37203                            HEALTH                            TENT Restaurant Operations, Inc.            STATE                       HE148070                    NULL        n/a          6/30/2014
65042     FH / English   6051 SW Loop 820, Suite 322, Fort Worth, TX 76132            ALARM PERMIT                      Corey Cosby                                 CITY                        C-1019696                   NULL        4/24/2013    4/30/2014
65042     FH / English   6051 SW Loop 820, Suite 322, Fort Worth, TX 76132            BILLIARD PERMIT                   Fox & Hound Inc. Fox & Hound English Pub &CITY
                                                                                                                                                                     Grille                     Acnt#004858-36              NULL        3/18/2013    4/10/2014
65042     FH / English   6051 SW Loop 820, Suite 322, Fort Worth, TX 76132            GREASE TRAP                       Fox & Hound English Pub & Grille            CITY                        GI680                       NULL        6/27/2013    7/15/2014
65042     FH / English   6051 SW Loop 820, Suite 322, Fort Worth, TX 76132            HEALTH (2 licenses)               F & H of Texas, Inc. Fox & Hound English PubCITY
                                                                                                                                                                     & Grille                   165584                      NULL        4/1/2013     3/10/2014
65042     FH / English   6051 SW Loop 820, Suite 322, Fort Worth, TX 76132            SALES TAX PERMIT                  F & H Restaurants of Texas, Inc.            STATE                       3-20032-6180-0              NULL        1/1/2009     n/a
65042     FH / English   6051 SW Loop 820, Suite 322, Fort Worth, TX 76132            SALES TAX PERMIT                  Bryant Beverage Corporation                 STATE                       1-XX-XXXXXXX-9              NULL        3/1/2001     n/a
65042     FH / English   6051 SW Loop 820, Suite 322, Fort Worth, TX 76132            TABACCO PERMIT                    Fox & Hound English Pub & Grille            STATE                       #09002985                   NULL        6/1/2012     5/31/2014
65043     FH / English   603 Houston Street, Fort Worth, TX 76102                     ALARM                             Ken Syvarth c/o Fox & Hound English Pub & Grille
                                                                                                                                                                    CITY                        C-1019944                   NULL        7/25/2013    7/31/2014
65043     FH / English   603 Houston Street, Fort Worth, TX 76102                     BILLIARD PERMIT                   Downtown Beverage Corp Fox & Hound English  CITYPub & Grille            Acnt#004918-36              NULL        6/17/2013    7/1/2014
65043     FH / English   603 Houston Street, Fort Worth, TX 76102                     GREASE TRAP                       Fox & Hound English Pub & Grille            CITY                        GI681                       NULL        3/18/2013    4/8/2014
65043     FH / English   603 Houston Street, Fort Worth, TX 76102                     HEALTH (3 licenses)               F & H of Texas, Inc. Fox & Hound English PubCITY
                                                                                                                                                                     & Grille                   1655950, 1655951, 1955952   NULL        4/5/2013     3/10/2014
65043     FH / English   603 Houston Street, Fort Worth, TX 76102                     SALES TAX PERMIT                  F & H Restaurants of Texas, Inc.            STATE                       3-20032-6180-0              NULL        1/1/2019     n/a
65043     FH / English   603 Houston Street, Fort Worth, TX 76102                     SALES TAX PERMIT                  Downtown Beverage Corp Fox & Hound English  STATE
                                                                                                                                                                        Pub & Grille            1-XX-XXXXXXX-8              NULL        10/29/2001   n/a
65043     FH / English   603 Houston Street, Fort Worth, TX 76102                     TABACCO PERMIT                    Fox & Hound English Pub & Grille            STATE                       #09002981                   NULL        6/1/2012     5/31/2014
65047     FH / Smoke     15235 John J. Delaney Drive, Charlotte, NC 28277             ALARM                             Fox & Hound                                 CITY                        Reg#02005382                NULL        n/a          6/1/2014
65047     FH / Smoke     15235 John J. Delaney Drive, Charlotte, NC 28277             HEALTH                            Fox & Hound Restaurant Group                STATE                       Corp Acnt#900826            NULL        n/a          11/1/2014
65047     FH / Smoke     15235 John J. Delaney Drive, Charlotte, NC 28277             PLACE OF ASSEMBLY                 Fox & Hound                                 CITY                        2009-30423766               NULL        1/27/2013    1/26/2014
65047     FH / Smoke     15235 John J. Delaney Drive, Charlotte, NC 28277             PRIVILEGE- AMUSEMENT              Fox & Hound Smokehouse & Tavern-TENT Restaurant
                                                                                                                                                                    CITY/COUNTYOperations, Inc. Acnt# 115544                NULL        7/1/2013     6/30/2014
65047     FH / Smoke     15235 John J. Delaney Drive, Charlotte, NC 28277             TOBACCO                           TENT Restaurant Operations, Inc.            STATE                       1                           NULL        8/27/2012    n/a
65049     FH / Smoke     4750 W 120th Ave, Suite 900, Westminster, CO 80020           AMUSEMENT PERMIT                  Fox & Hound of Colorado, Inc.               CITY                        Acnt#2214901                NULL        12/12/2013   12/31/2014
65049     FH / Smoke     4750 W 120th Ave, Suite 900, Westminster, CO 80020           BOILER                            Fox & Hound                                 STATE                       Acnt#3539053                NULL        n/a          n/a
65049     FH / Smoke     4750 W 120th Ave, Suite 900, Westminster, CO 80020           BUSINESS                          Fox & Hound of Colorado, Inc.               CITY                        Acnt#2214901                NULL        12/12/2013   12/31/2014
65049     FH / Smoke     4750 W 120th Ave, Suite 900, Westminster, CO 80020           HEALTH PERMIT                     Fox & Hound of Colorado, Inc.               STATE                       40-67874-0001               NULL        12/31/2012   12/31/2013
65049     FH / Smoke     4750 W 120th Ave, Suite 900, Westminster, CO 80020           SALES TAX                         Fox & Hound of Colorado, Inc.               STATE                       1                           NULL        12/16/2013   12/31/2015




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Store #   DBA            Address                                                              Description                            Name on License/Invoice                  Jurisdiction        PermitNo                     AccountNo   Issue Date   Expiration Date
65051     B / Smoke      7502 W Broad Street, Richmond, VA 23294                              BUSINESS LICENSE                       TENT Restaurant Operations, Inc.         COUNTY              Acnt#T06072004               NULL        4/23/2013    12/31/2013
65051     B / Smoke      7502 W Broad Street, Richmond, VA 23294                              HEALTH                                 TENT Restaurant Operations, Inc.         COUNTY              NO#                          NULL        12/4/2012    1/31/2014
65051     B / Smoke      7502 W Broad Street, Richmond, VA 23294                              MBAR                                   TENT Restaurant Operations, Inc.         STATE               NULL                         NULL        n/a          1/31/2014
65052     FH / English   112 W Campbell Road, Richardson, TX 75080                            ALARM                                  Fox & Hound of Richardson, Ltd           CITY                #21702                       NULL        7/16/2002    7/16/2013
65052     FH / English   112 W Campbell Road, Richardson, TX 75080                            HEALTH                                 F & H Restaurants of Texas, Inc.         CITY                #1608                        NULL        6/25/2013    6/4/2014
65052     FH / English   112 W Campbell Road, Richardson, TX 75080                            SALES TAX PERMIT                       F & H Restaurants of Texas, Inc.         STATE               1                            NULL        1/1/2009     n/a
65052     FH / English   112 W Campbell Road, Richardson, TX 75080                            SALES TAX PERMIT                       Campbell Beverage Corp                   STATE               1                            NULL        6/1/2002     n/a
65052     FH / English   112 W Campbell Road, Richardson, TX 75080                            TOBACCO                                F & H Restaurants of Texas, Inc.         STATE               #09002986                    NULL        6/1/2012     5/31/2014
65055     FH / Smoke     1416 N Roselle Road, Units 30-32, Schaumburg, IL 60195               BOILER & HEALTH                        Fox and Hound                            COUNTY              1                            NULL        4/15/2013    4/15/2014
65055     FH / Smoke     1416 N Roselle Road, Units 30-32, Schaumburg, IL 60195               BUSINESS - FOOD ESTABLISHMENT          Fox & Hound Sports Tavern                VILLAGE             Acnt#101129 Lic#1796         NULL        11/25/2013   12/31/2014
65055     FH / Smoke     1416 N Roselle Road, Units 30-32, Schaumburg, IL 60195               BUSINESS - GENERAL                     Fox & Hound Sports Tavern                VILLAGE             Acnt #101129 Lic#1799        NULL        11/25/2013   12/31/2014
65055     FH / Smoke     1416 N Roselle Road, Units 30-32, Schaumburg, IL 60195               BUSINESS - sign 46077                  Fox & Hound Sports Tavern                VILLAGE             101129                       NULL        11/25/2013   12/31/2014
65055     FH / Smoke     1416 N Roselle Road, Units 30-32, Schaumburg, IL 60195               BUSINESS - sign 46078                  Fox & Hound Sports Tavern                VILLAGE             101129                       NULL        11/25/2013   12/31/2014
65055     FH / Smoke     1416 N Roselle Road, Units 30-32, Schaumburg, IL 60195               BUSINESS - sign 34500                  Fox & Hound Smokehouse & Tavern          VILLAGE             101129                       NULL        11/30/2012   12/31/2013
65055     FH / Smoke     1416 N Roselle Road, Units 30-32, Schaumburg, IL 60195               BUSINESS - sign 35087                  Fox & Hound Smokehouse & Tavern          VILLAGE             101129                       NULL        11/30/2012   12/31/2013
65055     FH / Smoke     1416 N Roselle Road, Units 30-32, Schaumburg, IL 60195               Entertainment Annual                   Fox & Hound Sports Tavern                VILLAGE             Acnt#101129 Lic#1798         NULL        11/25/2013   12/31/2014
65055     FH / Smoke     1416 N Roselle Road, Units 30-32, Schaumburg, IL 60195               FIRE ALARM SYSTEM                      Fox & Hound Sports Tavern                VILLAGE             Acnt#101129 Lic#1800         NULL        11/25/2013   12/31/2014
65055     FH / Smoke     1416 N Roselle Road, Units 30-32, Schaumburg, IL 60195               HEALTH                                 Fox & Hound Sports Tavern                VILLAGE             NULL                         NULL        11/25/2013   12/31/2014
65055     FH / Smoke     1416 N Roselle Road, Units 30-32, Schaumburg, IL 60195               SALES TAX PERMIT                       Fox & Hound of Illinois, Inc.            STATE               NULL                         NULL        11/30/2012   11/30/2017
65056     FH / Smoke     12802 Gulf Freeway, Houston, TX 77034                                BURG PANIC ALARM PEMIT                 Fox & Hound Smokehouse                   CITY                1                            NULL        n/a          12/31/2013
65056     FH / Smoke     12802 Gulf Freeway, Houston, TX 77034                                FIRE COMMERCIAL GROUP B                Fox & Hound Smoke House & Tavern         CITY                HFD06005972                  NULL        9/15/2013    9/15/2014
65056     FH / Smoke     12802 Gulf Freeway, Houston, TX 77034                                FIRE PREVENTION PERMIT/ASSEMBLY        Fox & Hound                              CITY                Permit#05157037/4411978 p2   NULL        7/2/2013     8/10/2014
65056     FH / Smoke     12802 Gulf Freeway, Houston, TX 77034                                GREASE & FOOD DEALER PERMIT            Fox & Hound Smokehouse & Tavern          CITY                Permit#57315 Acnt#217141     NULL        1/15/2013    1/22/2014
65056     FH / Smoke     12802 Gulf Freeway, Houston, TX 77034                                SALES TAX PERMIT                       Fuqua Beverage Corp                      STATE               1-XX-XXXXXXX-0               NULL        3/7/2002     n/a
65056     FH / Smoke     12802 Gulf Freeway, Houston, TX 77034                                SALES TAX PERMIT                       Fox & Hound of Houston #2 Ltd.           STATE               3-20044-1162-8               NULL        3/7/2002     n/a
65056     FH / Smoke     12802 Gulf Freeway, Houston, TX 77034                                SIGN PERMIT #02116568 & #02116732      Fox & Hound                              CITY                1                            NULL        n/a          11/30/2013
65056     FH / Smoke     12802 Gulf Freeway, Houston, TX 77034                                TABACCO PERMIT                         Fox & Hound Smokehouse & Tavern          STATE               #09002980                    NULL        6/1/2012     5/31/2014
65057     FH / Smoke     7625 N LaCholla Blvd., Tucson, AZ 85741                              HEALTH                                 Fox & Hound Smokehouse & Tavern          COUNTY              3028258-1621B                            11/18/2013   11/30/2014
65057     FH / Smoke     7625 N LaCholla Blvd., Tucson, AZ 85741                              PRIVILEGE TAX LICENSE                  Fox & Hound of Arizona, Inc.             STATE               07-630866-V                  NULL        10/7/2002    n/a
65059     FH / Smoke     9239 Park Meadows Drive, Lone Tree, CO 80124                         BUSINESS                               Fox & Hound Smokehouse & Tavern          CITY                Lic#618                      NULL        1/1/2014     12/31/2014
65059     FH / Smoke     9239 Park Meadows Drive, Lone Tree, CO 80124                         HEALTH                                 Fox & Hound of Colorado, Inc.            STATE               47-67874-0004                NULL        12/31/2012   12/31/2013
65059     FH / Smoke     9239 Park Meadows Drive, Lone Tree, CO 80124                         SALES & USE TAX                        Fox & Hound of Colorado, Inc.            STATE               47-67874-0004                NULL        12/16/2013   12/31/2015
65060     FH / Smoke     910-918 W Dundee Rd., Ste A01-A03, Arlington Heights, IL 60004       BUSINESS - BILLIARD, HEALTH & BUSINESS Fox & Hound Smokehouse & Tavern          VILLAGE             Lic#09-00010537              NULL        12/19/2012   12/31/2013
65060     FH / Smoke     910-918 W Dundee Rd., Ste A01-A03, Arlington Heights, IL 60004       SALES TAX PERMIT                       Fox & Hound of Illinois, Inc.            STATE               IBT#2875-2661                NULL        n/a          11/30/2017
65061     FH / Smoke     1501 Spruce Street, Philadelphia, PA 19102                           ALARM                                  Pennsylvania Fox & Hound Inc. /#315      CITY                Regis#A228482                NULL        n/a          5/31/2014
65061     FH / Smoke     1501 Spruce Street, Philadelphia, PA 19102                           BUSINESS PRIVILEGE LICENSE             TENT Restaurant Operations, Inc.         CITY                8488728                      NULL        12/17/2005   n/a
65061     FH / Smoke     1501 Spruce Street, Philadelphia, PA 19102                           DEPT. OF REVENUE - SALES & USE         TENT Restaurant Operations, Inc.         STATE               #83378992                    NULL        3/27/2010    4/30/2015
65061     FH / Smoke     1501 Spruce Street, Philadelphia, PA 19102                           FOOD PREP PERMIT                       TENT Restaurant Operations, Inc.         CITY                Lic#366918                   NULL        4/23/2013    4/30/2014
65062     B / Pub        4238 Wilson Blvd., Arlington, Virginia 22203                         BUSINESS LICENSE restaurant #611       TENT Restaurant Operations, Inc.         COUNTY              BLC1000007247-04             NULL        n/a          12/31/2013
65062     B / Pub        4238 Wilson Blvd., Arlington, Virginia 22203                         FIRE PREVENTION                        Bailey's Pub                             COUNTY              P-9032A-13-0486              NULL        2/1/2013     2/28/2014
65062     B / Pub        4238 Wilson Blvd., Arlington, Virginia 22203                         HEALTH                                 TENT Restaurant Operations, Inc.         COUNTY              Owner#NGOZ5MSK2H             NULL        n/a          12/31/2014
65062     B / Pub        4238 Wilson Blvd., Arlington, Virginia 22203                         MBAR                                   TENT Restaurant Operations, Inc.         STATE               NULL                         NULL        n/a          2/1/2014
65063     FH / Pub       4301 The Lane @ 25 NE, Albuquerque, NM 87109                         BAR - Business license                 Fox & Hound Smokehouse & Tavern          CITY                RecordID PT0055433           NULL
65063     FH / Pub       4301 The Lane @ 25 NE, Albuquerque, NM 87109                         BUSINESS Registration                  Fox & Hound Smokehouse & Tavern          CITY                RecordID PT0050460           NULL        3/25/2013    3/31/2014
65063     FH / Pub       4301 The Lane @ 25 NE, Albuquerque, NM 87109                         FIRE PLACE OF ASSEMBLY                 Fox & Hound Pub & Grill                  CITY                NULL                         NULL        2/27/2012    2/27/2013
65063     FH / Pub       4301 The Lane @ 25 NE, Albuquerque, NM 87109                         FODD SERVICE Business license          Fox & Hound Smokehouse & Tavern          CITY                Record ID PT0055432          NULL        4/1/2013     3/31/2014
65063     FH / Pub       4301 The Lane @ 25 NE, Albuquerque, NM 87109                         MINORS ON PREMISE                      Fox & Hound of New Mexico, Inc.          STATE               1                            NULL        10/4/2011    n/a
65063     FH / Pub       4301 The Lane @ 25 NE, Albuquerque, NM 87109                         POLICE ALARM                           Fox & Hound Pu b & Grille                CITY                88704                        NULL        n/a          9/23/2014
65064     FH / Pub       3031 W Memorial Road, Oklahoma City, OK 73134                        ALARM PERMIT                           Fox & Hound of Oklahoma, Inc.            CITY                4417362                      NULL        n/a          8/31/2014
65064     FH / Pub       3031 W Memorial Road, Oklahoma City, OK 73134                        FOOD PERMIT                            Fox & Hound                              STATE               Facility#55-50985            NULL        9/10/2013    9/10/2014
65064     FH / Pub       3031 W Memorial Road, Oklahoma City, OK 73134                        FOOD SERVICE ESTABLISHMENT             Fox & Houndf of Oklahoma, Inc. DBA Fox & Hound
                                                                                                                                                                              CITY Pub & Grille   BUS-07545                    NULL        9/5/2013     9/10/2014
65064     FH / Pub       3031 W Memorial Road, Oklahoma City, OK 73134                        SALES TAX, LOW POINT BEER, CIGARETE, TOBACCO
                                                                                                                                     Fox & Hound
                                                                                                                                              & MIXED
                                                                                                                                                  of Oklahoma,
                                                                                                                                                      BEVERAGEInc.            OK TAX COMMISSION   949920000                    NULL        11/10/2012   7/29/2015
65066     FH / Pub       160 N. Gulph Road, Suite 211, King Of Prussia, PA 19406              ALARM                                  Fox & Hound Pub & Grille                 TOWNSHIP            NULL                         NULL        n/a          n/a
65066     FH / Pub       160 N. Gulph Road, Suite 211, King Of Prussia, PA 19406              BUSINESS / AMUSEMENT                   Fox & Hound TENT Restaurant Operations, Inc.
                                                                                                                                                                              TOWNSHIP            13546                        NULL        n/a          12/31/2013
65066     FH / Pub       160 N. Gulph Road, Suite 211, King Of Prussia, PA 19406              BUSINESS / PRIVILEGE LICENSE/MERCANTILEFox & Hound                              TOWNSHIP            13-0000013546                NULL        2/28/2013    12/31/2013
65066     FH / Pub       160 N. Gulph Road, Suite 211, King Of Prussia, PA 19406              CIGARETTE                              TENT Restaurant Operations, Inc.         STATE               Lic#46250976                 NULL        1/14/2013    2/28/2014
65066     FH / Pub       160 N. Gulph Road, Suite 211, King Of Prussia, PA 19406              HEALTH                                 Fox & Hound Pub & Grille                 COUNTY              A3546                        NULL        n/a          10/31/2014
65066     FH / Pub       160 N. Gulph Road, Suite 211, King Of Prussia, PA 19406              SALES TAX                              TENT Restaurant Operations, Inc.         STATE               #83380581                    NULL        3/27/2010    4/30/2015
65067     B / Pub        11581 Robious Road, Richmond, VA 23235                               ALARM                                  TENT Restaurant Operations, Inc.         COUNTY              #044876                      NULL        n/a          12/31/2013
65067     B / Pub        11581 Robious Road, Richmond, VA 23235                               BUSINESS                               TENT Restaurant Operations, Inc.         COUNTY              1258363                      NULL        1/29/2013    12/31/2013
65067     B / Pub        11581 Robious Road, Richmond, VA 23235                               HEALTH                                 Fox & Hound Restaurant Group             COUNTY              Owner#KBAD-6KWKLN            NULL        n/a          1/31/2014
65067     B / Pub        11581 Robious Road, Richmond, VA 23235                               MBAR                                   TENT Restaurant Operations, Inc.         STATE               NULL                         NULL        n/a          2/1/2014




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Store #   DBA        Address                                                            Description                            Name on License/Invoice                Jurisdiction           PermitNo                  AccountNo           Issue Date   Expiration Date
65069     FH / Pub   1421 Waterfront Parkway, Wichita, KS 67206                         ALARM                                  Fox & Hound                            CITY                   0                         NULL                n/a          9/27/2014
65069     FH / Pub   1421 Waterfront Parkway, Wichita, KS 67206                         CIGARETTE DEALER'S LICENSE             Fox & Hound Smokehouse & Tavern Fox & Hound
                                                                                                                                                                      STATEof Kansas, Inc.   RD005327                  NULL                n/a          12/31/2015
65069     FH / Pub   1421 Waterfront Parkway, Wichita, KS 67206                         ENTERTAINMENT LICENSE                  Fox & Hound Pub & Grille               CITY                   2014-29238                NULL                3/11/2013    4/13/2014
65069     FH / Pub   1421 Waterfront Parkway, Wichita, KS 67206                         HEALTH                                 Fox & Hound Restaurant Group           STATE                  96266                     NULL                n/a          3/31/2014
65069     FH / Pub   1421 Waterfront Parkway, Wichita, KS 67206                         SALES TAX                              Fox & Hound of Kansas, Inc.            STATE                  004-481197699F-01                             1/1/2004     n/a
65069     FH / Pub   1421 Waterfront Parkway, Wichita, KS 67206                         TOBACCO                                Fox & Hound                            CITY                   2014-17457                NULL                12/11/2013   12/31/2014
65069     FH / Pub   1421 Waterfront Parkway, Wichita, KS 67206                         USE TAX                                Fox & Hound of Kansas, Inc.            STATE                  006-481197699F-01         006-481197699F-01   4/4/2003     n/a
65070     B / Pub    1965 West Maple Road, Troy, MI 48084                               COIN OPERATED / BILLIARD & AMUSEMENTS  TENT
                                                                                                                                 PERMIT
                                                                                                                                     Restaurant Operations, Inc.      CITY                   2013-007                  NULL                1/21/2013    12/31/2013
65070     B / Pub    1965 West Maple Road, Troy, MI 48084                               FIRE & BURG ALARM                      Bailey's Pub & Grille                  CITY                   164013                    NULL                n/a          12/31/2013
65070     B / Pub    1965 West Maple Road, Troy, MI 48084                               HEALTH                                 TENT Restaurant Operations, Inc.       COUNTY                 SFE4063046573             NULL
65070     B / Pub    1965 West Maple Road, Troy, MI 48084                               SALES TAX LICENSE                      TENT Restaurant Operations, Inc.       STATE                  NULL                      NULL
65071     FH / Pub   8711 Lindholm Drive, Huntersville, NC 28078                        ALARM                                                                         CITY                   Regis#4884                NULL
65071     FH / Pub   8711 Lindholm Drive, Huntersville, NC 28078                        HEALTH                                                                        STATE                  Corp Acnt#900826          NULL
65071     FH / Pub   8711 Lindholm Drive, Huntersville, NC 28078                        PRIVILEGE-AMUSEMENT                                                           CITY/COUNTY            Acnt#131509 Lic#0470554   NULL
65071     FH / Pub   8711 Lindholm Drive, Huntersville, NC 28078                        SALES TAX                                                                     STATE                  Acnt# 600545013           NULL
65071     FH / Pub   8711 Lindholm Drive, Huntersville, NC 28078                        TOBACCO                                                                       STATE                  1                         NULL
65073     FH / Pub   250 Menlo Park Drive, Edison, NJ 08837                             AMUSEMENT DEVICES                                                             TOWNSHIP               NULL                      NULL
65073     FH / Pub   250 Menlo Park Drive, Edison, NJ 08837                             Elevator Inspection                                                           CITY                   0                         NULL
65073     FH / Pub   250 Menlo Park Drive, Edison, NJ 08837                             FIRE PREVENTION                                                               TOWNSHIP               Reg#1205-73560-001-01     NULL
65073     FH / Pub   250 Menlo Park Drive, Edison, NJ 08837                             FOOD PERMIT                                                                   TOWNSHIP               Lic#8636                  NULL
65073     FH / Pub   250 Menlo Park Drive, Edison, NJ 08837                             LIFE HAZARD USE REGISTRATION                                                  STATE                  Acnt#1205-73560-001-01    NULL
65073     FH / Pub   250 Menlo Park Drive, Edison, NJ 08837                             MEGA TOUCH LETTER                                                             STATE                  1205-33-058-002           NULL
65073     FH / Pub   250 Menlo Park Drive, Edison, NJ 08837                             OFF PREMISE STORAGE                                                           STATE                  Lic#1205-33-058-002       NULL
65073     FH / Pub   250 Menlo Park Drive, Edison, NJ 08837                             SALES TAX / TOBACCO                                                           STATE                  Reg#721-570-951/000       NULL
65073     FH / Pub   250 Menlo Park Drive, Edison, NJ 08837                             TOBACCO                                                                       STATE                  ID#721-570-951/000        NULL
65074     FH / Pub   2040 Hamilton Place Blvd, Suite 150, Chattanooga, TN 37421         BOILER #T60011                                                                STATE                  T60011                    NULL
65074     FH / Pub   2040 Hamilton Place Blvd, Suite 150, Chattanooga, TN 37421         BOILER #T86713                                                                STATE                  1                         NULL
65074     FH / Pub   2040 Hamilton Place Blvd, Suite 150, Chattanooga, TN 37421         BUSINESS                                                                      COUNTY                 Acnt#0681818-00           NULL
65074     FH / Pub   2040 Hamilton Place Blvd, Suite 150, Chattanooga, TN 37421         BUSINESS                                                                      CITY                   #86001                    NULL
65074     FH / Pub   2040 Hamilton Place Blvd, Suite 150, Chattanooga, TN 37421         HEALTH                                                                        STATE                  HE178382                  NULL
65074     FH / Pub   2040 Hamilton Place Blvd, Suite 150, Chattanooga, TN 37421         HEALTH                                                                        STATE                  HE178381                  NULL
65074     FH / Pub   2040 Hamilton Place Blvd, Suite 150, Chattanooga, TN 37421         SALES TAX PERMIT                                                              STATE                  Acnt#104589635            NULL
65075     FH / Pub   7001 South Garnett Road, Broken Arrow, OK 74012                    ALARM PERMIT                                                                  CITY                   Control#11433             NULL
65075     FH / Pub   7001 South Garnett Road, Broken Arrow, OK 74012                    FOOD PERMIT                                                                   CITY                   Control#11433             NULL
65075     FH / Pub   7001 South Garnett Road, Broken Arrow, OK 74012                    FOOD PERMIT                                                                   STATE                  Facility#72-54373         NULL
65075     FH / Pub   7001 South Garnett Road, Broken Arrow, OK 74012                    SALES TAX, LOW POINT BEER, CIGARETTE, TOBACCO,
                                                                                                                               Fox & Hound
                                                                                                                                         MIXED
                                                                                                                                             of Oklahoma,
                                                                                                                                                 BEVERAGEInc.         OK TAX COMMISSION      1386790912                NULL
65076     FH / Pub   370-420 W Army Trail Road, Room 410A, Bloomingdale, IL 60108       BUSINESS                                                                      VILLAGE                Bus ID#000438             NULL
65076     FH / Pub   370-420 W Army Trail Road, Room 410A, Bloomingdale, IL 60108       HEALTH                                                                        COUNTY                 Est# F21314               NULL
65076     FH / Pub   370-420 W Army Trail Road, Room 410A, Bloomingdale, IL 60108       SALES TAX PERMIT                                                              STATE                  IBT#2875-2661             NULL
65077     FH / Pub   4158 Main @ North Hills Street, Suite 111, Raleigh, NC 27609       AMPLIFIED ENTERTAINMENT                                                       CITY                   Acnt#54271                NULL
65077     FH / Pub   4158 Main @ North Hills Street, Suite 111, Raleigh, NC 27609       BOILER                                                                        STATE                  1                         NULL
65077     FH / Pub   4158 Main @ North Hills Street, Suite 111, Raleigh, NC 27609       HEALTH                                                                        STATE                  Corp Acnt#900826          NULL
65077     FH / Pub   4158 Main @ North Hills Street, Suite 111, Raleigh, NC 27609       RESTAURANT PRIVILEGE                                                          CITY                   Acnt#54271                NULL
65077     FH / Pub   4158 Main @ North Hills Street, Suite 111, Raleigh, NC 27609       SALES & USE                                                                   STATE                  Acnt#600545136            NULL
65077     FH / Pub   4158 Main @ North Hills Street, Suite 111, Raleigh, NC 27609       TOBACCO                                                                       STATE                  NULL                      NULL
65079     FH / Pub   14490 Lowes Way, Carmel, IN 46033                                  ALARM PERMIT                                                                  CITY                   NULL                      NULL
65079     FH / Pub   14490 Lowes Way, Carmel, IN 46033                                  HEALTH                                                                        COUNTY                 #0930                     NULL
65079     FH / Pub   14490 Lowes Way, Carmel, IN 46033                                  MERCHANT'S LICENSE                                                            STATE                  TID#0007313411            NULL
65079     FH / Pub   14490 Lowes Way, Carmel, IN 46033                                  SALES & USE TAX                                                               CITY                   NULL                      NULL
65079     FH / Pub   14490 Lowes Way, Carmel, IN 46033                                  TOBACCO                                                                       STATE                  TC08434001                NULL
65080     FH / Pub   17416 Chesterfield Airport Road, Chesterfield, MO 63005            Business                                                                      CITY                   #30766                    NULL
65080     FH / Pub   17416 Chesterfield Airport Road, Chesterfield, MO 63005            Health                                                                        COUNTY                 T08 16482 Estab#9377      NULL
65080     FH / Pub   17416 Chesterfield Airport Road, Chesterfield, MO 63005            KITCHEN EXHAUST JANUARY INSPECTION                                            CITY                   NULL                      NULL
65080     FH / Pub   17416 Chesterfield Airport Road, Chesterfield, MO 63005            OCCUPANCY PERMIT                                                              COUNTY                 B00077140                 NULL
65080     FH / Pub   17416 Chesterfield Airport Road, Chesterfield, MO 63005            TOBACCO                                                                       CITY                   #3007                     NULL
65082     B / Pub    20021 Century Blvd., Germantown, MD 20874                          ALARM REGISTRATION                                                            COUNTY                 C00314312                 NULL
65082     B / Pub    20021 Century Blvd., Germantown, MD 20874                          BUSINESS LICENSE                                                              STATE                  Lic#15353263              NULL
65082     B / Pub    20021 Century Blvd., Germantown, MD 20874                          DRY SPRINKLER                                                                 COUNTY                 2009015541                NULL
65082     B / Pub    20021 Century Blvd., Germantown, MD 20874                          FIRE ALARM SYSTEM                                                             COUNTY                 2009017029                NULL
65082     B / Pub    20021 Century Blvd., Germantown, MD 20874                          FOOD SERVICE                                                                  COUNTY                 Lic#18541                 NULL
65082     B / Pub    20021 Century Blvd., Germantown, MD 20874                          OCCUPANCY BURGUNDY ROOM                                                       COUNTY                 2009011915                NULL
65082     B / Pub    20021 Century Blvd., Germantown, MD 20874                          OCCUPANCY MAIN BAR                                                            COUNTY                 2009011916                NULL




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Store #   DBA            Address                                                         Description                       Name on License/Invoice     Jurisdiction    PermitNo                          AccountNo   Issue Date   Expiration Date
65082     B / Pub        20021 Century Blvd., Germantown, MD 20874                       OCCUPANCY MAIN DINING ROOM                                    COUNTY          2009030010                        NULL
65082     B / Pub        20021 Century Blvd., Germantown, MD 20874                       SALES/USE TAX                                                 STATE           NULL                              NULL
65082     B / Pub        20021 Century Blvd., Germantown, MD 20874                       VIDEO GAMES                                                   COUNTY          #08-130                           NULL
65082     B / Pub        20021 Century Blvd., Germantown, MD 20874                       WET SPRINKLER                                                 COUNTY          2009015190                        NULL
65083     FH / Pub       920 Town Center Drive, Wilmington, NC 28405                     BUSINESS LICENSE (PRIVELAGE)                                  CITY            Acnt#10-00027163                  NULL
65083     FH / Pub       920 Town Center Drive, Wilmington, NC 28405                     FIRE                                                          CITY            Cust#3372/3372                    NULL
65083     FH / Pub       920 Town Center Drive, Wilmington, NC 28405                     HEALTH                                                        STATE           Corp Acnt#900826                  NULL
65083     FH / Pub       920 Town Center Drive, Wilmington, NC 28405                     LIVE ENTERTAINMENT                                            CITY            Acnt#10-00021762                  NULL
65083     FH / Pub       920 Town Center Drive, Wilmington, NC 28405                     TOBACCO                                                       STATE           1                                 NULL
65083     FH / Pub       920 Town Center Drive, Wilmington, NC 28405                     WASTEWATER DISCHARGE-GREASE                                   CITY            0                                 NULL
65087     FH / Pub       6565 Towne Center Crossing, Southaven, MS 38671                 HEALTH                                                        STATE           ID#4711685 & #4711671             NULL
65087     FH / Pub       6565 Towne Center Crossing, Southaven, MS 38671                 PRIVILEGE                                                     CITY            Lic#2217                          NULL
65087     FH / Pub       6565 Towne Center Crossing, Southaven, MS 38671                 TOBACCO                                                       STATE           #017-141045-00002-8               NULL
65088     FH / Pub       2661 Fairfield Commons Blvd, Beavercreek, OH 45431              CIGARETTE DEALER                                              STATE           1                                 NULL
65088     FH / Pub       2661 Fairfield Commons Blvd, Beavercreek, OH 45431              HEALTH                                                        COUNTY          Lic#1080                          NULL
65088     FH / Pub       2661 Fairfield Commons Blvd, Beavercreek, OH 45431              SALES TAX                                                     STATE           #97800174                         NULL
65088     FH / Pub       2661 Fairfield Commons Blvd, Beavercreek, OH 45431              VENDOR'S LICENSE                                              STATE           #29-035422                        NULL
65089     B / Pub        12300 Jefferson Avenue, Space 110, Newport News, VA 23602       BUSINESS                                                      CITY            Acnt#715374-2009                  NULL
65089     B / Pub        12300 Jefferson Avenue, Space 110, Newport News, VA 23602       HEALTH                                                        STATE           Owner#DTRT-6GLQK2                 NULL
65089     B / Pub        12300 Jefferson Avenue, Space 110, Newport News, VA 23602       LITTER TAX                                                    STATE           Stephen @ Infosync                NULL
65089     B / Pub        12300 Jefferson Avenue, Space 110, Newport News, VA 23602       MBAR                                                          STATE           NULL                              NULL
65091     FH / Pub       5113 Bowen Drive, Mason OH 45040                                CIGARETTE DEALER'S LICENSE                                    STATE           NULL                              NULL
65091     FH / Pub       5113 Bowen Drive, Mason OH 45040                                HEALTH                                                        STATE           #386                              NULL
65091     FH / Pub       5113 Bowen Drive, Mason OH 45040                                SALES TAX                                                     STATE           NULL                              NULL
65091     FH / Pub       5113 Bowen Drive, Mason OH 45040                                VENDOR'S LICENSE                                              STATE           #83-035038                        NULL
65092     FH / Pub       3101 New Center Point Drive, Colorado Springs, CO 80922         ALARM REGISTRATION                                            CITY            NULL                              NULL
65092     FH / Pub       3101 New Center Point Drive, Colorado Springs, CO 80922         ASSEMBLY-OCCUPANCY FIRE DEPT.                                 CITY            1                                 NULL
65092     FH / Pub       3101 New Center Point Drive, Colorado Springs, CO 80922         HEALTH                                                        STATE           #42-17425-0000                    NULL
65092     FH / Pub       3101 New Center Point Drive, Colorado Springs, CO 80922         OCCUPATIONAL                                                  CITY            Lic ID#16679                      NULL
65092     FH / Pub       3101 New Center Point Drive, Colorado Springs, CO 80922         POLICE ALARM                                                  CITY            0                                 NULL
65092     FH / Pub       3101 New Center Point Drive, Colorado Springs, CO 80922         POOL HALL                                                     CITY            Lic#713659                        NULL
65092     FH / Pub       3101 New Center Point Drive, Colorado Springs, CO 80922         SALES & USE TAX                                               CITY            1                                 NULL
65093     FH / Pub       9325 Center Lake Drive, Suite 200, Charlotte, NC 28216          ALARM                                                         CITY            Registration#10017906             NULL
65093     FH / Pub       9325 Center Lake Drive, Suite 200, Charlotte, NC 28216          BOILER NC363742                                               STATE           NC# NC363742 National Bd#107485   NULL
65093     FH / Pub       9325 Center Lake Drive, Suite 200, Charlotte, NC 28216          FIRE PREVENTION (FIRE DEPT.)                                  CITY            Permit#2008-33134099              NULL
65093     FH / Pub       9325 Center Lake Drive, Suite 200, Charlotte, NC 28216          HEALTH                                                        STATE           Corp Acnt#900826                  NULL
65093     FH / Pub       9325 Center Lake Drive, Suite 200, Charlotte, NC 28216          PLACE OF ASSEMBLY                                             CITY            1                                 NULL
65093     FH / Pub       9325 Center Lake Drive, Suite 200, Charlotte, NC 28216          PRIVILEGE- AMUSEMENT                                          CITY/COUNTY     #149722                           NULL
65093     FH / Pub       9325 Center Lake Drive, Suite 200, Charlotte, NC 28216          SALES/USE                                                     STATE           NULL                              NULL
65093     FH / Pub       9325 Center Lake Drive, Suite 200, Charlotte, NC 28216          TOBACCO                                                       STATE           1                                 NULL
65095     FH / English   2625 Brindle Drive, Harrisburg East, PA 17110                   COIN-OP                                                       CITY/COUNTY     1                                 NULL
65095     FH / English   2625 Brindle Drive, Harrisburg East, PA 17110                   HEALTH                                                        CITY/COUNTY     1                                 NULL
65095     FH / English   2625 Brindle Drive, Harrisburg East, PA 17110                   SALES TAX                                                     STATE           1                                 NULL
65095     FH / English   2625 Brindle Drive, Harrisburg East, PA 17110                   TOBACCO                                                       STATE           1                                 NULL
65201     Champps        1641 Plymouth Road, Minnetonka, MN 55305                        ALARM                                                         CITY            Location#10026                    NULL
65201     Champps        1641 Plymouth Road, Minnetonka, MN 55305                        BUSINESS/HEALTH                                               CITY            NULL                              NULL
65201     Champps        1641 Plymouth Road, Minnetonka, MN 55305                        HEALTH                                                        CITY            Lic#50                            NULL
65201     Champps        1641 Plymouth Road, Minnetonka, MN 55305                        HOSPITALITY FEE                                               STATE           SHFUID#9559                       NULL
65203     Champps        418 Menlo Park Mall, Edison, NJ 08837                           BOILER INSPECTION                                             STATE           NULL                              NULL
65203     Champps        418 Menlo Park Mall, Edison, NJ 08837                           CO2 Tank                                                      CITY            1                                 NULL
65203     Champps        418 Menlo Park Mall, Edison, NJ 08837                           ENTERTAINMENT                                                 TOWNSHIP        Lic#907                           NULL
65203     Champps        418 Menlo Park Mall, Edison, NJ 08837                           FIRE                                                          TOWNSHIP        Reg#1205-62968-001-01             NULL
65203     Champps        418 Menlo Park Mall, Edison, NJ 08837                           HEALTH                                                        TOWNSHIP        No#                               NULL
65203     Champps        418 Menlo Park Mall, Edison, NJ 08837                           Mega-Touch                                                    STATE           NULL                              NULL
65203     Champps        418 Menlo Park Mall, Edison, NJ 08837                           OFF PREMISE STORAGE                                           STATE           w/ state                          NULL
65203     Champps        418 Menlo Park Mall, Edison, NJ 08837                           SALES TAX                                                     STATE           NULL                              NULL
65204     Champps        Marlton Cr. 25 Rt 73 S., Marlton, NJ 08053                      BOILER                                                        STATE           NULL                              NULL
65204     Champps        Marlton Cr. 25 Rt 73 S., Marlton, NJ 08053                      HEALTH                                                        TOWNSHIP        #03653                            NULL
65204     Champps        Marlton Cr. 25 Rt 73 S., Marlton, NJ 08053                      LIFE HAZARD                                                   STATE           Owner#F-411625130                 NULL
65204     Champps        Marlton Cr. 25 Rt 73 S., Marlton, NJ 08053                      MEGA TOUCH LETTER                                             STATE           Lic#0313-33-013-009               NULL
65204     Champps        Marlton Cr. 25 Rt 73 S., Marlton, NJ 08053                      OFF PREMISE STORAGE                                           STATE           w/ state                          NULL
65204     Champps        Marlton Cr. 25 Rt 73 S., Marlton, NJ 08053                      SALES TAX                                                     STATE           NULL                              NULL




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65205     Champps   8711 N. River Crossing, Indianapolis, IN 46240             ENTERTAINMENT                                            STATE                ID#AE4914454              NULL
65205     Champps   8711 N. River Crossing, Indianapolis, IN 46240             HEALTH                                                   COUNTY               Lic#22834                 NULL
65205     Champps   8711 N. River Crossing, Indianapolis, IN 46240             RETAIL MERCHANT                                          STATE                TID#0006381723            NULL
65205     Champps   8711 N. River Crossing, Indianapolis, IN 46240             TOBACCO                                                  STATE                TC07817001                NULL
65209     Champps   790 W. 66th Street, Richfield, MN 55423                    AMUSEMENT                                                CITY                 Lic#32                    NULL
65209     Champps   790 W. 66th Street, Richfield, MN 55423                    HEALTH                                                   CITY                 NULL                      NULL
65209     Champps   790 W. 66th Street, Richfield, MN 55423                    HEALTH - BUSINESS                                        CITY                 1                         NULL
65209     Champps   790 W. 66th Street, Richfield, MN 55423                    HOSPITALITY FEE/HEALTH                                   STATE                NULL                      NULL
65209     Champps   790 W. 66th Street, Richfield, MN 55423                    SALES TAX                                                STATE                NULL                      NULL
65211     Champps   161 Campus View Blvd. E., Columbus, OH 43235               ALARM                                                    CITY                 NULL                      NULL
65211     Champps   161 Campus View Blvd. E., Columbus, OH 43235               ASSEMBLY                                                 CITY                 #09-022506-01             NULL
65211     Champps   161 Campus View Blvd. E., Columbus, OH 43235               BOILER ID#273017                                         STATE                NULL                      NULL
65211     Champps   161 Campus View Blvd. E., Columbus, OH 43235               HEALTH                                                   STATE                Lic#PR0004076-PT0004117   NULL
65211     Champps   161 Campus View Blvd. E., Columbus, OH 43235               VENDOR                                                   STATE                1                         NULL
65212     Champps   1827 Olentangy River Road, Columbus, OH 43212              BOILER #236497                                           STATE                #236497                   NULL
65212     Champps   1827 Olentangy River Road, Columbus, OH 43212              BOILER #236498                                           STATE                #236498                   NULL
65212     Champps   1827 Olentangy River Road, Columbus, OH 43212              HEALTH                                                   COUNTY               Lic#241                   NULL
65212     Champps   1827 Olentangy River Road, Columbus, OH 43212              PROCESSING REGISTRATION                                  STATE                NULL                      NULL
65212     Champps   1827 Olentangy River Road, Columbus, OH 43212              VENDOR                                                   STATE                1                         NULL
65213     Champps   6401 N. Andrews Avenue, Ft. Lauderdale, FL 33309           FIRE INSPECTION                                          CITY                 NULL                      NULL
65213     Champps   6401 N. Andrews Avenue, Ft. Lauderdale, FL 33309           HEALTH                                                   STATE                SEA1618063                NULL
65213     Champps   6401 N. Andrews Avenue, Ft. Lauderdale, FL 33309           OCCUPATIONAL                                             CITY                 BUS ID 961762             NULL
65213     Champps   6401 N. Andrews Avenue, Ft. Lauderdale, FL 33309           RESTAURANT                                               CITY                 BUS ID 961762             NULL
65213     Champps   6401 N. Andrews Avenue, Ft. Lauderdale, FL 33309           SALES TAX                                                STATE                NULL                      NULL
65215     Champps   955 East Golf Road, Schaumburg, IL 60173                   BOILER/GREASE                                            COUNTY               Acnt#007641001013B        NULL
65215     Champps   955 East Golf Road, Schaumburg, IL 60173                   BOILER/GREASE/HEALTH                                     COUNTY               1                         NULL
65215     Champps   955 East Golf Road, Schaumburg, IL 60173                   ENTERTAINMENT                                            VILLAGE              Lic#10081 Acnt#107187     NULL
65215     Champps   955 East Golf Road, Schaumburg, IL 60173                   FIRE ALARM                                               VILLAGE              Lic#10082 Acnt#107187     NULL
65215     Champps   955 East Golf Road, Schaumburg, IL 60173                   HEALTH                                                   VILLAGE              Lic#10079                 NULL
65215     Champps   955 East Golf Road, Schaumburg, IL 60173                   SALES TAX                                                STATE                NULL                      NULL
65215     Champps   955 East Golf Road, Schaumburg, IL 60173                   SIGN                                                     VILLAGE              Lic#12778 Acnt#108018     NULL
65215     Champps   955 East Golf Road, Schaumburg, IL 60173                   SIGN                                                     VILLAGE              Lic#12778 Acnt#108018     NULL
65215     Champps   955 East Golf Road, Schaumburg, IL 60173                   SIGN x3                                                  VILLAGE              1                         NULL
65216     Champps   19470 Haggerty Road, Livonia, MI 48152                     BOILER #R383764                                          STATE                #R383764                  NULL
65216     Champps   19470 Haggerty Road, Livonia, MI 48152                     BOILER #R421654                                          STATE                R421654                   NULL
65216     Champps   19470 Haggerty Road, Livonia, MI 48152                     BOILER-KETTLE- #R421654                                  STATE                1                         NULL
65216     Champps   19470 Haggerty Road, Livonia, MI 48152                     BUSINESS                                                 CITY                 REST-09-00152             NULL
65216     Champps   19470 Haggerty Road, Livonia, MI 48152                     CITY BUILDING INSPECTION                                 CITY                 0                         2198
65216     Champps   19470 Haggerty Road, Livonia, MI 48152                     HEALTH                                                   STATE                SFE4882030559             NULL
65216     Champps   19470 Haggerty Road, Livonia, MI 48152                     SALES TAX                                                STATE                NULL                      NULL
65217     Champps   301 W. Big Beaver Road, Troy, MI 48084                     ALARM                                                    CITY                 NULL                      NULL
65217     Champps   301 W. Big Beaver Road, Troy, MI 48084                     BOILER #R385747                                          STATE                #R385747                  NULL
65217     Champps   301 W. Big Beaver Road, Troy, MI 48084                     BOILER #R419025 Kettle                                   STATE                #R419025                  NULL
65217     Champps   301 W. Big Beaver Road, Troy, MI 48084                     HEALTH                                                   STATE                SFE4063047197             NULL
65217     Champps   301 W. Big Beaver Road, Troy, MI 48084                     SALES TAX                                                STATE                NULL                      NULL
65218     Champps   3993 Morse Crossing, Columbus, OH 43219                    ALARM                                                    CITY                 #9953490                  NULL
65218     Champps   3993 Morse Crossing, Columbus, OH 43219                    ASSEMBLY                                                 CITY                 #09-023627-01             NULL
65218     Champps   3993 Morse Crossing, Columbus, OH 43219                    ELEVATOR                                                 STATE                State ID#41499            NULL
65218     Champps   3993 Morse Crossing, Columbus, OH 43219                    HEALTH                                                   STATE                PR0006985-PT0006121       NULL
65218     Champps   3993 Morse Crossing, Columbus, OH 43219                    VENDOR                                                   STATE                1                         NULL
65219     Champps   855 West John W. Carpenter Frwy, Irving, TX 75039          ALARM                                                    CITY                 1                         101454
65219     Champps   855 West John W. Carpenter Frwy, Irving, TX 75039          BUSINESS                                                 CITY                 NULL                      NULL
65219     Champps   855 West John W. Carpenter Frwy, Irving, TX 75039          HEALTH                                                   CITY                 HLTH-03137                NULL
65219     Champps   855 West John W. Carpenter Frwy, Irving, TX 75039          RATIO REPORTING                                          CITY                 0                         NULL
65219     Champps   855 West John W. Carpenter Frwy, Irving, TX 75039          SALES TAX                                                STATE                NULL                      NULL
65219     Champps   855 West John W. Carpenter Frwy, Irving, TX 75039          SMOKING                                                  CITY                 SM-1025485                NULL
65220     Champps   7880 Washington Village Drive, Centerville, OH 45459       ALARM                                                    COUNTY               #9804036                  NULL
65220     Champps   7880 Washington Village Drive, Centerville, OH 45459       HEALTH                                                   STATE                #20090193                 NULL
65220     Champps   7880 Washington Village Drive, Centerville, OH 45459       VENDOR                                                   STATE                1                         NULL
65221     Champps   1121 Uptown Park Blvd., Suite A, Houston, TX 77056         ALARM BURGLAR                                            CITY                 Lic#09006806              NULL
65221     Champps   1121 Uptown Park Blvd., Suite A, Houston, TX 77056         FIRE ALARM GROUP A                                       CITY                 HFD06005909               NULL
65221     Champps   1121 Uptown Park Blvd., Suite A, Houston, TX 77056         FIRE ASSEMBLY                                            CITY                 #05128089/4480346-p2      NULL




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65221     Champps   1121 Uptown Park Blvd., Suite A, Houston, TX 77056                  HEALTH                                                          CITY           Acnt#987122 Permit#8828            NULL
65221     Champps   1121 Uptown Park Blvd., Suite A, Houston, TX 77056                  SIGN 00021572                                                   CITY           NULL                               NULL
65221     Champps   1121 Uptown Park Blvd., Suite A, Houston, TX 77056                  SIGN 00022118                                                   CITY           NULL                               NULL
65221     Champps   1121 Uptown Park Blvd., Suite A, Houston, TX 77056                  SIGN 00022139                                                   CITY           1                                  NULL
65221     Champps   1121 Uptown Park Blvd., Suite A, Houston, TX 77056                  SIGN 99060023                                                   CITY           NULL                               NULL
65221     Champps   1121 Uptown Park Blvd., Suite A, Houston, TX 77056                  SIGN 99065188                                                   CITY           NULL                               NULL
65222     Champps   2301 Fountain Square Drive, Lombard, IL 60148                       ALARM                                                           VILLAGE        #10-00002757                       NULL
65222     Champps   2301 Fountain Square Drive, Lombard, IL 60148                       GREASE TRAP                                                     STATE          #08-224                            NULL
65222     Champps   2301 Fountain Square Drive, Lombard, IL 60148                       HEALTH                                                          COUNTY         Est# F60723                        NULL
65222     Champps   2301 Fountain Square Drive, Lombard, IL 60148                       RESTAURANT                                                      VILLAGE        #10-00002755                       NULL
65222     Champps   2301 Fountain Square Drive, Lombard, IL 60148                       SALES REPORT                                                    VILLAGE        NO#                                NULL
65222     Champps   2301 Fountain Square Drive, Lombard, IL 60148                       SALES TAX                                                       STATE          NULL                               NULL
65222     Champps   2301 Fountain Square Drive, Lombard, IL 60148                       VILLAGE SALES REPORT                                            VILLAGE        0                                  NULL
65224     Champps   7410 Orchard Lake Road, West Bloomfield, MI 48322                   BOILER #R393224                                                 STATE          #R393224                           NULL
65224     Champps   7410 Orchard Lake Road, West Bloomfield, MI 48322                   HEALTH                                                          STATE/COUNTY   SFE5363-021951                     NULL
65224     Champps   7410 Orchard Lake Road, West Bloomfield, MI 48322                   SALES TAX                                                       STATE          UME-0136773                        NULL
65225     Champps   8010 Glen Lane, Eden Prairie, MN 55344                              HEALTH                                                          COUNTY         #'s: 385 (CANCEL), 386, 387, 388
65225     Champps   8010 Glen Lane, Eden Prairie, MN 55344                              HOSPITALITY FEE/HEALTH                                          STATE          Lic#FA0000236                      NULL
65225     Champps   8010 Glen Lane, Eden Prairie, MN 55344                              SALES TAX                                                       STATE          Regis#2787023                      NULL
65226     Champps   1201 S. Joyce Street, C-10, Arlington, VA 22202                     FIRE PREVENTION/ASSEMBLY                                        COUNTY         #09-8388                           NULL
65226     Champps   1201 S. Joyce Street, C-10, Arlington, VA 22202                     HEALTH                                                          COUNTY         MVVE-5C4V2C                        NULL
65226     Champps   1201 S. Joyce Street, C-10, Arlington, VA 22202                     LITTER TAX                                                      STATE          NULL                               NULL
65226     Champps   1201 S. Joyce Street, C-10, Arlington, VA 22202                     MBAR                                                            STATE          NULL                               NULL
65226     Champps   1201 S. Joyce Street, C-10, Arlington, VA 22202                     RESTAURANT                                                      COUNTY         BLC-1000027279-02                  NULL
65229     Champps   12515 Hall Road, Utica, MI 48315                                    ALARM                                                           CITY           NO#                                NULL
65229     Champps   12515 Hall Road, Utica, MI 48315                                    BOILER #R399140                                                 STATE          NULL                               NULL
65229     Champps   12515 Hall Road, Utica, MI 48315                                    BOILER #R420091                                                 STATE          NULL                               NULL
65229     Champps   12515 Hall Road, Utica, MI 48315                                    BOILER #R420092                                                 STATE          NULL                               NULL
65229     Champps   12515 Hall Road, Utica, MI 48315                                    BOILER #R420093                                                 STATE          NULL                               NULL
65229     Champps   12515 Hall Road, Utica, MI 48315                                    BUSINESS                                                        CITY           NO#                                NULL
65229     Champps   12515 Hall Road, Utica, MI 48315                                    HEALTH                                                          STATE/COUNTY   SFE5550014907                      NULL
65229     Champps   12515 Hall Road, Utica, MI 48315                                    SALES TAX                                                       STATE          UME-0136773                        NULL
65230     Champps   330 Goddard Blvd, King of Prussia, PA 19406                         BOILER                                                          STATE          1                                  56638
65230     Champps   330 Goddard Blvd, King of Prussia, PA 19406                         BUSINESS MERCANTILE/PRIVILEGE LIC                               TOWNSHIP       Lic#09-0000011720                  NULL
65230     Champps   330 Goddard Blvd, King of Prussia, PA 19406                         BUSINESS PRIVILEGE TAX RETURN                                   TOWNSHIP       0                                  NULL
65230     Champps   330 Goddard Blvd, King of Prussia, PA 19406                         HEALTH                                                          COUNTY         Lic#3017                           NULL
65230     Champps   330 Goddard Blvd, King of Prussia, PA 19406                         SALES TAX                                                       STATE          Acnt#82580961                      NULL
65230     Champps   330 Goddard Blvd, King of Prussia, PA 19406                         USE/OCCUPANCY                                                   TOWNSHIP       NULL                               NULL
65231     Champps   10300 Little Patuxent Parkway, Suite 3040, Columbia, MD 21044       BUSINESS                                                        STATE          13344891, 13641241, 11559816       NULL
65231     Champps   10300 Little Patuxent Parkway, Suite 3040, Columbia, MD 21044       HEALTH                                                          COUNTY         Lic#7556                           NULL
65231     Champps   10300 Little Patuxent Parkway, Suite 3040, Columbia, MD 21044       SALES/USE TAX                                                   STATE          NULL                               NULL
65232     Champps   49 W. Maryland Street, Indianapolis, IN 46204                       BOILER #292638                                                  STATE          #292638                            NULL
65232     Champps   49 W. Maryland Street, Indianapolis, IN 46204                       BOILER #292639                                                  STATE          est#292639                         NULL
65232     Champps   49 W. Maryland Street, Indianapolis, IN 46204                       ENTERTAIMNEMT                                                   STATE          ID#AE499862 FDID49009              NULL
65232     Champps   49 W. Maryland Street, Indianapolis, IN 46204                       HEALTH                                                          COUNTY         #100192                            NULL
65232     Champps   49 W. Maryland Street, Indianapolis, IN 46204                       RETAIL MERCHANT                                                 STATE          TID#0006381723 Loc#0002            NULL
65232     Champps   49 W. Maryland Street, Indianapolis, IN 46204                       SIDEWALK                                                        CITY           ID#90138 Lic#153579                NULL
65233     Champps   8030 Renaissance Parkway, Suite 885, Durham, NC 27713               ALARM                                                           CITY           Acnt#MFPS-0296495                  NULL
65233     Champps   8030 Renaissance Parkway, Suite 885, Durham, NC 27713               HEALTH                                                          STATE          Acnt#04032011259                   NULL
65233     Champps   8030 Renaissance Parkway, Suite 885, Durham, NC 27713               PRIVILEGE                                                       CITY           Acnt#8985                          NULL
65235     Champps   275 Parkway Drive, Suite 311, Lincolnshire, IL 60069                HEALTH                                                          COUNTY         #2613-28-3854                      NULL
65235     Champps   275 Parkway Drive, Suite 311, Lincolnshire, IL 60069                SALES TAX                                                       STATE          NULL                               NULL
65238     Champps   3741 Sumner Blvd., Suite 150, Raleigh, NC 27616                     BUSINESS, REST & TOBACCO                                        CITY           Acnt#45815                         NULL
65238     Champps   3741 Sumner Blvd., Suite 150, Raleigh, NC 27616                     ENTERTAINMENT                                                   CITY           #EP5672 Acnt2227                   NULL
65238     Champps   3741 Sumner Blvd., Suite 150, Raleigh, NC 27616                     HEALTH                                                          STATE          Acnt#04092013716                   NULL
65240     Champps   9202 Stony Point Parkway, Richmond, VA 23235                        FIRE                                                            CITY           1                                  NULL
65240     Champps   9202 Stony Point Parkway, Richmond, VA 23235                        HEALTH                                                          STATE          AGML-5Q7K4T                        NULL
65240     Champps   9202 Stony Point Parkway, Richmond, VA 23235                        LITTER TAX                                                      STATE          NULL                               NULL
65240     Champps   9202 Stony Point Parkway, Richmond, VA 23235                        MBAR                                                            STATE          NULL                               NULL
65240     Champps   9202 Stony Point Parkway, Richmond, VA 23235                        MEAL MERCH BUSINESS                                             CITY           #0325-4100-6450                    NULL
65240     Champps   9202 Stony Point Parkway, Richmond, VA 23235                        SALES TAX                                                       STATE          NULL                               NULL
65241     Champps   11724U Fair Oaks, Fairfax, VA 22033                                 ALARM REGISTRATION                                              COUNTY         0                                  NULL




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Store #   DBA       Address                                                          Description                            Name on License/Invoice     Jurisdiction         PermitNo               AccountNo   Issue Date   Expiration Date
65241     Champps   11724U Fair Oaks, Fairfax, VA 22033                              BPOL                                                               COUNTY               Acnt#XXX-XX-XXXX       NULL
65241     Champps   11724U Fair Oaks, Fairfax, VA 22033                              FIRE                                                               COUNTY               Acnt#L2031             NULL
65241     Champps   3                                                                HEALTH                                                             COUNTY               Permit#12054           NULL
65241     Champps   11724U Fair Oaks, Fairfax, VA 22033                              LITTER TAX                                                         STATE                NULL                   NULL
65241     Champps   11724U Fair Oaks, Fairfax, VA 22033                              MBAR                                                               STATE                NULL                   NULL
65241     Champps   11724U Fair Oaks, Fairfax, VA 22033                              MISC. BUSINESS LICENSE                                             COUNTY               Acnt#XXX-XX-XXXX       NULL
65241     Champps   11724U Fair Oaks, Fairfax, VA 22033                              SALES TAX                                                          STATE                NULL                   NULL
65242     Champps   2800 Preyde Blvd., Lansing, MI 48912                             HEALTH                                                             STATE                SFE2233042016          NULL
65242     Champps   2800 Preyde Blvd., Lansing, MI 48912                             SALES TAX                                                          STATE                UME-0136773            NULL
65244     Champps   9424 Civic Center Blvd., West Chester, OH 45069                  HEALTH                                                             COUNTY               Lic#166                NULL
65244     Champps   9424 Civic Center Blvd., West Chester, OH 45069                  VENDOR                                                             STATE                1                      NULL
65246     Champps   2223 North West Shore #B221, Tampa, FL 33607                     ANNUAL RATIO REP.                                                  CITY                 NULL                   NULL
65246     Champps   2223 North West Shore #B221, Tampa, FL 33607                     BUSINESS                                                           COUNTY               Folio#113313.0000      NULL
65246     Champps   2223 North West Shore #B221, Tampa, FL 33607                     BUSINESS                                                           CITY                 Control#030089         NULL
65246     Champps   2223 North West Shore #B221, Tampa, FL 33607                     Fire Inspection                                                    CITY                 0                      NULL
65246     Champps   2223 North West Shore #B221, Tampa, FL 33607                     Fire Inspection, Occupancy& Assembly                               CITY                 1                      NULL
65246     Champps   2223 North West Shore #B221, Tampa, FL 33607                     HEALTH                                                             STATE                Acnt#4229015           NULL
65246     Champps   2223 North West Shore #B221, Tampa, FL 33607                     PLACES OF ASSEMBLY                                                 CITY                 Permit#1014905         NULL
65246     Champps   2223 North West Shore #B221, Tampa, FL 33607                     SALES TAX                                                          STATE                Cert#39-8012767940-6   NULL
65248     Champps   819 Eastview Mall, Victor, NY 14564                              HEALTH                                                             STATE                Permit#34-A311         NULL
65248     Champps   819 Eastview Mall, Victor, NY 14564                              SALES TAX                                                          STATE                ID# XX-XXXXXXX         NULL
65250     Champps   16165 LaGrange Road, Orland Park, IL 60467                       BOILER & HEALTH                                                    COUNTY               1                      NULL
65250     Champps   16165 LaGrange Road, Orland Park, IL 60467                       BUSINESS                                                           VILLAGE              #09-00009956           NULL
65250     Champps   16165 LaGrange Road, Orland Park, IL 60467                       SALES TAX                                                          STATE                NULL                   NULL
65252     Champps   2100 S. Christopher Columbus Blvd., Philadelphia, PA 19148       ALARM REGISTRATION                                                 CITY                 A244736                NULL
65252     Champps   2100 S. Christopher Columbus Blvd., Philadelphia, PA 19148       DUMPSTER                                                           CITY                 Lic#317280             NULL
65252     Champps   2100 S. Christopher Columbus Blvd., Philadelphia, PA 19148       HEALTH                                                             CITY                 Lic#313066             NULL
65252     Champps   2100 S. Christopher Columbus Blvd., Philadelphia, PA 19148       SALES TAX                                                          STATE                1                      NULL
65253     NULL      51 Town Center Drive, Store G-5, Collegeville, PA 19426          FIRE INSPECTION                                                    TOWNSHIP             NULL                   NULL
65253     NULL      51 Town Center Drive, Store G-5, Collegeville, PA 19426          HEALTH                                                             COUNTY               NULL                   NULL
65253     NULL      51 Town Center Drive, Store G-5, Collegeville, PA 19426          SALES TAX                                                          STATE                NULL                   NULL




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Store #   DBA            Address                                                                    License Type                                        Jurisdiction
65002     B / Sports     8500 Pineville-Mathews Road, Charlotte, NC 28226                           BEER & WINE (privilege tax)                         CITY/COUNTY
65002     B / Sports     8500 Pineville-Mathews Road, Charlotte, NC 28226                           LIQUOR- FORTIFIED WINE                              STATE
65002     B / Sports     8500 Pineville-Mathews Road, Charlotte, NC 28226                           LIQUOR-MALT BEVERAGE                                STATE
65002     B / Sports     8500 Pineville-Mathews Road, Charlotte, NC 28226                           LIQUOR-MIXED BEVERAGE                               STATE
65002     B / Sports     8500 Pineville-Mathews Road, Charlotte, NC 28226                           LIQUOR-UNFORTIFIED WINE                             STATE
65003     FH / English   2800 Lakewood Village Drive, N. Little Rock, AR 72116                      BEER/WINE                                           CITY
65003     FH / English   2800 Lakewood Village Drive, N. Little Rock, AR 72116                      LIQUOR                                              CITY
65003     FH / English   2800 Lakewood Village Drive, N. Little Rock, AR 72116                      PRIVATE CLUB-BEER-WINE                              STATE
65004     FH / English   1001 N.E. Green Oaks Blvd. Arlington, TX 76006                             MIXED BEVERAGE                                      COUNTY
65004     FH / English   1001 N.E. Green Oaks Blvd. Arlington, TX 76006                             MIXED BEVERAGE - LATE HOURS                         CITY
65004     FH / English   1001 N.E. Green Oaks Blvd. Arlington, TX 76006                             MIXED BEVERAGE, BEV CART., LATE HOURS               STATE
65005     FH / English   505 University Drive, College Station, TX 77840                            MIXED BEVERAGE - LATE HOURS                         CITY
65005     FH / English   505 University Drive, College Station, TX 77840                            MIXED BEVERAGE, BEV CART, LATE HOURS                COUNTY
65005     FH / English   505 University Drive, College Station, TX 77840                            MIXED BEVERAGE, LATE HOURS, & BEV CART              STATE
65006     B / Sports     2409 Laurens Road, Greenville, SC 29607                                    BUSINESS LIQUOR BY DRINK - PLB                      STATE
65006     B / Sports     2409 Laurens Road, Greenville, SC 29607                                    LIQUOR - Local Options                              STATE
65006     B / Sports     2409 Laurens Road, Greenville, SC 29607                                    ON PREMISES BEER/WINE - PBW                         STATE
65007     B / Sports     786 Two Mile Parkway, Suite 12, Goodlettsville, TN 37072                   BEER PERMIT                                         CITY
65007     B / Sports     786 Two Mile Parkway, Suite 12, Goodlettsville, TN 37072                   LIQUOR                                              COUNTY
65007     B / Sports     786 Two Mile Parkway, Suite 12, Goodlettsville, TN 37072                   LIQUOR                                              STATE
65008     FH / English   18918 Midway Road, Dallas, TX 75287                                        BEVERAGE CARTAGE PERMIT                             COUNTY
65008     FH / English   18918 Midway Road, Dallas, TX 75287                                        LIQUOR & BEER                                       CITY
65008     FH / English   18918 Midway Road, Dallas, TX 75287                                        PRIVATE CLUB - LATE HOURS-BEV CARTAGE               STATE
65009     B / Sports     250 North Seven Oaks Drive, Knoxville, TN 37922                            BEER PERMIT                                         CITY
65009     B / Sports     250 North Seven Oaks Drive, Knoxville, TN 37922                            LIMITED SERVICE LIQUOR                              STATE
65009     B / Sports     250 North Seven Oaks Drive, Knoxville, TN 37922                            LIQUOR BY THE OUNCE                                 CITY
65010     B / Sports     2102 North Roan St, Johnson City, TN 37601                                 BEER PERMIT                                         CITY
65010     B / Sports     2102 North Roan St, Johnson City, TN 37601                                 LIQUOR                                              STATE
65010     B / Sports     2102 North Roan St, Johnson City, TN 37601                                 LIQUOR                                              CITY
65013     FH / English   819 Exocet Drive, Cordova, TN 38018                                        BEER PERMIT                                         CITY
65013     FH / English   819 Exocet Drive, Cordova, TN 38018                                        LIQUOR                                              STATE
65013     FH / English   819 Exocet Drive, Cordova, TN 38018                                        LIQUOR BY THE OUNCE                                 CITY
65014     B / Sports     5316 Mt. View Road, Antioch, TN 37013                                      BEER PERMIT                                         CITY/COUNTY
65014     B / Sports     5316 Mt. View Road, Antioch, TN 37013                                      LIQUOR                                              STATE
65014     B / Sports     5316 Mt. View Road, Antioch, TN 37013                                      LIQUOR - PRIVILEGE TAX                              COUNTY
65015     FH/English     506 N. 120th Street, Omaha, NE 68154                                       LIQUOR                                              CITY
65015     FH/English     506 N. 120th Street, Omaha, NE 68154                                       LIQUOR                                              STATE
65016     FH / English   Yorkshire Shpg Center, 4320 E. New York Ave, Aurora, IL 60504              LIQUOR                                              STATE
65016     FH / English   Yorkshire Shpg Center, 4320 E. New York Ave, Aurora, IL 60504              LIQUOR                                              CITY
65018     FH / English   1479 S.O.M. Center Road, Mayfield Heights, OH 44124                        LIQUOR                                              STATE
65020     FH / English   5146 E. Indiana Street, Evansville, IN 47715                               LIQUOR                                              STATE
65022     FH / English   12651 Vance Jackson Road, Suite 110, San Antonio, TX 78230                 MIXED BEVERAGE - LATE HOURS                         CITY
65022     FH / English   12651 Vance Jackson Road, Suite 110, San Antonio, TX 78230                 MIXED BEVERAGE & LATE HOURS                         STATE
65022     FH / English   12651 Vance Jackson Road, Suite 110, San Antonio, TX 78230                 MIXED BEVERAGE & LATE HOURS                         COUNTY
65022     FH / English   12651 Vance Jackson Road, Suite 110, San Antonio, TX 78230                 NIGHT CLUB                                          CITY
65023     FH / English   250 Millcreek Plaza, Erie, PA 16565                                        LIQUOR-AMUSE, SUN SALES,REST                        STATE
65025     FH / English   4210 82nd Street, Unit 240, Lubbock, TX 79423                              MIXED BEVERAGE                                      STATE
65025     FH / English   4210 82nd Street, Unit 240, Lubbock, TX 79423                              Mixed Beverage & Late Hours                         CITY



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Store #   Licensee                                                                                    Issue Date     Expiration Date                Comments
65002     Bailey's Sports Bar & Grille - TENT Restaurant Operations, Inc.                             4/17/13        4/30/14
65002     TENT Restaurant Operations, Inc. DBA Bailey's Sports Grille                                 n/a            4/30/14
65002     TENT Restaurant Operations, Inc. DBA Bailey's Sports Grille                                 n/a            4/30/14
65002     TENT Restaurant Operations, Inc. DBA Bailey's Sports Grille                                 n/a            4/30/14
65002     TENT Restaurant Operations, Inc. DBA Bailey's Sports Grille                                 n/a            4/30/14
65003     Fox & Hound English Pub                                                                     7/19/13        6/30/14
65003     Fox & Hound English Pub                                                                     7/19/13        6/30/14
65003     Jean-Louis Mouton DBA: Fox & Hound English Pub & Grille (Licensee is registered manager)    7/1/13         6/30/14
65004     N. Collins Entertainment, LTD. DBA: Fox & Hound                                             n/a            5/19/14
65004     Fox & Hound                                                                                 4/23/13        5/19/14
65004     N. Collins Entertainment, LTD. DBA: Fox & Hound                                             5/2/13         5/19/15
65005     The Fox & Hound                                                                             6/20/13        6/21/14
65005     Fox & Hound #65005                                                                          8/16/13        6/21/15
65005     505 Entertainment, LTD                                                                      6/22/13        6/21/15
65006     TENT Restaurant Operations, Inc.                                                            11/8/13        2/6/14
65006     TENT Restaurant Operations, Inc.                                                            11/8/13        2/6/14
65006     TENT Restaurant Operations, Inc.                                                            11/8/13        2/6/14
65007     Bailey's Sports Grille                                                                      10/15/97       n/a
65007     Bailey's Sports Grille, Goodlettsville                                                      10/16/12       11/5/13                        Renewal sent 10/18/13
65007     TENT Restaurant Operations, Inc. DBA: Bailey's Sports Grille, Goodlettsville                10/16/13       11/5/14
65008     Fox & Hound Club                                                                            5/8/12         11/16/14
65008     Fox & Hound English Pub & Grille                                                            n/a            11/16/15
65008     Fox & Hound Club DBA: Fox & Hound English Pub & Grille                                      11/17/11       11/16/13                       Renewal sent 11/15/13
65009     Bailey's Sports Grille                                                                      n/a            12/31/14
65009     TENT Restaurant Operations, Inc. DBA: Bailey's Sports Grille - Knoxville                    10/2/13        10/13/14
65009     Bailey's Sports Grille                                                                      10/7/13        10/14/14
65010     Bailey's Sports Grille                                                                      12/3/13        12/31/14
65010     TENT Restaurant Operations, Inc. DBA: Bailey's Sports Grille - Johnson City                 10/13/13       10/12/14
65010     Bailey's Sports Grille                                                                      12/3/13        12/31/14
65013     TENT Restaurant Operations, Inc.                                                            12/11/12       12/31/13
65013     TENT Restaurant Operations, Inc. DBA: Fox & Hound English Pub & Grille                      12/3/13        12/27/14
65013     TENT Restaurant Operations, Inc.                                                            n/a            12/31/14
65014     TENT Restaurant Operations, Inc.                                                            n/a            12/31/14
65014     TENT Restaurant Operations, Inc. DBA: Bailey's Sports Grille - Antioch                      9/30/13        10/5/14
65014     TENT Restaurant Operations, Inc. DBA: Bailey's Sports Grille - Antioch                      n/a            12/31/14
65015     Fox & Hound of Nebraska, Inc.                                                               4/30/13        4/30/14
65015     Fox & Hound of Nebraska, Inc.                                                               5/1/13         4/30/14
65016     Fox & Hound of Illinois, Inc.                                                               11/18/13       11/30/14
65016     Fox & Hound of Illinois, Inc.                                                               8/20/13        8/31/14
65018     Fox & Hound of Ohio, Inc.                                                                   10/1/13        10/1/14
65020     Fox & Hound of Indiana, Inc.                                                                               Progress report due 1/23/14    Renewal sent 6/20/13 - Closed, permit in escrow
65022     Fox & Hound English Pub & Grille                                                            8/16/13        8/15/14
65022     Jackson Beverage Corporation                                                                8/17/13        8/16/15
65022     Fox & Hound English Pub & Grille                                                            8/17/13        8/16/15
65022     Fox & Hound English Pub & Grille                                                            4/10/13        4/3/14
65023     TENT Restaurant Operations, Inc.                                                            8/1/13         7/31/14
65025     Raider Beverage Corporation DBA: Fox & Hound English Pub & Grille                           10/14/13       10/13/15
65025     Fox & Hound English Pub & Grille                                                            n/a            10/13/15



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Store #   DBA            Address                                                                    License Type                                     Jurisdiction
65025     FH / English   4210 82nd Street, Unit 240, Lubbock, TX 79423                              Mixed Beverage & Late Hours                      COUNTY
65027     B / Pub        1777 North Canton Center Road, Canton, MI 48187                            LIQUOR                                           STATE
65028     FH / English   5101 Sanderlin Road, Suite 100, Memphis, TN 38117                          BEER PERMIT                                      CITY
65028     FH / English   5101 Sanderlin Road, Suite 100, Memphis, TN 38117                          LIQUOR                                           STATE
65028     FH / English   5101 Sanderlin Road, Suite 100, Memphis, TN 38117                          LIQUOR BY THE OUNCE                              CITY
65029     FH / English   10428 Metcalf, Indian Creek Shpg Ctr, Overland Park, KS 66212              CEREAL MALT BEVERAGE                             CITY
65029     FH / English   10428 Metcalf, Indian Creek Shpg Ctr, Overland Park, KS 66212              DRINKING ESTABLISHMENT                           CITY
65029     FH / English   10428 Metcalf, Indian Creek Shpg Ctr, Overland Park, KS 66212              LIQUOR                                           STATE
65030     FH / English   4834 Everhard Road, Canton, OH 44718                                       LIQUOR                                           STATE
65031     B / Pub        Rams Plaza, 1722 Fordham Blvd, Chapel Hill, NC 27514                       BEER & WINE                                      COUNTY
65031     B / Pub        Rams Plaza, 1722 Fordham Blvd, Chapel Hill, NC 27514                       BEER/WINE                                        CITY
65031     B / Pub        Rams Plaza, 1722 Fordham Blvd, Chapel Hill, NC 27514                       LIQUOR- FORTIFIED WINE                           STATE
65031     B / Pub        Rams Plaza, 1722 Fordham Blvd, Chapel Hill, NC 27514                       LIQUOR-MALT BEVERAGE                             STATE
65031     B / Pub        Rams Plaza, 1722 Fordham Blvd, Chapel Hill, NC 27514                       LIQUOR-MIXED BEVERAGE                            STATE
65031     B / Pub        Rams Plaza, 1722 Fordham Blvd, Chapel Hill, NC 27514                       LIQUOR-UNFORTIFIED WINE                          STATE
65032     FH / English   1200 S. Clearview Parkway, Elmwood Village Center, New Orleans, LA 70123   BEER&LIQUOR INSIDE PERMIT                        STATE
65032     FH / English   1200 S. Clearview Parkway, Elmwood Village Center, New Orleans, LA 70123   RETAIL BEER & LIQUOR PERMIT                      PARISH
65033     FH / English   2002 N. Way Mall, McKnight Road, Pittsburgh, PA 15237                      LIQUOR-AMUSE, SUN SALES,REST                     STATE
65034     FH / English   Thruway Mall, 367 Lower Mall, Winston-Salem, NC 27103                      BEER/WINE ON PREMISE                             CITY
65034     FH / English   Thruway Mall, 367 Lower Mall, Winston-Salem, NC 27103                      LIQUOR-MALT BEVERAGE                             STATE
65034     FH / English   Thruway Mall, 367 Lower Mall, Winston-Salem, NC 27103                      LIQUOR-FORTIFIED WINE                            STATE
65034     FH / English   Thruway Mall, 367 Lower Mall, Winston-Salem, NC 27103                      LIQUOR-MIXED BEVERAGE                            STATE
65034     FH / English   Thruway Mall, 367 Lower Mall, Winston-Salem, NC 27103                      LIQUOR-UNFORTIFIED WINE                          STATE
65034     FH / English   Thruway Mall, 367 Lower Mall, Winston-Salem, NC 27103                      ON & OFF PREMIS. BEER/ WINE                      COUNTY
65035     FH / English   4901 E. 82nd Street, Suite 900, Indianapolis, IN 46250                     LIQUOR (type 209 & 220)                          STATE
65036     FH / English   11470 Westheimer Road, Houston, TX 77077                                   MIXED BEVERAGE                                   COUNTY
65036     FH / English   11470 Westheimer Road, Houston, TX 77077                                   MIXED BEVERAGE                                   CITY
65036     FH / English   11470 Westheimer Road, Houston, TX 77077                                   MIXED BEVERAGE                                   STATE
65036     FH / English   11470 Westheimer Road, Houston, TX 77077                                   MIXED BEVERAGE - LATE HOURS                      COUNTY
65036     FH / English   11470 Westheimer Road, Houston, TX 77077                                   MIXED BEVERAGE - LATE HOURS                      CITY
65038     B / Pub        22091 Michigan Ave., Dearborn, MI 48124                                    LIQUOR                                           STATE
65039     FH / English   8735 Day Drive, Parma, OH 44129                                            LIQUOR                                           STATE
65041     B / Pub        408 Broadway, Nashville, TN 37203                                          BEER PERMIT                                      CITY/COUNTY
65041     B / Pub        408 Broadway, Nashville, TN 37203                                          LIQUOR                                           STATE
65041     B / Pub        408 Broadway, Nashville, TN 37203                                          LIQUOR                                           COUNTY
65042     FH / English   6051 SW Loop 820, Suite 322, Fort Worth, TX 76132                          MIXED BEVERAGE                                   STATE
65042     FH / English   6051 SW Loop 820, Suite 322, Fort Worth, TX 76132                          MXB/MXB-LH                                       COUNTY
65043     FH / English   603 Houston Street, Fort Worth, TX 76102                                   MIXED BEVERAGE & LATE HOURS                      COUNTY
65043     FH / English   603 Houston Street, Fort Worth, TX 76102                                   MIXED BEVERAGE & LATE HOURS                      CITY
65043     FH / English   603 Houston Street, Fort Worth, TX 76102                                   MIXED BEVERAGE, LATE HOURS, CARTAGE              STATE
65047     FH / Smoke     15235 John J. Delaney Drive, Charlotte, NC 28277                           BEER & WINE (privilege tax)                      CITY/COUNTY
65047     FH / Smoke     15235 John J. Delaney Drive, Charlotte, NC 28277                           LIQUOR- FORTIFIED WINE                           STATE
65047     FH / Smoke     15235 John J. Delaney Drive, Charlotte, NC 28277                           LIQUOR-MALT BEVERAGE                             STATE
65047     FH / Smoke     15235 John J. Delaney Drive, Charlotte, NC 28277                           LIQUOR-MIXED BEVERAGE                            STATE
65047     FH / Smoke     15235 John J. Delaney Drive, Charlotte, NC 28277                           LIQUOR-UNFORTIFIED WINE                          STATE
65049     FH / Smoke     4750 W. 120th Ave., Suite 900, Westminster, CO 80020                       LIQUOR                                           CITY
65049     FH / Smoke     4750 W. 120th Ave., Suite 900, Westminster, CO 80020                       LIQUOR                                           STATE
65050     FH/ Smoke      8320 W. Mariners Way, Peoria, AZ 85382                                     LIQUOR                                           STATE



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Store #   Licensee                                                                                     Issue Date     Expiration Date      Comments
65025     Raider Beverage Corporation DBA: Fox & Hound English Pub & Grille                            12/30/13       10/13/15
65027     TENT Restaurant Operations, Inc.                                                             5/1/13         4/30/14
65028     TENT Restaurant Operations, Inc.                                                             12/11/12       12/31/13
65028     TENT Restaurant Operations, Inc. DBA: Fox & Hound English Pub & Grille                       12/17/13       12/27/14
65028     TENT Restaurant Operations, Inc.                                                             n/a            12/31/14
65029     Fox & Hound of Kansas, Inc. DBA: Fox & Hound English Pub & Grille                            4/8/13         4/18/14
65029     Fox & Hound of Kansas, Inc. DBA: Fox & Hound English Pub & Grille                            n/a            8/31/15
65029     Fox & Hound of Kansas, Inc. DBA: Fox & Hound English Pub & Grille                            9/1/13         8/31/15
65030     Fox & Hound of Ohio, Inc.                                                                    2/1/13         2/1/14
65031     Bailey's Pub & Grille                                                                        4/12/13        4/30/14
65031     TENT Restaurant Operations, Inc. DBA Bailey's Pub & Grille                                   4/12/13        4/30/14
65031     TENT Restaurant Operations, Inc. DBA: Bailey's Pub & Grille                                  n/a            4/30/14
65031     TENT Restaurant Operations, Inc. DBA: Bailey's Pub & Grille                                  n/a            4/30/14
65031     TENT Restaurant Operations, Inc. DBA: Bailey's Pub & Grille                                  n/a            4/30/14
65031     TENT Restaurant Operations, Inc. DBA: Bailey's Pub & Grille                                  n/a            4/30/14
65032     Fox & Hound of Louisiana, Inc. DBA: Fox & Hound English Pub & Grille                         3/1/13         2/28/14
65032     Fox & Hound English Pub & Grille                                                             n/a            12/31/14
65033     TENT Restaurant Operations, Inc. DBA: Fox & Hound English Pub & Grille                       6/1/13         5/31/14
65034     Winston-Salem Fox & Hound, Inc.                                                              4/12/13        4/30/14
65034     Winston Salem Fox & Hound, Inc. DBA: Fox & Hound English Pub & Grille                        n/a            4/30/14
65034     Winston Salem Fox & Hound, Inc. DBA: Fox & Hound English Pub & Grille                        n/a            4/30/14
65034     Winston Salem Fox & Hound, Inc. DBA: Fox & Hound English Pub & Grille                        n/a            4/30/14
65034     Winston Salem Fox & Hound, Inc. DBA: Fox & Hound English Pub & Grille                        n/a            4/30/14
65034     Winston-Salem Fox & Hound, Inc.                                                              4/1/13         4/30/14
65035     Fox & Hound of Indiana, Inc. DBA: Fox & Hound English Pub & Grille                           5/29/13        9/1/14
65036     Fox & Hound English Pub & Grille                                                             5/16/13        1/26/14
65036     Rocket Beverage Corporation DBA: Fox & Hound English Pub & Grille                            12/7/12        1/26/14
65036     Rocket Beverage Corporation DBA: Fox & Hound English Pub & Grille                            1/27/13        1/26/15
65036     Fox & Hound English Pub & Grille                                                             5/16/13        1/26/14
65036     Rocket Beverage Corporation DBA: Fox & Hound English Pub & Grille                            12/7/12        1/26/14
65038     TENT Restaurant Operations, Inc.                                                             5/1/13         4/30/14
65039     Fox & Hound of Ohio, Inc.                                                                    10/1/13        10/1/14
65041     TENT Restaurant Operations, Inc. Bailey's Pub & Grille                                       n/a            12/31/14
65041     TENT Restaurant Operations, Inc. Bailey's Pub & Grille                                       12/4/13        12/5/14
65041     TENT Restaurant Operations, Inc.                                                             12/2/13        12/5/14
65042     Fox & Hound English Pub & Grille Bryant Beverage Corporation                                 4/3/13         4/2/15
65042     Fox & Hound English Pub & Grille Bryant Beverage Corporation                                 n/a            4/2/14
65043     Fox & Hound English Pub & Grille Downtown Beverage Corporation                               n/a            10/28/14
65043     Downtown Beverage Corp Fox & Hound English Pub & Grille                                      5/14/12        6/14/14
65043     Downtown Beverage Corp Fox & Hound English Pub & Grille                                      10/29/13       10/28/15
65047     Fox & Hound Smokehouse & Tavern TENT Restaurant Operations, Inc.                             4/17/13        4/30/14
65047     TENT Restaurant Operations, Inc. Fox & Hound Smokehouse & Tavern                             n/a            4/30/14
65047     TENT Restaurant Operations, Inc. Fox & Hound Smokehouse & Tavern                             n/a            4/30/14
65047     TENT Restaurant Operations, Inc. Fox & Hound Smokehouse & Tavern                             n/a            4/30/14
65047     TENT Restaurant Operations, Inc. Fox & Hound Smokehouse & Tavern                             n/a            4/30/14
65049     Fox & Hound of Colorado, Inc.                                                                6/0/13         6/19/14
65049     Fox & Hound of Colorado, Inc.                                                                5/7/13         6/19/14
65050     Fox & Hound of Arizona, Inc.                                                                 10/3/01        1/31/14              CLOSED



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Store #   DBA            Address                                                                   License Type                                            Jurisdiction
65051     B / Smoke      7502 W Broad Street, Richmond, VA 23294                                   LIQUOR                                                  STATE
65052     FH / English   112 W Campbell Road, Richardson, TX 75080                                 BEVERAGE CARTAGE                                        COUNTY
65052     FH / English   112 W Campbell Road, Richardson, TX 75080                                 PRIVATE CLUB REGISTRATION, BEV CART & LATE HOURS        STATE
65055     FH / Smoke     1416 N Roselle Road, Units 30-32, Schaumburg, IL 60195                    CLASS A LIQUOR                                          VILLAGE
65055     FH / Smoke     1416 N Roselle Road, Units 30-32, Schaumburg, IL 60195                    CLASS C LIQUOR                                          VILLAGE
65055     FH / Smoke     1416 N Roselle Road, Units 30-32, Schaumburg, IL 60195                    LIQUOR                                                  STATE
65056     FH / Smoke     12802 Gulf Freeway, Houston, TX 77034                                     BEVERAGE CARTAGE PERMIT                                 CITY
65056     FH / Smoke     12802 Gulf Freeway, Houston, TX 77034                                     MIXED BEVERAGE                                          COUNTY
65056     FH / Smoke     12802 Gulf Freeway, Houston, TX 77034                                     MIXED BEVERAGE                                          CITY
65056     FH / Smoke     12802 Gulf Freeway, Houston, TX 77034                                     MIXED BEVERAGE - LATE HOURS                             CITY
65056     FH / Smoke     12802 Gulf Freeway, Houston, TX 77034                                     MIXED BEVERAGE-LATE HOURS-BEV CARTAGE                   STATE
65057     FH / Smoke     7625 N LaCholla Blvd., Tucson, AZ 85741                                   LIQUOR                                                  STATE
65059     FH / Smoke     9239 Park Meadows Drive, Lone Tree, CO 80124                              LIQUOR                                                  CITY
65059     FH / Smoke     9239 Park Meadows Drive, Lone Tree, CO 80124                              LIQUOR                                                  STATE
65060     FH / Smoke     910-918 W Dundee Rd., Ste A01-A03, Arlington Heights, IL 60004            LIQUOR                                                  STATE
65060     FH / Smoke     910-918 W Dundee Rd., Ste A01-A03, Arlington Heights, IL 60004            LIQUOR                                                  VILLAGE
65061     FH / Smoke     1501 Spruce Street, Philadelphia, PA 19102                                LIQUOR-AMUSE, SUN SALES,REST                            STATE
65062     B / Pub        4238 Wilson Blvd., Arlington, Virginia 22203                              BUSINESS LICENSE beer / wine on / off #26D              COUNTY
65062     B / Pub        4238 Wilson Blvd., Arlington, Virginia 22203                              BUSINESS LICENSE mixed drinks rest #562130              COUNTY
65062     B / Pub        4238 Wilson Blvd., Arlington, Virginia 22203                              LIQUOR                                                  STATE
65063     FH / Pub       4301 The Lane @ 25 NE, Albuquerque, NM 87109                              LIQUOR                                                  STATE
65063     FH / Pub       4301 The Lane @ 25 NE, Albuquerque, NM 87109                              LIQUOR TAX                                              CITY
65064     FH / Pub       3031 W Memorial Road, Oklahoma City, OK 73134                             BEER ON PREMISE                                         CITY
65064     FH / Pub       3031 W Memorial Road, Oklahoma City, OK 73134                             BEVERAGE PERMIT                                         COUNTY
65064     FH / Pub       3031 W Memorial Road, Oklahoma City, OK 73134                             LIQUOR                                                  STATE
65064     FH / Pub       3031 W Memorial Road, Oklahoma City, OK 73134                             MIXED BEVERAGE                                          CITY
65066     FH / Pub       160 N. Gulph Road, Suite 211, King Of Prussia, PA 19406                   LIQUOR-AMUSE, SUN SALES,REST                            STATE
65067     B / Pub        11581 Robious Road, Richmond, VA 23235                                    BUSINESS LICENSE Beer & Wine                            COUNTY
65067     B / Pub        11581 Robious Road, Richmond, VA 23235                                    LIQUOR                                                  STATE
65068     FH/ Pub        1017 E. Baseline Road                                                     LIQUOR                                                  STATE
65069     FH / Pub       1421 Waterfront Parkway, Wichita, KS 67206                                LIQUOR Drinking Establishment                           STATE
65069     FH / Pub       1421 Waterfront Parkway, Wichita, KS 67206                                LIQUOR Drinking Establishment/Restaurant                CITY
65070     B / Pub        1965 West Maple Road, Troy, MI 48084                                      LIQUOR                                                  STATE
65071     FH / Pub       8711 Lindholm Drive, Huntersville, NC 28078                               BEER & WINE (privilege tax)                             CITY/COUNTY
65071     FH / Pub       8711 Lindholm Drive, Huntersville, NC 28078                               LIQUOR- FORTIFIED WINE                                  STATE
65071     FH / Pub       8711 Lindholm Drive, Huntersville, NC 28078                               LIQUOR-MALT BEVERAGE                                    STATE
65071     FH / Pub       8711 Lindholm Drive, Huntersville, NC 28078                               LIQUOR-MIXED BEVERAGE                                   STATE
65071     FH / Pub       8711 Lindholm Drive, Huntersville, NC 28078                               LIQUOR-UNFORTIFIED WINE                                 STATE
65073     FH / Pub       250 Menlo Park Drive, Edison, NJ 08837                                    LIQUOR                                                  STATE
65074     FH / Pub       2040 Hamilton Place Blvd, Suite 150, Chattanooga, TN 37421                BEER                                                    CITY
65074     FH / Pub       2040 Hamilton Place Blvd, Suite 150, Chattanooga, TN 37421                LIQUOR                                                  CITY
65074     FH / Pub       2040 Hamilton Place Blvd, Suite 150, Chattanooga, TN 37421                LIQUOR LIMITED SERVICE                                  STATE
65075     FH / Pub       7001 South Garnett Road, Broken Arrow, OK 74012                           BEER                                                    COUNTY
65075     FH / Pub       7001 South Garnett Road, Broken Arrow, OK 74012                           BEER ON PREMISE                                         CITY
65075     FH / Pub       7001 South Garnett Road, Broken Arrow, OK 74012                           LIQUOR                                                  STATE
65075     FH / Pub       7001 South Garnett Road, Broken Arrow, OK 74012                           MIXED BEVERAGE TAX PERMIT                               CITY
65076     FH / Pub       370-420 W Army Trail Road, Room 410A, Bloomingdale, IL 60108              LIQUOR                                                  VILLAGE
65076     FH / Pub       370-420 W Army Trail Road, Room 410A, Bloomingdale, IL 60108              LIQUOR                                                  STATE



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Store #   Licensee                                                                                Issue Date     Expiration Date      Comments
65051     TENT Restaurant Operations, Inc. Bailey's Smosehouse & Tavern                           10/1/13        9/30/14
65052     Fox & Hound English Pub & Grille                                                        10/25/13       6/20/15
65052     Fox & Hound English Pub & Grille                                                        6/21/13        6/20/15
65055     Fox & Hound Smokehouse & Tavern                                                         1/1/14         12/31/14
65055     Fox & Hound Smokehouse & Tavern                                                         1/1/14         12/31/14
65055     Fox & Hound of Illinois, Inc. Fox & Hound Smokehouse & Tavern                           6/27/13        7/31/14
65056     Fox & Ho0und Smokehouse & Tavern Fuqua Beverage Corporation                             11/2/12        12/18/13             Renewal sent 11/25/13
65056     Fox & Hound Smokehouse & Tavern                                                         5/16/13        12/18/13
65056     Fox & Ho0und Smokehouse & Tavern Fuqua Beverage Corporation                             11/2/12        12/18/13             Renewal sent 11/25/13
65056     Fox & Ho0und Smokehouse & Tavern Fuqua Beverage Corporation                             11/2/12        12/18/13             Renewal sent 11/25/13
65056     Fox & Hound Smokehouse & Tavern Fuqua Beverage Corporation                              12/19/11       12/18/13             Renewal sent 12.11.13
65057     Randy D. Nations Agent Fox & Hound of Arizona, Inc. Owner                               9/27/02        9/30/14
65059     Fox & Hound of Colorado, Inc. dba Fox & Hound Smokehouse & Tavern                       10/30/13       10/20/14
65059     Fox & Hound of Colorado, Inc. dba Fox & Hound Smokehouse & Tavern                       10/25/13       10/20/14
65060     Fox & Hound of Illinois, Inc. Fox & Hound Sports Tavern                                 1/31/13        2/28/14
65060     Fox & Hound of Illinois, Inc. Fox & Hound Sports Tavern                                 5/1/13         4/30/14
65061     TENT Restaurant Operations, Inc. Fox & Hound Smokehouse & Tavern                        11/1/12        10/31/13             Renewal sent 8/30/13
65062     TENT Restaurant Operations, Inc. Bailey's Pub & Grille                                  n/a            12/31/13
65062     TENT Restaurant Operations, Inc. Bailey's Pub & Grille                                  n/a            12/31/13
65062     TENT Restauranto Opreations, Inc. Bailey's Smokehouse & Tavern                          n/a            9/30/14
65063     Fox & Hound of New Mexico, Inc                                                          n/a            6/30/14
65063                                                                                             6/6/13         6/30/14
65064     Fox & Hound Sport Spirits & Fun                                                         9/5/13         9/11/14
65064     Fox & Hound of Oklahoma, Inc.                                                           8/8/12         8/8/15
65064     Fox & Hound Pub & Grille                                                                9/21/13        9/11/14
65064     Fox & Hound of Oklahoma, Inc. DBA Fox & Hound Pub & Grille                              9/5/13         9/10/14
65066     TENT Restaurant Operations, Inc. TA Fox & Hound Pub & Grille                            5/1/13         4/30/14
65067     TENT Restaurant Operations, Inc. Bailey's Pub & Grille                                  1/29/13        12/31/13
65067     TENT Restaurant Operations, Inc. Bailey's Pub & Grille                                  10/1/13        9/30/14
65068     Fox & Hound of Arizona, Inc.                                                            8/12/03        1/31/14
65069     Fox & Hound of Kansas, Inc. Fox & Hound Pub & Grille                                    2/15/12        2/14/14
65069     Fox & Hound Pub & Grille                                                                2/12/13        2/14/14
65070     TENT Restaurant Operations, Inc. Bailey's Pub & Grille                                  5/1/13         4/30/14
65071     Fox & Hound Pub & Grille TENT Restaurant Operations, Inc.                               4/17/13        4/30/14
65071     TENT Restaurant Operations, Inc. Fox & Hound Pub & Grille                               n/a            4/30/14
65071     TENT Restaurant Operations, Inc. Fox & Hound Pub & Grille                               n/a            4/30/14
65071     TENT Restaurant Operations, Inc. Fox & Hound Pub & Grille                               n/a            4/30/14
65071     TENT Restaurant Operations, Inc. Fox & Hound Pub & Grille                               n/a            4/30/14
65073     Fox & Hound of New Jersey, Inc.                                                         7/1/13         6/30/14
65074     Fox & Hound Bar & Grille Fox & Hound of Tennessee, Inc.                                 1/1/14         12/31/14
65074     TENT Restaurant Operations, Inc Fox & Hound Pub & Grille                                12/13/13       12/12/14
65074     TENT Restaurant Operations, Inc Fox & Hound Pub & Grille                                12/5/13        12/6/14
65075     Fox & Hound of Oklahoma, Inc.                                                           8/9/13         8/9/16
65075     Fox & Hound Pub & Grille                                                                4/25/13        4/30/14
65075     Fox & Hound Pub & Grille                                                                7/15/13        7/14/14
65075     Fox & Hound Pub & Grille                                                                4/25/13        4/30/14
65076     Fox & Hound of Illinois, Inc. dba Fox & Hound Sports Tavern                             5/1/13         4/30/14
65076     Fox & Hound of Illinois, Inc. Fox & Hound Sports Tavern                                 6/27/13        7/31/14



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Store #   DBA            Address                                                                   License Type                                     Jurisdiction
65077     FH / Pub       4158 Main @ North Hills Street, Suite 111, Raleigh, NC 27609              BEER & WINE                                      COUNTY
65077     FH / Pub       4158 Main @ North Hills Street, Suite 111, Raleigh, NC 27609              BEER / WINE                                      CITY
65077     FH / Pub       4158 Main @ North Hills Street, Suite 111, Raleigh, NC 27609              LIQUOR- FORTIFIED WINE                           STATE
65077     FH / Pub       4158 Main @ North Hills Street, Suite 111, Raleigh, NC 27609              LIQUOR-MALT BEVERAGE                             STATE
65077     FH / Pub       4158 Main @ North Hills Street, Suite 111, Raleigh, NC 27609              LIQUOR-MIXED BEVERAGE                            STATE
65077     FH / Pub       4158 Main @ North Hills Street, Suite 111, Raleigh, NC 27609              LIQUOR-UNFORTIFIED WINE                          STATE
65079     FH / Pub       14490 Lowes Way, Carmel, IN 46033                                         LIQUOR                                           STATE
65080     FH / Pub       17416 Chesterfield Airport Road, Chesterfield, MO 63005                   LIQUOR BY THE DRINK                              COUNTY
65080     FH / Pub       17416 Chesterfield Airport Road, Chesterfield, MO 63005                   LIQUOR BY THE DRINK                              STATE
65080     FH / Pub       17416 Chesterfield Airport Road, Chesterfield, MO 63005                   LIQUOR BY THE DRINK                              CITY
65080     FH / Pub       17416 Chesterfield Airport Road, Chesterfield, MO 63005                   LIQUOR BY THE DRINK/SUNDAY SALES                 STATE
65080     FH / Pub       17416 Chesterfield Airport Road, Chesterfield, MO 63005                   Liquor-Sunday Sales                              COUNTY
65082     B / Pub        20021 Century Blvd., Germantown, MD 20874                                 LIQUOR                                           STATE
65083     FH / Pub       920 Town Center Drive, Wilmington, NC 28405                               BEER/WINE                                        CITY
65083     FH / Pub       920 Town Center Drive, Wilmington, NC 28405                               BEER/WINE                                        COUNTY
65083     FH / Pub       920 Town Center Drive, Wilmington, NC 28405                               LIQUOR-FORTIFIED WINE                            STATE
65083     FH / Pub       920 Town Center Drive, Wilmington, NC 28405                               LIQUOR-MALT BEVERAGE                             STATE
65083     FH / Pub       920 Town Center Drive, Wilmington, NC 28405                               LIQUOR-MIXED BEVERAGE                            STATE
65083     FH / Pub       920 Town Center Drive, Wilmington, NC 28405                               LIQUOR-UNFORTIFIED WINE                          STATE
65087     FH / Pub       6565 Towne Center Crossing, Southaven, MS 38671                           BEER                                             STATE
65087     FH / Pub       6565 Towne Center Crossing, Southaven, MS 38671                           LIQUOR                                           STATE
65088     FH / Pub       2661 Fairfield Commons Blvd, Beavercreek, OH 45431                        LIQUOR                                           STATE
65089     B / Pub        12300 Jefferson Avenue, Space 110, Newport News, VA 23602                 LIQUOR                                           STATE
65091     FH / Pub       5113 Bowen Drive, Mason OH 45040                                          LIQUOR                                           STATE
65092     FH / Pub       3101 New Center Point Drive, Colorado Springs, CO 80922                   LIQUOR                                           STATE
65092     FH / Pub       3101 New Center Point Drive, Colorado Springs, CO 80922                   LIQUOR                                           CITY
65093     FH / Pub       9325 Center Lake Drive, Suite 200, Charlotte, NC 28216                    BEER & WINE PRIVILEGE                            CITY/COUNTY
65093     FH / Pub       9325 Center Lake Drive, Suite 200, Charlotte, NC 28216                    LIQUOR-FORTIFIED WINE                            STATE
65093     FH / Pub       9325 Center Lake Drive, Suite 200, Charlotte, NC 28216                    LIQUOR-MALT BEVERAGE                             STATE
65093     FH / Pub       9325 Center Lake Drive, Suite 200, Charlotte, NC 28216                    LIQUOR-MIXED BEVERAGE                            STATE
65093     FH / Pub       9325 Center Lake Drive, Suite 200, Charlotte, NC 28216                    LIQUOR-UNFORTIFIED WINE                          STATE
65095     FH / English   2625 Brindle Drive, Harrisburg East, PA 17110                             LIQUOR                                           STATE
65096                    27843 Orchard Lake Road, Farmington Hills, MI 48334                       LIQUOR                                           STATE
65201     Champps        1641 Plymouth Road, Minnetonka, MN 55305                                  LIQUOR                                           CITY
65201     Champps        1641 Plymouth Road, Minnetonka, MN 55305                                  LIQUOR 2AM                                       CITY
65201     Champps        1641 Plymouth Road, Minnetonka, MN 55305                                  LIQUOR 2AM                                       STATE
65201     Champps        1641 Plymouth Road, Minnetonka, MN 55305                                  RETAILER'S ID CARD                               STATE
65203     Champps        418 Menlo Park Mall, Edison, NJ 08837                                     LIQUOR                                           STATE
65204     Champps        Marlton Cr. 25 Rt 73 S., Marlton, NJ 08053                                LIQUOR                                           STATE
65205     Champps        8711 N. River Crossing, Indianapolis, IN 46240                            LIQUOR                                           STATE
65209     Champps        790 W. 66th Street, Richfield, MN 55423                                   LIQUOR & 2AM                                     STATE
65209     Champps        790 W. 66th Street, Richfield, MN 55423                                   LIQUOR & SUN SALES                               CITY
65209     Champps        790 W. 66th Street, Richfield, MN 55423                                   RETAILER'S ID CARD                               STATE
65210     Champps        5835 Landerbrook Drive, Lyndhurst, OH 44124                               LIQUOR                                           STATE
65211     Champps        161 Campus View Blvd. E., Columbus, OH 43235                              LIQUOR                                           STATE
65212     Champps        1827 Olentangy River Road, Columbus, OH 43212                             LIQUOR                                           STATE
65213     Champps        6401 N. Andrews Avenue, Ft. Lauderdale, FL 33309                          LIQUOR                                           STATE
65213     Champps        6401 N. Andrews Avenue, Ft. Lauderdale, FL 33309                          LIQUOR                                           CITY



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Store #   Licensee                                                                            Issue Date     Expiration Date      Comments
65077     TENT Restaurant Operations, Inc. Fox & Hound Pub & Grille                           4/12/13        4/30/14
65077     Fox & Hound Pub & Grille                                                            5/1/13         4/30/14
65077     TENT Restaurant Operations, Inc. Fox & Hound Pub & Grille                           n/a            4/30/14
65077     TENT Restaurant Operations, Inc. Fox & Hound Pub & Grille                           n/a            4/30/14
65077     TENT Restaurant Operations, Inc. Fox & Hound Pub & Grille                           n/a            4/30/14
65077     TENT Restaurant Operations, Inc. Fox & Hound Pub & Grille                           n/a            4/30/14
65079     Fox & Hound of Indiana, Inc.dba Fox & Hound Pub & Grille                            12/16/13       1/22/15
65080     TENT Restaurant Operations, Inc. Fox & Hound Pub & Grille                           2/14/13        3/31/14
65080     TENT Restaurant Operations, Inc. Fox & Hound Pub & Grille                           7/1/13         6/30/14
65080     Fox & Hound Pub & Grille                                                            7/1/13         6/30/14
65080     TENT Restaurant Operations, Inc. Fox & Hound Pub & Grille                           7/1/13         6/30/14
65080     TENT Restaurant Operations, Inc. Fox & Hound Pub & Grille                           2/14/13        3/31/14
65082     Bailey's Pub & Grille, Fox & Hound of Maryland, Inc.                                5/1/13         5/1/14
65083     Fox & Hound Pub & Grille                                                            4/16/13        4/30/14
65083     Fox & Hound                                                                         7/1/13         6/30/14
65083     TENT Restaurant Operations, Inc. Fox & Hound Pub & Grille                           n/a            4/30/14
65083     TENT Restaurant Operations, Inc. Fox & Hound Pub & Grille                           n/a            4/30/14
65083     TENT Restaurant Operations, Inc. Fox & Hound Pub & Grille                           n/a            4/30/14
65083     TENT Restaurant Operations, Inc. Fox & Hound Pub & Grille                           n/a            4/30/14
65087     TENT Restaurant Operations, Inc.                                                    8/20/13        8/31/14
65087     TENT Restaurant Operations, Inc. Fox & Hound Pub & Grille                           11/16/05       11/15/14
65088     TENT Restaurant Operations, Inc. Fox & Hound Pub & Grille                           5/17/13        6/1/14
65089     TENT Restaurant Operations, Inc. Bailey's Pub & Grille                              10/1/13        9/30/14
65091     Fox & Hound of Ohio, Inc. DBA: Fox & Hound Pub & Grille                             6/1/13         6/1/14
65092     TENT Restaurant Operations, Inc. dba Fox & Hound Pub & Grille                       10/3//13       11/2/14
65092     TENT Restaurant Operations, Inc. dba Fox & Hound Pub & Grille                       10/8/13        11/2/14
65093     Fox & Hound Pub & Grille TENT Restaurant Operations, Inc.                           4/17/13        4/30/14
65093     TENT Restaurant Operations, Inc. Fox & Hound Pub & Grille                           n/a            4/30/14
65093     TENT Restaurant Operations, Inc. Fox & Hound Pub & Grille                           n/a            4/30/14
65093     TENT Restaurant Operations, Inc. Fox & Hound Pub & Grille                           n/a            4/30/14
65093     TENT Restaurant Operations, Inc. Fox & Hound Pub & Grille                           n/a            4/30/14
65095     TENT Restaurant Operations, Inc.                                                    3/1/13         2/28/14
65096     TENT Restaurant Operations, Inc.                                                                   Pending
65201     Champps Operating Corporation Champps Americana                                     12/16/13       12/31/14
65201     Champps Operating Corporation                                                       12/16/13       12/31/14
65201     Champps Operating Corporation                                                       n/a            11/8/14
65201     Champps Operating Corporation                                                       n/a            12/31/14
65203     Champps Operating Corporation                                                       7/1/13         6/30/14
65204     Champps Operating Corporation                                                       7/1/13         6/30/14
65205     Champps Operating Corporation dba Champps Restaurant & Bar                          6/26/13        10/17/14
65209     Champps Operating Corp. Champps Restaurant                                          n/a            12/11/14
65209     Champps                                                                             n/a            12/31/13             Renewal sent 10/25/13
65209     Champps Operating Corp. Champps Restaurant                                          n/a            12/31/14
65210     Champps Operating Corp DBA Champps Americana                                        10/1/13        10/1/14              CLOSED
65211     Champps Operating Corp DBA Champps Americana                                        2/1/13         2/1/14
65212     Champps Operating Corp DBA Champps Americana                                        2/1/13         2/1//14
65213     Champps Operating Corp Champps Americana                                            3/27/13        3/31/14
65213     Champps Americana                                                                   n/a            9/30/14



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Store #   DBA       Address                                                                   License Type                                    Jurisdiction
65215     Champps   955 East Golf Road, Schaumburg, IL 60173                                  LIQUOR                                          STATE
65215     Champps   955 East Golf Road, Schaumburg, IL 60173                                  LIQUOR                                          VILLAGE
65216     Champps   19470 Haggerty Road, Livonia, MI 48152                                    LIQUOR                                          STATE
65217     Champps   301 W. Big Beaver Road, Troy, MI 48084                                    LIQUOR                                          STATE
65218     Champps   3993 Morse Crossing, Columbus, OH 43219                                   LIQUOR                                          STATE
65219     Champps   855 West John W. Carpenter Frwy, Irving, TX 75039                         LIQUOR                                          COUNTY
65219     Champps   855 West John W. Carpenter Frwy, Irving, TX 75039                         LIQUOR                                          CITY
65219     Champps   855 West John W. Carpenter Frwy, Irving, TX 75039                         LIQUOR                                          STATE
65220     Champps   7880 Washington Village Drive, Centerville, OH 45459                      LIQUOR                                          STATE
65221     Champps   1121 Uptown Park Blvd., Suite A, Houston, TX 77056                        LIQUOR                                          COUNTY
65221     Champps   1121 Uptown Park Blvd., Suite A, Houston, TX 77056                        LIQUOR                                          STATE
65221     Champps   1121 Uptown Park Blvd., Suite A, Houston, TX 77056                        LIQUOR (MB,CB,LB,PE)                            CITY
65222     Champps   2301 Fountain Square Drive, Lombard, IL 60148                             LIQUOR                                          VILLAGE
65222     Champps   2301 Fountain Square Drive, Lombard, IL 60148                             LIQUOR                                          STATE
65224     Champps   7410 Orchard Lake Road, West Bloomfield, MI 48322                         LIQUOR                                          STATE
65225     Champps   8010 Glen Lane, Eden Prairie, MN 55344                                    LIQUOR                                          VILLAGE
65225     Champps   8010 Glen Lane, Eden Prairie, MN 55344                                    LIQUOR & 2AM                                    STATE
65225     Champps   8010 Glen Lane, Eden Prairie, MN 55344                                    LIQUOR & 2AM                                    VILLAGE
65225     Champps   8010 Glen Lane, Eden Prairie, MN 55344                                    RETAILER'S ID CARD                              STATE
65226     Champps   1201 S. Joyce Street, C-10, Arlington, VA 22202                           BEER/WINE                                       COUNTY
65226     Champps   1201 S. Joyce Street, C-10, Arlington, VA 22202                           LIQUOR                                          STATE
65226     Champps   1201 S. Joyce Street, C-10, Arlington, VA 22202                           MIXED BEVERAGE                                  COUNTY
65229     Champps   12515 Hall Road, Utica, MI 48315                                          LIQUOR                                          STATE
65230     Champps   330 Goddard Blvd, King of Prussia, PA 19406                               LIQUOR                                          STATE
65231     Champps   10300 Little Patuxent Parkway, Suite 3040, Columbia, MD 21044             LIQUOR                                          STATE
65232     Champps   49 W. Maryland Street, Indianapolis, IN 46204                             LIQUOR                                          STATE
65233     Champps   8030 Renaissance Parkway, Suite 885, Durham, NC 27713                     LIQUOR                                          COUNTY
65233     Champps   8030 Renaissance Parkway, Suite 885, Durham, NC 27713                     LIQUOR                                          CITY
65233     Champps   8030 Renaissance Parkway, Suite 885, Durham, NC 27713                     LIQUOR                                          STATE
65235     Champps   275 Parkway Drive, Suite 311, Lincolnshire, IL 60069                      LIQUOR                                          VILLAGE
65235     Champps   275 Parkway Drive, Suite 311, Lincolnshire, IL 60069                      LIQUOR                                          STATE
65237     Champps   5989 Canal Street, Valley View, OH 44125                                  LIQUOR                                          STATE
65238     Champps   3741 Sumner Blvd., Suite 150, Raleigh, NC 27616                           LIQUOR                                          COUNTY
65238     Champps   3741 Sumner Blvd., Suite 150, Raleigh, NC 27616                           LIQUOR                                          CITY
65238     Champps   3741 Sumner Blvd., Suite 150, Raleigh, NC 27616                           LIQUOR                                          STATE
65240     Champps   9202 Stony Point Parkway, Richmond, VA 23235                              BEER/WINE BUSINESS                              CITY
65240     Champps   9202 Stony Point Parkway, Richmond, VA 23235                              LIQUOR                                          STATE
65240     Champps   9202 Stony Point Parkway, Richmond, VA 23235                              MIXED BEVERAGE BUSINESS                         CITY
65241     Champps   11724U Fair Oaks, Fairfax, VA 22033                                       LIQUOR                                          STATE
65242     Champps   2800 Preyde Blvd., Lansing, MI 48912                                      LIQUOR                                          STATE
65244     Champps   9424 Civic Center Blvd., West Chester, OH 45069                           LIQUOR                                          STATE
65245     Champps   12 Main Street, Westlake, OH 44145                                        LIQUOR                                          STATE
65246     Champps   2223 North West Shore #B221, Tampa, FL 33607                              LIQUOR                                          STATE
65248     Champps   819 Eastview Mall, Victor, NY 14564                                       LIQUOR                                          STATE
65250     Champps   16165 LaGrange Road, Orland Park, IL 60467                                LIQUOR                                          VILLAGE
65250     Champps   16165 LaGrange Road, Orland Park, IL 60467                                LIQUOR                                          STATE
65252     Champps   2100 S. Christopher Columbus Blvd., Philadelphia, PA 19148                LIQUOR                                          STATE
65253     Champps   51 Town Center Drive, Store G-5, Collegeville, PA 19426                   LIQUOR                                          STATE



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Store #   Licensee                                                                         Issue Date      Expiration Date     Comments
65215     Champps Operating Corporation Champps Americana                                  11/14/13        11/30/14
65215     Champps Americana                                                                1/1/14          12/31/14
65216     Champps Operating Corporation                                                    11/14/13        11/30/14
65217     Champps Operating Corporation                                                    5/1/13          4/30/14
65218     Champps Operating Corp. Champps Restaurant                                       2/1/13          2/1/14
65219     Champps Entertainment of Texas, Inc.                                             9/12/13         7/16/15
65219     Champps Entertainment of Texas, Inc.                                             5/23/00         n/a
65219     Champps Entertainment of Texas, Inc.                                             7/17/13         7/16/15
65220     Champps Operating Corp. Champps Americana                                        6/1/13          6/1/14
65221     Champps Entertainment of Texas, Inc.                                             8/9/12          5/16/13
65221     Champps Entertainment of Texas, Inc.                                             5/17/13         5/16/15
65221     Champps Entertainment of Texas, Inc.                                             6/3/13          5/16/14
65222     Champps Operating Corporation DBA Champps Americana                              5/17/13         11/30/13            Renewal sent 10/10/13
65222     Champps Operating Corporation Champps Americana                                  3/21/13         3/31/14
65224     Champps Operating Corporation                                                    5/1/13          4/30/14
65225     Champps Operating Corporation Champps Americana                                  n/a             12/31/13            Renewal sent 10/24/13
65225     Champps Operating Corporation Champps Americana                                  n/a             11/19/14
65225                                                                                      n/a             12/31/13            Renewal sent 10/24/13
65225     Champps Operating Corporation                                                    n/a             12/31/14
65226     Champps Operating Corp Champps Americana                                         n/a             12/31/13
65226     Champps Operating Corp Champps Americana                                         5/1/13          4/30/01
65226     Champps Operating Corp Champps Americana                                         n/a             12/31/13
65229     Champps Operating Corporation                                                    5/1/13          4/30/14
65230     Champps Operating Corporation Champps Americana                                  5/1/13          4/30/14
65231     Champps of Maryland, Inc.                                                        5/1/13          4/30/14
65232     Champps Operating Corporation Champps Restaurant & Bar                           5/23/13         8/9/14
65233     Champps Restaurant                                                               3/20/13         4/30/14
65233     Champps Operating Corp Champps Americana Restaurant                              3/20/13         4/30/14
65233     Champps Operating Corp Champps Restaurant                                        n/a             4/30/14
65235     Champps Operating Corporation dba Champps Restaurant & Bar                       5/1/13          4/30/14
65235     Champps Operating Corporation Champps Restaurant                                 4/23/13         4/30/14
65237     Champps Operating Corp                                                           10/1/13         10/1/14             CLOSED
65238     Champps Operating Corporation                                                    4/12/13         4/30/14
65238     Champps Restaurant and Bar                                                       5/1/13          4/30/14
65238     Champps Operating Corp Champps Restaurant                                        n/a             4/30/14
65240     Champps Operating Corporation                                                    n/a             12/31/13
65240     Champps Operating Corp. Champps Restaurant and Bar                               5/1/13          4/30/14
65240     Champps Operating Corporation                                                    n/a             12/31/13
65241     Champps Operating Corp. Champps Restaurant and Bar                               5/1/13          4/30/14
65242     Champps Operating Corporation                                                    5/1/13          4/30/14
65244     Champps Operating Corp. dba Champps Restaurant                                   6/1/13          6/1/14
65245     Champps Operating Corp                                                           10/1/13         10/1/14             CLOSED
65246     Champps Operating Corp Champps Restaurant and Bar                                8/29/13         9/30/14
65248     Champps Operating Corp Champps Restaurant and Bar                                8/31/13         9/30/15
65250     Champps Operating Corporation dba Champps Restaurant & Bar                       11/10/13        12/31/14
65250     Champps Operating Corporation                                                    12/26/12        1/31/14
65252     Champps Operating Corporation                                                    11/1/13         10/31/14
65253     Champps Operating Corporation                                                    5/1/13          4/30/14



                                                                                                        5.12 - 10
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Store #   DBA       Address                                                     License Type                                    Jurisdiction
65255     Champps   1500 Main Street, Warrington, PA 18976                      LIQUOR                                          STATE




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Store #   Licensee                                            Issue Date      Expiration Date     Comments
65255     Champps Operating Corporation                       n/a             11/30/15            Permit in escrow




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                                            Schedule 5.15

                                              Tax Audits


The tax period 12/29/10 to 12/27/11 for F&H Acquisition Corp. is currently under IRS examination.




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                                             Schedule 8.6

                                         Affiliate Transactions

F&H Restaurants of Texas, Inc. reimburses Fox & Hound Club, a Texas non-profit corporation, for alcohol
purchase on a weekly basis. Fox & Hound Club holds the liquor license in Store 65008.

F&H Restaurants of Texas, Inc. reimburses Campbell Beverage Corporation, a Texas non-profit
corporation, for alcohol purchase on a weekly basis. Campbell Beverage Corporation holds the liquor
license in Store 65052.




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